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              EXHIBIT
                 1
      Case
Individual   8:19-cv-02147-JSM-SPF
           Report                            Document
                  Plus Associates | FOGLE, DONNA | 03/20/1916-1    Filed
                                                            10:52 AM      01/30/20
                                                                      | Reference: N/A   Page 9 of 460 PageID 86


Report Section Summary
         User Search Terms (1)
         Subject (1)
         Possible Addresses Associated with Subject (27)
         Work Affiliations (2)
         Utility Services (5)
         Phone Numbers Associated with Subject (1)
         SSN & Current Address Fraud Alerts (1)
         Quick Analysis Flags (1)
         Phone Listings for Subject's Addresses (3)
         Email Addresses (1)
         Driver's Licenses (1)
         Professional & Recreational Licenses (1)
         Criminal Records, Warrants, and Traffic Citations (2)
         Arrest Records (2)
         Executive Affiliations (1)
         Businesses Registered at Subject's Addresses (101)
         Liens & Judgments (3)
         Corporate Filings (1)
         Real Property & Deed Transfers (3)
         Property Owners of Subject's Addresses (3)
         Vehicles Registered to Subject (3)
         Relatives (5)
         Associates (13)
         Associate Analytics Chart (1)
         Neighbor Listings for Subject's Address (3)
         Report section(s) with no matches (28)


User Search Terms


  Last Name:                             FOGLE
  Middle Name:                           C
  First Name:                            DONNA


   Subject
    FOGLE, DONNA C
    SSN:                       -9022 - issued in PA between      AKAs:
                         1972-1973                                                            Address Compilation,
                                                                 1) FOGLE, D C
    Gender:              FEMALE                                                               TransUnion
                                                                 2) FOGLE, DONNA (DOB:        Criminal & Court, Address
                                                                      /1958)                  Compilation
                                                                                              Utility Listing, Experian,
                                                                                              TransUnion, Liens &
                                                                 3) FOGLE, DONNA


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      Case
Individual   8:19-cv-02147-JSM-SPF
           Report                            Document
                  Plus Associates | FOGLE, DONNA          16-1
                                                 | 03/20/19       Filed
                                                            10:52 AM     01/30/20
                                                                      | Reference: N/A Page   10 of 460 PageID 87

                                                                                              Judgments
                                                               4) FOGLE, DONNA
                                                                                              Utility Listing
                                                                     -XXXX)
                                                               5) FOGLE, DONNA
                                                               (     -9022; DOB:              Experian, Experian Gateway
                                                                    /1958)
                                                               6) DONNA, FOGLE                Experian
                                                               7) CFOGLE, DONNA               Experian, TransUnion
                                                               8) FAGLE, DONNA                TransUnion
                                                               9) DONNA, C FOGLE              Liens & Judgments
                                                               10) FOGLE, DONNA
                                                                                         Arrest
                                                               CYNTHIA (DOB:      /1958)
                                                               11) CYNTHIA, FOGLE
                                                                                         Arrest
                                                               DONNA
                                                               12) FOGLE, DONNA
                                                                                         Arrest
                                                               CYNTHIA
                                                               13) DONNA, FOGLE
                                                                                         Experian Gateway
                                                               (      -9022)
                                                               14) CFOGLE, DONNA
                                                                                         Experian Gateway
                                                               (      -9022)
                                                               15) FOGEL, DONNA               Experian Gateway
    DOB (Age):                 /1958 (60)


                                     YES (FL; DL Number:
    Drivers License?
                                               9690)

    Marriage(s)?                     NO                        Divorce(s)?                    NO

    Professional License(s)?         YES                       Recreational License(s)?       YES
                                                               1.) (FISH) (FLORIDA)



    Work Affiliation(s)?      YES
    1.) Business: ONE BOX TV LLC ; Title: MANAGER
    2.) Business: ONE BOX TV, LLC

    Potential Image(s)




     Possible Addresses Associated with Subject

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                 2
    Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 12 of 460 PageID 89
Department of Defense Manpower Data Center                             Results as of : Jan-27-2020 08:49:23 AM

                                                                                                                                                                                         SCRA 5.3




SSN:                          XXX-XX-9022
Birth Date:                      -XX-1958
Last Name:                    FOGLE
First Name:                   DONNA
Middle Name:
Status As Of:                 Jan-27-2020
Certificate ID:               QZQW7V1M3H066WW

                                                                               On Active Duty On Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                                     This response reflects the individuals' active duty status based on the Active Duty Status Date




                                                                       Left Active Duty Within 367 Days of Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                        This response reflects where the individual left active duty status within 367 days preceding the Active Duty Status Date




                                                The Member or His/Her Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date

        Order Notification Start Date                       Order Notification End Date                                       Status                                 Service Component

                   NA                                                   NA                                                     No                                          NA

                                           This response reflects whether the individual or his/her unit has received early notification to report for active duty



Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force, NOAA, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notification of future orders to report for Active Duty.




Michael V. Sorrento, Director
Department of Defense - Manpower Data Center
400 Gigling Rd.
Seaside, CA 93955
         Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 13 of 460 PageID 90
The Defense Manpower Data Center (DMDC) is an organization of the Department of Defense (DoD) that maintains the Defense Enrollment and Eligibility
Reporting System (DEERS) database which is the official source of data on eligibility for military medical care and other eligibility systems.


The DoD strongly supports the enforcement of the Servicemembers Civil Relief Act (50 USC App. ? 501 et seq, as amended) (SCRA) (formerly known as
the Soldiers' and Sailors' Civil Relief Act of 1940). DMDC has issued hundreds of thousands of "does not possess any information indicating that the
individual is currently on active duty" responses, and has experienced only a small error rate. In the event the individual referenced above, or any family
member, friend, or representative asserts in any manner that the individual was on active duty for the active duty status date, or is otherwise entitled to the
protections of the SCRA, you are strongly encouraged to obtain further verification of the person's status by contacting that person's Service. Service contact
information can be found on the SCRA website's FAQ page (Q33) via this URL: https://scra.dmdc.osd.mil/faq.xhtml#Q33. If you have evidence the person
was on active duty for the active duty status date and you fail to obtain this additional Service verification, punitive provisions of the SCRA may be invoked
against you. See 50 USC App. ? 521(c).


This response reflects the following information: (1) The individual's Active Duty status on the Active Duty Status Date (2) Whether the individual left Active
Duty status within 367 days preceding the Active Duty Status Date (3) Whether the individual or his/her unit received early notification to report for active
duty on the Active Duty Status Date.


More information on "Active Duty Status"
Active duty status as reported in this certificate is defined in accordance with 10 USC ? 101(d) (1). Prior to 2010 only some of the active duty periods less
than 30 consecutive days in length were available. In the case of a member of the National Guard, this includes service under a call to active service
authorized by the President or the Secretary of Defense under 32 USC ? 502(f) for purposes of responding to a national emergency declared by the
President and supported by Federal funds. All Active Guard Reserve (AGR) members must be assigned against an authorized mobilization position in the
unit they support. This includes Navy Training and Administration of the Reserves (TARs), Marine Corps Active Reserve (ARs) and Coast Guard Reserve
Program Administrator (RPAs). Active Duty status also applies to a Uniformed Service member who is an active duty commissioned officer of the U.S.
Public Health Service or the National Oceanic and Atmospheric Administration (NOAA Commissioned Corps).


Coverage Under the SCRA is Broader in Some Cases
Coverage under the SCRA is broader in some cases and includes some categories of persons on active duty for purposes of the SCRA who would not be
reported as on Active Duty under this certificate. SCRA protections are for Title 10 and Title 14 active duty records for all the Uniformed Services periods.
Title 32 periods of Active Duty are not covered by SCRA, as defined in accordance with 10 USC ? 101(d)(1).


Many times orders are amended to extend the period of active duty, which would extend SCRA protections. Persons seeking to rely on this website
certification should check to make sure the orders on which SCRA protections are based have not been amended to extend the inclusive dates of service.
Furthermore, some protections of the SCRA may extend to persons who have received orders to report for active duty or to be inducted, but who have not
actually begun active duty or actually reported for induction. The Last Date on Active Duty entry is important because a number of protections of the SCRA
extend beyond the last dates of active duty.


Those who could rely on this certificate are urged to seek qualified legal counsel to ensure that all rights guaranteed to Service members under the SCRA
are protected


WARNING: This certificate was provided based on a last name, SSN/date of birth, and active duty status date provided by the requester. Providing
erroneous information will cause an erroneous certificate to be provided.
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                         FLORIDA TRIAL COUNSEL
                               EFFICIENT ADVICE / FEARLESS COUNSEL
 JUNE 20, 2018

 SENT VIA U.S. MAIL AND E-MAIL TO:

 Bert Eichhorn                                       Aymen Al Khazraji
 NagraStar, LLC                                      NagraStar, LLC
 90 Inverness Circle East                            90 Inverness Circle East
 Englewood CO 80112                                  Englewood CO 80112

 Bert.eichhorn@nagrastar.com                         aymen.al-khazraji@nagrastar.com


         Re: Donna Fogle and One Box TV, LLC

 Dear Messers Eichorn and Khazraji,

 This office represents Ms. Donna Fogel regarding the subject matter of your correspondences
 dated May 6, 2019 and June 4, 2019. You are directed to cease and desist all further
 communications with our client. Please direct all further communications directly to this office.

 Additionally, we would like to work with you and request that you submit a suitable settlement
 offer to fully resolve this matter. Based on our investigations Ms. Fogle sold One Box TV apps
 and hardware. These apps and products are not civilly or criminally wrongful. Additionally, your
 correspondences above have interfered with our client’s business and may have resulted in
 disruption of our client’s legitimate business interests. Accordingly, our client preserves their
 rights to seek redress for such interference.


 We look forward to hearing from you soon.



 Very Truly yours,

 David A. Fernandez

 David A. Fernandez, Esq.

         CC: Client




 4705 26th Street West                                                           Tel: (941) 238-6529
 Bradenton, FL 34207                                                             Fax: (866) 442-1413
                                    www.FlTrialCounsel.com
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                                                                         Welcome to TVURWAY TV
                                                        Driving a Seamless User Experience Like No Other.


                                                            Latest CDN Technologies, Maximum Compatibility, Advanced GUI.

                                                                   Compatible With SD, HD, 1080p, and 4K
       Regardless of whether the content was recorded in SD, HD, 1080p, or 4K, our Yes World TV application will deliver that content effortlessly and
                                                    beautifully. We just know you'll absolutely love it.
                 Full catch up facilities, great looking electronic program guide, time shift settings for programs in multiple time zones, and more.



                             Compatible with your iOS, Android Set Top Box, Perfect Player, Android Phones
     Wherever you are, whatever device you use, chances are our application is compatible with
     that device. No IP restrictions here! Need access at home, work, and mobile – no problem.

    Refund Policy

    Contact us if unhappy for any reason for no hassle 60 day refund. Our Number is 877-748-4336



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    PLEASE READ THIS WEBSITE USE AGREEMENT ("AGREEMENT") CAREFULLY. BY ACCESSING THIS WEBSITE YOU AGREE TO BE BOUND BY THE TERMS AND CONDITIONS
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oneboxlive.com                                                                                                                                                                                                  1/3
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                                                     UR WAY01/30/20 Page 18 of 460 PageID 95
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                                                                                                 Privacy Policy


      This Privacy Policy is designed to help you obtain informa on about our privacy prac ces and to help you understand your privacy choices when you use our Sites and Services. Please note that our
                                                                                      Service oﬀerings may vary by region.



                                                                                        What Personal Data Do We Collect?

     When you register to use our Services by establishing an Account, we will collect Personal Data as necessary to oﬀer and fulﬁll the Services you request. Depending on the Services you choose, we may
      require you to provide us with your name, postal address, telephone number, email address and iden ﬁca on informa on to establish an Account. We may require you to provide us with addi onal
                                                                                       Personal Data as you use our Services.

        When you use our Services or access our Sites, for example, to make a purchase we collect informa on about the transac on, as well as other informa on associated with the transac on such as
                                               amount paid for services, including informa on about any funding instruments used to complete the transac on.



                                                                                        What Personal Data Do We Retain?

     We retain Personal Data to fulﬁll our legal or regulatory obliga ons and for our business purposes. We may retain Personal Data for longer periods than required by law if it is in our legi mate business
      interests and not prohibited by law. If your Account is closed, we may take steps to mask Personal Data and other informa on, but we reserve our ability to retain and access the data for so long as
                                      required to comply with applicable laws. We will con nue to use and disclose such Personal Data in accordance with this Privacy Policy.



                                                                                           Do We Share Personal Data?

                                                                 We may share your Personal Data or other informa on for the following reasons:

                                                                           ·    Personal Data necessary to facilitate the transac on.

                                                          ·   Informa on to help other par cipant(s) resolve disputes and detect and prevent fraud.

                                                                                     How Do We Protect Your Personal Data?

        We maintain technical, physical, and administra ve security measures designed to provide reasonable protec on for your Personal Data against loss, misuse, unauthorized access, disclosure, and
     altera on. The security measures include ﬁrewalls, data encryp on, physical access controls to our data centers, and informa on access authoriza on controls. While we are dedicated to securing our
      systems and Services, you are responsible for securing and maintaining the privacy of your password(s) and Account/proﬁle registra on informa on and verifying that the Personal Data we maintain
                                                                                       about you is accurate and current.



                                                                                          Changes to This Privacy Policy

      We may revise this Privacy Policy from me to me to reﬂect changes to our business, the Sites or Services, or applicable laws. The revised Privacy Policy will be eﬀec ve as of the published eﬀec ve

                                                                                                       date.




oneboxlive.com                                                                                                                                                                                               2/3
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                                                     UR WAY01/30/20 Page 19 of 460 PageID 96




                        About OneBoxLive




                            CHANNEL LIST


                            Say goodbye to cable guy and a conventional set-top box, explore the new era of TV viewing with internet TV. Connect with TV UR WAY and
                            change the way you have been watching TV. We bring the best IPTV subscription packages for you. Get ready to explore the exciting world of
                            thousands of channels on your TV. Create a trial account and get ready for the unlimited fun and entertainment.


                            Opt for IPTV and experience the best viewing experience on your smart TV set. The crystal clear picture and thundering sound quality will
                            definitely double the joy of watching your favorite series and movies on your smart TV.


                            If you are wondering whether you should stay with us or explore more options, then here we are giving more reasons to stay with us and you
                            would definitely thank us for giving such beneficial deal!!


                            If you are wondering what we can offer to you, then you are suggested to be the part of our 1 day trial or 3 day pass, see it for believing.


                            Opt for a trial plan and take your first step to be the lifetime member of IPTV.




oneboxlive.com/home/about                                                                                                                                                  1/1
4/2/2019   Case 8:19-cv-02147-JSM-SPF DocumentIPTV
                                                16-1   Filed Packages
                                                   Subscription 01/30/20 Page 20 of 460 PageID 97




                                                  Can't find what you are looking for? Contact Us

                        1 Month IPTV Hosting (2 connection)            1 Month IPTV Hosting (3 connection)            1 Month IPTV Hosting (4 connection)



                                            $19                                           $27                                            $35
                              LIVE TV IN HIGH DEFINITION                    LIVE TV IN HIGH DEFINITION                     LIVE TV IN HIGH DEFINITION


                              HIgh Reliability                              HIgh Reliability                               HIgh Reliability


                              Sports Channels                               Sports Channels                                Sports Channels


                              Comprehensive Channel List                    Comprehensive Channel List                     Comprehensive Channel List



                                         SUBSCRIBE                                     SUBSCRIBE                                      SUBSCRIBE




                        1 Month IPTV Hosting (5 connection)                        OneBoxTV Plus



                                            $39                                           $250
                              LIVE TV IN HIGH DEFINITION                 Shipping Included


                              HIgh Reliability                                               BUY


                              Sports Channels


                              Comprehensive Channel List



                                         SUBSCRIBE




                      1 line can have multiple connections using same username/pass. So for example, if you bought 5 connection package
                      then you use same username/password on all 5 devices.
                      Contact us if unhappy for any reason for no hassle 60 day refund. Our Number is 877-74VIDEO(877-748-4336)




oneboxlive.com/home/pricing                                                                                                                                 1/1
4/2/2019   Case 8:19-cv-02147-JSM-SPF Document 16-1OneBoxLive
                                                     Filed 01/30/20
                                                              -     Page 21 of 460 PageID 98




                                                             VPN Servers
                      Show 10        entries                  Search:
                                                                                                     Previous      1     Next


                         Server Name                Status      Physical Location                                Server Load


                                                    Online     Chicago,Illinois,United States(US)               29.51%
                       US23.vpnstreamer.com


                                                    Online     Chicago,Illinois,United States(US)               38.44%
                       US25.vpnstreamer.com


                                                    Online     Amsterdam,Amsterdam,Netherlands(NL)              23.21%
                       UK1.vpnstreamer.com

                      Showing 1 to 3 of 3 entries                                                    Previous      1     Next




oneboxlive.com/home/vpnServer                                                                                                   1/1
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                        PART
                          1
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  Later that day on Thursday, December 13, 2018, the investigator traveled to Toltec Headquarters to
  further document the OneBoxTV box. The item contained the following identifying numbers:

         MAC:

  The item included a User Manual, keyboard remote, and OneBoxTV promotional advertisements. The
  item was documented as evidence, repackaged, and shipped to the client on Thursday, December 13,
  2018.

  Please see Appendix II at the end of this report for additional detailed information and documentation
  regarding the item purchased from OneBoxTV.




                                          *** End of Report ***




                                                                                                      3
                                          Toltec Investigations LLC
                               Saint Petersburg, FL 33703 – (727) 403-1129
                               State of Florida License Number – A 2900314
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                                    OneBoxTV Booth #23
                           (listed as Booth #22 on business card)




                                                                             7
                                   Toltec Investigations LLC
                        Saint Petersburg, FL 33703 – (727) 403-1129
                        State of Florida License Number – A 2900314
Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 28 of 460 PageID 105




                                                                             8
                                   Toltec Investigations LLC
                        Saint Petersburg, FL 33703 – (727) 403-1129
                        State of Florida License Number – A 2900314
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                                                                            15
                                   Toltec Investigations LLC
                        Saint Petersburg, FL 33703 – (727) 403-1129
                        State of Florida License Number – A 2900314
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                                                                            22
                                   Toltec Investigations LLC
                        Saint Petersburg, FL 33703 – (727) 403-1129
                        State of Florida License Number – A 2900314
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                                                                            25
                                   Toltec Investigations LLC
                        Saint Petersburg, FL 33703 – (727) 403-1129
                        State of Florida License Number – A 2900314
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                                                                            26
                                   Toltec Investigations LLC
                        Saint Petersburg, FL 33703 – (727) 403-1129
                        State of Florida License Number – A 2900314
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                        PART
                          2
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    I.   Executive Summary

  A covert purchase to OneBox TV was requested by the Client as part of an investigation to determine if
  the content provider has infringed any copyright law through the unauthorize distribution, theft,
  reproduction, storage or sale of protected intellectual property.



   II.   Case Objectives

  The following are the investigative objectives and the plan of action for this case:

                     INVESTIGATIVE TASKS TO COMPLETE AND FINDINGS
  1. Purchase a 1-month subscription from OneBox TV.

  Findings: Completed
  The Client requested a purchase of a 1-month subscription through the following website:
  http://oneboxlive.com//home/newSubscriber. The investigator visited the website and submitted
  the $19.00 purchase.


  2. Purchase an M3U playlist.

  Findings: Completed
  The M3U playlist was provided by OneBox TV after the account and payment were verified.
  The M3U playlist can be accessed through:
  http://new.oneboxlive.com:83/get.php?username=
  password=           &type=m3u_plus&output=ts

  3. Obtain the service instructions to use on a FireStick.

  Findings: Completed
  The provider indicated that he didn’t have experience with Amazon FireSticks; however, he
  emailed generic instructions on how to use the service with the Amazon FireStick. The service
  instructions were provided along with the M3U playlist after the account and payment were
  verified.

  4. Provide the subscription login credentials to the Client.

  Findings: Completed
  An email was sent to the Client with the username, password and M3U playlist.
  Username:
  Password:


                                                                                                      2
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  The credentials to access the website were also provided. The client portal can be accessed via
  the link: http://oneboxlive.com//home/login

  Website credentials:
  Username:
  Password:



  III.   Investigation Details

  April 5, 2019
  The case was received and the assignment was reviewed. The investigator visited the website
  provided by the Client: http://oneboxlive.com//home/newSubscriber, at which time it was noted
  that the drop down box only offered “Android” for the device. An email was sent to
  Sales@oneboxtv.com in order to get clarification. An email was received from the provider
  indicating that he didn’t have experience working with Amazon FireSticks; however, he provided
  generic instructions on how to use the service using a FireStick.
  April 8, 2019
  The purchase of $19.00 was made by selecting to pay via www.authorized.net using a pre-paid
  card since the provider was having difficulty receiving the payment via PayPal. An email was
  received with the credentials to access the client portal. The username is:
                           and the password is:        . The client portal can be accessed via the
  link: http://oneboxlive.com//home/login

  An email was received from sales@oneboxtv.com with the credentials to access the service along
  with the instructions. The username is:           and the password:          . The service can
  be accessed via the link: http://new.oneboxlive.com:83/get.php?username=
  password=             &type=m3u_plus&output=ts



  IV.    Conclusion and Case Status

  The investigator completed the objectives of the assignment. No recommendations are made
  at this time. The case status is: closed.



                                      **End of Report***



                                                                                                    3
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                                         CASE IMAGE LOG
   Case #:             201904-007
   Target:             OneBox TV
   NagraStar case #:   20190521
   Task #:             2475
   Investigator:
   Images:             10

   Image #:1




   Image                Image of the website: www.oneboxlive.com/home/pricing with the
   Description:                       description and price of the services.



   Image #: 2




   Image                Image of the “New Subscriber” page after selecting the service. It
   Description:          was noted that three payment options are offered; however, the




                                                                                             4
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                        PART
                          3
Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 38 of 460 PageID 115




    I.   Executive Summary

  A covert purchase to ONEBOX TV was requested by the Client as part of an investigation to
  determine if the content provider has infringed any copyright law through the unauthorized
  distribution, theft, reproduction, storage or sale of protected intellectual property.



   II.   Case Objectives

  The following are the investigative objectives and the plan of action for this case:

                      INVESTIGATIVE TASKS TO COMPLETE AND FINDINGS
  1. Renewal of the 1-month subscription to ONEBOX TV.

  Findings: Completed
  The Client requested the renewal of the 1-month subscription to ONEBOX TV. The investigator
  visited the website: http://oneboxlive.com//home/login and submitted the $19.00 purchase.



  III.   Investigation Details

  May 6, 2019
  An email was received from the Client requesting a 1-month renewal subscription for the
  ONEBOX TV service. The investigator visited the client portal link provided by the content
  provider: http://oneboxlive.com//home/login, and entered the login credentials in order to
  submit the 1-month subscription purchase. The purchase was submitted via PayPal using a pre-
  paid card.

  Credentials:
  Username:
  Password:




                                                                                            2
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  IV.    Conclusion and Case Status

  The investigator completed the objectives of the assignment. No recommendations are made
  at this time. The case status is: closed.




                                      **End of Report***
                                                Disclosure
  This confidential report is intended solely for the use of the Client to whom it is addressed. This
  confidential report was submitted in anticipation of future litigation and it should be considered
   attorney/client work product. The public record information contained in this report has been
                           obtained through online public record sources.




                                                                                                   3
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                                          CASE IMAGE LOG
   Case #:             201904-007
   Target:             ONEBOX TV
   NagraStar case #:   20190521
   Task #:             2475
   Investigator:
   Images:             5

   Image #:1




   Image                   Image of the client portal: http://oneboxlive.com//home/login. This
   Description:             image shows the expiration date as well as the “Renew” button.


   Image #: 2




   Image               Image of the client portal: http://oneboxlive.com//home/login with the
   Description:          PayPal payment portal tab. This image shows the service being
                                           purchased as well as the cost.




                                                                                                 4
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   Image #: 3




   Image             Image of the client portal: http://oneboxlive.com//home/login. This
   Description:     image shows the confirmation that the payment was processed and
                                          the service was renewed.




   Image #: 4




   Image             Image of the client portal: http://oneboxlive.com//home/login. This
   Description:               image shows the new expiration date: 06/07/19.




                                                                                           5
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               EXHIBIT
                  6
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Account Info for Donna Fogle

User Info                                                        Account Info
               First Name: Donna                                           Account Status: Open
             Middle Name:
                                                                               Account #:                     8247
               Last Name: Fogle
                                                                            Account Type: Business - Verified - Cat205RW
                     SSN:          9022 (2)
                                                                            Time Created: Jul 7, 2015 14:22:21 PDT
                      TIN:         3757
                                                                 Financials
                     DOB:
                                                                         Account Balance: $0.00 USD
    Credit Card Statement ONEBOXTVLLC
                   Name:                                           Total Amount Sent (USD $174,610.74 USD
                    Email: Sales@oneboxtv.com                                      Equiv):
                                                                   Total Amount Received: $34,823.65 USD
Business Info
                                                                        Amount Received:      Current Month: $25,996.15 USD
                    Name: OneBoxTV LLC                             (A month is determined
                                                                                              Last 3 Months: $111.00 USD
                      URL:                                           by user's signup date,
                                                                                                             $25.00 USD
                                                                        NOT by a calendar
 Customer Service Phone:                                                                                     $15.00 USD
                                                                                    month)
                                                                    Pending Balance To Be
                                                                                Released:
                                                                        Minimum Reserve $0.00 USD* (0 % - $0.00 USD)
                                                                               Balance: [Details]
                                                                   Rolling Reserve Balance: $0.00 USD* (0 % - 0 days) [Details]
                                                                         Release Amount: $0.00 USD* (0 % - 0 days)         [Details]

E-mail
E-mail                                                 Primary                Confirmed                        Active
Sales@oneboxtv.com
bill@oneboxtv.com

Aliases

Name             Login Alias    Privileges                                                Active
No data for this request.


Phone numbers
Phone Number                                     Type                 Confirmation Status
610-533-3150                                     Work                 Unconfirmed
904-608-0712                                     Mobile               Confirmed

Addresses
Date Entered                   Address                                                        Use
10/7/2017                      OneBoxTV LLC
                               7466 Cortez Rd W #134
                               Bradenton, FL 34210
                               United States
10/7/2017                      OneBoxTV LLC
                               7466 Cortez Rd W #134
                               Bradenton, FL 34210
                               United States
10/31/2016                     OneBoxTV LLC                                                   (CC 3166 Confirmed)
                               5726 Cortez Rd W #134
                               Bradenton, FL 34210
                               United States
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166.172.188.84                      1                  Jan 23, 2016 17:55:31 PST                    Jan 23, 2016 17:55:31 PST
166.172.188.162                     1                  Jan 18, 2016 18:34:30 PST                    Jan 18, 2016 18:34:30 PST
166.172.187.92                      3                  Jan 11, 2016 18:05:59 PST                    Jan 11, 2016 18:12:44 PST
207.172.237.104                     29                 Jul 7, 2015 14:22:22 PDT                     Dec 28, 2015 08:09:37 PST
166.170.30.207                      1                  Dec 3, 2015 07:09:36 PST                     Dec 3, 2015 07:09:36 PST
166.170.31.14                       1                  Dec 2, 2015 18:39:20 PST                     Dec 2, 2015 18:39:20 PST
166.170.30.205                      1                  Nov 3, 2015 20:31:32 PST                     Nov 3, 2015 20:31:32 PST
166.170.30.91                       2                  Oct 8, 2015 11:02:06 PDT                     Oct 8, 2015 14:37:34 PDT
166.171.58.116                      1                  Sep 26, 2015 09:58:22 PDT                    Sep 26, 2015 09:58:22 PDT
166.171.57.67                       1                  Sep 26, 2015 09:49:23 PDT                    Sep 26, 2015 09:49:23 PDT

                              IP Protection Disabled                      [Toggle]

Restrictions
Restriction                        Attack Case ID                            Time Restricted                     Time Lifted
No restrictions on this account.

Banks
Type          Status                Confirmed                   Bank Name               Name                    Routing #       Bank Acct #
Checking      Active - Primary      Confirmed (rand dep)        WELLS FARGO BANK        Donnafogle OneBoxTV     063107513               9888
Checking      Active                Confirmed (rand dep)        WELLS FARGO BANK        Donnafogle OneBoxTV     031000503               6221

Credit cards
Type              Status            Confirmed           Name                CC Number                  Exp.        Currency         Issuer

      Debit       Active            CVV2                Donna Fogle                        3166                    USD

      Debit       Inactive          CVV2                Donna Fogle                       -0819                    USD

Debit cards
Type          DC Number                  Status        Req Date           Act Date       Exp Date         ATM Limit            POS Limit
No Debit cards on file

Secure Card Attributes
                                                       Billing Address: 4673 STEVEN LANE
                                                                        WALNUTPORT PA 18088
                                             Secure Card Numbers: Agent Disabled
                                                                                                                                  [View all card numbers]
                                            Backup Funding Source:
                                                  Daily Spending Limit   $500
                                                                         $500


PayPal Cards

PayPal Cards Account Details
                             PayPal Cards Account Number:
                                             Expiration Date:
                                             Account Status:
                                 Funding Source Availability: Disabled
                                           Authorized Users: Not Available

Auctions
Auction User ID                                                             Auction Manager
                                                                            User ID
No Auctions on file

                                                                                                                                                  Go to top

Mobile payments
Phone                  Status                     Pending                Notification             Date Added                   Signup
                                                                                                            Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 45 of 460 PageID 122

               A                         B                    C         D         E          F         G         H          I         J         K         L         M          N         O          P        Q          R          S          T         U          V          W          X          Y          Z         AA        AB         AC         AD         AE         AF        AG         AH         AI            AJ      AK        AL        AM          AN         AO         AP         AQ         AR         AS        AT         AU        AV        AW         AX         AY        AZ         BA         BB          BC        BD         BE         BF        BG         BH        BI        BJ        BK         BL       BM   BN
 1    Name                   Fogle, Donna
 2    Email                  Sales@oneboxtv.com
 3    Account Number                            8247_
 4    Account Status         Open Premier or Business
 5    Account Type           U.S. Business Verified
 6    Balance (USD Equiv.)                            0
 7    Total Amount Sent                     174,610.74
 8    Restrictions
 9
10
11    Date                   Time                         Time Zone Name        Type        Status    Bank Nam Bank Acco Check Sen Subject    Other IP Currency Gross     Fee       Net       Note        Masspay C Return CodFrom Ema From Acco From Acco To Email A To Accoun To Accoun Seller Ebay Transactio Payment TCounterpa Shipping A Address St Item Title Item ID            Shipping a Insurance Sales Tax Tip        Discount Seller Id   Option 1 N Option 1 V Option 2 N Option 2 V Auction Sit Buyer ID  Item URL Closing Da Escrow Id Invoice Id Reference Invoice Nu Subscriptio Custom Nu Receipt ID Balance     Address Li Address Li Town/City State/Prov Zip/Postal CountryContact Ph Risk Filter Balance Im Button Sou
12             10/28/2019                      7:42:59    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1572505200~USD             18.88         0     18.88                                 ...                                                                         85531177KInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  8EK10067T26062612                                       18.88                                                                                       Credit
13             10/28/2019                      7:42:59    PDT      Upwork Es PreapproveCompleted                                  Upwork Services       USD        ‐18.88         0    ‐18.88                                 Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 8EK10067TInstant Tra Verified                              Upwork Services                 0                    0                                                                                                                                                        AE8398879D9821159                                 0                                                                                       Debit     PayPal_SDK
14             10/21/2019                      7:42:31    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1571900400~USD              9.45         0      9.45                                 ...                                                                         70A83449PInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  5V341442PU981010H                                        9.45                                                                                       Credit
15             10/21/2019                      7:42:31    PDT      Upwork Es PreapproveCompleted                                  ~@~CLD:1571900400~USD             ‐9.45         0     ‐9.45                                 Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 5V341442PInstant Tra Verified                              Upwork Services                 0                    0                                                                                                                                                        AE8398879D9787018                                 0                                                                                       Debit     PayPal_SDK
16             10/16/2019                     14:10:16    PDT      ...         Faster FundCompleted                               ~@~CLD:1571900400~USD               ‐45     ‐0.45    ‐44.55                                 ...                                                                         4XF46011YCredit Card [Unknown]                                                                                                                                                                                                                                                                                        0                                                                                       Debit
17             10/16/2019                     13:58:42    PDT      DROB TECHMobile PayCompleted                                   ~@~CLD:1571900400~USD                45         0        45                                 drob.tech1 Open PremU.S. Businesales@one Open PremU.S. Business Verified 6Y9159770Instant        Verified                                                                                                                                                                                                                                                                                        45                                                                                       Credit
18              9/16/2019                      7:38:46    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1568876400~USD              9.45         0      9.45                                 ...                                                                         0WG39318Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                   79F05265D5837923J                                        9.45                                                                                       Credit
19              9/16/2019                      7:38:46    PDT      Upwork Es PreapproveCompleted                                  ~@~CLD:1571900400~USD             ‐9.45         0     ‐9.45                                 Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 79F05265DInstant Tra Verified                              Upwork Services                 0                    0                                                                                                                                                        AE8398879D9609633                                 0                                                                                       Debit     PayPal_SDK
20              9/10/2019                      8:39:27    PDT      ...         Faster FundCompleted                               ~@~CLD:1568876400~USD               ‐19     ‐0.19    ‐18.81                                 ...                                                                         146154532Credit Card [Unknown]                                                                                                                                                                                                                                                                                        0                                                                                       Debit
21              9/10/2019                      8:33:52    PDT      ...         Chargebac Completed                                ~@~CLD:1568876400~USD                19         0        19                                 ...                                                                         3S337030HR959854M                                                                                                                                                                                                                                         53391661AT090683X                                          19                                                                                       Credit
22               9/7/2019                     14:25:14    PDT      ...         Faster FundCompleted                               ~@~CLD:1568876400~USD               ‐44     ‐0.44    ‐43.56                                 ...                                                                         55U823334Credit Card [Unknown]                                                                                                                                                                                                                                                                                        0                                                                                       Debit
23               9/5/2019                     20:01:42    PDT      DROB TECHMobile PayCompleted                                   ~@~CLD:1568876400~USD                44         0        44                                 drob.tech1 Open PremU.S. Businesales@one Open PremU.S. Business Verified 7B7390610Instant        Verified                                                                                                                                                                                                                                                                                        44                                                                                       Credit
24               9/4/2019                     18:39:19    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1568012400~USD                50         0        50                                 ...                                                                         8FR61709FInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  97B20844C46829145                                          50                                                                                       Credit
25               9/4/2019                     18:39:19    PDT      alonso garzMobile PayCompleted                                 ~@~CLD:1568012400~USD               ‐50         0       ‐50                                 Sales@oneOpen PremU.S. Businealonsojr113Open         U.S. Personal Verified 97B20844CInstant Tra Verified                                                                                                                                                                                                                                                                                         0                                                                                       Debit
26              8/24/2019                      3:24:11    PDT      ...         Withdraw Completed WELLS FAR        9888           ~@~CLD:1568012400~USD             ‐96.8         0     ‐96.8                                 ...                                                                         60Y55584JG618264E                                                                                                                                                                                                                                                                                                     0                                                                                       Debit
27              8/23/2019                     20:55:28    PDT      Margaret FInstant Tra Completed                                ~@~CLD:1568012400~USD               100      ‐3.2      96.8                                 hilltopcraftOpen PremU.S. Premie904‐608‐0712                                67U156916Instant     Verified Margaret FNon‐Confirmed                                                                                                                                                                                                                                                              96.8   4673 STEVEN LANE WALNUTPOPA               18088 United States                       Credit
28              8/19/2019                      7:23:16    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1566457200~USD              9.45         0      9.45                                 ...                                                                         2RU13346PInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  22N71580GP186292B                                        9.45                                                                                       Credit
29              8/19/2019                      7:23:16    PDT      Upwork Es PreapproveCompleted                                  ~@~CLD:1568012400~USD             ‐9.45         0     ‐9.45                                 Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 22N71580GInstant Tra Verified                              Upwork Services                 0                    0                                                                                                                                                        AE8398879D9471762                                 0                                                                                       Debit     PayPal_SDK
30              8/12/2019                      7:24:19    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1565852400~USD             28.33         0     28.33                                 ...                                                                         4W147067 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  4GD05730FJ168133V                                       28.33                                                                                       Credit
31              8/12/2019                      7:24:19    PDT      Upwork Es PreapproveCompleted                                  ~@~CLD:1565852400~USD            ‐28.33         0    ‐28.33                                 Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 4GD05730 Instant Tra Verified                              Upwork Services                 0                    0                                                                                                                                                        AE8398879D9438486                                 0                                                                                       Debit     PayPal_SDK
32               8/7/2019                     11:44:57    PDT      ...         Withdraw Completed WELLS FAR        9888           ~@~CLD:1565852400~USD               ‐53         0       ‐53                                 ...                                                                         9E231628F68756055                                                                                                                                                                                                                                                                                                     0                                                                                       Debit
33               8/7/2019                     10:51:48    PDT      DROB TECHMobile PayCompleted                                   ~@~CLD:1565852400~USD                53         0        53                                 drob.tech1 Open PremU.S. Businesales@one Open PremU.S. Business Verified 9B037464TInstant        Verified                                                                                                                                                                                                                                                                                        53                                                                                       Credit
34              7/29/2019                      7:23:50    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1564642800~USD              66.1         0      66.1                                 ...                                                                         3K109389PInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  9E3719763K7260215                                        66.1                                                                                       Credit
35              7/29/2019                      7:23:50    PDT      Upwork Es PreapproveCompleted                                  ~@~CLD:1565852400~USD             ‐66.1         0     ‐66.1                                 Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 9E3719763Instant Tra Verified                              Upwork Services                 0                    0                                                                                                                                                        AE8398879D9369747                                 0                                                                                       Debit     PayPal_SDK
36              7/22/2019                      7:23:23    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1564038000~USD             84.77         0     84.77                                 ...                                                                         58522887HInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  7D8818715J3298831                                       84.77                                                                                       Credit
37              7/22/2019                      7:23:23    PDT      Upwork Es PreapproveCompleted                                  ~@~CLD:1564038000~USD            ‐84.77         0    ‐84.77                                 Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 7D8818715Instant Tra Verified                              Upwork Services                 0                    0                                                                                                                                                        AE8398879D9336288                                 0                                                                                       Debit     PayPal_SDK
38              7/15/2019                      7:24:44    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1563433200~USD             45.77         0     45.77                                 ...                                                                         7RB17523BInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  53M553302C882153M                                       84.77                                                                                       Credit
39              7/15/2019                      7:24:44    PDT      Upwork Es PreapproveCompleted                                  Upwork Services       USD        ‐84.77         0    ‐84.77                                 Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 53M55330 Instant Tra Verified                              Upwork Services                 0                    0                                                                                                                                                        AE8398879D9302017                                 0                                                                                       Debit     PayPal_SDK
40               7/9/2019                      5:45:33    PDT      ...         Update to ACompleted                               ~@~CLD:1563433200~USD                39         0        39                                 ...                                                                         69N27987E9022705Y                                                                                                                                                                                                                                         24L98838CC707100X                                          39                                                                                       Credit
41               7/8/2019                      7:39:57    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1562828400~USD            101.15         0   101.15                                  ...                                                                         8E6647935Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  2PM12490WB865194V                                       103.6                                                                                       Credit
42               7/8/2019                      7:39:57    PDT      Upwork Es PreapproveCompleted                                  ~@~CLD:1562655600~USD            ‐103.6         0    ‐103.6                                 Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 2PM12490 Instant Tra Verified                              Upwork Services                 0                    0                                                                                                                                                        AE8398879D9268637                                 0                                                                                       Debit     PayPal_SDK
43               7/7/2019                      9:53:58    PDT      DROB TECHMobile PayCompleted                                   ~@~CLD:1562828400~USD                43     ‐1.55     41.45                                 drob.tech1 Open PremU.S. Businesales@one Open PremU.S. Business Verified 2MU29579Instant         Verified DROB TECHConfirmed                                                                                                                                                                                                                                                                   2.45   197 PARK SIDE DRIVE SUFFERN NY            10901 United States                       Credit
44               7/3/2019                      7:26:36    PDT      ...         Add Funds Completed WELLS FAR       9888           ~@~CLD:1562655600~USD                39         0        39                                 ...                                                                         24L98838CC707100X                                                                                                                                                                                                                                                                                                   ‐39                                                                                       Credit
45               7/1/2019                      7:42:09    PDT      ...         Charge Fro Completed                                                     USD         94.19         0     94.19                                 ...                                                                         3VT34374HCredit Card [Visa Debit Card XXXX‐XXXX‐XXXX‐3166]                                                                                                                                                                                                1T452850YU1061315                                       55.19                                                                                       Credit
46               7/1/2019                      7:42:09    PDT      Upwork Es PreapproveCompleted                                  Upwork Services       USD        ‐94.19         0    ‐94.19                                 Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 1T452850YCredit CardVerified                               Upwork Services                 0                    0                                                                                                                                                        AE8398879D9235439                               ‐39                                                                                       Debit     PayPal_SDK
47              6/27/2019                      5:10:46    PDT      ...         Chargebac Completed                                                      USD           ‐19       ‐20       ‐39                                 ...                                                                         75N08198H3667270L                                                                                                                                                                                                                                         53391661AT090683X                                         ‐39                                                                                       Debit
48              6/24/2019                      7:41:40    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1561618800~USD             75.35         0     75.35                                 ...                                                                         16192295J Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                 2F903730TA917530V                                       75.35                                                                                       Credit
49              6/24/2019                      7:41:40    PDT      Upwork Es PreapproveCompleted                                  Upwork Services       USD        ‐75.35         0    ‐75.35                                 Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 2F903730TInstant Tra Verified                              Upwork Services                 0                    0                                                                                                                                                        AE8398879D9202370                                 0                                                                                       Debit     PayPal_SDK
50              6/17/2019                      7:41:30    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1561014000~USD            131.86         0   131.86                                  ...                                                                         54695361AInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  4W360881H5682435B                                      131.86                                                                                       Credit
51              6/17/2019                      7:41:30    PDT      Upwork Es PreapproveCompleted                                  ~@~CLD:1561014000~USD           ‐131.86         0 ‐131.86                                   Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 4W360881 Instant Tra Verified                              Upwork Services                 0                    0                                                                                                                                                        AE8398879D9169631                                 0                                                                                       Debit     PayPal_SDK
52              6/16/2019                      8:01:26    PDT      ...         Faster FundCompleted                               ~@~CLD:1561014000~USD            ‐45.34     ‐0.45    ‐44.89                                 ...                                                                         5U892919UCredit Card [Unknown]                                                                                                                                                                                                                                                                                        0                                                                                       Debit
53              6/16/2019                      7:12:16    PDT      DROB TECHMobile PayCompleted                                   ~@~CLD:1561014000~USD                47     ‐1.66     45.34 Affilaye                        drob.tech1 Open PremU.S. Businesales@one Open PremU.S. Business Verified 89B46266DInstant        Verified DROB TECHConfirmed                                                                                                                                                                                                                                                                  45.34   197 PARK SIDE DRIVE SUFFERN NY            10901 United States                       Credit
54              6/10/2019                      8:26:30    PDT      Elaine GrenUpdate to Completed                                 ~@~CLD:1561014000~USD               ‐19      0.55    ‐18.45                                 efgrenier@Open        U.S. Personsales@one Open PremU.S. Business Verified 4G084886E80837843                                                                                                                                                                                                                                          4TD54383HU318010H                                           0                                                                                       Memo
55              6/10/2019                      7:40:39    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1560409200~USD            122.45         0   122.45                                  ...                                                                         6DE024284Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  4AG4307578204444V                                      122.45                                                                                       Credit
56              6/10/2019                      7:40:39    PDT      Upwork Es PreapproveCompleted                                  ~@~CLD:1561014000~USD           ‐122.45         0 ‐122.45                                   Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 4AG430757Instant Tra Verified                              Upwork Services                 0                    0                                                                                                                                                        AE8398879D9137125                                 0                                                                                       Debit     PayPal_SDK
57               6/4/2019                      7:22:21    PDT      PayPal      Cancelled FCompleted                                                     USD          0.55         0      0.55                                 ...                                                                         2NV737754K587164P                                                                                                                                                                                                                                         2LJ22916PR6771713                                           0                                                                                       Memo
58               6/4/2019                      7:22:21    PDT      ...         eCheck AddCompleted WELLS FAR       9888           ~@~CLD:1559890800~USD             18.45         0     18.45                                 ...                                                                         5X586425HeCheck [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                            4TD54383HU318010H                                           0                                                                                       Memo
59               6/4/2019                      7:22:21    PDT      Elaine GrenRefund        Completed                             ~@~CLD:1559890800~USD               ‐19      0.55    ‐18.45                                 efgrenier@Open        U.S. Personsales@one Open PremU.S. Business Verified 4TD54383HU318010H                                                                                                                                                                                                                                          54P294719W304270W                                       ‐0.55                                                                                       Debit
60               6/4/2019                      7:20:44    PDT      PayPal      Cancelled FCompleted                                                     USD          0.85         0      0.85                                 ...                                                                         2RY70946CM377020C                                                                                                                                                                                                                                         97H41733KV014833S                                           0                                                                                       Memo
61               6/4/2019                      7:20:44    PDT      william barRefund        Completed                             ~@~CLD:1559890800~USD               ‐19      0.85    ‐18.15                                 whbjr58@cOpen         U.S. Personsales@one Open PremU.S. Business Verified 06532177LF933134V                                                                                                                                                                                                                                          66R5296268631994E                                           0                                                                                       Debit
62               6/4/2019                      4:07:11    PDT      william barRecurring PRefunded                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 whbjr58@cOpen         U.S. Personsales@one Open PremU.S. Business Verified 66R529626Instant      Unverified william barConfirmed                                                                                                                                                                                                                                                              18.15   9860 Grackle Loop       Lakeland FL       33810 United States                       Credit
63               6/3/2019                      7:39:34    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1559804400~USD             94.19         0     94.19                                 ...                                                                         53N21693NInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  7L253458EJ264500T                                       94.19                                                                                       Credit
64               6/3/2019                      7:39:34    PDT      Upwork Es PreapproveCompleted                                  ~@~CLD:1559890800~USD            ‐94.19         0    ‐94.19                                 Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 7L253458E Instant Tra Verified                             Upwork Services                 0                    0                                                                                                                                                        AE8398879D9103450                                 0                                                                                       Debit     PayPal_SDK
65               6/2/2019                     18:49:05    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1559718000~USD            944.82         0   944.82                                  ...                                                                         42F91683AInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  4SY77247S93326301                                      944.82                                                                                       Credit
66               6/2/2019                     18:49:05    PDT                  Mobile PayCompleted                                ~@~CLD:1559718000~USD           ‐939.83     ‐4.99 ‐944.82                                   Sales@oneOpen PremU.S. BusineFinance@f Open PremChinese Business Verif4SY77247S Instant Tra Non‐U.S. ‐ Verified                                                                                                                                                                                                                                                                                   0                                                                                       Debit
67              5/27/2019                      7:39:42    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1559199600~USD             84.77         0     84.77                                 ...                                                                         9WJ61170EInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  26J95946T2014944S                                       84.77                                                                                       Credit
68              5/27/2019                      7:39:42    PDT      Upwork Es PreapproveCompleted                                  ~@~CLD:1559718000~USD            ‐84.77         0    ‐84.77                                 Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 26J95946T Instant Tra Verified                             Upwork Services                 0                    0                                                                                                                                                        AE8398879D9070227                                 0                                                                                       Debit     PayPal_SDK
69              5/20/2019                     16:57:00    PDT      ...         Faster FundCompleted                               ~@~CLD:1559199600~USD            ‐54.08     ‐0.54    ‐53.54                                 ...                                                                         0YV40485XCredit Card [Unknown]                                                                                                                                                                                                                                                                                        0                                                                                       Debit
70              5/20/2019                     16:40:00    PDT      DROB TECHMobile PayCompleted                                   ~@~CLD:1559199600~USD                56     ‐1.92     54.08 Affiliate                       drob.tech1 Open PremU.S. Businesales@one Open PremU.S. Business Verified 9V2248989Instant        Verified DROB TECHConfirmed                                                                                                                                                                                                                                                                  54.08   197 PARK SIDE DRIVE SUFFERN NY            10901 United States                       Credit
71              5/20/2019                      7:40:09    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1558594800~USD             65.93         0     65.93                                 ...                                                                         5U271616RInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  0VG71351BR738342S                                       65.93                                                                                       Credit
72              5/20/2019                      7:40:09    PDT      Upwork Es PreapproveCompleted                                  ~@~CLD:1559199600~USD            ‐65.93         0    ‐65.93                                 Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 0VG71351BInstant Tra Verified                              Upwork Services                 0                    0                                                                                                                                                        AE8398879D9036290                                 0                                                                                       Debit     PayPal_SDK
73              5/13/2019                      9:58:27    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1557990000~USD            162.75         0   162.75                                  ...                                                                         3L427937GInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  4Y170235JU862123K                                      162.75                                                                                       Credit
74              5/13/2019                      9:58:27    PDT      fiverr.com PreapproveCompleted                                 ~@~CLD:1558594800~USD           ‐162.75         0 ‐162.75                                   Sales@oneOpen PremU.S. Businepaypal@fivOpen PremIsraeli Business Verifie4Y170235J Instant Tra Non‐U.S. ‐ Verified                 write a killer SEO amaz         0                    0                                                                                                                                                        0eff7c20b881302a15b0                              0                                                                                       Debit     ActiveMerchant
75              5/13/2019                      7:40:53    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1557990000~USD            113.71         0   113.71                                  ...                                                                         5GC663377Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  55T36835FT782360V                                      131.86                                                                                       Credit
76              5/13/2019                      7:40:53    PDT      Upwork Es PreapproveCompleted                                  ~@~CLD:1557990000~USD           ‐131.86         0 ‐131.86                                   Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 55T36835FInstant Tra Verified                              Upwork Services                 0                    0                                                                                                                                                        AE8398879D9005021                                 0                                                                                       Debit     PayPal_SDK
77              5/12/2019                      4:42:10    PDT      Elaine GrenRecurring PRefunded                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 efgrenier@Open        U.S. Personsales@one Open PremU.S. Business Verified 54P294719Instant      Unverified Elaine GrenConfirmed                                                                                                                                                                                                                                                              18.15   6633 53rd Ave E         Bradenton FL      34203 United States                       Credit
78              5/11/2019                     15:01:35    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1557903600~USD               126         0       126                                 ...                                                                         9ET430535Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  64D52753E9186262B                                         126                                                                                       Credit
79              5/11/2019                     15:01:35    PDT      fiverr.com PreapproveCompleted                                 ~@~CLD:1557903600~USD              ‐126         0      ‐126                                 Sales@oneOpen PremU.S. Businepaypal@fivOpen PremIsraeli Business Verifie64D52753EInstant Tra Non‐U.S. ‐ Verified                  shoot professional pro          0                    0                                                                                                                                                        b05bf2852f7821e908fb                              0                                                                                       Debit     ActiveMerchant
80              5/11/2019                     14:52:19    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1557903600~USD             514.5         0     514.5                                 ...                                                                         02H03978RInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  1HN3399205677522B                                       514.5                                                                                       Credit
81              5/11/2019                     14:52:19    PDT      fiverr.com PreapproveCompleted                                 ~@~CLD:1557903600~USD            ‐514.5         0    ‐514.5                                 Sales@oneOpen PremU.S. Businepaypal@fivOpen PremIsraeli Business Verifie1HN33992 Instant Tra Non‐U.S. ‐ Verified                  shoot professional am           0                    0                                                                                                                                                        df058f4f179e42f0bf37                              0                                                                                       Debit     ActiveMerchant
82               5/9/2019                      6:52:55    PDT      ...         Faster FundCompleted                               ~@~CLD:1557903600~USD           ‐139.86      ‐1.4 ‐138.46                                   ...                                                                         7PE977816Credit Card [Unknown]                                                                                                                                                                                                                                                                                        0                                                                                       Debit
83               5/9/2019                      5:50:38    PDT      Kevin ChrisRecurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 jlchristmanLocked     U.S. Premiesales@one Open PremU.S. Business Verified 31V24611HInstant      Verified Kevin ChrisConfirmed                                                                                                                                                                                                                                                               139.86   2105 12th Ave W         Bradenton FL      34205 United States                       Credit
84               5/9/2019                      4:46:24    PDT      Leo LozeauRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 llozeau442 Open       U.S. Personsales@one Open PremU.S. Business Verified 53391661AInstant      Unverified Leo LozeauConfirmed                                                                                                                                                                                                                                                              121.71   47 Larkspur Ave         Palmetto FL       32444 United States                       Credit
85               5/9/2019                      4:14:16    PDT      Giosia MogRecurring PCompleted                                 1 Month Website HostUSD            13.5     ‐0.69     12.81                                 giosiam@gOpen PremU.S. Businesales@one Open PremU.S. Business Verified 07X44104CInstant          Verified Casa Bella, Confirmed                                                                                                                                                                                                                                                               85.41   431 9th St              West EastoPA      18042 United States                       Credit
86               5/9/2019                      4:04:36    PDT      maria delgaRecurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 mariadelgaOpen        U.S. Personsales@one Open PremU.S. Business Verified 8X857811MInstant      Unverified maria Delg Confirmed                                                                                                                                                                                                                                                               72.6   805 3rd Av #201         Palmetto FL       34221 United States                       Credit
87               5/9/2019                      3:45:04    PDT      Barbara KuRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 barb49kue Open PremU.S. Premiesales@one Open PremU.S. Business Verified 85Y53198MInstant         Verified Barbara KuConfirmed                                                                                                                                                                                                                                                                  72.6   8925 SW 171ST ST        PALMETTOFL        33157 United States                       Credit
88               5/9/2019                      3:37:33    PDT      Loreen HouRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 hcody3@y Open         U.S. Personsales@one Open PremU.S. Business Verified 4YU340774Instant      Verified Loreen HouConfirmed                                                                                                                                                                                                                                                                 54.45   20017 Oakdale Ave Brooksville FL          34601 United States                       Credit
89               5/9/2019                      3:01:21    PDT      richard joh Recurring PCompleted                               1 Month Website HostUSD              19     ‐0.85     18.15                                 knightriderOpen PremU.S. Premiesales@one Open PremU.S. Business Verified 43Y11079L Instant       Verified Richard JohConfirmed                                                                                                                                                                                                                                                                 36.3   1207 Caloosa Creek CtSun City CeFL     33573‐487 United States                      Credit
90               5/8/2019                     14:47:07    PDT      william barRecurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 whbjr58@cOpen         U.S. Personsales@one Open PremU.S. Business Verified 5D448018HInstant      Unverified william barConfirmed                                                                                                                                                                                                                                                              18.15   9860 Grackle Loop       Lakeland FL       33810 United States                       Credit
91               5/8/2019                     13:54:02    PDT      ...         Faster FundCompleted                               ~@~CLD:1557903600~USD            ‐108.9     ‐1.09 ‐107.81                                   ...                                                                         8GS87269GCredit Card [Unknown]                                                                                                                                                                                                                                                                                        0                                                                                       Debit
92               5/8/2019                      9:21:45    PDT      Git R Done Update to Updated                                   ~@~CLD:1557903600~USD                19     ‐0.85     18.15                                 mhallcoupoRestricted U.S. Business Verified                                 55S557762E065982H Verified                                                                                                                                                                                                                                22H90051L0760850M                                       108.9                                                                                       Credit
93               5/8/2019                      3:36:49    PDT      william barRecurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 whbjr58@cOpen         U.S. Personsales@one Open PremU.S. Business Verified 4RS50888L Instant     Unverified william barConfirmed                                                                                                                                                                                                                                                              90.75   9860 Grackle Loop       Lakeland FL       33810 United States                       Credit
94               5/8/2019                      3:27:20    PDT      Bryan GravRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 byrangraveOpen        U.S. Personsales@one Open PremU.S. Business Verified 2R448098UInstant      Unverified Bryan GravConfirmed                                                                                                                                                                                                                                                                72.6   407 46st St W           Palmetto FL       34221 United States                       Credit
95               5/8/2019                      3:17:19    PDT      Amber Wh Recurring PCompleted                                  1 Month Website HostUSD              19     ‐0.85     18.15                                 jorgenel15 Open       U.S. Personsales@one Open PremU.S. Business Verified 1XE25784BInstant      Unverified Amber Wh Confirmed                                                                                                                                                                                                                                                                54.45   2827 22nd St W          Bradenton FL      34207 United States                       Credit
96               5/7/2019                      6:55:48    PDT      roger hebbRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 acts16.31@Open        U.S. Personsales@one Open PremU.S. Business Verified 7SX55963NInstant      Verified Laurie Heb Confirmed                                                                                                                                                                                                                                                                 36.3   N1377 Highgreen Dr Greenville WI       54942‐961 United States                      Credit
97               5/7/2019                      5:55:51    PDT      Russell Par Recurring PCompleted                               1 Month Website HostUSD              19     ‐0.85     18.15                                 rjp0122@s Open        U.S. Personsales@one Open PremU.S. Business Verified 0C673439GInstant      Verified Russell Par Confirmed                                                                                                                                                                                                                                                               18.15   2019 S Bayou Dr         Ruskin      FL    33570 United States                       Credit
98               5/7/2019                      4:39:48    PDT      ...         Faster FundCompleted                               ~@~CLD:1557903600~USD            ‐54.45     ‐0.54    ‐53.91                                 ...                                                                         0V691922MCredit Card [Unknown]                                                                                                                                                                                                                                                                                        0                                                                                       Debit
99               5/7/2019                      4:32:46    PDT      Jason Ball Recurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 j.ball@live.Open      U.S. Personsales@one Open PremU.S. Business Verified 2HK807028Instant      Verified Jay Ball, 10 Confirmed                                                                                                                                                                                                                                                              54.45   10229 N 33Apt 269 Phoenix AZ              85051 United States                       Credit
100              5/7/2019                      4:18:23    PDT      Scott Lurgi Recurring PCompleted                               1 Month Website HostUSD              19     ‐0.85     18.15                                 tazlurgio@ Open PremU.S. Premiesales@one Open PremU.S. Business Verified 1CM40634 Instant        Verified Scott Lurgi Confirmed                                                                                                                                                                                                                                                                36.3   11305 30th CV E         Parrish     FL    34219 United States                       Credit
101              5/7/2019                      4:10:13    PDT      Jack Coury Recurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 jcoury@tamOpen        U.S. Personsales@one Open PremU.S. Business Verified 1ER49472XInstant      Verified Jack Coury,Confirmed                                                                                                                                                                                                                                                                18.15   4550 PinebApt. 601 Bradenton FL           34209 United States                       Credit
102              5/6/2019                      7:41:22    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1557385200~USD             28.26         0     28.26                                 ...                                                                         77M18150 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  2H9481151F9587429                                       28.26                                                                                       Credit
103              5/6/2019                      7:41:22    PDT      Upwork Es PreapproveCompleted                                  ~@~CLD:1557903600~USD            ‐28.26         0    ‐28.26                                 Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 2H9481151Instant Tra Verified                              Upwork Services                 0                    0                                                                                                                                                        AE8398879D8972810                                 0                                                                                       Debit     PayPal_SDK
104              5/5/2019                     22:24:02    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1557298800~USD                60         0        60                                 ...                                                                         73043799UInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  4KH69165LW934261D                                          60                                                                                       Credit
105              5/5/2019                     22:24:02    PDT      Feibiao ZhaMobile PayCompleted                                 ~@~CLD:1557385200~USD               ‐60         0       ‐60 Sample                          Sales@oneOpen PremU.S. Businepazfb123@Open PremChinese Business Verif4KH69165LInstant Tra Non‐U.S. ‐ OneBoxTV Non‐U.S.                                                                                                                                                                                                                                                                            0   8955 US Hwy 301 N #1Parrish         FL    34219 United States                       Debit
106              5/5/2019                     20:50:38    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1557298800~USD            129.99         0   129.99                                  ...                                                                         22G80336RInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  24M280234L667480W                                      129.99                                                                                       Credit
107              5/5/2019                     20:50:38    PDT      TLD Global Express Ch Completed                                ~@~CLD:1557298800~USD           ‐129.99         0 ‐129.99                                   Sales@oneOpen PremU.S. BusineZrajwani@ Open PremU.S. Business Verified 24M28023 Instant Tra Verified Donna Fog Confirmed Authentic R 3.83E+11                     0          0         0                                                                            Ebay        donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=382615576163                                        0   8955 US Hwy 301 N # Parrish         FL 34219‐870 United States                      Debit
108              5/5/2019                     20:47:45    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1557298800~USD            139.99         0   139.99                                  ...                                                                         7S736417MInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  8SP94656AL325222B                                      139.99                                                                                       Credit
109              5/5/2019                     20:47:45    PDT      Big Fish SpoExpress Ch Completed                               ~@~CLD:1557298800~USD           ‐139.99         0 ‐139.99                                   Sales@oneOpen PremU.S. Businebigfish101@    Open PremU.S. Business Unverifie8SP94656AInstant Tra Unverified Donna Fog Confirmed Costa Del M3.63E+11               0          0         0                                                                            Ebay        donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=362534926037                                        0   8955 US Hwy 301 N # Parrish         FL 34219‐870 United Stat 6.11E+09               Debit
110              5/5/2019                      8:23:25    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1557298800~USD               100         0       100                                 ...                                                                         66W11562 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  62L59012N83849631                                         100                                                                                       Credit
111              5/5/2019                      8:23:25    PDT      alonso garzMobile PayCompleted                                 ~@~CLD:1557298800~USD              ‐100         0      ‐100                                 Sales@oneOpen PremU.S. Businealonsojr113Open         U.S. Personal Verified 62L59012NInstant Tra Verified                                                                                                                                                                                                                                                                                         0                                                                                       Debit
112              5/5/2019                      5:46:12    PDT      ...         Faster FundCompleted                               ~@~CLD:1557298800~USD           ‐163.35     ‐1.63 ‐161.72                                   ...                                                                         53786296ECredit Card [Unknown]                                                                                                                                                                                                                                                                                        0                                                                                       Debit
113              5/5/2019                      4:50:39    PDT      Kenneth RoRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 kcr02bebo Open        U.S. Personsales@one Open PremU.S. Business Verified 87R65366EInstant      Unverified Kenneth RoConfirmed                                                                                                                                                                                                                                                              163.35   9425 Forest Hills Cir Sarasota FL         34238 United States                       Credit
114              5/5/2019                      4:50:01    PDT      Timothy M Recurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 timberrr21 Open       U.S. Personsales@one Open PremU.S. Business Verified 11H35286CInstant      Unverified Timothy M Confirmed                                                                                                                                                                                                                                                               145.2   1064 East Manatee Bradenton FL            34208 United States                       Credit
115              5/5/2019                      4:48:10    PDT      Key West MRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 tim.greene Open PremU.S. Businesales@one Open PremU.S. Business Verified 7EM61849 Instant        Verified Key West MConfirmed                                                                                                                                                                                                                                                                127.05   701 Spanish Main Dr 4Cudjoe KeyFL         33042 United States                       Credit
116              5/5/2019                      4:24:17    PDT      Larry BealeRecurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 lsbeale59@Open        U.S. Personsales@one Open PremU.S. Business Verified 4GG56202SInstant      Unverified Larry BealeConfirmed                                                                                                                                                                                                                                                              108.9   218 ROYAL BONNET D APOLLO BEFL            33572 United States                       Credit
117              5/5/2019                      4:21:57    PDT      Penny RowRecurring PCompleted                                  1 Month Website HostUSD              19     ‐0.85     18.15                                 prow6@ya Open         U.S. Personsales@one Open PremU.S. Business Verified 3U091293BInstant      Unverified Penny RowConfirmed                                                                                                                                                                                                                                                                90.75   9852 Moorhen Dr.        Lakeland FL       33810 United States                       Credit
118              5/5/2019                      4:15:44    PDT      PETE A RU Recurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 EQUITYTOOOpen         U.S. Personsales@one Open PremU.S. Business Verified 0JK332014 Instant     Unverified LARA RUTSConfirmed                                                                                                                                                                                                                                                                 72.6   555 95th Street OceanMarathon FL          33050 United States                       Credit
119              5/5/2019                      3:17:57    PDT      Ronald GauRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 ghansome1Open         U.S. Personsales@one Open PremU.S. Business Verified 801392539Instant      Unverified Ronald GauConfirmed                                                                                                                                                                                                                                                               54.45   4729 Loma Grande Dr El Paso         TX    79934 United States                       Credit
120              5/5/2019                      3:16:18    PDT      william barRecurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 whbjr58@cOpen         U.S. Personsales@one Open PremU.S. Business Verified 4T709880SInstant      Unverified william barConfirmed                                                                                                                                                                                                                                                               36.3   9860 Grackle Loop       Lakeland FL       33810 United States                       Credit
121              5/5/2019                      3:00:59    PDT      victor ibarrRecurring PCompleted                               1 Month Website HostUSD              19     ‐0.85     18.15                                 vimiza80@Open PremU.S. Premiesales@one Open PremU.S. Business Verified 8DH49417YInstant          Unverified victor ibarrConfirmed                                                                                                                                                                                                                                                             18.15   3644 WOODMONT DRSARASOTA FL               34232 United States                       Credit
122              5/4/2019                      5:02:10    PDT      ...         Faster FundCompleted                               ~@~CLD:1557298800~USD           ‐163.35     ‐1.63 ‐161.72                                   ...                                                                         1C4895039Credit Card [Unknown]                                                                                                                                                                                                                                                                                        0                                                                                       Debit
123              5/4/2019                      4:23:17    PDT      joe young Recurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 dr.feelgoodOpen       U.S. Personsales@one Open PremU.S. Business Verified 47V12717MInstant      Unverified joe young, Confirmed                                                                                                                                                                                                                                                             163.35   1528 SE Ohio Ave        Arcadia     FL    34266 United States                       Credit
124              5/4/2019                      4:11:29    PDT      Ken GiffordRecurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 wd4nkz@mOpen PremU.S. Premiesales@one Open PremU.S. Business Verified 4G0184200Instant           Verified Ken GiffordConfirmed                                                                                                                                                                                                                                                                145.2   6515 15th St. E. Lot D‐ Sarasota FL       34243 United States                       Credit
125              5/4/2019                      4:05:33    PDT      Gregory VaRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 pmac1@ptOpen          U.S. Personsales@one Open PremU.S. Business Verified 4YL67926BInstant      Unverified Gregory VaConfirmed                                                                                                                                                                                                                                                              127.05   4215 Long Lake Drive SEllenton FL         34222 United States                       Credit
126              5/4/2019                      4:02:44    PDT      Michelle WRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 michelle.w Open       U.S. Personsales@one Open PremU.S. Business Verified 9M957484 Instant      Verified Michelle WConfirmed                                                                                                                                                                                                                                                                 108.9   2315 124th dr e         Parrish     FL    34219 United States                       Credit
127              5/4/2019                      3:13:09    PDT      Michael PeRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 mjp51@sb Open         U.S. Personsales@one Open PremU.S. Business Verified 7MB47979 Instant      Unverified Michael PeConfirmed                                                                                                                                                                                                                                                               90.75   10726 New Buffalo RoNorth LimaOH          44452 United States                       Credit
128              5/4/2019                      3:12:50    PDT      Robert Gib Recurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 rswimmer@Open         U.S. Personsales@one Open PremU.S. Business Verified 1MK64097 Instant      Unverified Robert Gib Confirmed                                                                                                                                                                                                                                                               72.6   10514 Sleepy Orange CRiverview FL         33578 United States                       Credit
129              5/4/2019                      3:11:27    PDT      Chris Huff Recurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 Chrisluvs2sClosed     U.S. Personsales@one Open PremU.S. Business Verified 8JA39537BInstant      Unverified Chris Huff, Confirmed                                                                                                                                                                                                                                                             54.45   801 Willow Brook Dr. Warren OH            44483 United States                       Credit
130              5/3/2019                      7:03:13    PDT      David Kato Recurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 dkatona94 Open        U.S. Personsales@one Open PremU.S. Business Verified 65U207853Instant      Unverified David Kato Confirmed                                                                                                                                                                                                                                                               36.3   4411 B 101st West       Bradenton FL      34210 United States                       Credit
131              5/3/2019                      6:16:20    PDT      JOYCARE SeRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 joyfully4jesOpen PremU.S. Businesales@one Open PremU.S. Business Verified 4KU84339KInstant       Verified Joy Coblen Confirmed                                                                                                                                                                                                                                                                18.15   1900 7th Ave W          Palmetto FL    34221‐311 United States                      Credit
132              5/3/2019                      5:48:43    PDT      ...         Faster FundCompleted                               ~@~CLD:1557298800~USD            ‐181.5     ‐1.82 ‐179.68                                   ...                                                                         35D87108VCredit Card [Unknown]                                                                                                                                                                                                                                                                                        0                                                                                       Debit
133              5/3/2019                      4:57:50    PDT      Vicki Hall Recurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 mtlmaidn@Open PremU.S. Premiesales@one Open PremU.S. Business Verified 47J619624 Instant         Verified Vicki Hall, 2Confirmed                                                                                                                                                                                                                                                              181.5   2105 47th Street PlaceBradenton FL        34209 United States                       Credit
134              5/3/2019                      4:53:32    PDT      Gale Tycz Recurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 gftycz@gmOpen         U.S. Personsales@one Open PremU.S. Business Verified 7R177764LInstant      Unverified Gale Tycz, Confirmed                                                                                                                                                                                                                                                             163.35   25 Carriage Drive       Durham CT          6422 United States                       Credit
135              5/3/2019                      4:44:18    PDT      Brian RolphRecurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 brolph1@cOpen         U.S. Personsales@one Open PremU.S. Business Verified 5DG975397Instant      Unverified Brian RolphConfirmed                                                                                                                                                                                                                                                              145.2   4505 Cernala Court Venice           FL    34293 United States                       Credit
136              5/3/2019                      4:33:43    PDT      KG CommuRecurring PCompleted                                   1 Month Website HostUSD              19     ‐0.85     18.15                                 kim@kgcomOpen PremU.S. Businesales@one Open PremU.S. Business Verified 1BL20183KInstant          Verified KG CommuConfirmed                                                                                                                                                                                                                                                                  127.05   20 Gilbert Dr.          Glenwood NJ        7418 United States                       Credit
137              5/3/2019                      4:27:47    PDT      Damon WaRecurring PCompleted                                   1 Month Website HostUSD              19     ‐0.85     18.15                                 yatahay54@   Open     U.S. Personsales@one Open PremU.S. Business Verified 6P4052306Instant      Unverified Damon WaConfirmed                                                                                                                                                                                                                                                                 108.9   2616 36 Ave W           Bradenton FL      34205 United States                       Credit
138              5/3/2019                      4:21:55    PDT      William MuRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 billclinic@aOpen PremU.S. Premiesales@one Open PremU.S. Business Verified 0X051778KInstant       Verified WILLIAM DConfirmed                                                                                                                                                                                                                                                                  90.75   17 Nashua RD            Pepperell MA       1463 United States                       Credit
139              5/3/2019                      4:06:53    PDT      George GiuRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 ggiunta600Open        U.S. Personsales@one Open PremU.S. Business Verified 57W64258 Instant      Unverified George GiuConfirmed                                                                                                                                                                                                                                                                72.6   1646 Serrano Circle Naples          FL    34105 United States                       Credit
140              5/3/2019                      3:47:00    PDT      Jasmine RivRecurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 jasmineriveOpen       U.S. Personsales@one Open PremU.S. Business Verified 0GP29181VInstant      Unverified Jasmine RivConfirmed                                                                                                                                                                                                                                                              54.45   711 22nd Ave W          Bradenton FL      34205 United States                       Credit
141              5/3/2019                      3:36:23    PDT      Teddy Und Recurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 twu.1968@Open         U.S. Personsales@one Open PremU.S. Business Verified 8WG63718Instant       Unverified Teddy Und Confirmed                                                                                                                                                                                                                                                                36.3   5238 Foxcroft Ct.       Sarasota FL       34232 United States                       Credit
142              5/3/2019                      3:29:43    PDT      SHEILA CISCRecurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 SCISCO77@Open         U.S. Personsales@one Open PremU.S. Business Verified 81D85899WInstant      Unverified Sheila Knig Confirmed                                                                                                                                                                                                                                                             18.15   6914 COCONUT GROVELLENTON FL              34222 United States                       Credit
143              5/2/2019                     17:03:54    PDT      ...         Faster FundCompleted                               ~@~CLD:1557298800~USD            ‐18.15     ‐0.18    ‐17.97                                 ...                                                                         7D108844NCredit Card [Unknown]                                                                                                                                                                                                                                                                                        0                                                                                       Debit
144              5/2/2019                     16:34:46    PDT      JANUARY PRecurring PCompleted                                  1 Month Website HostUSD              19     ‐0.85     18.15                                 januarypot Open       U.S. Personsales@one Open PremU.S. Business Verified 2A097403VInstant      Unverified JANUARY PConfirmed                                                                                                                                                                                                                                                                18.15   443 PENT ST             TARPON SPFL       34689 United States                       Credit
145              5/2/2019                      7:05:35    PDT      Git R Done Recurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 mhallcoupoRestricted U.S. Businesales@one Open PremU.S. Business Verified 22H90051LeCheck        Verified Git R Done Confirmed                                                                                                                                                                                                                                                                    0   2481 Hawthorne rd Spring hill FL          34609 United States                       Memo
146              5/2/2019                      7:01:52    PDT      ...         Faster FundCompleted                               ~@~CLD:1557298800~USD            ‐18.15     ‐0.18    ‐17.97                                 ...                                                                         2BR115176Credit Card [Unknown]                                                                                                                                                                                                                                                                                        0                                                                                       Debit
147              5/2/2019                      5:11:23    PDT      Richard MARecurring PCompleted                                 1 Month W99.203.186USD               19     ‐0.85     18.15                                 steeler111@  Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 3VS164679Instant       Verified Rick Malek Confirmed                                                                                                                                                                                                                                                                18.15   33676 Guilbert Rd       Eastlake OH    44095‐253 United States                      Credit
148              5/2/2019                      4:36:26    PDT      ...         Faster FundCompleted                                                     USD        ‐90.75     ‐0.91    ‐89.84                                 ...                                                                         7RM83219 Credit Card [Unknown]                                                                                                                                                                                                                                                                                        0                                                                                       Debit
149              5/2/2019                      4:28:04    PDT      Mark BagleRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 mb308@swOpen          U.S. Personsales@one Open PremU.S. Business Verified 32B15128KInstant      Verified Mark BagleConfirmed                                                                                                                                                                                                                                                                 90.75   5136 Deerf#4            St. Louis MO      63128 United States                       Credit
150              5/2/2019                      4:23:48    PDT      James Hint Recurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 tulsachero Open       U.S. Personsales@one Open PremU.S. Business Verified 74454104VInstant      Verified James Hint Confirmed                                                                                                                                                                                                                                                                 72.6   3007 25th. St. W.       Bradenton FL      34205 United States                       Credit
151              5/2/2019                      3:50:40    PDT      pam miller Recurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 putchka63@   Open     U.S. Personsales@one Open PremU.S. Business Verified 387960235Instant      Unverified pam miller Confirmed                                                                                                                                                                                                                                                              54.45   5535 key west place Bradenton FL          34203 United States                       Credit
152              5/2/2019                      3:43:42    PDT      Vanessa BaRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 vbazan@mOpen          U.S. Personsales@one Open PremU.S. Business Verified 62S20462GInstant      Unverified Vanessa M Confirmed                                                                                                                                                                                                                                                                36.3   4701 20th A             Bradenton FL      34207 United States                       Credit
153              5/2/2019                      3:01:05    PDT      Ron SchmidRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 ronschmidtOpen        U.S. Personsales@one Open PremU.S. Business Verified 5V179712J Instant     Unverified Ron SchmidConfirmed                                                                                                                                                                                                                                                               18.15   7803 34th Court East Sarasota FL          34243 United States                       Credit
154              5/1/2019                      5:01:51    PDT      ...         Faster FundCompleted                                                     USD        ‐54.45     ‐0.54    ‐53.91                                 ...                                                                         1YJ27725MCredit Card [Unknown]                                                                                                                                                                                                                                                                                        0                                                                                       Debit
155              5/1/2019                      4:52:43    PDT      Heather OwRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 heatherjac Open       U.S. Personsales@one Open PremU.S. Business Verified 7GN74983 Instant      Unverified HEATHER J Confirmed                                                                                                                                                                                                                                                               54.45   1882 Vamo Dr            SARASOTA FL    34231‐772 United States                      Credit
156              5/1/2019                      4:27:23    PDT      Jeanne Mc Recurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 fusionhybr Open       U.S. Personsales@one Open PremU.S. Business Verified 39U02547YInstant      Unverified Jeanne Mc Confirmed                                                                                                                                                                                                                                                                36.3   1242 West Del Webb BSun City CeFL         33573 United States                       Credit
157              5/1/2019                      3:32:52    PDT      Harry Spar Recurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 e411team@Open         U.S. Personsales@one Open PremU.S. Business Verified 62V89219FInstant      Unverified Harry Spar Confirmed                                                                                                                                                                                                                                                              18.15   4008 Colter Court       Kokomo IN         46902 United States                       Credit
158             4/30/2019                     16:26:40    PDT      ...         Faster FundCompleted                                                     USD        ‐18.15     ‐0.18    ‐17.97                                 ...                                                                         1N534047PCredit Card [Unknown]                                                                                                                                                                                                                                                                                        0                                                                                       Debit
159             4/30/2019                      6:32:05    PDT      eugene ZepRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 hhfz137@cOpen         U.S. Personsales@one Open PremU.S. Business Verified 3WT72932 Instant      Unverified eugene ZepConfirmed                                                                                                                                                                                                                                                               18.15   5605 Key Largo Ct.      Bradenton FL      34203 United States                       Credit
160             4/30/2019                      5:42:44    PDT      ...         Faster FundCompleted                                                     USD       ‐163.35     ‐1.63 ‐161.72                                   ...                                                                         914246271Credit Card [Unknown]                                                                                                                                                                                                                                                                                        0                                                                                       Debit
161             4/30/2019                      5:26:56    PDT      Charlotte SRecurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 csaise_sdp Open       U.S. Personsales@one Open PremU.S. Business Verified 6BX13768HInstant      Unverified Charlotte SConfirmed                                                                                                                                                                                                                                                             163.35   102 3rd Ave Se          Ruskin      FL    33570 United States                       Credit
162             4/30/2019                      5:10:34    PDT      Scott Hall Recurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 scotthall.phOpen      U.S. Personsales@one Open PremU.S. Business Verified 2JG37614JYInstant     Unverified Scott Hall, Confirmed                                                                                                                                                                                                                                                             145.2   18034 Malakai Isle Dr Tampa         FL    33647 United States                       Credit
163             4/30/2019                      4:32:55    PDT      Suzanne MRecurring PCompleted                                  1 Month Website HostUSD              19     ‐0.85     18.15                                 SuzannecmOpen         U.S. Personsales@one Open PremU.S. Business Verified 75B57336SInstant      Unverified Suzanne MConfirmed                                                                                                                                                                                                                                                               127.05   PO Box 1288             Bradenton FL      34206 United States                       Credit
164             4/30/2019                      4:20:57    PDT      Joanne Luc Recurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 jojolucibell Open     U.S. Personsales@one Open PremU.S. Business Verified 1HJ54777MInstant      Unverified Joanne Luc Confirmed                                                                                                                                                                                                                                                              108.9   2924 Maximo Road North Port FL            34286 United States                       Credit
165             4/30/2019                      4:10:26    PDT      Donald Kni Recurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 jndknight@Open PremU.S. Premiesales@one Open PremU.S. Business Verified 9NX600527Instant         Verified Donald Kni Confirmed                                                                                                                                                                                                                                                                90.75   12908 Maple St          Highland IL       62249 United States                       Credit
166             4/30/2019                      4:09:26    PDT      Samantha Recurring PCompleted                                  1 Month Website HostUSD              19     ‐0.85     18.15                                 smjpt70@gOpen         U.S. Personsales@one Open PremU.S. Business Verified 7MA24897Instant       Verified Samantha Confirmed                                                                                                                                                                                                                                                                   72.6   7504 Morning Side Dr Ellenton FL          34222 United States                       Credit
167             4/30/2019                      4:05:34    PDT      joseph randRecurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 ringkking@Open        U.S. Personsales@one Open PremU.S. Business Verified 909700772Instant      Verified Joseph RanConfirmed                                                                                                                                                                                                                                                                 54.45   116 Bridge St           Bradenton FL   34217‐243 United States                      Credit
168             4/30/2019                      3:52:47    PDT      gary zacur Recurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 garyzacur@Open PremU.S. Premiesales@one Open PremU.S. Business Verified 2XA20298FInstant         Verified Gary Zacur Confirmed                                                                                                                                                                                                                                                                 36.3   4812 111th Ter E        Parrish     FL    34219 United States                       Credit
169             4/30/2019                      3:30:30    PDT      Leah Clend Recurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 rioflora@g Open       U.S. Personsales@one Open PremU.S. Business Verified 01K37835PInstant      Unverified Leah Clend Confirmed                                                                                                                                                                                                                                                              18.15   799 Pinellas Pt Dr So Saint Peter FL      33705 United States                       Credit
170             4/29/2019                     21:51:34    PDT                  Mobile PayCompleted                                                      USD           ‐60         0       ‐60                                 Sales@oneOpen PremU.S. Busine614412700Open PremChinese Premier Unve 5V095130KCredit CardNon‐U.S. ‐ OneBoxTV Non‐U.S.                                                                                                                                                                                                                                                                              0   8955 US Hwy 301 N #1Parrish         FL    34219 United States                       Debit
171             4/29/2019                     21:51:34    PDT      ...         Charge Fro Completed                                                     USD            60         0        60                                 ...                                                                         13206296BCredit Card [Visa Debit Card XXXX‐XXXX‐XXXX‐3166]                                                                                                                                                                                                5V095130K9261653J                                          60                                                                                       Credit
172             4/29/2019                      7:44:00    PDT      ...         Faster FundCompleted                                                     USD        ‐50.16      ‐0.5    ‐49.66                                 ...                                                                         9EX36327MCredit Card [Unknown]                                                                                                                                                                                                                                                                                        0                                                                                       Debit
173             4/29/2019                      7:41:43    PDT      Upwork Es PreapproveCompleted                                  Upwork Services       USD        ‐37.68         0    ‐37.68                                 Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 19848867MPayPal balaVerified                               Upwork Services                 0                    0                                                                                                                                                        AE8398879D8940638                             50.16                                                                                       Debit     PayPal_SDK
174             4/29/2019                      5:16:44    PDT      Edwin F ReRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 edreiner10Open        U.S. Personsales@one Open PremU.S. Business Verified 91363012GInstant      Verified EDWIN REI Confirmed                                                                                                                                                                                                                                                                 87.84   1830 Mountain HouseHALIFAX PA             17032 United States                       Credit
175             4/29/2019                      5:09:13    PDT      Julie Webe Recurring PCompleted                                1 Month Website HostUSD              35     ‐1.32     33.68                                 julieweb@ Open        U.S. Personsales@one Open PremU.S. Business Verified 5B353213J Instant     Unverified Julie Webe Confirmed                                                                                                                                                                                                                                                              69.69   2736 58th Place N       Saint Peter FL    33714 United States                       Credit
176             4/29/2019                      3:15:49    PDT      lynda notleRecurring PCompleted                                1 Month Website HostUSD              19     ‐1.14     17.86                                 lynda4348@   Open     U.K. Personsales@one Open PremU.S. Business Verified 16H63486CInstant      Non‐U.S. ‐ Mrs Lynda Confirmed                                                                                                                                                                                                                                                               36.01   135 Foxholes Road       Poole          BH15 3NE United Kingdom                      Credit
177             4/29/2019                      3:07:09    PDT      Joyce Barn Recurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 Jbar3774@Open         U.S. Personsales@one Open PremU.S. Business Verified 2JK176155 Instant     Verified Joyce Barn Confirmed                                                                                                                                                                                                                                                                18.15   2525 Gulf City Road Ruskin          FL    33570 United States                       Credit
178             4/28/2019                     13:59:44    PDT      ...         Inst. Tran. ACompleted WELLS FAR    9888           ~@~CLD:1556694000~USD             37.77         0     37.77                                 ...                                                                         6X077526WInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                                                                  6N2885229M859784W                                       37.77                                                                                       Credit
179             4/28/2019                     13:59:44    PDT      Power HobExpress Ch Completed                                  Plantronics Voyager LeUSD        ‐37.77         0    ‐37.77                                 Sales@oneOpen PremU.S. Businepaypal@poOpen PremU.S. Business Verified 6N2885229Instant Tra Verified Donna Fog Confirmed Plantronics 3.33E+11                      0          0         0                                                                            Ebay        donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=333103073205                                        0   8955 US Hwy 301 N # Parrish         FL 34219‐870 United States                      Debit
180             4/28/2019                      7:36:33    PDT      ...         Faster FundCompleted                               ~@~CLD:1556694000~USD            ‐54.45     ‐0.54    ‐53.91                                 ...                                                                         03P87964CCredit Card [Unknown]                                                                                                                                                                                                                                                                                        0                                                                                       Debit
181             4/28/2019                      7:18:26    PDT      Georgia NeRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 glniol@aol Open       U.S. Personsales@one Open PremU.S. Business Verified 5MV84672 Instant      Verified Georgia NeConfirmed                                                                                                                                                                                                                                                                 54.45   1515 Harwood Dr         Oxford      MI    48371 United States                       Credit
182             4/28/2019                      7:01:53    PDT      Rebecca ReRecurring PCompleted                                 1 Month Website HostUSD              19     ‐0.85     18.15                                 siervarebecOpen       U.S. Personsales@one Open PremU.S. Business Verified 8AB74471NInstant      Verified Rebecca|C Confirmed                                                                                                                                                                                                                                                                  36.3   901 N. Wahneta St. Allentown PENNSYLVA 18109 United States                          Credit
183             4/28/2019                      6:50:47    PDT      Margret FisRecurring PCompleted                                1 Month Website HostUSD              19     ‐0.85     18.15                                 guavagirl.1 Open      U.S. Personsales@one Open PremU.S. Business Verified 90N52112TInstant      Unverified Margret FisConfirmed                                                                                                                                                                                                                                                              18.15   1228 45th Ave Dr East Ellenton FL         34222 United States                       Credit
184             4/28/2019                      5:14:41    PDT      ...         Faster FundCompleted                               ~@~CLD:1556694000~USD           ‐178.89     ‐1.79    ‐177.1                                 ...                                                                         6MR92107 Credit Card [Unknown]                                                                                                                                                                                                                                                                                        0                                                                                       Debit
185             4/28/2019                      4:48:47    PDT      Larry Sturn Recurring PCompleted                               1 Month Website HostUSD              27     ‐1.08     25.92                                 laza1239@Open         U.S. Personsales@one Open PremU.S. Business Verified 9FA48121TInstant      Unverified Larry Sturn Confirmed                                                                                                                                                                                                                                                            178.89   811 FreedoApt 302 Sun City CeFL           33573 United States                       Credit
                                                                                       Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 46 of 460 PageID 123

      A           B                    C       D           E          F          G         H      I       J         K             L    M        N        O           P      Q   R       S         T          U         V          W          X         Y          Z        AA         AB         AC        AD         AE        AF         AG       AH       AI       AJ   AK   AL   AM   AN   AO   AP      AQ      AR        AS        AT        AU        AV       AW         AX        AY       AZ          BA   BB           BC           BD        BE          BF      BG         BH           BI   BJ      BK       BL        BM          BN
186   4/28/2019        4:46:27   PDT       VickiRay Fr Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     vickiray631Open      U.S. Personsales@one Open PremU.S. Business Verified 5Y2538702Instant     Unverified VickiRay Fr Confirmed                                                                                                                                                                                                 152.97   6311 Carl Shepard Dr Ruskin      FL            33570   United States             Credit
187   4/28/2019        4:43:13   PDT       pete miran Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     2007telfordOpen      U.S. Personsales@one Open PremU.S. Business Verified 64E47234NInstant     Verified pete miran Confirmed                                                                                                                                                                                                    134.82   1203 3rd st. Circle E Palmetto FL              34221   United States             Credit
188   4/28/2019        4:13:11   PDT       Jenny Lyde Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     templeton Open       U.S. Personsales@one Open PremU.S. Business Verified 358914029Instant     Unverified Jenny Tem Confirmed                                                                                                                                                                                                   116.67   620 Bowsp Country CluLongboat KFL              34228   United States             Credit
189   4/28/2019        3:57:41   PDT       Ronald L JaRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     rljavner@uOpen       U.S. Personsales@one Open PremU.S. Business Verified 4AX665149Instant     Verified Carole JavnConfirmed                                                                                                                                                                                                     98.52   4904 CREEKSIDE TRL SARASOTA FL                 34243   United States             Credit
190   4/28/2019        3:54:28   PDT       Ryan WilliaRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     gatorryan.wOpen      U.S. Personsales@one Open PremU.S. Business Verified 7YF54144UInstant     Verified Ryan WilliaConfirmed                                                                                                                                                                                                     80.37   301 60th ST W         BRADENTOFL               34209   United States             Credit
191   4/28/2019        3:29:28   PDT       Vera Sprag Recurring PCompleted                            1 Month Website HostUSD              27   ‐1.08     25.92                     spraggie21 Open      U.S. Personsales@one Open PremU.S. Business Verified 64T84522BInstant     Unverified Vera Sprag Confirmed                                                                                                                                                                                                   62.22   7400 Sunshine SkywaySt. Petersb FL             33711   United States             Credit
192   4/27/2019        7:34:20   PDT       Ziggy's PerfRecurring PCompleted                           1 Month W47.203.76. USD              19   ‐0.85     18.15                     zbigniewsr@ Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 5R715951FInstant      Verified Zbigniew S Confirmed                                                                                                                                                                                                      36.3   2013 Scotland Dr      Clearwater FL            33763   United States             Credit
193   4/27/2019        5:32:55   PDT       James McKRecurring PCompleted                              1 Month Website HostUSD              19   ‐0.85     18.15                     jim.mckinnOpen PremU.S. Premiesales@one Open PremU.S. Business Verified 1ST93789NInstant       Verified James McKConfirmed                                                                                                                                                                                                       18.15   5655 Bayview Drive Seminole FL                 33772   United States             Credit
194   4/27/2019        5:27:23   PDT       ...          Faster FundCompleted                                                USD        ‐80.08    ‐0.8    ‐79.28                     ...                                                                       4R9938824Credit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
195   4/27/2019        4:55:38   PDT       Susan Casil Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     sweetsue_ Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 3ST23794KInstant      Verified Susan Casil Confirmed                                                                                                                                                                                                    80.08   2795 Bay Oaks Drive Sarasota FL                34234 United States               Credit
196   4/27/2019        4:44:16   PDT       Harry MartRecurring PCompleted                             1 Month Website HostUSD              27   ‐1.08     25.92                     909.martinOpen       U.S. Personsales@one Open PremU.S. Business Verified 3C036589J Instant    Verified Harry MartConfirmed                                                                                                                                                                                                      61.93   8008 55th St. E       Palmetto FL              34221 United States               Credit
197   4/27/2019        4:40:12   PDT       Timothy Tr Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     torgyde@f Open PremU.S. Premiesales@one Open PremU.S. Business Verified 0EW21078 Instant       Verified Timothy Tr Confirmed                                                                                                                                                                                                     36.01   21474 Billowy Jaunt D Land O Lak FL         34637‐768 United States              Credit
198   4/27/2019        4:17:29   PDT       Donald RoyRecurring PCompleted                             1 Month Website HostUSD              19   ‐1.14     17.86                     larabi@rogOpen       Canadian Psales@one Open PremU.S. Business Verified 1FN29697TInstant      Non‐U.S. ‐ Donald RoyConfirmed                                                                                                                                                                                                    17.86   1106 Morin Rd         Cumberlan ON          K4C 1A5 Canada                       Credit
199   4/26/2019        7:25:04   PDT       ...          Faster FundCompleted                                                USD         ‐36.3   ‐0.36    ‐35.94                     ...                                                                       2J257601V Credit Card [Unknown]                                                                                                                                                                                                                            0                                                                                    Debit
200   4/26/2019        6:48:44   PDT       Wallter Fin Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     wfinkelstei Open     U.S. Personsales@one Open PremU.S. Business Verified 9CB60023XInstant     Unverified Wallter Fin Confirmed                                                                                                                                                                                                   36.3   17028 Seaford Way      Bradenton FL            34202 United States               Credit
201   4/26/2019        5:30:41   PDT       Fred Nelso Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     fredndiane Open      U.S. Personsales@one Open PremU.S. Business Verified 6UB627440Instant     Unverified Fred Nelso Confirmed                                                                                                                                                                                                   18.15   2244 Pier Dr           Ruskin    FL            33570 United States               Credit
202   4/26/2019        5:21:54   PDT       ...          Faster FundCompleted                                                USD        ‐33.68   ‐0.34    ‐33.34                     ...                                                                       72H52267FCredit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
203   4/26/2019        5:18:12   PDT       Gregory BeRecurring PCompleted                             1 Month Website HostUSD              35   ‐1.32     33.68                     aebrn57@ Open        U.S. Personsales@one Open PremU.S. Business Verified 3G1555392Instant     Verified Gregory BeConfirmed                                                                                                                                                                                                      33.68   5934 Easy SUNIT# K25 BRADENTOFL                34207 United States               Credit
204   4/26/2019        5:04:49   PDT       ...          Faster FundCompleted                                                USD        ‐90.75   ‐0.91    ‐89.84                     ...                                                                       1Y7884252Credit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
205   4/26/2019        4:21:28   PDT       Hillary Bell Recurring PCompleted                          1 Month Website HostUSD              19   ‐0.85     18.15                     jnhb6090@Open        U.S. Personsales@one Open PremU.S. Business Verified 3PA43422GInstant     Verified Hillary Bell Confirmed                                                                                                                                                                                                   90.75   10141 Newminster Lo Ruskin    FL               33573 United States               Credit
206   4/26/2019        4:17:40   PDT       David Ham Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     kitchendes Open      U.S. Personsales@one Open PremU.S. Business Verified 50251427SInstant     Unverified David Ham Confirmed                                                                                                                                                                                                     72.6   3812 70th Ave E.    Ellenton FL                34222 United States               Credit
207   4/26/2019        4:07:33   PDT       tommy barRecurring PCompleted                              1 Month Website HostUSD              19   ‐0.85     18.15                     tomendebeOpen        U.S. Personsales@one Open PremU.S. Business Verified 06C17814XInstant     Verified Tommy Ba Confirmed                                                                                                                                                                                                       54.45   678 Park Cir        Bradenton FL            34207‐216 United States              Credit
208   4/26/2019        3:54:43   PDT       RAYMOND Recurring PCompleted                               1 Month Website HostUSD              19   ‐0.85     18.15                     rrrbug@hoOpen PremU.S. Premiesales@one Open PremU.S. Business Verified 4N7007030Instant        Verified RAYMOND Confirmed                                                                                                                                                                                                         36.3   6142 SUMTER DR      BROOKSVILFL                34602 United States               Credit
209   4/26/2019        3:43:04   PDT       PC SolutionRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     atcampion Open PremU.S. Businesales@one Open PremU.S. Business Verified 98J74831Y Instant      Verified Albert T Ca Confirmed                                                                                                                                                                                                    18.15   134 Brannon lane    Webster NY                 14580 United States               Credit
210   4/25/2019       10:36:10   PDT       ...          Faster FundCompleted                                                USD        ‐18.15   ‐0.18    ‐17.97                     ...                                                                       6TN38200DCredit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
211   4/25/2019        6:50:29   PDT       Christine L Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     Brokervee@Open       U.S. Personsales@one Open PremU.S. Business Verified 6AX259865Instant     Unverified Christine B Confirmed                                                                                                                                                                                                  18.15   8457 Idlewood Ct       Lakewood FL             34202 United States               Credit
212   4/25/2019        4:59:00   PDT       ...          Faster FundCompleted                                                USD        ‐108.9   ‐1.09   ‐107.81                     ...                                                                       1MB18004 Credit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
213   4/25/2019        4:48:54   PDT       Rick Roett Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     mrroett@yOpen        U.S. Personsales@one Open PremU.S. Business Verified 28P23740AInstant     Unverified Rick Roett, Confirmed                                                                                                                                                                                                  108.9   4657 72nd Ct E        Bradenton FL             34203 United States               Credit
214   4/25/2019        4:32:38   PDT       Brad Maye Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     beachlife75Open      U.S. Personsales@one Open PremU.S. Business Verified 84P44228SInstant     Verified Courtney MConfirmed                                                                                                                                                                                                      90.75   7049 Chatum Light Ru Bradenton FL              34212 United States               Credit
215   4/25/2019        4:18:48   PDT       jorge yong Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     jorgeca207Open       U.S. Personsales@one Open PremU.S. Business Verified 30D23969JInstant     Unverified jorge yong,Confirmed                                                                                                                                                                                                    72.6   13140 sw 23 st        Miramar FL               33027 United States               Credit
216   4/25/2019        4:10:14   PDT       Julieanne PRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     juiecma102Open       U.S. Personsales@one Open PremU.S. Business Verified 65M11586 Instant     Unverified Julieanne PConfirmed                                                                                                                                                                                                   54.45   4702 105th Ave East Parrish     FL             34219 United States               Credit
217   4/25/2019        3:19:34   PDT       Alan Weng Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     alw0200@ Open        U.S. Personsales@one Open PremU.S. Business Verified 47070986HInstant     Unverified Alan Weng Confirmed                                                                                                                                                                                                     36.3   42 West Oak St Lot A1 Osprey    FL             34229 United States               Credit
218   4/25/2019        3:08:50   PDT       Jane GREENRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     janieluv@aOpen       U.S. Personsales@one Open PremU.S. Business Verified 1HJ832807Instant     Unverified Jane GreenConfirmed                                                                                                                                                                                                    18.15   920 Westwind Dr       N Palm BeaFL          33408‐422 United States              Credit
219   4/24/2019        7:01:59   PDT       ...          Faster FundCompleted                                                USD         ‐36.3   ‐0.36    ‐35.94                     ...                                                                       25473701CCredit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
220   4/24/2019        6:58:16   PDT       Elizabeth S Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     lizsmith13@Open      U.S. Personsales@one Open PremU.S. Business Verified 16703202SInstant     Unverified Elizabeth S Confirmed                                                                                                                                                                                                   36.3   2072 Pitt St.         Cornwall ON           K6J 5G3 Canada                       Credit
221   4/24/2019        5:40:31   PDT       Robert DavRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     rwdavis370Open       U.S. Personsales@one Open PremU.S. Business Verified 5UH06441 Instant     Unverified Robert DavConfirmed                                                                                                                                                                                                    18.15   907 49th ave terrace wBradenton FL              34207 United States              Credit
222   4/24/2019        5:22:38   PDT       ...          Faster FundCompleted                                                USD        ‐108.9   ‐1.09   ‐107.81                     ...                                                                       7PX500700Credit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
223   4/24/2019        4:55:58   PDT       James FromRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     jrfroman19Open       U.S. Personsales@one Open PremU.S. Business Verified 4GX46966NInstant     Verified James FromConfirmed                                                                                                                                                                                                      108.9   35 7th St.            Nokomis FL               34275 United States               Credit
224   4/24/2019        4:47:29   PDT       jesse cothr Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     jconecoat@Open       U.S. Personsales@one Open PremU.S. Business Verified 1FA45425WInstant     Verified jesse cothr Confirmed                                                                                                                                                                                                    90.75   6641 s arlington ave indianapoliIN             46237 United States               Credit
225   4/24/2019        4:47:10   PDT       Aaron FriedRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     moldyspor Open PremU.S. Premiesales@one Open PremU.S. Business Verified 37E083155Instant       Verified Aaron FriedConfirmed                                                                                                                                                                                                      72.6   122 1/2 E. Linden Ave.East Roche NY            14445 United States               Credit
226   4/24/2019        4:42:28   PDT       Mike Neav Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     Mikenea@ Open        U.S. Personsales@one Open PremU.S. Business Verified 3KU71043XInstant     Unverified Mike Neav Confirmed                                                                                                                                                                                                    54.45   324 Petrel Trl        Bradenton FL             34212 United States               Credit
227   4/24/2019        4:06:14   PDT       Kimberly H Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     kphubner@Open        U.S. Personsales@one Open PremU.S. Business Verified 4J669227JDInstant    Unverified Kimberly H Confirmed                                                                                                                                                                                                    36.3   3815 Pin Oaks Street Sarasota FL               34232 United States               Credit
228   4/24/2019        3:24:08   PDT       Jeannery GRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     mgreeners Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 4AR90391EInstant      Verified Jeannery GConfirmed                                                                                                                                                                                                      18.15   3805 72nd Ter E       Sarasota FL           34243‐516 United States              Credit
229   4/23/2019       13:07:01   PDT       ...          Faster FundCompleted                                                USD        ‐18.15   ‐0.18    ‐17.97                     ...                                                                       7N643763RCredit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
230   4/23/2019       13:05:28   PDT       Timothy M Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     tsmortons@  Open PremU.S. Premiesales@one Open PremU.S. Business Verified 3TF841411Instant     Verified Tim Morto Confirmed                                                                                                                                                                                                      18.15   1104 N Santorini Dr    Warsaw    IN         46580‐850 United States              Credit
231   4/23/2019        7:36:22   PDT       ...          Faster FundCompleted                                                USD         ‐36.3   ‐0.36    ‐35.94                     ...                                                                       8U2675439Credit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
232   4/23/2019        6:59:11   PDT       Robin MaleRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     malekrobinOpen       U.S. Personsales@one Open PremU.S. Business Verified 1F0652509Instant     Unverified Robin MaleConfirmed                                                                                                                                                                                                     36.3   4153 Smoke Signal     Sebring    FL            33872 United States               Credit
233   4/23/2019        6:58:18   PDT       Sarasota WRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     sckoch69@Open PremU.S. Businesales@one Open PremU.S. Business Verified 85M32124 Instant        Verified Steve Koch Confirmed                                                                                                                                                                                                     18.15   4648 Charing Cross rd Sarasota   FL         34241‐612 United States              Credit
234   4/23/2019        6:02:44   PDT       ...          Faster FundCompleted                                                USD        ‐52.51   ‐0.53    ‐51.98                     ...                                                                       66G154768Credit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
235   4/23/2019        5:50:48   PDT       The Better Recurring PCompleted                            1 Month Website HostUSD              18   ‐0.82     17.18                     jmanzano1Open PremU.S. Businesales@one Open PremU.S. Business Verified 0TH62809TInstant        Verified The Better Confirmed                                                                                                                                                                                                     52.51   6535 Anch Apt# 204 Bradenton FL                34212 United States               Credit
236   4/23/2019        4:02:12   PDT       Henry ArseRecurring PCompleted                             1 Month W47.200.211USD               19   ‐0.85     18.15                     hank98471Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 7U591382PInstant      Verified henry s ars Confirmed                                                                                                                                                                                                    35.33   5602 79TH AVE E    PALMETTOFL                  34221 United States               Credit
237   4/23/2019        3:37:45   PDT       Martin Lee Recurring PCompleted                            1 Month Website HostUSD              18   ‐0.82     17.18                     siestakeysuOpen      U.S. Personsales@one Open PremU.S. Business Verified 2GX28540YInstant     Verified Martin Lee Confirmed                                                                                                                                                                                                     17.18   PO Box 51704       Sarasota FL                 34232 United States               Credit
238   4/22/2019       15:42:29   PDT       ...          Faster FundCompleted                                                USD       ‐228.15   ‐2.28   ‐225.87                     ...                                                                       1UK229153Credit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
239   4/22/2019       15:37:31   PDT       DROB TECHMobile PayCompleted                                                     USD            46   ‐1.63     44.37 Affiliate           drob.tech1 Open PremU.S. Businesales@one Open PremU.S. Business Verified 4WV35616Instant       Verified DROB TECHConfirmed                                                                                                                                                                                                      228.15   197 PARK SIDE DRIVE SUFFERN NY                 10901 United States               Credit
240   4/22/2019       12:10:14   PDT       IPVanish.coMass PaymCompleted                              Affiliates April 2019 USD        183.78       0    183.78                     expresspayOpen PremU.S. Businesales@one Open PremU.S. Business Verified 47A30228EInstant       Verified                                                                                                                                                                                                                         183.78                                                                                    Credit
241   4/22/2019        7:40:31   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1556175600~USD              9.42       0      9.42                     ...                                                                       31M12527 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                            42A78271G23648455                                   9.42                                                                                    Credit
242   4/22/2019        7:40:31   PDT       Upwork Es PreapproveCompleted                              Upwork Services       USD         ‐9.42       0     ‐9.42                     Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 42A78271GInstant Tra Verified                            Upwork Services             0                 0                                                                                                        AE8398879D8908817                             0                                                                                    Debit    PayPal_SDK
243   4/22/2019        6:18:37   PDT       ...          Faster FundCompleted                          ~@~CLD:1556175600~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                       24S26231HCredit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
244   4/22/2019        5:21:08   PDT       Ron Reppu Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     reppuccieleOpen PremU.S. Businesales@one Open PremU.S. Business Verified 1UC635627Instant      Unverified Ron Reppu Confirmed                                                                                                                                                                                                    18.15   339 WhittieBox 224     Tamworth NH              3886 United States               Credit
245   4/21/2019       14:55:31   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1556089200~USD             51.08       0     51.08                     ...                                                                       1KM02426 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                            6FS53699X4385702C                                  51.08                                                                                    Credit
246   4/21/2019       14:55:31   PDT       Vedder Ho Express Ch Completed                             ~@~CLD:1556089200~USD            ‐51.08       0    ‐51.08                     Sales@oneOpen PremU.S. BusineSales@VedOpen PremU.S. Business Verified 6FS53699XInstant Tra Verified Donna Fog Confirmed                                     0                 0                                                                                                          194261                                      0   8955 US Hw         166 Parrish   FL            34219 United States               Debit    Bigcommerce_Cart_vzero
247   4/21/2019        7:28:21   PDT       ...          Faster FundCompleted                          ~@~CLD:1556089200~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                       1RY835573Credit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
248   4/21/2019        6:55:10   PDT       ANTHONY Recurring PCompleted                               1 Month Website HostUSD              19   ‐0.85     18.15                     finishcut@ Open PremU.S. Premiesales@one Open PremU.S. Business Verified 9B702730LInstant      Unverified ANTHONY Confirmed                                                                                                                                                                                                      18.15   #6 7th street west     nokomis   FL            34275 United States               Credit
249   4/21/2019        6:33:39   PDT       ...          Faster FundCompleted                          ~@~CLD:1556089200~USD             ‐36.3   ‐0.36    ‐35.94                     ...                                                                       8JT83283L Credit Card [Unknown]                                                                                                                                                                                                                            0                                                                                    Debit
250   4/21/2019        4:05:07   PDT       Robert Sav Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     rsaviola@aOpen       U.S. Personsales@one Open PremU.S. Business Verified 5S1816088Instant     Unverified Robert Sav Confirmed                                                                                                                                                                                                    36.3   280 126th Ave Unit 10Treasure Is FL            33706 United States               Credit
251   4/21/2019        3:58:19   PDT       bridgette s Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     kgbstout@ Open       U.S. Personsales@one Open PremU.S. Business Verified 6PG461498Instant     Verified bridgette s Confirmed                                                                                                                                                                                                    18.15   8875 39th Street CircleParrish   FL            34219 United States               Credit
252   4/20/2019        6:28:20   PDT       ...          Faster FundCompleted                          ~@~CLD:1556089200~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                       5DM03055Credit Card [Unknown]                                                                                                                                                                                                                              0                                                                                    Debit
253   4/20/2019        4:51:32   PDT       Sellitall    Recurring PCompleted                          1 Month Website HostUSD              19   ‐0.85     18.15                     vsmalls@taOpen PremU.S. Businesales@one Open PremU.S. Business Verified 6FP715179Instant       Verified vickie smal Confirmed                                                                                                                                                                                                    18.15   2605 72nd Ave E Unit ellenton    FL         34222‐702 United States              Credit
254   4/19/2019       15:12:56   PDT       ...          Faster FundCompleted                          ~@~CLD:1556089200~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                       4R403995GCredit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
255   4/19/2019        6:54:56   PDT       Robert Mo Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     bobkathfl1 Open      U.S. Personsales@one Open PremU.S. Business Verified 8SH13614BInstant     Unverified Robert Mo Confirmed                                                                                                                                                                                                    18.15   2689 S Crystal Lake Dr Avon Park FL            33825 United States               Credit
256   4/19/2019        5:22:29   PDT       ...          Faster FundCompleted                          ~@~CLD:1556089200~USD            ‐90.75   ‐0.91    ‐89.84                     ...                                                                       0YR334029Credit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
257   4/19/2019        4:53:29   PDT       Ashley Wa Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     walogorskyOpen PremU.S. Businesales@one Open PremU.S. Business Verified 88713321BInstant       Unverified Ashley Wa Confirmed                                                                                                                                                                                                    90.75   934 Jungle Avenue No Saint Peter FL            33710 United States               Credit
258   4/19/2019        4:14:48   PDT       william hayRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     pumkinx@ Open        U.S. Personsales@one Open PremU.S. Business Verified 661664194Instant     Verified william hayConfirmed                                                                                                                                                                                                      72.6   469 Kaiser Dr        palmetto FL            34221‐542 United States              Credit
259   4/19/2019        4:02:11   PDT       Tawanda K Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     Tawanda.k Open       U.S. Personsales@one Open PremU.S. Business Verified 6FY54882YInstant     Verified Tawanda K Confirmed                                                                                                                                                                                                      54.45   5408 3rd st w        Bradenton FL              34207 United States               Credit
260   4/19/2019        3:35:20   PDT       Patricia McRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     paddimccluOpen       U.S. Personsales@one Open PremU.S. Business Verified 1H2657221Instant     Verified Patricia McConfirmed                                                                                                                                                                                                      36.3   283 crescent rd      wanaque NJ             07465‐121 United States              Credit
261   4/19/2019        3:10:26   PDT       john suttonRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     les55suttonOpen      U.S. Personsales@one Open PremU.S. Business Verified 12H440382Instant     Unverified john suttonConfirmed                                                                                                                                                                                                   18.15   2002 17th St W.      Palmetto FL               34221 United States               Credit
262   4/18/2019       19:49:14   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1556002800~USD             86.95       0     86.95                     ...                                                                       4TM21953 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                 88U89474LW629215D                             86.95                                                                                    Credit
263   4/18/2019       19:49:14   PDT       Scott Herri Express Ch Completed                           ~@~CLD:1556002800~USD            ‐86.95       0    ‐86.95                     Sales@oneOpen PremU.S. BusineherringplacOpen PremU.S. Business Verified 88U89474LInstant Tra Verified Donna Fog Confirmed TAGUA RH 1.82E+11                 0        0        0                                      Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=182040391949&var=482831462238             0   8955 US Hwy 301 N # Parrish      FL         34219‐870 United States              Debit
264   4/18/2019        7:52:07   PDT       ...          Faster FundCompleted                          ~@~CLD:1556002800~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                       5FC34860WCredit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
265   4/18/2019        6:59:07   PDT       Melvin ShaRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     mshaw494 Open        U.S. Personsales@one Open PremU.S. Business Verified 3W951445 Instant     Verified Melvin E. S Confirmed                                                                                                                                                                                                    18.15   123 Walton Heath Dr Raeford      NC         28376‐590 United States              Credit
266   4/18/2019        5:47:19   PDT       ...          Faster FundCompleted                          ~@~CLD:1556002800~USD           ‐160.73   ‐1.61   ‐159.12                     ...                                                                       47Y552991Credit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
267   4/18/2019        4:49:40   PDT       robert samRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     samulka.roOpen       U.S. Personsales@one Open PremU.S. Business Verified 1HB257204Instant     Unverified robert samConfirmed                                                                                                                                                                                                   160.73   4019 Laurel Way       Ellenton FL              34222 United States               Credit
268   4/18/2019        4:28:28   PDT       John BowmRecurring PCompleted                              1 Month Website HostUSD              19   ‐0.85     18.15                     flndrjon@aOpen       U.S. Personsales@one Open PremU.S. Business Verified 2WV15231Instant      Verified John BowmConfirmed                                                                                                                                                                                                      142.58   311 52nd ave terrace wBradenton FL             34207 United States               Credit
269   4/18/2019        4:03:04   PDT       Edward PinRecurring PCompleted                             1 Month Website HostUSD              35   ‐1.32     33.68                     paze25@g Open        U.S. Personsales@one Open PremU.S. Business Verified 792666241Instant     Unverified Edward PinConfirmed                                                                                                                                                                                                   124.43   5612 Mallow St        New Prt RcFL          34652‐516 United States              Credit
270   4/18/2019        3:29:42   PDT       James BreeRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     jeb127327@  Open     U.S. Personsales@one Open PremU.S. Business Verified 62521408TInstant     Verified James BreeConfirmed                                                                                                                                                                                                      90.75   3708 Riviera Dr       Sarasota FL              34232 United States               Credit
271   4/18/2019        3:21:43   PDT       Thomas Pa Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     t.pachulski Open     U.S. Personsales@one Open PremU.S. Business Verified 5VG06466JInstant     Unverified Thomas Pa Confirmed                                                                                                                                                                                                     72.6   8068 Woodruff Drive Newaygo MI                 49337 United States               Credit
272   4/18/2019        3:15:26   PDT       Laura Siek Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     siekl58@gmOpen       U.S. Personsales@one Open PremU.S. Business Verified 7BT79885YInstant     Unverified Laura Siek, Confirmed                                                                                                                                                                                                  54.45   13033 19 Mile Rd Lot Gowen       MI            49326 United States               Credit
273   4/18/2019        3:12:22   PDT       Carlos Faja Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     cfaja546@ Open       U.S. Personsales@one Open PremU.S. Business Verified 53W31961 Instant     Unverified Carlos Faja Confirmed                                                                                                                                                                                                   36.3   2825 Pecan St         North Port FL            34287 United States               Credit
274   4/17/2019       15:19:30   PDT       Kristal VeloRecurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     kristalmoyaOpen      U.S. Personsales@one Open PremU.S. Business Verified 81665151TInstant     Unverified Kristal VeloConfirmed                                                                                                                                                                                                  18.15   3220 12th Street Cour Bradenton FL             34208 United States               Credit
275   4/17/2019        8:28:26   PDT       ...          Faster FundCompleted                          ~@~CLD:1556002800~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                       750544040Credit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
276   4/17/2019        6:34:30   PDT       Linda WormRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     lworman8@Open        U.S. Personsales@one Open PremU.S. Business Verified 8YE08191NInstant     Verified Linda WormConfirmed                                                                                                                                                                                                      18.15   6 Parkwood             Bradenton FL            34208 United States               Credit
277   4/17/2019        5:07:17   PDT       ...          Faster FundCompleted                          ~@~CLD:1556002800~USD            ‐54.45   ‐0.54    ‐53.91                     ...                                                                       3UW68198Credit Card [Unknown]                                                                                                                                                                                                                              0                                                                                    Debit
278   4/17/2019        3:52:30   PDT       Cheryl HillmRecurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     cherlyhillmOpen      U.S. Personsales@one Open PremU.S. Business Verified 5WB06845Instant      Unverified Cheryl HillmConfirmed                                                                                                                                                                                                  54.45   1988 Se Cherry Dr    Arcadia  FL               34266 United States               Credit
279   4/17/2019        3:29:18   PDT       James FriedRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     jfriedhoff@Open      U.S. Personsales@one Open PremU.S. Business Verified 2ML47676 Instant     Verified James FriedConfirmed                                                                                                                                                                                                      36.3   928 S Doral Ln.      Venice   FL               34293 United States               Credit
280   4/17/2019        3:26:08   PDT       David HollaRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     david.holla Open     U.S. Personsales@one Open PremU.S. Business Verified 4SK045656Instant     Unverified David HollaConfirmed                                                                                                                                                                                                   18.15   9124 Raes Creek PlacePalmetto FL               34221 United States               Credit
281   4/16/2019        8:23:14   PDT       ...          Faster FundCompleted                          ~@~CLD:1556002800~USD             ‐72.6   ‐0.73    ‐71.87                     ...                                                                       0AU75615ACredit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
282   4/16/2019        8:22:00   PDT       ROMAN EYRecurring PCompleted                               1 Month Website HostUSD              19   ‐0.85     18.15                     rae101519 Open       U.S. Personsales@one Open PremU.S. Business Verified 0PJ37374NInstant     Unverified ROMAN EYConfirmed                                                                                                                                                                                                       72.6   119 LAZY AVENUE       BRADENTOFL               34208 United States               Credit
283   4/16/2019        7:47:27   PDT       James Rup Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     ruppjar197Open       U.S. Personsales@one Open PremU.S. Business Verified 0KF05410BInstant     Unverified James Rup Confirmed                                                                                                                                                                                                    54.45   205 North Pointe Dr Archbold OH                43502 United States               Credit
284   4/16/2019        6:32:48   PDT       Rose Lee B Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     mlblaze@yOpen        U.S. Personsales@one Open PremU.S. Business Verified 9DK998410Instant     Verified Rose Lee B Confirmed                                                                                                                                                                                                      36.3   1506 w. henderson st. chicago IL               60657 United States               Credit
285   4/16/2019        3:42:39   PDT       Carol MasoRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     carolnisbetOpen      U.S. Personsales@one Open PremU.S. Business Verified 046075289Instant     Verified Carol MasoConfirmed                                                                                                                                                                                                      18.15   2198 Briar Creek Way Sarasota FL               34235 United States               Credit
286   4/15/2019        7:43:15   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1555570800~USD            144.32       0    144.32                     ...                                                                       41D39334KInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                            8ES93694PJ357470P                                 216.63                                                                                    Credit
287   4/15/2019        7:43:15   PDT       Upwork Es PreapproveCompleted                              Upwork Services       USD       ‐216.63       0   ‐216.63                     Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 8ES93694PInstant Tra Verified                            Upwork Services             0                 0                                                                                                        AE8398879D8877155                             0                                                                                    Debit    PayPal_SDK
288   4/15/2019        4:29:48   PDT       leafsMicha Recurring PCompleted                            1 Month Website HostUSD              19   ‐1.14     17.86                     m_dwilson Open       Canadian Psales@one Open PremU.S. Business Verified 2N177864HInstant      Non‐U.S. ‐ leafsMicha Confirmed                                                                                                                                                                                                   72.31   P.O. Box 190         MoonbeamOntario        P0L 1V0 Canada                       Credit
289   4/15/2019        4:10:04   PDT       Janice StanRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     jstanton63 Open      U.S. Personsales@one Open PremU.S. Business Verified 0GB76424XInstant     Unverified Janice StanConfirmed                                                                                                                                                                                                   54.45   10380 Alpine Ave     Sparta    MI               49345 United States              Credit
290   4/15/2019        3:55:33   PDT       Tami ThomRecurring PCompleted                              1 Month Website HostUSD              19   ‐0.85     18.15                     vbdig4@aoOpen        U.S. Personsales@one Open PremU.S. Business Verified 15A11886XInstant     Verified Tami Mant Confirmed                                                                                                                                                                                                       36.3   12760 Elms Rd        Birch Run MI           48415‐876 United States              Credit
291   4/14/2019        9:14:50   PDT       Shannon R Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     sfdrb@aol.Open       U.S. Personsales@one Open PremU.S. Business Verified 73H52791NInstant     Unverified Shannon R Confirmed                                                                                                                                                                                                    18.15   7001 Interb      187 tampa     FL               33616 United States              Credit
292   4/14/2019        4:38:53   PDT       ...          Faster FundCompleted                          ~@~CLD:1555570800~USD            ‐90.75   ‐0.91    ‐89.84                     ...                                                                       71K28553RCredit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
293   4/14/2019        4:37:36   PDT       Christine R Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     droussopo Open       U.S. Personsales@one Open PremU.S. Business Verified 0N306850RInstant     Unverified Christine R Confirmed                                                                                                                                                                                                  90.75   2825 Terra Unit 1602 Palmetto FL               34221   United States             Credit
294   4/14/2019        4:36:42   PDT       Brent KleinRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     kleinbail@gOpen      U.S. Personsales@one Open PremU.S. Business Verified 8TF02490KInstant     Unverified Brent KleinConfirmed                                                                                                                                                                                                    72.6   2562 Marblehead Dr Sarasota FL                 34231   United States             Credit
295   4/14/2019        4:33:48   PDT       Marvin Cle Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     mclevenge Open       U.S. Personsales@one Open PremU.S. Business Verified 4B764632FInstant     Unverified Marvin Cle Confirmed                                                                                                                                                                                                   54.45   2313 W.Cambridge Dr Muncie     IN              47304   United States             Credit
296   4/14/2019        3:14:41   PDT       Nancy Had Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     hadleyn1@Open        U.S. Personsales@one Open PremU.S. Business Verified 4S873496CInstant     Verified Nancy Had Confirmed                                                                                                                                                                                                       36.3   5613 Key Largo Ct    Bradenton FL              34203   United States             Credit
297   4/14/2019        3:12:24   PDT       James HarnRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     jrh8999@gOpen        U.S. Personsales@one Open PremU.S. Business Verified 0T422373WInstant     Verified James HarnConfirmed                                                                                                                                                                                                      18.15   6321 113thApt 1402 Seminole FL                 33772   United States             Credit
298   4/13/2019        7:35:31   PDT       ...          Faster FundCompleted                          ~@~CLD:1555570800~USD             ‐36.3   ‐0.36    ‐35.94                     ...                                                                       24C17870VCredit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
299   4/13/2019        6:41:57   PDT       mike chart Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     sarasotamcOpen       U.S. Personsales@one Open PremU.S. Business Verified 0XC665729Instant     Verified mike chart Confirmed                                                                                                                                                                                                      36.3   4802 51st. Unit 103    Bradenton FL            34210 United States               Credit
300   4/13/2019        5:32:07   PDT       Margaret WRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     pegmcnamOpen         U.S. Personsales@one Open PremU.S. Business Verified 6D2999621Instant     Unverified Margaret SConfirmed                                                                                                                                                                                                    18.15   1316 Howard St         Petoskey MI             49770 United States               Credit
301   4/13/2019        5:18:10   PDT       ...          Faster FundCompleted                          ~@~CLD:1555570800~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                       23806614RCredit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
302   4/13/2019        3:13:20   PDT       michael go Recurring PCompleted                            1 Month W47.202.170USD               19   ‐0.85     18.15                     goodmike5Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 6T079479XInstant      Verified michael go Confirmed                                                                                                                                                                                                     18.15   705 89th court NW      bradenton FL            34209 United States               Credit
303   4/12/2019        5:04:35   PDT       ...          Faster FundCompleted                                                USD        ‐90.75   ‐0.91    ‐89.84                     ...                                                                       5RS57357L Credit Card [Unknown]                                                                                                                                                                                                                            0                                                                                    Debit
304   4/12/2019        4:51:26   PDT       Cain Cain Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     cinsweet64Open       U.S. Personsales@one Open PremU.S. Business Verified 4Y966957CInstant     Unverified Cain Cain, 8Confirmed                                                                                                                                                                                                  90.75   816 64th ave Dr E      Bradenton FL            34203   United States             Credit
305   4/12/2019        3:55:00   PDT       Laurie PageRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     laurie.eb.p Open     U.S. Personsales@one Open PremU.S. Business Verified 6MD63181Instant      Verified Laurie PageConfirmed                                                                                                                                                                                                      72.6   936 145th Street CircleBradenton FL            34212   United States             Credit
306   4/12/2019        3:50:59   PDT       Sabine FulkRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     splanet69@Open PremU.S. Businesales@one Open PremU.S. Business Verified 6LU73893XInstant       Verified Sabine FulkConfirmed                                                                                                                                                                                                     54.45   5728 28th St E         Bradenton FL            34203   United States             Credit
307   4/12/2019        3:43:03   PDT       tkshoppingRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     simplyist@Open PremU.S. Businesales@one Open PremU.S. Business Verified 0VU959871Instant       Verified tkshoppingConfirmed                                                                                                                                                                                                       36.3   48 Lyman St            Worcester MA             1603   United States             Credit
308   4/11/2019        7:33:53   PDT       Ray PalmerRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     pipefit@froOpen PremU.S. Premiesales@one Open PremU.S. Business Verified 242508186Instant      Verified Ray PalmerConfirmed                                                                                                                                                                                                      18.15   510 Pershing           Galion    OH            44833   United States             Credit
309   4/11/2019        5:34:50   PDT       ...          Faster FundCompleted                                                USD        ‐90.75   ‐0.91    ‐89.84                     ...                                                                       5CP827986Credit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
310   4/11/2019        5:24:15   PDT       Kenneth Je Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     cowboyswiOpen        U.S. Personsales@one Open PremU.S. Business Verified 8FB978033Instant     Verified Kenneth Je Confirmed                                                                                                                                                                                                     90.75   4314 Douglas Hill Pl Parrish    FL             34219 United States               Credit
311   4/11/2019        4:35:27   PDT       David CancRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     vipr1960@Open        U.S. Personsales@one Open PremU.S. Business Verified 5YC311515Instant     Unverified David CancConfirmed                                                                                                                                                                                                     72.6   1120 53rd Ave E Lot 12Bradenton FL             34203 United States               Credit
312   4/11/2019        4:33:09   PDT       Jaco tours Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     MINTO179 Open PremU.S. Businesales@one Open PremU.S. Business Verified 808864818Instant        Unverified Michael M Confirmed                                                                                                                                                                                                    54.45   2151 N State Road 7 Margate FL              33063‐571 United States              Credit
313   4/11/2019        4:12:08   PDT       K&M enterRecurring PCompleted                              1 Month Website HostUSD              19   ‐0.85     18.15                     kkmkx3@g Open PremU.S. Businesales@one Open PremU.S. Business Verified 9G7902471Instant        Verified K&M enterConfirmed                                                                                                                                                                                                        36.3   2215 4th St SW        Ruskin    FL             33570 United States               Credit
314   4/11/2019        3:56:29   PDT       Eddo Butle Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     shortfolks5Open      U.S. Personsales@one Open PremU.S. Business Verified 9NY459401Instant     Unverified Eddo Butle Confirmed                                                                                                                                                                                                   18.15   1883 Briar Creek PlaceSarasota FL              34235 United States               Credit
315   4/10/2019        6:11:06   PDT       ...          Faster FundCompleted                                                USD        ‐90.75   ‐0.91    ‐89.84                     ...                                                                       5J377024NCredit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
316   4/10/2019        5:46:35   PDT       Robert BelaRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     rbelanger7 Open      U.S. Personsales@one Open PremU.S. Business Verified 6J176221MInstant     Unverified Robert BelaConfirmed                                                                                                                                                                                                   90.75   2239 Sifield Greens W Sun City CeFL            33573   United States             Credit
317   4/10/2019        5:33:53   PDT       william barRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     whbjr58@cOpen        U.S. Personsales@one Open PremU.S. Business Verified 4TE577617Instant     Unverified william barConfirmed                                                                                                                                                                                                    72.6   9860 Grackle Loop     Lakeland FL              33810   United States             Credit
318   4/10/2019        4:46:16   PDT       Shirley McLRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     sam7330@Open         U.S. Personsales@one Open PremU.S. Business Verified 4PM52965 Instant     Unverified Shirley McLConfirmed                                                                                                                                                                                                   54.45   4034 Cochise Terrace Sarasota FL               34233   United States             Credit
319   4/10/2019        4:32:36   PDT       Frank T Cle Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     clemenf@gOpen PremU.S. Premiesales@one Open PremU.S. Business Verified 4RG726462Instant        Verified frank clemeConfirmed                                                                                                                                                                                                      36.3   6730 283rd Street Eas Myakka CitFL             34251   United States             Credit
320   4/10/2019        3:52:49   PDT       Michael M Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     mikemirab Open       U.S. Personsales@one Open PremU.S. Business Verified 9RN510263Instant     Unverified Michael M Confirmed                                                                                                                                                                                                    18.15   5536 42nd Street East Bradenton FL             34203   United States             Credit
321    4/9/2019        6:07:37   PDT       ...          Faster FundCompleted                                                USD         ‐36.3   ‐0.36    ‐35.94                     ...                                                                       47M25224 Credit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
322    4/9/2019        5:02:35   PDT       John WyattRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     milumjak@Open        U.S. Personsales@one Open PremU.S. Business Verified 6KS20140PInstant     Verified John WyattConfirmed                                                                                                                                                                                                       36.3   980 7th St NW, Lot 66 Largo    FL              33770 United States               Credit
323    4/9/2019        4:28:41   PDT       Leo LozeauRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     llozeau442 Open      U.S. Personsales@one Open PremU.S. Business Verified 3AC84820MInstant     Unverified Leo LozeauConfirmed                                                                                                                                                                                                    18.15   47 Larkspur Ave       Palmetto FL              32444 United States               Credit
324    4/9/2019        4:21:09   PDT       ...          Faster FundCompleted                                                USD       ‐103.56   ‐1.04   ‐102.52                     ...                                                                       6D6714376Credit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
325    4/9/2019        4:10:21   PDT       richard joh Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     knightriderOpen PremU.S. Premiesales@one Open PremU.S. Business Verified 0TV557057Instant      Verified Richard JohConfirmed                                                                                                                                                                                                    103.56   1207 Caloosa Creek CtSun City CeFL          33573‐487 United States              Credit
326    4/9/2019        4:07:59   PDT       Giosia MogRecurring PCompleted                             1 Month Website HostUSD            13.5   ‐0.69     12.81                     giosiam@gOpen PremU.S. Businesales@one Open PremU.S. Business Verified 2EM02540 Instant        Verified Casa Bella, Confirmed                                                                                                                                                                                                    85.41   431 9th St           West EastoPA              18042 United States               Credit
327    4/9/2019        3:45:01   PDT       Kevin ChrisRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     jlchristmanLocked    U.S. Premiesales@one Open PremU.S. Business Verified 377819905Instant     Verified Kevin ChrisConfirmed                                                                                                                                                                                                      72.6   2105 12th Ave W      Bradenton FL              34205 United States               Credit
328    4/9/2019        3:31:27   PDT       Loreen HouRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     hcody3@y Open        U.S. Personsales@one Open PremU.S. Business Verified 1KW65650 Instant     Verified Loreen HouConfirmed                                                                                                                                                                                                      54.45   20017 Oakdale Ave Brooksville FL               34601 United States               Credit
329    4/9/2019        3:18:04   PDT       maria delgaRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     mariadelgaOpen       U.S. Personsales@one Open PremU.S. Business Verified 4R5961167Instant     Unverified maria Delg Confirmed                                                                                                                                                                                                    36.3   805 3rd Av #201      Palmetto FL               34221 United States               Credit
330    4/9/2019        3:09:50   PDT       Barbara KuRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     barb49kue Open PremU.S. Premiesales@one Open PremU.S. Business Verified 3ML06745 Instant       Verified Barbara KuConfirmed                                                                                                                                                                                                      18.15   8925 SW 171ST ST     PALMETTOFL                33157 United States               Credit
331    4/8/2019       11:08:47   PDT       ...          Faster FundCompleted                                                USD        ‐18.15   ‐0.18    ‐17.97                     ...                                                                       58H045766Credit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
332    4/8/2019        8:39:53   PDT       Git R Done Update to Updated                                                     USD            19   ‐0.85     18.15                     mhallcoupoRestricted U.S. Business Verified                               5CP832926B1703325 Verified                                                                                                                                                                          9XY87929XJ2159030                                  18.15                                                                                    Credit
333    4/8/2019        7:42:53   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1554966000~USD             19.53       0     19.53                     ...                                                                       29E81206BInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                            1Y967202JY403980Y                                  37.68                                                                                    Credit
334    4/8/2019        7:42:53   PDT       Upwork Es PreapproveCompleted                              ~@~CLD:1554966000~USD            ‐37.68       0    ‐37.68                     Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 1Y967202J Instant Tra Verified                           Upwork Services             0                 0                                                                                                        AE8398879D8843904                             0                                                                                    Debit    PayPal_SDK
335    4/8/2019        5:58:07   PDT       william barRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     whbjr58@cOpen        U.S. Personsales@one Open PremU.S. Business Verified 3BG28920DInstant     Unverified william barConfirmed                                                                                                                                                                                                   18.15   9860 Grackle Loop      Lakeland FL             33810 United States               Credit
336    4/8/2019        5:29:50   PDT       ...          Faster FundCompleted                          ~@~CLD:1554966000~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                       89K67643VCredit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
337    4/8/2019        4:52:42   PDT       Amber Wh Recurring PCompleted                              1 Month Website HostUSD              19   ‐0.85     18.15                     jorgenel15 Open      U.S. Personsales@one Open PremU.S. Business Verified 15933855J Instant    Unverified Amber Wh Confirmed                                                                                                                                                                                                     18.15   2827 22nd St W         Bradenton FL            34207 United States               Credit
338    4/7/2019       19:39:31   PDT       ...          Faster FundCompleted                          ~@~CLD:1554966000~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                       8GS524667Credit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
339    4/7/2019       11:13:32   PDT       Jason Ball Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     j.ball@live.Open     U.S. Personsales@one Open PremU.S. Business Verified 3X1897931Instant     Verified Jay Ball, 10 Confirmed                                                                                                                                                                                                   18.15   10229 N 33Apt 269      Phoenix   AZ            85051 United States               Credit
340    4/7/2019        5:26:49   PDT       ...          Faster FundCompleted                          ~@~CLD:1554966000~USD            ‐90.75   ‐0.91    ‐89.84                     ...                                                                       32K68038ACredit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
341    4/7/2019        5:08:25   PDT       Elaine GrenRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     efgrenier@Open       U.S. Personsales@one Open PremU.S. Business Verified 48871062CInstant     Unverified Elaine GrenConfirmed                                                                                                                                                                                                   90.75   6633 53rd Ave E        Bradenton FL            34203   United States             Credit
342    4/7/2019        4:58:22   PDT       Russell Par Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     rjp0122@s Open       U.S. Personsales@one Open PremU.S. Business Verified 1K980126KInstant     Verified Russell Par Confirmed                                                                                                                                                                                                     72.6   2019 S Bayou Dr        Ruskin     FL           33570   United States             Credit
343    4/7/2019        4:43:17   PDT       Jack Coury Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     jcoury@tamOpen       U.S. Personsales@one Open PremU.S. Business Verified 1H4263884Instant     Verified Jack Coury,Confirmed                                                                                                                                                                                                     54.45   4550 PinebApt. 601     Bradenton FL            34209   United States             Credit
344    4/7/2019        3:55:58   PDT       Scott Lurgi Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     tazlurgio@ Open PremU.S. Premiesales@one Open PremU.S. Business Verified 7FC50921GInstant      Verified Scott Lurgi Confirmed                                                                                                                                                                                                     36.3   11305 30th CV E        Parrish    FL           34219   United States             Credit
345    4/7/2019        3:17:36   PDT       Susan kelseRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     kelsey1948Open       U.S. Personsales@one Open PremU.S. Business Verified 8LU36620WInstant     Unverified Susan kelseConfirmed                                                                                                                                                                                                   18.15   18939 W Maple          InterlochenMI           49643   United States             Credit
346    4/5/2019        8:07:26   PDT       ...          Faster FundCompleted                          ~@~CLD:1554966000~USD             ‐36.3   ‐0.36    ‐35.94                     ...                                                                       3G446396HCredit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
347    4/5/2019        7:54:45   PDT       Penny RowRecurring PCompleted                              1 Month Website HostUSD              19   ‐0.85     18.15                     prow6@ya Open        U.S. Personsales@one Open PremU.S. Business Verified 25X18835FInstant     Unverified Penny RowConfirmed                                                                                                                                                                                                      36.3   9852 Moorhen Dr.       Lakeland FL             33810 United States               Credit
348    4/5/2019        6:22:34   PDT       ...          Faster FundCompleted                          ~@~CLD:1554966000~USD             ‐36.3   ‐0.36    ‐35.94                     ...                                                                       4NM92923Credit Card [Unknown]                                                                                                                                                                                                                              0                                                                                    Debit
349    4/5/2019        6:13:23   PDT       Ronald GauRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     ghansome1Open        U.S. Personsales@one Open PremU.S. Business Verified 3HR38046MInstant     Unverified Ronald GauConfirmed                                                                                                                                                                                                    54.45   4729 Loma Grande Dr El Paso   TX               79934 United States               Credit
350    4/5/2019        5:25:58   PDT       victor ibarrRecurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     vimiza80@Open PremU.S. Premiesales@one Open PremU.S. Business Verified 37X175774Instant        Unverified victor ibarrConfirmed                                                                                                                                                                                                   36.3   3644 WOODMONT DRSARASOTA FL                    34232 United States               Credit
351    4/5/2019        5:13:11   PDT       PETE A RU Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     EQUITYTOOOpen        U.S. Personsales@one Open PremU.S. Business Verified 6WL41771 Instant     Unverified LARA RUTSConfirmed                                                                                                                                                                                                     18.15   555 95th Street OceanMarathon FL               33050 United States               Credit
352    4/5/2019        5:08:26   PDT       ...          Faster FundCompleted                          ~@~CLD:1554966000~USD             ‐72.6   ‐0.73    ‐71.87                     ...                                                                       8UH13890 Credit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
353    4/5/2019        4:38:59   PDT       Kenneth RoRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     kcr02bebo Open       U.S. Personsales@one Open PremU.S. Business Verified 0HL559183Instant     Unverified Kenneth RoConfirmed                                                                                                                                                                                                     72.6   9425 Forest Hills Cir Sarasota FL              34238 United States               Credit
354    4/5/2019        4:14:00   PDT       Timothy M Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     timberrr21 Open      U.S. Personsales@one Open PremU.S. Business Verified 7WA71955Instant      Unverified Timothy M Confirmed                                                                                                                                                                                                    54.45   1064 East Manatee Bradenton FL                 34208 United States               Credit
355    4/5/2019        3:56:59   PDT       Key West MRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     tim.greene Open PremU.S. Businesales@one Open PremU.S. Business Verified 2XJ892581 Instant     Verified Key West MConfirmed                                                                                                                                                                                                       36.3   701 Spanish Main Dr 4Cudjoe KeyFL              33042 United States               Credit
356    4/5/2019        3:09:33   PDT       Larry BealeRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     lsbeale59@Open       U.S. Personsales@one Open PremU.S. Business Verified 3VV11650GInstant     Unverified Larry BealeConfirmed                                                                                                                                                                                                   18.15   218 ROYAL BONNET D APOLLO BEFL                 33572 United States               Credit
357    4/4/2019       20:38:38   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1554793200~USD                22       0        22                     ...                                                                       6LC88749J Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                           8TJ71930TR0590131                                     22                                                                                    Credit
358    4/4/2019       20:38:38   PDT       fiverr.com PreapproveCompleted                             ~@~CLD:1554966000~USD               ‐22       0       ‐22                     Sales@oneOpen PremU.S. Businepaypal@fivOpen PremIsraeli Business Verifie8TJ71930T Instant Tra Non‐U.S. ‐ Verified               do amazon fba produc        0                 0                                                                                                        c00bdac471a4125c2834                          0                                                                                    Debit    ActiveMerchant
359    4/4/2019        6:01:10   PDT       ...          Faster FundCompleted                          ~@~CLD:1554793200~USD           ‐127.05   ‐1.27   ‐125.78                     ...                                                                       4AL83361MCredit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
360    4/4/2019        5:08:01   PDT       Robert Gib Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     rswimmer@Open        U.S. Personsales@one Open PremU.S. Business Verified 7YJ475074 Instant    Unverified Robert Gib Confirmed                                                                                                                                                                                                  127.05   10514 Sleepy Orange CRiverview FL              33578   United States             Credit
361    4/4/2019        4:19:11   PDT       Michael PeRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     mjp51@sb Open        U.S. Personsales@one Open PremU.S. Business Verified 0W185313 Instant     Unverified Michael PeConfirmed                                                                                                                                                                                                    108.9   10726 New Buffalo RoNorth LimaOH               44452   United States             Credit
362    4/4/2019        4:15:08   PDT       joe young Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     dr.feelgoodOpen      U.S. Personsales@one Open PremU.S. Business Verified 0S301536HInstant     Unverified joe young, Confirmed                                                                                                                                                                                                   90.75   1528 SE Ohio Ave        Arcadia  FL            34266   United States             Credit
363    4/4/2019        3:48:34   PDT       Michelle WRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     michelle.w Open      U.S. Personsales@one Open PremU.S. Business Verified 32H122458Instant     Verified Michelle WConfirmed                                                                                                                                                                                                       72.6   2315 124th dr e         Parrish  FL            34219   United States             Credit
364    4/4/2019        3:39:13   PDT       Ken GiffordRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     wd4nkz@mOpen PremU.S. Premiesales@one Open PremU.S. Business Verified 772925277Instant         Verified Ken GiffordConfirmed                                                                                                                                                                                                     54.45   6515 15th St. E. Lot D‐ Sarasota FL            34243   United States             Credit
365    4/4/2019        3:30:03   PDT       Chris Huff Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     Chrisluvs2sClosed    U.S. Personsales@one Open PremU.S. Business Verified 65X34132FInstant     Unverified Chris Huff, Confirmed                                                                                                                                                                                                   36.3   801 Willow Brook Dr. Warren OH                 44483   United States             Credit
366    4/4/2019        3:05:23   PDT       Gregory VaRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     pmac1@ptOpen         U.S. Personsales@one Open PremU.S. Business Verified 02682313TInstant     Unverified Gregory VaConfirmed                                                                                                                                                                                                    18.15   4215 Long Lake Drive SEllenton FL              34222   United States             Credit
367    4/3/2019       20:06:49   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1554706800~USD                22       0        22                     ...                                                                       75F29006WInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                            94X20860UX242772P                                     22                                                                                    Credit
368    4/3/2019       20:06:49   PDT       fiverr.com Mobile ExpCompleted                             do amazon fba producUSD             ‐22       0       ‐22                     Sales@oneOpen PremU.S. Businepaypal@fivOpen PremIsraeli Business Verifie94X20860UInstant Tra Non‐U.S. ‐ Verified                do amazon fba produc        0                 0                                                                                                                                                      0                                                                                    Debit    ActiveMerchant
369    4/3/2019        8:09:38   PDT       ...          Faster FundCompleted                          ~@~CLD:1554706800~USD            ‐54.45   ‐0.54    ‐53.91                     ...                                                                       9HB637762Credit Card [Unknown]                                                                                                                                                                                                                             0                                                                                    Debit
370    4/3/2019        7:56:17   PDT       KG CommuRecurring PCompleted                               1 Month Website HostUSD              19   ‐0.85     18.15                     kim@kgcomOpen PremU.S. Businesales@one Open PremU.S. Business Verified 5D0799134Instant        Verified KG CommuConfirmed                                                                                                                                                                                                        54.45   20 Gilbert Dr.         Glenwood NJ              7418 United States               Credit
                                                                                       Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 47 of 460 PageID 124

      A           B                    C       D           E          F          G         H      I       J         K            L    M        N        O           P      Q   R       S          T          U          V          W          X          Y            Z        AA         AB        AC        AD         AE        AF         AG         AH       AI       AJ   AK   AL   AM   AN   AO   AP      AQ      AR        AS         AT        AU        AV        AW         AX          AY   AZ   BA   BB          BC           BD         BE           BF      BG         BH           BI    BJ      BK       BL        BM        BN
371    4/3/2019        7:10:37   PDT       William MuRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     billclinic@aOpen PremU.S. Premiesales@one Open PremU.S. Business Verified      7W536963 Instant     Verified WILLIAM DConfirmed                                                                                                                                                                                                  36.3   17 Nashua RD           Pepperell MA              1463 United States                Credit
372    4/3/2019        6:10:18   PDT       George GiuRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     ggiunta600Open          U.S. Personsales@one Open PremU.S. Business Verified   73F62114BInstant     Unverified George GiuConfirmed                                                                                                                                                                                              18.15   1646 Serrano Circle    Naples    FL             34105 United States                Credit
373    4/3/2019        4:59:05   PDT       ...          Faster FundCompleted                          ~@~CLD:1554706800~USD          ‐199.65      ‐2   ‐197.65                     ...                                                                            89L31538VCredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
374    4/3/2019        4:51:50   PDT       Brian RolphRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     brolph1@cOpen           U.S. Personsales@one Open PremU.S. Business Verified   04334217MInstant     Unverified Brian RolphConfirmed                                                                                                                                                                                            199.65   4505 Cernala Court Venice       FL              34293 United States                Credit
375    4/3/2019        4:45:25   PDT       Jasmine RivRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jasmineriveOpen         U.S. Personsales@one Open PremU.S. Business Verified   0KU94292PInstant     Unverified Jasmine RivConfirmed                                                                                                                                                                                             181.5   711 22nd Ave W        Bradenton FL              34205 United States                Credit
376    4/3/2019        4:38:57   PDT       Teddy Und Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     twu.1968@Open           U.S. Personsales@one Open PremU.S. Business Verified   2YU548754Instant     Unverified Teddy Und Confirmed                                                                                                                                                                                             163.35   5238 Foxcroft Ct.     Sarasota FL               34232 United States                Credit
377    4/3/2019        4:14:21   PDT       SHEILA CISCRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     SCISCO77@Open           U.S. Personsales@one Open PremU.S. Business Verified   21W75235 Instant     Unverified Sheila Knig Confirmed                                                                                                                                                                                            145.2   6914 COCONUT GROVELLENTON FL                    34222 United States                Credit
378    4/3/2019        4:11:39   PDT       Marco PineRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     gmag1968@    Restricted U.S. Personsales@one Open PremU.S. Business Verified   2K778957EInstant     Unverified Marco PineConfirmed                                                                                                                                                                                             127.05   1225 s c st           Lake WorthFL              33460 United States                Credit
379    4/3/2019        4:08:10   PDT       Damon WaRecurring PCompleted                               1 Month Website HostUSD             19   ‐0.85     18.15                     yatahay54@   Open       U.S. Personsales@one Open PremU.S. Business Verified   12787725RInstant     Unverified Damon WaConfirmed                                                                                                                                                                                                108.9   2616 36 Ave W         Bradenton FL              34205 United States                Credit
380    4/3/2019        3:54:39   PDT       JOYCARE SeRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     joyfully4jesOpen PremU.S. Businesales@one Open PremU.S. Business Verified      4B964680WInstant     Verified Joy Coblen Confirmed                                                                                                                                                                                               90.75   1900 7th Ave W        Palmetto FL            34221‐311 United States               Credit
381    4/3/2019        3:42:35   PDT       Gale Tycz Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     gftycz@gmOpen           U.S. Personsales@one Open PremU.S. Business Verified   1SD39682NInstant     Unverified Gale Tycz, Confirmed                                                                                                                                                                                              72.6   25 Carriage Drive     Durham CT                  6422 United States                Credit
382    4/3/2019        3:32:56   PDT       Bryan GravRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     byrangraveOpen          U.S. Personsales@one Open PremU.S. Business Verified   1AJ40318MInstant     Unverified Bryan GravConfirmed                                                                                                                                                                                              54.45   407 46st St W         Palmetto FL               34221 United States                Credit
383    4/3/2019        3:16:12   PDT       Vicki Hall Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     mtlmaidn@Open PremU.S. Premiesales@one Open PremU.S. Business Verified         8KD40841LInstant     Verified Vicki Hall, 2Confirmed                                                                                                                                                                                              36.3   2105 47th Street PlaceBradenton FL              34209 United States                Credit
384    4/3/2019        3:09:33   PDT       David Kato Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     dkatona94 Open          U.S. Personsales@one Open PremU.S. Business Verified   5HR670428Instant     Unverified David Kato Confirmed                                                                                                                                                                                             18.15   4411 B 101st West     Bradenton FL              34210 United States                Credit
385    4/2/2019       11:29:08   PDT       PayPal       Cancelled FCompleted                                               USD          0.85       0      0.85                     ...                                                                            1AM36786SJ704031U                                                                                                                                                                                      9X982811YD781044R                             0                                                                                      Memo
386    4/2/2019       11:29:08   PDT       Rose Lee B Refund         Completed                        ~@~CLD:1554706800~USD              ‐19    0.85    ‐18.15                     mlblaze@yOpen           U.S. Personsales@one Open PremU.S. Business Verified   77734259HR912974N                                                                                                                                                                                      9E537683V38829246                             0                                                                                      Debit
387    4/2/2019       10:52:22   PDT       Rose Lee B Instant Tra Refunded                            ~@~CLD:1554706800~USD               19   ‐0.85     18.15                     mlblaze@yOpen           U.S. Personsales@one Open PremU.S. Business Verified   9E537683VInstant     Verified Rose Lee B Non‐Confirmed                                                                                                                                                                                           18.15   1506 w. henderson st. chicago     IL            60657 United States                Credit
388    4/2/2019       10:48:55   PDT       ...          Faster FundCompleted                          ~@~CLD:1554706800~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                            0A7270919Credit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
389    4/2/2019       10:47:51   PDT       Rose Lee B Instant Tra Completed                           ~@~CLD:1554706800~USD               19   ‐0.85     18.15                     mlblaze@yOpen           U.S. Personsales@one Open PremU.S. Business Verified   4LP649750Instant     Verified Rose Lee B Non‐Confirmed                                                                                                                                                                                           18.15   1506 w. henderson st. chicago     IL            60657 United States                Credit
390    4/2/2019        5:36:29   PDT       ...          Faster FundCompleted                          ~@~CLD:1554706800~USD            ‐36.3   ‐0.36    ‐35.94                     ...                                                                            7L641373J Credit Card [Unknown]                                                                                                                                                                                                                      0                                                                                      Debit
391    4/2/2019        5:35:38   PDT       James Hint Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     tulsachero Open         U.S. Personsales@one Open PremU.S. Business Verified   2VN993649Instant     Verified James Hint Confirmed                                                                                                                                                                                                36.3   3007 25th. St. W.      Bradenton FL             34205 United States                Credit
392    4/2/2019        5:34:59   PDT       Richard MARecurring PCompleted                             1 Month W104.231.10USD              19   ‐0.85     18.15                     steeler111@  Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified      20M10064 Instant     Verified Rick Malek Confirmed                                                                                                                                                                                               18.15   33676 Guilbert Rd      Eastlake OH           44095‐253 United States               Credit
393    4/2/2019        5:27:31   PDT       ...          Faster FundCompleted                                               USD        ‐98.52   ‐0.99    ‐97.53                     ...                                                                            5CU19208W Credit Card [Unknown]                                                                                                                                                                                                                      0                                                                                      Debit
394    4/2/2019        5:00:32   PDT       Bobby BlacRecurring PCompleted                             1 Month Website HostUSD             27   ‐1.08     25.92                     bblackwell Closed       U.S. Personsales@one Open PremU.S. Business Verified   5WX71617 Instant     Unverified Bobby BlacConfirmed                                                                                                                                                                                              98.52   13001 22nd Ct E        Parrish     FL           34219   United States              Credit
395    4/2/2019        4:52:43   PDT       Git R Done Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     mhallcoupoRestricted U.S. Businesales@one Open PremU.S. Business Verified      9XY87929XeCheck      Verified Git R Done Confirmed                                                                                                                                                                                                72.6   2481 Hawthorne rd      Spring hill FL           34609   United States              Memo
396    4/2/2019        4:32:24   PDT       Ron SchmidRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     ronschmidtOpen          U.S. Personsales@one Open PremU.S. Business Verified   73A76366VInstant     Unverified Ron SchmidConfirmed                                                                                                                                                                                               72.6   7803 34th Court East   Sarasota FL              34243   United States              Credit
397    4/2/2019        3:45:36   PDT       pam miller Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     putchka63@   Open       U.S. Personsales@one Open PremU.S. Business Verified   5MJ270932Instant     Unverified pam miller Confirmed                                                                                                                                                                                             54.45   5535 key west place    Bradenton FL             34203   United States              Credit
398    4/2/2019        3:30:30   PDT       Mark BagleRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     mb308@swOpen            U.S. Personsales@one Open PremU.S. Business Verified   3HY44601SInstant     Verified Mark BagleConfirmed                                                                                                                                                                                                 36.3   5136 Deerf#4           St. Louis MO             63128   United States              Credit
399    4/2/2019        3:00:41   PDT       Vanessa BaRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     vbazan@mOpen            U.S. Personsales@one Open PremU.S. Business Verified   11E97519NInstant     Unverified Vanessa M Confirmed                                                                                                                                                                                              18.15   4701 20th A            Bradenton FL             34207   United States              Credit
400    4/1/2019       17:53:23   PDT       ...          Faster FundCompleted                                               USD        ‐39.51    ‐0.4    ‐39.11                     ...                                                                            2HJ673780Credit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
401    4/1/2019       17:51:26   PDT       DROB TECHMobile PayCompleted                                                    USD            41   ‐1.49     39.51 Affiliate           drob.tech1 Open PremU.S. Businesales@one Open PremU.S. Business Verified       1Y771851RInstant     Verified DROB TECHConfirmed                                                                                                                                                                                                 39.51   197 PARK SIDE DRIVE SUFFERN NY                  10901 United States                Credit
402    4/1/2019        7:42:40   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1554361200~USD            301.4       0     301.4                     ...                                                                            8GC87232RInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                               4Y664190SJ660125U                         301.4                                                                                      Credit
403    4/1/2019        7:42:40   PDT       Upwork Es PreapproveCompleted                              Upwork Services      USD        ‐301.4       0    ‐301.4                     Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified         4Y664190SInstant Tra Verified                          Upwork Services            0                  0                                                                                                          AE8398879D8810057                    0                                                                                      Debit    PayPal_SDK
404    4/1/2019        6:58:39   PDT       ...          Faster FundCompleted                          ~@~CLD:1554361200~USD           ‐54.45   ‐0.54    ‐53.91                     ...                                                                            6L828467VCredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
405    4/1/2019        3:47:46   PDT       Harry Spar Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     e411team@Open           U.S. Personsales@one Open PremU.S. Business Verified   6JV27148F Instant    Unverified Harry Spar Confirmed                                                                                                                                                                                             54.45   4008 Colter Court   Kokomo IN                   46902 United States                Credit
406    4/1/2019        3:06:56   PDT       Heather OwRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     heatherjac Open         U.S. Personsales@one Open PremU.S. Business Verified   9W589353 Instant     Unverified HEATHER J Confirmed                                                                                                                                                                                               36.3   1882 Vamo Dr        SARASOTA FL              34231‐772 United States               Credit
407    4/1/2019        3:05:23   PDT       Jeanne Mc Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     fusionhybr Open         U.S. Personsales@one Open PremU.S. Business Verified   2RP62117CInstant     Unverified Jeanne Mc Confirmed                                                                                                                                                                                              18.15   1242 West Del Webb BSun City CeFL               33573 United States                Credit
408   3/31/2019       17:44:39   PDT       ...          Faster FundCompleted                          ~@~CLD:1554361200~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                            1P538551HCredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
409   3/31/2019       17:35:13   PDT       gary zacur Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     garyzacur@Open PremU.S. Premiesales@one Open PremU.S. Business Verified        5AB082210Instant     Verified Gary Zacur Confirmed                                                                                                                                                                                               18.15   4812 111th Ter E       Parrish    FL            34219 United States                Credit
410   3/31/2019       17:06:39   PDT       ...          Faster FundCompleted                          ~@~CLD:1554361200~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                            7UX842600Credit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
411   3/31/2019        5:21:05   PDT       Joanne Luc Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jojolucibell Open       U.S. Personsales@one Open PremU.S. Business Verified   5MR96048 Instant     Unverified Joanne Luc Confirmed                                                                                                                                                                                             18.15   2924 Maximo Road       North Port FL            34286 United States                Credit
412   3/31/2019        4:54:14   PDT       ...          Faster FundCompleted                          ~@~CLD:1554361200~USD          ‐163.35   ‐1.63   ‐161.72                     ...                                                                            13991709GCredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
413   3/31/2019        4:31:50   PDT       Suzanne MRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     SuzannecmOpen           U.S. Personsales@one Open PremU.S. Business Verified   4NB359677Instant     Unverified Suzanne MConfirmed                                                                                                                                                                                              163.35   PO Box 1288           Bradenton FL              34206 United States                Credit
414   3/31/2019        4:20:33   PDT       eugene ZepRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     hhfz137@cOpen           U.S. Personsales@one Open PremU.S. Business Verified   7X1502422Instant     Unverified eugene ZepConfirmed                                                                                                                                                                                              145.2   5605 Key Largo Ct.    Bradenton FL              34203 United States                Credit
415   3/31/2019        3:53:47   PDT       joseph randRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     ringkking@Open          U.S. Personsales@one Open PremU.S. Business Verified   8L265471E Instant    Verified Joseph RanConfirmed                                                                                                                                                                                               127.05   116 Bridge St         Bradenton FL           34217‐243 United States               Credit
416   3/31/2019        3:44:23   PDT       Charlotte SRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     csaise_sdp Open         U.S. Personsales@one Open PremU.S. Business Verified   3RW72183Instant      Unverified Charlotte SConfirmed                                                                                                                                                                                             108.9   102 3rd Ave Se        Ruskin      FL            33570 United States                Credit
417   3/31/2019        3:38:11   PDT       Leah Clend Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     rioflora@g Open         U.S. Personsales@one Open PremU.S. Business Verified   960021945Instant     Unverified Leah Clend Confirmed                                                                                                                                                                                             90.75   799 Pinellas Pt Dr So Saint Peter FL            33705 United States                Credit
418   3/31/2019        3:10:47   PDT       Scott Hall Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     scotthall.phOpen        U.S. Personsales@one Open PremU.S. Business Verified   1WV04688Instant      Unverified Scott Hall, Confirmed                                                                                                                                                                                             72.6   18034 Malakai Isle Dr Tampa       FL            33647 United States                Credit
419   3/31/2019        3:06:31   PDT       Samantha Recurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     smjpt70@gOpen           U.S. Personsales@one Open PremU.S. Business Verified   64W70617 Instant     Verified Samantha Confirmed                                                                                                                                                                                                 54.45   7504 Morning Side Dr Ellenton FL                34222 United States                Credit
420   3/31/2019        3:01:46   PDT       Donald Kni Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jndknight@Open PremU.S. Premiesales@one Open PremU.S. Business Verified        9UX75213W Instant    Verified Donald Kni Confirmed                                                                                                                                                                                                36.3   12908 Maple St        Highland IL               62249 United States                Credit
421   3/30/2019       10:57:50   PDT       Edwin F ReRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     edreiner10Open          U.S. Personsales@one Open PremU.S. Business Verified   3YW67158 Instant     Verified EDWIN REI Confirmed                                                                                                                                                                                                18.15   1830 Mountain HouseHALIFAX PA                   17032 United States                Credit
422   3/30/2019        5:01:43   PDT       ...          Faster FundCompleted                          ~@~CLD:1554361200~USD           ‐69.69    ‐0.7    ‐68.99                     ...                                                                            70487244FCredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
423   3/30/2019        4:11:24   PDT       lynda notleRecurring PCompleted                            1 Month Website HostUSD             19   ‐1.14     17.86                     lynda4348@   Open       U.K. Personsales@one Open PremU.S. Business Verified   4D4233255Instant     Non‐U.S. ‐ Mrs Lynda Confirmed                                                                                                                                                                                              69.69   135 Foxholes Road      Poole                 BH15 3NE United Kingdom               Credit
424   3/30/2019        4:03:18   PDT       Joyce Barn Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     Jbar3774@Open           U.S. Personsales@one Open PremU.S. Business Verified   8E430549PInstant     Verified Joyce Barn Confirmed                                                                                                                                                                                               51.83   2525 Gulf City Road    Ruskin      FL           33570 United States                Credit
425   3/30/2019        3:24:18   PDT       Julie Webe Recurring PCompleted                            1 Month Website HostUSD             35   ‐1.32     33.68                     julieweb@ Open          U.S. Personsales@one Open PremU.S. Business Verified   9M485986 Instant     Unverified Julie Webe Confirmed                                                                                                                                                                                             33.68   2736 58th Place N      Saint Peter FL           33714 United States                Credit
426   3/29/2019       16:01:07   PDT       ...          Faster FundCompleted                          ~@~CLD:1554361200~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                            16689657ACredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
427   3/29/2019        8:02:57   PDT       Ryan WilliaRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     gatorryan.wOpen         U.S. Personsales@one Open PremU.S. Business Verified   32J52279GInstant     Verified Ryan WilliaConfirmed                                                                                                                                                                                               18.15   301 60th ST W          BRADENTOFL               34209 United States                Credit
428   3/29/2019        5:21:58   PDT       ...          Faster FundCompleted                          ~@~CLD:1554361200~USD          ‐160.74   ‐1.61   ‐159.13                     ...                                                                            7G5132679Credit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
429   3/29/2019        4:31:59   PDT       Jenny Lyde Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     templeton Open          U.S. Personsales@one Open PremU.S. Business Verified   2M788290 Instant     Unverified Jenny Tem Confirmed                                                                                                                                                                                             160.74   620 Bowsp Country CluLongboat KFL               34228   United States              Credit
430   3/29/2019        4:28:55   PDT       Vera Sprag Recurring PCompleted                            1 Month Website HostUSD             27   ‐1.08     25.92                     spraggie21 Open         U.S. Personsales@one Open PremU.S. Business Verified   89Y68257UInstant     Unverified Vera Sprag Confirmed                                                                                                                                                                                            142.59   7400 Sunshine SkywaySt. Petersb FL              33711   United States              Credit
431   3/29/2019        4:26:03   PDT       Ronald L JaRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     rljavner@uOpen          U.S. Personsales@one Open PremU.S. Business Verified   9WL07317 Instant     Verified Carole JavnConfirmed                                                                                                                                                                                              116.67   4904 CREEKSIDE TRL SARASOTA FL                  34243   United States              Credit
432   3/29/2019        4:24:14   PDT       Margret FisRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     guavagirl.1 Open        U.S. Personsales@one Open PremU.S. Business Verified   02D05215PInstant     Unverified Margret FisConfirmed                                                                                                                                                                                             98.52   1228 45th Ave Dr East Ellenton FL               34222   United States              Credit
433   3/29/2019        3:48:14   PDT       VickiRay Fr Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     vickiray631Open         U.S. Personsales@one Open PremU.S. Business Verified   13G29014WInstant     Unverified VickiRay Fr Confirmed                                                                                                                                                                                            80.37   6311 Carl Shepard Dr Ruskin     FL              33570   United States              Credit
434   3/29/2019        3:28:12   PDT       Larry Sturn Recurring PCompleted                           1 Month Website HostUSD             27   ‐1.08     25.92                     laza1239@Open           U.S. Personsales@one Open PremU.S. Business Verified   0TP61120XInstant     Unverified Larry Sturn Confirmed                                                                                                                                                                                            62.22   811 FreedoApt 302 Sun City CeFL                 33573   United States              Credit
435   3/29/2019        3:23:49   PDT       pete miran Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     2007telfordOpen         U.S. Personsales@one Open PremU.S. Business Verified   51M71934 Instant     Verified pete miran Confirmed                                                                                                                                                                                                36.3   1203 3rd st. Circle E Palmetto FL               34221   United States              Credit
436   3/29/2019        3:21:27   PDT       Rebecca ReRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     siervarebecOpen         U.S. Personsales@one Open PremU.S. Business Verified   86U45288AInstant     Verified Rebecca|C Confirmed                                                                                                                                                                                                18.15   901 N. Wahneta St. Allentown PENNSYLVA          18109   United States              Credit
437   3/28/2019       16:26:14   PDT       ...          Faster FundCompleted                          ~@~CLD:1554361200~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                            7FA826409Credit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
438   3/28/2019       16:06:14   PDT       Ziggy's PerfRecurring PCompleted                           1 Month W47.203.76. USD             19   ‐0.85     18.15                     zbigniewsr@  Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified      0WX92744 Instant     Verified Zbigniew S Confirmed                                                                                                                                                                                               18.15   2013 Scotland Dr       Clearwater FL            33763 United States                Credit
439   3/28/2019        9:28:59   PDT       ...          Faster FundCompleted                                               USD        ‐44.07   ‐0.44    ‐43.63                     ...                                                                            4KN54720CCredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
440   3/28/2019        8:32:43   PDT       Harry MartRecurring PCompleted                             1 Month Website HostUSD             27   ‐1.08     25.92                     909.martinOpen          U.S. Personsales@one Open PremU.S. Business Verified   6T3190485Instant     Verified Harry MartConfirmed                                                                                                                                                                                                44.07   8008 55th St. E     Palmetto FL                 34221 United States                Credit
441   3/28/2019        7:29:21   PDT       Susan Casil Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     sweetsue_ Open          U.S. PersonSales@oneOpen PremU.S. Business Verified    3E743546GInstant     Verified Susan Casil Confirmed                                                                                                                                                                                              18.15   2795 Bay Oaks Drive Sarasota FL                 34234 United States                Credit
442   3/28/2019        7:27:16   PDT       ...          Faster FundCompleted                                               USD        ‐54.16   ‐0.54    ‐53.62                     ...                                                                            5G712817GCredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
443   3/28/2019        5:41:59   PDT       James McKRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     jim.mckinnOpen PremU.S. Premiesales@one Open PremU.S. Business Verified        6AS178143Instant     Verified James McKConfirmed                                                                                                                                                                                                 54.16   5655 Bayview Drive Seminole FL                  33772 United States                Credit
444   3/28/2019        5:17:35   PDT       Timothy Tr Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     torgyde@f Open PremU.S. Premiesales@one Open PremU.S. Business Verified        4F302658L Instant    Verified Timothy Tr Confirmed                                                                                                                                                                                               36.01   21474 Billowy Jaunt D Land O Lak FL          34637‐768 United States               Credit
445   3/28/2019        3:45:41   PDT       Donald RoyRecurring PCompleted                             1 Month Website HostUSD             19   ‐1.14     17.86                     larabi@rogOpen          Canadian Psales@one Open PremU.S. Business Verified    03T58589DInstant     Non‐U.S. ‐ Donald RoyConfirmed                                                                                                                                                                                              17.86   1106 Morin Rd         Cumberlan ON           K4C 1A5 Canada                        Credit
446   3/27/2019       13:43:47   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1554102000~USD              100       0       100                     ...                                                                            9TA680630Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                               3L510084G2167683B                           100                                                                                      Credit
447   3/27/2019       13:43:47   PDT       alonso garzMobile PayCompleted                             ~@~CLD:1554102000~USD             ‐100       0      ‐100                     Sales@oneOpen PremU.S. Businealonsojr113Open          U.S. Personal Verified   3L510084GInstant Tra Verified                                                                                                                                                                                                                        0                                                                                      Debit
448   3/27/2019       10:13:25   PDT       ...          Faster FundCompleted                          ~@~CLD:1554102000~USD            ‐36.3   ‐0.36    ‐35.94                     ...                                                                            2F009043ACredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
449   3/27/2019        8:53:58   PDT       Wallter Fin Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     wfinkelstei Open        U.S. Personsales@one Open PremU.S. Business Verified   6EW88802 Instant     Unverified Wallter Fin Confirmed                                                                                                                                                                                             36.3   17028 Seaford Way      Bradenton FL             34202 United States                Credit
450   3/27/2019        7:58:09   PDT       tommy barRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     tomendebeOpen           U.S. Personsales@one Open PremU.S. Business Verified   1E1249354Instant     Verified Tommy Ba Confirmed                                                                                                                                                                                                 18.15   678 Park Cir           Bradenton FL          34207‐216 United States               Credit
451   3/27/2019        5:19:52   PDT       ...          Faster FundCompleted                          ~@~CLD:1554102000~USD          ‐124.43   ‐1.24   ‐123.19                     ...                                                                            2C610086ACredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
452   3/27/2019        5:11:26   PDT       David Ham Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     kitchendes Open         U.S. Personsales@one Open PremU.S. Business Verified   0SR85285J Instant    Unverified David Ham Confirmed                                                                                                                                                                                             124.43   3812 70th Ave E.     Ellenton FL                34222   United States              Credit
453   3/27/2019        4:49:33   PDT       Fred Nelso Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     fredndiane Open         U.S. Personsales@one Open PremU.S. Business Verified   66096193VInstant     Unverified Fred Nelso Confirmed                                                                                                                                                                                            106.28   2244 Pier Dr         Ruskin   FL                33570   United States              Credit
454   3/27/2019        4:23:29   PDT       PC SolutionRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     atcampion Open PremU.S. Businesales@one Open PremU.S. Business Verified        3EL36411HInstant     Verified Albert T Ca Confirmed                                                                                                                                                                                              88.13   134 Brannon lane     Webster NY                 14580   United States              Credit
455   3/27/2019        4:18:07   PDT       RAYMOND Recurring PCompleted                               1 Month Website HostUSD             19   ‐0.85     18.15                     rrrbug@hoOpen PremU.S. Premiesales@one Open PremU.S. Business Verified         9FL381844 Instant    Verified RAYMOND Confirmed                                                                                                                                                                                                  69.98   6142 SUMTER DR       BROOKSVILFL                34602   United States              Credit
456   3/27/2019        3:16:40   PDT       Gregory BeRecurring PCompleted                             1 Month Website HostUSD             35   ‐1.32     33.68                     aebrn57@ Open           U.S. Personsales@one Open PremU.S. Business Verified   7HW63769Instant      Verified Gregory BeConfirmed                                                                                                                                                                                                51.83   5934 Easy SUNIT# K25 BRADENTOFL                 34207   United States              Credit
457   3/27/2019        3:16:11   PDT       Hillary Bell Recurring PCompleted                          1 Month Website HostUSD             19   ‐0.85     18.15                     jnhb6090@Open           U.S. Personsales@one Open PremU.S. Business Verified   46A592048Instant     Verified Hillary Bell Confirmed                                                                                                                                                                                             18.15   10141 Newminster Lo Ruskin    FL                33573   United States              Credit
458   3/26/2019       11:09:28   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1553842800~USD             6.85       0      6.85                     ...                                                                            0CG07426KInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                               6CV90246MC367041K                            25                                                                                      Credit
459   3/26/2019       11:09:28   PDT       Speedy BarExpress Ch Completed                             SpeedyBarcodes.com USD             ‐25       0       ‐25                     Sales@oneOpen PremU.S. Businesales@speeOpen PremU.S. Business Verified         6CV90246MInstant Tra Verified                          SpeedyBarcodes.com         0                  0                                                                                                                                               0                                                                                      Debit
460   3/26/2019        7:37:33   PDT       Alan Weng Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     alw0200@ Open           U.S. Personsales@one Open PremU.S. Business Verified   84N15818W Instant    Unverified Alan Weng Confirmed                                                                                                                                                                                              18.15   42 West Oak St Lot A1 Osprey      FL            34229 United States                Credit
461   3/26/2019        6:57:31   PDT       ...          Faster FundCompleted                          ~@~CLD:1553842800~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                            0G438418YCredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
462   3/26/2019        6:51:25   PDT       Brad Maye Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     beachlife75Open         U.S. Personsales@one Open PremU.S. Business Verified   8E0289937Instant     Verified Courtney MConfirmed                                                                                                                                                                                                18.15   7049 Chatum Light Ru Bradenton FL               34212 United States                Credit
463   3/26/2019        6:25:15   PDT       ...          Faster FundCompleted                          ~@~CLD:1553842800~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                            38S96871TCredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
464   3/26/2019        6:24:17   PDT       Julieanne PRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     juiecma102Open          U.S. Personsales@one Open PremU.S. Business Verified   1HU97427 Instant     Unverified Julieanne PConfirmed                                                                                                                                                                                             18.15   4702 105th Ave East Parrish       FL            34219 United States                Credit
465   3/26/2019        5:59:28   PDT       ...          Faster FundCompleted                          ~@~CLD:1553842800~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                            32136509DCredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
466   3/26/2019        5:58:53   PDT       ...          Faster FundCompleted                          ~@~CLD:1553842800~USD           ‐54.45   ‐0.54    ‐53.91                     ...                                                                            55630975YCredit Card [Unknown]                                                                                                                                                                                                                   18.15                                                                                      Debit
467   3/26/2019        5:58:38   PDT       Jane GREENRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     janieluv@aOpen          U.S. Personsales@one Open PremU.S. Business Verified   424160518Instant     Unverified Jane GreenConfirmed                                                                                                                                                                                               72.6   920 Westwind Dr        N Palm BeaFL          33408‐422 United States               Credit
468   3/26/2019        5:06:37   PDT       Christine L Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     Brokervee@Open          U.S. Personsales@one Open PremU.S. Business Verified   90W67056 Instant     Unverified Christine B Confirmed                                                                                                                                                                                            54.45   8457 Idlewood Ct       Lakewood FL              34202 United States                Credit
469   3/26/2019        4:23:22   PDT       Rick Roett Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     mrroett@yOpen           U.S. Personsales@one Open PremU.S. Business Verified   4BD285188Instant     Unverified Rick Roett, Confirmed                                                                                                                                                                                             36.3   4657 72nd Ct E         Bradenton FL             34203 United States                Credit
470   3/26/2019        4:11:01   PDT       jorge yong Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jorgeca207Open          U.S. Personsales@one Open PremU.S. Business Verified   0GL72055FInstant     Unverified jorge yong,Confirmed                                                                                                                                                                                             18.15   13140 sw 23 st         Miramar FL               33027 United States                Credit
471   3/25/2019       16:25:42   PDT       ...          Faster FundCompleted                          ~@~CLD:1553842800~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                            88578393YCredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
472   3/25/2019       16:03:09   PDT       Aaron FriedRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     moldyspor Open PremU.S. Premiesales@one Open PremU.S. Business Verified        8V1505445Instant     Verified Aaron FriedConfirmed                                                                                                                                                                                               18.15   122 1/2 E. Linden Ave.East Roche NY             14445 United States                Credit
473   3/25/2019        7:43:16   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1553756400~USD            94.19       0     94.19                     ...                                                                            39A74608RInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                               88R677222U927244B                         94.19                                                                                      Credit
474   3/25/2019        7:43:16   PDT       Upwork Es PreapproveCompleted                              ~@~CLD:1553842800~USD           ‐94.19       0    ‐94.19                     Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified         88R677222Instant Tra Verified                          Upwork Services            0                  0                                                                                                          AE8398879D8776315                    0                                                                                      Debit    PayPal_SDK
475   3/25/2019        5:56:02   PDT       ...          Faster FundCompleted                          ~@~CLD:1553756400~USD          ‐127.05   ‐1.27   ‐125.78                     ...                                                                            4C992753J Credit Card [Unknown]                                                                                                                                                                                                                      0                                                                                      Debit
476   3/25/2019        5:13:09   PDT       jesse cothr Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     jconecoat@Open          U.S. Personsales@one Open PremU.S. Business Verified   76N86437YInstant     Verified jesse cothr Confirmed                                                                                                                                                                                              108.9   6641 s arlington ave indianapoliIN               46237 United States               Credit
477   3/25/2019        5:05:20   PDT       Robert DavRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     rwdavis370Open          U.S. Personsales@one Open PremU.S. Business Verified   96N738959Instant     Unverified Robert DavConfirmed                                                                                                                                                                                              108.9   907 49th ave terrace wBradenton FL               34207 United States               Credit
478   3/25/2019        4:53:59   PDT       Elizabeth S Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     lizsmith13@Open         U.S. Personsales@one Open PremU.S. Business Verified   6WM67770Instant      Unverified Elizabeth S Confirmed                                                                                                                                                                                            90.75   2072 Pitt St.         Cornwall ON            K6J 5G3 Canada                        Credit
479   3/25/2019        4:48:12   PDT       Jeannery GRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     mgreeners Open          U.S. PersonSales@oneOpen PremU.S. Business Verified    3YN51755BInstant     Verified Jeannery GConfirmed                                                                                                                                                                                                 72.6   3805 72nd Ter E       Sarasota FL            34243‐516 United States               Credit
480   3/25/2019        3:56:07   PDT       James FromRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     jrfroman19Open          U.S. Personsales@one Open PremU.S. Business Verified   1DK80139NInstant     Verified James FromConfirmed                                                                                                                                                                                                54.45   35 7th St.            Nokomis FL                 34275 United States               Credit
481   3/25/2019        3:43:03   PDT       Kimberly H Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     kphubner@Open           U.S. Personsales@one Open PremU.S. Business Verified   4MM45722Instant      Unverified Kimberly H Confirmed                                                                                                                                                                                              36.3   3815 Pin Oaks Street Sarasota FL                 34232 United States               Credit
482   3/25/2019        3:30:55   PDT       Mike Neav Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     Mikenea@ Open           U.S. Personsales@one Open PremU.S. Business Verified   95Y360065Instant     Unverified Mike Neav Confirmed                                                                                                                                                                                              18.15   324 Petrel Trl        Bradenton FL               34212 United States               Credit
483   3/24/2019        5:00:34   PDT       ...          Faster FundCompleted                          ~@~CLD:1553756400~USD          ‐106.96   ‐1.07   ‐105.89                     ...                                                                            13H67593UCredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
484   3/24/2019        4:40:47   PDT       Sarasota WRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     sckoch69@Open PremU.S. Businesales@one Open PremU.S. Business Verified         9GP58693RInstant     Verified Steve Koch Confirmed                                                                                                                                                                                              106.96   4648 Charing Cross rd Sarasota FL            34241‐612 United States               Credit
485   3/24/2019        4:24:24   PDT       Martin Lee Recurring PCompleted                            1 Month Website HostUSD             18   ‐0.82     17.18                     siestakeysuOpen         U.S. Personsales@one Open PremU.S. Business Verified   1GE852523Instant     Verified Martin Lee Confirmed                                                                                                                                                                                               88.81   PO Box 51704          Sarasota FL               34232 United States                Credit
486   3/24/2019        4:09:32   PDT       Robin MaleRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     malekrobinOpen          U.S. Personsales@one Open PremU.S. Business Verified   5FN86766FInstant     Unverified Robin MaleConfirmed                                                                                                                                                                                              71.63   4153 Smoke Signal     Sebring    FL             33872 United States                Credit
487   3/24/2019        4:04:46   PDT       Henry ArseRecurring PCompleted                             1 Month W47.200.211USD              19   ‐0.85     18.15                     hank98471Open           U.S. PersonSales@oneOpen PremU.S. Business Verified    6S708628J Instant    Verified henry s ars Confirmed                                                                                                                                                                                              53.48   5602 79TH AVE E       PALMETTOFL                34221 United States                Credit
488   3/24/2019        3:43:11   PDT       Cynthia SchRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     c.schwab@Open           U.S. Personsales@one Open PremU.S. Business Verified   54740004UInstant     Unverified Cynthia SchConfirmed                                                                                                                                                                                             35.33   17146 Malta Ave       Port CharloFL             33954 United States                Credit
489   3/24/2019        3:05:24   PDT       The Better Recurring PCompleted                            1 Month Website HostUSD             18   ‐0.82     17.18                     jmanzano1Open PremU.S. Businesales@one Open PremU.S. Business Verified         0M285788 Instant     Verified The Better Confirmed                                                                                                                                                                                               17.18   6535 Anch Apt# 204 Bradenton FL                 34212 United States                Credit
490   3/23/2019        5:19:20   PDT       ...          Faster FundCompleted                                               USD        ‐54.45   ‐0.54    ‐53.91                     ...                                                                            72B01608KCredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
491   3/23/2019        4:50:53   PDT       FRITZ MAR Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     fritz_marti Open PremU.S. Premiesales@one Open PremU.S. Business Verified      3N596490JInstant     Verified FRITZ MAR Confirmed                                                                                                                                                                                                54.45   924 Paradise Island Dr DeFuniak S FL         32433‐707 United States               Credit
492   3/23/2019        3:25:32   PDT       Ron Reppu Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     reppuccieleOpen PremU.S. Businesales@one Open PremU.S. Business Verified       4HL517652Instant     Unverified Ron Reppu Confirmed                                                                                                                                                                                               36.3   339 WhittieBox 224 Tamworth NH                   3886 United States                Credit
493   3/22/2019        7:45:29   PDT       ANTHONY Recurring PCompleted                               1 Month Website HostUSD             19   ‐0.85     18.15                     finishcut@ Open PremU.S. Premiesales@one Open PremU.S. Business Verified       6RM94919 Instant     Unverified ANTHONY Confirmed                                                                                                                                                                                                18.15   #6 7th street west     nokomis FL               34275 United States                Credit
494   3/22/2019        5:10:28   PDT       ...          Faster FundCompleted                                               USD        ‐57.73   ‐0.58    ‐57.15                     ...                                                                            3YH19669GCredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
495   3/22/2019        4:47:49   PDT       shaun StefaRecurring PCompleted                            Trial 24HR Web HostinUSD             2   ‐0.36      1.64                     sstefan@b Open          U.S. Personsales@one Open PremU.S. Business Verified   2EX284747Instant     Unverified shaun StefaConfirmed                                                                                                                                                                                             57.73   455 5th st nw          Barberton OH             44203 United States                Credit
496   3/22/2019        4:10:16   PDT       bridgette s Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     kgbstout@ Open          U.S. Personsales@one Open PremU.S. Business Verified   06304607VInstant     Verified bridgette s Confirmed                                                                                                                                                                                              56.09   8875 39th Street CircleParrish   FL             34219 United States                Credit
497   3/22/2019        3:53:37   PDT       Robert Sav Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     rsaviola@aOpen          U.S. Personsales@one Open PremU.S. Business Verified   1NN00716 Instant     Unverified Robert Sav Confirmed                                                                                                                                                                                             37.94   280 126th Ave Unit 10Treasure Is FL             33706 United States                Credit
498   3/21/2019       18:28:30   PDT       shaun StefaRecurring PCompleted                            Trial 24HR Web HostinUSD             2   ‐0.36      1.64                     sstefan@b Open          U.S. Personsales@one Open PremU.S. Business Verified   2C1446277Instant     Unverified shaun StefaConfirmed                                                                                                                                                                                             19.79   455 5th st nw          Barberton OH             44203 United States                Credit
499   3/21/2019       16:39:52   PDT       Timothy M Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     tsmortons@   Open PremU.S. Premiesales@one Open PremU.S. Business Verified     70V096983Instant     Verified Tim Morto Confirmed                                                                                                                                                                                                18.15   1104 N Santorini Dr Warsaw IN                46580‐850 United States               Credit
500   3/21/2019        6:37:07   PDT       ...          Faster FundCompleted                                               USD        ‐18.15   ‐0.18    ‐17.97                     ...                                                                            2JG755521Credit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
501   3/21/2019        5:00:15   PDT       Sellitall    Recurring PCompleted                          1 Month Website HostUSD             19   ‐0.85     18.15                     vsmalls@taOpen PremU.S. Businesales@one Open PremU.S. Business Verified        9LM41471 Instant     Verified vickie smal Confirmed                                                                                                                                                                                              18.15   2605 72nd Ave E Unit ellenton     FL         34222‐702 United States               Credit
502   3/20/2019        5:35:28   PDT       ...          Faster FundCompleted                                               USD       ‐127.05   ‐1.27   ‐125.78                     ...                                                                            7UJ299176Credit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
503   3/20/2019        5:18:31   PDT       Tawanda K Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     Tawanda.k Open          U.S. Personsales@one Open PremU.S. Business Verified   97J22272Y Instant    Verified Tawanda K Confirmed                                                                                                                                                                                               127.05   5408 3rd st w          Bradenton FL             34207 United States                Credit
504   3/20/2019        5:03:37   PDT       Patricia McRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     paddimccluOpen          U.S. Personsales@one Open PremU.S. Business Verified   3G645199WInstant     Verified Patricia McConfirmed                                                                                                                                                                                               108.9   283 crescent rd        wanaque NJ            07465‐121 United States               Credit
505   3/20/2019        4:46:01   PDT       Ashley Wa Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     walogorskyOpen PremU.S. Businesales@one Open PremU.S. Business Verified        8DY765898Instant     Unverified Ashley Wa Confirmed                                                                                                                                                                                              90.75   934 Jungle Avenue No Saint Peter FL             33710 United States                Credit
506   3/20/2019        4:33:07   PDT       john suttonRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     les55suttonOpen         U.S. Personsales@one Open PremU.S. Business Verified   49252647PInstant     Unverified john suttonConfirmed                                                                                                                                                                                              72.6   2002 17th St W.        Palmetto FL              34221 United States                Credit
507   3/20/2019        3:57:11   PDT       kelly covilleRecurring PCompleted                          1 Month Website HostUSD             19   ‐0.85     18.15                     kelshine5@Open PremU.S. Premiesales@one Open PremU.S. Business Verified        7KV564932Instant     Unverified Kelly Covill Confirmed                                                                                                                                                                                           54.45   5871 17th Street WestBradenton FL               34207 United States                Credit
508   3/20/2019        3:35:24   PDT       Robert Mo Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     bobkathfl1 Open         U.S. Personsales@one Open PremU.S. Business Verified   2SL45645P Instant    Unverified Robert Mo Confirmed                                                                                                                                                                                               36.3   2689 S Crystal Lake Dr Avon Park FL             33825 United States                Credit
509   3/20/2019        3:31:17   PDT       william hayRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     pumkinx@ Open           U.S. Personsales@one Open PremU.S. Business Verified   6SP09730WInstant     Verified william hayConfirmed                                                                                                                                                                                               18.15   469 Kaiser Dr          palmetto FL           34221‐542 United States               Credit
510   3/19/2019       10:40:18   PDT       ...          Faster FundCompleted                                               USD        ‐69.98    ‐0.7    ‐69.28                     ...                                                                            88V30584RCredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
511   3/19/2019       10:37:49   PDT       Edward PinRecurring PCompleted                             1 Month Website HostUSD             35   ‐1.32     33.68                     paze25@g Open           U.S. Personsales@one Open PremU.S. Business Verified   5CY78481DInstant     Unverified Edward PinConfirmed                                                                                                                                                                                              69.98   5612 Mallow St       New Prt RcFL            34652‐516 United States               Credit
512   3/19/2019        8:27:35   PDT       Laura Siek Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     siekl58@gmOpen          U.S. Personsales@one Open PremU.S. Business Verified   2DF289732Instant     Unverified Laura Siek, Confirmed                                                                                                                                                                                             36.3   13033 19 Mile Rd Lot Gowen      MI              49326 United States                Credit
513   3/19/2019        8:07:17   PDT       Carlos Faja Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     cfaja546@ Open          U.S. Personsales@one Open PremU.S. Business Verified   3UC468949Instant     Unverified Carlos Faja Confirmed                                                                                                                                                                                            18.15   2825 Pecan St        North Port FL              34287 United States                Credit
514   3/19/2019        6:23:42   PDT       ...          Faster FundCompleted                                               USD        ‐90.75   ‐0.91    ‐89.84                     ...                                                                            33M91492 Credit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
515   3/19/2019        5:56:26   PDT       Melvin ShaRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     mshaw494 Open           U.S. Personsales@one Open PremU.S. Business Verified   0DU56783YInstant     Verified Melvin E. S Confirmed                                                                                                                                                                                              90.75   123 Walton Heath Dr Raeford NC               28376‐590 United States               Credit
516   3/19/2019        5:36:45   PDT       Thomas Pa Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     t.pachulski Open        U.S. Personsales@one Open PremU.S. Business Verified   4V5339181Instant     Unverified Thomas Pa Confirmed                                                                                                                                                                                               72.6   8068 Woodruff Drive Newaygo MI                  49337 United States                Credit
517   3/19/2019        4:27:34   PDT       John BowmRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     flndrjon@aOpen          U.S. Personsales@one Open PremU.S. Business Verified   84G44683HInstant     Verified John BowmConfirmed                                                                                                                                                                                                 54.45   311 52nd ave terrace wBradenton FL              34207 United States                Credit
518   3/19/2019        3:35:55   PDT       robert samRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     samulka.roOpen          U.S. Personsales@one Open PremU.S. Business Verified   39242196HInstant     Unverified robert samConfirmed                                                                                                                                                                                               36.3   4019 Laurel Way       Ellenton FL               34222 United States                Credit
519   3/19/2019        3:25:38   PDT       James BreeRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     jeb127327@   Open       U.S. Personsales@one Open PremU.S. Business Verified   7XM95508 Instant     Verified James BreeConfirmed                                                                                                                                                                                                18.15   3708 Riviera Dr       Sarasota FL               34232 United States                Credit
520   3/18/2019       12:42:17   PDT       ...          Faster FundCompleted                                               USD        ‐18.15   ‐0.18    ‐17.97                     ...                                                                            2FB476381Credit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
521   3/18/2019       12:16:36   PDT       Linda WormRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     lworman8@Open           U.S. Personsales@one Open PremU.S. Business Verified   3GB080856Instant     Verified Linda WormConfirmed                                                                                                                                                                                                18.15   6 Parkwood             Bradenton FL             34208 United States                Credit
522   3/18/2019       12:02:54   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1553151600~USD            31.85       0     31.85                     ...                                                                            4VH50202NInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                               7VT64205AX011343Y                            50                                                                                      Credit
523   3/18/2019       12:02:54   PDT       alonso garzMobile PayCompleted                                                  USD           ‐50       0       ‐50                     Sales@oneOpen PremU.S. Businealonsojr113Open          U.S. Personal Verified   7VT64205AInstant Tra Verified                                                                                                                                                                                                                        0                                                                                      Debit
524   3/18/2019        9:43:21   PDT       Cheryl HillmRecurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     cherlyhillmOpen         U.S. Personsales@one Open PremU.S. Business Verified   7E260389BInstant     Unverified Cheryl HillmConfirmed                                                                                                                                                                                            18.15   1988 Se Cherry Dr      Arcadia    FL            34266 United States                Credit
525   3/18/2019        7:43:17   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1553151600~USD           160.12       0    160.12                     ...                                                                            9SH329681Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                               36B29667YY922862V                        160.12                                                                                      Credit
526   3/18/2019        7:43:17   PDT       Upwork Es PreapproveCompleted                              ~@~CLD:1553151600~USD          ‐160.12       0   ‐160.12                     Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified         36B29667YInstant Tra Verified                          Upwork Services            0                  0                                                                                                          AE8398879D8742768                    0                                                                                      Debit    PayPal_SDK
527   3/18/2019        6:38:34   PDT       ...          Faster FundCompleted                          ~@~CLD:1553151600~USD           ‐37.94   ‐0.38    ‐37.56                     ...                                                                            8N096914FCredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
528   3/18/2019        3:36:27   PDT       James FriedRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jfriedhoff@Open         U.S. Personsales@one Open PremU.S. Business Verified   8FE32566J0Instant    Verified James FriedConfirmed                                                                                                                                                                                               37.94   928 S Doral Ln.      Venice   FL                34293 United States                Credit
529   3/18/2019        3:17:39   PDT       David HollaRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     david.holla Open        U.S. Personsales@one Open PremU.S. Business Verified   30674627NInstant     Unverified David HollaConfirmed                                                                                                                                                                                             19.79   9124 Raes Creek PlacePalmetto FL                34221 United States                Credit
530   3/17/2019       17:34:14   PDT       Timothy M Recurring PCompleted                             Trial 24HR Web HostinUSD             2   ‐0.36      1.64                     tsmortons@   Open PremU.S. Premiesales@one Open PremU.S. Business Verified     42172851FInstant     Verified Tim Morto Confirmed                                                                                                                                                                                                 1.64   1104 N Santorini Dr Warsaw IN                46580‐850 United States               Credit
531   3/17/2019       10:13:27   PDT       ...          Faster FundCompleted                          ~@~CLD:1553151600~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                            3PM81262 Credit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
532   3/17/2019       10:12:20   PDT       Carol MasoRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     carolnisbetOpen         U.S. Personsales@one Open PremU.S. Business Verified   4MB04422 Instant     Verified Carol MasoConfirmed                                                                                                                                                                                                18.15   2198 Briar Creek Way Sarasota     FL            34235 United States                Credit
533   3/16/2019       23:38:31   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1553065200~USD             61.5       0      61.5                     ...                                                                            3EA19253AInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                  13E22103H20646706                       61.5                                                                                      Credit
534   3/16/2019       23:38:31   PDT       LMP/Mail OExpress Ch Completed                             Mens Concealed CarryUSD          ‐61.5       0     ‐61.5                     Sales@oneOpen PremU.S. Businepaypal@unOpen PremU.S. Business Verified          13E22103HInstant Tra Verified William Fir Confirmed Mens Concealed Carry         7.5                 0                                                                                                             c6130285838421.1                  0   8955 US HWY 301N 16PARRISH        FL            34219 United States                Debit    JadedPixel_ShoppingCart_EC_CA
535   3/16/2019       19:32:19   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1553065200~USD           139.95       0    139.95                     ...                                                                            29N78560AInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                  7U55812223717103T                     139.95                                                                                      Credit
536   3/16/2019       19:32:19   PDT       k‐gear       Express Ch Completed                          ~@~CLD:1553065200~USD          ‐139.95       0   ‐139.95                     Sales@oneOpen PremU.S. Businek_gear1@yOpen PremU.S. Business Verified          7U5581222Instant Tra Verified Donna Fog Confirmed COSTA DEL 1.73E+11              0         0        0                                      Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=173406179679                       0   8955 US Hwy 301 N # Parrish       FL         34219‐870 United States               Debit
537   3/16/2019       15:38:27   PDT       ...          Faster FundCompleted                          ~@~CLD:1553065200~USD           ‐64.46   ‐0.64    ‐63.82                     ...                                                                            0GL71430UCredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
538   3/16/2019       15:24:55   PDT       DROB TECHMobile PayCompleted                               ~@~CLD:1553065200~USD               48   ‐1.69     46.31 Affiliate           drob.tech1 Open PremU.S. Businesales@one Open PremU.S. Business Verified       9N049643JInstant     Verified DROB TECHConfirmed                                                                                                                                                                                                 64.46   197 PARK SIDE DRIVE SUFFERN NY                  10901 United States                Credit
539   3/16/2019       15:04:27   PDT       Tami ThomRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     vbdig4@aoOpen           U.S. Personsales@one Open PremU.S. Business Verified   309777503Instant     Verified Tami Mant Confirmed                                                                                                                                                                                                18.15   12760 Elms Rd       Birch Run MI             48415‐876 United States               Credit
540   3/16/2019        9:57:34   PDT       ...          Faster FundCompleted                          ~@~CLD:1553065200~USD           ‐54.16   ‐0.54    ‐53.62                     ...                                                                            17G064448Credit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
541   3/16/2019        9:56:22   PDT       Suzanne N Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     tropical_suOpen         U.S. Personsales@one Open PremU.S. Business Verified   0C870869EInstant     Unverified Suzanne N Confirmed                                                                                                                                                                                              54.16   6641 Laguna Vista Dr NRockford MI                49341 United States               Credit
542   3/16/2019        7:35:48   PDT       leafsMicha Recurring PCompleted                            1 Month Website HostUSD             19   ‐1.14     17.86                     m_dwilson Open          Canadian Psales@one Open PremU.S. Business Verified    5RS10170BInstant     Non‐U.S. ‐ leafsMicha Confirmed                                                                                                                                                                                             36.01   P.O. Box 190          MoonbeamOntario        P0L 1V0 Canada                        Credit
543   3/16/2019        6:29:32   PDT       Janice StanRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jstanton63 Open         U.S. Personsales@one Open PremU.S. Business Verified   8N758505CInstant     Unverified Janice StanConfirmed                                                                                                                                                                                             18.15   10380 Alpine Ave      Sparta   MI                49345 United States               Credit
544   3/15/2019       20:36:04   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1553065200~USD            49.99       0     49.99                     ...                                                                            65542483XInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                  65M57224JM711204N                      49.99                                                                                      Credit
545   3/15/2019       20:36:04   PDT       Focus Cam Express Ch Completed                             ~@~CLD:1553065200~USD           ‐49.99       0    ‐49.99                     Sales@oneOpen PremU.S. Businepaypal@fo Open PremU.S. Business Verified         65M57224 Instant Tra Verified Donna Fog Confirmed Walkers Ra 3.72E+11             0         0        0                                      Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=372492898450                       0   8955 US Hwy 301 N # Parrish       FL         34219‐870 United Stat 6.11E+09        Debit
546   3/15/2019       10:43:19   PDT       ...          Faster FundCompleted                          ~@~CLD:1553065200~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                             3.65E+16 Credit Card [Unknown]                                                                                                                                                                                                                      0                                                                                      Debit
547   3/15/2019        9:41:57   PDT       Christine R Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     droussopo Open          U.S. Personsales@one Open PremU.S. Business Verified   6EB291185Instant     Unverified Christine R Confirmed                                                                                                                                                                                            18.15   2825 Terra Unit 1602 Palmetto FL                34221 United States                Credit
548   3/15/2019        8:38:20   PDT       ...          Faster FundCompleted                          ~@~CLD:1553065200~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                            8CU31073RCredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
549   3/15/2019        6:33:30   PDT       Rose Lee B Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     mlblaze@yOpen           U.S. Personsales@one Open PremU.S. Business Verified   7L534396AInstant     Verified Rose Lee B Confirmed                                                                                                                                                                                               18.15   1506 w. henderson st. chicago     IL            60657 United States                Credit
550   3/15/2019        6:31:02   PDT       ...          Faster FundCompleted                          ~@~CLD:1553065200~USD            ‐36.3   ‐0.36    ‐35.94                     ...                                                                            6PU75549YCredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
551   3/15/2019        6:27:57   PDT       James HarnRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     jrh8999@gOpen           U.S. Personsales@one Open PremU.S. Business Verified   9DF503250Instant     Verified James HarnConfirmed                                                                                                                                                                                                 36.3   6321 113thApt 1402 Seminole FL                  33772 United States                Credit
552   3/15/2019        5:58:21   PDT       Nancy Had Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     hadleyn1@Open           U.S. Personsales@one Open PremU.S. Business Verified   4MM84810Instant      Verified Nancy Had Confirmed                                                                                                                                                                                                18.15   5613 Key Largo Ct  Bradenton FL                 34203 United States                Credit
553   3/15/2019        5:37:41   PDT       ...          Faster FundCompleted                          ~@~CLD:1553065200~USD            ‐36.3   ‐0.36    ‐35.94                     ...                                                                            0T963719SCredit Card [Unknown]                                                                                                                                                                                                                       0                                                                                      Debit
554   3/15/2019        5:27:27   PDT       Brent KleinRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     kleinbail@gOpen         U.S. Personsales@one Open PremU.S. Business Verified   3KP82348XInstant     Unverified Brent KleinConfirmed                                                                                                                                                                                              36.3   2562 Marblehead Dr Sarasota       FL            34231 United States                Credit
555   3/15/2019        3:30:23   PDT       Marvin Cle Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     mclevenge Open          U.S. Personsales@one Open PremU.S. Business Verified   00085185CInstant     Unverified Marvin Cle Confirmed                                                                                                                                                                                             18.15   2313 W.Cambridge Dr Muncie        IN            47304 United States                Credit
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      A           B                    C       D           E          F          G         H      I       J         K            L    M        N        O          P          Q         R          S          T         U          V         W          X          Y          Z         AA        AB         AC         AD         AE        AF         AG       AH       AI       AJ       AK       AL   AM   AN   AO   AP      AQ      AR        AS        AT        AU         AV       AW         AX           AY   AZ   BA         BB           BC           BD        BE           BF      BG         BH           BI   BJ      BK       BL         BM   BN
556   3/14/2019       15:43:44   PDT       ...          Faster FundCompleted                          ~@~CLD:1553065200~USD           ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          9FN966411Credit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
557   3/14/2019       15:42:39   PDT       michael go Recurring PCompleted                            1 Month W47.202.170USD              19   ‐0.85     18.15                                  goodmike5Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 48121028AInstant     Verified michael go Confirmed                                                                                                                                                                                                           18.15   705 89th court NW      bradenton FL             34209 United States               Credit
558   3/14/2019        7:09:59   PDT       ...          Faster FundCompleted                                               USD        ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          3M964786 Credit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
559   3/14/2019        7:08:42   PDT       mike chart Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  sarasotamcOpen          U.S. Personsales@one Open PremU.S. Business Verified 3SA19528AInstant    Verified mike chart Confirmed                                                                                                                                                                                                           18.15   4802 51st. Unit 103    Bradenton FL             34210 United States               Credit
560   3/14/2019        6:16:01   PDT       ...          Faster FundCompleted                                               USD        ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          4YC77152GCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
561   3/14/2019        5:38:04   PDT       Margaret WRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  pegmcnamOpen            U.S. Personsales@one Open PremU.S. Business Verified 56X104596Instant    Unverified Margaret SConfirmed                                                                                                                                                                                                          18.15   1316 Howard St         Petoskey MI              49770 United States               Credit
562   3/13/2019        5:11:50   PDT       ...          Faster FundCompleted                                               USD         ‐72.6   ‐0.73    ‐71.87                                  ...                                                                          2RN84007ACredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
563   3/13/2019        3:48:43   PDT       Sabine FulkRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  splanet69@Open PremU.S. Businesales@one Open PremU.S. Business Verified 9BD919551Instant         Verified Sabine FulkConfirmed                                                                                                                                                                                                            72.6   5728 28th St E         Bradenton FL             34203 United States               Credit
564   3/13/2019        3:46:21   PDT       Laurie PageRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  laurie.eb.p Open        U.S. Personsales@one Open PremU.S. Business Verified 0A828889EInstant    Verified Laurie PageConfirmed                                                                                                                                                                                                           54.45   936 145th Street CircleBradenton FL             34212 United States               Credit
565   3/13/2019        3:28:19   PDT       Cain Cain Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  cinsweet64Open          U.S. Personsales@one Open PremU.S. Business Verified 93Y61481DInstant    Unverified Cain Cain, 8Confirmed                                                                                                                                                                                                         36.3   816 64th ave Dr E      Bradenton FL             34203 United States               Credit
566   3/13/2019        3:11:53   PDT       tkshoppingRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  simplyist@Open PremU.S. Businesales@one Open PremU.S. Business Verified 90412099LInstant         Verified tkshoppingConfirmed                                                                                                                                                                                                            18.15   48 Lyman St            Worcester MA              1603 United States               Credit
567   3/12/2019       16:29:02   PDT       ...          Faster FundCompleted                                               USD         ‐36.3   ‐0.36    ‐35.94                                  ...                                                                          27C65856CCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
568   3/12/2019       15:45:55   PDT       David CancRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  vipr1960@Open           U.S. Personsales@one Open PremU.S. Business Verified 2AA91283DInstant    Unverified David CancConfirmed                                                                                                                                                                                                           36.3   1120 53rd Ave E Lot 12Bradenton FL              34203 United States               Credit
569   3/12/2019       10:46:12   PDT       Jaco tours Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  MINTO179 Open PremU.S. Businesales@one Open PremU.S. Business Verified 9BM14623 Instant          Unverified Michael M Confirmed                                                                                                                                                                                                          18.15   2151 N State Road 7 Margate FL               33063‐571 United States              Credit
570   3/12/2019       10:28:53   PDT       ...          Faster FundCompleted                                               USD        ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          6NW51358Credit Card [Unknown]                                                                                                                                                                                                                                   0                                                                                     Debit
571   3/12/2019       10:20:22   PDT       Kenneth Je Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  cowboyswiOpen           U.S. Personsales@one Open PremU.S. Business Verified 51236674XInstant    Verified Kenneth Je Confirmed                                                                                                                                                                                                           18.15   4314 Douglas Hill Pl   Parrish     FL           34219 United States               Credit
572   3/12/2019        6:20:44   PDT       ...          Faster FundCompleted                                               USD         ‐36.3   ‐0.36    ‐35.94                                  ...                                                                          65E76762PCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
573   3/12/2019        5:27:05   PDT       Eddo Butle Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  shortfolks5Open         U.S. Personsales@one Open PremU.S. Business Verified 8GY65704RInstant    Unverified Eddo Butle Confirmed                                                                                                                                                                                                          36.3   1883 Briar Creek PlaceSarasota     FL           34235 United States               Credit
574   3/12/2019        4:40:24   PDT       K&M enterRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                                  kkmkx3@g Open PremU.S. Businesales@one Open PremU.S. Business Verified 1WV17923Instant           Verified K&M enterConfirmed                                                                                                                                                                                                             18.15   2215 4th St SW        Ruskin       FL           33570 United States               Credit
575   3/11/2019       15:48:58   PDT       ...          Faster FundCompleted                                               USD        ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          9TL07075WCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
576   3/11/2019       15:47:31   PDT       Frank T Cle Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                                  clemenf@gOpen PremU.S. Premiesales@one Open PremU.S. Business Verified 16X39149XInstant          Verified frank clemeConfirmed                                                                                                                                                                                                           18.15   6730 283rd Street Eas Myakka CitFL              34251 United States               Credit
577   3/11/2019        8:39:58   PDT       ...          Faster FundCompleted                                               USD        ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          2E172103PCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
578   3/11/2019        8:27:48   PDT       Robert BelaRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  rbelanger7 Open         U.S. Personsales@one Open PremU.S. Business Verified 76R42499EInstant    Unverified Robert BelaConfirmed                                                                                                                                                                                                         18.15   2239 Sifield Greens W Sun City CeFL             33573 United States               Credit
579   3/11/2019        7:42:39   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1552546800~USD            65.93       0     65.93                                  ...                                                                          2VG09183KInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                   5VS99929EB536530T                                65.93                                                                                     Credit
580   3/11/2019        7:42:39   PDT       Upwork Es PreapproveCompleted                              Upwork Services      USD        ‐65.93       0    ‐65.93                                  Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 5VS99929EInstant Tra Verified                              Upwork Services            0                 0                                                                                                                 AE8398879D8709056                           0                                                                                     Debit    PayPal_SDK
581   3/11/2019        7:29:21   PDT       ...          Faster FundCompleted                          ~@~CLD:1552546800~USD            ‐36.3   ‐0.36    ‐35.94                                  ...                                                                          4V998413XCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
582   3/11/2019        5:41:47   PDT       Michael M Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  mikemirab Open          U.S. Personsales@one Open PremU.S. Business Verified 0SS69100Y Instant   Unverified Michael M Confirmed                                                                                                                                                                                                           36.3   5536 42nd Street East Bradenton FL              34203 United States               Credit
583   3/11/2019        3:12:29   PDT       Shirley McLRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  sam7330@Open            U.S. Personsales@one Open PremU.S. Business Verified 4UK83953DInstant    Unverified Shirley McLConfirmed                                                                                                                                                                                                         18.15   4034 Cochise Terrace Sarasota FL                34233 United States               Credit
584   3/10/2019       16:28:08   PDT       ...          Faster FundCompleted                          ~@~CLD:1552546800~USD           ‐30.96   ‐0.31    ‐30.65                                  ...                                                                          3B283094CCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
585   3/10/2019       16:23:16   PDT       maria delgaRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  mariadelgaOpen          U.S. Personsales@one Open PremU.S. Business Verified 48S10075AInstant    Unverified maria Delg Confirmed                                                                                                                                                                                                         30.96   805 3rd Av #201        Palmetto FL              34221 United States               Credit
586   3/10/2019        9:38:31   PDT       Giosia MogRecurring PCompleted                             1 Month Website HostUSD           13.5   ‐0.69     12.81                                  giosiam@gOpen PremU.S. Businesales@one Open PremU.S. Business Verified 2WC06655 Instant          Verified Casa Bella, Confirmed                                                                                                                                                                                                          12.81   431 9th St             West EastoPA             18042 United States               Credit
587   3/10/2019        9:26:03   PDT       ...          Faster FundCompleted                          ~@~CLD:1552546800~USD           ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          2U459500ECredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
588   3/10/2019        9:04:58   PDT       John WyattRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  milumjak@Open           U.S. Personsales@one Open PremU.S. Business Verified 2VK46804AInstant    Verified John WyattConfirmed                                                                                                                                                                                                            18.15   980 7th St NW, Lot 66 Largo        FL           33770 United States               Credit
589   3/10/2019        5:11:56   PDT       ...          Faster FundCompleted                          ~@~CLD:1552546800~USD           ‐90.75   ‐0.91    ‐89.84                                  ...                                                                          8V903970BCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
590   3/10/2019        4:56:32   PDT       richard joh Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                                  knightriderOpen PremU.S. Premiesales@one Open PremU.S. Business Verified 1FX428756Instant        Verified Richard JohConfirmed                                                                                                                                                                                                           90.75   1207 Caloosa Creek CtSun City CeFL           33573‐487 United States              Credit
591   3/10/2019        4:52:06   PDT       Loreen HouRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  hcody3@y Open           U.S. Personsales@one Open PremU.S. Business Verified 2PY693887Instant    Verified Loreen HouConfirmed                                                                                                                                                                                                             72.6   20017 Oakdale Ave Brooksville FL                34601 United States               Credit
592   3/10/2019        4:19:38   PDT       Barbara KuRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  barb49kue Open PremU.S. Premiesales@one Open PremU.S. Business Verified 7NK04480PInstant         Verified Barbara KuConfirmed                                                                                                                                                                                                            54.45   8925 SW 171ST ST     PALMETTOFL                 33157 United States               Credit
593   3/10/2019        4:06:59   PDT       Leo LozeauRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  llozeau442 Open         U.S. Personsales@one Open PremU.S. Business Verified 27U52907AInstant    Unverified Leo LozeauConfirmed                                                                                                                                                                                                           36.3   47 Larkspur Ave      Palmetto FL                32444 United States               Credit
594   3/10/2019        3:08:38   PDT       Kevin ChrisRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  jlchristmanLocked       U.S. Premiesales@one Open PremU.S. Business Verified 5DM39838Instant     Verified Kevin ChrisConfirmed                                                                                                                                                                                                           18.15   2105 12th Ave W      Bradenton FL               34205 United States               Credit
595    3/9/2019       15:28:54   PST       ...          Faster FundCompleted                          ~@~CLD:1552546800~USD            ‐36.3   ‐0.36    ‐35.94                                  ...                                                                          51034742ACredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
596    3/9/2019        2:19:32   PST       Amber Wh Recurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                                  jorgenel15 Open         U.S. Personsales@one Open PremU.S. Business Verified 1U355183MInstant    Unverified Amber Wh Confirmed                                                                                                                                                                                                            36.3   2827 22nd St W         Bradenton FL             34207 United States               Credit
597    3/8/2019       15:16:50   PST       Elaine GrenRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  efgrenier@Open          U.S. Personsales@one Open PremU.S. Business Verified 203721141Instant    Unverified Elaine GrenConfirmed                                                                                                                                                                                                         18.15   6633 53rd Ave E        Bradenton FL             34203 United States               Credit
598    3/8/2019       10:03:43   PST       ...          Faster FundCompleted                          ~@~CLD:1552546800~USD           ‐54.45   ‐0.54    ‐53.91                                  ...                                                                          2X6526520Credit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
599    3/8/2019        8:54:06   PST       Hani HaddaRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  h.haddad4 Open          U.S. Personsales@one Open PremU.S. Business Verified 3V851295RInstant    Unverified Hani HaddaConfirmed                                                                                                                                                                                                          54.45   4604 49th St N #177 Saint Peter FL              33709 United States               Credit
600    3/8/2019        7:21:38   PST       Scott Lurgi Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                                  tazlurgio@ Open PremU.S. Premiesales@one Open PremU.S. Business Verified 6H038658NInstant        Verified Scott Lurgi Confirmed                                                                                                                                                                                                           36.3   11305 30th CV E     Parrish     FL              34219 United States               Credit
601    3/8/2019        6:33:38   PST       Russell Par Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                                  rjp0122@s Open          U.S. Personsales@one Open PremU.S. Business Verified 1B080155EInstant    Verified Russell Par Confirmed                                                                                                                                                                                                          18.15   2019 S Bayou Dr     Ruskin      FL              33570 United States               Credit
602    3/8/2019        5:03:53   PST       ...          Faster FundCompleted                          ~@~CLD:1552546800~USD            ‐36.3   ‐0.36    ‐35.94                                  ...                                                                          64H97955SCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
603    3/8/2019        4:00:01   PST       Susan kelseRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  kelsey1948Open          U.S. Personsales@one Open PremU.S. Business Verified 67K96778KInstant    Unverified Susan kelseConfirmed                                                                                                                                                                                                          36.3   18939 W Maple          InterlochenMI            49643 United States               Credit
604    3/8/2019        3:30:20   PST       Jack Coury Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  jcoury@tamOpen          U.S. Personsales@one Open PremU.S. Business Verified 5G141417LInstant    Verified Jack Coury,Confirmed                                                                                                                                                                                                           18.15   4550 PinebApt. 601     Bradenton FL             34209 United States               Credit
605    3/6/2019       21:16:30   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1552287600~USD              159       0       159                                  ...                                                                          7VC49843DInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                       45E94435Y1504971P                              159                                                                                     Credit
606    3/6/2019       21:16:30   PST       Give5ToCa Mobile ExpCompleted                              ~@~CLD:1552287600~USD             ‐159       0      ‐159                                  Sales@oneOpen PremU.S. Businesales@giveOpen PremU.S. Business Verified 45E94435YInstant Tra Verified Donna Fog Confirmed New AMPH 1.13E+11                   0        0        0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=112995036894                             0   8955 US Hwy 301 N # Parrish        FL        34219‐870 United States              Debit
607    3/6/2019        9:25:36   PST       ...          Faster FundCompleted                          ~@~CLD:1552287600~USD            ‐72.6   ‐0.73    ‐71.87                                  ...                                                                          6G569309NCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
608    3/6/2019        9:24:33   PST       Larry BealeRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  lsbeale59@Open          U.S. Personsales@one Open PremU.S. Business Verified 9SV72912HInstant    Unverified Larry BealeConfirmed                                                                                                                                                                                                          72.6   218 ROYAL BONNET D APOLLO BEFL                  33572 United States               Credit
609    3/6/2019        8:42:25   PST       william barRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  whbjr58@cOpen           U.S. Personsales@one Open PremU.S. Business Verified 9EE920893Instant    Unverified william barConfirmed                                                                                                                                                                                                         54.45   9860 Grackle Loop     Lakeland FL               33810 United States               Credit
610    3/6/2019        6:36:31   PST       Kenneth RoRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  kcr02bebo Open          U.S. Personsales@one Open PremU.S. Business Verified 6CT02966BInstant    Unverified Kenneth RoConfirmed                                                                                                                                                                                                           36.3   9425 Forest Hills Cir Sarasota FL               34238 United States               Credit
611    3/6/2019        5:43:37   PST       Key West MRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  tim.greene Open PremU.S. Businesales@one Open PremU.S. Business Verified 854350875Instant        Verified Key West MConfirmed                                                                                                                                                                                                            18.15   701 Spanish Main Dr 4Cudjoe KeyFL               33042 United States               Credit
612    3/6/2019        5:29:06   PST       ...          Faster FundCompleted                          ~@~CLD:1552287600~USD            ‐72.6   ‐0.73    ‐71.87                                  ...                                                                          0NF57095LCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
613    3/6/2019        5:28:14   PST       victor ibarrRecurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                                  vimiza80@Open PremU.S. Premiesales@one Open PremU.S. Business Verified 4KX08885EInstant          Unverified victor ibarrConfirmed                                                                                                                                                                                                         72.6   3644 WOODMONT DRSARASOTA FL                     34232 United States               Credit
614    3/6/2019        5:06:20   PST       Penny RowRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                                  prow6@ya Open           U.S. Personsales@one Open PremU.S. Business Verified 3A7277478Instant    Unverified Penny RowConfirmed                                                                                                                                                                                                           54.45   9852 Moorhen Dr.     Lakeland FL                33810 United States               Credit
615    3/6/2019        4:08:37   PST       PETE A RU Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  EQUITYTOOOpen           U.S. Personsales@one Open PremU.S. Business Verified 1UX68673W Instant   Unverified LARA RUTSConfirmed                                                                                                                                                                                                            36.3   555 95th Street OceanMarathon FL                33050 United States               Credit
616    3/6/2019        2:50:50   PST       Timothy M Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  timberrr21 Open         U.S. Personsales@one Open PremU.S. Business Verified 2AW32314Instant     Unverified Timothy M Confirmed                                                                                                                                                                                                          18.15   1064 East Manatee Bradenton FL                  34208 United States               Credit
617    3/6/2019        2:37:40   PST       ...          Faster FundCompleted                          ~@~CLD:1552287600~USD            ‐36.3   ‐0.36    ‐35.94                                  ...                                                                          9XV21905PCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
618    3/6/2019        2:16:02   PST       Debbie Nic Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  DarlindebeOpen          U.S. Personsales@one Open PremU.S. Business Verified 662216061Instant    Verified Deborah MConfirmed                                                                                                                                                                                                              36.3   33710 Union Court Westland MI                   48186 United States               Credit
619    3/6/2019        2:05:13   PST       Ronald GauRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  ghansome1Open           U.S. Personsales@one Open PremU.S. Business Verified 8VP363129Instant    Unverified Ronald GauConfirmed                                                                                                                                                                                                          18.15   4729 Loma Grande Dr El Paso TX                  79934 United States               Credit
620    3/5/2019       12:28:38   PST       ...          Faster FundCompleted                          ~@~CLD:1552287600~USD           ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          7VF58193CCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
621    3/5/2019       12:25:43   PST       Robert Gib Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  rswimmer@Open           U.S. Personsales@one Open PremU.S. Business Verified 0VD97668PInstant    Unverified Robert Gib Confirmed                                                                                                                                                                                                         18.15   10514 Sleepy Orange CRiverview FL               33578 United States               Credit
622    3/5/2019        8:20:16   PST       ...          Faster FundCompleted                          ~@~CLD:1552287600~USD           ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          9Y578551XCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
623    3/5/2019        6:55:18   PST       Gregory VaRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  pmac1@ptOpen            U.S. Personsales@one Open PremU.S. Business Verified 4FG47888HInstant    Unverified Gregory VaConfirmed                                                                                                                                                                                                          18.15   4215 Long Lake Drive SEllenton     FL           34222 United States               Credit
624    3/5/2019        6:47:55   PST       ...          Faster FundCompleted                          ~@~CLD:1552287600~USD           ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          8WE10626 Credit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
625    3/5/2019        6:37:58   PST       joe young Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  dr.feelgoodOpen         U.S. Personsales@one Open PremU.S. Business Verified 61E12790EInstant    Unverified joe young, Confirmed                                                                                                                                                                                                         18.15   1528 SE Ohio Ave       Arcadia     FL           34266 United States               Credit
626    3/5/2019        6:30:32   PST       ...          Faster FundCompleted                          ~@~CLD:1552287600~USD           ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          2MR45240 Credit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
627    3/5/2019        6:30:03   PST       ...          Faster FundCompleted                          ~@~CLD:1552287600~USD           ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          1PM01706 Credit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
628    3/5/2019        6:29:56   PST       Michelle WRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  michelle.w Open         U.S. Personsales@one Open PremU.S. Business Verified 4JK570821 Instant   Verified Michelle WConfirmed                                                                                                                                                                                                             36.3   2315 124th dr e     Parrish   FL                34219 United States               Credit
629    3/5/2019        6:24:30   PST       Michael PeRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  mjp51@sb Open           U.S. Personsales@one Open PremU.S. Business Verified 2XC466503Instant    Unverified Michael PeConfirmed                                                                                                                                                                                                          18.15   10726 New Buffalo RoNorth LimaOH                44452 United States               Credit
630    3/5/2019        6:06:06   PST       ...          Faster FundCompleted                          ~@~CLD:1552287600~USD           ‐98.52   ‐0.99    ‐97.53                                  ...                                                                          6NR76732XCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
631    3/5/2019        4:57:20   PST       Chris Huff Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  Chrisluvs2sClosed       U.S. Personsales@one Open PremU.S. Business Verified 3SN29339KInstant    Unverified Chris Huff, Confirmed                                                                                                                                                                                                        98.52   801 Willow Brook Dr. Warren OH                  44483   United States             Credit
632    3/5/2019        2:55:32   PST       JAMES CLA Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  jclark4750@  Open PremU.S. Premiesales@one Open PremU.S. Business Verified 6JP19558L Instant     Unverified JAMES CLA Confirmed                                                                                                                                                                                                          80.37   3506 Avenida Madera Bradenton FL                34210   United States             Credit
633    3/5/2019        2:26:58   PST       Ken GiffordRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  wd4nkz@mOpen PremU.S. Premiesales@one Open PremU.S. Business Verified 27J787614 Instant          Verified Ken GiffordConfirmed                                                                                                                                                                                                           62.22   6515 15th St. E. Lot D‐ Sarasota FL             34243   United States             Credit
634    3/5/2019        2:06:53   PST       Tom Burlin Recurring PCompleted                            1 Month Website HostUSD             27   ‐1.08     25.92                                  tommyeb1 Open           U.S. Personsales@one Open PremU.S. Business Verified 7W126085 Instant    Unverified Tom Burlin Confirmed                                                                                                                                                                                                         44.07   1150 10TH PO BOX 26 Buffalo       MN            55313   United States             Credit
635    3/4/2019       14:23:52   PST       Jasmine RivRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  jasmineriveOpen         U.S. Personsales@one Open PremU.S. Business Verified 621394842Instant    Unverified Jasmine RivConfirmed                                                                                                                                                                                                         18.15   711 22nd Ave W          Bradenton FL            34205   United States             Credit
636    3/4/2019       13:18:00   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1552287600~USD          ‐189.99       0   ‐189.99                       R45: Your b...                                                                          1ND44200TU992273C                                                                                                                                                                                                                                               0                                                                                     Debit
637    3/4/2019       13:17:29   PST       PayPal       Temporary Removed                                                  USD        189.99       0    189.99                                  ...                                                                          5VR97332XS946304D                                                                                                                                                                                          4MA6746046715651V                               189.99                                                                                     Credit
638    3/4/2019       13:01:20   PST       ...          Faster FundCompleted                                               USD        ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          6NU64758TCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
639    3/4/2019       12:45:31   PST       SHEILA CISCRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  SCISCO77@Open           U.S. Personsales@one Open PremU.S. Business Verified 4F981668J Instant   Unverified Sheila Knig Confirmed                                                                                                                                                                                                        18.15   6914 COCONUT GROVELLENTON FL                    34222 United States               Credit
640    3/4/2019        8:29:16   PST       ...          Faster FundCompleted                                               USD        ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          0YH32299GCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
641    3/4/2019        7:31:54   PST       KG CommuRecurring PCompleted                               1 Month Website HostUSD             19   ‐0.85     18.15                                  kim@kgcomOpen PremU.S. Businesales@one Open PremU.S. Business Verified 56064135PInstant          Verified KG CommuConfirmed                                                                                                                                                                                                              18.15   20 Gilbert Dr.         Glenwood NJ               7418 United States               Credit
642    3/4/2019        6:53:52   PST       ...          Faster FundCompleted                                               USD       ‐161.97   ‐1.62   ‐160.35                                  ...                                                                          9HM09491Credit Card [Unknown]                                                                                                                                                                                                                                   0                                                                                     Debit
643    3/4/2019        6:43:04   PST       Upwork Es PreapproveCompleted                              Upwork Services      USD        ‐37.68       0    ‐37.68                                  Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 50B47317SPayPal balaVerified                               Upwork Services            0                 0                                                                                                                  AE8398879D8674996                     161.97                                                                                     Debit    PayPal_SDK
644    3/4/2019        6:40:38   PST       Teddy Und Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  twu.1968@Open           U.S. Personsales@one Open PremU.S. Business Verified 6ND16156 Instant    Unverified Teddy Und Confirmed                                                                                                                                                                                                         199.65   5238 Foxcroft Ct.     Sarasota FL               34232 United States               Credit
645    3/4/2019        6:04:14   PST       George GiuRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  ggiunta600Open          U.S. Personsales@one Open PremU.S. Business Verified 2GY03455FInstant    Unverified George GiuConfirmed                                                                                                                                                                                                          181.5   1646 Serrano Circle Naples      FL              34105 United States               Credit
646    3/4/2019        5:45:22   PST       Marco PineRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  gmag1968@    Restricted U.S. Personsales@one Open PremU.S. Business Verified 763470877Instant    Unverified Marco PineConfirmed                                                                                                                                                                                                         163.35   1225 s c st           Lake WorthFL              33460 United States               Credit
647    3/4/2019        5:33:11   PST       Gale Tycz Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  gftycz@gmOpen           U.S. Personsales@one Open PremU.S. Business Verified 9JE662231 Instant   Unverified Gale Tycz, Confirmed                                                                                                                                                                                                         145.2   25 Carriage Drive     Durham CT                  6422 United States               Credit
648    3/4/2019        5:10:19   PST       William MuRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  billclinic@aOpen PremU.S. Premiesales@one Open PremU.S. Business Verified 21E03241YInstant       Verified WILLIAM DConfirmed                                                                                                                                                                                                            127.05   17 Nashua RD          Pepperell MA               1463 United States               Credit
649    3/4/2019        4:28:12   PST       Brian RolphRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  brolph1@cOpen           U.S. Personsales@one Open PremU.S. Business Verified 9AE27897NInstant    Unverified Brian RolphConfirmed                                                                                                                                                                                                         108.9   4505 Cernala Court Venice       FL              34293 United States               Credit
650    3/4/2019        4:12:30   PST       Damon WaRecurring PCompleted                               1 Month Website HostUSD             19   ‐0.85     18.15                                  yatahay54@   Open       U.S. Personsales@one Open PremU.S. Business Verified 4AU43321 Instant    Unverified Damon WaConfirmed                                                                                                                                                                                                            90.75   2616 36 Ave W         Bradenton FL              34205 United States               Credit
651    3/4/2019        3:57:50   PST       Vicki Hall Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  mtlmaidn@Open PremU.S. Premiesales@one Open PremU.S. Business Verified 5DA27297W       Instant   Verified Vicki Hall, 2Confirmed                                                                                                                                                                                                          72.6   2105 47th Street PlaceBradenton FL              34209 United States               Credit
652    3/4/2019        3:05:52   PST       JOYCARE SeRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  joyfully4jesOpen PremU.S. Businesales@one Open PremU.S. Business Verified 7AD07056HInstant       Verified Joy Coblen Confirmed                                                                                                                                                                                                           54.45   1900 7th Ave W        Palmetto FL            34221‐311 United States              Credit
653    3/4/2019        2:36:53   PST       Bryan GravRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  byrangraveOpen          U.S. Personsales@one Open PremU.S. Business Verified 5T985242BInstant    Unverified Bryan GravConfirmed                                                                                                                                                                                                           36.3   407 46st St W         Palmetto FL               34221 United States               Credit
654    3/4/2019        2:10:12   PST       David Kato Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  dkatona94 Open          U.S. Personsales@one Open PremU.S. Business Verified 7C952440WInstant    Unverified David Kato Confirmed                                                                                                                                                                                                         18.15   4411 B 101st West     Bradenton FL              34210 United States               Credit
655    3/3/2019       21:03:48   PST       ...          Faster FundCompleted                                               USD        ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          0D686227KCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
656    3/3/2019       15:26:06   PST       pam miller Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  putchka63@   Open       U.S. Personsales@one Open PremU.S. Business Verified 5K693349KInstant    Unverified pam miller Confirmed                                                                                                                                                                                                         18.15   5535 key west place Bradenton FL                34203 United States               Credit
657    3/3/2019        7:18:31   PST       ...          Faster FundCompleted                                               USD        ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          56H18811LCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
658    3/3/2019        6:59:00   PST       Vanessa BaRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  vbazan@mOpen            U.S. Personsales@one Open PremU.S. Business Verified 6E4040681Instant    Unverified Vanessa M Confirmed                                                                                                                                                                                                          18.15   4701 20th A            Bradenton FL             34207 United States               Credit
659    3/3/2019        6:25:03   PST       ...          Faster FundCompleted                                               USD         ‐36.3   ‐0.36    ‐35.94                                  ...                                                                          9B474925BCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
660    3/3/2019        6:23:56   PST       Richard MARecurring PCompleted                             1 Month W104.231.10USD              19   ‐0.85     18.15                                  steeler111@  Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 5DW84002Instant        Verified Rick Malek Confirmed                                                                                                                                                                                                            36.3   33676 Guilbert Rd      Eastlake    OH        44095‐253 United States              Credit
661    3/3/2019        5:27:43   PST       Mark BagleRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  mb308@swOpen            U.S. Personsales@one Open PremU.S. Business Verified 0VP56811UInstant    Verified Mark BagleConfirmed                                                                                                                                                                                                            18.15   5136 Deerf#4           St. Louis   MO           63128 United States               Credit
662    3/3/2019        4:54:53   PST       ...          Faster FundCompleted                                               USD        ‐80.37    ‐0.8    ‐79.57                                  ...                                                                          9WX61873 Credit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
663    3/3/2019        3:23:36   PST       Git R Done Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  mhallcoupoRestricted U.S. Businesales@one Open PremU.S. Business Verified 51116039SInstant       Verified Git R Done Confirmed                                                                                                                                                                                                           80.37   2481 Hawthorne rd Spring hill FL                34609 United States               Credit
664    3/3/2019        2:39:15   PST       Ron SchmidRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  ronschmidtOpen          U.S. Personsales@one Open PremU.S. Business Verified 83W25586 Instant    Unverified Ron SchmidConfirmed                                                                                                                                                                                                          62.22   7803 34th Court East Sarasota FL                34243 United States               Credit
665    3/3/2019        2:26:12   PST       James Hint Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  tulsachero Open         U.S. Personsales@one Open PremU.S. Business Verified 99D54866PInstant    Verified James Hint Confirmed                                                                                                                                                                                                           44.07   3007 25th. St. W.    Bradenton FL               34205 United States               Credit
666    3/3/2019        2:16:36   PST       Bobby BlacRecurring PCompleted                             1 Month Website HostUSD             27   ‐1.08     25.92                                  bblackwell Closed       U.S. Personsales@one Open PremU.S. Business Verified 4NH85501 Instant    Unverified Bobby BlacConfirmed                                                                                                                                                                                                          25.92   13001 22nd Ct E      Parrish   FL               34219 United States               Credit
667    3/2/2019       14:11:03   PST       ...          Faster FundCompleted                                               USD        ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          3TX77641CCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
668    3/2/2019       14:09:52   PST       Heather OwRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  heatherjac Open         U.S. Personsales@one Open PremU.S. Business Verified 9MW38695Instant     Unverified HEATHER J Confirmed                                                                                                                                                                                                          18.15   1882 Vamo Dr           SARASOTA FL           34231‐772 United States              Credit
669    3/2/2019        7:45:18   PST       ...          Faster FundCompleted                                               USD        ‐54.15   ‐0.54    ‐53.61                                  ...                                                                          7BW16629Credit Card [Unknown]                                                                                                                                                                                                                                   0                                                                                     Debit
670    3/2/2019        6:13:50   PST       Harry Spar Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  e411team@Open           U.S. Personsales@one Open PremU.S. Business Verified 8M891501 Instant    Unverified Harry Spar Confirmed                                                                                                                                                                                                         54.15   4008 Colter Court   Kokomo IN                   46902 United States               Credit
671    3/2/2019        3:05:02   PST       Jeanne Mc Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  fusionhybr Open         U.S. Personsales@one Open PremU.S. Business Verified 78H35607VInstant    Unverified Jeanne Mc Confirmed                                                                                                                                                                                                             36   1242 West Del Webb BSun City CeFL               33573 United States               Credit
672    3/1/2019       19:30:19   PST       PayPal       Temporary Placed                                                   USD       ‐189.99       0   ‐189.99                                  ...                                                                          4MA6746046715651V                                                                                                                                                                                          3TC13975BJ582534R                                17.85                                                                                     Debit
673    3/1/2019       19:30:19   PST       Level 6      Refund       Completed                                             USD        189.99       0    189.99                                  ytv@aol.coOpen PremU.S. Busineytv@aol.coOpen PremU.S. Business Verified 8AF79055GM550354B                                                                                                                                                                                               4FW91309KU3713629                               207.84                                                                                     Credit
674    3/1/2019       17:19:35   PST       PayPal       Cancelled FCompleted                                               USD          0.06       0      0.06                                  ...                                                                          6VH94377N6211222A                                                                                                                                                                                          2NM9763010364922G                                17.85                                                                                     Memo
675    3/1/2019       17:19:35   PST       Aaron FriedRefund         Completed                                             USD            ‐2    0.06     ‐1.94                                  moldyspor Open PremU.S. Premiesales@one Open PremU.S. Business Verified 13R23455MT8266837                                                                                                                                                                                               6UC05920CR7635036                                17.85                                                                                     Debit
676    3/1/2019       16:43:20   PST       Aaron FriedRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  moldyspor Open PremU.S. Premiesales@one Open PremU.S. Business Verified 69077053J Instant        Verified Aaron FriedConfirmed                                                                                                                                                                                                           19.79   122 1/2 E. Linden Ave.East Roche NY             14445 United States               Credit
677    3/1/2019       16:37:35   PST       Aaron FriedRecurring PRefunded                             Trial 24HR Web HostinUSD             2   ‐0.36      1.64                                  moldyspor Open PremU.S. Premiesales@one Open PremU.S. Business Verified 6UC05920CInstant         Verified Aaron FriedConfirmed                                                                                                                                                                                                            1.64   122 1/2 E. Linden Ave.East Roche NY             14445 United States               Credit
678    3/1/2019        8:34:26   PST       ...          Faster FundCompleted                                               USD         ‐36.3   ‐0.36    ‐35.94                                  ...                                                                          3TX72353FCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
679    3/1/2019        8:28:18   PST       eugene ZepRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  hhfz137@cOpen           U.S. Personsales@one Open PremU.S. Business Verified 34L74417L Instant   Unverified eugene ZepConfirmed                                                                                                                                                                                                           36.3   5605 Key Largo Ct.    Bradenton FL              34203 United States               Credit
680    3/1/2019        8:15:13   PST       Scott Hall Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  scotthall.phOpen        U.S. Personsales@one Open PremU.S. Business Verified 01H480568Instant    Unverified Scott Hall, Confirmed                                                                                                                                                                                                        18.15   18034 Malakai Isle Dr Tampa     FL              33647 United States               Credit
681    3/1/2019        7:24:01   PST       ...          Faster FundCompleted                                               USD        ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          8LU478192Credit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
682    3/1/2019        7:14:33   PST       Joanne Luc Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  jojolucibell Open       U.S. Personsales@one Open PremU.S. Business Verified 9JF16731WInstant    Unverified Joanne Luc Confirmed                                                                                                                                                                                                         18.15   2924 Maximo Road       North Port FL            34286 United States               Credit
683    3/1/2019        6:36:05   PST       ...          Faster FundCompleted                                               USD         ‐36.3   ‐0.36    ‐35.94                                  ...                                                                          14B24378ACredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
684    3/1/2019        6:34:00   PST       Leah Clend Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  rioflora@g Open         U.S. Personsales@one Open PremU.S. Business Verified 0VC92038RInstant    Unverified Leah Clend Confirmed                                                                                                                                                                                                          36.3   799 Pinellas Pt Dr So Saint Peter FL            33705 United States               Credit
685    3/1/2019        5:11:23   PST       joseph randRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  ringkking@Open          U.S. Personsales@one Open PremU.S. Business Verified 5ER95831RInstant    Verified Joseph RanConfirmed                                                                                                                                                                                                            18.15   116 Bridge St         Bradenton FL           34217‐243 United States              Credit
686    3/1/2019        5:07:44   PST       ...          Faster FundCompleted                                               USD        ‐90.46    ‐0.9    ‐89.56                                  ...                                                                          18J51294MCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
687    3/1/2019        4:37:00   PST       Samantha Recurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                                  smjpt70@gOpen           U.S. Personsales@one Open PremU.S. Business Verified 1FG991784Instant    Verified Samantha Confirmed                                                                                                                                                                                                             90.46   7504 Morning Side Dr Ellenton FL                34222 United States               Credit
688    3/1/2019        4:29:08   PST       Donald Kni Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  jndknight@Open PremU.S. Premiesales@one Open PremU.S. Business Verified 27K85581DInstant         Verified Donald Kni Confirmed                                                                                                                                                                                                           72.31   12908 Maple St       Highland IL                62249 United States               Credit
689    3/1/2019        3:47:49   PST       lynda notleRecurring PCompleted                            1 Month Website HostUSD             19   ‐1.14     17.86                                  lynda4348@   Open       U.K. Personsales@one Open PremU.S. Business Verified 91G00596UInstant    Non‐U.S. ‐ Mrs Lynda Confirmed                                                                                                                                                                                                          54.16   135 Foxholes Road    Poole                   BH15 3NE United Kingdom              Credit
690    3/1/2019        3:37:47   PST       Suzanne MRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                                  SuzannecmOpen           U.S. Personsales@one Open PremU.S. Business Verified 9D774762AInstant    Unverified Suzanne MConfirmed                                                                                                                                                                                                            36.3   PO Box 1288          Bradenton FL               34206 United States               Credit
691    3/1/2019        3:11:56   PST       Charlotte SRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  csaise_sdp Open         U.S. Personsales@one Open PremU.S. Business Verified 9R152203GInstant    Unverified Charlotte SConfirmed                                                                                                                                                                                                         18.15   102 3rd Ave Se       Ruskin    FL               33570 United States               Credit
692   2/28/2019       15:06:47   PST       ...          Faster FundCompleted                                               USD        ‐33.68   ‐0.34    ‐33.34                                  ...                                                                          17L55558DCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
693   2/28/2019       14:43:48   PST       Julie Webe Recurring PCompleted                            1 Month Website HostUSD             35   ‐1.32     33.68                                  julieweb@ Open          U.S. Personsales@one Open PremU.S. Business Verified 2T155889DInstant    Unverified Julie Webe Confirmed                                                                                                                                                                                                         33.68   2736 58th Place N      Saint Peter FL           33714 United States               Credit
694   2/28/2019       14:29:51   PST       ...          Faster FundCompleted                                               USD        ‐50.19    ‐0.5    ‐49.69                                  ...                                                                          62Y60152GCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
695   2/28/2019       14:00:33   PST       DROB TECHMobile PayCompleted                                                    USD            52   ‐1.81     50.19 Affiliate                        drob.tech1 Open PremU.S. Businesales@one Open PremU.S. Business Verified 7KT97937FInstant        Verified DROB TECHConfirmed                                                                                                                                                                                                             50.19   197 PARK SIDE DRIVE SUFFERN NY                  10901 United States               Credit
696   2/28/2019       12:17:33   PST       ...          Faster FundCompleted                                               USD        ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          7A838809YCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
697   2/28/2019       11:55:33   PST       Joyce Barn Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  Jbar3774@Open           U.S. Personsales@one Open PremU.S. Business Verified 8M415420 Instant    Verified Joyce Barn Confirmed                                                                                                                                                                                                           18.15   2525 Gulf City Road    Ruskin      FL           33570 United States               Credit
698   2/28/2019        7:10:52   PST       ...          Withdraw Completed WELLS FAR       9888                            USD       ‐179.65       0   ‐179.65                       R45: Your b...                                                                          9AR62354NY812814D                                                                                                                                                                                                                                               0                                                                                     Debit
699   2/28/2019        7:10:27   PST       PayPal       Temporary Removed                                                  USD        179.65       0    179.65                                  ...                                                                          1B000923TG0864155                                                                                                                                                                                          5SL50257NX587270G                               179.65                                                                                     Credit
700   2/28/2019        5:42:20   PST       PETER WIL Update to Updated                                                     USD            19       0        19                                  pkbw@hotOpen PremU.S. Premier Verified                                       67H79328KD4162232 Verified                                                                                                                                                                                 8X086860FD670781D                                    0                                                                                     Memo
701   2/27/2019        7:04:42   PST       ...          Faster FundCompleted                                               USD        ‐44.07   ‐0.44    ‐43.63                                  ...                                                                          9SF43067NCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
702   2/27/2019        7:02:33   PST       Vera Sprag Recurring PCompleted                            1 Month Website HostUSD             27   ‐1.08     25.92                                  spraggie21 Open         U.S. Personsales@one Open PremU.S. Business Verified 7D246711UInstant    Unverified Vera Sprag Confirmed                                                                                                                                                                                                         44.07   7400 Sunshine SkywaySt. Petersb FL              33711 United States               Credit
703   2/27/2019        6:59:16   PST       pete miran Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  2007telfordOpen         U.S. Personsales@one Open PremU.S. Business Verified 4N802122CInstant    Verified pete miran Confirmed                                                                                                                                                                                                           18.15   1203 3rd st. Circle E Palmetto FL               34221 United States               Credit
704   2/27/2019        6:53:32   PST       ...          Faster FundCompleted                                               USD        ‐54.45   ‐0.54    ‐53.91                                  ...                                                                          21R10533NCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
705   2/27/2019        6:30:16   PST       Ronald L JaRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  rljavner@uOpen          U.S. Personsales@one Open PremU.S. Business Verified 2Y557136HInstant    Verified Carole JavnConfirmed                                                                                                                                                                                                           54.45   4904 CREEKSIDE TRL SARASOTA FL                  34243 United States               Credit
706   2/27/2019        6:27:33   PST       Ryan WilliaRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  gatorryan.wOpen         U.S. Personsales@one Open PremU.S. Business Verified 0F465452L Instant   Verified Ryan WilliaConfirmed                                                                                                                                                                                                            36.3   301 60th ST W         BRADENTOFL                34209 United States               Credit
707   2/27/2019        6:20:26   PST       Margret FisRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  guavagirl.1 Open        U.S. Personsales@one Open PremU.S. Business Verified 4DB82359CInstant    Unverified Margret FisConfirmed                                                                                                                                                                                                         18.15   1228 45th Ave Dr East Ellenton FL               34222 United States               Credit
708   2/27/2019        4:58:45   PST       ...          Faster FundCompleted                                               USD        ‐80.37    ‐0.8    ‐79.57                                  ...                                                                          4HW97744Credit Card [Unknown]                                                                                                                                                                                                                                   0                                                                                     Debit
709   2/27/2019        4:21:55   PST       Larry Sturn Recurring PCompleted                           1 Month Website HostUSD             27   ‐1.08     25.92                                  laza1239@Open           U.S. Personsales@one Open PremU.S. Business Verified 9YB452328Instant    Unverified Larry Sturn Confirmed                                                                                                                                                                                                        80.37   811 FreedoApt 302 Sun City CeFL                 33573   United States             Credit
710   2/27/2019        3:44:54   PST       Jenny Lyde Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  templeton Open          U.S. Personsales@one Open PremU.S. Business Verified 4F446140WInstant    Unverified Jenny Tem Confirmed                                                                                                                                                                                                          54.45   620 Bowsp Country CluLongboat KFL               34228   United States             Credit
711   2/27/2019        3:21:48   PST       Rebecca ReRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                                  siervarebecOpen         U.S. Personsales@one Open PremU.S. Business Verified 6XW79260 Instant    Verified Rebecca|C Confirmed                                                                                                                                                                                                             36.3   901 N. Wahneta St. Allentown PENNSYLVA          18109   United States             Credit
712   2/27/2019        2:18:36   PST       VickiRay Fr Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                                  vickiray631Open         U.S. Personsales@one Open PremU.S. Business Verified 2A076743KInstant    Unverified VickiRay Fr Confirmed                                                                                                                                                                                                        18.15   6311 Carl Shepard Dr Ruskin    FL               33570   United States             Credit
713   2/26/2019       19:18:56   PST       ...          Faster FundCompleted                                               USD        ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          0A408311RCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
714   2/26/2019       19:17:10   PST       Timothy Tr Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  torgyde@f Open PremU.S. Premiesales@one Open PremU.S. Business Verified 8K074879UInstant         Verified Timothy Tr Confirmed                                                                                                                                                                                                           18.15   21474 Billowy Jaunt D Land O Lak FL          34637‐768 United States              Credit
715   2/26/2019       19:08:25   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1551427200~USD           189.99       0    189.99                                  ...                                                                          3TC13975BInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                   4FW91309KU3713629                               189.99                                                                                     Credit
716   2/26/2019       19:08:25   PST       Level 6      Express Ch Refunded                           ~@~CLD:15174.230.14USD         ‐189.99       0   ‐189.99                                  Sales@oneOpen PremU.S. Busineytv@aol.coOpen PremU.S. Business Verified 4FW91309 Instant Tra Verified OneBoxTV Confirmed                                      0                 0                                                                                                        1MD96196MV7636112                                    0   8955 US Hwy 301 N #1Parrish        FL           34219 United States               Debit    YahooStores
717   2/26/2019       19:08:17   PST       Level 6      Authorizat Completed                          ~@~CLD:1551427200~USD          ‐189.99       0   ‐189.99                                  Sales@oneOpen PremU.S. Businepaypal@levOpen PremU.S. Business Verified 1MD96196Instant Tra Verified OneBoxTV Confirmed                                       0                 0                                                                                                                                                             0   8955 US Hwy 301 N #1Parrish        FL           34219 United States               Memo     YahooStores
718   2/26/2019       18:26:03   PST       PayPal       Temporary Placed                              ~@~CLD:1551427200~USD          ‐179.65       0   ‐179.65                                  ...                                                                          5SL50257NX587270G                                                                                                                                                                                          2W60796081139822Y                                    0                                                                                     Debit
719   2/26/2019       18:26:03   PST       AoYue. Inc Refund         Completed                        ~@~CLD:1551427200~USD           179.65       0    179.65                                  pal300200@   Open PremHong Kong pal300200@   Open PremHong Kong Business V 4LS40470LL7837903                                                                                                                                                                                            87H291589W2267724                               179.65                                                                                     Credit
720   2/26/2019       13:40:39   PST       ...          Faster FundCompleted                          ~@~CLD:1551427200~USD           ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          47Y55175KCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
721   2/26/2019       13:38:56   PST       Susan Casil Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                                  sweetsue_ Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 27U25508VInstant     Verified Susan Casil Confirmed                                                                                                                                                                                                          18.15   2795 Bay Oaks Drive Sarasota       FL           34234 United States               Credit
722   2/26/2019        6:07:22   PST       ...          Faster FundCompleted                          ~@~CLD:1551427200~USD           ‐80.08    ‐0.8    ‐79.28                                  ...                                                                          0VD584543Credit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
723   2/26/2019        6:05:20   PST       Donald RoyRecurring PCompleted                             1 Month Website HostUSD             19   ‐1.14     17.86                                  larabi@rogOpen          Canadian Psales@one Open PremU.S. Business Verified 5J991933WInstant     Non‐U.S. ‐ Donald RoyConfirmed                                                                                                                                                                                                          80.08   1106 Morin Rd          Cumberlan ON          K4C 1A5 Canada                       Credit
724   2/26/2019        4:02:26   PST       James McKRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                                  jim.mckinnOpen PremU.S. Premiesales@one Open PremU.S. Business Verified 6N915902XInstant         Verified James McKConfirmed                                                                                                                                                                                                             62.22   5655 Bayview Drive     Seminole FL              33772 United States               Credit
725   2/26/2019        2:13:03   PST       Harry MartRecurring PCompleted                             1 Month Website HostUSD             27   ‐1.08     25.92                                  909.martinOpen          U.S. Personsales@one Open PremU.S. Business Verified 2H6248082Instant    Verified Harry MartConfirmed                                                                                                                                                                                                            44.07   8008 55th St. E        Palmetto FL              34221 United States               Credit
726   2/25/2019       19:01:09   PST       PC SolutionRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                                  atcampion Open PremU.S. Businesales@one Open PremU.S. Business Verified 5LV14541TInstant         Verified Albert T Ca Confirmed                                                                                                                                                                                                          18.15   134 Brannon lane       Webster NY               14580 United States               Credit
727   2/25/2019       18:29:33   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1551340800~USD               60       0        60                                  ...                                                                          2CD39701TInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                   14K79465S8785311C                                   60                                                                                     Credit
728   2/25/2019       18:29:33   PST       Feibiao ZhaMobile PayCompleted                             ~@~CLD:1551340800~USD              ‐60       0       ‐60 50’ Hose and Nozzle Sample       Sales@oneOpen PremU.S. Businepazfb123@Open PremChinese Business Verif14K79465SInstant Tra Non‐U.S. ‐ OneBoxTV Non‐U.S.                                                                                                                                                                                                                       0   8955 US Hwy 301 N #1Parrish        FL           34219 United States               Debit
729   2/25/2019       16:55:53   PST                    Invoice RecCanceled                                                USD         520.6       0     520.6                                  Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐ZHDV‐SUGS‐W7LC‐LDT9                                                               0                          0        0                                                                                                XL190226WF                      ...                                                                                              Memo
730   2/25/2019       14:20:12   PST       ...          Faster FundCompleted                          ~@~CLD:1551340800~USD           ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          59904127FCredit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
731   2/25/2019       13:52:09   PST       Hillary Bell Recurring PCompleted                          1 Month Website HostUSD             19   ‐0.85     18.15                                  jnhb6090@Open           U.S. Personsales@one Open PremU.S. Business Verified 6UJ46361CInstant    Verified Hillary Bell Confirmed                                                                                                                                                                                                         18.15   10141 Newminster Lo Ruskin         FL           33573 United States               Credit
732   2/25/2019       11:19:16   PST       ...          Faster FundCompleted                          ~@~CLD:1551340800~USD           ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          2WD32110Credit Card [Unknown]                                                                                                                                                                                                                                   0                                                                                     Debit
733   2/25/2019        9:53:28   PST       tommy barRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                                  tomendebeOpen           U.S. Personsales@one Open PremU.S. Business Verified 7VA85161GInstant    Verified Tommy Ba Confirmed                                                                                                                                                                                                             18.15   678 Park Cir           Bradenton FL          34207‐216 United States              Credit
734   2/25/2019        7:52:32   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1551340800~USD           179.65       0    179.65                                  ...                                                                          2W607960 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                   87H291589W2267724                               179.65                                                                                     Credit
735   2/25/2019        7:52:32   PST       AoYue. Inc Express Ch Refunded                             ~@~CLD:15166.216.15USD         ‐179.65       0   ‐179.65                                  Sales@oneOpen PremU.S. Businepal300200@      Open PremHong Kong Business V 87H291589Instant Tra Non‐U.S. ‐ OneBoxTV Confirmed                                0                 0                                                                                                        6C373563B8887024W                                    0   8955 US Hwy 301 N #1Parrish        FL           34219 United States               Debit    YahooStores
736   2/25/2019        7:52:24   PST       AoYue. Inc Authorizat Completed                            ~@~CLD:1551340800~USD          ‐179.65       0   ‐179.65                                  Sales@oneOpen PremU.S. Businepal300200@      Open PremHong Kong Business V 6C373563BInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed                                0                 0                                                                                                                                                             0   8955 US Hwy 301 N #1Parrish        FL           34219 United States               Memo     YahooStores
737   2/25/2019        7:51:17   PST       Thomas Pa Update to Completed                              ~@~CLD:1551340800~USD              ‐19    0.55    ‐18.45                                  t.pachulski Open        U.S. Personsales@one Open PremU.S. Business Verified 4SG9962186112892D                                                                                                                                                                                          44B930269C0325612                                    0                                                                                     Memo
738   2/25/2019        7:35:15   PST       ...          Faster FundCompleted                          ~@~CLD:1551340800~USD           ‐18.15   ‐0.18    ‐17.97                                  ...                                                                          7Y8499113Credit Card [Unknown]                                                                                                                                                                                                                                  0                                                                                     Debit
739   2/25/2019        7:12:48   PST       Wallter Fin Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                                  wfinkelstei Open        U.S. Personsales@one Open PremU.S. Business Verified 09N83420MInstant    Unverified Wallter Fin Confirmed                                                                                                                                                                                                        18.15   17028 Seaford Way      Bradenton FL             34202 United States               Credit
740   2/25/2019        7:01:21   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1551340800~USD           113.03       0    113.03                                  ...                                                                          6X4962393Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                   41199508MC9122631                               113.03                                                                                     Credit
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      A           B                    C       D           E          F          G         H      I       J         K            L    M        N        O           P      Q   R       S         T          U         V          W          X         Y            Z        AA         AB        AC        AD         AE        AF         AG       AH   AI       AJ       AK       AL   AM   AN   AO   AP   AQ   AR   AS   AT   AU   AV     AW        AX       AY      AZ    BA         BB           BC           BD        BE           BF      BG         BH           BI   BJ      BK       BL        BM          BN
741   2/25/2019        7:01:21   PST       Upwork Es PreapproveCompleted                              ~@~CLD:1551340800~USD          ‐113.03       0   ‐113.03                     Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified      41199508MInstant Tra Verified                           Upwork Services          0             0                                                                                     AE8398879D8639900                         0                                                                                     Debit    PayPal_SDK
742   2/25/2019        6:35:14   PST       ...          Faster FundCompleted                          ~@~CLD:1551340800~USD          ‐106.28   ‐1.06   ‐105.22                     ...                                                                         6Y476901TCredit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
743   2/25/2019        5:45:38   PST       RAYMOND Recurring PCompleted                               1 Month Website HostUSD             19   ‐0.85     18.15                     rrrbug@hoOpen PremU.S. Premiesales@one Open PremU.S. Business Verified      31V86953NInstant      Verified RAYMOND Confirmed                                                                                                                                                                          106.28   6142 SUMTER DR       BROOKSVILFL                34602 United States               Credit
744   2/25/2019        4:57:38   PST       Gregory BeRecurring PCompleted                             1 Month Website HostUSD             35   ‐1.32     33.68                     aebrn57@ Open        U.S. Personsales@one Open PremU.S. Business Verified   7JA59700S Instant     Verified Gregory BeConfirmed                                                                                                                                                                         88.13   5934 Easy SUNIT# K25 BRADENTOFL                 34207 United States               Credit
745   2/25/2019        4:51:47   PST       Linda Whit Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     twinkie172Open       U.S. Personsales@one Open PremU.S. Business Verified   18F75994EInstant      Unverified Linda Whit Confirmed                                                                                                                                                                      54.45   506 SE 24th St       Cape Coral FL              33990 United States               Credit
746   2/25/2019        3:49:13   PST       Fred Nelso Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     fredndiane Open      U.S. Personsales@one Open PremU.S. Business Verified   92V160196Instant      Unverified Fred Nelso Confirmed                                                                                                                                                                       36.3   2244 Pier Dr         Ruskin     FL              33570 United States               Credit
747   2/25/2019        2:24:18   PST       David Ham Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     kitchendes Open      U.S. Personsales@one Open PremU.S. Business Verified   3X697662RInstant      Unverified David Ham Confirmed                                                                                                                                                                       18.15   3812 70th Ave E.     Ellenton FL                34222 United States               Credit
748   2/24/2019       16:16:25   PST       ...          Faster FundCompleted                          ~@~CLD:1551340800~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                         55S586167Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
749   2/24/2019        7:12:37   PST       Jane GREENRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     janieluv@aOpen       U.S. Personsales@one Open PremU.S. Business Verified   5BB55533DInstant      Unverified Jane GreenConfirmed                                                                                                                                                                       18.15   920 Westwind Dr        N Palm BeaFL          33408‐422 United States              Credit
750   2/24/2019        7:07:23   PST       ...          Faster FundCompleted                          ~@~CLD:1551340800~USD            ‐36.3   ‐0.36    ‐35.94                     ...                                                                         9EM89455 Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
751   2/24/2019        6:58:15   PST       Christine L Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     Brokervee@Open       U.S. Personsales@one Open PremU.S. Business Verified   0HG668470Instant      Unverified Christine B Confirmed                                                                                                                                                                      36.3   8457 Idlewood Ct       Lakewood FL              34202 United States               Credit
752   2/24/2019        5:31:06   PST       Rick Roett Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     mrroett@yOpen        U.S. Personsales@one Open PremU.S. Business Verified   70205958CInstant      Unverified Rick Roett, Confirmed                                                                                                                                                                     18.15   4657 72nd Ct E         Bradenton FL             34203 United States               Credit
753   2/24/2019        5:12:54   PST       ...          Faster FundCompleted                          ~@~CLD:1551340800~USD           ‐54.45   ‐0.54    ‐53.91                     ...                                                                         3D9186722Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
754   2/24/2019        5:11:44   PST       Alan Weng Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     alw0200@ Open        U.S. Personsales@one Open PremU.S. Business Verified   3CT45548LInstant      Unverified Alan Weng Confirmed                                                                                                                                                                       54.45   42 West Oak St Lot A1 Osprey   FL               34229 United States               Credit
755   2/24/2019        5:03:48   PST       Brad Maye Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     beachlife75Open      U.S. Personsales@one Open PremU.S. Business Verified   4F2743093Instant      Verified Courtney MConfirmed                                                                                                                                                                          36.3   7049 Chatum Light Ru Bradenton FL               34212 United States               Credit
756   2/24/2019        4:59:44   PST       Julieanne PRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     juiecma102Open       U.S. Personsales@one Open PremU.S. Business Verified   8CM85312 Instant      Unverified Julieanne PConfirmed                                                                                                                                                                      18.15   4702 105th Ave East Parrish    FL               34219 United States               Credit
757   2/24/2019        4:45:28   PST       ...          Faster FundCompleted                          ~@~CLD:1551340800~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                         12R67486MCredit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
758   2/24/2019        2:09:01   PST       jorge yong Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jorgeca207Open       U.S. Personsales@one Open PremU.S. Business Verified   1P4209302Instant      Unverified jorge yong,Confirmed                                                                                                                                                                      18.15   13140 sw 23 st         Miramar    FL            33027 United States               Credit
759   2/23/2019        7:13:43   PST       ...          Faster FundCompleted                          ~@~CLD:1551340800~USD           ‐54.45   ‐0.54    ‐53.91                     ...                                                                         46X717659Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
760   2/23/2019        6:23:48   PST       jesse cothr Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     jconecoat@Open       U.S. Personsales@one Open PremU.S. Business Verified   5G9729060Instant      Verified jesse cothr Confirmed                                                                                                                                                                       54.45   6641 s arlington ave indianapoliIN               46237 United States              Credit
761   2/23/2019        6:04:24   PST       James FromRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     jrfroman19Open       U.S. Personsales@one Open PremU.S. Business Verified   9M123960 Instant      Verified James FromConfirmed                                                                                                                                                                          36.3   35 7th St.           Nokomis FL                  34275 United States              Credit
762   2/23/2019        5:17:56   PST       Elizabeth S Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     lizsmith13@Open      U.S. Personsales@one Open PremU.S. Business Verified   3MN57094Instant       Unverified Elizabeth S Confirmed                                                                                                                                                                     18.15   2072 Pitt St.        Cornwall ON             K6J 5G3 Canada                       Credit
763   2/23/2019        5:15:43   PST       ...          Faster FundCompleted                          ~@~CLD:1551340800~USD            ‐72.6   ‐0.73    ‐71.87                     ...                                                                         9GT97026HCredit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
764   2/23/2019        5:09:25   PST       Robert DavRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     rwdavis370Open       U.S. Personsales@one Open PremU.S. Business Verified   3RV891462Instant      Unverified Robert DavConfirmed                                                                                                                                                                        72.6   907 49th ave terrace wBradenton FL              34207 United States               Credit
765   2/23/2019        4:46:36   PST       Mike Neav Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     Mikenea@ Open        U.S. Personsales@one Open PremU.S. Business Verified   7AU57728JInstant      Unverified Mike Neav Confirmed                                                                                                                                                                       54.45   324 Petrel Trl        Bradenton FL              34212 United States               Credit
766   2/23/2019        3:39:23   PST       Jeannery GRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     mgreeners Open       U.S. PersonSales@oneOpen PremU.S. Business Verified    9VF03083J Instant     Verified Jeannery GConfirmed                                                                                                                                                                          36.3   3805 72nd Ter E       Sarasota FL            34243‐516 United States              Credit
767   2/23/2019        3:18:00   PST       Kimberly H Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     kphubner@Open        U.S. Personsales@one Open PremU.S. Business Verified   6P9957624Instant      Unverified Kimberly H Confirmed                                                                                                                                                                      18.15   3815 Pin Oaks Street Sarasota FL                34232 United States               Credit
768   2/22/2019        6:45:05   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1551340800~USD           ‐35.33       0    ‐35.33                     ...                                                                         3CA610393L2607904                                                                                                                                                                                                              0                                                                                     Debit
769   2/22/2019        6:25:57   PST       Martin Lee Recurring PCompleted                            1 Month Website HostUSD             18   ‐0.82     17.18                     siestakeysuOpen      U.S. Personsales@one Open PremU.S. Business Verified   7SG210732Instant      Verified Martin Lee Confirmed                                                                                                                                                                        35.33   PO Box 51704           Sarasota   FL            34232 United States               Credit
770   2/22/2019        6:17:20   PST       Robin MaleRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     malekrobinOpen       U.S. Personsales@one Open PremU.S. Business Verified   00835597EInstant      Unverified Robin MaleConfirmed                                                                                                                                                                       18.15   4153 Smoke Signal      Sebring    FL            33872 United States               Credit
771   2/22/2019        4:56:21   PST       ...          Faster FundCompleted                          ~@~CLD:1551340800~USD           ‐71.63   ‐0.72    ‐70.91                     ...                                                                         0LS89687T Credit Card [Unknown]                                                                                                                                                                                                0                                                                                     Debit
772   2/22/2019        3:00:17   PST       Cynthia SchRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     c.schwab@Open        U.S. Personsales@one Open PremU.S. Business Verified   2T334320EInstant      Unverified Cynthia SchConfirmed                                                                                                                                                                      71.63   17146 Malta Ave       Port CharloFL             33954 United States               Credit
773   2/22/2019        3:00:02   PST       The Better Recurring PCompleted                            1 Month Website HostUSD             18   ‐0.82     17.18                     jmanzano1Open PremU.S. Businesales@one Open PremU.S. Business Verified      54N46022VInstant      Verified The Better Confirmed                                                                                                                                                                        53.48   6535 Anch Apt# 204 Bradenton FL                 34212 United States               Credit
774   2/22/2019        2:41:41   PST       Sarasota WRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     sckoch69@Open PremU.S. Businesales@one Open PremU.S. Business Verified      0KS633576Instant      Verified Steve Koch Confirmed                                                                                                                                                                         36.3   4648 Charing Cross rd Sarasota FL            34241‐612 United States              Credit
775   2/22/2019        2:24:03   PST       Henry ArseRecurring PCompleted                             1 Month W47.200.211USD              19   ‐0.85     18.15                     hank98471Open        U.S. PersonSales@oneOpen PremU.S. Business Verified    6YA14239YInstant      Verified henry s ars Confirmed                                                                                                                                                                       18.15   5602 79TH AVE E       PALMETTOFL                34221 United States               Credit
776   2/21/2019       11:14:42   PST       ...          Faster FundCompleted                                               USD        ‐18.15   ‐0.18    ‐17.97                     ...                                                                         0FF950617 Credit Card [Unknown]                                                                                                                                                                                                0                                                                                     Debit
777   2/21/2019       11:02:11   PST       Ron Reppu Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     reppuccieleOpen PremU.S. Businesales@one Open PremU.S. Business Verified    4A597214XInstant      Unverified Ron Reppu Confirmed                                                                                                                                                                       18.15   339 WhittieBox 224     Tamworth NH               3886 United States               Credit
778   2/21/2019        6:37:18   PST       ...          Faster FundCompleted                                               USD        ‐18.15   ‐0.18    ‐17.97                     ...                                                                         2CX05918UCredit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
779   2/21/2019        3:02:34   PST       FRITZ MAR Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     fritz_marti Open PremU.S. Premiesales@one Open PremU.S. Business Verified   10S882077Instant      Verified FRITZ MAR Confirmed                                                                                                                                                                         18.15   924 Paradise Island Dr DeFuniak S FL         32433‐707 United States              Credit
780   2/20/2019        6:28:32   PST       ...          Faster FundCompleted                                               USD         ‐36.3   ‐0.36    ‐35.94                     ...                                                                         2UD07828SCredit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
781   2/20/2019        6:26:42   PST       bridgette s Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     kgbstout@ Open       U.S. Personsales@one Open PremU.S. Business Verified   96Y41213CInstant      Verified bridgette s Confirmed                                                                                                                                                                        36.3   8875 39th Street CircleParrish    FL            34219 United States               Credit
782   2/20/2019        6:02:26   PST       ANTHONY Recurring PCompleted                               1 Month Website HostUSD             19   ‐0.85     18.15                     finishcut@ Open PremU.S. Premiesales@one Open PremU.S. Business Verified    9BR43006EInstant      Unverified ANTHONY Confirmed                                                                                                                                                                         18.15   #6 7th street west     nokomis    FL            34275 United States               Credit
783   2/20/2019        5:19:07   PST       ...          Faster FundCompleted                                               USD        ‐37.94   ‐0.38    ‐37.56                     ...                                                                         0E298554ACredit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
784   2/20/2019        4:48:05   PST       Robert Sav Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     rsaviola@aOpen       U.S. Personsales@one Open PremU.S. Business Verified   9CK560937Instant      Unverified Robert Sav Confirmed                                                                                                                                                                      37.94   280 126th Ave Unit 10Treasure Is FL             33706 United States               Credit
785   2/20/2019        4:23:24   PST       PETER WIL Recurring PFailed                                1 Month Website HostUSD             19       0        19                     pkbw@hotOpen PremU.S. Premiesales@one Open PremU.S. Business Verified       8X086860FeCheck       Verified PETER WIL Confirmed                                                                                                                                                                         19.79   20 Rambleton Drive New CastleDE                 19720 United States               Memo
786   2/19/2019       13:42:15   PST       Timothy M Recurring PCompleted                             Trial 24HR Web HostinUSD             2   ‐0.36      1.64                     tsmortons@  Open PremU.S. Premiesales@one Open PremU.S. Business Verified   4R4069762Instant      Verified Tim Morto Confirmed                                                                                                                                                                         19.79   1104 N Santorini Dr Warsaw IN                46580‐850 United States              Credit
787   2/19/2019        6:03:36   PST       DIANE NAMRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     LOTTERYGI Open       U.S. Personsales@one Open PremU.S. Business Verified   1UG47083 Instant      Unverified DIANE NAMConfirmed                                                                                                                                                                        18.15   2003 WILLOW BROOK WARREN OH                     44483 United States               Credit
788   2/19/2019        5:52:11   PST       ...          Faster FundCompleted                                               USD        ‐19.79    ‐0.2    ‐19.59                     ...                                                                         6SJ679559 Credit Card [Unknown]                                                                                                                                                                                                0                                                                                     Debit
789   2/19/2019        5:16:35   PST       Sellitall    Recurring PCompleted                          1 Month Website HostUSD             19   ‐0.85     18.15                     vsmalls@taOpen PremU.S. Businesales@one Open PremU.S. Business Verified     4GR37979FInstant      Verified vickie smal Confirmed                                                                                                                                                                       19.79   2605 72nd Ave E Unit ellenton FL             34222‐702 United States              Credit
790   2/18/2019       10:38:13   PST       William PetRecurring PCompleted                            Trial 24HR Web HostinUSD             2   ‐0.36      1.64                     islandtinmaClosed    U.S. Personsales@one Open PremU.S. Business Verified   47W38153 Instant      Unverified William PetConfirmed                                                                                                                                                                       1.64   1 1813 maywood Ct Marco IslanFL                 34145 United States               Credit
791   2/18/2019       10:05:02   PST       ...          Faster FundCompleted                                               USD         ‐36.3   ‐0.36    ‐35.94                     ...                                                                         9VK964054Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
792   2/18/2019        8:46:50   PST       kelly covilleRecurring PCompleted                          1 Month Website HostUSD             19   ‐0.85     18.15                     kelshine5@Open PremU.S. Premiesales@one Open PremU.S. Business Verified     75W05858 Instant      Unverified Kelly Covill Confirmed                                                                                                                                                                     36.3   5871 17th Street WestBradenton FL               34207 United States               Credit
793   2/18/2019        7:54:03   PST       william hayRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     pumkinx@ Open        U.S. Personsales@one Open PremU.S. Business Verified   3H067348UInstant      Verified william hayConfirmed                                                                                                                                                                        18.15   469 Kaiser Dr        palmetto FL             34221‐542 United States              Credit
794   2/18/2019        6:42:11   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1550736000~USD           414.42       0    414.42                     ...                                                                         19768834AInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                    6E4884731F5337619                             414.42                                                                                     Credit
795   2/18/2019        6:42:11   PST       Upwork Es PreapproveCompleted                              Upwork Services      USD       ‐414.42       0   ‐414.42                     Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified      6E4884731Instant Tra Verified                           Upwork Services          0             0                                                                                     AE8398879D8606811                         0                                                                                     Debit    PayPal_SDK
796   2/18/2019        6:41:32   PST       ...          Faster FundCompleted                          ~@~CLD:1550736000~USD           ‐90.75   ‐0.91    ‐89.84                     ...                                                                         4E9628282Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
797   2/18/2019        6:39:15   PST       Patricia McRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     paddimccluOpen       U.S. Personsales@one Open PremU.S. Business Verified   1NN73989 Instant      Verified Patricia McConfirmed                                                                                                                                                                        90.75   283 crescent rd        wanaque NJ            07465‐121 United States              Credit
798   2/18/2019        6:33:02   PST       Ashley Wa Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     walogorskyOpen PremU.S. Businesales@one Open PremU.S. Business Verified     3BV89283RInstant      Unverified Ashley Wa Confirmed                                                                                                                                                                        72.6   934 Jungle Avenue No Saint Peter FL             33710 United States               Credit
799   2/18/2019        6:07:40   PST       john suttonRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     les55suttonOpen      U.S. Personsales@one Open PremU.S. Business Verified   5HR886594Instant      Unverified john suttonConfirmed                                                                                                                                                                      54.45   2002 17th St W.        Palmetto FL              34221 United States               Credit
800   2/18/2019        5:47:14   PST       Tawanda K Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     Tawanda.k Open       U.S. Personsales@one Open PremU.S. Business Verified   29L30318J Instant     Verified Tawanda K Confirmed                                                                                                                                                                          36.3   5408 3rd st w          Bradenton FL             34207 United States               Credit
801   2/18/2019        4:22:00   PST       Robert Mo Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     bobkathfl1 Open      U.S. Personsales@one Open PremU.S. Business Verified   39A76552EInstant      Unverified Robert Mo Confirmed                                                                                                                                                                       18.15   2689 S Crystal Lake Dr Avon Park FL             33825 United States               Credit
802   2/17/2019       16:32:13   PST       PayPal       Cancelled FCompleted                                               USD          0.55       0      0.55                     ...                                                                         5CE36879YB314300V                                                                                                                                                           3D840213C4511431D                                  0                                                                                     Memo
803   2/17/2019       16:32:13   PST       ...          eCheck AddCompleted WELLS FAR      9888       ~@~CLD:1550736000~USD            18.45       0     18.45                     ...                                                                         1W653985 eCheck [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                              44B930269C0325612                                  0                                                                                     Memo
804   2/17/2019       16:32:13   PST       Thomas Pa Refund          Completed                        ~@~CLD:1550736000~USD              ‐19    0.55    ‐18.45                     t.pachulski Open     U.S. Personsales@one Open PremU.S. Business Verified   44B930269C0325612                                                                                                                                                           19E33798CL5678341                              ‐0.55                                                                                     Debit
805   2/17/2019       10:02:03   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1550736000~USD            53.38       0     53.38                     ...                                                                         0B057522KInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                    4WB550214H327201P                              53.38                                                                                     Credit
806   2/17/2019       10:02:03   PST       Vedder Ho Express Ch Completed                             ~@~CLD:1550736000~USD           ‐53.38       0    ‐53.38                     Sales@oneOpen PremU.S. Businesales@ved Open PremU.S. Business Verified      4WB55021Instant Tra Verified Donna Fog Confirmed                                 0             0                                                                                       179104                                  0   8955 US Hw         166 Parrish    FL            34219 United States               Debit    Bigcommerce_Cart_vzero
807   2/17/2019        6:48:35   PST       ...          Faster FundCompleted                          ~@~CLD:1550736000~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                         5YY033263Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
808   2/17/2019        6:14:18   PST       John BowmRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     flndrjon@aOpen       U.S. Personsales@one Open PremU.S. Business Verified   6A5282988Instant      Verified John BowmConfirmed                                                                                                                                                                          18.15   311 52nd ave terrace wBradenton FL              34207 United States               Credit
809   2/17/2019        5:48:28   PST       ...          Faster FundCompleted                          ~@~CLD:1550736000~USD           ‐33.68   ‐0.34    ‐33.34                     ...                                                                         6XX95367BCredit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
810   2/17/2019        5:45:51   PST       Edward PinRecurring PCompleted                             1 Month Website HostUSD             35   ‐1.32     33.68                     paze25@g Open        U.S. Personsales@one Open PremU.S. Business Verified   2KA02919LInstant      Unverified Edward PinConfirmed                                                                                                                                                                       33.68   5612 Mallow St         New Prt RcFL          34652‐516 United States              Credit
811   2/17/2019        5:13:59   PST       ...          Faster FundCompleted                          ~@~CLD:1550736000~USD           ‐108.9   ‐1.09   ‐107.81                     ...                                                                         74Y833509Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
812   2/17/2019        4:05:47   PST       James BreeRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     jeb127327@  Open     U.S. Personsales@one Open PremU.S. Business Verified   7UX66670SInstant      Verified James BreeConfirmed                                                                                                                                                                         108.9   3708 Riviera Dr        Sarasota FL              34232 United States               Credit
813   2/17/2019        3:53:39   PST       Laura Siek Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     siekl58@gmOpen       U.S. Personsales@one Open PremU.S. Business Verified   8FR568774Instant      Unverified Laura Siek, Confirmed                                                                                                                                                                     90.75   13033 19 Mile Rd Lot   Gowen      MI            49326 United States               Credit
814   2/17/2019        3:52:41   PST       Thomas Pa Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     t.pachulski Open     U.S. Personsales@one Open PremU.S. Business Verified   3Y500751EInstant      Unverified Thomas Pa Confirmed                                                                                                                                                                        72.6   8068 Woodruff Drive    Newaygo MI               49337 United States               Credit
815   2/17/2019        3:05:10   PST       robert samRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     samulka.roOpen       U.S. Personsales@one Open PremU.S. Business Verified   1XU79714KInstant      Unverified robert samConfirmed                                                                                                                                                                       54.45   4019 Laurel Way        Ellenton FL              34222 United States               Credit
816   2/17/2019        2:59:58   PST       Carlos Faja Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     cfaja546@ Open       U.S. Personsales@one Open PremU.S. Business Verified   0UX25548LInstant      Unverified Carlos Faja Confirmed                                                                                                                                                                      36.3   2825 Pecan St          North Port FL            34287 United States               Credit
817   2/17/2019        2:07:14   PST       Melvin ShaRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     mshaw494 Open        U.S. Personsales@one Open PremU.S. Business Verified   8N776572KInstant      Verified Melvin E. S Confirmed                                                                                                                                                                       18.15   123 Walton Heath Dr    Raeford NC            28376‐590 United States              Credit
818   2/16/2019       11:53:39   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1550736000~USD               50       0        50                     ...                                                                         5D6463916Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                    4DW90898XL341424K                                 50                                                                                     Credit
819   2/16/2019       11:53:39   PST       Russell EllioMobile WeCompleted                            ~@~CLD:1550736000~USD              ‐50       0       ‐50                     Sales@oneOpen PremU.S. BusineRussell@REOpen PremU.S. Premier Verified       4DW90898Instant Tra Verified OneBoxTV Confirmed Payment to Russell Ell           0             0                                                                                    INV2‐9ZUM‐6XV6‐UH5F‐TCPL                   0   8955 US Hwy 301 N #1Parrish       FL            34219 United States               Debit
820   2/16/2019       11:47:32   PST       Russell EllioInvoice RecPaid                                                    USD            50       0        50                     Sales@oneOpen PremU.S. BusineRussell@REOpen PremU.S. Premier Verified       INV2‐9ZUM‐6XV6‐UH5F‐TCPL                                                         0                      0        0                                                                        126                       ...                                                                                              Memo
821   2/16/2019        5:17:10   PST       ...          Faster FundCompleted                          ~@~CLD:1550736000~USD           ‐74.24   ‐0.74     ‐73.5                     ...                                                                         30C961536Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
822   2/16/2019        4:42:05   PST       Cheryl HillmRecurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     cherlyhillmOpen      U.S. Personsales@one Open PremU.S. Business Verified   2C6143328Instant      Unverified Cheryl HillmConfirmed                                                                                                                                                                     74.24   1988 Se Cherry Dr    Arcadia   FL               34266 United States               Credit
823   2/16/2019        4:26:27   PST       James FriedRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jfriedhoff@Open      U.S. Personsales@one Open PremU.S. Business Verified   7TH63587SInstant      Verified James FriedConfirmed                                                                                                                                                                        56.09   928 S Doral Ln.      Venice    FL               34293 United States               Credit
824   2/16/2019        4:08:24   PST       Dustyn Pat Recurring PCompleted                            Trial 24HR Web HostinUSD             2   ‐0.36      1.64                     dustynbigdOpen PremU.S. Premiesales@one Open PremU.S. Business Verified     9FF76969AInstant      Unverified Dustyn Pat Confirmed                                                                                                                                                                      37.94   2809 49th St E       Palmetto FL             34221‐197 United States              Credit
825   2/16/2019        3:58:00   PST       Linda WormRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     lworman8@Open        U.S. Personsales@one Open PremU.S. Business Verified   5XD854124Instant      Verified Linda WormConfirmed                                                                                                                                                                          36.3   6 Parkwood           Bradenton FL               34208 United States               Credit
826   2/16/2019        3:38:28   PST       David HollaRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     david.holla Open     U.S. Personsales@one Open PremU.S. Business Verified   3XX03513WInstant      Unverified David HollaConfirmed                                                                                                                                                                      18.15   9124 Raes Creek PlacePalmetto FL                34221 United States               Credit
827   2/15/2019       15:32:07   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1550736000~USD            53.39       0     53.39                     ...                                                                         7C7084058Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                    3HT67594J43032050                              53.39                                                                                     Credit
828   2/15/2019       15:32:07   PST       concealme Express Ch Completed                             Quick Draw Holster & USD        ‐53.39       0    ‐53.39                     Sales@oneOpen PremU.S. BusineBjimenez@Open PremU.S. Business Verified       3HT67594J Instant Tra Verified William Fir Confirmed Quick Draw Holster &        0         3.49                                                                                      c7369382494260.1                          0   8955 US HWY 301N       Parrish    FL            34219 United States               Debit    JadedPixel_ShoppingCart_EC_CA
829   2/15/2019       12:17:57   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550736000~USD           ‐18.15       0    ‐18.15                     ...                                                                         6L55655268797193A                                                                                                                                                                                                              0                                                                                     Debit
830   2/15/2019       12:12:38   PST       Carol MasoRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     carolnisbetOpen      U.S. Personsales@one Open PremU.S. Business Verified   0MR14458 Instant      Verified Carol MasoConfirmed                                                                                                                                                                         18.15   2198 Briar Creek Way Sarasota     FL            34235 United States               Credit
831   2/14/2019       11:22:47   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550736000~USD           ‐18.15       0    ‐18.15                     ...                                                                         46C971207J3724019                                                                                                                                                                                                              0                                                                                     Debit
832   2/14/2019        7:42:13   PST       Suzanne N Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     tropical_suOpen      U.S. Personsales@one Open PremU.S. Business Verified   5N437047VInstant      Unverified Suzanne N Confirmed                                                                                                                                                                       18.15   6641 Laguna Vista Dr NRockford MI               49341 United States               Credit
833   2/14/2019        6:22:18   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550736000~USD           ‐18.15       0    ‐18.15                     ...                                                                         72F66404EL1200639                                                                                                                                                                                                              0                                                                                     Debit
834   2/14/2019        6:16:13   PST       Janice StanRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jstanton63 Open      U.S. Personsales@one Open PremU.S. Business Verified   6FT69057XInstant      Unverified Janice StanConfirmed                                                                                                                                                                      18.15   10380 Alpine Ave       Sparta     MI            49345 United States               Credit
835   2/14/2019        5:18:06   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550736000~USD           ‐17.86       0    ‐17.86                     ...                                                                         6DF52573C9799742F                                                                                                                                                                                                              0                                                                                     Debit
836   2/14/2019        2:22:06   PST       leafsMicha Recurring PCompleted                            1 Month Website HostUSD             19   ‐1.14     17.86                     m_dwilson Open       Canadian Psales@one Open PremU.S. Business Verified    6E202017HInstant      Non‐U.S. ‐ leafsMicha Confirmed                                                                                                                                                                      17.86   P.O. Box 190           MoonbeamOntario       P0L 1V0    Canada                    Credit
837   2/13/2019       18:28:38   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550736000~USD           ‐18.15       0    ‐18.15                     ...                                                                         0KK93967D0428683S                                                                                                                                                                                                              0                                                                                     Debit
838   2/13/2019       18:02:24   PST       Thomas Pa Recurring PRefunded                              1 Month Website HostUSD             19   ‐0.85     18.15                     t.pachulski Open     U.S. Personsales@one Open PremU.S. Business Verified   19E33798CInstant      Unverified Thomas Pa Confirmed                                                                                                                                                                       18.15   8068 Woodruff Drive Newaygo MI                  49337 United States               Credit
839   2/13/2019        9:02:46   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550736000~USD           ‐54.45       0    ‐54.45                     ...                                                                         4UK19835KB155681U                                                                                                                                                                                                              0                                                                                     Debit
840   2/13/2019        8:57:53   PST       Brent KleinRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     kleinbail@gOpen      U.S. Personsales@one Open PremU.S. Business Verified   21322182SInstant      Unverified Brent KleinConfirmed                                                                                                                                                                      54.45   2562 Marblehead Dr Sarasota FL                  34231 United States               Credit
841   2/13/2019        6:26:16   PST       Christine R Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     droussopo Open       U.S. Personsales@one Open PremU.S. Business Verified   9YF39832HInstant      Unverified Christine R Confirmed                                                                                                                                                                      36.3   2825 Terra Unit 1602 Palmetto FL                34221 United States               Credit
842   2/13/2019        6:11:04   PST       James HarnRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     jrh8999@gOpen        U.S. Personsales@one Open PremU.S. Business Verified   58W09921 Instant      Verified James HarnConfirmed                                                                                                                                                                         18.15   6321 113thApt 1402 Seminole FL                  33772 United States               Credit
843   2/13/2019        5:03:45   PST       ...          WithdrawaCompleted                            ~@~CLD:1550736000~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                         1ES11073J Credit Card [Unknown]                                                                                                                                                                                                0                                                                                     Debit
844   2/13/2019        4:15:01   PST       Marvin Cle Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     mclevenge Open       U.S. Personsales@one Open PremU.S. Business Verified   02K00419RInstant      Unverified Marvin Cle Confirmed                                                                                                                                                                      18.15   2313 W.Cambridge Dr Muncie        IN            47304 United States               Credit
845   2/13/2019        3:57:24   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550736000~USD            ‐36.3       0     ‐36.3                     ...                                                                         04D169857A722323K                                                                                                                                                                                                              0                                                                                     Debit
846   2/13/2019        2:44:44   PST       Nancy Had Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     hadleyn1@Open        U.S. Personsales@one Open PremU.S. Business Verified   03D19329JInstant      Verified Nancy Had Confirmed                                                                                                                                                                          36.3   5613 Key Largo Ct     Bradenton FL              34203 United States               Credit
847   2/13/2019        2:29:11   PST       Rose Lee B Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     mlblaze@yOpen        U.S. Personsales@one Open PremU.S. Business Verified   1HX73702GInstant      Verified Rose Lee B Confirmed                                                                                                                                                                        18.15   1506 w. henderson st. chicago IL                60657 United States               Credit
848   2/12/2019       13:34:28   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550736000~USD           ‐18.15       0    ‐18.15                     ...                                                                         6TN41574E76091826                                                                                                                                                                                                              0                                                                                     Debit
849   2/12/2019       13:33:07   PST       Margaret WRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     pegmcnamOpen         U.S. Personsales@one Open PremU.S. Business Verified   7TA34504XInstant      Unverified Margaret SConfirmed                                                                                                                                                                       18.15   1316 Howard St         Petoskey MI              49770 United States               Credit
850   2/12/2019       11:29:32   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550736000~USD           ‐18.15       0    ‐18.15                     ...                                                                         3TN35095PJ4327904                                                                                                                                                                                                              0                                                                                     Debit
851   2/12/2019        7:34:54   PST       mike chart Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     sarasotamcOpen       U.S. Personsales@one Open PremU.S. Business Verified   0CX969603Instant      Verified mike chart Confirmed                                                                                                                                                                        18.15   4802 51st. Unit 103    Bradenton FL             34210 United States               Credit
852   2/12/2019        5:43:54   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550736000~USD           ‐18.15       0    ‐18.15                     ...                                                                         6P968737N2298920H                                                                                                                                                                                                              0                                                                                     Debit
853   2/12/2019        3:00:30   PST       michael go Recurring PCompleted                            1 Month W47.202.170USD              19   ‐0.85     18.15                     goodmike5Open        U.S. PersonSales@oneOpen PremU.S. Business Verified    72648390DInstant      Verified michael go Confirmed                                                                                                                                                                        18.15   705 89th court NW      bradenton FL             34209 United States               Credit
854   2/11/2019       12:51:05   PST       ...          Withdraw Completed WELLS FAR       9888                            USD        ‐45.34       0    ‐45.34                     ...                                                                         5G620485EA895854V                                                                                                                                                                                                              0                                                                                     Debit
855   2/11/2019       12:50:07   PST       DROB TECHMobile PayCompleted                                                    USD            47   ‐1.66     45.34 Affiliate           drob.tech1 Open PremU.S. Businesales@one Open PremU.S. Business Verified    44R406542Instant      Verified DROB TECHConfirmed                                                                                                                                                                          45.34   197 PARK SIDE DRIVE SUFFERN NY                  10901 United States               Credit
856   2/11/2019        9:34:31   PST       ...          Withdraw Completed WELLS FAR       9888                            USD        ‐18.15       0    ‐18.15                     ...                                                                         86R87535C88997723                                                                                                                                                                                                              0                                                                                     Debit
857   2/11/2019        7:05:43   PST       tkshoppingRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     simplyist@Open PremU.S. Businesales@one Open PremU.S. Business Verified     8TL503296 Instant     Verified tkshoppingConfirmed                                                                                                                                                                         18.15   48 Lyman St            Worcester MA              1603 United States               Credit
858   2/11/2019        6:30:09   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1550131200~USD            86.83       0     86.83                     ...                                                                         1CH149188Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                    1RB17258324242417                             141.28                                                                                     Credit
859   2/11/2019        6:30:09   PST       Upwork Es PreapproveCompleted                              Upwork Services      USD       ‐141.28       0   ‐141.28                     Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified      1RB172583Instant Tra Verified                           Upwork Services          0             0                                                                                     AE8398879D8573680                         0                                                                                     Debit    PayPal_SDK
860   2/11/2019        5:28:05   PST       Laurie PageRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     laurie.eb.p Open     U.S. Personsales@one Open PremU.S. Business Verified   2JL19019R Instant     Verified Laurie PageConfirmed                                                                                                                                                                        54.45   936 145th Street CircleBradenton FL             34212 United States               Credit
861   2/11/2019        5:17:06   PST       Sabine FulkRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     splanet69@Open PremU.S. Businesales@one Open PremU.S. Business Verified     0P526056LInstant      Verified Sabine FulkConfirmed                                                                                                                                                                         36.3   5728 28th St E         Bradenton FL             34203 United States               Credit
862   2/11/2019        2:11:58   PST       Cain Cain Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     cinsweet64Open       U.S. Personsales@one Open PremU.S. Business Verified   6EU26865PInstant      Unverified Cain Cain, 8Confirmed                                                                                                                                                                     18.15   816 64th ave Dr E      Bradenton FL             34203 United States               Credit
863   2/10/2019       11:14:20   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD            ‐36.3       0     ‐36.3                     ...                                                                         6XF03758RS258835K                                                                                                                                                                                                              0                                                                                     Debit
864   2/10/2019       10:39:26   PST       Jaco tours Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     MINTO179 Open PremU.S. Businesales@one Open PremU.S. Business Verified      2Y774263TInstant      Unverified Michael M Confirmed                                                                                                                                                                        36.3   2151 N State Road 7 Margate FL               33063‐571 United States              Credit
865   2/10/2019        6:34:38   PST       David CancRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     vipr1960@Open        U.S. Personsales@one Open PremU.S. Business Verified   1LE57113JWInstant     Unverified David CancConfirmed                                                                                                                                                                       18.15   1120 53rd Ave E Lot 12Bradenton FL              34203 United States               Credit
866   2/10/2019        5:00:22   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD           ‐54.45       0    ‐54.45                     ...                                                                         2VT797637L192930D                                                                                                                                                                                                              0                                                                                     Debit
867   2/10/2019        4:42:34   PST       K&M enterRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     kkmkx3@g Open PremU.S. Businesales@one Open PremU.S. Business Verified      6XE61856EInstant      Verified K&M enterConfirmed                                                                                                                                                                          54.45   2215 4th St SW        Ruskin      FL            33570 United States               Credit
868   2/10/2019        4:00:51   PST       Kenneth Je Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     cowboyswiOpen        U.S. Personsales@one Open PremU.S. Business Verified   8KG995440Instant      Verified Kenneth Je Confirmed                                                                                                                                                                         36.3   4314 Douglas Hill Pl Parrish      FL            34219 United States               Credit
869   2/10/2019        2:06:19   PST       Eddo Butle Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     shortfolks5Open      U.S. Personsales@one Open PremU.S. Business Verified   3FJ360653 Instant     Unverified Eddo Butle Confirmed                                                                                                                                                                      18.15   1883 Briar Creek PlaceSarasota    FL            34235 United States               Credit
870    2/9/2019        7:41:15   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD           ‐18.15       0    ‐18.15                     ...                                                                         75U30749P26073342                                                                                                                                                                                                              0                                                                                     Debit
871    2/9/2019        6:14:59   PST       Shirley McLRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     sam7330@Open         U.S. Personsales@one Open PremU.S. Business Verified   8KW84454 Instant      Unverified Shirley McLConfirmed                                                                                                                                                                      18.15   4034 Cochise Terrace Sarasota     FL            34233 United States               Credit
872    2/9/2019        5:37:40   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD            ‐36.3       0     ‐36.3                     ...                                                                         7VN07166T8911764D                                                                                                                                                                                                              0                                                                                     Debit
873    2/9/2019        5:13:11   PST       Robert BelaRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     rbelanger7 Open      U.S. Personsales@one Open PremU.S. Business Verified   2EP34965YInstant      Unverified Robert BelaConfirmed                                                                                                                                                                       36.3   2239 Sifield Greens W Sun City CeFL             33573 United States               Credit
874    2/9/2019        5:09:28   PST       Frank T Cle Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     clemenf@gOpen PremU.S. Premiesales@one Open PremU.S. Business Verified      0AM98917Instant       Verified frank clemeConfirmed                                                                                                                                                                        18.15   6730 283rd Street Eas Myakka CitFL              34251 United States               Credit
875    2/9/2019        5:01:01   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD           ‐18.15       0    ‐18.15                     ...                                                                         22490402A0788125Y                                                                                                                                                                                                              0                                                                                     Debit
876    2/9/2019        2:40:27   PST       Michael M Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     mikemirab Open       U.S. Personsales@one Open PremU.S. Business Verified   6Y0775998Instant      Unverified Michael M Confirmed                                                                                                                                                                       18.15   5536 42nd Street East Bradenton FL              34203 United States               Credit
877    2/8/2019        9:55:22   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD           ‐18.15       0    ‐18.15                     ...                                                                         3YB091887E760791U                                                                                                                                                                                                              0                                                                                     Debit
878    2/8/2019        7:25:05   PST       Loreen HouRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     hcody3@y Open        U.S. Personsales@one Open PremU.S. Business Verified   23E746883Instant      Verified Loreen HouConfirmed                                                                                                                                                                         18.15   20017 Oakdale Ave      Brooksville FL           34601 United States               Credit
879    2/8/2019        7:21:40   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD           ‐67.26       0    ‐67.26                     ...                                                                         9DX656221Y434412S                                                                                                                                                                                                              0                                                                                     Debit
880    2/8/2019        6:50:50   PST       Giosia MogRecurring PCompleted                             1 Month Website HostUSD           13.5   ‐0.69     12.81                     giosiam@gOpen PremU.S. Businesales@one Open PremU.S. Business Verified      3F9273168Instant      Verified Casa Bella, Confirmed                                                                                                                                                                       67.26   431 9th St            West EastoPA              18042 United States               Credit
881    2/8/2019        6:44:28   PST       richard joh Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     knightriderOpen PremU.S. Premiesales@one Open PremU.S. Business Verified    2RA081791Instant      Verified Richard JohConfirmed                                                                                                                                                                        54.45   1207 Caloosa Creek CtSun City CeFL           33573‐487 United States              Credit
882    2/8/2019        6:27:14   PST       Barbara KuRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     barb49kue Open PremU.S. Premiesales@one Open PremU.S. Business Verified     97732747HInstant      Verified Barbara KuConfirmed                                                                                                                                                                          36.3   8925 SW 171ST ST      PALMETTOFL                33157 United States               Credit
883    2/8/2019        5:51:19   PST       John WyattRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     milumjak@Open        U.S. Personsales@one Open PremU.S. Business Verified   4FE350756Instant      Verified John WyattConfirmed                                                                                                                                                                         18.15   980 7th St NW, Lot 66 Largo     FL              33770 United States               Credit
884    2/8/2019        4:54:17   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD            ‐36.3       0     ‐36.3                     ...                                                                         2RN13434XU7752612                                                                                                                                                                                                              0                                                                                     Debit
885    2/8/2019        4:42:06   PST       Kevin ChrisRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jlchristmanLocked    U.S. Premiesales@one Open PremU.S. Business Verified   9VG12848DInstant      Verified Kevin ChrisConfirmed                                                                                                                                                                         36.3   2105 12th Ave W        Bradenton FL             34205 United States               Credit
886    2/8/2019        3:50:06   PST       Leo LozeauRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     llozeau442 Open      U.S. Personsales@one Open PremU.S. Business Verified   51G859494Instant      Unverified Leo LozeauConfirmed                                                                                                                                                                       18.15   47 Larkspur Ave        Palmetto FL              32444 United States               Credit
887    2/7/2019       10:24:53   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD            ‐36.3       0     ‐36.3                     ...                                                                         9SJ31058Y5845722Y                                                                                                                                                                                                              0                                                                                     Debit
888    2/7/2019       10:04:20   PST       Christine Y Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     marc.worleOpen       U.S. Personsales@one Open PremU.S. Business Verified   2L6239787Instant      Unverified Christine Y Confirmed                                                                                                                                                                      36.3   4604 49th St N ‐ Unit 1Saint Peter FL           33709 United States               Credit
889    2/7/2019        3:24:09   PST       Amber Wh Recurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     jorgenel15 Open      U.S. Personsales@one Open PremU.S. Business Verified   7PR323700Instant      Unverified Amber Wh Confirmed                                                                                                                                                                        18.15   2827 22nd St W         Bradenton FL             34207 United States               Credit
890    2/6/2019       15:44:50   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD           ‐18.15       0    ‐18.15                     ...                                                                         92302166HA603264B                                                                                                                                                                                                              0                                                                                     Debit
891    2/6/2019       15:27:34   PST       Jack Coury Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jcoury@tamOpen       U.S. Personsales@one Open PremU.S. Business Verified   3KG324228Instant      Verified Jack Coury,Confirmed                                                                                                                                                                        18.15   4550 PinebApt. 601     Bradenton FL             34209 United States               Credit
892    2/6/2019       12:38:14   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD           ‐18.15       0    ‐18.15                     ...                                                                         6JD04060GN308661H                                                                                                                                                                                                              0                                                                                     Debit
893    2/6/2019       11:41:21   PST       Russell Par Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     rjp0122@s Open       U.S. Personsales@one Open PremU.S. Business Verified   4C1736717Instant      Verified Russell Par Confirmed                                                                                                                                                                       18.15   2019 S Bayou Dr        Ruskin     FL            33570 United States               Credit
894    2/6/2019        5:23:37   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD           ‐54.45       0    ‐54.45                     ...                                                                         3AU51915BT693873B                                                                                                                                                                                                              0                                                                                     Debit
895    2/6/2019        4:57:02   PST       Susan kelseRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     kelsey1948Open       U.S. Personsales@one Open PremU.S. Business Verified   1GF93748HInstant      Unverified Susan kelseConfirmed                                                                                                                                                                      54.45   18939 W Maple          InterlochenMI            49643 United States               Credit
896    2/6/2019        4:54:18   PST       Elaine GrenRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     efgrenier@Open       U.S. Personsales@one Open PremU.S. Business Verified   22M29031 Instant      Unverified Elaine GrenConfirmed                                                                                                                                                                       36.3   6633 53rd Ave E        Bradenton FL             34203 United States               Credit
897    2/6/2019        2:37:31   PST       Scott Lurgi Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     tazlurgio@ Open PremU.S. Premiesales@one Open PremU.S. Business Verified    2GS73879J Instant     Verified Scott Lurgi Confirmed                                                                                                                                                                       18.15   11305 30th CV E        Parrish    FL            34219 United States               Credit
898    2/4/2019       16:11:09   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD           ‐18.15       0    ‐18.15                     ...                                                                         3971011845270125C                                                                                                                                                                                                              0                                                                                     Debit
899    2/4/2019       16:08:28   PST       Penny RowRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     prow6@ya Open        U.S. Personsales@one Open PremU.S. Business Verified   0PK11738YInstant      Unverified Penny RowConfirmed                                                                                                                                                                        18.15   9852 Moorhen Dr.       Lakeland FL              33810 United States               Credit
900    2/4/2019       15:34:19   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD           ‐18.15       0    ‐18.15                     ...                                                                         3BU20471CJ651415M                                                                                                                                                                                                              0                                                                                     Debit
901    2/4/2019       15:26:36   PST       Key West MRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     tim.greene Open PremU.S. Businesales@one Open PremU.S. Business Verified    03H072357Instant      Verified Key West MConfirmed                                                                                                                                                                         18.15   701 Spanish Main Dr 4Cudjoe KeyFL               33042 United States               Credit
902    2/4/2019        6:34:29   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD           ‐54.45       0    ‐54.45                     ...                                                                         7P888319FN672673M                                                                                                                                                                                                              0                                                                                     Debit
903    2/4/2019        5:32:17   PST       victor ibarrRecurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     vimiza80@Open PremU.S. Premiesales@one Open PremU.S. Business Verified      5U6793258Instant      Unverified victor ibarrConfirmed                                                                                                                                                                     54.45   3644 WOODMONT DRSARASOTA FL                     34232 United States               Credit
904    2/4/2019        5:24:36   PST       Timothy M Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     timberrr21 Open      U.S. Personsales@one Open PremU.S. Business Verified   23J320816 Instant     Unverified Timothy M Confirmed                                                                                                                                                                        36.3   1064 East Manatee Bradenton FL                  34208 United States               Credit
905    2/4/2019        5:10:20   PST       PETE A RU Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     EQUITYTOOOpen        U.S. Personsales@one Open PremU.S. Business Verified   2TP23630L Instant     Unverified LARA RUTSConfirmed                                                                                                                                                                        18.15   555 95th Street OceanMarathon FL                33050 United States               Credit
906    2/4/2019        4:34:02   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD           ‐90.75       0    ‐90.75                     ...                                                                         6HV335115E880491D                                                                                                                                                                                                              0                                                                                     Debit
907    2/4/2019        4:14:09   PST       Debbie Nic Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     DarlindebeOpen       U.S. Personsales@one Open PremU.S. Business Verified   63H80102YInstant      Verified Deborah MConfirmed                                                                                                                                                                          90.75   33710 Union Court Westland MI                   48186   United States             Credit
908    2/4/2019        3:58:52   PST       Larry BealeRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     lsbeale59@Open       U.S. Personsales@one Open PremU.S. Business Verified   3CA49222DInstant      Unverified Larry BealeConfirmed                                                                                                                                                                       72.6   218 ROYAL BONNET D APOLLO BEFL                  33572   United States             Credit
909    2/4/2019        3:14:57   PST       Kenneth RoRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     kcr02bebo Open       U.S. Personsales@one Open PremU.S. Business Verified   73X189926Instant      Unverified Kenneth RoConfirmed                                                                                                                                                                       54.45   9425 Forest Hills Cir Sarasota FL               34238   United States             Credit
910    2/4/2019        2:29:18   PST       william barRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     whbjr58@cOpen        U.S. Personsales@one Open PremU.S. Business Verified   4LD96936XInstant      Unverified william barConfirmed                                                                                                                                                                       36.3   9860 Grackle Loop     Lakeland FL               33810   United States             Credit
911    2/4/2019        2:14:39   PST       Ronald GauRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     ghansome1Open        U.S. Personsales@one Open PremU.S. Business Verified   6UM77718Instant       Unverified Ronald GauConfirmed                                                                                                                                                                       18.15   4729 Loma Grande Dr El Paso    TX               79934   United States             Credit
912    2/3/2019       13:15:25   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD           ‐44.07       0    ‐44.07                     ...                                                                         0AG23115K34886812                                                                                                                                                                                                              0                                                                                     Debit
913    2/3/2019       13:11:42   PST       joe young Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     dr.feelgoodOpen      U.S. Personsales@one Open PremU.S. Business Verified   24W05461 Instant      Unverified joe young, Confirmed                                                                                                                                                                      44.07   1528 SE Ohio Ave    Arcadia       FL            34266 United States               Credit
914    2/3/2019       12:32:45   PST       Tom Burlin Recurring PCompleted                            1 Month Website HostUSD             27   ‐1.08     25.92                     tommyeb1 Open        U.S. Personsales@one Open PremU.S. Business Verified   9F294429S Instant     Unverified Tom Burlin Confirmed                                                                                                                                                                      25.92   1150 10TH PO BOX 26 Buffalo       MN            55313 United States               Credit
915    2/3/2019        9:54:38   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD           ‐18.15       0    ‐18.15                     ...                                                                         5B8507625K891180V                                                                                                                                                                                                              0                                                                                     Debit
916    2/3/2019        9:47:23   PST       Gregory VaRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     pmac1@ptOpen         U.S. Personsales@one Open PremU.S. Business Verified   09V95775BInstant      Unverified Gregory VaConfirmed                                                                                                                                                                       18.15   4215 Long Lake Drive SEllenton    FL            34222 United States               Credit
917    2/3/2019        8:46:11   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD            ‐36.3       0     ‐36.3                     ...                                                                         110416070H273911E                                                                                                                                                                                                              0                                                                                     Debit
918    2/3/2019        8:31:07   PST       Michael PeRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     mjp51@sb Open        U.S. Personsales@one Open PremU.S. Business Verified   4NA82083YInstant      Unverified Michael PeConfirmed                                                                                                                                                                        36.3   10726 New Buffalo RoNorth LimaOH                44452 United States               Credit
919    2/3/2019        7:05:53   PST       Ken GiffordRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     wd4nkz@mOpen PremU.S. Premiesales@one Open PremU.S. Business Verified       12X40851WInstant      Verified Ken GiffordConfirmed                                                                                                                                                                        18.15   6515 15th St. E. Lot D‐ Sarasota FL             34243 United States               Credit
920    2/3/2019        4:52:53   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD            ‐72.6       0     ‐72.6                     ...                                                                         9CP431193F480912H                                                                                                                                                                                                              0                                                                                     Debit
921    2/3/2019        4:36:10   PST       JAMES CLA Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     jclark4750@ Open PremU.S. Premiesales@one Open PremU.S. Business Verified   1CF25408CInstant      Unverified JAMES CLA Confirmed                                                                                                                                                                        72.6   3506 Avenida Madera Bradenton FL                34210 United States               Credit
922    2/3/2019        4:34:43   PST       Robert Gib Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     rswimmer@Open        U.S. Personsales@one Open PremU.S. Business Verified   99310568PInstant      Unverified Robert Gib Confirmed                                                                                                                                                                      54.45   10514 Sleepy Orange CRiverview FL               33578 United States               Credit
923    2/3/2019        4:30:44   PST       Chris Huff Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     Chrisluvs2sClosed    U.S. Personsales@one Open PremU.S. Business Verified   7W697364 Instant      Unverified Chris Huff, Confirmed                                                                                                                                                                      36.3   801 Willow Brook Dr. Warren OH                  44483 United States               Credit
924    2/3/2019        3:45:58   PST       Michelle WRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     michelle.w Open      U.S. Personsales@one Open PremU.S. Business Verified   72G18839LInstant      Verified Michelle WConfirmed                                                                                                                                                                         18.15   2315 124th dr e      Parrish   FL               34219 United States               Credit
925    2/2/2019       13:20:57   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD           ‐18.15       0    ‐18.15                     ...                                                                         470457540K9989919                                                                                                                                                                                                              0                                                                                     Debit
                                                                                         Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 50 of 460 PageID 127

       A            B                    C       D           E          F          G         H      I       J        K            L     M        N          O          P      Q   R       S         T          U          V         W          X          Y         Z         AA         AB        AC         AD         AE        AF         AG      AH   AI   AJ       AK     AL   AM   AN   AO   AP   AQ   AR   AS   AT   AU   AV     AW        AX      AY    AZ   BA         BB           BC           BD         BE           BF      BG         BH           BI   BJ      BK    BL   BM   BN
 926     2/2/2019       12:27:12   PST       Jasmine RivRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     jasmineriveOpen         U.S. Personsales@one Open PremU.S. Business Verified 5LK63686S Instant     Unverified Jasmine RivConfirmed                                                                                                                                                          18.15   711 22nd Ave W          Bradenton FL             34205 United States               Credit
 927     2/2/2019        9:42:10   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD            ‐36.3       0      ‐36.3                     ...                                                                          96U35137D3741210Y                                                                                                                                                                                                  0                                                                                      Debit
 928     2/2/2019        9:37:37   PST       KG CommuRecurring PCompleted                               1 Month Website HostUSD             19   ‐0.85      18.15                     kim@kgcomOpen PremU.S. Businesales@one Open PremU.S. Business Verified 2NN57270 Instant            Verified KG CommuConfirmed                                                                                                                                                                36.3   20 Gilbert Dr.          Glenwood NJ               7418 United States               Credit
 929     2/2/2019        9:36:07   PST       Brian RolphRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     brolph1@cOpen           U.S. Personsales@one Open PremU.S. Business Verified 8RA243852Instant      Unverified Brian RolphConfirmed                                                                                                                                                          18.15   4505 Cernala Court      Venice   FL              34293 United States               Credit
 930     2/2/2019        7:17:33   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD           ‐18.15       0     ‐18.15                     ...                                                                          0PF67800T30632832                                                                                                                                                                                                  0                                                                                      Debit
 931     2/2/2019        7:07:58   PST       David Kato Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     dkatona94 Open          U.S. Personsales@one Open PremU.S. Business Verified 6MF63631 Instant      Unverified David Kato Confirmed                                                                                                                                                          18.15   4411 B 101st West       Bradenton FL             34210 United States               Credit
 932     2/2/2019        4:48:15   PST       ...          WithdrawaCompleted                            ~@~CLD:1550131200~USD           ‐181.5   ‐1.82    ‐179.68                     ...                                                                          8N983134DCredit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
 933     2/2/2019        4:43:28   PST       SHEILA CISCRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     SCISCO77@Open           U.S. Personsales@one Open PremU.S. Business Verified 9EF49733CInstant      Unverified Sheila Knig Confirmed                                                                                                                                                         181.5   6914 COCONUT GROVELLENTON FL                     34222 United States               Credit
 934     2/2/2019        4:29:20   PST       George GiuRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     ggiunta600Open          U.S. Personsales@one Open PremU.S. Business Verified 3XJ00756MInstant      Unverified George GiuConfirmed                                                                                                                                                          163.35   1646 Serrano Circle Naples      FL               34105 United States               Credit
 935     2/2/2019        3:47:30   PST       Vicki Hall Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     mtlmaidn@Open PremU.S. Premiesales@one Open PremU.S. Business Verified 3RJ00928UInstant            Verified Vicki Hall, 2Confirmed                                                                                                                                                          145.2   2105 47th Street PlaceBradenton FL               34209 United States               Credit
 936     2/2/2019        3:34:33   PST       Teddy Und Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     twu.1968@Open           U.S. Personsales@one Open PremU.S. Business Verified 2SG186869Instant      Unverified Teddy Und Confirmed                                                                                                                                                          127.05   5238 Foxcroft Ct.     Sarasota FL                34232 United States               Credit
 937     2/2/2019        3:20:52   PST       Bryan GravRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     byrangraveOpen          U.S. Personsales@one Open PremU.S. Business Verified 9C1160963Instant      Unverified Bryan GravConfirmed                                                                                                                                                           108.9   407 46st St W         Palmetto FL                34221 United States               Credit
 938     2/2/2019        3:09:31   PST       Gale Tycz Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     gftycz@gmOpen           U.S. Personsales@one Open PremU.S. Business Verified 5G684600FInstant      Unverified Gale Tycz, Confirmed                                                                                                                                                          90.75   25 Carriage Drive     Durham CT                   6422 United States               Credit
 939     2/2/2019        2:27:05   PST       JOYCARE SeRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     joyfully4jesOpen PremU.S. Businesales@one Open PremU.S. Business Verified 73P13601CInstant         Verified Joy Coblen Confirmed                                                                                                                                                             72.6   1900 7th Ave W        Palmetto FL             34221‐311 United States              Credit
 940     2/2/2019        2:25:01   PST       Marco PineRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     gmag1968@    Restricted U.S. Personsales@one Open PremU.S. Business Verified 0ET45612WInstant      Unverified Marco PineConfirmed                                                                                                                                                           54.45   1225 s c st           Lake WorthFL               33460 United States               Credit
 941     2/2/2019        2:24:03   PST       Damon WaRecurring PCompleted                               1 Month Website HostUSD             19   ‐0.85      18.15                     yatahay54@   Open       U.S. Personsales@one Open PremU.S. Business Verified 6VM88117 Instant      Unverified Damon WaConfirmed                                                                                                                                                              36.3   2616 36 Ave W         Bradenton FL               34205 United States               Credit
 942     2/2/2019        2:04:47   PST       William MuRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     billclinic@aOpen PremU.S. Premiesales@one Open PremU.S. Business Verified 1PA19857UInstant         Verified WILLIAM DConfirmed                                                                                                                                                              18.15   17 Nashua RD          Pepperell MA                1463 United States               Credit
 943     2/1/2019       22:07:46   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1550131200~USD           ‐18.15       0     ‐18.15                     ...                                                                          170525995R418645P                                                                                                                                                                                                  0                                                                                      Debit
 944     2/1/2019       21:35:14   PST       Richard MARecurring PCompleted                             1 Month W104.231.10USD              19   ‐0.85      18.15                     steeler111@  Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 3AW20411Instant          Verified Rick Malek Confirmed                                                                                                                                                            18.15   33676 Guilbert Rd       Eastlake   OH         44095‐253 United States              Credit
 945     2/1/2019       16:47:37   PST       ...          WithdrawaCompleted                                                USD         ‐18.15   ‐0.18     ‐17.97                     ...                                                                          3KW71409 Credit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
 946     2/1/2019       16:44:05   PST       Git R Done Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     mhallcoupoRestricted U.S. Businesales@one Open PremU.S. Business Verified 02638618YInstant         Verified Git R Done Confirmed                                                                                                                                                            18.15   2481 Hawthorne rd       Spring hill FL           34609 United States               Credit
 947     2/1/2019       10:40:06   PST       ...          WithdrawaCompleted                                                USD         ‐44.07   ‐0.44     ‐43.63                     ...                                                                          1FN943229Credit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
 948     2/1/2019       10:28:58   PST       Vanessa BaRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     vbazan@mOpen            U.S. Personsales@one Open PremU.S. Business Verified 4BM40745 Instant      Unverified Vanessa M Confirmed                                                                                                                                                           44.07   4701 20th A             Bradenton FL             34207 United States               Credit
 949     2/1/2019       10:01:14   PST       Bobby BlacRecurring PCompleted                             1 Month Website HostUSD             27   ‐1.08      25.92                     bblackwell Closed       U.S. Personsales@one Open PremU.S. Business Verified 01121062NInstant      Unverified Bobby BlacConfirmed                                                                                                                                                           25.92   13001 22nd Ct E         Parrish   FL             34219 United States               Credit
 950     2/1/2019        5:11:50   PST       ...          WithdrawaCompleted                                                USD         ‐54.45   ‐0.54     ‐53.91                     ...                                                                          4M134973 Credit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
 951     2/1/2019        4:33:28   PST       Mark BagleRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     mb308@swOpen            U.S. Personsales@one Open PremU.S. Business Verified 6J5629926 Instant     Verified Mark BagleConfirmed                                                                                                                                                             54.45   5136 Deerf#4         St. Louis MO                63128 United States               Credit
 952     2/1/2019        3:29:23   PST       James Hint Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     tulsachero Open         U.S. Personsales@one Open PremU.S. Business Verified 7SA15942SInstant      Verified James Hint Confirmed                                                                                                                                                             36.3   3007 25th. St. W.    Bradenton FL                34205 United States               Credit
 953     2/1/2019        2:59:21   PST       Ron SchmidRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     ronschmidtOpen          U.S. Personsales@one Open PremU.S. Business Verified 7HX236744Instant      Unverified Ron SchmidConfirmed                                                                                                                                                           18.15   7803 34th Court East Sarasota FL                 34243 United States               Credit
 954    1/31/2019       13:05:30   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1549353600~USD              130       0        130                     ...                                                                          58W59743 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                            5BY32529PB7603818                            130                                                                                      Credit
 955    1/31/2019       13:05:30   PST       Dave JohnsMobile PayCompleted                                                  USD           ‐130       0       ‐130                     Sales@oneOpen PremU.S. BusinedavejohnsoOpen           U.S. Personal Verified 5BY32529PInstant Tra Verified                                                                                                                                                                                      0                                                                                      Debit
 956    1/31/2019        5:51:54   PST       ...          WithdrawaCompleted                            ~@~CLD:1549353600~USD           ‐54.45   ‐0.54     ‐53.91                     ...                                                                          9DL77561MCredit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
 957    1/31/2019        5:33:27   PST       Jeanne Mc Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     fusionhybr Open         U.S. Personsales@one Open PremU.S. Business Verified 4J689572LVInstant     Unverified Jeanne Mc Confirmed                                                                                                                                                           54.45   1242 West Del Webb BSun City CeFL                33573 United States               Credit
 958    1/31/2019        5:32:17   PST       Heather OwRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     heatherjac Open         U.S. Personsales@one Open PremU.S. Business Verified 6KE20052L Instant     Unverified HEATHER J Confirmed                                                                                                                                                            36.3   1882 Vamo Dr        SARASOTA FL               34231‐772 United States              Credit
 959    1/31/2019        3:41:59   PST       Harry Spar Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     e411team@Open           U.S. Personsales@one Open PremU.S. Business Verified 74C035512Instant      Unverified Harry Spar Confirmed                                                                                                                                                          18.15   4008 Colter Court   Kokomo IN                    46902 United States               Credit
 960    1/30/2019        7:52:28   PST       ...          WithdrawaCompleted                            ~@~CLD:1549353600~USD           ‐18.15   ‐0.18     ‐17.97                     ...                                                                          72B144371Credit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
 961    1/30/2019        7:42:58   PST       Charlotte SRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     csaise_sdp Open         U.S. Personsales@one Open PremU.S. Business Verified 7AR841090Instant      Unverified Charlotte SConfirmed                                                                                                                                                          18.15   102 3rd Ave Se          Ruskin     FL            33570 United States               Credit
 962    1/30/2019        6:56:44   PST       ...          WithdrawaCompleted                            ~@~CLD:1549353600~USD           ‐54.45   ‐0.54     ‐53.91                     ...                                                                          49Y87863MCredit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
 963    1/30/2019        6:28:00   PST       Joanne Luc Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     jojolucibell Open       U.S. Personsales@one Open PremU.S. Business Verified 77H97168WInstant      Unverified Joanne Luc Confirmed                                                                                                                                                          54.45   2924 Maximo Road North Port FL                   34286 United States               Credit
 964    1/30/2019        6:22:37   PST       Suzanne MRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85      18.15                     SuzannecmOpen           U.S. Personsales@one Open PremU.S. Business Verified 2UK85777HInstant      Unverified Suzanne MConfirmed                                                                                                                                                             36.3   PO Box 1288           Bradenton FL               34206 United States               Credit
 965    1/30/2019        6:17:15   PST       Leah Clend Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     rioflora@g Open         U.S. Personsales@one Open PremU.S. Business Verified 79W98918 Instant      Unverified Leah Clend Confirmed                                                                                                                                                          18.15   799 Pinellas Pt Dr So Saint Peter FL             33705 United States               Credit
 966    1/30/2019        5:53:00   PST       ...          WithdrawaCompleted                            ~@~CLD:1549353600~USD            ‐36.3   ‐0.36     ‐35.94                     ...                                                                          8C439743VCredit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
 967    1/30/2019        5:38:51   PST       Samantha Recurring PCompleted                              1 Month Website HostUSD             19   ‐0.85      18.15                     smjpt70@gOpen           U.S. Personsales@one Open PremU.S. Business Verified 2EE54952J Instant     Verified Samantha Confirmed                                                                                                                                                               36.3   7504 Morning Side Dr Ellenton FL                 34222 United States               Credit
 968    1/30/2019        5:27:27   PST       eugene ZepRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     hhfz137@cOpen           U.S. Personsales@one Open PremU.S. Business Verified 0PF58103VInstant      Unverified eugene ZepConfirmed                                                                                                                                                           18.15   5605 Key Largo Ct.   Bradenton FL                34203 United States               Credit
 969    1/30/2019        5:15:24   PST       ...          WithdrawaCompleted                            ~@~CLD:1549353600~USD           ‐54.45   ‐0.54     ‐53.91                     ...                                                                          5BE676264Credit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
 970    1/30/2019        4:20:15   PST       Donald Kni Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     jndknight@Open PremU.S. Premiesales@one Open PremU.S. Business Verified 1VN14122TInstant           Verified Donald Kni Confirmed                                                                                                                                                            54.45   12908 Maple St        Highland IL                62249 United States               Credit
 971    1/30/2019        4:03:22   PST       Scott Hall Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     scotthall.phOpen        U.S. Personsales@one Open PremU.S. Business Verified 30X377029Instant      Unverified Scott Hall, Confirmed                                                                                                                                                          36.3   18034 Malakai Isle Dr Tampa     FL               33647 United States               Credit
 972    1/30/2019        3:02:35   PST       joseph randRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     ringkking@Open          U.S. Personsales@one Open PremU.S. Business Verified 22R48601MInstant      Verified Joseph RanConfirmed                                                                                                                                                             18.15   116 Bridge St         Bradenton FL            34217‐243 United States              Credit
 973    1/29/2019       20:50:58   PST       ...          WithdrawaCompleted                            ~@~CLD:1549353600~USD           ‐18.15   ‐0.18     ‐17.97                     ...                                                                          0GM06470Credit Card [Unknown]                                                                                                                                                                                      0                                                                                      Debit
 974    1/29/2019       19:17:20   PST       Joyce Barn Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     Jbar3774@Open           U.S. Personsales@one Open PremU.S. Business Verified 7DJ802331Instant      Verified Joyce Barn Confirmed                                                                                                                                                            18.15   2525 Gulf City Road     Ruskin     FL            33570 United States               Credit
 975    1/29/2019        7:48:11   PST       ...          WithdrawaCompleted                            ~@~CLD:1549353600~USD           ‐33.68   ‐0.34     ‐33.34                     ...                                                                          05999382VCredit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
 976    1/29/2019        7:33:43   PST       Julie Webe Recurring PCompleted                            1 Month Website HostUSD             35   ‐1.32      33.68                     julieweb@ Open          U.S. Personsales@one Open PremU.S. Business Verified 5B187916SInstant      Unverified Julie Webe Confirmed                                                                                                                                                          33.68   2736 58th Place N       Saint Peter FL           33714 United States               Credit
 977    1/29/2019        5:53:14   PST       ...          WithdrawaCompleted                            ~@~CLD:1549353600~USD           ‐17.86   ‐0.18     ‐17.68                     ...                                                                          2TT727038Credit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
 978    1/29/2019        2:50:55   PST       lynda notleRecurring PCompleted                            1 Month Website HostUSD             19   ‐1.14      17.86                     lynda4348@   Open       U.K. Personsales@one Open PremU.S. Business Verified 0TE593933Instant      Non‐U.S. ‐ Mrs Lynda Confirmed                                                                                                                                                           17.86   135 Foxholes Road       Poole                 BH15 3NE United Kingdom              Credit
 979    1/28/2019       20:53:48   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1548921600~USD              100       0        100                     ...                                                                          1EM35832 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                            4AJ61830J9879192C                            100                                                                                      Credit
 980    1/28/2019       20:53:48   PST       alonso garzMobile PayCompleted                             ~@~CLD:1548921600~USD             ‐100       0       ‐100                     Sales@oneOpen PremU.S. Businealonsojr113Open          U.S. Personal Verified 4AJ61830J9Instant Tra Verified                                                                                                                                                                                     0                                                                                      Debit
 981    1/28/2019        7:48:44   PST       ...          WithdrawaCompleted                            ~@~CLD:1548921600~USD           ‐18.15   ‐0.18     ‐17.97                     ...                                                                          80U785481Credit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
 982    1/28/2019        7:46:45   PST       Jenny Lyde Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     templeton Open          U.S. Personsales@one Open PremU.S. Business Verified 9EE249432Instant      Unverified Jenny Tem Confirmed                                                                                                                                                           18.15   620 Bowsp Country CluLongboat KFL                34228 United States               Credit
 983    1/28/2019        6:45:33   PST       ...          WithdrawaCompleted                            ~@~CLD:1548921600~USD           ‐18.15   ‐0.18     ‐17.97                     ...                                                                          8FD271160Credit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
 984    1/28/2019        6:43:41   PST       pete miran Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     2007telfordOpen         U.S. Personsales@one Open PremU.S. Business Verified 3HH018057Instant      Verified pete miran Confirmed                                                                                                                                                            18.15   1203 3rd st. Circle E   Palmetto FL              34221 United States               Credit
 985    1/28/2019        6:37:21   PST       ...          WithdrawaCompleted                            ~@~CLD:1548921600~USD           ‐18.15   ‐0.18     ‐17.97                     ...                                                                          8CH22502MCredit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
 986    1/28/2019        6:20:36   PST       Ryan WilliaRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     gatorryan.wOpen         U.S. Personsales@one Open PremU.S. Business Verified 7EY61601GInstant      Verified Ryan WilliaConfirmed                                                                                                                                                            18.15   301 60th ST W           BRADENTOFL               34209 United States               Credit
 987    1/28/2019        6:18:44   PST       ...          WithdrawaCompleted                            ~@~CLD:1548921600~USD          ‐124.44   ‐1.24     ‐123.2                     ...                                                                          8R049263HCredit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
 988    1/28/2019        5:57:36   PST       Rebecca ReRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     siervarebecOpen         U.S. Personsales@one Open PremU.S. Business Verified 9PB42756NInstant      Verified Rebecca|C Confirmed                                                                                                                                                            124.44   901 N. Wahneta St. Allentown PENNSYLVA           18109   United States             Credit
 989    1/28/2019        5:39:30   PST       VickiRay Fr Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85      18.15                     vickiray631Open         U.S. Personsales@one Open PremU.S. Business Verified 63789803PInstant      Unverified VickiRay Fr Confirmed                                                                                                                                                        106.29   6311 Carl Shepard Dr Ruskin     FL               33570   United States             Credit
 990    1/28/2019        3:58:03   PST       Margret FisRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     guavagirl.1 Open        U.S. Personsales@one Open PremU.S. Business Verified 71W29971 Instant      Unverified Margret FisConfirmed                                                                                                                                                          88.14   1228 45th Ave Dr East Ellenton FL                34222   United States             Credit
 991    1/28/2019        3:53:40   PST       Larry Sturn Recurring PCompleted                           1 Month Website HostUSD             27   ‐1.08      25.92                     laza1239@Open           U.S. Personsales@one Open PremU.S. Business Verified 05Y155838Instant      Unverified Larry Sturn Confirmed                                                                                                                                                         69.99   811 FreedoApt 302 Sun City CeFL                  33573   United States             Credit
 992    1/28/2019        3:28:44   PST       Ronald L JaRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     rljavner@uOpen          U.S. Personsales@one Open PremU.S. Business Verified 7YY643001Instant      Verified Carole JavnConfirmed                                                                                                                                                            44.07   4904 CREEKSIDE TRL SARASOTA FL                   34243   United States             Credit
 993    1/28/2019        3:17:28   PST       Vera Sprag Recurring PCompleted                            1 Month Website HostUSD             27   ‐1.08      25.92                     spraggie21 Open         U.S. Personsales@one Open PremU.S. Business Verified 1HA08400FInstant      Unverified Vera Sprag Confirmed                                                                                                                                                          25.92   7400 Sunshine SkywaySt. Petersb FL               33711   United States             Credit
 994    1/27/2019       14:28:16   PST       ...          WithdrawaCompleted                            ~@~CLD:1548921600~USD           ‐18.15   ‐0.18     ‐17.97                     ...                                                                          3JW75985JCredit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
 995    1/27/2019       12:51:37   PST       Paul FraileyRecurring PCompleted                           1 Month Website HostUSD             19   ‐0.85      18.15                     pfrailey1@ Open         U.S. Personsales@one Open PremU.S. Business Verified 8L202059J7Instant     Verified Paul FraileyConfirmed                                                                                                                                                           18.15   77‐6488 Maile St        Kailua KonaHI            96740 United States               Credit
 996    1/27/2019       10:07:41   PST       ...          WithdrawaCompleted                            ~@~CLD:1548921600~USD           ‐18.15   ‐0.18     ‐17.97                     ...                                                                          3AL42756FCredit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
 997    1/27/2019        9:21:05   PST       Susan Casil Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85      18.15                     sweetsue_ Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 6DX79280YInstant       Verified Susan Casil Confirmed                                                                                                                                                           18.15   2795 Bay Oaks Drive Sarasota       FL            34234 United States               Credit
 998    1/27/2019        6:25:49   PST       ...          WithdrawaCompleted                            ~@~CLD:1548921600~USD           ‐48.25   ‐0.48     ‐47.77                     ...                                                                          1YP62718RCredit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
 999    1/27/2019        6:00:00   PST       DROB TECHMobile PayCompleted                               ~@~CLD:1548921600~USD               50   ‐1.75      48.25 Affiliate           drob.tech1 Open PremU.S. Businesales@one Open PremU.S. Business Verified 0GS34452LInstant          Verified DROB TECHConfirmed                                                                                                                                                              48.25   197 PARK SIDE DRIVE SUFFERN NY                   10901 United States               Credit
1000    1/27/2019        5:30:32   PST       ...          WithdrawaCompleted                            ~@~CLD:1548921600~USD           ‐44.07   ‐0.44     ‐43.63                     ...                                                                          1L782853GCredit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
1001    1/27/2019        4:58:52   PST       James McKRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85      18.15                     jim.mckinnOpen PremU.S. Premiesales@one Open PremU.S. Business Verified 0M701949 Instant           Verified James McKConfirmed                                                                                                                                                              44.07   5655 Bayview Drive      Seminole FL              33772 United States               Credit
1002    1/27/2019        3:52:06   PST       Harry MartRecurring PCompleted                             1 Month Website HostUSD             27   ‐1.08      25.92                     909.martinOpen          U.S. Personsales@one Open PremU.S. Business Verified 6D9546658Instant      Verified Harry MartConfirmed                                                                                                                                                             25.92   8008 55th St. E         Palmetto FL              34221 United States               Credit
1003    1/26/2019        9:46:34   PST       ...          WithdrawaCompleted                            ~@~CLD:1548921600~USD            ‐36.3   ‐0.36     ‐35.94                     ...                                                                          4H130913ACredit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
1004    1/26/2019        9:15:12   PST       tommy barRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85      18.15                     tomendebeOpen           U.S. Personsales@one Open PremU.S. Business Verified 5X148598VInstant      Verified Tommy Ba Confirmed                                                                                                                                                               36.3   678 Park Cir            Bradenton FL          34207‐216 United States              Credit
1005    1/26/2019        7:37:21   PST       David Ham Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     kitchendes Open         U.S. Personsales@one Open PremU.S. Business Verified 9GT88684MInstant      Unverified David Ham Confirmed                                                                                                                                                           18.15   3812 70th Ave E.        Ellenton FL              34222 United States               Credit
1006    1/26/2019        7:30:28   PST       ...          WithdrawaCompleted                            ~@~CLD:1548921600~USD           ‐51.83   ‐0.52     ‐51.31                     ...                                                                          73P19484PCredit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
1007    1/26/2019        7:23:54   PST       Gregory BeRecurring PCompleted                             1 Month Website HostUSD             35   ‐1.32      33.68                     aebrn57@ Open           U.S. Personsales@one Open PremU.S. Business Verified 8EF49723PInstant      Verified Gregory BeConfirmed                                                                                                                                                             51.83   5934 Easy SUNIT# K25 BRADENTOFL                  34207 United States               Credit
1008    1/26/2019        6:46:16   PST       Linda Whit Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     twinkie172Open          U.S. Personsales@one Open PremU.S. Business Verified 8TP383405Instant      Unverified Linda Whit Confirmed                                                                                                                                                          18.15   506 SE 24th St       Cape Coral FL               33990 United States               Credit
1009    1/26/2019        5:04:24   PST       ...          WithdrawaCompleted                            ~@~CLD:1548921600~USD            ‐72.6   ‐0.73     ‐71.87                     ...                                                                          09246315HCredit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
1010    1/26/2019        5:00:32   PST       Hillary Bell Recurring PCompleted                          1 Month Website HostUSD             19   ‐0.85      18.15                     jnhb6090@Open           U.S. Personsales@one Open PremU.S. Business Verified 35289318DInstant      Verified Hillary Bell Confirmed                                                                                                                                                           72.6   10141 Newminster Lo Ruskin   FL                  33573 United States               Credit
1011    1/26/2019        4:27:18   PST       Fred Nelso Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     fredndiane Open         U.S. Personsales@one Open PremU.S. Business Verified 85001314AInstant      Unverified Fred Nelso Confirmed                                                                                                                                                          54.45   2244 Pier Dr        Ruskin   FL                  33570 United States               Credit
1012    1/26/2019        4:00:15   PST       Wallter Fin Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85      18.15                     wfinkelstei Open        U.S. Personsales@one Open PremU.S. Business Verified 5A238713EInstant      Unverified Wallter Fin Confirmed                                                                                                                                                          36.3   17028 Seaford Way Bradenton FL                   34202 United States               Credit
1013    1/26/2019        3:12:15   PST       RAYMOND Recurring PCompleted                               1 Month Website HostUSD             19   ‐0.85      18.15                     rrrbug@hoOpen PremU.S. Premiesales@one Open PremU.S. Business Verified 9V2089452Instant            Verified RAYMOND Confirmed                                                                                                                                                               18.15   6142 SUMTER DR      BROOKSVILFL                  34602 United States               Credit
1014    1/25/2019        6:37:45   PST       ...          WithdrawaCompleted                            ~@~CLD:1548921600~USD            ‐36.3   ‐0.36     ‐35.94                     ...                                                                          8K444990ACredit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
1015    1/25/2019        6:34:01   PST       Brad Maye Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     beachlife75Open         U.S. Personsales@one Open PremU.S. Business Verified 6HB919520Instant      Verified Courtney MConfirmed                                                                                                                                                              36.3   7049 Chatum Light Ru Bradenton FL                34212 United States               Credit
1016    1/25/2019        5:18:01   PST       jorge yong Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     jorgeca207Open          U.S. Personsales@one Open PremU.S. Business Verified 64T83268CInstant      Unverified jorge yong,Confirmed                                                                                                                                                          18.15   13140 sw 23 st       Miramar FL                  33027 United States               Credit
1017    1/25/2019        5:06:36   PST       ...          WithdrawaCompleted                            ~@~CLD:1548921600~USD           ‐90.75   ‐0.91     ‐89.84                     ...                                                                          6T7214054Credit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
1018    1/25/2019        4:01:07   PST       Rick Roett Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     mrroett@yOpen           U.S. Personsales@one Open PremU.S. Business Verified 3JP545722 Instant     Unverified Rick Roett, Confirmed                                                                                                                                                         90.75   4657 72nd Ct E          Bradenton FL             34203 United States               Credit
1019     1/7/2019        6:36:27   PST                    Invoice RecPaid                                                   USD            905       0        905                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐4TTX‐CVKG‐KX55‐MWUW                                                              0                  0    130                                                                   XL190107WF                 ...                                                                                               Memo
1020   12/25/2018       18:19:36   PST                    Invoice RecPaid                                                   USD          303.6       0      303.6                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐M32Y‐G436‐GTJE‐XVD8                                                              0                  0      0                                                                   XL181226WF                 ...                                                                                               Memo
1021   11/22/2018       15:52:50   PST       FlashstreamInvoice RecPaid                                                     CAD            550       0        550                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐BR9G‐FGL7‐J8NF‐P9Q9                                                            0                  0      0                                                                         54                   ...                                                                                               Memo
1022   11/21/2018       11:59:59   PST       FlashstreamInvoice RecPaid                                                     CAD            550       0        550                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐VQF6‐LPCF‐SPMU‐3QE2                                                            0                  0      0                                                                         51                   ...                                                                                               Memo
1023   11/18/2018        7:06:11   PST       FlashstreamInvoice RecPaid                                                     CAD            375       0        375                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐EL4V‐AX2R‐J4G8‐5P2S                                                            0                  0      0                                                                         50                   ...                                                                                               Memo
1024   11/11/2018        6:50:59   PST       FlashstreamInvoice RecPaid                                                     CAD            375       0        375                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐QP7W‐QD7S‐8K4B‐NTZR                                                            0                  0      0                                                                         47                   ...                                                                                               Memo
1025    11/5/2018        6:51:10   PST       FlashstreamInvoice RecPaid                                                     CAD            375       0        375                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐QAU5‐FN35‐HSSG‐SKBV                                                            0                  0      0                                                                         46                   ...                                                                                               Memo
1026   10/31/2018       16:53:50   PDT       FlashstreamInvoice RecPaid                                                     CAD            375       0        375                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐VPFY‐7G8B‐VZ2Y‐EMZ7                                                            0                  0      0                                                                         43                   ...                                                                                               Memo
1027   10/23/2018       19:10:05   PDT       FlashstreamInvoice RecPaid                                                     CAD            350       0        350                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐E6C6‐DVVT‐CD4F‐KAPJ                                                            0                  0      0                                                                         40                   ...                                                                                               Memo
1028   10/19/2018       14:10:30   PDT       FlashstreamInvoice RecPaid                                                     CAD            200       0        200                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐G5PF‐L7D5‐RFQ6‐5NDK                                                            0                  0      0                                                                         36                   ...                                                                                               Memo
1029   10/13/2018       13:52:00   PDT       FlashstreamInvoice RecPaid                                                     CAD            200       0        200                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐84K9‐ARXA‐4WX8‐ZR6H                                                            0                  0      0                                                                         33                   ...                                                                                               Memo
1030    10/7/2018       11:42:15   PDT       FlashstreamInvoice RecPaid                                                     CAD            230       0        230                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐94JV‐W3ZH‐3VPL‐23NT                                                            0                  0      0                                                                         27                   ...                                                                                               Memo
1031    9/30/2018       17:37:48   PDT       FlashstreamInvoice RecPaid                                                     CAD            200       0        200                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐A94Y‐XN2J‐9XML‐9QCB                                                            0                  0      0                                                                         19                   ...                                                                                               Memo
1032    9/22/2018       12:07:04   PDT       FlashstreamInvoice RecPaid                                                     CAD            280       0        280                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐6HNC‐6JA5‐GPJ6‐8XT3                                                            0                  0      0                                                                         12                   ...                                                                                               Memo
1033    7/25/2018       17:57:48   PDT                    Invoice RecPaid                                                   USD       1,147.80       0   1,147.80                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐9HE8‐A3JT‐J24Z‐K9RA                                                            147                  0      0                                                                   XL20180726WF               ...                                                                                               Memo
1034    7/15/2018        8:56:01   PDT                    Invoice RecPaid                                                   USD       1,147.80       0   1,147.80                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐6L84‐RFG6‐VVTQ‐NR3R                                                            147                  0      0                                                                   XL20180715WF               ...                                                                                               Memo
1035     7/8/2018       16:49:40   PDT                    Invoice RecPaid                                                   USD       1,147.80       0   1,147.80                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐N9UK‐MY4C‐HK7W‐2D28                                                            147                  0      0                                                                   XL20180709WF               ...                                                                                               Memo
1036    6/24/2018       21:08:08   PDT                    Invoice RecPaid                                                   USD       1,147.80       0   1,147.80                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐SQAY‐7A85‐5K7E‐A64E                                                            147                  0      0                                                                   XL20180625WF               ...                                                                                               Memo
1037    6/18/2018        7:44:14   PDT                    Invoice RecPaid                                                   USD       1,145.80       0   1,145.80                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐EHPH‐AF4T‐XRGY‐SWTR                                                            145                  0      0                                                                   XL20180618WF               ...                                                                                               Memo
1038    6/10/2018       19:46:26   PDT                    Invoice RecPaid                                                   USD       1,147.80       0   1,147.80                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐LH8U‐KGUK‐NCH9‐2W8W                                                            147                  0      0                                                                   XL20180611WF               ...                                                                                               Memo
1039     6/4/2018        6:29:19   PDT                    Invoice RecPaid                                                   USD       1,147.80       0   1,147.80                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐R9U9‐8768‐5M5Q‐4HN9                                                            147                  0      0                                                                   XL20180604WF               ...                                                                                               Memo
1040    5/26/2018       20:10:43   PDT                    Invoice RecPaid                                                   USD       1,701.00       0   1,701.00                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐Z5X9‐6BK9‐Y46K‐XGR9                                                            206                  0      0                                                                   XL20180527WF               ...                                                                                               Memo
1041    5/14/2018       19:17:12   PDT                    Invoice RecPaid                                                   USD       1,147.80       0   1,147.80                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐38X4‐H4FT‐HRSR‐CEEU                                                            147                  0      0                                                                   XL20180515WF               ...                                                                                               Memo
1042    4/22/2018        0:41:16   PDT                    Invoice RecCanceled                                               USD       2,338.50       0   2,338.50                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐HZEP‐BXAK‐A5K7‐H2YY                                                            247                  0      0                                                                   XL20180422WF               ...                                                                                               Memo
1043    3/30/2018       22:07:02   PDT                    Invoice RecPaid                                                   USD       2,300.00       0   2,300.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐HLQ4‐CTRQ‐8AQD‐ZCVK                                                            210                  0      0                                                                   XL180331WF                 ...                                                                                               Memo
1044    3/17/2018        7:52:56   PDT                    Invoice RecPaid                                                   USD          520.6       0      520.6                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐LJUE‐HKQ3‐5FWY‐HLYV                                                              0                  0      0                                                                   XL180317WFP                ...                                                                                               Memo
1045    3/16/2018       18:33:06   PDT                    Invoice RecPaid                                                   USD       3,319.80       0   3,319.80                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐8EAY‐J7US‐9EVB‐PP4F                                                            340                  0      0                                                                   XL20180317WF               ...                                                                                               Memo
1046    3/11/2018       20:34:38   PDT                    Invoice RecPaid                                                   USD       3,319.80       0   3,319.80                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐Q2AT‐LCX7‐L75H‐2WPZ                                                            340                  0      0                                                                   XL180312WF                 ...                                                                                               Memo
1047     3/2/2018       19:42:26   PST                    Invoice RecPaid                                                   USD       3,912.90       0   3,912.90                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐3XA6‐QDHW‐LC6Z‐AK4L                                                            440                  0      0                                                                   XL180303WF                 ...                                                                                               Memo
1048    2/25/2018       18:11:36   PST                    Invoice RecPaid                                                   USD          538.2       0      538.2                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐HH2W‐SB2Z‐JUU5‐FTPV                                                           21.2                  0      0                                                                   XL180226WF                 ...                                                                                               Memo
1049    1/30/2018       20:07:14   PST                    Invoice RecPaid                                                   USD       4,880.50       0   4,880.50                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐DB22‐LGKQ‐RTTE‐57N9                                                            440                  0      0                                                                   XL180132BWF                ...                                                                                               Memo
1050    1/30/2018       18:45:50   PST                    Invoice RecCanceled                                               USD       3,917.00       0   3,917.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐DBWX‐KDJT‐S8W5‐CWKM                                                            365                  0      0                                                                   XL180131WF                 ...                                                                                               Memo
1051    1/26/2018       17:32:25   PST                    Invoice RecPaid                                                   USD       3,333.80       0   3,333.80                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐F9GW‐THYE‐7Q7A‐5KS3                                                            340                  0      0                                                                   XL180128WF                 ...                                                                                               Memo
1052    1/18/2018       22:12:14   PST                    Invoice RecPaid                                                   USD       3,866.00       0   3,866.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐M5LC‐AJFY‐5VX2‐RMP8                                                            440                  0      0                                                                   XL180119WF                 ...                                                                                               Memo
1053     1/4/2018       17:33:04   PST                    Invoice RecPaid                                                   USD       3,320.00       0   3,320.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐MPSL‐R7NZ‐KDAE‐LXEW                                                            340                  0      0                                                                   XL20180105WF               ...                                                                                               Memo
1054   12/15/2017       19:36:30   PST                    Invoice RecPaid                                                   USD       3,320.00       0   3,320.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐MLW5‐XEZN‐2P73‐2B7D                                                            340                  0      0                                                                   XL171216WF                 ...                                                                                               Memo
1055    12/7/2017        6:14:02   PST                    Invoice RecPaid                                                   USD       3,320.00       0   3,320.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐22SP‐5T69‐4E6J‐9JMN                                                            340                  0      0                                                                   XL20171208WF               ...                                                                                               Memo
1056   11/24/2017       15:13:19   PST                    Invoice RecPaid                                                   USD       3,320.00       0   3,320.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐EW3L‐3RQ5‐SVHJ‐FRZQ                                                            340                  0      0                                                                   XL20171125WF               ...                                                                                               Memo
1057    11/8/2017       15:09:35   PST                    Invoice RecPaid                                                   USD       3,320.00       0   3,320.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐83DU‐P3WJ‐WB86‐MWG7                                                            340                  0      0                                                                   XL20171109WF               ...                                                                                               Memo
1058   10/30/2017       18:25:49   PDT                    Invoice RecPaid                                                   USD       3,320.00       0   3,320.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐6S84‐JUHQ‐Z7RP‐U8X5                                                            340                  0      0                                                                   XL20171031WF               ...                                                                                               Memo
1059    10/7/2017       17:06:29   PDT                    Invoice RecPaid                                                   USD       3,320.00       0   3,320.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐NYXC‐JSDB‐HQGR‐F669                                                            340                  0      0                                                                   XL171008WF                 ...                                                                                               Memo
1060     9/1/2017        6:51:28   PDT                    Invoice RecPaid                                                   USD       3,333.00       0   3,333.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐QFVC‐EZLU‐XDZ7‐F9SS                                                            130                  0      0                                                                   XL20170901WF               ...                                                                                               Memo
1061    8/30/2017       17:55:38   PDT                    Invoice RecPaid                                                   USD       3,333.00       0   3,333.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐4ZBD‐FKZR‐4UBP‐WAYS                                                            130                  0      0                                                                   XL20170831WF               ...                                                                                               Memo
1062    8/11/2017       17:28:45   PDT                    Invoice RecPaid                                                   USD          468.6       0      468.6                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐QH8F‐ZKXK‐SPEY‐ZDAG                                                              0                  0      0                                                                   XL201708012WF              ...                                                                                               Memo
1063     8/4/2017        2:06:55   PDT                    Invoice RecPaid                                                   USD       7,238.50       0   7,238.50                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐MDVF‐N8ZT‐NZBQ‐LX47                                                          282.5                  0      0                                                                   XL20170804WF               ...                                                                                               Memo
1064    7/12/2017       20:17:08   PDT                    Invoice RecPaid                                                   USD          255.3       0      255.3                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐4CCP‐WW9B‐D2C2‐WEK4                                                             10                  0      0                                                                   XL20170713WF               ...                                                                                               Memo
1065     7/9/2017        0:04:49   PDT                    Invoice RecPaid                                                   USD       2,205.00       0   2,205.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐BCKL‐LFD6‐EKLX‐NU6W                                                             86                  0      0                                                                   XL20170710WF               ...                                                                                               Memo
1066    6/28/2017       17:46:29   PDT                    Invoice RecPaid                                                   USD       3,314.60       0   3,314.60                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐YDZU‐JCTQ‐7B4J‐9S7F                                                          129.6                  0      0                                                                   XL20170629WF               ...                                                                                               Memo
1067    6/24/2017       16:33:32   PDT                    Invoice RecPaid                                                   USD            356       0        356                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐FXLY‐HEMU‐MWN4‐2ULF                                                             14                  0      0                                                                   XL20170625WF               ...                                                                                               Memo
1068    6/24/2017        1:14:28   PDT                    Invoice RecPaid                                                   USD            100       0        100                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐5NNH‐DUCL‐K9H8‐9YBY                                                              0                  0      0                                                                   XL20170624WF               ...                                                                                               Memo
1069    6/23/2017        0:50:11   PDT                    Invoice RecPaid                                                   USD       3,314.60       0   3,314.60                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐CZLX‐JFAT‐75VM‐6DMT                                                          129.6                  0      0                                                                   XL20170623WF               ...                                                                                               Memo
1070     6/7/2017       17:44:55   PDT                    Invoice RecPaid                                                   USD       3,325.00       0   3,325.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐SUMZ‐SHB5‐VL4Z‐K4K7                                                            130                  0      0                                                                   XL20170608WF               ...                                                                                               Memo
1071    5/19/2017        0:16:42   PDT                    Invoice RecPaid                                                   USD       5,726.20       0   5,726.20                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐WTX6‐KBQU‐VBNV‐FTTK                                                          223.6                  0      0                                                                   XL20170519WF               ...                                                                                               Memo
1072    4/30/2017        6:11:53   PDT                    Invoice RecPaid                                                   USD       4,766.70       0   4,766.70                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐Q424‐GGQ2‐JTP7‐ZTSZ                                                          186.2                  0      0                                                                   XL20170430WF               ...                                                                                               Memo
1073     4/9/2017        7:38:26   PDT                    Invoice RecPaid                                                   USD       4,044.00       0   4,044.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐46H2‐YR7H‐DUUM‐R8FQ                                                            158                  0      0                                                                   XL20170409WF               ...                                                                                               Memo
1074    3/21/2017       17:34:12   PDT                    Invoice RecPaid                                                   USD       3,396.00       0   3,396.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐8D8U‐J2L6‐S4P9‐HP55                                                            135                  0      0                                                                   XL20170322WF‐4             ...                                                                                               Memo
1075    3/21/2017       17:30:28   PDT                    Invoice RecPaid                                                   USD       2,420.00       0   2,420.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐8LMX‐UGN8‐8CKR‐KVRJ                                                             95                  0      0                                                                   XL20170322WF‐3             ...                                                                                               Memo
1076    3/21/2017       17:28:44   PDT                    Invoice RecPaid                                                   USD       4,839.00       0   4,839.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐YABC‐K9FG‐576Z‐ZMLR                                                            189                  0      0                                                                   XL20170322WF‐2             ...                                                                                               Memo
1077    3/21/2017       17:25:08   PDT                    Invoice RecPaid                                                   USD       1,718.00       0   1,718.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐NFJ5‐QM3Y‐Z8SD‐4PU5                                                             68                  0      0                                                                   XL20170322WF‐1             ...                                                                                               Memo
1078    3/14/2017       21:30:16   PDT                    Invoice RecPaid                                                   USD       5,367.50       0   5,367.50                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐DRY2‐433K‐NNQ4‐J4PU                                                            210                  0      0                                                                   XL170315WF                 ...                                                                                               Memo
1079     3/8/2017        7:10:04   PST                    Invoice RecPaid                                                   USD       4,051.00       0   4,051.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐7LHG‐EF8K‐JVA5‐XRN5                                                            160                  0      0                                                                   XL170308WF                 ...                                                                                               Memo
1080     3/4/2017       18:01:26   PST                    Invoice RecPaid                                                   USD       5,230.00       0   5,230.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐F3XM‐CUZG‐6DKT‐MW6X                                                            205                  0      0                                                                   XL170305WF                 ...                                                                                               Memo
1081    2/15/2017       16:52:21   PST                    Invoice RecPaid                                                   USD            458       0        458                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐NFHT‐MWNZ‐6R6D‐HUAX                                                              0                  0      0                                                                   XL170216WF                 ...                                                                                               Memo
1082    2/10/2017       19:42:10   PST                    Invoice RecPaid                                                   USD       4,044.00       0   4,044.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐YH33‐RJBX‐S4DG‐3WAZ                                                            158                  0      0                                                                   XL170211WF                 ...                                                                                               Memo
1083     2/9/2017       18:38:54   PST                    Invoice RecPaid                                                   USD       5,236.50       0   5,236.50                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐QADN‐SN7C‐4MDN‐DR5M                                                            205                  0      0                                                                   XL170210WF                 ...                                                                                               Memo
1084    1/10/2017       18:21:42   PST                    Invoice RecPaid                                                   USD       1,129.30       0   1,129.30                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐DGY9‐NW7A‐P9NW‐45CP                                                           44.3                  0      0                                                                   XL170111CM                 ...                                                                                               Memo
1085     1/4/2017       19:50:32   PST                    Invoice RecPaid                                                   USD       5,125.00       0   5,125.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐XSM8‐URKG‐AA93‐93H9                                                            200                  0      0                                                                   XL170106WFPLUS             ...                                                                                               Memo
1086     1/4/2017       19:23:07   PST                    Invoice RecPaid                                                   USD       5,911.00       0   5,911.00                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐CSSB‐9YPN‐JDR2‐9YJV                                                            231                  0      0                                                                   XL170105WF                 ...                                                                                               Memo
1087    1/25/2019        3:57:32   PST       Julieanne PRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     juiecma102Open          U.S. Personsales@one Open PremU.S. Business Verified 9S832345EInstant      Unverified Julieanne PConfirmed                                                                                                                                                           72.6   4702 105th Ave East Parrish     FL               34219 United States               Credit
1088    1/25/2019        3:44:09   PST       Jane GREENRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     janieluv@aOpen          U.S. Personsales@one Open PremU.S. Business Verified 7A425755VInstant      Unverified Jane GreenConfirmed                                                                                                                                                           54.45   920 Westwind Dr       N Palm BeaFL            33408‐422 United States              Credit
1089    1/25/2019        2:22:42   PST       Alan Weng Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     alw0200@ Open           U.S. Personsales@one Open PremU.S. Business Verified 19R73641EInstant      Unverified Alan Weng Confirmed                                                                                                                                                            36.3   42 West Oak St Lot A1 Osprey    FL               34229 United States               Credit
1090    1/25/2019        2:16:19   PST       Christine L Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85      18.15                     Brokervee@Open          U.S. Personsales@one Open PremU.S. Business Verified 6AS677826Instant      Unverified Christine B Confirmed                                                                                                                                                         18.15   8457 Idlewood Ct      Lakewood FL                34202 United States               Credit
1091    1/24/2019       11:16:56   PST       ...          WithdrawaCompleted                                                USD         ‐18.15   ‐0.18     ‐17.97                     ...                                                                          8V814312RCredit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
1092    1/24/2019       11:14:06   PST       jesse cothr Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85      18.15                     jconecoat@Open          U.S. Personsales@one Open PremU.S. Business Verified 09648548KInstant      Verified jesse cothr Confirmed                                                                                                                                                           18.15   6641 s arlington ave indianapoliIN               46237 United States               Credit
1093    1/24/2019        6:25:07   PST       ...          WithdrawaCompleted                                                USD         ‐18.15   ‐0.18     ‐17.97                     ...                                                                          4E5511482Credit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
1094    1/24/2019        6:06:52   PST       Elizabeth S Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85      18.15                     lizsmith13@Open         U.S. Personsales@one Open PremU.S. Business Verified 60M51303 Instant      Unverified Elizabeth S Confirmed                                                                                                                                                         18.15   2072 Pitt St.           Cornwall ON           K6J 5G3    Canada                    Credit
1095    1/24/2019        5:37:55   PST       ...          WithdrawaCompleted                                                USD         ‐18.15   ‐0.18     ‐17.97                     ...                                                                          35E81559YCredit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
1096    1/24/2019        5:32:05   PST       James FromRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     jrfroman19Open          U.S. Personsales@one Open PremU.S. Business Verified 4T861862MInstant      Verified James FromConfirmed                                                                                                                                                             18.15   35 7th St.              Nokomis FL               34275 United States               Credit
1097    1/24/2019        5:05:50   PST       ...          WithdrawaCompleted                                                USD          ‐72.6   ‐0.73     ‐71.87                     ...                                                                          4S6680005Credit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
1098    1/24/2019        4:09:48   PST       Robert DavRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     rwdavis370Open          U.S. Personsales@one Open PremU.S. Business Verified 7P5873550Instant      Unverified Robert DavConfirmed                                                                                                                                                            72.6   907 49th ave terrace wBradenton FL               34207 United States               Credit
1099    1/24/2019        3:20:45   PST       Kimberly H Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     kphubner@Open           U.S. Personsales@one Open PremU.S. Business Verified 6VG11631DInstant      Unverified Kimberly H Confirmed                                                                                                                                                          54.45   3815 Pin Oaks Street Sarasota FL                 34232 United States               Credit
1100    1/24/2019        2:47:18   PST       Mike Neav Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     Mikenea@ Open           U.S. Personsales@one Open PremU.S. Business Verified 1L671619L Instant     Unverified Mike Neav Confirmed                                                                                                                                                            36.3   324 Petrel Trl        Bradenton FL               34212 United States               Credit
1101    1/24/2019        2:30:30   PST       Jeannery GRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     mgreeners Open          U.S. Personsales@one Open PremU.S. Business Verified 5ME25354 Instant      Verified Jeannery GConfirmed                                                                                                                                                             18.15   3805 72nd Ter E       Sarasota FL             34243‐516 United States              Credit
1102    1/23/2019        8:15:01   PST       ...          WithdrawaCompleted                                                USD         ‐53.48   ‐0.53     ‐52.95                     ...                                                                          76B81577HCredit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
1103    1/23/2019        7:40:29   PST       The Better Recurring PCompleted                            1 Month Website HostUSD             18   ‐0.82      17.18                     jmanzano1Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 5KF012340Instant             Verified The Better Confirmed                                                                                                                                                            53.48   6535 Anch Apt# 204 Bradenton FL                  34212 United States               Credit
1104    1/23/2019        7:33:24   PST       Cynthia SchRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85      18.15                     c.schwab@Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 1DC83780KInstant       Unverified Cynthia SchConfirmed                                                                                                                                                           36.3   17146 Malta Ave    Port CharloFL                 33954 United States               Credit
1105    1/23/2019        5:08:19   PST       Robin MaleRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     malekrobinOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 0X8787274Instant       Unverified Robin MaleConfirmed                                                                                                                                                           18.15   4153 Smoke Signal  Sebring    FL                 33872 United States               Credit
1106    1/23/2019        5:02:22   PST       ...          WithdrawaCompleted                                                USD         ‐53.48   ‐0.53     ‐52.95                     ...                                                                          8BU83303RCredit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
1107    1/23/2019        4:12:18   PST       Henry ArseRecurring PCompleted                             1 Month W47.200.211USD              19   ‐0.85      18.15                     hank98471Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 8E577116CInstant       Verified henry s ars Confirmed                                                                                                                                                           53.48   5602 79TH AVE E       PALMETTOFL                 34221 United States               Credit
1108    1/23/2019        2:52:27   PST       Sarasota WRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85      18.15                     sckoch69@Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 34X879781Instant             Verified Steve Koch Confirmed                                                                                                                                                            35.33   4648 Charing Cross rd Sarasota FL             34241‐612 United States              Credit
1109    1/23/2019        2:06:18   PST       Martin Lee Recurring PCompleted                            1 Month Website HostUSD             18   ‐0.82      17.18                     siestakeysuOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 12D70771AInstant       Verified Martin Lee Confirmed                                                                                                                                                            17.18   PO Box 51704          Sarasota FL                34232 United States               Credit
1110    1/22/2019        7:36:03   PST       ...          WithdrawaCompleted                                                USD        ‐121.74   ‐1.22    ‐120.52                     ...                                                                          28E41392XCredit Card [Unknown]                                                                                                                                                                                     0                                                                                      Debit
                                                                                        Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 51 of 460 PageID 128

       A           B                    C       D           E          F          G         H      I       J          K             L    M        N        O           P      Q       R          S          T          U          V         W          X          Y          Z         AA         AB         AC         AD         AE         AF         AG       AH       AI         AJ       AK     AL   AM   AN   AO   AP      AQ      AR        AS        AT        AU         AV       AW         AX           AY   AZ   BA         BB           BC          BD         BE           BF      BG        BH           BI   BJ      BK    BL   BM   BN
1111   1/22/2019        6:55:37   PST       IPVanish.coMass PaymCompleted                              Affiliate Payments Jan USD        103.59       0    103.59                            expresspayOpen PremU.S. Businesales@one Open PremU.S. Business Verified 8US07943FInstant        Verified                                                                                                                                                                                                                                    121.74                                                                                    Credit
1112   1/22/2019        6:03:18   PST       FRITZ MAR Recurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            fritz_marti Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 4PT77785L Instant      Verified FRITZ MAR Confirmed                                                                                                                                                                                                                 18.15   924 Paradise Island Dr DeFuniak S FL         32433‐707 United States             Credit
1113   1/22/2019        6:00:13   PST       ...          WithdrawaCompleted                                                   USD         ‐36.3   ‐0.36    ‐35.94                            ...                                                                        3JS031053YCredit Card [Unknown]                                                                                                                                                                                                                                       0                                                                                    Debit
1114   1/22/2019        2:25:42   PST       Ron Reppu Recurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            reppuccieleOpen PremU.S. BusineSales@oneOpen PremU.S. Business Verified 44E99561BInstant        Unverified Ron Reppu Confirmed                                                                                                                                                                                                                36.3   339 WhittieBox 224 Tamworth NH                   3886 United States              Credit
1115   1/21/2019       14:03:03   PST       Robert Sav Recurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            rsaviola@aOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 3EL528601 Instant    Unverified Robert Sav Confirmed                                                                                                                                                                                                              18.15   280 126th Ave Unit 10Treasure Is FL             33706 United States              Credit
1116   1/21/2019        8:23:19   PST       ...          WithdrawaCompleted                                                   USD        ‐18.15   ‐0.18    ‐17.97                            ...                                                                        26056031XCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1117   1/21/2019        7:13:47   PST       bridgette s Recurring PCompleted                           1 Month Website HostUSD               19   ‐0.85     18.15                            kgbstout@ Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 1Y058301NInstant     Verified bridgette s Confirmed                                                                                                                                                                                                               18.15   8875 39th Street CircleParrish     FL           34219 United States              Credit
1118   1/21/2019        5:25:03   PST       ...          WithdrawaCompleted                                                   USD        ‐54.45   ‐0.54    ‐53.91                            ...                                                                        7TX90918SCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1119   1/21/2019        4:05:38   PST       PETER WIL Recurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            pkbw@hotOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 13P49903FInstant           Verified PETER WIL Confirmed                                                                                                                                                                                                                 54.45   20 Rambleton Drive New CastleDE                 19720 United States              Credit
1120   1/21/2019        2:55:59   PST       ANTHONY Recurring PCompleted                               1 Month Website HostUSD               19   ‐0.85     18.15                            finishcut@ Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 13X04676PInstant        Unverified ANTHONY Confirmed                                                                                                                                                                                                                  36.3   #6 7th street west nokomis FL                   34275 United States              Credit
1121   1/20/2019       14:04:40   PST       DIANE NAMRecurring PCompleted                              1 Month Website HostUSD               19   ‐0.85     18.15                            LOTTERYGI Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 5J629976WInstant     Unverified DIANE NAMConfirmed                                                                                                                                                                                                                18.15   2003 WILLOW BROOK WARREN OH                     44483 United States              Credit
1122   1/20/2019       10:05:29   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1548316800~USD               1.84       0      1.84                            ...                                                                        43B56526GInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                         4N136057KG672390S                                19.99                                                                                    Credit
1123   1/20/2019       10:05:29   PST       Udemy        Express Ch Completed                          How to Start an AmazoUSD          ‐19.99       0    ‐19.99                            Sales@oneOpen PremU.S. Businepayments@Open PremU.S. Business Verified 4N136057KInstant Tra Verified                               How to Start an Amazo          0                  0                                                                                                                                                            0                                                                                    Debit
1124   1/20/2019        7:27:25   PST       Sellitall    Recurring PCompleted                          1 Month Website HostUSD               19   ‐0.85     18.15                            vsmalls@taOpen PremU.S. BusineSales@oneOpen PremU.S. Business Verified 0HP51416SInstant         Verified vickie smal Confirmed                                                                                                                                                                                                               18.15   2605 72nd Ave E Unit ellenton      FL        34222‐702 United States             Credit
1125   1/19/2019        7:51:23   PST       ...          WithdrawaCompleted                            ~@~CLD:1548316800~USD             ‐54.45   ‐0.54    ‐53.91                            ...                                                                        6AS75462VCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1126   1/19/2019        7:11:56   PST       Tawanda K Recurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            Tawanda.k Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 69826935UInstant     Verified Tawanda K Confirmed                                                                                                                                                                                                                 54.45   5408 3rd st w          Bradenton FL             34207 United States              Credit
1127   1/19/2019        6:51:55   PST       william hayRecurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            pumkinx@ Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 5CJ913766 Instant    Verified william hayConfirmed                                                                                                                                                                                                                 36.3   469 Kaiser Dr          palmetto FL           34221‐542 United States             Credit
1128   1/19/2019        6:38:38   PST       john suttonRecurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            les55suttonOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 4GR714361Instant     Unverified john suttonConfirmed                                                                                                                                                                                                              18.15   2002 17th St W.        Palmetto FL              34221 United States              Credit
1129   1/19/2019        5:45:29   PST       ...          WithdrawaCompleted                            ~@~CLD:1548316800~USD             ‐18.15   ‐0.18    ‐17.97                            ...                                                                        4PX12354FCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1130   1/19/2019        5:37:27   PST       pam miller Recurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            putchka63@  Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 30G09569NInstant     Unverified pam miller Confirmed                                                                                                                                                                                                              18.15   5535 key west place Bradenton FL                34203 United States              Credit
1131   1/19/2019        5:15:56   PST       ...          WithdrawaCompleted                            ~@~CLD:1548316800~USD              ‐36.3   ‐0.36    ‐35.94                            ...                                                                        8U463311SCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1132   1/19/2019        5:06:14   PST       kelly covilleRecurring PCompleted                          1 Month Website HostUSD               19   ‐0.85     18.15                            kelshine5@Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 04M63931 Instant         Unverified Kelly Covill Confirmed                                                                                                                                                                                                             36.3   5871 17th Street WestBradenton FL               34207 United States              Credit
1133   1/19/2019        5:05:19   PST       Ashley Wa Recurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            walogorskyOpen PremU.S. BusineSales@oneOpen PremU.S. Business Verified 2NB29796CInstant         Unverified Ashley Wa Confirmed                                                                                                                                                                                                               18.15   934 Jungle Avenue No Saint Peter FL             33710 United States              Credit
1134   1/19/2019        4:46:41   PST       ...          WithdrawaCompleted                            ~@~CLD:1548316800~USD              ‐36.3   ‐0.36    ‐35.94                            ...                                                                        0J578968WCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1135   1/19/2019        4:24:42   PST       Robert Mo Recurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            bobkathfl1 Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 8NE19802HInstant     Unverified Robert Mo Confirmed                                                                                                                                                                                                                36.3   2689 S Crystal Lake Dr Avon Park FL             33825 United States              Credit
1136   1/19/2019        3:57:06   PST       Patricia McRecurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            paddimccluOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 4L832901J Instant    Verified Patricia McConfirmed                                                                                                                                                                                                                18.15   283 crescent rd        wanaque NJ            07465‐121 United States             Credit
1137   1/18/2019       14:47:55   PST       ...          WithdrawaCompleted                            ~@~CLD:1548316800~USD            ‐125.93   ‐1.26   ‐124.67                            ...                                                                        25935834DCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1138   1/18/2019       12:30:48   PST       Dave JohnsCredit CardCompleted                             ~@~CLD:1548316800~USD                130   ‐4.07    125.93                            davejohnsoOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 22F65813GInstant     Verified Dave JohnsNon‐Confirmed                                                                                                                                                                                                            125.93   9319 Hambley Circle Elk Grove CA                95624 United States              Credit
1139   1/18/2019       12:20:31   PST       ...          WithdrawaCompleted                            ~@~CLD:1548316800~USD             ‐18.15   ‐0.18    ‐17.97                            ...                                                                        7F967793KCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1140   1/18/2019       11:52:11   PST       Thomas Pa Recurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            t.pachulski Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 3RM18156 Instant     Unverified Thomas Pa Confirmed                                                                                                                                                                                                               18.15   8068 Woodruff Drive Newaygo MI                  49337 United States              Credit
1141   1/18/2019        9:02:56   PST       ...          WithdrawaCompleted                            ~@~CLD:1548316800~USD              ‐36.3   ‐0.36    ‐35.94                            ...                                                                        0AL626979Credit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1142   1/18/2019        9:01:50   PST       robert samRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            samulka.roOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 21C743158Instant     Unverified robert samConfirmed                                                                                                                                                                                                                36.3   4019 Laurel Way        Ellenton    FL           34222 United States              Credit
1143   1/18/2019        7:31:45   PST       James BreeRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            jeb127327@  Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 9F6984141Instant     Verified James BreeConfirmed                                                                                                                                                                                                                 18.15   3708 Riviera Dr        Sarasota    FL           34232 United States              Credit
1144   1/18/2019        5:36:59   PST       ...          WithdrawaCompleted                            ~@~CLD:1548316800~USD             ‐88.13   ‐0.88    ‐87.25                            ...                                                                        49D40366CCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1145   1/18/2019        5:12:56   PST       Carlos Faja Recurring PCompleted                           1 Month Website HostUSD               19   ‐0.85     18.15                            cfaja546@ Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 98H309191Instant     Unverified Carlos Faja Confirmed                                                                                                                                                                                                             88.13   2825 Pecan St        North Port FL              34287 United States              Credit
1146   1/18/2019        5:10:55   PST       Laura Siek Recurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            siekl58@gmOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 0FG176415Instant     Unverified Laura Siek, Confirmed                                                                                                                                                                                                             69.98   13033 19 Mile Rd Lot Gowen      MI              49326 United States              Credit
1147   1/18/2019        4:20:01   PST       Edward PinRecurring PCompleted                             1 Month Website HostUSD               35   ‐1.32     33.68                            paze25@g Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 7TJ677611 Instant    Unverified Edward PinConfirmed                                                                                                                                                                                                               51.83   5612 Mallow St       New Prt RcFL            34652‐516 United States             Credit
1148   1/18/2019        2:22:51   PST       Melvin ShaRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            mshaw494 Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 7A809878NInstant     Verified Melvin E. S Confirmed                                                                                                                                                                                                               18.15   123 Walton Heath Dr Raeford NC               28376‐590 United States             Credit
1149   1/17/2019       14:52:53   PST       ...          WithdrawaCompleted                            ~@~CLD:1548316800~USD             ‐18.15   ‐0.18    ‐17.97                            ...                                                                        5KN46673HCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1150   1/17/2019       14:26:14   PST       David HollaRecurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            david.holla Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 5BM13208 Instant     Unverified David HollaConfirmed                                                                                                                                                                                                              18.15   9124 Raes Creek PlacePalmetto FL                34221 United States              Credit
1151   1/17/2019        8:47:04   PST       ...          WithdrawaCompleted                            ~@~CLD:1548316800~USD             ‐18.15   ‐0.18    ‐17.97                            ...                                                                        7T647206SCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1152   1/17/2019        6:26:19   PST       Linda WormRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            lworman8@Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 05272735WInstant     Verified Linda WormConfirmed                                                                                                                                                                                                                 18.15   6 Parkwood             Bradenton FL             34208 United States              Credit
1153   1/17/2019        5:52:44   PST       ...          WithdrawaCompleted                            ~@~CLD:1548316800~USD              ‐36.3   ‐0.36    ‐35.94                            ...                                                                        8A1597176Credit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1154   1/17/2019        4:44:25   PST       James FriedRecurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            jfriedhoff@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 65479445LInstant     Verified James FriedConfirmed                                                                                                                                                                                                                 36.3   928 S Doral Ln.        Venice      FL           34293 United States              Credit
1155   1/17/2019        4:08:34   PST       Cheryl HillmRecurring PCompleted                           1 Month Website HostUSD               19   ‐0.85     18.15                            cherlyhillmOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 3V321409DInstant     Unverified Cheryl HillmConfirmed                                                                                                                                                                                                             18.15   1988 Se Cherry Dr      Arcadia     FL           34266 United States              Credit
1156   1/16/2019       11:48:48   PST       ...          WithdrawaCompleted                            ~@~CLD:1548316800~USD              ‐36.3   ‐0.36    ‐35.94                            ...                                                                        3F766036GCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1157   1/16/2019       11:39:59   PST       Quintin MoRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            qmoyer1@Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 5PM54040 Instant     Unverified Quintin MoConfirmed                                                                                                                                                                                                                36.3   4377 Maddock Circle North Port FL               34286 United States              Credit
1158   1/16/2019        3:56:28   PST       Carol MasoRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            carolnisbetOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 9D8284461Instant     Verified Carol MasoConfirmed                                                                                                                                                                                                                 18.15   2198 Briar Creek Way Sarasota FL                34235 United States              Credit
1159   1/15/2019       13:49:35   PST       ...          WithdrawaCompleted                                                   USD        ‐18.15   ‐0.18    ‐17.97                            ...                                                                        17P61792RCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1160   1/15/2019       13:32:13   PST       Suzanne N Recurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            tropical_suOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 1U2713617Instant     Unverified Suzanne N Confirmed                                                                                                                                                                                                               18.15   6641 Laguna Vista Dr NRockford MI               49341 United States              Credit
1161   1/15/2019        6:37:30   PST       ...          WithdrawaCompleted                                                   USD        ‐36.01   ‐0.36    ‐35.65                            ...                                                                        0F866154XCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1162   1/15/2019        6:03:44   PST       leafsMicha Recurring PCompleted                            1 Month Website HostUSD               19   ‐1.14     17.86                            m_dwilson Open         Canadian PSales@oneOpen PremU.S. Business Verified 9DX16528WInstant      Non‐U.S. ‐ leafsMicha Confirmed                                                                                                                                                                                                              36.01   P.O. Box 190           MoonbeamOntario       P0L 1V0 Canada                      Credit
1163   1/15/2019        5:25:48   PST       Janice StanRecurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            jstanton63 Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 2KP677315Instant     Unverified Janice StanConfirmed                                                                                                                                                                                                              18.15   10380 Alpine Ave       Sparta  MI                49345 United States             Credit
1164   1/14/2019       14:42:49   PST       ...          WithdrawaCompleted                                                   USD         ‐73.5   ‐0.74    ‐72.76                            ...                                                                        5MN81326Credit Card [Unknown]                                                                                                                                                                                                                                         0                                                                                    Debit
1165   1/14/2019       14:20:54   PST       DROB TECHMobile PayCompleted                                                      USD            76    ‐2.5      73.5 Affiliate                  drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 25H30976KInstant        Verified DROB TECHConfirmed                                                                                                                                                                                                                   73.5   197 PARK SIDE DRIVE SUFFERN NY                  10901 United States              Credit
1166   1/14/2019        6:06:49   PST       ...          WithdrawaCompleted                                                   USD         ‐36.3   ‐0.36    ‐35.94                            ...                                                                        78X282801Credit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1167   1/14/2019        6:05:48   PST       Nancy Had Recurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            hadleyn1@Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 88J62031T Instant    Verified Nancy Had Confirmed                                                                                                                                                                                                                  36.3   5613 Key Largo Ct   Bradenton FL                34203 United States              Credit
1168   1/14/2019        5:31:15   PST       Marvin Cle Recurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            mclevenge Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 0KM43640 Instant     Unverified Marvin Cle Confirmed                                                                                                                                                                                                              18.15   2313 W.Cambridge Dr Muncie    IN                47304 United States              Credit
1169   1/14/2019        4:45:33   PST       ...          WithdrawaCompleted                                                   USD         ‐72.6   ‐0.73    ‐71.87                            ...                                                                        8FV203089Credit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1170   1/14/2019        3:57:15   PST       James HarnRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            jrh8999@gOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 16F073275Instant     Verified James HarnConfirmed                                                                                                                                                                                                                  72.6   6321 113thApt 1402 Seminole FL                  33772 United States              Credit
1171   1/14/2019        3:55:48   PST       Rose Lee B Recurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            mlblaze@yOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 111439636Instant     Verified Rose Lee B Confirmed                                                                                                                                                                                                                54.45   1506 w. henderson st. chicago IL                60657 United States              Credit
1172   1/14/2019        3:21:29   PST       Christine R Recurring PCompleted                           1 Month Website HostUSD               19   ‐0.85     18.15                            droussopo Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 82M37393 Instant     Unverified Christine R Confirmed                                                                                                                                                                                                              36.3   2825 Terra Unit 1602 Palmetto FL                34221 United States              Credit
1173   1/14/2019        2:03:09   PST       Brent KleinRecurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            kleinbail@gOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 1XY82329DInstant     Unverified Brent KleinConfirmed                                                                                                                                                                                                              18.15   2562 Marblehead Dr Sarasota FL                  34231 United States              Credit
1174   1/13/2019       14:50:32   PST       ...          WithdrawaCompleted                                                   USD        ‐18.15   ‐0.18    ‐17.97                            ...                                                                        78N61576XCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1175   1/13/2019       11:50:19   PST       michael go Recurring PCompleted                            1 Month W108.191.67USD                19   ‐0.85     18.15                            goodmike5Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 26588203FInstant     Verified michael go Confirmed                                                                                                                                                                                                                18.15   705 89th court NW      bradenton FL             34209 United States              Credit
1176   1/13/2019        5:40:12   PST       ...          WithdrawaCompleted                                                   USD        ‐18.15   ‐0.18    ‐17.97                            ...                                                                        1UE058460Credit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1177   1/13/2019        3:38:44   PST       mike chart Recurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            sarasotamcOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 6HA67947BInstant     Verified mike chart Confirmed                                                                                                                                                                                                                18.15   4802 51st. Unit 103    Bradenton FL             34210 United States              Credit
1178   1/12/2019        5:09:56   PST       ...          WithdrawaCompleted                                                   USD        ‐18.15   ‐0.18    ‐17.97                            ...                                                                        481648645Credit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1179   1/12/2019        5:08:37   PST       tkshoppingRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            simplyist@Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 8RE72126AInstant         Verified tkshoppingConfirmed                                                                                                                                                                                                                 18.15   48 Lyman St            Worcester MA              1603 United States              Credit
1180   1/12/2019        4:25:13   PST       ...          WithdrawaCompleted                                                   USD        ‐54.45   ‐0.54    ‐53.91                            ...                                                                        31U943242Credit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1181   1/12/2019        3:36:20   PST       Laurie PageRecurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            laurie.eb.p Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 45084064J Instant    Verified Laurie PageConfirmed                                                                                                                                                                                                                54.45   936 145th Street CircleBradenton FL             34212 United States              Credit
1182   1/12/2019        2:46:15   PST       Cain Cain Recurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            cinsweet64Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 0YV76077YInstant     Unverified Cain Cain, 8Confirmed                                                                                                                                                                                                              36.3   816 64th ave Dr E      Bradenton FL             34203 United States              Credit
1183   1/12/2019        2:03:02   PST       Sabine FulkRecurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            splanet69@Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 8D9161225Instant         Verified Sabine FulkConfirmed                                                                                                                                                                                                                18.15   5728 28th St E         Bradenton FL             34203 United States              Credit
1184   1/11/2019       18:55:17   PST       ...          WithdrawaCompleted                                                   USD         ‐36.3   ‐0.36    ‐35.94                            ...                                                                        41K204835Credit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1185   1/11/2019       11:10:15   PST       K&M enterRecurring PCompleted                              1 Month Website HostUSD               19   ‐0.85     18.15                            kkmkx3@g Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 7A736248MInstant          Verified K&M enterConfirmed                                                                                                                                                                                                                   36.3   2215 4th St SW         Ruskin      FL           33570 United States              Credit
1186   1/11/2019        6:16:16   PST       Kenneth Je Recurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            cowboyswiOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 0UN99845 Instant     Verified Kenneth Je Confirmed                                                                                                                                                                                                                18.15   4314 Douglas Hill Pl   Parrish     FL           34219 United States              Credit
1187   1/11/2019        4:46:53   PST       ...          WithdrawaCompleted                                                   USD        ‐54.45   ‐0.54    ‐53.91                            ...                                                                        8HH47961VCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1188   1/11/2019        3:03:06   PST       Jaco tours Recurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            MINTO179 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 2MN06313Instant           Unverified Michael M Confirmed                                                                                                                                                                                                               54.45   2151 N State Road 7 Margate FL               33063‐571 United States             Credit
1189   1/11/2019        2:50:47   PST       Eddo Butle Recurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            shortfolks5Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 4TW39471 Instant     Unverified Eddo Butle Confirmed                                                                                                                                                                                                               36.3   1883 Briar Creek PlaceSarasota FL               34235 United States              Credit
1190   1/11/2019        2:24:03   PST       David CancRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            vipr1960@Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 71L99673KInstant     Unverified David CancConfirmed                                                                                                                                                                                                               18.15   1120 53rd Ave E Lot 12Bradenton FL              34203 United States              Credit
1191   1/10/2019       15:03:55   PST       1&1 IONOSPreapproveCompleted                               Your purch 74.208.134USD             ‐12       0       ‐12                            Sales@oneOpen PremU.S. Businepaypal@1aOpen PremU.S. Business Verified 4P4204637PayPal balaVerified                                Your purchase at 1&1           0                  0                                                                                                       4S907280F K606691207/004044730829                    0                                                                                    Debit
1192   1/10/2019       15:03:55   PST       PayPal       Temporary Removed                                                    USD            12       0        12                            ...                                                                        5WA52336TS9121403                                                                                                                                                                                                65602298DY938620X                                   12                                                                                    Credit
1193   1/10/2019       12:41:10   PST       ...          WithdrawaCompleted                                                   USD        ‐18.15   ‐0.18    ‐17.97                            ...                                                                        04294883SCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1194   1/10/2019       11:52:30   PST       Robert BelaRecurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            rbelanger7 Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 45N65719PInstant     Unverified Robert BelaConfirmed                                                                                                                                                                                                              18.15   2239 Sifield Greens W Sun City CeFL             33573 United States              Credit
1195   1/10/2019        8:25:41   PST       ...          WithdrawaCompleted                                                   USD        ‐18.15   ‐0.18    ‐17.97                            ...                                                                        93081178KCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1196   1/10/2019        6:12:30   PST       Shirley McLRecurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            sam7330@Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 34D183993Instant     Unverified Shirley McLConfirmed                                                                                                                                                                                                              18.15   4034 Cochise Terrace Sarasota      FL           34233 United States              Credit
1197   1/10/2019        5:16:35   PST       ...          WithdrawaCompleted                                                   USD         ‐36.3   ‐0.36    ‐35.94                            ...                                                                        29L95729RCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1198   1/10/2019        4:51:18   PST       Michael M Recurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            mikemirab Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 6CB63528EInstant     Unverified Michael M Confirmed                                                                                                                                                                                                                36.3   5536 42nd Street East Bradenton FL              34203 United States              Credit
1199   1/10/2019        3:31:01   PST       Frank T Cle Recurring PCompleted                           1 Month Website HostUSD               19   ‐0.85     18.15                            clemenf@gOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 48P86844DInstant          Verified frank clemeConfirmed                                                                                                                                                                                                                18.15   6730 283rd Street Eas Myakka CitFL              34251 United States              Credit
1200    1/9/2019       18:45:54   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1547452800~USD                905       0       905                            ...                                                                        3G616557UInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                         1AC91950039544826                                  905                                                                                    Credit
1201    1/9/2019       18:45:54   PST                    Mobile WeCompleted                            ~@~CLD:1547452800~USD               ‐905       0      ‐905                            Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier Verifi1AC919500Instant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to              for invo        0                  0                                                                                                                INV2‐4TTX‐CVKG‐KX55‐MWUW                    0   8955 US Hwy 301 N #1Parrish        FL           34219 United States              Debit
1202    1/9/2019       13:05:03   PST       ...          WithdrawaCompleted                            ~@~CLD:1547452800~USD              ‐36.3   ‐0.36    ‐35.94                            ...                                                                        34911236MCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1203    1/9/2019       12:27:59   PST       Kevin ChrisRecurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            jlchristmanLocked      U.S. PremieSales@oneOpen PremU.S. Business Verified 2BY02657MInstant     Verified Kevin ChrisConfirmed                                                                                                                                                                                                                 36.3   2105 12th Ave W        Bradenton FL             34205 United States              Credit
1204    1/9/2019        5:28:41   PST       Barbara KuRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            barb49kue Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 51J416674 Instant        Verified Barbara KuConfirmed                                                                                                                                                                                                                 18.15   8925 SW 171ST ST       PALMETTOFL               33157 United States              Credit
1205    1/9/2019        5:00:22   PST       ...          WithdrawaCompleted                            ~@~CLD:1547452800~USD            ‐103.56   ‐1.04   ‐102.52                            ...                                                                        4TN95101PCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1206    1/9/2019        3:58:19   PST       John WyattRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            milumjak@Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 6KJ22311V Instant    Verified John WyattConfirmed                                                                                                                                                                                                                103.56   980 7th St NW, Lot 66 Largo     FL              33770 United States              Credit
1207    1/9/2019        3:43:57   PST       Leo LozeauRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            llozeau442 Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 2XS477957Instant     Unverified Leo LozeauConfirmed                                                                                                                                                                                                               85.41   47 Larkspur Ave       Palmetto FL               32444 United States              Credit
1208    1/9/2019        3:42:14   PST       Timothy AuRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            taubin@ta Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 1AR88988WInstant     Unverified Timothy AuConfirmed                                                                                                                                                                                                               67.26   570 57th Ave W Lot 25Bradenton FL               34207 United States              Credit
1209    1/9/2019        3:40:15   PST       richard joh Recurring PCompleted                           1 Month Website HostUSD               19   ‐0.85     18.15                            knightriderOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 1T535822PInstant        Verified Richard JohConfirmed                                                                                                                                                                                                                49.11   1207 Caloosa Creek CtSun City CeFL           33573‐487 United States             Credit
1210    1/9/2019        2:42:30   PST       Giosia MogRecurring PCompleted                             1 Month Website HostUSD             13.5   ‐0.69     12.81                            giosiam@gOpen PremU.S. BusineSales@oneOpen PremU.S. Business Verified 05C670176Instant          Verified Casa Bella, Confirmed                                                                                                                                                                                                               30.96   431 9th St            West EastoPA              18042 United States              Credit
1211    1/9/2019        2:26:28   PST       Loreen HouRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            hcody3@y Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 7JT35054S Instant    Verified Loreen HouConfirmed                                                                                                                                                                                                                 18.15   20017 Oakdale Ave Brooksville FL                34601 United States              Credit
1212    1/8/2019        8:09:42   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1547452800~USD             ‐18.15       0    ‐18.15                            ...                                                                        03K55763XU356722K                                                                                                                                                                                                                                                     0                                                                                    Debit
1213    1/8/2019        8:01:31   PST       Git R Done Update to Updated                               ~@~CLD:1547452800~USD                 19   ‐0.85     18.15                            mhallcoupoRestricted U.S. Business Verified                                7PH507863B275894V Verified                                                                                                                                                                                       61M5110790927910C                                18.15                                                                                    Credit
1214    1/8/2019        5:37:06   PST       ...          WithdrawaCompleted                            ~@~CLD:1547452800~USD              ‐24.3   ‐0.24    ‐24.06                            ...                                                                        2X528905CCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1215    1/8/2019        4:40:40   PST       Amber Wh Recurring PCompleted                              1 Month Website HostUSD               19   ‐0.85     18.15                            jorgenel15 Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 0XD26143DInstant     Unverified Amber Wh Confirmed                                                                                                                                                                                                                 24.3   2827 22nd St W         Bradenton FL             34207 United States              Credit
1216    1/7/2019       12:56:19   PST       PayPal       Temporary Placed                              ~@~CLD:1547452800~USD                ‐12       0       ‐12                            ...                                                                        65602298DY938620X                                                                                                                                                                                                4S907280F6427411J                                 6.15                                                                                    Debit
1217    1/7/2019       12:56:19   PST       1&1 IONOSAuthorizat Completed                              Your purch 82.165.232USD             ‐12       0       ‐12                            Sales@oneOpen PremU.S. Businepaypal@1aOpen PremU.S. Business Verified 4S907280F PayPal balaVerified                               Your purchase at 1&1           0                  0                                                                                                                                                        18.15                                                                                    Memo
1218    1/7/2019        7:50:34   PST       Russell Par Recurring PCompleted                           1 Month Website HostUSD               19   ‐0.85     18.15                            rjp0122@s Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 0VW87088Instant      Verified Russell Par Confirmed                                                                                                                                                                                                               18.15   2019 S Bayou Dr        Ruskin      FL           33570 United States              Credit
1219    1/7/2019        6:36:27   PST                    Invoice RecPaid                                                      USD           905       0       905                            Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐4TTX‐CVKG‐KX55‐MWUW                                                                   0                            0    130                                                                                                XL190107WF                      ...                                                                                             Memo
1220    1/7/2019        5:47:53   PST       ...          WithdrawaCompleted                            ~@~CLD:1547452800~USD              ‐72.6   ‐0.73    ‐71.87                            ...                                                                        4TT078298Credit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1221    1/7/2019        4:54:53   PST       Jack Coury Recurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            jcoury@tamOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 1HF873046Instant     Verified Jack Coury,Confirmed                                                                                                                                                                                                                 72.6   4550 PinebApt. 601     Bradenton FL             34209 United States              Credit
1222    1/7/2019        3:50:15   PST       Elaine GrenRecurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            efgrenier@Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 8R549501KInstant     Unverified Elaine GrenConfirmed                                                                                                                                                                                                              54.45   6633 53rd Ave E        Bradenton FL             34203 United States              Credit
1223    1/7/2019        3:09:55   PST       Susan kelseRecurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            kelsey1948Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 4SC55120VInstant     Unverified Susan kelseConfirmed                                                                                                                                                                                                               36.3   18939 W Maple          InterlochenMI            49643 United States              Credit
1224    1/7/2019        2:01:34   PST       Scott Lurgi Recurring PCompleted                           1 Month Website HostUSD               19   ‐0.85     18.15                            tazlurgio@ Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 9NX29169UInstant        Verified Scott Lurgi Confirmed                                                                                                                                                                                                               18.15   11305 30th CV E        Parrish    FL            34219 United States              Credit
1225    1/5/2019       11:31:47   PST       ...          WithdrawaCompleted                            ~@~CLD:1547452800~USD             ‐18.15   ‐0.18    ‐17.97                            ...                                                                        3L438878HCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1226    1/5/2019       11:24:07   PST       PETE A RU Recurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            EQUITYTOOOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 46J29801A Instant    Unverified LARA RUTSConfirmed                                                                                                                                                                                                                18.15   555 95th Street OceanMarathon FL                33050 United States              Credit
1227    1/5/2019        7:52:08   PST       ...          WithdrawaCompleted                            ~@~CLD:1547452800~USD              ‐72.6   ‐0.73    ‐71.87                            ...                                                                        46H66296YCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1228    1/5/2019        7:36:53   PST       Debbie Nic Recurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            DarlindebeOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 1UF13099RInstant     Verified Deborah MConfirmed                                                                                                                                                                                                                   72.6   33710 Union Court Westland MI                   48186 United States              Credit
1229    1/5/2019        7:09:34   PST       Kenneth RoRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            kcr02bebo Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 7RM25463 Instant     Unverified Kenneth RoConfirmed                                                                                                                                                                                                               54.45   9425 Forest Hills Cir Sarasota FL               34238 United States              Credit
1230    1/5/2019        6:08:59   PST       Larry BealeRecurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            lsbeale59@Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 46U38613PInstant     Unverified Larry BealeConfirmed                                                                                                                                                                                                               36.3   218 ROYAL BONNET D APOLLO BEFL                  33572 United States              Credit
1231    1/5/2019        5:39:03   PST       Penny RowRecurring PCompleted                              1 Month Website HostUSD               19   ‐0.85     18.15                            prow6@ya Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 2CC047752Instant     Unverified Penny RowConfirmed                                                                                                                                                                                                                18.15   9852 Moorhen Dr.      Lakeland FL               33810 United States              Credit
1232    1/5/2019        5:02:52   PST       ...          WithdrawaCompleted                            ~@~CLD:1547452800~USD             ‐90.75   ‐0.91    ‐89.84                            ...                                                                        9C489450KCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1233    1/5/2019        4:44:36   PST       Ronald GauRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            ghansome1Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 83X543840Instant     Unverified Ronald GauConfirmed                                                                                                                                                                                                               90.75   4729 Loma Grande Dr El Paso    TX               79934 United States              Credit
1234    1/5/2019        4:44:20   PST       william barRecurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            whbjr58@cOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 5K0883414Instant     Unverified william barConfirmed                                                                                                                                                                                                               72.6   9860 Grackle Loop    Lakeland FL                33810 United States              Credit
1235    1/5/2019        3:06:45   PST       Key West MRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            tim.greene Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 75W42274 Instant        Verified Key West MConfirmed                                                                                                                                                                                                                 54.45   701 Spanish Main Dr 4Cudjoe KeyFL               33042 United States              Credit
1236    1/5/2019        3:01:24   PST       Timothy M Recurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            timberrr21 Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 005376654Instant     Unverified Timothy M Confirmed                                                                                                                                                                                                                36.3   1064 East Manatee Bradenton FL                  34208 United States              Credit
1237    1/5/2019        2:01:33   PST       victor ibarrRecurring PCompleted                           1 Month Website HostUSD               19   ‐0.85     18.15                            vimiza80@Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 0PX617093Instant          Unverified victor ibarrConfirmed                                                                                                                                                                                                             18.15   3644 WOODMONT DRSARASOTA FL                     34232 United States              Credit
1238    1/4/2019       17:48:47   PST       ...          WithdrawaCompleted                            ~@~CLD:1547452800~USD              ‐36.3   ‐0.36    ‐35.94                            ...                                                                        53A94378RCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1239    1/4/2019       17:47:09   PST       Michael PeRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            mjp51@sb Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 3S715050S Instant    Unverified Michael PeConfirmed                                                                                                                                                                                                                36.3   10726 New Buffalo RoNorth LimaOH                44452 United States              Credit
1240    1/4/2019       15:31:17   PST       Chris Huff Recurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            Chrisluvs2sClosed      U.S. PersonSales@oneOpen PremU.S. Business Verified 9PK957760Instant     Unverified Chris Huff, Confirmed                                                                                                                                                                                                             18.15   801 Willow Brook Dr. Warren OH                  44483 United States              Credit
1241    1/4/2019       15:00:21   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1547452800~USD               ‐595       0      ‐595                 R45: Your b...                                                                        00655646JD094222E                                                                                                                                                                                                                                                     0                                                                                    Debit
1242    1/4/2019       14:59:31   PST       jennifer cri Refund       Completed                                               USD           595       0       595                            jcritt76@yaOpen        U.S. Personjcritt76@yaOpen   U.S. Personal Verified 9CV73442CL288220V                                                                                                                                                                                                2CK25984VEBAY36050417282                           595                                                                                    Credit
1243    1/4/2019        7:57:44   PST       ...          WithdrawaCompleted                                                   USD        ‐44.07   ‐0.44    ‐43.63                            ...                                                                        87192362YCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1244    1/4/2019        7:20:28   PST       Tom Burlin Recurring PCompleted                            1 Month Website HostUSD               27   ‐1.08     25.92                            tommyeb1 Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 2YX18503YInstant     Unverified Tom Burlin Confirmed                                                                                                                                                                                                              44.07   1150 10TH PO BOX 26 Buffalo    MN               55313 United States              Credit
1245    1/4/2019        7:18:43   PST       Robert Gib Recurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            rswimmer@Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 0PX862336Instant     Unverified Robert Gib Confirmed                                                                                                                                                                                                              18.15   10514 Sleepy Orange CRiverview FL               33578 United States              Credit
1246    1/4/2019        7:16:07   PST       ...          WithdrawaCompleted                                                   USD        ‐18.15   ‐0.18    ‐17.97                            ...                                                                        6FJ994512 Credit Card [Unknown]                                                                                                                                                                                                                                       0                                                                                    Debit
1247    1/4/2019        7:11:22   PST       Ken GiffordRecurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            wd4nkz@mOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 1K811804HInstant           Verified Ken GiffordConfirmed                                                                                                                                                                                                                18.15   6515 15th St. E. Lot D‐ Sarasota   FL           34243 United States              Credit
1248    1/4/2019        5:46:23   PST       ...          WithdrawaCompleted                                                   USD        ‐18.15   ‐0.18    ‐17.97                            ...                                                                        0A074937XCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1249    1/4/2019        5:15:54   PST       joe young Recurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            dr.feelgoodOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 3UT063368Instant     Unverified joe young, Confirmed                                                                                                                                                                                                              18.15   1528 SE Ohio Ave       Arcadia     FL           34266 United States              Credit
1250    1/4/2019        5:00:51   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1547020800~USD                100       0       100                            ...                                                                        5FW63794 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                         1GW70292038421047                                  100                                                                                    Credit
1251    1/4/2019        5:00:51   PST       alonso garzMobile PayCompleted                                                    USD          ‐100       0      ‐100                            Sales@oneOpen PremU.S. Businealonsojr113Open        U.S. Personal Verified 1GW70292Instant Tra Verified                                                                                                                                                                                                                                          0                                                                                    Debit
1252    1/4/2019        4:52:54   PST       ...          WithdrawaCompleted                            ~@~CLD:1547020800~USD              ‐72.6   ‐0.73    ‐71.87                            ...                                                                        9SV346758Credit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1253    1/4/2019        4:12:43   PST       Gregory VaRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            pmac1@ptOpen           U.S. PersonSales@oneOpen PremU.S. Business Verified 4Y024492FInstant     Unverified Gregory VaConfirmed                                                                                                                                                                                                                72.6   4215 Long Lake Drive SEllenton FL               34222 United States              Credit
1254    1/4/2019        3:47:26   PST       Michelle WRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            michelle.w Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 7.36E+15 Instant     Verified Michelle WConfirmed                                                                                                                                                                                                                 54.45   2315 124th dr e       Parrish  FL               34219 United States              Credit
1255    1/4/2019        2:48:34   PST       JAMES CLA Recurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            jclark4750@ Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 0PJ816143 Instant      Unverified JAMES CLA Confirmed                                                                                                                                                                                                                36.3   3506 Avenida Madera Bradenton FL                34210 United States              Credit
1256    1/3/2019       15:35:11   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1546934400~USD             116.59       0    116.59                            ...                                                                        4MD82090Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                          24V69831PS824714C                               134.74                                                                                    Credit
1257    1/3/2019       15:35:11   PST       Symantec PreapproveCompleted                               ~@~CLD:15192.92.94. USD          ‐116.59       0   ‐116.59                            Sales@oneOpen PremU.S. Businenoreply‐Pa Open PremU.S. Business Verified 24V69831PInstant Tra Verified                             Norton™ S      1E+18           0                 6.6                                                                                                      1CL156613AP1272626989‐1                          18.15                                                                                    Debit
1258    1/3/2019       15:35:05   PST       Symantec Authorizat Completed                              ~@~CLD:1546934400~USD            ‐116.59       0   ‐116.59                            Sales@oneOpen PremU.S. Businenoreply‐Pa Open PremU.S. Business Verified 1CL156613Instant Tra Verified                             Norton™ S      1E+18           0                 6.6                                                                                                               AP1272626989‐1                          18.15                                                                                    Memo
1259    1/3/2019       14:46:44   PST       Bryan GravRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            byrangraveOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 4YW50133 Instant     Unverified Bryan GravConfirmed                                                                                                                                                                                                               18.15   407 46st St W          Palmetto FL              34221 United States              Credit
1260    1/3/2019       12:42:47   PST       ...          WithdrawaCompleted                            ~@~CLD:1546934400~USD             ‐18.15   ‐0.18    ‐17.97                            ...                                                                        3M692158 Credit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1261    1/3/2019       12:09:12   PST       Gale Tycz Recurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            gftycz@gmOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 6K8178284Instant     Unverified Gale Tycz, Confirmed                                                                                                                                                                                                              18.15   25 Carriage Drive      Durham      CT            6422 United States              Credit
1262    1/3/2019        8:17:07   PST       ...          WithdrawaCompleted                            ~@~CLD:1546934400~USD             ‐18.15   ‐0.18    ‐17.97                            ...                                                                        62V56242NCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1263    1/3/2019        7:58:37   PST       Marco PineRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            gmag1968@   Restricted U.S. PersonSales@oneOpen PremU.S. Business Verified 1S876136S Instant    Unverified Marco PineConfirmed                                                                                                                                                                                                               18.15   1225 s c st            Lake WorthFL             33460 United States              Credit
1264    1/3/2019        7:32:46   PST       ...          WithdrawaCompleted                            ~@~CLD:1546934400~USD              ‐36.3   ‐0.36    ‐35.94                            ...                                                                        3AW57344Credit Card [Unknown]                                                                                                                                                                                                                                         0                                                                                    Debit
1265    1/3/2019        6:47:14   PST       KG CommuRecurring PCompleted                               1 Month Website HostUSD               19   ‐0.85     18.15                            kim@kgcomOpen PremU.S. BusineSales@oneOpen PremU.S. Business Verified 52480276WInstant          Verified KG CommuConfirmed                                                                                                                                                                                                                    36.3   20 Gilbert Dr.         Glenwood NJ               7418 United States              Credit
1266    1/3/2019        6:06:06   PST       Teddy Und Recurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            twu.1968@Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 9F001512PInstant     Unverified Teddy Und Confirmed                                                                                                                                                                                                               18.15   5238 Foxcroft Ct.      Sarasota FL              34232 United States              Credit
1267    1/3/2019        5:59:24   PST       ...          WithdrawaCompleted                            ~@~CLD:1546934400~USD              ‐36.3   ‐0.36    ‐35.94                            ...                                                                        48A80802ACredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1268    1/3/2019        5:55:24   PST       Damon WaRecurring PCompleted                               1 Month Website HostUSD               19   ‐0.85     18.15                            yatahay54@  Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 85667779VInstant     Unverified Damon WaConfirmed                                                                                                                                                                                                                  36.3   2616 36 Ave W          Bradenton FL             34205 United States              Credit
1269    1/3/2019        5:48:46   PST       Jasmine RivRecurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            jasmineriveOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 1N203810MInstant     Unverified Jasmine RivConfirmed                                                                                                                                                                                                              18.15   711 22nd Ave W         Bradenton FL             34205 United States              Credit
1270    1/3/2019        5:42:20   PST       ...          WithdrawaCompleted                            ~@~CLD:1546934400~USD            ‐164.99   ‐1.65   ‐163.34                            ...                                                                        3GC838291Credit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1271    1/3/2019        4:21:57   PST       SHEILA CISCRecurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            SCISCO77@Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 5DL49980KInstant     Unverified Sheila Knig Confirmed                                                                                                                                                                                                            164.99   6914 COCONUT GROVELLENTON FL                    34222 United States              Credit
1272    1/3/2019        4:01:42   PST       Daniel Fish Recurring PCompleted                           1 Month Website HostUSD               19   ‐0.85     18.15                            jafishinger@Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 36R18356RInstant     Unverified Daniel Fish Confirmed                                                                                                                                                                                                            146.84   7504 Sea Mark Court Apollo Bea FL               33572 United States              Credit
1273    1/3/2019        3:41:47   PST       William MuRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            billclinic@aOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 3CX04783HInstant       Verified WILLIAM DConfirmed                                                                                                                                                                                                                 128.69   17 Nashua RD          Pepperell MA               1463 United States              Credit
1274    1/3/2019        3:32:46   PST       Vicki Hall Recurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            mtlmaidn@Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 6AB08827AInstant          Verified Vicki Hall, 2Confirmed                                                                                                                                                                                                             110.54   2105 47th Street PlaceBradenton FL              34209 United States              Credit
1275    1/3/2019        3:23:13   PST       Brian RolphRecurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            brolph1@cOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 90U67738AInstant     Unverified Brian RolphConfirmed                                                                                                                                                                                                              92.39   4505 Cernala Court Venice       FL              34293 United States              Credit
1276    1/3/2019        3:20:00   PST       JOYCARE SeRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            joyfully4jesOpen PremU.S. BusineSales@oneOpen PremU.S. Business Verified 9T495853TInstant       Verified Joy Coblen Confirmed                                                                                                                                                                                                                74.24   1900 7th Ave W        Palmetto FL            34221‐311 United States             Credit
1277    1/3/2019        2:24:15   PST       George GiuRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            ggiunta600Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 9RF682141Instant     Unverified George GiuConfirmed                                                                                                                                                                                                               56.09   1646 Serrano Circle Naples      FL              34105 United States              Credit
1278    1/3/2019        2:21:15   PST       David Kato Recurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            dkatona94 Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 1JD00121HInstant     Unverified David Kato Confirmed                                                                                                                                                                                                              37.94   4411 B 101st West     Bradenton FL              34210 United States              Credit
1279    1/2/2019       12:15:30   PST       Napoleon SRecurring PCompleted                             Trial 24HR Web HostinUSD               2   ‐0.36      1.64                            napoleon.sOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 2L4364998Instant     Verified Napoleon SConfirmed                                                                                                                                                                                                                 19.79   13710 Naples Park LanHouston TX                 77070 United States              Credit
1280    1/2/2019       10:23:48   PST       Richard MARecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            steeler111@ Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 0P9492137Instant       Verified Rick Malek Confirmed                                                                                                                                                                                                                18.15   33676 Guilbert Rd     Eastlake OH            44095‐253 United States             Credit
1281    1/2/2019        8:31:43   PST       ...          WithdrawaCompleted                            ~@~CLD:1546934400~USD             ‐18.15   ‐0.18    ‐17.97                            ...                                                                        580131138Credit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1282    1/2/2019        6:49:08   PST       Vanessa BaRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            vbazan@mOpen           U.S. PersonSales@oneOpen PremU.S. Business Verified 5T6361524Instant     Unverified Vanessa M Confirmed                                                                                                                                                                                                               18.15   4701 20th A            Bradenton FL             34207 United States              Credit
1283    1/2/2019        5:30:33   PST       ...          WithdrawaCompleted                            ~@~CLD:1546934400~USD             ‐18.15   ‐0.18    ‐17.97                            ...                                                                        2BU92899ECredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1284    1/2/2019        5:21:01   PST       Git R Done Recurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            mhallcoupoRestricted U.S. BusineSales@oneOpen PremU.S. Business Verified 61M51107 eCheck        Verified Git R Done Confirmed                                                                                                                                                                                                                18.15   2481 Hawthorne rd      Spring hill FL           34609 United States              Memo
1285    1/2/2019        4:51:23   PST       Mark BagleRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            mb308@swOpen           U.S. PersonSales@oneOpen PremU.S. Business Verified 9P855529DInstant     Verified Mark BagleConfirmed                                                                                                                                                                                                                 18.15   5136 Deerf#4           St. Louis MO             63128 United States              Credit
1286    1/2/2019        4:45:12   PST       ...          WithdrawaCompleted                            ~@~CLD:1546934400~USD             ‐62.22   ‐0.62     ‐61.6                            ...                                                                        6TC31731LCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1287    1/2/2019        3:57:47   PST       James Hint Recurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            tulsachero Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 93473267AInstant     Verified James Hint Confirmed                                                                                                                                                                                                                62.22   3007 25th. St. W.    Bradenton FL               34205 United States              Credit
1288    1/2/2019        2:51:55   PST       Ron SchmidRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            ronschmidtOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 7PD893667Instant     Unverified Ron SchmidConfirmed                                                                                                                                                                                                               44.07   7803 34th Court East Sarasota FL                34243 United States              Credit
1289    1/2/2019        2:19:04   PST       Bobby BlacRecurring PCompleted                             1 Month Website HostUSD               27   ‐1.08     25.92                            bblackwell Closed      U.S. PersonSales@oneOpen PremU.S. Business Verified 76N528304Instant     Unverified Bobby BlacConfirmed                                                                                                                                                                                                               25.92   13001 22nd Ct E      Parrish   FL               34219 United States              Credit
1290    1/1/2019       18:25:28   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1546588800~USD              31.98       0     31.98                            ...                                                                        5T653859AInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                             05X01891RM5898348                            31.98                                                                                    Credit
1291    1/1/2019       18:25:28   PST                    Mobile ExpCompleted                           ~@~CLD:1546934400~USD             ‐31.98       0    ‐31.98                            Sales@oneOpen PremU.S. Busineinfo@sega Open PremChinese Business Verif05X01891RInstant Tra Non‐U.S. ‐ Donna Fog Confirmed Adjustable 1.32E+11                    0        0         0                                             Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=132268603117                             0   8955 US Hwy 301 N # Parrish        FL        34219‐870 United States             Debit
1292    1/1/2019       16:15:05   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD             ‐18.15   ‐0.18    ‐17.97                            ...                                                                        6FW59104 Credit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1293    1/1/2019       16:02:19   PST       Harry Spar Recurring PCompleted                            1 Month Website HostUSD               19   ‐0.85     18.15                            e411team@Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 22M67508 Instant     Unverified Harry Spar Confirmed                                                                                                                                                                                                              18.15   4008 Colter Court      Kokomo      IN           46902 United States              Credit
1294    1/1/2019       10:04:31   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD             ‐18.15   ‐0.18    ‐17.97                            ...                                                                        9R627447WCredit Card [Unknown]                                                                                                                                                                                                                                        0                                                                                    Debit
1295    1/1/2019        9:10:00   PST       Heather OwRecurring PCompleted                             1 Month Website HostUSD               19   ‐0.85     18.15                            heatherjac Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 53T64455RInstant     Unverified HEATHER J Confirmed                                                                                                                                                                                                               18.15   1882 Vamo Dr           SARASOTA FL           34231‐772 United States             Credit
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       A            B                    C       D           E          F          G         H      I       J         K             L    M        N        O           P      Q   R       S         T         U          V         W          X         Y          Z        AA         AB        AC        AD         AE        AF         AG        AH       AI       AJ       AK       AL   AM   AN   AO   AP      AQ      AR        AS        AT        AU         AV       AW         AX           AY   AZ   BA         BB           BC            BD        BE           BF      BG          BH           BI   BJ      BK    BL   BM   BN
1296     1/1/2019        7:59:04   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      2B135611SCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1297     1/1/2019        6:38:20   PST       Jeanne Mc Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     fusionhybr Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 4PC40741XInstant     Unverified Jeanne Mc Confirmed                                                                                                                                                                                                           18.15   1242 West Del Webb BSun City CeFL                33573 United States                Credit
1298   12/31/2018       11:27:01   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      3SR07956YCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1299   12/31/2018       11:24:13   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1546588800~USD               700       0       700                     ...                                                                      3U379887LInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                         8A438747WU817844U                           718.15                                                                                       Credit
1300   12/31/2018       11:24:13   PST       United Glo Express Ch Completed                            ~@~CLD:1546588800~USD              ‐700       0      ‐700                     Sales@oneOpen PremU.S. Businedavid@uni Open PremU.S. Business Verified 8A438747WInstant Tra Verified Donna Fog Confirmed Dell Precisi 1.83E+11             0        0        0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=183357710171                         18.15   8955 US Hwy 301 N # Parrish        FL         34219‐870 United States               Debit
1301   12/31/2018        9:51:43   PST       Samantha Recurring PCompleted                              1 Month Website HostUSD              19   ‐0.85     18.15                     smjpt70@gOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 0X6852223Instant     Verified Samantha Confirmed                                                                                                                                                                                                              18.15   7504 Morning Side Dr Ellenton      FL            34222 United States                Credit
1302   12/31/2018        9:34:41   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD             ‐36.3   ‐0.36    ‐35.94                     ...                                                                      53592066CCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1303   12/31/2018        9:02:12   PST       Donald Kni Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     jndknight@Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 2AB24451FInstant       Verified Donald Kni Confirmed                                                                                                                                                                                                             36.3   12908 Maple St          Highland IL              62249 United States                Credit
1304   12/31/2018        7:36:00   PST       Joanne Luc Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     jojolucibell Open    U.S. PersonSales@oneOpen PremU.S. Business Verified 8MH96817Instant      Unverified Joanne Luc Confirmed                                                                                                                                                                                                          18.15   2924 Maximo Road        North Port FL            34286 United States                Credit
1305   12/31/2018        6:15:08   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD            ‐108.9   ‐1.09   ‐107.81                     ...                                                                      8PE08201NCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1306   12/31/2018        5:23:01   PST       joseph randRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     ringkking@Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 43N70456VInstant     Verified Joseph RanConfirmed                                                                                                                                                                                                             108.9   116 Bridge St           Bradenton FL          34217‐243 United States               Credit
1307   12/31/2018        5:05:00   PST       Charlotte SRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     csaise_sdp Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 3CU90977UInstant     Unverified Charlotte SConfirmed                                                                                                                                                                                                          90.75   102 3rd Ave Se          Ruskin      FL           33570 United States                Credit
1308   12/31/2018        4:49:28   PST       Scott Hall Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     scotthall.phOpen     U.S. PersonSales@oneOpen PremU.S. Business Verified 5FH77846MInstant     Unverified Scott Hall, Confirmed                                                                                                                                                                                                          72.6   18034 Malakai Isle Dr   Tampa       FL           33647 United States                Credit
1309   12/31/2018        3:51:02   PST       eugene ZepRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     hhfz137@cOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 2WJ16869FInstant     Unverified eugene ZepConfirmed                                                                                                                                                                                                           54.45   5605 Key Largo Ct.      Bradenton FL             34203 United States                Credit
1310   12/31/2018        3:49:17   PST       Leah Clend Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     rioflora@g Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 9D1655251Instant     Unverified Leah Clend Confirmed                                                                                                                                                                                                           36.3   799 Pinellas Pt Dr So   Saint Peter FL           33705 United States                Credit
1311   12/31/2018        2:30:43   PST       Suzanne MRecurring PCompleted                              1 Month Website HostUSD              19   ‐0.85     18.15                     SuzannecmOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 2KA14409UInstant     Unverified Suzanne MConfirmed                                                                                                                                                                                                            18.15   PO Box 1288             Bradenton FL             34206 United States                Credit
1312   12/30/2018        9:58:00   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      2AX37542HCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1313   12/30/2018        7:48:51   PST       lewis Rose Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     lewislrose5Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 7UJ30650EInstant     Unverified lewis Rose,Confirmed                                                                                                                                                                                                          18.15   15004 Trinity Fall Way Bradenton FL              34212 United States                Credit
1314   12/30/2018        7:14:58   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD            ‐69.69    ‐0.7    ‐68.99                     ...                                                                      0BS081961Credit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1315   12/30/2018        7:08:48   PST       Julie Webe Recurring PCompleted                            1 Month Website HostUSD              35   ‐1.32     33.68                     julieweb@ Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 41N535751Instant     Unverified Julie Webe Confirmed                                                                                                                                                                                                          69.69   2736 58th Place N       Saint Peter FL           33714 United States                Credit
1316   12/30/2018        4:46:10   PST       lynda notleRecurring PCompleted                            1 Month Website HostUSD              19   ‐1.14     17.86                     lynda4348@   Open    U.K. PersonSales@oneOpen PremU.S. Business Verified 9VV546124Instant     Non‐U.S. ‐ Mrs Lynda Confirmed                                                                                                                                                                                                           36.01   135 Foxholes Road       Poole                 BH15 3NE United Kingdom               Credit
1317   12/30/2018        4:41:46   PST       Johnj EvereRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     johne4420 Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 85L57692XInstant     Unverified Johnj EvereConfirmed                                                                                                                                                                                                          18.15   115 Kendall Dr          Danville KY              40422 United States                Credit
1318   12/29/2018       14:58:47   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      93R934615Credit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1319   12/29/2018       13:48:07   PST       Ryan WilliaRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     gatorryan.wOpen      U.S. PersonSales@oneOpen PremU.S. Business Verified 1PK74618LInstant     Verified Ryan WilliaConfirmed                                                                                                                                                                                                            18.15   301 60th ST W           BRADENTOFL               34209 United States                Credit
1320   12/29/2018       12:52:42   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      8FR16487SCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1321   12/29/2018       10:24:49   PST       Rebecca ReRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     siervarebecOpen      U.S. PersonSales@oneOpen PremU.S. Business Verified 5KK963677Instant     Verified Rebecca|C Confirmed                                                                                                                                                                                                             18.15   901 N. Wahneta St.      Allentown PENNSYLVA      18109 United States                Credit
1322   12/29/2018        9:38:20   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD             ‐36.3   ‐0.36    ‐35.94                     ...                                                                      9CP910251Credit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1323   12/29/2018        9:19:07   PST       Jenny Lyde Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     templeton Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 68389966J Instant    Unverified Jenny Tem Confirmed                                                                                                                                                                                                            36.3   620 Bowsp Country CluLongboat KFL                34228 United States                Credit
1324   12/29/2018        7:25:23   PST       Margret FisRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     guavagirl.1 Open     U.S. PersonSales@oneOpen PremU.S. Business Verified 514677846Instant     Unverified Margret FisConfirmed                                                                                                                                                                                                          18.15   1228 45th Ave Dr East Ellenton FL                34222 United States                Credit
1325   12/29/2018        7:02:15   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      9C485318KCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1326   12/29/2018        6:19:06   PST       VickiRay Fr Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     vickiray631Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 4HV65753YInstant     Unverified VickiRay Fr Confirmed                                                                                                                                                                                                         18.15   6311 Carl Shepard Dr Ruskin        FL            33570 United States                Credit
1327   12/29/2018        6:15:34   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD            ‐44.07   ‐0.44    ‐43.63                     ...                                                                      2KM68372 Credit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1328   12/29/2018        5:53:15   PST       Vera Sprag Recurring PCompleted                            1 Month Website HostUSD              27   ‐1.08     25.92                     spraggie21 Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 9RS849935Instant     Unverified Vera Sprag Confirmed                                                                                                                                                                                                          44.07   7400 Sunshine SkywaySt. Petersb FL               33711 United States                Credit
1329   12/29/2018        5:34:40   PST       Ronald L JaRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     rljavner@uOpen       U.S. PersonSales@oneOpen PremU.S. Business Verified 59T159342Instant     Verified Carole JavnConfirmed                                                                                                                                                                                                            18.15   4904 CREEKSIDE TRL SARASOTA FL                   34243 United States                Credit
1330   12/29/2018        4:42:55   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD            ‐44.07   ‐0.44    ‐43.63                     ...                                                                      61V12307YCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1331   12/29/2018        3:55:31   PST       pete miran Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     2007telfordOpen      U.S. PersonSales@oneOpen PremU.S. Business Verified 9EF86885AInstant     Verified pete miran Confirmed                                                                                                                                                                                                            44.07   1203 3rd st. Circle E   Palmetto FL              34221 United States                Credit
1332   12/29/2018        2:37:49   PST       Larry Sturn Recurring PCompleted                           1 Month Website HostUSD              27   ‐1.08     25.92                     laza1239@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 9Y8185180Instant     Unverified Larry Sturn Confirmed                                                                                                                                                                                                         25.92   811 FreedoApt 302       Sun City CeFL            33573 United States                Credit
1333   12/28/2018        6:30:37   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD             ‐36.3   ‐0.36    ‐35.94                     ...                                                                      3UL81012YCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1334   12/28/2018        6:05:16   PST       Susan Casil Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     sweetsue_ Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 7.52E+16 Instant     Verified Susan Casil Confirmed                                                                                                                                                                                                            36.3   2795 Bay Oaks Drive Sarasota FL                  34234 United States                Credit
1335   12/28/2018        5:39:51   PST       Paul FraileyRecurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     pfrailey1@ Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 8MD30630Instant      Verified Paul FraileyConfirmed                                                                                                                                                                                                           18.15   77‐6488 Maile St    Kailua KonaHI                96740 United States                Credit
1336   12/28/2018        5:02:05   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD            ‐44.07   ‐0.44    ‐43.63                     ...                                                                      57S40810BCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1337   12/28/2018        4:17:05   PST       Harry MartRecurring PCompleted                             1 Month Website HostUSD              27   ‐1.08     25.92                     909.martinOpen       U.S. PersonSales@oneOpen PremU.S. Business Verified 98374123WInstant     Verified Harry MartConfirmed                                                                                                                                                                                                             44.07   8008 55th St. E         Palmetto FL              34221 United States                Credit
1338   12/28/2018        3:15:41   PST       James McKRecurring PCompleted                              1 Month Website HostUSD              19   ‐0.85     18.15                     jim.mckinnOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 4N277995LInstant       Verified James McKConfirmed                                                                                                                                                                                                              18.15   5655 Bayview Drive      Seminole FL              33772 United States                Credit
1339   12/27/2018       13:46:21   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD            ‐51.83   ‐0.52    ‐51.31                     ...                                                                      8LB46043NCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1340   12/27/2018       13:24:54   PST       Gregory BeRecurring PCompleted                             1 Month Website HostUSD              35   ‐1.32     33.68                     aebrn57@ Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 9N987611KInstant     Verified Gregory BeConfirmed                                                                                                                                                                                                             51.83   5934 Easy SUNIT# K25 BRADENTOFL                  34207 United States                Credit
1341   12/27/2018        9:17:41   PST       Wallter Fin Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     wfinkelstei Open     U.S. PersonSales@oneOpen PremU.S. Business Verified 88T51562SInstant     Unverified Wallter Fin Confirmed                                                                                                                                                                                                         18.15   17028 Seaford Way Bradenton FL                   34202 United States                Credit
1342   12/27/2018        8:41:57   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      047094497Credit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1343   12/27/2018        7:29:45   PST       RAYMOND Recurring PCompleted                               1 Month Website HostUSD              19   ‐0.85     18.15                     rrrbug@hoOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 55N386170Instant        Verified RAYMOND Confirmed                                                                                                                                                                                                               18.15   6142 SUMTER DR          BROOKSVILFL              34602 United States                Credit
1344   12/27/2018        7:16:26   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD             ‐36.3   ‐0.36    ‐35.94                     ...                                                                      0FK106660Credit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1345   12/27/2018        6:56:34   PST       David Ham Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     kitchendes Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 8S316203L Instant    Unverified David Ham Confirmed                                                                                                                                                                                                            36.3   3812 70th Ave E.    Ellenton       FL            34222 United States                Credit
1346   12/27/2018        6:45:45   PST       Hillary Bell Recurring PCompleted                          1 Month Website HostUSD              19   ‐0.85     18.15                     jnhb6090@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 7ND705219Instant     Verified Hillary Bell Confirmed                                                                                                                                                                                                          18.15   10141 Newminster Lo Ruskin         FL            33573 United States                Credit
1347   12/27/2018        5:54:26   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD             ‐36.3   ‐0.36    ‐35.94                     ...                                                                      5VB80235CCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1348   12/27/2018        2:48:27   PST       Linda Whit Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     twinkie172Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 3VV20133YInstant     Unverified Linda Whit Confirmed                                                                                                                                                                                                           36.3   506 SE 24th St          Cape Coral FL            33990 United States                Credit
1349   12/27/2018        2:29:41   PST       Fred Nelso Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     fredndiane Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 663108553Instant     Unverified Fred Nelso Confirmed                                                                                                                                                                                                          18.15   2244 Pier Dr            Ruskin     FL            33570 United States                Credit
1350   12/26/2018        9:40:06   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      264001213Credit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1351   12/26/2018        9:01:04   PST       Alan Weng Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     alw0200@ Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 3T2056005Instant     Unverified Alan Weng Confirmed                                                                                                                                                                                                           18.15   42 West Oak St Lot A1 Osprey       FL            34229 United States                Credit
1352   12/26/2018        8:34:45   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      87H228703Credit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1353   12/26/2018        7:49:51   PST       Julieanne PRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     juiecma102Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 6D747579FInstant     Unverified Julieanne PConfirmed                                                                                                                                                                                                          18.15   4702 105th Ave East Parrish        FL            34219 United States                Credit
1354   12/26/2018        7:38:27   PST       ...          WithdrawaCompleted                            ~@~CLD:1546588800~USD            ‐90.75   ‐0.91    ‐89.84                     ...                                                                      7BL30118XCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1355   12/26/2018        7:28:01   PST       jorge yong Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     jorgeca207Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 3M845812 Instant     Unverified jorge yong,Confirmed                                                                                                                                                                                                          90.75   13140 sw 23 st       Miramar FL                  33027 United States                Credit
1356   12/26/2018        7:19:39   PST       Brad Maye Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     beachlife75Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 6PS52583FInstant     Verified Courtney MConfirmed                                                                                                                                                                                                              72.6   7049 Chatum Light Ru Bradenton FL                34212 United States                Credit
1357   12/26/2018        6:30:46   PST       Jane GREENRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     janieluv@aOpen       U.S. PersonSales@oneOpen PremU.S. Business Verified 571018751Instant     Unverified Jane GreenConfirmed                                                                                                                                                                                                           54.45   920 Westwind Dr      N Palm BeaFL             33408‐422 United States               Credit
1358   12/26/2018        6:05:31   PST       Rick Roett Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     mrroett@yOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 5WA13302Instant      Unverified Rick Roett, Confirmed                                                                                                                                                                                                          36.3   4657 72nd Ct E       Bradenton FL                34203 United States                Credit
1359   12/26/2018        4:48:35   PST       Christine L Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     Brokervee@Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 1WF78005 Instant     Unverified Christine B Confirmed                                                                                                                                                                                                         18.15   8457 Idlewood Ct     Lakewood FL                 34202 United States                Credit
1360   12/25/2018       18:21:54   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1545984000~USD             303.6       0     303.6                     ...                                                                      3JN32421MInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                     85C06177J4891351N                                303.6                                                                                       Credit
1361   12/25/2018       18:21:54   PST                    Mobile WeCompleted                            ~@~CLD:1545984000~USD            ‐303.6       0    ‐303.6                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier Verifi85C06177J Instant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to      for invo         0                 0                                                                                                                 INV2‐M32Y‐G436‐GTJE‐XVD8                    0   8955 US Hwy 301 N #1Parrish        FL            34219 United States                Debit
1362   12/25/2018       18:19:36   PST                    Invoice RecPaid                                                     USD         303.6       0     303.6                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐M32Y‐G436‐GTJE‐XVD8                                                             0                          0        0                                                                                               XL181226WF                       ...                                                                                                Memo
1363   12/25/2018       11:42:03   PST       ...          WithdrawaCompleted                            ~@~CLD:1545984000~USD            ‐48.25   ‐0.48    ‐47.77                     ...                                                                      93H01584YCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1364   12/25/2018       11:40:22   PST       DROB TECHMobile PayCompleted                               ~@~CLD:1545984000~USD                50   ‐1.75     48.25 Affiliate           drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 90041023PInstant      Verified DROB TECHConfirmed                                                                                                                                                                                                              48.25   197 PARK SIDE DRIVE SUFFERN NY                   10901 United States                Credit
1365   12/25/2018        7:39:44   PST       ...          WithdrawaCompleted                            ~@~CLD:1545984000~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      7U122488SCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1366   12/25/2018        7:38:27   PST       Robert DavRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     rwdavis370Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 88000525UInstant     Unverified Robert DavConfirmed                                                                                                                                                                                                           18.15   907 49th ave terrace wBradenton FL               34207 United States                Credit
1367   12/25/2018        7:34:25   PST       ...          WithdrawaCompleted                            ~@~CLD:1545984000~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      2C983592VCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1368   12/25/2018        6:51:12   PST       Jeannery GRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     mgreeners Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 92D70881WInstant     Verified Jeannery GConfirmed                                                                                                                                                                                                             18.15   3805 72nd Ter E         Sarasota   FL         34243‐516 United States               Credit
1369   12/25/2018        5:04:57   PST       ...          WithdrawaCompleted                            ~@~CLD:1545984000~USD            ‐90.75   ‐0.91    ‐89.84                     ...                                                                      0M099409 Credit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1370   12/25/2018        4:06:36   PST       Mike Neav Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     Mikenea@ Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 3HF63797DInstant     Unverified Mike Neav Confirmed                                                                                                                                                                                                           90.75   324 Petrel Trl       Bradenton FL                 34212   United States             Credit
1371   12/25/2018        3:12:34   PST       Charles Ga Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     cjg651@gmOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 86B330210Instant     Verified Charles Ga Confirmed                                                                                                                                                                                                             72.6   5040 Palmetto WoodsNaples      FL                 34119   United States             Credit
1372   12/25/2018        2:48:25   PST       Elizabeth S Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     lizsmith13@Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 7WV44324Instant      Unverified Elizabeth S Confirmed                                                                                                                                                                                                         54.45   2072 Pitt St.        Cornwall ON              K6J 5G3     Canada                    Credit
1373   12/25/2018        2:14:20   PST       Kimberly H Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     kphubner@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 1GP74015VInstant     Unverified Kimberly H Confirmed                                                                                                                                                                                                           36.3   3815 Pin Oaks Street Sarasota FL                  34232   United States             Credit
1374   12/25/2018        2:09:23   PST       James FromRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     jrfroman19Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 79857504RInstant     Verified James FromConfirmed                                                                                                                                                                                                             18.15   35 7th St.           Nokomis FL                   34275   United States             Credit
1375   12/24/2018       12:34:47   PST       ...          WithdrawaCompleted                            ~@~CLD:1545984000~USD             ‐36.3   ‐0.36    ‐35.94                     ...                                                                      97N35824BCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1376   12/24/2018       12:30:24   PST       Sarasota WRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     sckoch69@Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 32S21999GInstant        Verified Steve Koch Confirmed                                                                                                                                                                                                             36.3   4648 Charing Cross rd Sarasota FL             34241‐612 United States               Credit
1377   12/24/2018       11:37:26   PST       Henry ArseRecurring PCompleted                             1 Month W47.200.211USD               19   ‐0.85     18.15                     hank98471Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 0TT123946Instant     Verified henry s ars Confirmed                                                                                                                                                                                                           18.15   5602 79TH AVE E       PALMETTOFL                 34221 United States                Credit
1378   12/24/2018        9:12:40   PST       ...          WithdrawaCompleted                                                  USD        ‐18.15   ‐0.18    ‐17.97                     ...                                                                      54E95426UCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1379   12/24/2018        9:00:30   PST       Cynthia SchRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     c.schwab@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 59U58121FInstant     Unverified Cynthia SchConfirmed                                                                                                                                                                                                          18.15   17146 Malta Ave         Port CharloFL            33954 United States                Credit
1380   12/24/2018        7:13:17   PST       ...          WithdrawaCompleted                                                  USD        ‐52.51   ‐0.53    ‐51.98                     ...                                                                      64A606777Credit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1381   12/24/2018        7:05:22   PST       The Better Recurring PCompleted                            1 Month Website HostUSD              18   ‐0.82     17.18                     jmanzano1Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 4C039072LInstant        Verified The Better Confirmed                                                                                                                                                                                                            52.51   6535 Anch Apt# 204 Bradenton FL                  34212 United States                Credit
1382   12/24/2018        6:36:51   PST       Martin Lee Recurring PCompleted                            1 Month Website HostUSD              18   ‐0.82     17.18                     siestakeysuOpen      U.S. PersonSales@oneOpen PremU.S. Business Verified 4EF71439UInstant     Verified Martin Lee Confirmed                                                                                                                                                                                                            35.33   PO Box 51704       Sarasota FL                   34232 United States                Credit
1383   12/24/2018        6:06:52   PST       Robin MaleRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     malekrobinOpen       U.S. PersonSales@oneOpen PremU.S. Business Verified 4RR26857UInstant     Unverified Robin MaleConfirmed                                                                                                                                                                                                           18.15   4153 Smoke Signal  Sebring   FL                  33872 United States                Credit
1384   12/23/2018       13:57:29   PST       ...          WithdrawaCompleted                                                  USD        ‐18.15   ‐0.18    ‐17.97                     ...                                                                      4AN68300 Credit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1385   12/23/2018       12:55:27   PST       Ron Reppu Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     reppuccieleOpen PremU.S. BusineSales@oneOpen PremU.S. Business Verified 7SK77272FInstant      Unverified Ron Reppu Confirmed                                                                                                                                                                                                           18.15   339 WhittieBox 224      Tamworth NH               3886 United States                Credit
1386   12/23/2018       10:37:20   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1545897600~USD               595       0       595                     ...                                                                      2L530441KInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                         2CK25984VH9692311                              595                                                                                       Credit
1387   12/23/2018       10:37:20   PST       jennifer cri Mobile ExpRefunded                            ~@~CLD:1545897600~USD              ‐595       0      ‐595                     Sales@oneOpen PremU.S. Businejcritt76@yaOpen      U.S. Personal Verified 2CK25984VInstant Tra Verified Donna Fog Confirmed ASUS GL55 3.03E+11             35        0        0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=302987073744                             0   8955 US Hwy 301 N # Parrish        FL         34219‐870 United States               Debit
1388   12/23/2018        4:58:58   PST       ...          WithdrawaCompleted                            ~@~CLD:1545897600~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      4AT53372RCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1389   12/23/2018        2:59:46   PST       FRITZ MAR Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     fritz_marti Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 46B14516UInstant     Verified FRITZ MAR Confirmed                                                                                                                                                                                                             18.15   924 Paradise Island Dr DeFuniak S FL          32433‐707 United States               Credit
1390   12/22/2018       10:22:45   PST       ...          WithdrawaCompleted                            ~@~CLD:1545897600~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      0CF245138Credit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1391   12/22/2018        6:23:43   PST       Robert Sav Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     rsaviola@aOpen       U.S. PersonSales@oneOpen PremU.S. Business Verified 92C346519Instant     Unverified Robert Sav Confirmed                                                                                                                                                                                                          18.15   280 126th Ave Unit 10Treasure Is FL              33706 United States                Credit
1392   12/22/2018        5:08:56   PST       ...          WithdrawaCompleted                            ~@~CLD:1545897600~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      5SK21740J Credit Card [Unknown]                                                                                                                                                                                                                                   0                                                                                       Debit
1393   12/22/2018        4:46:51   PST       ANTHONY Recurring PCompleted                               1 Month Website HostUSD              19   ‐0.85     18.15                     finishcut@ Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 4CL214117Instant      Unverified ANTHONY Confirmed                                                                                                                                                                                                             18.15   #6 7th street west      nokomis    FL            34275 United States                Credit
1394   12/22/2018        4:40:21   PST       ...          WithdrawaCompleted                            ~@~CLD:1545897600~USD             ‐36.3   ‐0.36    ‐35.94                     ...                                                                      4K175241WCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1395   12/22/2018        4:28:40   PST       PETER WIL Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     pkbw@hotOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 55R91728TInstant         Verified PETER WIL Confirmed                                                                                                                                                                                                              36.3   20 Rambleton Drive New CastleDE                  19720 United States                Credit
1396   12/22/2018        3:09:27   PST       bridgette s Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     kgbstout@ Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 3N2339882Instant     Verified bridgette s Confirmed                                                                                                                                                                                                           18.15   8875 39th Street CircleParrish FL                34219 United States                Credit
1397   12/21/2018       15:00:29   PST       ...          WithdrawaCompleted                            ~@~CLD:1545897600~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      72N68998CCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1398   12/21/2018       14:44:32   PST       DIANE NAMRecurring PCompleted                              1 Month Website HostUSD              19   ‐0.85     18.15                     LOTTERYGI Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 9GJ44856NInstant     Unverified DIANE NAMConfirmed                                                                                                                                                                                                            18.15   2003 WILLOW BROOK WARREN OH                      44483 United States                Credit
1399   12/20/2018       18:02:48   PST       ...          WithdrawaCompleted                            ~@~CLD:1545897600~USD             ‐36.3   ‐0.36    ‐35.94                     ...                                                                      9BC225627Credit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1400   12/20/2018       13:26:16   PST       pam miller Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     putchka63@   Open    U.S. PersonSales@oneOpen PremU.S. Business Verified 6KA93187YInstant     Unverified pam miller Confirmed                                                                                                                                                                                                           36.3   5535 key west place Bradenton FL                 34203 United States                Credit
1401   12/20/2018       12:50:37   PST       kelly covilleRecurring PCompleted                          1 Month Website HostUSD              19   ‐0.85     18.15                     kelshine5@Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 5U1185838Instant       Unverified Kelly Covill Confirmed                                                                                                                                                                                                        18.15   5871 17th Street WestBradenton FL                34207 United States                Credit
1402   12/20/2018        7:19:34   PST       ...          WithdrawaCompleted                            ~@~CLD:1545897600~USD             ‐36.3   ‐0.36    ‐35.94                     ...                                                                      8U576321DCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1403   12/20/2018        7:06:05   PST       sonja bach Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     sbdaylily1@Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 43G54330XInstant     Unverified sonja bach Confirmed                                                                                                                                                                                                           36.3   1717 daylily drive      trinity   FL             34655 United States                Credit
1404   12/20/2018        6:14:42   PST       Tawanda K Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     Tawanda.k Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 69845426NInstant     Verified Tawanda K Confirmed                                                                                                                                                                                                             18.15   5408 3rd st w           Bradenton FL             34207 United States                Credit
1405   12/20/2018        6:04:40   PST       ...          WithdrawaCompleted                            ~@~CLD:1545897600~USD             ‐36.3   ‐0.36    ‐35.94                     ...                                                                      11350180LCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1406   12/20/2018        5:58:28   PST       william hayRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     pumkinx@ Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 7DM94677Instant      Verified william hayConfirmed                                                                                                                                                                                                             36.3   469 Kaiser Dr           palmetto FL           34221‐542 United States               Credit
1407   12/20/2018        5:47:46   PST       john suttonRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     les55suttonOpen      U.S. PersonSales@oneOpen PremU.S. Business Verified 7UR17099BInstant     Unverified john suttonConfirmed                                                                                                                                                                                                          18.15   2002 17th St W.         Palmetto FL              34221 United States                Credit
1408   12/20/2018        5:42:01   PST       ...          WithdrawaCompleted                            ~@~CLD:1545897600~USD             ‐72.6   ‐0.73    ‐71.87                     ...                                                                      9K965937ACredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1409   12/20/2018        4:32:28   PST       Ashley Wa Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     walogorskyOpen PremU.S. BusineSales@oneOpen PremU.S. Business Verified 59N284206Instant       Unverified Ashley Wa Confirmed                                                                                                                                                                                                            72.6   934 Jungle Avenue No Saint Peter FL              33710 United States                Credit
1410   12/20/2018        3:35:49   PST       Patricia McRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     paddimccluOpen       U.S. PersonSales@oneOpen PremU.S. Business Verified 6KV727816Instant     Verified Patricia McConfirmed                                                                                                                                                                                                            54.45   283 crescent rd        wanaque NJ             07465‐121 United States               Credit
1411   12/20/2018        2:02:14   PST       Robert Mo Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     bobkathfl1 Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 2BB482371Instant     Unverified Robert Mo Confirmed                                                                                                                                                                                                            36.3   2689 S Crystal Lake Dr Avon Park FL              33825 United States                Credit
1412   12/19/2018       20:39:40   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1545638400~USD             77.99       0     77.99                     ...                                                                      1NW60120Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                      5CU00668MC533214U                                96.14                                                                                       Credit
1413   12/19/2018       20:39:40   PST       IPVanish.coMobile ExpCompleted                             IPVanish Subscription~USD        ‐77.99       0    ‐77.99                     Sales@oneOpen PremU.S. BusineexpresspayOpen PremU.S. Business Verified 5CU00668MInstant Tra Verified OneBoxTV Confirmed IPVanish Subscription             0                  0                                                                                                                de31591545280700                         18.15   8955 US Hwy 301 N #1Parrish    FL                34219 United States                Debit
1414   12/19/2018       12:34:45   PST       Carlos Faja Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     cfaja546@ Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 0H079360UInstant     Unverified Carlos Faja Confirmed                                                                                                                                                                                                         18.15   2825 Pecan St       North Port FL                34287 United States                Credit
1415   12/19/2018        8:51:26   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD           ‐106.28   ‐1.06   ‐105.22                     ...                                                                      7A818841J Credit Card [Unknown]                                                                                                                                                                                                                                   0                                                                                       Debit
1416   12/19/2018        7:01:49   PST       James BreeRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     jeb127327@   Open    U.S. PersonSales@oneOpen PremU.S. Business Verified 1F3951172Instant     Verified James BreeConfirmed                                                                                                                                                                                                            106.28   3708 Riviera Dr         Sarasota FL              34232 United States                Credit
1417   12/19/2018        6:47:13   PST       Laura Siek Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     siekl58@gmOpen       U.S. PersonSales@oneOpen PremU.S. Business Verified 9VK24929UInstant     Unverified Laura Siek, Confirmed                                                                                                                                                                                                         88.13   13033 19 Mile Rd Lot    Gowen     MI             49326 United States                Credit
1418   12/19/2018        5:58:13   PST       Edward PinRecurring PCompleted                             1 Month Website HostUSD              35   ‐1.32     33.68                     paze25@g Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 5VM74270 Instant     Unverified Edward PinConfirmed                                                                                                                                                                                                           69.98   5612 Mallow St          New Prt RcFL          34652‐516 United States               Credit
1419   12/19/2018        5:23:38   PST       robert samRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     samulka.roOpen       U.S. PersonSales@oneOpen PremU.S. Business Verified 84K834393Instant     Unverified robert samConfirmed                                                                                                                                                                                                            36.3   4019 Laurel Way         Ellenton FL              34222 United States                Credit
1420   12/19/2018        2:23:35   PST       Melvin ShaRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     mshaw494 Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 22579988RInstant     Verified Melvin E. S Confirmed                                                                                                                                                                                                           18.15   123 Walton Heath Dr     Raeford NC            28376‐590 United States               Credit
1421   12/18/2018        5:18:50   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD             ‐36.3   ‐0.36    ‐35.94                     ...                                                                      3UN20793 Credit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1422   12/18/2018        5:00:19   PST       Cheryl HillmRecurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     cherlyhillmOpen      U.S. PersonSales@oneOpen PremU.S. Business Verified 0WT16967 Instant     Unverified Cheryl HillmConfirmed                                                                                                                                                                                                          36.3   1988 Se Cherry Dr    Arcadia  FL                 34266 United States                Credit
1423   12/18/2018        4:14:02   PST       David HollaRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     david.holla Open     U.S. PersonSales@oneOpen PremU.S. Business Verified 4NR105900Instant     Unverified David HollaConfirmed                                                                                                                                                                                                          18.15   9124 Raes Creek PlacePalmetto FL                 34221 United States                Credit
1424   12/18/2018        3:47:49   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD             ‐36.3   ‐0.36    ‐35.94                     ...                                                                      8GV110013Credit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1425   12/18/2018        3:46:47   PST       James FriedRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     jfriedhoff@Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 0C0733341Instant     Verified James FriedConfirmed                                                                                                                                                                                                             36.3   928 S Doral Ln.         Venice    FL             34293 United States                Credit
1426   12/18/2018        2:30:28   PST       Linda WormRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     lworman8@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 0EM22526 Instant     Verified Linda WormConfirmed                                                                                                                                                                                                             18.15   6 Parkwood              Bradenton FL             34208 United States                Credit
1427   12/17/2018        5:51:33   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD            ‐54.16   ‐0.54    ‐53.62                     ...                                                                      1CU654756Credit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1428   12/17/2018        4:29:04   PST       Carol MasoRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     carolnisbetOpen      U.S. PersonSales@oneOpen PremU.S. Business Verified 3NJ16997NInstant     Verified Carol MasoConfirmed                                                                                                                                                                                                             54.16   2198 Briar Creek Way Sarasota FL                  34235 United States               Credit
1429   12/17/2018        2:17:03   PST       Quintin MoRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     qmoyer1@Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 9FK05191WInstant     Unverified Quintin MoConfirmed                                                                                                                                                                                                           36.01   4377 Maddock Circle North Port FL                 34286 United States               Credit
1430   12/16/2018       13:04:14   PST       leafsMicha Recurring PCompleted                            1 Month Website HostUSD              19   ‐1.14     17.86                     m_dwilson Open       Canadian PSales@oneOpen PremU.S. Business Verified 0SV15813GInstant      Non‐U.S. ‐ leafsMicha Confirmed                                                                                                                                                                                                          17.86   P.O. Box 190         MoonbeamOntario          P0L 1V0 Canada                        Credit
1431   12/16/2018        6:37:50   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD            ‐65.43   ‐0.65    ‐64.78                     ...                                                                      3VB12649LCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1432   12/16/2018        6:36:25   PST       DROB TECHMobile PayCompleted                               ~@~CLD:1545638400~USD                49   ‐1.72     47.28 Affiliate           drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 96Y50455MInstant      Verified DROB TECHConfirmed                                                                                                                                                                                                              65.43   197 PARK SIDE DRIVE SUFFERN NY                   10901 United States                Credit
1433   12/16/2018        5:06:19   PST       Suzanne N Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     tropical_suOpen      U.S. PersonSales@oneOpen PremU.S. Business Verified 1Y2286651Instant     Unverified Suzanne N Confirmed                                                                                                                                                                                                           18.15   6641 Laguna Vista Dr NRockford MI                49341 United States                Credit
1434   12/16/2018        5:02:05   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      8V5625741Credit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1435   12/16/2018        3:25:53   PST       Janice StanRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     jstanton63 Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 0J8017842 Instant    Unverified Janice StanConfirmed                                                                                                                                                                                                          18.15   10380 Alpine Ave        Sparta     MI            49345 United States                Credit
1436   12/15/2018        6:47:56   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      4GW76387Credit Card [Unknown]                                                                                                                                                                                                                                     0                                                                                       Debit
1437   12/15/2018        5:47:33   PST       Rose Lee B Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     mlblaze@yOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 2DR196244Instant     Verified Rose Lee B Confirmed                                                                                                                                                                                                            18.15   1506 w. henderson st. chicago      IL            60657 United States                Credit
1438   12/15/2018        5:21:39   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD             ‐36.3   ‐0.36    ‐35.94                     ...                                                                      9F925306RCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1439   12/15/2018        4:59:02   PST       Nancy Had Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     hadleyn1@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 7S3738858Instant     Verified Nancy Had Confirmed                                                                                                                                                                                                              36.3   5613 Key Largo Ct    Bradenton FL                34203 United States                Credit
1440   12/15/2018        4:50:38   PST       Christine R Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     droussopo Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 6X3801038Instant     Unverified Christine R Confirmed                                                                                                                                                                                                         18.15   2825 Terra Unit 1602 Palmetto FL                 34221 United States                Credit
1441   12/15/2018        4:42:25   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD            ‐98.52   ‐0.99    ‐97.53                     ...                                                                      4PM47288 Credit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1442   12/15/2018        4:22:31   PST       Marvin Cle Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     mclevenge Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 9AN95368GInstant     Unverified Marvin Cle Confirmed                                                                                                                                                                                                          98.52   2313 W.Cambridge Dr Muncie     IN                47304 United States                Credit
1443   12/15/2018        3:45:53   PST       Brent KleinRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     kleinbail@gOpen      U.S. PersonSales@oneOpen PremU.S. Business Verified 91247954GInstant     Unverified Brent KleinConfirmed                                                                                                                                                                                                          80.37   2562 Marblehead Dr Sarasota FL                   34231 United States                Credit
1444   12/15/2018        3:26:12   PST       Barion Mill Recurring PCompleted                           1 Month Website HostUSD              27   ‐1.08     25.92                     barionm@ Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 34M35383 Instant     Verified Barion Mill Confirmed                                                                                                                                                                                                           62.22   4818 61st Avenue DrivBradenton FL                34210 United States                Credit
1445   12/15/2018        3:19:36   PST       James HarnRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     jrh8999@gOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 74564317UInstant     Verified James HarnConfirmed                                                                                                                                                                                                              36.3   6321 113thApt 1402 Seminole FL                   33772 United States                Credit
1446   12/14/2018        7:38:28   PST       mike chart Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     sarasotamcOpen       U.S. PersonSales@oneOpen PremU.S. Business Verified 63T434830Instant     Verified mike chart Confirmed                                                                                                                                                                                                            18.15   4802 51st. Unit 103 Bradenton FL                 34210 United States                Credit
1447   12/13/2018       10:15:31   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      38Y02319ACredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1448   12/13/2018       10:10:53   PST       Laurie PageRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     laurie.eb.p Open     U.S. PersonSales@oneOpen PremU.S. Business Verified 2SM99691 Instant     Verified Laurie PageConfirmed                                                                                                                                                                                                            18.15   936 145th Street CircleBradenton FL              34212 United States                Credit
1449   12/13/2018        7:31:39   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      39270851J Credit Card [Unknown]                                                                                                                                                                                                                                   0                                                                                       Debit
1450   12/13/2018        6:51:40   PST       tkshoppingRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     simplyist@Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 47F81877XInstant       Verified tkshoppingConfirmed                                                                                                                                                                                                             18.15   48 Lyman St             Worcester MA              1603 United States                Credit
1451   12/13/2018        6:25:10   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      8SL713980 Credit Card [Unknown]                                                                                                                                                                                                                                   0                                                                                       Debit
1452   12/13/2018        5:34:38   PST       Cain Cain Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     cinsweet64Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 4SG89249PInstant     Unverified Cain Cain, 8Confirmed                                                                                                                                                                                                         18.15   816 64th ave Dr E       Bradenton FL             34203 United States                Credit
1453   12/13/2018        5:06:54   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      31564075ACredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1454   12/13/2018        5:05:09   PST       Sabine FulkRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     splanet69@Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 9H9597417Instant       Verified Sabine FulkConfirmed                                                                                                                                                                                                            18.15   5728 28th St E          Bradenton FL             34203 United States                Credit
1455   12/12/2018       11:09:15   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      4C3105775Credit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1456   12/12/2018       10:53:31   PST       David CancRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     vipr1960@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 0KF09622J Instant    Unverified David CancConfirmed                                                                                                                                                                                                           18.15   1120 53rd Ave E Lot 12Bradenton FL               34203 United States                Credit
1457   12/12/2018        9:16:42   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      54B39097DCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1458   12/12/2018        6:31:27   PST       Michael Ev Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     winkledorf Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 87384354RInstant     Verified Michael Ev Confirmed                                                                                                                                                                                                            18.15   1596 S VENICE BLVD VENICE          FL         34293‐616 United States               Credit
1459   12/12/2018        5:43:45   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD             ‐72.6   ‐0.73    ‐71.87                     ...                                                                      67T30602L Credit Card [Unknown]                                                                                                                                                                                                                                   0                                                                                       Debit
1460   12/12/2018        5:38:27   PST       K&M enterRecurring PCompleted                              1 Month Website HostUSD              19   ‐0.85     18.15                     kkmkx3@g Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 6CN48035NInstant        Verified K&M enterConfirmed                                                                                                                                                                                                               72.6   2215 4th St SW        Ruskin       FL            33570 United States                Credit
1461   12/12/2018        5:35:36   PST       Kenneth Je Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     cowboyswiOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 7EW83674 Instant     Verified Kenneth Je Confirmed                                                                                                                                                                                                            54.45   4314 Douglas Hill Pl Parrish       FL            34219 United States                Credit
1462   12/12/2018        5:34:17   PST       Eddo Butle Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     shortfolks5Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 5CM22384 Instant     Unverified Eddo Butle Confirmed                                                                                                                                                                                                           36.3   1883 Briar Creek PlaceSarasota     FL            34235 United States                Credit
1463   12/12/2018        3:09:02   PST       Jaco tours Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     MINTO179 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 4WD30185Instant         Unverified Michael M Confirmed                                                                                                                                                                                                           18.15   2151 N State Road 7 Margate        FL         33063‐571 United States               Credit
1464   12/11/2018       18:36:45   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      37U832539Credit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1465   12/11/2018       13:59:50   PST       Robert BelaRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     rbelanger7 Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 64G062550Instant     Unverified Robert BelaConfirmed                                                                                                                                                                                                          18.15   2239 Sifield Greens W Sun City CeFL              33573 United States                Credit
1466   12/11/2018       11:22:35   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD             ‐36.3   ‐0.36    ‐35.94                     ...                                                                      73J60473DCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1467   12/11/2018        7:43:46   PST       Shirley McLRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     sam7330@Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 44M56437 Instant     Unverified Shirley McLConfirmed                                                                                                                                                                                                           36.3   4034 Cochise Terrace Sarasota FL                 34233 United States                Credit
1468   12/11/2018        6:43:28   PST       Frank T Cle Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     clemenf@gOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 3RW76617Instant         Verified frank clemeConfirmed                                                                                                                                                                                                            18.15   6730 283rd Street Eas Myakka CitFL               34251 United States                Credit
1469   12/11/2018        5:02:53   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      62E96022ECredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1470   12/11/2018        4:51:42   PST       Michael M Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     mikemirab Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 22G105173Instant     Unverified Michael M Confirmed                                                                                                                                                                                                           18.15   5536 42nd Street East Bradenton FL               34203 United States                Credit
1471   12/10/2018       10:41:45   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      6W130584 Credit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1472   12/10/2018        9:35:02   PST       Timothy AuRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     taubin@ta Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 9T5249379Instant     Unverified Timothy AuConfirmed                                                                                                                                                                                                           18.15   570 57th Ave W Lot 25Bradenton FL                34207 United States                Credit
1473   12/10/2018        7:57:40   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD            ‐66.97   ‐0.67     ‐66.3                     ...                                                                      2VB76190BCredit Card [Unknown]                                                                                                                                                                                                                                    0                                                                                       Debit
1474   12/10/2018        7:30:24   PST       Rick BallardRecurring PCompleted                           1 Month Website HostUSD              19   ‐1.14     17.86                     rick.ballardOpen     Canadian PSales@oneOpen PremU.S. Business Verified 7MU88621Instant       Non‐U.S. ‐ Rick BallardConfirmed                                                                                                                                                                                                         66.97   10068 Siesta Bay Dr. # NAPLES FL                 34120 United States                Credit
1475   12/10/2018        7:20:10   PST       Giosia MogRecurring PCompleted                             1 Month Website HostUSD            13.5   ‐0.69     12.81                     giosiam@gOpen PremU.S. BusineSales@oneOpen PremU.S. Business Verified 40F78226F Instant       Verified Casa Bella, Confirmed                                                                                                                                                                                                           49.11   431 9th St             West EastoPA              18042 United States                Credit
1476   12/10/2018        6:57:53   PST       richard joh Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     knightriderOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 7B487897MInstant      Verified Richard JohConfirmed                                                                                                                                                                                                             36.3   1207 Caloosa Creek CtSun City CeFL            33573‐487 United States               Credit
1477   12/10/2018        5:39:07   PST       Kevin ChrisRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     jlchristmanLocked    U.S. PremieSales@oneOpen PremU.S. Business Verified 1J758860MInstant     Verified Kevin ChrisConfirmed                                                                                                                                                                                                            18.15   2105 12th Ave W        Bradenton FL              34205 United States                Credit
1478   12/10/2018        5:38:52   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD             ‐36.3   ‐0.36    ‐35.94                     ...                                                                      0J849809P Credit Card [Unknown]                                                                                                                                                                                                                                   0                                                                                       Debit
1479   12/10/2018        5:13:04   PST       John WyattRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     milumjak@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 66E25339DInstant     Verified John WyattConfirmed                                                                                                                                                                                                              36.3   980 7th St NW, Lot 66 Largo   FL                 33770 United States                Credit
1480   12/10/2018        4:53:03   PST       Loreen HouRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     hcody3@y Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 75B98181XInstant     Verified Loreen HouConfirmed                                                                                                                                                                                                             18.15   20017 Oakdale Ave Brooksville FL                 34601 United States                Credit
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       A            B                    C       D           E          F          G         H      I       J         K            L    M        N        O           P      Q   R       S         T          U         V          W          X         Y          Z        AA         AB         AC        AD         AE        AF         AG       AH   AI       AJ       AK       AL   AM   AN   AO   AP   AQ   AR   AS   AT   AU   AV     AW        AX       AY       AZ    BA         BB           BC           BD        BE           BF      BG         BH           BI   BJ      BK    BL   BM   BN
1481   12/10/2018        4:33:03   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD            ‐36.3   ‐0.36    ‐35.94                     ...                                                                         1MG07035Credit Card [Unknown]                                                                                                                                                                                                   0                                                                                    Debit
1482   12/10/2018        4:19:05   PST       Barbara KuRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     barb49kue Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 2V267528UInstant          Verified Barbara KuConfirmed                                                                                                                                                                           36.3    8925 SW 171ST ST      PALMETTOFL               33157 United States               Credit
1483   12/10/2018        3:33:47   PST       Leo LozeauRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     llozeau442 Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 0YW49452 Instant     Unverified Leo LozeauConfirmed                                                                                                                                                                        18.15    47 Larkspur Ave       Palmetto FL              32444 United States               Credit
1484    12/9/2018        7:07:30   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD            ‐36.3   ‐0.36    ‐35.94                     ...                                                                         5XT30196GCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1485    12/9/2018        6:26:59   PST       Amber Wh Recurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     jorgenel15 Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 8HT94003HInstant     Unverified Amber Wh Confirmed                                                                                                                                                                          36.3    2827 22nd St W        Bradenton FL             34207 United States               Credit
1486    12/8/2018        5:34:14   PST       Jack Coury Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jcoury@tamOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 3NP94979JInstant     Verified Jack Coury,Confirmed                                                                                                                                                                         18.15    4550 PinebApt. 601    Bradenton FL             34209 United States               Credit
1487    12/8/2018        4:51:07   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD            ‐72.6   ‐0.73    ‐71.87                     ...                                                                         6H886518JCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1488    12/8/2018        4:41:18   PST       Elaine GrenRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     efgrenier@Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 8TX36937NInstant     Unverified Elaine GrenConfirmed                                                                                                                                                                        72.6    6633 53rd Ave E       Bradenton FL             34203 United States               Credit
1489    12/8/2018        4:33:56   PST       Susan kelseRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     kelsey1948Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 28U30775HInstant     Unverified Susan kelseConfirmed                                                                                                                                                                       54.45    18939 W Maple         InterlochenMI            49643 United States               Credit
1490    12/8/2018        3:32:24   PST       Scott Lurgi Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     tazlurgio@ Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 3M252226 Instant         Verified Scott Lurgi Confirmed                                                                                                                                                                         36.3    11305 30th CV E       Parrish    FL            34219 United States               Credit
1491    12/8/2018        2:09:59   PST       Russell Par Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     rjp0122@s Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 1EA201481Instant     Verified Russell Par Confirmed                                                                                                                                                                        18.15    2019 S Bayou Dr       Ruskin     FL            33570 United States               Credit
1492    12/6/2018       16:58:50   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD            ‐36.3   ‐0.36    ‐35.94                     ...                                                                         0VT364955Credit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1493    12/6/2018       15:25:51   PST       Larry BealeRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     lsbeale59@Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 08V97668FInstant     Unverified Larry BealeConfirmed                                                                                                                                                                        36.3    218 ROYAL BONNET D APOLLO BEFL                 33572 United States               Credit
1494    12/6/2018       12:28:03   PST       Debbie Nic Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     DarlindebeOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 2NF57462J Instant    Verified Deborah MConfirmed                                                                                                                                                                           18.15    33710 Union Court Westland MI                  48186 United States               Credit
1495    12/6/2018        8:06:53   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD           ‐90.75   ‐0.91    ‐89.84                     ...                                                                         99A92023LCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1496    12/6/2018        7:38:23   PST       brooke rowRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     brookerowRestricted U.S. PersonSales@oneOpen PremU.S. Business Verified 60Y462289Instant         Verified brooke rowConfirmed                                                                                                                                                                           72.6    2340 7th Ave Apt 52 New York NY                10030   United States             Credit
1497    12/6/2018        7:38:19   PST       Kenneth RoRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     kcr02bebo Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 0VT973538Instant     Unverified Kenneth RoConfirmed                                                                                                                                                                         72.6    9425 Forest Hills Cir Sarasota FL              34238   United States             Credit
1498    12/6/2018        6:54:59   PST       Penny RowRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     prow6@ya Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 8H440531NInstant     Unverified Penny RowConfirmed                                                                                                                                                                         54.45    9852 Moorhen Dr.      Lakeland FL              33810   United States             Credit
1499    12/6/2018        6:51:47   PST       victor ibarrRecurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     vimiza80@Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 36447548TInstant           Unverified victor ibarrConfirmed                                                                                                                                                                       36.3    3644 WOODMONT DRSARASOTA FL                    34232   United States             Credit
1500    12/6/2018        6:41:07   PST       Key West MRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     tim.greene Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 69436578SInstant         Verified Key West MConfirmed                                                                                                                                                                          18.15    701 Spanish Main Dr 4Cudjoe KeyFL              33042   United States             Credit
1501    12/6/2018        5:45:51   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1545638400~USD           ‐54.45       0    ‐54.45                     ...                                                                         1391889788446734R                                                                                                                                                                                                               0                                                                                    Debit
1502    12/6/2018        3:22:28   PST       william barRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     whbjr58@cOpen           U.S. PersonSales@oneOpen PremU.S. Business Verified 0SL83517K Instant    Unverified william barConfirmed                                                                                                                                                                       54.45    9860 Grackle Loop   Lakeland FL                33810 United States               Credit
1503    12/6/2018        3:02:04   PST       Ronald GauRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     ghansome1Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 9FN42103NInstant     Unverified Ronald GauConfirmed                                                                                                                                                                         36.3    4729 Loma Grande Dr El Paso  TX                79934 United States               Credit
1504    12/6/2018        2:42:02   PST       Timothy M Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     timberrr21 Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 14593546PInstant     Unverified Timothy M Confirmed                                                                                                                                                                        18.15    1064 East Manatee Bradenton FL                 34208 United States               Credit
1505    12/5/2018        9:49:07   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1545638400~USD            ‐36.3       0     ‐36.3                     ...                                                                         0MS00627W3284883N                                                                                                                                                                                                               0                                                                                    Debit
1506    12/5/2018        8:15:11   PST       Ken GiffordRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     wd4nkz@mOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 73A89806TInstant            Verified Ken GiffordConfirmed                                                                                                                                                                          36.3    6515 15th St. E. Lot D‐ Sarasota FL            34243 United States               Credit
1507    12/5/2018        8:11:53   PST       JAMES CLA Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     jclark4750@  Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 8W175656 Instant       Unverified JAMES CLA Confirmed                                                                                                                                                                        18.15    3506 Avenida Madera Bradenton FL               34210 United States               Credit
1508    12/5/2018        6:49:51   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1545638400~USD           ‐18.15       0    ‐18.15                     ...                                                                         1HR9316130958710B                                                                                                                                                                                                               0                                                                                    Debit
1509    12/5/2018        6:46:07   PST       Gregory VaRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     pmac1@ptOpen            U.S. PersonSales@oneOpen PremU.S. Business Verified 9J924971JDInstant    Unverified Gregory VaConfirmed                                                                                                                                                                        18.15    4215 Long Lake Drive SEllenton    FL           34222 United States               Credit
1510    12/5/2018        5:18:49   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD           ‐98.52   ‐0.99    ‐97.53                     ...                                                                         43A994698Credit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1511    12/5/2018        4:50:57   PST       Michelle WRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     michelle.w Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 6N236456NInstant     Verified Michelle WConfirmed                                                                                                                                                                          98.52    2315 124th dr e      Parrish      FL           34219   United States             Credit
1512    12/5/2018        3:26:38   PST       Robert Gib Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     rswimmer@Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 35V63574LInstant     Unverified Robert Gib Confirmed                                                                                                                                                                       80.37    10514 Sleepy Orange CRiverview    FL           33578   United States             Credit
1513    12/5/2018        3:10:04   PST       joe young Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     dr.feelgoodOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 4RG651666Instant     Unverified joe young, Confirmed                                                                                                                                                                       62.22    1528 SE Ohio Ave     Arcadia      FL           34266   United States             Credit
1514    12/5/2018        2:34:41   PST       Tom Burlin Recurring PCompleted                            1 Month Website HostUSD             27   ‐1.08     25.92                     tommyeb1 Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 9ML98047 Instant     Unverified Tom Burlin Confirmed                                                                                                                                                                       44.07    1150 10TH PO BOX 26 Buffalo       MN           55313   United States             Credit
1515    12/4/2018       15:40:11   PST       KG CommuRecurring PCompleted                               1 Month Website HostUSD             19   ‐0.85     18.15                     kim@kgcomOpen PremU.S. BusineSales@oneOpen PremU.S. Business Verified 89S603667Instant           Verified KG CommuConfirmed                                                                                                                                                                            18.15    20 Gilbert Dr.       Glenwood     NJ            7418   United States             Credit
1516    12/4/2018       14:36:49   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD           ‐67.37   ‐0.67     ‐66.7                     ...                                                                         79V63025UCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1517    12/4/2018       14:28:43   PST       DROB TECHMobile PayCompleted                               ~@~CLD:1545638400~USD               51   ‐1.78     49.22 Affilate            drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 6GH67830VInstant         Verified DROB TECHConfirmed                                                                                                                                                                           67.37    197 PARK SIDE DRIVE SUFFERN NY                 10901 United States               Credit
1518    12/4/2018       10:26:49   PST       SHEILA CISCRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     SCISCO77@Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 8HM29771Instant      Unverified Sheila Knig Confirmed                                                                                                                                                                      18.15    6914 COCONUT GROVELLENTON FL                   34222 United States               Credit
1519    12/4/2018        9:46:07   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                         8AR38014JCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1520    12/4/2018        8:11:27   PST       Damon WaRecurring PCompleted                               1 Month Website HostUSD             19   ‐0.85     18.15                     yatahay54@   Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 38473277HInstant     Unverified Damon WaConfirmed                                                                                                                                                                          18.15    2616 36 Ave W         Bradenton FL             34205 United States               Credit
1521    12/4/2018        7:46:12   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD           ‐54.45   ‐0.54    ‐53.91                     ...                                                                         0VH34261UCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1522    12/4/2018        7:36:16   PST       William MuRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     billclinic@aOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 6PB89346PInstant        Verified WILLIAM DConfirmed                                                                                                                                                                           54.45    17 Nashua RD          Pepperell MA              1463 United States               Credit
1523    12/4/2018        7:20:23   PST       Marco PineRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     gmag1968@    Restricted U.S. PersonSales@oneOpen PremU.S. Business Verified 9V2134685Instant     Unverified Marco PineConfirmed                                                                                                                                                                         36.3    1225 s c st           Lake WorthFL             33460 United States               Credit
1524    12/4/2018        7:01:52   PST       Brian RolphRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     brolph1@cOpen           U.S. PersonSales@oneOpen PremU.S. Business Verified 26P392688Instant     Unverified Brian RolphConfirmed                                                                                                                                                                       18.15    4505 Cernala Court    Venice    FL             34293 United States               Credit
1525    12/4/2018        5:38:56   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD            ‐36.3   ‐0.36    ‐35.94                     ...                                                                         4UP04606FCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1526    12/4/2018        5:30:35   PST       Vicki Hall Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     mtlmaidn@Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 865182772Instant           Verified Vicki Hall, 2Confirmed                                                                                                                                                                        36.3    2105 47th Street PlaceBradenton FL             34209 United States               Credit
1527    12/4/2018        5:14:12   PST       Teddy Und Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     twu.1968@Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 7C777407YInstant     Unverified Teddy Und Confirmed                                                                                                                                                                        18.15    5238 Foxcroft Ct.     Sarasota FL              34232 United States               Credit
1528    12/4/2018        4:43:08   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD          ‐127.05   ‐1.27   ‐125.78                     ...                                                                         35G78458PCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1529    12/4/2018        4:38:36   PST       Jasmine RivRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jasmineriveOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 8X786705NInstant     Unverified Jasmine RivConfirmed                                                                                                                                                                      127.05    711 22nd Ave W        Bradenton FL             34205 United States               Credit
1530    12/4/2018        3:49:49   PST       Daniel Fish Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     jafishinger@ Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 1HF203584Instant     Unverified Daniel Fish Confirmed                                                                                                                                                                      108.9    7504 Sea Mark Court   Apollo Bea FL            33572 United States               Credit
1531    12/4/2018        3:32:00   PST       Gale Tycz Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     gftycz@gmOpen           U.S. PersonSales@oneOpen PremU.S. Business Verified 7TH48688XInstant     Unverified Gale Tycz, Confirmed                                                                                                                                                                       90.75    25 Carriage Drive     Durham CT                 6422 United States               Credit
1532    12/4/2018        3:07:00   PST       George GiuRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     ggiunta600Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 1F673740CInstant     Unverified George GiuConfirmed                                                                                                                                                                         72.6    1646 Serrano Circle   Naples     FL            34105 United States               Credit
1533    12/4/2018        2:42:08   PST       Bryan GravRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     byrangraveOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 66L25021CInstant     Unverified Bryan GravConfirmed                                                                                                                                                                        54.45    407 46st St W         Palmetto FL              34221 United States               Credit
1534    12/4/2018        2:40:19   PST       JOYCARE SeRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     joyfully4jesOpen PremU.S. BusineSales@oneOpen PremU.S. Business Verified 95561930FInstant        Verified Joy Coblen Confirmed                                                                                                                                                                          36.3    1900 7th Ave W        Palmetto FL           34221‐311 United States              Credit
1535    12/4/2018        2:33:46   PST       David Kato Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     dkatona94 Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 5J897114A Instant    Unverified David Kato Confirmed                                                                                                                                                                       18.15    4411 B 101st West     Bradenton FL             34210 United States               Credit
1536    12/3/2018       13:16:41   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                         7RF16611TCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1537    12/3/2018       12:26:10   PST       Mark BagleRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     mb308@swOpen            U.S. PersonSales@oneOpen PremU.S. Business Verified 9C630160J Instant    Verified Mark BagleConfirmed                                                                                                                                                                          18.15    5136 Deerf#4          St. Louis   MO           63128 United States               Credit
1538    12/3/2018        9:34:35   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                         27600886ACredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1539    12/3/2018        8:30:11   PST       Paul FraileyRecurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     pfrailey1@ Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 74L086167Instant     Verified Paul FraileyConfirmed                                                                                                                                                                        18.15    77‐6488 Maile St      Kailua KonaHI            96740 United States               Credit
1540    12/3/2018        8:00:02   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD           ‐62.22   ‐0.62     ‐61.6                     ...                                                                         97J635986 Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                    Debit
1541    12/3/2018        7:25:01   PST       Git R Done Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     mhallcoupoRestricted U.S. BusineSales@oneOpen PremU.S. Business Verified 6KN85107BInstant        Verified Git R Done Confirmed                                                                                                                                                                         62.22    2481 Hawthorne rd     Spring hill FL           34609 United States               Credit
1542    12/3/2018        7:17:54   PST       Terry Dyal Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     ford4x4500Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 59897653BInstant     Unverified Terry Dyal, Confirmed                                                                                                                                                                      44.07    9458 State Rd 64 W    Ona         FL           33865 United States               Credit
1543    12/3/2018        7:00:45   PST       Bobby BlacRecurring PCompleted                             1 Month Website HostUSD             27   ‐1.08     25.92                     bblackwell Closed       U.S. PersonSales@oneOpen PremU.S. Business Verified 8D274072MInstant     Unverified Bobby BlacConfirmed                                                                                                                                                                        25.92    13001 22nd Ct E       Parrish     FL           34219 United States               Credit
1544    12/3/2018        4:47:29   PST       ...          WithdrawaCompleted                            ~@~CLD:1545638400~USD            ‐72.6   ‐0.73    ‐71.87                     ...                                                                         9KG79613UCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1545    12/3/2018        4:39:20   PST       Richard MARecurring PCompleted                             1 Month W99.203.187USD              19   ‐0.85     18.15                     steeler111@  Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 71099683MInstant       Verified Rick Malek Confirmed                                                                                                                                                                          72.6    33676 Guilbert Rd    Eastlake OH            44095‐253 United States              Credit
1546    12/3/2018        4:05:56   PST       Vanessa BaRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     vbazan@mOpen            U.S. PersonSales@oneOpen PremU.S. Business Verified 1AA124533Instant     Unverified Vanessa M Confirmed                                                                                                                                                                        54.45    4701 20th A          Bradenton FL              34207 United States               Credit
1547    12/3/2018        2:17:34   PST       Ron SchmidRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     ronschmidtOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 97K91184DInstant     Unverified Ron SchmidConfirmed                                                                                                                                                                         36.3    7803 34th Court East Sarasota FL               34243 United States               Credit
1548    12/3/2018        2:07:44   PST       James Hint Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     tulsachero Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 45586371J Instant    Verified James Hint Confirmed                                                                                                                                                                         18.15    3007 25th. St. W.    Bradenton FL              34205 United States               Credit
1549    12/2/2018       14:42:42   PST       ...          WithdrawaCompleted                                                 USD        ‐18.15   ‐0.18    ‐17.97                     ...                                                                         1MA18180Credit Card [Unknown]                                                                                                                                                                                                   0                                                                                    Debit
1550    12/2/2018       14:32:53   PST       Harry Spar Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     e411team@Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 15W66718 Instant     Unverified Harry Spar Confirmed                                                                                                                                                                       18.15    4008 Colter Court     Kokomo      IN           46902 United States               Credit
1551    12/2/2018       13:41:34   PST       ...          WithdrawaCompleted                                                 USD        ‐37.91   ‐0.38    ‐37.53                     ...                                                                         7E228707DCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1552    12/2/2018       12:48:07   PST       Heather OwRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     heatherjac Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 09N88679VInstant     Unverified HEATHER J Confirmed                                                                                                                                                                        37.91    1882 Vamo Dr           SARASOTA FL          34231‐772 United States              Credit
1553    12/2/2018        8:18:53   PST       Paul Scalisi Recurring PCompleted                          1 Month Website HostUSD             19   ‐0.85     18.15                     lscalisi441@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 11W11935 Instant     Verified Scalisi Paul Confirmed                                                                                                                                                                       19.76    11525 Callaway Ct      Venice   FL             34293 United States               Credit
1554    12/2/2018        7:48:21   PST       Rick BallardRecurring PCompleted                           Trial 24HR Web HostinUSD             2   ‐0.39      1.61                     rick.ballardOpen        Canadian PSales@oneOpen PremU.S. Business Verified 72B20625FInstant      Non‐U.S. ‐ Rick BallardConfirmed                                                                                                                                                                       1.61    10068 Siesta Bay Dr. # NAPLES FL               34120 United States               Credit
1555    12/2/2018        7:01:31   PST       ...          WithdrawaCompleted                                                 USD        ‐18.15   ‐0.18    ‐17.97                     ...                                                                         4NJ81634UCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1556    12/2/2018        5:29:52   PST       Jeanne Mc Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     fusionhybr Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 0R7672483Instant     Unverified Jeanne Mc Confirmed                                                                                                                                                                        18.15    1242 West Del Webb BSun City CeFL              33573 United States               Credit
1557    12/1/2018       10:20:47   PST       ...          WithdrawaCompleted                                                 USD         ‐36.3   ‐0.36    ‐35.94                     ...                                                                         53V06920WCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1558    12/1/2018        9:58:48   PST       Suzanne MRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     SuzannecmOpen           U.S. PersonSales@oneOpen PremU.S. Business Verified 45436312TInstant     Unverified Suzanne MConfirmed                                                                                                                                                                          36.3    PO Box 1288          Bradenton FL              34206 United States               Credit
1559    12/1/2018        9:58:28   PST       Samantha Recurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     smjpt70@gOpen           U.S. PersonSales@oneOpen PremU.S. Business Verified 9EN00024GInstant     Verified Samantha Confirmed                                                                                                                                                                           18.15    7504 Morning Side Dr Ellenton FL               34222 United States               Credit
1560    12/1/2018        9:09:37   PST       ...          WithdrawaCompleted                                                 USD         ‐72.6   ‐0.73    ‐71.87                     ...                                                                         8FV56553HCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1561    12/1/2018        9:03:24   PST       James Bott Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jamesbotti Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 1CJ31508P Instant        Verified James A. B Confirmed                                                                                                                                                                          72.6    12131 Stuart Dr       Venice FL             34293‐034 United States              Credit
1562    12/1/2018        8:26:08   PST       Joanne Luc Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jojolucibell Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 20U65427YInstant     Unverified Joanne Luc Confirmed                                                                                                                                                                       54.45    2924 Maximo Road North Port FL                 34286 United States               Credit
1563    12/1/2018        7:50:48   PST       Charlotte SRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     csaise_sdp Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 16R79920EInstant     Unverified Charlotte SConfirmed                                                                                                                                                                        36.3    102 3rd Ave Se        Ruskin FL                33570 United States               Credit
1564    12/1/2018        6:54:06   PST       Scott Hall Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     scotthall.phOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 4ES76840TInstant     Unverified Scott Hall, Confirmed                                                                                                                                                                      18.15    18034 Malakai Isle Dr Tampa  FL                33647 United States               Credit
1565    12/1/2018        6:18:05   PST       ...          WithdrawaCompleted                                                 USD        ‐18.15   ‐0.18    ‐17.97                     ...                                                                         4SW17371 Credit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1566    12/1/2018        4:48:59   PST       joseph randRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     ringkking@Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 1JL4758519Instant    Verified Joseph RanConfirmed                                                                                                                                                                          18.15    116 Bridge St         Bradenton FL          34217‐243 United States              Credit
1567    12/1/2018        4:33:56   PST       ...          WithdrawaCompleted                                                 USD        ‐54.45   ‐0.54    ‐53.91                     ...                                                                         9E371490MCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1568    12/1/2018        4:06:56   PST       Donald Kni Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jndknight@Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 06H61290DInstant          Verified Donald Kni Confirmed                                                                                                                                                                         54.45    12908 Maple St        Highland IL              62249 United States               Credit
1569    12/1/2018        4:05:30   PST       eugene ZepRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     hhfz137@cOpen           U.S. PersonSales@oneOpen PremU.S. Business Verified 91Y39697KInstant     Unverified eugene ZepConfirmed                                                                                                                                                                         36.3    5605 Key Largo Ct.    Bradenton FL             34203 United States               Credit
1570    12/1/2018        3:45:46   PST       Leah Clend Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     rioflora@g Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 1XC29144CInstant     Unverified Leah Clend Confirmed                                                                                                                                                                       18.15    799 Pinellas Pt Dr So Saint Peter FL           33705 United States               Credit
1571   11/30/2018       20:29:42   PST       ...          WithdrawaCompleted                                                 USD        ‐17.86   ‐0.18    ‐17.68                     ...                                                                         0CF85726KCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1572   11/30/2018       13:39:13   PST       lynda notleRecurring PCompleted                            1 Month Website HostUSD             19   ‐1.14     17.86                     lynda4348@   Open       U.K. PersonSales@oneOpen PremU.S. Business Verified 8DH24304 Instant     Non‐U.S. ‐ Mrs Lynda Confirmed                                                                                                                                                                        17.86    135 Foxholes Road     Poole                 BH15 3NE United Kingdom              Credit
1573   11/30/2018        9:32:39   PST       ...          WithdrawaCompleted                                                 USD         ‐36.3   ‐0.36    ‐35.94                     ...                                                                         17Y01057VCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1574   11/30/2018        9:02:49   PST       lewis Rose Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     lewislrose5Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 5G272397MInstant     Unverified lewis Rose,Confirmed                                                                                                                                                                        36.3    15004 Trinity Fall Way Bradenton FL            34212 United States               Credit
1575   11/30/2018        8:32:39   PST       Kimberly H Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     kphubner@Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 3HV31024RInstant     Unverified Kimberly H Confirmed                                                                                                                                                                       18.15    3815 Pin Oaks Street Sarasota FL               34232 United States               Credit
1576   11/30/2018        7:14:28   PST       ...          WithdrawaCompleted                                                 USD        ‐51.83   ‐0.52    ‐51.31                     ...                                                                         3LS103288 Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                    Debit
1577   11/30/2018        6:46:22   PST       Johnj EvereRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     johne4420 Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 8WK01733 Instant     Unverified Johnj EvereConfirmed                                                                                                                                                                       51.83    115 Kendall Dr        Danville KY              40422 United States               Credit
1578   11/30/2018        4:05:32   PST       Julie Webe Recurring PCompleted                            1 Month Website HostUSD             35   ‐1.32     33.68                     julieweb@ Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 1R4593324Instant     Unverified Julie Webe Confirmed                                                                                                                                                                       33.68    2736 58th Place N     Saint Peter FL           33714 United States               Credit
1579   11/29/2018       12:50:00   PST       ...          WithdrawaCompleted                                                 USD        ‐25.92   ‐0.26    ‐25.66                     ...                                                                         4NH89759 Credit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1580   11/29/2018       12:45:08   PST       Larry Sturn Recurring PCompleted                           1 Month Website HostUSD             27   ‐1.08     25.92                     laza1239@Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 3U250992JInstant     Unverified Larry Sturn Confirmed                                                                                                                                                                      25.92    811 FreedoApt 302     Sun City CeFL            33573 United States               Credit
1581   11/29/2018       11:44:47   PST       ...          WithdrawaCompleted                                                 USD        ‐25.92   ‐0.26    ‐25.66                     ...                                                                         6Y904797ACredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1582   11/29/2018       11:28:14   PST       Vera Sprag Recurring PCompleted                            1 Month Website HostUSD             27   ‐1.08     25.92                     spraggie21 Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 8C661706HInstant     Unverified Vera Sprag Confirmed                                                                                                                                                                       25.92    7400 Sunshine SkywaySt. Petersb FL             33711 United States               Credit
1583   11/29/2018       10:22:58   PST       ...          WithdrawaCompleted                                                 USD         ‐36.3   ‐0.36    ‐35.94                     ...                                                                         2YM84213 Credit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1584   11/29/2018        8:14:12   PST       VickiRay Fr Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     vickiray631Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 3G656969HInstant     Unverified VickiRay Fr Confirmed                                                                                                                                                                       36.3    6311 Carl Shepard Dr Ruskin    FL              33570 United States               Credit
1585   11/29/2018        7:02:13   PST       Jenny Lyde Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     templeton Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 25896395HInstant     Unverified Jenny Tem Confirmed                                                                                                                                                                        18.15    620 Bowsp Country CluLongboat KFL              34228 United States               Credit
1586   11/29/2018        5:25:35   PST       ...          WithdrawaCompleted                                                 USD         ‐72.6   ‐0.73    ‐71.87                     ...                                                                         7BJ482350 Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                    Debit
1587   11/29/2018        3:56:01   PST       Margret FisRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     guavagirl.1 Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 53H20799BInstant     Unverified Margret FisConfirmed                                                                                                                                                                        72.6    1228 45th Ave Dr East Ellenton FL              34222 United States               Credit
1588   11/29/2018        3:19:49   PST       Ronald L JaRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     rljavner@uOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 4UC25230XInstant     Verified Carole JavnConfirmed                                                                                                                                                                         54.45    4904 CREEKSIDE TRL SARASOTA FL                 34243 United States               Credit
1589   11/29/2018        3:10:52   PST       Rebecca ReRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     siervarebecOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 1A2393942Instant     Verified Rebecca|C Confirmed                                                                                                                                                                           36.3    901 N. Wahneta St. Allentown PENNSYLVA         18109 United States               Credit
1590   11/29/2018        3:07:04   PST       pete miran Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     2007telfordOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 7X494514FInstant     Verified pete miran Confirmed                                                                                                                                                                         18.15    1203 3rd st. Circle E Palmetto FL              34221 United States               Credit
1591   11/28/2018       14:19:09   PST       ...          WithdrawaCompleted                                                 USD        ‐18.15   ‐0.18    ‐17.97                     ...                                                                         081815642Credit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1592   11/28/2018       10:09:39   PST       James McKRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     jim.mckinnOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 9NW00521Instant           Verified James McKConfirmed                                                                                                                                                                           18.15    5655 Bayview Drive    Seminole FL              33772 United States               Credit
1593   11/28/2018        8:21:41   PST       ...          WithdrawaCompleted                                                 USD         ‐36.3   ‐0.36    ‐35.94                     ...                                                                         9RV396669Credit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1594   11/28/2018        7:44:32   PST       Hershel RicRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     hershelrichOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 2NL16138RInstant     Unverified Hershel RicConfirmed                                                                                                                                                                        36.3    1518 Pelican Point Dr. Sarasota   FL           34231 United States               Credit
1595   11/28/2018        5:50:29   PST       Bridges Bri Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     beth.b.stuf Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 6SR45584CInstant     Unverified Bridges Bri Confirmed                                                                                                                                                                      18.15    2510 S Gilpin St       Denver     CO           80210 United States               Credit
1596   11/28/2018        5:14:43   PST       ...          WithdrawaCompleted                                                 USD        ‐62.22   ‐0.62     ‐61.6                     ...                                                                         57F939841Credit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1597   11/28/2018        3:40:16   PST       Susan Casil Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     sweetsue_ Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 5X0544601Instant     Verified Susan Casil Confirmed                                                                                                                                                                        62.22    2795 Bay Oaks Drive Sarasota FL                34234 United States               Credit
1598   11/28/2018        3:08:46   PST       Harry MartRecurring PCompleted                             1 Month Website HostUSD             27   ‐1.08     25.92                     909.martinOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 71P86958NInstant     Verified Harry MartConfirmed                                                                                                                                                                          44.07    8008 55th St. E     Palmetto FL                34221 United States               Credit
1599   11/27/2018       17:55:07   PST       Linda Whit Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     twinkie172Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 0SH01394BInstant     Unverified Linda Whit Confirmed                                                                                                                                                                       18.15    506 SE 24th St      Cape Coral FL              33990 United States               Credit
1600   11/27/2018       12:12:52   PST       ...          WithdrawaCompleted                                                 USD        ‐18.15   ‐0.18    ‐17.97                     ...                                                                         13L418337Credit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1601   11/27/2018        5:57:29   PST       Fred Nelso Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     fredndiane Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 8PY76106WInstant     Unverified Fred Nelso Confirmed                                                                                                                                                                       18.15    2244 Pier Dr          Ruskin      FL           33570 United States               Credit
1602   11/27/2018        4:45:16   PST       ...          WithdrawaCompleted                                                 USD       ‐124.53   ‐1.25   ‐123.28                     ...                                                                         6DT111737Credit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1603   11/27/2018        4:19:15   PST       RAYMOND Recurring PCompleted                               1 Month Website HostUSD             19   ‐0.85     18.15                     rrrbug@hoOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 1U051818RInstant           Verified RAYMOND Confirmed                                                                                                                                                                           124.53    6142 SUMTER DR        BROOKSVILFL              34602   United States             Credit
1604   11/27/2018        3:49:11   PST       Gregory BeRecurring PCompleted                             1 Month Website HostUSD             35   ‐1.32     33.68                     aebrn57@ Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 35R85104UInstant     Verified Gregory BeConfirmed                                                                                                                                                                         106.38    5934 Easy SUNIT# K25 BRADENTOFL                34207   United States             Credit
1605   11/27/2018        2:25:35   PST       Wallter Fin Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     wfinkelstei Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 33686337RInstant     Unverified Wallter Fin Confirmed                                                                                                                                                                       72.7    17028 Seaford Way Bradenton FL                 34202   United States             Credit
1606   11/27/2018        2:13:10   PST       Hillary Bell Recurring PCompleted                          1 Month Website HostUSD             19   ‐0.85     18.15                     jnhb6090@Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 6T3380714Instant     Verified Hillary Bell Confirmed                                                                                                                                                                       54.55    10141 Newminster Lo Ruskin     FL              33573   United States             Credit
1607   11/27/2018        2:12:27   PST       David Ham Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     kitchendes Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 37Y467155Instant     Unverified David Ham Confirmed                                                                                                                                                                         36.4    3812 70th Ave E.      Ellenton FL              34222   United States             Credit
1608   11/26/2018       14:04:00   PST       Alan Weng Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     alw0200@ Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 53R25285RInstant     Unverified Alan Weng Confirmed                                                                                                                                                                        18.25    42 West Oak St Lot A1 Osprey   FL              34229   United States             Credit
1609   11/26/2018        9:50:32   PST       ...          WithdrawaCompleted                                                 USD         ‐36.2   ‐0.36    ‐35.84                     ...                                                                         6H047079XCredit Card [Unknown]                                                                                                                                                                                                0.1                                                                                    Debit
1610   11/26/2018        8:16:22   PST       Brad Maye Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     beachlife75Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 8N710385GInstant     Verified Courtney MConfirmed                                                                                                                                                                           36.3    7049 Chatum Light Ru Bradenton FL              34212 United States               Credit
1611   11/26/2018        7:52:51   PST       Jane GREENRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     janieluv@aOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 9FU231093Instant     Unverified Jane GreenConfirmed                                                                                                                                                                        18.15    920 Westwind Dr      N Palm BeaFL           33408‐422 United States              Credit
1612   11/26/2018        7:20:33   PST       ...          WithdrawaCompleted                                                 USD        ‐73.41   ‐0.73    ‐72.68                     ...                                                                         35E51886WCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1613   11/26/2018        7:19:04   PST       Julieanne PRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     juiecma102Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 8MR39163 Instant     Unverified Julieanne PConfirmed                                                                                                                                                                       73.41    4702 105th Ave East Parrish   FL               34219 United States               Credit
1614   11/26/2018        6:17:11   PST       Rick Roett Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     mrroett@yOpen           U.S. PersonSales@oneOpen PremU.S. Business Verified 2RX92702YInstant     Unverified Rick Roett, Confirmed                                                                                                                                                                      55.26    4657 72nd Ct E      Bradenton FL               34203 United States               Credit
1615   11/26/2018        5:41:33   PST       jorge yong Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jorgeca207Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 90958242EInstant     Unverified jorge yong,Confirmed                                                                                                                                                                       37.11    13140 sw 23 st      Miramar FL                 33027 United States               Credit
1616   11/26/2018        2:29:33   PST       Christine L Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     Brokervee@Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 3XT28312VInstant     Unverified Christine B Confirmed                                                                                                                                                                      18.96    8457 Idlewood Ct    Lakewood FL                34202 United States               Credit
1617   11/25/2018        7:17:51   PST       ...          WithdrawaCompleted                                                 USD       ‐108.09   ‐1.08   ‐107.01                     ...                                                                         3NK45689UCredit Card [Unknown]                                                                                                                                                                                              0.81                                                                                     Debit
1618   11/25/2018        7:11:17   PST       Mike Neav Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     Mikenea@ Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 09X648270Instant     Unverified Mike Neav Confirmed                                                                                                                                                                        108.9    324 Petrel Trl        Bradenton FL              34212 United States              Credit
1619   11/25/2018        7:10:29   PST       Elizabeth S Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     lizsmith13@Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 0SR00203YInstant     Unverified Elizabeth S Confirmed                                                                                                                                                                      90.75    2072 Pitt St.         Cornwall ON           K6J 5G3 Canada                       Credit
1620   11/25/2018        6:45:13   PST       James FromRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     jrfroman19Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 15906611VInstant     Verified James FromConfirmed                                                                                                                                                                           72.6    35 7th St.            Nokomis FL                34275 United States              Credit
1621   11/25/2018        5:49:27   PST       Charles Ga Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     cjg651@gmOpen           U.S. PersonSales@oneOpen PremU.S. Business Verified 30V31974FInstant     Verified Charles Ga Confirmed                                                                                                                                                                         54.45    5040 Palmetto WoodsNaples       FL              34119 United States              Credit
1622   11/25/2018        5:42:16   PST       Jeannery GRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     mgreeners Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 8CY12939HInstant     Verified Jeannery GConfirmed                                                                                                                                                                           36.3    3805 72nd Ter E       Sarasota FL           34243‐516 United States              Credit
1623   11/25/2018        4:30:30   PST       Robert DavRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     rwdavis370Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 2DE592786Instant     Unverified Robert DavConfirmed                                                                                                                                                                        18.15    907 49th ave terrace wBradenton FL              34207 United States              Credit
1624   11/24/2018       13:39:03   PST       ...          WithdrawaCompleted                                                 USD        ‐18.15   ‐0.18    ‐17.97                     ...                                                                         8VH39724JCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1625   11/24/2018       13:14:36   PST       Sarasota WRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     sckoch69@Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 0K314617TInstant           Verified Steve Koch Confirmed                                                                                                                                                                         18.15    4648 Charing Cross rd Sarasota    FL        34241‐612 United States              Credit
1626   11/24/2018       11:21:30   PST       ...          WithdrawaCompleted                                                 USD        ‐18.15   ‐0.18    ‐17.97                     ...                                                                         76W04811 Credit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1627   11/24/2018       11:03:14   PST       Robin MaleRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     malekrobinOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 38G82766KInstant     Unverified Robin MaleConfirmed                                                                                                                                                                        18.15    4153 Smoke Signal     Sebring     FL           33872 United States               Credit
1628   11/24/2018        7:42:33   PST       ...          WithdrawaCompleted                                                 USD        ‐18.15   ‐0.18    ‐17.97                     ...                                                                         07T99285SCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1629   11/24/2018        7:06:09   PST       Henry ArseRecurring PCompleted                             1 Month W108.191.67USD              19   ‐0.85     18.15                     hank98471Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 45383919SInstant     Verified henry s ars Confirmed                                                                                                                                                                        18.15    5602 79TH AVE E       PALMETTOFL               34221 United States               Credit
1630   11/24/2018        6:58:53   PST       ...          WithdrawaCompleted                                                 USD        ‐18.15   ‐0.18    ‐17.97                     ...                                                                         20K11784KCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1631   11/24/2018        5:17:05   PST       Cynthia SchRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     c.schwab@Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 8ER68558J Instant    Unverified Cynthia SchConfirmed                                                                                                                                                                       18.15    17146 Malta Ave       Port CharloFL            33954 United States               Credit
1632   11/24/2018        4:58:02   PST       ...          WithdrawaCompleted                                                 USD        ‐51.54   ‐0.52    ‐51.02                     ...                                                                         1MW45613Credit Card [Unknown]                                                                                                                                                                                                   0                                                                                    Debit
1633   11/24/2018        4:24:21   PST       The Better Recurring PCompleted                            1 Month Website HostUSD             18   ‐0.82     17.18                     jmanzano1Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 8VY33704SInstant           Verified The Better Confirmed                                                                                                                                                                         51.54    6535 Anch Apt# 204 Bradenton FL                34212 United States               Credit
1634   11/24/2018        4:14:00   PST       Terri MunkRecurring PCompleted                             1 Month Website HostUSD             18   ‐0.82     17.18                     curly325@ Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 83883555XInstant     Unverified Munkirs, G Confirmed                                                                                                                                                                       34.36    410 State Rt 173   Stewartsvil NJ               8886 United States               Credit
1635   11/24/2018        2:02:10   PST       Martin Lee Recurring PCompleted                            1 Month Website HostUSD             18   ‐0.82     17.18                     siestakeysuOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 9DU17443 Instant     Verified Martin Lee Confirmed                                                                                                                                                                         17.18    PO Box 51704       Sarasota FL                 34232 United States               Credit
1636   11/23/2018       15:54:58   PST       ...          WithdrawaCompleted                                                 USD        ‐18.15   ‐0.18    ‐17.97                     ...                                                                         9U990936CCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1637   11/23/2018       15:50:08   PST       Greg Radic Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     buckstopgrOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 9BW99933Instant      Unverified Greg Radci Confirmed                                                                                                                                                                       18.15    706 stewarts run road MorgantowWV              26501 United States               Credit
1638   11/23/2018       14:52:01   PST       ...          WithdrawaCompleted                                                 USD        ‐18.15   ‐0.18    ‐17.97                     ...                                                                         7YU89432JCredit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1639   11/23/2018       10:27:28   PST       FRITZ MAR Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     fritz_marti Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 5SA87246PInstant        Verified FRITZ MAR Confirmed                                                                                                                                                                          18.15    924 Paradise Island Dr DeFuniak S FL        32433‐707 United States              Credit
1640   11/23/2018       10:14:06   PST       ...          WithdrawaCompleted                                                 USD        ‐18.15   ‐0.18    ‐17.97                     ...                                                                         3RT387503Credit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1641   11/23/2018       10:06:59   PST       Ron Reppu Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     reppuccieleOpen PremU.S. BusineSales@oneOpen PremU.S. Business Verified 9DW44487Instant          Unverified Ron Reppu Confirmed                                                                                                                                                                        18.15    339 WhittieBox 224    Tamworth NH               3886 United States               Credit
1642   11/22/2018       19:14:26   PST       ...          WithdrawaCompleted                                                 USD        ‐58.93   ‐0.59    ‐58.34                     ...                                                                         45C363116Credit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1643   11/22/2018       19:12:47   PST       DROB TECHMobile PayCompleted                                                    USD            61   ‐2.07     58.93 Affiliate           drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 73E29686NInstant         Verified DROB TECHConfirmed                                                                                                                                                                           58.93    197 PARK SIDE DRIVE SUFFERN NY                 10901 United States               Credit
1644   11/22/2018       15:54:36   PST       From U.S. DCurrency C Completed                                                 CAD           550       0       550                     ...                                                                         6ED31743WG440152D                                                                                                                                                          6WE76930YP230893T                                 550                                                                                     Credit
1645   11/22/2018       15:54:36   PST       To CanadiaCurrency C Completed                                                  USD       ‐430.27       0   ‐430.27                     ...                                                                         64S99139J6429352R                                                                                                                                                          6WE76930YP230893T                                    0                                                                                    Debit
1646   11/22/2018       15:54:36   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1543305600~USD           430.27       0    430.27                     ...                                                                         7SB27427PInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                   6WE76930YP230893T                              430.27                                                                                     Credit
1647   11/22/2018       15:54:36   PST       FlashstreamMobile WeCompleted                              Payment to FlashstreaCAD          ‐550       0      ‐550                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business Ver6WE76930 Instant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to Flashstrea            0             0                                                                                    INV2‐BR9G‐FGL7‐J8NF‐P9Q9                     0   8955 US Hwy 301 N #1Parrish       FL           34219 United States               Debit
1648   11/22/2018       15:52:50   PST       FlashstreamInvoice RecPaid                                                      CAD           550       0       550                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐BR9G‐FGL7‐J8NF‐P9Q9                                                            0                      0        0                                                                         54                        ...                                                                                              Memo
1649   11/22/2018        6:11:10   PST       ...          WithdrawaCompleted                            ~@~CLD:1543305600~USD            ‐72.6   ‐0.73    ‐71.87                     ...                                                                         73C346514Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1650   11/22/2018        6:01:02   PST       PETER WIL Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     pkbw@hotOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 4XH883486Instant            Verified PETER WIL Confirmed                                                                                                                                                                           72.6    20 Rambleton Drive New CastleDE                19720 United States               Credit
1651   11/22/2018        4:59:42   PST       ANTHONY Recurring PCompleted                               1 Month Website HostUSD             19   ‐0.85     18.15                     finishcut@ Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 6S715287DInstant         Unverified ANTHONY Confirmed                                                                                                                                                                          54.45    #6 7th street west     nokomis FL              34275 United States               Credit
1652   11/22/2018        3:26:36   PST       Robert Sav Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     rsaviola@aOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 5R443491YInstant     Unverified Robert Sav Confirmed                                                                                                                                                                        36.3    280 126th Ave Unit 10Treasure Is FL            33706 United States               Credit
1653   11/22/2018        2:43:43   PST       bridgette s Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     kgbstout@ Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 82C05317YInstant     Verified bridgette s Confirmed                                                                                                                                                                        18.15    8875 39th Street CircleParrish   FL            34219 United States               Credit
1654   11/21/2018       12:04:03   PST       From U.S. DCurrency C Completed                            ~@~CLD:1543305600~CAD              550       0       550                     ...                                                                         05C31620C9388111R                                                                                                                                                          5X693138PX2336737                                 550                                                                                     Credit
1655   11/21/2018       12:04:03   PST       To CanadiaCurrency C Completed                             ~@~CLD:1543305600~USD          ‐431.12       0   ‐431.12                     ...                                                                         7V052833B17828452                                                                                                                                                          5X693138PX2336737                                   0                                                                                     Debit
1656   11/21/2018       12:04:03   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1543305600~USD           431.12       0    431.12                     ...                                                                         3KR31580UInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                   5X693138PX2336737                              431.12                                                                                     Credit
1657   11/21/2018       12:04:03   PST       FlashstreamMobile WeCompleted                              ~@~CLD:1543305600~CAD             ‐550       0      ‐550                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business Ver5X693138PInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to Flashstrea            0             0                                                                                     INV2‐VQF6‐LPCF‐SPMU‐3QE2                   0    8955 US Hwy 301 N #1Parrish       FL           34219 United States               Debit
1658   11/21/2018       11:59:59   PST       FlashstreamInvoice RecPaid                                                      CAD           550       0       550                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐VQF6‐LPCF‐SPMU‐3QE2                                                            0                      0        0                                                                         51                        ...                                                                                              Memo
1659   11/21/2018        9:17:18   PST       ...          WithdrawaCompleted                            ~@~CLD:1543305600~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                         1R5568953Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1660   11/21/2018        4:08:45   PST       DIANE NAMRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     LOTTERYGI Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 1CH57484RInstant     Unverified DIANE NAMConfirmed                                                                                                                                                                         18.15    2003 WILLOW BROOK WARREN OH                    44483 United States               Credit
1661   11/20/2018        7:43:00   PST       ...          WithdrawaCompleted                            ~@~CLD:1543305600~USD            ‐36.3   ‐0.36    ‐35.94                     ...                                                                         80C354806Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1662   11/20/2018        7:23:59   PST       william hayRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     pumkinx@ Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 0BU99456SInstant     Verified william hayConfirmed                                                                                                                                                                          36.3    469 Kaiser Dr        palmetto FL            34221‐542 United States              Credit
1663   11/20/2018        7:16:38   PST       kelly covilleRecurring PCompleted                          1 Month Website HostUSD             19   ‐0.85     18.15                     kelshine5@Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 3CW81526 Instant          Unverified Kelly Covill Confirmed                                                                                                                                                                     18.15    5871 17th Street WestBradenton FL              34207 United States               Credit
1664   11/20/2018        5:38:23   PST       ...          WithdrawaCompleted                            ~@~CLD:1543305600~USD           ‐108.9   ‐1.09   ‐107.81                     ...                                                                         6UX72167KCredit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1665   11/20/2018        5:16:17   PST       Patricia McRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     paddimccluOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 1E9602904Instant     Verified Patricia McConfirmed                                                                                                                                                                         108.9    283 crescent rd       wanaque NJ            07465‐121 United States              Credit
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       A            B                    C       D           E          F          G         H      I       J         K            L    M        N        O           P      Q   R       S         T          U         V         W          X          Y         Z         AA        AB         AC        AD         AE        AF         AG       AH   AI       AJ       AK       AL   AM   AN   AO   AP   AQ   AR   AS   AT   AU   AV     AW        AX       AY       AZ    BA         BB          BC          BD          BE           BF      BG         BH           BI   BJ      BK    BL   BM   BN
1666   11/20/2018        5:08:01   PST       sonja bach Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     sbdaylily1@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 6KA268741Instant     Unverified sonja bach Confirmed                                                                                                                                                                       90.75   1717 daylily drive     trinity   FL             34655   United States             Credit
1667   11/20/2018        5:04:10   PST       john suttonRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     les55suttonOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 43L76051HInstant     Unverified john suttonConfirmed                                                                                                                                                                        72.6   2002 17th St W.        Palmetto FL              34221   United States             Credit
1668   11/20/2018        4:14:34   PST       Robert Mo Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     bobkathfl1 Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 8RB20617WInstant     Unverified Robert Mo Confirmed                                                                                                                                                                        54.45   2689 S Crystal Lake Dr Avon Park FL             33825   United States             Credit
1669   11/20/2018        2:42:38   PST       Tawanda K Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     Tawanda.k Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 2P990733TInstant     Verified Tawanda K Confirmed                                                                                                                                                                           36.3   5408 3rd st w          Bradenton FL             34207   United States             Credit
1670   11/20/2018        2:11:57   PST       Ashley Wa Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     walogorskyOpen PremU.S. BusineSales@oneOpen PremU.S. Business Verified 2D624025XInstant         Unverified Ashley Wa Confirmed                                                                                                                                                                        18.15   934 Jungle Avenue No Saint Peter FL             33710   United States             Credit
1671   11/19/2018       15:20:01   PST       ...          WithdrawaCompleted                            ~@~CLD:1543305600~USD           ‐51.83   ‐0.52    ‐51.31                     ...                                                                        6NL641215Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1672   11/19/2018       14:12:09   PST       Melvin ShaRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     mshaw494 Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 1AJ40981P Instant    Verified Melvin E. S Confirmed                                                                                                                                                                        51.83   123 Walton Heath Dr Raeford NC               28376‐590 United States              Credit
1673   11/19/2018       14:09:37   PST       Edward PinRecurring PCompleted                             1 Month Website HostUSD             35   ‐1.32     33.68                     paze25@g Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 4T140524EInstant     Unverified Edward PinConfirmed                                                                                                                                                                        33.68   5612 Mallow St      New Prt RcFL             34652‐516 United States              Credit
1674   11/19/2018        6:38:29   PST       ...          WithdrawaCompleted                            ~@~CLD:1543305600~USD            ‐72.6   ‐0.73    ‐71.87                     ...                                                                        5D022026PCredit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1675   11/19/2018        5:52:02   PST       robert samRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     samulka.roOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 1GR43247W Instant    Unverified robert samConfirmed                                                                                                                                                                         72.6   4019 Laurel Way      Ellenton FL                34222 United States               Credit
1676   11/19/2018        5:46:21   PST       Carlos Faja Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     cfaja546@ Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 8JX140866 Instant    Unverified Carlos Faja Confirmed                                                                                                                                                                      54.45   2825 Pecan St        North Port FL              34287 United States               Credit
1677   11/19/2018        3:46:46   PST       Laura Siek Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     siekl58@gmOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 3SW84194 Instant     Unverified Laura Siek, Confirmed                                                                                                                                                                       36.3   13033 19 Mile Rd Lot Gowen      MI              49326 United States               Credit
1678   11/19/2018        2:45:25   PST       James BreeRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     jeb127327@  Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 6MM62998Instant      Verified James BreeConfirmed                                                                                                                                                                          18.15   3708 Riviera Dr      Sarasota FL                34232 United States               Credit
1679   11/18/2018        7:08:41   PST       From U.S. DCurrency C Completed                            ~@~CLD:1542787200~CAD              375       0       375                     ...                                                                        5XD80398R0892210N                                                                                                                                                          7DG28606G1095470L                                 375                                                                                     Credit
1680   11/18/2018        7:08:41   PST       To CanadiaCurrency C Completed                             ~@~CLD:1543305600~USD          ‐294.57       0   ‐294.57                     ...                                                                        32C47333F4394115M                                                                                                                                                          7DG28606G1095470L                                   0                                                                                     Debit
1681   11/18/2018        7:08:41   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1542787200~USD           294.57       0    294.57                     ...                                                                        6PX24130YInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                   7DG28606G1095470L                              294.57                                                                                     Credit
1682   11/18/2018        7:08:41   PST       FlashstreamMobile WeCompleted                              ~@~CLD:1543305600~CAD             ‐375       0      ‐375                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business Ver7DG28606GInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to Flashstrea           0             0                                                                                    INV2‐EL4V‐AX2R‐J4G8‐5P2S                    0   8955 US Hwy 301 N #1Parrish       FL            34219 United States               Debit
1683   11/18/2018        7:06:11   PST       FlashstreamInvoice RecPaid                                                      CAD           375       0       375                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐EL4V‐AX2R‐J4G8‐5P2S                                                           0                      0        0                                                                         50                        ...                                                                                              Memo
1684   11/18/2018        6:42:18   PST       ...          WithdrawaCompleted                            ~@~CLD:1542787200~USD            ‐72.6   ‐0.73    ‐71.87                     ...                                                                        6Y954248NCredit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1685   11/18/2018        5:54:04   PST       Cheryl HillmRecurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     cherlyhillmOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 0FE69808NInstant     Unverified Cheryl HillmConfirmed                                                                                                                                                                       72.6   1988 Se Cherry Dr    Arcadia   FL               34266 United States               Credit
1686   11/18/2018        5:37:06   PST       David HollaRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     david.holla Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 79P949767Instant     Unverified David HollaConfirmed                                                                                                                                                                       54.45   9124 Raes Creek PlacePalmetto FL                34221 United States               Credit
1687   11/18/2018        3:30:20   PST       Linda WormRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     lworman8@Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 7UP23187KInstant     Verified Linda WormConfirmed                                                                                                                                                                           36.3   6 Parkwood           Bradenton FL               34208 United States               Credit
1688   11/18/2018        2:42:43   PST       James FriedRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jfriedhoff@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 6SR67432PInstant     Verified James FriedConfirmed                                                                                                                                                                         18.15   928 S Doral Ln.      Venice    FL               34293 United States               Credit
1689   11/17/2018       15:00:44   PST       ...          WithdrawaCompleted                            ~@~CLD:1542787200~USD           ‐54.45   ‐0.54    ‐53.91                     ...                                                                        7U9535704Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1690   11/17/2018       14:10:29   PST       Carol MasoRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     carolnisbetOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 4PA536878Instant     Verified Carol MasoConfirmed                                                                                                                                                                          54.45   2198 Briar Creek Way Sarasota FL                34235 United States               Credit
1691   11/17/2018        7:06:20   PST       Quintin MoRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     qmoyer1@Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 1UR338994Instant     Unverified Quintin MoConfirmed                                                                                                                                                                         36.3   4377 Maddock Circle North Port FL               34286 United States               Credit
1692   11/16/2018       19:54:12   PST       Janice StanRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jstanton63 Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 6AK59780XInstant     Unverified Janice StanConfirmed                                                                                                                                                                       18.15   10380 Alpine Ave     Sparta    MI               49345 United States               Credit
1693   11/16/2018       11:25:28   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1542787200~USD            81.85       0     81.85                     ...                                                                        6CM55758 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                   0E712361R4478542E                                 100                                                                                     Credit
1694   11/16/2018       11:25:28   PST       prohosting Mobile PayCompleted                             ~@~CLD:1542787200~USD             ‐100       0      ‐100                     Sales@oneOpen PremU.S. Businegreenstars8Open PremU.S. Business Verified 0E712361RInstant Tra Verified                                                                                                                                                                                                     0                                                                                     Debit
1695   11/16/2018        7:15:21   PST       Suzanne N Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     tropical_suOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 1JL85995D Instant    Unverified Suzanne N Confirmed                                                                                                                                                                        18.15   6641 Laguna Vista Dr NRockford MI               49341 United States               Credit
1696   11/15/2018       11:19:38   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1542700800~USD            41.85       0     41.85                     ...                                                                        0SW48643 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                   5LM77967UX4397319                                  60                                                                                     Credit
1697   11/15/2018       11:19:38   PST       prohosting Mobile PayCompleted                             ~@~CLD:1542700800~USD              ‐60       0       ‐60                     Sales@oneOpen PremU.S. Businegreenstars8Open PremU.S. Business Verified 5LM77967 Instant Tra Verified                                                                                                                                                                                                     0                                                                                     Debit
1698   11/15/2018        8:44:44   PST       Nancy Had Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     hadleyn1@Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 4C744563YInstant     Verified Nancy Had Confirmed                                                                                                                                                                          18.15   5613 Key Largo Ct      Bradenton FL             34203 United States               Credit
1699   11/15/2018        8:36:41   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1542700800~USD           ‐54.45       0    ‐54.45                     ...                                                                        0XR04908C53682410                                                                                                                                                                                                              0                                                                                     Debit
1700   11/15/2018        8:18:07   PST       Rose Lee B Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     mlblaze@yOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 80B60456KInstant     Verified Rose Lee B Confirmed                                                                                                                                                                         54.45   1506 w. henderson st. chicago IL                60657 United States               Credit
1701   11/15/2018        7:19:28   PST       Christine R Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     droussopo Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 0DC98737PInstant     Unverified Christine R Confirmed                                                                                                                                                                       36.3   2825 Terra Unit 1602 Palmetto FL                34221 United States               Credit
1702   11/15/2018        6:04:45   PST       James HarnRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     jrh8999@gOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 3RP67231MInstant     Verified James HarnConfirmed                                                                                                                                                                          18.15   6321 113thApt 1402 Seminole FL                  33772 United States               Credit
1703   11/15/2018        5:21:05   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1542700800~USD           ‐62.22       0    ‐62.22                     ...                                                                        9A876357F58233903                                                                                                                                                                                                              0                                                                                     Debit
1704   11/15/2018        5:09:26   PST       Marvin Cle Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     mclevenge Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 746904095Instant     Unverified Marvin Cle Confirmed                                                                                                                                                                       62.22   2313 W.Cambridge Dr Muncie     IN               47304 United States               Credit
1705   11/15/2018        4:40:14   PST       Brent KleinRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     kleinbail@gOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 19E91310HInstant     Unverified Brent KleinConfirmed                                                                                                                                                                       44.07   2562 Marblehead Dr Sarasota FL                  34231 United States               Credit
1706   11/15/2018        3:02:56   PST       Barion Mill Recurring PCompleted                           1 Month Website HostUSD             27   ‐1.08     25.92                     barionm@ Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 7DJ84972F Instant    Verified Barion Mill Confirmed                                                                                                                                                                        25.92   4818 61st Avenue DrivBradenton FL               34210 United States               Credit
1707   11/13/2018        9:21:07   PST       ...          WithdrawaCompleted                            ~@~CLD:1542700800~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                        3R068325SCredit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1708   11/13/2018        9:11:24   PST       tkshoppingRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     simplyist@Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 6SG37691J Instant        Verified tkshoppingConfirmed                                                                                                                                                                          18.15   48 Lyman St            Worcester MA              1603 United States               Credit
1709   11/13/2018        5:42:42   PST       ...          WithdrawaCompleted                            ~@~CLD:1542700800~USD           ‐54.45   ‐0.54    ‐53.91                     ...                                                                        284411934Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1710   11/13/2018        5:29:51   PST       Sabine FulkRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     splanet69@Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 76E81248YInstant         Verified Sabine FulkConfirmed                                                                                                                                                                         54.45   5728 28th St E         Bradenton FL             34203 United States               Credit
1711   11/13/2018        4:55:41   PST       Cain Cain Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     cinsweet64Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 68T463534Instant     Unverified Cain Cain, 8Confirmed                                                                                                                                                                       36.3   816 64th ave Dr E      Bradenton FL             34203 United States               Credit
1712   11/13/2018        2:14:11   PST       Laurie PageRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     laurie.eb.p Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 80793621VInstant     Verified Laurie PageConfirmed                                                                                                                                                                         18.15   936 145th Street CircleBradenton FL             34212 United States               Credit
1713   11/12/2018       12:08:25   PST       ...          WithdrawaCompleted                            ~@~CLD:1542700800~USD           ‐65.65   ‐0.66    ‐64.99                     ...                                                                        3WR21533Credit Card [Unknown]                                                                                                                                                                                                  0                                                                                     Debit
1714   11/12/2018       11:30:13   PST       Raw MediaCredit CardCompleted                              ~@~CLD:1542700800~USD               50    ‐2.5      47.5                     geoff@gav Open PremCanadian BSales@oneOpen PremU.S. Business Verified 39407018AInstant          Non‐U.S. ‐ Verified                                                                                                                                                                                   65.65                                                                                     Credit
1715   11/12/2018       10:34:26   PST       Jaco tours Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     MINTO179 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 2M456506 Instant          Unverified Michael M Confirmed                                                                                                                                                                        18.15   2151 N State Road 7 Margate       FL         33063‐571 United States              Credit
1716   11/12/2018        8:18:16   PST       ...          WithdrawaCompleted                            ~@~CLD:1542700800~USD            ‐72.6   ‐0.73    ‐71.87                     ...                                                                        0L087543S Credit Card [Unknown]                                                                                                                                                                                                0                                                                                     Debit
1717   11/12/2018        6:47:27   PST       Eddo Butle Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     shortfolks5Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 3FL457305 Instant    Unverified Eddo Butle Confirmed                                                                                                                                                                        72.6   1883 Briar Creek PlaceSarasota FL               34235 United States               Credit
1718   11/12/2018        6:28:01   PST       David CancRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     vipr1960@Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 57Y84360PInstant     Unverified David CancConfirmed                                                                                                                                                                        54.45   1120 53rd Ave E Lot 12Bradenton FL              34203 United States               Credit
1719   11/12/2018        6:12:51   PST       Kenneth Je Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     cowboyswiOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 4BU28408YInstant     Verified Kenneth Je Confirmed                                                                                                                                                                          36.3   4314 Douglas Hill Pl Parrish    FL              34219 United States               Credit
1720   11/12/2018        2:26:21   PST       K&M enterRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     kkmkx3@g Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 00V503057Instant          Verified K&M enterConfirmed                                                                                                                                                                           18.15   2215 4th St SW        Ruskin    FL              33570 United States               Credit
1721   11/11/2018       18:51:51   PST       ...          WithdrawaCompleted                            ~@~CLD:1542700800~USD           ‐61.84   ‐0.62    ‐61.22                     ...                                                                        3FH06074PCredit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1722   11/11/2018       18:50:53   PST       DROB TECHMobile PayCompleted                               ~@~CLD:1542700800~USD               64   ‐2.16     61.84 Affilate            drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 4SB30140YInstant        Verified DROB TECHConfirmed                                                                                                                                                                           61.84   197 PARK SIDE DRIVE SUFFERN NY                  10901 United States               Credit
1723   11/11/2018       17:02:39   PST       ...          WithdrawaCompleted                            ~@~CLD:1542700800~USD           ‐17.85   ‐0.18    ‐17.67                     ...                                                                        4RV738504Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1724   11/11/2018       14:18:44   PST       PayPal       Cancelled FCompleted                                               USD          0.06       0      0.06                     ...                                                                        01041162CT482705C                                                                                                                                                          9LT71557SA326463F                               17.85                                                                                     Memo
1725   11/11/2018       14:18:44   PST       Christine R Refund        Completed                        ~@~CLD:1542700800~USD               ‐2    0.06     ‐1.94 Refund              droussopo Open         U.S. Personal Unverified                            12U347778V143525U                                                                                                                                                          1R025228TN735612W                               17.85                                                                                     Debit
1726   11/11/2018       13:22:15   PST       Christine R Recurring PRefunded                            Trial 24HR Web HostinUSD             2   ‐0.36      1.64                     droussopo Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 1R025228TInstant     Unverified Christine R Confirmed                                                                                                                                                                      19.79   2825 Terra Unit 1602 Palmetto FL                34221 United States               Credit
1727   11/11/2018        8:01:33   PST       Michael M Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     mikemirab Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 3X465755SInstant     Unverified Michael M Confirmed                                                                                                                                                                        18.15   5536 42nd Street East Bradenton FL              34203 United States               Credit
1728   11/11/2018        6:53:20   PST       From U.S. DCurrency C Completed                            ~@~CLD:1542700800~CAD              375       0       375                     ...                                                                        81C55175JS984344W                                                                                                                                                          0D0203505P035653N                                 375                                                                                     Credit
1729   11/11/2018        6:53:20   PST       To CanadiaCurrency C Completed                             ~@~CLD:1542268800~USD          ‐294.28       0   ‐294.28                     ...                                                                        1H5553961J155352F                                                                                                                                                          0D0203505P035653N                                   0                                                                                     Debit
1730   11/11/2018        6:53:20   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1542268800~USD           294.28       0    294.28                     ...                                                                        73C67345KInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                   0D0203505P035653N                              294.28                                                                                     Credit
1731   11/11/2018        6:53:20   PST       FlashstreamMobile WeCompleted                              ~@~CLD:1542700800~CAD             ‐375       0      ‐375                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business Ver0D0203505Instant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to Flashstrea           0             0                                                                                     INV2‐QP7W‐QD7S‐8K4B‐NTZR                   0   8955 US Hwy 301 N #1Parrish       FL            34219 United States               Debit
1732   11/11/2018        6:50:59   PST       FlashstreamInvoice RecPaid                                                      CAD           375       0       375                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐QP7W‐QD7S‐8K4B‐NTZR                                                           0                      0        0                                                                         47                        ...                                                                                              Memo
1733   11/11/2018        6:47:52   PST       ...          WithdrawaCompleted                            ~@~CLD:1542268800~USD           ‐54.45   ‐0.54    ‐53.91                     ...                                                                        8SJ02200C Credit Card [Unknown]                                                                                                                                                                                                0                                                                                     Debit
1734   11/11/2018        5:12:36   PST       Robert BelaRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     rbelanger7 Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 8L846075KInstant     Unverified Robert BelaConfirmed                                                                                                                                                                       54.45   2239 Sifield Greens W Sun City CeFL             33573 United States               Credit
1735   11/11/2018        3:01:23   PST       Frank T Cle Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     clemenf@gOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 5UL60821AInstant          Verified frank clemeConfirmed                                                                                                                                                                          36.3   6730 283rd Street Eas Myakka CitFL              34251 United States               Credit
1736   11/11/2018        2:24:58   PST       Shirley McLRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     sam7330@Open           U.S. PersonSales@oneOpen PremU.S. Business Verified 4CU86698PInstant     Unverified Shirley McLConfirmed                                                                                                                                                                       18.15   4034 Cochise Terrace Sarasota FL                34233 United States               Credit
1737   11/10/2018       16:09:24   PST       From U.S. DCurrency C Completed                                                 CAD         83.81       0     83.81                     ...                                                                        8Y5770084X919405E                                                                                                                                                          4DA972896G412424T                               83.81                                                                                     Credit
1738   11/10/2018       16:09:24   PST       To CanadiaCurrency C Completed                                                  USD        ‐65.77       0    ‐65.77                     ...                                                                        03P05585L8270062L                                                                                                                                                          4DA972896G412424T                                   0                                                                                     Debit
1739   11/10/2018       16:09:24   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1542268800~USD            65.77       0     65.77                     ...                                                                        90K452400Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                   4DA972896G412424T                               65.77                                                                                     Credit
1740   11/10/2018       16:09:24   PST       FlashstreamMobile PayCompleted                             ~@~CLD:1542268800~CAD              ‐80   ‐3.81    ‐83.81                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business Ver4DA972896Instant Tra Non‐U.S. ‐ Verified                                                                                                                                                                                          0                                                                                     Debit
1741   11/10/2018       16:06:58   PST       ...          WithdrawaCompleted                            ~@~CLD:1542268800~USD          ‐107.14   ‐1.07   ‐106.07                     ...                                                                        3K7432180Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1742   11/10/2018       12:30:08   PST       Giosia MogRecurring PCompleted                             1 Month Website HostUSD           13.5   ‐0.69     12.81                     giosiam@gOpen PremU.S. BusineSales@oneOpen PremU.S. Business Verified 2NM39074Instant           Verified Casa Bella, Confirmed                                                                                                                                                                       107.14   431 9th St             West EastoPA             18042 United States               Credit
1743   11/10/2018       10:14:18   PST       Raw MediaCredit CardCompleted                              ~@~CLD:1542268800~USD               80   ‐3.82     76.18                     geoff@gav Open PremCanadian BSales@oneOpen PremU.S. Business Verified 25M19552 Instant          Non‐U.S. ‐ Verified                                                                                                                                                                                   94.33                                                                                     Credit
1744   11/10/2018        9:49:09   PST       Loreen HouRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     hcody3@y Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 4F5152283Instant     Verified Loreen HouConfirmed                                                                                                                                                                          18.15   20017 Oakdale Ave      Brooksville FL           34601 United States               Credit
1745   11/10/2018        9:30:47   PST       ...          WithdrawaCompleted                            ~@~CLD:1542268800~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                        4FU90164WCredit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1746   11/10/2018        8:46:07   PST       John WyattRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     milumjak@Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 27Y97111YInstant     Verified John WyattConfirmed                                                                                                                                                                          18.15   980 7th St NW, Lot 66 Largo       FL            33770 United States               Credit
1747   11/10/2018        7:14:18   PST       ...          WithdrawaCompleted                            ~@~CLD:1542268800~USD            ‐36.3   ‐0.36    ‐35.94                     ...                                                                        1MJ78853NCredit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1748   11/10/2018        6:56:14   PST       Barbara KuRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     barb49kue Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 4YG59678LInstant         Verified Barbara KuConfirmed                                                                                                                                                                           36.3   8925 SW 171ST ST       PALMETTOFL               33157 United States               Credit
1749   11/10/2018        6:42:08   PST       Kevin ChrisRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jlchristmanLocked      U.S. PremieSales@oneOpen PremU.S. Business Verified 17367574VInstant     Verified Kevin ChrisConfirmed                                                                                                                                                                         18.15   2105 12th Ave W        Bradenton FL             34205 United States               Credit
1750   11/10/2018        4:56:35   PST       ...          WithdrawaCompleted                            ~@~CLD:1542268800~USD            ‐72.6   ‐0.73    ‐71.87                     ...                                                                        6X8342856Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1751   11/10/2018        4:39:50   PST       richard joh Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     knightriderOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 47W98704 Instant        Verified Richard JohConfirmed                                                                                                                                                                          72.6   1207 Caloosa Creek CtSun City CeFL           33573‐487 United States              Credit
1752   11/10/2018        4:13:14   PST       Leo LozeauRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     llozeau442 Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 31V409063Instant     Unverified Leo LozeauConfirmed                                                                                                                                                                        54.45   47 Larkspur Ave      Palmetto FL                32444 United States               Credit
1753   11/10/2018        2:14:10   PST       Timothy AuRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     taubin@ta Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 47N819576Instant     Unverified Timothy AuConfirmed                                                                                                                                                                         36.3   570 57th Ave W Lot 25Bradenton FL               34207 United States               Credit
1754    11/9/2018        9:06:48   PST       Amber Wh Recurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     jorgenel15 Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 70J16544S Instant    Unverified Amber Wh Confirmed                                                                                                                                                                         18.15   2827 22nd St W       Bradenton FL               34207 United States               Credit
1755    11/8/2018       10:10:59   PST       ...          WithdrawaCompleted                            ~@~CLD:1542268800~USD            ‐36.3   ‐0.36    ‐35.94                     ...                                                                        422620921Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1756    11/8/2018        5:58:07   PST       Elaine GrenRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     efgrenier@Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 9XL89296J Instant    Unverified Elaine GrenConfirmed                                                                                                                                                                        36.3   6633 53rd Ave E        Bradenton FL             34203 United States               Credit
1757    11/8/2018        5:22:19   PST       Susan kelseRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     kelsey1948Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 5D5874928Instant     Unverified Susan kelseConfirmed                                                                                                                                                                       18.15   18939 W Maple          InterlochenMI            49643 United States               Credit
1758    11/8/2018        5:20:08   PST       ...          WithdrawaCompleted                            ~@~CLD:1542268800~USD           ‐90.75   ‐0.91    ‐89.84                     ...                                                                        7TH60050LCredit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1759    11/8/2018        5:00:12   PST       Scott Lurgi Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     tazlurgio@ Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 6GB605238Instant        Verified Scott Lurgi Confirmed                                                                                                                                                                        90.75   11305 30th CV E    Parrish   FL                 34219   United States             Credit
1760    11/8/2018        3:00:01   PST       Jack Coury Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jcoury@tamOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 93635293TInstant     Verified Jack Coury,Confirmed                                                                                                                                                                          72.6   4550 PinebApt. 601 Bradenton FL                 34209   United States             Credit
1761    11/8/2018        2:48:41   PST       Russell Par Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     rjp0122@s Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 8S783999XInstant     Verified Russell Par Confirmed                                                                                                                                                                        54.45   2019 S Bayou Dr    Ruskin    FL                 33570   United States             Credit
1762    11/6/2018       16:21:06   PST       Debbie Nic Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     DarlindebeOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 1Y112480RInstant     Verified Deborah MConfirmed                                                                                                                                                                            36.3   33710 Union Court Westland MI                   48186   United States             Credit
1763    11/6/2018       13:35:02   PST       victor ibarrRecurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     vimiza80@Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 1J610831E Instant         Unverified victor ibarrConfirmed                                                                                                                                                                      18.15   3644 WOODMONT DRSARASOTA FL                     34232   United States             Credit
1764    11/6/2018        9:22:38   PST       ...          WithdrawaCompleted                            ~@~CLD:1542268800~USD           ‐145.2   ‐1.45   ‐143.75                     ...                                                                        895851160Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1765    11/6/2018        8:56:12   PST       Larry BealeRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     lsbeale59@Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 9G275430FInstant     Unverified Larry BealeConfirmed                                                                                                                                                                       145.2   218 ROYAL BONNET D APOLLO BEFL                  33572   United States             Credit
1766    11/6/2018        7:29:13   PST       brooke rowRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     brookerowRestricted U.S. PersonSales@oneOpen PremU.S. Business Verified 86066020FInstant        Verified brooke rowConfirmed                                                                                                                                                                         127.05   2340 7th Ave Apt 52 New York NY                 10030   United States             Credit
1767    11/6/2018        7:23:12   PST       Penny RowRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     prow6@ya Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 8C8006738Instant     Unverified Penny RowConfirmed                                                                                                                                                                         108.9   9852 Moorhen Dr.      Lakeland FL               33810   United States             Credit
1768    11/6/2018        7:14:07   PST       william barRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     whbjr58@cOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 6E531722RInstant     Unverified william barConfirmed                                                                                                                                                                       90.75   9860 Grackle Loop     Lakeland FL               33810   United States             Credit
1769    11/6/2018        6:52:06   PST       Ronald GauRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     ghansome1Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 5N735261BInstant     Unverified Ronald GauConfirmed                                                                                                                                                                         72.6   4729 Loma Grande Dr El Paso    TX               79934   United States             Credit
1770    11/6/2018        4:24:28   PST       Timothy M Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     timberrr21 Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 7ND39711 Instant     Unverified Timothy M Confirmed                                                                                                                                                                        54.45   1064 East Manatee Bradenton FL                  34208   United States             Credit
1771    11/6/2018        3:45:50   PST       Kenneth RoRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     kcr02bebo Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 68V63618HInstant     Unverified Kenneth RoConfirmed                                                                                                                                                                         36.3   9425 Forest Hills Cir Sarasota FL               34238   United States             Credit
1772    11/6/2018        2:30:57   PST       Key West MRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     tim.greene Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 2V782781BInstant        Verified Key West MConfirmed                                                                                                                                                                          18.15   701 Spanish Main Dr 4Cudjoe KeyFL               33042   United States             Credit
1773    11/5/2018       10:59:46   PST       ...          WithdrawaCompleted                            ~@~CLD:1542268800~USD           ‐18.15   ‐0.18    ‐17.97                     ...                                                                        4SN908598Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1774    11/5/2018       10:09:48   PST       Gregory VaRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     pmac1@ptOpen           U.S. PersonSales@oneOpen PremU.S. Business Verified 5R231495NInstant     Unverified Gregory VaConfirmed                                                                                                                                                                        18.15   4215 Long Lake Drive SEllenton    FL            34222 United States               Credit
1775    11/5/2018        6:53:17   PST       From U.S. DCurrency C Completed                            ~@~CLD:1542268800~CAD              375       0       375                     ...                                                                        1UR47164V6757831B                                                                                                                                                          21H89072YV6533056                                 375                                                                                     Credit
1776    11/5/2018        6:53:17   PST       To CanadiaCurrency C Completed                             ~@~CLD:1542268800~USD          ‐296.36       0   ‐296.36                     ...                                                                        6NP33566VS518625H                                                                                                                                                          21H89072YV6533056                                   0                                                                                     Debit
1777    11/5/2018        6:53:17   PST       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1541664000~USD           296.36       0    296.36                     ...                                                                        2SU62935NInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                   21H89072YV6533056                              296.36                                                                                     Credit
1778    11/5/2018        6:53:17   PST       FlashstreamMobile WeCompleted                              ~@~CLD:1542268800~CAD             ‐375       0      ‐375                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business Ver21H89072YInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to Flashstrea           0             0                                                                                     INV2‐QAU5‐FN35‐HSSG‐SKBV                   0   8955 US Hwy 301 N #1Parrish       FL            34219 United States               Debit
1779    11/5/2018        6:51:10   PST       FlashstreamInvoice RecPaid                                                      CAD           375       0       375                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐QAU5‐FN35‐HSSG‐SKBV                                                           0                      0        0                                                                         46                        ...                                                                                              Memo
1780    11/5/2018        5:45:10   PST       ...          WithdrawaCompleted                            ~@~CLD:1541664000~USD           ‐25.92   ‐0.26    ‐25.66                     ...                                                                        72W87735 Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1781    11/5/2018        5:40:49   PST       Tom Burlin Recurring PCompleted                            1 Month Website HostUSD             27   ‐1.08     25.92                     tommyeb1 Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 1XC467592Instant     Unverified Tom Burlin Confirmed                                                                                                                                                                       25.92   1150 10TH PO BOX 26 Buffalo       MN            55313 United States               Credit
1782    11/5/2018        5:35:19   PST       ...          WithdrawaCompleted                            ~@~CLD:1541664000~USD           ‐90.75   ‐0.91    ‐89.84                     ...                                                                        2G833447MCredit Card [Unknown]                                                                                                                                                                                                 0                                                                                     Debit
1783    11/5/2018        5:29:12   PST       Robert Gib Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     rswimmer@Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 9BY97129PInstant     Unverified Robert Gib Confirmed                                                                                                                                                                       90.75   10514 Sleepy Orange CRiverview FL               33578   United States             Credit
1784    11/5/2018        5:12:05   PST       joe young Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     dr.feelgoodOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 6UM73704Instant      Unverified joe young, Confirmed                                                                                                                                                                        72.6   1528 SE Ohio Ave        Arcadia  FL             34266   United States             Credit
1785    11/5/2018        3:58:52   PST       Ken GiffordRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     wd4nkz@mOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 85K92871NInstant           Verified Ken GiffordConfirmed                                                                                                                                                                         54.45   6515 15th St. E. Lot D‐ Sarasota FL             34243   United States             Credit
1786    11/5/2018        3:14:00   PST       JAMES CLA Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     jclark4750@ Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 6P256312EInstant       Unverified JAMES CLA Confirmed                                                                                                                                                                         36.3   3506 Avenida Madera Bradenton FL                34210   United States             Credit
1787    11/5/2018        2:52:07   PST       Michelle WRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     michelle.w Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 4PC631362Instant     Verified Michelle WConfirmed                                                                                                                                                                          18.15   2315 124th dr e         Parrish  FL             34219   United States             Credit
1788    11/4/2018       12:44:08   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1541664000~USD           ‐54.45       0    ‐54.45                     ...                                                                        05X187074E282270N                                                                                                                                                                                                              0                                                                                     Debit
1789    11/4/2018       12:27:11   PST       Bryan GravRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     byrangraveOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 9NF827600Instant     Unverified Bryan GravConfirmed                                                                                                                                                                        54.45   407 46st St W          Palmetto FL              34221 United States               Credit
1790    11/4/2018       12:12:22   PST       Jasmine RivRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jasmineriveOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 2K6578818Instant     Unverified Jasmine RivConfirmed                                                                                                                                                                        36.3   711 22nd Ave W         Bradenton FL             34205 United States               Credit
1791    11/4/2018       12:00:06   PST       George GiuRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     ggiunta600Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 0SK513591Instant     Unverified George GiuConfirmed                                                                                                                                                                        18.15   1646 Serrano Circle    Naples    FL             34105 United States               Credit
1792    11/4/2018       11:47:07   PST       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1541664000~USD           ‐217.8       0    ‐217.8                     ...                                                                        7FM249019Y000892K                                                                                                                                                                                                              0                                                                                     Debit
1793    11/4/2018       11:06:07   PST       JOYCARE SeRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     joyfully4jesOpen PremU.S. BusineSales@oneOpen PremU.S. Business Verified 988310926Instant       Verified Joy Coblen Confirmed                                                                                                                                                                         217.8   1900 7th Ave W        Palmetto FL            34221‐311 United States              Credit
1794    11/4/2018        9:42:29   PST       Damon WaRecurring PCompleted                               1 Month Website HostUSD             19   ‐0.85     18.15                     yatahay54@  Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 8CK203316Instant     Unverified Damon WaConfirmed                                                                                                                                                                         199.65   2616 36 Ave W         Bradenton FL              34205 United States               Credit
1795    11/4/2018        9:02:13   PST       Gale Tycz Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     gftycz@gmOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 26U096517Instant     Unverified Gale Tycz, Confirmed                                                                                                                                                                       181.5   25 Carriage Drive     Durham CT                  6422 United States               Credit
1796    11/4/2018        8:45:09   PST       David Kato Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     dkatona94 Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 0VC584660Instant     Unverified David Kato Confirmed                                                                                                                                                                      163.35   4411 B 101st West     Bradenton FL              34210 United States               Credit
1797    11/4/2018        8:25:17   PST       Daniel Fish Recurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     jafishinger@Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 3YG70724RInstant     Unverified Daniel Fish Confirmed                                                                                                                                                                      145.2   7504 Sea Mark Court Apollo Bea FL               33572 United States               Credit
1798    11/4/2018        8:23:07   PST       William MuRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     billclinic@aOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 053295363Instant       Verified WILLIAM DConfirmed                                                                                                                                                                          127.05   17 Nashua RD          Pepperell MA               1463 United States               Credit
1799    11/4/2018        7:18:10   PST       Marco PineRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     gmag1968@   Restricted U.S. PersonSales@oneOpen PremU.S. Business Verified 5M362743 Instant     Unverified Marco PineConfirmed                                                                                                                                                                        108.9   1225 s c st           Lake WorthFL              33460 United States               Credit
1800    11/4/2018        7:01:10   PST       Vicki Hall Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     mtlmaidn@Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 46S68131RInstant          Verified Vicki Hall, 2Confirmed                                                                                                                                                                       90.75   2105 47th Street PlaceBradenton FL              34209 United States               Credit
1801    11/4/2018        6:57:07   PST       KG CommuRecurring PCompleted                               1 Month Website HostUSD             19   ‐0.85     18.15                     kim@kgcomOpen PremU.S. BusineSales@oneOpen PremU.S. Business Verified 99468359HInstant          Verified KG CommuConfirmed                                                                                                                                                                             72.6   20 Gilbert Dr.        Glenwood NJ                7418 United States               Credit
1802    11/4/2018        6:32:10   PST       Teddy Und Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     twu.1968@Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 2TY73950XInstant     Unverified Teddy Und Confirmed                                                                                                                                                                        54.45   5238 Foxcroft Ct.     Sarasota FL               34232 United States               Credit
1803    11/4/2018        6:17:19   PST       SHEILA CISCRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     SCISCO77@Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 1ED821777Instant     Unverified Sheila Knig Confirmed                                                                                                                                                                       36.3   6914 COCONUT GROVELLENTON FL                    34222 United States               Credit
1804    11/4/2018        3:07:07   PST       Brian RolphRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     brolph1@cOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 41L39838PInstant     Unverified Brian RolphConfirmed                                                                                                                                                                       18.15   4505 Cernala Court Venice       FL              34293 United States               Credit
1805    11/3/2018       13:28:56   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1541664000~USD           ‐18.15       0    ‐18.15                     ...                                                                        1LG97803ME9380331                                                                                                                                                                                                              0                                                                                     Debit
1806    11/3/2018       12:48:10   PDT       Git R Done Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     mhallcoupoRestricted U.S. BusineSales@oneOpen PremU.S. Business Verified 63W56072 Instant       Verified Git R Done Confirmed                                                                                                                                                                         18.15   2481 Hawthorne rd      Spring hill FL           34609 United States               Credit
1807    11/3/2018       12:23:29   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1541664000~USD          ‐116.67       0   ‐116.67                     ...                                                                        8C63437106241130F                                                                                                                                                                                                              0                                                                                     Debit
1808    11/3/2018       11:58:16   PDT       Bobby BlacRecurring PCompleted                             1 Month Website HostUSD             27   ‐1.08     25.92                     bblackwell Closed      U.S. PersonSales@oneOpen PremU.S. Business Verified 78M25704 Instant     Unverified Bobby BlacConfirmed                                                                                                                                                                       116.67   13001 22nd Ct E        Parrish   FL             34219 United States               Credit
1809    11/3/2018       11:20:09   PDT       Vanessa BaRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     vbazan@mOpen           U.S. PersonSales@oneOpen PremU.S. Business Verified 5J8113554 Instant    Unverified Vanessa M Confirmed                                                                                                                                                                        90.75   4701 20th A            Bradenton FL             34207 United States               Credit
1810    11/3/2018       10:46:14   PDT       Richard MARecurring PCompleted                             1 Month W107.77.215USD              19   ‐0.85     18.15                     steeler111@ Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 7BH08974BInstant       Verified Rick Malek Confirmed                                                                                                                                                                          72.6   33676 Guilbert Rd      Eastlake OH           44095‐253 United States              Credit
1811    11/3/2018        9:41:10   PDT       Ron SchmidRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     ronschmidtOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 8D115131TInstant     Unverified Ron SchmidConfirmed                                                                                                                                                                        54.45   7803 34th Court East   Sarasota FL              34243 United States               Credit
1812    11/3/2018        8:29:13   PDT       Terry Dyal Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     ford4x4500Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 1PH57715GInstant     Unverified Terry Dyal, Confirmed                                                                                                                                                                       36.3   9458 State Rd 64 W     Ona       FL             33865 United States               Credit
1813    11/3/2018        8:20:12   PDT       James Hint Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     tulsachero Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 7YB27347NInstant     Verified James Hint Confirmed                                                                                                                                                                         18.15   3007 25th. St. W.      Bradenton FL             34205 United States               Credit
1814    11/2/2018       15:14:58   PDT       ...          Withdraw Completed WELLS FAR       9888                            USD        ‐54.45       0    ‐54.45                     ...                                                                        7XM73418VB6062121                                                                                                                                                                                                              0                                                                                     Debit
1815    11/2/2018       15:12:17   PDT       Paul Scalisi Recurring PCompleted                          1 Month Website HostUSD             19   ‐0.85     18.15                     lscalisi441@Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 90E29867FInstant     Verified Scalisi Paul Confirmed                                                                                                                                                                       54.45   11525 Callaway Ct   Venice     FL               34293 United States               Credit
1816    11/2/2018       11:18:18   PDT       Jeanne Mc Recurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     fusionhybr Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 468658335Instant     Unverified Jeanne Mc Confirmed                                                                                                                                                                         36.3   1242 West Del Webb BSun City CeFL               33573 United States               Credit
1817    11/2/2018        9:19:14   PDT       Harry Spar Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     e411team@Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 0VN43658SInstant     Unverified Harry Spar Confirmed                                                                                                                                                                       18.15   4008 Colter Court   Kokomo IN                   46902 United States               Credit
1818    11/1/2018       16:39:46   PDT       ...          Withdraw Completed WELLS FAR       9888                            USD        ‐54.45       0    ‐54.45                     ...                                                                        0Y6464722H092550H                                                                                                                                                                                                              0                                                                                     Debit
1819    11/1/2018       15:59:38   PDT       joseph randRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     ringkking@Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 0EH51493CInstant     Verified Joseph RanConfirmed                                                                                                                                                                          54.45   116 Bridge St         Bradenton FL           34217‐243 United States              Credit
1820    11/1/2018       12:09:14   PDT       Scott Hall Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     scotthall.phOpen       U.S. PersonSales@oneOpen PremU.S. Business Verified 8AG36448FInstant     Unverified Scott Hall, Confirmed                                                                                                                                                                       36.3   18034 Malakai Isle Dr Tampa     FL              33647 United States               Credit
1821    11/1/2018       10:25:30   PDT       Donald Kni Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jndknight@Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 8JE25577F Instant        Verified Donald Kni Confirmed                                                                                                                                                                         18.15   12908 Maple St        Highland IL               62249 United States               Credit
1822    11/1/2018        9:12:29   PDT       ...          Withdraw Completed WELLS FAR       9888                            USD        ‐108.9       0    ‐108.9                     ...                                                                        8UN321194G353615R                                                                                                                                                                                                              0                                                                                     Debit
1823    11/1/2018        9:07:17   PDT       eugene ZepRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     hhfz137@cOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 5SY409565Instant     Unverified eugene ZepConfirmed                                                                                                                                                                        108.9   5605 Key Largo Ct.    Bradenton FL              34203 United States               Credit
1824    11/1/2018        8:55:14   PDT       Suzanne MRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     SuzannecmOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 647000962Instant     Unverified Suzanne MConfirmed                                                                                                                                                                         90.75   PO Box 1288           Bradenton FL              34206 United States               Credit
1825    11/1/2018        8:43:23   PDT       Leah Clend Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     rioflora@g Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 0TW32015 Instant     Unverified Leah Clend Confirmed                                                                                                                                                                        72.6   799 Pinellas Pt Dr So Saint Peter FL            33705 United States               Credit
1826    11/1/2018        8:28:15   PDT       James Bott Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     jamesbotti Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 56M81514 Instant        Verified James A. B Confirmed                                                                                                                                                                         54.45   12131 Stuart Dr       Venice      FL         34293‐034 United States              Credit
1827    11/1/2018        7:35:16   PDT       Charlotte SRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     csaise_sdp Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 9HR25573KInstant     Unverified Charlotte SConfirmed                                                                                                                                                                        36.3   102 3rd Ave Se        Ruskin      FL            33570 United States               Credit
1828    11/1/2018        5:30:29   PDT       Samantha Recurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     smjpt70@gOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 7E331111SInstant     Verified Samantha Confirmed                                                                                                                                                                           18.15   7504 Morning Side Dr Ellenton FL                34222 United States               Credit
1829   10/31/2018       16:56:31   PDT       ...          Withdraw Completed WELLS FAR       9888                            USD        ‐18.15       0    ‐18.15                     ...                                                                        5VC115408H629222Y                                                                                                                                                                                                              0                                                                                     Debit
1830   10/31/2018       16:56:09   PDT       From U.S. DCurrency C Completed                                                 CAD           375       0       375                     ...                                                                        12D98703VS8876625                                                                                                                                                          8S9977706M128131C                                 375                                                                                     Credit
1831   10/31/2018       16:56:09   PDT       To CanadiaCurrency C Completed                                                  USD       ‐295.05       0   ‐295.05                     ...                                                                        3H246558JT1228624                                                                                                                                                          8S9977706M128131C                               18.15                                                                                     Debit
1832   10/31/2018       16:56:09   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1541404800~USD           295.05       0    295.05                     ...                                                                        5BS92525AInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                   8S9977706M128131C                               313.2                                                                                     Credit
1833   10/31/2018       16:56:09   PDT       FlashstreamMobile WeCompleted                              Payment to FlashstreaCAD          ‐375       0      ‐375                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business Ver8S9977706Instant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to Flashstrea           0             0                                                                                     INV2‐VPFY‐7G8B‐VZ2Y‐EMZ7                   0   8955 US Hwy 301 N #1Parrish       FL            34219 United States               Debit
1834   10/31/2018       16:53:50   PDT       FlashstreamInvoice RecPaid                                                      CAD           375       0       375                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐VPFY‐7G8B‐VZ2Y‐EMZ7                                                           0                      0        0                                                                          43                       ...                                                                                              Memo
1835   10/31/2018       15:56:06   PDT       amanda naRecurring PCompleted                              1 Month Website HostUSD             19   ‐0.85     18.15                     amanda.naOpen          U.S. PersonSales@oneOpen PremU.S. Business Verified 7WX59287 Instant     Unverified amanda naConfirmed                                                                                                                                                                         18.15   4851 Shadow Oak Dr youngstow OH                 44515 United States               Credit
1836   10/31/2018       15:12:21   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1541404800~USD          ‐120.17       0   ‐120.17                     ...                                                                        5HS85697D08223533                                                                                                                                                                                                              0                                                                                     Debit
1837   10/31/2018       12:27:24   PDT       DROB TECHMobile PayCompleted                               ~@~CLD:1541404800~USD               52   ‐1.81     50.19 Affiliate           drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 7V890708FInstant        Verified DROB TECHConfirmed                                                                                                                                                                          120.17   197 PARK SIDE DRIVE SUFFERN NY                  10901 United States               Credit
1838   10/31/2018       12:22:11   PDT       Johnj EvereRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     johne4420 Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 2AA01873JInstant     Unverified Johnj EvereConfirmed                                                                                                                                                                       69.98   115 Kendall Dr         Danville KY              40422 United States               Credit
1839   10/31/2018        7:37:19   PDT       Julie Webe Recurring PCompleted                            1 Month Website HostUSD             35   ‐1.32     33.68                     julieweb@ Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 9S497954WInstant     Unverified Julie Webe Confirmed                                                                                                                                                                       51.83   2736 58th Place N      Saint Peter FL           33714 United States               Credit
1840   10/31/2018        7:25:08   PDT       lewis Rose Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     lewislrose5Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 2WX73947 Instant     Unverified lewis Rose,Confirmed                                                                                                                                                                       18.15   15004 Trinity Fall Way Bradenton FL             34212 United States               Credit
1841   10/30/2018       13:43:21   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1541404800~USD           ‐54.45       0    ‐54.45                     ...                                                                        4RC147066E7607801                                                                                                                                                                                                              0                                                                                     Debit
1842   10/30/2018       13:01:06   PDT       Jenny Lyde Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     templeton Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 81W99083 Instant     Unverified Jenny Tem Confirmed                                                                                                                                                                        54.45   620 Bowsp Country CluLongboat KFL               34228 United States               Credit
1843   10/30/2018       11:34:10   PDT       Margret FisRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     guavagirl.1 Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 7XF79122KInstant     Unverified Margret FisConfirmed                                                                                                                                                                        36.3   1228 45th Ave Dr East Ellenton FL               34222 United States               Credit
1844   10/30/2018        8:38:07   PDT       pete miran Recurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     2007telfordOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 0PE33461VInstant     Verified pete miran Confirmed                                                                                                                                                                         18.15   1203 3rd st. Circle E Palmetto FL               34221 United States               Credit
1845   10/30/2018        8:23:23   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1541404800~USD           ‐62.22       0    ‐62.22                     ...                                                                        5F763475R35228923                                                                                                                                                                                                              0                                                                                     Debit
1846   10/30/2018        8:13:32   PDT       Larry Sturn Recurring PCompleted                           1 Month Website HostUSD             27   ‐1.08     25.92                     laza1239@Open          U.S. PersonSales@oneOpen PremU.S. Business Verified 5PW99966 Instant     Unverified Larry Sturn Confirmed                                                                                                                                                                      62.22   811 FreedoApt 302 Sun City CeFL                 33573 United States               Credit
1847   10/30/2018        8:00:19   PDT       Ronald L JaRecurring PCompleted                            1 Month Website HostUSD             19   ‐0.85     18.15                     rljavner@uOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 2E592862DInstant     Verified Carole JavnConfirmed                                                                                                                                                                          36.3   4904 CREEKSIDE TRL SARASOTA FL                  34243 United States               Credit
1848   10/30/2018        5:18:20   PDT       Rebecca ReRecurring PCompleted                             1 Month Website HostUSD             19   ‐0.85     18.15                     siervarebecOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 15193748NInstant     Verified Rebecca|C Confirmed                                                                                                                                                                          18.15   901 N. Wahneta St. Allentown PENNSYLVA          18109 United States               Credit
1849   10/29/2018       14:34:07   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1541404800~USD           ‐62.22       0    ‐62.22                     ...                                                                        7CP14080A87917903                                                                                                                                                                                                              0                                                                                     Debit
1850   10/29/2018       14:06:19   PDT       Paul FraileyRecurring PCompleted                           1 Month Website HostUSD             19   ‐0.85     18.15                     pfrailey1@ Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 2GA309964Instant     Verified Paul FraileyConfirmed                                                                                                                                                                        62.22   77‐6488 Maile St       Kailua KonaHI            96740 United States               Credit
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       A            B                    C       D           E          F          G         H      I       J         K             L    M        N        O           P      Q   R       S         T         U          V         W         X          Y         Z         AA        AB        AC         AD        AE        AF         AG       AH   AI       AJ       AK       AL   AM   AN   AO   AP   AQ   AR   AS   AT   AU   AV     AW        AX        AY       AZ   BA         BB          BC           BD         BE          BF      BG         BH           BI   BJ      BK    BL   BM   BN
1851   10/29/2018       14:03:19   PDT       Harry MartRecurring PCompleted                             1 Month Website HostUSD              27   ‐1.08     25.92                     909.martinOpen       U.S. PersonSales@oneOpen PremU.S. Business Verified 14451678RInstant    Verified Harry MartConfirmed                                                                                                                                                                           44.07   8008 55th St. E     Palmetto FL                34221 United States               Credit
1852   10/29/2018        7:58:06   PDT       Susan Casil Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     sweetsue_ Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 8DK33864EInstant    Verified Susan Casil Confirmed                                                                                                                                                                         18.15   2795 Bay Oaks Drive Sarasota FL                34234 United States               Credit
1853   10/29/2018        7:17:52   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1541404800~USD            ‐54.45       0    ‐54.45                     ...                                                                      95X165425T293305N                                                                                                                                                                                                              0                                                                                    Debit
1854   10/29/2018        7:16:39   PDT       James McKRecurring PCompleted                              1 Month Website HostUSD              19   ‐0.85     18.15                     jim.mckinnOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 50M99602 Instant      Verified James McKConfirmed                                                                                                                                                                            54.45   5655 Bayview Drive Seminole FL                 33772 United States               Credit
1855   10/29/2018        5:22:16   PDT       Hershel RicRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     hershelrichOpen      U.S. PersonSales@oneOpen PremU.S. Business Verified 1BS96076XInstant    Unverified Hershel RicConfirmed                                                                                                                                                                         36.3   1518 Pelican Point Dr. Sarasota FL             34231 United States               Credit
1856   10/29/2018        3:12:55   PDT       Bridges Bri Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     beth.b.stuf Open     U.S. PersonSales@oneOpen PremU.S. Business Verified 7B780609GInstant    Unverified Bridges Bri Confirmed                                                                                                                                                                       18.15   2510 S Gilpin St       Denver   CO             80210 United States               Credit
1857   10/28/2018       12:50:41   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1541404800~USD            ‐54.45       0    ‐54.45                     ...                                                                      90A51693197034521                                                                                                                                                                                                              0                                                                                    Debit
1858   10/28/2018       12:36:51   PDT       Hillary Bell Recurring PCompleted                          1 Month Website HostUSD              19   ‐0.85     18.15                     jnhb6090@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 1SV39309GInstant    Verified Hillary Bell Confirmed                                                                                                                                                                        54.45   10141 Newminster Lo Ruskin  FL                 33573 United States               Credit
1859   10/28/2018       11:17:06   PDT       Wallter Fin Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     wfinkelstei Open     U.S. PersonSales@oneOpen PremU.S. Business Verified 34P26416BInstant    Unverified Wallter Fin Confirmed                                                                                                                                                                        36.3   17028 Seaford Way Bradenton FL                 34202 United States               Credit
1860   10/28/2018       10:12:10   PDT       Fred Nelso Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     fredndiane Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 1RU20496LInstant    Unverified Fred Nelso Confirmed                                                                                                                                                                        18.15   2244 Pier Dr        Ruskin  FL                 33570 United States               Credit
1861   10/28/2018        9:09:46   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1541404800~USD            ‐69.98       0    ‐69.98                     ...                                                                      9SP23623XS6438239                                                                                                                                                                                                              0                                                                                    Debit
1862   10/28/2018        8:54:15   PDT       RAYMOND Recurring PCompleted                               1 Month Website HostUSD              19   ‐0.85     18.15                     rrrbug@hoOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 7VR78439EInstant       Verified RAYMOND Confirmed                                                                                                                                                                             69.98   6142 SUMTER DR       BROOKSVILFL               34602 United States               Credit
1863   10/28/2018        6:41:16   PDT       David Ham Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     kitchendes Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 80472176VInstant    Unverified David Ham Confirmed                                                                                                                                                                         51.83   3812 70th Ave E.     Ellenton FL               34222 United States               Credit
1864   10/28/2018        6:18:10   PDT       Gregory BeRecurring PCompleted                             1 Month Website HostUSD              35   ‐1.32     33.68                     aebrn57@ Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 375708880Instant    Verified Gregory BeConfirmed                                                                                                                                                                           33.68   5934 Easy SUNIT# K25 BRADENTOFL                34207 United States               Credit
1865   10/27/2018       17:34:44   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1541404800~USD            ‐25.92       0    ‐25.92                     ...                                                                      9SW23926F88790247                                                                                                                                                                                                              0                                                                                    Debit
1866   10/27/2018       16:07:12   PDT       Diane Max Recurring PCompleted                             1 Month Website HostUSD              27   ‐1.08     25.92                     ladydi_801 Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 4Y811046UInstant     Unverified Diane Max Confirmed                                                                                                                                                                         25.92   1611 12th St E Suite G Palmetto FL             34221 United States               Credit
1867   10/27/2018       13:33:59   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1541404800~USD            ‐108.9       0    ‐108.9                     ...                                                                      0P261238UJ754053M                                                                                                                                                                                                              0                                                                                    Debit
1868   10/27/2018       12:46:11   PDT       jorge yong Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     jorgeca207Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 5B988619EInstant    Unverified jorge yong,Confirmed                                                                                                                                                                        108.9   13140 sw 23 st        Miramar FL               33027   United States             Credit
1869   10/27/2018        9:53:06   PDT       Christine L Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     Brokervee@Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 5PU36390GInstant    Unverified Christine B Confirmed                                                                                                                                                                       90.75   8457 Idlewood Ct      Lakewood FL              34202   United States             Credit
1870   10/27/2018        9:45:23   PDT       Brad Maye Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     beachlife75Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 3DX39377PInstant    Verified Courtney MConfirmed                                                                                                                                                                            72.6   7049 Chatum Light Ru Bradenton FL              34212   United States             Credit
1871   10/27/2018        9:39:12   PDT       Rick Roett Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     mrroett@yOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 7BW97188Instant     Unverified Rick Roett, Confirmed                                                                                                                                                                       54.45   4657 72nd Ct E        Bradenton FL             34203   United States             Credit
1872   10/27/2018        9:29:10   PDT       Julieanne PRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     juiecma102Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 4XX314481Instant    Unverified Julieanne PConfirmed                                                                                                                                                                         36.3   4702 105th Ave East Parrish     FL             34219   United States             Credit
1873   10/27/2018        7:58:24   PDT       Alan Weng Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     alw0200@ Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 5G450579SInstant    Unverified Alan Weng Confirmed                                                                                                                                                                         18.15   42 West Oak St Lot A1 Osprey    FL             34229   United States             Credit
1874   10/27/2018        6:53:07   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1541404800~USD             ‐36.3       0     ‐36.3                     ...                                                                      5FU93500DY1934542                                                                                                                                                                                                              0                                                                                    Debit
1875   10/27/2018        5:11:46   PDT       Jane GREENRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     janieluv@aOpen       U.S. PersonSales@oneOpen PremU.S. Business Verified 1PB31890RInstant    Unverified Jane GreenConfirmed                                                                                                                                                                          36.3   920 Westwind Dr        N Palm BeaFL         33408‐422 United States              Credit
1876   10/27/2018        3:55:45   PDT       kelvin mck Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     kelv941fl@Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 0NX93582DInstant    Unverified kelvin mck Confirmed                                                                                                                                                                        18.15   3025 Leon Ave          Sarasota FL             34234 United States               Credit
1877   10/26/2018       12:59:46   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1541404800~USD            ‐145.2       0    ‐145.2                     ...                                                                      7CX68424TU8311737                                                                                                                                                                                                              0                                                                                    Debit
1878   10/26/2018       12:35:14   PDT       Jane Deme Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     jdemers91 Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 3VN45379KInstant    Unverified Jane Deme Confirmed                                                                                                                                                                         145.2   218 63rd Dr E         Bradenton FL              34203 United States              Credit
1879   10/26/2018       12:23:21   PDT       Kimberly H Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     kphubner@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 54R940069Instant    Unverified Kimberly H Confirmed                                                                                                                                                                       127.05   3815 Pin Oaks Street Sarasota FL                34232 United States              Credit
1880   10/26/2018       11:13:07   PDT       Mike Neav Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     Mikenea@ Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 6B8392313Instant    Unverified Mike Neav Confirmed                                                                                                                                                                         108.9   324 Petrel Trl        Bradenton FL              34212 United States              Credit
1881   10/26/2018       11:00:16   PDT       Jeannery GRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     mgreeners Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 4BE94701HInstant    Verified Jeannery GConfirmed                                                                                                                                                                           90.75   3805 72nd Ter E       Sarasota FL           34243‐516 United States              Credit
1882   10/26/2018       10:46:10   PDT       Elizabeth S Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     lizsmith13@Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 1BM58908 Instant    Unverified Elizabeth S Confirmed                                                                                                                                                                        72.6   2072 Pitt St.         Cornwall ON           K6J 5G3 Canada                       Credit
1883   10/26/2018        9:03:17   PDT       Charles Ga Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     cjg651@gmOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 9V987058LInstant    Verified Charles Ga Confirmed                                                                                                                                                                          54.45   5040 Palmetto WoodsNaples       FL              34119 United States              Credit
1884   10/26/2018        4:56:52   PDT       Robert DavRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     rwdavis370Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 3AX70048KInstant    Unverified Robert DavConfirmed                                                                                                                                                                          36.3   907 49th ave terrace wBradenton FL              34207 United States              Credit
1885   10/26/2018        3:47:58   PDT       James FromRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     jrfroman19Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 9L180332T Instant   Verified James FromConfirmed                                                                                                                                                                           18.15   35 7th St.            Nokomis FL                34275 United States              Credit
1886   10/25/2018       13:37:53   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1541404800~USD             ‐72.6       0     ‐72.6                     ...                                                                      9P624198TS839772G                                                                                                                                                                                                              0                                                                                    Debit
1887   10/25/2018       11:11:10   PDT       HELGA MA Recurring PCompleted                              1 Month Website HostUSD              19   ‐0.85     18.15                     HELGAMANOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 84389492HInstant    Verified HELGA MA Confirmed                                                                                                                                                                             72.6   7134 50th Ave Cir E Palmetto FL                34221 United States               Credit
1888   10/25/2018        9:58:10   PDT       Henry ArseRecurring PCompleted                             1 Month W108.191.67USD               19   ‐0.85     18.15                     hank98471Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 10U767367Instant    Verified henry s ars Confirmed                                                                                                                                                                         54.45   5602 79TH AVE E       PALMETTOFL               34221 United States               Credit
1889   10/25/2018        9:15:12   PDT       Cynthia SchRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     c.schwab@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 5B371310HInstant    Unverified Cynthia SchConfirmed                                                                                                                                                                         36.3   17146 Malta Ave       Port CharloFL            33954 United States               Credit
1890   10/25/2018        7:43:11   PDT       Sarasota WRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     sckoch69@Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 29M52527 Instant       Verified Steve Koch Confirmed                                                                                                                                                                          18.15   4648 Charing Cross rd Sarasota FL           34241‐612 United States              Credit
1891   10/25/2018        5:49:13   PDT       ...          Withdraw Completed WELLS FAR       9888                             USD        ‐51.54       0    ‐51.54                     ...                                                                      3WH4663864511780F                                                                                                                                                                                                              0                                                                                    Debit
1892   10/25/2018        5:19:25   PDT       Terri MunkRecurring PCompleted                             1 Month Website HostUSD              18   ‐0.82     17.18                     curly325@ Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 59G74338RInstant    Unverified Munkirs, G Confirmed                                                                                                                                                                        51.54   410 State Rt 173   Stewartsvil NJ               8886 United States               Credit
1893   10/25/2018        4:51:16   PDT       The Better Recurring PCompleted                            1 Month Website HostUSD              18   ‐0.82     17.18                     jmanzano1Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 2WH38001Instant        Verified The Better Confirmed                                                                                                                                                                          34.36   6535 Anch Apt# 204 Bradenton FL                34212 United States               Credit
1894   10/25/2018        3:15:03   PDT       Martin Lee Recurring PCompleted                            1 Month Website HostUSD              18   ‐0.82     17.18                     siestakeysuOpen      U.S. PersonSales@oneOpen PremU.S. Business Verified 9JN960780Instant    Verified Martin Lee Confirmed                                                                                                                                                                          17.18   PO Box 51704       Sarasota FL                 34232 United States               Credit
1895   10/24/2018       19:14:57   PDT       ...          Withdraw Completed WELLS FAR       9888                             USD        ‐46.01       0    ‐46.01                     ...                                                                      48U33591PF0967848                                                                                                                                                                                                              0                                                                                    Debit
1896   10/24/2018       16:56:09   PDT       FRITZ MAR Recurring PCompleted                             1 Month Website HostUSD              29   ‐1.14     27.86                     fritz_marti Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 05L082192Instant    Verified fred martinConfirmed                                                                                                                                                                          46.01   924 Paradise Island Dr DeFuniak S FL        32433‐707 United States              Credit
1897   10/24/2018       10:42:14   PDT       Ron Reppu Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     reppuccieleOpen PremU.S. BusineSales@oneOpen PremU.S. Business Verified 3VX90375BInstant     Unverified Ron Reppu Confirmed                                                                                                                                                                         18.15   339 WhittieBox 224 Tamworth NH                  3886 United States               Credit
1898   10/23/2018       19:12:13   PDT       From U.S. DCurrency C Completed                            ~@~CLD:1540537200~CAD               350       0       350                     ...                                                                      0U476405Y7708453A                                                                                                                                                          4TR71156WN369300S                                 350                                                                                    Credit
1899   10/23/2018       19:12:13   PDT       To CanadiaCurrency C Completed                             ~@~CLD:1540537200~USD           ‐276.05       0   ‐276.05                     ...                                                                      92V77766HY178905P                                                                                                                                                          4TR71156WN369300S                                   0                                                                                    Debit
1900   10/23/2018       19:12:13   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1540537200~USD            276.05       0    276.05                     ...                                                                      24Y343513Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                   4TR71156WN369300S                              276.05                                                                                    Credit
1901   10/23/2018       19:12:13   PDT       FlashstreamMobile WeCompleted                              Payment to FlashstreaCAD           ‐350       0      ‐350                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business Ver4TR71156WInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to Flashstrea         0             0                                                                                     INV2‐E6C6‐DVVT‐CD4F‐KAPJ                   0   8955 US Hwy 301 N #1Parrish      FL            34219 United States               Debit
1902   10/23/2018       19:10:05   PDT       FlashstreamInvoice RecPaid                                                       CAD           350       0       350                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐E6C6‐DVVT‐CD4F‐KAPJ                                                         0                      0        0                                                                          40                       ...                                                                                             Memo
1903   10/23/2018       13:30:05   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1540537200~USD             ‐72.6       0     ‐72.6                     ...                                                                      9LU50442C2234554J                                                                                                                                                                                                              0                                                                                    Debit
1904   10/23/2018       12:52:06   PDT       Robert Sav Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     rsaviola@aOpen       U.S. PersonSales@oneOpen PremU.S. Business Verified 9F615498J Instant   Unverified Robert Sav Confirmed                                                                                                                                                                         72.6   280 126th Ave Unit 10Treasure Is FL            33706 United States               Credit
1905   10/23/2018       11:49:36   PDT       bridgette s Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     kgbstout@ Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 00N133824Instant    Verified bridgette s Confirmed                                                                                                                                                                         54.45   8875 39th Street CircleParrish   FL            34219 United States               Credit
1906   10/23/2018       10:06:13   PDT       ANTHONY Recurring PCompleted                               1 Month Website HostUSD              19   ‐0.85     18.15                     finishcut@ Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 0C4632661Instant     Unverified ANTHONY Confirmed                                                                                                                                                                            36.3   #6 7th street west     nokomis FL              34275 United States               Credit
1907   10/23/2018        9:53:12   PDT       PETER WIL Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     pkbw@hotOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 8RP730717Instant        Verified PETER WIL Confirmed                                                                                                                                                                           18.15   20 Rambleton Drive New CastleDE                19720 United States               Credit
1908   10/23/2018        9:05:06   PDT       ...          WithdrawaCompleted                            ~@~CLD:1540537200~USD            ‐90.38    ‐0.9    ‐89.48                     ...                                                                      50333002GCredit Card [Unknown]                                                                                                                                                                                                 0                                                                                    Debit
1909   10/23/2018        4:05:11   PDT       DROB TECHMobile PayCompleted                               ~@~CLD:1540537200~USD                56   ‐1.92     54.08                     drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 6EH805875Instant     Verified DROB TECHConfirmed                                                                                                                                                                            90.38   197 PARK SIDE DRIVE SUFFERN NY                 10901 United States               Credit
1910   10/22/2018       19:55:25   PDT       DIANE NAMRecurring PCompleted                              1 Month Website HostUSD              19   ‐0.85     18.15                     LOTTERYGI Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 8YE929305Instant    Unverified DIANE NAMConfirmed                                                                                                                                                                           36.3   2003 WILLOW BROOK WARREN OH                    44483 United States               Credit
1911   10/22/2018       18:03:48   PDT       Rose Lee B Update to Updated                               ~@~CLD:1540537200~USD                19   ‐0.85     18.15                     mlblaze@yOpen        U.S. Personal Verified                              0B9226493C889215G Verified                                                                                                                                                 7KT88510W04732454                               18.15                                                                                    Credit
1912   10/21/2018       11:45:25   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1540537200~USD            ‐145.2       0    ‐145.2                     ...                                                                      0MK429023T106760T                                                                                                                                                                                                              0                                                                                    Debit
1913   10/21/2018       11:19:23   PDT       sonja bach Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     sbdaylily1@Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 84D36882PInstant    Unverified sonja bach Confirmed                                                                                                                                                                        145.2   1717 daylily drive     trinity   FL            34655 United States               Credit
1914   10/21/2018       11:03:12   PDT       Tawanda K Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     Tawanda.k Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 2KP31455KInstant    Verified Tawanda K Confirmed                                                                                                                                                                          127.05   5408 3rd st w          Bradenton FL            34207 United States               Credit
1915   10/21/2018       10:44:07   PDT       Robert Mo Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     bobkathfl1 Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 57E76931NInstant    Unverified Robert Mo Confirmed                                                                                                                                                                         108.9   2689 S Crystal Lake Dr Avon Park FL            33825 United States               Credit
1916   10/21/2018       10:23:10   PDT       Patricia McRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     paddimccluOpen       U.S. PersonSales@oneOpen PremU.S. Business Verified 13H579453Instant    Verified Patricia McConfirmed                                                                                                                                                                          90.75   283 crescent rd        wanaque NJ           07465‐121 United States              Credit
1917   10/21/2018        9:47:12   PDT       kelly covilleRecurring PCompleted                          1 Month Website HostUSD              19   ‐0.85     18.15                     kelshine5@Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 9F455246VInstant      Unverified Kelly Covill Confirmed                                                                                                                                                                       72.6   5871 17th Street WestBradenton FL              34207 United States               Credit
1918   10/21/2018        9:16:26   PDT       john suttonRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     les55suttonOpen      U.S. PersonSales@oneOpen PremU.S. Business Verified 1M844289 Instant    Unverified john suttonConfirmed                                                                                                                                                                        54.45   2002 17th St W.        Palmetto FL             34221 United States               Credit
1919   10/21/2018        8:18:26   PDT       william hayRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     pumkinx@ Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 74S72180WInstant    Verified william hayConfirmed                                                                                                                                                                           36.3   469 Kaiser Dr          palmetto FL          34221‐542 United States              Credit
1920   10/21/2018        7:37:08   PDT       Ashley Wa Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     walogorskyOpen PremU.S. BusineSales@oneOpen PremU.S. Business Verified 0S0633003Instant      Unverified Ashley Wa Confirmed                                                                                                                                                                         18.15   934 Jungle Avenue No Saint Peter FL            33710 United States               Credit
1921   10/20/2018       13:13:57   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1540537200~USD           ‐142.58       0   ‐142.58                     ...                                                                      01M63616UH050723L                                                                                                                                                                                                              0                                                                                    Debit
1922   10/20/2018       11:57:07   PDT       Darlene MaRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     jndmatt@yOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 4CX77500NInstant    Unverified Darlene MaConfirmed                                                                                                                                                                        142.58   3037 Paradise Path     Sebring    FL           33870 United States               Credit
1923   10/20/2018       10:16:06   PDT       Irene SherbRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     isherburda Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 63N70439LInstant    Unverified Irene SherbConfirmed                                                                                                                                                                       124.43   73livingston Rd.       Greenville NH            3048 United States               Credit
1924   10/20/2018        9:42:12   PDT       Edward PinRecurring PCompleted                             1 Month Website HostUSD              35   ‐1.32     33.68                     paze25@g Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 7YG90197AInstant    Unverified Edward PinConfirmed                                                                                                                                                                        106.28   5612 Mallow St         New Prt RcFL         34652‐516 United States              Credit
1925   10/20/2018        8:52:12   PDT       James BreeRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     jeb127327@  Open     U.S. PersonSales@oneOpen PremU.S. Business Verified 5CK86994GInstant    Verified James BreeConfirmed                                                                                                                                                                            72.6   3708 Riviera Dr        Sarasota FL             34232 United States               Credit
1926   10/20/2018        8:38:19   PDT       Kevin mcduRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     kevinmcdu Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 44X60875YInstant    Unverified Kevin mcduConfirmed                                                                                                                                                                         54.45   6007 Smith Ryals Rd    Plant City FL        33567‐375 United States              Credit
1927   10/20/2018        8:20:19   PDT       Laura Siek Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     siekl58@gmOpen       U.S. PersonSales@oneOpen PremU.S. Business Verified 66692854UInstant    Unverified Laura Siek, Confirmed                                                                                                                                                                        36.3   13033 19 Mile Rd Lot   Gowen      MI           49326 United States               Credit
1928   10/20/2018        7:56:09   PDT       robert samRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     samulka.roOpen       U.S. PersonSales@oneOpen PremU.S. Business Verified 8AC02239YInstant    Unverified robert samConfirmed                                                                                                                                                                         18.15   4019 Laurel Way        Ellenton FL             34222 United States               Credit
1929   10/19/2018       14:23:13   PDT       From U.S. DCurrency C Completed                            ~@~CLD:1540364400~CAD               200       0       200                     ...                                                                      4U459005E6759193R                                                                                                                                                          9EC159194G678835K                                 200                                                                                    Credit
1930   10/19/2018       14:23:13   PDT       To CanadiaCurrency C Completed                             ~@~CLD:1540364400~USD           ‐158.41       0   ‐158.41                     ...                                                                      9AT31252BH5148701                                                                                                                                                          9EC159194G678835K                                   0                                                                                    Debit
1931   10/19/2018       14:23:13   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1540364400~USD            158.41       0    158.41                     ...                                                                      42L99345NInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                   9EC159194G678835K                              158.41                                                                                    Credit
1932   10/19/2018       14:23:13   PDT       FlashstreamMobile WeCompleted                              ~@~CLD:1540537200~CAD              ‐200       0      ‐200                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business Ver9EC159194Instant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to Flashstrea         0             0                                                                                     INV2‐G5PF‐L7D5‐RFQ6‐5NDK                   0   8955 US Hwy 301 N #1Parrish      FL            34219 United States               Debit
1933   10/19/2018       14:10:30   PDT       FlashstreamInvoice RecPaid                                                       CAD           200       0       200                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐G5PF‐L7D5‐RFQ6‐5NDK                                                         0                      0        0                                                                          36                       ...                                                                                             Memo
1934   10/19/2018       11:53:49   PDT       ...          WithdrawaCompleted                            ~@~CLD:1540364400~USD             ‐72.6   ‐0.73    ‐71.87                     ...                                                                      1RK11409BCredit Card [Unknown]                                                                                                                                                                                                 0                                                                                    Debit
1935   10/19/2018       11:46:07   PDT       Linda WormRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     lworman8@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 3NB785985Instant    Verified Linda WormConfirmed                                                                                                                                                                            72.6   6 Parkwood           Bradenton FL              34208 United States               Credit
1936   10/19/2018       11:20:12   PDT       Cheryl HillmRecurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     cherlyhillmOpen      U.S. PersonSales@oneOpen PremU.S. Business Verified 9HU47976 Instant    Unverified Cheryl HillmConfirmed                                                                                                                                                                       54.45   1988 Se Cherry Dr    Arcadia   FL              34266 United States               Credit
1937   10/19/2018        8:19:11   PDT       James FriedRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     jfriedhoff@Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 0E919339SInstant    Verified James FriedConfirmed                                                                                                                                                                           36.3   928 S Doral Ln.      Venice    FL              34293 United States               Credit
1938   10/19/2018        8:14:13   PDT       David HollaRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     david.holla Open     U.S. PersonSales@oneOpen PremU.S. Business Verified 1EE70939UInstant    Unverified David HollaConfirmed                                                                                                                                                                        18.15   9124 Raes Creek PlacePalmetto FL               34221 United States               Credit
1939   10/18/2018       11:31:44   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1540364400~USD             ‐36.3       0     ‐36.3                     ...                                                                      8HX249385G743762P                                                                                                                                                                                                              0                                                                                    Debit
1940   10/18/2018       10:26:12   PDT       Quintin MoRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     qmoyer1@Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 4FL79442UInstant    Unverified Quintin MoConfirmed                                                                                                                                                                          36.3   4377 Maddock Circle North Port FL              34286 United States               Credit
1941   10/18/2018        9:44:19   PDT       Carol MasoRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     carolnisbetOpen      U.S. PersonSales@oneOpen PremU.S. Business Verified 89R05645WInstant    Verified Carol MasoConfirmed                                                                                                                                                                           18.15   2198 Briar Creek Way Sarasota FL               34235 United States               Credit
1942   10/16/2018       14:51:25   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1540364400~USD             ‐36.3       0     ‐36.3                     ...                                                                      6CH60692E97898252                                                                                                                                                                                                              0                                                                                    Debit
1943   10/16/2018       12:20:40   PDT       James HarnRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     jrh8999@gOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 6E1161751Instant    Verified James HarnConfirmed                                                                                                                                                                            36.3   6321 113thApt 1402 Seminole FL                 33772 United States               Credit
1944   10/16/2018       11:02:12   PDT       Brent KleinRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     kleinbail@gOpen      U.S. PersonSales@oneOpen PremU.S. Business Verified 0W113983 Instant    Unverified Brent KleinConfirmed                                                                                                                                                                        18.15   2562 Marblehead Dr Sarasota FL                 34231 United States               Credit
1945   10/16/2018       10:38:09   PDT       Rose Lee B Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     mlblaze@yOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 7KT88510WeCheck     Verified Rose Lee B Confirmed                                                                                                                                                                              0   1506 w. henderson st. chicago IL               60657 United States               Memo
1946   10/16/2018        9:19:53   PDT       ...          WithdrawaCompleted                            ~@~CLD:1540364400~USD            ‐62.22   ‐0.62     ‐61.6                     ...                                                                      5XG24893DCredit Card [Unknown]                                                                                                                                                                                                 0                                                                                    Debit
1947   10/16/2018        8:27:12   PDT       Marvin Cle Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     mclevenge Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 5L555880WInstant    Unverified Marvin Cle Confirmed                                                                                                                                                                        62.22   2313 W.Cambridge Dr Muncie     IN              47304 United States               Credit
1948   10/16/2018        8:16:26   PDT       Nancy Had Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     hadleyn1@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 4SK89013XInstant    Verified Nancy Had Confirmed                                                                                                                                                                           44.07   5613 Key Largo Ct    Bradenton FL              34203 United States               Credit
1949   10/16/2018        8:02:13   PDT       Barion Mill Recurring PCompleted                           1 Month Website HostUSD              27   ‐1.08     25.92                     barionm@ Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 32K45457LInstant    Verified Barion Mill Confirmed                                                                                                                                                                         25.92   4818 61st Avenue DrivBradenton FL              34210 United States               Credit
1950   10/14/2018       17:35:42   PDT       ...          WithdrawaCompleted                            ~@~CLD:1540364400~USD            ‐54.45   ‐0.54    ‐53.91                     ...                                                                      1X584513WCredit Card [Unknown]                                                                                                                                                                                                 0                                                                                    Debit
1951   10/14/2018       11:45:08   PDT       Cain Cain Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     cinsweet64Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 5RW07467Instant     Unverified Cain Cain, 8Confirmed                                                                                                                                                                       54.45   816 64th ave Dr E      Bradenton FL            34203 United States               Credit
1952   10/14/2018       11:22:08   PDT       Sabine FulkRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     splanet69@Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 1DK739017Instant      Verified Sabine FulkConfirmed                                                                                                                                                                           36.3   5728 28th St E         Bradenton FL            34203 United States               Credit
1953   10/14/2018       10:06:10   PDT       Laurie PageRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     laurie.eb.p Open     U.S. PersonSales@oneOpen PremU.S. Business Verified 7GD732347Instant    Verified Laurie PageConfirmed                                                                                                                                                                          18.15   936 145th Street CircleBradenton FL            34212 United States               Credit
1954   10/13/2018       17:10:47   PDT       ...          WithdrawaCompleted                            ~@~CLD:1540364400~USD            ‐52.13   ‐0.52    ‐51.61                     ...                                                                      0WG44798Credit Card [Unknown]                                                                                                                                                                                                  0                                                                                    Debit
1955   10/13/2018       16:45:00   PDT       DROB TECHMobile PayCompleted                               ~@~CLD:1540364400~USD                54   ‐1.87     52.13                     drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 3PR44959AInstant     Verified DROB TECHConfirmed                                                                                                                                                                            52.13   197 PARK SIDE DRIVE SUFFERN NY                 10901 United States               Credit
1956   10/13/2018       13:59:17   PDT       From U.S. DCurrency C Completed                            ~@~CLD:1539759600~CAD               200       0       200                     ...                                                                      17U57803WS090962N                                                                                                                                                          10N622232X699553N                                 200                                                                                    Credit
1957   10/13/2018       13:59:17   PDT       To CanadiaCurrency C Completed                             ~@~CLD:1539759600~USD           ‐158.63       0   ‐158.63                     ...                                                                      446867984E298982F                                                                                                                                                          10N622232X699553N                                   0                                                                                    Debit
1958   10/13/2018       13:59:17   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1539759600~USD            158.63       0    158.63                     ...                                                                      3FS55167CInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                   10N622232X699553N                              158.63                                                                                    Credit
1959   10/13/2018       13:59:17   PDT       FlashstreamMobile WeCompleted                              ~@~CLD:1539759600~CAD              ‐200       0      ‐200                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business Ver10N622232Instant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to Flashstrea         0             0                                                                                     INV2‐84K9‐ARXA‐4WX8‐ZR6H                   0   8955 US Hwy 301 N #1Parrish      FL            34219 United States               Debit
1960   10/13/2018       13:52:00   PDT       FlashstreamInvoice RecPaid                                                       CAD           200       0       200                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐84K9‐ARXA‐4WX8‐ZR6H                                                         0                      0        0                                                                          33                       ...                                                                                             Memo
1961   10/13/2018       13:14:59   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1539759600~USD            ‐18.15       0    ‐18.15                     ...                                                                      96X12451WY558932U                                                                                                                                                                                                              0                                                                                    Debit
1962   10/13/2018       12:21:14   PDT       Kenneth Je Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     cowboyswiOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 0BN57456CInstant    Verified Kenneth Je Confirmed                                                                                                                                                                          18.15   4314 Douglas Hill Pl   Parrish   FL            34219 United States               Credit
1963   10/13/2018        9:24:45   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1539759600~USD            ‐54.45       0    ‐54.45                     ...                                                                      7LM30480LV300730P                                                                                                                                                                                                              0                                                                                    Debit
1964   10/13/2018        8:26:20   PDT       David CancRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     vipr1960@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 3N4836327Instant    Unverified David CancConfirmed                                                                                                                                                                         54.45   1120 53rd Ave E Lot 12Bradenton FL             34203 United States               Credit
1965   10/13/2018        7:39:19   PDT       K&M enterRecurring PCompleted                              1 Month Website HostUSD              19   ‐0.85     18.15                     kkmkx3@g Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 4PS60213L Instant      Verified K&M enterConfirmed                                                                                                                                                                             36.3   2215 4th St SW        Ruskin    FL             33570 United States               Credit
1966   10/13/2018        7:29:18   PDT       Eddo Butle Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     shortfolks5Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 0Y788528WInstant    Unverified Eddo Butle Confirmed                                                                                                                                                                        18.15   1883 Briar Creek PlaceSarasota FL              34235 United States               Credit
1967   10/12/2018       13:25:24   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1539759600~USD             ‐72.6       0     ‐72.6                     ...                                                                      9PC74469PD2849158                                                                                                                                                                                                              0                                                                                    Debit
1968   10/12/2018        9:16:16   PDT       Michael M Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     mikemirab Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 3U3697181Instant    Unverified Michael M Confirmed                                                                                                                                                                          72.6   5536 42nd Street East Bradenton FL             34203 United States               Credit
1969   10/12/2018        8:58:11   PDT       Frank T Cle Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     clemenf@gOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 9T3579713Instant       Verified frank clemeConfirmed                                                                                                                                                                          54.45   6730 283rd Street Eas Myakka CitFL             34251 United States               Credit
1970   10/12/2018        8:45:08   PDT       Shirley McLRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     sam7330@Open         U.S. PersonSales@oneOpen PremU.S. Business Verified 4BS61602BInstant    Unverified Shirley McLConfirmed                                                                                                                                                                         36.3   4034 Cochise Terrace Sarasota FL               34233 United States               Credit
1971   10/12/2018        7:39:32   PDT       Robert BelaRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     rbelanger7 Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 00A181910Instant    Unverified Robert BelaConfirmed                                                                                                                                                                        18.15   2239 Sifield Greens W Sun City CeFL            33573 United States               Credit
1972   10/11/2018       12:33:07   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1539759600~USD            ‐54.45       0    ‐54.45                     ...                                                                      7EA02670180637812                                                                                                                                                                                                              0                                                                                    Debit
1973   10/11/2018       12:19:27   PDT       Barbara KuRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     barb49kue Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 23C393548Instant      Verified Barbara KuConfirmed                                                                                                                                                                           54.45   8925 SW 171ST ST       PALMETTOFL              33157 United States               Credit
1974   10/11/2018       11:51:12   PDT       Leo LozeauRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     llozeau442 Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 91T75187MInstant    Unverified Leo LozeauConfirmed                                                                                                                                                                          36.3   47 Larkspur Ave        Palmetto FL             32444 United States               Credit
1975   10/11/2018       10:47:12   PDT       Emile Goul Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     nurseman6Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 6XP02468MInstant    Unverified Emile Goul Confirmed                                                                                                                                                                        18.15   190 Denmark Dr         Ellenton FL             34222 United States               Credit
1976   10/11/2018       10:20:46   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1539759600~USD            ‐54.45       0    ‐54.45                     ...                                                                      94A30860CU4300818                                                                                                                                                                                                              0                                                                                    Debit
1977   10/11/2018       10:05:09   PDT       richard joh Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     knightriderOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 86F307202Instant     Verified Richard JohConfirmed                                                                                                                                                                          54.45   1207 Caloosa Creek CtSun City CeFL          33573‐487 United States              Credit
1978   10/11/2018        8:30:14   PDT       Kevin ChrisRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     jlchristmanLocked    U.S. PremieSales@oneOpen PremU.S. Business Verified 72Y15074CInstant    Verified Kevin ChrisConfirmed                                                                                                                                                                           36.3   2105 12th Ave W      Bradenton FL              34205 United States               Credit
1979   10/11/2018        7:49:13   PDT       Timothy AuRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     taubin@ta Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 2JB92470DInstant    Unverified Timothy AuConfirmed                                                                                                                                                                         18.15   570 57th Ave W Lot 25Bradenton FL              34207 United States               Credit
1980   10/10/2018       14:48:59   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1539759600~USD            ‐18.15       0    ‐18.15                     ...                                                                      02M54154PW538390M                                                                                                                                                                                                              0                                                                                    Debit
1981   10/10/2018        8:00:25   PDT       Amber Wh Recurring PCompleted                              1 Month Website HostUSD              19   ‐0.85     18.15                     jorgenel15 Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 9LF05913GInstant    Unverified Amber Wh Confirmed                                                                                                                                                                          18.15   2827 22nd St W         Bradenton FL            34207 United States               Credit
1982    10/9/2018       12:52:29   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1539759600~USD            ‐90.75       0    ‐90.75                     ...                                                                      73U84421MA1705800                                                                                                                                                                                                              0                                                                                    Debit
1983    10/9/2018       11:44:12   PDT       Scott Lurgi Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     tazlurgio@ Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 6PJ382205 Instant    Verified Scott Lurgi Confirmed                                                                                                                                                                         90.75   11305 30th CV E        Parrish    FL           34219   United States             Credit
1984    10/9/2018       11:38:30   PDT       Elaine GrenRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     efgrenier@Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 5B1885119Instant    Unverified Elaine GrenConfirmed                                                                                                                                                                         72.6   6633 53rd Ave E        Bradenton FL            34203   United States             Credit
1985    10/9/2018        8:56:08   PDT       Susan kelseRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     kelsey1948Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 4UC89175FInstant    Unverified Susan kelseConfirmed                                                                                                                                                                        54.45   18939 W Maple          InterlochenMI           49643   United States             Credit
1986    10/9/2018        7:41:18   PDT       Jack Coury Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     jcoury@tamOpen       U.S. PersonSales@oneOpen PremU.S. Business Verified 0F877213UInstant    Verified Jack Coury,Confirmed                                                                                                                                                                           36.3   4550 PinebApt. 601     Bradenton FL            34209   United States             Credit
1987    10/9/2018        7:26:17   PDT       Russell Par Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     rjp0122@s Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 60M34689 Instant    Verified Russell Par Confirmed                                                                                                                                                                         18.15   2019 S Bayou Dr        Ruskin     FL           33570   United States             Credit
1988    10/7/2018       14:20:15   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1539759600~USD            ‐52.13       0    ‐52.13                     ...                                                                      57N217748C170553W                                                                                                                                                                                                              0                                                                                    Debit
1989    10/7/2018       13:17:32   PDT       DROB TECHMobile PayCompleted                               ~@~CLD:1539759600~USD                54   ‐1.87     52.13 Affiliate           drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 4PT746697Instant     Verified DROB TECHConfirmed                                                                                                                                                                            52.13   197 PARK SIDE DRIVE SUFFERN NY                 10901 United States               Credit
1990    10/7/2018       12:26:59   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1539759600~USD            ‐18.15       0    ‐18.15                     ...                                                                      7YH136524L325774M                                                                                                                                                                                                              0                                                                                    Debit
1991    10/7/2018       12:15:42   PDT       Timothy M Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     timberrr21 Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 7W468368 Instant    Unverified Timothy M Confirmed                                                                                                                                                                         18.15   1064 East Manatee      Bradenton FL            34208 United States               Credit
1992    10/7/2018       11:44:48   PDT       From U.S. DCurrency C Completed                            ~@~CLD:1539241200~CAD               230       0       230                     ...                                                                      40P95652AL262390A                                                                                                                                                          8ED26237WG855582K                                 230                                                                                    Credit
1993    10/7/2018       11:44:48   PDT       To CanadiaCurrency C Completed                             ~@~CLD:1539759600~USD           ‐183.94       0   ‐183.94                     ...                                                                      8VW26374A97692025                                                                                                                                                          8ED26237WG855582K                                   0                                                                                    Debit
1994    10/7/2018       11:44:48   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1539241200~USD            183.94       0    183.94                     ...                                                                      75Y891586Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                   8ED26237WG855582K                              183.94                                                                                    Credit
1995    10/7/2018       11:44:48   PDT       FlashstreamMobile WeCompleted                              ~@~CLD:1539241200~CAD              ‐230       0      ‐230                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business Ver8ED26237WInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to Flashstrea         0             0                                                                                    INV2‐94JV‐W3ZH‐3VPL‐23NT                    0   8955 US Hwy 301 N #1Parrish      FL            34219 United States               Debit
1996    10/7/2018       11:43:49   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1539241200~USD             ‐72.6       0     ‐72.6                     ...                                                                      45C05068TX3732440                                                                                                                                                                                                              0                                                                                    Debit
1997    10/7/2018       11:42:15   PDT       FlashstreamInvoice RecPaid                                                       CAD           230       0       230                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐94JV‐W3ZH‐3VPL‐23NT                                                         0                      0        0                                                                           27                      ...                                                                                             Memo
1998    10/7/2018       11:30:26   PDT       Ronald GauRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     ghansome1Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 96P80989TInstant    Unverified Ronald GauConfirmed                                                                                                                                                                          72.6   4729 Loma Grande Dr El Paso    TX              79934 United States               Credit
1999    10/7/2018       10:38:19   PDT       Kenneth RoRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     kcr02bebo Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 8HA111217Instant    Unverified Kenneth RoConfirmed                                                                                                                                                                         54.45   9425 Forest Hills Cir Sarasota FL              34238 United States               Credit
2000    10/7/2018        9:28:11   PDT       Key West MRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     tim.greene Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 72T68636AInstant     Verified Key West MConfirmed                                                                                                                                                                            36.3   701 Spanish Main Dr 4Cudjoe KeyFL              33042 United States               Credit
2001    10/7/2018        9:24:27   PDT       victor ibarrRecurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     vimiza80@Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 6C482093PInstant       Unverified victor ibarrConfirmed                                                                                                                                                                       18.15   3644 WOODMONT DRSARASOTA FL                    34232 United States               Credit
2002    10/6/2018       13:00:31   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1539241200~USD           ‐134.82       0   ‐134.82                     ...                                                                      78P372235B782532D                                                                                                                                                                                                              0                                                                                    Debit
2003    10/6/2018       12:48:06   PDT       Gregory VaRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     pmac1@ptOpen         U.S. PersonSales@oneOpen PremU.S. Business Verified 91F17519VInstant    Unverified Gregory VaConfirmed                                                                                                                                                                        134.82   4215 Long Lake Drive SEllenton FL              34222   United States             Credit
2004    10/6/2018       12:17:10   PDT       Tom Burlin Recurring PCompleted                            1 Month Website HostUSD              27   ‐1.08     25.92                     tommyeb1 Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 0NA20478W Instant   Unverified Tom Burlin Confirmed                                                                                                                                                                       116.67   1150 10TH PO BOX 26 Buffalo      MN            55313   United States             Credit
2005    10/6/2018       11:53:10   PDT       Ken GiffordRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     wd4nkz@mOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 92035373GInstant        Verified Ken GiffordConfirmed                                                                                                                                                                          90.75   6515 15th St. E. Lot D‐ Sarasota FL            34243   United States             Credit
2006    10/6/2018       10:49:12   PDT       Robert Gib Recurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     rswimmer@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 47D85171LInstant    Unverified Robert Gib Confirmed                                                                                                                                                                         72.6   10514 Sleepy Orange CRiverview FL              33578   United States             Credit
2007    10/6/2018       10:42:21   PDT       joe young Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     dr.feelgoodOpen      U.S. PersonSales@oneOpen PremU.S. Business Verified 9NF424240Instant    Unverified joe young, Confirmed                                                                                                                                                                        54.45   1528 SE Ohio Ave        Arcadia  FL            34266   United States             Credit
2008    10/6/2018        9:47:24   PDT       Michelle WRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     michelle.w Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 9UY77532MInstant    Verified Michelle WConfirmed                                                                                                                                                                            36.3   2315 124th dr e         Parrish  FL            34219   United States             Credit
2009    10/6/2018        8:28:21   PDT       JAMES CLA Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     jclark4750@ Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 0JP790274 Instant   Unverified JAMES CLA Confirmed                                                                                                                                                                         18.15   3506 Avenida Madera Bradenton FL               34210   United States             Credit
2010    10/5/2018       13:58:03   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1539241200~USD            ‐54.45       0    ‐54.45                     ...                                                                      7FD60817PP495254P                                                                                                                                                                                                              0                                                                                    Debit
2011    10/5/2018       12:43:12   PDT       Brian RolphRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     brolph1@cOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 28201617HInstant    Unverified Brian RolphConfirmed                                                                                                                                                                        54.45   4505 Cernala Court Venice   FL                 34293 United States               Credit
2012    10/5/2018        8:07:12   PDT       Barbara W Recurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     barb.upnorOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 32676052J Instant     Verified Barbara W Confirmed                                                                                                                                                                            36.3   420 49th St     132 PALMETTOFL                 34221 United States               Credit
2013    10/5/2018        7:34:23   PDT       SHEILA CISCRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     SCISCO77@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 3GM26364Instant     Unverified Sheila Knig Confirmed                                                                                                                                                                       18.15   6914 COCONUT GROVELLENTON FL                   34222 United States               Credit
2014    10/2/2018       11:52:01   PDT       ...          WithdrawaCompleted                            ~@~CLD:1539241200~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      0MR33423 Credit Card [Unknown]                                                                                                                                                                                                 0                                                                                    Debit
2015    10/2/2018       11:29:22   PDT       Samantha Recurring PCompleted                              1 Month Website HostUSD              19   ‐0.85     18.15                     smjpt70@gOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 4T005533SInstant    Verified Samantha Confirmed                                                                                                                                                                            18.15   7504 Morning Side Dr Ellenton    FL            34222 United States               Credit
2016    10/2/2018       10:56:13   PDT       ...          WithdrawaCompleted                            ~@~CLD:1539241200~USD            ‐18.15   ‐0.18    ‐17.97                     ...                                                                      6H177012VCredit Card [Unknown]                                                                                                                                                                                                 0                                                                                    Debit
2017    10/2/2018       10:36:26   PDT       joseph randRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     ringkking@Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 61A78899BInstant    Verified Joseph RanConfirmed                                                                                                                                                                           18.15   116 Bridge St          Bradenton FL         34217‐243 United States              Credit
2018    10/1/2018        9:30:18   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1539241200~USD            ‐48.25       0    ‐48.25                     ...                                                                      7LC95024TB6281144                                                                                                                                                                                                              0                                                                                    Debit
2019    10/1/2018        7:54:01   PDT       DROB TECHMobile PayCompleted                               ~@~CLD:1539241200~USD                50   ‐1.75     48.25 Affiliate           drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 0SP264060Instant     Verified DROB TECHConfirmed                                                                                                                                                                            48.25   197 PARK SIDE DRIVE SUFFERN NY                 10901 United States               Credit
2020    9/30/2018       17:39:21   PDT       From U.S. DCurrency C Completed                            ~@~CLD:1538550000~CAD               200       0       200                     ...                                                                      3BR76081MG993023L                                                                                                                                                          73H97471LU502692V                                 200                                                                                    Credit
2021    9/30/2018       17:39:21   PDT       To CanadiaCurrency C Completed                             ~@~CLD:1538550000~USD            ‐159.7       0    ‐159.7                     ...                                                                      4TR11928SG291215C                                                                                                                                                          73H97471LU502692V                                   0                                                                                    Debit
2022    9/30/2018       17:39:21   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1538550000~USD             159.7       0     159.7                     ...                                                                      1PW38996 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                   73H97471LU502692V                               159.7                                                                                    Credit
2023    9/30/2018       17:39:21   PDT       FlashstreamMobile WeCompleted                              ~@~CLD:1539241200~CAD              ‐200       0      ‐200                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business Ver73H97471LInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to Flashstrea         0             0                                                                                     INV2‐A94Y‐XN2J‐9XML‐9QCB                   0   8955 US Hwy 301 N #1Parrish      FL            34219 United States               Debit
2024    9/30/2018       17:37:48   PDT       FlashstreamInvoice RecPaid                                                       CAD           200       0       200                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐A94Y‐XN2J‐9XML‐9QCB                                                         0                      0        0                                                                          19                       ...                                                                                             Memo
2025    9/30/2018       17:00:03   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1538550000~USD            ‐18.15       0    ‐18.15                     ...                                                                      4SP96344074359944                                                                                                                                                                                                              0                                                                                    Debit
2026    9/30/2018       16:49:15   PDT       Rebecca ReRecurring PCompleted                             1 Month Website HostUSD              19   ‐0.85     18.15                     siervarebecOpen      U.S. PersonSales@oneOpen PremU.S. Business Verified 58F851487Instant    Verified Rebecca|C Confirmed                                                                                                                                                                           18.15   901 N. Wahneta St.     Allentown PENNSYLVA     18109 United States               Credit
2027    9/30/2018       12:18:06   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1538550000~USD            ‐31.45       0    ‐31.45                     ...                                                                      0N937979YK7215247                                                                                                                                                                                                              0                                                                                    Debit
2028    9/30/2018       11:16:41   PDT       Larry Sturn Recurring PCompleted                           1 Month Website HostUSD              27   ‐1.08     25.92                     laza1239@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 05643508MInstant    Unverified Larry Sturn Confirmed                                                                                                                                                                       31.45   811 FreedoApt 302 Sun City CeFL                33573 United States               Credit
2029    9/30/2018        4:08:36   PDT       timothy greRecurring PCompleted                            3 Day Hosting Trial~@ USD             6   ‐0.47      5.53                     bcjewelers Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 71Y172778Instant    Unverified timothy greConfirmed                                                                                                                                                                         5.53   2786 north roosevelt bkey west FL              33040 United States               Credit
2030    9/29/2018       14:29:50   PDT       ...          Withdraw Completed WELLS FAR       9888       ~@~CLD:1538550000~USD            ‐90.75       0    ‐90.75                     ...                                                                      01U24897U0182990W                                                                                                                                                                                                              0                                                                                    Debit
2031    9/29/2018       13:35:19   PDT       James McKRecurring PCompleted                              1 Month Website HostUSD              19   ‐0.85     18.15                     jim.mckinnOpen PremU.S. PremieSales@oneOpen PremU.S. Business Verified 9EN29819JInstant      Verified James McKConfirmed                                                                                                                                                                            90.75   5655 Bayview Drive Seminole FL                 33772 United States               Credit
2032    9/29/2018       11:06:18   PDT       Hershel RicRecurring PCompleted                            1 Month Website HostUSD              19   ‐0.85     18.15                     hershelrichOpen      U.S. PersonSales@oneOpen PremU.S. Business Verified 9DD133727Instant    Unverified Hershel RicConfirmed                                                                                                                                                                         72.6   1518 Pelican Point Dr. Sarasota FL             34231 United States               Credit
2033    9/29/2018        9:14:23   PDT       Susan Casil Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     sweetsue_ Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 6BT03555VInstant    Verified Susan Casil Confirmed                                                                                                                                                                         54.45   2795 Bay Oaks Drive Sarasota FL                34234 United States               Credit
2034    9/29/2018        8:37:03   PDT       Bridges Bri Recurring PCompleted                           1 Month Website HostUSD              19   ‐0.85     18.15                     beth.b.stuf Open     U.S. PersonSales@oneOpen PremU.S. Business Verified 7PD90581PInstant    Unverified Bridges Bri Confirmed                                                                                                                                                                        36.3   2510 S Gilpin St       Denver   CO             80210 United States               Credit
2035    9/28/2018       12:03:15   PDT       Hillary Bell Recurring PCompleted                          1 Month Website HostUSD              19   ‐0.85     18.15                     jnhb6090@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 58142634J Instant   Verified Hillary Bell Confirmed                                                                                                                                                                        18.15   10141 Newminster Lo Ruskin      FL             33573 United States               Credit
                                                                                        Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 56 of 460 PageID 133

       A            B                    C       D          E          F          G         H      I       J         K             L      M        N          O            P         Q          R          S          T         U          V          W          X          Y         Z         AA         AB         AC        AD         AE         AF         AG       AH       AI         AJ       AK       AL   AM   AN   AO   AP      AQ      AR         AS        AT         AU        AV        AW         AX         AY        AZ         BA           BB          BC          BD        BE           BF      BG        BH           BI   BJ      BK       BL        BM   BN
2036    9/28/2018        7:14:07   PDT       ...         WithdrawaCompleted                            ~@~CLD:1538550000~USD              ‐18.15   ‐0.18      ‐17.97                                     ...                                                                       1UK83231ECredit Card [Unknown]                                                                                                                                                                                                                                                    0                                                                                  Debit
2037    9/27/2018       14:05:12   PDT       Jane GREENRecurring PCompleted                            1 Month Website HostUSD                19   ‐0.85       18.15                                     janieluv@aOpen        U.S. PersonSales@oneOpen PremU.S. Business Verified 05T65349HInstant     Unverified Jane GreenConfirmed                                                                                                                                                                                                                           18.15   920 Westwind Dr      N Palm BeaFL          33408‐422 United States             Credit
2038    9/27/2018        9:30:25   PDT       ...         WithdrawaCompleted                            ~@~CLD:1538550000~USD              ‐23.68   ‐0.24      ‐23.44                                     ...                                                                       3XP888521Credit Card [Unknown]                                                                                                                                                                                                                                                    0                                                                                  Debit
2039    9/27/2018        9:06:47   PDT       kelvin mck Recurring PCompleted                           1 Month Website HostUSD                19   ‐0.85       18.15                                     kelv941fl@Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 6FJ60075A Instant    Unverified kelvin mck Confirmed                                                                                                                                                                                                                          23.68   3025 Leon Ave         Sarasota   FL           34234 United States              Credit
2040    9/27/2018        9:03:23   PDT       timothy greRecurring PCompleted                           3 Day Hosting Trial~@ USD               6   ‐0.47        5.53                                     bcjewelers Open       U.S. PersonSales@oneOpen PremU.S. Business Verified 5G502205AInstant     Unverified timothy greConfirmed                                                                                                                                                                                                                           5.53   2786 north roosevelt bkey west   FL           33040 United States              Credit
2041    9/26/2018       10:29:17   PDT       ...         Withdraw Completed WELLS FAR       9888       ~@~CLD:1538550000~USD               ‐36.3       0       ‐36.3                                     ...                                                                       46F48072TX7856202                                                                                                                                                                                                                                                                 0                                                                                  Debit
2042    9/26/2018        9:55:23   PDT       James FromRecurring PCompleted                            1 Month Website HostUSD                19   ‐0.85       18.15                                     jrfroman19Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 8X974656PInstant     Verified James FromConfirmed                                                                                                                                                                                                                              36.3   35 7th St.            Nokomis FL              34275 United States              Credit
2043    9/26/2018        8:56:54   PDT       Robert DavRecurring PCompleted                            1 Month Website HostUSD                19   ‐0.85       18.15                                     rwdavis370Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 4VF34353HInstant     Unverified Robert DavConfirmed                                                                                                                                                                                                                           18.15   907 49th ave terrace wBradenton FL            34207 United States              Credit
2044    9/25/2018       14:25:28   PDT       ...         Withdraw Completed WELLS FAR       9888       ~@~CLD:1538550000~USD              ‐17.18       0      ‐17.18                                     ...                                                                       3ND821502R559005Y                                                                                                                                                                                                                                                                 0                                                                                  Debit
2045    9/25/2018       12:18:28   PDT       Martin Lee Recurring PCompleted                           1 Month Website HostUSD                18   ‐0.82       17.18                                     siestakeysuOpen       U.S. PersonSales@oneOpen PremU.S. Business Verified 1HV64669GInstant     Verified Martin Lee Confirmed                                                                                                                                                                                                                            17.18   PO Box 51704         Sarasota    FL           34232 United States              Credit
2046    9/25/2018       10:29:27   PDT       ...         Withdraw Completed WELLS FAR       9888       ~@~CLD:1538550000~USD              ‐34.36       0      ‐34.36                                     ...                                                                       8D585767TX520040S                                                                                                                                                                                                                                                                 0                                                                                  Debit
2047    9/25/2018        9:59:15   PDT       Terri MunkRecurring PCompleted                            1 Month Website HostUSD                18   ‐0.82       17.18                                     curly325@ Open        U.S. PersonSales@oneOpen PremU.S. Business Verified 2LM09119AInstant     Unverified Munkirs, G Confirmed                                                                                                                                                                                                                          34.36   410 State Rt 173   Stewartsvil NJ              8886 United States              Credit
2048    9/25/2018        9:12:28   PDT       The Better Recurring PCompleted                           1 Month Website HostUSD                18   ‐0.82       17.18                                     jmanzano1Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 10K15246DInstant         Verified The Better Confirmed                                                                                                                                                                                                                            17.18   6535 Anch Apt# 204 Bradenton FL               34212 United States              Credit
2049    9/24/2018        7:02:49   PDT       ...         WithdrawaCompleted                            ~@~CLD:1538550000~USD              ‐60.87   ‐0.61      ‐60.26                                     ...                                                                       19Y990922Credit Card [Unknown]                                                                                                                                                                                                                                                    0                                                                                  Debit
2050    9/24/2018        7:01:38   PDT       DROB TECHMobile PayCompleted                              ~@~CLD:1538550000~USD                  63   ‐2.13       60.87   Affiliate                         drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 25X40831UInstant       Verified DROB TECHConfirmed                                                                                                                                                                                                                              60.87   197 PARK SIDE DRIVE SUFFERN NY                10901 United States              Credit
2051    9/22/2018       21:30:41   PDT       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1537945200~USD                  50       0          50                                     ...                                                                       27A07429EInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                          0RM631603X1631111                                              50                                                                                  Credit
2052    9/22/2018       21:30:41   PDT       prohosting Mobile PayCompleted                            ~@~CLD:1538550000~USD                 ‐50       0         ‐50   TVURWAY                           Sales@oneOpen PremU.S. Businegreenstars8Open PremU.S. Business Verified 0RM63160 Instant Tra Verified                                                                                                                                                                                                                                                       0                                                                                  Debit
2053    9/22/2018       12:09:12   PDT       From U.S. DCurrency C Completed                           ~@~CLD:1537945200~CAD                 280       0         280                                     ...                                                                       5SL17718MA220451N                                                                                                                                                                                                 8EX55710HA8478725                                             280                                                                                  Credit
2054    9/22/2018       12:09:12   PDT       To CanadiaCurrency C Completed                            ~@~CLD:1537945200~USD             ‐223.99       0     ‐223.99                                     ...                                                                       9XX97379UV664043A                                                                                                                                                                                                 8EX55710HA8478725                                               0                                                                                  Debit
2055    9/22/2018       12:09:12   PDT       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1537945200~USD              223.99       0      223.99                                     ...                                                                       3AG80456SInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                          8EX55710HA8478725                                          223.99                                                                                  Credit
2056    9/22/2018       12:09:12   PDT       FlashstreamMobile WeCompleted                             ~@~CLD:1537945200~CAD                ‐280       0        ‐280                                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business Ver8EX55710HInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to Flashstrea             0                  0                                                                                                                    INV2‐6HNC‐6JA5‐GPJ6‐8XT3                               0   8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2057    9/22/2018       12:07:04   PDT       FlashstreamInvoice RecPaid                                                      CAD             280       0         280                                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business VerINV2‐6HNC‐6JA5‐GPJ6‐8XT3                                                             0                            0        0                                                                                                        12                                   ...                                                                                           Memo
2058    9/21/2018       17:45:53   PDT       From U.S. DCurrency C Completed                           ~@~CLD:1537945200~CAD                  20       0          20                                     ...                                                                       7KA55734UE069282T                                                                                                                                                                                                 4BT50207UY347690A                                            20                                                                                    Credit
2059    9/21/2018       17:45:53   PDT       To CanadiaCurrency C Completed                            ~@~CLD:1537945200~USD                 ‐16       0         ‐16                                     ...                                                                       47J038225L961045Y                                                                                                                                                                                                 4BT50207UY347690A                                             0                                                                                    Debit
2060    9/21/2018       17:45:53   PDT       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1537945200~USD                  16       0          16                                     ...                                                                       36W87725 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                          4BT50207UY347690A                                            16                                                                                    Credit
2061    9/21/2018       17:45:53   PDT       FlashstreamMobile ExpCompleted                            1 Month IPTV Hosting CAD              ‐20       0         ‐20                                     Sales@oneOpen PremU.S. Busineinfo@flash Restricted Canadian Business Ver4BT50207UInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed 1 Month IPsku                     0                  0                                                                                                                                                                         0     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2062    9/16/2018       19:02:50   PDT       ...         WithdrawaCompleted                            ~@~CLD:1537945200~USD              ‐63.79   ‐0.64      ‐63.15                                     ...                                                                       3XW74738 Credit Card [Unknown]                                                                                                                                                                                                                                                  0                                                                                    Debit
2063    9/16/2018       15:24:53   PDT       DROB TECHMobile PayCompleted                              ~@~CLD:1537945200~USD                  66   ‐2.21       63.79   Affiliate                         drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 2UW27695Instant        Verified DROB TECHConfirmed                                                                                                                                                                                                                            63.79     197 PARK SIDE DRIVE SUFFERN NY                10901 United States              Credit
2064    9/11/2018        7:55:07   PDT       ...         WithdrawaCompleted                            ~@~CLD:1537945200~USD              ‐58.93   ‐0.59      ‐58.34                                     ...                                                                       0PN62463YCredit Card [Unknown]                                                                                                                                                                                                                                                  0                                                                                    Debit
2065     9/9/2018       20:52:30   PDT       DROB TECHMobile PayCompleted                              ~@~CLD:1537945200~USD                  61   ‐2.07       58.93   Affiliate                         drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 12U48056XInstant       Verified DROB TECHConfirmed                                                                                                                                                                                                                            58.93     197 PARK SIDE DRIVE SUFFERN NY                10901 United States              Credit
2066     9/2/2018       18:02:33   PDT       ...         WithdrawaCompleted                            ~@~CLD:1537945200~USD              ‐56.02   ‐0.56      ‐55.46                                     ...                                                                       7H570243VCredit Card [Unknown]                                                                                                                                                                                                                                                  0                                                                                    Debit
2067     9/2/2018       17:56:59   PDT       DROB TECHMobile PayCompleted                              ~@~CLD:1537945200~USD                  58   ‐1.98       56.02   Affiliate                         drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 9XK282294Instant       Verified DROB TECHConfirmed                                                                                                                                                                                                                            56.02     197 PARK SIDE DRIVE SUFFERN NY                10901 United States              Credit
2068    8/25/2018       15:59:07   PDT       ...         Withdraw Completed WELLS FAR       9888       ~@~CLD:1537945200~USD             ‐124.66       0     ‐124.66                                     ...                                                                       45391000G07560702                                                                                                                                                                                                                                                               0                                                                                    Debit
2069    8/25/2018       14:32:19   PDT       DROB TECHMobile PayCompleted                              ~@~CLD:1537945200~USD                  62    ‐2.1        59.9   Affiliate                         drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 53M90791 Instant       Verified DROB TECHConfirmed                                                                                                                                                                                                                           124.66     197 PARK SIDE DRIVE SUFFERN NY                10901 United States              Credit
2070    8/16/2018        4:50:49   PDT       DROB TECHMobile PayCompleted                              ~@~CLD:1537945200~USD                  67   ‐2.24       64.76   Affiliate                         drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 1AD30539KInstant       Verified DROB TECHConfirmed                                                                                                                                                                                                                            64.76     197 PARK SIDE DRIVE SUFFERN NY                10901 United States              Credit
2071     8/7/2018       18:08:10   PDT       ...         WithdrawaCompleted                            ~@~CLD:1537945200~USD                 ‐62   ‐0.62      ‐61.38                                     ...                                                                       70T745514Credit Card [Unknown]                                                                                                                                                                                                                                                  0                                                                                    Debit
2072     8/7/2018       17:53:04   PDT       DROB TECHMobile PayCompleted                              ~@~CLD:1537945200~USD                  62       0          62   Affiliate                         drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 2A897437SInstant       Verified                                                                                                                                                                                                                                                  62                                                                                    Credit
2073    7/25/2018       18:15:13   PDT       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1532934000~USD            1,089.80       0    1,089.80                                     ...                                                                       9R550347GInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            6SH68725WT548240J                                    1,147.80                                                                                    Credit
2074    7/25/2018       18:15:13   PDT                   Mobile WeCompleted                            ~@~CLD:1532934000~USD           ‐1,147.80       0   ‐1,147.80                                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier Verifi6SH68725WInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to          for invo      0                    0                                                                                                                      INV2‐9HE8‐A3JT‐J24Z‐K9RA                           0     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2075    7/25/2018       17:57:48   PDT                   Invoice RecPaid                                                     USD        1,147.80       0    1,147.80                                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐9HE8‐A3JT‐J24Z‐K9RA                                                           147                              0        0                                                                                                   XL20180726WF                              ...                                                                                           Memo
2076    7/25/2018       15:46:30   PDT       DROB TECHMobile PayCompleted                              ~@~CLD:1532934000~USD                  58       0          58   Affiliate                         drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 3R539285UInstant       Verified                                                                                                                                                                                                                                                  58                                                                                    Credit
2077    7/15/2018       16:12:27   PDT       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1531897200~USD            1,070.80       0    1,070.80                                     ...                                                                       00S26073DInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            7R28590948995364Y                                    1,147.80                                                                                    Credit
2078    7/15/2018       16:12:27   PDT                   Mobile WeCompleted                            ~@~CLD:1532934000~USD           ‐1,147.80       0   ‐1,147.80                                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier Verifi7R2859094Instant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to          for invo      0                    0                                                                                                                      INV2‐6L84‐RFG6‐VVTQ‐NR3R                           0     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2079    7/15/2018        8:56:01   PDT                   Invoice RecPaid                                                     USD        1,147.80       0    1,147.80                                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐6L84‐RFG6‐VVTQ‐NR3R                                                           147                              0        0                                                                                                   XL20180715WF                              ...                                                                                           Memo
2080    7/15/2018        6:57:29   PDT       DROB TECHMobile PayCompleted                              ~@~CLD:1531897200~USD                  77       0          77   Affiliate                         drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 90R71356XInstant       Verified                                                                                                                                                                                                                                                  77                                                                                    Credit
2081     7/9/2018       16:57:49   PDT       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1531378800~USD            1,083.80       0    1,083.80                                     ...                                                                       430462339Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            30K98048NN211305A                                    1,147.80                                                                                    Credit
2082     7/9/2018       16:57:49   PDT                   Mobile WeCompleted                            ~@~CLD:1531378800~USD           ‐1,147.80       0   ‐1,147.80                                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier Verifi30K98048NInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to          for invo      0                    0                                                                                                                      INV2‐N9UK‐MY4C‐HK7W‐2D28                           0     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2083     7/8/2018       16:49:40   PDT                   Invoice RecPaid                                                     USD        1,147.80       0    1,147.80                                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐N9UK‐MY4C‐HK7W‐2D28                                                           147                              0        0                                                                                                   XL20180709WF                              ...                                                                                           Memo
2084     7/1/2018       11:18:21   PDT       DROB TECHMobile PayCompleted                              ~@~CLD:1531378800~USD                  64       0          64   Affiliate                         drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 30M09265 Instant       Verified                                                                                                                                                                                                                                                  64                                                                                    Credit
2085    6/24/2018       21:10:46   PDT       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1530082800~USD            1,081.80       0    1,081.80                                     ...                                                                       0M289413 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            0AD49763EL217662M                                    1,147.80                                                                                    Credit
2086    6/24/2018       21:10:46   PDT                   Mobile WeCompleted                            ~@~CLD:1530082800~USD           ‐1,147.80       0   ‐1,147.80                                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier Verifi0AD49763EInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to          for invo      0                    0                                                                                                                      INV2‐SQAY‐7A85‐5K7E‐A64E                           0     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2087    6/24/2018       21:08:08   PDT                   Invoice RecPaid                                                     USD        1,147.80       0    1,147.80                                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐SQAY‐7A85‐5K7E‐A64E                                                           147                              0        0                                                                                                   XL20180625WF                              ...                                                                                           Memo
2088    6/18/2018       15:18:43   PDT       DROB TECHMobile PayCompleted                              ~@~CLD:1530082800~USD                  66       0          66   Affiliate                         drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 3W356097 Instant       Verified                                                                                                                                                                                                                                                  66                                                                                    Credit
2089    6/18/2018        7:46:09   PDT       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1529564400~USD            1,145.80       0    1,145.80                                     ...                                                                       4MC65869 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            0X317580MU2195352                                    1,145.80                                                                                    Credit
2090    6/18/2018        7:46:09   PDT                   Mobile WeCompleted                            ~@~CLD:1529564400~USD           ‐1,145.80       0   ‐1,145.80                                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier Verifi0X317580MInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to          for invo      0                    0                                                                                                                      INV2‐EHPH‐AF4T‐XRGY‐SWTR                           0     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2091    6/18/2018        7:44:14   PDT                   Invoice RecPaid                                                     USD        1,145.80       0    1,145.80                                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐EHPH‐AF4T‐XRGY‐SWTR                                                           145                              0        0                                                                                                   XL20180618WF                              ...                                                                                           Memo
2092    6/10/2018       19:47:50   PDT       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1528873200~USD            1,147.80       0    1,147.80                                     ...                                                                       19T62777GInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            4BE03129447141048                                    1,147.80                                                                                    Credit
2093    6/10/2018       19:47:50   PDT                   Mobile WeCompleted                            ~@~CLD:1528873200~USD           ‐1,147.80       0   ‐1,147.80                                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier Verifi4BE031294Instant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to          for invo      0                    0                                                                                                                      INV2‐LH8U‐KGUK‐NCH9‐2W8W                           0     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2094    6/10/2018       19:46:26   PDT                   Invoice RecPaid                                                     USD        1,147.80       0    1,147.80                                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐LH8U‐KGUK‐NCH9‐2W8W                                                           147                              0        0                                                                                                   XL20180611WF                              ...                                                                                           Memo
2095     6/4/2018        6:32:38   PDT       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1528354800~USD            1,079.80       0    1,079.80                                     ...                                                                       60S471621Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            95F398551U700735X                                    1,147.80                                                                                    Credit
2096     6/4/2018        6:32:38   PDT                   Mobile WeCompleted                            ~@~CLD:1528873200~USD           ‐1,147.80       0   ‐1,147.80                                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier Verifi95F398551Instant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to          for invo      0                    0                                                                                                                      INV2‐R9U9‐8768‐5M5Q‐4HN9                           0     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2097     6/4/2018        6:29:19   PDT                   Invoice RecPaid                                                     USD        1,147.80       0    1,147.80                                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐R9U9‐8768‐5M5Q‐4HN9                                                           147                              0        0                                                                                                   XL20180604WF                              ...                                                                                           Memo
2098     6/3/2018       14:35:23   PDT       DROB TECHMobile PayCompleted                              ~@~CLD:1528354800~USD                  68       0          68   Invoice 1 Affiliate commissions drob.tech1 Open PremU.S. BusineSales@oneOpen PremU.S. Business Verified 7MR69990 Instant         Verified                                                                                                                                                                                                                                                  68                                                                                    Credit
2099    5/27/2018       19:54:03   PDT       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1527750000~USD            1,701.00       0    1,701.00                                     ...                                                                       7VG892878Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            3XJ3403594218941J                                    1,701.00                                                                                    Credit
2100    5/27/2018       19:54:03   PDT                   Mobile WeCompleted                            ~@~CLD:1527750000~USD           ‐1,701.00       0   ‐1,701.00                                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier Verifi3XJ340359 Instant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to         for invo      0                    0                                                                                                                      INV2‐Z5X9‐6BK9‐Y46K‐XGR9                           0     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2101    5/26/2018       20:10:43   PDT                   Invoice RecPaid                                                     USD        1,701.00       0    1,701.00                                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐Z5X9‐6BK9‐Y46K‐XGR9                                                           206                              0        0                                                                                                   XL20180527WF                              ...                                                                                           Memo
2102    5/14/2018       19:56:41   PDT       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1526540400~USD            1,147.80       0    1,147.80                                     ...                                                                       6JM36300EInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            3YV68298FR7081532                                    1,147.80                                                                                    Credit
2103    5/14/2018       19:56:41   PDT                   Mobile WeCompleted                            ~@~CLD:1526540400~USD           ‐1,147.80       0   ‐1,147.80                                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier Verifi3YV68298FInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to          for invo      0                    0                                                                                                                      INV2‐38X4‐H4FT‐HRSR‐CEEU                           0     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2104    5/14/2018       19:17:12   PDT                   Invoice RecPaid                                                     USD        1,147.80       0    1,147.80                                     Sales@oneOpen PremU.S. Busineinglong201Open PremChinese Premier VerifiINV2‐38X4‐H4FT‐HRSR‐CEEU                                                           147                              0        0                                                                                                   XL20180515WF                              ...                                                                                           Memo
2105    4/22/2018        0:41:16   PDT                   Invoice RecCanceled                                                 USD        2,338.50       0    2,338.50                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐HZEP‐BXAK‐A5K7‐H2YY                                                           247                              0        0                                                                                                   XL20180422WF                              ...                                                                                           Memo
2106    3/31/2018       18:51:02   PDT       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1522825200~USD            2,158.26       0    2,158.26                                     ...                                                                       669301972Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            11R67025CH0595040                                    2,300.00                                                                                    Credit
2107    3/31/2018       18:51:02   PDT                   Mobile WeCompleted                            ~@~CLD:1522825200~USD           ‐2,300.00       0   ‐2,300.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif11R67025CInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to for invo                 0                  0                                                                                                                      INV2‐HLQ4‐CTRQ‐8AQD‐ZCVK                           0     8955 US Hwy 301 N #1Parrish FL                34219 United States              Debit
2108    3/31/2018       18:48:52   PDT       dknightlegaPayment R Completed                            ~@~CLD:1522825200~USD              146.28   ‐4.54      141.74   Thank You for your service        dknightlegaRestricted U.S. BusineSales@oneOpen PremU.S. Business Verified 2HG74653 Instant     Verified dknightlegaNon‐Confirmed                                                                                                                                                                                                                     141.74     707 W. Baraga Ave. Houghton MI                49931 United States              Credit
2109    3/30/2018       22:07:02   PDT                   Invoice RecPaid                                                     USD        2,300.00       0    2,300.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐HLQ4‐CTRQ‐8AQD‐ZCVK                                                           210                              0        0                                                                                                   XL180331WF                                ...                                                                                           Memo
2110    3/17/2018       21:17:46   PDT       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1521615600~USD              422.83       0      422.83                                     ...                                                                       1SY188941Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            62S54918U10316903                                       520.6                                                                                    Credit
2111    3/17/2018       21:17:46   PDT                   Mobile WeCompleted                            ~@~CLD:1521615600~USD              ‐520.6       0      ‐520.6                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif62S54918UInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to for invo                 0                  0                                                                                                                      INV2‐LJUE‐HKQ3‐5FWY‐HLYV                           0     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2112    3/17/2018        7:52:56   PDT                   Invoice RecPaid                                                     USD           520.6       0       520.6                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐LJUE‐HKQ3‐5FWY‐HLYV                                                               0                            0        0                                                                                                   XL180317WFP                               ...                                                                                           Memo
2113    3/16/2018       20:18:21   PDT       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1521615600~USD            3,319.80       0    3,319.80                                     ...                                                                       295287906Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            1U1335449J5760518                                    3,417.57                                                                                    Credit
2114    3/16/2018       20:18:21   PDT                   Mobile WeCompleted                            ~@~CLD:1521615600~USD           ‐3,319.80       0   ‐3,319.80                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif1U1335449Instant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to for invo                0                   0                                                                                                                      INV2‐8EAY‐J7US‐9EVB‐PP4F                       97.77     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2115    3/16/2018       18:33:06   PDT                   Invoice RecPaid                                                     USD        3,319.80       0    3,319.80                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐8EAY‐J7US‐9EVB‐PP4F                                                            340                             0        0                                                                                                   XL20180317WF                              ...                                                                                           Memo
2116    3/11/2018       20:34:38   PDT                   Invoice RecPaid                                                     USD        3,319.80       0    3,319.80                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐Q2AT‐LCX7‐L75H‐2WPZ                                                            340                             0        0                                                                                                   XL180312WF                                ...                                                                                           Memo
2117     3/2/2018       19:42:26   PST                   Invoice RecPaid                                                     USD        3,912.90       0    3,912.90                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐3XA6‐QDHW‐LC6Z‐AK4L                                                            440                             0        0                                                                                                   XL180303WF                                ...                                                                                           Memo
2118    2/25/2018       18:11:36   PST                   Invoice RecPaid                                                     USD           538.2       0       538.2                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐HH2W‐SB2Z‐JUU5‐FTPV                                                           21.2                             0        0                                                                                                   XL180226WF                                ...                                                                                           Memo
2119    1/30/2018       20:07:14   PST                   Invoice RecPaid                                                     USD        4,880.50       0    4,880.50                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐DB22‐LGKQ‐RTTE‐57N9                                                            440                             0        0                                                                                                   XL180132BWF                               ...                                                                                           Memo
2120    1/30/2018       18:45:50   PST                   Invoice RecCanceled                                                 USD        3,917.00       0    3,917.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐DBWX‐KDJT‐S8W5‐CWKM                                                            365                             0        0                                                                                                   XL180131WF                                ...                                                                                           Memo
2121    1/26/2018       17:32:25   PST                   Invoice RecPaid                                                     USD        3,333.80       0    3,333.80                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐F9GW‐THYE‐7Q7A‐5KS3                                                            340                             0        0                                                                                                   XL180128WF                                ...                                                                                           Memo
2122    1/18/2018       22:12:14   PST                   Invoice RecPaid                                                     USD        3,866.00       0    3,866.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐M5LC‐AJFY‐5VX2‐RMP8                                                            440                             0        0                                                                                                   XL180119WF                                ...                                                                                           Memo
2123     1/4/2018       17:33:04   PST                   Invoice RecPaid                                                     USD        3,320.00       0    3,320.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐MPSL‐R7NZ‐KDAE‐LXEW                                                            340                             0        0                                                                                                   XL20180105WF                              ...                                                                                           Memo
2124   12/15/2017       19:36:30   PST                   Invoice RecPaid                                                     USD        3,320.00       0    3,320.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐MLW5‐XEZN‐2P73‐2B7D                                                            340                             0        0                                                                                                   XL171216WF                                ...                                                                                           Memo
2125    12/7/2017        6:14:02   PST                   Invoice RecPaid                                                     USD        3,320.00       0    3,320.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐22SP‐5T69‐4E6J‐9JMN                                                            340                             0        0                                                                                                   XL20171208WF                              ...                                                                                           Memo
2126   11/24/2017       15:13:19   PST                   Invoice RecPaid                                                     USD        3,320.00       0    3,320.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐EW3L‐3RQ5‐SVHJ‐FRZQ                                                            340                             0        0                                                                                                   XL20171125WF                              ...                                                                                           Memo
2127    11/8/2017       15:09:35   PST                   Invoice RecPaid                                                     USD        3,320.00       0    3,320.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐83DU‐P3WJ‐WB86‐MWG7                                                            340                             0        0                                                                                                   XL20171109WF                              ...                                                                                           Memo
2128   10/30/2017       18:25:49   PDT                   Invoice RecPaid                                                     USD        3,320.00       0    3,320.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐6S84‐JUHQ‐Z7RP‐U8X5                                                            340                             0        0                                                                                                   XL20171031WF                              ...                                                                                           Memo
2129    10/7/2017       17:06:29   PDT                   Invoice RecPaid                                                     USD        3,320.00       0    3,320.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐NYXC‐JSDB‐HQGR‐F669                                                            340                             0        0                                                                                                   XL171008WF                                ...                                                                                           Memo
2130     9/1/2017        6:51:28   PDT                   Invoice RecPaid                                                     USD        3,333.00       0    3,333.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐QFVC‐EZLU‐XDZ7‐F9SS                                                            130                             0        0                                                                                                   XL20170901WF                              ...                                                                                           Memo
2131    8/30/2017       17:55:38   PDT                   Invoice RecPaid                                                     USD        3,333.00       0    3,333.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐4ZBD‐FKZR‐4UBP‐WAYS                                                            130                             0        0                                                                                                   XL20170831WF                              ...                                                                                           Memo
2132    8/11/2017       17:28:45   PDT                   Invoice RecPaid                                                     USD           468.6       0       468.6                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐QH8F‐ZKXK‐SPEY‐ZDAG                                                              0                             0        0                                                                                                   XL201708012WF                             ...                                                                                           Memo
2133     8/4/2017        2:06:55   PDT                   Invoice RecPaid                                                     USD        7,238.50       0    7,238.50                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐MDVF‐N8ZT‐NZBQ‐LX47                                                          282.5                             0        0                                                                                                   XL20170804WF                              ...                                                                                           Memo
2134    7/12/2017       20:17:08   PDT                   Invoice RecPaid                                                     USD           255.3       0       255.3                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐4CCP‐WW9B‐D2C2‐WEK4                                                             10                             0        0                                                                                                   XL20170713WF                              ...                                                                                           Memo
2135     7/9/2017        0:04:49   PDT                   Invoice RecPaid                                                     USD        2,205.00       0    2,205.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐BCKL‐LFD6‐EKLX‐NU6W                                                             86                             0        0                                                                                                   XL20170710WF                              ...                                                                                           Memo
2136    6/28/2017       17:46:29   PDT                   Invoice RecPaid                                                     USD        3,314.60       0    3,314.60                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐YDZU‐JCTQ‐7B4J‐9S7F                                                          129.6                             0        0                                                                                                   XL20170629WF                              ...                                                                                           Memo
2137    6/24/2017       16:33:32   PDT                   Invoice RecPaid                                                     USD             356       0         356                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐FXLY‐HEMU‐MWN4‐2ULF                                                             14                             0        0                                                                                                   XL20170625WF                              ...                                                                                           Memo
2138    6/24/2017        1:14:28   PDT                   Invoice RecPaid                                                     USD             100       0         100                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐5NNH‐DUCL‐K9H8‐9YBY                                                              0                             0        0                                                                                                   XL20170624WF                              ...                                                                                           Memo
2139    6/23/2017        0:50:11   PDT                   Invoice RecPaid                                                     USD        3,314.60       0    3,314.60                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐CZLX‐JFAT‐75VM‐6DMT                                                          129.6                             0        0                                                                                                   XL20170623WF                              ...                                                                                           Memo
2140     6/7/2017       17:44:55   PDT                   Invoice RecPaid                                                     USD        3,325.00       0    3,325.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐SUMZ‐SHB5‐VL4Z‐K4K7                                                            130                             0        0                                                                                                   XL20170608WF                              ...                                                                                           Memo
2141    5/19/2017        0:16:42   PDT                   Invoice RecPaid                                                     USD        5,726.20       0    5,726.20                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐WTX6‐KBQU‐VBNV‐FTTK                                                          223.6                             0        0                                                                                                   XL20170519WF                              ...                                                                                           Memo
2142    4/30/2017        6:11:53   PDT                   Invoice RecPaid                                                     USD        4,766.70       0    4,766.70                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐Q424‐GGQ2‐JTP7‐ZTSZ                                                          186.2                             0        0                                                                                                   XL20170430WF                              ...                                                                                           Memo
2143     4/9/2017        7:38:26   PDT                   Invoice RecPaid                                                     USD        4,044.00       0    4,044.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐46H2‐YR7H‐DUUM‐R8FQ                                                            158                             0        0                                                                                                   XL20170409WF                              ...                                                                                           Memo
2144    3/21/2017       17:34:12   PDT                   Invoice RecPaid                                                     USD        3,396.00       0    3,396.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐8D8U‐J2L6‐S4P9‐HP55                                                            135                             0        0                                                                                                   XL20170322WF‐4                            ...                                                                                           Memo
2145    3/21/2017       17:30:28   PDT                   Invoice RecPaid                                                     USD        2,420.00       0    2,420.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐8LMX‐UGN8‐8CKR‐KVRJ                                                             95                             0        0                                                                                                   XL20170322WF‐3                            ...                                                                                           Memo
2146    3/21/2017       17:28:44   PDT                   Invoice RecPaid                                                     USD        4,839.00       0    4,839.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐YABC‐K9FG‐576Z‐ZMLR                                                            189                             0        0                                                                                                   XL20170322WF‐2                            ...                                                                                           Memo
2147    3/21/2017       17:25:08   PDT                   Invoice RecPaid                                                     USD        1,718.00       0    1,718.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐NFJ5‐QM3Y‐Z8SD‐4PU5                                                             68                             0        0                                                                                                   XL20170322WF‐1                            ...                                                                                           Memo
2148    3/14/2017       21:30:16   PDT                   Invoice RecPaid                                                     USD        5,367.50       0    5,367.50                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐DRY2‐433K‐NNQ4‐J4PU                                                            210                             0        0                                                                                                   XL170315WF                                ...                                                                                           Memo
2149     3/8/2017        7:10:04   PST                   Invoice RecPaid                                                     USD        4,051.00       0    4,051.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐7LHG‐EF8K‐JVA5‐XRN5                                                            160                             0        0                                                                                                   XL170308WF                                ...                                                                                           Memo
2150     3/4/2017       18:01:26   PST                   Invoice RecPaid                                                     USD        5,230.00       0    5,230.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐F3XM‐CUZG‐6DKT‐MW6X                                                            205                             0        0                                                                                                   XL170305WF                                ...                                                                                           Memo
2151    2/15/2017       16:52:21   PST                   Invoice RecPaid                                                     USD             458       0         458                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐NFHT‐MWNZ‐6R6D‐HUAX                                                              0                             0        0                                                                                                   XL170216WF                                ...                                                                                           Memo
2152    2/10/2017       19:42:10   PST                   Invoice RecPaid                                                     USD        4,044.00       0    4,044.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐YH33‐RJBX‐S4DG‐3WAZ                                                            158                             0        0                                                                                                   XL170211WF                                ...                                                                                           Memo
2153     2/9/2017       18:38:54   PST                   Invoice RecPaid                                                     USD        5,236.50       0    5,236.50                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐QADN‐SN7C‐4MDN‐DR5M                                                            205                             0        0                                                                                                   XL170210WF                                ...                                                                                           Memo
2154    1/10/2017       18:21:42   PST                   Invoice RecPaid                                                     USD        1,129.30       0    1,129.30                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐DGY9‐NW7A‐P9NW‐45CP                                                           44.3                             0        0                                                                                                   XL170111CM                                ...                                                                                           Memo
2155     1/4/2017       19:50:32   PST                   Invoice RecPaid                                                     USD        5,125.00       0    5,125.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐XSM8‐URKG‐AA93‐93H9                                                            200                             0        0                                                                                                   XL170106WFPLUS                            ...                                                                                           Memo
2156     1/4/2017       19:23:07   PST                   Invoice RecPaid                                                     USD        5,911.00       0    5,911.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐CSSB‐9YPN‐JDR2‐9YJV                                                            231                             0        0                                                                                                   XL170105WF                                ...                                                                                           Memo
2157    3/16/2018       18:33:06   PDT                   Invoice RecPaid                                                     USD        3,319.80       0    3,319.80                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐8EAY‐J7US‐9EVB‐PP4F                                                            340                             0        0                                                                                                   XL20180317WF                              ...                                                                                           Memo
2158    3/16/2018        6:54:48   PDT       dknightlegaUpdate to Cleared                                                    USD             101   ‐3.23       97.77                                     dknightlegaRestricted U.S. Business Verified                              5AP90667J1858280Y Verified                                                                                                                                                                                          0WG87477A5769824U                                       97.77                                                                                    Credit
2159    3/12/2018        6:56:21   PDT       dknightlegaeCheck RecCleared                                                    USD             101   ‐3.23       97.77   Payment From Gears Reloaded IP dknightlegaRestricted U.S. BusineSales@oneOpen PremU.S. Business Verified 0WG87477eCheck          Verified dknightlegaNon‐Confirmed                                                                                                                                                                                                                          0     707 W. Baraga Ave.   Houghton MI              49931 United States              Memo
2160    3/11/2018       20:37:30   PDT       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1521010800~USD            3,319.80       0    3,319.80                                     ...                                                                       2LA05321VInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            0D959670GL1367120                                    3,319.80                                                                                    Credit
2161    3/11/2018       20:37:30   PDT                   Mobile WeCompleted                            ~@~CLD:1521010800~USD           ‐3,319.80       0   ‐3,319.80                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif0D959670GInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to for invo               0                    0                                                                                                                      INV2‐Q2AT‐LCX7‐L75H‐2WPZ                           0     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2162    3/11/2018       20:34:38   PDT                   Invoice RecPaid                                                     USD        3,319.80       0    3,319.80                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐Q2AT‐LCX7‐L75H‐2WPZ                                                           340                              0        0                                                                                                   XL180312WF                                ...                                                                                           Memo
2163     3/3/2018       18:47:36   PST       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1520409600~USD            3,805.42       0    3,805.42                                     ...                                                                       76L58185CInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            76713581NB6739824                                    3,912.90                                                                                    Credit
2164     3/3/2018       18:47:36   PST                   Mobile WeCompleted                            ~@~CLD:1520409600~USD           ‐3,912.90       0   ‐3,912.90                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif76713581NInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to for invo               0                    0                                                                                                                      INV2‐3XA6‐QDHW‐LC6Z‐AK4L                           0     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2165     3/2/2018       19:42:26   PST                   Invoice RecPaid                                                     USD        3,912.90       0    3,912.90                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐3XA6‐QDHW‐LC6Z‐AK4L                                                           440                              0        0                                                                                                   XL180303WF                                ...                                                                                           Memo
2166    2/25/2018       18:16:33   PST       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1519804800~USD               538.2       0       538.2                                     ...                                                                       9XK563055Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            1G3219612K780853F                                      645.68                                                                                    Credit
2167    2/25/2018       18:16:33   PST                   Mobile WeCompleted                            ~@~CLD:1520409600~USD              ‐538.2       0      ‐538.2                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif1G3219612Instant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to for invo                0                   0                                                                                                                      INV2‐HH2W‐SB2Z‐JUU5‐FTPV                      107.48     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2168    2/25/2018       18:11:36   PST                   Invoice RecPaid                                                     USD           538.2       0       538.2                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐HH2W‐SB2Z‐JUU5‐FTPV                                                           21.2                             0        0                                                                                                   XL180226WF                                ...                                                                                           Memo
2169    2/22/2018        7:13:18   PST       dknightlegaInstant Tra Completed                          ~@~CLD:1519804800~USD                 111   ‐3.52      107.48   This is from Gears Reloaded IPTV. dknightlegaRestricted U.S. BusineSales@oneOpen PremU.S. Business Verified 7KU488553Instant     Verified dknightlegaNon‐Confirmed                                                                                                                                                                                                                     107.48     707 W. Baraga Ave.   Houghton MI              49931 United States              Credit
2170    2/19/2018        8:59:26   PST       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1519286400~USD              138.71       0      138.71                                     ...                                                                       9GH051504Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            9EX1327386824045C                                      138.71                                                                                    Credit
2171    2/19/2018        8:59:26   PST       Upwork Es PreapproveCompleted                             ~@~CLD:1519286400~USD             ‐138.71       0     ‐138.71                                     Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 9EX132738Instant Tra Verified                           Upwork Services               0                  0                                                                                                                      AE8398879D6946828                                  0                                                                                    Debit    PayPal_SDK
2172    2/18/2018        8:55:07   PST       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1519286400~USD               27.99       0       27.99                                     ...                                                                       90P045596Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            5WP88168TE974853P                                       27.99                                                                                    Credit
2173    2/18/2018        8:55:07   PST       futureonesMobile ExpCompleted                             ~@~CLD:1519286400~USD              ‐27.99       0      ‐27.99                                     Sales@oneOpen PremU.S. BusinefutureonesOpen PremCanadian Business Ver5WP88168 Instant Tra Non‐U.S. ‐ Donna Fog Confirmed Bluetooth 1.92E+11                  0        0         0                                               Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=192379655757&var=492359271141                       0     8955 US Hwy 301 N # Parrish      FL        34219‐870 United States             Debit
2174     2/8/2018       15:39:58   PST       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1518508800~USD               20.16       0       20.16                                     ...                                                                       7N968726RInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            0KB5106250105490J                                       20.16                                                                                    Credit
2175     2/8/2018       15:39:58   PST       GoDaddy.c Express Ch Completed                            oneboxtvlive.comonebUSD            ‐20.16       0      ‐20.16                                     Sales@oneOpen PremU.S. Businepaypal@goOpen PremU.S. Business Verified 0KB510625Instant Tra Verified                            .COM Domain Name R            0                  0                                                                                                                      1261890560_USD_2016                                0                                                                                    Debit
2176     2/1/2018       15:35:07   PST       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1517904000~USD               58.29       0       58.29                                     ...                                                                       6WF78396 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            1LD9328679599535R                                       58.29                                                                                    Credit
2177     2/1/2018       15:35:07   PST       Symantec Express Ch Completed                             ~@~CLD:1534.202.198USD             ‐58.29       0      ‐58.29                                     Sales@oneOpen PremU.S. Businenoreply‐Pa Open PremU.S. Business Verified 1LD932867Instant Tra Verified                          Norton™ S     1E+18           0                 3.3                                                                                                            5S115229NNP1248187337‐1                                     0                                                                                    Debit
2178     2/1/2018       15:34:51   PST       Symantec Authorizat Completed                             ~@~CLD:1534.202.198USD             ‐58.29       0      ‐58.29                                     Sales@oneOpen PremU.S. Businenoreply‐Pa Open PremU.S. Business Verified 5S115229NInstant Tra Verified                          Norton™ S     1E+18           0                 3.3                                                                                                                     NP1248187337‐1                                     0                                                                                    Memo
2179    1/31/2018       21:52:18   PST       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1517817600~USD            4,880.50       0    4,880.50                                     ...                                                                       8GG45909SInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            9KP54176KV692714D                                    4,880.50                                                                                    Credit
2180    1/31/2018       21:52:18   PST                   Mobile WeCompleted                            ~@~CLD:1517904000~USD           ‐4,880.50       0   ‐4,880.50                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif9KP54176KInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to for invo                 0                  0                                                                                                                      INV2‐DB22‐LGKQ‐RTTE‐57N9                           0     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2181    1/31/2018       15:17:15   PST       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1517817600~USD                   1       0           1                                     ...                                                                       7DD260475Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            0K326936TX8812032                                           1                                                                                    Credit
2182    1/31/2018       15:17:15   PST       WISH        Mobile ExpCompleted                           Purchase on Wish~@~USD                 ‐1       0          ‐1                                     Sales@oneOpen PremU.S. Busineaccounting Open PremU.S. Business Verified 0K326936TInstant Tra Verified Donna Fog Confirmed Purchase on Wish                 0                    0                                                                                                                      5a724e77cf1ae7a152bda720                           0     5633 Lexington Dr    Parrish     PA           34219 United States              Debit
2183    1/30/2018       20:07:14   PST                   Invoice RecPaid                                                     USD        4,880.50       0    4,880.50                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐DB22‐LGKQ‐RTTE‐57N9                                                           440                              0        0                                                                                                   XL180132BWF                               ...                                                                                           Memo
2184    1/30/2018       18:45:50   PST                   Invoice RecCanceled                                                 USD        3,917.00       0    3,917.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐DBWX‐KDJT‐S8W5‐CWKM                                                           365                              0        0                                                                                                   XL180131WF                                ...                                                                                           Memo
2185    1/29/2018        8:52:07   PST       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1517472000~USD              393.02       0      393.02                                     ...                                                                       92C39144TInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            8NX95512V7006742W                                      393.02                                                                                    Credit
2186    1/29/2018        8:52:07   PST       Upwork Es PreapproveCompleted                             ~@~CLD:1517817600~USD             ‐393.02       0     ‐393.02                                     Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 8NX95512VInstant Tra Verified                           Upwork Services               0                  0                                                                                                                      AE8398879D6846795                                  0                                                                                    Debit    PayPal_SDK
2187    1/27/2018       15:46:28   PST       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1517385600~USD            3,333.80       0    3,333.80                                     ...                                                                       7LM90498TInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            7E877045ND8879611                                    3,333.80                                                                                    Credit
2188    1/27/2018       15:46:28   PST                   Mobile WeCompleted                            ~@~CLD:1517385600~USD           ‐3,333.80       0   ‐3,333.80                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif7E877045NInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to for invo               0                    0                                                                                                                      INV2‐F9GW‐THYE‐7Q7A‐5KS3                           0     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2189    1/26/2018       17:32:25   PST                   Invoice RecPaid                                                     USD        3,333.80       0    3,333.80                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐F9GW‐THYE‐7Q7A‐5KS3                                                           340                              0        0                                                                                                   XL180128WF                                ...                                                                                           Memo
2190    1/21/2018       18:32:24   PST       Ashley Zim Request RePending                                                    USD              20       0          20   Its my bday fund                  ashleyzimmOpen        U.S. Person904‐608‐0712                             U‐2BN92654L47624532                                                                                                                                                                                                                                                    ...                                                                                           Memo
2191    1/21/2018        2:07:58   PST       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1516780800~USD            3,866.00       0    3,866.00                                     ...                                                                       3SE362847Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            34J67562B7179605K                                    3,866.00                                                                                    Credit
2192    1/21/2018        2:07:58   PST                   Mobile WeCompleted                            ~@~CLD:1516780800~USD           ‐3,866.00       0   ‐3,866.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif34J67562B Instant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to for invo              0                    0                                                                                                                      INV2‐M5LC‐AJFY‐5VX2‐RMP8                           0     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2193    1/18/2018       22:12:14   PST                   Invoice RecPaid                                                     USD        3,866.00       0    3,866.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐M5LC‐AJFY‐5VX2‐RMP8                                                           440                              0        0                                                                                                   XL180119WF                                ...                                                                                           Memo
2194    1/17/2018       14:14:07   PST       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1516608000~USD                  15       0          15                                     ...                                                                       1HN94606 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            3W353727MS349052D                                          15                                                                                    Credit
2195    1/17/2018       14:14:07   PST       Boom! KodMobile ExpCompleted                              Account Type: New AcUSD               ‐15       0         ‐15                                     Sales@oneOpen PremU.S. Busineboomkodi@Restricted U.S. Business Verified 3W353727 Instant Tra Verified OneBoxTV Confirmed 1 Month of Vader Stre               0                  0                                                                                                                      R798083412                                         0     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit    GoDaddy_online
2196     1/6/2018       18:55:27   PST       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1515571200~USD            3,320.00       0    3,320.00                                     ...                                                                       3KK47697TInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            21F90870DE604050K                                    3,320.00                                                                                    Credit
2197     1/6/2018       18:55:27   PST                   Mobile WeCompleted                            ~@~CLD:1516608000~USD           ‐3,320.00       0   ‐3,320.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif21F90870DInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to for invo               0                    0                                                                                                                      INV2‐MPSL‐R7NZ‐KDAE‐LXEW                           0     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2198     1/4/2018       17:33:04   PST                   Invoice RecPaid                                                     USD        3,320.00       0    3,320.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐MPSL‐R7NZ‐KDAE‐LXEW                                                           340                              0        0                                                                                                   XL20180105WF                              ...                                                                                           Memo
2199   12/17/2017       15:30:29   PST       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1513756800~USD            3,320.00       0    3,320.00                                     ...                                                                       6S5468762Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            65N991547B8824534                                    3,320.00                                                                                    Credit
2200   12/17/2017       15:30:29   PST                   Mobile WeCompleted                            ~@~CLD:1513756800~USD           ‐3,320.00       0   ‐3,320.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif65N991547Instant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to for invo               0                    0                                                                                                                      INV2‐MLW5‐XEZN‐2P73‐2B7D                           0     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2201   12/15/2017       19:36:30   PST                   Invoice RecPaid                                                     USD        3,320.00       0    3,320.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐MLW5‐XEZN‐2P73‐2B7D                                                           340                              0        0                                                                                                   XL171216WF                                ...                                                                                           Memo
2202   12/11/2017        8:52:18   PST       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1513238400~USD              262.01       0      262.01                                     ...                                                                       1X163694RInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            9PN17523YN6820545                                      262.01                                                                                    Credit
2203   12/11/2017        8:52:18   PST       Upwork Es PreapproveCompleted                             ~@~CLD:1513238400~USD             ‐262.01       0     ‐262.01                                     Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 9PN17523YInstant Tra Verified                           Upwork Services               0                  0                                                                                                                      AE8398879D6636633                                  0                                                                                    Debit    PayPal_SDK
2204    12/9/2017       19:52:26   PST       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1513152000~USD               83.95       0       83.95                                     ...                                                                       7X388299AInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            8BJ4899010181105Y                                       83.95                                                                                    Credit
2205    12/9/2017       19:52:26   PST       Blazing Tra Mobile ExpCompleted                           ~@~CLD:1513152000~USD              ‐83.95       0      ‐83.95                                     Sales@oneOpen PremU.S. BusineblazingtradOpen PremU.S. Business Verified 8BJ489901 Instant Tra Verified Donna Fog Confirmed Plantronics 2.52E+11              0        0         0                                               Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=251957717793                                        0     8955 US Hwy 301 N # Parrish      FL        34219‐870 United States             Debit
2206    12/9/2017       16:45:30   PST       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1513152000~USD            3,296.03       0    3,296.03                                     ...                                                                       23393252TInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            7YF13861G6453605X                                    3,320.00                                                                                    Credit
2207    12/9/2017       16:45:30   PST                   Mobile WeCompleted                            ~@~CLD:1513152000~USD           ‐3,320.00       0   ‐3,320.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif7YF13861GInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to for invo               0                    0                                                                                                                      INV2‐22SP‐5T69‐4E6J‐9JMN                           0     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2208    12/7/2017        6:14:02   PST                   Invoice RecPaid                                                     USD        3,320.00       0    3,320.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐22SP‐5T69‐4E6J‐9JMN                                                           340                              0        0                                                                                                   XL20171208WF                              ...                                                                                           Memo
2209   11/28/2017        7:56:00   PST       Jodie MirfeShopping CCompleted                            ~@~CLD:1513152000~USD                  25   ‐1.03       23.97                                     jodiemir@ Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 63R20095UInstant        Verified                        Shopping Cart               0                    0                                                                                                                      OBTV‐1183           {"order_id":1183,"ord      23.97                                                                                    Credit   WooThemes_Cart
2210   11/24/2017       15:25:26   PST       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1511942400~USD            3,320.00       0    3,320.00                                     ...                                                                       212487220Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            2LM422673T9088932                                    3,320.00                                                                                    Credit
2211   11/24/2017       15:25:26   PST                   Web AccepCompleted                            ~@~CLD:1511942400~USD           ‐3,320.00       0   ‐3,320.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif2LM42267 Instant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to for invo               0                    0                                                                                                                      INV2‐EW3L‐3RQ5‐SVHJ‐FRZQ                           0     8955 US Hwy 301 N #1Parrish      FL           34219 United States              Debit
2212   11/24/2017       15:13:19   PST                   Invoice RecPaid                                                     USD        3,320.00       0    3,320.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐EW3L‐3RQ5‐SVHJ‐FRZQ                                                           340                              0        0                                                                                                   XL20171125WF                              ...                                                                                           Memo
2213   11/11/2017       20:51:57   PST       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1510732800~USD            3,305.74       0    3,305.74                                     ...                                                                       8B451655XInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            73705979XJ582040R                                    3,320.00                                                                                    Credit
2214   11/11/2017       20:51:57   PST                   Web AccepCompleted                            ~@~CLD:1511942400~USD           ‐3,320.00       0   ‐3,320.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif73705979XInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to for invo               0                    0                                                                                                                      INV2‐83DU‐P3WJ‐WB86‐MWG7                           0     7466 Cortez Rd W #13 Bradenton FL             34210 United States              Debit
2215    11/8/2017       15:09:35   PST                   Invoice RecPaid                                                     USD        3,320.00       0    3,320.00                                     Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐83DU‐P3WJ‐WB86‐MWG7                                                           340                              0        0                                                                                                   XL20171109WF                              ...                                                                                           Memo
2216    11/7/2017        3:05:33   PST       Henry rundInstant Tra Completed                           ~@~CLD:1510732800~USD                  15   ‐0.74       14.26   Factory remote                    rundelbr@ Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 84H457081Instant        Verified Henry rundConfirmed                                                                                                                                                                                                                           14.26     4860 pheasant dr     mulberry FL              33860 United States              Credit
2217    11/6/2017       19:53:09   PST       ...         Request SePaid                                                      USD              15       0          15   Factory remote                    Sales@oneOpen PremU.S. BusineRundelbr@aol.com                             U‐3HE85864252865730                                                                                                                                                                                                                                                    ...                                                                                           Memo
2218    11/6/2017        9:14:59   PST       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1510214400~USD               84.77       0       84.77                                     ...                                                                       8JU18814J Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                           47V32284WC3376140                                       84.77                                                                                    Credit
2219    11/6/2017        9:14:59   PST       Upwork Es PreapproveCompleted                             ~@~CLD:1510214400~USD              ‐84.77       0      ‐84.77                                     Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 47V32284WInstant Tra Verified                           Upwork Services               0                  0                                                                                                                      AE8398879D6471727                                  0                                                                                    Debit    PayPal_SDK
2220   10/30/2017       18:28:14   PDT       ...         Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1509606000~USD            3,320.00       0    3,320.00                                     ...                                                                       29E01506HInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                            0E264907DA357004N                                    3,320.00                                                                                    Credit
                                                                                         Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 57 of 460 PageID 134

       A            B                    C       D           E          F          G         H      I       J         K            L      M         N           O                P        Q           R          S         T         U          V         W          X         Y          Z        AA         AB        AC        AD         AE        AF         AG         AH       AI        AJ       AK       AL   AM   AN   AO   AP      AQ      AR         AS        AT         AU         AV        AW         AX         AY        AZ         BA         BB          BC        BD         BE          BF      BG        BH           BI        BJ      BK       BL        BM          BN
2221   10/30/2017       18:28:14   PDT                    Web AccepCompleted                            ~@~CLD:1510214400~USD          ‐3,320.00         0   ‐3,320.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif0E264907DInstant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to for invo            0                      0                                                                                                                     INV2‐6S84‐JUHQ‐Z7RP‐U8X5                            0   7466 Cortez Rd W #13 Bradenton FL           34210 United States                   Debit
2222   10/30/2017       18:25:49   PDT                    Invoice RecPaid                                                    USD        3,320.00         0    3,320.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐6S84‐JUHQ‐Z7RP‐U8X5                                                        340                               0        0                                                                                                   XL20171031WF                              ...                                                                                             Memo
2223   10/30/2017       10:13:25   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1509606000~USD             200.36         0      200.36                                       ...                                                                      5K1540152Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                           43U74436E4676351S                                      200.36                                                                                      Credit
2224   10/30/2017       10:13:25   PDT       Upwork Es PreapproveCompleted                              ~@~CLD:1509606000~USD            ‐200.36         0     ‐200.36                                       Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 43U74436EInstant Tra Verified                         Upwork Services               0                   0                                                                                                                     AE8398879D6438049                                   0                                                                                     Debit    PayPal_SDK
2225   10/23/2017       10:14:05   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1509001200~USD             339.08         0      339.08                                       ...                                                                      6FP23819MInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                           62E95737K0646711E                                      339.08                                                                                      Credit
2226   10/23/2017       10:14:05   PDT       Upwork Es PreapproveCompleted                              ~@~CLD:1509606000~USD            ‐339.08         0     ‐339.08                                       Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 62E95737KInstant Tra Verified                         Upwork Services               0                   0                                                                                                                     AE8398879D6405319                                   0                                                                                     Debit    PayPal_SDK
2227    10/9/2017       19:40:36   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1507791600~USD                  50        0           50                                      ...                                                                      2H710743YInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                           00F5145515663424J                                           50                                                                                     Credit
2228    10/9/2017       19:40:36   PDT       Xintao Zha Express Ch Completed                            ~@~CLD:1507791600~USD                 ‐50        0          ‐50                                      Sales@oneOpen PremU.S. Busineernest_ma Open PremChinese Business Verif00F514551Instant Tra Non‐U.S. ‐ Donna Fog Confirmed Weber 710 2.02E+11               0         0         0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=202048091641                                         0   7466 Cortez Rd W # 13Bradenton FL        34210‐244 United States                  Debit
2229    10/7/2017       17:28:05   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1507791600~USD           3,062.99         0    3,062.99                                       ...                                                                      29K37659CInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                           5NG47583G73266543                                    3,320.00                                                                                      Credit
2230    10/7/2017       17:28:05   PDT                    Mobile WeCompleted                            ~@~CLD:1507791600~USD          ‐3,320.00         0   ‐3,320.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif5NG47583 Instant Tra Non‐U.S. ‐ OneBoxTV Confirmed Payment to for invo            0                      0                                                                                                                     INV2‐NYXC‐JSDB‐HQGR‐F669                            0   7466 Cortez Rd W #13 Bradenton FL           34210 United States                   Debit
2231    10/7/2017       17:06:29   PDT                    Invoice RecPaid                                                    USD        3,320.00         0    3,320.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐NYXC‐JSDB‐HQGR‐F669                                                        340                               0        0                                                                                                   XL171008WF                                ...                                                                                             Memo
2232    10/7/2017        9:04:10   PDT       Alan Mihal Mobile ShoCompleted                             ~@~CLD:1507791600~USD                265     ‐7.99      257.01                                       lokie55@h Open PremU.S. PremieSales@oneOpen PremU.S. Business Verified 7EW39934 Instant       Verified                       Shopping Cart              0                     15                                                                                                                     OBTV‐1182           {"order_id":1182,"ord     257.01                                                                                      Credit   WooThemes_Cart
2233    9/26/2017        4:44:36   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1506668400~USD           1,000.00         0    1,000.00                                       ...                                                                      49S50079WInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                           3WX17261KB626523V                                    1,000.00                                                                                      Credit
2234    9/26/2017        4:44:36   PDT       Margaret FMobile PayCompleted                              ~@~CLD:1507791600~USD          ‐1,000.00         0   ‐1,000.00    Gift                               Sales@oneOpen PremU.S. BusinehilltopcraftOpen PremU.S. Premier Verified 3WX17261 Instant Tra Verified                                                                                                                                                                                                                                                    0                                                                                     Debit
2235     9/4/2017       21:21:55   PDT                    Instant Tra Completed                         ~@~CLD:1506668400~USD                 ‐25    ‐0.13      ‐25.13    sample                             Sales@oneOpen PremU.S. Busine293900348Open PremChinese Premier Verifi2MV17733 Instant Tra Non‐U.S. ‐ Verified                                                                                                                                                                                                                                       ‐0.13                                                                                      Debit
2236     9/4/2017       21:21:55   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1504767600~USD              25.13         0       25.13                                       ...                                                                      1JK48659E Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                          2MV17733FU403903R                                       25.13                                                                                      Credit
2237     9/3/2017       16:50:09   PDT                    Mobile WeCompleted                            ~@~CLD:1504767600~USD          ‐3,333.00         0   ‐3,333.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif4W037725 Instant Tra Non‐U.S. ‐ Donna Fog Confirmed Payment to for invo              0                   0                                                                                                                     INV2‐QFVC‐EZLU‐XDZ7‐F9SS                            0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2238     9/3/2017       16:50:09   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1504767600~USD           3,333.00         0    3,333.00                                       ...                                                                      03D75333AInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                           4W037725Y99471449                                    3,333.00                                                                                      Credit
2239     9/1/2017        6:51:28   PDT                    Invoice RecPaid                                                    USD        3,333.00         0    3,333.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐QFVC‐EZLU‐XDZ7‐F9SS                                                        130                               0        0                                                                                                   XL20170901WF                              ...                                                                                             Memo
2240    8/30/2017       18:12:06   PDT                    Web AccepCompleted                            ~@~CLD:1504767600~USD          ‐3,333.00         0   ‐3,333.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif92M54665 Instant Tra Non‐U.S. ‐ Donna Fog Confirmed Payment to for invo           0                      0                                                                                                                     INV2‐4ZBD‐FKZR‐4UBP‐WAYS                            0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2241    8/30/2017       18:12:06   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1504594800~USD           3,333.00         0    3,333.00                                       ...                                                                      0L876113BInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                           92M546656C7200001                                    3,333.00                                                                                      Credit
2242    8/30/2017       17:55:38   PDT                    Invoice RecPaid                                                    USD        3,333.00         0    3,333.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐4ZBD‐FKZR‐4UBP‐WAYS                                                        130                               0        0                                                                                                   XL20170831WF                              ...                                                                                             Memo
2243    8/14/2017       21:45:40   PDT                    Mobile WeCompleted                            ~@~CLD:1504594800~USD             ‐468.6         0      ‐468.6                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif7AG861104Instant Tra Non‐U.S. ‐ Donna Fog Confirmed Payment to for invo           0                      0                                                                                                                     INV2‐QH8F‐ZKXK‐SPEY‐ZDAG                            0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2244    8/14/2017       21:45:40   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1502953200~USD              468.6         0       468.6                                       ...                                                                      7SW36228 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                           7AG86110454027724                                       468.6                                                                                      Credit
2245    8/11/2017       17:28:45   PDT                    Invoice RecPaid                                                    USD           468.6         0       468.6                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐QH8F‐ZKXK‐SPEY‐ZDAG                                                             0                            0        0                                                                                                   XL201708012WF                             ...                                                                                             Memo
2246     8/7/2017       12:22:05   PDT                    Mobile WeCompleted                            ~@~CLD:1502348400~USD          ‐7,238.50         0   ‐7,238.50                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif1WV17882Instant Tra Non‐U.S. ‐ Donna Fog Confirmed Payment to for invo               0                   0                                                                                                                     INV2‐MDVF‐N8ZT‐NZBQ‐LX47                            0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2247     8/7/2017       12:22:05   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1502348400~USD           7,214.53         0    7,214.53                                       ...                                                                      04313632LInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                           1WV178823C862664F                                    7,238.50                                                                                      Credit
2248     8/4/2017        2:06:55   PDT                    Invoice RecPaid                                                    USD        7,238.50         0    7,238.50                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐MDVF‐N8ZT‐NZBQ‐LX47                                                       282.5                              0        0                                                                                                   XL20170804WF                              ...                                                                                             Memo
2249     8/3/2017        9:50:07   PDT       Diane Kacz Mobile ExpCompleted                             ~@~CLD:1502348400~USD             ‐17.95         0      ‐17.95                                       Sales@oneOpen PremU.S. BusinekmsaleskmOpen PremU.S. Premier Verified 0XE35711L Instant Tra Verified Donna Fog Confirmed LEGO Batm 2.82E+11               0           0         0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=282352236011                                    23.97    5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2250     8/3/2017        9:50:07   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1502175600~USD              17.95         0       17.95                                       ...                                                                      33F05854DInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                           0XE35711LF1447419                                       41.92                                                                                      Credit
2251     8/3/2017        9:49:06   PDT       Neil SchmidMobile ExpCompleted                             ~@~CLD:1502175600~USD             ‐24.99         0      ‐24.99                                       Sales@oneOpen PremU.S. Businenfscarbon2Open       U.S. Personal Verified 9WU90455Instant Tra Verified Donna Fog Confirmed LEGO Star W3.23E+11              0         0         0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=322584067538                                    23.97    5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2252     8/3/2017        9:49:06   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1502175600~USD              24.99         0       24.99                                       ...                                                                      4SK72385DInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                           9WU90455MA791460F                                       48.96                                                                                      Credit
2253    7/29/2017        8:56:10   PDT       Patrick AgoShopping CCompleted                             ~@~CLD:1502175600~USD                  25    ‐1.03       23.97                                       patadaago@  Open   U.S. PersonSales@oneOpen PremU.S. Business Verified 0XX59187TInstant       Unregistered                   Shopping Cart                 0                   0                                                                                                                     OBTV‐1181           {"order_id"2299‐1379       23.97                                                                                      Credit   WooThemes_Cart
2254    7/24/2017        9:56:36   PDT       Upwork Es PreapproveCompleted                              Upwork Services~@~CUSD             ‐7.71         0       ‐7.71                                       Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 5XS142151Instant Tra Verified                         Upwork Services               0                   0                                                                                                                     AE8398879D5976764                                   0                                                                                     Debit    PayPal_SDK
2255    7/24/2017        9:56:36   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1501138800~USD               7.71         0        7.71                                       ...                                                                      2SU72592SInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                           5XS142151F359920D                                        7.71                                                                                      Credit
2256    7/12/2017       20:19:09   PDT                    Mobile WeCompleted                            ~@~CLD:1501138800~USD             ‐255.3         0      ‐255.3                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif1L663981RInstant Tra Non‐U.S. ‐ Donna Fog Confirmed Payment to for invo              0                   0                                                                                                                     INV2‐4CCP‐WW9B‐D2C2‐WEK4                            0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2257    7/12/2017       20:19:09   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1500274800~USD              255.3         0       255.3                                       ...                                                                      15979157NInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                           1L663981R6692792W                                       255.3                                                                                      Credit
2258    7/12/2017       20:17:08   PDT                    Invoice RecPaid                                                    USD           255.3         0       255.3                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐4CCP‐WW9B‐D2C2‐WEK4                                                            10                            0        0                                                                                                   XL20170713WF                              ...                                                                                             Memo
2259    7/10/2017       16:15:12   PDT                    Mobile WeCompleted                            ~@~CLD:1499929200~USD          ‐2,205.00         0   ‐2,205.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif9BJ11698WInstant Tra Non‐U.S. ‐ Donna Fog Confirmed Payment to for invo              0                   0                                                                                                                     INV2‐BCKL‐LFD6‐EKLX‐NU6W                            0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2260    7/10/2017       16:15:12   PDT       ...          Inst. Tran. ACompleted WELLS FAR   9888       ~@~CLD:1499929200~USD           2,205.00         0    2,205.00                                       ...                                                                      7SD06165WInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐9888]                                                                                                                                           9BJ11698W6751184J                                    2,205.00                                                                                      Credit
2261     7/9/2017        0:04:49   PDT                    Invoice RecPaid                                                    USD        2,205.00         0    2,205.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐BCKL‐LFD6‐EKLX‐NU6W                                                            86                            0        0                                                                                                   XL20170710WF                              ...                                                                                             Memo
2262    6/28/2017       18:21:23   PDT                    Mobile WeCompleted                            ~@~CLD:1499929200~USD          ‐3,314.60         0   ‐3,314.60                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif5R702994KInstant Tra Non‐U.S. ‐ Donna Fog Confirmed Payment to for invo              0                   0                                                                                                                     INV2‐YDZU‐JCTQ‐7B4J‐9S7F                            0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2263    6/28/2017       18:21:23   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1499065200~USD           3,314.60         0    3,314.60                                       ...                                                                      2R4668573Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           5R702994K2952325J                                    3,314.60                                                                                      Credit
2264    6/28/2017       17:46:29   PDT                    Invoice RecPaid                                                    USD        3,314.60         0    3,314.60                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐YDZU‐JCTQ‐7B4J‐9S7F                                                       129.6                              0        0                                                                                                   XL20170629WF                              ...                                                                                             Memo
2265    6/26/2017        9:36:59   PDT       Upwork Es PreapproveCompleted                              Upwork Services~@~CUSD             ‐7.71         0       ‐7.71                                       Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 9NX409143Instant Tra Verified                         Upwork Services             0                     0                                                                                                                     AE8398879D5843560                                   0                                                                                     Debit    PayPal_SDK
2266    6/26/2017        9:36:59   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1498719600~USD               7.71         0        7.71                                       ...                                                                      5GV34851RInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           9NX4091431392101K                                        7.71                                                                                      Credit
2267    6/24/2017       16:45:11   PDT                    Mobile WeCompleted                            ~@~CLD:1498719600~USD               ‐356         0        ‐356                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif4RE51037RInstant Tra Non‐U.S. ‐ Donna Fog Confirmed Payment to for invo              0                   0                                                                                                                     INV2‐FXLY‐HEMU‐MWN4‐2ULF                            0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2268    6/24/2017       16:45:11   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1498719600~USD                356         0         356                                       ...                                                                      3F796468YInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           4RE51037R90689645                                         356                                                                                      Credit
2269    6/24/2017       16:33:32   PDT                    Invoice RecPaid                                                    USD             356         0         356                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐FXLY‐HEMU‐MWN4‐2ULF                                                            14                            0        0                                                                                                   XL20170625WF                              ...                                                                                             Memo
2270    6/24/2017        1:15:55   PDT                    Mobile WeCompleted                            ~@~CLD:1498719600~USD               ‐100         0        ‐100                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif1FC77290NInstant Tra Non‐U.S. ‐ Donna Fog Confirmed Payment to for invo              0                   0                                                                                                                     INV2‐5NNH‐DUCL‐K9H8‐9YBY                            0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2271    6/24/2017        1:15:55   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1498719600~USD                100         0         100                                       ...                                                                      36B15808BInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           1FC77290N62459310                                         100                                                                                      Credit
2272    6/24/2017        1:14:28   PDT                    Invoice RecPaid                                                    USD             100         0         100                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐5NNH‐DUCL‐K9H8‐9YBY                                                             0                            0        0                                                                                                   XL20170624WF                              ...                                                                                             Memo
2273    6/23/2017        0:53:14   PDT                    Mobile WeCompleted                            ~@~CLD:1498719600~USD          ‐3,314.60         0   ‐3,314.60                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif0Y616464PInstant Tra Non‐U.S. ‐ Donna Fog Confirmed Payment to for invo              0                   0                                                                                                                     INV2‐CZLX‐JFAT‐75VM‐6DMT                            0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2274    6/23/2017        0:53:14   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1498633200~USD           3,314.60         0    3,314.60                                       ...                                                                      1MD19778Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                            0Y616464P6222790G                                    3,314.60                                                                                      Credit
2275    6/23/2017        0:50:11   PDT                    Invoice RecPaid                                                    USD        3,314.60         0    3,314.60                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐CZLX‐JFAT‐75VM‐6DMT                                                       129.6                              0        0                                                                                                   XL20170623WF                              ...                                                                                             Memo
2276    6/12/2017       14:36:55   PDT       Dba Miley' Mobile PayCompleted                             ~@~CLD:1497510000~USD                 ‐25        0          ‐25                                      Sales@oneOpen PremU.S. Businemitchbizz6 Open PremU.S. Business Unverifie487515903Instant Tra Unverified                                                                                                                                                                                                                                                  0                                                                                     Debit
2277    6/12/2017       14:36:55   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1497510000~USD                  25        0           25                                      ...                                                                      5GU41454 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           487515903A1409715                                           25                                                                                     Credit
2278     6/7/2017       17:48:21   PDT                    Mobile WeCompleted                            ~@~CLD:1497250800~USD          ‐3,325.00         0   ‐3,325.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif7A1638104Instant Tra Non‐U.S. ‐ Donna Fog Confirmed Payment to for invo              0                   0                                                                                                                     INV2‐SUMZ‐SHB5‐VL4Z‐K4K7                            0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2279     6/7/2017       17:48:21   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1497250800~USD           3,325.00         0    3,325.00                                       ...                                                                      51U31338NInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           7A1638104B760574U                                    3,325.00                                                                                      Credit
2280     6/7/2017       17:44:55   PDT                    Invoice RecPaid                                                    USD        3,325.00         0    3,325.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐SUMZ‐SHB5‐VL4Z‐K4K7                                                        130                               0        0                                                                                                   XL20170608WF                              ...                                                                                             Memo
2281     6/5/2017       16:11:51   PDT       Hy's Pawn Mobile ExpCompleted                              ~@~CLD:1497250800~USD            ‐239.99         0     ‐239.99                                       Sales@oneOpen PremU.S. Businetnpawnma Open PremU.S. Business Verified 7G740731NInstant Tra Verified Donna Fog Confirmed Dyson V6 M2.02E+11              0            0         0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=201945525673                                         0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2282     6/5/2017       16:11:51   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1496905200~USD             239.99         0      239.99                                       ...                                                                      2V157933LInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           7G740731N2454013U                                      239.99                                                                                      Credit
2283     6/1/2017       18:56:14   PDT       Dba Miley' Mobile PayCompleted                             ~@~CLD:1496905200~USD                 ‐40        0          ‐40                                      Sales@oneOpen PremU.S. Businemitchbizz6 Open PremU.S. Business Unverifie61E04381AInstant Tra Unverified                                                                                                                                                                                                                                                  0                                                                                     Debit
2284     6/1/2017       18:56:14   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1496732400~USD                  40        0           40                                      ...                                                                      14X83998AInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           61E04381AY156592H                                           40                                                                                     Credit
2285    5/29/2017        9:16:53   PDT       Upwork Es PreapproveCompleted                              Upwork Services~@~CUSD            ‐369.9         0      ‐369.9                                       Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 2NX612316Instant Tra Verified                         Upwork Services               0                   0                                                                                                                     AE8398879D5708910                                   0                                                                                     Debit    PayPal_SDK
2286    5/29/2017        9:16:53   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1496386800~USD              369.9         0       369.9                                       ...                                                                      85S184766Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           2NX6123166396360A                                       369.9                                                                                      Credit
2287    5/27/2017       17:42:51   PDT       Big River B Mobile ExpCompleted                            ~@~CLD:1496386800~USD             ‐23.44         0      ‐23.44                                       Sales@oneOpen PremU.S. Businesales@bigr Open PremU.S. Business Verified 80Y40579VInstant Tra Verified Donna Fog Confirmed Big Green E 3.32E+11             0         0         0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=332235883783                                         0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2288    5/27/2017       17:42:51   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1496386800~USD              23.44         0       23.44                                       ...                                                                      0D997053TInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           80Y40579VD5205043                                       23.44                                                                                      Credit
2289    5/25/2017       11:26:30   PDT       Caroline BaMobile ExpCompleted                             ~@~CLD:1496386800~USD          ‐1,800.00         0   ‐1,800.00                                       Sales@oneOpen PremU.S. Businecbay813@gOpen        U.S. Personal Verified 3XF953896Instant Tra Verified Donna Fog Confirmed New In Box 1.62E+11             0         0         0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=162497952701                                         0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2290    5/25/2017       11:26:30   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1496214000~USD           1,800.00         0    1,800.00                                       ...                                                                      50665460AInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           3XF95389678218800                                    1,800.00                                                                                      Credit
2291    5/22/2017        9:18:08   PDT       Upwork Es PreapproveCompleted                              Upwork Services~@~CUSD            ‐46.24         0      ‐46.24                                       Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 1K609600EInstant Tra Verified                         Upwork Services               0                   0                                                                                                                     AE8398879D5676300                                   0                                                                                     Debit    PayPal_SDK
2292    5/22/2017        9:18:08   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1495695600~USD              46.24         0       46.24                                       ...                                                                      15T35726KInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           1K609600E4272504M                                       46.24                                                                                      Credit
2293    5/20/2017       19:08:37   PDT       Print Dirt C Express Ch Completed                          ~@~CLD:1495695600~USD            ‐425.16         0     ‐425.16                                       Sales@oneOpen PremU.S. Busineinfo@print Open PremU.S. Business Verified 81P746953Instant Tra Verified Donna Fog Confirmed                                  0                   0                                                                                                                         46511                                           0   5726 Corte# 134     Bradenton FL         34210‐270 United Stat904‐608‐0712        Debit    Bigcommerce_Cart_vzero
2294    5/20/2017       19:08:37   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1495695600~USD             425.16         0      425.16                                       ...                                                                      2Y841945YInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           81P746953X227453U                                      425.16                                                                                      Credit
2295    5/19/2017        0:25:08   PDT                    Web AccepCompleted                            ~@~CLD:1495695600~USD          ‐5,726.20         0   ‐5,726.20                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif97A87454EInstant Tra Non‐U.S. ‐ Donna Fog Confirmed Payment to for invo              0                   0                                                                                                                     INV2‐WTX6‐KBQU‐VBNV‐FTTK                            0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2296    5/19/2017        0:25:08   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1495609200~USD           5,726.20         0    5,726.20                                       ...                                                                      0RF512148Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           97A87454E98435909                                    5,726.20                                                                                      Credit
2297    5/19/2017        0:16:42   PDT                    Invoice RecPaid                                                    USD        5,726.20         0    5,726.20                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐WTX6‐KBQU‐VBNV‐FTTK                                                       223.6                              0        0                                                                                                   XL20170519WF                              ...                                                                                             Memo
2298    5/10/2017       19:55:39   PDT       Junghoon HMobile ExpCompleted                              ~@~CLD:1495609200~USD               ‐900         0        ‐900                                       Sales@oneOpen PremU.S. Businehanjungho Open       U.S. Personal Verified 08R97887RInstant Tra Verified Donna Fog Confirmed Used Mart 1.12E+11            0           0         0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=112403227179                                         0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2299    5/10/2017       19:55:39   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1494831600~USD                900         0         900                                       ...                                                                      1CG194546Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           08R97887R7340174E                                         900                                                                                      Credit
2300     5/6/2017       16:15:16   PDT       TorLan DistMobile ExpCompleted                             ~@~CLD:1494486000~USD              ‐7.99         0       ‐7.99                                       Sales@oneOpen PremU.S. Businebattery_ge Open PremU.S. Business Verified 68C36083CInstant Tra Verified Donna Fog Confirmed 5PK Counte 1.72E+11              0         0         0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=171654160998                                         0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2301     5/6/2017       16:15:16   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1494486000~USD               7.99         0        7.99                                       ...                                                                      58E65541UInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           68C36083CK739311W                                        7.99                                                                                      Credit
2302     5/4/2017       17:23:59   PDT       roger harmMobile ExpCompleted                              ~@~CLD:1494313200~USD                ‐9.9        0         ‐9.9                                      Sales@oneOpen PremU.S. Businerog2121@cOpen PremU.S. Premier Verified 3AY54592VInstant Tra Verified Donna Fog Confirmed Snark SN‐5 2.91E+11            2.95           0         0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=291342053644                                         0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2303     5/4/2017       17:23:59   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1494313200~USD                 9.9        0          9.9                                      ...                                                                      0YM15105 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           3AY54592VY1833138                                          9.9                                                                                     Credit
2304     5/4/2017       15:14:03   PDT       levytrader Mobile ExpCompleted                             ~@~CLD:1494313200~USD              ‐9.56         0       ‐9.56                                       Sales@oneOpen PremU.S. Businelevytrader@Open PremIsraeli Business Verifie6NL423343Instant Tra Non‐U.S. ‐ Donna Fog Confirmed ChromaCas 2.22E+11            0         0    0.67                                                Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=222494483872                                         0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2305     5/4/2017       15:14:03   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1494313200~USD               9.56         0        9.56                                       ...                                                                      2R941027RInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           6NL4233434690160L                                        9.56                                                                                      Credit
2306     5/4/2017       13:33:23   PDT       Bavarian MMobile ExpCompleted                              ~@~CLD:1494313200~USD             ‐29.95         0      ‐29.95                                       Sales@oneOpen PremU.S. Businebavarianm Locked     U.S. Business Verified 0VK248499Instant Tra Verified Donna Fog Confirmed BMW Outs 3.71E+11               0         0         0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ebaymotors/ws/eBayISAPI.dll?ViewItem&item=370857736631                              0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2307     5/4/2017       13:33:23   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1494313200~USD              29.95         0       29.95                                       ...                                                                      25J882182 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                          0VK248499T929163G                                       29.95                                                                                      Credit
2308     5/4/2017       13:24:12   PDT                    Mobile ExpCompleted                           ~@~CLD:1494313200~USD             ‐13.35         0      ‐13.35                                       Sales@oneOpen PremU.S. Businetomtop.w@Restricted Chinese Business Verif4D776626MInstant Tra Non‐U.S. ‐ Donna Fog Confirmed Car Oil Lev 3.52E+11           1.6        0         0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ebaymotors/ws/eBayISAPI.dll?ViewItem&item=351770456717                              0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2309     5/4/2017       13:24:12   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1494313200~USD              13.35         0       13.35                                       ...                                                                      6GU02915 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           4D776626MM768141B                                       13.35                                                                                      Credit
2310     5/4/2017       11:50:25   PDT       NewParts.cMobile ExpCompleted                              ~@~CLD:1494313200~USD             ‐17.79         0      ‐17.79                                       Sales@oneOpen PremU.S. Businenewpartsa Open PremU.S. Business Verified 5UT760753Instant Tra Verified Donna Fog Confirmed BMW E30 E 1.51E+11                0         0         0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ebaymotors/ws/eBayISAPI.dll?ViewItem&item=150740014651                              0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2311     5/4/2017       11:50:25   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1494313200~USD              17.79         0       17.79                                       ...                                                                      53786879WInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           5UT7607531008660D                                       17.79                                                                                      Credit
2312    4/30/2017        6:24:54   PDT                    Mobile WeCompleted                            ~@~CLD:1493881200~USD          ‐4,766.70         0   ‐4,766.70                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif4MD86288Instant Tra Non‐U.S. ‐ Donna Fog Confirmed Payment to for invo               0                   0                                                                                                                     INV2‐Q424‐GGQ2‐JTP7‐ZTSZ                            0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2313    4/30/2017        6:24:54   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1493881200~USD           4,621.35         0    4,621.35                                       ...                                                                      9DR86601YInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           4MD86288JG734574N                                    4,766.70                                                                                      Credit
2314    4/30/2017        6:11:53   PDT                    Invoice RecPaid                                                    USD        4,766.70         0    4,766.70                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐Q424‐GGQ2‐JTP7‐ZTSZ                                                       186.2                              0        0                                                                                                   XL20170430WF                              ...                                                                                             Memo
2315    4/29/2017       15:11:52   PDT       Tanya WooPayment R Completed                               ~@~CLD:1493881200~USD                150     ‐4.65      145.35                                       mrz.craft@Open     U.S. PersonSales@oneOpen PremU.S. Business Verified 03693914BInstant       Verified Tanya WooConfirmed                                                                                                                                                                                                                          145.35    13 EMERALD LN S     Amityville NY           11701 United States                   Credit
2316    4/24/2017        9:06:17   PDT       Margaret FMobile PayCompleted                              ~@~CLD:1493881200~USD               ‐150         0        ‐150    Gift                               Sales@oneOpen PremU.S. BusinehilltopcraftOpen PremU.S. Premier Verified 9MM45618Instant Tra Verified                                                                                                                                                                                                                                                     0                                                                                     Debit
2317    4/24/2017        9:06:17   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1493276400~USD             126.03         0      126.03                                       ...                                                                      0AF97245AInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           9MM45618E8743174S                                         150                                                                                      Credit
2318    4/22/2017       15:33:48   PDT       Janele JohnShopping CCompleted                             ~@~CLD:1493276400~USD                  25    ‐1.03       23.97                                       janele.ellis@
                                                                                                                                                                                                                         Open   U.S. PersonSales@oneOpen PremU.S. Business Verified 0HW05755Instant        Unregistered                   Shopping Cart                 0                   0                                                                                                                     OBTV‐1178           {"order_id"3246‐0650       23.97                                                                                      Credit   WooThemes_Cart
2319    4/17/2017       14:36:10   PDT       Margaret FMobile PayCompleted                              ~@~CLD:1493276400~USD               ‐200         0        ‐200    Gift                               Sales@oneOpen PremU.S. BusinehilltopcraftOpen PremU.S. Premier Verified 40J02155A Instant Tra Verified                                                                                                                                                                                                                                                   0                                                                                     Debit
2320    4/17/2017       14:36:10   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1492671600~USD                200         0         200                                       ...                                                                      2HV40536DInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           40J02155AK749971N                                         200                                                                                      Credit
2321     4/9/2017        8:02:26   PDT                    Mobile WeCompleted                                      113.92.130USD        ‐4,044.00         0   ‐4,044.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif5VJ38625NInstant Tra Non‐U.S. ‐ Donna Fog Confirmed                                  0                   0                                                                                                                     INV2‐46H2‐YR7H‐DUUM‐R8FQ                            0   5726 Cortez Rd W #13 Bradenton FL           34210 United States                   Debit
2322     4/9/2017        8:02:26   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1492066800~USD           2,754.38         0    2,754.38                                       ...                                                                      2H7256541Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           5VJ38625NF910910X                                    4,044.00                                                                                      Credit
2323     4/9/2017        7:38:26   PDT                    Invoice RecPaid                                                    USD        4,044.00         0    4,044.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐46H2‐YR7H‐DUUM‐R8FQ                                                        158                               0        0                                                                                                   XL20170409WF                              ...                                                                                             Memo
2324     4/8/2017       13:43:14   PDT       Focused SaInstant Tra Completed                            ~@~CLD:1490338800~USD           1,120.00         0    1,120.00                                       fsadmin1@Closed    U.S. BusineSales@oneOpen PremU.S. Business Verified 98E367558Instant       Verified                                                                                                                                                                                                                                           1,289.62                                                                                      Credit
2325     4/7/2017       14:48:41   PDT       Allen McDoMobile ShoCompleted                              ~@~CLD:1490338800~USD                175     ‐5.38      169.62                                       mcdonoug Open      U.S. PersonSales@oneOpen PremU.S. Business Verified 5U860208SInstant       Unregistered                   Shopping Cart                 0                   0                                                                                                                     OBTV‐1177           {"order_id"0996‐1946      169.62                                                                                      Credit   WooThemes_Cart
2326    3/21/2017       17:46:26   PDT                    Mobile WeCompleted                                      113.92.155USD        ‐3,396.00         0   ‐3,396.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif49Y97918BInstant Tra Non‐U.S. ‐ Donna Fog Confirmed                                  0                   0                                                                                                                     INV2‐8D8U‐J2L6‐S4P9‐HP55                            0   5726 Cortez Rd W #13 Bradenton FL           34210 United States                   Debit
2327    3/21/2017       17:46:26   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1490338800~USD           3,396.00         0    3,396.00                                       ...                                                                      7RK43805DInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           49Y97918B7595343B                                    3,396.00                                                                                      Credit
2328    3/21/2017       17:45:28   PDT                    Mobile WeCompleted                                      113.92.155USD        ‐2,420.00         0   ‐2,420.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif560775784Instant Tra Non‐U.S. ‐ Donna Fog Confirmed                                  0                   0                                                                                                                     INV2‐8LMX‐UGN8‐8CKR‐KVRJ                            0   5726 Cortez Rd W #13 Bradenton FL           34210 United States                   Debit
2329    3/21/2017       17:45:28   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1490338800~USD           2,420.00         0    2,420.00                                       ...                                                                      9FK69592BInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           560775784N322005A                                    2,420.00                                                                                      Credit
2330    3/21/2017       17:44:33   PDT                    Mobile WeCompleted                                      113.92.155USD        ‐4,839.00         0   ‐4,839.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif6N1889904Instant Tra Non‐U.S. ‐ Donna Fog Confirmed                                  0                   0                                                                                                                     INV2‐YABC‐K9FG‐576Z‐ZMLR                            0   5726 Cortez Rd W #13 Bradenton FL           34210 United States                   Debit
2331    3/21/2017       17:44:33   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1490338800~USD           4,839.00         0    4,839.00                                       ...                                                                      20H255720Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           6N1889904K082570E                                    4,839.00                                                                                      Credit
2332    3/21/2017       17:43:32   PDT                    Mobile WeCompleted                                      113.92.155USD        ‐1,718.00         0   ‐1,718.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif4A392686FInstant Tra Non‐U.S. ‐ Donna Fog Confirmed                                  0                   0                                                                                                                     INV2‐NFJ5‐QM3Y‐Z8SD‐4PU5                            0   5726 Cortez Rd W #13 Bradenton FL           34210 United States                   Debit
2333    3/21/2017       17:43:32   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1490338800~USD           1,718.00         0    1,718.00                                       ...                                                                      1KE65981TInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           4A392686FY8822123                                    1,718.00                                                                                      Credit
2334    3/21/2017       17:34:12   PDT                    Invoice RecPaid                                                    USD        3,396.00         0    3,396.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐8D8U‐J2L6‐S4P9‐HP55                                                        135                               0        0                                                                                                   XL20170322WF‐4                            ...                                                                                             Memo
2335    3/21/2017       17:30:28   PDT                    Invoice RecPaid                                                    USD        2,420.00         0    2,420.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐8LMX‐UGN8‐8CKR‐KVRJ                                                         95                               0        0                                                                                                   XL20170322WF‐3                            ...                                                                                             Memo
2336    3/21/2017       17:28:44   PDT                    Invoice RecPaid                                                    USD        4,839.00         0    4,839.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐YABC‐K9FG‐576Z‐ZMLR                                                        189                               0        0                                                                                                   XL20170322WF‐2                            ...                                                                                             Memo
2337    3/21/2017       17:25:08   PDT                    Invoice RecPaid                                                    USD        1,718.00         0    1,718.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐NFJ5‐QM3Y‐Z8SD‐4PU5                                                         68                               0        0                                                                                                   XL20170322WF‐1                            ...                                                                                             Memo
2338    3/21/2017       10:56:10   PDT       Print Dirt C Express Ch Completed                          ~@~CLD:1489993200~USD            ‐333.09         0     ‐333.09                                       Sales@oneOpen PremU.S. Busineinfo@print Open PremU.S. Business Verified 521901670Instant Tra Verified Donna Fog Confirmed                               0                      0                                                                                                                         45829                                           0   5726 Cortez Blvd W #1Bradenton FL           34210 United Stat904‐608‐0712         Debit    Bigcommerce_Cart_vzero
2339    3/21/2017       10:56:10   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1490338800~USD             333.09         0      333.09                                       ...                                                                      9BW95888Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                            521901670B396505A                                      333.09                                                                                      Credit
2340    3/20/2017        9:49:28   PDT       Upwork Es PreapproveCompleted                              Upwork Services~@~CUSD            ‐92.48         0      ‐92.48                                       Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 3UH92661 Instant Tra Verified                         Upwork Services               0                   0                                                                                                                     AE8398879D5373054                                   0                                                                                     Debit    PayPal_SDK
2341    3/20/2017        9:49:28   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1490252400~USD              92.48         0       92.48                                       ...                                                                      25P025121Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           3UH92661GA4659814                                       92.48                                                                                      Credit
2342    3/15/2017       17:38:35   PDT                    Mobile WeCompleted                                      119.137.3. USD       ‐5,367.50         0   ‐5,367.50                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif38P108390Instant Tra Non‐U.S. ‐ Donna Fog Confirmed                                  0                   0                                                                                                                     INV2‐DRY2‐433K‐NNQ4‐J4PU                            0   5726 Cortez Rd W #13 Bradenton FL           34210 United States                   Debit
2343    3/15/2017       17:38:35   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1489993200~USD           5,367.50         0    5,367.50                                       ...                                                                      5FG22845LInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           38P108390G4424406                                    5,367.50                                                                                      Credit
2344    3/14/2017       21:30:16   PDT                    Invoice RecPaid                                                    USD        5,367.50         0    5,367.50                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐DRY2‐433K‐NNQ4‐J4PU                                                        210                               0        0                                                                                                   XL170315WF                                ...                                                                                             Memo
2345    3/13/2017        9:41:04   PDT       Upwork Es PreapproveCompleted                              Upwork Services~@~CUSD           ‐277.43         0     ‐277.43                                       Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 9GV323457Instant Tra Verified                         Upwork Services            0                      0                                                                                                                     AE8398879D5338820                                   0                                                                                     Debit    PayPal_SDK
2346    3/13/2017        9:41:04   PDT       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1489647600~USD             277.43         0      277.43                                       ...                                                                      5HJ30405VInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           9GV323457G5681204                                      277.43                                                                                      Credit
2347     3/8/2017        9:58:34   PST                    Mobile WeCompleted                            ~@~CLD:14113.92.154USD         ‐4,051.00         0   ‐4,051.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif67Y10781KInstant Tra Non‐U.S. ‐ Donna Fog Confirmed                                  0                   0                                                                                                                     INV2‐7LHG‐EF8K‐JVA5‐XRN5                            0   5726 Cortez Rd W #13 Bradenton FL           34210 United States                   Debit
2348     3/8/2017        9:58:34   PST       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1489388400~USD           4,051.00         0    4,051.00                                       ...                                                                      58E89860EInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           67Y10781KM760391T                                    4,051.00                                                                                      Credit
2349     3/8/2017        7:10:04   PST                    Invoice RecPaid                                                    USD        4,051.00         0    4,051.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐7LHG‐EF8K‐JVA5‐XRN5                                                        160                               0        0                                                                                                   XL170308WF                                ...                                                                                             Memo
2350     3/8/2017        6:37:45   PST       101 Used AMobile ExpCompleted                              06 07 08 BMW 7SeriesUSD           ‐44.99         0      ‐44.99                                       Sales@oneOpen PremU.S. Busineahawkins00Open PremU.S. Business Verified 0AP54302BInstant Tra Verified Donna Fog Confirmed 06 07 08 B 2.62E+11            0            0         0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ebaymotors/ws/eBayISAPI.dll?ViewItem&item=262400808377                              0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2351     3/8/2017        6:37:45   PST       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1489388400~USD              44.99         0       44.99                                       ...                                                                      8BE60131J Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                          0AP54302B3002703D                                       44.99                                                                                      Credit
2352     3/7/2017       20:30:07   PST       bmw oem Mobile ExpCompleted                                ~@~CLD:1489132800~USD                 ‐43        0          ‐43                                      Sales@oneOpen PremU.S. Businebmwoemp Open PremU.S. Business Verified 4PC033054Instant Tra Verified Donna Fog Confirmed BMW OEM 2.52E+11                    8         0         0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ebaymotors/ws/eBayISAPI.dll?ViewItem&item=252197945484                              0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2353     3/7/2017       20:30:07   PST       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1489132800~USD                  43        0           43                                      ...                                                                      2C818153SInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           4PC03305412403458                                           43                                                                                     Credit
2354     3/7/2017       20:29:35   PST       CARiD.comMobile ExpCompleted                               ~@~CLD:1489132800~USD             ‐39.63         0      ‐39.63                                       Sales@oneOpen PremU.S. Businepaypal@caOpen PremU.S. Business Verified 2AJ07500CInstant Tra Verified Donna Fog Confirmed Replace BM 2.32E+11                0         0         0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ebaymotors/ws/eBayISAPI.dll?ViewItem&item=231823847768                              0   5726 Corte# 134     Bradenton FL         34210‐270 United Stat904‐608‐0712        Debit
2355     3/7/2017       20:29:35   PST       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1489132800~USD              39.63         0       39.63                                       ...                                                                      0VY631603Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           2AJ07500C60128801                                       39.63                                                                                      Credit
2356     3/7/2017       20:28:34   PST       guowei       Mobile ExpCompleted                           ~@~CLD:1489132800~USD             ‐38.39         0      ‐38.39                                       Sales@oneOpen PremU.S. Businepayshmp@Open PremChinese Business Verif3EU60587DInstant Tra Non‐U.S. ‐ Donna Fog Confirmed 1 Set Front 1.82E+11               0         0         0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ebaymotors/ws/eBayISAPI.dll?ViewItem&item=182455452294                              0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2357     3/7/2017       20:28:34   PST       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1489132800~USD              38.39         0       38.39                                       ...                                                                      7CS061992Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           3EU60587DL6690451                                       38.39                                                                                      Credit
2358     3/7/2017       20:26:53   PST       RojoimpartMobile ExpCompleted                              ~@~CLD:1489132800~USD             ‐14.79         0      ‐14.79                                       Sales@oneOpen PremU.S. BusineSales@rojoOpen PremU.S. Business Verified 8C8845924Instant Tra Verified Donna Fog Confirmed BMW 328i 1.62E+11                 0         0    0.84                                                Ebay    donnfogl‐0 http://cgi.ebay.com/ebaymotors/ws/eBayISAPI.dll?ViewItem&item=162171246237                              0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2359     3/7/2017       20:26:53   PST       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1489132800~USD              14.79         0       14.79                                       ...                                                                      8JW20149UInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           8C8845924A7635548                                       14.79                                                                                      Credit
2360     3/7/2017       20:26:14   PST       Impart Inc. Mobile ExpCompleted                            ~@~CLD:1489132800~USD                 ‐29        0          ‐29                                      Sales@oneOpen PremU.S. Busineimpartinc@Open PremU.S. Business Verified 7BV157233Instant Tra Verified Donna Fog Confirmed BMW Alter 2.81E+11                0         0         0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ebaymotors/ws/eBayISAPI.dll?ViewItem&item=281061754290                              0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2361     3/7/2017       20:26:14   PST       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1489132800~USD                  29        0           29                                      ...                                                                      7LL24102WInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           7BV157233K572504Y                                           29                                                                                     Credit
2362     3/7/2017       20:25:30   PST       Parts4auto Mobile ExpCompleted                             ~@~CLD:1489132800~USD                 ‐33        0          ‐33                                      Sales@oneOpen PremU.S. Businejwslavin@yOpen PremU.S. Business Verified 8W222889 Instant Tra Verified Donna Fog Confirmed BMW 545i, 2.73E+11                0         0         0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ebaymotors/ws/eBayISAPI.dll?ViewItem&item=272542175730                              0   5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2363     3/7/2017       20:25:30   PST       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1489132800~USD                  33        0           33                                      ...                                                                      0JY02127T Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                          8W2228898G0620820                                           33                                                                                     Credit
2364     3/4/2017       19:58:58   PST                    Mobile WeCompleted                            ~@~CLD:14113.92.152USD         ‐5,230.00         0   ‐5,230.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif6RJ26952UInstant Tra Non‐U.S. ‐ Donna Fog Confirmed                                  0                   0                                                                                                                     INV2‐F3XM‐CUZG‐6DKT‐MW6X                            0   5726 Cortez Rd W #13 Bradenton FL           34210 United States                   Debit
2365     3/4/2017       19:58:58   PST       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1489046400~USD           5,230.00         0    5,230.00                                       ...                                                                      7LP50378L Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                          6RJ26952U2162883D                                    5,230.00                                                                                      Credit
2366     3/4/2017       18:01:26   PST                    Invoice RecPaid                                                    USD        5,230.00         0    5,230.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐F3XM‐CUZG‐6DKT‐MW6X                                                        205                               0        0                                                                                                   XL170305WF                                ...                                                                                             Memo
2367    2/20/2017        8:41:14   PST       Upwork Es PreapproveCompleted                              ~@~CLD:1487923200~USD            ‐300.54         0     ‐300.54                                       Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 62N131250Instant Tra Verified                         Upwork Services            0                      0                                                                                                                     AE8398879D5234695                                   0                                                                                     Debit    PayPal_SDK
2368    2/20/2017        8:41:14   PST       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1487923200~USD             300.54         0      300.54                                       ...                                                                      97L20086F Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                          62N131250U723470N                                      300.54                                                                                      Credit
2369    2/15/2017       16:56:09   PST                    Mobile WeCompleted                                      113.92.152USD             ‐458         0        ‐458                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif5KX027923Instant Tra Non‐U.S. ‐ Donna Fog Confirmed                                  0                   0                                                                                                                     INV2‐NFHT‐MWNZ‐6R6D‐HUAX                            0   5726 Cortez Rd W #13 Bradenton FL           34210 United States                   Debit
2370    2/15/2017       16:56:09   PST       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1487664000~USD                458         0         458                                       ...                                                                      3FT76880YInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           5KX02792343049745                                         458                                                                                      Credit
2371    2/15/2017       16:52:21   PST                    Invoice RecPaid                                                    USD             458         0         458                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐NFHT‐MWNZ‐6R6D‐HUAX                                                             0                            0        0                                                                                                   XL170216WF                                ...                                                                                             Memo
2372    2/13/2017        8:39:45   PST       Upwork Es PreapproveCompleted                              ~@~CLD:1487145600~USD            ‐146.42         0     ‐146.42                                       Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 0DU96966 Instant Tra Verified                         Upwork Services               0                   0                                                                                                                     AE8398879D5200974                                   0                                                                                     Debit    PayPal_SDK
2373    2/13/2017        8:39:45   PST       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1487232000~USD             146.42         0      146.42                                       ...                                                                      6JM689203Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           0DU969662Y1503700                                      146.42                                                                                      Credit
2374    2/10/2017       19:46:31   PST                    Mobile WeCompleted                                      119.137.1. USD       ‐4,044.00         0   ‐4,044.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif32Y674877Instant Tra Non‐U.S. ‐ Donna Fog Confirmed                                  0                   0                                                                                                                     INV2‐YH33‐RJBX‐S4DG‐3WAZ                            0   5726 Cortez Rd W #13 Bradenton FL           34210 United States                   Debit
2375    2/10/2017       19:46:31   PST       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1487145600~USD           4,044.00         0    4,044.00                                       ...                                                                      92F64318BInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           32Y6748778758521K                                    4,044.00                                                                                      Credit
2376    2/10/2017       19:42:10   PST                    Invoice RecPaid                                                    USD        4,044.00         0    4,044.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐YH33‐RJBX‐S4DG‐3WAZ                                                        158                               0        0                                                                                                   XL170211WF                                ...                                                                                             Memo
2377     2/9/2017       18:40:54   PST                    Mobile WeCompleted                                      119.137.3. USD       ‐5,236.50         0   ‐5,236.50                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif8U9923223Instant Tra Non‐U.S. ‐ Donna Fog Confirmed                               0                      0                                                                                                                     INV2‐QADN‐SN7C‐4MDN‐DR5M                            0   5726 Cortez Rd W #13 Bradenton FL           34210 United States                   Debit
2378     2/9/2017       18:40:54   PST       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1487059200~USD           5,113.21         0    5,113.21                                       ...                                                                      3MB74182 Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           8U99232231639040W                                    5,236.50                                                                                      Credit
2379     2/9/2017       18:38:54   PST                    Invoice RecPaid                                                    USD        5,236.50         0    5,236.50                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐QADN‐SN7C‐4MDN‐DR5M                                                        205                               0        0                                                                                                   XL170210WF                                ...                                                                                             Memo
2380     2/9/2017       13:32:11   PST       Pitbull Aud Mobile ExpCompleted                            ~@~CLD:1484294400~USD             ‐91.99         0      ‐91.99                                       Sales@oneOpen PremU.S. Businepitbulldvd@Open PremU.S. Business Verified 04E74137FPayPal balaVerified Donna Fog Confirmed TC Electron 2.52E+11           0            0         0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=252336055755                                   123.29    5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2381     2/3/2017       15:18:26   PST       Full House Mobile ExpCompleted                             ~@~CLD:1484294400~USD             ‐99.99         0      ‐99.99                                       Sales@oneOpen PremU.S. BusineTRAVIS@FURestricted U.S. Business Verified 6WR43353PayPal balaVerified Donna Fog Confirmed Hcigar Vt20 1.52E+11            0            0         0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=152422835983                                   215.28    5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2382    1/30/2017       17:52:03   PST       william slatShopping CCompleted                            ~@~CLD:1484294400~USD                325     ‐9.73      315.27                                       billslater31Open   U.S. PersonSales@oneOpen PremU.S. Business Verified 3E2279533Instant       Unregistered                   Shopping Cart              0                      0                                                                                                                     OBTV‐1175           {"order_id"2048‐9999      315.27                                                                                      Credit   WooThemes_Cart
2383    1/30/2017        8:42:27   PST       Upwork Es PreapproveCompleted                              ~@~CLD:1486022400~USD            ‐107.89         0     ‐107.89                                       Sales@oneOpen PremU.S. Busineemployer‐pOpen PremU.S. Business Verified 09B67954MInstant Tra Verified                         Upwork Services            0                      0                                                                                                                     AE8398879D5135230                                   0                                                                                     Debit    PayPal_SDK
2384    1/30/2017        8:42:27   PST       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1486022400~USD              83.92         0       83.92                                       ...                                                                      6AT40519GInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           09B67954MN509884S                                      107.89                                                                                      Credit
2385    1/11/2017        1:28:38   PST       Aladino Ca Mobile ShoCompleted                             ~@~CLD:1498.208.214USD                 25    ‐1.03       23.97                                       acamachoaOpen      U.S. PersonSales@oneOpen PremU.S. Business Verified 42528161YInstant       Unverified                     Shopping Cart                 0                   0                                                                                                                     OBTV‐1174           {"order_id":1174,"ord      23.97                                                                                      Credit   WooThemes_Cart
2386    1/10/2017       18:26:20   PST                    Mobile WeCompleted                                      113.92.155USD        ‐1,129.30         0   ‐1,129.30                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif40S25674BInstant Tra Non‐U.S. ‐ Donna Fog Confirmed                                  0                   0                                                                                                                     INV2‐DGY9‐NW7A‐P9NW‐45CP                            0   5726 Cortez Rd W #13 Bradenton FL           34210 United States                   Debit
2387    1/10/2017       18:26:20   PST       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1484294400~USD              788.3         0       788.3                                       ...                                                                      89N670106Instant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           40S25674BG986615A                                    1,129.30                                                                                      Credit
2388    1/10/2017       18:21:42   PST                    Invoice RecPaid                                                    USD        1,129.30         0    1,129.30                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐DGY9‐NW7A‐P9NW‐45CP                                                        44.3                              0        0                                                                                                   XL170111CM                                ...                                                                                             Memo
2389     1/9/2017       20:29:36   PST       Intent NoteMobile ExpCompleted                             ~@~CLD:1483948800~USD               ‐779         0        ‐779                                       Sales@oneOpen PremU.S. Busineroman@in Open PremU.S. Business Verified 08278391BPayPal balaVerified Donna Fog Confirmed ASUS ROG 1.72E+11                 0           0         0                                              Ebay    donnfogl‐0 http://cgi.ebay.com/ws/eBayISAPI.dll?ViewItem&item=172473398624                                      341    5726 Corte# 134     Bradenton FL         34210‐270 United States                  Debit
2390     1/6/2017        4:13:03   PST       Focused SaPayment R Completed                              ~@~CLD:1483948800~USD           1,120.00         0    1,120.00    HI Bill... Hope this helps! Doug   fsadmin1@Closed    U.S. BusineSales@oneOpen PremU.S. Business Verified 1WV97114Instant        Verified                                                                                                                                                                                                                                           1,120.00                                                                                      Credit
2391     1/4/2017       20:59:45   PST                    Mobile WeCompleted                                      119.137.0. USD       ‐5,125.00         0   ‐5,125.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif1M910478 Instant Tra Non‐U.S. ‐ Donna Fog Confirmed                                  0                   0                                                                                                                     INV2‐XSM8‐URKG‐AA93‐93H9                            0   5726 Cortez Rd W #13 Bradenton FL           34210 United States                   Debit
2392     1/4/2017       20:59:45   PST       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1483948800~USD           5,125.00         0    5,125.00                                       ...                                                                      92078727HInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           1M9104788V802760E                                    5,125.00                                                                                      Credit
2393     1/4/2017       20:42:16   PST                    Mobile WeCompleted                                      119.137.0. USD       ‐5,911.00         0   ‐5,911.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business Verif6YS68657MInstant Tra Non‐U.S. ‐ Donna Fog Confirmed                                  0                   0                                                                                                                     INV2‐CSSB‐9YPN‐JDR2‐9YJV                            0   5726 Cortez Rd W #13 Bradenton FL           34210 United States                   Debit
2394     1/4/2017       20:42:16   PST       ...          Inst. Tran. ACompleted WELLS FAR   6221       ~@~CLD:1483948800~USD           5,356.53         0    5,356.53                                       ...                                                                      09563625SInstant Transfer [WELLS FARGO BANK Checking (Confirmed) x‐6221]                                                                                                                                           6YS68657M9443084H                                    5,911.00                                                                                      Credit
2395     1/4/2017       19:50:32   PST                    Invoice RecPaid                                                    USD        5,125.00         0    5,125.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐XSM8‐URKG‐AA93‐93H9                                                        200                               0        0                                                                                                   XL170106WFPLUS                            ...                                                                                             Memo
2396     1/4/2017       19:23:07   PST                    Invoice RecPaid                                                    USD        5,911.00         0    5,911.00                                       Sales@oneOpen PremU.S. Busineyueinglai@Open PremChinese Business VerifINV2‐CSSB‐9YPN‐JDR2‐9YJV                                                        231                               0        0                                                                                                   XL170105WF                                ...                                                                                             Memo
2397     1/3/2017       11:03:48   PST       Jeremy GleMobile ShoCompleted                              Shopping Cart        USD             325    ‐12.98      312.02                                       j.glennon@Open     Irish PersonSales@oneOpen PremU.S. Business Verified 7DM36084Instant       Non‐U.S. ‐ Verified            Shopping Cart              0                      0                                                                                                                     OBTV‐1173           {"order_id":1173,"ord     554.47                                                                                      Credit   WooThemes_Cart
2398     1/2/2017       17:47:11   PST       Mark RickeMobile ShoCompleted                              Shopping Cart        USD             250     ‐7.55      242.45                                       marksauto Open     U.S. PersonSales@oneOpen PremU.S. Business Verified 8P5636727Instant       Verified                       Shopping Cart              0                      0                                                                                                                     OBTV‐1172           {"order_id":1172,"ord     242.45                                                                                      Credit   WooThemes_Cart
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               EXHIBIT
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          A             D           E           F         J        L        M        N        O        BK        BM
 11 Date             Name        Type        Status   Subject Currency Gross    Fee       Net       Balance Im
 59     9/25/2018   Martin LeeRecurring      Completed1 Month WUSD           18     ‐0.82     17.18 Credit
 61     9/25/2018   Terri MunkRecurring      Completed1 Month WUSD           18     ‐0.82     17.18 Credit
 77     9/25/2018   The Better Recurring     Completed1 Month WUSD           18     ‐0.82     17.18 Credit
 86     9/26/2018   James FromRecurring      Completed1 Month WUSD           19     ‐0.85     18.15 Credit
 87     9/26/2018   Robert DavRecurring      Completed1 Month WUSD           19     ‐0.85     18.15 Credit
 88     9/27/2018   Jane GREE Recurring      Completed1 Month WUSD           19     ‐0.85     18.15 Credit
 89     9/27/2018   kelvin mck Recurring     Completed1 Month WUSD           19     ‐0.85     18.15 Credit
 90     9/28/2018   Hillary Bell Recurring   Completed1 Month WUSD           19     ‐0.85     18.15 Credit
 92     9/29/2018   Bridges BriRecurring     Completed1 Month WUSD           19     ‐0.85     18.15 Credit
 93     9/29/2018   Hershel RicRecurring     Completed1 Month WUSD           19     ‐0.85     18.15 Credit
 94     9/29/2018   James McKRecurring       Completed1 Month WUSD           19     ‐0.85     18.15 Credit
 95     9/29/2018   Susan Casi Recurring     Completed1 Month WUSD           19     ‐0.85     18.15 Credit
 96     9/30/2018   Larry SturnRecurring     Completed1 Month WUSD           27     ‐1.08     25.92 Credit
 97     9/30/2018   Rebecca ReRecurring      Completed1 Month WUSD           19     ‐0.85     18.15 Credit
 99     10/2/2018   joseph ran Recurring     Completed1 Month WUSD           19     ‐0.85     18.15 Credit
100     10/2/2018   Samantha Recurring       Completed1 Month WUSD           19     ‐0.85     18.15 Credit
101     10/5/2018   Barbara W Recurring      Completed1 Month WUSD           19     ‐0.85     18.15 Credit
113     10/5/2018   Brian Rolp Recurring     Completed1 Month WUSD           19     ‐0.85     18.15 Credit
114     10/5/2018   SHEILA CIS Recurring     Completed1 Month WUSD           19     ‐0.85     18.15 Credit
115     10/6/2018   Gregory VaRecurring      Completed1 Month WUSD           19     ‐0.85     18.15 Credit
116     10/6/2018   JAMES CLARecurring       Completed1 Month WUSD           19     ‐0.85     18.15 Credit
117     10/6/2018   joe young Recurring      Completed1 Month WUSD           19     ‐0.85     18.15 Credit
118     10/6/2018   Ken GiffordRecurring     Completed1 Month WUSD           19     ‐0.85     18.15 Credit
119     10/6/2018   Michelle WRecurring      Completed1 Month WUSD           19     ‐0.85     18.15 Credit
120     10/6/2018   Robert GibRecurring      Completed1 Month WUSD           19     ‐0.85     18.15 Credit
121     10/6/2018   Tom BurlinRecurring      Completed1 Month WUSD           27     ‐1.08     25.92 Credit
123     10/7/2018   Kenneth R Recurring      Completed1 Month WUSD           19     ‐0.85     18.15 Credit
124     10/7/2018   Key West MRecurring      Completed1 Month WUSD           19     ‐0.85     18.15 Credit
125     10/7/2018   Ronald Ga Recurring      Completed1 Month WUSD           19     ‐0.85     18.15 Credit
126     10/7/2018   Timothy MRecurring       Completed1 Month WUSD           19     ‐0.85     18.15 Credit
127     10/7/2018   victor ibarrRecurring    Completed1 Month WUSD           19     ‐0.85     18.15 Credit
128     10/9/2018   Elaine Gre Recurring     Completed1 Month WUSD           19     ‐0.85     18.15 Credit
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         A             D          E           F        J           L   M        N       O          BK    BM
129    10/9/2018   Jack Coury Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
130    10/9/2018   Russell ParRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
131    10/9/2018   Scott Lurgi Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
133    10/9/2018   Susan kels Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
134   10/10/2018   Amber WhRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
135   10/11/2018   Barbara KuRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
136   10/11/2018   Emile Gou Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
137   10/11/2018   Kevin ChrisRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
138   10/11/2018   Leo LozeauRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
139   10/11/2018   richard johRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
140   10/11/2018   Timothy A Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
141   10/12/2018   Frank T CleRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
142   10/12/2018   Michael M Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
144   10/12/2018   Robert Bel Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
145   10/12/2018   Shirley Mc Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
147   10/13/2018   David CancRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
149   10/13/2018   Eddo ButleRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
150   10/13/2018   K&M enterRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
151   10/13/2018   Kenneth JeRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
152   10/14/2018   Cain Cain Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
153   10/14/2018   Laurie Pag Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
155   10/14/2018   Sabine Ful Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
156   10/16/2018   Barion Mil Recurring    Completed1 Month WUSD           27   ‐1.08   25.92   Credit
157   10/16/2018   Brent KleinRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
159   10/16/2018   James Har Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
161   10/16/2018   Marvin CleRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
162   10/16/2018   Nancy HadRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
163   10/18/2018   Carol MasoRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
164   10/18/2018   Quintin MoRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
165   10/19/2018   Cheryl HillmRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
166   10/19/2018   David HollaRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
167   10/19/2018   James Frie Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
168   10/19/2018   Linda Wor Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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         A             D           E           F        J           L   M        N       O          BK    BM
169   10/20/2018   Darlene M Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
174   10/20/2018   Edward PinRecurring      Completed1 Month WUSD           35   ‐1.32   33.68   Credit
175   10/20/2018   Irene Sher Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
176   10/20/2018   James BreeRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
177   10/20/2018   Kevin mcd Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
181   10/20/2018   Laura Siek Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
182   10/20/2018   robert samRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
183   10/21/2018   Ashley Wa Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
185   10/21/2018   john sutto Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
186   10/21/2018   kelly covill Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
187   10/21/2018   Patricia McRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
188   10/21/2018   Robert MoRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
189   10/21/2018   sonja bachRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
190   10/21/2018   Tawanda KRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
191   10/21/2018   william hayRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
192   10/22/2018   DIANE NAMRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
193   10/22/2018   Rose Lee BUpdate to      Updated ~@~CLD:1 USD            19   ‐0.85   18.15   Credit
195   10/23/2018   ANTHONY Recurring        Completed1 Month WUSD           19   ‐0.85   18.15   Credit
196   10/23/2018   bridgette sRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
197   10/23/2018   PETER WIL Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
198   10/23/2018   Robert SavRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
200   10/24/2018   FRITZ MARRecurring       Completed1 Month WUSD           29   ‐1.14   27.86   Credit
201   10/24/2018   Ron ReppuRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
203   10/25/2018   Cynthia Sc Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
205   10/25/2018   HELGA MARecurring        Completed1 Month WUSD           19   ‐0.85   18.15   Credit
206   10/25/2018   Henry ArseRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
207   10/25/2018   Martin LeeRecurring      Completed1 Month WUSD           18   ‐0.82   17.18   Credit
208   10/25/2018   Sarasota WRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
209   10/25/2018   Terri MunkRecurring      Completed1 Month WUSD           18   ‐0.82   17.18   Credit
211   10/25/2018   The Better Recurring     Completed1 Month WUSD           18   ‐0.82   17.18   Credit
213   10/26/2018   Charles GaRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
214   10/26/2018   Elizabeth SRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
215   10/26/2018   James FromRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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         A             D           E           F        J           L   M        N       O          BK    BM
216   10/26/2018   Jane DemeRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
217   10/26/2018   Jeannery GRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
218   10/26/2018   Kimberly HRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
220   10/26/2018   Mike NeavRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
221   10/26/2018   Robert DavRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
223   10/27/2018   Alan WengRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
224   10/27/2018   Brad MayeRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
225   10/27/2018   Christine L Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
226   10/27/2018   Diane MaxRecurring       Completed1 Month WUSD           27   ‐1.08   25.92   Credit
227   10/27/2018   Jane GREE Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
228   10/27/2018   jorge yong Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
230   10/27/2018   Julieanne PRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
232   10/27/2018   kelvin mck Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
233   10/27/2018   Rick Roett Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
235   10/28/2018   David HamRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
236   10/28/2018   Fred NelsoRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
237   10/28/2018   Gregory BeRecurring      Completed1 Month WUSD           35   ‐1.32   33.68   Credit
244   10/28/2018   Hillary Bell Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
248   10/28/2018   RAYMONDRecurring         Completed1 Month WUSD           19   ‐0.85   18.15   Credit
250   10/28/2018   Wallter FinRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
251   10/29/2018   Bridges BriRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
253   10/29/2018   Harry MartRecurring      Completed1 Month WUSD           27   ‐1.08   25.92   Credit
255   10/29/2018   Hershel RicRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
257   10/29/2018   James McKRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
258   10/29/2018   Paul Fraile Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
259   10/29/2018   Susan Casi Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
260   10/30/2018   Jenny LydeRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
261   10/30/2018   Larry SturnRecurring     Completed1 Month WUSD           27   ‐1.08   25.92   Credit
265   10/30/2018   Margret Fi Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
267   10/30/2018   pete miranRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
268   10/30/2018   Rebecca ReRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
269   10/30/2018   Ronald L JaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
270   10/31/2018   amanda naRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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         A             D          E           F        J           L   M        N       O          BK    BM
271   10/31/2018   Johnj EvereRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
272   10/31/2018   Julie WebeRecurring     Completed1 Month WUSD           35   ‐1.32   33.68   Credit
273   10/31/2018   lewis Rose Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
274    11/1/2018   Charlotte SRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
276    11/1/2018   Donald Kn Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
278    11/1/2018   eugene Ze Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
279    11/1/2018   James BottRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
280    11/1/2018   joseph ran Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
282    11/1/2018   Leah ClendRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
283    11/1/2018   Samantha Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
284    11/1/2018   Scott Hall Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
285    11/1/2018   Suzanne MRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
288    11/2/2018   Harry Spar Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
289    11/2/2018   Jeanne McRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
290    11/2/2018   Paul Scalis Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
291    11/3/2018   Bobby BlacRecurring     Completed1 Month WUSD           27   ‐1.08   25.92   Credit
295    11/3/2018   Git R DoneRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
296    11/3/2018   James HintRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
297    11/3/2018   Richard MARecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
299    11/3/2018   Ron Schmi Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
300    11/3/2018   Terry Dyal Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
302    11/3/2018   Vanessa BaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
304    11/4/2018   Brian Rolp Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
305    11/4/2018   Bryan GravRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
306    11/4/2018   Damon WaRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
307    11/4/2018   Daniel FishRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
308    11/4/2018   David KatoRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
310    11/4/2018   Gale Tycz Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
311    11/4/2018   George GiuRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
312    11/4/2018   Jasmine Ri Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
313    11/4/2018   JOYCARE S Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
314    11/4/2018   KG CommuRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
316    11/4/2018   Marco PineRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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         A             D          E           F        J           L   M        N       O          BK    BM
317    11/4/2018   SHEILA CIS Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
319    11/4/2018   Teddy UndRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
320    11/4/2018   Vicki Hall Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
322    11/4/2018   William M Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
323    11/5/2018   Gregory VaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
325    11/5/2018   JAMES CLARecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
326    11/5/2018   joe young Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
327    11/5/2018   Ken GiffordRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
328    11/5/2018   Michelle WRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
329    11/5/2018   Robert GibRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
330    11/5/2018   Tom BurlinRecurring     Completed1 Month WUSD           27   ‐1.08   25.92   Credit
332    11/6/2018   brooke rowRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
335    11/6/2018   Debbie NicRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
337    11/6/2018   Kenneth R Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
339    11/6/2018   Key West MRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
341    11/6/2018   Larry BealeRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
342    11/6/2018   Penny RowRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
343    11/6/2018   Ronald Ga Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
344    11/6/2018   Timothy MRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
345    11/6/2018   victor ibarrRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
347    11/6/2018   william barRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
349    11/8/2018   Elaine Gre Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
350    11/8/2018   Jack Coury Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
351    11/8/2018   Russell ParRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
353    11/8/2018   Scott Lurgi Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
354    11/8/2018   Susan kels Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
355    11/9/2018   Amber WhRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
356   11/10/2018   Barbara KuRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
360   11/10/2018   John Wyat Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
361   11/10/2018   Kevin ChrisRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
362   11/10/2018   Leo LozeauRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
363   11/10/2018   Loreen Ho Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
364   11/10/2018   richard johRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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         A             D          E           F        J           L   M        N       O          BK    BM
365   11/10/2018   Timothy A Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
366   11/11/2018   Frank T CleRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
370   11/11/2018   Michael M Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
371   11/11/2018   Robert Bel Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
372   11/11/2018   Shirley Mc Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
374   11/12/2018   David CancRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
375   11/12/2018   Eddo ButleRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
376   11/12/2018   Jaco tours Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
377   11/12/2018   K&M enterRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
378   11/12/2018   Kenneth JeRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
379   11/13/2018   Cain Cain Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
380   11/13/2018   Laurie Pag Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
381   11/13/2018   Sabine Ful Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
382   11/13/2018   tkshoppingRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
383   11/15/2018   Barion Mil Recurring    Completed1 Month WUSD           27   ‐1.08   25.92   Credit
384   11/15/2018   Brent KleinRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
386   11/15/2018   Christine RRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
389   11/15/2018   James Har Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
391   11/15/2018   Marvin CleRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
392   11/15/2018   Nancy HadRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
394   11/15/2018   Rose Lee BRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
395   11/16/2018   Janice StanRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
396   11/16/2018   Suzanne N Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
397   11/17/2018   Carol MasoRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
398   11/17/2018   Quintin MoRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
399   11/18/2018   Cheryl HillmRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
405   11/18/2018   David HollaRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
406   11/18/2018   James Frie Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
407   11/18/2018   Linda Wor Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
409   11/19/2018   Carlos FajaRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
411   11/19/2018   Edward PinRecurring     Completed1 Month WUSD           35   ‐1.32   33.68   Credit
413   11/19/2018   James BreeRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
414   11/19/2018   Laura Siek Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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         A             D           E           F        J           L   M        N       O          BK    BM
418   11/19/2018   Melvin ShaRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
419   11/19/2018   robert samRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
420   11/20/2018   Ashley Wa Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
421   11/20/2018   john sutto Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
423   11/20/2018   kelly covill Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
424   11/20/2018   Patricia McRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
425   11/20/2018   Robert MoRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
427   11/20/2018   sonja bachRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
429   11/20/2018   Tawanda KRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
430   11/20/2018   william hayRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
431   11/21/2018   DIANE NAMRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
432   11/22/2018   ANTHONY Recurring        Completed1 Month WUSD           19   ‐0.85   18.15   Credit
433   11/22/2018   bridgette sRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
434   11/22/2018   PETER WIL Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
435   11/22/2018   Robert SavRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
436   11/23/2018   FRITZ MARRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
438   11/23/2018   Greg RadicRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
440   11/23/2018   Ron ReppuRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
441   11/24/2018   Cynthia Sc Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
443   11/24/2018   Henry ArseRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
444   11/24/2018   Martin LeeRecurring      Completed1 Month WUSD           18   ‐0.82   17.18   Credit
445   11/24/2018   Robin MaleRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
449   11/24/2018   Sarasota WRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
450   11/24/2018   Terri MunkRecurring      Completed1 Month WUSD           18   ‐0.82   17.18   Credit
452   11/24/2018   The Better Recurring     Completed1 Month WUSD           18   ‐0.82   17.18   Credit
453   11/25/2018   Charles GaRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
454   11/25/2018   Elizabeth SRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
455   11/25/2018   James FromRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
456   11/25/2018   Jeannery GRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
457   11/25/2018   Mike NeavRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
460   11/25/2018   Robert DavRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
462   11/26/2018   Alan WengRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
464   11/26/2018   Brad MayeRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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         A             D           E           F        J           L   M        N       O          BK    BM
467   11/26/2018   Christine L Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
468   11/26/2018   Jane GREE Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
469   11/26/2018   jorge yong Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
470   11/26/2018   Julieanne PRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
472   11/26/2018   Rick Roett Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
476   11/27/2018   David HamRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
477   11/27/2018   Fred NelsoRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
478   11/27/2018   Gregory BeRecurring      Completed1 Month WUSD           35   ‐1.32   33.68   Credit
479   11/27/2018   Hillary Bell Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
480   11/27/2018   Linda WhitRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
481   11/27/2018   RAYMONDRecurring         Completed1 Month WUSD           19   ‐0.85   18.15   Credit
482   11/27/2018   Wallter FinRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
484   11/28/2018   Bridges BriRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
485   11/28/2018   Harry MartRecurring      Completed1 Month WUSD           27   ‐1.08   25.92   Credit
486   11/28/2018   Hershel RicRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
487   11/28/2018   James McKRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
488   11/28/2018   Susan Casi Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
489   11/29/2018   Jenny LydeRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
491   11/29/2018   Larry SturnRecurring     Completed1 Month WUSD           27   ‐1.08   25.92   Credit
492   11/29/2018   Margret Fi Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
493   11/29/2018   pete miranRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
495   11/29/2018   Rebecca ReRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
496   11/29/2018   Ronald L JaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
497   11/29/2018   Vera SpragRecurring      Completed1 Month WUSD           27   ‐1.08   25.92   Credit
498   11/29/2018   VickiRay FrRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
499   11/30/2018   Johnj EvereRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
511   11/30/2018   Julie WebeRecurring      Completed1 Month WUSD           35   ‐1.32   33.68   Credit
513   11/30/2018   Kimberly HRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
515   11/30/2018   lewis Rose Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
516   11/30/2018   lynda notleRecurring     Completed1 Month WUSD           19   ‐1.14   17.86   Credit
518    12/1/2018   Charlotte SRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
519    12/1/2018   Donald Kn Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
521    12/1/2018   eugene Ze Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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       A              D          E           F        J           L   M        N       O          BK    BM
524   12/1/2018   James BottRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
528   12/1/2018   Joanne LucRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
529   12/1/2018   joseph ran Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
530   12/1/2018   Leah ClendRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
532   12/1/2018   Samantha Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
539   12/1/2018   Scott Hall Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
541   12/1/2018   Suzanne MRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
542   12/2/2018   Harry Spar Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
543   12/2/2018   Heather O Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
547   12/2/2018   Jeanne McRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
549   12/2/2018   Paul Scalis Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
551   12/3/2018   Bobby BlacRecurring     Completed1 Month WUSD           27   ‐1.08   25.92   Credit
552   12/3/2018   Git R DoneRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
554   12/3/2018   James HintRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
555   12/3/2018   Mark BagleRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
557   12/3/2018   Paul Fraile Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
559   12/3/2018   Richard MARecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
561   12/3/2018   Ron Schmi Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
563   12/3/2018   Terry Dyal Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
564   12/3/2018   Vanessa BaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
565   12/4/2018   Brian Rolp Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
566   12/4/2018   Bryan GravRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
568   12/4/2018   Damon WaRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
569   12/4/2018   Daniel FishRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
571   12/4/2018   David KatoRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
573   12/4/2018   Gale Tycz Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
574   12/4/2018   George GiuRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
576   12/4/2018   Jasmine Ri Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
578   12/4/2018   JOYCARE S Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
582   12/4/2018   KG CommuRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
583   12/4/2018   Marco PineRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
585   12/4/2018   SHEILA CIS Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
586   12/4/2018   Teddy UndRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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         A             D          E           F        J           L   M        N       O          BK    BM
588    12/4/2018   Vicki Hall Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
590    12/4/2018   William M Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
591    12/5/2018   Gregory VaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
592    12/5/2018   JAMES CLARecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
593    12/5/2018   joe young Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
594    12/5/2018   Ken GiffordRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
596    12/5/2018   Michelle WRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
597    12/5/2018   Robert GibRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
599    12/5/2018   Tom BurlinRecurring     Completed1 Month WUSD           27   ‐1.08   25.92   Credit
600    12/6/2018   brooke rowRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
601    12/6/2018   Debbie NicRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
603    12/6/2018   Kenneth R Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
608    12/6/2018   Key West MRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
609    12/6/2018   Larry BealeRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
610    12/6/2018   Penny RowRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
611    12/6/2018   Ronald Ga Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
613    12/6/2018   Timothy MRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
614    12/6/2018   victor ibarrRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
615    12/6/2018   william barRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
616    12/8/2018   Elaine Gre Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
618    12/8/2018   Jack Coury Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
619    12/8/2018   Russell ParRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
621    12/8/2018   Scott Lurgi Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
623    12/8/2018   Susan kels Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
625    12/9/2018   Amber WhRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
628   12/10/2018   Barbara KuRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
629   12/10/2018   John Wyat Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
631   12/10/2018   Kevin ChrisRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
632   12/10/2018   Leo LozeauRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
633   12/10/2018   Loreen Ho Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
634   12/10/2018   richard johRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
635   12/10/2018   Rick Ballar Recurring   Completed1 Month WUSD           19   ‐1.14   17.86   Credit
639   12/10/2018   Timothy A Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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         A             D          E           F        J           L   M        N       O          BK    BM
641   12/11/2018   Frank T CleRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
644   12/11/2018   Michael M Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
645   12/11/2018   Robert Bel Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
646   12/11/2018   Shirley Mc Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
647   12/12/2018   David CancRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
648   12/12/2018   Eddo ButleRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
649   12/12/2018   Jaco tours Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
650   12/12/2018   K&M enterRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
651   12/12/2018   Kenneth JeRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
652   12/12/2018   Michael EvRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
653   12/13/2018   Cain Cain Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
654   12/13/2018   Laurie Pag Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
656   12/13/2018   Sabine Ful Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
658   12/13/2018   tkshoppingRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
660   12/14/2018   mike chart Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
661   12/15/2018   Barion Mil Recurring    Completed1 Month WUSD           27   ‐1.08   25.92   Credit
663   12/15/2018   Brent KleinRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
664   12/15/2018   Christine RRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
665   12/15/2018   James Har Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
666   12/15/2018   Marvin CleRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
668   12/15/2018   Nancy HadRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
670   12/15/2018   Rose Lee BRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
671   12/16/2018   Janice StanRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
675   12/16/2018   leafsMichaRecurring     Completed1 Month WUSD           19   ‐1.14   17.86   Credit
676   12/16/2018   Suzanne N Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
677   12/17/2018   Carol MasoRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
679   12/17/2018   Quintin MoRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
680   12/18/2018   Cheryl HillmRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
682   12/18/2018   David HollaRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
684   12/18/2018   James Frie Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
685   12/18/2018   Linda Wor Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
687   12/19/2018   Carlos FajaRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
688   12/19/2018   Edward PinRecurring     Completed1 Month WUSD           35   ‐1.32   33.68   Credit
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         A             D           E           F        J           L   M        N       O          BK    BM
689   12/19/2018   James BreeRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
690   12/19/2018   Laura Siek Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
691   12/19/2018   Melvin ShaRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
693   12/19/2018   robert samRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
697   12/20/2018   Ashley Wa Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
700   12/20/2018   john sutto Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
702   12/20/2018   kelly covill Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
703   12/20/2018   pam millerRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
705   12/20/2018   Patricia McRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
706   12/20/2018   Robert MoRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
707   12/20/2018   sonja bachRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
709   12/20/2018   Tawanda KRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
710   12/20/2018   william hayRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
711   12/21/2018   DIANE NAMRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
712   12/22/2018   ANTHONY Recurring        Completed1 Month WUSD           19   ‐0.85   18.15   Credit
714   12/22/2018   bridgette sRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
721   12/22/2018   PETER WIL Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
723   12/22/2018   Robert SavRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
724   12/23/2018   FRITZ MARRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
725   12/23/2018   Ron ReppuRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
726   12/24/2018   Cynthia Sc Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
731   12/24/2018   Henry ArseRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
733   12/24/2018   Martin LeeRecurring      Completed1 Month WUSD           18   ‐0.82   17.18   Credit
737   12/24/2018   Robin MaleRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
739   12/24/2018   Sarasota WRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
743   12/24/2018   The Better Recurring     Completed1 Month WUSD           18   ‐0.82   17.18   Credit
744   12/25/2018   Charles GaRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
745   12/25/2018   Elizabeth SRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
746   12/25/2018   James FromRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
747   12/25/2018   Jeannery GRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
749   12/25/2018   Kimberly HRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
751   12/25/2018   Mike NeavRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
752   12/25/2018   Robert DavRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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         A             D           E           F        J           L   M        N       O          BK    BM
754   12/26/2018   Alan WengRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
755   12/26/2018   Brad MayeRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
756   12/26/2018   Christine L Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
758   12/26/2018   Jane GREE Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
760   12/26/2018   jorge yong Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
761   12/26/2018   Julieanne PRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
762   12/26/2018   Rick Roett Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
764   12/27/2018   David HamRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
765   12/27/2018   Fred NelsoRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
766   12/27/2018   Gregory BeRecurring      Completed1 Month WUSD           35   ‐1.32   33.68   Credit
767   12/27/2018   Hillary Bell Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
769   12/27/2018   Linda WhitRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
770   12/27/2018   RAYMONDRecurring         Completed1 Month WUSD           19   ‐0.85   18.15   Credit
772   12/27/2018   Wallter FinRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
773   12/28/2018   Harry MartRecurring      Completed1 Month WUSD           27   ‐1.08   25.92   Credit
774   12/28/2018   James McKRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
775   12/28/2018   Paul Fraile Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
777   12/28/2018   Susan Casi Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
779   12/29/2018   Jenny LydeRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
781   12/29/2018   Larry SturnRecurring     Completed1 Month WUSD           27   ‐1.08   25.92   Credit
782   12/29/2018   Margret Fi Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
784   12/29/2018   pete miranRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
785   12/29/2018   Rebecca ReRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
786   12/29/2018   Ronald L JaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
787   12/29/2018   Ryan WilliaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
789   12/29/2018   Vera SpragRecurring      Completed1 Month WUSD           27   ‐1.08   25.92   Credit
790   12/29/2018   VickiRay FrRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
792   12/30/2018   Johnj EvereRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
793   12/30/2018   Julie WebeRecurring      Completed1 Month WUSD           35   ‐1.32   33.68   Credit
797   12/30/2018   lewis Rose Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
798   12/30/2018   lynda notleRecurring     Completed1 Month WUSD           19   ‐1.14   17.86   Credit
799   12/31/2018   Charlotte SRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
800   12/31/2018   Donald Kn Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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         A             D          E          F        J           L   M        N       O          BK    BM
801   12/31/2018   eugene Ze Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
804   12/31/2018   Joanne LucRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
808   12/31/2018   joseph ran Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
810   12/31/2018   Leah ClendRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
812   12/31/2018   Samantha Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
814   12/31/2018   Scott Hall Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
815   12/31/2018   Suzanne MRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
816     1/1/2019   Harry Spar Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
817     1/1/2019   Heather O Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
822     1/1/2019   Jeanne McRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
823     1/2/2019   Bobby BlacRecurring    Completed1 Month WUSD           27   ‐1.08   25.92   Credit
824     1/2/2019   Git R DoneRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Memo
825     1/2/2019   James HintRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
826     1/2/2019   Mark BagleRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
830     1/2/2019   Richard MARecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
834     1/2/2019   Ron Schmi Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
836     1/2/2019   Vanessa BaRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
838     1/3/2019   Brian Rolp Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
840     1/3/2019   Bryan GravRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
841     1/3/2019   Damon WaRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
842     1/3/2019   Daniel FishRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
844     1/3/2019   David KatoRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
846     1/3/2019   Gale Tycz Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
847     1/3/2019   George GiuRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
849     1/3/2019   Jasmine Ri Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
851     1/3/2019   JOYCARE S Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
853     1/3/2019   KG CommuRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
857     1/3/2019   Marco PineRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
860     1/3/2019   SHEILA CIS Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
861     1/3/2019   Teddy UndRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
862     1/3/2019   Vicki Hall Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
864     1/3/2019   William M Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
865     1/4/2019   Chris Huff Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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       A              D          E           F        J           L   M        N       O          BK    BM
867    1/4/2019   Gregory VaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
868    1/4/2019   JAMES CLARecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
869    1/4/2019   joe young Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
871    1/4/2019   Ken GiffordRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
873    1/4/2019   Michael PeRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
874    1/4/2019   Michelle WRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
876    1/4/2019   Robert GibRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
878    1/4/2019   Tom BurlinRecurring     Completed1 Month WUSD           27   ‐1.08   25.92   Credit
880    1/5/2019   Debbie NicRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
881    1/5/2019   Kenneth R Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
882    1/5/2019   Key West MRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
883    1/5/2019   Larry BealeRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
885    1/5/2019   Penny RowRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
886    1/5/2019   PETE A RURecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
888    1/5/2019   Ronald Ga Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
889    1/5/2019   Timothy MRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
891    1/5/2019   victor ibarrRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
893    1/5/2019   william barRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
895    1/7/2019   Elaine Gre Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
896    1/7/2019   Jack Coury Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
897    1/7/2019   Russell ParRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
899    1/7/2019   Scott Lurgi Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
901    1/7/2019   Susan kels Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
903    1/8/2019   Amber WhRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
904    1/9/2019   Barbara KuRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
905    1/9/2019   John Wyat Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
907    1/9/2019   Kevin ChrisRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
908    1/9/2019   Leo LozeauRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
909    1/9/2019   Loreen Ho Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
910    1/9/2019   richard johRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
911    1/9/2019   Timothy A Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
913   1/10/2019   Frank T CleRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
914   1/10/2019   Michael M Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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       A              D          E           F        J           L   M        N       O          BK    BM
916   1/10/2019   Robert Bel Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
918   1/10/2019   Shirley Mc Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
919   1/11/2019   David CancRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
921   1/11/2019   Eddo ButleRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
922   1/11/2019   Jaco tours Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
923   1/11/2019   K&M enterRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
924   1/11/2019   Kenneth JeRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
926   1/12/2019   Cain Cain Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
928   1/12/2019   Laurie Pag Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
929   1/12/2019   Sabine Ful Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
931   1/12/2019   tkshoppingRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
933   1/13/2019   michael goRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
934   1/13/2019   mike chart Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
935   1/14/2019   Brent KleinRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
936   1/14/2019   Christine RRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
937   1/14/2019   James Har Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
938   1/14/2019   Marvin CleRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
939   1/14/2019   Nancy HadRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
940   1/14/2019   Rose Lee BRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
941   1/15/2019   Janice StanRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
942   1/15/2019   leafsMichaRecurring     Completed1 Month WUSD           19   ‐1.14   17.86   Credit
944   1/15/2019   Suzanne N Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
946   1/16/2019   Carol MasoRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
948   1/16/2019   Quintin MoRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
949   1/17/2019   Cheryl HillmRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
951   1/17/2019   David HollaRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
952   1/17/2019   James Frie Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
953   1/17/2019   Linda Wor Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
957   1/18/2019   Carlos FajaRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
958   1/18/2019   Edward PinRecurring     Completed1 Month WUSD           35   ‐1.32   33.68   Credit
959   1/18/2019   James BreeRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
961   1/18/2019   Laura Siek Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
963   1/18/2019   Melvin ShaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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        A              D           E           F        J           L   M        N       O          BK    BM
964    1/18/2019   robert samRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
965    1/18/2019   Thomas PaRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
967    1/19/2019   Ashley Wa Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
968    1/19/2019   john sutto Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
970    1/19/2019   kelly covill Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
971    1/19/2019   pam millerRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
972    1/19/2019   Patricia McRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
974    1/19/2019   Robert MoRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
976    1/19/2019   Tawanda KRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
978    1/19/2019   william hayRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
982    1/20/2019   DIANE NAMRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
984    1/20/2019   Sellitall    Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
986    1/21/2019   ANTHONY Recurring        Completed1 Month WUSD           19   ‐0.85   18.15   Credit
988    1/21/2019   bridgette sRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
989    1/21/2019   PETER WIL Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
990    1/21/2019   Robert SavRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
991    1/22/2019   FRITZ MARRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
992    1/22/2019   Ron ReppuRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
993    1/23/2019   Cynthia Sc Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
995    1/23/2019   Henry ArseRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
997    1/23/2019   Martin LeeRecurring      Completed1 Month WUSD           18   ‐0.82   17.18   Credit
1001   1/23/2019   Robin MaleRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1002   1/23/2019   Sarasota WRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1004   1/23/2019   The Better Recurring     Completed1 Month WUSD           18   ‐0.82   17.18   Credit
1005   1/24/2019   Elizabeth SRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1007   1/24/2019   James FromRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1008   1/24/2019   Jeannery GRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1010   1/24/2019   jesse cothrRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1011   1/24/2019   Kimberly HRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1012   1/24/2019   Mike NeavRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1013   1/24/2019   Robert DavRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1015   1/25/2019   Alan WengRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1016   1/25/2019   Brad MayeRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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        A              D           E           F        J           L   M        N       O          BK    BM
1018   1/25/2019   Christine L Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1087   1/25/2019   Jane GREE Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1088   1/25/2019   jorge yong Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1089   1/25/2019   Julieanne PRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1090   1/25/2019   Rick Roett Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1092   1/26/2019   David HamRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1094   1/26/2019   Fred NelsoRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1096   1/26/2019   Gregory BeRecurring      Completed1 Month WUSD           35   ‐1.32   33.68   Credit
1098   1/26/2019   Hillary Bell Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1099   1/26/2019   Linda WhitRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1100   1/26/2019   RAYMONDRecurring         Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1101   1/26/2019   tommy ba Recurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1103   1/26/2019   Wallter FinRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1104   1/27/2019   Harry MartRecurring      Completed1 Month WUSD           27   ‐1.08   25.92   Credit
1105   1/27/2019   James McKRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1107   1/27/2019   Paul Fraile Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1108   1/27/2019   Susan Casi Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1109   1/28/2019   Jenny LydeRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1112   1/28/2019   Larry SturnRecurring     Completed1 Month WUSD           27   ‐1.08   25.92   Credit
1114   1/28/2019   Margret Fi Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1115   1/28/2019   pete miranRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1117   1/28/2019   Rebecca ReRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1119   1/28/2019   Ronald L JaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1120   1/28/2019   Ryan WilliaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1121   1/28/2019   Vera SpragRecurring      Completed1 Month WUSD           27   ‐1.08   25.92   Credit
1124   1/28/2019   VickiRay FrRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1126   1/29/2019   Joyce BarnRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1127   1/29/2019   Julie WebeRecurring      Completed1 Month WUSD           35   ‐1.32   33.68   Credit
1128   1/29/2019   lynda notleRecurring     Completed1 Month WUSD           19   ‐1.14   17.86   Credit
1130   1/30/2019   Charlotte SRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1132   1/30/2019   Donald Kn Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1133   1/30/2019   eugene Ze Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1135   1/30/2019   Joanne LucRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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        A              D          E          F        J           L   M        N       O          BK    BM
1136   1/30/2019   joseph ran Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1138   1/30/2019   Leah ClendRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1140   1/30/2019   Samantha Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1142   1/30/2019   Scott Hall Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1143   1/30/2019   Suzanne MRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1145   1/31/2019   Harry Spar Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1146   1/31/2019   Heather O Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1147   1/31/2019   Jeanne McRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1148    2/1/2019   Bobby BlacRecurring    Completed1 Month WUSD           27   ‐1.08   25.92   Credit
1150    2/1/2019   Git R DoneRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1152    2/1/2019   James HintRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1154    2/1/2019   Mark BagleRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1155    2/1/2019   Richard MARecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1157    2/1/2019   Ron Schmi Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1158    2/1/2019   Vanessa BaRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1160    2/2/2019   Brian Rolp Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1162    2/2/2019   Bryan GravRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1163    2/2/2019   Damon WaRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1167    2/2/2019   David KatoRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1168    2/2/2019   Gale Tycz Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1170    2/2/2019   George GiuRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1171    2/2/2019   Jasmine Ri Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1172    2/2/2019   JOYCARE S Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1173    2/2/2019   KG CommuRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1175    2/2/2019   Marco PineRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1177    2/2/2019   SHEILA CIS Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1179    2/2/2019   Teddy UndRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1181    2/2/2019   Vicki Hall Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1182    2/2/2019   William M Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1183    2/3/2019   Chris Huff Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1185    2/3/2019   Gregory VaRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1186    2/3/2019   JAMES CLARecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1188    2/3/2019   joe young Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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        A              D          E           F        J           L   M        N       O          BK    BM
1189    2/3/2019   Ken GiffordRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1190    2/3/2019   Michael PeRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1194    2/3/2019   Michelle WRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1196    2/3/2019   Robert GibRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1198    2/3/2019   Tom BurlinRecurring     Completed1 Month WUSD           27   ‐1.08   25.92   Credit
1199    2/4/2019   Debbie NicRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1203    2/4/2019   Kenneth R Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1204    2/4/2019   Key West MRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1206    2/4/2019   Larry BealeRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1207    2/4/2019   Penny RowRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1208    2/4/2019   PETE A RURecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1209    2/4/2019   Ronald Ga Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1210    2/4/2019   Timothy MRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1211    2/4/2019   victor ibarrRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1213    2/4/2019   william barRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1215    2/6/2019   Elaine Gre Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1218    2/6/2019   Jack Coury Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1221    2/6/2019   Russell ParRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1222    2/6/2019   Scott Lurgi Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1223    2/6/2019   Susan kels Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1224    2/7/2019   Amber WhRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1226    2/7/2019   Christine Y Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1228    2/8/2019   Barbara KuRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1229    2/8/2019   John Wyat Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1230    2/8/2019   Kevin ChrisRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1231    2/8/2019   Leo LozeauRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1233    2/8/2019   Loreen Ho Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1234    2/8/2019   richard johRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1235    2/9/2019   Frank T CleRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1236    2/9/2019   Michael M Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1237    2/9/2019   Robert Bel Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1239    2/9/2019   Shirley Mc Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1240   2/10/2019   David CancRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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        A              D          E           F        J           L   M        N       O          BK    BM
1244   2/10/2019   Eddo ButleRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1245   2/10/2019   Jaco tours Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1247   2/10/2019   K&M enterRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1249   2/10/2019   Kenneth JeRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1253   2/11/2019   Cain Cain Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1254   2/11/2019   Laurie Pag Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1255   2/11/2019   Sabine Ful Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1259   2/11/2019   tkshoppingRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1261   2/12/2019   Margaret WRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1263   2/12/2019   michael goRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1265   2/12/2019   mike chart Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1266   2/13/2019   Brent KleinRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1268   2/13/2019   Christine RRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1269   2/13/2019   James Har Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1271   2/13/2019   Marvin CleRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1272   2/13/2019   Nancy HadRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1273   2/13/2019   Rose Lee BRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1274   2/14/2019   Janice StanRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1275   2/14/2019   leafsMichaRecurring     Completed1 Month WUSD           19   ‐1.14   17.86   Credit
1276   2/14/2019   Suzanne N Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1277   2/15/2019   Carol MasoRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1278   2/16/2019   Cheryl HillmRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1280   2/16/2019   David HollaRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1282   2/16/2019   James Frie Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1284   2/16/2019   Linda Wor Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1285   2/17/2019   Carlos FajaRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1287   2/17/2019   Edward PinRecurring     Completed1 Month WUSD           35   ‐1.32   33.68   Credit
1288   2/17/2019   James BreeRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1289   2/17/2019   John BowmRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1293   2/17/2019   Laura Siek Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1295   2/17/2019   Melvin ShaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1297   2/17/2019   robert samRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1301   2/17/2019   Thomas PaRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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        A              D           E           F        J           L   M        N       O          BK    BM
1303   2/18/2019   Ashley Wa Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1304   2/18/2019   john sutto Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1306   2/18/2019   kelly covill Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1307   2/18/2019   Patricia McRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1308   2/18/2019   Robert MoRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1309   2/18/2019   Tawanda KRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1310   2/18/2019   william hayRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1311   2/19/2019   DIANE NAMRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1313   2/19/2019   Sellitall    Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1315   2/20/2019   ANTHONY Recurring        Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1316   2/20/2019   bridgette sRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1317   2/20/2019   Robert SavRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1319   2/21/2019   FRITZ MARRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1321   2/21/2019   Ron ReppuRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1323   2/22/2019   Cynthia Sc Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1324   2/22/2019   Henry ArseRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1326   2/22/2019   Martin LeeRecurring      Completed1 Month WUSD           18   ‐0.82   17.18   Credit
1328   2/22/2019   Robin MaleRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1329   2/22/2019   Sarasota WRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1331   2/22/2019   The Better Recurring     Completed1 Month WUSD           18   ‐0.82   17.18   Credit
1332   2/23/2019   Elizabeth SRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1334   2/23/2019   James FromRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1335   2/23/2019   Jeannery GRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1337   2/23/2019   jesse cothrRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1338   2/23/2019   Kimberly HRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1340   2/23/2019   Mike NeavRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1341   2/23/2019   Robert DavRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1343   2/24/2019   Alan WengRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1345   2/24/2019   Brad MayeRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1346   2/24/2019   Christine L Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1348   2/24/2019   Jane GREE Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1349   2/24/2019   jorge yong Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1351   2/24/2019   Julieanne PRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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        A              D           E           F        J           L   M        N       O          BK    BM
1353   2/24/2019   Rick Roett Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1355   2/25/2019   David HamRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1356   2/25/2019   Fred NelsoRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1357   2/25/2019   Gregory BeRecurring      Completed1 Month WUSD           35   ‐1.32   33.68   Credit
1358   2/25/2019   Hillary Bell Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1359   2/25/2019   Linda WhitRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1366   2/25/2019   PC SolutionRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1368   2/25/2019   RAYMONDRecurring         Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1370   2/25/2019   tommy ba Recurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1371   2/25/2019   Wallter FinRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1372   2/26/2019   Donald RoyRecurring      Completed1 Month WUSD           19   ‐1.14   17.86   Credit
1373   2/26/2019   Harry MartRecurring      Completed1 Month WUSD           27   ‐1.08   25.92   Credit
1374   2/26/2019   James McKRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1376   2/26/2019   Susan Casi Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1377   2/26/2019   Timothy TrRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1379   2/27/2019   Jenny LydeRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1381   2/27/2019   Larry SturnRecurring     Completed1 Month WUSD           27   ‐1.08   25.92   Credit
1382   2/27/2019   Margret Fi Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1383   2/27/2019   pete miranRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1385   2/27/2019   Rebecca ReRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1389   2/27/2019   Ronald L JaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1393   2/27/2019   Ryan WilliaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1395   2/27/2019   Vera SpragRecurring      Completed1 Month WUSD           27   ‐1.08   25.92   Credit
1396   2/27/2019   VickiRay FrRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1398   2/28/2019   Joyce BarnRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1400   2/28/2019   Julie WebeRecurring      Completed1 Month WUSD           35   ‐1.32   33.68   Credit
1401    3/1/2019   Aaron Frie Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1403    3/1/2019   Charlotte SRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1404    3/1/2019   Donald Kn Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1406    3/1/2019   eugene Ze Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1407    3/1/2019   Joanne LucRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1409    3/1/2019   joseph ran Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1410    3/1/2019   Leah ClendRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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       A              D          E          F        J           L   M        N       O          BK    BM
1414   3/1/2019   lynda notleRecurring   Completed1 Month WUSD           19   ‐1.14   17.86   Credit
1416   3/1/2019   Samantha Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1417   3/1/2019   Scott Hall Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1418   3/1/2019   Suzanne MRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1419   3/2/2019   Harry Spar Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1420   3/2/2019   Heather O Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1422   3/2/2019   Jeanne McRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1423   3/3/2019   Bobby BlacRecurring    Completed1 Month WUSD           27   ‐1.08   25.92   Credit
1425   3/3/2019   Git R DoneRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1426   3/3/2019   James HintRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1428   3/3/2019   Mark BagleRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1429   3/3/2019   pam millerRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1430   3/3/2019   Richard MARecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1433   3/3/2019   Ron Schmi Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1435   3/3/2019   Vanessa BaRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1437   3/4/2019   Brian Rolp Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1439   3/4/2019   Bryan GravRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1440   3/4/2019   Damon WaRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1442   3/4/2019   David KatoRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1443   3/4/2019   Gale Tycz Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1444   3/4/2019   George GiuRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1445   3/4/2019   Jasmine Ri Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1446   3/4/2019   JOYCARE S Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1448   3/4/2019   KG CommuRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1450   3/4/2019   Marco PineRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1452   3/4/2019   SHEILA CIS Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1454   3/4/2019   Teddy UndRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1456   3/4/2019   Vicki Hall Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1461   3/4/2019   William M Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1462   3/5/2019   Chris Huff Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1463   3/5/2019   Gregory VaRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1465   3/5/2019   JAMES CLARecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1467   3/5/2019   joe young Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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        A              D          E           F        J           L   M        N       O          BK    BM
1468    3/5/2019   Ken GiffordRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1470    3/5/2019   Michael PeRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1472    3/5/2019   Michelle WRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1474    3/5/2019   Robert GibRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1475    3/5/2019   Tom BurlinRecurring     Completed1 Month WUSD           27   ‐1.08   25.92   Credit
1476    3/6/2019   Debbie NicRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1477    3/6/2019   Kenneth R Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1479    3/6/2019   Key West MRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1480    3/6/2019   Larry BealeRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1482    3/6/2019   Penny RowRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1483    3/6/2019   PETE A RURecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1485    3/6/2019   Ronald Ga Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1486    3/6/2019   Timothy MRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1488    3/6/2019   victor ibarrRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1489    3/6/2019   william barRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1490    3/8/2019   Elaine Gre Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1491    3/8/2019   Hani Hadd Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1493    3/8/2019   Jack Coury Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1494    3/8/2019   Russell ParRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1496    3/8/2019   Scott Lurgi Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1497    3/8/2019   Susan kels Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1498    3/9/2019   Amber WhRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1499   3/10/2019   Barbara KuRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1500   3/10/2019   John Wyat Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1502   3/10/2019   Kevin ChrisRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1503   3/10/2019   Leo LozeauRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1504   3/10/2019   Loreen Ho Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1506   3/10/2019   maria delg Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1507   3/10/2019   richard johRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1509   3/11/2019   Frank T CleRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1511   3/11/2019   Michael M Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1512   3/11/2019   Robert Bel Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1513   3/11/2019   Shirley Mc Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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        A              D          E           F        J           L   M        N       O          BK    BM
1514   3/12/2019   David CancRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1515   3/12/2019   Eddo ButleRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1520   3/12/2019   Jaco tours Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1522   3/12/2019   K&M enterRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1523   3/12/2019   Kenneth JeRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1524   3/13/2019   Cain Cain Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1526   3/13/2019   Laurie Pag Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1527   3/13/2019   Sabine Ful Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1529   3/13/2019   tkshoppingRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1530   3/14/2019   Margaret WRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1531   3/14/2019   michael goRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1532   3/14/2019   mike chart Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1533   3/15/2019   Brent KleinRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1534   3/15/2019   Christine RRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1535   3/15/2019   James Har Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1537   3/15/2019   Marvin CleRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1539   3/15/2019   Nancy HadRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1541   3/15/2019   Rose Lee BRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1542   3/16/2019   Janice StanRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1543   3/16/2019   leafsMichaRecurring     Completed1 Month WUSD           19   ‐1.14   17.86   Credit
1545   3/16/2019   Suzanne N Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1546   3/16/2019   Tami ThomRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1547   3/17/2019   Carol MasoRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1548   3/18/2019   Cheryl HillmRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1550   3/18/2019   David HollaRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1552   3/18/2019   James Frie Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1553   3/18/2019   Linda Wor Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1554   3/19/2019   Carlos FajaRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1556   3/19/2019   Edward PinRecurring     Completed1 Month WUSD           35   ‐1.32   33.68   Credit
1558   3/19/2019   James BreeRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1559   3/19/2019   John BowmRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1561   3/19/2019   Laura Siek Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1562   3/19/2019   Melvin ShaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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        A              D           E           F        J           L   M        N       O          BK    BM
1563   3/19/2019   robert samRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1564   3/19/2019   Thomas PaRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1566   3/20/2019   Ashley Wa Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1568   3/20/2019   john sutto Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1569   3/20/2019   kelly covill Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1570   3/20/2019   Patricia McRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1572   3/20/2019   Robert MoRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1574   3/20/2019   Tawanda KRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1575   3/20/2019   william hayRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1577   3/21/2019   Sellitall    Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1578   3/21/2019   Timothy MRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1580   3/22/2019   ANTHONY Recurring        Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1582   3/22/2019   bridgette sRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1584   3/22/2019   Robert SavRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1585   3/23/2019   FRITZ MARRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1587   3/23/2019   Ron ReppuRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1588   3/24/2019   Cynthia Sc Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1589   3/24/2019   Henry ArseRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1590   3/24/2019   Martin LeeRecurring      Completed1 Month WUSD           18   ‐0.82   17.18   Credit
1592   3/24/2019   Robin MaleRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1594   3/24/2019   Sarasota WRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1595   3/24/2019   The Better Recurring     Completed1 Month WUSD           18   ‐0.82   17.18   Credit
1597   3/25/2019   Aaron Frie Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1598   3/25/2019   Elizabeth SRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1599   3/25/2019   James FromRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1601   3/25/2019   Jeannery GRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1603   3/25/2019   jesse cothrRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1604   3/25/2019   Kimberly HRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1605   3/25/2019   Mike NeavRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1606   3/25/2019   Robert DavRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1607   3/26/2019   Alan WengRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1608   3/26/2019   Brad MayeRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1610   3/26/2019   Christine L Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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        A              D           E           F        J           L   M        N       O          BK    BM
1611   3/26/2019   Jane GREE Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1613   3/26/2019   jorge yong Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1614   3/26/2019   Julieanne PRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1615   3/26/2019   Rick Roett Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1616   3/27/2019   David HamRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1618   3/27/2019   Fred NelsoRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1619   3/27/2019   Gregory BeRecurring      Completed1 Month WUSD           35   ‐1.32   33.68   Credit
1620   3/27/2019   Hillary Bell Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1621   3/27/2019   PC SolutionRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1622   3/27/2019   RAYMONDRecurring         Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1623   3/27/2019   tommy ba Recurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1625   3/27/2019   Wallter FinRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1627   3/28/2019   Donald RoyRecurring      Completed1 Month WUSD           19   ‐1.14   17.86   Credit
1629   3/28/2019   Harry MartRecurring      Completed1 Month WUSD           27   ‐1.08   25.92   Credit
1631   3/28/2019   James McKRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1633   3/28/2019   Susan Casi Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1634   3/28/2019   Timothy TrRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1635   3/28/2019   Ziggy's Per Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1637   3/29/2019   Jenny LydeRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1639   3/29/2019   Larry SturnRecurring     Completed1 Month WUSD           27   ‐1.08   25.92   Credit
1641   3/29/2019   Margret Fi Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1650   3/29/2019   pete miranRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1651   3/29/2019   Rebecca ReRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1652   3/29/2019   Ronald L JaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1653   3/29/2019   Ryan WilliaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1663   3/29/2019   Vera SpragRecurring      Completed1 Month WUSD           27   ‐1.08   25.92   Credit
1665   3/29/2019   VickiRay FrRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1666   3/30/2019   Edwin F ReRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1667   3/30/2019   Joyce BarnRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1668   3/30/2019   Julie WebeRecurring      Completed1 Month WUSD           35   ‐1.32   33.68   Credit
1669   3/30/2019   lynda notleRecurring     Completed1 Month WUSD           19   ‐1.14   17.86   Credit
1670   3/31/2019   Charlotte SRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1673   3/31/2019   Donald Kn Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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        A             D         E         F        J            L   M        N       O          BK    BM
1675   3/31/2019   eugene Ze Recurring Completed1 Month WUSD            19   ‐0.85   18.15   Credit
1676   3/31/2019   gary zacur Recurring Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1677   3/31/2019   Joanne LucRecurring Completed1 Month WUSD            19   ‐0.85   18.15   Credit
1678   3/31/2019   joseph ran Recurring Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1685   3/31/2019   Leah ClendRecurring Completed1 Month WUSD            19   ‐0.85   18.15   Credit
1686   3/31/2019   Samantha Recurring Completed1 Month WUSD             19   ‐0.85   18.15   Credit
1687   3/31/2019   Scott Hall Recurring Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1688   3/31/2019   Suzanne MRecurring Completed1 Month WUSD             19   ‐0.85   18.15   Credit
1690    4/1/2019   Harry Spar Recurring Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1691    4/1/2019   Heather O Recurring Completed1 Month WUSD            19   ‐0.85   18.15   Credit
1692    4/1/2019   Jeanne McRecurring Completed1 Month WUSD             19   ‐0.85   18.15   Credit
1695    4/2/2019   Bobby BlacRecurring Completed1 Month WUSD            27   ‐1.08   25.92   Credit
1698    4/2/2019   Git R DoneRecurring Completed1 Month WUSD            19   ‐0.85   18.15   Memo
1700    4/2/2019   James HintRecurring Completed1 Month WUSD            19   ‐0.85   18.15   Credit
1701    4/2/2019   Mark BagleRecurring Completed1 Month WUSD            19   ‐0.85   18.15   Credit
1702    4/2/2019   pam millerRecurring Completed1 Month WUSD            19   ‐0.85   18.15   Credit
1704    4/2/2019   Richard MARecurring Completed1 Month WUSD            19   ‐0.85   18.15   Credit
1705    4/2/2019   Ron Schmi Recurring Completed1 Month WUSD            19   ‐0.85   18.15   Credit
1706    4/2/2019   Rose Lee BInstant TraCompleted~@~CLD:1 USD           19   ‐0.85   18.15   Credit
1708    4/2/2019   Vanessa BaRecurring Completed1 Month WUSD            19   ‐0.85   18.15   Credit
1710    4/3/2019   Brian Rolp Recurring Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1711    4/3/2019   Bryan GravRecurring Completed1 Month WUSD            19   ‐0.85   18.15   Credit
1712    4/3/2019   Damon WaRecurring Completed1 Month WUSD              19   ‐0.85   18.15   Credit
1715    4/3/2019   David KatoRecurring Completed1 Month WUSD            19   ‐0.85   18.15   Credit
1717    4/3/2019   Gale Tycz Recurring Completed1 Month WUSD            19   ‐0.85   18.15   Credit
1718    4/3/2019   George GiuRecurring Completed1 Month WUSD            19   ‐0.85   18.15   Credit
1719    4/3/2019   Jasmine Ri Recurring Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1720    4/3/2019   JOYCARE S Recurring Completed1 Month WUSD            19   ‐0.85   18.15   Credit
1725    4/3/2019   KG CommuRecurring Completed1 Month WUSD              19   ‐0.85   18.15   Credit
1726    4/3/2019   Marco PineRecurring Completed1 Month WUSD            19   ‐0.85   18.15   Credit
1727    4/3/2019   SHEILA CIS Recurring Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1734    4/3/2019   Teddy UndRecurring Completed1 Month WUSD             19   ‐0.85   18.15   Credit
1735    4/3/2019   Vicki Hall Recurring Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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        A              D          E           F        J           L   M        N       O          BK    BM
1736    4/3/2019   William M Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1742    4/4/2019   Chris Huff Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1744    4/4/2019   Gregory VaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1746    4/4/2019   joe young Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1748    4/4/2019   Ken GiffordRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1749    4/4/2019   Michael PeRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1751    4/4/2019   Michelle WRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1752    4/4/2019   Robert GibRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1753    4/5/2019   Kenneth R Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1754    4/5/2019   Key West MRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1756    4/5/2019   Larry BealeRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1757    4/5/2019   Penny RowRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1759    4/5/2019   PETE A RURecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1760    4/5/2019   Ronald Ga Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1761    4/5/2019   Timothy MRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1762    4/5/2019   victor ibarrRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1763    4/7/2019   Elaine Gre Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1765    4/7/2019   Jack Coury Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1766    4/7/2019   Jason Ball Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1767    4/7/2019   Russell ParRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1768    4/7/2019   Scott Lurgi Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1771    4/7/2019   Susan kels Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1772    4/8/2019   Amber WhRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1774    4/8/2019   william barRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1781    4/9/2019   Barbara KuRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1783    4/9/2019   John Wyat Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1784    4/9/2019   Kevin ChrisRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1785    4/9/2019   Leo LozeauRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1786    4/9/2019   Loreen Ho Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1787    4/9/2019   maria delg Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1789    4/9/2019   richard johRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1790   4/10/2019   Frank T CleRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1791   4/10/2019   Michael M Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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        A              D          E           F        J           L   M        N       O          BK    BM
1793   4/10/2019   Robert Bel Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1794   4/10/2019   Shirley Mc Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1795   4/10/2019   william barRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1796   4/11/2019   David CancRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1797   4/11/2019   Eddo ButleRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1798   4/11/2019   Jaco tours Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1799   4/11/2019   K&M enterRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1800   4/11/2019   Kenneth JeRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1801   4/11/2019   Ray Palme Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1802   4/12/2019   Cain Cain Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1803   4/12/2019   Laurie Pag Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1804   4/12/2019   Sabine Ful Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1806   4/12/2019   tkshoppingRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1808   4/13/2019   Margaret WRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1809   4/13/2019   michael goRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1810   4/13/2019   mike chart Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1811   4/14/2019   Brent KleinRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1812   4/14/2019   Christine RRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1813   4/14/2019   James Har Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1815   4/14/2019   Marvin CleRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1816   4/14/2019   Nancy HadRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1817   4/14/2019   Shannon RRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1819   4/15/2019   Janice StanRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1820   4/15/2019   leafsMichaRecurring     Completed1 Month WUSD           19   ‐1.14   17.86   Credit
1821   4/15/2019   Tami ThomRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1823   4/16/2019   Carol MasoRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1824   4/16/2019   James Rup Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1825   4/16/2019   ROMAN EYRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1826   4/16/2019   Rose Lee BRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1827   4/17/2019   Cheryl HillmRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1828   4/17/2019   David HollaRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1835   4/17/2019   James Frie Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1838   4/17/2019   Kristal VeloRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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        A              D          E          F        J           L   M        N       O          BK    BM
1839   4/17/2019   Linda Wor Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1840   4/18/2019   Carlos FajaRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1842   4/18/2019   Edward PinRecurring    Completed1 Month WUSD           35   ‐1.32   33.68   Credit
1843   4/18/2019   James BreeRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1844   4/18/2019   John BowmRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1846   4/18/2019   Laura Siek Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1847   4/18/2019   Melvin ShaRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1848   4/18/2019   robert samRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1850   4/18/2019   Thomas PaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1851   4/19/2019   Ashley Wa Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1852   4/19/2019   john sutto Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1854   4/19/2019   Patricia McRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1855   4/19/2019   Robert MoRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1856   4/19/2019   Tawanda KRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1858   4/19/2019   william hayRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1859   4/20/2019   Sellitall  Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1860   4/21/2019   ANTHONY Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1862   4/21/2019   bridgette sRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1863   4/21/2019   Robert SavRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1864   4/22/2019   Ron ReppuRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1866   4/23/2019   Henry ArseRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1868   4/23/2019   Martin LeeRecurring    Completed1 Month WUSD           18   ‐0.82   17.18   Credit
1869   4/23/2019   Robin MaleRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1870   4/23/2019   Sarasota WRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1871   4/23/2019   The Better Recurring   Completed1 Month WUSD           18   ‐0.82   17.18   Credit
1872   4/23/2019   Timothy MRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1873   4/24/2019   Aaron Frie Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1875   4/24/2019   Elizabeth SRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1876   4/24/2019   James FromRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1878   4/24/2019   Jeannery GRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1879   4/24/2019   jesse cothrRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1882   4/24/2019   Kimberly HRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1884   4/24/2019   Mike NeavRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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        A              D           E           F        J           L   M        N       O          BK    BM
1885   4/24/2019   Robert DavRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1887   4/25/2019   Alan WengRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1888   4/25/2019   Brad MayeRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1889   4/25/2019   Christine L Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1893   4/25/2019   Jane GREE Recurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1894   4/25/2019   jorge yong Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1896   4/25/2019   Julieanne PRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1897   4/25/2019   Rick Roett Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1904   4/26/2019   David HamRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1905   4/26/2019   Fred NelsoRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1906   4/26/2019   Gregory BeRecurring      Completed1 Month WUSD           35   ‐1.32   33.68   Credit
1907   4/26/2019   Hillary Bell Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1910   4/26/2019   PC SolutionRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1911   4/26/2019   RAYMONDRecurring         Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1915   4/26/2019   tommy ba Recurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1916   4/26/2019   Wallter FinRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1917   4/27/2019   Donald RoyRecurring      Completed1 Month WUSD           19   ‐1.14   17.86   Credit
1918   4/27/2019   Harry MartRecurring      Completed1 Month WUSD           27   ‐1.08   25.92   Credit
1919   4/27/2019   James McKRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1920   4/27/2019   Susan Casi Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1922   4/27/2019   Timothy TrRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1923   4/27/2019   Ziggy's Per Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1924   4/28/2019   Georgia NeRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1925   4/28/2019   Jenny LydeRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1926   4/28/2019   Larry SturnRecurring     Completed1 Month WUSD           27   ‐1.08   25.92   Credit
1927   4/28/2019   Margret Fi Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1928   4/28/2019   pete miranRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1935   4/28/2019   Rebecca ReRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1936   4/28/2019   Ronald L JaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1937   4/28/2019   Ryan WilliaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1938   4/28/2019   Vera SpragRecurring      Completed1 Month WUSD           27   ‐1.08   25.92   Credit
1940   4/28/2019   VickiRay FrRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1941   4/29/2019   Edwin F ReRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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        A              D          E          F        J           L   M        N       O          BK    BM
1943   4/29/2019   Joyce BarnRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1944   4/29/2019   Julie WebeRecurring    Completed1 Month WUSD           35   ‐1.32   33.68   Credit
1945   4/29/2019   lynda notleRecurring   Completed1 Month WUSD           19   ‐1.14   17.86   Credit
1947   4/30/2019   Charlotte SRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1948   4/30/2019   Donald Kn Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1949   4/30/2019   eugene Ze Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1951   4/30/2019   gary zacur Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1952   4/30/2019   Joanne LucRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1953   4/30/2019   joseph ran Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1962   4/30/2019   Leah ClendRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1964   4/30/2019   Samantha Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1965   4/30/2019   Scott Hall Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1966   4/30/2019   Suzanne MRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1968    5/1/2019   Harry Spar Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1969    5/1/2019   Heather O Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1970    5/1/2019   Jeanne McRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1971    5/2/2019   Git R DoneRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Memo
1973    5/2/2019   James HintRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1974    5/2/2019   JANUARY PRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1975    5/2/2019   Mark BagleRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1977    5/2/2019   pam millerRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1978    5/2/2019   Richard MARecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1979    5/2/2019   Ron Schmi Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1981    5/2/2019   Vanessa BaRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1983    5/3/2019   Brian Rolp Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1984    5/3/2019   Damon WaRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1985    5/3/2019   David KatoRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1986    5/3/2019   Gale Tycz Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1987    5/3/2019   George GiuRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1991    5/3/2019   Jasmine Ri Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1998    5/3/2019   JOYCARE S Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
1999    5/3/2019   KG CommuRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2000    5/3/2019   SHEILA CIS Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2001    5/3/2019   Teddy UndRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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       A              D          E           F        J           L   M        N       O          BK    BM
2003   5/3/2019   Vicki Hall Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2004   5/3/2019   William M Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2005   5/4/2019   Chris Huff Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2006   5/4/2019   Gregory VaRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2007   5/4/2019   joe young Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2008   5/4/2019   Ken GiffordRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2009   5/4/2019   Michael PeRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2013   5/4/2019   Michelle WRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2015   5/4/2019   Robert GibRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2017   5/5/2019   Kenneth R Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2026   5/5/2019   Key West MRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2028   5/5/2019   Larry BealeRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2029   5/5/2019   Penny RowRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2031   5/5/2019   PETE A RURecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2032   5/5/2019   Ronald Ga Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2033   5/5/2019   Timothy MRecurring      Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2034   5/5/2019   victor ibarrRecurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2035   5/5/2019   william barRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2037   5/7/2019   Jack Coury Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2039   5/7/2019   Jason Ball Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2040   5/7/2019   roger hebbRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2042   5/7/2019   Russell ParRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2043   5/7/2019   Scott Lurgi Recurring   Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2045   5/8/2019   Amber WhRecurring       Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2047   5/8/2019   Bryan GravRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2048   5/8/2019   william barRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2209   5/8/2019   william barRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2216   5/9/2019   Barbara KuRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2217   5/9/2019   Kevin ChrisRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2232   5/9/2019   Leo LozeauRecurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2253   5/9/2019   Loreen Ho Recurring     Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2397   5/9/2019   maria delg Recurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
2398   5/9/2019   richard johRecurring    Completed1 Month WUSD           19   ‐0.85   18.15   Credit
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               EXHIBIT
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 Merchant Information                                                                                           -         User    Logout




 Support      Operations        Compliance


Feu RfsJir. Stafemo:ts Pil'OCH:SOrs Memo Tr.ans AmiiiVU,
U11u1m1'Wi'it:1n91 Uisl!r Management $effillite AHii.if TiraUs



I PRIVATE LABEL
                  Company Name: Authorize.Net
                    Product Name: Authorize.Net (anet)                                                    Domain: authorize.net
                 Su ort Address: su ort@authorize.net                                             Su   ort Phone: 877-447-3938
 SALES [ Reseller ID:� Reseller Type: Standard]

            Representative Name:
               Representative ID: -
                 Company Name: � Merchant Services Inc
                Com an Phone: 5614454973
 BUSINESS [ Payment Gateway ID:   7242 Product: CNP ]

                                Name: One Box TV LLC
                              Address: 1707 1st street E Booth 22
                                  City: Bradenton      State: FL    Zip:   34208
                              Country: US
                                Phone: 877-748-4336          Fax:
               Business Reference 1 : NONE
                         Reference 2: NONE
                 Product Description:
                         Market Type: eCommerce - CNP
                 Customer Presence: Customer Not Present
                                Tax ID:
                        Reference ID:
                                  URL: oneboxlive.com
                             SIC Code: 4899 (Look up SIC Code)


I PRINCIPAL INFORMATION
                SIC Code Description: Cable and Other Pay Television Services



                               Name:      Donna Fogle
                             Address:     4673 Steven Ln
                                 City:    Walnutport    State: PA  Zip: 18088
                             Country:     US
                               Phone:     610-533-3150
                          Birth Date:     NONE Drivers License Number: NONE   D.L. State: --
             Social Security Number:      XXXX9022

I BILLING INFORMATION
               Owner Email Address:       sales@oneboxtv.com


            Name on Bank Account:         One Box TV LLC                             Credit Card Number:
                Bank Account Type:        Checking                                       Expiration Date:
         Bank Account Owner Type:         Business                                            First Name:
              ABA Routing Number:         XXXX:7513                                           Last Name:
             Bank Account Number:         XXXX9888                                               Country:
                       Bank Name:                                                                Address:
                         Bank City:                                                            Address 2:
                        Bank State:                                                                  City:
                          Bank Zip:                                                                Region:

                                                                                                              Confidential
                                                                                                              AUTH00001
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Transaction ID   Submit Date/Time              Total Amount
61482143371      01-Jan-2019 03:20:44 PM PST   $320.00
41140804872      09-Jan-2019 09:26:00 AM PST   $19.00
61496427258      10-Jan-2019 08:39:18 AM PST   $19.00
61496476929      10-Jan-2019 09:01:42 AM PST   $19.00
61496560355      10-Jan-2019 09:35:04 AM PST   $19.00
61496680760      10-Jan-2019 10:26:30 AM PST   $19.00
61496698263      10-Jan-2019 10:33:52 AM PST   $19.00
61496716169      10-Jan-2019 10:41:31 AM PST   $19.00
61496777261      10-Jan-2019 11:07:30 AM PST   $19.00
61498076369      11-Jan-2019 07:44:20 AM PST   $19.00
61498312311      11-Jan-2019 09:16:30 AM PST   $19.00
61498522279      11-Jan-2019 10:46:45 AM PST   $19.00
61499776973      12-Jan-2019 07:30:48 AM PST   $19.00
61499916143      12-Jan-2019 09:17:44 AM PST   $19.00
61499952687      12-Jan-2019 09:47:05 AM PST   $19.00
61500132979      12-Jan-2019 12:19:34 PM PST   $19.00
61500878461      13-Jan-2019 07:37:04 AM PST   $19.00
61500946693      13-Jan-2019 08:45:38 AM PST   $19.00
61500985091      13-Jan-2019 09:21:11 AM PST   $19.00
61501136266      13-Jan-2019 11:55:55 AM PST   $19.00
61501137765      13-Jan-2019 11:57:27 AM PST   $19.00
61501148683      13-Jan-2019 12:08:36 PM PST   $19.00
61504635008      15-Jan-2019 07:08:06 AM PST   $19.00
61505132093      15-Jan-2019 10:14:00 AM PST   $19.00
61505163134      15-Jan-2019 10:25:37 AM PST   $19.00
61505401875      15-Jan-2019 11:54:20 AM PST   $19.00
61507209389      16-Jan-2019 06:56:55 AM PST   $19.00
61507339606      16-Jan-2019 08:03:40 AM PST   $19.00
61507601462      16-Jan-2019 09:57:57 AM PST   $19.00
61509674322      17-Jan-2019 09:41:13 AM PST   $19.00
41154823454      18-Jan-2019 07:46:32 AM PST   $19.00
61511202094      18-Jan-2019 10:32:36 AM PST   $19.00
61511555061      18-Jan-2019 01:05:31 PM PST   $19.00
61512927492      19-Jan-2019 12:54:09 PM PST   $19.00
61513790537      20-Jan-2019 08:19:46 AM PST   $19.00
61513963947      20-Jan-2019 10:54:49 AM PST   $19.00
61514035010      20-Jan-2019 12:01:53 PM PST   $19.00
61514077997      20-Jan-2019 12:45:21 PM PST   $19.00
61514110104      20-Jan-2019 01:17:27 PM PST   $19.00
61517355367      22-Jan-2019 10:47:40 AM PST   $19.00
61519029082      23-Jan-2019 09:15:13 AM PST   $19.00
61519103436      23-Jan-2019 09:47:28 AM PST   $19.00
61519294026      23-Jan-2019 11:15:46 AM PST   $19.00
61519316439      23-Jan-2019 11:26:24 AM PST   $19.00
61519533990      23-Jan-2019 01:06:59 PM PST   $19.00
61520758833      24-Jan-2019 08:37:27 AM PST   $19.00


                                                                   Confidential
                                                                   AUTH00005
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61521152557   24-Jan-2019 11:32:28 AM PST   $19.00
61521166483   24-Jan-2019 11:39:27 AM PST   $19.00
61522995494   25-Jan-2019 10:07:51 AM PST   $19.00
61523279660   25-Jan-2019 12:09:04 PM PST   $19.00
61524617797   26-Jan-2019 10:21:31 AM PST   $19.00
61525508079   27-Jan-2019 06:53:45 AM PST   $19.00
61525740639   27-Jan-2019 10:45:11 AM PST   $19.00
61525819759   27-Jan-2019 11:58:35 AM PST   $19.00
61526935365   28-Jan-2019 07:46:41 AM PST   $19.00
61528651840   29-Jan-2019 06:10:26 AM PST   $19.00
61528909471   29-Jan-2019 08:22:55 AM PST   $19.00
61529170258   29-Jan-2019 10:16:48 AM PST   $19.00
61529488177   29-Jan-2019 12:42:54 PM PST   $19.00
61529926405   29-Jan-2019 05:04:29 PM PST   $19.00
61530622589   30-Jan-2019 07:30:35 AM PST   $19.00
61530646402   30-Jan-2019 07:43:50 AM PST   $19.00
61530659413   30-Jan-2019 07:50:43 AM PST   $19.00
61530706845   30-Jan-2019 08:12:27 AM PST   $19.00
61530736909   30-Jan-2019 08:24:09 AM PST   $19.00
61530758692   30-Jan-2019 08:32:46 AM PST   $19.00
61530886245   30-Jan-2019 09:27:39 AM PST   $19.00
61531027063   30-Jan-2019 10:32:52 AM PST   $19.00
61531056577   30-Jan-2019 10:47:26 AM PST   $19.00
61531150070   30-Jan-2019 11:29:01 AM PST   $19.00
61531583318   30-Jan-2019 02:58:26 PM PST   $19.00
61532537976   31-Jan-2019 08:48:01 AM PST   $19.00
61532562819   31-Jan-2019 08:58:09 AM PST   $19.00
61535349713   01-Feb-2019 07:11:03 AM PST   $19.00
61537757157   02-Feb-2019 07:56:08 AM PST   $19.00
61537774793   02-Feb-2019 08:07:33 AM PST   $19.00
61537799734   02-Feb-2019 08:21:51 AM PST   $19.00
61537976126   02-Feb-2019 10:11:57 AM PST   $19.00
61538191870   02-Feb-2019 12:51:47 PM PST   $19.00
61538311684   02-Feb-2019 02:28:06 PM PST   $19.00
61539012547   03-Feb-2019 07:44:51 AM PST   $19.00
61539139402   03-Feb-2019 09:28:28 AM PST   $19.00
61539189863   03-Feb-2019 10:13:55 AM PST   $19.00
61539207478   03-Feb-2019 10:29:43 AM PST   $19.00
61541436782   04-Feb-2019 02:34:00 PM PST   $19.00
61541718062   04-Feb-2019 05:44:50 PM PST   $19.00
61544805143   06-Feb-2019 08:40:11 AM PST   $19.00
61544835170   06-Feb-2019 08:53:58 AM PST   $19.00
61544983816   06-Feb-2019 09:55:01 AM PST   $19.00
61545161841   06-Feb-2019 11:11:52 AM PST   $19.00
61545331046   06-Feb-2019 12:22:49 PM PST   $19.00
61545688259   06-Feb-2019 03:26:55 PM PST   $19.00
61546736995   07-Feb-2019 08:44:47 AM PST   $27.00


                                                                   Confidential
                                                                   AUTH00006
Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 99 of 460 PageID 176


61548009967   08-Feb-2019 02:53:52 AM PST   $19.00
61548697318   08-Feb-2019 10:17:53 AM PST   $19.00
61548744715   08-Feb-2019 10:33:58 AM PST   $19.00
61549037619   08-Feb-2019 12:34:14 PM PST   $19.00
61549431000   08-Feb-2019 04:02:57 PM PST   $9.50
61549846614   09-Feb-2019 01:37:22 AM PST   $19.00
61549846648   09-Feb-2019 01:37:23 AM PST   $19.00
61549846692   09-Feb-2019 01:37:25 AM PST   $19.00
61549846749   09-Feb-2019 01:37:27 AM PST   $19.00
61549846829   09-Feb-2019 01:37:31 AM PST   $19.00
61551346663   10-Feb-2019 01:48:43 AM PST   $19.00
61551346814   10-Feb-2019 01:48:50 AM PST   $19.00
61551346972   10-Feb-2019 01:48:56 AM PST   $19.00
61551510456   10-Feb-2019 06:50:54 AM PST   $19.00
61551654340   10-Feb-2019 09:17:07 AM PST   $19.00
61551705826   10-Feb-2019 10:05:33 AM PST   $19.00
61551727123   10-Feb-2019 10:24:52 AM PST   $19.00
61551807804   10-Feb-2019 11:37:24 AM PST   $19.00
61551814655   10-Feb-2019 11:44:00 AM PST   $19.00
61551821506   10-Feb-2019 11:50:28 AM PST   $19.00
61551838171   10-Feb-2019 12:05:29 PM PST   $19.00
61551846758   10-Feb-2019 12:13:46 PM PST   $19.00
61551856431   10-Feb-2019 12:22:43 PM PST   $19.00
61552004098   10-Feb-2019 02:41:19 PM PST   $19.00
61552770998   11-Feb-2019 01:40:43 AM PST   $19.00
61552771069   11-Feb-2019 01:40:47 AM PST   $19.00
61552771091   11-Feb-2019 01:40:47 AM PST   $19.00
61552771185   11-Feb-2019 01:40:51 AM PST   $19.00
61554841992   12-Feb-2019 01:22:53 AM PST   $19.00
61554842020   12-Feb-2019 01:22:54 AM PST   $19.00
61554842037   12-Feb-2019 01:22:55 AM PST   $19.00
61554842114   12-Feb-2019 01:22:58 AM PST   $19.00
61554842119   12-Feb-2019 01:22:58 AM PST   $19.00
61554842122   12-Feb-2019 01:22:58 AM PST   $19.00
61555329734   12-Feb-2019 08:30:54 AM PST   $19.00
61555370553   12-Feb-2019 08:49:11 AM PST   $19.00
61555763218   12-Feb-2019 11:46:14 AM PST   $19.00
61555792683   12-Feb-2019 12:00:26 PM PST   $19.00
61557130778   13-Feb-2019 06:14:59 AM PST   $19.00
61557555845   13-Feb-2019 09:17:26 AM PST   $19.00
61558050622   13-Feb-2019 12:44:42 PM PST   $19.00
61558956529   14-Feb-2019 01:36:19 AM PST   $19.00
61558956807   14-Feb-2019 01:36:29 AM PST   $19.00
61558956823   14-Feb-2019 01:36:29 AM PST   $19.00
61558956957   14-Feb-2019 01:36:34 AM PST   $19.00
61559723487   14-Feb-2019 09:15:38 AM PST   $19.00
61559896194   14-Feb-2019 09:58:35 AM PST   $19.00


                                                                   Confidential
                                                                   AUTH00007
Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 100 of 460 PageID 177


61560887983   14-Feb-2019 03:13:52 PM PST   $27.00
61561705213   15-Feb-2019 03:32:19 AM PST   $19.00
61561705851   15-Feb-2019 03:32:37 AM PST   $19.00
61562146502   15-Feb-2019 07:19:01 AM PST   $19.00
61562370318   15-Feb-2019 08:38:34 AM PST   $19.00
61562560727   15-Feb-2019 09:40:18 AM PST   $19.00
61562570717   15-Feb-2019 09:43:30 AM PST   $19.00
61562572187   15-Feb-2019 09:43:59 AM PST   $19.00
61562610383   15-Feb-2019 09:57:08 AM PST   $19.00
61563021689   15-Feb-2019 12:14:52 PM PST   $19.00
61564019207   16-Feb-2019 02:04:14 AM PST   $19.00
61564270962   16-Feb-2019 08:05:39 AM PST   $19.00
61564297120   16-Feb-2019 08:26:37 AM PST   $19.00
61564428327   16-Feb-2019 10:04:46 AM PST   $19.00
61564509995   16-Feb-2019 11:04:07 AM PST   $19.00
61564574780   16-Feb-2019 11:51:35 AM PST   $19.00
61564620261   16-Feb-2019 12:28:09 PM PST   $19.00
61565255652   17-Feb-2019 02:30:42 AM PST   $19.00
61565255896   17-Feb-2019 02:30:51 AM PST   $19.00
61565256047   17-Feb-2019 02:30:56 AM PST   $19.00
61565352758   17-Feb-2019 05:55:03 AM PST   $19.00
61565410412   17-Feb-2019 07:01:30 AM PST   $19.00
61565418958   17-Feb-2019 07:11:47 AM PST   $19.00
61565419322   17-Feb-2019 07:12:10 AM PST   $19.00
61565422549   17-Feb-2019 07:16:11 AM PST   $19.00
61565432855   17-Feb-2019 07:29:27 AM PST   $19.00
61565497987   17-Feb-2019 08:30:25 AM PST   $19.00
61565536732   17-Feb-2019 09:03:17 AM PST   $19.00
61565552304   17-Feb-2019 09:14:36 AM PST   $19.00
61565560642   17-Feb-2019 09:20:32 AM PST   $19.00
61565619809   17-Feb-2019 10:13:30 AM PST   $19.00
61565638652   17-Feb-2019 10:31:43 AM PST   $19.00
61565670068   17-Feb-2019 11:01:40 AM PST   $19.00
61565862383   17-Feb-2019 02:00:58 PM PST   $19.00
61566226889   18-Feb-2019 01:47:41 AM PST   $19.00
61567103792   18-Feb-2019 11:01:13 AM PST   $19.00
61567953755   19-Feb-2019 02:24:24 AM PST   $19.00
61567953812   19-Feb-2019 02:24:26 AM PST   $19.00
61567953841   19-Feb-2019 02:24:27 AM PST   $19.00
61567953865   19-Feb-2019 02:24:28 AM PST   $19.00
61567953874   19-Feb-2019 02:24:28 AM PST   $19.00
61568984295   19-Feb-2019 12:03:09 PM PST   $19.00
61570431142   20-Feb-2019 08:21:16 AM PST   $19.00
61570770322   20-Feb-2019 10:24:08 AM PST   $19.00
61570898666   20-Feb-2019 11:11:21 AM PST   $19.00
61572212751   21-Feb-2019 01:49:50 AM PST   $19.00
61572717846   21-Feb-2019 08:26:57 AM PST   $19.00


                                                                   Confidential
                                                                   AUTH00008
Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 101 of 460 PageID 178


61574355914   22-Feb-2019 02:01:53 AM PST   $19.00
61574355922   22-Feb-2019 02:01:54 AM PST   $19.00
61574356030   22-Feb-2019 02:02:04 AM PST   $19.00
61574517034   22-Feb-2019 07:19:01 AM PST   $19.00
61574876807   22-Feb-2019 09:41:36 AM PST   $19.00
61575073095   22-Feb-2019 11:04:07 AM PST   $19.00
61575207815   22-Feb-2019 12:01:34 PM PST   $19.00
61575262855   22-Feb-2019 12:23:51 PM PST   $19.00
61576275149   23-Feb-2019 02:39:42 AM PST   $19.00
61576275160   23-Feb-2019 02:39:42 AM PST   $19.00
61576782502   23-Feb-2019 10:28:06 AM PST   $19.00
61577448481   24-Feb-2019 02:08:47 AM PST   $19.00
61577448670   24-Feb-2019 02:08:54 AM PST   $19.00
61577552854   24-Feb-2019 05:57:11 AM PST   $19.00
61577699186   24-Feb-2019 08:30:14 AM PST   $19.00
61577843853   24-Feb-2019 10:39:56 AM PST   $19.00
61578828672   25-Feb-2019 01:50:06 AM PST   $19.00
61581102877   26-Feb-2019 02:18:37 AM PST   $19.00
61581102948   26-Feb-2019 02:18:45 AM PST   $19.00
61581102981   26-Feb-2019 02:18:49 AM PST   $19.00
61581625145   26-Feb-2019 08:41:44 AM PST   $19.00
61581669061   26-Feb-2019 09:00:12 AM PST   $19.00
61583029441   27-Feb-2019 02:11:35 AM PST   $19.00
61583787727   27-Feb-2019 10:15:41 AM PST   $19.00
61585193335   28-Feb-2019 03:43:15 AM PST   $19.00
61585194083   28-Feb-2019 03:43:35 AM PST   $19.00
61585194740   28-Feb-2019 03:43:56 AM PST   $19.00
61585195679   28-Feb-2019 03:44:27 AM PST   $19.00
61585196985   28-Feb-2019 03:45:13 AM PST   $19.00
61586209813   28-Feb-2019 11:16:01 AM PST   $19.00
61588041414   01-Mar-2019 05:11:47 AM PST   $19.00
61588041553   01-Mar-2019 05:11:49 AM PST   $19.00
61588041736   01-Mar-2019 05:11:52 AM PST   $19.00
61588042111   01-Mar-2019 05:11:57 AM PST   $19.00
61588042774   01-Mar-2019 05:12:07 AM PST   $19.00
61588042887   01-Mar-2019 05:12:09 AM PST   $19.00
61588043270   01-Mar-2019 05:12:14 AM PST   $19.00
61588045375   01-Mar-2019 05:12:45 AM PST   $19.00
61588166038   01-Mar-2019 05:47:30 AM PST   $19.00
61588582145   01-Mar-2019 07:48:09 AM PST   $19.00
61589462984   01-Mar-2019 12:02:34 PM PST   $9.50
61589558834   01-Mar-2019 12:32:55 PM PST   $19.00
61589775565   01-Mar-2019 01:48:47 PM PST   $19.00
61590496948   02-Mar-2019 02:38:55 AM PST   $19.00
61590496960   02-Mar-2019 02:38:56 AM PST   $19.00
61590968712   02-Mar-2019 09:51:11 AM PST   $19.00
61590976485   02-Mar-2019 09:56:44 AM PST   $27.00


                                                                   Confidential
                                                                   AUTH00009
Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 102 of 460 PageID 179


61591073185   02-Mar-2019 11:01:49 AM PST   $19.00
61591133409   02-Mar-2019 11:41:45 AM PST   $19.00
61591230861   02-Mar-2019 12:55:18 PM PST   $19.00
61591770691   03-Mar-2019 01:34:35 AM PST   $19.00
61592105294   03-Mar-2019 09:06:14 AM PST   $19.00
61592200104   03-Mar-2019 09:45:30 AM PST   $19.00
61592230642   03-Mar-2019 09:59:02 AM PST   $27.00
61592250344   03-Mar-2019 10:06:38 AM PST   $19.00
61593973671   04-Mar-2019 01:25:41 AM PST   $19.00
61593973681   04-Mar-2019 01:25:41 AM PST   $19.00
61593973808   04-Mar-2019 01:25:45 AM PST   $19.00
61593973943   04-Mar-2019 01:25:50 AM PST   $19.00
61597083509   05-Mar-2019 02:08:34 AM PST   $19.00
61597083517   05-Mar-2019 02:08:35 AM PST   $19.00
61597083558   05-Mar-2019 02:08:36 AM PST   $19.00
61597083560   05-Mar-2019 02:08:36 AM PST   $19.00
61597689494   05-Mar-2019 08:24:47 AM PST   $19.00
61597787300   05-Mar-2019 08:49:30 AM PST   $19.00
61598354572   05-Mar-2019 10:54:47 AM PST   $19.00
61599342952   06-Mar-2019 01:40:33 AM PST   $19.00
61599343069   06-Mar-2019 01:40:38 AM PST   $19.00
61603245755   08-Mar-2019 01:50:07 AM PST   $19.00
61603245781   08-Mar-2019 01:50:08 AM PST   $19.00
61603245936   08-Mar-2019 01:50:12 AM PST   $19.00
61603246073   08-Mar-2019 01:50:15 AM PST   $19.00
61603246195   08-Mar-2019 01:50:18 AM PST   $19.00
61603246497   08-Mar-2019 01:50:25 AM PST   $19.00
41232462407   08-Mar-2019 07:56:32 AM PST   $19.00
41232487805   08-Mar-2019 08:02:19 AM PST   $19.00
41232619375   08-Mar-2019 08:31:01 AM PST   $19.00
61603952688   08-Mar-2019 10:26:35 AM PST   $19.00
61604731153   09-Mar-2019 02:20:22 AM PST   $27.00
61604774829   09-Mar-2019 06:50:59 AM PST   $19.00
61605009166   09-Mar-2019 09:42:57 AM PST   $19.00
61605026975   09-Mar-2019 09:56:20 AM PST   $19.00
61605035169   09-Mar-2019 10:02:11 AM PST   $19.00
61606752460   10-Mar-2019 03:40:44 AM PDT   $19.00
61606763685   10-Mar-2019 03:48:01 AM PDT   $19.00
61606763726   10-Mar-2019 03:48:03 AM PDT   $19.00
61606763942   10-Mar-2019 03:48:11 AM PDT   $19.00
61606764441   10-Mar-2019 03:48:29 AM PDT   $9.50
61607190986   10-Mar-2019 09:05:01 AM PDT   $19.00
61607607605   10-Mar-2019 12:02:32 PM PDT   $19.00
61607672986   10-Mar-2019 12:30:17 PM PDT   $19.00
61607794094   10-Mar-2019 01:17:37 PM PDT   $19.00
61608891392   11-Mar-2019 03:17:08 AM PDT   $19.00
61608891453   11-Mar-2019 03:17:10 AM PDT   $19.00


                                                                   Confidential
                                                                   AUTH00010
Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 103 of 460 PageID 180


61608891486   11-Mar-2019 03:17:11 AM PDT   $19.00
61608891500   11-Mar-2019 03:17:12 AM PDT   $19.00
61608891554   11-Mar-2019 03:17:13 AM PDT   $19.00
61611167930   12-Mar-2019 02:24:34 AM PDT   $19.00
61611167978   12-Mar-2019 02:24:36 AM PDT   $19.00
61611167984   12-Mar-2019 02:24:36 AM PDT   $19.00
61611171999   12-Mar-2019 02:27:37 AM PDT   $19.00
61611172061   12-Mar-2019 02:27:40 AM PDT   $19.00
61611172085   12-Mar-2019 02:27:41 AM PDT   $19.00
61611172124   12-Mar-2019 02:27:43 AM PDT   $19.00
61611172129   12-Mar-2019 02:27:43 AM PDT   $19.00
61611172134   12-Mar-2019 02:27:43 AM PDT   $19.00
61611172141   12-Mar-2019 02:27:43 AM PDT   $19.00
61611172146   12-Mar-2019 02:27:43 AM PDT   $19.00
61611172189   12-Mar-2019 02:27:45 AM PDT   $19.00
61611646556   12-Mar-2019 08:39:20 AM PDT   $19.00
61611728460   12-Mar-2019 09:13:42 AM PDT   $19.00
61611856375   12-Mar-2019 10:10:34 AM PDT   $19.00
61612014792   12-Mar-2019 11:19:24 AM PDT   $19.00
61613090624   13-Mar-2019 02:25:13 AM PDT   $19.00
61613090692   13-Mar-2019 02:25:15 AM PDT   $19.00
61613090696   13-Mar-2019 02:25:15 AM PDT   $19.00
61613090703   13-Mar-2019 02:25:15 AM PDT   $19.00
61613413559   13-Mar-2019 07:30:15 AM PDT   $19.00
61613750872   13-Mar-2019 09:59:32 AM PDT   $19.00
61615029915   14-Mar-2019 02:29:55 AM PDT   $19.00
61615029926   14-Mar-2019 02:29:55 AM PDT   $19.00
61615029936   14-Mar-2019 02:29:56 AM PDT   $19.00
61615029978   14-Mar-2019 02:29:57 AM PDT   $19.00
61615029979   14-Mar-2019 02:29:57 AM PDT   $19.00
61615029982   14-Mar-2019 02:29:57 AM PDT   $19.00
61615037535   14-Mar-2019 02:34:43 AM PDT   $19.00
61615037791   14-Mar-2019 02:34:51 AM PDT   $19.00
61615037810   14-Mar-2019 02:34:52 AM PDT   $19.00
61618020026   15-Mar-2019 04:27:26 AM PDT   $19.00
61618020812   15-Mar-2019 04:27:48 AM PDT   $19.00
61618880344   15-Mar-2019 09:59:36 AM PDT   $19.00
61618911483   15-Mar-2019 10:08:53 AM PDT   $19.00
61618913617   15-Mar-2019 10:09:31 AM PDT   $19.00
61619160053   15-Mar-2019 11:36:03 AM PDT   $19.00
61619296340   15-Mar-2019 12:20:20 PM PDT   $19.00
61619989879   15-Mar-2019 06:49:31 PM PDT   $27.00
61620184735   16-Mar-2019 04:13:38 AM PDT   $19.00
61620184792   16-Mar-2019 04:13:43 AM PDT   $19.00
61620190348   16-Mar-2019 04:22:22 AM PDT   $19.00
61620190400   16-Mar-2019 04:22:26 AM PDT   $19.00
61620190708   16-Mar-2019 04:22:53 AM PDT   $27.00


                                                                   Confidential
                                                                   AUTH00011
Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 104 of 460 PageID 181


61620347896   16-Mar-2019 07:33:42 AM PDT   $19.00
61620382090   16-Mar-2019 08:02:55 AM PDT   $19.00
61620394858   16-Mar-2019 08:11:29 AM PDT   $19.00
61620465637   16-Mar-2019 08:52:48 AM PDT   $19.00
61620699960   16-Mar-2019 11:29:17 AM PDT   $19.00
61621475154   17-Mar-2019 02:30:30 AM PDT   $19.00
61621475237   17-Mar-2019 02:30:33 AM PDT   $19.00
61621481200   17-Mar-2019 02:35:02 AM PDT   $19.00
61621481356   17-Mar-2019 02:35:08 AM PDT   $19.00
61621481439   17-Mar-2019 02:35:11 AM PDT   $19.00
61621481442   17-Mar-2019 02:35:11 AM PDT   $19.00
61621481443   17-Mar-2019 02:35:11 AM PDT   $19.00
61621481478   17-Mar-2019 02:35:12 AM PDT   $19.00
61621481598   17-Mar-2019 02:35:17 AM PDT   $19.00
61621620793   17-Mar-2019 06:45:53 AM PDT   $19.00
61621647888   17-Mar-2019 07:22:18 AM PDT   $19.00
61621737270   17-Mar-2019 08:46:28 AM PDT   $19.00
61621795876   17-Mar-2019 09:34:19 AM PDT   $19.00
61621878485   17-Mar-2019 10:47:37 AM PDT   $19.00
61621899131   17-Mar-2019 11:04:24 AM PDT   $19.00
61622005602   17-Mar-2019 12:36:41 PM PDT   $19.00
61622713429   18-Mar-2019 02:36:33 AM PDT   $19.00
61622719819   18-Mar-2019 02:40:52 AM PDT   $19.00
61622719830   18-Mar-2019 02:40:52 AM PDT   $19.00
61622719880   18-Mar-2019 02:40:54 AM PDT   $19.00
61622719930   18-Mar-2019 02:40:56 AM PDT   $19.00
61622719955   18-Mar-2019 02:40:57 AM PDT   $19.00
61622719978   18-Mar-2019 02:40:58 AM PDT   $19.00
61624517606   18-Mar-2019 06:15:01 PM PDT   $19.00
61624907900   19-Mar-2019 02:25:47 AM PDT   $19.00
61624907992   19-Mar-2019 02:25:51 AM PDT   $19.00
61624908122   19-Mar-2019 02:25:55 AM PDT   $19.00
61624912521   19-Mar-2019 02:29:27 AM PDT   $19.00
61624912524   19-Mar-2019 02:29:27 AM PDT   $19.00
61624912526   19-Mar-2019 02:29:27 AM PDT   $19.00
61624912532   19-Mar-2019 02:29:28 AM PDT   $19.00
61624912551   19-Mar-2019 02:29:28 AM PDT   $19.00
61624912565   19-Mar-2019 02:29:29 AM PDT   $19.00
61624912599   19-Mar-2019 02:29:30 AM PDT   $19.00
61624912611   19-Mar-2019 02:29:30 AM PDT   $19.00
61624912635   19-Mar-2019 02:29:31 AM PDT   $19.00
61624912687   19-Mar-2019 02:29:33 AM PDT   $19.00
61625345479   19-Mar-2019 08:10:16 AM PDT   $180.00
61625474622   19-Mar-2019 09:02:10 AM PDT   $19.00
61625698898   19-Mar-2019 10:37:00 AM PDT   $19.00
61625716156   19-Mar-2019 10:44:42 AM PDT   $19.00
61625731809   19-Mar-2019 10:51:38 AM PDT   $19.00


                                                                   Confidential
                                                                   AUTH00012
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61625923198   19-Mar-2019 12:12:34 PM PDT   $19.00
61625987216   19-Mar-2019 12:39:14 PM PDT   $19.00
61626031084   19-Mar-2019 12:56:44 PM PDT   $19.00
61627054780   20-Mar-2019 03:36:03 AM PDT   $19.00
61627063838   20-Mar-2019 03:41:08 AM PDT   $19.00
61627303008   20-Mar-2019 06:42:37 AM PDT   $19.00
61627639059   20-Mar-2019 09:06:05 AM PDT   $19.00
61627664649   20-Mar-2019 09:15:33 AM PDT   $19.00
61627751405   20-Mar-2019 09:50:01 AM PDT   $19.00
61627880914   20-Mar-2019 10:45:08 AM PDT   $19.00
61627908182   20-Mar-2019 10:57:27 AM PDT   $19.00
61627922503   20-Mar-2019 11:03:26 AM PDT   $19.00
61628772004   20-Mar-2019 06:37:14 PM PDT   $180.00
61629155109   21-Mar-2019 02:21:33 AM PDT   $19.00
61629155166   21-Mar-2019 02:21:34 AM PDT   $19.00
61629155199   21-Mar-2019 02:21:35 AM PDT   $19.00
61629155211   21-Mar-2019 02:21:36 AM PDT   $19.00
61629155219   21-Mar-2019 02:21:36 AM PDT   $19.00
61629163524   21-Mar-2019 02:26:22 AM PDT   $19.00
61629773860   21-Mar-2019 08:54:14 AM PDT   $19.00
61630084779   21-Mar-2019 11:06:04 AM PDT   $19.00
61630347322   21-Mar-2019 12:08:46 PM PDT   $19.00
61631999204   22-Mar-2019 02:24:21 AM PDT   $19.00
61631999388   22-Mar-2019 02:24:27 AM PDT   $19.00
61631999454   22-Mar-2019 02:24:29 AM PDT   $19.00
61632328744   22-Mar-2019 06:58:11 AM PDT   $19.00
61632434198   22-Mar-2019 07:47:10 AM PDT   $19.00
61632589637   22-Mar-2019 08:48:23 AM PDT   $19.00
61633482921   22-Mar-2019 03:15:53 PM PDT   $27.00
61633793468   22-Mar-2019 07:17:15 PM PDT   $180.00
61634161524   23-Mar-2019 03:39:18 AM PDT   $19.00
61634167978   23-Mar-2019 03:43:57 AM PDT   $19.00
61634249024   23-Mar-2019 05:58:04 AM PDT   $19.00
61634292788   23-Mar-2019 06:40:26 AM PDT   $19.00
61634318263   23-Mar-2019 07:08:18 AM PDT   $19.00
61634394655   23-Mar-2019 08:14:26 AM PDT   $19.00
61634464100   23-Mar-2019 08:58:50 AM PDT   $19.00
61634517981   23-Mar-2019 09:32:20 AM PDT   $19.00
61634534130   23-Mar-2019 09:44:25 AM PDT   $19.00
61634604173   23-Mar-2019 10:38:27 AM PDT   $19.00
61634658745   23-Mar-2019 11:18:14 AM PDT   $19.00
61634715402   23-Mar-2019 12:02:52 PM PDT   $19.00
61635396846   24-Mar-2019 03:19:03 AM PDT   $19.00
61635396852   24-Mar-2019 03:19:03 AM PDT   $19.00
61635396908   24-Mar-2019 03:19:05 AM PDT   $19.00
61635403402   24-Mar-2019 03:23:20 AM PDT   $19.00
61635403619   24-Mar-2019 03:23:29 AM PDT   $19.00


                                                                   Confidential
                                                                   AUTH00013
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61635403723   24-Mar-2019 03:23:33 AM PDT   $19.00
61635403788   24-Mar-2019 03:23:35 AM PDT   $19.00
61635403816   24-Mar-2019 03:23:36 AM PDT   $19.00
61635551958   24-Mar-2019 07:35:01 AM PDT   $19.00
61635561692   24-Mar-2019 07:47:38 AM PDT   $19.00
61635721920   24-Mar-2019 10:09:10 AM PDT   $19.00
61635873578   24-Mar-2019 12:28:55 PM PDT   $19.00
61636294501   24-Mar-2019 07:50:47 PM PDT   $19.00
61636616511   25-Mar-2019 03:40:57 AM PDT   $19.00
61636616517   25-Mar-2019 03:40:57 AM PDT   $19.00
61636626623   25-Mar-2019 03:46:59 AM PDT   $19.00
61637032581   25-Mar-2019 08:03:21 AM PDT   $180.00
61637976649   25-Mar-2019 02:10:43 PM PDT   $19.00
61638665257   26-Mar-2019 04:04:30 AM PDT   $19.00
61638665305   26-Mar-2019 04:04:34 AM PDT   $19.00
61638668906   26-Mar-2019 04:10:03 AM PDT   $19.00
61638668995   26-Mar-2019 04:10:13 AM PDT   $19.00
41264526955   26-Mar-2019 07:37:45 AM PDT   $19.00
61639787531   26-Mar-2019 05:17:47 PM PDT   $19.00
61640176565   27-Mar-2019 02:31:57 AM PDT   $19.00
61641224667   27-Mar-2019 12:32:36 PM PDT   $19.00
61641656439   27-Mar-2019 04:26:22 PM PDT   $330.00
61641702756   27-Mar-2019 05:01:22 PM PDT   $285.00
61641788059   27-Mar-2019 06:20:49 PM PDT   $200.00
61642194350   28-Mar-2019 02:57:16 AM PDT   $19.00
61642194415   28-Mar-2019 02:57:19 AM PDT   $19.00
61642194442   28-Mar-2019 02:57:20 AM PDT   $19.00
61642217242   28-Mar-2019 03:08:43 AM PDT   $19.00
61642217287   28-Mar-2019 03:08:44 AM PDT   $19.00
61644173619   29-Mar-2019 02:43:29 AM PDT   $19.00
61644178165   29-Mar-2019 02:46:05 AM PDT   $19.00
61646457532   30-Mar-2019 02:45:56 AM PDT   $19.00
61646457586   30-Mar-2019 02:45:58 AM PDT   $19.00
61646457636   30-Mar-2019 02:45:59 AM PDT   $19.00
61646457706   30-Mar-2019 02:46:02 AM PDT   $19.00
61646457826   30-Mar-2019 02:46:06 AM PDT   $19.00
61646461953   30-Mar-2019 02:49:02 AM PDT   $19.00
61647706990   31-Mar-2019 02:06:53 AM PDT   $19.00
61647706997   31-Mar-2019 02:06:54 AM PDT   $19.00
61647707007   31-Mar-2019 02:06:54 AM PDT   $19.00
61647707022   31-Mar-2019 02:06:55 AM PDT   $19.00
61647707057   31-Mar-2019 02:06:56 AM PDT   $19.00
61647707064   31-Mar-2019 02:06:56 AM PDT   $19.00
61647707083   31-Mar-2019 02:06:57 AM PDT   $19.00
61647707136   31-Mar-2019 02:06:59 AM PDT   $19.00
61647710187   31-Mar-2019 02:09:06 AM PDT   $19.00
61647710572   31-Mar-2019 02:09:20 AM PDT   $19.00


                                                                   Confidential
                                                                   AUTH00014
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61647710726   31-Mar-2019 02:09:27 AM PDT   $19.00
61649671646   01-Apr-2019 05:35:59 AM PDT   $19.00
61649671708   01-Apr-2019 05:36:00 AM PDT   $19.00
61649768546   01-Apr-2019 06:02:37 AM PDT   $19.00
61649768586   01-Apr-2019 06:02:37 AM PDT   $27.00
61649768881   01-Apr-2019 06:02:41 AM PDT   $19.00
61649769077   01-Apr-2019 06:02:43 AM PDT   $19.00
61649769478   01-Apr-2019 06:02:48 AM PDT   $19.00
61652277323   02-Apr-2019 03:14:07 AM PDT   $19.00
61652290565   02-Apr-2019 03:21:30 AM PDT   $19.00
61652290599   02-Apr-2019 03:21:31 AM PDT   $19.00
61652290617   02-Apr-2019 03:21:32 AM PDT   $27.00
61652290634   02-Apr-2019 03:21:32 AM PDT   $19.00
61653897061   02-Apr-2019 04:21:15 PM PDT   $19.00
61654426597   03-Apr-2019 02:35:49 AM PDT   $19.00
61654426688   03-Apr-2019 02:35:53 AM PDT   $19.00
61654426710   03-Apr-2019 02:35:53 AM PDT   $19.00
61656645453   04-Apr-2019 02:42:32 AM PDT   $19.00
61656645469   04-Apr-2019 02:42:33 AM PDT   $19.00
61656645495   04-Apr-2019 02:42:34 AM PDT   $19.00
61656645496   04-Apr-2019 02:42:34 AM PDT   $19.00
61656658250   04-Apr-2019 02:52:12 AM PDT   $19.00
61656658312   04-Apr-2019 02:52:15 AM PDT   $19.00
61656658571   04-Apr-2019 02:52:25 AM PDT   $19.00
61658637529   05-Apr-2019 04:16:38 AM PDT   $19.00
61658637817   05-Apr-2019 04:16:45 AM PDT   $19.00
61659271547   05-Apr-2019 08:58:01 AM PDT   $19.00
61662837728   07-Apr-2019 03:25:26 AM PDT   $19.00
61662837753   07-Apr-2019 03:25:27 AM PDT   $19.00
61662837786   07-Apr-2019 03:25:28 AM PDT   $19.00
61662837850   07-Apr-2019 03:25:30 AM PDT   $19.00
61662837881   07-Apr-2019 03:25:31 AM PDT   $19.00
61662838004   07-Apr-2019 03:25:36 AM PDT   $19.00
61662851139   07-Apr-2019 03:34:50 AM PDT   $19.00
61662851142   07-Apr-2019 03:34:50 AM PDT   $19.00
61662851363   07-Apr-2019 03:34:58 AM PDT   $19.00
61664518078   08-Apr-2019 02:39:15 AM PDT   $27.00
61664532137   08-Apr-2019 02:46:42 AM PDT   $19.00
61664532324   08-Apr-2019 02:46:47 AM PDT   $19.00
61666509215   08-Apr-2019 06:48:57 PM PDT   $19.00
61666811556   09-Apr-2019 02:13:53 AM PDT   $19.00
61666816690   09-Apr-2019 02:17:10 AM PDT   $19.00
61666816704   09-Apr-2019 02:17:11 AM PDT   $19.00
61666816744   09-Apr-2019 02:17:12 AM PDT   $19.00
61666816812   09-Apr-2019 02:17:14 AM PDT   $9.50
61666824080   09-Apr-2019 02:22:06 AM PDT   $19.00
61666824190   09-Apr-2019 02:22:10 AM PDT   $19.00


                                                                   Confidential
                                                                   AUTH00015
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61666824209   09-Apr-2019 02:22:11 AM PDT   $19.00
61666824243   09-Apr-2019 02:22:12 AM PDT   $19.00
61667470961   09-Apr-2019 09:35:22 AM PDT   $19.00
61669007028   10-Apr-2019 02:37:45 AM PDT   $19.00
61669007104   10-Apr-2019 02:37:48 AM PDT   $19.00
61669007208   10-Apr-2019 02:37:51 AM PDT   $19.00
61669007349   10-Apr-2019 02:37:56 AM PDT   $19.00
61669007432   10-Apr-2019 02:37:59 AM PDT   $19.00
61669459688   10-Apr-2019 07:52:19 AM PDT   $19.00
61671452236   11-Apr-2019 03:45:25 AM PDT   $19.00
61671452538   11-Apr-2019 03:45:36 AM PDT   $19.00
61671452834   11-Apr-2019 03:45:48 AM PDT   $19.00
61671457149   11-Apr-2019 03:48:29 AM PDT   $19.00
61671457158   11-Apr-2019 03:48:29 AM PDT   $19.00
61671457167   11-Apr-2019 03:48:29 AM PDT   $19.00
61671457189   11-Apr-2019 03:48:30 AM PDT   $19.00
61671457190   11-Apr-2019 03:48:30 AM PDT   $19.00
61671457194   11-Apr-2019 03:48:30 AM PDT   $19.00
61671457195   11-Apr-2019 03:48:30 AM PDT   $19.00
61671457230   11-Apr-2019 03:48:32 AM PDT   $19.00
61671470475   11-Apr-2019 03:56:58 AM PDT   $19.00
61671470516   11-Apr-2019 03:56:59 AM PDT   $19.00
61671470635   11-Apr-2019 03:57:03 AM PDT   $19.00
61671470740   11-Apr-2019 03:57:07 AM PDT   $19.00
61673379678   12-Apr-2019 03:52:39 AM PDT   $19.00
61673379860   12-Apr-2019 03:52:46 AM PDT   $19.00
61673379916   12-Apr-2019 03:52:48 AM PDT   $19.00
61673380210   12-Apr-2019 03:52:59 AM PDT   $19.00
61673399941   12-Apr-2019 04:03:23 AM PDT   $19.00
61673400301   12-Apr-2019 04:03:31 AM PDT   $19.00
61675327309   13-Apr-2019 03:05:11 AM PDT   $19.00
61675327456   13-Apr-2019 03:05:16 AM PDT   $19.00
61675327537   13-Apr-2019 03:05:18 AM PDT   $19.00
61675327858   13-Apr-2019 03:05:28 AM PDT   $19.00
61675327863   13-Apr-2019 03:05:28 AM PDT   $19.00
61675327886   13-Apr-2019 03:05:29 AM PDT   $19.00
61675332319   13-Apr-2019 03:07:59 AM PDT   $19.00
61675332422   13-Apr-2019 03:08:03 AM PDT   $19.00
61675332437   13-Apr-2019 03:08:03 AM PDT   $19.00
41294124560   14-Apr-2019 02:25:54 AM PDT   $19.00
41294124659   14-Apr-2019 02:25:58 AM PDT   $19.00
41294136906   14-Apr-2019 02:34:40 AM PDT   $19.00
41294136922   14-Apr-2019 02:34:40 AM PDT   $19.00
41294137081   14-Apr-2019 02:34:46 AM PDT   $19.00
41294137148   14-Apr-2019 02:34:49 AM PDT   $19.00
41294137560   14-Apr-2019 02:35:06 AM PDT   $27.00
61676749670   14-Apr-2019 09:54:10 AM PDT   $19.00


                                                                   Confidential
                                                                   AUTH00016
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41295694626   15-Apr-2019 04:34:45 AM PDT   $19.00
41295715273   15-Apr-2019 04:44:17 AM PDT   $19.00
41295715365   15-Apr-2019 04:44:20 AM PDT   $19.00
41295716132   15-Apr-2019 04:44:40 AM PDT   $27.00
41295749530   15-Apr-2019 04:59:34 AM PDT   $19.00
41295749573   15-Apr-2019 04:59:36 AM PDT   $19.00
41295749637   15-Apr-2019 04:59:37 AM PDT   $19.00
41295749916   15-Apr-2019 04:59:44 AM PDT   $19.00
41298145655   16-Apr-2019 02:41:26 AM PDT   $19.00
41298146157   16-Apr-2019 02:41:45 AM PDT   $19.00
41298151539   16-Apr-2019 02:45:19 AM PDT   $19.00
41298151613   16-Apr-2019 02:45:21 AM PDT   $19.00
41298151650   16-Apr-2019 02:45:23 AM PDT   $19.00
41298151654   16-Apr-2019 02:45:23 AM PDT   $19.00
41298151659   16-Apr-2019 02:45:23 AM PDT   $19.00
41298151715   16-Apr-2019 02:45:26 AM PDT   $19.00
41298160295   16-Apr-2019 02:51:13 AM PDT   $19.00
41298160299   16-Apr-2019 02:51:13 AM PDT   $19.00
41298160343   16-Apr-2019 02:51:14 AM PDT   $19.00
41298160367   16-Apr-2019 02:51:15 AM PDT   $19.00
41298160413   16-Apr-2019 02:51:17 AM PDT   $19.00
41298160417   16-Apr-2019 02:51:17 AM PDT   $19.00
41298160442   16-Apr-2019 02:51:18 AM PDT   $19.00
41299203238   16-Apr-2019 12:24:32 PM PDT   $1.00
41300325820   17-Apr-2019 03:18:44 AM PDT   $19.00
41300332345   17-Apr-2019 03:22:00 AM PDT   $19.00
41300332369   17-Apr-2019 03:22:01 AM PDT   $19.00
41300332390   17-Apr-2019 03:22:02 AM PDT   $19.00
41300332420   17-Apr-2019 03:22:03 AM PDT   $19.00
41300332422   17-Apr-2019 03:22:03 AM PDT   $19.00
41300332439   17-Apr-2019 03:22:03 AM PDT   $19.00
41300343715   17-Apr-2019 03:27:36 AM PDT   $19.00
61681710398   17-Apr-2019 09:59:11 AM PDT   $19.00
61681860128   17-Apr-2019 10:39:30 AM PDT   $19.00
41301843919   18-Apr-2019 03:10:27 AM PDT   $19.00
41301844440   18-Apr-2019 03:10:47 AM PDT   $19.00
41301844905   18-Apr-2019 03:11:06 AM PDT   $19.00
41301848838   18-Apr-2019 03:13:42 AM PDT   $19.00
41301848839   18-Apr-2019 03:13:42 AM PDT   $19.00
41301848840   18-Apr-2019 03:13:42 AM PDT   $19.00
41301848847   18-Apr-2019 03:13:42 AM PDT   $19.00
41301848848   18-Apr-2019 03:13:42 AM PDT   $19.00
41301848850   18-Apr-2019 03:13:42 AM PDT   $19.00
41301848867   18-Apr-2019 03:13:43 AM PDT   $19.00
41301848912   18-Apr-2019 03:13:45 AM PDT   $19.00
41301862222   18-Apr-2019 03:22:44 AM PDT   $19.00
41301862342   18-Apr-2019 03:22:49 AM PDT   $19.00


                                                                   Confidential
                                                                   AUTH00017
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41301862352   18-Apr-2019 03:22:49 AM PDT   $19.00
41301862373   18-Apr-2019 03:22:50 AM PDT   $19.00
41301862498   18-Apr-2019 03:22:55 AM PDT   $19.00
41301862558   18-Apr-2019 03:22:57 AM PDT   $19.00
61683627035   18-Apr-2019 09:47:07 AM PDT   $19.00
61683742665   18-Apr-2019 10:55:53 AM PDT   $35.00
61683966305   18-Apr-2019 12:59:35 PM PDT   $19.00
41303839349   19-Apr-2019 02:25:41 AM PDT   $19.00
41303843741   19-Apr-2019 02:28:42 AM PDT   $19.00
41303856837   19-Apr-2019 02:36:26 AM PDT   $19.00
41303857055   19-Apr-2019 02:36:34 AM PDT   $19.00
41303857129   19-Apr-2019 02:36:36 AM PDT   $19.00
41303857255   19-Apr-2019 02:36:41 AM PDT   $19.00
61685115883   19-Apr-2019 08:46:13 AM PDT   $19.00
61685182150   19-Apr-2019 09:20:09 AM PDT   $19.00
61685209485   19-Apr-2019 09:33:47 AM PDT   $19.00
61685456405   19-Apr-2019 11:58:20 AM PDT   $19.00
61685497091   19-Apr-2019 12:17:27 PM PDT   $19.00
41305745192   20-Apr-2019 03:19:18 AM PDT   $19.00
41305745382   20-Apr-2019 03:19:25 AM PDT   $19.00
41305745523   20-Apr-2019 03:19:31 AM PDT   $19.00
41305745603   20-Apr-2019 03:19:35 AM PDT   $19.00
41305745637   20-Apr-2019 03:19:36 AM PDT   $19.00
41305767982   20-Apr-2019 03:32:39 AM PDT   $19.00
41305768376   20-Apr-2019 03:32:54 AM PDT   $19.00
61686635495   20-Apr-2019 06:30:09 AM PDT   $19.00
61686645487   20-Apr-2019 06:43:37 AM PDT   $19.00
61686684569   20-Apr-2019 07:27:58 AM PDT   $19.00
61686695073   20-Apr-2019 07:39:02 AM PDT   $27.00
61686804104   20-Apr-2019 09:02:21 AM PDT   $19.00
61686850333   20-Apr-2019 09:35:15 AM PDT   $19.00
61686854749   20-Apr-2019 09:39:19 AM PDT   $19.00
61686902567   20-Apr-2019 10:21:40 AM PDT   $19.00
61686927314   20-Apr-2019 10:45:25 AM PDT   $19.00
61687165837   20-Apr-2019 02:34:18 PM PDT   $19.00
61687272008   20-Apr-2019 04:45:43 PM PDT   $19.00
41307015269   21-Apr-2019 03:14:22 AM PDT   $19.00
41307015344   21-Apr-2019 03:14:25 AM PDT   $19.00
41307015375   21-Apr-2019 03:14:26 AM PDT   $19.00
41307028249   21-Apr-2019 03:23:07 AM PDT   $19.00
41307028299   21-Apr-2019 03:23:09 AM PDT   $19.00
41307028378   21-Apr-2019 03:23:13 AM PDT   $19.00
41307028843   21-Apr-2019 03:23:32 AM PDT   $27.00
61687708543   21-Apr-2019 07:53:44 AM PDT   $19.00
61687844772   21-Apr-2019 10:36:33 AM PDT   $19.00
61687876522   21-Apr-2019 11:17:21 AM PDT   $19.00
41308010476   22-Apr-2019 02:20:57 AM PDT   $19.00


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                                                                   AUTH00018
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41308015554   22-Apr-2019 02:24:22 AM PDT   $19.00
41308025958   22-Apr-2019 02:31:51 AM PDT   $19.00
41308025972   22-Apr-2019 02:31:52 AM PDT   $19.00
41308025986   22-Apr-2019 02:31:53 AM PDT   $19.00
41308026036   22-Apr-2019 02:31:55 AM PDT   $19.00
41308026076   22-Apr-2019 02:31:56 AM PDT   $19.00
41308026111   22-Apr-2019 02:31:58 AM PDT   $19.00
41308026157   22-Apr-2019 02:31:59 AM PDT   $19.00
41308026190   22-Apr-2019 02:32:00 AM PDT   $19.00
41308026216   22-Apr-2019 02:32:01 AM PDT   $19.00
41308852812   22-Apr-2019 10:38:45 AM PDT   $19.00
41310126060   23-Apr-2019 03:02:22 AM PDT   $19.00
41310126081   23-Apr-2019 03:02:23 AM PDT   $19.00
41310126462   23-Apr-2019 03:02:36 AM PDT   $19.00
41310131509   23-Apr-2019 03:05:38 AM PDT   $19.00
41310131593   23-Apr-2019 03:05:41 AM PDT   $19.00
41310131626   23-Apr-2019 03:05:42 AM PDT   $19.00
41310131649   23-Apr-2019 03:05:43 AM PDT   $19.00
41310131674   23-Apr-2019 03:05:43 AM PDT   $19.00
41310139219   23-Apr-2019 03:10:25 AM PDT   $19.00
41310139231   23-Apr-2019 03:10:26 AM PDT   $19.00
41310139297   23-Apr-2019 03:10:28 AM PDT   $19.00
41310139363   23-Apr-2019 03:10:30 AM PDT   $19.00
61691605179   23-Apr-2019 07:12:42 PM PDT   $19.00
41311882625   24-Apr-2019 03:15:37 AM PDT   $19.00
41311882651   24-Apr-2019 03:15:38 AM PDT   $19.00
41311885711   24-Apr-2019 03:20:09 AM PDT   $19.00
41311891458   24-Apr-2019 03:28:09 AM PDT   $19.00
61692437496   24-Apr-2019 06:25:09 AM PDT   $27.00
61692707609   24-Apr-2019 08:47:25 AM PDT   $19.00
61692801691   24-Apr-2019 09:35:56 AM PDT   $19.00
61692936286   24-Apr-2019 10:43:11 AM PDT   $19.00
61693082516   24-Apr-2019 11:20:56 AM PDT   $19.00
41313915498   25-Apr-2019 02:55:45 AM PDT   $19.00
41313915864   25-Apr-2019 02:56:01 AM PDT   $19.00
41313921123   25-Apr-2019 02:59:52 AM PDT   $19.00
41313921163   25-Apr-2019 02:59:54 AM PDT   $19.00
41313938883   25-Apr-2019 03:11:17 AM PDT   $19.00
61694792734   25-Apr-2019 10:03:18 AM PDT   $35.00
41316200398   26-Apr-2019 02:28:13 AM PDT   $19.00
41316222813   26-Apr-2019 02:39:22 AM PDT   $19.00
41317164993   26-Apr-2019 08:13:21 AM PDT   $19.00
61695912365   26-Apr-2019 10:51:41 AM PDT   $19.00
61696046940   26-Apr-2019 12:07:43 PM PDT   $19.00
41318882127   27-Apr-2019 02:29:31 AM PDT   $19.00
41318882346   27-Apr-2019 02:29:41 AM PDT   $19.00
41318882450   27-Apr-2019 02:29:46 AM PDT   $19.00


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41318887015   27-Apr-2019 02:32:58 AM PDT   $19.00
61697084148   27-Apr-2019 08:48:51 AM PDT   $19.00
41319276570   27-Apr-2019 09:20:57 AM PDT   $19.00
41319317456   27-Apr-2019 09:35:56 AM PDT   $19.00
41319401999   27-Apr-2019 10:07:13 AM PDT   $19.00
41319856064   27-Apr-2019 12:56:11 PM PDT   $19.00
41320261128   27-Apr-2019 03:54:09 PM PDT   $19.00
41321218042   28-Apr-2019 03:33:30 AM PDT   $19.00
41321236009   28-Apr-2019 03:43:02 AM PDT   $19.00
41321766574   28-Apr-2019 09:06:15 AM PDT   $19.00
41321889290   28-Apr-2019 09:57:29 AM PDT   $19.00
41323222530   29-Apr-2019 02:13:35 AM PDT   $19.00
41323222607   29-Apr-2019 02:13:38 AM PDT   $19.00
41323222754   29-Apr-2019 02:13:44 AM PDT   $19.00
41323222991   29-Apr-2019 02:13:55 AM PDT   $19.00
41323223254   29-Apr-2019 02:14:06 AM PDT   $19.00
41323224895   29-Apr-2019 02:15:12 AM PDT   $19.00
41325436804   30-Apr-2019 03:17:07 AM PDT   $19.00
41325436829   30-Apr-2019 03:17:08 AM PDT   $19.00
41325436869   30-Apr-2019 03:17:10 AM PDT   $19.00
41325436967   30-Apr-2019 03:17:14 AM PDT   $19.00
41325437126   30-Apr-2019 03:17:20 AM PDT   $19.00
41325437205   30-Apr-2019 03:17:23 AM PDT   $19.00
41325437578   30-Apr-2019 03:17:37 AM PDT   $19.00
41325443443   30-Apr-2019 03:21:28 AM PDT   $19.00
61699765777   30-Apr-2019 09:58:17 AM PDT   $19.00
61700222235   30-Apr-2019 01:52:46 PM PDT   $19.00
61700510227   30-Apr-2019 05:15:02 PM PDT   $19.00
61700606525   30-Apr-2019 06:42:28 PM PDT   $19.00
41328402161   01-May-2019 05:31:04 AM PDT   $19.00
41328402198   01-May-2019 05:31:05 AM PDT   $19.00
41328481818   01-May-2019 05:52:19 AM PDT   $19.00
41328481833   01-May-2019 05:52:19 AM PDT   $27.00
41328481998   01-May-2019 05:52:21 AM PDT   $19.00
41328482093   01-May-2019 05:52:23 AM PDT   $19.00
41328482306   01-May-2019 05:52:26 AM PDT   $19.00
61701593573   01-May-2019 07:27:01 AM PDT   $19.00
61702306124   01-May-2019 12:01:05 PM PDT   $19.00
41331692886   02-May-2019 02:52:51 AM PDT   $19.00
41331700198   02-May-2019 02:58:10 AM PDT   $19.00
41331700213   02-May-2019 02:58:11 AM PDT   $19.00
41331700226   02-May-2019 02:58:12 AM PDT   $27.00
41331700236   02-May-2019 02:58:12 AM PDT   $19.00
41331712104   02-May-2019 03:04:37 AM PDT   $19.00
61703278193   02-May-2019 08:59:32 AM PDT   $19.00
61703617711   02-May-2019 11:58:16 AM PDT   $19.00
41333868607   03-May-2019 02:40:57 AM PDT   $19.00


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41333868640   03-May-2019 02:40:59 AM PDT   $19.00
41333868704   03-May-2019 02:41:01 AM PDT   $19.00
61704868428   03-May-2019 07:22:12 AM PDT   $19.00
61705387595   03-May-2019 11:27:05 AM PDT   $19.00
41336170354   04-May-2019 02:29:16 AM PDT   $19.00
41336170376   04-May-2019 02:29:17 AM PDT   $19.00
41336170392   04-May-2019 02:29:18 AM PDT   $19.00
41336170396   04-May-2019 02:29:18 AM PDT   $19.00
41336179438   04-May-2019 02:35:59 AM PDT   $19.00
41336179492   04-May-2019 02:36:01 AM PDT   $19.00
41336179651   04-May-2019 02:36:07 AM PDT   $19.00
41336867120   04-May-2019 10:48:56 AM PDT   $19.00
41336954775   04-May-2019 11:21:35 AM PDT   $19.00
41336960012   04-May-2019 11:23:15 AM PDT   $19.00
41338480436   05-May-2019 02:51:50 AM PDT   $19.00
41338480595   05-May-2019 02:51:55 AM PDT   $19.00
41338510387   05-May-2019 03:06:12 AM PDT   $19.00
41339309462   05-May-2019 10:56:47 AM PDT   $19.00
41339429215   05-May-2019 11:47:05 AM PDT   $19.00
41339511861   05-May-2019 12:23:35 PM PDT   $19.00
41342542103   07-May-2019 02:28:18 AM PDT   $19.00
41342542111   07-May-2019 02:28:19 AM PDT   $19.00
41342542151   07-May-2019 02:28:20 AM PDT   $19.00
41342542202   07-May-2019 02:28:22 AM PDT   $19.00
41342542233   07-May-2019 02:28:23 AM PDT   $19.00
41342542334   07-May-2019 02:28:27 AM PDT   $19.00
41342552116   07-May-2019 02:35:15 AM PDT   $19.00
41342552123   07-May-2019 02:35:15 AM PDT   $19.00
41342552279   07-May-2019 02:35:21 AM PDT   $19.00
61716391697   07-May-2019 01:49:36 PM PDT   $19.00
41344569263   08-May-2019 02:33:27 AM PDT   $27.00
41346772353   09-May-2019 03:02:45 AM PDT   $19.00
41346779059   09-May-2019 03:05:49 AM PDT   $19.00
41346779065   09-May-2019 03:05:49 AM PDT   $19.00
41346779136   09-May-2019 03:05:50 AM PDT   $19.00
41346779239   09-May-2019 03:05:52 AM PDT   $9.50
41346787552   09-May-2019 03:09:48 AM PDT   $19.00
41346787637   09-May-2019 03:09:51 AM PDT   $19.00
41346787648   09-May-2019 03:09:51 AM PDT   $19.00
41346787697   09-May-2019 03:09:52 AM PDT   $19.00
41346794711   09-May-2019 03:12:50 AM PDT   $19.00




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                EXHIBIT
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                   A                                         B
 1   account_id                acct_              l2pD
 2   business_dba              oneboxtv
 3   business_legal_name       one box tv llc
 4   phone_number              [+18777484336]
 5   address_line1             5726 Cortez Rd W NUM 134
 6   address_line2             Bradenton
 7   state                     FL
 8   postal_code               [34210]
 9   url                       oneboxtv.com
10   product_description       Web Site Hosting and Support monthly
11   company_rep_first         Donna
12   company_rep_last          Fogle
13   company_rep_dob           [1958‐       ]
14   owner_email               sales@oneboxtv.com
15   account_opening_date      2018‐11‐05T20:14:36.32Z
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                A                         B                     C                   D                                    E                                        F           G
 1 account_id                 date_and_time              amount_cents          currency   issuing_bank                                   redacted_card_number           description
 2                  l2pD      2018‐11‐06T20:22:50.152Z                  1900   usd        Canadian Imperial Bank of Commerce                                  1723      null
 3                  l2pD      2018‐11‐06T20:48:37.924Z                  1900   usd        Capital One Bank (Usa), National Association                     5698         null
 4                  l2pD      2018‐11‐07T15:37:59.192Z                  1900   usd        CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION                       3981       null
 5                  l2pD      2018‐11‐07T16:28:32.715Z                  1900   usd        USAA Federal Savings Bank                                              0569   null
 6                  l2pD      2018‐11‐07T17:25:32.988Z                  1900   usd        Bank of America ‐ Consumer Credit                                   9691      null
 7                  l2pD      2018‐11‐07T17:51:38.931Z                  1900   usd        Bank of America ‐ Consumer Credit                                   2555      null
 8                  l2pD      2018‐11‐07T18:54:41.991Z                  1900   usd        null                                                               1007       null
 9                  l2pD      2018‐11‐07T19:40:59.398Z                  1900   usd        CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION                         5097     null
10                  l2pD      2018‐11‐08T16:21:41.162Z                  1900   usd        Bank of America ‐ Consumer Credit                                  5784       null
11                  l2pD      2018‐11‐08T16:41:12.085Z                  1900   usd        Bank of America ‐ Consumer Credit                                     2927    null
12                  l2pD      2018‐11‐08T17:10:16.52Z                   1900   usd        The Peoples State Bank                                                0274    null
13                  l2pD      2018‐11‐08T17:25:59.12Z                   1900   usd        Wells Fargo Bank, National Association                             6665       null
14                  l2pD      2018‐11‐08T20:48:19.035Z                  1900   usd        JPMorgan Chase Bank N.A.                                             0872     null
15                  l2pD      2018‐11‐09T14:53:17.853Z                  1900   usd        CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION                       3981       null
16                  l2pD      2018‐11‐09T15:05:18.959Z                  1900   usd        Wells Fargo Bank, National Association                             7151       null
17                  l2pD      2018‐11‐09T17:40:26.73Z                   1900   usd        Capital One Bank (Usa), National Association                      5112        null
18                  l2pD      2018‐11‐09T18:40:44.952Z                  1900   usd        JPMorgan Chase Bank N.A.                                         6922         null
19                  l2pD      2018‐11‐09T19:22:17.24Z                   1900   usd        RBC Bank, (Georgia) National Association                             8247     null
20                  l2pD      2018‐11‐09T20:11:54.794Z                  1900   usd        CHEMICAL BANK                                                     1509        null
21                  l2pD      2018‐11‐09T20:37:07.447Z                  1900   usd        CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION                       9672       null
22                  l2pD      2018‐11‐10T14:31:40.014Z                  2700   usd        JPMorgan Chase Bank N.A. ‐ Debit                                    6822      null
23                  l2pD      2018‐11‐10T20:07:03.934Z                  1900   usd        Sutton Bank                                                      3679         null
24                  l2pD      2018‐11‐11T15:19:22.272Z                  1900   usd        RBC Bank, (Georgia) National Association                            2383      null
25                  l2pD      2018‐11‐11T16:21:05.148Z                  1900   usd        Bank of America ‐ Consumer Credit                                8581         null
26                  l2pD      2018‐11‐11T16:53:03.188Z                  1900   usd        CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION                         3704     null
27                  l2pD      2018‐11‐11T17:21:32.876Z                  2700   usd        Canadian Imperial Bank of Commerce                                l3495       null
28                  l2pD      2018‐11‐11T19:09:18.022Z                  1900   usd        FIFTH THIRD BANK, THE                                               2316      null
29                  l2pD      2018‐11‐13T16:06:05.263Z                  1900   usd        The Bank of Nova Scotia                                              7014     null
30                  l2pD      2018‐11‐13T16:49:23.323Z                  1900   usd        Publix Employees Federal Credit Union                               8951      null
31                  l2pD      2018‐11‐14T14:11:18.73Z                   1900   usd        U.S. Bank National Association‐Credit                                4428     null
32                  l2pD      2018‐11‐14T17:21:16.051Z                  1900   usd        JPMorgan Chase Bank N.A.                                             0541     null
33                  l2pD      2018‐11‐14T17:30:59.739Z                  2700   usd        CENTRAL TRUST BANK, THE                                            2139       null
34                  l2pD      2018‐11‐14T17:37:20.366Z                  1900   usd        CENTRAL TRUST BANK, THE                                             6188      null
35                  l2pD      2018‐11‐14T18:28:50.463Z                  1900   usd        Bank of America ‐ Consumer Credit                                  3675       null
36                  l2pD      2018‐11‐14T19:15:08.803Z                  1900   usd        JPMorgan Chase Bank N.A. ‐ Debit                                   3800       null
37                  l2pD      2018‐11‐15T18:34:30.996Z                  1900   usd        null                                                              1120        null
38                  l2pD      2018‐11‐15T19:44:39.365Z                  1900   usd        FIFTH THIRD BANK, THE                                              8490       null
39                  l2pD      2018‐11‐17T14:50:46.594Z                  1900   usd        null                                                               8907       null
40                  l2pD      2018‐11‐17T15:28:29.282Z                  1900   usd        USAA Savings Bank                                                    0296     null
41                  l2pD      2018‐11‐17T15:55:16.533Z                  1900   usd        Bank of America, National Association                                 7253    null
42                  l2pD      2018‐11‐17T19:04:44.773Z                  1900   usd        null                                                                 6001     null
43                  l2pD      2018‐11‐17T19:20:19.959Z                  1900   usd        Capital One Bank (Usa), National Association                         8647     null
44                  l2pD      2018‐11‐18T13:08:35.89Z                   1900   usd        CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION                       6493       null
45                  l2pD      2018‐11‐18T15:13:43.909Z                  1900   usd        Wells Fargo Bank, National Association                                 4205   null
46                  l2pD      2018‐11‐18T16:04:41.581Z                  1900   usd        TD Bank, National Association                                         1687    null
47                  l2pD      2018‐11‐18T18:46:04.175Z                  1900   usd        Ameris Bank                                                      9560         null
48                  l2pD      2018‐11‐18T21:22:16.774Z                  1900   usd        JPMorgan Chase Bank N.A.                                            2373      null
49                  l2pD      2018‐11‐20T15:52:25.263Z                  1900   usd        FIFTH THIRD BANK, THE                                              7337       null
50                  l2pD      2018‐11‐20T16:41:23.904Z                  1900   usd        JPMorgan Chase Bank N.A.                                        9090          null
51                  l2pD      2018‐11‐20T20:46:16.563Z                  1900   usd        Trellance, Inc.                                                     7747      null
52                  l2pD      2018‐11‐20T20:48:11.978Z                  1900   usd        BANK OF AMERICA, NATIONAL ASSOCIATION                               0255      null
53                  l2pD      2018‐11‐21T16:50:39.354Z                  1900   usd        Wells Fargo Bank, National Association                               6848     null
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      A                         B              C                D                                  E                     F            G
 54       l2pD      2018‐11‐21T16:53:41.272Z       1900   usd       CITIBANK N.A.                                  7344        null
 55       l2pD      2018‐11‐21T19:40:30.184Z       1900   usd       null                                               3089    null
 56       l2pD      2018‐11‐23T14:08:50.01Z        1900   usd       USAA Savings Bank                                 5424     null
 57       l2pD      2018‐11‐23T15:03:27.892Z       1900   usd       JPMorgan Chase Bank N.A.                            4202   null
 58       l2pD      2018‐11‐23T20:03:34.874Z       1900   usd       Citibank, N.A.‐ Costco                            6805     null
 59       l2pD      2018‐11‐24T15:07:39.044Z       1900   usd       EMPOWER FEDERAL CREDIT UNION                      8073     null
 60       l2pD      2018‐11‐24T16:17:50.995Z       1900   usd       Citibank, N.A.‐ Costco                            9757     null
 61       l2pD      2018‐11‐24T19:07:31.756Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION     6763      null
 62       l2pD      2018‐11‐24T20:00:40.778Z       1900   usd       Navy Federal Credit Union                          2663    null
 63       l2pD      2018‐11‐25T01:45:25.9Z         1900   usd       Citibank, N.A.‐ Costco                            4667     null
 64       l2pD      2018‐11‐25T15:03:41.32Z        1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION             0527     null
 65       l2pD      2018‐11‐25T17:24:42.171Z       1900   usd       Branch Banking and Trust Company                7108       null
 66       l2pD      2018‐11‐25T19:07:33.374Z       1900   usd       U.S. Bank National Association‐Credit             5663     null
 67       l2pD      2018‐11‐27T05:18:03.59Z          95   usd       Santander UK Plc                                    6482   null
 68       l2pD      2018‐11‐27T15:20:56.38Z        1900   usd       JPMorgan Chase Bank N.A.                          3823     null
 69       l2pD      2018‐11‐27T15:44:20.31Z        1900   usd       JPMorgan Chase Bank N.A.                         0847      null
 70       l2pD      2018‐11‐27T15:50:12.33Z        1900   usd       Bank of America ‐ Consumer Credit                 0057     null
 71       l2pD      2018‐11‐27T16:14:57.125Z       1900   usd       JPMorgan Chase Bank N.A.                         2327      null
 72       l2pD      2018‐11‐27T16:34:23.109Z       1900   usd       PNC Bank, National Association                   0309      null
 73       l2pD      2018‐11‐27T17:56:04.931Z       1900   usd       Bank of America ‐ Consumer Credit                6674      null
 74       l2pD      2018‐11‐27T20:23:12.196Z       1900   usd       JACK HENRY & ASSOCIATES                           3603     null
 75       l2pD      2018‐11‐28T19:32:05.687Z       1900   usd       USAA Savings Bank                                 9494     null
 76       l2pD      2018‐11‐29T04:48:29.62Z          50   usd       Santander UK Plc                                    6482   null
 77       l2pD      2018‐11‐29T07:44:56.097Z         57   usd       Santander UK Plc                                    6482   null
 78       l2pD      2018‐11‐29T07:49:07.461Z         54   usd       Santander UK Plc                                    6482   null
 79       l2pD      2018‐11‐29T17:15:35.227Z       1900   usd       Barclays Bank Delaware                           1297      null
 80       l2pD      2018‐11‐29T17:20:47.76Z        1900   usd       null                                              2287     null
 81       l2pD      2018‐11‐29T17:29:59.236Z       1900   usd       GTE FEDERAL CREDIT UNION                            0223   null
 82       l2pD      2018‐11‐29T18:13:09.867Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION    6073       null
 83       l2pD      2018‐11‐30T15:51:01.561Z       1900   usd       Bank of America ‐ Consumer Credit                2557      null
 84       l2pD      2018‐11‐30T15:59:00.98Z        1900   usd       TEACHERS CREDIT UNION                             3179     null
 85       l2pD      2018‐11‐30T16:09:08.831Z       1900   usd       Capital One Bank (Usa), National Association      8560     null
 86       l2pD      2018‐11‐30T17:15:24.852Z       1900   usd       SUNTRUST BANK                                      0114    null
 87       l2pD      2018‐11‐30T17:30:28.123Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION            6615      null
 88       l2pD      2018‐11‐30T18:52:01.919Z       1900   usd       FIFTH THIRD BANK, THE                             6398     null
 89       l2pD      2018‐11‐30T19:46:51.682Z       1900   usd       null                                               2303    null
 90       l2pD      2018‐11‐30T19:52:35.857Z       1900   usd       FirstBank                                       2282       null
 91       l2pD      2018‐11‐30T20:58:38.904Z       1900   usd       PSCU INCORPORATED                                  7156    null
 92       l2pD      2018‐12‐01T13:36:03.349Z       1900   usd       First National Bank of Omaha                       6907    null
 93       l2pD      2018‐12‐01T15:04:50.137Z       1900   usd       Corning Federal Credit Union                      1378     null
 94       l2pD      2018‐12‐01T18:27:13.117Z       1900   usd       BMO HARRIS BANK N.A.                               6771    null
 95       l2pD      2018‐12‐01T18:32:31.057Z       1900   usd       Bank of America ‐ Consumer Credit                 4731     null
 96       l2pD      2018‐12‐01T18:56:04.569Z       1900   usd       null                                             2004      null
 97       l2pD      2018‐12‐01T19:25:32.318Z       1900   usd       null                                             2004      null
 98       l2pD      2018‐12‐01T19:35:05.218Z       1900   usd       BARCLAYS BANK DELAWARE                          2515       null
 99       l2pD      2018‐12‐02T17:08:02.563Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION       1936    null
100       l2pD      2018‐12‐02T17:51:46.816Z       1900   usd       Branch Banking and Trust Company                   1206    null
101       l2pD      2018‐12‐02T18:05:52.455Z       1900   usd       Metabank                                         8104      null
102       l2pD      2018‐12‐02T18:18:47.212Z       1900   usd       PNC Bank, National Association                  9385       null
103       l2pD      2018‐12‐02T20:01:46.336Z       1900   usd       Maine State Credit Union                           7464    null
104       l2pD      2018‐12‐02T20:24:37.112Z       1900   usd       Wells Fargo Bank, National Association           6608      null
105       l2pD      2018‐12‐04T01:34:31.468Z       1900   usd       FIRST NATIONAL BANK OF OMAHA                   2040        null
106       l2pD      2018‐12‐04T16:40:47.771Z       1900   usd       BMO HARRIS BANK N.A.                            2088       null
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      A                         B              C                D                                  E                       F            G
107       l2pD      2018‐12‐04T16:42:30.495Z       1900   usd       Bank of America ‐ Consumer Credit                  6543      null
108       l2pD      2018‐12‐04T17:23:52.758Z        950   usd       Wells Fargo Bank, National Association         5749          null
109       l2pD      2018‐12‐04T19:30:07.206Z       1900   usd       Financial Plus Credit Union                        4019      null
110       l2pD      2018‐12‐05T14:39:33.762Z       1900   usd       The Toronto‐Dominion Bank                         6405       null
111       l2pD      2018‐12‐05T14:41:40.919Z       1900   usd       First Financial Bank                           5861          null
112       l2pD      2018‐12‐05T17:13:18.612Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                    9620     null
113       l2pD      2018‐12‐05T17:37:10.858Z       1900   usd       FIFTH THIRD BANK, THE                               5071     null
114       l2pD      2018‐12‐05T19:01:31.345Z       1900   usd       null                                             8448        null
115       l2pD      2018‐12‐05T20:02:41.335Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION         5216    null
116       l2pD      2018‐12‐06T18:02:12.238Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION         2534    null
117       l2pD      2018‐12‐06T21:54:55.122Z       1900   usd       Capital One Bank (Usa), National Association   5698          null
118       l2pD      2018‐12‐07T15:16:30.645Z       1900   usd       JPMorgan Chase Bank N.A.                          1778       null
119       l2pD      2018‐12‐07T17:13:25.223Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION     3981        null
120       l2pD      2018‐12‐07T17:41:58.64Z        1900   usd       USAA Federal Savings Bank                             0569   null
121       l2pD      2018‐12‐07T18:27:57.787Z       1900   usd       Bank of America ‐ Consumer Credit                 9691       null
122       l2pD      2018‐12‐07T19:08:22.633Z       1900   usd       Navy Federal Credit Union                        6274        null
123       l2pD      2018‐12‐07T19:56:48.254Z       1900   usd       null                                             1007        null
124       l2pD      2018‐12‐07T20:17:59.93Z        1900   usd       JPMorgan Chase Bank N.A.                           3892      null
125       l2pD      2018‐12‐07T20:49:37.801Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION       5097      null
126       l2pD      2018‐12‐08T16:31:13.219Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                   8486      null
127       l2pD      2018‐12‐08T17:46:57.675Z       1900   usd       Bank of America ‐ Consumer Credit                   2927     null
128       l2pD      2018‐12‐08T18:00:27.315Z       1900   usd       null                                            1009         null
129       l2pD      2018‐12‐08T18:02:15.329Z       1900   usd       Citizens Bank, National Association                 4505     null
130       l2pD      2018‐12‐08T18:08:24.517Z       1900   usd       Citibank, N.A.‐ Costco                             8645      null
131       l2pD      2018‐12‐08T18:26:29.154Z       1900   usd       The Peoples State Bank                               0274    null
132       l2pD      2018‐12‐08T18:45:31.723Z       1900   usd       Wells Fargo Bank, National Association           6665        null
133       l2pD      2018‐12‐08T19:04:09.347Z       1900   usd       JPMorgan Chase Bank N.A.                            7062     null
134       l2pD      2018‐12‐08T19:16:19.409Z       1900   usd       SYNCHRONY BANK                                   4850        null
135       l2pD      2018‐12‐08T20:07:51.521Z       1900   usd       Wells Fargo Bank, National Association           4414        null
136       l2pD      2018‐12‐08T22:03:36.473Z       1900   usd       JPMorgan Chase Bank N.A.                           0872      null
137       l2pD      2018‐12‐09T15:36:18.435Z       1900   usd       JPMorgan Chase Bank N.A.                         3539        null
138       l2pD      2018‐12‐09T16:07:29.944Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION     3981        null
139       l2pD      2018‐12‐09T16:23:03.516Z       1900   usd       Wells Fargo Bank, National Association            7151       null
140       l2pD      2018‐12‐09T17:25:10.251Z       1900   usd       Barclays Bank Delaware                           5671        null
141       l2pD      2018‐12‐09T18:42:33.275Z       1900   usd       Capital One Bank (Usa), National Association    5112         null
142       l2pD      2018‐12‐09T19:51:55.174Z       1900   usd       JPMorgan Chase Bank N.A.                       6922          null
143       l2pD      2018‐12‐09T20:19:18.729Z       1900   usd       Citibank, N.A.‐ Costco                            8962       null
144       l2pD      2018‐12‐09T20:27:01.204Z       1900   usd       RBC Bank, (Georgia) National Association            8247     null
145       l2pD      2018‐12‐09T21:19:18.197Z       1900   usd       CHEMICAL BANK                                   1509         null
146       l2pD      2018‐12‐09T21:53:16.009Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION     9672        null
147       l2pD      2018‐12‐10T01:05:29.679Z       1900   usd       Citibank, N.A.‐ Costco                             7151      null
148       l2pD      2018‐12‐10T15:34:35.453Z       2700   usd       JPMorgan Chase Bank N.A. ‐ Debit                  6822       null
149       l2pD      2018‐12‐10T21:31:34.985Z       1900   usd       Sutton Bank                                     3679         null
150       l2pD      2018‐12‐11T16:33:38.773Z       1900   usd       RBC Bank, (Georgia) National Association          2383       null
151       l2pD      2018‐12‐11T17:32:10.227Z       1900   usd       Bank of America ‐ Consumer Credit              8581          null
152       l2pD      2018‐12‐11T18:26:13.388Z       2700   usd       Canadian Imperial Bank of Commerce               3495        null
153       l2pD      2018‐12‐11T18:31:43.836Z       1900   usd       Wells Fargo Bank, National Association           0326        null
154       l2pD      2018‐12‐11T20:13:07.12Z        1900   usd       FIFTH THIRD BANK, THE                             2316       null
155       l2pD      2018‐12‐12T16:24:44.532Z       1900   usd       BMO HARRIS BANK N.A.                              0386       null
156       l2pD      2018‐12‐12T18:10:17.357Z       1900   usd       SUNTRUST BANK                                      4312      null
157       l2pD      2018‐12‐12T18:59:16.619Z       1900   usd       Metabank                                             6060    null
158       l2pD      2018‐12‐13T17:07:58.775Z       1900   usd       USAA Federal Savings Bank                             6025   null
159       l2pD      2018‐12‐13T17:09:47.967Z       1900   usd       The Bank of Nova Scotia                            7014      null
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      A                         B              C                D                                  E                      F            G
160       l2pD      2018‐12‐13T17:28:00.671Z       1900   usd       Wells Fargo Bank, National Association            3596      null
161       l2pD      2018‐12‐13T18:01:15.387Z       1900   usd       Publix Employees Federal Credit Union             8951      null
162       l2pD      2018‐12‐13T19:39:50.205Z       1900   usd       South Central Bank, Inc.                           0329     null
163       l2pD      2018‐12‐14T15:21:53.032Z       1900   usd       U.S. Bank National Association‐Credit              4428     null
164       l2pD      2018‐12‐14T18:27:34.413Z       1900   usd       JPMorgan Chase Bank N.A.                           0541     null
165       l2pD      2018‐12‐14T18:53:49.529Z       2700   usd       CENTRAL TRUST BANK, THE                          2139       null
166       l2pD      2018‐12‐14T18:53:51.381Z       1900   usd       CENTRAL TRUST BANK, THE                            6188     null
167       l2pD      2018‐12‐14T19:40:10.472Z       1900   usd       JPMorgan Chase Bank N.A.                           1883     null
168       l2pD      2018‐12‐14T19:41:47.993Z       1900   usd       Bank of America ‐ Consumer Credit                3675       null
169       l2pD      2018‐12‐14T20:29:42.057Z        950   usd       Capital One Bank (Usa), National Association      1084      null
170       l2pD      2018‐12‐14T20:35:05.429Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                 3800       null
171       l2pD      2018‐12‐14T22:08:10.851Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION            0402       null
172       l2pD      2018‐12‐15T15:05:58.165Z       1900   usd       null                                             6821       null
173       l2pD      2018‐12‐15T19:43:25.648Z       1900   usd       null                                             1120       null
174       l2pD      2018‐12‐15T20:51:47.362Z       1900   usd       The Toronto‐Dominion Bank                          9401     null
175       l2pD      2018‐12‐16T14:22:59.64Z        1900   usd       M&T Bank                                         2408       null
176       l2pD      2018‐12‐17T16:03:35.517Z       1900   usd       null                                             8907       null
177       l2pD      2018‐12‐17T16:34:04.607Z       1900   usd       USAA Savings Bank                                  0296     null
178       l2pD      2018‐12‐17T17:05:35.823Z       1900   usd       Bank of America, National Association               7253    null
179       l2pD      2018‐12‐17T20:06:12.614Z       1900   usd       null                                               6001     null
180       l2pD      2018‐12‐17T20:26:19.841Z       1900   usd       Capital One Bank (Usa), National Association       8647     null
181       l2pD      2018‐12‐18T16:00:21.766Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION             7212      null
182       l2pD      2018‐12‐18T16:15:24.737Z       1900   usd       Wells Fargo Bank, National Association               4205   null
183       l2pD      2018‐12‐18T17:23:48.081Z       1900   usd       TD Bank, National Association                       1687    null
184       l2pD      2018‐12‐18T19:53:31.489Z       1900   usd       Ameris Bank                                     9560        null
185       l2pD      2018‐12‐18T22:29:12.059Z       1900   usd       JPMorgan Chase Bank N.A.                          2373      null
186       l2pD      2018‐12‐19T18:56:06.958Z       1900   usd       The Toronto‐Dominion Bank                          7515     null
187       l2pD      2018‐12‐19T19:43:50.366Z       1900   usd       JPMorgan Chase Bank N.A.                            4667    null
188       l2pD      2018‐12‐20T16:57:29.159Z       1900   usd       FIFTH THIRD BANK, THE                            7337       null
189       l2pD      2018‐12‐20T17:28:29.236Z       1900   usd       First‐Citizens Bank & Trust Company                3226     null
190       l2pD      2018‐12‐20T17:47:22.352Z       1900   usd       JPMorgan Chase Bank N.A.                       9090         null
191       l2pD      2018‐12‐20T19:43:31.877Z       1900   usd       null                                              4001      null
192       l2pD      2018‐12‐20T21:57:07.754Z       1900   usd       Trellance, Inc.                                   7747      null
193       l2pD      2018‐12‐20T21:57:08.746Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION             0255      null
194       l2pD      2018‐12‐21T16:39:41.944Z       1900   usd       CITIBANK N.A.                                        0790   null
195       l2pD      2018‐12‐21T16:40:47.464Z       1900   usd       Wells Fargo Bank, National Association           5757       null
196       l2pD      2018‐12‐21T17:49:09.5Z         1900   usd       SUNTRUST BANK                                      5851     null
197       l2pD      2018‐12‐21T18:05:58.224Z       1900   usd       CITIBANK N.A.                                   7344        null
198       l2pD      2018‐12‐21T18:44:30.631Z       1900   usd       PNC Bank, National Association                   2558       null
199       l2pD      2018‐12‐21T19:28:45.409Z       1900   usd       Wells Fargo Bank, National Association              2446    null
200       l2pD      2018‐12‐21T19:59:26.096Z       1900   usd       BARCLAYS BANK DELAWARE                              4185    null
201       l2pD      2018‐12‐21T20:03:01.433Z       1900   usd       BARCLAYS BANK DELAWARE                            7984      null
202       l2pD      2018‐12‐21T20:41:27.6Z         1900   usd       Wells Fargo Bank, National Association              1976    null
203       l2pD      2018‐12‐21T20:53:49.461Z       1900   usd       null                                               3089     null
204       l2pD      2018‐12‐22T00:04:58.847Z       1900   usd       JPMorgan Chase Bank N.A.                         8162       null
205       l2pD      2018‐12‐22T15:10:19.427Z       1900   usd       Credit One Bank, National Association             9337      null
206       l2pD      2018‐12‐22T17:23:39.365Z       1900   usd       Wells Fargo Bank, National Association           4569       null
207       l2pD      2018‐12‐22T17:39:20.393Z       1900   usd       Citibank, N.A.‐ Costco                           5674       null
208       l2pD      2018‐12‐23T15:15:00.658Z       1900   usd       USAA Savings Bank                                  5424     null
209       l2pD      2018‐12‐23T15:35:40.745Z       1900   usd       Synovus Bank                                   9982         null
210       l2pD      2018‐12‐23T16:04:04.22Z        1900   usd       JPMorgan Chase Bank N.A.                            4202    null
211       l2pD      2018‐12‐23T18:06:25.583Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                3130        null
212       l2pD      2018‐12‐23T19:10:24.836Z       1900   usd       null                                                4006    null
                 Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 120 of 460 PageID 197


      A                         B              C                D                                  E                      F            G
213       l2pD      2018‐12‐23T19:25:44.708Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION     2331       null
214       l2pD      2018‐12‐23T21:07:28.629Z       1900   usd       Citibank, N.A.‐ Costco                            6805      null
215       l2pD      2018‐12‐24T14:42:19.512Z       3500   usd       CITIBANK N.A.                                       0790    null
216       l2pD      2018‐12‐24T16:13:56.008Z       1900   usd       EMPOWER FEDERAL CREDIT UNION                      8073      null
217       l2pD      2018‐12‐24T17:29:25.289Z       1900   usd       Citibank, N.A.‐ Costco                            9757      null
218       l2pD      2018‐12‐24T20:17:00.209Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION     6763       null
219       l2pD      2018‐12‐24T21:12:34.076Z       1900   usd       Navy Federal Credit Union                          2663     null
220       l2pD      2018‐12‐25T02:59:01.13Z        1900   usd       Citibank, N.A.‐ Costco                            4667      null
221       l2pD      2018‐12‐25T16:05:52.386Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION             0527      null
222       l2pD      2018‐12‐25T18:39:54.367Z       1900   usd       Branch Banking and Trust Company                7108        null
223       l2pD      2018‐12‐25T20:21:03.918Z       1900   usd       U.S. Bank National Association‐Credit            45663      null
224       l2pD      2018‐12‐26T20:53:37.286Z       1900   usd       BARCLAYS BANK DELAWARE                         8628         null
225       l2pD      2018‐12‐26T22:17:53.291Z       1900   usd       JPMorgan Chase Bank N.A.                          2663      null
226       l2pD      2018‐12‐27T06:25:40.121Z         95   usd       Santander UK Plc                                    6482    null
227       l2pD      2018‐12‐27T16:33:21.153Z       1900   usd       JPMorgan Chase Bank N.A.                          3823      null
228       l2pD      2018‐12‐27T16:48:45.537Z       1900   usd       JPMorgan Chase Bank N.A.                          0847      null
229       l2pD      2018‐12‐27T17:20:04.393Z       1900   usd       JPMorgan Chase Bank N.A.                         2327       null
230       l2pD      2018‐12‐27T17:35:44.209Z       1900   usd       PNC Bank, National Association                   0309       null
231       l2pD      2018‐12‐27T17:41:46.53Z        1900   usd       Bank of America, National Association           8501        null
232       l2pD      2018‐12‐27T19:09:25.956Z       1900   usd       Bank of America ‐ Consumer Credit                6674       null
233       l2pD      2018‐12‐27T20:36:52.732Z       1900   usd       PSCU INCORPORATED                               7594        null
234       l2pD      2018‐12‐27T21:31:22.857Z       1900   usd       JACK HENRY & ASSOCIATES                           3603      null
235       l2pD      2018‐12‐28T18:47:58.67Z        1900   usd       Pentagon Federal Credit Union                    8967       null
236       l2pD      2018‐12‐28T19:43:12.074Z       1900   usd       Capital One Bank (Usa), National Association         9449   null
237       l2pD      2018‐12‐28T20:34:12.879Z       1900   usd       USAA Savings Bank                                 9494      null
238       l2pD      2018‐12‐29T08:55:13.45Z          57   usd       Santander UK Plc                                    6482    null
239       l2pD      2018‐12‐29T15:35:37.662Z       1900   usd       Bank of America ‐ Consumer Credit                 0057      null
240       l2pD      2018‐12‐29T15:50:44.635Z       1900   usd       null                                               5323     null
241       l2pD      2018‐12‐29T15:52:54.433Z       1900   usd       null                                               6319     null
242       l2pD      2018‐12‐29T17:06:39.259Z       1900   usd       null                                              7006      null
243       l2pD      2018‐12‐29T18:19:58.846Z       1900   usd       Barclays Bank Delaware                           1297       null
244       l2pD      2018‐12‐29T18:24:00.073Z       1900   usd       BARCLAYS BANK DELAWARE                          5956        null
245       l2pD      2018‐12‐29T18:33:44.916Z       1900   usd       null                                              2287      null
246       l2pD      2018‐12‐29T18:33:45.838Z       1900   usd       GTE FEDERAL CREDIT UNION                           0223     null
247       l2pD      2018‐12‐29T19:04:37.317Z       1900   usd       Bank of America ‐ Consumer Credit                7060       null
248       l2pD      2018‐12‐29T19:15:20.993Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION    6073        null
249       l2pD      2018‐12‐29T19:17:31.844Z       1900   usd       FIDELITY INFORMATION SERVICES,                  1192        null
250       l2pD      2018‐12‐30T16:54:55.476Z       1900   usd       Bank of America ‐ Consumer Credit                2557       null
251       l2pD      2018‐12‐30T17:08:24.094Z       1900   usd       TEACHERS CREDIT UNION                             3179      null
252       l2pD      2018‐12‐30T17:22:04.653Z       1900   usd       Capital One Bank (Usa), National Association      8560      null
253       l2pD      2018‐12‐30T17:22:19.407Z       1900   usd       SUNTRUST BANK                                    4023       null
254       l2pD      2018‐12‐30T17:43:47.108Z       1900   usd       Citibank, N.A.‐ Costco                         1209         null
255       l2pD      2018‐12‐30T18:43:55.156Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION            6615       null
256       l2pD      2018‐12‐30T19:32:05.435Z       1900   usd       Bank of America, National Association            3929       null
257       l2pD      2018‐12‐30T19:58:59.846Z       1900   usd       Regions Bank                                     0352       null
258       l2pD      2018‐12‐30T20:05:29.822Z       1900   usd       FIFTH THIRD BANK, THE                             6398      null
259       l2pD      2018‐12‐30T20:59:42.141Z       1900   usd       FirstBank                                       2282        null
260       l2pD      2018‐12‐30T22:08:54.696Z       1900   usd       PSCU INCORPORATED                                  7156     null
261       l2pD      2018‐12‐30T22:13:40.241Z       1900   usd       Wells Fargo Bank, National Association           3003       null
262       l2pD      2018‐12‐31T14:45:16.224Z       1900   usd       First National Bank of Omaha                       6907     null
263       l2pD      2018‐12‐31T16:14:15.701Z       1900   usd       Corning Federal Credit Union                      1378      null
264       l2pD      2018‐12‐31T19:37:49.485Z       1900   usd       BMO HARRIS BANK N.A.                               6771     null
265       l2pD      2018‐12‐31T19:37:51.362Z       1900   usd       Bank of America ‐ Consumer Credit                 4731      null
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      A                         B              C                D                                  E                       F            G
266       l2pD      2018‐12‐31T20:33:48.935Z       1900   usd       null                                              2004       null
267       l2pD      2018‐12‐31T20:44:59.16Z        1900   usd       BARCLAYS BANK DELAWARE                           2515        null
268       l2pD      2019‐01‐01T18:20:02.945Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION        1936     null
269       l2pD      2019‐01‐01T19:06:01.27Z        1900   usd       Branch Banking and Trust Company                    1206     null
270       l2pD      2019‐01‐01T19:21:51.876Z       1900   usd       Metabank                                          8104       null
271       l2pD      2019‐01‐01T21:26:54.25Z        1900   usd       Wells Fargo Bank, National Association            6608       null
272       l2pD      2019‐01‐02T15:23:34.826Z       1900   usd       Bank of America ‐ Consumer Credit                1080        null
273       l2pD      2019‐01‐03T02:50:22.513Z       1900   usd       FIRST NATIONAL BANK OF OMAHA                    2040         null
274       l2pD      2019‐01‐03T17:53:34.192Z       1900   usd       BMO HARRIS BANK N.A.                             2088        null
275       l2pD      2019‐01‐03T17:53:34.337Z       1900   usd       Bank of America ‐ Consumer Credit                  6543      null
276       l2pD      2019‐01‐03T18:02:51.899Z       1900   usd       Bank of America, National Association             1224       null
277       l2pD      2019‐01‐03T20:41:34.546Z       1900   usd       Financial Plus Credit Union                        4019      null
278       l2pD      2019‐01‐04T11:22:03.495Z       1900   usd       PNC Bank, National Association                   9385        null
279       l2pD      2019‐01‐04T15:43:29.532Z       1900   usd       First Financial Bank                            5861         null
280       l2pD      2019‐01‐04T18:24:46.01Z        1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                    9620     null
281       l2pD      2019‐01‐04T18:29:56.687Z       1900   usd       null                                              4001       null
282       l2pD      2019‐01‐04T18:39:32.471Z       1900   usd       FIFTH THIRD BANK, THE                               5071     null
283       l2pD      2019‐01‐04T20:21:07.809Z       1900   usd       null                                            V8448        null
284       l2pD      2019‐01‐04T20:36:19.565Z       1900   usd       SUNTRUST BANK                                     6891       null
285       l2pD      2019‐01‐04T20:51:14.023Z       1900   usd       RBC Bank, (Georgia) National Association         9252        null
286       l2pD      2019‐01‐04T21:05:09.308Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION         5216    null
287       l2pD      2019‐01‐05T01:17:53.267Z        950   usd       Wells Fargo Bank, National Association              1948     null
288       l2pD      2019‐01‐05T13:37:16.393Z       1900   usd       PNC Bank, National Association                     4822      null
289       l2pD      2019‐01‐05T16:48:23.21Z        1900   usd       JPMorgan Chase Bank N.A.                           7084      null
290       l2pD      2019‐01‐05T16:50:14.579Z       1900   usd       JPMorgan Chase Bank N.A.                              4538   null
291       l2pD      2019‐01‐05T18:04:06.976Z       1900   usd       Bank of America ‐ Consumer Credit                  4093      null
292       l2pD      2019‐01‐05T18:20:40.704Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION              5956      null
293       l2pD      2019‐01‐05T19:14:08.886Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION         2534    null
294       l2pD      2019‐01‐05T22:03:47.346Z       1900   usd       Capital One Bank (Usa), National Association    5698         null
295       l2pD      2019‐01‐06T14:50:15.802Z       1900   usd       null                                                 1008    null
296       l2pD      2019‐01‐06T14:51:07.049Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION             4190       null
297       l2pD      2019‐01‐06T16:05:21.238Z       1900   usd       JPMorgan Chase Bank N.A.                           0467      null
298       l2pD      2019‐01‐06T16:21:49.935Z       1900   usd       JPMorgan Chase Bank N.A.                          1778       null
299       l2pD      2019‐01‐06T16:54:22.509Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION     3981        null
300       l2pD      2019‐01‐06T17:08:51.558Z       1900   usd       Bank of America, National Association                 9648   null
301       l2pD      2019‐01‐06T17:44:13.792Z       1900   usd       USAA Federal Savings Bank                             0569   null
302       l2pD      2019‐01‐06T18:08:20.941Z       1900   usd       JPMorgan Chase Bank N.A.                           2308      null
303       l2pD      2019‐01‐06T18:22:08.628Z       1900   usd       SUNTRUST BANK                                    0914        null
304       l2pD      2019‐01‐06T18:28:45.774Z       1900   usd       FIFTH THIRD BANK, THE                          0905          null
305       l2pD      2019‐01‐06T18:34:57.489Z       1900   usd       Bank of America ‐ Consumer Credit                 9691       null
306       l2pD      2019‐01‐06T18:35:33.872Z       1900   usd       KEMBA FINANCIAL CREDIT UNION, INC.              1650         null
307       l2pD      2019‐01‐06T18:37:47.536Z       1900   usd       U.S. Bank National Association‐Credit            4212        null
308       l2pD      2019‐01‐06T18:40:57.519Z       1900   usd       Midflorida Credit Union                             0549     null
309       l2pD      2019‐01‐06T19:57:47.893Z       1900   usd       null                                             1007        null
310       l2pD      2019‐01‐06T20:14:17.02Z        1900   usd       Navy Federal Credit Union                        6274        null
311       l2pD      2019‐01‐06T20:47:46.062Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION       5097      null
312       l2pD      2019‐01‐06T21:21:18.489Z       1900   usd       JPMorgan Chase Bank N.A.                           3892      null
313       l2pD      2019‐01‐07T00:35:02.411Z       1900   usd       null                                              2034       null
314       l2pD      2019‐01‐07T17:39:32.002Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                   8486      null
315       l2pD      2019‐01‐07T17:54:47.307Z       1900   usd       Bank of America ‐ Consumer Credit                   2927     null
316       l2pD      2019‐01‐07T18:18:06.033Z       1900   usd       The Peoples State Bank                              0274     null
317       l2pD      2019‐01‐07T18:33:29.711Z       1900   usd       Wells Fargo Bank, National Association           6665        null
318       l2pD      2019‐01‐07T19:11:46.439Z       1900   usd       Citizens Bank, National Association                 4505     null
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      A                         B              C                D                                  E                     F             G
319       l2pD      2019‐01‐07T19:11:48.785Z       1900   usd       Citibank, N.A.‐ Costco                            8645      null
320       l2pD      2019‐01‐07T19:11:49.409Z       1900   usd       null                                            1009        null
321       l2pD      2019‐01‐07T20:49:14.574Z       1900   usd       SYNCHRONY BANK                                   4850       null
322       l2pD      2019‐01‐07T21:08:48.065Z       1900   usd       Wells Fargo Bank, National Association          4414        null
323       l2pD      2019‐01‐07T22:07:28.562Z       1900   usd       JPMorgan Chase Bank N.A.                           0872     null
324       l2pD      2019‐01‐08T02:32:58.674Z       1900   usd       TD Bank, National Association                     1714      null
325       l2pD      2019‐01‐08T15:56:34.588Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION    3981        null
326       l2pD      2019‐01‐08T16:09:34.578Z       1900   usd       Wells Fargo Bank, National Association           7151       null
327       l2pD      2019‐01‐08T16:48:54.273Z       1900   usd       JPMorgan Chase Bank N.A.                        3539        null
328       l2pD      2019‐01‐08T17:13:32.506Z       1900   usd       Branch Banking and Trust Company‐Credit           0620      null
329       l2pD      2019‐01‐08T18:37:41.991Z       1900   usd       Barclays Bank Delaware                          5671        null
330       l2pD      2019‐01‐08T18:51:01.284Z       1900   usd       Capital One Bank (Usa), National Association   5112         null
331       l2pD      2019‐01‐08T19:53:01.124Z       1900   usd       JPMorgan Chase Bank N.A.                       6922         null
332       l2pD      2019‐01‐08T20:24:52.121Z       1900   usd       RBC Bank, (Georgia) National Association           8247     null
333       l2pD      2019‐01‐08T20:36:58.771Z       1900   usd       Bank of America, National Association          1468         null
334       l2pD      2019‐01‐08T21:21:27.457Z       1900   usd       CHEMICAL BANK                                   1509        null
335       l2pD      2019‐01‐08T21:21:29.045Z       1900   usd       Citibank, N.A.‐ Costco                           8962       null
336       l2pD      2019‐01‐08T21:51:09.792Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION     9672       null
337       l2pD      2019‐01‐09T02:06:54.534Z       1900   usd       Citibank, N.A.‐ Costco                             7151     null
338       l2pD      2019‐01‐09T15:37:53.608Z       2700   usd       JPMorgan Chase Bank N.A. ‐ Debit                  6822      null
339       l2pD      2019‐01‐09T15:45:04.562Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION              2904     null
340       l2pD      2019‐01‐09T16:20:41.214Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                9745        null
341       l2pD      2019‐01‐10T16:20:07.152Z       1900   usd       RBC Bank, (Georgia) National Association         2383       null
342       l2pD      2019‐01‐10T17:31:37.15Z        1900   usd       Bank of America ‐ Consumer Credit              8581         null
343       l2pD      2019‐01‐10T18:25:20.454Z       2700   usd       Canadian Imperial Bank of Commerce              3495        null
344       l2pD      2019‐01‐10T18:48:28.665Z       1900   usd       null                                              2011      null
345       l2pD      2019‐01‐10T19:39:29.159Z       1900   usd       Wells Fargo Bank, National Association          0326        null
346       l2pD      2019‐01‐10T20:21:16.568Z       1900   usd       FIFTH THIRD BANK, THE                            2316       null
347       l2pD      2019‐01‐11T13:57:34.65Z        1900   usd       JPMorgan Chase Bank N.A.                           9082     null
348       l2pD      2019‐01‐11T17:29:26.614Z       1900   usd       BMO HARRIS BANK N.A.                             0386       null
349       l2pD      2019‐01‐11T19:22:49.455Z       1900   usd       SUNTRUST BANK                                     4312      null
350       l2pD      2019‐01‐12T17:16:47.249Z       1900   usd       The Bank of Nova Scotia                           7014      null
351       l2pD      2019‐01‐12T17:50:13.382Z       1900   usd       Publix Employees Federal Credit Union            8951       null
352       l2pD      2019‐01‐12T18:12:35.313Z       1900   usd       USAA Federal Savings Bank                           6025    null
353       l2pD      2019‐01‐12T18:34:48.038Z       1900   usd       Wells Fargo Bank, National Association           3596       null
354       l2pD      2019‐01‐12T20:48:14.671Z       1900   usd       South Central Bank, Inc.                           0329     null
355       l2pD      2019‐01‐13T15:21:06.225Z       1900   usd       U.S. Bank National Association‐Credit              4428     null
356       l2pD      2019‐01‐13T18:27:14.303Z       1900   usd       JPMorgan Chase Bank N.A.                          0541      null
357       l2pD      2019‐01‐13T18:38:21.892Z       2700   usd       CENTRAL TRUST BANK, THE                         2139        null
358       l2pD      2019‐01‐13T18:38:32.956Z       1900   usd       CENTRAL TRUST BANK, THE                           6188      null
359       l2pD      2019‐01‐13T19:35:05.224Z       1900   usd       Bank of America ‐ Consumer Credit               3675        null
360       l2pD      2019‐01‐13T20:20:38.315Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                 3800       null
361       l2pD      2019‐01‐13T20:43:40.069Z       1900   usd       JPMorgan Chase Bank N.A.                          1883      null
362       l2pD      2019‐01‐13T21:39:54.601Z        950   usd       Capital One Bank (Usa), National Association     1084       null
363       l2pD      2019‐01‐14T16:15:55.34Z        1900   usd       null                                            6821        null
364       l2pD      2019‐01‐14T17:20:37.511Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION            0402       null
365       l2pD      2019‐01‐14T19:45:58.114Z       1900   usd       null                                            1120        null
366       l2pD      2019‐01‐14T22:01:24.076Z       1900   usd       The Toronto‐Dominion Bank                          9401     null
367       l2pD      2019‐01‐15T15:30:13.866Z       1900   usd       M&T Bank                                        2408        null
368       l2pD      2019‐01‐16T16:01:08.616Z       1900   usd       null                                            8907        null
369       l2pD      2019‐01‐16T16:34:15.015Z       1900   usd       USAA Savings Bank                                 0296      null
370       l2pD      2019‐01‐16T16:56:56.99Z        1900   usd       Bank of America, National Association              7253     null
371       l2pD      2019‐01‐16T17:22:04.862Z       1900   usd       FIFTH THIRD BANK, THE                                3761   null
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      A                         B              C                D                                  E                       F            G
372       l2pD      2019‐01‐16T20:09:26.791Z       1900   usd       null                                               6001      null
373       l2pD      2019‐01‐16T20:26:50.171Z       1900   usd       Capital One Bank (Usa), National Association       8647      null
374       l2pD      2019‐01‐17T16:15:52.533Z       1900   usd       Wells Fargo Bank, National Association                4205   null
375       l2pD      2019‐01‐17T17:06:28.561Z       1900   usd       TD Bank, National Association                       1687     null
376       l2pD      2019‐01‐17T17:06:28.956Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION             7212       null
377       l2pD      2019‐01‐17T19:55:22.433Z       1900   usd       Ameris Bank                                     9560         null
378       l2pD      2019‐01‐17T22:37:56.605Z       1900   usd       JPMorgan Chase Bank N.A.                          2373       null
379       l2pD      2019‐01‐18T20:02:32.715Z       1900   usd       The Toronto‐Dominion Bank                          7515      null
380       l2pD      2019‐01‐18T20:50:06.484Z       1900   usd       JPMorgan Chase Bank N.A.                            4667     null
381       l2pD      2019‐01‐19T16:58:39.402Z       1900   usd       FIFTH THIRD BANK, THE                            7337        null
382       l2pD      2019‐01‐19T17:43:18.642Z       1900   usd       JPMorgan Chase Bank N.A.                       9090          null
383       l2pD      2019‐01‐19T18:29:04.878Z       1900   usd       First‐Citizens Bank & Trust Company                 3226     null
384       l2pD      2019‐01‐19T20:43:57.137Z       1900   usd       null                                              4001       null
385       l2pD      2019‐01‐19T21:54:18.489Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION             0255       null
386       l2pD      2019‐01‐19T21:59:20.356Z       1900   usd       Trellance, Inc.                                    7747      null
387       l2pD      2019‐01‐20T17:41:48.528Z       1900   usd       Wells Fargo Bank, National Association            5757       null
388       l2pD      2019‐01‐20T17:59:56.937Z       1900   usd       CITIBANK N.A.                                   7344         null
389       l2pD      2019‐01‐20T18:54:09.17Z        1900   usd       SUNTRUST BANK                                      5851      null
390       l2pD      2019‐01‐20T19:50:06.697Z       1900   usd       PNC Bank, National Association                   2558        null
391       l2pD      2019‐01‐20T20:37:29.522Z       1900   usd       Wells Fargo Bank, National Association              2446     null
392       l2pD      2019‐01‐20T20:46:04.477Z       1900   usd       null                                                3089     null
393       l2pD      2019‐01‐20T21:03:47.155Z       1900   usd       BARCLAYS BANK DELAWARE                            7984       null
394       l2pD      2019‐01‐20T21:03:48.477Z       1900   usd       BARCLAYS BANK DELAWARE                              4185     null
395       l2pD      2019‐01‐20T21:47:12.548Z       1900   usd       Wells Fargo Bank, National Association              1976     null
396       l2pD      2019‐01‐21T01:22:32.761Z       1900   usd       JPMorgan Chase Bank N.A.                         8162        null
397       l2pD      2019‐01‐21T18:45:13.5Z         1900   usd       Citibank, N.A.‐ Costco                           5674        null
398       l2pD      2019‐01‐22T15:09:48.305Z       1900   usd       USAA Savings Bank                                  5424      null
399       l2pD      2019‐01‐22T16:05:29.934Z       1900   usd       JPMorgan Chase Bank N.A.                             4202    null
400       l2pD      2019‐01‐22T16:42:47.307Z       1900   usd       Synovus Bank                                   9982          null
401       l2pD      2019‐01‐22T20:15:11.001Z       1900   usd       null                                                4006     null
402       l2pD      2019‐01‐22T20:35:32.486Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION      2331       null
403       l2pD      2019‐01‐22T21:04:53.008Z       1900   usd       Citibank, N.A.‐ Costco                             6805      null
404       l2pD      2019‐01‐23T15:47:44.438Z       3500   usd       CITIBANK N.A.                                        0790    null
405       l2pD      2019‐01‐23T16:14:04.966Z       1900   usd       EMPOWER FEDERAL CREDIT UNION                       8073      null
406       l2pD      2019‐01‐23T17:24:15.868Z       1900   usd       Citibank, N.A.‐ Costco                             9757      null
407       l2pD      2019‐01‐23T18:05:45.188Z       1900   usd       Wells Fargo Bank, National Association          8486         null
408       l2pD      2019‐01‐23T20:15:39.646Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION      6763       null
409       l2pD      2019‐01‐23T21:14:59.422Z       1900   usd       Navy Federal Credit Union                           2663     null
410       l2pD      2019‐01‐24T02:50:14.225Z       1900   usd       Citibank, N.A.‐ Costco                             4667      null
411       l2pD      2019‐01‐24T16:05:44Z           1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION              0527      null
412       l2pD      2019‐01‐24T18:33:28.246Z       1900   usd       Branch Banking and Trust Company                 7108        null
413       l2pD      2019‐01‐24T20:11:38.226Z       1900   usd       U.S. Bank National Association‐Credit               5663     null
414       l2pD      2019‐01‐25T21:54:06.067Z       1900   usd       BARCLAYS BANK DELAWARE                          8628         null
415       l2pD      2019‐01‐25T23:20:34.501Z       1900   usd       JPMorgan Chase Bank N.A.                           2663      null
416       l2pD      2019‐01‐26T16:25:39.265Z       1900   usd       JPMorgan Chase Bank N.A.                           3823      null
417       l2pD      2019‐01‐26T16:48:31.021Z       1900   usd       JPMorgan Chase Bank N.A.                           0847      null
418       l2pD      2019‐01‐26T17:14:34.598Z       1900   usd       Credit One Bank, National Association             9337       null
419       l2pD      2019‐01‐26T17:20:53.572Z       1900   usd       JPMorgan Chase Bank N.A.                          2327       null
420       l2pD      2019‐01‐26T17:37:39.955Z       1900   usd       PNC Bank, National Association                    0309       null
421       l2pD      2019‐01‐26T18:46:58.543Z       1900   usd       Bank of America, National Association            8501        null
422       l2pD      2019‐01‐26T19:02:25.772Z       1900   usd       Bank of America ‐ Consumer Credit                 6674       null
423       l2pD      2019‐01‐26T21:28:09.691Z       1900   usd       JACK HENRY & ASSOCIATES                            3603      null
424       l2pD      2019‐01‐26T21:43:10.94Z        1900   usd       PSCU INCORPORATED                                7594        null
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      A                         B              C                D                                 E                       F            G
425       l2pD      2019‐01‐27T19:53:01.25Z        1900   usd       Pentagon Federal Credit Union                    8967       null
426       l2pD      2019‐01‐27T20:39:14.02Z        1900   usd       USAA Savings Bank                                 9494      null
427       l2pD      2019‐01‐27T20:46:32.049Z       1900   usd       Capital One Bank (Usa), National Association         9449   null
428       l2pD      2019‐01‐28T16:42:50.727Z       1900   usd       Bank of America ‐ Consumer Credit                 0057      null
429       l2pD      2019‐01‐28T16:57:03.335Z       1900   usd       null                                               5323     null
430       l2pD      2019‐01‐28T16:57:03.557Z       1900   usd       null                                               6319     null
431       l2pD      2019‐01‐28T18:14:25.772Z       1900   usd       null                                              7006      null
432       l2pD      2019‐01‐28T18:21:30.894Z       1900   usd       Barclays Bank Delaware                           1297       null
433       l2pD      2019‐01‐28T18:21:34.043Z       1900   usd       null                                              2287      null
434       l2pD      2019‐01‐28T18:36:27.953Z       1900   usd       GTE FEDERAL CREDIT UNION                           0223     null
435       l2pD      2019‐01‐28T19:30:03.111Z       1900   usd       BARCLAYS BANK DELAWARE                          5956        null
436       l2pD      2019‐01‐28T20:07:52.226Z       1900   usd       Bank of America ‐ Consumer Credit                7060       null
437       l2pD      2019‐01‐28T20:25:39.86Z        1900   usd       FIDELITY INFORMATION SERVICES,                  1192        null
438       l2pD      2019‐01‐28T23:52:20.293Z       1900   usd       Capital One Bank (Usa), National Association      3519      null
439       l2pD      2019‐01‐29T17:01:23.216Z       1900   usd       TEACHERS CREDIT UNION                             3179      null
440       l2pD      2019‐01‐29T17:16:55.619Z       1900   usd       Capital One Bank (Usa), National Association      8560      null
441       l2pD      2019‐01‐29T18:29:30.578Z       1900   usd       SUNTRUST BANK                                    4023       null
442       l2pD      2019‐01‐29T18:35:42.409Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION            6615       null
443       l2pD      2019‐01‐29T18:50:56.211Z       1900   usd       Citibank, N.A.‐ Costco                         1209         null
444       l2pD      2019‐01‐29T19:54:18.332Z       1900   usd       FIFTH THIRD BANK, THE                             6398      null
445       l2pD      2019‐01‐29T20:37:47.819Z       1900   usd       Bank of America, National Association            3929       null
446       l2pD      2019‐01‐29T20:57:52.491Z       1900   usd       FirstBank                                       2282        null
447       l2pD      2019‐01‐29T21:05:08.056Z       1900   usd       Regions Bank                                     0352       null
448       l2pD      2019‐01‐29T23:21:39.441Z       1900   usd       Wells Fargo Bank, National Association           3003       null
449       l2pD      2019‐01‐30T14:37:44.816Z       1900   usd       First National Bank of Omaha                       6907     null
450       l2pD      2019‐01‐30T16:05:44.16Z        1900   usd       Corning Federal Credit Union                      1378      null
451       l2pD      2019‐01‐30T19:36:29.37Z        1900   usd       BMO HARRIS BANK N.A.                               6771     null
452       l2pD      2019‐01‐30T19:36:30.491Z       1900   usd       Bank of America ‐ Consumer Credit                 4731      null
453       l2pD      2019‐01‐30T20:34:42.98Z        1900   usd       null                                             2004       null
454       l2pD      2019‐01‐30T20:42:08.856Z       1900   usd       BARCLAYS BANK DELAWARE                           2515       null
455       l2pD      2019‐01‐31T17:29:44.804Z       1900   usd       JPMorgan Chase Bank N.A.                         6158       null
456       l2pD      2019‐01‐31T18:12:28.932Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION       1936     null
457       l2pD      2019‐01‐31T19:06:50.053Z       1900   usd       Metabank                                         8104       null
458       l2pD      2019‐01‐31T19:54:46.407Z       3900   usd       Bank of America ‐ Consumer Credit               3327        null
459       l2pD      2019‐01‐31T21:29:54.64Z        1900   usd       Wells Fargo Bank, National Association           6608       null
460       l2pD      2019‐02‐01T16:32:56.931Z       1900   usd       Bank of America ‐ Consumer Credit                1080       null
461       l2pD      2019‐02‐02T17:48:56.721Z       1900   usd       BMO HARRIS BANK N.A.                            2088        null
462       l2pD      2019‐02‐02T20:21:56.782Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION    6073        null
463       l2pD      2019‐02‐02T20:31:10.051Z       1900   usd       Financial Plus Credit Union                       4019      null
464       l2pD      2019‐02‐03T15:43:40.399Z       1900   usd       First Financial Bank                           5861         null
465       l2pD      2019‐02‐03T18:17:23.289Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                   9620     null
466       l2pD      2019‐02‐03T18:38:58.572Z       1900   usd       FIFTH THIRD BANK, THE                              5071     null
467       l2pD      2019‐02‐03T19:36:06.277Z       1900   usd       null                                             4001       null
468       l2pD      2019‐02‐03T20:03:47.951Z       1900   usd       null                                             8448       null
469       l2pD      2019‐02‐03T21:06:36.36Z        1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION        5216    null
470       l2pD      2019‐02‐03T21:41:33.259Z       1900   usd       SUNTRUST BANK                                     6891      null
471       l2pD      2019‐02‐03T21:55:23.082Z       1900   usd       RBC Bank, (Georgia) National Association        9252        null
472       l2pD      2019‐02‐04T02:19:42.552Z        950   usd       Wells Fargo Bank, National Association             1948     null
473       l2pD      2019‐02‐04T14:40:56.06Z        1900   usd       PNC Bank, National Association                    4822      null
474       l2pD      2019‐02‐04T17:49:10.4Z         1900   usd       JPMorgan Chase Bank N.A.                          7084      null
475       l2pD      2019‐02‐04T17:57:31.613Z       1900   usd       JPMorgan Chase Bank N.A.                             4538   null
476       l2pD      2019‐02‐04T19:05:21.616Z       1900   usd       Bank of America ‐ Consumer Credit                 4093      null
477       l2pD      2019‐02‐04T19:05:22.086Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION        2534    null
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      A                         B              C                D                                  E                       F            G
478       l2pD      2019‐02‐04T19:25:30.383Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION              5956      null
479       l2pD      2019‐02‐05T15:54:06.948Z       1900   usd       null                                                 1008    null
480       l2pD      2019‐02‐05T16:21:56.354Z       1900   usd       JPMorgan Chase Bank N.A.                          1778       null
481       l2pD      2019‐02‐05T16:42:17.263Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION     3981        null
482       l2pD      2019‐02‐05T17:10:10.533Z       1900   usd       JPMorgan Chase Bank N.A.                           0467      null
483       l2pD      2019‐02‐05T17:30:51.762Z       1900   usd       USAA Federal Savings Bank                             0569   null
484       l2pD      2019‐02‐05T18:12:58.936Z       1900   usd       Bank of America, National Association                 9648   null
485       l2pD      2019‐02‐05T18:26:45.261Z       1900   usd       Bank of America ‐ Consumer Credit                 9691       null
486       l2pD      2019‐02‐05T19:13:24.722Z       1900   usd       JPMorgan Chase Bank N.A.                           2308      null
487       l2pD      2019‐02‐05T19:26:32.803Z       1900   usd       SUNTRUST BANK                                    0914        null
488       l2pD      2019‐02‐05T19:32:57.636Z       1900   usd       FIFTH THIRD BANK, THE                          0905          null
489       l2pD      2019‐02‐05T19:39:27.308Z       1900   usd       U.S. Bank National Association‐Credit            4212        null
490       l2pD      2019‐02‐05T19:39:27.422Z       1900   usd       KEMBA FINANCIAL CREDIT UNION, INC.              1650         null
491       l2pD      2019‐02‐05T19:45:55.607Z       1900   usd       Midflorida Credit Union                             0549     null
492       l2pD      2019‐02‐05T19:59:02.87Z        1900   usd       null                                             1007        null
493       l2pD      2019‐02‐05T20:14:00.042Z       1900   usd       Navy Federal Credit Union                        6274        null
494       l2pD      2019‐02‐05T20:50:37.688Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION       5097      null
495       l2pD      2019‐02‐05T21:24:11.735Z       1900   usd       JPMorgan Chase Bank N.A.                            3892     null
496       l2pD      2019‐02‐06T01:44:07.477Z       1900   usd       null                                              2034       null
497       l2pD      2019‐02‐06T17:33:05.283Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                   8486      null
498       l2pD      2019‐02‐06T17:44:42.724Z       1900   usd       Bank of America ‐ Consumer Credit                   2927     null
499       l2pD      2019‐02‐06T18:13:17.791Z       1900   usd       The Peoples State Bank                               0274    null
500       l2pD      2019‐02‐06T18:30:23.289Z       1900   usd       Wells Fargo Bank, National Association           6665        null
501       l2pD      2019‐02‐06T19:04:11.648Z       1900   usd       null                                             1009        null
502       l2pD      2019‐02‐06T19:04:12.111Z       1900   usd       Citizens Bank, National Association                  4505    null
503       l2pD      2019‐02‐06T19:10:16.115Z       1900   usd       Citibank, N.A.‐ Costco                             8645      null
504       l2pD      2019‐02‐06T20:20:59.717Z       1900   usd       SYNCHRONY BANK                                    4850       null
505       l2pD      2019‐02‐06T21:11:06.837Z       1900   usd       Wells Fargo Bank, National Association           4414        null
506       l2pD      2019‐02‐06T21:49:43.662Z       1900   usd       JPMorgan Chase Bank N.A.                            0872     null
507       l2pD      2019‐02‐07T03:33:25.582Z       1900   usd       TD Bank, National Association                      1714      null
508       l2pD      2019‐02‐07T15:56:59.387Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION     3981        null
509       l2pD      2019‐02‐07T16:36:36.514Z       1900   usd       JPMorgan Chase Bank N.A.                         3539        null
510       l2pD      2019‐02‐07T18:16:52.068Z       1900   usd       Branch Banking and Trust Company‐Credit            0620      null
511       l2pD      2019‐02‐07T19:44:16.433Z       1900   usd       JPMorgan Chase Bank N.A.                        6922         null
512       l2pD      2019‐02‐07T20:22:32.354Z       1900   usd       RBC Bank, (Georgia) National Association            8247     null
513       l2pD      2019‐02‐07T21:12:29.016Z       1900   usd       CHEMICAL BANK                                    1509        null
514       l2pD      2019‐02‐07T21:24:26.606Z       1900   usd       Citibank, N.A.‐ Costco                            8962       null
515       l2pD      2019‐02‐07T21:39:39.301Z       1900   usd       Bank of America, National Association           1468         null
516       l2pD      2019‐02‐08T15:33:08.404Z       2700   usd       JPMorgan Chase Bank N.A. ‐ Debit                   6822      null
517       l2pD      2019‐02‐08T16:46:48.477Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION               2904     null
518       l2pD      2019‐02‐08T17:23:28.54Z        1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                 9745        null
519       l2pD      2019‐02‐09T16:22:13.669Z       1900   usd       RBC Bank, (Georgia) National Association          2383       null
520       l2pD      2019‐02‐09T17:22:32.428Z       1900   usd       Bank of America ‐ Consumer Credit               8581         null
521       l2pD      2019‐02‐09T18:22:23.72Z        2700   usd       Canadian Imperial Bank of Commerce               3495        null
522       l2pD      2019‐02‐09T18:38:03.758Z       1900   usd       Bank of America ‐ Consumer Credit                 0600       null
523       l2pD      2019‐02‐09T19:34:48.075Z       1900   usd       Wells Fargo Bank, National Association           0326        null
524       l2pD      2019‐02‐09T19:50:19.087Z       1900   usd       null                                               2011      null
525       l2pD      2019‐02‐09T20:11:38.492Z       1900   usd       FIFTH THIRD BANK, THE                             2316       null
526       l2pD      2019‐02‐09T20:28:19.489Z       1900   usd       null                                                 1004    null
527       l2pD      2019‐02‐09T20:36:56.404Z       1900   usd       Bank of America, National Association               1228     null
528       l2pD      2019‐02‐10T13:41:50.134Z       1900   usd       Wells Fargo Bank, National Association                0897   null
529       l2pD      2019‐02‐10T14:58:31.829Z       1900   usd       JPMorgan Chase Bank N.A.                            9082     null
530       l2pD      2019‐02‐10T17:26:21.012Z       1900   usd       BMO HARRIS BANK N.A.                              0386       null
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      A                         B              C                D                                  E                      F             G
531       l2pD      2019‐02‐10T18:12:34.227Z       1900   usd       Wells Fargo Bank, National Association           9540        null
532       l2pD      2019‐02‐10T19:11:02.17Z        1900   usd       SUNTRUST BANK                                      4312      null
533       l2pD      2019‐02‐11T17:08:27.589Z       1900   usd       The Bank of Nova Scotia                            7014      null
534       l2pD      2019‐02‐11T17:53:19.25Z        1900   usd       Publix Employees Federal Credit Union             8951       null
535       l2pD      2019‐02‐11T18:13:13.526Z       1900   usd       USAA Federal Savings Bank                            6025    null
536       l2pD      2019‐02‐11T18:29:57.833Z       1900   usd       Wells Fargo Bank, National Association            3596       null
537       l2pD      2019‐02‐11T20:46:17.092Z       1900   usd       South Central Bank, Inc.                           0329      null
538       l2pD      2019‐02‐12T15:12:20.19Z        1900   usd       U.S. Bank National Association‐Credit              4428      null
539       l2pD      2019‐02‐12T18:23:49.48Z        1900   usd       JPMorgan Chase Bank N.A.                           0541      null
540       l2pD      2019‐02‐12T18:33:00.69Z        2700   usd       CENTRAL TRUST BANK, THE                          2139        null
541       l2pD      2019‐02‐12T18:37:34.699Z       1900   usd       CENTRAL TRUST BANK, THE                            6188      null
542       l2pD      2019‐02‐12T19:29:08.067Z       1900   usd       Bank of America ‐ Consumer Credit                3675        null
543       l2pD      2019‐02‐12T20:16:24.677Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                 3800        null
544       l2pD      2019‐02‐12T20:42:53.979Z       1900   usd       JPMorgan Chase Bank N.A.                           1883      null
545       l2pD      2019‐02‐12T21:32:07.973Z        950   usd       Capital One Bank (Usa), National Association      1084       null
546       l2pD      2019‐02‐12T22:39:42.568Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION     9672        null
547       l2pD      2019‐02‐13T16:10:43.899Z       1900   usd       null                                             6821        null
548       l2pD      2019‐02‐13T19:34:51.38Z        1900   usd       null                                             1120        null
549       l2pD      2019‐02‐13T21:56:30.707Z       1900   usd       The Toronto‐Dominion Bank                          9401      null
550       l2pD      2019‐02‐15T00:09:09.136Z       1900   usd       Citibank, N.A.‐ Costco                             7151      null
551       l2pD      2019‐02‐15T14:27:23.947Z       1900   usd       RBC Bank, (Georgia) National Association           2548      null
552       l2pD      2019‐02‐15T16:30:58.428Z       1900   usd       USAA Savings Bank                                  0296      null
553       l2pD      2019‐02‐15T17:01:47.307Z       1900   usd       Bank of America, National Association               7253     null
554       l2pD      2019‐02‐15T18:23:11.487Z       1900   usd       FIFTH THIRD BANK, THE                                 3761   null
555       l2pD      2019‐02‐15T21:58:13.793Z       1900   usd       Capital One Bank (Usa), National Association       8647      null
556       l2pD      2019‐02‐15T21:58:23.245Z       1900   usd       null                                               6001      null
557       l2pD      2019‐02‐16T16:15:54.26Z        1900   usd       Wells Fargo Bank, National Association               4205    null
558       l2pD      2019‐02‐16T17:07:32.119Z       1900   usd       TD Bank, National Association                       1687     null
559       l2pD      2019‐02‐16T19:50:01.065Z       1900   usd       Ameris Bank                                     9560         null
560       l2pD      2019‐02‐16T22:22:50.956Z       1900   usd       JPMorgan Chase Bank N.A.                          2373       null
561       l2pD      2019‐02‐17T00:06:22.148Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION            0402        null
562       l2pD      2019‐02‐17T19:57:32.199Z       1900   usd       The Toronto‐Dominion Bank                          7515      null
563       l2pD      2019‐02‐17T20:46:10.156Z       1900   usd       JPMorgan Chase Bank N.A.                            4667     null
564       l2pD      2019‐02‐18T17:43:41.054Z       1900   usd       JPMorgan Chase Bank N.A.                       9090          null
565       l2pD      2019‐02‐18T18:29:08.483Z       1900   usd       First‐Citizens Bank & Trust Company                3226      null
566       l2pD      2019‐02‐18T20:48:13.946Z       1900   usd       null                                              4001       null
567       l2pD      2019‐02‐18T21:49:33.475Z       1900   usd       Trellance, Inc.                                   7747       null
568       l2pD      2019‐02‐18T21:49:33.732Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION             0255       null
569       l2pD      2019‐02‐19T17:56:38.477Z       1900   usd       CITIBANK N.A.                                   7344         null
570       l2pD      2019‐02‐19T18:49:58.684Z       1900   usd       SUNTRUST BANK                                      5851      null
571       l2pD      2019‐02‐19T21:20:00.843Z       1900   usd       PNC Bank, National Association                   2558        null
572       l2pD      2019‐02‐19T23:55:52.088Z       1900   usd       BARCLAYS BANK DELAWARE                            7984       null
573       l2pD      2019‐02‐19T23:55:53.654Z       1900   usd       BARCLAYS BANK DELAWARE                              4185     null
574       l2pD      2019‐02‐19T23:55:59.935Z       1900   usd       null                                               3089      null
575       l2pD      2019‐02‐19T23:56:08.927Z       1900   usd       Wells Fargo Bank, National Association              2446     null
576       l2pD      2019‐02‐20T01:12:08.638Z       1900   usd       JPMorgan Chase Bank N.A.                         8162        null
577       l2pD      2019‐02‐20T16:10:28.515Z       1900   usd       Credit One Bank, National Association             9337       null
578       l2pD      2019‐02‐20T18:41:32.065Z       1900   usd       Citibank, N.A.‐ Costco                            5471       null
579       l2pD      2019‐02‐21T15:10:33.903Z       1900   usd       USAA Savings Bank                                 5424       null
580       l2pD      2019‐02‐21T16:04:56.586Z       1900   usd       JPMorgan Chase Bank N.A.                            4202     null
581       l2pD      2019‐02‐21T16:36:49.738Z       1900   usd       Synovus Bank                                   9982          null
582       l2pD      2019‐02‐21T20:11:01.069Z       1900   usd       null                                               4006      null
583       l2pD      2019‐02‐21T21:08:31.382Z       1900   usd       Citibank, N.A.‐ Costco                             6805      null
                 Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 127 of 460 PageID 204


      A                         B              C                D                                  E                      F            G
584       l2pD      2019‐02‐22T08:27:57.774Z       1900   usd       M&T Bank                                         7635       null
585       l2pD      2019‐02‐22T15:43:57.94Z        3500   usd       CITIBANK N.A.                                       0790    null
586       l2pD      2019‐02‐22T16:10:38.992Z       1900   usd       EMPOWER FEDERAL CREDIT UNION                      8073      null
587       l2pD      2019‐02‐22T17:20:30.274Z       1900   usd       Citibank, N.A.‐ Costco                            9757      null
588       l2pD      2019‐02‐22T18:42:10.605Z       1900   usd       Wells Fargo Bank, National Association          8651        null
589       l2pD      2019‐02‐22T19:09:46.339Z       1900   usd       Wells Fargo Bank, National Association         8486         null
590       l2pD      2019‐02‐22T20:09:33.44Z        1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION     6763       null
591       l2pD      2019‐02‐22T21:01:53.099Z       1900   usd       Navy Federal Credit Union                          2663     null
592       l2pD      2019‐02‐23T02:46:00.93Z        1900   usd       Citibank, N.A.‐ Costco                            4667      null
593       l2pD      2019‐02‐23T16:25:21.251Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION             0527      null
594       l2pD      2019‐02‐23T19:57:21.217Z       1900   usd       Branch Banking and Trust Company                7108        null
595       l2pD      2019‐02‐23T22:29:23.873Z       1900   usd       U.S. Bank National Association‐Credit             5663      null
596       l2pD      2019‐02‐24T21:55:11.099Z       1900   usd       BARCLAYS BANK DELAWARE                         8628         null
597       l2pD      2019‐02‐24T23:18:30.221Z       1900   usd       JPMorgan Chase Bank N.A.                          2663      null
598       l2pD      2019‐02‐25T16:23:15.4Z         1900   usd       JPMorgan Chase Bank N.A.                          3823      null
599       l2pD      2019‐02‐25T16:49:45.447Z       1900   usd       JPMorgan Chase Bank N.A.                          0847      null
600       l2pD      2019‐02‐25T17:18:49.365Z       1900   usd       JPMorgan Chase Bank N.A.                         2327       null
601       l2pD      2019‐02‐25T17:40:25.653Z       1900   usd       PNC Bank, National Association                   0309       null
602       l2pD      2019‐02‐25T18:41:53.762Z       1900   usd       Bank of America, National Association           8501        null
603       l2pD      2019‐02‐25T19:00:29.612Z       1900   usd       Bank of America ‐ Consumer Credit                6674       null
604       l2pD      2019‐02‐25T21:26:08.643Z       1900   usd       JACK HENRY & ASSOCIATES                           3603      null
605       l2pD      2019‐02‐25T21:37:36.924Z       1900   usd       PSCU INCORPORATED                               7594        null
606       l2pD      2019‐02‐26T19:52:22.753Z       1900   usd       Pentagon Federal Credit Union                    8967       null
607       l2pD      2019‐02‐26T20:32:44.006Z       1900   usd       USAA Savings Bank                                 9494      null
608       l2pD      2019‐02‐26T20:45:42.808Z       1900   usd       Capital One Bank (Usa), National Association         9449   null
609       l2pD      2019‐02‐27T16:39:51.58Z        1900   usd       Bank of America ‐ Consumer Credit                 0057      null
610       l2pD      2019‐02‐27T16:53:02.034Z       1900   usd       null                                               5323     null
611       l2pD      2019‐02‐27T16:59:32.877Z       1900   usd       null                                               6319     null
612       l2pD      2019‐02‐27T18:11:00.65Z        1900   usd       null                                              7006      null
613       l2pD      2019‐02‐27T18:16:11.797Z       1900   usd       Barclays Bank Delaware                           1297       null
614       l2pD      2019‐02‐27T19:14:48.016Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION    6073        null
615       l2pD      2019‐02‐27T19:27:00.293Z       1900   usd       BARCLAYS BANK DELAWARE                          5956        null
616       l2pD      2019‐02‐27T20:08:19.788Z       1900   usd       Bank of America ‐ Consumer Credit                7060       null
617       l2pD      2019‐02‐27T20:21:01.428Z       1900   usd       FIDELITY INFORMATION SERVICES,                  1192        null
618       l2pD      2019‐02‐28T00:54:54.898Z       1900   usd       Capital One Bank (Usa), National Association      3519      null
619       l2pD      2019‐02‐28T16:59:56.972Z       1900   usd       TEACHERS CREDIT UNION                             3179      null
620       l2pD      2019‐02‐28T18:22:49.386Z       1900   usd       SUNTRUST BANK                                    4023       null
621       l2pD      2019‐02‐28T18:31:02.213Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION            6615       null
622       l2pD      2019‐02‐28T18:44:08.191Z       1900   usd       Citibank, N.A.‐ Costco                         1209         null
623       l2pD      2019‐02‐28T19:52:22.759Z       1900   usd       FIFTH THIRD BANK, THE                             6398      null
624       l2pD      2019‐02‐28T20:32:28.311Z       1900   usd       Bank of America, National Association            3929       null
625       l2pD      2019‐02‐28T20:59:30.974Z       1900   usd       Regions Bank                                     0352       null
626       l2pD      2019‐02‐28T23:13:50.893Z       1900   usd       Wells Fargo Bank, National Association           3003       null
627       l2pD      2019‐03‐01T00:44:50.205Z       1900   usd       Wells Fargo Bank, National Association              7501    null
628       l2pD      2019‐03‐01T12:36:08.247Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                  5583      null
629       l2pD      2019‐03‐01T14:36:11.483Z       1900   usd       First National Bank of Omaha                       6907     null
630       l2pD      2019‐03‐01T16:04:58.857Z       1900   usd       Corning Federal Credit Union                      1378      null
631       l2pD      2019‐03‐01T19:29:07.497Z       1900   usd       BMO HARRIS BANK N.A.                               6771     null
632       l2pD      2019‐03‐01T19:34:22.076Z       1900   usd       Bank of America ‐ Consumer Credit                 4731      null
633       l2pD      2019‐03‐01T20:27:12.597Z       1900   usd       null                                             2004       null
634       l2pD      2019‐03‐01T20:35:34.005Z       1900   usd       BARCLAYS BANK DELAWARE                          2515        null
635       l2pD      2019‐03‐02T18:30:13.611Z       1900   usd       JPMorgan Chase Bank N.A.                         6158       null
636       l2pD      2019‐03‐02T19:06:43.312Z       1900   usd       Metabank                                         8104       null
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      A                         B              C                D                                  E                       F            G
637       l2pD      2019‐03‐02T20:57:03.632Z       3900   usd       Bank of America ‐ Consumer Credit                3327        null
638       l2pD      2019‐03‐02T21:26:35.047Z       1900   usd       Wells Fargo Bank, National Association            6608       null
639       l2pD      2019‐03‐04T20:30:32.15Z        1900   usd       Financial Plus Credit Union                      T4019       null
640       l2pD      2019‐03‐05T15:44:31.801Z       1900   usd       First Financial Bank                            5861         null
641       l2pD      2019‐03‐05T18:20:03.656Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                    9620     null
642       l2pD      2019‐03‐05T18:43:09.795Z       1900   usd       FIFTH THIRD BANK, THE                             O5071      null
643       l2pD      2019‐03‐05T19:37:20.846Z       1900   usd       null                                              4001       null
644       l2pD      2019‐03‐05T20:05:06.043Z       1900   usd       null                                              8448       null
645       l2pD      2019‐03‐05T21:08:34.161Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION         5216    null
646       l2pD      2019‐03‐05T21:49:38.696Z       1900   usd       SUNTRUST BANK                                      6891      null
647       l2pD      2019‐03‐05T21:56:24.579Z       1900   usd       RBC Bank, (Georgia) National Association         9252        null
648       l2pD      2019‐03‐06T02:21:47.703Z        950   usd       Wells Fargo Bank, National Association              1948     null
649       l2pD      2019‐03‐06T14:39:56.3Z         1900   usd       PNC Bank, National Association                     4822      null
650       l2pD      2019‐03‐06T17:53:35.077Z       1900   usd       JPMorgan Chase Bank N.A.                           7084      null
651       l2pD      2019‐03‐06T17:53:35.419Z       1900   usd       JPMorgan Chase Bank N.A.                              4538   null
652       l2pD      2019‐03‐06T19:06:47.21Z        1900   usd       Bank of America ‐ Consumer Credit                  4093      null
653       l2pD      2019‐03‐06T19:06:49.943Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION         2534    null
654       l2pD      2019‐03‐06T19:23:31.087Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION              5956      null
655       l2pD      2019‐03‐07T15:52:49.664Z       1900   usd       null                                                 1008    null
656       l2pD      2019‐03‐07T16:20:08.964Z       1900   usd       JPMorgan Chase Bank N.A.                          1778       null
657       l2pD      2019‐03‐07T16:39:39.312Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION     3981        null
658       l2pD      2019‐03‐07T17:08:11.879Z       1900   usd       JPMorgan Chase Bank N.A.                           0467      null
659       l2pD      2019‐03‐07T17:32:53.149Z       1900   usd       USAA Federal Savings Bank                             0569   null
660       l2pD      2019‐03‐07T18:12:02.65Z        1900   usd       Bank of America, National Association                 9648   null
661       l2pD      2019‐03‐07T18:27:57.045Z       1900   usd       Bank of America ‐ Consumer Credit                 9691       null
662       l2pD      2019‐03‐07T19:10:04.014Z       1900   usd       JPMorgan Chase Bank N.A.                           2308      null
663       l2pD      2019‐03‐07T19:25:13.772Z       1900   usd       SUNTRUST BANK                                    0914        null
664       l2pD      2019‐03‐07T19:30:03.595Z       1900   usd       FIFTH THIRD BANK, THE                          0905          null
665       l2pD      2019‐03‐07T19:39:34.356Z       1900   usd       KEMBA FINANCIAL CREDIT UNION, INC.              1650         null
666       l2pD      2019‐03‐07T19:39:34.792Z       1900   usd       U.S. Bank National Association‐Credit            4212        null
667       l2pD      2019‐03‐07T19:50:14.82Z        1900   usd       Midflorida Credit Union                             0549     null
668       l2pD      2019‐03‐07T19:55:16.293Z       1900   usd       null                                             1007        null
669       l2pD      2019‐03‐07T20:17:58.399Z       1900   usd       Navy Federal Credit Union                        6274        null
670       l2pD      2019‐03‐07T20:43:11.341Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION       5097      null
671       l2pD      2019‐03‐07T21:19:19.676Z       1900   usd       JPMorgan Chase Bank N.A.                            3892     null
672       l2pD      2019‐03‐08T01:41:03.574Z       1900   usd       null                                              2034       null
673       l2pD      2019‐03‐08T17:34:30.402Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                   8486      null
674       l2pD      2019‐03‐08T17:45:05.022Z       1900   usd       Bank of America ‐ Consumer Credit                   2927     null
675       l2pD      2019‐03‐08T18:15:05.78Z        1900   usd       The Peoples State Bank                               0274    null
676       l2pD      2019‐03‐08T18:31:48.452Z       1900   usd       Wells Fargo Bank, National Association           6665        null
677       l2pD      2019‐03‐08T19:03:01.825Z       1900   usd       null                                             1009        null
678       l2pD      2019‐03‐08T19:03:02.298Z       1900   usd       Citizens Bank, National Association                  4505    null
679       l2pD      2019‐03‐08T20:17:12.204Z       1900   usd       SYNCHRONY BANK                                    4850       null
680       l2pD      2019‐03‐08T21:13:55.749Z       1900   usd       Wells Fargo Bank, National Association           4414        null
681       l2pD      2019‐03‐08T21:54:17.413Z       1900   usd       JPMorgan Chase Bank N.A.                           0872      null
682       l2pD      2019‐03‐08T22:23:32.905Z       1900   usd       JPMorgan Chase Bank N.A.                         3060        null
683       l2pD      2019‐03‐09T03:35:51.934Z       1900   usd       TD Bank, National Association                      1714      null
684       l2pD      2019‐03‐09T15:55:50.189Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION     3981        null
685       l2pD      2019‐03‐09T16:40:02.109Z       1900   usd       JPMorgan Chase Bank N.A.                         3539        null
686       l2pD      2019‐03‐09T18:15:52.895Z       1900   usd       Branch Banking and Trust Company‐Credit            0620      null
687       l2pD      2019‐03‐09T19:42:57.005Z       1900   usd       JPMorgan Chase Bank N.A.                        6922         null
688       l2pD      2019‐03‐09T20:25:03.363Z       1900   usd       RBC Bank, (Georgia) National Association            8247     null
689       l2pD      2019‐03‐09T21:12:19.502Z       1900   usd       CHEMICAL BANK                                    1509        null
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      A                         B              C                D                                  E                       F             G
690       l2pD      2019‐03‐09T21:22:52.625Z       1900   usd       Citibank, N.A.‐ Costco                            8962        null
691       l2pD      2019‐03‐09T21:38:46.211Z       1900   usd       Bank of America, National Association           1468          null
692       l2pD      2019‐03‐10T15:31:52.42Z        2700   usd       JPMorgan Chase Bank N.A. ‐ Debit                  6822        null
693       l2pD      2019‐03‐10T16:45:59.368Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION               2904      null
694       l2pD      2019‐03‐10T17:25:03.211Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                9745          null
695       l2pD      2019‐03‐10T17:49:05.803Z       1900   usd       BMO HARRIS BANK N.A.                             2088         null
696       l2pD      2019‐03‐11T16:20:27.479Z       1900   usd       RBC Bank, (Georgia) National Association          2383        null
697       l2pD      2019‐03‐11T17:25:29.653Z       1900   usd       Bank of America ‐ Consumer Credit              8581           null
698       l2pD      2019‐03‐11T18:24:29.022Z       2700   usd       Canadian Imperial Bank of Commerce              l3495         null
699       l2pD      2019‐03‐11T19:34:12.254Z       1900   usd       Wells Fargo Bank, National Association           0326         null
700       l2pD      2019‐03‐11T19:40:05.191Z       1900   usd       Bank of America ‐ Consumer Credit                 0600        null
701       l2pD      2019‐03‐11T19:54:37.777Z       1900   usd       null                                            U2011         null
702       l2pD      2019‐03‐11T20:13:10.334Z       1900   usd       FIFTH THIRD BANK, THE                             2316        null
703       l2pD      2019‐03‐11T21:34:12.785Z       1900   usd       null                                                1004      null
704       l2pD      2019‐03‐11T21:40:21.238Z       1900   usd       Bank of America, National Association              1228       null
705       l2pD      2019‐03‐12T14:43:26.516Z       1900   usd       Wells Fargo Bank, National Association                0897    null
706       l2pD      2019‐03‐12T17:25:01.186Z       1900   usd       BMO HARRIS BANK N.A.                              0386        null
707       l2pD      2019‐03‐12T19:16:31.822Z       1900   usd       SUNTRUST BANK                                      4312       null
708       l2pD      2019‐03‐13T17:12:09.528Z       1900   usd       The Bank of Nova Scotia                            7014       null
709       l2pD      2019‐03‐13T17:54:11.47Z        1900   usd       Publix Employees Federal Credit Union             8951        null
710       l2pD      2019‐03‐13T18:09:45.304Z       1900   usd       USAA Federal Savings Bank                            6025     null
711       l2pD      2019‐03‐13T18:39:43.205Z       1900   usd       Wells Fargo Bank, National Association            3596        null
712       l2pD      2019‐03‐13T20:52:17.962Z       1900   usd       South Central Bank, Inc.                           0329       null
713       l2pD      2019‐03‐14T15:14:21.804Z       1900   usd       U.S. Bank National Association‐Credit              4428       null
714       l2pD      2019‐03‐14T18:22:58.197Z       1900   usd       JPMorgan Chase Bank N.A.                           0541       null
715       l2pD      2019‐03‐14T18:32:58.576Z       2700   usd       CENTRAL TRUST BANK, THE                          2139         null
716       l2pD      2019‐03‐14T18:40:00.635Z       1900   usd       CENTRAL TRUST BANK, THE                          h6188        null
717       l2pD      2019‐03‐14T19:29:45.267Z       1900   usd       Bank of America ‐ Consumer Credit              g3675          null
718       l2pD      2019‐03‐14T20:16:54.541Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                 3800         null
719       l2pD      2019‐03‐14T20:41:03.365Z       1900   usd       JPMorgan Chase Bank N.A.                           1883       null
720       l2pD      2019‐03‐14T22:05:52.305Z        950   usd       Capital One Bank (Usa), National Association      1084        null
721       l2pD      2019‐03‐15T03:07:51.456Z       1900   usd       Citibank, N.A.‐ Costco                            7980        null
722       l2pD      2019‐03‐15T20:27:10.177Z       1900   usd       null                                            1120          null
723       l2pD      2019‐03‐15T22:12:48.325Z       1900   usd       The Toronto‐Dominion Bank                          9401       null
724       l2pD      2019‐03‐17T15:28:16.024Z       1900   usd       RBC Bank, (Georgia) National Association           2548       null
725       l2pD      2019‐03‐17T16:31:20.418Z       1900   usd       USAA Savings Bank                                  0296       null
726       l2pD      2019‐03‐17T16:57:27.349Z       1900   usd       Bank of America, National Association               7253      null
727       l2pD      2019‐03‐17T18:23:46.393Z       1900   usd       FIFTH THIRD BANK, THE                                  3761   null
728       l2pD      2019‐03‐17T20:23:19.361Z       1900   usd       Capital One Bank (Usa), National Association       8647       null
729       l2pD      2019‐03‐18T16:15:38.709Z       1900   usd       Wells Fargo Bank, National Association               4205     null
730       l2pD      2019‐03‐18T17:07:02.431Z       1900   usd       TD Bank, National Association                       1687      null
731       l2pD      2019‐03‐18T19:48:44.888Z       1900   usd       Ameris Bank                                     9560          null
732       l2pD      2019‐03‐18T22:26:15.421Z       1900   usd       JPMorgan Chase Bank N.A.                          2373        null
733       l2pD      2019‐03‐19T01:28:24.96Z        1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION            0402         null
734       l2pD      2019‐03‐19T10:11:15.88Z        1900   usd       USAA Savings Bank                                  5073       null
735       l2pD      2019‐03‐19T19:58:42.081Z       1900   usd       The Toronto‐Dominion Bank                          7515       null
736       l2pD      2019‐03‐19T20:44:08.871Z       1900   usd       JPMorgan Chase Bank N.A.                            4667      null
737       l2pD      2019‐03‐20T17:42:02.228Z       1900   usd       JPMorgan Chase Bank N.A.                       9090           null
738       l2pD      2019‐03‐20T18:28:56.538Z       1900   usd       First‐Citizens Bank & Trust Company                3226       null
739       l2pD      2019‐03‐20T18:51:12.113Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                     7912     null
740       l2pD      2019‐03‐20T20:47:17.687Z       1900   usd       null                                              4001        null
741       l2pD      2019‐03‐20T21:47:06.891Z       1900   usd       Trellance, Inc.                                   7747        null
742       l2pD      2019‐03‐20T21:50:23.12Z        1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION             0255        null
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      A                         B              C                D                                  E                       F            G
743       l2pD      2019‐03‐21T17:56:58.223Z       1900   usd       CITIBANK N.A.                                   7344         null
744       l2pD      2019‐03‐21T18:50:37.612Z       1900   usd       SUNTRUST BANK                                      5851      null
745       l2pD      2019‐03‐21T20:36:28.216Z       1900   usd       Wells Fargo Bank, National Association              2446     null
746       l2pD      2019‐03‐21T20:43:45.391Z       1900   usd       null                                                3089     null
747       l2pD      2019‐03‐21T21:02:30.777Z       1900   usd       BARCLAYS BANK DELAWARE                              4185     null
748       l2pD      2019‐03‐21T21:05:46.967Z       1900   usd       BARCLAYS BANK DELAWARE                            7984       null
749       l2pD      2019‐03‐22T01:18:58.97Z        1900   usd       JPMorgan Chase Bank N.A.                         8162        null
750       l2pD      2019‐03‐22T16:14:38.85Z        1900   usd       Credit One Bank, National Association             9337       null
751       l2pD      2019‐03‐22T21:55:23.283Z       1900   usd       null                                                9401     null
752       l2pD      2019‐03‐23T15:11:23.505Z       1900   usd       USAA Savings Bank                                 5424       null
753       l2pD      2019‐03‐23T16:07:26.113Z       1900   usd       JPMorgan Chase Bank N.A.                             4202    null
754       l2pD      2019‐03‐23T16:36:26.744Z       1900   usd       Synovus Bank                                   9982          null
755       l2pD      2019‐03‐23T20:12:59.163Z       1900   usd       null                                                4006     null
756       l2pD      2019‐03‐23T21:07:13.198Z       1900   usd       Citibank, N.A.‐ Costco                             6805      null
757       l2pD      2019‐03‐24T15:44:15.085Z       3500   usd       CITIBANK N.A.                                        0790    null
758       l2pD      2019‐03‐24T16:08:14.271Z       1900   usd       EMPOWER FEDERAL CREDIT UNION                       8073      null
759       l2pD      2019‐03‐24T17:19:18.011Z       1900   usd       Citibank, N.A.‐ Costco                              9757     null
760       l2pD      2019‐03‐24T19:10:08.685Z       1900   usd       Wells Fargo Bank, National Association          8486         null
761       l2pD      2019‐03‐24T21:01:00.049Z       1900   usd       Navy Federal Credit Union                           2663     null
762       l2pD      2019‐03‐25T02:46:08.711Z       1900   usd       Citibank, N.A.‐ Costco                              4667     null
763       l2pD      2019‐03‐25T16:04:47.111Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION               0527     null
764       l2pD      2019‐03‐25T18:29:06.219Z       1900   usd       Branch Banking and Trust Company                 7108        null
765       l2pD      2019‐03‐25T20:09:18.086Z       1900   usd       U.S. Bank National Association‐Credit               5663     null
766       l2pD      2019‐03‐25T20:26:02.141Z       1900   usd       null                                                7353     null
767       l2pD      2019‐03‐26T21:57:24.83Z        1900   usd       BARCLAYS BANK DELAWARE                          8628         null
768       l2pD      2019‐03‐26T23:18:50.148Z       1900   usd       JPMorgan Chase Bank N.A.                           2663      null
769       l2pD      2019‐03‐27T16:25:07.802Z       1900   usd       JPMorgan Chase Bank N.A.                          3823       null
770       l2pD      2019‐03‐27T16:46:31.272Z       1900   usd       JPMorgan Chase Bank N.A.                          0847       null
771       l2pD      2019‐03‐27T17:18:05.855Z       1900   usd       JPMorgan Chase Bank N.A.                          2327       null
772       l2pD      2019‐03‐27T17:37:17.333Z       1900   usd       PNC Bank, National Association                    0309       null
773       l2pD      2019‐03‐27T18:43:49.318Z       1900   usd       Bank of America, National Association            8501        null
774       l2pD      2019‐03‐27T18:58:03.793Z       1900   usd       Bank of America ‐ Consumer Credit                 6674       null
775       l2pD      2019‐03‐27T19:44:49.203Z       1900   usd       PNC Bank, National Association                   2558        null
776       l2pD      2019‐03‐27T21:24:53.184Z       1900   usd       JACK HENRY & ASSOCIATES                            3603      null
777       l2pD      2019‐03‐27T21:39:11.06Z        1900   usd       PSCU INCORPORATED                                7594        null
778       l2pD      2019‐03‐28T15:39:16.527Z       1900   usd       SYNCHRONY BANK                                     8561      null
779       l2pD      2019‐03‐28T16:49:55.034Z       1900   usd       SUNTRUST BANK                                     5520       null
780       l2pD      2019‐03‐28T18:26:16.059Z       1900   usd       U.S. Bank National Association‐Credit            2711        null
781       l2pD      2019‐03‐28T18:31:50.937Z       1900   usd       American Airlines Federal Credit Union            7491       null
782       l2pD      2019‐03‐28T20:34:32.635Z       1900   usd       USAA Savings Bank                                  9494      null
783       l2pD      2019‐03‐28T20:46:12.726Z       1900   usd       Capital One Bank (Usa), National Association          9449   null
784       l2pD      2019‐03‐29T00:52:23.899Z       1900   usd       Citibank, N.A.‐ Costco                            5471       null
785       l2pD      2019‐03‐29T16:51:26.319Z       1900   usd       null                                               J5323     null
786       l2pD      2019‐03‐29T16:54:46.115Z       1900   usd       null                                                 6319    null
787       l2pD      2019‐03‐29T18:10:03.472Z       1900   usd       null                                               7006      null
788       l2pD      2019‐03‐29T18:17:40.015Z       1900   usd       Barclays Bank Delaware                            1297       null
789       l2pD      2019‐03‐29T19:14:39.536Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION     6073        null
790       l2pD      2019‐03‐29T20:07:50.868Z       1900   usd       Bank of America ‐ Consumer Credit                 7060       null
791       l2pD      2019‐03‐29T20:18:04.868Z       1900   usd       FIDELITY INFORMATION SERVICES,                   1192        null
792       l2pD      2019‐03‐30T00:53:44.552Z       1900   usd       Capital One Bank (Usa), National Association       3519      null
793       l2pD      2019‐03‐30T12:51:13.393Z       1900   usd       null                                             1003        null
794       l2pD      2019‐03‐30T13:59:05.899Z       1900   usd       Bank of America ‐ Consumer Credit                   9329     null
795       l2pD      2019‐03‐30T17:02:11.064Z       1900   usd       TEACHERS CREDIT UNION                              3179      null
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      A                         B              C                D                                  E                      F             G
796       l2pD      2019‐03‐30T17:13:05.879Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION             8887       null
797       l2pD      2019‐03‐30T18:25:50.395Z       1900   usd       SUNTRUST BANK                                     4023       null
798       l2pD      2019‐03‐30T18:33:52.551Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION            6615        null
799       l2pD      2019‐03‐30T18:45:40.48Z        1900   usd       Citibank, N.A.‐ Costco                         1209          null
800       l2pD      2019‐03‐30T19:10:11.872Z       1900   usd       Wauchula State Bank                              5406        null
801       l2pD      2019‐03‐30T19:55:40.123Z       1900   usd       FIFTH THIRD BANK, THE                              6398      null
802       l2pD      2019‐03‐30T20:06:21.679Z       1900   usd       Tampa Bay Federal Credit Union                      9390     null
803       l2pD      2019‐03‐30T20:33:54.37Z        1900   usd       Bank of America, National Association           f3929        null
804       l2pD      2019‐03‐30T20:34:32.694Z       1900   usd       SUNTRUST BANK                                   1023         null
805       l2pD      2019‐03‐30T21:01:09.795Z       1900   usd       Regions Bank                                      0352       null
806       l2pD      2019‐03‐30T23:16:15.463Z       1900   usd       Wells Fargo Bank, National Association            3003       null
807       l2pD      2019‐03‐31T01:47:59.803Z       1900   usd       Wells Fargo Bank, National Association               7501    null
808       l2pD      2019‐03‐31T13:39:30.93Z        1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                  5583       null
809       l2pD      2019‐03‐31T14:38:34.468Z       1900   usd       First National Bank of Omaha                        6907     null
810       l2pD      2019‐03‐31T15:10:11.546Z       1900   usd       FIRST NATIONAL BANK OF OMAHA                    4628         null
811       l2pD      2019‐03‐31T16:05:40.433Z       1900   usd       Corning Federal Credit Union                       1378      null
812       l2pD      2019‐03‐31T17:27:54.204Z       1900   usd       U.S. Bank National Association‐Credit            8253        null
813       l2pD      2019‐03‐31T18:05:39.032Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION      6266       null
814       l2pD      2019‐03‐31T19:34:13.33Z        1900   usd       Bank of America ‐ Consumer Credit                 4731       null
815       l2pD      2019‐03‐31T20:29:11.949Z       1900   usd       null                                              2004       null
816       l2pD      2019‐03‐31T20:35:33.986Z       1900   usd       BARCLAYS BANK DELAWARE                           2515        null
817       l2pD      2019‐04‐01T18:30:15.442Z       1900   usd       JPMorgan Chase Bank N.A.                         6158        null
818       l2pD      2019‐04‐01T19:09:11.352Z       1900   usd       Metabank                                          8104       null
819       l2pD      2019‐04‐01T20:59:23.5Z         3900   usd       Bank of America ‐ Consumer Credit                3327        null
820       l2pD      2019‐04‐01T21:26:26.39Z        1900   usd       Wells Fargo Bank, National Association           J6608       null
821       l2pD      2019‐04‐02T15:20:56.403Z       1900   usd       Citibank, N.A.‐ Costco                             0443      null
822       l2pD      2019‐04‐02T15:26:33.795Z       1900   usd       SYNCHRONY BANK                                      5580     null
823       l2pD      2019‐04‐02T16:35:05.171Z       1900   usd       Bank of America ‐ Consumer Credit               3294         null
824       l2pD      2019‐04‐02T18:32:15.608Z       2700   usd       Royal Bank of Canada                           7809          null
825       l2pD      2019‐04‐02T19:20:45.385Z       1900   usd       Wells Fargo Bank, National Association            7439       null
826       l2pD      2019‐04‐03T17:45:15.167Z       1900   usd       BMO HARRIS BANK N.A.                            2088         null
827       l2pD      2019‐04‐03T18:00:55.856Z       1900   usd       Regions Bank                                       6183      null
828       l2pD      2019‐04‐03T18:33:49.738Z       1900   usd       SYNCHRONY BANK                                    5068       null
829       l2pD      2019‐04‐03T19:26:22.172Z       1900   usd       BARCLAYS BANK DELAWARE                             2333      null
830       l2pD      2019‐04‐03T19:38:32.703Z       1900   usd       CAPITAL ONE, NATIONAL ASSOCIATION                4591        null
831       l2pD      2019‐04‐03T20:31:54.011Z       1900   usd       Financial Plus Credit Union                        4019      null
832       l2pD      2019‐04‐04T15:47:28.976Z       1900   usd       First Financial Bank                           5861          null
833       l2pD      2019‐04‐04T15:51:22.371Z       1900   usd       TORONTO‐DOMINION BANK, THE                      9608         null
834       l2pD      2019‐04‐04T18:17:42.74Z        1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                    9620     null
835       l2pD      2019‐04‐04T18:21:39.22Z        1900   usd       Liberty Savings Bank, F.S.B.                       4456      null
836       l2pD      2019‐04‐04T18:38:02.562Z       1900   usd       FIFTH THIRD BANK, THE                               5071     null
837       l2pD      2019‐04‐04T19:36:15.021Z       1900   usd       null                                              4001       null
838       l2pD      2019‐04‐04T20:02:56.705Z       1900   usd       null                                             8448        null
839       l2pD      2019‐04‐04T21:09:54.754Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION         5216    null
840       l2pD      2019‐04‐04T21:42:25.676Z       1900   usd       SUNTRUST BANK                                      6891      null
841       l2pD      2019‐04‐04T21:57:29.44Z        1900   usd       RBC Bank, (Georgia) National Association         9252        null
842       l2pD      2019‐04‐05T02:19:29.407Z        950   usd       Wells Fargo Bank, National Association              1948     null
843       l2pD      2019‐04‐05T14:52:39.97Z        1900   usd       BARCLAYS BANK DELAWARE                           7953        null
844       l2pD      2019‐04‐05T17:48:10.377Z       1900   usd       BARCLAYS BANK DELAWARE                           6376        null
845       l2pD      2019‐04‐05T17:51:27.86Z        1900   usd       JPMorgan Chase Bank N.A.                           7084      null
846       l2pD      2019‐04‐05T17:58:37.52Z        1900   usd       JPMorgan Chase Bank N.A.                              4538   null
847       l2pD      2019‐04‐05T18:03:19.013Z       1900   usd       Suncoast Credit Union                             6245       null
848       l2pD      2019‐04‐05T19:06:29.809Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION         2534    null
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      A                         B              C                D                                  E                       F            G
849       l2pD      2019‐04‐05T19:06:30.418Z       1900   usd       Bank of America ‐ Consumer Credit                  4093      null
850       l2pD      2019‐04‐05T19:25:28.852Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION              5956      null
851       l2pD      2019‐04‐05T22:07:43.847Z       1900   usd       Max Credit Union                                     4662    null
852       l2pD      2019‐04‐06T11:54:47.504Z       1900   usd       Regions Bank                                    2201         null
853       l2pD      2019‐04‐06T15:50:54.394Z       1900   usd       null                                                 1008    null
854       l2pD      2019‐04‐06T16:22:32.541Z       1900   usd       JPMorgan Chase Bank N.A.                          1778       null
855       l2pD      2019‐04‐06T16:41:35.462Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION     3981        null
856       l2pD      2019‐04‐06T17:06:51.324Z       1900   usd       JPMorgan Chase Bank N.A.                           0467      null
857       l2pD      2019‐04‐06T17:32:52.691Z       1900   usd       USAA Federal Savings Bank                             0569   null
858       l2pD      2019‐04‐06T18:12:25.97Z        1900   usd       Bank of America, National Association                 9648   null
859       l2pD      2019‐04‐06T18:32:03.493Z       1900   usd       Bank of America ‐ Consumer Credit                  9691      null
860       l2pD      2019‐04‐06T19:04:39.844Z       1900   usd       BARCLAYS BANK DELAWARE                            6148       null
861       l2pD      2019‐04‐06T19:13:08.486Z       1900   usd       JPMorgan Chase Bank N.A.                           2308      null
862       l2pD      2019‐04‐06T19:26:38.511Z       1900   usd       SUNTRUST BANK                                    0914        null
863       l2pD      2019‐04‐06T19:33:31.84Z        1900   usd       FIFTH THIRD BANK, THE                          0905          null
864       l2pD      2019‐04‐06T19:40:14.123Z       1900   usd       KEMBA FINANCIAL CREDIT UNION, INC.              1650         null
865       l2pD      2019‐04‐06T19:40:14.684Z       1900   usd       U.S. Bank National Association‐Credit            4212        null
866       l2pD      2019‐04‐06T19:47:00.742Z       1900   usd       Midflorida Credit Union                             0549     null
867       l2pD      2019‐04‐06T20:00:41.202Z       1900   usd       null                                             1007        null
868       l2pD      2019‐04‐06T20:14:30.501Z       1900   usd       Navy Federal Credit Union                        6274        null
869       l2pD      2019‐04‐06T20:43:03.76Z        1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION        5097     null
870       l2pD      2019‐04‐06T21:24:23.005Z       1900   usd       JPMorgan Chase Bank N.A.                            3892     null
871       l2pD      2019‐04‐07T01:43:36.755Z       1900   usd       null                                              2034       null
872       l2pD      2019‐04‐07T14:43:33.497Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                  8560       null
873       l2pD      2019‐04‐07T16:50:27.494Z       1900   usd       Canadian Imperial Bank of Commerce               3495        null
874       l2pD      2019‐04‐07T17:37:30.905Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                    8486     null
875       l2pD      2019‐04‐07T17:44:42.145Z       1900   usd       Bank of America ‐ Consumer Credit                   2927     null
876       l2pD      2019‐04‐07T18:15:20.843Z       1900   usd       The Peoples State Bank                               0274    null
877       l2pD      2019‐04‐07T18:32:39.608Z       1900   usd       Wells Fargo Bank, National Association           6665        null
878       l2pD      2019‐04‐07T19:05:16.06Z        1900   usd       Royal Bank of Canada                                8292     null
879       l2pD      2019‐04‐07T19:05:49.726Z       1900   usd       Citizens Bank, National Association                  4505    null
880       l2pD      2019‐04‐07T19:05:49.794Z       1900   usd       null                                             1009        null
881       l2pD      2019‐04‐07T19:38:39.133Z       1900   usd       Bank of America, National Association            2456        null
882       l2pD      2019‐04‐07T21:16:23.588Z       1900   usd       SYNCHRONY BANK                                    4850       null
883       l2pD      2019‐04‐07T22:56:01.615Z       1900   usd       Wells Fargo Bank, National Association           4414        null
884       l2pD      2019‐04‐07T22:56:21.425Z       1900   usd       JPMorgan Chase Bank N.A.                            0872     null
885       l2pD      2019‐04‐07T23:19:18.584Z       1900   usd       The Northern Trust Company                       4305        null
886       l2pD      2019‐04‐07T23:45:01.9Z         1900   usd       JPMorgan Chase Bank N.A.                         3060        null
887       l2pD      2019‐04‐08T03:36:59.928Z       1900   usd       TD Bank, National Association                      1714      null
888       l2pD      2019‐04‐08T16:44:33.895Z       1900   usd       JPMorgan Chase Bank N.A.                         3539        null
889       l2pD      2019‐04‐08T18:19:35.415Z       1900   usd       Branch Banking and Trust Company‐Credit            0620      null
890       l2pD      2019‐04‐08T19:47:02.73Z        1900   usd       JPMorgan Chase Bank N.A.                        6922         null
891       l2pD      2019‐04‐08T20:30:03.026Z       1900   usd       RBC Bank, (Georgia) National Association            8247     null
892       l2pD      2019‐04‐08T21:18:17.764Z       1900   usd       CHEMICAL BANK                                    1509        null
893       l2pD      2019‐04‐08T21:28:24.323Z       1900   usd       Citibank, N.A.‐ Costco                            8962       null
894       l2pD      2019‐04‐08T21:44:03.21Z        1900   usd       Bank of America, National Association           1468         null
895       l2pD      2019‐04‐09T02:09:57.893Z       1900   usd       Citibank, N.A.‐ Costco                            7980       null
896       l2pD      2019‐04‐09T15:37:52.708Z       2700   usd       JPMorgan Chase Bank N.A. ‐ Debit                   6822      null
897       l2pD      2019‐04‐09T15:50:40.072Z       1900   usd       SUNTRUST BANK                                  1551          null
898       l2pD      2019‐04‐09T16:48:53.416Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION             6979       null
899       l2pD      2019‐04‐09T17:23:17.589Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                 9745        null
900       l2pD      2019‐04‐10T14:56:18.642Z       1900   usd       Capital One Bank (Usa), National Association      2422       null
901       l2pD      2019‐04‐10T16:20:00.522Z       1900   usd       RBC Bank, (Georgia) National Association          2383       null
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      A                         B              C                D                                  E                      F             G
902       l2pD      2019‐04‐10T17:23:50.116Z       1900   usd       Bank of America ‐ Consumer Credit              8581          null
903       l2pD      2019‐04‐10T19:36:55.824Z       1900   usd       Wells Fargo Bank, National Association          0326         null
904       l2pD      2019‐04‐10T19:42:49.977Z       1900   usd       Bank of America ‐ Consumer Credit                0600        null
905       l2pD      2019‐04‐10T19:53:55.84Z        1900   usd       null                                              2011       null
906       l2pD      2019‐04‐10T20:10:39.009Z       1900   usd       FIFTH THIRD BANK, THE                            2316        null
907       l2pD      2019‐04‐10T21:30:55.415Z       1900   usd       null                                                1004     null
908       l2pD      2019‐04‐10T21:37:25.682Z       1900   usd       Bank of America, National Association              1228      null
909       l2pD      2019‐04‐11T14:45:55.212Z       1900   usd       Wells Fargo Bank, National Association               0897    null
910       l2pD      2019‐04‐11T15:37:26.137Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION       7819      null
911       l2pD      2019‐04‐11T17:29:42.939Z       1900   usd       BMO HARRIS BANK N.A.                             0386        null
912       l2pD      2019‐04‐11T18:08:35.513Z       1900   usd       CAPITAL ONE, NATIONAL ASSOCIATION                 4047       null
913       l2pD      2019‐04‐11T19:13:25.629Z       1900   usd       SUNTRUST BANK                                     4312       null
914       l2pD      2019‐04‐11T19:34:08.259Z       1900   usd       Bank of America ‐ Consumer Credit                     1026   null
915       l2pD      2019‐04‐12T15:59:20.785Z       2700   usd       U.S. Bank National Association‐Credit              5117      null
916       l2pD      2019‐04‐12T16:06:46.513Z       1900   usd       Citibank, N.A.‐ Costco                              4009     null
917       l2pD      2019‐04‐12T16:59:44.481Z       1900   usd       Wells Fargo Bank, National Association          G7081        null
918       l2pD      2019‐04‐12T17:52:16.549Z       1900   usd       Publix Employees Federal Credit Union          68951         null
919       l2pD      2019‐04‐12T17:57:47.361Z       1900   usd       SYNCHRONY BANK                                     3894      null
920       l2pD      2019‐04‐12T18:09:15.761Z       1900   usd       USAA Federal Savings Bank                            6025    null
921       l2pD      2019‐04‐12T18:32:41.061Z       1900   usd       Wells Fargo Bank, National Association           3596        null
922       l2pD      2019‐04‐12T18:45:56.38Z        2700   usd       HUNTINGTON NATIONAL BANK                         8802        null
923       l2pD      2019‐04‐12T19:43:55.57Z        1900   usd       NRL Federal Credit Union                        2922         null
924       l2pD      2019‐04‐12T22:00:40.65Z        1900   usd       South Central Bank, Inc.                          0329       null
925       l2pD      2019‐04‐13T14:18:16.905Z       2700   usd       Bank of America ‐ Consumer Credit                4255        null
926       l2pD      2019‐04‐13T14:59:39.677Z       1900   usd       Suncoast Credit Union                            6051        null
927       l2pD      2019‐04‐13T15:15:15.957Z       1900   usd       U.S. Bank National Association‐Credit             4428       null
928       l2pD      2019‐04‐13T16:24:58.293Z       1900   usd       TD Bank, National Association                     1080       null
929       l2pD      2019‐04‐13T17:02:34.309Z       1900   usd       Capital One Bank (Usa), National Association   2642          null
930       l2pD      2019‐04‐13T18:28:05.842Z       1900   usd       JPMorgan Chase Bank N.A.                          0541       null
931       l2pD      2019‐04‐13T18:40:27.354Z       1900   usd       CENTRAL TRUST BANK, THE                           6188       null
932       l2pD      2019‐04‐13T19:34:37.924Z       1900   usd       Bank of America ‐ Consumer Credit               3675         null
933       l2pD      2019‐04‐13T20:17:09.957Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                 3800        null
934       l2pD      2019‐04‐13T20:42:05.975Z       1900   usd       JPMorgan Chase Bank N.A.                          1883       null
935       l2pD      2019‐04‐13T21:33:30.979Z        950   usd       Capital One Bank (Usa), National Association     1084        null
936       l2pD      2019‐04‐14T13:01:25.777Z       1900   usd       JPMorgan Chase Bank N.A.                            7643     null
937       l2pD      2019‐04‐14T16:58:55.748Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION     3293        null
938       l2pD      2019‐04‐14T18:33:42.101Z       1900   usd       null                                              3003       null
939       l2pD      2019‐04‐14T19:36:16.764Z       1900   usd       null                                            1120         null
940       l2pD      2019‐04‐14T21:54:38.682Z       1900   usd       The Toronto‐Dominion Bank                         9401       null
941       l2pD      2019‐04‐16T02:45:23.342Z       2700   usd       null                                              7765       null
942       l2pD      2019‐04‐16T16:34:34.101Z       1900   usd       USAA Savings Bank                                 0296       null
943       l2pD      2019‐04‐16T16:47:15.295Z       1900   usd       Branch Banking and Trust Company                 7301        null
944       l2pD      2019‐04‐16T17:01:08.169Z       1900   usd       Bank of America, National Association              7253      null
945       l2pD      2019‐04‐16T18:07:35.59Z        1900   usd       JPMorgan Chase Bank N.A.                            6205     null
946       l2pD      2019‐04‐16T18:29:51.809Z       1900   usd       BARCLAYS BANK DELAWARE                           8842        null
947       l2pD      2019‐04‐16T19:40:36.357Z       1900   usd       JPMorgan Chase Bank N.A.                        9081         null
948       l2pD      2019‐04‐16T20:20:51.628Z       1900   usd       Capital One Bank (Usa), National Association      8647       null
949       l2pD      2019‐04‐17T16:15:00.01Z        1900   usd       Wells Fargo Bank, National Association               4205    null
950       l2pD      2019‐04‐17T17:10:17.267Z       1900   usd       TD Bank, National Association                      1687      null
951       l2pD      2019‐04‐17T22:28:22.718Z       1900   usd       JPMorgan Chase Bank N.A.                         2373        null
952       l2pD      2019‐04‐18T01:25:55.334Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION            0402        null
953       l2pD      2019‐04‐18T20:01:23.946Z       1900   usd       The Toronto‐Dominion Bank                       G7515        null
954       l2pD      2019‐04‐18T20:46:28.272Z       1900   usd       JPMorgan Chase Bank N.A.                           4667      null
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       A                         B              C                D                                  E                         F            G
 955       l2pD      2019‐04‐19T17:43:15.048Z       1900   usd       JPMorgan Chase Bank N.A.                         9090          null
 956       l2pD      2019‐04‐19T18:29:55.632Z       1900   usd       First‐Citizens Bank & Trust Company                  3226      null
 957       l2pD      2019‐04‐19T19:56:54.251Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                       7912    null
 958       l2pD      2019‐04‐19T20:48:33.012Z       1900   usd       null                                                4001       null
 959       l2pD      2019‐04‐19T21:53:49.167Z       1900   usd       Trellance, Inc.                                     7747       null
 960       l2pD      2019‐04‐19T21:53:49.317Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION               0255       null
 961       l2pD      2019‐04‐20T09:43:48.123Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION              0402        null
 962       l2pD      2019‐04‐20T17:55:17.938Z       1900   usd       CITIBANK N.A.                                  gx7344          null
 963       l2pD      2019‐04‐20T18:50:02.694Z       1900   usd       SUNTRUST BANK                                        5851      null
 964       l2pD      2019‐04‐20T20:30:26.305Z       1900   usd       Wells Fargo Bank, National Association                2446     null
 965       l2pD      2019‐04‐20T20:45:27.736Z       1900   usd       null                                                 3089      null
 966       l2pD      2019‐04‐20T21:00:10.341Z       1900   usd       BARCLAYS BANK DELAWARE                                4185     null
 967       l2pD      2019‐04‐20T21:07:48.016Z       1900   usd       BARCLAYS BANK DELAWARE                              7984       null
 968       l2pD      2019‐04‐21T01:27:57.863Z       1900   usd       JPMorgan Chase Bank N.A.                           8162        null
 969       l2pD      2019‐04‐22T15:09:26.164Z       1900   usd       USAA Savings Bank                                   5424       null
 970       l2pD      2019‐04‐22T16:09:12.973Z       1900   usd       JPMorgan Chase Bank N.A.                              4202     null
 971       l2pD      2019‐04‐22T16:43:27.145Z       1900   usd       Synovus Bank                                    9982           null
 972       l2pD      2019‐04‐22T20:28:12.31Z        1900   usd       null                                                  4006     null
 973       l2pD      2019‐04‐22T21:07:40.317Z       1900   usd       Citibank, N.A.‐ Costco                               6805      null
 974       l2pD      2019‐04‐23T15:46:17.078Z       3500   usd       CITIBANK N.A.                                          0790    null
 975       l2pD      2019‐04‐23T16:09:29.71Z        1900   usd       EMPOWER FEDERAL CREDIT UNION                         8073      null
 976       l2pD      2019‐04‐23T17:18:36.379Z       1900   usd       Citibank, N.A.‐ Costco                               9757      null
 977       l2pD      2019‐04‐23T19:14:17.108Z       1900   usd       Wells Fargo Bank, National Association            8486         null
 978       l2pD      2019‐04‐23T21:02:46.024Z       1900   usd       Navy Federal Credit Union                             2663     null
 979       l2pD      2019‐04‐24T02:53:27.672Z       1900   usd       Citibank, N.A.‐ Costco                               4667      null
 980       l2pD      2019‐04‐24T16:11:15.892Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION                0527      null
 981       l2pD      2019‐04‐24T18:26:55.18Z        1900   usd       Branch Banking and Trust Company                  7108         null
 982       l2pD      2019‐04‐24T20:13:44.225Z       1900   usd       U.S. Bank National Association‐Credit                5663      null
 983       l2pD      2019‐04‐24T21:33:00.216Z       1900   usd       null                                                 7353      null
 984       l2pD      2019‐04‐25T21:54:41.482Z       1900   usd       BARCLAYS BANK DELAWARE                           8628          null
 985       l2pD      2019‐04‐25T22:08:40.927Z       1900   usd       null                                                 4485      null
 986       l2pD      2019‐04‐25T23:21:32.738Z       1900   usd       JPMorgan Chase Bank N.A.                          H2663        null
 987       l2pD      2019‐04‐26T00:37:57.631Z       1900   usd       RBC Bank, (Georgia) National Association              2548     null
 988       l2pD      2019‐04‐26T16:26:33.744Z       1900   usd       JPMorgan Chase Bank N.A.                            3823       null
 989       l2pD      2019‐04‐26T16:52:06.432Z       1900   usd       JPMorgan Chase Bank N.A.                            0847       null
 990       l2pD      2019‐04‐26T17:17:49.473Z       1900   usd       JPMorgan Chase Bank N.A.                            2327       null
 991       l2pD      2019‐04‐26T17:39:26.567Z       1900   usd       PNC Bank, National Association                      0309       null
 992       l2pD      2019‐04‐26T18:52:25.046Z       1900   usd       Bank of America, National Association              8501        null
 993       l2pD      2019‐04‐26T19:10:36.59Z        1900   usd       Bank of America ‐ Consumer Credit                   6674       null
 994       l2pD      2019‐04‐26T19:41:52.054Z       1900   usd       Citibank, N.A.‐ Costco                              5471       null
 995       l2pD      2019‐04‐26T21:28:34.979Z       1900   usd       JACK HENRY & ASSOCIATES                              3603      null
 996       l2pD      2019‐04‐26T21:36:07.046Z       1900   usd       Bank of America ‐ Consumer Credit                     2262     null
 997       l2pD      2019‐04‐26T21:47:22.494Z       1900   usd       PSCU INCORPORATED                                  7594        null
 998       l2pD      2019‐04‐27T16:44:05.068Z       1900   usd       SYNCHRONY BANK                                       8561      null
 999       l2pD      2019‐04‐27T17:52:00.937Z       1900   usd       SUNTRUST BANK                                       5520       null
1000       l2pD      2019‐04‐27T19:32:30.29Z        1900   usd       U.S. Bank National Association‐Credit              2711        null
1001       l2pD      2019‐04‐27T19:41:49.132Z       1900   usd       American Airlines Federal Credit Union              7491       null
1002       l2pD      2019‐04‐27T20:43:31.381Z       1900   usd       USAA Savings Bank                                    9494      null
1003       l2pD      2019‐04‐27T20:53:24.204Z       1900   usd       Capital One Bank (Usa), National Association            9449   null
1004       l2pD      2019‐04‐28T16:58:15.301Z       1900   usd       null                                                  5323     null
1005       l2pD      2019‐04‐28T16:58:17.385Z       1900   usd       null                                                   6319    null
1006       l2pD      2019‐04‐28T18:11:28.416Z       1900   usd       null                                                 7006      null
1007       l2pD      2019‐04‐28T18:20:10.267Z       1900   usd       Barclays Bank Delaware                              1297       null
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       A                         B              C                D                                 E                       F            G
1008       l2pD      2019‐04‐28T19:18:45.619Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION       9617     null
1009       l2pD      2019‐04‐28T20:06:44.372Z       1900   usd       Bank of America ‐ Consumer Credit                 7060      null
1010       l2pD      2019‐04‐29T00:58:01.537Z       1900   usd       Capital One Bank (Usa), National Association      3519      null
1011       l2pD      2019‐04‐29T13:51:39.434Z       1900   usd       null                                            1003        null
1012       l2pD      2019‐04‐29T15:02:39.771Z       1900   usd       Bank of America ‐ Consumer Credit                  9329     null
1013       l2pD      2019‐04‐29T17:00:03.171Z       1900   usd       TEACHERS CREDIT UNION                             3179      null
1014       l2pD      2019‐04‐29T18:18:42.692Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION             8887      null
1015       l2pD      2019‐04‐29T18:25:50.203Z       1900   usd       SUNTRUST BANK                                     4023      null
1016       l2pD      2019‐04‐29T18:40:01.159Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION            6615       null
1017       l2pD      2019‐04‐29T18:47:25.236Z       1900   usd       Citibank, N.A.‐ Costco                         1209         null
1018       l2pD      2019‐04‐29T20:16:28.334Z       1900   usd       Wauchula State Bank                              5406       null
1019       l2pD      2019‐04‐29T20:36:04.013Z       1900   usd       Bank of America, National Association            3929       null
1020       l2pD      2019‐04‐29T21:04:51.099Z       1900   usd       Regions Bank                                     0352       null
1021       l2pD      2019‐04‐29T21:12:30.522Z       1900   usd       Tampa Bay Federal Credit Union                     9390     null
1022       l2pD      2019‐04‐29T21:35:29.294Z       1900   usd       SUNTRUST BANK                                   1023        null
1023       l2pD      2019‐04‐29T23:14:34.329Z       1900   usd       Wells Fargo Bank, National Association            3003      null
1024       l2pD      2019‐04‐30T01:47:25.923Z       1900   usd       Wells Fargo Bank, National Association              7501    null
1025       l2pD      2019‐04‐30T13:36:37.455Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                  5583      null
1026       l2pD      2019‐04‐30T14:39:06.927Z       1900   usd       First National Bank of Omaha                       6907     null
1027       l2pD      2019‐04‐30T16:09:24.418Z       1900   usd       Corning Federal Credit Union                       1378     null
1028       l2pD      2019‐04‐30T16:14:06.168Z       1900   usd       FIRST NATIONAL BANK OF OMAHA                    4628        null
1029       l2pD      2019‐04‐30T19:10:09.742Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION     6266       null
1030       l2pD      2019‐04‐30T19:36:00.351Z       1900   usd       Bank of America ‐ Consumer Credit                 4731      null
1031       l2pD      2019‐04‐30T20:10:09.617Z       1900   usd       Bank of America, National Association            6533       null
1032       l2pD      2019‐04‐30T20:27:52.24Z        1900   usd       null                                              2004      null
1033       l2pD      2019‐04‐30T20:38:05.09Z        1900   usd       BARCLAYS BANK DELAWARE                           2515       null
1034       l2pD      2019‐05‐01T18:30:12.389Z       1900   usd       JPMorgan Chase Bank N.A.                         6158       null
1035       l2pD      2019‐05‐01T19:09:24.279Z       1900   usd       Metabank                                         8104       null
1036       l2pD      2019‐05‐01T20:57:33.47Z        3900   usd       Bank of America ‐ Consumer Credit                3327       null
1037       l2pD      2019‐05‐01T21:27:54.518Z       1900   usd       Wells Fargo Bank, National Association            6608      null
1038       l2pD      2019‐05‐02T16:21:22.795Z       1900   usd       Citibank, N.A.‐ Costco                            0443      null
1039       l2pD      2019‐05‐02T16:28:47.503Z       1900   usd       SYNCHRONY BANK                                      5580    null
1040       l2pD      2019‐05‐02T17:39:25.174Z       1900   usd       Bank of America ‐ Consumer Credit               3294        null
1041       l2pD      2019‐05‐02T19:32:41.731Z       2700   usd       Royal Bank of Canada                           7809         null
1042       l2pD      2019‐05‐02T20:21:47.644Z       1900   usd       Wells Fargo Bank, National Association            7439      null
1043       l2pD      2019‐05‐03T19:36:52.691Z       1900   usd       SYNCHRONY BANK                                    5068      null
1044       l2pD      2019‐05‐03T20:27:49.292Z       1900   usd       BARCLAYS BANK DELAWARE                            2333      null
1045       l2pD      2019‐05‐03T20:33:00.984Z       1900   usd       Financial Plus Credit Union                       4019      null
1046       l2pD      2019‐05‐03T20:45:59.767Z       1900   usd       CAPITAL ONE, NATIONAL ASSOCIATION                4591       null
1047       l2pD      2019‐05‐04T15:45:34.084Z       1900   usd       First Financial Bank                           5861         null
1048       l2pD      2019‐05‐04T16:51:41.625Z       1900   usd       TORONTO‐DOMINION BANK, THE                      9608        null
1049       l2pD      2019‐05‐04T18:17:23.739Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                   9620     null
1050       l2pD      2019‐05‐04T18:41:25.41Z        1900   usd       FIFTH THIRD BANK, THE                              5071     null
1051       l2pD      2019‐05‐04T19:24:22.212Z       1900   usd       Liberty Savings Bank, F.S.B.                     P4456      null
1052       l2pD      2019‐05‐04T19:31:26.8Z         1900   usd       null                                             4001       null
1053       l2pD      2019‐05‐04T20:03:57.595Z       1900   usd       null                                             8448       null
1054       l2pD      2019‐05‐04T21:07:23.964Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION        5216    null
1055       l2pD      2019‐05‐04T21:42:35.535Z       1900   usd       SUNTRUST BANK                                     6891      null
1056       l2pD      2019‐05‐04T21:53:22.48Z        1900   usd       RBC Bank, (Georgia) National Association         9252       null
1057       l2pD      2019‐05‐05T02:20:05.55Z         950   usd       Wells Fargo Bank, National Association             1948     null
1058       l2pD      2019‐05‐05T12:33:56.322Z       1900   usd       JPMorgan Chase Bank N.A.                          7647      null
1059       l2pD      2019‐05‐05T13:09:44.205Z       3500   usd       USAA Savings Bank                                4150       null
1060       l2pD      2019‐05‐05T18:52:03.429Z       1900   usd       JPMorgan Chase Bank N.A.                             4538   null
                  Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 136 of 460 PageID 213


       A                         B              C                D                                  E                       F             G
1061       l2pD      2019‐05‐05T18:52:03.922Z       1900   usd       JPMorgan Chase Bank N.A.                            7084      null
1062       l2pD      2019‐05‐05T18:52:04.645Z       1900   usd       BARCLAYS BANK DELAWARE                           6376         null
1063       l2pD      2019‐05‐05T18:57:07.652Z       1900   usd       BARCLAYS BANK DELAWARE                            7953        null
1064       l2pD      2019‐05‐05T19:07:27.854Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION          2534    null
1065       l2pD      2019‐05‐05T19:07:28.432Z       1900   usd       Suncoast Credit Union                              6245       null
1066       l2pD      2019‐05‐05T19:07:28.44Z        1900   usd       Bank of America ‐ Consumer Credit                   4093      null
1067       l2pD      2019‐05‐05T19:22:28.218Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION              5956       null
1068       l2pD      2019‐05‐05T23:10:05.561Z       1900   usd       Max Credit Union                                      4662    null
1069       l2pD      2019‐05‐06T15:53:42.263Z       1900   usd       null                                                  1008    null
1070       l2pD      2019‐05‐06T16:19:20.967Z       1900   usd       JPMorgan Chase Bank N.A.                          1778        null
1071       l2pD      2019‐05‐06T16:41:03.523Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION     3981         null
1072       l2pD      2019‐05‐06T17:05:52.139Z       1900   usd       JPMorgan Chase Bank N.A.                            0467      null
1073       l2pD      2019‐05‐06T17:30:48.052Z       1900   usd       USAA Federal Savings Bank                            6332     null
1074       l2pD      2019‐05‐06T18:09:56.861Z       1900   usd       Bank of America, National Association                  9648   null
1075       l2pD      2019‐05‐06T18:26:10.646Z       1900   usd       Bank of America ‐ Consumer Credit                  5984       null
1076       l2pD      2019‐05‐06T19:09:24.654Z       1900   usd       JPMorgan Chase Bank N.A.                            2308      null
1077       l2pD      2019‐05‐06T19:23:29.576Z       1900   usd       SUNTRUST BANK                                    0914         null
1078       l2pD      2019‐05‐06T19:30:30.307Z       1900   usd       FIFTH THIRD BANK, THE                          0905           null
1079       l2pD      2019‐05‐06T19:39:12.57Z        1900   usd       U.S. Bank National Association‐Credit            4212         null
1080       l2pD      2019‐05‐06T19:39:12.792Z       1900   usd       KEMBA FINANCIAL CREDIT UNION, INC.              1650          null
1081       l2pD      2019‐05‐06T19:58:23.437Z       1900   usd       null                                             1007         null
1082       l2pD      2019‐05‐06T20:05:47.487Z       1900   usd       BARCLAYS BANK DELAWARE                            6148        null
1083       l2pD      2019‐05‐06T20:08:30.837Z       1900   usd       Regions Bank                                       2442       null
1084       l2pD      2019‐05‐06T20:09:23.328Z       1900   usd       Navy Federal Credit Union                        6274         null
1085       l2pD      2019‐05‐06T20:41:29.003Z       1900   usd       CAPITAL ONE BANK (USA), NATIONAL ASSOCIATION        5097      null
1086       l2pD      2019‐05‐06T21:21:04.876Z       1900   usd       JPMorgan Chase Bank N.A.                            3892      null
1087       l2pD      2019‐05‐06T21:47:22.28Z        3500   usd       JPMorgan Chase Bank N.A.                            0052      null
1088       l2pD      2019‐05‐07T01:39:52.796Z       1900   usd       null                                              2034        null
1089       l2pD      2019‐05‐07T15:44:50.017Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                  8560        null
1090       l2pD      2019‐05‐07T17:34:58.249Z       1900   usd       JPMorgan Chase Bank N.A. ‐ Debit                    8486      null
1091       l2pD      2019‐05‐07T17:42:06.007Z       1900   usd       Bank of America ‐ Consumer Credit                    2927     null
1092       l2pD      2019‐05‐07T17:52:47.268Z       1900   usd       Canadian Imperial Bank of Commerce               3495         null
1093       l2pD      2019‐05‐07T18:11:18.964Z       1900   usd       The Peoples State Bank                               0274     null
1094       l2pD      2019‐05‐07T18:26:51.471Z       1900   usd       Wells Fargo Bank, National Association           6665         null
1095       l2pD      2019‐05‐07T19:04:27.406Z       1900   usd       null                                           K1009          null
1096       l2pD      2019‐05‐07T21:33:36.487Z       1900   usd       Royal Bank of Canada                                8292      null
1097       l2pD      2019‐05‐07T21:33:49.856Z       1900   usd       Bank of America, National Association            2456         null
1098       l2pD      2019‐05‐07T21:33:54.554Z       1900   usd       SYNCHRONY BANK                                    4850        null
1099       l2pD      2019‐05‐07T21:38:07.843Z       1900   usd       Wells Fargo Bank, National Association           4414         null
1100       l2pD      2019‐05‐07T21:59:24.451Z       1900   usd       JPMorgan Chase Bank N.A.                            0872      null
1101       l2pD      2019‐05‐08T00:19:47.086Z       1900   usd       The Northern Trust Company                       4305         null
1102       l2pD      2019‐05‐08T03:37:08.026Z       1900   usd       TD Bank, National Association                       1714      null
1103       l2pD      2019‐05‐08T16:40:29.839Z       1900   usd       JPMorgan Chase Bank N.A.                         3539         null
1104       l2pD      2019‐05‐08T18:21:19.318Z       1900   usd       Branch Banking and Trust Company‐Credit             0620      null
1105       l2pD      2019‐05‐08T21:23:25.102Z       1900   usd       Citibank, N.A.‐ Costco                            i8962       null
1106       l2pD      2019‐05‐09T02:09:03.885Z       1900   usd       Citibank, N.A.‐ Costco                             7980       null
1107       l2pD      2019‐05‐09T15:33:49.284Z       2700   usd       JPMorgan Chase Bank N.A. ‐ Debit                   6822       null
1108       l2pD      2019‐05‐09T16:45:15.919Z       1900   usd       BANK OF AMERICA, NATIONAL ASSOCIATION             6979        null
1109       l2pD      2019‐05‐10T00:41:10.674Z       1900   usd       BMO HARRIS BANK N.A.                             2088         null
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               A                     B                   C                   D               E                F            G            H
1 account_id              post_date              amount_cents           currency   account_number   routing_number   status    return_reason
2                  l2pD   2018‐11‐13T00:00:00Z                  23576   usd               9888]     [063107513]      paid      null
3                  l2pD   2018‐11‐14T00:00:00Z                  12705   usd               9888]     [063107513]      paid      null
4                  l2pD   2018‐11‐15T00:00:00Z                  17843   usd               9888]     [063107513]      paid      null
5                  l2pD   2018‐11‐16T00:00:00Z                  11667   usd               9888]     [063107513]      paid      null
6                  l2pD   2018‐11‐19T00:00:00Z                   3630   usd               9888]     [063107513]      paid      null
7                  l2pD   2018‐11‐21T00:00:00Z                  18150   usd               9888]     [063107513]      paid      null
8                  l2pD   2018‐11‐23T00:00:00Z                   7260   usd               9888]     [063107513]      paid      null
9                  l2pD   2018‐11‐26T00:00:00Z                   5445   usd               9888]     [063107513]      paid      null
10                 l2pD   2018‐11‐27T00:00:00Z                   5445   usd               9888]     [063107513]      paid      null
11                 l2pD   2018‐11‐28T00:00:00Z                  14520   usd               9888]     [063107513]      paid      null
12                 l2pD   2018‐11‐29T00:00:00Z                  12766   usd               9888]     [063107513]      paid      null
13                 l2pD   2018‐11‐30T00:00:00Z                   1815   usd               9888]     [063107513]      paid      null
14                 l2pD   2018‐12‐03T00:00:00Z                   7325   usd               9888]     [063107513]      paid      null
15                 l2pD   2018‐12‐04T00:00:00Z                  16335   usd               9888]     [063107513]      paid      null
16                 l2pD   2018‐12‐05T00:00:00Z                  21695   usd               9888]     [063107513]      paid      null
17                 l2pD   2018‐12‐06T00:00:00Z                   8152   usd               9888]     [063107513]      paid      null
18                 l2pD   2018‐12‐07T00:00:00Z                  10871   usd               9888]     [063107513]      paid      null
19                 l2pD   2018‐12‐10T00:00:00Z                   3630   usd               9888]     [063107513]      paid      null
20                 l2pD   2018‐12‐11T00:00:00Z                  14520   usd               9888]     [063107513]      paid      null
21                 l2pD   2018‐12‐12T00:00:00Z                  44337   usd               9888]     [063107513]      paid      null
22                 l2pD   2018‐12‐13T00:00:00Z                   9825   usd               9888]     [063107513]      paid      null
23                 l2pD   2018‐12‐14T00:00:00Z                   5445   usd               9888]     [063107513]      paid      null
24                 l2pD   2018‐12‐17T00:00:00Z                   9056   usd               9888]     [063107513]      paid      null
25                 l2pD   2018‐12‐18T00:00:00Z                  16189   usd               9888]     [063107513]      paid      null
26                 l2pD   2018‐12‐19T00:00:00Z                  16316   usd               9888]     [063107513]      paid      null
27                 l2pD   2018‐12‐20T00:00:00Z                   9075   usd               9888]     [063107513]      paid      null
28                 l2pD   2018‐12‐21T00:00:00Z                   3611   usd               9888]     [063107513]      paid      null
29                 l2pD   2018‐12‐24T00:00:00Z                   8990   usd               9888]     [063107513]      paid      null
30                 l2pD   2018‐12‐26T00:00:00Z                  16250   usd               9888]     [063107513]      paid      null
31                 l2pD   2018‐12‐27T00:00:00Z                  30593   usd               9888]     [063107513]      paid      null
32                 l2pD   2018‐12‐28T00:00:00Z                  10890   usd               9888]     [063107513]      paid      null
33                 l2pD   2018‐12‐31T00:00:00Z                  14581   usd               9888]     [063107513]      paid      null
34                 l2pD   2019‐01‐02T00:00:00Z                   5445   usd               9888]     [063107513]      paid      null
35                 l2pD   2019‐01‐03T00:00:00Z                  52660   usd               9888]     [063107513]      paid      null
36                 l2pD   2019‐01‐04T00:00:00Z                   9075   usd               9888]     [063107513]      paid      null
37                 l2pD   2019‐01‐07T00:00:00Z                   9075   usd               9888]     [063107513]      paid      null
38                 l2pD   2019‐01‐08T00:00:00Z                  16335   usd               9888]     [063107513]      paid      null
39                 l2pD   2019‐01‐09T00:00:00Z                  66232   usd               9888]     [063107513]      paid      null
40                 l2pD   2019‐01‐10T00:00:00Z                  23595   usd               9888]     [063107513]      paid      null
41                 l2pD   2019‐01‐11T00:00:00Z                   8037   usd               9888]     [063107513]      paid      null
42                 l2pD   2019‐01‐14T00:00:00Z                  11640   usd               9888]     [063107513]      paid      null
         Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 138 of 460 PageID 215


     A                     B           C                 D      E              F           G          H
43       l2pD   2019‐01‐15T00:00:00Z        5445   usd       9888]    [063107513]   paid       null
44       l2pD   2019‐01‐16T00:00:00Z       30671   usd       9888]    [063107513]   paid       null
45       l2pD   2019‐01‐17T00:00:00Z        1815   usd       9888]    [063107513]   paid       null
46       l2pD   2019‐01‐18T00:00:00Z       10890   usd       9888]    [063107513]   paid       null
47       l2pD   2019‐01‐22T00:00:00Z        9075   usd       9888]    [063107513]   paid       null
48       l2pD   2019‐01‐23T00:00:00Z        3611   usd       9888]    [063107513]   paid       null
49       l2pD   2019‐01‐24T00:00:00Z       41745   usd       9888]    [063107513]   paid       null
50       l2pD   2019‐01‐25T00:00:00Z       12443   usd       9888]    [063107513]   paid       null
51       l2pD   2019‐01‐28T00:00:00Z        7260   usd       9888]    [063107513]   paid       null
52       l2pD   2019‐01‐29T00:00:00Z        3630   usd       9888]    [063107513]   paid       null
53       l2pD   2019‐01‐30T00:00:00Z       41745   usd       9888]    [063107513]   paid       null
54       l2pD   2019‐01‐31T00:00:00Z       18150   usd       9888]    [063107513]   paid       null
55       l2pD   2019‐02‐01T00:00:00Z       10890   usd       9888]    [063107513]   paid       null
56       l2pD   2019‐02‐04T00:00:00Z       11017   usd       9888]    [063107513]   paid       null
57       l2pD   2019‐02‐05T00:00:00Z        1815   usd       9888]    [063107513]   paid       null
58       l2pD   2019‐02‐06T00:00:00Z       31747   usd       9888]    [063107513]   paid       null
59       l2pD   2019‐02‐07T00:00:00Z       30855   usd       9888]    [063107513]   paid       null
60       l2pD   2019‐02‐08T00:00:00Z       19965   usd       9888]    [063107513]   paid       null
61       l2pD   2019‐02‐11T00:00:00Z       16335   usd       9888]    [063107513]   paid       null
62       l2pD   2019‐02‐12T00:00:00Z        6222   usd       9888]    [063107513]   paid       null
63       l2pD   2019‐02‐13T00:00:00Z       35216   usd       9888]    [063107513]   paid       null
64       l2pD   2019‐02‐14T00:00:00Z       16189   usd       9888]    [063107513]   paid       null
65       l2pD   2019‐02‐15T00:00:00Z        5426   usd       9888]    [063107513]   paid       null
66       l2pD   2019‐02‐20T00:00:00Z       12705   usd       9888]    [063107513]   paid       null
67       l2pD   2019‐02‐21T00:00:00Z       34466   usd       9888]    [063107513]   paid       null
68       l2pD   2019‐02‐22T00:00:00Z        5445   usd       9888]    [063107513]   paid       null
69       l2pD   2019‐02‐25T00:00:00Z        7175   usd       9888]    [063107513]   paid       null
70       l2pD   2019‐02‐26T00:00:00Z       12273   usd       9888]    [063107513]   paid       null
71       l2pD   2019‐02‐27T00:00:00Z       25410   usd       9888]    [063107513]   paid       null
72       l2pD   2019‐02‐28T00:00:00Z        5445   usd       9888]    [063107513]   paid       null
73       l2pD   2019‐03‐01T00:00:00Z       16335   usd       9888]    [063107513]   paid       null
74       l2pD   2019‐03‐04T00:00:00Z       16335   usd       9888]    [063107513]   paid       null
75       l2pD   2019‐03‐05T00:00:00Z       14520   usd       9888]    [063107513]   paid       null
76       l2pD   2019‐03‐06T00:00:00Z       11017   usd       9888]    [063107513]   paid       null
77       l2pD   2019‐03‐07T00:00:00Z       14520   usd       9888]    [063107513]   paid       null
78       l2pD   2019‐03‐08T00:00:00Z       11782   usd       9888]    [063107513]   paid       null
79       l2pD   2019‐03‐11T00:00:00Z       30855   usd       9888]    [063107513]   paid       null
80       l2pD   2019‐03‐12T00:00:00Z       19965   usd       9888]    [063107513]   paid       null
81       l2pD   2019‐03‐13T00:00:00Z       41457   usd       9888]    [063107513]   paid       null
82       l2pD   2019‐03‐14T00:00:00Z        5445   usd       9888]    [063107513]   paid       null
83       l2pD   2019‐03‐15T00:00:00Z        9056   usd       9888]    [063107513]   paid       null
84       l2pD   2019‐03‐18T00:00:00Z       14374   usd       9888]    [063107513]   paid       null
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      A                     B           C                 D      E              F           G          H
85        l2pD   2019‐03‐19T00:00:00Z        5426   usd       9888]    [063107513]   paid       null
86        l2pD   2019‐03‐20T00:00:00Z       16335   usd       9888]    [063107513]   paid       null
87        l2pD   2019‐03‐21T00:00:00Z        7241   usd       9888]    [063107513]   paid       null
88        l2pD   2019‐03‐22T00:00:00Z       10890   usd       9888]    [063107513]   paid       null
89        l2pD   2019‐03‐25T00:00:00Z       10890   usd       9888]    [063107513]   paid       null
90        l2pD   2019‐03‐26T00:00:00Z        5445   usd       9888]    [063107513]   paid       null
91        l2pD   2019‐03‐27T00:00:00Z       28778   usd       9888]    [063107513]   paid       null
92        l2pD   2019‐03‐28T00:00:00Z        3630   usd       9888]    [063107513]   paid       null
93        l2pD   2019‐03‐29T00:00:00Z       16335   usd       9888]    [063107513]   paid       null
94        l2pD   2019‐04‐01T00:00:00Z       10890   usd       9888]    [063107513]   paid       null
95        l2pD   2019‐04‐02T00:00:00Z       14520   usd       9888]    [063107513]   paid       null
96        l2pD   2019‐04‐03T00:00:00Z       54577   usd       9888]    [063107513]   paid       null
97        l2pD   2019‐04‐04T00:00:00Z        9825   usd       9888]    [063107513]   paid       null
98        l2pD   2019‐04‐05T00:00:00Z       10890   usd       9888]    [063107513]   paid       null
99        l2pD   2019‐04‐08T00:00:00Z       18131   usd       9888]    [063107513]   paid       null
100       l2pD   2019‐04‐09T00:00:00Z       17227   usd       9888]    [063107513]   paid       null
101       l2pD   2019‐04‐10T00:00:00Z       78007   usd       9888]    [063107513]   paid       null
102       l2pD   2019‐04‐11T00:00:00Z        9852   usd       9888]    [063107513]   paid       null
103       l2pD   2019‐04‐12T00:00:00Z       16335   usd       9888]    [063107513]   paid       null
104       l2pD   2019‐04‐15T00:00:00Z       10890   usd       9888]    [063107513]   paid       null
105       l2pD   2019‐04‐16T00:00:00Z       19704   usd       9888]    [063107513]   paid       null
106       l2pD   2019‐04‐17T00:00:00Z       28875   usd       9888]    [063107513]   paid       null
107       l2pD   2019‐04‐18T00:00:00Z       15297   usd       9888]    [063107513]   paid       null
108       l2pD   2019‐04‐19T00:00:00Z        5445   usd       9888]    [063107513]   paid       null
109       l2pD   2019‐04‐22T00:00:00Z        5426   usd       9888]    [063107513]   paid       null
110       l2pD   2019‐04‐23T00:00:00Z       10890   usd       9888]    [063107513]   paid       null
111       l2pD   2019‐04‐24T00:00:00Z       23595   usd       9888]    [063107513]   paid       null
112       l2pD   2019‐04‐25T00:00:00Z       10628   usd       9888]    [063107513]   paid       null
113       l2pD   2019‐04‐26T00:00:00Z        9075   usd       9888]    [063107513]   paid       null
114       l2pD   2019‐04‐29T00:00:00Z        5445   usd       9888]    [063107513]   paid       null
115       l2pD   2019‐04‐30T00:00:00Z       19965   usd       9888]    [063107513]   paid       null
116       l2pD   2019‐05‐01T00:00:00Z       47190   usd       9888]    [063107513]   paid       null
117       l2pD   2019‐05‐02T00:00:00Z       18150   usd       9888]    [063107513]   paid       null
118       l2pD   2019‐05‐03T00:00:00Z        9202   usd       9888]    [063107513]   paid       null
119       l2pD   2019‐05‐06T00:00:00Z        9825   usd       9888]    [063107513]   paid       null
120       l2pD   2019‐05‐07T00:00:00Z        7260   usd       9888]    [063107513]   paid       null
121       l2pD   2019‐05‐08T00:00:00Z       76579   usd       9888]    [063107513]   paid       null
122       l2pD   2019‐05‐09T00:00:00Z       23557   usd       9888]    [063107513]   paid       null
123       l2pD   2019‐05‐10T00:00:00Z        9075   usd       9888]    [063107513]   paid       null
124       l2pD   2019‐05‐13T00:00:00Z        4322   usd       9888]    [063107513]   paid       null
125       l2pD   2019‐05‐14T00:00:00Z        1815   usd       9888]    [063107513]   paid       null
126       l2pD   2019‐05‐23T00:00:00Z       ‐6800   usd       9888]    [063107513]   paid       null
          Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 140 of 460 PageID 217


      A                     B           C               D       E               F           G          H
127       l2pD   2019‐05‐28T00:00:00Z       ‐3400 usd        9888]     [063107513]   paid       null
128       l2pD   2019‐05‐30T00:00:00Z       ‐4200 usd        9888]     [063107513]   paid       null
129       l2pD   2019‐07‐03T00:00:00Z       ‐6800 usd        9888]     [063107513]   paid       null
Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 141 of 460 PageID 218




                EXHIBIT
                  10
Created At     Legacy ID    ID              Name             Email            Phone Number       Website    Time Zone    Business Type   MCC           Deactivated   Frozen Date
                                                             B5E17S92XH7Z

2015-05-20                  B5E17S92XH7Z Donna Fogle
                                                         Case 8:19-cv-02147-JSM-SPF
                                                             Y@unit-
                                                             token.squareup.cPacific Time (US
                                                                                              Document 16-1 Filed 01/30/20 Page 142 of 460 PageID 219
21:05:43 UTC       4363     Y            OneBoxTV            om               1 (610) 533-3150              & Canada)    electronics     5732          No


Identity
Verification
Requests
Created At     First Name   Last Name       Street 1         Street 2         City               State      Zip          Phone #         Email          DOB          SSN           Business Type   Business Name   Business Street 1 Business Street 2 Business City   Business State   Business Zip   Business Phone # EIN
2015-05-20                                                                                                                               banker043@yaho                                            Donna Fogle
21:08:41 UTC   Donna        Fogle           4673 Steven Ln                    Walnutport         PA         18088-9619   16105333150     o.com          1958               9022    retail_shops    OneBoxTV
2015-05-20                                  1003B                                                                                        banker043@yaho                                            Donna Fogle
21:22:30 UTC   Donna        Fogle           Summerlyn Dr                      LEWES              DE         19958        16105333150     o.com          1958               9022    retail_shops    OneBoxTV


Devices
First Seen     Name         UDID            User Agent       OS               Hardware           Platform

                                           com.squareup.squ
                                           are/2c4ffa8
                                           (Android 8.0.0;
                                           samsung
                                           samsung
                                           SAMSUNG-SM-
                                           G935A; en_US)                      samsung
                                           Version/5.20                       samsung
2019-09-09                  35844507343964 PointOfSaleSDK/                    SAMSUNG-SM-
20:28:43 UTC                3              5.20             Android 8.0.0     G935A; en_US android

                                          Mozilla/5.0
                                          (iPhone11,6;
                                          CPU iPhone OS
                                          12.3.1 like Mac
                                          OS X; en-us)
                            DEVICE_INSTA Version/5.15
                            LLATION_ID:D com.squareup.squ
                            F4C574D-ABDA- are/5150012     CPU iPhone OS
2019-06-20                  4321-A4FF-    PointOfSaleSDK/ 12.3.1 like Mac
19:25:20 UTC   iPhone       6B0BF12CF20B 5.15             OS X                iPhone11,6         ios

                                            Mozilla/5.0
                                            (iPad6,12; CPU
                                            iPhone OS 12.1
                                            like Mac OS X;
                                            en-us)
                            DEVICE_INSTA    Version/5.6.1
                            LLATION_ID:B    com.squareup.squ
                            BBE20B4-A4C5-   are/5061002      CPU iPhone OS
2019-05-02                  46A9-A8E1-      PointOfSaleSDK/ 12.1 like Mac OS
18:29:01 UTC   William      58364FBF7CD8    5.6.1            X               iPad6,12            ios

                                          Mozilla/5.0
                                          (iPhone10,6;
                                          CPU iPhone OS
                                          12.0.1 like Mac
                                          OS X; en-us)
                            DEVICE_INSTA Version/4.93
                            LLATION_ID:E com.squareup.squ
                            9405F2A-4FF4- are/4930018     CPU iPhone OS
2018-10-14                  4992-9770-    PointOfSaleSDK/ 12.0.1 like Mac
13:26:19 UTC   iPhone       40FE333D24B5 4.93             OS X                iPhone10,6         ios

                                          Mozilla/5.0
                                          (iPhone9,4; CPU
                                          iPhone OS 11.1.2
                                          like Mac OS X;
                                          en-us)
                            DEVICE_INSTA Version/4.74
                            LLATION_ID:75 com.squareup.squ
                            A745FF-DE74- are/4740010       CPU iPhone OS
2017-12-04                  45F6-A79D-    PointOfSaleSDK/ 11.1.2 like Mac
03:58:23 UTC   iPhone       9155824D3540 4.74              OS X               iPhone9,4          ios
                                           com.squareup.squ
                                           are/dbe735a
                                           (Android 4.3;
                                           samsung
                                           samsung                            samsung
                                           SAMSUNG-SM-                        samsung
2017-07-19                  35757205224470 N900A; en_US)                      SAMSUNG-SM-
15:24:25 UTC                1              Version/4.68.2   Android 4.3       N900A; en_US android
                                          Mozilla/5.0
                                          (iPhone9,4; CPU
                                          iPhone OS 10.2
                            DEVICE_ADVE like Mac OS X;
                            RTISING_ID:1C en-us)
                            0CF65E-E326- Version/1.3.6     CPU iPhone OS
2017-02-09                  4BA0-AE3A-    com.squareup.das 10.2 like Mac OS
18:41:14 UTC   iPhone       0CE530C06AE5 hboard/1036194 X                   iPhone9,4            ios
                                      Mozilla/5.0
                                      (iPhone8,2; CPU
                                      iPhone OS 9.2
                        DEVICE_INSTA like Mac OS X;
                                                     Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 143 of 460 PageID 220
                        LLATION_ID:52 en-us)
                        741B3C-7FC0- Version/4.28      CPU iPhone OS
2016-03-29              4368-8B6C-    com.squareup.squ 9.2 like Mac OS
00:29:06 UTC   iPhone   BE590414C46B are/4280001       X                   iPhone8,2   ios
                                      Mozilla/5.0
                                      (iPhone8,2; CPU
                                      iPhone OS 9.2
                        DEVICE_INSTA like Mac OS X;
                        LLATION_ID:B en-us)
                        479A133-F004- Version/4.28     CPU iPhone OS
2016-03-13              48EB-A5D5-    com.squareup.squ 9.2 like Mac OS
18:59:59 UTC            5675B996699A are/4280001       X                   iPhone8,2   ios
                                      Mozilla/5.0
                                      (iPhone8,2; CPU
                                      iPhone OS 9.2
                        DEVICE_INSTA like Mac OS X;
                        LLATION_ID:08 en-us)
                        362AA4-46A2- Version/4.28      CPU iPhone OS
2016-03-13              4B52-BF4E-    com.squareup.squ 9.2 like Mac OS
18:11:41 UTC            E980F20AACF2 are/4280001       X                   iPhone8,2   ios
                                        Mozilla/5.0
                                        (iPhone8,2; CPU
                                        iPhone OS 9.2
                        DEVICE_INSTA    like Mac OS X;
                        LLATION_ID:E    en-us)
                        B57A9F8-7336-   Version/4.28     CPU iPhone OS
2016-03-13              4291-84FA-      com.squareup.squ 9.2 like Mac OS
16:16:40 UTC            B95190EABA85    are/4280001      X                 iPhone8,2   ios
                                      Mozilla/5.0
                                      (iPhone8,2; CPU
                                      iPhone OS 9.2
                        DEVICE_INSTA like Mac OS X;
                        LLATION_ID:18 en-us)
                        8D649A-DA89- Version/4.28      CPU iPhone OS
2016-03-13              46E6-A8DA-    com.squareup.squ 9.2 like Mac OS
16:06:01 UTC            320E3CA999AE are/4280001       X                   iPhone8,2   ios
                                        Mozilla/5.0
                                        (iPhone8,2; CPU
                                        iPhone OS 9.2
                        DEVICE_INSTA    like Mac OS X;
                        LLATION_ID:E    en-us)
                        B98D937-85CE-   Version/4.28     CPU iPhone OS
2016-03-13              40BB-B4C1-      com.squareup.squ 9.2 like Mac OS
15:42:14 UTC            F25902BA20A6    are/4280001      X                 iPhone8,2   ios
                                        Mozilla/5.0
                                        (iPhone8,2; CPU
                                        iPhone OS 9.2
                        DEVICE_INSTA    like Mac OS X;
                        LLATION_ID:B    en-us)
                        9F7F7FD-383C-   Version/4.28     CPU iPhone OS
2016-03-13              4E70-83AB-      com.squareup.squ 9.2 like Mac OS
05:45:47 UTC            12E5A1CA1EEA    are/4280001      X                 iPhone8,2   ios
                                      Mozilla/5.0
                                      (iPhone8,2; CPU
                                      iPhone OS 9.2
                        DEVICE_INSTA like Mac OS X;
                        LLATION_ID:05 en-us)
                        0EEC30-53CC- Version/4.28      CPU iPhone OS
2016-03-13              4D86-90B9-    com.squareup.squ 9.2 like Mac OS
04:37:44 UTC            0C90523FCC36 are/4280001       X                   iPhone8,2   ios
                                      Mozilla/5.0
                                      (iPhone8,2; CPU
                                      iPhone OS 9.2
                        DEVICE_INSTA like Mac OS X;
                        LLATION_ID:A en-us)
                        4917801-20CE- Version/4.28     CPU iPhone OS
2016-03-13              47A0-B73A-    com.squareup.squ 9.2 like Mac OS
01:57:36 UTC            274412D96858 are/4280001       X                   iPhone8,2   ios
                                      Mozilla/5.0
                                      (iPhone8,2; CPU
                                      iPhone OS 9.2
                        DEVICE_INSTA like Mac OS X;
                        LLATION_ID:F5 en-us)
                        442869-BBF7-  Version/4.28     CPU iPhone OS
2016-03-12              4B9A-8158-    com.squareup.squ 9.2 like Mac OS
23:55:12 UTC   iPhone   22C55FF2D49B are/4280001       X                   iPhone8,2   ios
                                      Mozilla/5.0
                                      (iPhone8,2; CPU
                                      iPhone OS 9.2
                        DEVICE_INSTA like Mac OS X;
                        LLATION_ID:25 en-us)
                        02DF92-6B2C- Version/4.28      CPU iPhone OS
2016-03-12              413F-94F5-    com.squareup.squ 9.2 like Mac OS
23:48:42 UTC   iPhone   7D70AFA22C0A are/4280001       X                   iPhone8,2   ios
                                       com.squareup.squ
                                       are/6739e99
                                       (Android 5.0;
                                       samsung
                                                     Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 144 of 460 PageID 221
                                       samsung                             samsung
                                       SAMSUNG-SM-                         samsung
2016-03-11              35857905243619 N900A; en_US)                       SAMSUNG-SM-
17:17:43 UTC            4              Version/4.36.2   Android 5.0        N900A; en_US android
                                      Mozilla/5.0
                                      (iPhone8,2; CPU
                                      iPhone OS 9.2
                        DEVICE_INSTA like Mac OS X;
                        LLATION_ID:76 en-us)
                        0CC62C-2D36- Version/4.28      CPU iPhone OS
2016-03-01              4638-9040-    com.squareup.squ 9.2 like Mac OS
01:51:09 UTC   iPhone   CF3A79181FE7 are/4280001       X                   iPhone8,2     ios
                                        Mozilla/5.0
                                        (iPad4,2; CPU
                                        iPhone OS 8.3
                        DEVICE_INSTA    like Mac OS X;
                        LLATION_ID:3    en-us)
                        B8D5BA8-7F24-   Version/4.31     CPU iPhone OS
2016-01-30              4DDF-9748-      com.squareup.squ 8.3 like Mac OS
18:57:29 UTC   iPad     8DAA6C1D1511    are/4310003      X                 iPad4,2       ios
                                      Mozilla/5.0
                                      (iPhone8,2; CPU
                                      iPhone OS 9.2
                        DEVICE_INSTA like Mac OS X;
                        LLATION_ID:34 en-us)
                        E54544-F7E5-  Version/4.28     CPU iPhone OS
2016-01-29              472A-8DEF-    com.squareup.squ 9.2 like Mac OS
20:20:30 UTC            8E2AAE418BD6 are/4280001       X                   iPhone8,2     ios
                                      Mozilla/5.0
                                      (iPhone8,2; CPU
                                      iPhone OS 9.2
                        DEVICE_INSTA like Mac OS X;
                        LLATION_ID:94 en-us)
                        96CF0E-0057-  Version/4.28     CPU iPhone OS
2016-01-29              49E7-A542-    com.squareup.squ 9.2 like Mac OS
20:20:27 UTC   iPhone   9889C386BDAD are/4280001       X                   iPhone8,2     ios
                                      Mozilla/5.0
                                      (iPhone8,2; CPU
                                      iPhone OS 9.2
                        DEVICE_INSTA like Mac OS X;
                        LLATION_ID:9F en-us)
                        0CA932-41F1- Version/4.28      CPU iPhone OS
2016-01-29              4705-A938-    com.squareup.squ 9.2 like Mac OS
12:43:38 UTC   iPhone   C8BF53EA5838 are/4280001       X                   iPhone8,2     ios
                                      Mozilla/5.0
                                      (iPhone8,2; CPU
                                      iPhone OS 9.2
                        DEVICE_INSTA like Mac OS X;
                        LLATION_ID:56 en-us)
                        0A1F13-22D6- Version/4.28      CPU iPhone OS
2015-12-21              4304-ACBE-    com.squareup.squ 9.2 like Mac OS
00:20:13 UTC   iPhone   D26B74C3BF30 are/4280001       X                   iPhone8,2     ios
                                      Mozilla/5.0
                                      (iPhone8,2; CPU
                                      iPhone OS 9.2
                        DEVICE_INSTA like Mac OS X;
                        LLATION_ID:3 en-us)
                        D543BD7-B608- Version/4.28     CPU iPhone OS
2015-12-21              4553-A741-    com.squareup.squ 9.2 like Mac OS
00:18:03 UTC            7F1F6F72CB87 are/4280001       X                   iPhone8,2     ios
                                      Mozilla/5.0
                                      (iPhone8,2; CPU
                                      iPhone OS 9.2
                        DEVICE_INSTA like Mac OS X;
                        LLATION_ID:18 en-us)
                        ABD22B-5807- Version/4.28      CPU iPhone OS
2015-12-21              40C9-8AB8-    com.squareup.squ 9.2 like Mac OS
00:18:03 UTC   iPhone   04DE7DD3DE09 are/4280001       X                   iPhone8,2     ios
                                        Mozilla/5.0
                                        (iPhone8,2; CPU
                                        iPhone OS 9.2
                        DEVICE_INSTA    like Mac OS X;
                        LLATION_ID:9    en-us)
                        C12B0DA-D1F5-   Version/4.28     CPU iPhone OS
2015-12-20              44B9-9B7C-      com.squareup.squ 9.2 like Mac OS
18:05:37 UTC   iPhone   35C296BC1BBF    are/4280001      X                 iPhone8,2     ios
                                        Mozilla/5.0
                                        (iPhone8,2; CPU
                                        iPhone OS 9.2
                        DEVICE_INSTA    like Mac OS X;
                        LLATION_ID:F7   en-us)
                        1BBAC6-6BF0-    Version/4.28     CPU iPhone OS
2015-12-20              453A-8D21-      com.squareup.squ 9.2 like Mac OS
18:05:37 UTC            3B8866DC29F6    are/4280001      X                 iPhone8,2     ios
                                                  Mozilla/5.0
                                                  (iPhone8,2; CPU

                                  DEVICE_INSTA
                                                  iPhone OS 9.2Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 145 of 460 PageID 222
                                                  like Mac OS X;
                                  LLATION_ID:5    en-us)
                                  ED79C58-91BC-   Version/4.28     CPU iPhone OS
2015-12-20                        40D1-AF5B-      com.squareup.squ 9.2 like Mac OS
16:57:12 UTC                      7AFE2CAD07BF    are/4280001      X                 iPhone8,2        ios


Bank Accounts
                                                                                Verification
Created At       Account Name     Account Type    Routing Number Account Number Method                Bank
2017-07-19
17:03:56 UTC     One Box TV llc   checking        063107513                9888      atmverify        Wells Fargo
2017-07-19
17:00:03 UTC     One Box TY llc   checking         063107513               9888      atmverify        Wells Fargo
2015-05-20       Donna Fogle      business_checkin
21:24:42 UTC     OneBoxTV         g                031000503               6221      single_deposit   Wells Fargo


Attempted Card
Authorizations
                                                                                                                                                                  Refund                                                     Dispute
Created At       Description      Amount          Tax Amount       Tip Amount        Entry Method     Success?      Error reason         Voided   Refund Amount   Timestamp   Dispute Amount Dispute Type   Dispute Status   Timestamp   Invoice Name
2019-12-18
10:14:37 EST                      $220.00         $0.00            $0.00             Keyed            Yes
2019-12-18
10:12:30 EST                      $210.00         $0.00            $0.00             Keyed            Yes

                                                                                                                    Do not honor
                                                                                                                    (Square internal
                                                                                                                    note: This is the
                                                                                                                    most generic
                                                                                                                    reason code a
                                                                                                                    bank can provide
                                                                                                                    us. There isn't
                                                                                                                    anything we can
                                                                                                                    do other than to
                                                                                                                    ask them to either
                                                                                                                    call their bank to
                                                                                                                    tell them to
                                                                                                                    remove any
                                                                                                                    restrictions that
                                                                                                                    would stop a
                                                                                                                    future similar
                                                                                                                    transaction, or to
2019-12-18                                                                                                          try another form
10:10:58 EST                      $210.00         $0.00            $0.00             Keyed            No            of payment.)
2019-10-29
16:31:52 EDT                      $5.00           $0.00            $0.00             Keyed            Yes
2019-08-19
15:44:03 EDT                      $15.00          $0.00            $0.00             Keyed            Yes
2019-08-19
15:42:01 EDT                      $15.98          $0.98            $0.00             Keyed            Yes
2019-07-26
18:20:31 EDT                      $10.00          $0.00            $0.00             Keyed            Yes
                                                                                                                    Credit Floor.
                                                                                                                    Insufficient
                                                                                                                    funds. Wait 2-3
                                                                                                                    days before
                                                                                                                    sending back or
2019-07-26                                                                                                          try to resolve
18:19:09 EDT                      $5.00           $0.00            $0.00             Keyed            No            with customer
                                                                                                                    Credit Floor.
                                                                                                                    Insufficient
                                                                                                                    funds. Wait 2-3
                                                                                                                    days before
                                                                                                                    sending back or
2019-07-26                                                                                                          try to resolve
18:17:57 EDT                      $5.00           $0.00            $0.00             Keyed            No            with customer
2019-06-08
12:33:27 EDT                      $35.00          $0.00            $0.00             Keyed            Yes
2019-06-08
12:29:14 EDT                      $175.00         $0.00            $0.00             Keyed            Yes
2019-06-01
11:55:30 EDT                      $195.00         $0.00            $0.00             Keyed            Yes
2019-06-01
11:54:25 EDT                      $15.00          $0.00            $0.00             Keyed            Yes
2019-06-01
11:52:51 EDT                      $42.80          $0.00            $0.00             Keyed            Yes
2019-05-21
16:38:34 EDT                      $224.70         $0.00            $0.00             Keyed            Yes
2019-05-11
14:13:04 EDT                      $600.00         $0.00            $0.00             Keyed            Yes
2019-05-08
23:07:47 EDT                      $180.00         $0.00            $0.00             Keyed            Yes
2019-05-08
23:05:48 EDT                      $180.00         $0.00            $0.00             Keyed            Yes
2019-05-07
20:58:44 EDT                      $360.00         $0.00            $0.00             Keyed            Yes
2019-05-07
00:20:33 EDT   $180.00   $0.00    $0.00   Keyed   Yes
2019-05-04
20:02:31 EDT   $180.00   $0.00
                                 Case
                                  $0.00
                                        8:19-cv-02147-JSM-SPF
                                           Keyed Yes
                                                              Document 16-1 Filed 01/30/20 Page 146 of 460 PageID 223
2019-05-02
14:30:29 EDT   $180.00   $0.00    $0.00   Keyed   Yes
2019-04-30
09:20:00 EDT   $180.00   $0.00    $0.00   Keyed   Yes
2019-04-27
19:29:32 EDT   $180.00   $0.00    $0.00   Keyed   Yes
2019-04-26
12:03:54 EDT   $180.00   $0.00    $0.00   Keyed   Yes
2019-04-23
13:48:05 EDT   $96.00    $0.00    $0.00   Keyed   Yes
2019-04-23
13:34:28 EDT   $180.00   $0.00    $0.00   Keyed   Yes
2019-04-20
18:44:18 EDT   $180.00   $0.00    $0.00   Keyed   Yes
2019-04-19
15:28:38 EDT   $180.00   $0.00    $0.00   Keyed   Yes
2019-04-16
13:08:58 EDT   $180.00   $0.00    $0.00   Keyed   Yes
2019-04-13
16:46:18 EDT   $180.00   $0.00    $0.00   Keyed   Yes
2019-04-11
20:33:29 EDT   $180.00   $0.00    $0.00   Keyed   Yes
2019-04-08
22:04:08 EDT   $180.00   $0.00    $0.00   Keyed   Yes
2019-04-05
22:15:20 EDT   $180.00   $0.00    $0.00   Keyed   Yes
2019-04-02
23:07:59 EDT   $180.00   $0.00    $0.00   Keyed   Yes
2019-03-30
08:24:40 EDT   $180.00   $0.00    $0.00   Keyed   Yes
2019-03-29
09:39:45 EDT   $180.00   $0.00    $0.00   Keyed   Yes
2018-11-19
15:29:57 EST   $230.00   $0.00    $0.00   Keyed   Yes
2018-11-14
19:33:01 EST   $374.50   $0.00    $0.00   Keyed   Yes
2018-10-28
12:15:18 EDT   $19.00    $0.00    $0.00   Keyed   Yes
2018-10-26
15:42:02 EDT   $19.00    $0.00    $0.00   Keyed   Yes
2018-10-23
12:24:21 EDT   $19.00    $0.00    $0.00   Keyed   Yes
2018-10-19
13:28:28 EDT   $19.00    $0.00    $0.00   Keyed   Yes
2018-10-18
14:14:53 EDT   $19.00    $0.00    $0.00   Keyed   Yes
2018-10-15
15:21:15 EDT   $19.00    $0.00    $0.00   Keyed   Yes
2018-10-13
12:30:47 EDT   $19.00    $0.00    $0.00   Keyed   Yes
2018-10-07
13:36:32 EDT   $19.00    $0.00    $0.00   Keyed   Yes
2018-10-05
13:04:35 EDT   $19.00    $0.00    $0.00   Keyed   Yes
2018-10-03
15:48:48 EDT   $19.00    $0.00    $0.00   Keyed   Yes


                                                        Do Not Honor.
                                                        Generic decline -
                                                        No other
                                                        information is
                                                        being provided
                                                        by the Issuer. Try
                                                        to resolve with
                                                        customer, or get
                                                        an alternate
                                                        method of
                                                        payment. (Square
                                                        internal note:
                                                        This is the most
                                                        generic reason
                                                        code a bank can
                                                        provide us. There
                                                        isn't anything we
                                                        can do other than
                                                        to ask them to
                                                        either call their
                                                        bank to tell them
                                                        to remove any
                                                        restrictions that
                                                        would stop a
                                                        future similar
                                                        transaction, or to
2018-10-03                                              try another form
15:48:15 EDT   $19.00    $0.00    $0.00   Keyed   No    of payment.)
2018-10-02
11:56:31 EDT   $19.00    $0.00    $0.00   Keyed   Yes
2018-10-02
11:15:40 EDT   $19.00    $0.00     $0.00   Keyed    Yes
2018-09-30
13:46:06 EDT   $19.00    $0.00
                                  Case
                                   $0.00
                                         8:19-cv-02147-JSM-SPF
                                            Keyed Yes
                                                               Document 16-1 Filed 01/30/20 Page 147 of 460 PageID 224
2018-09-30
12:27:50 EDT   $19.00    $0.00     $0.00   Keyed    Yes
2018-09-29
12:50:56 EDT   $19.00    $0.00     $0.00   Keyed    Yes
2017-10-20
11:04:18 EDT   $227.38   $0.00     $0.00   Keyed    Yes
2017-10-20
11:02:23 EDT   $227.38   $0.00     $0.00   Keyed    Yes
2017-08-20
15:57:24 EDT   $42.79    $0.00     $0.00   Keyed    Yes
2017-07-31
18:37:36 EDT   $175.00   $0.00     $0.00   Keyed    Yes
2017-07-19
11:32:19 EDT   $105.00   $0.00     $0.00   Keyed    Yes
2017-07-05
12:13:09 EDT   $214.00   $14.00    $0.00   Swiped   Yes
2017-06-25
15:00:42 EDT   $267.50   $17.50    $0.00   Swiped   Yes
2017-06-25
12:58:22 EDT   $267.50   $17.50    $0.00   Swiped   Yes
2017-06-25
12:26:00 EDT   $26.75    $1.75     $0.00   Swiped   Yes
2017-06-25                                                                               2017-07-01
10:32:39 EDT   $187.25   $12.25    $0.00   Swiped   Yes                        $187.25   10:43:02 EDT


                                                          Do Not Honor.
                                                          Generic decline -
                                                          No other
                                                          information is
                                                          being provided
                                                          by the Issuer. Try
                                                          to resolve with
                                                          customer, or get
                                                          an alternate
                                                          method of
                                                          payment. (Square
                                                          internal note:
                                                          This is the most
                                                          generic reason
                                                          code a bank can
                                                          provide us. There
                                                          isn't anything we
                                                          can do other than
                                                          to ask them to
                                                          either call their
                                                          bank to tell them
                                                          to remove any
                                                          restrictions that
                                                          would stop a
                                                          future similar
                                                          transaction, or to
2017-06-25                                                try another form
10:19:01 EDT   $187.25   $0.00     $0.00   Swiped   No    of payment.)
2017-06-24
13:30:28 EDT   $187.25   $12.25    $0.00   Swiped   Yes
2017-06-24
12:58:32 EDT   $267.50   $17.50    $0.00   Swiped   Yes
2017-06-24
11:59:06 EDT   $267.50   $17.50    $0.00   Swiped   Yes
2017-06-24
11:42:42 EDT   $267.50   $17.50    $0.00   Swiped   Yes
2017-06-24
11:22:32 EDT   $267.50   $17.50    $0.00   Swiped   Yes
2017-06-24
10:26:27 EDT   $428.00   $28.00    $0.00   Swiped   Yes
                                                          Do Not Honor.
                                  Case 8:19-cv-02147-JSM-SPF
                                                      Generic decline -
                                                      No other
                                                                        Document 16-1 Filed 01/30/20 Page 148 of 460 PageID 225
                                                          information is
                                                          being provided
                                                          by the Issuer. Try
                                                          to resolve with
                                                          customer, or get
                                                          an alternate
                                                          method of
                                                          payment. (Square
                                                          internal note:
                                                          This is the most
                                                          generic reason
                                                          code a bank can
                                                          provide us. There
                                                          isn't anything we
                                                          can do other than
                                                          to ask them to
                                                          either call their
                                                          bank to tell them
                                                          to remove any
                                                          restrictions that
                                                          would stop a
                                                          future similar
                                                          transaction, or to
2017-06-24                                                try another form
09:45:20 EDT   $267.50   $0.00     $0.00   Swiped   No    of payment.)
2017-06-24
09:12:22 EDT   $267.50   $17.50    $0.00   Swiped   Yes


                                                          Suspected Fraud.
                                                          Issuer has flagged
                                                          account as
                                                          suspected fraud.
                                                          Try to resolve
                                                          with customer, or
                                                          get an alternate
2017-06-17                                                method of
12:19:59 EDT   $227.38   $0.00     $0.00   Swiped   No    payment


                                                          Do Not Honor.
                                                          Generic decline -
                                                          No other
                                                          information is
                                                          being provided
                                                          by the Issuer. Try
                                                          to resolve with
                                                          customer, or get
                                                          an alternate
                                                          method of
                                                          payment. (Square
                                                          internal note:
                                                          This is the most
                                                          generic reason
                                                          code a bank can
                                                          provide us. There
                                                          isn't anything we
                                                          can do other than
                                                          to ask them to
                                                          either call their
                                                          bank to tell them
                                                          to remove any
                                                          restrictions that
                                                          would stop a
                                                          future similar
                                                          transaction, or to
2017-06-17                                                try another form
12:18:53 EDT   $227.38   $0.00     $0.00   Swiped   No    of payment.)
                                                          Do Not Honor.
                                  Case 8:19-cv-02147-JSM-SPF
                                                      Generic decline -
                                                      No other
                                                                        Document 16-1 Filed 01/30/20 Page 149 of 460 PageID 226
                                                          information is
                                                          being provided
                                                          by the Issuer. Try
                                                          to resolve with
                                                          customer, or get
                                                          an alternate
                                                          method of
                                                          payment. (Square
                                                          internal note:
                                                          This is the most
                                                          generic reason
                                                          code a bank can
                                                          provide us. There
                                                          isn't anything we
                                                          can do other than
                                                          to ask them to
                                                          either call their
                                                          bank to tell them
                                                          to remove any
                                                          restrictions that
                                                          would stop a
                                                          future similar
                                                          transaction, or to
2017-06-16                                                try another form
14:08:20 EDT   $267.50   $0.00     $0.00   Swiped   No    of payment.)


                                                          Do Not Honor.
                                                          Generic decline -
                                                          No other
                                                          information is
                                                          being provided
                                                          by the Issuer. Try
                                                          to resolve with
                                                          customer, or get
                                                          an alternate
                                                          method of
                                                          payment. (Square
                                                          internal note:
                                                          This is the most
                                                          generic reason
                                                          code a bank can
                                                          provide us. There
                                                          isn't anything we
                                                          can do other than
                                                          to ask them to
                                                          either call their
                                                          bank to tell them
                                                          to remove any
                                                          restrictions that
                                                          would stop a
                                                          future similar
                                                          transaction, or to
2017-06-16                                                try another form
14:07:23 EDT   $267.50   $0.00     $0.00   Swiped   No    of payment.)
2017-06-16
13:38:33 EDT   $175.00   $0.00     $0.00   Swiped   Yes
2017-06-15
13:48:01 EDT   $110.00   $0.00     $0.00   Keyed    Yes
2017-06-11
16:06:51 EDT   $267.50   $17.50    $0.00   Swiped   Yes
2017-06-11
13:14:36 EDT   $267.50   $17.50    $0.00   Swiped   Yes
2017-06-11
13:12:14 EDT   $267.50   $17.50    $0.00   Swiped   Yes
                                                          Restraint. Card
                                                          has been
                                                          restricted. Try to
                                                          resolve with
                                                          customer, or get
                                                          an alternate
2017-06-11                                                method of
13:01:22 EDT   $267.50   $0.00     $0.00   Swiped   No    payment
2017-06-10
14:08:08 EDT   $187.25   $12.25    $0.00   Swiped   Yes
2017-06-04
15:43:45 EDT   $240.75   $15.75    $0.00   Swiped   Yes
2017-06-04
12:45:53 EDT   $267.50   $17.50    $0.00   Swiped   Yes
2017-06-04
12:29:39 EDT   $267.50   $17.50    $0.00   Swiped   Yes
2017-06-03
14:09:41 EDT   $214.00   $14.00    $0.00   Swiped   Yes
2017-06-03
12:32:52 EDT   $267.50   $17.50    $0.00   Swiped   Yes
                                                          Do Not Honor.
                                  Case 8:19-cv-02147-JSM-SPF
                                                      Generic decline -
                                                      No other
                                                                        Document 16-1 Filed 01/30/20 Page 150 of 460 PageID 227
                                                          information is
                                                          being provided
                                                          by the Issuer. Try
                                                          to resolve with
                                                          customer, or get
                                                          an alternate
                                                          method of
                                                          payment. (Square
                                                          internal note:
                                                          This is the most
                                                          generic reason
                                                          code a bank can
                                                          provide us. There
                                                          isn't anything we
                                                          can do other than
                                                          to ask them to
                                                          either call their
                                                          bank to tell them
                                                          to remove any
                                                          restrictions that
                                                          would stop a
                                                          future similar
                                                          transaction, or to
2017-06-03                                                try another form
12:09:51 EDT   $240.75   $0.00     $0.00   Swiped   No    of payment.)


                                                          Do Not Honor.
                                                          Generic decline -
                                                          No other
                                                          information is
                                                          being provided
                                                          by the Issuer. Try
                                                          to resolve with
                                                          customer, or get
                                                          an alternate
                                                          method of
                                                          payment. (Square
                                                          internal note:
                                                          This is the most
                                                          generic reason
                                                          code a bank can
                                                          provide us. There
                                                          isn't anything we
                                                          can do other than
                                                          to ask them to
                                                          either call their
                                                          bank to tell them
                                                          to remove any
                                                          restrictions that
                                                          would stop a
                                                          future similar
                                                          transaction, or to
2017-06-03                                                try another form
12:09:03 EDT   $240.75   $0.00     $0.00   Swiped   No    of payment.)
2017-06-03
11:02:04 EDT   $16.05    $1.05     $0.00   Swiped   Yes
2017-06-02
14:59:23 EDT   $267.50   $17.50    $0.00   Swiped   Yes
2017-06-02
14:21:45 EDT   $187.25   $12.25    $0.00   Swiped   Yes
2017-06-02
09:49:31 EDT   $267.50   $17.50    $0.00   Swiped   Yes
                                                          Do Not Honor.
                                  Case 8:19-cv-02147-JSM-SPF
                                                      Generic decline -
                                                      No other
                                                                        Document 16-1 Filed 01/30/20 Page 151 of 460 PageID 228
                                                          information is
                                                          being provided
                                                          by the Issuer. Try
                                                          to resolve with
                                                          customer, or get
                                                          an alternate
                                                          method of
                                                          payment. (Square
                                                          internal note:
                                                          This is the most
                                                          generic reason
                                                          code a bank can
                                                          provide us. There
                                                          isn't anything we
                                                          can do other than
                                                          to ask them to
                                                          either call their
                                                          bank to tell them
                                                          to remove any
                                                          restrictions that
                                                          would stop a
                                                          future similar
                                                          transaction, or to
2017-06-02                                                try another form
09:42:05 EDT   $267.50   $0.00     $0.00   Swiped   No    of payment.)
2017-05-28
14:53:17 EDT   $267.50   $17.50    $0.00   Swiped   Yes
2017-05-28
12:10:55 EDT   $267.50   $17.50    $0.00   Swiped   Yes
2017-05-26
10:26:57 EDT   $240.75   $15.75    $0.00   Swiped   Yes
2017-05-21
11:16:37 EDT   $240.75   $15.75    $0.00   Swiped   Yes
2017-05-20
14:46:46 EDT   $160.50   $10.50    $0.00   Swiped   Yes

                                                          Invalid
                                                          Transaction
                                                          Type. Issuer does
                                                          not allow this
                                                          type of
                                                          transaction. Try
                                                          to resolve with
                                                          customer, or get
                                                          an alternate
2017-05-20                                                method of
14:45:38 EDT   $160.50   $0.00     $0.00   Swiped   No    payment

                                                          Invalid
                                                          Transaction
                                                          Type. Issuer does
                                                          not allow this
                                                          type of
                                                          transaction. Try
                                                          to resolve with
                                                          customer, or get
                                                          an alternate
2017-05-20                                                method of
14:43:40 EDT   $160.50   $0.00     $0.00   Swiped   No    payment

                                                          Invalid
                                                          Transaction
                                                          Type. Issuer does
                                                          not allow this
                                                          type of
                                                          transaction. Try
                                                          to resolve with
                                                          customer, or get
                                                          an alternate
2017-05-20                                                method of
14:43:20 EDT   $160.50   $0.00     $0.00   Swiped   No    payment

                                                          Invalid
                                                          Transaction
                                                          Type. Issuer does
                                                          not allow this
                                                          type of
                                                          transaction. Try
                                                          to resolve with
                                                          customer, or get
                                                          an alternate
2017-05-20                                                method of
14:42:40 EDT   $160.50   $0.00     $0.00   Swiped   No    payment
2017-05-20
13:57:37 EDT   $374.50   $24.50    $0.00   Swiped   Yes
2017-05-20
13:03:50 EDT   $187.25   $12.25    $0.00   Swiped   Yes
2017-05-20                                                                               2017-06-10
13:02:25 EDT   $267.50   $17.50    $0.00   Swiped   Yes                        $267.50   10:07:26 EDT
2017-05-20
12:41:14 EDT   $267.50   $17.50    $0.00   Swiped   Yes
2017-05-20
11:08:18 EDT                 $32.10         $2.10       $0.00            Swiped         Yes

                                                       Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 152 of 460 PageID 229
ACH Debits
                              Account Number
Type           Routing Number (last 3)       Amount     Failure Reason   Date
                                                                         2017-07-03
Debit          031000503     221            $-182.10                     02:33:40 UTC


ACH Credits
                              Account Number
Type           Routing Number (last 3)       Amount     Failure Reason   Date
                                                                         2019-10-30
Credit         063107513     888            $4.67                        03:16:23 UTC
                                                                         2019-08-20
Credit         063107513     888            $29.59                       03:14:05 UTC
                                                                         2019-07-29
Credit         063107513     888            $9.50                        02:34:36 UTC
                                                                         2019-06-10
Credit         063107513     888            $202.34                      02:36:40 UTC
                                                                         2019-06-03
Credit         063107513     888            $243.49                      02:34:31 UTC
                                                                         2019-05-22
Credit         063107513     888            $216.69                      03:15:05 UTC
                                                                         2019-05-13
Credit         063107513     888            $578.85                      02:34:19 UTC
                                                                         2019-05-10
Credit         063107513     888            $347.10                      03:15:04 UTC
                                                                         2019-05-09
Credit         063107513     888            $347.25                      03:13:50 UTC
                                                                         2019-05-08
Credit         063107513     888            $173.55                      03:13:35 UTC
                                                                         2019-05-06
Credit         063107513     888            $173.55                      02:33:59 UTC
                                                                         2019-05-03
Credit         063107513     888            $173.55                      03:13:58 UTC
                                                                         2019-05-01
Credit         063107513     888            $173.55                      03:13:16 UTC
                                                                         2019-04-29
Credit         063107513     888            $173.55                      02:33:34 UTC
                                                                         2019-04-29
Credit         063107513     888            $173.55                      02:33:34 UTC
                                                                         2019-04-24
Credit         063107513     888            $266.04                      03:14:09 UTC
                                                                         2019-04-22
Credit         063107513     888            $173.55                      02:34:53 UTC
                                                                         2019-04-22
Credit         063107513     888            $173.55                      02:34:53 UTC
                                                                         2019-04-17
Credit         063107513     888            $173.55                      03:14:27 UTC
                                                                         2019-04-15
Credit         063107513     888            $173.55                      02:33:59 UTC
                                                                         2019-04-15
Credit         063107513     888            $173.55                      02:33:59 UTC
                                                                         2019-04-10
Credit         063107513     888            $173.55                      03:14:06 UTC
                                                                         2019-04-08
Credit         063107513     888            $173.55                      02:36:20 UTC
                                                                         2019-04-04
Credit         063107513     888            $173.55                      03:16:51 UTC
                                                                         2019-04-01
Credit         063107513     888            $173.55                      02:34:34 UTC
                                                                         2019-04-01
Credit         063107513     888            $173.55                      02:34:34 UTC
                                                                         2018-11-20
Credit         063107513     888            $221.80                      04:11:13 UTC
                                                                         2018-11-15
Credit         063107513     888            $361.24                      04:12:06 UTC
                                                                         2018-10-29
Credit         063107513     888            $18.18                       02:30:55 UTC
                                                                         2018-10-29
Credit         063107513     888            $18.18                       02:30:55 UTC
                                                                         2018-10-24
Credit         063107513     888            $18.18                       03:11:09 UTC
                                                                         2018-10-22
Credit         063107513     888            $18.18                       02:30:49 UTC
                                                                         2018-10-19
Credit         063107513     888            $18.18                       03:11:35 UTC
                                                                         2018-10-16
Credit         063107513     888            $18.18                       03:10:29 UTC
                                                                         2018-10-15
Credit         063107513     888            $18.18                       02:31:10 UTC
                                                                         2018-10-08
Credit         063107513     888            $18.18                       02:32:13 UTC
                                                                         2018-10-08
Credit         063107513     888            $18.18                       02:32:13 UTC
                                                                         2018-10-04
Credit         063107513     888            $18.18                       03:11:24 UTC
                                                                                   2018-10-03
Credit             063107513    888             $36.36                             03:11:09 UTC

Credit             063107513    888             $54.54
                                                             Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 153 of 460 PageID 230
                                                                                   2018-10-01
                                                                                   02:30:44 UTC
                                                                                   2017-10-23
Credit             063107513    888             $438.54                            02:37:55 UTC
                                                                                   2017-08-21
Credit             063107513    888             $41.14                             02:53:30 UTC
                                                                                   2017-08-01
Credit             063107513    888             $168.72                            03:16:03 UTC
                                                                                   2017-07-20
Credit             063107513    888             $101.17                            03:17:13 UTC
                                                                                   2017-07-06
Credit             031000503    221             $208.11                            03:15:32 UTC
                                                                                   2017-06-26
Credit             031000503    221             $2,627.42                          02:33:06 UTC
                                                                                   2017-06-17
Credit             031000503    221             $170.19                            03:16:27 UTC
                                                                                   2017-06-16
Credit             031000503    221             $106.00                            03:15:57 UTC
                                                                                   2017-06-12
Credit             031000503    221             $702.38                            02:37:39 UTC
                                                                                   2017-06-05
Credit             031000503    221             $1,238.27                          02:35:30 UTC
                                                                                   2017-06-03
Credit             031000503    221             $702.38                            03:18:17 UTC
                                                                                   2017-05-29
Credit             031000503    221             $520.28                            02:35:07 UTC
                                                                                   2017-05-27
Credit             031000503    221             $234.13                            03:17:41 UTC
                                                                                   2017-05-22
Credit             031000503    221             $1,488.02                          02:36:03 UTC


Instant Deposits
Type               PAN          Card Brand      Amount          Failure Reason     Date




Created At         Legacy ID    ID              Name            Email              Phone Number   Website    Time Zone      Business Type   MCC               Deactivated   Frozen Date
                                                                RK469ZRWMSE
                                            DFE                 Q5@unit-
2019-06-27                      RK469ZRWMSE ESSENTIALS          token.squareup.c                             America/New_Y
12:17:10 UTC           6191     Q5          LLC                 om                                           ork           misc_retail      5999              No


Identity
Verification
Requests
Created At         First Name   Last Name       Street 1        Street 2           City           State      Zip            Phone #         Email             DOB           SSN           Business Type   Business Name   Business Street 1 Business Street 2 Business City   Business State   Business Zip   Business Phone # EIN
                                                5633                                                                                                                                                      DFE
2019-06-27                                      LEXINGTON                                                                                   dfeessentials@g                                               ESSENTIALS
12:25:21 UTC       Donna        Fogle           DR                                 PARRISH        FL         34219-5811     16105333150     mail.com          1958                9022    misc_retail     LLC


Devices
First Seen         Name         UDID            User Agent      OS                 Hardware       Platform

                                              Mozilla/5.0
                                              (iPhone11,6;
                                              CPU iPhone OS
                                              13.1.3 like Mac
                                              OS X; en-us)
                                DEVICE_INSTA Version/5.27
                                LLATION_ID:D com.squareup.squ
                                F4C574D-ABDA- are/5270015     CPU iPhone OS
2019-12-06                      4321-A4FF-    PointOfSaleSDK/ 13.1.3 like Mac
14:42:08 UTC       iPhone       6B0BF12CF20B 5.27             OS X                 iPhone11,6     ios

                                               com.squareup.squ
                                               are/2c4ffa8
                                               (Android 8.0.0;
                                               samsung
                                               samsung
                                               SAMSUNG-SM-
                                               G935A; en_US)                       samsung
                                               Version/5.20                        samsung
2019-09-09                      35844507343964 PointOfSaleSDK/                     SAMSUNG-SM-
20:28:43 UTC                    3              5.20             Android 8.0.0      G935A; en_US android

                                               com.squareup.squ
                                               are/1b12430
                                               (Android 7.1.1;
                                               samsung
                                               samsung
                                               SAMSUNG-SM-
                                               T377A; en_US)                       samsung
                                               Version/5.17                        samsung
2019-07-21                      35360807079339 PointOfSaleSDK/                     SAMSUNG-SM-
04:48:40 UTC                    6              5.17             Android 7.1.1      T377A; en_US android
                                                 com.squareup.squ
                                                 are/c80e292
                                                 (Android 7.1.1;
                                                 samsung
                                                                Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 154 of 460 PageID 231
                                                 samsung
                                                 SAMSUNG-SM-
                                                 T377A; en_US)                      samsung
                                  23320dc3-5122- Version/5.16                       samsung
2019-07-05                        4915-a4ff-     PointOfSaleSDK/                    SAMSUNG-SM-
12:15:18 UTC                      97d9099d184d   5.16             Android 7.1.1     T377A; en_US android

                                                   com.squareup.squ
                                                   are/1bd1b4e
                                                   (Android 8.0.0;
                                                   samsung
                                                   samsung
                                                   SAMSUNG-SM-
                                                   G935A; en_US)                    samsung
                                  4e197e02-7dd6-   Version/5.15                     samsung
2019-06-30                        4905-a7bd-       PointOfSaleSDK/                  SAMSUNG-SM-
14:34:20 UTC                      0cc11e018ed0     5.15             Android 8.0.0   G935A; en_US android


Bank Accounts
                                                                                 Verification
Created At       Account Name     Account Type     Routing Number Account Number Method            Bank
                 Donna Fogle
2019-06-27       DFE Essentials   business_checkin                                                 Branch Banking
12:31:05 UTC     LLC              g                263191387                7278    atmverify      And Trust


Attempted Card
Authorizations
                                                                                                                                                            Refund                                                     Dispute
Created At       Description      Amount           Tax Amount       Tip Amount      Entry Method   Success?         Error reason   Voided   Refund Amount   Timestamp   Dispute Amount Dispute Type   Dispute Status   Timestamp   Invoice Name
2019-12-15
16:55:46 EST                      $21.30           $1.30            $0.00           Swiped         Yes
2019-12-15
16:16:58 EST                      $41.54           $2.54            $0.00           Swiped         Yes
2019-12-15
15:36:27 EST                      $51.12           $3.12            $0.00           Swiped         Yes
2019-12-15
15:01:53 EST                      $35.14           $2.14            $0.00           Swiped         Yes
2019-12-15
14:38:36 EST                      $21.30           $1.30            $0.00           Swiped         Yes
2019-12-15
14:33:27 EST                      $10.12           $0.62            $0.00           Swiped         Yes
2019-12-15
13:32:02 EST                      $29.81           $1.82            $0.00           Swiped         Yes
2019-12-15
13:22:38 EST                      $10.12           $0.62            $0.00           Swiped         Yes
2019-12-15
13:15:59 EST                      $21.29           $1.30            $0.00           Swiped         Yes
2019-12-15
13:09:16 EST                      $13.31           $0.81            $0.00           Swiped         Yes
2019-12-15
12:39:06 EST                      $42.60           $2.60            $0.00           Swiped         Yes
2019-12-15
12:34:10 EST                      $10.12           $0.62            $0.00           Swiped         Yes
2019-12-15
12:23:47 EST                      $31.95           $1.95            $0.00           Swiped         Yes
2019-12-15
11:49:07 EST                      $63.90           $3.90            $0.00           Swiped         Yes
2019-12-14
16:24:57 EST                      $23.96           $1.46            $0.00           Swiped         Yes
2019-12-14
16:13:16 EST                      $38.33           $2.34            $0.00           Swiped         Yes
2019-12-14
15:32:21 EST                      $34.61           $2.11            $0.00           Swiped         Yes
2019-12-14
15:11:08 EST                      $8.51            $0.52            $0.00           Swiped         Yes
2019-12-14
14:33:44 EST                      $10.65           $0.65            $0.00           Swiped         Yes
2019-12-14
14:32:10 EST                      $13.31           $0.81            $0.00           Swiped         Yes
2019-12-14
14:06:52 EST                      $21.30           $1.30            $0.00           Swiped         Yes
2019-12-14
13:33:01 EST                      $21.30           $1.30            $0.00           Swiped         Yes
2019-12-14
13:31:35 EST                      $26.08           $1.59            $0.00           Swiped         Yes
2019-12-14
12:54:14 EST                      $10.12           $0.62            $0.00           Swiped         Yes
2019-12-14
12:53:03 EST                      $42.60           $2.60            $0.00           Swiped         Yes
2019-12-14
12:29:04 EST                      $61.76           $3.77            $0.00           Swiped         Yes
2019-12-14
12:18:53 EST                      $63.90           $3.90            $0.00           Swiped         Yes
2019-12-14
12:12:02 EST                      $13.31           $0.81            $0.00           Swiped         Yes
2019-12-14
11:34:07 EST   $13.31    $0.81    $0.00   Swiped   Yes
2019-12-14
10:48:41 EST   $21.30    $1.30
                                 Case
                                  $0.00
                                        8:19-cv-02147-JSM-SPF
                                           Swiped Yes
                                                              Document 16-1 Filed 01/30/20 Page 155 of 460 PageID 232
2019-12-13
16:56:54 EST   $42.60    $2.60    $0.00   Swiped   Yes
2019-12-13
16:46:01 EST   $53.25    $3.25    $0.00   Swiped   Yes
2019-12-13
15:47:31 EST   $31.95    $1.95    $0.00   Swiped   Yes
2019-12-13
14:50:30 EST   $121.41   $7.41    $0.00   Swiped   Yes
2019-12-13
14:01:06 EST   $41.54    $2.54    $0.00   Swiped   Yes
2019-12-13
12:48:15 EST   $31.95    $1.95    $0.00   Swiped   Yes
2019-12-13
12:14:41 EST   $13.31    $0.81    $0.00   Swiped   Yes
2019-12-13
12:03:04 EST   $10.12    $0.62    $0.00   Swiped   Yes
2019-12-13
10:43:47 EST   $28.76    $1.76    $0.00   Swiped   Yes
2019-12-13
10:34:51 EST   $7.44     $0.45    $0.00   Swiped   Yes
2019-12-13
10:33:14 EST   $10.12    $0.62    $0.00   Swiped   Yes
2019-12-08
16:31:03 EST   $21.30    $1.30    $0.00   Swiped   Yes
2019-12-08
15:55:18 EST   $18.64    $1.14    $0.00   Swiped   Yes
2019-12-08
14:37:12 EST   $47.92    $2.92    $0.00   Swiped   Yes
2019-12-08
14:10:51 EST   $21.30    $1.30    $0.00   Swiped   Yes
2019-12-08
14:02:56 EST   $10.65    $0.65    $0.00   Swiped   Yes
2019-12-08
13:59:13 EST   $21.30    $1.30    $0.00   Swiped   Yes
2019-12-08
12:53:14 EST   $13.31    $0.81    $0.00   Swiped   Yes
2019-12-08
12:50:30 EST   $42.60    $2.60    $0.00   Swiped   Yes
2019-12-08
12:46:12 EST   $10.65    $0.65    $0.00   Swiped   Yes
2019-12-08
12:44:54 EST   $85.20    $5.20    $0.00   Swiped   Yes
2019-12-08
12:38:46 EST   $42.60    $2.60    $0.00   Swiped   Yes
2019-12-08
11:50:08 EST   $110.00   $0.00    $0.00   Swiped   Yes
2019-12-08
10:19:55 EST   $60.16    $3.67    $0.00   Swiped   Yes
2019-12-07
14:25:25 EST   $66.51    $4.06    $0.00   Swiped   Yes
2019-12-07
14:10:06 EST   $29.28    $1.79    $0.00   Swiped   Yes
2019-12-07
13:32:16 EST   $13.31    $0.81    $0.00   Swiped   Yes
2019-12-07
13:13:18 EST   $53.25    $3.25    $0.00   Swiped   Yes
2019-12-07
13:09:59 EST   $15.92    $0.97    $0.00   Swiped   Yes
2019-12-07
12:41:50 EST   $13.31    $0.81    $0.00   Swiped   Yes
2019-12-07
12:27:48 EST   $10.12    $0.62    $0.00   Swiped   Yes
2019-12-07
11:12:05 EST   $27.67    $1.69    $0.00   Swiped   Yes
2019-12-07
11:05:01 EST   $23.43    $1.43    $0.00   Swiped   Yes
2019-12-07
10:31:00 EST   $30.88    $1.88    $0.00   Swiped   Yes
2019-12-07
10:27:29 EST   $37.28    $2.28    $0.00   Swiped   Yes
2019-12-06
14:15:11 EST   $95.85    $5.85    $0.00   Swiped   Yes
2019-12-06
14:06:17 EST   $13.31    $0.81    $0.00   Swiped   Yes
2019-12-06
12:36:01 EST   $78.81    $4.81    $0.00   Swiped   Yes
2019-12-06
12:20:15 EST   $89.99    $0.00    $0.00   Swiped   Yes
2019-12-06
12:17:37 EST   $10.12    $0.62    $0.00   Swiped   Yes
2019-12-06
11:54:54 EST   $15.44    $0.94    $0.00   Swiped   Yes
2019-12-01
15:07:54 EST   $42.55    $2.60    $0.00   Swiped   Yes
2019-12-01
13:53:51 EST   $17.57    $1.07    $0.00   Swiped   Yes
2019-12-01
13:52:23 EST   $20.24    $1.24    $0.00   Swiped   Yes
2019-12-01
13:50:59 EST   $17.57    $1.07
                                 Case
                                  $0.00
                                        8:19-cv-02147-JSM-SPF
                                           Swiped Yes
                                                              Document 16-1 Filed 01/30/20 Page 156 of 460 PageID 233
2019-12-01
13:22:43 EST   $31.95    $1.95    $0.00   Swiped   Yes
2019-12-01
12:10:38 EST   $85.20    $5.20    $0.00   Swiped   Yes
2019-12-01
11:50:57 EST   $21.25    $1.30    $0.00   Swiped   Yes
2019-12-01
09:38:14 EST   $13.31    $0.81    $0.00   Swiped   Yes
2019-11-30
16:17:39 EST   $10.65    $0.65    $0.00   Swiped   Yes
2019-11-30
16:09:37 EST   $31.95    $1.95    $0.00   Swiped   Yes
2019-11-30
15:17:36 EST   $21.30    $1.30    $0.00   Swiped   Yes
2019-11-30
14:23:06 EST   $10.65    $0.65    $0.00   Swiped   Yes
2019-11-30
14:02:19 EST   $10.65    $0.65    $0.00   Swiped   Yes
2019-11-30
14:00:31 EST   $21.30    $1.30    $0.00   Swiped   Yes
2019-11-30
13:35:30 EST   $21.30    $1.30    $0.00   Swiped   Yes
2019-11-30
13:01:52 EST   $18.10    $1.10    $0.00   Swiped   Yes
2019-11-30
12:24:16 EST   $74.54    $4.55    $0.00   Swiped   Yes
2019-11-30
12:12:10 EST   $21.30    $1.30    $0.00   Swiped   Yes
2019-11-30
12:03:20 EST   $95.80    $5.85    $0.00   Swiped   Yes
2019-11-30
12:01:04 EST   $21.30    $1.30    $0.00   Swiped   Yes
2019-11-30
11:56:02 EST   $21.83    $1.33    $0.00   Swiped   Yes
2019-11-30
11:45:02 EST   $74.55    $4.55    $0.00   Swiped   Yes
2019-11-30
09:54:35 EST   $21.30    $1.30    $0.00   Swiped   Yes
2019-11-29
14:10:57 EST   $21.30    $1.30    $0.00   Swiped   Yes
2019-11-29
14:03:30 EST   $31.95    $1.95    $0.00   Swiped   Yes
2019-11-29
13:41:07 EST   $31.95    $1.95    $0.00   Swiped   Yes
2019-11-29
11:24:15 EST   $13.31    $0.81    $0.00   Swiped   Yes
2019-11-29
11:15:46 EST   $13.31    $0.81    $0.00   Swiped   Yes
2019-11-29
09:46:25 EST   $8.51     $0.52    $0.00   Swiped   Yes
2019-11-24
14:15:52 EST   $53.25    $3.25    $0.00   Swiped   Yes
2019-11-24
14:09:12 EST   $46.00    $0.00    $0.00   Swiped   Yes
2019-11-24
13:41:08 EST   $13.31    $0.81    $0.00   Swiped   Yes
2019-11-24
13:39:47 EST   $13.31    $0.81    $0.00   Swiped   Yes
2019-11-24
13:18:33 EST   $21.30    $1.30    $0.00   Swiped   Yes
2019-11-24
12:34:18 EST   $13.31    $0.81    $0.00   Swiped   Yes
2019-11-24
11:33:28 EST   $20.76    $1.27    $0.00   Swiped   Yes
2019-11-24
11:07:09 EST   $21.30    $1.30    $0.00   Swiped   Yes
2019-11-24
11:00:15 EST   $117.10   $7.15    $0.00   Swiped   Yes
2019-11-24
10:00:59 EST   $49.51    $3.02    $0.00   Swiped   Yes
2019-11-24
09:38:29 EST   $31.95    $1.95    $0.00   Swiped   Yes
2019-11-23
15:18:06 EST   $27.64    $1.69    $0.00   Swiped   Yes
2019-11-23
15:12:47 EST   $90.49    $5.52    $0.00   Swiped   Yes
2019-11-23
14:44:35 EST   $60.00    $0.00    $0.00   Swiped   Yes
2019-11-23
14:30:55 EST   $47.92    $2.92    $0.00   Swiped   Yes
2019-11-23
14:13:28 EST   $21.25    $1.30    $0.00   Swiped   Yes
2019-11-23
13:02:49 EST   $21.30    $1.30    $0.00   Swiped   Yes
2019-11-23
12:23:27 EST   $42.60    $2.60    $0.00   Swiped   Yes
2019-11-23
11:27:53 EST   $17.57   $1.07    $0.00   Swiped   Yes
2019-11-23
11:06:20 EST   $36.21   $2.21
                                Case
                                 $0.00
                                       8:19-cv-02147-JSM-SPF
                                          Swiped Yes
                                                             Document 16-1 Filed 01/30/20 Page 157 of 460 PageID 234
2019-11-23
10:27:17 EST   $26.62   $1.62    $0.00   Swiped   Yes
2019-11-23
10:25:19 EST   $38.34   $2.34    $0.00   Swiped   Yes
2019-11-22
15:11:24 EST   $55.38   $3.38    $0.00   Swiped   Yes
2019-11-22
15:05:00 EST   $10.12   $0.62    $0.00   Swiped   Yes
2019-11-22
13:40:44 EST   $20.24   $1.24    $0.00   Swiped   Yes
2019-11-22
13:35:39 EST   $95.84   $5.85    $0.00   Swiped   Yes
2019-11-22
11:39:35 EST   $21.30   $1.30    $0.00   Swiped   Yes
2019-11-22
11:19:23 EST   $6.37    $0.39    $0.00   Swiped   Yes
2019-11-17
14:49:35 EST   $13.31   $0.81    $0.00   Swiped   Yes
2019-11-17
14:22:28 EST   $21.30   $1.30    $0.00   Swiped   Yes
2019-11-17
14:17:44 EST   $33.00   $0.00    $0.00   Swiped   Yes
2019-11-17
13:59:13 EST   $48.94   $2.99    $0.00   Swiped   Yes
2019-11-17
13:33:38 EST   $21.30   $1.30    $0.00   Swiped   Yes
2019-11-17
13:31:20 EST   $13.31   $0.81    $0.00   Swiped   Yes
2019-11-17
13:13:20 EST   $27.69   $1.69    $0.00   Swiped   Yes
2019-11-17
12:45:46 EST   $95.84   $5.85    $0.00   Swiped   Yes
2019-11-17
12:33:50 EST   $31.95   $1.95    $0.00   Swiped   Yes
2019-11-17
12:24:12 EST   $53.23   $3.25    $0.00   Swiped   Yes
2019-11-17
12:18:57 EST   $31.94   $1.95    $0.00   Swiped   Yes
2019-11-17
12:05:51 EST   $37.28   $2.28    $0.00   Swiped   Yes
2019-11-17
11:44:18 EST   $26.04   $1.59    $0.00   Swiped   Yes
2019-11-17
11:41:18 EST   $15.92   $0.97    $0.00   Swiped   Yes
2019-11-17
10:45:58 EST   $13.31   $0.81    $0.00   Swiped   Yes
2019-11-17
10:34:29 EST   $21.30   $1.30    $0.00   Swiped   Yes
2019-11-17
09:49:40 EST   $21.30   $1.30    $0.00   Swiped   Yes
2019-11-16
16:21:46 EST   $21.29   $1.30    $0.00   Swiped   Yes
2019-11-16
16:04:58 EST   $13.31   $0.81    $0.00   Swiped   Yes
2019-11-16
15:43:58 EST   $19.16   $1.17    $0.00   Swiped   Yes
2019-11-16
14:35:28 EST   $26.62   $1.62    $0.00   Swiped   Yes
2019-11-16
14:31:15 EST   $31.94   $1.95    $0.00   Swiped   Yes
2019-11-16
13:16:45 EST   $21.30   $1.30    $0.00   Swiped   Yes
2019-11-16
13:13:13 EST   $13.83   $0.84    $0.00   Swiped   Yes
2019-11-16
13:10:17 EST   $52.72   $3.22    $0.00   Swiped   Yes
2019-11-16
11:59:45 EST   $26.62   $1.62    $0.00   Swiped   Yes
2019-11-16
11:26:30 EST   $31.94   $1.95    $0.00   Swiped   Yes
2019-11-16
11:14:31 EST   $31.94   $1.95    $0.00   Swiped   Yes
2019-11-16
10:52:27 EST   $17.57   $1.07    $0.00   Swiped   Yes
2019-11-15
15:53:44 EST   $10.12   $0.62    $0.00   Swiped   Yes
2019-11-15
15:49:47 EST   $42.60   $2.60    $0.00   Swiped   Yes
2019-11-15
15:40:36 EST   $27.69   $1.69    $0.00   Swiped   Yes
2019-11-15
14:07:04 EST   $17.57   $1.07    $0.00   Swiped   Yes
2019-11-15
12:49:14 EST   $26.60   $1.62    $0.00   Swiped   Yes
2019-11-15
12:44:39 EST   $29.29   $1.79    $0.00   Swiped   Yes
2019-11-15
12:25:29 EST   $10.65   $0.65    $0.00   Swiped   Yes
2019-11-15
12:24:23 EST   $21.30   $1.30
                                Case
                                 $0.00
                                       8:19-cv-02147-JSM-SPF
                                          Swiped Yes
                                                             Document 16-1 Filed 01/30/20 Page 158 of 460 PageID 235
2019-11-15
12:08:08 EST   $63.89   $3.90    $0.00   Swiped   Yes
2019-11-15
12:06:54 EST   $39.94   $2.44    $0.00   Swiped   Yes
2019-11-10
14:54:40 EST   $42.60   $2.60    $0.00   Swiped   Yes
2019-11-10
14:53:39 EST   $42.60   $2.60    $0.00   Swiped   Yes
2019-11-10
14:51:16 EST   $26.61   $1.62    $0.00   Swiped   Yes
2019-11-10
14:21:50 EST   $13.31   $0.81    $0.00   Swiped   Yes
2019-11-10
13:22:49 EST   $63.89   $3.90    $0.00   Swiped   Yes
2019-11-10
13:07:10 EST   $8.51    $0.52    $0.00   Swiped   Yes
2019-11-10
11:48:03 EST   $13.31   $0.81    $0.00   Swiped   Yes
2019-11-10
10:46:28 EST   $13.31   $0.81    $0.00   Swiped   Yes
2019-11-10
10:32:33 EST   $10.12   $0.62    $0.00   Swiped   Yes
2019-11-09
15:40:35 EST   $36.74   $2.24    $0.00   Swiped   Yes
2019-11-09
13:16:39 EST   $21.30   $1.30    $0.00   Swiped   Yes
2019-11-09
12:53:34 EST   $68.15   $4.16    $0.00   Swiped   Yes
2019-11-09
12:43:37 EST   $19.16   $1.17    $0.00   Swiped   Yes
2019-11-09
12:30:09 EST   $43.64   $2.66    $0.00   Swiped   Yes
2019-11-09
12:05:20 EST   $13.31   $0.81    $0.00   Swiped   Yes
2019-11-09
11:52:18 EST   $10.12   $0.62    $0.00   Swiped   Yes
2019-11-09
11:50:43 EST   $14.37   $0.88    $0.00   Swiped   Yes
2019-11-09
11:22:36 EST   $13.31   $0.81    $0.00   Swiped   Yes
2019-11-09
11:04:09 EST   $10.12   $0.62    $0.00   Swiped   Yes
2019-11-08
15:06:02 EST   $27.69   $1.69    $0.00   Swiped   Yes
2019-11-08
14:10:05 EST   $22.89   $1.40    $0.00   Swiped   Yes
2019-11-08                                                               2019-11-09
13:39:12 EST   $31.94   $1.95    $0.00   Swiped   Yes           $31.94   09:18:00 EST
2019-11-08
13:34:06 EST   $10.64   $0.65    $0.00   Swiped   Yes
2019-11-08
13:08:41 EST   $21.30   $1.30    $0.00   Swiped   Yes
2019-11-08
12:42:38 EST   $63.90   $3.90    $0.00   Swiped   Yes
2019-11-03
16:19:08 EST   $40.00   $0.00    $0.00   Swiped   Yes
2019-11-03
16:16:39 EST   $21.30   $1.30    $0.00   Swiped   Yes
2019-11-03
15:38:04 EST   $23.43   $1.43    $0.00   Swiped   Yes
2019-11-03
14:04:08 EST   $21.30   $1.30    $0.00   Swiped   Yes
2019-11-03
13:38:12 EST   $21.30   $1.30    $0.00   Swiped   Yes
2019-11-03
13:20:18 EST   $17.57   $1.07    $0.00   Swiped   Yes
2019-11-03
12:44:03 EST   $10.65   $0.65    $0.00   Swiped   Yes
2019-11-03
12:43:24 EST   $10.65   $0.65    $0.00   Swiped   Yes
2019-11-03
12:19:08 EST   $21.25   $1.30    $0.00   Swiped   Yes
2019-11-03
11:36:24 EST   $10.12   $0.62    $0.00   Swiped   Yes
2019-11-03
11:12:25 EST   $13.31   $0.81    $0.00   Swiped   Yes
2019-11-03
10:41:50 EST   $13.31   $0.81    $0.00   Swiped   Yes
2019-11-03
10:38:54 EST   $55.91   $3.41    $0.00   Swiped   Yes
2019-11-02
14:23:02 EDT   $15.98   $0.98    $0.00   Swiped   Yes
2019-11-02
13:33:44 EDT   $10.60   $0.65    $0.00   Swiped   Yes
2019-11-02
13:29:19 EDT   $21.30   $1.30    $0.00   Swiped   Yes
2019-11-02
12:29:15 EDT   $17.57    $1.07     $0.00   Swiped   Yes
2019-11-02
12:12:57 EDT   $70.80    $4.32
                                  Case
                                   $0.00
                                         8:19-cv-02147-JSM-SPF
                                            Swiped Yes
                                                               Document 16-1 Filed 01/30/20 Page 159 of 460 PageID 236
2019-11-02
12:03:37 EDT   $17.57    $1.07     $0.00   Swiped   Yes
2019-11-02
11:13:32 EDT   $15.92    $0.97     $0.00   Swiped   Yes
2019-11-02
10:44:40 EDT   $37.22    $2.27     $0.00   Swiped   Yes
2019-11-02
10:42:32 EDT   $20.22    $1.23     $0.00   Swiped   Yes
2019-11-02
10:21:28 EDT   $21.25    $1.30     $0.00   Swiped   Yes
2019-11-01
13:59:30 EDT   $52.18    $3.18     $0.00   Swiped   Yes
2019-11-01
13:56:17 EDT   $26.62    $1.62     $0.00   Swiped   Yes
2019-11-01
13:26:03 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-11-01
13:24:48 EDT   $27.69    $1.69     $0.00   Swiped   Yes
2019-11-01
12:33:32 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-10-27
15:44:50 EDT   $19.17    $1.17     $0.00   Swiped   Yes
2019-10-27
15:43:57 EDT   $19.17    $0.00     $0.00   Swiped   No    Insufficient funds
2019-10-27
13:21:37 EDT   $5.32     $0.32     $0.00   Swiped   Yes
2019-10-27
12:12:23 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-10-27
11:57:01 EDT   $21.29    $1.30     $0.00   Swiped   Yes
2019-10-27
11:12:16 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-10-27
11:10:29 EDT   $43.13    $2.63     $0.00   Swiped   Yes
2019-10-26
14:21:15 EDT   $37.22    $2.27     $0.00   Swiped   Yes
2019-10-26
14:15:59 EDT   $45.78    $2.79     $0.00   Swiped   Yes
2019-10-26
14:04:19 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-10-26
14:03:42 EDT   $8.51     $0.52     $0.00   Swiped   Yes
2019-10-26
13:54:39 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-10-26
13:37:04 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-10-26
13:32:36 EDT   $10.65    $0.65     $0.00   Swiped   Yes
2019-10-26
13:30:17 EDT   $15.92    $0.97     $0.00   Swiped   Yes
2019-10-26
13:06:28 EDT   $21.29    $1.30     $0.00   Swiped   Yes
2019-10-26
12:46:52 EDT   $10.64    $0.65     $0.00   Swiped   Yes
2019-10-26
11:47:37 EDT   $42.58    $2.60     $0.00   Swiped   Yes
2019-10-26
11:17:28 EDT   $8.51     $0.52     $0.00   Swiped   Yes
2019-10-26
11:05:36 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-10-26
11:03:39 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-10-26
09:49:00 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-10-25
15:32:09 EDT   $271.58   $16.58    $0.00   Swiped   Yes
2019-10-25
14:14:46 EDT   $17.57    $1.07     $0.00   Swiped   Yes
2019-10-25
14:12:12 EDT   $37.81    $2.31     $0.00   Swiped   Yes
2019-10-25
13:04:58 EDT   $10.65    $0.65     $0.00   Swiped   Yes
2019-10-25
13:04:08 EDT   $10.65    $0.65     $0.00   Swiped   Yes
2019-10-25
12:38:37 EDT   $21.25    $1.30     $0.00   Swiped   Yes
2019-10-25
12:35:46 EDT   $53.14    $3.24     $0.00   Swiped   Yes
2019-10-25
12:13:59 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-10-25
11:49:31 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-10-25
11:34:03 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-10-25
10:57:00 EDT   $95.85    $5.85     $0.00   Swiped   Yes
2019-10-20
16:13:37 EDT   $34.60    $2.11     $0.00   Swiped   Yes
2019-10-20
14:48:08 EDT   $21.30    $1.30
                                  Case
                                   $0.00
                                         8:19-cv-02147-JSM-SPF
                                            Swiped Yes
                                                               Document 16-1 Filed 01/30/20 Page 160 of 460 PageID 237
2019-10-20
14:43:29 EDT   $21.29    $1.30     $0.00   Swiped   Yes
2019-10-20
11:44:06 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-10-20
10:30:12 EDT   $21.29    $1.30     $0.00   Swiped   Yes
2019-10-20
09:57:37 EDT   $31.94    $1.95     $0.00   Swiped   Yes
2019-10-19
15:07:49 EDT   $21.29    $1.30     $0.00   Swiped   Yes
2019-10-19
14:48:27 EDT   $59.61    $3.64     $0.00   Swiped   Yes
2019-10-19
13:39:17 EDT   $13.83    $0.84     $0.00   Swiped   Yes
2019-10-19
13:36:34 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-10-19
12:21:35 EDT   $29.81    $1.82     $0.00   Swiped   Yes
2019-10-19
12:18:54 EDT   $10.12    $0.62     $0.00   Swiped   Yes
2019-10-19
12:13:52 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-10-19
12:03:29 EDT   $29.81    $1.82     $0.00   Swiped   Yes
2019-10-19
10:43:52 EDT   $31.42    $1.92     $0.00   Swiped   Yes
2019-10-18
12:29:10 EDT   $22.85    $1.39     $0.00   Swiped   Yes
2019-10-18
11:29:13 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-10-13
16:02:57 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-10-13
16:00:42 EDT   $31.94    $1.95     $0.00   Swiped   Yes
2019-10-13
14:55:01 EDT   $21.29    $1.30     $0.00   Swiped   Yes
2019-10-13
13:42:40 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-10-13
13:28:59 EDT   $21.29    $1.30     $0.00   Swiped   Yes
2019-10-13
12:55:08 EDT   $10.64    $0.65     $0.00   Swiped   Yes
2019-10-13
12:48:48 EDT   $133.12   $8.12     $0.00   Swiped   Yes
2019-10-13
12:44:01 EDT   $106.50   $6.50     $0.00   Swiped   Yes
2019-10-13
11:38:25 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-10-12
15:50:47 EDT   $31.95    $1.95     $0.00   Swiped   Yes
2019-10-12
15:22:17 EDT   $36.21    $2.21     $0.00   Swiped   Yes
2019-10-12
13:36:04 EDT   $42.60    $2.60     $0.00   Swiped   Yes
2019-10-12
13:19:49 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-10-12
11:38:01 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-10-12
11:27:36 EDT   $26.61    $1.62     $0.00   Swiped   Yes
2019-10-12
10:15:04 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-10-11
12:41:55 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-10-11
11:30:12 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-10-11
11:26:34 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-10-11
10:02:25 EDT   $106.50   $6.50     $0.00   Swiped   Yes
2019-10-06
16:27:02 EDT   $175.72   $10.72    $0.00   Swiped   Yes
2019-10-06
16:04:08 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-10-06
14:39:45 EDT   $30.34    $1.85     $0.00   Swiped   Yes
2019-10-06
13:59:35 EDT   $8.51     $0.52     $0.00   Swiped   Yes
2019-10-06
13:55:17 EDT   $17.03    $1.04     $0.00   Swiped   Yes
2019-10-06
13:45:49 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-10-06
13:33:36 EDT   $2.13     $0.13     $0.00   Swiped   Yes
2019-10-06
13:33:15 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-10-06
12:52:44 EDT   $5.32     $0.32     $0.00   Swiped   Yes
2019-10-06
12:48:01 EDT   $26.57    $1.62
                                  Case
                                   $0.00
                                         8:19-cv-02147-JSM-SPF
                                            Swiped Yes
                                                               Document 16-1 Filed 01/30/20 Page 161 of 460 PageID 238
2019-10-05
15:37:49 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-10-05
14:47:13 EDT   $67.10    $4.10     $0.00   Swiped   Yes
2019-10-05
14:14:17 EDT   $38.32    $2.34     $0.00   Swiped   Yes
2019-10-05
14:10:00 EDT   $26.61    $1.62     $0.00   Swiped   Yes
2019-10-05
12:20:18 EDT   $9.57     $0.58     $0.00   Swiped   Yes
2019-10-05
11:07:04 EDT   $42.60    $2.60     $0.00   Swiped   Yes
2019-10-05
11:00:57 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-10-05
10:31:22 EDT   $42.60    $2.60     $0.00   Swiped   Yes
2019-10-04
14:45:13 EDT   $31.95    $1.95     $0.00   Swiped   Yes
2019-10-04
14:29:44 EDT   $98.90    $6.04     $0.00   Swiped   Yes
2019-10-04
13:35:17 EDT   $26.62    $1.62     $0.00   Swiped   Yes
2019-10-04
12:01:30 EDT   $23.43    $1.43     $0.00   Swiped   Yes
2019-09-29
14:58:05 EDT   $27.67    $1.69     $0.00   Swiped   Yes
2019-09-29
14:39:38 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-09-29
13:30:32 EDT   $55.91    $3.41     $0.00   Swiped   Yes
2019-09-29
12:29:01 EDT   $38.34    $2.34     $0.00   Swiped   Yes
2019-09-29
11:38:44 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-09-29
11:16:04 EDT   $42.60    $2.60     $0.00   Swiped   Yes
2019-09-29
11:15:14 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-09-29
11:14:23 EDT   $127.80   $7.80     $0.00   Swiped   Yes
2019-09-29
10:18:17 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-09-29
09:39:02 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-09-28
15:00:26 EDT   $5.32     $0.32     $0.00   Swiped   Yes
2019-09-28
14:28:26 EDT   $53.25    $3.25     $0.00   Swiped   Yes
2019-09-28
13:45:12 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-09-28
13:19:27 EDT   $29.81    $1.82     $0.00   Swiped   Yes
2019-09-28
12:19:28 EDT   $9.57     $0.58     $0.00   Swiped   Yes
2019-09-28
12:18:08 EDT   $95.84    $5.85     $0.00   Swiped   Yes
2019-09-28
11:36:36 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-09-28
11:34:55 EDT   $31.95    $1.95     $0.00   Swiped   Yes
2019-09-28
11:29:16 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-09-28
11:16:57 EDT   $15.96    $0.97     $0.00   Swiped   Yes
2019-09-27
14:25:49 EDT   $29.28    $1.79     $0.00   Swiped   Yes
2019-09-27
13:39:49 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-09-27
13:15:02 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-09-27
12:26:22 EDT   $37.28    $2.28     $0.00   Swiped   Yes
2019-09-27
11:47:45 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-09-27
11:31:53 EDT   $22.33    $1.36     $0.00   Swiped   Yes
2019-09-27
11:30:15 EDT   $25.52    $1.56     $0.00   Swiped   Yes
2019-09-27
11:25:52 EDT   $31.84    $1.94     $0.00   Swiped   Yes
2019-09-27
10:27:12 EDT   $31.94    $1.95     $0.00   Swiped   Yes
2019-09-22
15:31:45 EDT   $224.65   $13.71    $0.00   Swiped   Yes
                                                         Do not honor
                                                     (Square internal
                                 Case 8:19-cv-02147-JSM-SPF
                                                     note: This is the Document 16-1 Filed 01/30/20 Page 162 of 460 PageID 239
                                                         most generic
                                                         reason code a
                                                         bank can provide
                                                         us. There isn't
                                                         anything we can
                                                         do other than to
                                                         ask them to either
                                                         call their bank to
                                                         tell them to
                                                         remove any
                                                         restrictions that
                                                         would stop a
                                                         future similar
                                                         transaction, or to
2019-09-22                                               try another form
15:31:19 EDT   $224.65   $0.00    $0.00   Swiped   No    of payment.)

                                                         Do not honor
                                                         (Square internal
                                                         note: This is the
                                                         most generic
                                                         reason code a
                                                         bank can provide
                                                         us. There isn't
                                                         anything we can
                                                         do other than to
                                                         ask them to either
                                                         call their bank to
                                                         tell them to
                                                         remove any
                                                         restrictions that
                                                         would stop a
                                                         future similar
                                                         transaction, or to
2019-09-22                                               try another form
15:31:18 EDT   $224.65   $0.00    $0.00   Swiped   No    of payment.)
2019-09-22
14:44:30 EDT   $19.16    $1.17    $0.00   Swiped   Yes
2019-09-22
14:37:39 EDT   $31.94    $1.95    $0.00   Swiped   Yes
2019-09-22
14:25:50 EDT   $19.16    $1.17    $0.00   Swiped   Yes
2019-09-22
14:24:46 EDT   $19.16    $1.17    $0.00   Swiped   Yes
2019-09-22
14:12:29 EDT   $53.25    $3.25    $0.00   Swiped   Yes
2019-09-22
14:06:46 EDT   $31.94    $1.95    $0.00   Swiped   Yes
2019-09-22
13:37:34 EDT   $21.30    $1.30    $0.00   Swiped   Yes
2019-09-22
12:55:04 EDT   $21.30    $1.30    $0.00   Swiped   Yes
2019-09-22
12:10:20 EDT   $17.03    $1.04    $0.00   Swiped   Yes
2019-09-22
12:04:23 EDT   $15.98    $0.98    $0.00   Swiped   Yes
2019-09-22
11:58:41 EDT   $13.83    $0.84    $0.00   Swiped   Yes
2019-09-22
10:38:22 EDT   $21.30    $1.30    $0.00   Swiped   Yes
2019-09-21
14:43:54 EDT   $21.30    $1.30    $0.00   Swiped   Yes
2019-09-21
12:52:27 EDT   $14.89    $0.91    $0.00   Swiped   Yes
2019-09-21
12:09:44 EDT   $30.34    $1.85    $0.00   Swiped   Yes
2019-09-21
12:01:15 EDT   $13.31    $0.81    $0.00   Swiped   Yes
2019-09-20                                                                             2019-09-20
13:44:08 EDT   $35.11    $2.14    $0.00   Swiped   Yes                        $19.26   13:59:09 EDT
2019-09-20
12:03:27 EDT   $95.84    $5.85    $0.00   Swiped   Yes
2019-09-20
11:49:55 EDT   $15.96    $0.97    $0.00   Swiped   Yes
2019-09-20
11:40:53 EDT   $21.30    $1.30    $0.00   Swiped   Yes
2019-09-20
11:38:22 EDT   $63.90    $3.90    $0.00   Swiped   Yes
2019-09-15
16:10:53 EDT   $6.38     $0.39    $0.00   Swiped   Yes
2019-09-15
15:58:38 EDT   $10.65    $0.65    $0.00   Swiped   Yes
2019-09-15
13:22:56 EDT   $15.96    $0.97    $0.00   Swiped   Yes
2019-09-15
12:05:17 EDT   $26.62    $1.62    $0.00   Swiped   Yes
2019-09-15
10:47:14 EDT   $21.30    $1.30    $0.00   Swiped   Yes
2019-09-15
10:40:29 EDT   $21.30    $1.30    $0.00   Swiped   Yes
2019-09-15
09:52:41 EDT   $26.60    $1.62
                                 Case
                                  $0.00
                                        8:19-cv-02147-JSM-SPF
                                           Swiped Yes
                                                              Document 16-1 Filed 01/30/20 Page 163 of 460 PageID 240
2019-09-14
12:36:17 EDT   $103.30   $6.30    $0.00   Swiped   Yes
2019-09-14
12:29:04 EDT   $15.92    $0.97    $0.00   Swiped   Yes
2019-09-14
12:20:03 EDT   $21.30    $1.30    $0.00   Swiped   Yes
2019-09-14                                                                             2019-09-14
11:40:55 EDT   $21.30    $1.30    $0.00   Swiped   Yes                        $21.30   11:43:23 EDT
2019-09-14
11:06:00 EDT   $21.30    $1.30    $0.00   Swiped   Yes
2019-09-13
13:51:05 EDT   $95.84    $5.85    $0.00   Swiped   Yes
2019-09-13
12:45:44 EDT   $21.30    $1.30    $0.00   Swiped   Yes
2019-09-13
10:49:04 EDT   $26.58    $1.62    $0.00   Swiped   Yes
2019-09-13
10:26:19 EDT   $53.24    $3.25    $0.00   Swiped   Yes
2019-09-08
15:48:26 EDT   $21.30    $1.30    $0.00   Swiped   Yes
2019-09-08
14:41:28 EDT   $17.03    $1.04    $0.00   Swiped   Yes
2019-09-08
13:50:14 EDT   $63.90    $3.90    $0.00   Swiped   Yes
2019-09-08
13:48:31 EDT   $53.24    $3.25    $0.00   Swiped   Yes
2019-09-08
13:47:26 EDT   $63.90    $3.90    $0.00   Swiped   Yes
2019-09-08
13:39:04 EDT   $21.30    $1.30    $0.00   Swiped   Yes
2019-09-08
13:35:25 EDT   $21.30    $1.30    $0.00   Swiped   Yes
2019-09-08
12:04:23 EDT   $13.31    $0.81    $0.00   Swiped   Yes
2019-09-08
12:02:20 EDT   $13.31    $0.00    $0.00   Swiped   No    Insufficient funds
2019-09-08
10:55:01 EDT   $13.31    $0.81    $0.00   Swiped   Yes
2019-09-07
15:10:16 EDT   $10.65    $0.65    $0.00   Swiped   Yes
2019-09-07
14:54:51 EDT   $13.31    $0.81    $0.00   Swiped   Yes
2019-09-07
14:51:24 EDT   $21.30    $1.30    $0.00   Swiped   Yes
2019-09-07
14:40:01 EDT   $21.30    $1.30    $0.00   Swiped   Yes
2019-09-07
14:13:32 EDT   $31.95    $1.95    $0.00   Swiped   Yes
2019-09-07
10:48:22 EDT   $53.25    $3.25    $0.00   Swiped   Yes
2019-09-06
14:11:17 EDT   $69.22    $4.22    $0.00   Swiped   Yes
2019-09-06
12:52:26 EDT   $42.60    $2.60    $0.00   Swiped   Yes
2019-09-06
12:24:53 EDT   $21.30    $1.30    $0.00   Swiped   Yes
2019-09-06
11:07:20 EDT   $13.31    $0.81    $0.00   Swiped   Yes
2019-09-06
11:05:33 EDT   $26.61    $1.62    $0.00   Swiped   Yes
2019-09-06
10:11:08 EDT   $13.31    $0.81    $0.00   Swiped   Yes
2019-09-01
15:24:11 EDT   $38.33    $2.34    $0.00   Swiped   Yes
2019-09-01
12:32:36 EDT   $15.44    $0.94    $0.00   Swiped   Yes
2019-09-01
11:56:52 EDT   $9.57     $0.58    $0.00   Swiped   Yes
2019-09-01
11:17:04 EDT   $21.30    $1.30    $0.00   Swiped   Yes
2019-09-01
10:43:05 EDT   $13.31    $0.81    $0.00   Swiped   Yes
2019-08-31
14:42:51 EDT   $21.30    $1.30    $0.00   Swiped   Yes
2019-08-31
13:21:45 EDT   $13.31    $0.81    $0.00   Swiped   Yes
2019-08-31
13:11:05 EDT   $21.30    $1.30    $0.00   Swiped   Yes
2019-08-31
12:57:06 EDT   $21.30    $1.30    $0.00   Swiped   Yes
2019-08-31
12:36:40 EDT   $9.57     $0.58    $0.00   Swiped   Yes
2019-08-31
12:23:43 EDT   $13.31    $0.81    $0.00   Swiped   Yes
2019-08-31
12:00:24 EDT   $13.31    $0.81    $0.00   Swiped   Yes
2019-08-30
13:15:42 EDT   $21.30   $1.30    $0.00   Swiped   Yes
2019-08-30
13:13:44 EDT   $10.65   $0.65
                                Case
                                 $0.00
                                       8:19-cv-02147-JSM-SPF
                                          Swiped Yes
                                                             Document 16-1 Filed 01/30/20 Page 164 of 460 PageID 241
2019-08-30
12:35:14 EDT   $17.02   $1.04    $0.00   Swiped   Yes
2019-08-30
11:13:26 EDT   $26.61   $1.62    $0.00   Swiped   Yes
2019-08-30
11:11:43 EDT   $21.30   $1.30    $0.00   Swiped   Yes
2019-08-30
11:01:45 EDT   $21.30   $1.30    $0.00   Swiped   Yes
2019-08-25
15:34:00 EDT   $10.65   $0.65    $0.00   Swiped   Yes
2019-08-25
14:42:02 EDT   $17.02   $1.04    $0.00   Swiped   Yes
2019-08-25
12:58:29 EDT   $21.30   $1.30    $0.00   Swiped   Yes
2019-08-25
11:05:15 EDT   $29.82   $1.82    $0.00   Swiped   Yes
2019-08-25
10:48:46 EDT   $38.32   $2.34    $0.00   Swiped   Yes
2019-08-25
10:40:04 EDT   $8.51    $0.52    $0.00   Swiped   Yes
2019-08-25
09:59:23 EDT   $58.55   $3.57    $0.00   Swiped   Yes
2019-08-25
09:18:01 EDT   $21.30   $1.30    $0.00   Swiped   Yes
2019-08-24
16:45:00 EDT   $13.31   $0.81    $0.00   Swiped   Yes
2019-08-24
15:00:26 EDT   $69.22   $4.22    $0.00   Swiped   Yes
2019-08-24
14:54:19 EDT   $42.59   $2.60    $0.00   Swiped   Yes
2019-08-24
14:49:00 EDT   $21.30   $1.30    $0.00   Swiped   Yes
2019-08-24
14:15:36 EDT   $79.85   $4.87    $0.00   Swiped   Yes
2019-08-24
14:04:45 EDT   $26.62   $1.62    $0.00   Swiped   Yes
2019-08-24
10:49:42 EDT   $21.30   $1.30    $0.00   Swiped   Yes
2019-08-23
14:16:24 EDT   $13.31   $0.81    $0.00   Swiped   Yes
2019-08-23
14:05:15 EDT   $21.30   $1.30    $0.00   Swiped   Yes
2019-08-23
10:46:06 EDT   $13.31   $0.81    $0.00   Swiped   Yes
2019-08-23
10:43:28 EDT   $10.64   $0.65    $0.00   Swiped   Yes
2019-08-23
10:01:28 EDT   $13.31   $0.81    $0.00   Swiped   Yes
2019-08-18
16:00:22 EDT   $21.30   $1.30    $0.00   Swiped   Yes
2019-08-18
13:44:09 EDT   $21.30   $1.30    $0.00   Swiped   Yes
2019-08-18
13:27:06 EDT   $21.30   $1.30    $0.00   Swiped   Yes
2019-08-18
13:15:27 EDT   $61.76   $3.77    $0.00   Swiped   Yes
2019-08-18
12:45:21 EDT   $18.63   $1.14    $0.00   Swiped   Yes
2019-08-18
12:37:41 EDT   $21.30   $1.30    $0.00   Swiped   Yes
2019-08-18
12:27:14 EDT   $13.31   $0.81    $0.00   Swiped   Yes
2019-08-18
12:14:55 EDT   $21.30   $1.30    $0.00   Swiped   Yes
2019-08-18
12:11:08 EDT   $13.31   $0.81    $0.00   Swiped   Yes
2019-08-18
11:46:43 EDT   $13.31   $0.81    $0.00   Swiped   Yes
2019-08-18
10:52:15 EDT   $10.65   $0.65    $0.00   Swiped   Yes
2019-08-18
10:39:22 EDT   $21.30   $1.30    $0.00   Swiped   Yes
2019-08-18
10:23:35 EDT   $21.30   $1.30    $0.00   Swiped   Yes
2019-08-17
16:14:04 EDT   $31.94   $1.95    $0.00   Swiped   Yes
2019-08-17
15:54:55 EDT   $53.24   $3.25    $0.00   Swiped   Yes
2019-08-17
15:09:56 EDT   $26.61   $1.62    $0.00   Swiped   Yes
2019-08-17
14:48:46 EDT   $17.03   $1.04    $0.00   Swiped   Yes
2019-08-17
14:04:35 EDT   $21.30   $1.30    $0.00   Swiped   Yes
2019-08-17
13:14:03 EDT   $21.29   $1.30    $0.00   Swiped   Yes
2019-08-17
13:07:35 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-08-17
12:15:44 EDT   $42.60    $2.60
                                  Case
                                   $0.00
                                         8:19-cv-02147-JSM-SPF
                                            Swiped Yes
                                                               Document 16-1 Filed 01/30/20 Page 165 of 460 PageID 242
2019-08-17
12:07:07 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-08-17
11:11:08 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-08-17
10:25:45 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-08-16
14:21:12 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-08-16
13:55:30 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-08-16
10:55:02 EDT   $15.44    $0.94     $0.00   Swiped   Yes
2019-08-16
10:34:23 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-08-16
10:19:06 EDT   $44.71    $2.73     $0.00   Swiped   Yes
2019-08-11
15:53:09 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-08-11
15:19:04 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-08-11
14:40:55 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-08-11
14:19:44 EDT   $79.88    $4.88     $0.00   Swiped   Yes
2019-08-11
14:03:11 EDT   $42.60    $2.60     $0.00   Swiped   Yes
2019-08-11
13:42:55 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-08-11
13:31:28 EDT   $69.21    $4.22     $0.00   Swiped   Yes
2019-08-11
13:21:53 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-08-11
12:41:15 EDT   $9.57     $0.58     $0.00   Swiped   Yes
2019-08-11
12:29:11 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-08-11
11:28:30 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-08-10
16:35:19 EDT   $31.94    $1.95     $0.00   Swiped   Yes
2019-08-10
16:16:07 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-08-10
15:56:04 EDT   $10.65    $0.65     $0.00   Swiped   Yes
2019-08-10
15:06:12 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-08-10
14:54:13 EDT   $87.86    $5.36     $0.00   Swiped   Yes
2019-08-10
13:51:19 EDT   $17.03    $1.04     $0.00   Swiped   Yes
2019-08-10
13:34:22 EDT   $9.57     $0.58     $0.00   Swiped   Yes
2019-08-10
12:28:23 EDT   $39.94    $2.44     $0.00   Swiped   Yes
2019-08-10
10:39:22 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-08-10
10:37:07 EDT   $169.34   $10.34    $0.00   Swiped   Yes
2019-08-09
13:01:05 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-08-09
12:25:30 EDT   $34.61    $2.11     $0.00   Swiped   Yes
2019-08-09
12:05:16 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-08-09
10:14:58 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-08-04
13:44:23 EDT   $42.60    $2.60     $0.00   Swiped   Yes
2019-08-04
13:39:11 EDT   $63.89    $3.90     $0.00   Swiped   Yes
2019-08-04
13:21:14 EDT   $34.06    $2.08     $0.00   Swiped   Yes
2019-08-04
13:20:15 EDT   $39.94    $2.44     $0.00   Swiped   Yes
2019-08-04
12:46:35 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-08-04
11:33:35 EDT   $13.31    $0.81     $0.00   Swiped   Yes
2019-08-04                                                                 2019-08-04
11:33:06 EDT   $13.31    $0.81     $0.00   Swiped   Yes           $13.31   11:34:18 EDT
2019-08-04
10:18:43 EDT   $21.30    $1.30     $0.00   Swiped   Yes
2019-08-03
15:07:51 EDT   $9.57     $0.58     $0.00   Keyed    Yes
2019-08-03
13:20:34 EDT   $21.30    $1.30     $0.00   Keyed    Yes
2019-08-03
12:43:35 EDT   $21.30   $1.30    $0.00   Keyed    Yes
2019-08-02
12:52:54 EDT   $13.31   $0.81
                                Case
                                 $0.00
                                       8:19-cv-02147-JSM-SPF
                                          Swiped Yes
                                                             Document 16-1 Filed 01/30/20 Page 166 of 460 PageID 243
2019-08-02
12:06:18 EDT   $21.30   $1.30    $0.00   Swiped   Yes
2019-08-02
11:54:45 EDT   $26.60   $1.62    $0.00   Swiped   Yes
2019-07-28
13:17:55 EDT   $21.30   $1.30    $0.00   Swiped   Yes
2019-07-28
11:17:47 EDT   $37.26   $2.27    $0.00   Swiped   Yes
2019-07-27
13:54:23 EDT   $31.94   $1.95    $0.00   Swiped   Yes
2019-07-27
13:06:11 EDT   $40.00   $0.00    $0.00   Swiped   Yes
2019-07-27
11:27:31 EDT   $39.40   $2.40    $0.00   Swiped   Yes
2019-07-21
14:25:44 EDT   $5.32    $0.32    $0.00   Swiped   Yes
2019-07-21
14:09:33 EDT   $26.62   $1.62    $0.00   Swiped   Yes
2019-07-21
11:16:50 EDT   $15.96   $0.97    $0.00   Swiped   Yes
2019-07-19
11:15:34 EDT   $21.30   $1.30    $0.00   Swiped   Yes
2019-07-14
16:04:41 EDT   $10.64   $0.65    $0.00   Swiped   Yes
2019-07-14
12:24:35 EDT   $17.03   $1.04    $0.00   Swiped   Yes
2019-07-13
15:01:01 EDT   $17.03   $1.04    $0.00   Swiped   Yes
2019-07-13
10:51:47 EDT   $42.60   $2.60    $0.00   Keyed    Yes
2019-07-12
11:29:31 EDT   $12.78   $0.78    $0.00   Swiped   Yes
2019-07-12
11:28:24 EDT   $13.31   $0.81    $0.00   Swiped   Yes
2019-07-12
10:51:46 EDT   $10.64   $0.65    $0.00   Swiped   Yes
2019-07-06
11:52:10 EDT   $12.78   $0.78    $0.00   Swiped   Yes
2019-07-05
14:35:29 EDT   $18.64   $1.14    $0.00   Swiped   Yes
2019-07-05
11:08:03 EDT   $12.78   $0.78    $0.00   Swiped   Yes
2019-06-30
09:41:46 EDT   $15.96   $0.97    $0.00   Keyed    Yes
2019-06-29
13:37:08 EDT   $21.30   $1.30    $0.00   Keyed    Yes

                                                        CVV2/VAK
                                                        Failure. Issuer
                                                        has declined auth
                                                        request because
                                                        CVV2 or VAK
                                                        failed. Try to
                                                        resolve with
                                                        customer, or get
                                                        an alternate
2019-06-29                                              method of
13:36:09 EDT   $21.30   $0.00    $0.00   Keyed    No    payment
2019-06-29
13:29:48 EDT   $12.78   $0.78    $0.00   Keyed    Yes
2019-06-29
12:30:24 EDT   $19.15   $1.17    $0.00   Keyed    Yes
                                                                                             Do Not Honor.
                                                      Case 8:19-cv-02147-JSM-SPF
                                                                          Generic decline -
                                                                          No other
                                                                                            Document 16-1 Filed 01/30/20 Page 167 of 460 PageID 244
                                                                                             information is
                                                                                             being provided
                                                                                             by the Issuer. Try
                                                                                             to resolve with
                                                                                             customer, or get
                                                                                             an alternate
                                                                                             method of
                                                                                             payment. (Square
                                                                                             internal note:
                                                                                             This is the most
                                                                                             generic reason
                                                                                             code a bank can
                                                                                             provide us. There
                                                                                             isn't anything we
                                                                                             can do other than
                                                                                             to ask them to
                                                                                             either call their
                                                                                             bank to tell them
                                                                                             to remove any
                                                                                             restrictions that
                                                                                             would stop a
                                                                                             future similar
                                                                                             transaction, or to
2019-06-29                                                                                   try another form
12:29:10 EDT                 $19.15         $0.00      $0.00            Keyed          No    of payment.)
2019-06-28
14:48:37 EDT                 $12.00         $0.00      $0.00            Keyed          Yes


ACH Debits
                              Account Number
Type           Routing Number (last 3)       Amount    Failure Reason   Date


ACH Credits
                              Account Number
Type           Routing Number (last 3)       Amount    Failure Reason   Date
                                                                        2019-12-16
Credit         263191387     278            $803.45                     03:33:29 UTC
                                                                        2019-12-16
Credit         263191387     278            $381.15                     03:33:29 UTC
                                                                        2019-12-09
Credit         263191387     278            $802.70                     03:33:27 UTC
                                                                        2019-12-09
Credit         263191387     278            $295.03                     03:33:27 UTC
                                                                        2019-12-02
Credit         263191387     278            $704.97                     03:31:38 UTC
                                                                        2019-12-02
Credit         263191387     278            $116.60                     03:31:38 UTC
                                                                        2019-11-25
Credit         263191387     278            $807.23                     03:33:21 UTC
                                                                        2019-11-25
Credit         263191387     278            $203.21                     03:33:21 UTC
                                                                        2019-11-18
Credit         263191387     278            $810.60                     03:34:56 UTC
                                                                        2019-11-18
Credit         263191387     278            $281.12                     03:34:56 UTC
                                                                        2019-11-11
Credit         263191387     278            $469.98                     03:35:29 UTC
                                                                        2019-11-11
Credit         263191387     278            $142.11                     03:35:29 UTC
                                                                        2019-11-04
Credit         263191387     278            $512.48                     03:34:50 UTC
                                                                        2019-11-04
Credit         263191387     278            $144.72                     03:34:50 UTC
                                                                        2019-10-28
Credit         263191387     278            $424.40                     02:34:57 UTC
                                                                        2019-10-28
Credit         263191387     278            $558.61                     02:34:57 UTC
                                                                        2019-10-21
Credit         263191387     278            $363.91                     02:34:59 UTC
                                                                        2019-10-21
Credit         263191387     278            $35.16                      02:34:59 UTC
                                                                        2019-10-14
Credit         263191387     278            $542.61                     02:34:44 UTC
                                                                        2019-10-14
Credit         263191387     278            $157.93                     02:34:44 UTC
                                                                        2019-10-07
Credit         263191387     278            $551.36                     02:35:50 UTC
                                                                        2019-10-07
Credit         263191387     278            $175.93                     02:35:50 UTC
                                                                        2019-09-30
Credit         263191387     278            $653.94                     02:31:24 UTC
                                                                        2019-09-30
Credit         263191387     278            $219.87                     02:31:24 UTC
                                                                        2019-09-23
Credit         263191387     278            $573.59                     02:33:26 UTC
                                                                        2019-09-23
Credit             263191387   278          $206.98                     02:33:26 UTC

Credit             263191387   278          $282.62
                                                      Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 168 of 460 PageID 245
                                                                        2019-09-16
                                                                        02:33:05 UTC
                                                                        2019-09-16
Credit             263191387   278          $191.54                     02:33:05 UTC
                                                                        2019-09-09
Credit             263191387   278          $428.21                     02:34:18 UTC
                                                                        2019-09-09
Credit             263191387   278          $181.22                     02:34:18 UTC
                                                                        2019-09-02
Credit             263191387   278          $205.52                     02:34:33 UTC
                                                                        2019-09-02
Credit             263191387   278          $114.92                     02:34:33 UTC
                                                                        2019-08-26
Credit             263191387   278          $466.46                     02:32:13 UTC
                                                                        2019-08-26
Credit             263191387   278          $69.88                      02:32:13 UTC
                                                                        2019-08-19
Credit             263191387   278          $555.52                     02:36:07 UTC
                                                                        2019-08-19
Credit             263191387   278          $112.86                     02:36:07 UTC
                                                                        2019-08-12
Credit             263191387   278          $720.23                     02:37:13 UTC
                                                                        2019-08-12
Credit             263191387   278          $88.02                      02:37:13 UTC
                                                                        2019-08-05
Credit             263191387   278          $279.77                     02:33:46 UTC
                                                                        2019-08-05
Credit             263191387   278          $59.52                      02:33:46 UTC
                                                                        2019-07-29
Credit             263191387   278          $165.23                     02:34:57 UTC
                                                                        2019-07-22
Credit             263191387   278          $46.58                      02:38:00 UTC
                                                                        2019-07-22
Credit             263191387   278          $20.71                      02:38:00 UTC
                                                                        2019-07-15
Credit             263191387   278          $84.43                      02:31:23 UTC
                                                                        2019-07-15
Credit             263191387   278          $35.72                      02:31:23 UTC
                                                                        2019-07-08
Credit             263191387   278          $12.43                      02:32:38 UTC
                                                                        2019-07-08
Credit             263191387   278          $30.56                      02:32:38 UTC
                                                                        2019-07-01
Credit             263191387   278          $66.16                      02:34:13 UTC
                                                                        2019-07-01
Credit             263191387   278          $11.43                      02:34:13 UTC


Instant Deposits
Type               PAN         Card Brand   Amount     Failure Reason   Date
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                EXHIBIT
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Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 174 of 460 PageID 251
                                     Case 8:19-cv-02147-JSM-SPFMerchant
                                                                DocumentProcess   Snapshot
                                                                         16-1 Filed 01/30/20 Page 175 of 460 PageID 252
DBA Name:One Box TV                                                                                                                                                 Wed Dec 18, 2019 14:22:05 EST
Bank:9267 Merchant Number:                             3597 Association:500022
BIN:402732 POS Merchant ID:                            3597
                                                             Quick Glance - Processing Impact
   Amount On Date:              12/18/2019               12/17/2019               12/16/2019                     12/15/2019             12/14/2019
        Total Sales:                         0.00                      0.00                      0.00                         0.00                   0.00
       Total Credits:                        0.00                      0.00                      0.00                         0.00                   0.00
 Total Chargebacks:                          0.00                      0.00                      0.00                         0.00                   0.00
NET Impact Amount:                           0.00                      0.00                      0.00                         0.00                   0.00


                                                                                          Recent Processing Activity
                                      Auth                                        Sales                                     Average Daily Sales
    Date                Count                 Amount                  Count                 Amount                    Count                 Amount           Largest Sale Amount     Average Ticket
                                                                               There is no data available for this time period.


                                                                                             Processing History
                                      Auth                                        Sales                                     Average Daily Sales
   Date                 Count                 Amount                  Count                  Amount                     Count               Amount           Largest Sale Amount     Average Ticket
  05/2019                           53                 1,021.50                  53                   1,021.50                  1.70                 32.95                   27.00                 19.27
  04/2019                          143                 2,773.00                 137                   2,659.00                  4.56                 88.63                   35.00                 19.40
 2 Months                          196                 3,794.50                 190                   3,680.50                  3.13                 60.79                   35.00                 19.37
                                                 Merchant
                            Case 8:19-cv-02147-JSM-SPF    Process
                                                       Document    Snapshot
                                                                16-1          Continued
                                                                     Filed 01/30/20 Page 176 of 460 PageID 253
DBA Name:One Box TV                                                                                                                                Wed Dec 18, 2019 14:22:05 EST
Bank:9267 Merchant Number:                   3597 Association:500022
BIN:402732 POS Merchant ID:                  3597




                                                                     Recent Processing Activity Continued
              Credit                           Keyed                              Retrievals                               Chargebacks                      Chargeback Reversals
 Count       Amount    % Amount    Count      Amount    % Amount     Count        Amount         % Amount        Count      Amount     % Amount     Count        Amount      % Amount
                                                                There is no data available for this time period.


                                                                         Processing History Continued
              Credit                           Keyed                               Retrievals                              Chargebacks                      Chargeback Reversals
 Count       Amount    % Amount    Count      Amount     % Amount      Count       Amount      % Amount        Count        Amount     % Amount     Count        Amount      % Amount
         0        0.00       N/A        53      1,021.50      100%             0          0.00       N/A                 1       19.00        1%             0         0.00        N/A
         1       19.00        0%       137      2,659.00      100%             0          0.00       N/A                 0        0.00       N/A             0         0.00        N/A
         1       19.00        0%       190      3,680.50      100%             0          0.00       N/A                 1       19.00        0%             0         0.00        N/A
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                EXHIBIT
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                 A                       B            C           D             E            F            G          H           I             J         K           L            M          N                O          P            Q
1    Transaction Search List
2            Merchant #            Merchant Name    Batch #   Report Date   Trans Date   Trans Time   Trans Code   Matched   Terminal #   File Source   Keyed   Country Code   Card Type   Card #          Exp Date     Auth #   Trans Amount
3                    8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:51:18       TKTO                  0094         MD028         Y        USA            VI                4893    06/22     020285               $19.00
4                    8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:51:17       TKTO                  0094         MD028         Y        USA            MC                7958    02/21     01690Z               $19.00
5                    8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:51:17       TKTO                  0094         MD028         Y        USA            VI                3991    03/23     047409               $19.00
6                    8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:51:16       TKTO                  0094         MD028         Y        USA            MC                8221    06/20     009006               $19.00
7                    8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:51:15       TKTO                  0094         MD028         Y        USA            VI                2544    09/21     055105               $19.00
8                    8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:51:13       TKTO                  0094         MD028         Y        USA            DV                8927    10/19     01670Q               $19.00
9                    8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:51:13       TKTO                  0094         MD028         Y        USA            VI                3909    02/22     016511               $19.00
10                   8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:45:27       TKTO                  0094         MD028         Y        USA            MC                9800    02/21     02329Z               $19.00
11                   8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:45:24       TKTO                  0094         MD028         Y        USA            VI                4710    11/20     05726C               $19.00
12                   8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:45:24       TKTO                  0094         MD028         Y        USA            VI                5051    05/23     05725D               $19.00
13                   8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:45:24       TKTO                  0094         MD028         Y        USA            VI                9063    09/22     05727D               $19.00
14                   8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:45:22       TKTO                  0094         MD028         Y        USA            MC                3841    11/19     016497               $19.00
15                   8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:45:20       TKTO                  0094         MD028         Y        USA            VI                2144    10/22     001182               $19.00
16                   8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:41:46       TKTO                  0094         MD028         Y        USA            MC                2790    08/22     04383P               $19.00
17                   8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:41:27       TKTO                  0094         MD028         Y        USA            MC                9968    11/21     89831B               $19.00
18                   8504      ONE BOX TV, LLC     10511093    4/16/2019    4/15/2019     06:59:44       TKTO                  0093         MD028         Y        USA            VI                8245    10/22     00822B               $19.00
19                   8504      ONE BOX TV, LLC     10511093    4/16/2019    4/15/2019     06:59:38       TKTO                  0093         MD028         Y        GBR            VI                0005    04/20     059386               $19.00
20                   8504      ONE BOX TV, LLC     10511093    4/16/2019    4/15/2019     06:59:35       TKTO                  0093         MD028         Y        USA            VI                0057    11/22     007738               $19.00
21                   8504      ONE BOX TV, LLC     10511093    4/16/2019    4/15/2019     06:44:41       TKTO                  0093         MD028         Y        USA            VI                6075    04/22     174340               $27.00
22                   8504      ONE BOX TV, LLC     10511093    4/16/2019    4/15/2019     06:44:18       TKTO                  0093         MD028         Y        USA            VI                4190    02/22     02543C               $19.00
23                   8504      ONE BOX TV, LLC     10511093    4/16/2019    4/15/2019     06:34:45       TKTO                  0093         MD028         Y        USA            MC                9538    02/22     01594P               $19.00
24                   8504      ONE BOX TV, LLC     10411371    4/15/2019    4/14/2019     11:54:11       TKTO                  0092         MD028         Y        USA            MC                4964    08/22     155340               $19.00
25                   8504      ONE BOX TV, LLC     10411371    4/15/2019    4/14/2019     04:35:07       TKTO                  0092         MD028         Y        USA            VI                7958    11/21     003662               $27.00
26                   8504      ONE BOX TV, LLC     10411371    4/15/2019    4/14/2019     04:34:50       TKTO                  0092         MD028         Y        USA            MC                7149    04/22     001126               $19.00
27                   8504      ONE BOX TV, LLC     10411371    4/15/2019    4/14/2019     04:34:47       TKTO                  0092         MD028         Y        CAN            VI                4746    05/19     034114               $19.00
28                   8504      ONE BOX TV, LLC     10411371    4/15/2019    4/14/2019     04:34:41       TKTO                  0092         MD028         Y        USA            VI                3940    03/23     21555D               $19.00
29                   8504      ONE BOX TV, LLC     10411371    4/15/2019    4/14/2019     04:34:40       TKTO                  0092         MD028         Y        USA            AE                2005    05/23     141031               $19.00
30                   8504      ONE BOX TV, LLC     10411371    4/15/2019    4/14/2019     04:25:59       TKTO                  0092         MD028         Y        USA            MC                5403    02/20     111050               $19.00
31                   8504      ONE BOX TV, LLC     10411371    4/15/2019    4/14/2019     04:25:55       TKTO                  0092         MD028         Y        USA            VI                9394    12/23     000617               $19.00
32                   8504      ONE BOX TV, LLC     10441790    4/15/2019    4/13/2019     05:08:04       TKTO                  0091         MD028         Y        USA            VI                1872    01/23     060638               $19.00
33                   8504      ONE BOX TV, LLC     10441790    4/15/2019    4/13/2019     05:08:03       TKTO                  0091         MD028         Y        USA            VI                4845    08/23     04098C               $19.00
34                   8504      ONE BOX TV, LLC     10441790    4/15/2019    4/13/2019     05:08:00       TKTO                  0091         MD028         Y        CAN            VI                9028    10/19     032079               $19.00
35                   8504      ONE BOX TV, LLC     10441790    4/15/2019    4/13/2019     05:05:29       TKTO                  0091         MD028         Y        USA            VI                4832    11/22     05876C               $19.00
36                   8504      ONE BOX TV, LLC     10441790    4/15/2019    4/13/2019     05:05:28       TKTO                  0091         MD028         Y        USA            MC                2523    02/23     06782M               $19.00
37                   8504      ONE BOX TV, LLC     10441790    4/15/2019    4/13/2019     05:05:28       TKTO                  0091         MD028         Y        USA            VI                1681    02/23     05854C               $19.00
38                   8504      ONE BOX TV, LLC     10441790    4/15/2019    4/13/2019     05:05:16       TKTO                  0091         MD028         Y        USA            VI                2252    10/23     05490D               $19.00
39                   8504      ONE BOX TV, LLC     10441790    4/15/2019    4/13/2019     05:05:11       TKTO                  0091         MD028         Y        USA            AE                4016    11/21     100780               $19.00
40                   8504      ONE BOX TV, LLC     10211152    4/13/2019    4/12/2019     06:03:32       TKTO                  0090         MD028         Y        USA            VI                1320    10/23      033186              $19.00
41                   8504      ONE BOX TV, LLC     10211152    4/13/2019    4/12/2019     06:03:23       TKTO                  0090         MD028         Y        USA            VI                6730    10/23     01720D               $19.00
42                   8504      ONE BOX TV, LLC     10211152    4/13/2019    4/12/2019     05:53:00       TKTO                  0090         MD028         Y        USA            VI                7565    01/20      850085              $19.00
43                   8504      ONE BOX TV, LLC     10211152    4/13/2019    4/12/2019     05:52:48       TKTO                  0090         MD028         Y        USA            AE                4001    05/23      159537              $19.00
44                   8504      ONE BOX TV, LLC     10211152    4/13/2019    4/12/2019     05:52:46       TKTO                  0090         MD028         Y        USA            AE                1000    02/20      168856              $19.00
45                   8504      ONE BOX TV, LLC     10211152    4/13/2019    4/12/2019     05:52:39       TKTO                  0090         MD028         Y        USA            MC                8416    06/21     50212W               $19.00
46                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:57:07       TKTO                  0089         MD028         Y        USA            VI                2524    05/20     01217D               $19.00
47                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:57:04       TKTO                  0089         MD028         Y        USA            VI                3075    09/22      088512              $19.00
48                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:57:00       TKTO                  0089         MD028         Y        USA            AE                4002    12/22      132173              $19.00
49                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:56:59       TKTO                  0089         MD028         Y        USA            MC                3012    06/22      80330P              $19.00
50                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:48:31       TKTO                  0089         MD028         Y        USA            VI                5322    01/22      011217              $19.00
51                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:48:31       TKTO                  0089         MD028         Y        USA            AE                1003    07/25      100082              $19.00
52                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:48:31       TKTO                  0089         MD028         Y        USA            VI                9507    01/23      164884              $19.00
53                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:48:31       TKTO                  0089         MD028         Y        USA            VI                5693    09/19      081042              $19.00
54                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:48:30       TKTO                  0089         MD028         Y        USA            VI                0423    05/21      024512              $19.00
55                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:48:29       TKTO                  0089         MD028         Y        USA            MC                7703    09/19      00948Z              $19.00
56                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:45:48       TKTO                  0089         MD028         Y        USA            VI                1086    05/23      06451C              $19.00
57                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:45:37       TKTO                  0089         MD028         Y        USA            AE                2006    09/22      144472              $19.00
58                   8504      ONE BOX TV, LLC     10011193    4/11/2019    4/10/2019     09:52:19       TKTO                  0088         MD028         Y        USA            VI                5073    02/24     010550               $19.00
59                   8504      ONE BOX TV, LLC     10011193    4/11/2019    4/10/2019     04:37:59       TKTO                  0088         MD028         Y        USA            AE                1009    09/22     162518               $19.00
60                   8504      ONE BOX TV, LLC     10011193    4/11/2019    4/10/2019     04:37:56       TKTO                  0088         MD028         Y        USA            VI                5943    05/23     02700G               $19.00
61                   8504      ONE BOX TV, LLC     10011193    4/11/2019    4/10/2019     04:37:52       TKTO                  0088         MD028         Y        USA            VI                2695    06/22     14869D               $19.00
62                   8504      ONE BOX TV, LLC     10011193    4/11/2019    4/10/2019     04:37:48       TKTO                  0088         MD028         Y        USA            VI                3679    12/23     810153               $19.00
63                   8504      ONE BOX TV, LLC     10011193    4/11/2019    4/10/2019     04:37:45       TKTO                  0088         MD028         Y        USA            VI                9794    02/22     021234               $19.00
64                   8504      ONE BOX TV, LLC     09911148    4/10/2019     4/9/2019     11:35:23       TKTO                  0087         MD028         Y        USA            VI                0678    08/24     944403               $19.00
65                   8504      ONE BOX TV, LLC     09911148    4/10/2019     4/9/2019     04:22:12       TKTO                  0087         MD028         Y        USA            AE                3018    12/21     149826               $19.00
66                   8504      ONE BOX TV, LLC     09911148    4/10/2019     4/9/2019     04:22:11       TKTO                  0087         MD028         Y        USA            VI                4675    08/23     06327D               $19.00
67                   8504      ONE BOX TV, LLC     09911148    4/10/2019     4/9/2019     04:22:11       TKTO                  0087         MD028         Y        USA            VI                2389    05/19     06342C               $19.00
68                   8504      ONE BOX TV, LLC     09911148    4/10/2019     4/9/2019     04:22:07       TKTO                  0087         MD028         Y        USA            MC                4455    03/21     062127               $19.00
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      A                     B          C          D            E          F        G    H     I      J     K    L    M    N            O        P     Q
69        8504   ONE BOX TV, LLC   09911148   4/10/2019    4/9/2019   04:17:15   TKTO       0087   MD028   Y   USA   VI       9208   05/23   023674         $9.50
70        8504   ONE BOX TV, LLC   09911148   4/10/2019    4/9/2019   04:17:12   TKTO       0087   MD028   Y   USA   VI       7890   11/23   01377C        $19.00
71        8504   ONE BOX TV, LLC   09911148   4/10/2019    4/9/2019   04:17:11   TKTO       0087   MD028   Y   USA   MC       6104   07/23   01349Z        $19.00
72        8504   ONE BOX TV, LLC   09911148   4/10/2019    4/9/2019   04:17:11   TKTO       0087   MD028   Y   USA   VI       1462   04/22   101779        $19.00
73        8504   ONE BOX TV, LLC   09911148   4/10/2019    4/9/2019   04:13:54   TKTO       0087   MD028   Y   USA   MC       2474   12/22   001599        $19.00
74        8504   ONE BOX TV, LLC   09911148   4/10/2019    4/8/2019   20:48:58   TKTO       0087   MD028   Y   USA   VI       2705   07/26   364589        $19.00
75        8504   ONE BOX TV, LLC   09811121    4/9/2019    4/8/2019   04:46:42   TKTO       0086   MD028   Y   USA   VI       8387   09/22   09268C        $19.00
76        8504   ONE BOX TV, LLC   09811121    4/9/2019    4/8/2019   04:39:16   TKTO       0086   MD028   Y   USA   VI       5847   02/23   008820        $27.00
77        8504   ONE BOX TV, LLC   09711391    4/8/2019    4/7/2019   05:34:58   TKTO       0085   MD028   Y   USA   VI       9927   12/22   03755D        $19.00
78        8504   ONE BOX TV, LLC   09711391    4/8/2019    4/7/2019   05:34:50   TKTO       0085   MD028   Y   USA   VI       6665   12/21   03515G        $19.00
79        8504   ONE BOX TV, LLC   09711391    4/8/2019    4/7/2019   05:34:50   TKTO       0085   MD028   Y   USA   VI       6086   07/21   45064D        $19.00
80        8504   ONE BOX TV, LLC   09711391    4/8/2019    4/7/2019   05:25:36   TKTO       0085   MD028   Y   USA   VI       7222   07/23   06085D        $19.00
81        8504   ONE BOX TV, LLC   09711391    4/8/2019    4/7/2019   05:25:32   TKTO       0085   MD028   Y   USA   VI       8731   12/23   05958C        $19.00
82        8504   ONE BOX TV, LLC   09711391    4/8/2019    4/7/2019   05:25:31   TKTO       0085   MD028   Y   USA   VI       9457   12/22   05929G        $19.00
83        8504   ONE BOX TV, LLC   09711391    4/8/2019    4/7/2019   05:25:29   TKTO       0085   MD028   Y   USA   MC       4885   06/22   00703B        $19.00
84        8504   ONE BOX TV, LLC   09711391    4/8/2019    4/7/2019   05:25:27   TKTO       0085   MD028   Y   USA   VI       5293   05/20   072506        $19.00
85        8504   ONE BOX TV, LLC   09711391    4/8/2019    4/7/2019   05:25:27   TKTO       0085   MD028   Y   USA   VI       1504   10/20   58919D        $19.00
86        8504   ONE BOX TV, LLC   09511115    4/6/2019    4/5/2019   10:58:02   TKTO       0084   MD028   Y   USA   MC       0091   09/23   04059B        $19.00
87        8504   ONE BOX TV, LLC   09511115    4/6/2019    4/5/2019   06:16:46   TKTO       0084   MD028   Y   USA   VI       8830   03/20   02878C        $19.00
88        8504   ONE BOX TV, LLC   09511115    4/6/2019    4/5/2019   06:16:39   TKTO       0084   MD028   Y   USA   VI       0970   05/23   005722        $19.00
89        8504   ONE BOX TV, LLC   09411149    4/5/2019    4/4/2019   04:52:25   TKTO       0083   MD028   Y   USA   VI       8763   10/22   07776D        $19.00
90        8504   ONE BOX TV, LLC   09411149    4/5/2019    4/4/2019   04:52:15   TKTO       0083   MD028   Y   USA   MC       1471   07/21   06470Z        $19.00
91        8504   ONE BOX TV, LLC   09411149    4/5/2019    4/4/2019   04:52:13   TKTO       0083   MD028   Y   GBR   AE       1007   01/23   148514        $19.00
92        8504   ONE BOX TV, LLC   09411149    4/5/2019    4/4/2019   04:42:34   TKTO       0083   MD028   Y   USA   MC       5110   05/23   00417Z        $19.00
93        8504   ONE BOX TV, LLC   09411149    4/5/2019    4/4/2019   04:42:34   TKTO       0083   MD028   Y   USA   VI       6841   01/20   07038C        $19.00
94        8504   ONE BOX TV, LLC   09411149    4/5/2019    4/4/2019   04:42:33   TKTO       0083   MD028   Y   USA   MC       6982   09/22   00459Z        $19.00
95        8504   ONE BOX TV, LLC   09411149    4/5/2019    4/4/2019   04:42:32   TKTO       0083   MD028   Y   USA   MC       9806   12/22   06981P        $19.00
96        8504   ONE BOX TV, LLC   09311153    4/4/2019    4/3/2019   04:35:54   TKTO       0082   MD028   Y   USA   VI       6216   11/22   078693        $19.00
97        8504   ONE BOX TV, LLC   09311153    4/4/2019    4/3/2019   04:35:53   TKTO       0082   MD028   Y   USA   VI       1151   09/19   566313        $19.00
98        8504   ONE BOX TV, LLC   09311153    4/4/2019    4/3/2019   04:35:49   TKTO       0082   MD028   Y   USA   MC       2145   02/22   09293P        $19.00
99        8504   ONE BOX TV, LLC   09311153    4/4/2019    4/2/2019   18:21:16   TKTO       0082   MD028   Y   USA   VI       9242   03/22   087053        $19.00
100       8504   ONE BOX TV, LLC   09211176    4/3/2019    4/2/2019   05:21:33   TKTO       0081   MD028   Y   USA   MC       3211   10/22   00262Z        $19.00
101       8504   ONE BOX TV, LLC   09211176    4/3/2019    4/2/2019   05:21:32   TKTO       0081   MD028   Y   USA   VI       3518   11/20   04782C        $19.00
102       8504   ONE BOX TV, LLC   09211176    4/3/2019    4/2/2019   05:21:32   TKTO       0081   MD028   Y   USA   MC       1961   08/22   004765        $27.00
103       8504   ONE BOX TV, LLC   09211176    4/3/2019    4/2/2019   05:21:31   TKTO       0081   MD028   Y   USA   MC       1388   11/23   08238P        $19.00
104       8504   ONE BOX TV, LLC   09211176    4/3/2019    4/2/2019   05:14:08   TKTO       0081   MD028   Y   USA   VI       2251   01/24   06861D        $19.00
105       8504   ONE BOX TV, LLC   09111076    4/2/2019    4/1/2019   08:02:48   TKTO       0080   MD028   Y   USA   MC       7586   01/23   112896        $19.00
106       8504   ONE BOX TV, LLC   09111076    4/2/2019    4/1/2019   08:02:44   TKTO       0080   MD028   Y   USA   VI       0194   06/23   03155C        $19.00
107       8504   ONE BOX TV, LLC   09111076    4/2/2019    4/1/2019   08:02:42   TKTO       0080   MD028   Y   USA   VI       5278   07/21   024148        $19.00
108       8504   ONE BOX TV, LLC   09111076    4/2/2019    4/1/2019   08:02:38   TKTO       0080   MD028   Y   USA   VI       6874   06/21   070209        $27.00
109       8504   ONE BOX TV, LLC   09111076    4/2/2019    4/1/2019   08:02:37   TKTO       0080   MD028   Y   USA   VI       5226   03/21   032741        $19.00
110       8504   ONE BOX TV, LLC   09111076    4/2/2019    4/1/2019   07:36:00   TKTO       0080   MD028   Y   USA   MC       3827   01/22   008489        $19.00
111       8504   ONE BOX TV, LLC   09111076    4/2/2019    4/1/2019   07:35:59   TKTO       0080   MD028   Y   USA   MC       6954   01/23   030960        $19.00
112       8504   ONE BOX TV, LLC   09011386    4/1/2019   3/31/2019   04:09:21   TKTO       0079   MD028   Y   USA   VI       4207   11/22   60284G        $19.00
113       8504   ONE BOX TV, LLC   09011386    4/1/2019   3/31/2019   04:07:00   TKTO       0079   MD028   Y   USA   MC       2217   08/22   03163G        $19.00
114       8504   ONE BOX TV, LLC   09011386    4/1/2019   3/31/2019   04:06:58   TKTO       0079   MD028   Y   USA   VI       3780   12/23   09736C        $19.00
115       8504   ONE BOX TV, LLC   09011386    4/1/2019   3/31/2019   04:06:57   TKTO       0079   MD028   Y   CAN   VI       7809   05/21   097107        $19.00
116       8504   ONE BOX TV, LLC   09011386    4/1/2019   3/31/2019   04:06:57   TKTO       0079   MD028   Y   USA   VI       6050   08/22   130969        $19.00
117       8504   ONE BOX TV, LLC   09011386    4/1/2019   3/31/2019   04:06:55   TKTO       0079   MD028   Y   USA   MC       3601   05/22   096552        $19.00
118       8504   ONE BOX TV, LLC   09011386    4/1/2019   3/31/2019   04:06:55   TKTO       0079   MD028   Y   USA   VI       0971   11/23   09669C        $19.00
119       8504   ONE BOX TV, LLC   09011386    4/1/2019   3/31/2019   04:06:54   TKTO       0079   MD028   Y   CAN   MC       7168   07/20   09628B        $19.00
120       8504   ONE BOX TV, LLC   09011386    4/1/2019   3/31/2019   04:06:54   TKTO       0079   MD028   Y   USA   VI       0432   12/20   031939        $19.00
121       8504   ONE BOX TV, LLC   09041783    4/1/2019   3/30/2019   04:49:02   TKTO       0078   MD028   Y   USA   DV       3680   02/22   03041R        $19.00
122       8504   ONE BOX TV, LLC   09041783    4/1/2019   3/30/2019   04:46:07   TKTO       0078   MD028   Y   USA   VI       5207   08/21   512861        $19.00
123       8504   ONE BOX TV, LLC   09041783    4/1/2019   3/30/2019   04:46:03   TKTO       0078   MD028   Y   USA   MC       7583   05/23   08090Z        $19.00
124       8504   ONE BOX TV, LLC   09041783    4/1/2019   3/30/2019   04:46:00   TKTO       0078   MD028   Y   USA   VI       8687   12/23   06799A        $19.00
125       8504   ONE BOX TV, LLC   09041783    4/1/2019   3/30/2019   04:45:58   TKTO       0078   MD028   Y   USA   VI       1282   06/23   06750B        $19.00
126       8504   ONE BOX TV, LLC   09041783    4/1/2019   3/30/2019   04:45:57   TKTO       0078   MD028   Y   USA   VI       7894   09/22   054556        $19.00
127       8504   ONE BOX TV, LLC   08811143   3/30/2019   3/29/2019   04:46:05   TKTO       0077   MD028   Y   USA   MC       3999   05/21   08168B        $19.00
128       8504   ONE BOX TV, LLC   08811143   3/30/2019   3/29/2019   04:43:30   TKTO       0077   MD028   Y   USA   DV       7564   08/23   02927B        $19.00
129       8504   ONE BOX TV, LLC   08711126   3/29/2019   3/28/2019   05:08:45   TKTO       0076   MD028   Y   USA   VI       1445   07/19   31504D        $19.00
130       8504   ONE BOX TV, LLC   08711126   3/29/2019   3/28/2019   05:08:44   TKTO       0076   MD028   Y   USA   MC       4002   04/22   05327P        $19.00
131       8504   ONE BOX TV, LLC   08711126   3/29/2019   3/28/2019   04:57:20   TKTO       0076   MD028   Y   USA   AE       1007   01/20   126511        $19.00
132       8504   ONE BOX TV, LLC   08711126   3/29/2019   3/28/2019   04:57:19   TKTO       0076   MD028   Y   USA   VI       3606   01/20   095705        $19.00
133       8504   ONE BOX TV, LLC   08711126   3/29/2019   3/28/2019   04:57:17   TKTO       0076   MD028   Y   USA   VI       8253   04/23   054827        $19.00
134       8504   ONE BOX TV, LLC   08711126   3/29/2019   3/27/2019   20:20:49   TKTO       0076   MD028   Y   USA   MC       8994   02/24   01246P       $200.00
135       8504   ONE BOX TV, LLC   08711126   3/29/2019   3/27/2019   19:01:22   TKTO       0076   MD028   Y   USA   VI       7491   06/20   090122       $285.00
136       8504   ONE BOX TV, LLC   08711126   3/29/2019   3/27/2019   18:26:23   TKTO       0076   MD028   Y   USA   VI       0126   03/21   098050       $330.00
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      A                     B          C          D           E           F        G     H       I      J     K    L    M    N            O         P     Q
137       8504   ONE BOX TV, LLC   08611150   3/28/2019   3/27/2019   14:36:10   SALE          CL01   MD028   N   USA   VI       6983   09/23    08310C        $224.70
138       8504   ONE BOX TV, LLC   08611151   3/28/2019   3/27/2019   14:32:37   TKTO          0075   MD028   Y   USA   VI       6983   09/23   07111C           $19.00
139       8504   ONE BOX TV, LLC   08611150   3/28/2019   3/27/2019   12:23:42   SALE          CL01   MD028   N   USA   AE       4008   10/22    844885        $449.40
140       8504   ONE BOX TV, LLC   08611150   3/28/2019   3/27/2019   10:19:43   SALE          CL01   MD028   N   USA   VI       6730   10/22    08331D        $449.40
141       8504   ONE BOX TV, LLC   08611150   3/28/2019   3/27/2019   09:34:25   SALE          CL01   MD028   N   USA   VI       2968   02/20   02776G         $304.95
142       8504   ONE BOX TV, LLC   08611151   3/28/2019   3/27/2019   04:31:57   TKTO          0075   MD028   Y   USA   VI       5511   04/20   02425D           $19.00
143       8504   ONE BOX TV, LLC   08611151   3/28/2019   3/26/2019   19:17:48   TKTO          0075   MD028   Y   USA   VI       8011   05/23   02443G           $19.00
144       8504   ONE BOX TV, LLC   08511098   3/27/2019   3/26/2019   09:37:46   TKTO          0074   MD028   Y   USA   DV       9717   02/23    02653R          $19.00
145       8504   ONE BOX TV, LLC   08511098   3/27/2019   3/26/2019   06:10:13   TKTO          0074   MD028   Y   USA   MC       4581   06/21   02631B           $19.00
146       8504   ONE BOX TV, LLC   08511098   3/27/2019   3/26/2019   06:10:04   TKTO          0074   MD028   Y   USA   VI       5886   03/20   191405           $19.00
147       8504   ONE BOX TV, LLC   08511098   3/27/2019   3/26/2019   06:04:34   TKTO          0074   MD028   Y   USA   AE       1006   06/22   104043           $19.00
148       8504   ONE BOX TV, LLC   08511098   3/27/2019   3/26/2019   06:04:30   TKTO          0074   MD028   Y   USA   VI       3278   07/20   90760D           $19.00
149       8504   ONE BOX TV, LLC   08511098   3/27/2019   3/25/2019   16:10:44   TKTO          0074   MD028   Y   USA   DV       8821   08/21    02551R          $19.00
150       8504   ONE BOX TV, LLC   08411053   3/26/2019   3/25/2019   10:03:22   TKTO          0073   MD028   Y   USA   VI       0126   03/21   058906         $180.00
151       8504   ONE BOX TV, LLC   08411053   3/26/2019   3/25/2019   05:46:59   TKTO          0073   MD028   Y   USA   MC       9800   08/21   50526Z           $19.00
152       8504   ONE BOX TV, LLC   08411053   3/26/2019   3/25/2019   05:40:58   TKTO          0073   MD028   Y   USA   DV       8987   03/22    02582R          $19.00
153       8504   ONE BOX TV, LLC   08411053   3/26/2019   3/25/2019   05:40:58   TKTO          0073   MD028   Y   USA   MC       9040   10/20   01140Z           $19.00
154       8504   ONE BOX TV, LLC   08411053   3/26/2019   3/24/2019   21:50:47   RTRN   FULL   0073   MD028   Y   USA   DV       8821   08/21    024069        ($19.00)
155       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   14:28:56   TKTO          0072   MD028   Y   USA   VI       2496   03/22   454341           $19.00
156       8504   ONE BOX TV, LLC   08311365   3/25/2019   3/24/2019   14:21:34   SALE          CL01   MD028   N   USA   MC       4868   05/20    41421Z        $267.50
157       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   12:09:10   TKTO          0072   MD028   Y   USA   VI       7291   09/21   000913           $19.00
158       8504   ONE BOX TV, LLC   08251001   3/25/2019   3/24/2019   11:58:30   SALE          CL01   MD028   N   USA   DB       7291   09/21    961662        $224.70
159       8504   ONE BOX TV, LLC   08311365   3/25/2019   3/24/2019   11:26:31   SALE          CL01   MD028   N   USA   MC       2936   05/24    09375Z       $1,123.50
160       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   09:47:39   TKTO          0072   MD028   Y   USA   AE       2000   11/23   104012           $19.00
161       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   09:35:01   TKTO          0072   MD028   Y   USA   VI       0850   06/20   000962           $19.00
162       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   05:23:36   TKTO          0072   MD028   Y   USA   VI       8375   05/19   00090D           $19.00
163       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   05:23:35   TKTO          0072   MD028   Y   USA   MC       9467   07/22   00069B           $19.00
164       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   05:23:33   TKTO          0072   MD028   Y   USA   AE       2002   11/22   144929           $19.00
165       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   05:23:29   TKTO          0072   MD028   Y   USA   VI       8651   04/20   024538           $19.00
166       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   05:23:21   TKTO          0072   MD028   Y   USA   VI       3184   11/23   09630D           $19.00
167       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   05:19:06   TKTO          0072   MD028   Y   USA   VI       8552   03/21   141690           $19.00
168       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   05:19:04   TKTO          0072   MD028   Y   USA   MC       4653   06/23   07125P           $19.00
169       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   05:19:04   TKTO          0072   MD028   Y   USA   VI       6670   11/20   H53873           $19.00
170       8504   ONE BOX TV, LLC   08251001   3/25/2019   3/23/2019   14:12:35   SALE          CL01   MD028   N   USA   DB       0533   09/22    532345        $224.70
171       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   14:02:52   TKTO          0071   MD028   Y   USA   VI       1688   10/23   07577D           $19.00
172       8504   ONE BOX TV, LLC   08341697   3/25/2019   3/23/2019   13:55:01   SALE          CL01   MD028   N   USA   VI       1243   07/23    05047D        $304.95
173       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   13:18:15   TKTO          0071   MD028   Y   USA   VI       5903   06/20   041814           $19.00
174       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   12:38:28   TKTO          0071   MD028   Y   USA   VI       3586   05/22   035167           $19.00
175       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   11:44:25   TKTO          0071   MD028   Y   USA   MC       2455   12/20   11324Z           $19.00
176       8504   ONE BOX TV, LLC   08341697   3/25/2019   3/23/2019   11:24:23   SALE          CL01   MD028   N   USA   MC       2455   12/20    11324Z        $267.50
177       8504   ONE BOX TV, LLC   08341697   3/25/2019   3/23/2019   11:12:47   SALE          CL01   MD028   N   USA   VI       6267   02/21    07426C        $428.00
178       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   10:58:50   TKTO          0071   MD028   Y   USA   MC       9635   07/23   05515P           $19.00
179       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   10:14:26   TKTO          0071   MD028   Y   CAN   MC       8001   05/20   02802Z           $19.00
180       8504   ONE BOX TV, LLC   08251001   3/25/2019   3/23/2019   09:39:15   SALE          CL01   MD028   N   USA   DB       2811   09/22    281967        $187.25
181       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   09:08:19   TKTO          0071   MD028   Y   USA   VI       2558   03/22   842646           $19.00
182       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   08:40:27   TKTO          0071   MD028   Y   USA   MC       0026   08/22   07574P           $19.00
183       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   07:58:04   TKTO          0071   MD028   Y   USA   MC       0771   10/20   02384P           $19.00
184       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   05:43:58   TKTO          0071   MD028   Y   USA   DV       6527   08/21   02317P           $19.00
185       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   05:39:18   TKTO          0071   MD028   Y   USA   VI       7216   02/21   023337           $19.00
186       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/22/2019   21:17:15   TKTO          0071   MD028   Y   USA   VI       0126   03/21   071922         $180.00
187       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/22/2019   17:15:54   TKTO          0071   MD028   Y   USA   MC       6396   05/22   02204P           $27.00
188       8504   ONE BOX TV, LLC   08111129   3/23/2019   3/22/2019   13:24:24   SALE          CL01   MD028   N   USA   VI       5322   01/22    022121        $224.70
189       8504   ONE BOX TV, LLC   08111129   3/23/2019   3/22/2019   11:47:24   SALE          CL01   MD028   N   USA   MC       2034   10/19    LPXEJH        $187.25
190       8504   ONE BOX TV, LLC   08111129   3/23/2019   3/22/2019   11:33:10   SALE          CL01   MD028   N   USA   VI       2537   09/21    093232       $2,140.00
191       8504   ONE BOX TV, LLC   08111130   3/23/2019   3/22/2019   10:48:24   TKTO          0070   MD028   Y   CAN   VI       0416   09/20   04716F           $19.00
192       8504   ONE BOX TV, LLC   08111129   3/23/2019   3/22/2019   10:43:16   SALE          CL01   MD028   N   CAN   VI       0416   09/20    09508F        $187.25
193       8504   ONE BOX TV, LLC   08111129   3/23/2019   3/22/2019   10:41:44   SALE          CL01   MD028   N   CAN   VI       5015   02/23    494467        $187.25
194       8504   ONE BOX TV, LLC   08111130   3/23/2019   3/22/2019   09:47:10   TKTO          0070   MD028   Y   USA   VI       1725   01/24   01144C           $19.00
195       8504   ONE BOX TV, LLC   08111129   3/23/2019   3/22/2019   09:39:54   SALE          CL01   MD028   N   USA   VI       1725   01/24    02103C        $224.70
196       8504   ONE BOX TV, LLC   08111130   3/23/2019   3/22/2019   08:58:12   TKTO          0070   MD028   Y   USA   VI       0201   02/21   098712           $19.00
197       8504   ONE BOX TV, LLC   08111130   3/23/2019   3/22/2019   04:24:30   TKTO          0070   MD028   Y   USA   VI       5171   12/20   052429           $19.00
198       8504   ONE BOX TV, LLC   08111130   3/23/2019   3/22/2019   04:24:27   TKTO          0070   MD028   Y   USA   MC       8612   01/21   742348           $19.00
199       8504   ONE BOX TV, LLC   08111130   3/23/2019   3/22/2019   04:24:21   TKTO          0070   MD028   Y   USA   VI       7461   08/20   402242           $19.00
200       8504   ONE BOX TV, LLC   08011114   3/22/2019   3/21/2019   14:08:47   TKTO          0069   MD028   Y   USA   MC       3028   03/21   VY9TM5           $19.00
201       8504   ONE BOX TV, LLC   08051001   3/22/2019   3/21/2019   14:00:33   SALE          CL01   MD028   N   USA   DB       0577   11/22    280862        $224.70
202       8504   ONE BOX TV, LLC   08011114   3/22/2019   3/21/2019   13:06:05   TKTO          0069   MD028   Y   USA   VI       2811   09/22   040604           $19.00
203       8504   ONE BOX TV, LLC   08051001   3/22/2019   3/21/2019   12:54:06   SALE          CL01   MD028   N   USA   DB       2811   09/22    132500        $187.25
204       8504   ONE BOX TV, LLC   08011114   3/22/2019   3/21/2019   10:54:15   TKTO          0069   MD028   Y   USA   VI       6701   03/21   015425           $19.00
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      A                     B          C          D           E           F        G    H     I      J     K    L    M    N            O        P     Q
205       8504   ONE BOX TV, LLC   08011114   3/22/2019   3/21/2019   04:26:22   TKTO       0069   MD028   Y   USA   MC       0026   08/22   03761P        $19.00
206       8504   ONE BOX TV, LLC   08011114   3/22/2019   3/21/2019   04:21:36   TKTO       0069   MD028   Y   USA   VI       5627   10/19   04100C        $19.00
207       8504   ONE BOX TV, LLC   08011114   3/22/2019   3/21/2019   04:21:36   TKTO       0069   MD028   Y   USA   VI       7662   07/23   04099D        $19.00
208       8504   ONE BOX TV, LLC   08011114   3/22/2019   3/21/2019   04:21:36   TKTO       0069   MD028   Y   USA   DV       7487   09/20   02119R        $19.00
209       8504   ONE BOX TV, LLC   08011114   3/22/2019   3/21/2019   04:21:35   TKTO       0069   MD028   Y   USA   VI       9769   03/22   132016        $19.00
210       8504   ONE BOX TV, LLC   08011114   3/22/2019   3/21/2019   04:21:33   TKTO       0069   MD028   Y   USA   VI       4131   11/21   021322        $19.00
211       8504   ONE BOX TV, LLC   08011114   3/22/2019   3/20/2019   20:37:15   TKTO       0069   MD028   Y   USA   VI       0126   03/21   043881       $180.00
212       8504   ONE BOX TV, LLC   07911166   3/21/2019   3/20/2019   13:07:38   SALE       CL01   MD028   N   USA   MC       1608   06/22   67851P        $26.75
213       8504   ONE BOX TV, LLC   07911167   3/21/2019   3/20/2019   13:03:26   TKTO       0068   MD028   Y   USA   MC       8953   05/23   04456Z        $19.00
214       8504   ONE BOX TV, LLC   07911166   3/21/2019   3/20/2019   12:43:28   SALE       CL01   MD028   N   USA   MC       8953   05/23   04634Z       $278.20
215       8504   ONE BOX TV, LLC   07951001   3/21/2019   3/20/2019   12:41:50   SALE       CL01   MD028   N   USA   DB       6701   03/21   381102       $278.20
216       8504   ONE BOX TV, LLC   07911166   3/21/2019   3/20/2019   11:56:03   SALE       CL01   MD028   N   USA   VI       2313   08/23   00437D       $187.25
217       8504   ONE BOX TV, LLC   07911166   3/21/2019   3/20/2019   11:51:41   SALE       CL01   MD028   N   USA   MC       2176   02/22   02046P       $304.95
218       8504   ONE BOX TV, LLC   07911167   3/21/2019   3/20/2019   11:50:01   TKTO       0068   MD028   Y   USA   MC       2176   02/22   02027P        $19.00
219       8504   ONE BOX TV, LLC   07911166   3/21/2019   3/20/2019   11:30:35   SALE       CL01   MD028   N   USA   MC       1608   06/22   77925P       $160.50
220       8504   ONE BOX TV, LLC   07911167   3/21/2019   3/20/2019   11:15:33   TKTO       0068   MD028   Y   USA   VI       5441   06/22   069256        $19.00
221       8504   ONE BOX TV, LLC   07911167   3/21/2019   3/20/2019   11:06:06   TKTO       0068   MD028   Y   USA   MC       3007   09/19   08188S        $19.00
222       8504   ONE BOX TV, LLC   07911166   3/21/2019   3/20/2019   10:57:01   SALE       CL01   MD028   N   USA   MC       3007   09/19   01062S       $224.70
223       8504   ONE BOX TV, LLC   07951001   3/21/2019   3/20/2019   10:11:50   SALE       CL01   MD028   N   USA   DB       5441   06/22   271224       $224.70
224       8504   ONE BOX TV, LLC   07911167   3/21/2019   3/20/2019   08:42:37   TKTO       0068   MD028   Y   USA   MC       5048   07/21   07129Z        $19.00
225       8504   ONE BOX TV, LLC   07911166   3/21/2019   3/20/2019   08:36:08   SALE       CL01   MD028   N   GBR   AE       1006   05/23   809116       $304.95
226       8504   ONE BOX TV, LLC   07911167   3/21/2019   3/20/2019   05:41:09   TKTO       0068   MD028   Y   USA   MC       4364   04/23   03275P        $19.00
227       8504   ONE BOX TV, LLC   07911167   3/21/2019   3/20/2019   05:36:03   TKTO       0068   MD028   Y   USA   DV       9121   10/22   02062R        $19.00
228       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   14:56:44   TKTO       0067   MD028   Y   USA   MC       3565   07/23   019923        $19.00
229       8504   ONE BOX TV, LLC   07811094   3/20/2019   3/19/2019   14:53:37   SALE       CL01   MD028   N   USA   MC       1195   07/23   00130Z       $187.25
230       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   14:12:35   TKTO       0067   MD028   Y   USA   VI       7510   02/23   H43219        $19.00
231       8504   ONE BOX TV, LLC   07851001   3/20/2019   3/19/2019   13:44:23   SALE       CL01   MD028   N   USA   DB       7510   02/23   361137       $224.70
232       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   12:51:38   TKTO       0067   MD028   Y   CAN   VI       2233   05/21   04149I        $19.00
233       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   12:44:42   TKTO       0067   MD028   Y   USA   MC       2150   04/20   009278        $19.00
234       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   12:37:00   TKTO       0067   MD028   Y   USA   VI       1485   12/22   143363        $19.00
235       8504   ONE BOX TV, LLC   07811094   3/20/2019   3/19/2019   12:23:38   SALE       CL01   MD028   N   CAN   VI       3259   08/19   868116       $274.46
236       8504   ONE BOX TV, LLC   07851001   3/20/2019   3/19/2019   12:16:59   SALE       CL01   MD028   N   USA   DB       2150   04/20   672751       $187.25
237       8504   ONE BOX TV, LLC   07851001   3/20/2019   3/19/2019   12:10:33   SALE       CL01   MD028   N   USA   DB       1485   12/22   172199       $224.70
238       8504   ONE BOX TV, LLC   07851001   3/20/2019   3/19/2019   11:18:52   SALE       CL01   MD028   N   USA   DB       7912   06/20   570611       $518.95
239       8504   ONE BOX TV, LLC   07851001   3/20/2019   3/19/2019   11:08:31   SALE       CL01   MD028   N   USA   DB       3391   11/21   132080       $224.70
240       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   11:02:10   TKTO       0067   MD028   Y   USA   VI       2313   08/23   04207D        $19.00
241       8504   ONE BOX TV, LLC   07811094   3/20/2019   3/19/2019   10:25:45   SALE       CL01   MD028   N   USA   VI       9818   11/20   06382D       $187.25
242       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   10:10:17   TKTO       0067   MD028   Y   USA   VI       0126   03/21   083203       $180.00
243       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:29:34   TKTO       0067   MD028   Y   USA   VI       6484   03/22   42981C        $19.00
244       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:29:32   TKTO       0067   MD028   Y   USA   VI       0919   10/21   07962C        $19.00
245       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:29:29   TKTO       0067   MD028   Y   USA   VI       5441   06/22   032607        $19.00
246       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:29:29   TKTO       0067   MD028   Y   USA   VI       8929   04/20   07872C        $19.00
247       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:29:28   TKTO       0067   MD028   Y   USA   DV       9717   02/23   01948R        $19.00
248       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:29:28   TKTO       0067   MD028   Y   USA   MC       7225   10/22   07858P        $19.00
249       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:29:28   TKTO       0067   MD028   Y   USA   VI       9154   12/20   07833C        $19.00
250       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:29:28   TKTO       0067   MD028   Y   USA   VI       2125   11/22   07847D        $19.00
251       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:25:55   TKTO       0067   MD028   Y   USA   MC       8098   10/21   01945Z        $19.00
252       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:25:51   TKTO       0067   MD028   Y   USA   VI       8973   06/20   052551        $19.00
253       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:25:48   TKTO       0067   MD028   Y   USA   VI       6551   05/20   019718        $19.00
254       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/18/2019   20:15:01   TKTO       0067   MD028   Y   USA   VI       4756   03/21   083030        $19.00
255       8504   ONE BOX TV, LLC   07711093   3/19/2019   3/18/2019   04:40:58   TKTO       0066   MD028   Y   USA   VI       9911   02/22   08659D        $19.00
256       8504   ONE BOX TV, LLC   07711093   3/19/2019   3/18/2019   04:40:57   TKTO       0066   MD028   Y   CAN   VI       9016   10/20   428053        $19.00
257       8504   ONE BOX TV, LLC   07711093   3/19/2019   3/18/2019   04:40:56   TKTO       0066   MD028   Y   USA   MC       2785   04/23   09013S        $19.00
258       8504   ONE BOX TV, LLC   07711093   3/19/2019   3/18/2019   04:40:54   TKTO       0066   MD028   Y   USA   VI       1976   07/19   05383D        $19.00
259       8504   ONE BOX TV, LLC   07711093   3/19/2019   3/18/2019   04:40:53   TKTO       0066   MD028   Y   USA   DV       4340   04/21   01823R        $19.00
260       8504   ONE BOX TV, LLC   07711093   3/19/2019   3/18/2019   04:40:52   TKTO       0066   MD028   Y   USA   VI       7700   11/22   01572D        $19.00
261       8504   ONE BOX TV, LLC   07711093   3/19/2019   3/18/2019   04:36:33   TKTO       0066   MD028   Y   USA   VI       4914   09/20   83139D        $19.00
262       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   14:36:41   TKTO       0065   MD028   Y   USA   VI       4893   06/22   069007        $19.00
263       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   13:04:24   TKTO       0065   MD028   Y   USA   MC       7958   02/21   01768Z        $19.00
264       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   12:47:37   TKTO       0065   MD028   Y   USA   VI       3991   03/23   019690        $19.00
265       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   11:34:20   TKTO       0065   MD028   Y   USA   MC       8221   06/20   008942        $19.00
266       8504   ONE BOX TV, LLC   07551001   3/18/2019   3/17/2019   11:20:42   SALE       CL01   MD028   N   USA   DB       8221   06/20   860718       $304.95
267       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   10:46:29   TKTO       0065   MD028   Y   USA   VI       2544   09/21   084611        $19.00
268       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   09:22:18   TKTO       0065   MD028   Y   USA   DV       8927   10/19   01795Q        $19.00
269       8504   ONE BOX TV, LLC   07611358   3/18/2019   3/17/2019   09:16:37   SALE       CL01   MD028   N   USA   DV       8927   10/19   01743Q       $304.95
270       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   08:45:53   TKTO       0065   MD028   Y   USA   VI       3909   02/22   017407        $19.00
271       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   04:35:18   TKTO       0065   MD028   Y   USA   MC       9800   02/21   03357Z        $19.00
272       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   04:35:13   TKTO       0065   MD028   Y   USA   VI       4710   11/20   05393C        $19.00
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      A                     B          C          D           E           F        G    H     I      J     K    L    M    N            O         P     Q
273       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   04:35:12   TKTO       0065   MD028   Y   USA   VI       5051   05/23   05359D         $19.00
274       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   04:35:12   TKTO       0065   MD028   Y   USA   VI       9063   09/22   05361D         $19.00
275       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   04:35:09   TKTO       0065   MD028   Y   USA   MC       3841   11/19   017784         $19.00
276       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   04:35:02   TKTO       0065   MD028   Y   USA   VI       2144   10/22   001336         $19.00
277       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   04:30:33   TKTO       0065   MD028   Y   USA   MC       2790   08/22   01008P         $19.00
278       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   04:30:30   TKTO       0065   MD028   Y   USA   MC       9968   11/21   61724B         $19.00
279       8504   ONE BOX TV, LLC   07611358   3/18/2019   3/16/2019   20:05:34   SALE       CL01   MD028   Y   USA   VI       3909   02/22    016094       $285.00
280       8504   ONE BOX TV, LLC   07551001   3/18/2019   3/16/2019   14:20:32   SALE       CL01   MD028   N   USA   DB       3664   06/22    662913         $6.41
281       8504   ONE BOX TV, LLC   07551001   3/18/2019   3/16/2019   14:17:27   SALE       CL01   MD028   N   USA   DB       3664   06/22    560089       $267.50
282       8504   ONE BOX TV, LLC   07641769   3/18/2019   3/16/2019   13:29:18   TKTO       0064   MD028   Y   USA   VI       8245   10/22   08378B         $19.00
283       8504   ONE BOX TV, LLC   07641768   3/18/2019   3/16/2019   13:21:58   SALE       CL01   MD028   N   USA   VI       8245   10/22    03561B       $224.70
284       8504   ONE BOX TV, LLC   07641769   3/18/2019   3/16/2019   10:52:48   TKTO       0064   MD028   Y   GBR   VI       0005   04/20   052480         $19.00
285       8504   ONE BOX TV, LLC   07551001   3/18/2019   3/16/2019   10:29:05   SALE       CL01   MD028   N   USA   DB       4662   11/22    062289       $224.70
286       8504   ONE BOX TV, LLC   07551001   3/18/2019   3/16/2019   10:12:49   SALE       CL01   MD028   N   USA   DB       1754   12/20    271819       $224.70
287       8504   ONE BOX TV, LLC   07641769   3/18/2019   3/16/2019   10:02:56   TKTO       0064   MD028   Y   USA   VI       8018   05/22   110724         $19.00
288       8504   ONE BOX TV, LLC   07551001   3/18/2019   3/16/2019   09:52:08   SALE       CL01   MD028   N   USA   DB       8018   05/22    482849       $267.50
289       8504   ONE BOX TV, LLC   07641769   3/18/2019   3/16/2019   09:33:43   TKTO       0064   MD028   Y   USA   VI       0057   11/22   009673         $19.00
290       8504   ONE BOX TV, LLC   07551001   3/18/2019   3/16/2019   09:27:34   SALE       CL01   MD028   N   USA   DB       7068   08/21    962528       $224.70
291       8504   ONE BOX TV, LLC   07551001   3/18/2019   3/16/2019   09:26:40   SALE       CL01   MD028   N   USA   DB       0057   11/22    231040       $224.70
292       8504   ONE BOX TV, LLC   07641768   3/18/2019   3/16/2019   08:43:37   SALE       CL01   MD028   Y   USA   MC       2104   07/21    031107       $449.40
293       8504   ONE BOX TV, LLC   07641769   3/18/2019   3/16/2019   06:22:53   TKTO       0064   MD028   Y   USA   VI       6075   04/22   122921         $27.00
294       8504   ONE BOX TV, LLC   07641769   3/18/2019   3/16/2019   06:22:27   TKTO       0064   MD028   Y   USA   VI       4033   04/22   065522         $19.00
295       8504   ONE BOX TV, LLC   07641769   3/18/2019   3/16/2019   06:22:22   TKTO       0064   MD028   Y   USA   VI       4190   02/22   06679C         $19.00
296       8504   ONE BOX TV, LLC   07641769   3/18/2019   3/16/2019   06:13:43   TKTO       0064   MD028   Y   USA   MC       9538   02/22   01658P         $19.00
297       8504   ONE BOX TV, LLC   07641769   3/18/2019   3/16/2019   06:13:38   TKTO       0064   MD028   Y   USA   DV       0396   01/22   01655P         $19.00
298       8504   ONE BOX TV, LLC   07641769   3/18/2019   3/15/2019   20:49:32   TKTO       0064   MD028   Y   USA   VI       7958   11/21   003585         $27.00
299       8504   ONE BOX TV, LLC   07641768   3/18/2019   3/15/2019   20:27:58   SALE       CL01   MD028   Y   USA   VI       0126   03/21    075568       $180.00
300       8504   ONE BOX TV, LLC   07641768   3/18/2019   3/15/2019   20:25:40   SALE       CL01   MD028   Y   USA   VI       7958   11/21    003584       $495.00
301       8504   ONE BOX TV, LLC   07411100   3/16/2019   3/15/2019   14:20:21   TKTO       0063   MD028   Y   USA   MC       7149   04/22    003972        $19.00
302       8504   ONE BOX TV, LLC   07411100   3/16/2019   3/15/2019   13:36:03   TKTO       0063   MD028   Y   CAN   VI       4746   05/19    080966        $19.00
303       8504   ONE BOX TV, LLC   07411100   3/16/2019   3/15/2019   12:09:32   TKTO       0063   MD028   Y   USA   VI       3940   03/23   80171D         $19.00
304       8504   ONE BOX TV, LLC   07411099   3/16/2019   3/15/2019   12:01:00   SALE       CL01   MD028   N   USA   AE       2005   03/23    886607       $224.70
305       8504   ONE BOX TV, LLC   07411100   3/16/2019   3/15/2019   11:59:36   TKTO       0063   MD028   Y   USA   AE       2005   05/23    143401        $19.00
306       8504   ONE BOX TV, LLC   07411099   3/16/2019   3/15/2019   11:48:39   SALE       CL01   MD028   Y   USA   VI       3940   03/23   67757D        $420.00
307       8504   ONE BOX TV, LLC   07411100   3/16/2019   3/15/2019   06:27:50   TKTO       0063   MD028   Y   USA   MC       5403   02/20    671120        $19.00
308       8504   ONE BOX TV, LLC   07411100   3/16/2019   3/15/2019   06:27:27   TKTO       0063   MD028   Y   USA   VI       9394   12/23    000595        $19.00
309       8504   ONE BOX TV, LLC   07311092   3/15/2019   3/14/2019   13:13:12   SALE       CL01   MD028   Y   USA   VI       0126   03/21    023287       $180.00
310       8504   ONE BOX TV, LLC   07311093   3/15/2019   3/14/2019   04:34:52   TKTO       0062   MD028   Y   USA   VI       4845   08/23   03563D         $19.00
311       8504   ONE BOX TV, LLC   07311093   3/15/2019   3/14/2019   04:34:52   TKTO       0062   MD028   Y   USA   VI       1872   01/23   027798         $19.00
312       8504   ONE BOX TV, LLC   07311093   3/15/2019   3/14/2019   04:34:43   TKTO       0062   MD028   Y   CAN   VI       9028   10/19   040083         $19.00
313       8504   ONE BOX TV, LLC   07311093   3/15/2019   3/14/2019   04:29:58   TKTO       0062   MD028   Y   USA   VI       4832   11/22   08739C         $19.00
314       8504   ONE BOX TV, LLC   07311093   3/15/2019   3/14/2019   04:29:58   TKTO       0062   MD028   Y   USA   VI       1681   02/23   08730C         $19.00
315       8504   ONE BOX TV, LLC   07311093   3/15/2019   3/14/2019   04:29:58   TKTO       0062   MD028   Y   USA   MC       2523   02/23   00161M         $19.00
316       8504   ONE BOX TV, LLC   07311093   3/15/2019   3/14/2019   04:29:56   TKTO       0062   MD028   Y   USA   MC       8380   10/20   61567Z         $19.00
317       8504   ONE BOX TV, LLC   07311093   3/15/2019   3/14/2019   04:29:56   TKTO       0062   MD028   Y   USA   VI       2252   10/23   08675D         $19.00
318       8504   ONE BOX TV, LLC   07311093   3/15/2019   3/14/2019   04:29:56   TKTO       0062   MD028   Y   USA   AE       4016   11/21   147546         $19.00
319       8504   ONE BOX TV, LLC   07211157   3/14/2019   3/13/2019   11:59:32   TKTO       0061   MD028   Y   USA   VI       1320   10/23    593226        $19.00
320       8504   ONE BOX TV, LLC   07251001   3/14/2019   3/13/2019   11:46:11   SALE       CL01   MD028   N   USA   DB       1320   10/23    370465       $326.35
321       8504   ONE BOX TV, LLC   07211156   3/14/2019   3/13/2019   11:28:51   SALE       CL01   MD028   N   USA   VI       2114   09/20    113182       $176.55
322       8504   ONE BOX TV, LLC   07211157   3/14/2019   3/13/2019   09:30:15   TKTO       0061   MD028   Y   USA   VI       6730   10/23   06258D         $19.00
323       8504   ONE BOX TV, LLC   07211157   3/14/2019   3/13/2019   04:25:16   TKTO       0061   MD028   Y   USA   AE       1000   02/20    144404        $19.00
324       8504   ONE BOX TV, LLC   07211157   3/14/2019   3/13/2019   04:25:16   TKTO       0061   MD028   Y   USA   AE       4001   05/23    196057        $19.00
325       8504   ONE BOX TV, LLC   07211157   3/14/2019   3/13/2019   04:25:16   TKTO       0061   MD028   Y   USA   VI       7565   01/20    791884        $19.00
326       8504   ONE BOX TV, LLC   07211157   3/14/2019   3/13/2019   04:25:13   TKTO       0061   MD028   Y   USA   MC       8416   06/21    40315Z        $19.00
327       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   13:19:25   TKTO       0060   MD028   Y   USA   VI       2524   05/20   07753D         $19.00
328       8504   ONE BOX TV, LLC   07111116   3/13/2019   3/12/2019   13:01:40   SALE       CL01   MD028   Y   USA   VI       2524   05/20   04227D        $406.60
329       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   12:10:35   TKTO       0060   MD028   Y   USA   VI       3075   09/22    017096        $19.00
330       8504   ONE BOX TV, LLC   07111116   3/13/2019   3/12/2019   12:08:55   SALE       CL01   MD028   N   USA   MC       9687   12/22    05689B       $224.70
331       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   11:13:43   TKTO       0060   MD028   Y   USA   AE       4002   12/22    196255        $19.00
332       8504   ONE BOX TV, LLC   07111116   3/13/2019   3/12/2019   10:51:38   SALE       CL01   MD028   N   USA   AE       4008   10/22    817773        $21.40
333       8504   ONE BOX TV, LLC   07111116   3/13/2019   3/12/2019   10:44:57   SALE       CL01   MD028   N   USA   VI       4675   08/23   03714D        $304.95
334       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   10:39:21   TKTO       0060   MD028   Y   USA   MC       3012   06/22    82163P        $19.00
335       8504   ONE BOX TV, LLC   07111116   3/13/2019   3/12/2019   10:06:42   SALE       CL01   MD028   N   USA   MC       3012   06/22    86603P       $224.70
336       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:27:46   TKTO       0060   MD028   Y   USA   VI       6950   10/21    049391        $19.00
337       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:27:44   TKTO       0060   MD028   Y   CAN   MC       5696   03/19    02318Z        $19.00
338       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:27:44   TKTO       0060   MD028   Y   USA   VI       5322   01/22    012958        $19.00
339       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:27:43   TKTO       0060   MD028   Y   USA   VI       5693   09/19    054382        $19.00
340       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:27:43   TKTO       0060   MD028   Y   USA   AE       1003   07/25    169586        $19.00
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      A                     B          C          D            E          F        G     H       I      J     K    L    M    N            O        P     Q
341       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:27:43   TKTO          0060   MD028   Y   USA   VI       9507   01/23   182070          $19.00
342       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:27:42   TKTO          0060   MD028   Y   USA   VI       0423   05/21   019824          $19.00
343       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:27:40   TKTO          0060   MD028   Y   USA   MC       7703   09/19   08721Z          $19.00
344       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:27:38   TKTO          0060   MD028   Y   USA   MC       3973   09/21   031203          $19.00
345       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:24:37   TKTO          0060   MD028   Y   USA   VI       1086   05/23   03109D          $19.00
346       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:24:37   TKTO          0060   MD028   Y   USA   AE       2006   09/22   180597          $19.00
347       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:24:34   TKTO          0060   MD028   Y   USA   VI       7590   09/20   012790          $19.00
348       8504   ONE BOX TV, LLC   07011031   3/12/2019   3/11/2019   05:17:14   TKTO          0059   MD028   Y   USA   AE       1009   09/22   140861          $19.00
349       8504   ONE BOX TV, LLC   07011031   3/12/2019   3/11/2019   05:17:12   TKTO          0059   MD028   Y   USA   VI       5943   05/23   01351G          $19.00
350       8504   ONE BOX TV, LLC   07011031   3/12/2019   3/11/2019   05:17:12   TKTO          0059   MD028   Y   USA   VI       3679   12/23   423197          $19.00
351       8504   ONE BOX TV, LLC   07011031   3/12/2019   3/11/2019   05:17:10   TKTO          0059   MD028   Y   USA   VI       2695   06/22   44623D          $19.00
352       8504   ONE BOX TV, LLC   07011031   3/12/2019   3/11/2019   05:17:08   TKTO          0059   MD028   Y   USA   VI       9794   02/22   002832          $19.00
353       8504   ONE BOX TV, LLC   07011030   3/12/2019   3/10/2019   17:13:34   SALE          CL01   MD028   Y   USA   VI       0126   03/21   084558         $180.00
354       8504   ONE BOX TV, LLC   07041807   3/12/2019   3/10/2019   15:05:53   SALE          CL01   MD028   N   USA   AE       3018   12/21   863219         $304.95
355       8504   ONE BOX TV, LLC   07041807   3/12/2019   3/10/2019   14:25:18   SALE          CL01   MD028   N   USA   AE       2009   08/20   867473         $187.25
356       8504   ONE BOX TV, LLC   07041807   3/12/2019   3/10/2019   14:25:11   RTRN   FULL   CL01   MD028   N   USA   VI       4675           05334D       ($331.70)
357       8504   ONE BOX TV, LLC   07041807   3/12/2019   3/10/2019   13:44:15   SALE          CL01   MD028   N   USA   VI       4675   08/23   02481D         $331.70
358       8504   ONE BOX TV, LLC   07041807   3/12/2019   3/10/2019   12:48:26   SALE          CL01   MD028   N   USA   VI       6137   11/21   010446         $224.70
359       8504   ONE BOX TV, LLC   07041807   3/12/2019   3/10/2019   10:32:06   SALE          CL01   MD028   N   USA   VI       7422   08/19   05803D         $304.95
360       8504   ONE BOX TV, LLC   07041807   3/12/2019   3/10/2019   09:26:15   SALE          CL01   MD028   N   USA   MC       2153   07/22   64349P          $16.05
361       8504   ONE BOX TV, LLC   06911373   3/11/2019   3/10/2019   15:17:37   TKTO          0058   MD028   Y   USA   AE       3018   12/21   185200          $19.00
362       8504   ONE BOX TV, LLC   06911373   3/11/2019   3/10/2019   14:30:18   TKTO          0058   MD028   Y   USA   VI       2389   05/19   00529C          $19.00
363       8504   ONE BOX TV, LLC   06851001   3/11/2019   3/10/2019   14:27:33   SALE          CL01   MD028   N   USA   DB       4964   08/22   232938         $187.25
364       8504   ONE BOX TV, LLC   06911373   3/11/2019   3/10/2019   14:02:32   TKTO          0058   MD028   Y   USA   VI       4675   08/23   06967D          $19.00
365       8504   ONE BOX TV, LLC   06911373   3/11/2019   3/10/2019   11:05:01   TKTO          0058   MD028   Y   USA   MC       4455   03/21   050550          $19.00
366       8504   ONE BOX TV, LLC   06911373   3/11/2019   3/10/2019   05:48:30   TKTO          0058   MD028   Y   USA   VI       9208   05/23   063260           $9.50
367       8504   ONE BOX TV, LLC   06911373   3/11/2019   3/10/2019   05:48:11   TKTO          0058   MD028   Y   USA   VI       7890   11/23   04335C          $19.00
368       8504   ONE BOX TV, LLC   06911373   3/11/2019   3/10/2019   05:48:03   TKTO          0058   MD028   Y   USA   MC       6104   07/23   04106Z          $19.00
369       8504   ONE BOX TV, LLC   06911373   3/11/2019   3/10/2019   05:48:02   TKTO          0058   MD028   Y   USA   VI       1462   04/22   114285          $19.00
370       8504   ONE BOX TV, LLC   06911373   3/11/2019   3/10/2019   05:40:44   TKTO          0058   MD028   Y   USA   MC       2474   12/22   007676          $19.00
371       8504   ONE BOX TV, LLC   06941583   3/11/2019    3/9/2019   12:02:11   TKTO          0057   MD028   Y   USA   VI       3202   10/20   030211          $19.00
372       8504   ONE BOX TV, LLC   06851001   3/11/2019    3/9/2019   11:55:38   SALE          CL01   MD028   N   USA   DB       3520   05/22   272059          $42.80
373       8504   ONE BOX TV, LLC   06851001   3/11/2019    3/9/2019   11:36:35   SALE          CL01   MD028   N   USA   DB       3202   10/20   132363         $304.95
374       8504   ONE BOX TV, LLC   06941583   3/11/2019    3/9/2019   08:50:59   TKTO          0057   MD028   Y   USA   VI       8387   09/22   01775C          $19.00
375       8504   ONE BOX TV, LLC   06941582   3/11/2019    3/9/2019   08:41:22   SALE          CL01   MD028   N   USA   VI       8387   09/22   03681C         $304.95
376       8504   ONE BOX TV, LLC   06941582   3/11/2019    3/9/2019   08:02:42   SALE          CL01   MD028   N   USA   VI       8848   09/19   009512         $304.95
377       8504   ONE BOX TV, LLC   06941583   3/11/2019    3/9/2019   04:20:22   TKTO          0057   MD028   Y   USA   VI       5847   02/23   009233          $27.00
378       8504   ONE BOX TV, LLC   06711256    3/9/2019    3/8/2019   12:31:19   SALE          CL01   MD028   N   USA   VI       9927   12/22   03578D         $476.15
379       8504   ONE BOX TV, LLC   06711257    3/9/2019    3/8/2019   12:26:35   TKTO          0056   MD028   Y   USA   VI       9927   12/22   09055D          $19.00
380       8504   ONE BOX TV, LLC   06711257    3/9/2019    3/8/2019   10:31:02   TKTO          0056   MD028   Y   USA   VI       9160   09/19   03064C          $19.00
381       8504   ONE BOX TV, LLC   06711257    3/9/2019    3/8/2019   10:02:20   TKTO          0056   MD028   Y   USA   VI       6086   07/21   21982D          $19.00
382       8504   ONE BOX TV, LLC   06711257    3/9/2019    3/8/2019   09:56:32   TKTO          0056   MD028   Y   USA   VI       6665   12/21   08975G          $19.00
383       8504   ONE BOX TV, LLC   06711257    3/9/2019    3/8/2019   03:50:26   TKTO          0056   MD028   Y   USA   VI       7222   07/23   00778D          $19.00
384       8504   ONE BOX TV, LLC   06711257    3/9/2019    3/8/2019   03:50:19   TKTO          0056   MD028   Y   USA   VI       8731   12/23   00563C          $19.00
385       8504   ONE BOX TV, LLC   06711257    3/9/2019    3/8/2019   03:50:16   TKTO          0056   MD028   Y   USA   VI       9457   12/22   00473G          $19.00
386       8504   ONE BOX TV, LLC   06711257    3/9/2019    3/8/2019   03:50:13   TKTO          0056   MD028   Y   USA   MC       4885   06/22   00832B          $19.00
387       8504   ONE BOX TV, LLC   06711257    3/9/2019    3/8/2019   03:50:09   TKTO          0056   MD028   Y   USA   VI       5293   05/20   085004          $19.00
388       8504   ONE BOX TV, LLC   06711257    3/9/2019    3/8/2019   03:50:08   TKTO          0056   MD028   Y   USA   VI       1504   10/20   85621D          $19.00
389       8504   ONE BOX TV, LLC   06611263    3/8/2019    3/7/2019   09:50:10   SALE          CL01   MD028   Y   USA   VI       0126   03/21   044232         $180.00
390       8504   ONE BOX TV, LLC   06511281    3/7/2019    3/6/2019   13:23:47   SALE          CL01   MD028   N   USA   DV       1068   10/21   00695P         $267.50
391       8504   ONE BOX TV, LLC   06511281    3/7/2019    3/6/2019   10:57:38   SALE          CL01   MD028   N   USA   MC       9786   02/23   07770Z         $160.50
392       8504   ONE BOX TV, LLC   06511281    3/7/2019    3/6/2019   07:45:14   SALE          CL01   MD028   N   USA   VI       5897   04/19   084514         $224.70
393       8504   ONE BOX TV, LLC   06511282    3/7/2019    3/6/2019   03:40:38   TKTO          0055   MD028   Y   USA   VI       8830   03/20   02554C          $19.00
394       8504   ONE BOX TV, LLC   06511282    3/7/2019    3/6/2019   03:40:34   TKTO          0055   MD028   Y   USA   VI       0970   05/23   006050          $19.00
395       8504   ONE BOX TV, LLC   06411228    3/6/2019    3/5/2019   12:54:48   TKTO          0054   MD028   Y   USA   VI       8763   10/22   08728D          $19.00
396       8504   ONE BOX TV, LLC   06411228    3/6/2019    3/5/2019   10:49:31   TKTO          0054   MD028   Y   USA   MC       1471   07/21   07936Z          $19.00
397       8504   ONE BOX TV, LLC   06411227    3/6/2019    3/5/2019   10:40:20   SALE          CL01   MD028   N   USA   MC       1471   07/21   00626Z          $14.98
398       8504   ONE BOX TV, LLC   06411227    3/6/2019    3/5/2019   10:37:43   SALE          CL01   MD028   Y   USA   AE       4934   10/26   824777         $199.02
399       8504   ONE BOX TV, LLC   06451001    3/6/2019    3/5/2019   10:29:58   SALE          CL01   MD028   N   USA   DB       6915   03/21   761379          $18.19
400       8504   ONE BOX TV, LLC   06411228    3/6/2019    3/5/2019   10:24:47   TKTO          0054   MD028   Y   GBR   AE       1007   01/23   163785          $19.00
401       8504   ONE BOX TV, LLC   06411228    3/6/2019    3/5/2019   04:08:37   TKTO          0054   MD028   Y   USA   VI       6841   01/20   05102C          $19.00
402       8504   ONE BOX TV, LLC   06411228    3/6/2019    3/5/2019   04:08:36   TKTO          0054   MD028   Y   USA   MC       5110   05/23   00529Z          $19.00
403       8504   ONE BOX TV, LLC   06411228    3/6/2019    3/5/2019   04:08:35   TKTO          0054   MD028   Y   USA   MC       9806   12/22   05052P          $19.00
404       8504   ONE BOX TV, LLC   06411228    3/6/2019    3/5/2019   04:08:35   TKTO          0054   MD028   Y   USA   MC       6982   09/22   00584Z          $19.00
405       8504   ONE BOX TV, LLC   06311137    3/5/2019    3/4/2019   03:25:50   TKTO          0053   MD028   Y   USA   VI       6216   11/22   085568          $19.00
406       8504   ONE BOX TV, LLC   06311137    3/5/2019    3/4/2019   03:25:46   TKTO          0053   MD028   Y   USA   VI       1151   09/19   111335          $19.00
407       8504   ONE BOX TV, LLC   06311137    3/5/2019    3/4/2019   03:25:42   TKTO          0053   MD028   Y   USA   MC       2145   02/22   26007P          $19.00
408       8504   ONE BOX TV, LLC   06311137    3/5/2019    3/4/2019   03:25:41   TKTO          0053   MD028   Y   USA   VI       3892   03/19   58448A          $19.00
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      A                     B          C          D            E          F        G    H     I      J     K    L    M    N            O        P     Q
409       8504   ONE BOX TV, LLC   06211392   3/4/2019     3/3/2019   14:12:46   SALE       CL01   MD028   Y   USA   VI       6874   06/21   061215        $13.91
410       8504   ONE BOX TV, LLC   06211392   3/4/2019     3/3/2019   14:04:45   SALE       CL01   MD028   Y   USA   VI       0126   03/21   046210       $180.00
411       8504   ONE BOX TV, LLC   06151001   3/4/2019    3/3/2019    12:39:56   SALE       CL01   MD028   N   USA   DB       1233   03/22   780869       $331.70
412       8504   ONE BOX TV, LLC   06151001   3/4/2019    3/3/2019    12:17:38   SALE       CL01   MD028   N   USA   DB       7068   09/22   231691        $13.91
413       8504   ONE BOX TV, LLC   06211393   3/4/2019    3/3/2019    12:06:38   TKTO       0052   MD028   Y   USA   MC       3211   10/22   00339Z        $19.00
414       8504   ONE BOX TV, LLC   06211393   3/4/2019    3/3/2019    11:59:02   TKTO       0052   MD028   Y   USA   MC       1961   08/22   008366        $27.00
415       8504   ONE BOX TV, LLC   06211392   3/4/2019     3/3/2019   11:56:19   SALE       CL01   MD028   N   USA   MC       3211   10/22   00365Z       $267.50
416       8504   ONE BOX TV, LLC   06211393   3/4/2019     3/3/2019   11:45:31   TKTO       0052   MD028   Y   USA   VI       3518   11/20   07602C        $19.00
417       8504   ONE BOX TV, LLC   06151001   3/4/2019     3/3/2019   11:35:04   SALE       CL01   MD028   N   USA   DB       1961   08/22   170238       $224.70
418       8504   ONE BOX TV, LLC   06151001   3/4/2019     3/3/2019   11:18:08   SALE       CL01   MD028   N   USA   DB       0985   06/22   082437       $449.40
419       8504   ONE BOX TV, LLC   06211393   3/4/2019     3/3/2019   11:06:15   TKTO       0052   MD028   Y   USA   MC       1388   11/23   08246P        $19.00
420       8504   ONE BOX TV, LLC   06211393   3/4/2019     3/3/2019   03:34:35   TKTO       0052   MD028   Y   USA   VI       2251   01/24   00872D        $19.00
421       8504   ONE BOX TV, LLC   06241599    3/4/2019    3/2/2019   14:55:18   TKTO       0051   MD028   Y   USA   MC       7586   01/23   089059        $19.00
422       8504   ONE BOX TV, LLC   06241598    3/4/2019    3/2/2019   14:48:06   SALE       CL01   MD028   N   USA   MC       3641   06/20   044806       $304.95
423       8504   ONE BOX TV, LLC   06151001    3/4/2019    3/2/2019   14:09:25   SALE       CL01   MD028   N   USA   DB       2452   06/22   682549       $304.95
424       8504   ONE BOX TV, LLC   06241599    3/4/2019    3/2/2019   13:41:45   TKTO       0051   MD028   Y   USA   VI       0194   06/23   00524C        $19.00
425       8504   ONE BOX TV, LLC   06241599    3/4/2019    3/2/2019   13:01:50   TKTO       0051   MD028   Y   USA   VI       5278   07/21   014968        $19.00
426       8504   ONE BOX TV, LLC   06151001    3/4/2019    3/2/2019   13:00:28   SALE       CL01   MD028   N   USA   DB       6874   06/21   072560        $37.45
427       8504   ONE BOX TV, LLC   06151001    3/4/2019    3/2/2019   12:55:34   SALE       CL01   MD028   N   USA   DB       5278   07/21   471426       $551.05
428       8504   ONE BOX TV, LLC   06241599    3/4/2019    3/2/2019   11:56:44   TKTO       0051   MD028   Y   USA   VI       6874   06/21   045612        $27.00
429       8504   ONE BOX TV, LLC   06241599    3/4/2019    3/2/2019   11:51:12   TKTO       0051   MD028   Y   USA   VI       5226   03/21   046424        $19.00
430       8504   ONE BOX TV, LLC   06151001    3/4/2019    3/2/2019   11:44:45   SALE       CL01   MD028   N   USA   DB       6874   06/21   270737       $631.30
431       8504   ONE BOX TV, LLC   06241599    3/4/2019    3/2/2019   04:38:57   TKTO       0051   MD028   Y   USA   MC       3827   01/22   275057        $19.00
432       8504   ONE BOX TV, LLC   06241599    3/4/2019    3/2/2019   04:38:56   TKTO       0051   MD028   Y   USA   MC       6954   01/23   020337        $19.00
433       8504   ONE BOX TV, LLC   06241598    3/4/2019    3/1/2019   18:22:43   SALE       CL01   MD028   Y   USA   VI       0126   03/21   072721       $180.00
434       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   15:48:47   TKTO       0050   MD028   Y   USA   VI       3438   03/23   08472D        $19.00
435       8504   ONE BOX TV, LLC   06011233    3/2/2019    3/1/2019   14:47:42   SALE       CL01   MD028   N   USA   VI       4085   03/23   06956A       $160.50
436       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   14:32:56   TKTO       0050   MD028   Y   USA   VI       1899   03/21   46400D        $19.00
437       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   14:02:35   TKTO       0050   MD028   Y   USA   VI       4207   11/22   88316G         $9.50
438       8504   ONE BOX TV, LLC   06011233    3/2/2019    3/1/2019   13:55:25   SALE       CL01   MD028   N   USA   VI       4207   11/22   68894G       $304.95
439       8504   ONE BOX TV, LLC   06051001    3/2/2019    3/1/2019   12:29:21   SALE       CL01   MD028   N   USA   DB       9555   10/19   480425       $267.50
440       8504   ONE BOX TV, LLC   06011233    3/2/2019    3/1/2019   11:46:12   SALE       CL01   MD028   N   USA   VI       0971   11/23   08376C       $144.45
441       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   09:48:09   TKTO       0050   MD028   Y   CAN   VI       7809   05/21   062266        $19.00
442       8504   ONE BOX TV, LLC   06011233    3/2/2019    3/1/2019   09:30:25   SALE       CL01   MD028   N   CAN   VI       7809   05/21   007540       $187.25
443       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   07:47:31   TKTO       0050   MD028   Y   USA   DV       8821   08/21   00137R        $19.00
444       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   07:12:45   TKTO       0050   MD028   Y   USA   MC       2217   08/22   00141G        $19.00
445       8504   ONE BOX TV, LLC   06011234   3/2/2019     3/1/2019   07:12:14   TKTO       0050   MD028   Y   USA   VI       3780   12/23   06433C        $19.00
446       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   07:12:09   TKTO       0050   MD028   Y   USA   VI       6050   08/22   131324        $19.00
447       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   07:12:07   TKTO       0050   MD028   Y   CAN   VI       7809   05/21   062266        $19.00
448       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   07:11:58   TKTO       0050   MD028   Y   USA   VI       0971   11/23   04740C        $19.00
449       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   07:11:52   TKTO       0050   MD028   Y   USA   MC       3601   05/22   045778        $19.00
450       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   07:11:50   TKTO       0050   MD028   Y   USA   VI       0432   12/20   001501        $19.00
451       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   07:11:48   TKTO       0050   MD028   Y   CAN   MC       7168   07/20   04443B        $19.00
452       8504   ONE BOX TV, LLC   05911270    3/1/2019   2/28/2019   13:16:01   TKTO       0049   MD028   Y   USA   DV       3680   02/22   02888R        $19.00
453       8504   ONE BOX TV, LLC   05911269    3/1/2019   2/28/2019   12:58:45   SALE       CL01   MD028   N   USA   MC       1267   01/22   02846P       $395.90
454       8504   ONE BOX TV, LLC   05911270    3/1/2019   2/28/2019   05:45:13   TKTO       0049   MD028   Y   USA   VI       5207   08/21   431902        $19.00
455       8504   ONE BOX TV, LLC   05911270    3/1/2019   2/28/2019   05:44:27   TKTO       0049   MD028   Y   USA   MC       7583   05/23   02822Z        $19.00
456       8504   ONE BOX TV, LLC   05911270    3/1/2019   2/28/2019   05:43:57   TKTO       0049   MD028   Y   USA   VI       8687   12/23   00703A        $19.00
457       8504   ONE BOX TV, LLC   05911270    3/1/2019   2/28/2019   05:43:35   TKTO       0049   MD028   Y   USA   VI       1282   06/23   00066B        $19.00
458       8504   ONE BOX TV, LLC   05911270    3/1/2019   2/28/2019   05:43:16   TKTO       0049   MD028   Y   USA   VI       7894   09/22   064315        $19.00
459       8504   ONE BOX TV, LLC   05911269    3/1/2019   2/27/2019   17:53:21   SALE       CL01   MD028   Y   USA   VI       0126   03/21   066561       $180.00
460       8504   ONE BOX TV, LLC   05811294   2/28/2019   2/27/2019   13:42:35   SALE       CL01   MD028   N   USA   AE       2006   01/24   869448       $224.70
461       8504   ONE BOX TV, LLC   05811294   2/28/2019   2/27/2019   12:39:35   SALE       CL01   MD028   N   USA   VI       8941   03/22   52436D       $224.70
462       8504   ONE BOX TV, LLC   05811295   2/28/2019   2/27/2019   12:15:42   TKTO       0048   MD028   Y   USA   MC       3999   05/21   06257B        $19.00
463       8504   ONE BOX TV, LLC   05811295   2/28/2019   2/27/2019   04:11:35   TKTO       0048   MD028   Y   USA   DV       7564   08/23   02782B        $19.00
464       8504   ONE BOX TV, LLC   05711232   2/27/2019   2/26/2019   13:44:54   SALE       CL01   MD028   Y   USA   VI       6077   04/22   438278       $160.00
465       8504   ONE BOX TV, LLC   05711233   2/27/2019   2/26/2019   11:00:13   TKTO       0047   MD028   Y   USA   VI       1445   07/19   33330D        $19.00
466       8504   ONE BOX TV, LLC   05711233   2/27/2019   2/26/2019   10:41:44   TKTO       0047   MD028   Y   USA   MC       4002   04/22   04339P        $19.00
467       8504   ONE BOX TV, LLC   05711232   2/27/2019   2/26/2019   10:30:38   SALE       CL01   MD028   N   USA   MC       4002   04/22   01181P       $304.95
468       8504   ONE BOX TV, LLC   05711233   2/27/2019   2/26/2019   04:18:50   TKTO       0047   MD028   Y   USA   AE       1007   01/20   185152        $19.00
469       8504   ONE BOX TV, LLC   05711233   2/27/2019   2/26/2019   04:18:46   TKTO       0047   MD028   Y   USA   VI       3606   01/20   051805        $19.00
470       8504   ONE BOX TV, LLC   05711233   2/27/2019   2/26/2019   04:18:38   TKTO       0047   MD028   Y   USA   VI       8253   04/23   022157        $19.00
471       8504   ONE BOX TV, LLC   05611176   2/26/2019   2/25/2019   03:50:06   TKTO       0046   MD028   Y   USA   VI       5511   04/20   07181D        $19.00
472       8504   ONE BOX TV, LLC   05511383   2/25/2019   2/24/2019   12:39:56   TKTO       0045   MD028   Y   USA   MC       4581   06/21   02404B        $19.00
473       8504   ONE BOX TV, LLC   05511382   2/25/2019   2/24/2019   11:50:26   SALE       CL01   MD028   N   USA   VI       3976   11/23   00783C       $224.70
474       8504   ONE BOX TV, LLC   05511383   2/25/2019   2/24/2019   10:30:14   TKTO       0045   MD028   Y   USA   VI       8310   02/20   024640        $19.00
475       8504   ONE BOX TV, LLC   05511383   2/25/2019   2/24/2019   07:57:11   TKTO       0045   MD028   Y   USA   VI       5886   03/20   175172        $19.00
476       8504   ONE BOX TV, LLC   05511383   2/25/2019   2/24/2019   04:08:54   TKTO       0045   MD028   Y   USA   AE       1006   06/22   169096        $19.00
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      A                     B          C          D           E           F        G    H     I      J     K    L    M    N            O        P      Q
477       8504   ONE BOX TV, LLC   05511383   2/25/2019   2/24/2019   04:08:47   TKTO       0045   MD028   Y   USA   VI       3278   07/20   56507D           $19.00
478       8504   ONE BOX TV, LLC   05541560   2/25/2019   2/23/2019   12:40:05   SALE       CL01   MD028   N   USA   VI       1402   03/22   00180B         $449.40
479       8504   ONE BOX TV, LLC   05541561   2/25/2019   2/23/2019   12:28:07   TKTO       0044   MD028   Y   USA   MC       9800   08/21   21328Z           $19.00
480       8504   ONE BOX TV, LLC   05541561   2/25/2019   2/23/2019   04:39:42   TKTO       0044   MD028   Y   USA   DV       8987   03/22   02353R           $19.00
481       8504   ONE BOX TV, LLC   05541561   2/25/2019   2/23/2019   04:39:42   TKTO       0044   MD028   Y   USA   MC       9040   10/20   07448Z           $19.00
482       8504   ONE BOX TV, LLC   05311193   2/23/2019   2/22/2019   14:23:51   TKTO       0043   MD028   Y   USA   VI       8375   05/19   00541D           $19.00
483       8504   ONE BOX TV, LLC   05311193   2/23/2019   2/22/2019   14:01:35   TKTO       0043   MD028   Y   USA   MC       9467   07/22   04055B           $19.00
484       8504   ONE BOX TV, LLC   05311192   2/23/2019   2/22/2019   13:56:35   SALE       CL01   MD028   N   USA   MC       5621   12/19   57490P         $160.50
485       8504   ONE BOX TV, LLC   05311192   2/23/2019   2/22/2019   13:38:48   SALE       CL01   MD028   N   USA   MC       9467   07/22   05476B         $304.95
486       8504   ONE BOX TV, LLC   05311192   2/23/2019   2/22/2019   13:13:04   SALE       CL01   MD028   N   USA   VI       8762   05/22   09147G           $16.05
487       8504   ONE BOX TV, LLC   05311193   2/23/2019   2/22/2019   13:04:07   TKTO       0043   MD028   Y   USA   AE       2002   11/22   126804           $19.00
488       8504   ONE BOX TV, LLC   05311193   2/23/2019   2/22/2019   11:41:37   TKTO       0043   MD028   Y   USA   VI       8651   04/20   022502           $19.00
489       8504   ONE BOX TV, LLC   05311192   2/23/2019   2/22/2019   10:18:21   SALE       CL01   MD028   N   USA   VI       4131   11/21   022782        $1,289.35
490       8504   ONE BOX TV, LLC   05311193   2/23/2019   2/22/2019   09:19:01   TKTO       0043   MD028   Y   USA   VI       3184   11/23   07045D           $19.00
491       8504   ONE BOX TV, LLC   05311193   2/23/2019   2/22/2019   04:02:04   TKTO       0043   MD028   Y   USA   VI       8552   03/21   160229           $19.00
492       8504   ONE BOX TV, LLC   05311193   2/23/2019   2/22/2019   04:01:55   TKTO       0043   MD028   Y   USA   MC       4653   06/23   04650P           $19.00
493       8504   ONE BOX TV, LLC   05311193   2/23/2019   2/22/2019   04:01:54   TKTO       0043   MD028   Y   USA   VI       6670   11/20   H42123           $19.00
494       8504   ONE BOX TV, LLC   05211251   2/22/2019   2/21/2019   10:26:58   TKTO       0042   MD028   Y   USA   DV       6527   08/21   02179P           $19.00
495       8504   ONE BOX TV, LLC   05211251   2/22/2019   2/21/2019   03:49:50   TKTO       0042   MD028   Y   USA   VI       7216   02/21   021527           $19.00
496       8504   ONE BOX TV, LLC   05111215   2/21/2019   2/20/2019   13:11:22   TKTO       0041   MD028   Y   USA   VI       5171   12/20   041121           $19.00
497       8504   ONE BOX TV, LLC   05111214   2/21/2019   2/20/2019   12:59:18   SALE       CL01   MD028   N   USA   MC       8612   01/21   393314         $304.95
498       8504   ONE BOX TV, LLC   05111215   2/21/2019   2/20/2019   12:24:08   TKTO       0041   MD028   Y   USA   MC       8612   01/21   393788           $19.00
499       8504   ONE BOX TV, LLC   05111215   2/21/2019   2/20/2019   10:21:17   TKTO       0041   MD028   Y   USA   VI       7461   08/20   010212           $19.00
500       8504   ONE BOX TV, LLC   05011220   2/20/2019   2/19/2019   14:03:09   TKTO       0040   MD028   Y   USA   MC       0026   08/22   09614P           $19.00
501       8504   ONE BOX TV, LLC   05011219   2/20/2019   2/19/2019   11:12:58   SALE       CL01   MD028   N   USA   VI       4715   07/23    07759I        $187.25
502       8504   ONE BOX TV, LLC   05011219   2/20/2019   2/19/2019   10:24:23   SALE       CL01   MD028   N   USA   MC       0306   10/21   68324P         $187.25
503       8504   ONE BOX TV, LLC   05011219   2/20/2019   2/19/2019   10:22:52   SALE       CL01   MD028   N   USA   VI       6274   08/23   01331D         $187.25
504       8504   ONE BOX TV, LLC   05011220   2/20/2019   2/19/2019   04:24:28   TKTO       0040   MD028   Y   USA   VI       5627   10/19   02861C           $19.00
505       8504   ONE BOX TV, LLC   05011220   2/20/2019   2/19/2019   04:24:28   TKTO       0040   MD028   Y   USA   VI       7662   07/23   02859C           $19.00
506       8504   ONE BOX TV, LLC   05011220   2/20/2019   2/19/2019   04:24:27   TKTO       0040   MD028   Y   USA   DV       7487   09/20   01978R           $19.00
507       8504   ONE BOX TV, LLC   05011220   2/20/2019   2/19/2019   04:24:26   TKTO       0040   MD028   Y   USA   VI       9769   03/22   192842           $19.00
508       8504   ONE BOX TV, LLC   05011220   2/20/2019   2/19/2019   04:24:24   TKTO       0040   MD028   Y   USA   VI       4131   11/21   019222           $19.00
509       8504   ONE BOX TV, LLC   04911072   2/19/2019   2/18/2019   13:01:14   TKTO       0039   MD028   Y   USA   MC       4364   04/23   03429P           $19.00
510       8504   ONE BOX TV, LLC   04911072   2/19/2019   2/18/2019   03:47:42   TKTO       0039   MD028   Y   USA   DV       9121   10/22   01881R           $19.00
511       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   16:00:59   TKTO       0038   MD028   Y   USA   VI       6484   03/22   96902C           $19.00
512       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   13:01:41   TKTO       0038   MD028   Y   USA   VI       1907   07/23   04234D           $19.00
513       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   12:31:43   TKTO       0038   MD028   Y   USA   VI       2628   04/22   04305D           $19.00
514       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   12:13:30   TKTO       0038   MD028   Y   USA   VI       0919   10/21   09908C           $19.00
515       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   11:03:18   TKTO       0038   MD028   Y   USA   VI       5441   06/22   050763           $19.00
516       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   10:30:25   TKTO       0038   MD028   Y   USA   VI       8929   04/20   00754C           $19.00
517       8504   ONE BOX TV, LLC   04811365   2/18/2019   2/17/2019   10:22:38   SALE       CL01   MD028   N   USA   VI       8929   04/20   07164C         $187.25
518       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   09:29:28   TKTO       0038   MD028   Y   USA   MC       7225   10/22   07840P           $19.00
519       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   09:16:11   TKTO       0038   MD028   Y   USA   VI       2125   11/22   08353D           $19.00
520       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   09:12:11   TKTO       0038   MD028   Y   USA   DV       9717   02/23   01766R           $19.00
521       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   09:11:47   TKTO       0038   MD028   Y   USA   VI       9154   12/20   04426C           $19.00
522       8504   ONE BOX TV, LLC   04811365   2/18/2019   2/17/2019   08:45:41   SALE       CL01   MD028   Y   USA   VI       2200   11/19   056058         $220.00
523       8504   ONE BOX TV, LLC   04811365   2/18/2019   2/17/2019   08:42:24   SALE       CL01   MD028   N   USA   VI       2125   11/22   06727D         $187.25
524       8504   ONE BOX TV, LLC   04811365   2/18/2019   2/17/2019   08:40:43   SALE       CL01   MD028   N   USA   VI       9154   12/20   01308C         $187.25
525       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   04:30:57   TKTO       0038   MD028   Y   USA   MC       8098   10/21   01731Z           $19.00
526       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   04:30:51   TKTO       0038   MD028   Y   USA   VI       8973   06/20   053051           $19.00
527       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   04:30:42   TKTO       0038   MD028   Y   USA   VI       6551   05/20   019981           $19.00
528       8504   ONE BOX TV, LLC   04841475   2/18/2019   2/16/2019   14:28:09   TKTO       0037   MD028   Y   USA   VI       9911   02/22   58662D           $19.00
529       8504   ONE BOX TV, LLC   04841475   2/18/2019   2/16/2019   13:51:36   TKTO       0037   MD028   Y   CAN   VI       9016   10/20   469775           $19.00
530       8504   ONE BOX TV, LLC   04841474   2/18/2019   2/16/2019   13:40:06   SALE       CL01   MD028   N   CAN   VI       9016   10/20   448692         $652.70
531       8504   ONE BOX TV, LLC   04841475   2/18/2019   2/16/2019   13:04:07   TKTO       0037   MD028   Y   USA   MC       2785   04/23   08357S           $19.00
532       8504   ONE BOX TV, LLC   04841475   2/18/2019   2/16/2019   12:04:47   TKTO       0037   MD028   Y   USA   VI       1976   07/19   01620D           $19.00
533       8504   ONE BOX TV, LLC   04841475   2/18/2019   2/16/2019   10:26:38   TKTO       0037   MD028   Y   USA   DV       4340   04/21   01678R           $19.00
534       8504   ONE BOX TV, LLC   04841475   2/18/2019   2/16/2019   10:05:40   TKTO       0037   MD028   Y   USA   VI       7700   11/22   06198D           $19.00
535       8504   ONE BOX TV, LLC   04841474   2/18/2019   2/16/2019   10:01:48   SALE       CL01   MD028   N   USA   DV       1782   09/23   01632R         $374.50
536       8504   ONE BOX TV, LLC   04841474   2/18/2019   2/16/2019   09:44:27   SALE       CL01   MD028   N   USA   VI       7700   11/22   02823D         $304.95
537       8504   ONE BOX TV, LLC   04841474   2/18/2019   2/16/2019   08:55:29   SALE       CL01   MD028   N   USA   DV       4340   04/21   01610R         $187.25
538       8504   ONE BOX TV, LLC   04841475   2/18/2019   2/16/2019   04:04:15   TKTO       0037   MD028   Y   USA   VI       4914   09/20   55995D           $19.00
539       8504   ONE BOX TV, LLC   04611233   2/16/2019   2/15/2019   14:14:53   TKTO       0036   MD028   Y   USA   MC       9800   02/21   07587Z           $19.00
540       8504   ONE BOX TV, LLC   04611232   2/16/2019   2/15/2019   13:12:27   SALE       CL01   MD028   N   USA   AE       1004   05/20   853548         $224.70
541       8504   ONE BOX TV, LLC   04611233   2/16/2019   2/15/2019   11:57:08   TKTO       0036   MD028   Y   USA   VI       4710   11/20   01252C           $19.00
542       8504   ONE BOX TV, LLC   04611233   2/16/2019   2/15/2019   11:44:00   TKTO       0036   MD028   Y   USA   VI       9063   09/22   00799D           $19.00
543       8504   ONE BOX TV, LLC   04611233   2/16/2019   2/15/2019   11:43:31   TKTO       0036   MD028   Y   USA   VI       6274   08/23   05772D           $19.00
544       8504   ONE BOX TV, LLC   04611233   2/16/2019   2/15/2019   11:40:19   TKTO       0036   MD028   Y   USA   VI        051   05/23   00579D           $19.00
                         Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 188 of 460 PageID 265



      A                     B          C          D            E          F        G    H     I      J     K    L    M    N            O         P     Q
545       8504   ONE BOX TV, LLC   04611232   2/16/2019   2/15/2019   11:34:26   SALE       CL01   MD028   N   USA   VI       6274   08/23   05137D        $267.50
546       8504   ONE BOX TV, LLC   04611233   2/16/2019   2/15/2019   10:38:34   TKTO       0036   MD028   Y   USA   MC       3841   11/19   015474         $19.00
547       8504   ONE BOX TV, LLC   04611232   2/16/2019   2/15/2019   10:36:13   SALE       CL01   MD028   N   CAN   VI       9028   10/19    051773       $224.70
548       8504   ONE BOX TV, LLC   04611233   2/16/2019   2/15/2019   09:19:02   TKTO       0036   MD028   Y   USA   VI       2144   10/22   001137         $19.00
549       8504   ONE BOX TV, LLC   04611233   2/16/2019   2/15/2019   05:32:37   TKTO       0036   MD028   Y   USA   MC       2790   08/22   07133P         $19.00
550       8504   ONE BOX TV, LLC   04611233   2/16/2019   2/15/2019   05:32:20   TKTO       0036   MD028   Y   USA   MC       9968   11/21   83370B         $19.00
551       8504   ONE BOX TV, LLC   04611233   2/16/2019   2/14/2019   17:13:53   TKTO       0036   MD028   Y   USA   VI       6075   04/22   131132         $27.00
552       8504   ONE BOX TV, LLC   04511237   2/15/2019   2/14/2019   11:58:36   TKTO       0035   MD028   Y   USA   VI       4033   04/22   049634         $19.00
553       8504   ONE BOX TV, LLC   04551001   2/15/2019   2/14/2019   11:51:15   SALE       CL01   MD028   N   USA   DB       4033   04/22    031390       $267.50
554       8504   ONE BOX TV, LLC   04511237   2/15/2019   2/14/2019   11:15:39   TKTO       0035   MD028   Y   USA   VI       4190   02/22   06173C         $19.00
555       8504   ONE BOX TV, LLC   04511236   2/15/2019   2/14/2019   10:48:42   SALE       CL01   MD028   N   USA   VI       4190   02/22    05288C       $208.65
556       8504   ONE BOX TV, LLC   04511237   2/15/2019   2/14/2019   03:36:34   TKTO       0035   MD028   Y   USA   MC       9538   02/22   01464P         $19.00
557       8504   ONE BOX TV, LLC   04511237   2/15/2019   2/14/2019   03:36:29   TKTO       0035   MD028   Y   USA   DV       0396   01/22   01420P         $19.00
558       8504   ONE BOX TV, LLC   04411277   2/14/2019   2/13/2019   14:44:44   TKTO       0034   MD028   Y   USA   MC       5403   02/20   599050         $19.00
559       8504   ONE BOX TV, LLC   04411276   2/14/2019   2/13/2019   14:40:51   SALE       CL01   MD028   N   USA   MC       7618   09/19    01555Z       $508.25
560       8504   ONE BOX TV, LLC   04411276   2/14/2019   2/13/2019   14:13:46   SALE       CL01   MD028   N   USA   MC       6114   02/21    47519P       $406.60
561       8504   ONE BOX TV, LLC   04411276   2/14/2019   2/13/2019   14:11:27   SALE       CL01   MD028   N   USA   VI       5051   05/23   03840D        $609.90
562       8504   ONE BOX TV, LLC   04411276   2/14/2019   2/13/2019   13:55:27   SALE       CL01   MD028   N   USA   VI       6623   10/20    313155       $192.60
563       8504   ONE BOX TV, LLC   04411276   2/14/2019   2/13/2019   12:18:34   SALE       CL01   MD028   N   USA   VI       8456   11/22    00027C       $117.70
564       8504   ONE BOX TV, LLC   04411276   2/14/2019   2/13/2019   11:33:47   SALE       CL01   MD028   N   USA   VI       3267   10/22   00432G        $224.70
565       8504   ONE BOX TV, LLC   04411276   2/14/2019   2/13/2019   11:22:54   SALE       CL01   MD028   N   USA   VI       2517   06/20    07650C        $16.05
566       8504   ONE BOX TV, LLC   04411277   2/14/2019   2/13/2019   11:17:27   TKTO       0034   MD028   Y   USA   VI       9394   12/23   000572         $19.00
567       8504   ONE BOX TV, LLC   04411276   2/14/2019   2/13/2019   10:02:31   SALE       CL01   MD028   N   USA   VI       6484   03/22    02824C       $267.50
568       8504   ONE BOX TV, LLC   04411276   2/14/2019   2/13/2019   09:59:10   SALE       CL01   MD028   N   USA   VI       1061   05/23    07303C       $187.25
569       8504   ONE BOX TV, LLC   04451001   2/14/2019   2/13/2019   08:20:09   SALE       CL01   MD028   N   USA   DB       2179   03/23    131198       $224.70
570       8504   ONE BOX TV, LLC   04451001   2/14/2019   2/13/2019   08:17:41   SALE       CL01   MD028   N   USA   DB       0488   07/21    962837       $187.25
571       8504   ONE BOX TV, LLC   04411277   2/14/2019   2/13/2019   08:14:59   TKTO       0034   MD028   Y   USA   VI       2179   03/23   H83421         $19.00
572       8504   ONE BOX TV, LLC   04311173   2/13/2019   2/12/2019   14:13:09   SALE       CL01   MD028   N   USA   VI       4845   08/23   09286D        $139.10
573       8504   ONE BOX TV, LLC   04311174   2/13/2019   2/12/2019   14:00:26   TKTO       0033   MD028   Y   USA   VI       1872   01/23   057124         $19.00
574       8504   ONE BOX TV, LLC   04311174   2/13/2019   2/12/2019   13:46:15   TKTO       0033   MD028   Y   USA   VI       4845   08/23   08451D         $19.00
575       8504   ONE BOX TV, LLC   04311173   2/13/2019   2/12/2019   10:56:22   SALE       CL01   MD028   N   CAN   VI       9028   10/19    022982       $240.43
576       8504   ONE BOX TV, LLC   04311174   2/13/2019   2/12/2019   10:49:12   TKTO       0033   MD028   Y   CAN   VI       9028   10/19   022551         $19.00
577       8504   ONE BOX TV, LLC   04311173   2/13/2019   2/12/2019   10:30:09   SALE       CL01   MD028   N   USA   AE       1003   11/20    880392        $42.80
578       8504   ONE BOX TV, LLC   04311174   2/13/2019   2/12/2019   03:22:59   TKTO       0033   MD028   Y   USA   VI       4832   11/22   07761C         $19.00
579       8504   ONE BOX TV, LLC   04311174   2/13/2019   2/12/2019   03:22:59   TKTO       0033   MD028   Y   USA   MC       2523   02/23   01965M         $19.00
580       8504   ONE BOX TV, LLC   04311174   2/13/2019   2/12/2019   03:22:58   TKTO       0033   MD028   Y   USA   VI       1681   02/23   07752C         $19.00
581       8504   ONE BOX TV, LLC   04311174   2/13/2019   2/12/2019   03:22:56   TKTO       0033   MD028   Y   USA   MC       8380   10/20   23129P         $19.00
582       8504   ONE BOX TV, LLC   04311174   2/13/2019   2/12/2019   03:22:55   TKTO       0033   MD028   Y   USA   VI       2252   10/23   07641D         $19.00
583       8504   ONE BOX TV, LLC   04311174   2/13/2019   2/12/2019   03:22:54   TKTO       0033   MD028   Y   USA   AE       4016   11/21   185903         $19.00
584       8504   ONE BOX TV, LLC   04211179   2/12/2019   2/11/2019   03:40:52   TKTO       0032   MD028   Y   USA   VI       7565   01/20   738376         $19.00
585       8504   ONE BOX TV, LLC   04211179   2/12/2019   2/11/2019   03:40:48   TKTO       0032   MD028   Y   USA   AE       4001   05/23   142281         $19.00
586       8504   ONE BOX TV, LLC   04211179   2/12/2019   2/11/2019   03:40:47   TKTO       0032   MD028   Y   USA   AE       1000   02/20   165387         $19.00
587       8504   ONE BOX TV, LLC   04211179   2/12/2019   2/11/2019   03:40:44   TKTO       0032   MD028   Y   USA   MC       8416   06/21   30110Z         $19.00
588       8504   ONE BOX TV, LLC   04211179   2/12/2019   2/10/2019   16:41:20   TKTO       0032   MD028   Y   USA   VI       6950   10/21   171948         $19.00
589       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   14:22:44   TKTO       0031   MD028   Y   USA   VI       5322   01/22    010883        $19.00
590       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   14:13:47   TKTO       0031   MD028   Y   USA   VI       9507   01/23    191935        $19.00
591       8504   ONE BOX TV, LLC   04111407   2/11/2019   2/10/2019   14:08:47   SALE       CL01   MD028   N   USA   VI       5322   01/22    010176       $280.00
592       8504   ONE BOX TV, LLC   04051001   2/11/2019   2/10/2019   13:53:46   SALE       CL01   MD028   N   USA   DB       9507   01/23    572910       $285.00
593       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   13:50:28   TKTO       0031   MD028   Y   USA   AE       1003   07/25    115315        $19.00
594       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   13:44:01   TKTO       0031   MD028   Y   USA   VI       5693   09/19    065952        $19.00
595       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   13:37:24   TKTO       0031   MD028   Y   CAN   MC       5696   03/19    01730Z        $19.00
596       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   12:24:53   TKTO       0031   MD028   Y   USA   VI       0423   05/21    048425        $19.00
597       8504   ONE BOX TV, LLC   04051001   2/11/2019   2/10/2019   12:19:28   SALE       CL01   MD028   N   USA   DB       8306   07/22    260836        $94.95
598       8504   ONE BOX TV, LLC   04111407   2/11/2019   2/10/2019   12:02:23   SALE       CL01   MD028   N   USA   AE       1003   11/20    825180       $187.25
599       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   11:17:07   TKTO       0031   MD028   Y   USA   MC       7703   09/19    02370Z        $19.00
600       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   08:50:55   TKTO       0031   MD028   Y   USA   MC       3973   09/21    021005        $19.00
601       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   03:48:57   TKTO       0031   MD028   Y   USA   VI       1086   05/23   05709D         $19.00
602       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   03:48:50   TKTO       0031   MD028   Y   USA   AE       2006   09/22    165195        $19.00
603       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   03:48:43   TKTO       0031   MD028   Y   USA   VI       7590   09/20    010050        $19.00
604       8504   ONE BOX TV, LLC   04111407   2/11/2019    2/9/2019   16:48:43   SALE       CL01   MD028   Y   USA   MC       8994   02/24    08077P       $620.00
605       8504   ONE BOX TV, LLC   04051001   2/11/2019    2/9/2019   14:20:43   SALE       CL01   MD028   N   USA   DB       1228   08/21    861255       $267.50
606       8504   ONE BOX TV, LLC   04141485   2/11/2019    2/9/2019   14:15:03   SALE       CL01   MD028   N   USA   AE       1004   05/20    867602       $267.50
607       8504   ONE BOX TV, LLC   04141485   2/11/2019    2/9/2019   11:53:39   SALE       CL01   MD028   N   USA   MC       8094   05/23    02817S       $267.50
608       8504   ONE BOX TV, LLC   04141485   2/11/2019    2/9/2019   10:13:12   SALE       CL01   MD028   N   USA   DV       3590   10/20    00902R       $374.50
609       8504   ONE BOX TV, LLC   04141486   2/11/2019    2/9/2019   03:37:31   TKTO       0030   MD028   Y   USA   AE       1009   09/22    147615        $19.00
610       8504   ONE BOX TV, LLC   04141486   2/11/2019    2/9/2019   03:37:28   TKTO       0030   MD028   Y   USA   VI       5943   05/23   01839G         $19.00
611       8504   ONE BOX TV, LLC   04141486   2/11/2019    2/9/2019   03:37:25   TKTO       0030   MD028   Y   USA   VI       2695   06/22   49380D         $19.00
612       8504   ONE BOX TV, LLC   04141486   2/11/2019    2/9/2019   03:37:24   TKTO       0030   MD028   Y   USA   VI       3679   12/23    397496        $19.00
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      A                     B          C          D            E          F        G     H       I      J     K    L    M    N            O        P     Q
613       8504   ONE BOX TV, LLC   04141486   2/11/2019    2/9/2019   03:37:23   TKTO          0030   MD028   Y   USA   VI       9794   02/22   023616         $19.00
614       8504   ONE BOX TV, LLC   04141486   2/11/2019    2/8/2019   18:02:57   TKTO          0030   MD028   Y   USA   VI       9208   05/23   054997          $9.50
615       8504   ONE BOX TV, LLC   03911282    2/9/2019    2/8/2019   14:34:15   TKTO          0029   MD028   Y   USA   VI       7890   11/23   02451C         $19.00
616       8504   ONE BOX TV, LLC   03951001    2/9/2019    2/8/2019   13:32:44   SALE          CL01   MD028   N   USA   DB       1597   02/21   470992         $16.05
617       8504   ONE BOX TV, LLC   03911282    2/9/2019    2/8/2019   12:33:59   TKTO          0029   MD028   Y   USA   MC       6104   07/23   00769Z         $19.00
618       8504   ONE BOX TV, LLC   03911282    2/9/2019    2/8/2019   12:17:54   TKTO          0029   MD028   Y   USA   VI       1462   04/22   131174         $19.00
619       8504   ONE BOX TV, LLC   03951001    2/9/2019    2/8/2019   10:38:44   SALE          CL01   MD028   N   USA   DB       2662   05/22   332080       $267.50
620       8504   ONE BOX TV, LLC   03911282    2/9/2019    2/8/2019   04:53:52   TKTO          0029   MD028   Y   USA   MC       2474   12/22   006018         $19.00
621       8504   ONE BOX TV, LLC   03811262    2/8/2019    2/7/2019   11:42:00   SALE          CL01   MD028   N   CAN   MC       5696   03/19   06032Z       $442.98
622       8504   ONE BOX TV, LLC   03811263    2/8/2019    2/7/2019   10:44:48   TKTO          0028   MD028   Y   USA   VI       5847   02/23   007073         $27.00
623       8504   ONE BOX TV, LLC   03811262    2/8/2019    2/7/2019   10:36:48   SALE          CL01   MD028   N   USA   VI       5847   02/23   007280       $920.20
624       8504   ONE BOX TV, LLC   03811262    2/8/2019    2/7/2019   10:12:48   SALE          CL01   MD028   N   USA   VI       2252   10/23   07441D         $42.80
625       8504   ONE BOX TV, LLC   03851001    2/8/2019    2/7/2019   10:07:36   SALE          CL01   MD028   N   USA   DB       4776   03/19   832782         $42.80
626       8504   ONE BOX TV, LLC   03811263    2/8/2019    2/6/2019   17:26:55   TKTO          0028   MD028   Y   USA   VI       7222   07/23   09667D         $19.00
627       8504   ONE BOX TV, LLC   03711250    2/7/2019    2/6/2019   14:22:49   TKTO          0027   MD028   Y   USA   VI       8731   12/23   07475C         $19.00
628       8504   ONE BOX TV, LLC   03751001    2/7/2019    2/6/2019   13:36:08   SALE          CL01   MD028   N   USA   DB       1588   12/21   781846       $240.75
629       8504   ONE BOX TV, LLC   03711250    2/7/2019    2/6/2019   13:11:53   TKTO          0027   MD028   Y   USA   VI       9457   12/22   04584G         $19.00
630       8504   ONE BOX TV, LLC   03711250    2/7/2019    2/6/2019   11:55:01   TKTO          0027   MD028   Y   USA   MC       4885   06/22   00632B         $19.00
631       8504   ONE BOX TV, LLC   03711250    2/7/2019    2/6/2019   10:53:59   TKTO          0027   MD028   Y   USA   VI       5293   05/20   085311         $19.00
632       8504   ONE BOX TV, LLC   03711250    2/7/2019    2/6/2019   10:40:11   TKTO          0027   MD028   Y   USA   VI       1504   10/20   33019D         $19.00
633       8504   ONE BOX TV, LLC   03611286    2/6/2019    2/5/2019   11:35:51   SALE          CL01   MD028   N   USA   VI       8035   10/23   06552D       $267.50
634       8504   ONE BOX TV, LLC   03611287    2/6/2019    2/4/2019   19:44:51   TKTO          0026   MD028   Y   USA   VI       8830   03/20   08328C         $19.00
635       8504   ONE BOX TV, LLC   03611287    2/6/2019    2/4/2019   16:34:00   TKTO          0026   MD028   Y   USA   VI       0970   05/23   004131         $19.00
636       8504   ONE BOX TV, LLC   03541689    2/5/2019    2/3/2019   12:29:43   TKTO          0025   MD028   Y   USA   VI       6841   01/20   08294C         $19.00
637       8504   ONE BOX TV, LLC   03541689    2/5/2019    2/3/2019   12:13:55   TKTO          0025   MD028   Y   USA   MC       5110   05/23   00379Z         $19.00
638       8504   ONE BOX TV, LLC   03541689    2/5/2019    2/3/2019   11:28:28   TKTO          0025   MD028   Y   USA   MC       6982   09/22   00333Z         $19.00
639       8504   ONE BOX TV, LLC   03541689    2/5/2019    2/3/2019   09:44:51   TKTO          0025   MD028   Y   USA   MC       9806   12/22   03544P         $19.00
640       8504   ONE BOX TV, LLC   03541689    2/5/2019    2/2/2019   16:28:06   RTRN   FULL   0025   MD028   Y   USA   VI       2867   06/19   002537       ($19.00)
641       8504   ONE BOX TV, LLC   03451001    2/4/2019    2/3/2019   13:12:08   SALE          CL01   MD028   N   USA   DB       5242   12/21   972503         $16.05
642       8504   ONE BOX TV, LLC   03411397    2/4/2019    2/3/2019   12:22:33   SALE          CL01   MD028   N   USA   VI       6841   01/20   06994C       $208.65
643       8504   ONE BOX TV, LLC   03411397    2/4/2019    2/3/2019   11:29:50   SALE          CL01   MD028   N   USA   MC       6982   09/22   00320Z         $27.71
644       8504   ONE BOX TV, LLC   03441496    2/4/2019    2/2/2019   14:51:47   TKTO          0024   MD028   Y   USA   VI       6216   11/22   076971         $19.00
645       8504   ONE BOX TV, LLC   03441496    2/4/2019    2/2/2019   12:11:57   TKTO          0024   MD028   Y   USA   VI       1151   09/19   774133         $19.00
646       8504   ONE BOX TV, LLC   03441496    2/4/2019    2/2/2019   10:07:34   TKTO          0024   MD028   Y   USA   MC       2145   02/22   90308P         $19.00
647       8504   ONE BOX TV, LLC   03441496    2/4/2019    2/2/2019   09:56:09   TKTO          0024   MD028   Y   USA   VI       3892   03/19   80902A         $19.00
648       8504   ONE BOX TV, LLC   03441495    2/4/2019    2/2/2019   09:49:53   SALE          CL01   MD028   N   USA   VI       3892   03/19   77906A       $267.50
649       8504   ONE BOX TV, LLC   03441495    2/4/2019    2/2/2019   09:47:46   SALE          CL01   MD028   N   USA   MC       2145   02/22   64553P       $187.25
650       8504   ONE BOX TV, LLC   03211279    2/2/2019    2/1/2019   14:40:25   SALE          CL01   MD028   N   USA   MC       5990   07/23   08683G       $187.25
651       8504   ONE BOX TV, LLC   03211279    2/2/2019    2/1/2019   13:28:47   SALE          CL01   MD028   N   USA   VI       6243   05/19   001318         $32.10
652       8504   ONE BOX TV, LLC   03211279    2/2/2019    2/1/2019   10:28:20   SALE          CL01   MD028   N   USA   MC       9968   11/21   04277B       $187.25
653       8504   ONE BOX TV, LLC   03211280    2/2/2019    2/1/2019   09:11:04   TKTO          0023   MD028   Y   USA   VI       2251   01/24   08492D         $19.00
654       8504   ONE BOX TV, LLC   03111252    2/1/2019   1/31/2019   10:58:10   TKTO          0022   MD028   Y   USA   MC       3827   01/22   178385         $19.00
655       8504   ONE BOX TV, LLC   03111251    2/1/2019   1/31/2019   10:48:32   SALE          CL01   MD028   N   USA   VI       3327   06/23   07752D       $224.70
656       8504   ONE BOX TV, LLC   03111252    2/1/2019   1/31/2019   10:48:02   TKTO          0022   MD028   Y   USA   MC       6954   01/23   042482         $19.00
657       8504   ONE BOX TV, LLC   03151001    2/1/2019   1/31/2019   10:37:15   SALE          CL01   MD028   N   USA   DB       3827   01/22   162396       $240.75
658       8504   ONE BOX TV, LLC   03111252    2/1/2019   1/30/2019   16:58:27   TKTO          0022   MD028   Y   USA   MC       2217   08/22   03052G         $19.00
659       8504   ONE BOX TV, LLC   03011213   1/31/2019   1/30/2019   13:29:02   TKTO          0021   MD028   Y   USA   VI       3780   12/23   07056C         $19.00
660       8504   ONE BOX TV, LLC   03011212   1/31/2019   1/30/2019   13:14:46   SALE          CL01   MD028   N   USA   VI       3780   12/23   03389C       $304.95
661       8504   ONE BOX TV, LLC   03011213   1/31/2019   1/30/2019   12:47:27   TKTO          0021   MD028   Y   USA   VI       6050   08/22   174172         $19.00
662       8504   ONE BOX TV, LLC   03051001   1/31/2019   1/30/2019   12:43:52   SALE          CL01   MD028   N   USA   DB       6050   08/22   781910       $304.95
663       8504   ONE BOX TV, LLC   03011213   1/31/2019   1/30/2019   12:32:53   TKTO          0021   MD028   Y   CAN   VI       7809   05/21   075921         $19.00
664       8504   ONE BOX TV, LLC   03011212   1/31/2019   1/30/2019   12:27:27   SALE          CL01   MD028   N   CAN   VI       7809   05/21   018256       $267.50
665       8504   ONE BOX TV, LLC   03011212   1/31/2019   1/30/2019   12:25:10   SALE          CL01   MD028   N   USA   DV       2870   01/22   03009R       $267.50
666       8504   ONE BOX TV, LLC   03011213   1/31/2019   1/30/2019   11:27:39   TKTO          0021   MD028   Y   USA   VI       0971   11/23   02176C         $19.00
667       8504   ONE BOX TV, LLC   03011213   1/31/2019   1/30/2019   10:32:46   TKTO          0021   MD028   Y   USA   MC       3601   05/22   073923         $19.00
668       8504   ONE BOX TV, LLC   03011213   1/31/2019   1/30/2019   10:12:27   TKTO          0021   MD028   Y   USA   VI       0432   12/20   030032         $19.00
669       8504   ONE BOX TV, LLC   03011213   1/31/2019   1/30/2019   09:50:43   TKTO          0021   MD028   Y   CAN   MC       7168   07/20   01302B         $19.00
670       8504   ONE BOX TV, LLC   03011213   1/31/2019   1/30/2019   09:43:50   TKTO          0021   MD028   Y   USA   VI       2867   06/19   030676         $19.00
671       8504   ONE BOX TV, LLC   03011212   1/31/2019   1/30/2019   09:14:54   SALE          CL01   MD028   N   USA   VI       2867   06/19   030851       $187.25
672       8504   ONE BOX TV, LLC   03011212   1/31/2019   1/30/2019   08:43:18   SALE          CL01   MD028   N   CAN   MC       7168   07/20   09560B       $224.70
673       8504   ONE BOX TV, LLC   03011213   1/31/2019   1/29/2019   19:04:30   TKTO          0021   MD028   Y   USA   VI       5207   08/21   952500         $19.00
674       8504   ONE BOX TV, LLC   02911240   1/30/2019   1/29/2019   14:42:54   TKTO          0020   MD028   Y   USA   MC       7583   05/23   07643Z         $19.00
675       8504   ONE BOX TV, LLC   02911239   1/30/2019   1/29/2019   14:29:10   SALE          CL01   MD028   N   USA   VI       1489   12/20   029911       $267.50
676       8504   ONE BOX TV, LLC   02911240   1/30/2019   1/29/2019   12:16:48   TKTO          0020   MD028   Y   USA   VI       8687   12/23   09453A         $19.00
677       8504   ONE BOX TV, LLC   02911239   1/30/2019   1/29/2019   10:39:22   SALE          CL01   MD028   N   USA   DV       4513   11/19   02905R         $42.80
678       8504   ONE BOX TV, LLC   02911240   1/30/2019   1/29/2019   10:22:56   TKTO          0020   MD028   Y   USA   VI       1282   06/23   07676B         $19.00
679       8504   ONE BOX TV, LLC   02911240   1/30/2019   1/29/2019   08:10:26   TKTO          0020   MD028   Y   USA   VI       7894   09/22   090722         $19.00
680       8504   ONE BOX TV, LLC   02811170   1/29/2019   1/28/2019   09:46:42   TKTO          0019   MD028   Y   USA   DV       7564   08/23   02896B         $19.00
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      A                     B          C          D           E           F        G    H     I      J     K    L    M    N            O        P     Q
681       8504   ONE BOX TV, LLC   02711403   1/28/2019   1/27/2019   13:58:35   TKTO       0018   MD028   Y   USA   AE       1007   01/20   140461        $19.00
682       8504   ONE BOX TV, LLC   02711403   1/28/2019   1/27/2019   12:45:11   TKTO       0018   MD028   Y   USA   VI       3606   01/20   014513        $19.00
683       8504   ONE BOX TV, LLC   02711402   1/28/2019   1/27/2019   12:38:19   SALE       CL01   MD028   N   USA   AE       2008   11/19   865190       $326.35
684       8504   ONE BOX TV, LLC   02711403   1/28/2019   1/27/2019   08:53:46   TKTO       0018   MD028   Y   USA   VI       8253   04/23   028904        $19.00
685       8504   ONE BOX TV, LLC   02741513   1/28/2019   1/26/2019   14:36:25   SALE       CL01   MD028   N   USA   VI       8153   12/21   026230        $42.80
686       8504   ONE BOX TV, LLC   02741514   1/28/2019   1/26/2019   12:21:31   TKTO       0017   MD028   Y   USA   VI       5511   04/20   02280D        $19.00
687       8504   ONE BOX TV, LLC   02511254   1/26/2019   1/25/2019   14:09:04   TKTO       0016   MD028   Y   USA   AE       1006   06/22   121156        $19.00
688       8504   ONE BOX TV, LLC   02511253   1/26/2019   1/25/2019   13:59:30   SALE       CL01   MD028   N   USA   AE       1006   06/22   840333       $214.00
689       8504   ONE BOX TV, LLC   02511253   1/26/2019   1/25/2019   12:11:31   SALE       CL01   MD028   N   USA   VI       3472   04/23   03963D       $251.45
690       8504   ONE BOX TV, LLC   02511254   1/26/2019   1/25/2019   12:07:51   TKTO       0016   MD028   Y   USA   VI       3278   07/20   10276D        $19.00
691       8504   ONE BOX TV, LLC   02511253   1/26/2019   1/25/2019   11:42:09   SALE       CL01   MD028   N   USA   AE       2002   12/20   882001       $200.36
692       8504   ONE BOX TV, LLC   02511253   1/26/2019   1/25/2019   11:29:03   SALE       CL01   MD028   N   USA   VI       3278   07/20   26134D       $187.25
693       8504   ONE BOX TV, LLC   02551001   1/26/2019   1/25/2019   09:53:20   SALE       CL01   MD028   N   USA   DB       7183   10/19   430463       $187.25
694       8504   ONE BOX TV, LLC   02411235   1/25/2019   1/24/2019   14:49:56   SALE       CL01   MD028   N   USA   DV       8987   03/22   02467R       $227.38
695       8504   ONE BOX TV, LLC   02411235   1/25/2019   1/24/2019   14:48:51   SALE       CL01   MD028   N   USA   MC       9040   10/20   01367Z       $227.38
696       8504   ONE BOX TV, LLC   02411236   1/25/2019   1/24/2019   13:39:28   TKTO       0015   MD028   Y   USA   MC       9040   10/20   08563Z        $19.00
697       8504   ONE BOX TV, LLC   02411236   1/25/2019   1/24/2019   13:32:28   TKTO       0015   MD028   Y   USA   DV       8987   03/22   02444R        $19.00
698       8504   ONE BOX TV, LLC   02411235   1/25/2019   1/24/2019   13:15:55   SALE       CL01   MD028   N   USA   AE       1004   05/22   843660        $42.80
699       8504   ONE BOX TV, LLC   02411235   1/25/2019   1/24/2019   12:17:45   SALE       CL01   MD028   N   USA   VI       3327   06/23   06879D        $21.40
700       8504   ONE BOX TV, LLC   02411235   1/25/2019   1/24/2019   12:01:46   SALE       CL01   MD028   N   USA   MC       8602   12/21   04422P        $42.80
701       8504   ONE BOX TV, LLC   02411235   1/25/2019   1/24/2019   10:56:27   SALE       CL01   MD028   N   USA   VI       1053   01/24   00238D        $16.05
702       8504   ONE BOX TV, LLC   02411236   1/25/2019   1/24/2019   10:37:27   TKTO       0015   MD028   Y   USA   VI       3327   06/23   04522D        $19.00
703       8504   ONE BOX TV, LLC   02411235   1/25/2019   1/24/2019   10:29:22   SALE       CL01   MD028   N   USA   VI       3327   06/23   07349D       $187.25
704       8504   ONE BOX TV, LLC   02351001   1/24/2019   1/23/2019   15:08:47   SALE       CL01   MD028   N   USA   DB       8552   03/21   871328       $267.50
705       8504   ONE BOX TV, LLC   02311272   1/24/2019   1/23/2019   15:07:00   TKTO       0014   MD028   Y   USA   VI       8552   03/21   100363        $19.00
706       8504   ONE BOX TV, LLC   02311272   1/24/2019   1/23/2019   13:26:24   TKTO       0014   MD028   Y   USA   MC       4653   06/23   08734P        $19.00
707       8504   ONE BOX TV, LLC   02311271   1/24/2019   1/23/2019   13:18:36   SALE       CL01   MD028   N   USA   MC       4653   06/23   05110P       $187.25
708       8504   ONE BOX TV, LLC   02311272   1/24/2019   1/23/2019   13:15:46   TKTO       0014   MD028   Y   USA   VI       6670   11/20   H33515        $19.00
709       8504   ONE BOX TV, LLC   02211231   1/23/2019   1/22/2019   16:19:28   SALE       CL01   MD028   Y   USA   MC       1458   03/20   07864B       $520.00
710       8504   ONE BOX TV, LLC   02211231   1/23/2019   1/22/2019   16:14:37   SALE       CL01   MD028   Y   USA   MC       1458   03/20   03149B       $750.00
711       8504   ONE BOX TV, LLC   02211232   1/23/2019   1/22/2019   12:47:41   TKTO       0013   MD028   Y   USA   VI       7216   02/21   022509        $19.00
712       8504   ONE BOX TV, LLC   02211231   1/23/2019   1/22/2019   10:30:01   SALE       CL01   MD028   N   USA   VI       1297   09/20   00053C        $42.80
713       8504   ONE BOX TV, LLC   02251001   1/23/2019   1/22/2019   09:38:22   SALE       CL01   MD028   N   USA   DB       9268   02/22   781156       $187.25
714       8504   ONE BOX TV, LLC   02011379   1/21/2019   1/20/2019   15:17:27   TKTO       0012   MD028   Y   USA   VI       5627   10/19   01820C        $19.00
715       8504   ONE BOX TV, LLC   02011378   1/21/2019   1/20/2019   15:06:28   SALE       CL01   MD028   N   USA   VI       5627   10/19   08855C       $428.00
716       8504   ONE BOX TV, LLC   02011378   1/21/2019   1/20/2019   14:52:00   SALE       CL01   MD028   N   USA   VI       7662   07/23   06026C       $187.25
717       8504   ONE BOX TV, LLC   02011379   1/21/2019   1/20/2019   14:45:21   TKTO       0012   MD028   Y   USA   VI       7662   07/23   05653C        $19.00
718       8504   ONE BOX TV, LLC   02011379   1/21/2019   1/20/2019   14:01:53   TKTO       0012   MD028   Y   USA   DV       7487   09/20   02061R        $19.00
719       8504   ONE BOX TV, LLC   02011379   1/21/2019   1/20/2019   12:54:49   TKTO       0012   MD028   Y   USA   VI       9769   03/22   105543        $19.00
720       8504   ONE BOX TV, LLC   01951001   1/21/2019   1/20/2019   12:36:56   SALE       CL01   MD028   N   USA   DB       9769   03/22   561603       $187.25
721       8504   ONE BOX TV, LLC   02011378   1/21/2019   1/20/2019   11:28:41   SALE       CL01   MD028   N   USA   VI       0296   03/22   020417       $149.80
722       8504   ONE BOX TV, LLC   02011378   1/21/2019   1/20/2019   10:22:48   SALE       CL01   MD028   N   USA   VI       4131   11/21   020565       $604.55
723       8504   ONE BOX TV, LLC   02011379   1/21/2019   1/20/2019   10:19:46   TKTO       0012   MD028   Y   USA   VI        131   11/21   020545        $19.00
724       8504   ONE BOX TV, LLC   01951001   1/21/2019   1/20/2019   09:24:20   SALE       CL01   MD028   N   USA   DB       5118   04/20   570329       $267.50
725       8504   ONE BOX TV, LLC   01951001   1/21/2019   1/20/2019   08:40:52   SALE       CL01   MD028   N   USA   DB       5754   01/23   871969        $16.05
726       8504   ONE BOX TV, LLC   02041483   1/21/2019   1/19/2019   14:54:10   TKTO       0011   MD028   Y   USA   DV       9121   10/22   01919R        $19.00
727       8504   ONE BOX TV, LLC   02041482   1/21/2019   1/19/2019   14:42:36   SALE       CL01   MD028   N   USA   DV       9121   10/22   01977R       $267.50
728       8504   ONE BOX TV, LLC   01951001   1/21/2019   1/19/2019   12:17:09   SALE       CL01   MD028   N   USA   DB       7694   09/21   230037       $187.25
729       8504   ONE BOX TV, LLC   01811274   1/19/2019   1/18/2019   15:05:32   TKTO       0010   MD028   Y   USA   MC       8098   10/21   01879Z        $19.00
730       8504   ONE BOX TV, LLC   01811274   1/19/2019   1/18/2019   12:32:36   TKTO       0010   MD028   Y   USA   VI       8973   06/20   033236        $19.00
731       8504   ONE BOX TV, LLC   01851001   1/19/2019   1/18/2019   11:16:35   SALE       CL01   MD028   N   USA   DB       8845   07/20   530184        $42.80
732       8504   ONE BOX TV, LLC   01811274   1/19/2019   1/18/2019   09:46:33   TKTO       0010   MD028   Y   USA   VI       6551   05/20   038900        $19.00
733       8504   ONE BOX TV, LLC   01711224   1/18/2019   1/17/2019   11:41:13   TKTO       0009   MD028   Y   USA   VI       4914   09/20   98989D        $19.00
734       8504   ONE BOX TV, LLC   01711223   1/18/2019   1/17/2019   11:08:54   SALE       CL01   MD028   N   USA   VI       4914   09/20   72714D       $246.10
735       8504   ONE BOX TV, LLC   01611367   1/17/2019   1/16/2019   11:57:58   TKTO       0008   MD028   Y   USA   MC       2790   08/22   02753P        $19.00
736       8504   ONE BOX TV, LLC   01651001   1/17/2019   1/16/2019   11:18:32   SALE       CL01   MD028   N   USA   DB       9745   05/21   561173        $42.80
737       8504   ONE BOX TV, LLC   01611366   1/17/2019   1/16/2019   10:06:05   SALE       CL01   MD028   N   USA   MC       2790   08/22   08168P       $454.75
738       8504   ONE BOX TV, LLC   01651001   1/17/2019   1/16/2019   09:46:00   SALE       CL01   MD028   N   USA   DB       0488   07/21   030641       $139.10
739       8504   ONE BOX TV, LLC   01611367   1/17/2019   1/16/2019   08:56:56   TKTO       0008   MD028   Y   USA   MC       9968   11/21   62591B        $19.00
740       8504   ONE BOX TV, LLC   01611366   1/17/2019   1/16/2019   08:50:38   SALE       CL01   MD028   N   USA   MC       9968   11/21   74193B       $267.50
741       8504   ONE BOX TV, LLC   01551001   1/16/2019   1/15/2019   14:07:40   SALE       CL01   MD028   N   USA   DB       4505   05/22   730544       $187.25
742       8504   ONE BOX TV, LLC   01511239   1/16/2019   1/15/2019   14:06:12   SALE       CL01   MD028   N   USA   VI       9786   06/19   015923       $187.25
743       8504   ONE BOX TV, LLC   01511240   1/16/2019   1/15/2019   13:54:20   TKTO       0007   MD028   Y   USA   MC       9538   02/22   01518P        $19.00
744       8504   ONE BOX TV, LLC   01511240   1/16/2019   1/15/2019   12:25:37   TKTO       0007   MD028   Y   USA   VI       2548   08/20   06120C        $19.00
745       8504   ONE BOX TV, LLC   01511240   1/16/2019   1/15/2019   12:14:00   TKTO       0007   MD028   Y   USA   DV       0396   01/22   01504P        $19.00
746       8504   ONE BOX TV, LLC   01511240   1/16/2019   1/15/2019   09:08:07   TKTO       0007   MD028   Y   USA   MC       4364   04/23   04220P        $19.00
747       8504   ONE BOX TV, LLC   01441706   1/15/2019   1/13/2019   13:59:48   SALE       CL01   MD028   N   USA   VI       4462   04/19   09686A       $240.75
748       8504   ONE BOX TV, LLC   01441706   1/15/2019   1/13/2019   13:42:23   SALE       CL01   MD028   N   USA   VI       1402   03/19   06709B       $642.00
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      A                     B          C          D             E           F        G    H     I      J     K    L    M    N            O        P     Q
749       8504   ONE BOX TV, LLC   01441706   1/15/2019    1/13/2019    13:18:10   SALE       CL01   MD028   N   USA   VI       7590   09/20   013138       $187.25
750       8504   ONE BOX TV, LLC   01441706   1/15/2019    1/13/2019    13:12:41   SALE       CL01   MD028   N   USA   VI       5625   09/20   01231D       $267.50
751       8504   ONE BOX TV, LLC   01441706   1/15/2019    1/13/2019    12:30:51   SALE       CL01   MD028   N   CAN   VI       7405   02/19   015565        $42.80
752       8504   ONE BOX TV, LLC   01441706   1/15/2019    1/13/2019    10:39:28   SALE       CL01   MD028   N   USA   VI        252   10/23   07860D       $187.25
753       8504   ONE BOX TV, LLC   01311375   1/14/2019    1/13/2019    14:08:36   TKTO       0006   MD028   Y   USA   VI       4832   11/22   05085C        $19.00
754       8504   ONE BOX TV, LLC   01311375   1/14/2019    1/13/2019    13:57:27   TKTO       0006   MD028   Y   USA   MC       2523   02/23   06474M        $19.00
755       8504   ONE BOX TV, LLC   01311375   1/14/2019    1/13/2019    13:55:55   TKTO       0006   MD028   Y   USA   VI       1681   02/23   06670C        $19.00
756       8504   ONE BOX TV, LLC   01311375   1/14/2019    1/13/2019    11:21:12   TKTO       0006   MD028   Y   USA   MC       8380   10/20   45549P        $19.00
757       8504   ONE BOX TV, LLC   01311375   1/14/2019    1/13/2019    10:45:38   TKTO       0006   MD028   Y   USA   VI       2252   10/23   06151D        $19.00
758       8504   ONE BOX TV, LLC   01311375   1/14/2019    1/13/2019    09:37:04   TKTO       0006   MD028   Y   USA   AE       4016   11/21   102432        $19.00
759       8504   ONE BOX TV, LLC   01341398   1/14/2019    1/12/2019    14:19:35   TKTO       0005   MD028   Y   USA   VI       7565   01/20   689413        $19.00
760       8504   ONE BOX TV, LLC   01341398   1/14/2019    1/12/2019    11:47:06   TKTO       0005   MD028   Y   USA   AE        001   05/23   113196        $19.00
761       8504   ONE BOX TV, LLC   01341398   1/14/2019    1/12/2019    11:17:45   TKTO       0005   MD028   Y   USA   AE       1000   02/20   189113        $19.00
762       8504   ONE BOX TV, LLC   01341398   1/14/2019    1/12/2019    09:30:49   TKTO       0005   MD028   Y   USA   MC        416   06/21   90210Z        $19.00
763       8504   ONE BOX TV, LLC   01341397   1/14/2019    1/12/2019    07:55:24   SALE       CL01   MD028   N   USA   MC       7396   10/23   01597Z       $187.25
764       8504   ONE BOX TV, LLC   01111285   1/12/2019    1/11/2019    12:46:45   TKTO       0004   MD028   Y   USA   VI       1086   05/23   09362D        $19.00
765       8504   ONE BOX TV, LLC   01111285   1/12/2019    1/11/2019    11:16:31   TKTO       0004   MD028   Y   USA   AE       2006   09/22   126448        $19.00
766       8504   ONE BOX TV, LLC   01111285   1/12/2019    1/11/2019    09:44:21   TKTO       0004   MD028   Y   USA   VI       7590   09/20   011771        $19.00
767       8504   ONE BOX TV, LLC   01011299   1/11/2019    1/10/2019    13:07:30   TKTO       0003   MD028   Y   USA   AE       1009   09/22   124518        $19.00
768       8504   ONE BOX TV, LLC   01011299   1/11/2019    1/10/2019    12:26:30   TKTO       0003   MD028   Y   USA   VI       5943   05/23   08913G        $19.00
769       8504   ONE BOX TV, LLC   01011298   1/11/2019    1/10/2019    12:22:20   SALE       CL01   MD028   N   USA   AE       2011   07/23   806136       $267.50
770       8504   ONE BOX TV, LLC   01011299   1/11/2019    1/10/2019    11:35:04   TKTO       0003   MD028   Y   USA   VI       2695   06/22   65317D        $19.00
771       8504   ONE BOX TV, LLC   01011299   1/11/2019    1/10/2019    11:01:43   TKTO       0003   MD028   Y   USA   VI       3679   12/23   368523        $19.00
772       8504   ONE BOX TV, LLC   01011298   1/11/2019    1/10/2019    10:58:06   SALE       CL01   MD028   N   USA   VI       5112   12/22   04201D       $208.65
773       8504   ONE BOX TV, LLC   01011299   1/11/2019    1/10/2019    10:39:18   TKTO       0003   MD028   Y   USA   VI       9794   02/22   005389        $19.00
774       8504   ONE BOX TV, LLC   01011298   1/11/2019    1/10/2019    10:23:12   SALE       CL01   MD028   N   USA   MC       4364   04/23   09378P        $42.80
775       8504   ONE BOX TV, LLC   01051001   1/11/2019    1/10/2019    09:47:34   SALE       CL01   MD028   N   USA   DB       5847   10/20   682539        $16.05
776       8504   ONE BOX TV, LLC   00911280   1/10/2019     1/9/2019    11:26:01   TKTO       0002   MD028   Y   USA   MC       2474   12/22   002545        $19.00
777       8504   ONE BOX TV, LLC   00951001   1/10/2019     1/9/2019    10:13:01   SALE       CL01   MD028   N   USA   DB       9745   05/21   662133       $267.50
778       8504   ONE BOX TV, LLC   00851001    1/9/2019     1/8/2019    13:35:32   SALE       CL01   MD028   N   USA   DB       3151   10/22   882701        $64.20
779       8504   ONE BOX TV, LLC   00811278    1/9/2019     1/8/2019    13:10:57   SALE       CL01   MD028   N   USA   VI       6394   08/22   008887       $192.60
780       8504   ONE BOX TV, LLC   00651001    1/7/2019     1/6/2019    12:25:06   SALE       CL01   MD028   N   USA   DB       0905   02/22   962094       $267.50
781       8504   ONE BOX TV, LLC   00611404    1/7/2019     1/6/2019    12:03:48   SALE       CL01   MD028   N   USA   VI        308   02/19   00467A       $454.75
782       8504   ONE BOX TV, LLC   00611404    1/7/2019     1/6/2019    11:56:03   SALE       CL01   MD028   N   USA   DV       8202   08/23   00643R       $187.25
783       8504   ONE BOX TV, LLC   00651001    1/7/2019     1/6/2019    10:48:09   SALE       CL01   MD028   N   USA   DB       9713   03/21   480834       $267.50
784       8504   ONE BOX TV, LLC   00611404    1/7/2019     1/6/2019    10:03:03   SALE       CL01   MD028   Y   USA   AE       1000   02/20   228325       $175.00
785       8504   ONE BOX TV, LLC   00651001    1/7/2019     1/6/2019    08:47:25   SALE       CL01   MD028   N   USA   DB       4190   12/22   130238       $160.50
786       8504   ONE BOX TV, LLC   00641432    1/7/2019     1/5/2019    14:31:31   SALE       CL01   MD028   Y   USA   MC       1458   03/20   03955B        $80.00
787       8504   ONE BOX TV, LLC   00641432    1/7/2019     1/5/2019    14:30:33   SALE       CL01   MD028   Y   USA   MC       1458   03/20   01009B       $520.00
788       8504   ONE BOX TV, LLC   00641432    1/7/2019     1/5/2019    14:29:20   SALE       CL01   MD028   Y   USA   MC       1458   03/20   07638B       $750.00
789       8504   ONE BOX TV, LLC   00641432    1/7/2019     1/5/2019    12:15:22   SALE       CL01   MD028   N   USA   MC       5956   10/20   09714Z       $187.25
790       8504   ONE BOX TV, LLC   00641432    1/7/2019     1/5/2019    10:30:07   SALE       CL01   MD028   N   USA   VI       7084   07/20   00232A       $374.50
791       8504   ONE BOX TV, LLC   00411243    1/5/2019     1/4/2019    11:36:29   SALE       CL01   MD028   N   USA   DV       1862   11/21   00447R       $187.25
792       8504   ONE BOX TV, LLC   00311265    1/4/2019     1/3/2019    13:19:45   SALE       CL01   MD028   N   USA   VI        080   10/22   02247D        $42.80
793       8504   ONE BOX TV, LLC   00351001    1/4/2019     1/3/2019    11:57:18   SALE       CL01   MD028   N   USA   DB       1224   10/19   661248       $267.50
794       8504   ONE BOX TV, LLC   00251001    1/3/2019     1/2/2019    13:22:27   SALE       CL01   MD028   N   USA   DB       4232   03/22   332537        $42.80
795       8504   ONE BOX TV, LLC   00251001    1/3/2019     1/2/2019    10:44:20   SALE       CL01   MD028   N   USA   DB       7108   08/22   660952       $187.25
796       8504   ONE BOX TV, LLC   00211270    1/3/2019     1/2/2019    10:24:49   SALE       CL01   MD028   Y   USA   VI       8998   07/22   91858D       $150.00
797       8504   ONE BOX TV, LLC   00211271    1/3/2019     1/1/2019    17:20:44   TKTO       0001   MD028   Y   USA   VI       8998   07/22   94460D       $320.00
798       8504   ONE BOX TV, LLC   36411397   12/31/2018   12/30/2018   12:10:41   SALE       CL01   MD028   N   USA   MC       4630   07/20   01242B        $80.25
799       8504   ONE BOX TV, LLC   36411397   12/31/2018   12/30/2018   11:12:04   SALE       CL01   MD028   N   USA   MC       4630   07/20   06158B       $267.50
800       8504   ONE BOX TV, LLC   36441278   12/31/2018   12/29/2018   14:26:28   SALE       CL01   MD028   N   USA   DV       8746   10/21   02999R       $267.50
801       8504   ONE BOX TV, LLC   36441278   12/31/2018   12/29/2018   09:45:36   SALE       CL01   MD028   N   USA   DV       6319   10/20   02926P       $187.25
802       8504   ONE BOX TV, LLC   36351001   12/31/2018   12/29/2018   09:24:40   SALE       CL01   MD028   N   USA   DB       1590   06/22   172735        $16.05
803       8504   ONE BOX TV, LLC   36211128   12/29/2018   12/28/2018   12:41:51   SALE       CL01   MD028   N   USA   VI       8967   01/22   028336       $267.50
804       8504   ONE BOX TV, LLC   36151001   12/28/2018   12/27/2018   14:44:15   SALE       CL01   MD028   N   USA   DB       7594   05/22   471045       $187.25
805       8504   ONE BOX TV, LLC   36111143   12/28/2018   12/27/2018   12:31:08   SALE       CL01   MD028   N   USA   VI       2139   11/19   00132D         $6.41
806       8504   ONE BOX TV, LLC   36151001   12/28/2018   12/27/2018   12:14:31   SALE       CL01   MD028   N   USA   DB       1156   11/21   970954       $374.50
807       8504   ONE BOX TV, LLC   36111143   12/28/2018   12/27/2018   11:16:30   SALE       CL01   MD028   N   USA   VI       3226   10/22   092724        $80.00
808       8504   ONE BOX TV, LLC   36111143   12/28/2018   12/27/2018   11:15:09   SALE       CL01   MD028   N   USA   VI       3226   10/22   091570       $500.00
809       8504   ONE BOX TV, LLC   36111143   12/28/2018   12/27/2018   11:14:17   SALE       CL01   MD028   N   USA   VI       3226   10/22   090816       $750.00
810       8504   ONE BOX TV, LLC   36011979   12/27/2018   12/26/2018   14:48:07   SALE       CL01   MD028   N   USA   MC       8628   11/22   04247Z       $267.50
811       8504   ONE BOX TV, LLC   36051001   12/27/2018   12/26/2018   11:08:39   SALE       CL01   MD028   N   USA   DB       5071   08/22   071401       $187.25
812       8504   ONE BOX TV, LLC   35651001   12/24/2018   12/23/2018   12:02:42   SALE       CL01   MD028   N   USA   DB       3130   02/22   031671       $187.25
813       8504   ONE BOX TV, LLC   35711426   12/24/2018   12/23/2018   11:31:34   SALE       CL01   MD028   N   USA   DV       2203   11/20   02389R       $187.25
814       8504   ONE BOX TV, LLC   35741608   12/24/2018   12/22/2018   15:02:46   SALE       CL01   MD028   N   USA   MC       7253   11/20   02235Z       $170.00
815       8504   ONE BOX TV, LLC   35651001   12/24/2018   12/22/2018   11:31:14   SALE       CL01   MD028   N   USA   DB       1229   07/21   072989       $267.50
816       8504   ONE BOX TV, LLC   35651001   12/24/2018   12/22/2018   10:44:38   SALE       CL01   MD028   N   USA   DB       3226   10/22   730920       $170.00
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      A                     B          C          D             E           F        G    H     I      J     K    L    M    N            O        P     Q
817       8504   ONE BOX TV, LLC   35741607   12/24/2018   12/21/2018   11:12:41   SALE       CL01   MD028   N   USA   AE       1006   05/22   867524       $1,200.00
818       8504   ONE BOX TV, LLC   35551001   12/22/2018   12/21/2018   13:23:40   SALE       CL01   MD028   N   USA   DB       2446   10/21   161712        $374.50
819       8504   ONE BOX TV, LLC   35551001   12/22/2018   12/21/2018   12:43:02   SALE       CL01   MD028   N   USA   DB       2558   03/19   461927        $374.50
820       8504   ONE BOX TV, LLC   35551001   12/22/2018   12/21/2018   11:44:36   SALE       CL01   MD028   N   USA   DB       5851   10/22   381879        $187.25
821       8504   ONE BOX TV, LLC   35411265   12/21/2018   12/20/2018   14:16:04   SALE       CL01   MD028   N   USA   DV       6070   07/23   02008B        $187.25
822       8504   ONE BOX TV, LLC   35411265   12/21/2018   12/20/2018   13:58:43   SALE       CL01   MD028   N   USA   AE       4001   05/23   820941        $187.25
823       8504   ONE BOX TV, LLC   35451001   12/21/2018   12/20/2018   11:30:19   SALE       CL01   MD028   N   USA   DB       3226   10/22   380062        $120.00
824       8504   ONE BOX TV, LLC   35311438   12/20/2018   12/19/2018   12:52:51   SALE       CL01   MD028   N   CAN   VI       7515   06/19   075508        $374.50
825       8504   ONE BOX TV, LLC   35351001   12/20/2018   12/19/2018   12:29:31   SALE       CL01   MD028   N   USA   DB       3226   10/22   380386        $267.50
826       8504   ONE BOX TV, LLC   35251001   12/19/2018   12/18/2018   12:42:35   SALE       CL01   MD028   N   USA   DB       7417   03/21   831927        $187.25
827       8504   ONE BOX TV, LLC   35211314   12/19/2018   12/18/2018   12:38:16   SALE       CL01   MD028   N   USA   MC       3609   04/21   04507Z        $267.50
828       8504   ONE BOX TV, LLC   35211314   12/19/2018   12/18/2018   12:26:08   SALE       CL01   MD028   N   USA   VI       9739   11/21   001349        $187.25
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                EXHIBIT
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                 A                       B            C           D             E            F            G          H           I             J         K           L            M          N                O          P            Q
1    Transaction Search List
2            Merchant #            Merchant Name    Batch #   Report Date   Trans Date   Trans Time   Trans Code   Matched   Terminal #   File Source   Keyed   Country Code   Card Type   Card #          Exp Date     Auth #   Trans Amount
3                    8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:51:18       TKTO                  0094         MD028         Y        USA            VI                4893    06/22     020285               $19.00
4                    8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:51:17       TKTO                  0094         MD028         Y        USA            MC                7958    02/21     01690Z               $19.00
5                    8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:51:17       TKTO                  0094         MD028         Y        USA            VI                3991    03/23     047409               $19.00
6                    8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:51:16       TKTO                  0094         MD028         Y        USA            MC                8221    06/20     009006               $19.00
7                    8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:51:15       TKTO                  0094         MD028         Y        USA            VI                2544    09/21     055105               $19.00
8                    8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:51:13       TKTO                  0094         MD028         Y        USA            DV                8927    10/19     01670Q               $19.00
9                    8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:51:13       TKTO                  0094         MD028         Y        USA            VI                3909    02/22     016511               $19.00
10                   8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:45:27       TKTO                  0094         MD028         Y        USA            MC                9800    02/21     02329Z               $19.00
11                   8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:45:24       TKTO                  0094         MD028         Y        USA            VI                4710    11/20     05726C               $19.00
12                   8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:45:24       TKTO                  0094         MD028         Y        USA            VI                5051    05/23     05725D               $19.00
13                   8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:45:24       TKTO                  0094         MD028         Y        USA            VI                9063    09/22     05727D               $19.00
14                   8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:45:22       TKTO                  0094         MD028         Y        USA            MC                3841    11/19     016497               $19.00
15                   8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:45:20       TKTO                  0094         MD028         Y        USA            VI                2144    10/22     001182               $19.00
16                   8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:41:46       TKTO                  0094         MD028         Y        USA            MC                2790    08/22     04383P               $19.00
17                   8504      ONE BOX TV, LLC     10611027    4/17/2019    4/16/2019     04:41:27       TKTO                  0094         MD028         Y        USA            MC                9968    11/21     89831B               $19.00
18                   8504      ONE BOX TV, LLC     10511093    4/16/2019    4/15/2019     06:59:44       TKTO                  0093         MD028         Y        USA            VI                8245    10/22     00822B               $19.00
19                   8504      ONE BOX TV, LLC     10511093    4/16/2019    4/15/2019     06:59:38       TKTO                  0093         MD028         Y        GBR            VI                0005    04/20     059386               $19.00
20                   8504      ONE BOX TV, LLC     10511093    4/16/2019    4/15/2019     06:59:35       TKTO                  0093         MD028         Y        USA            VI                0057    11/22     007738               $19.00
21                   8504      ONE BOX TV, LLC     10511093    4/16/2019    4/15/2019     06:44:41       TKTO                  0093         MD028         Y        USA            VI                6075    04/22     174340               $27.00
22                   8504      ONE BOX TV, LLC     10511093    4/16/2019    4/15/2019     06:44:18       TKTO                  0093         MD028         Y        USA            VI                4190    02/22     02543C               $19.00
23                   8504      ONE BOX TV, LLC     10511093    4/16/2019    4/15/2019     06:34:45       TKTO                  0093         MD028         Y        USA            MC                9538    02/22     01594P               $19.00
24                   8504      ONE BOX TV, LLC     10411371    4/15/2019    4/14/2019     11:54:11       TKTO                  0092         MD028         Y        USA            MC                4964    08/22     155340               $19.00
25                   8504      ONE BOX TV, LLC     10411371    4/15/2019    4/14/2019     04:35:07       TKTO                  0092         MD028         Y        USA            VI                7958    11/21     003662               $27.00
26                   8504      ONE BOX TV, LLC     10411371    4/15/2019    4/14/2019     04:34:50       TKTO                  0092         MD028         Y        USA            MC                7149    04/22     001126               $19.00
27                   8504      ONE BOX TV, LLC     10411371    4/15/2019    4/14/2019     04:34:47       TKTO                  0092         MD028         Y        CAN            VI                4746    05/19     034114               $19.00
28                   8504      ONE BOX TV, LLC     10411371    4/15/2019    4/14/2019     04:34:41       TKTO                  0092         MD028         Y        USA            VI                3940    03/23     21555D               $19.00
29                   8504      ONE BOX TV, LLC     10411371    4/15/2019    4/14/2019     04:34:40       TKTO                  0092         MD028         Y        USA            AE                2005    05/23     141031               $19.00
30                   8504      ONE BOX TV, LLC     10411371    4/15/2019    4/14/2019     04:25:59       TKTO                  0092         MD028         Y        USA            MC                5403    02/20     111050               $19.00
31                   8504      ONE BOX TV, LLC     10411371    4/15/2019    4/14/2019     04:25:55       TKTO                  0092         MD028         Y        USA            VI                9394    12/23     000617               $19.00
32                   8504      ONE BOX TV, LLC     10441790    4/15/2019    4/13/2019     05:08:04       TKTO                  0091         MD028         Y        USA            VI                1872    01/23     060638               $19.00
33                   8504      ONE BOX TV, LLC     10441790    4/15/2019    4/13/2019     05:08:03       TKTO                  0091         MD028         Y        USA            VI                4845    08/23     04098C               $19.00
34                   8504      ONE BOX TV, LLC     10441790    4/15/2019    4/13/2019     05:08:00       TKTO                  0091         MD028         Y        CAN            VI                9028    10/19     032079               $19.00
35                   8504      ONE BOX TV, LLC     10441790    4/15/2019    4/13/2019     05:05:29       TKTO                  0091         MD028         Y        USA            VI                4832    11/22     05876C               $19.00
36                   8504      ONE BOX TV, LLC     10441790    4/15/2019    4/13/2019     05:05:28       TKTO                  0091         MD028         Y        USA            MC                2523    02/23     06782M               $19.00
37                   8504      ONE BOX TV, LLC     10441790    4/15/2019    4/13/2019     05:05:28       TKTO                  0091         MD028         Y        USA            VI                1681    02/23     05854C               $19.00
38                   8504      ONE BOX TV, LLC     10441790    4/15/2019    4/13/2019     05:05:16       TKTO                  0091         MD028         Y        USA            VI                2252    10/23     05490D               $19.00
39                   8504      ONE BOX TV, LLC     10441790    4/15/2019    4/13/2019     05:05:11       TKTO                  0091         MD028         Y        USA            AE                4016    11/21     100780               $19.00
40                   8504      ONE BOX TV, LLC     10211152    4/13/2019    4/12/2019     06:03:32       TKTO                  0090         MD028         Y        USA            VI                1320    10/23      033186              $19.00
41                   8504      ONE BOX TV, LLC     10211152    4/13/2019    4/12/2019     06:03:23       TKTO                  0090         MD028         Y        USA            VI                6730    10/23     01720D               $19.00
42                   8504      ONE BOX TV, LLC     10211152    4/13/2019    4/12/2019     05:53:00       TKTO                  0090         MD028         Y        USA            VI                7565    01/20      850085              $19.00
43                   8504      ONE BOX TV, LLC     10211152    4/13/2019    4/12/2019     05:52:48       TKTO                  0090         MD028         Y        USA            AE                4001    05/23      159537              $19.00
44                   8504      ONE BOX TV, LLC     10211152    4/13/2019    4/12/2019     05:52:46       TKTO                  0090         MD028         Y        USA            AE                1000    02/20      168856              $19.00
45                   8504      ONE BOX TV, LLC     10211152    4/13/2019    4/12/2019     05:52:39       TKTO                  0090         MD028         Y        USA            MC                8416    06/21     50212W               $19.00
46                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:57:07       TKTO                  0089         MD028         Y        USA            VI                2524    05/20     01217D               $19.00
47                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:57:04       TKTO                  0089         MD028         Y        USA            VI                3075    09/22      088512              $19.00
48                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:57:00       TKTO                  0089         MD028         Y        USA            AE                4002    12/22      132173              $19.00
49                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:56:59       TKTO                  0089         MD028         Y        USA            MC                3012    06/22      80330P              $19.00
50                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:48:31       TKTO                  0089         MD028         Y        USA            VI                5322    01/22      011217              $19.00
51                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:48:31       TKTO                  0089         MD028         Y        USA            AE                1003    07/25      100082              $19.00
52                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:48:31       TKTO                  0089         MD028         Y        USA            VI                9507    01/23      164884              $19.00
53                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:48:31       TKTO                  0089         MD028         Y        USA            VI                5693    09/19      081042              $19.00
54                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:48:30       TKTO                  0089         MD028         Y        USA            VI                0423    05/21      024512              $19.00
55                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:48:29       TKTO                  0089         MD028         Y        USA            MC                7703    09/19      00948Z              $19.00
56                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:45:48       TKTO                  0089         MD028         Y        USA            VI                1086    05/23      06451C              $19.00
57                   8504      ONE BOX TV, LLC     10111146    4/12/2019    4/11/2019     05:45:37       TKTO                  0089         MD028         Y        USA            AE                2006    09/22      144472              $19.00
58                   8504      ONE BOX TV, LLC     10011193    4/11/2019    4/10/2019     09:52:19       TKTO                  0088         MD028         Y        USA            VI                5073    02/24     010550               $19.00
59                   8504      ONE BOX TV, LLC     10011193    4/11/2019    4/10/2019     04:37:59       TKTO                  0088         MD028         Y        USA            AE                1009    09/22     162518               $19.00
60                   8504      ONE BOX TV, LLC     10011193    4/11/2019    4/10/2019     04:37:56       TKTO                  0088         MD028         Y        USA            VI                5943    05/23     02700G               $19.00
61                   8504      ONE BOX TV, LLC     10011193    4/11/2019    4/10/2019     04:37:52       TKTO                  0088         MD028         Y        USA            VI                2695    06/22     14869D               $19.00
62                   8504      ONE BOX TV, LLC     10011193    4/11/2019    4/10/2019     04:37:48       TKTO                  0088         MD028         Y        USA            VI                3679    12/23     810153               $19.00
63                   8504      ONE BOX TV, LLC     10011193    4/11/2019    4/10/2019     04:37:45       TKTO                  0088         MD028         Y        USA            VI                9794    02/22     021234               $19.00
64                   8504      ONE BOX TV, LLC     09911148    4/10/2019     4/9/2019     11:35:23       TKTO                  0087         MD028         Y        USA            VI                0678    08/24     944403               $19.00
65                   8504      ONE BOX TV, LLC     09911148    4/10/2019     4/9/2019     04:22:12       TKTO                  0087         MD028         Y        USA            AE                3018    12/21     149826               $19.00
66                   8504      ONE BOX TV, LLC     09911148    4/10/2019     4/9/2019     04:22:11       TKTO                  0087         MD028         Y        USA            VI                4675    08/23     06327D               $19.00
67                   8504      ONE BOX TV, LLC     09911148    4/10/2019     4/9/2019     04:22:11       TKTO                  0087         MD028         Y        USA            VI                2389    05/19     06342C               $19.00
68                   8504      ONE BOX TV, LLC     09911148    4/10/2019     4/9/2019     04:22:07       TKTO                  0087         MD028         Y        USA            MC                4455    03/21     062127               $19.00
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      A                     B          C          D            E          F        G    H     I      J     K    L    M    N            O        P     Q
69        8504   ONE BOX TV, LLC   09911148   4/10/2019    4/9/2019   04:17:12   TKTO       0087   MD028   Y   USA   VI       7890   11/23   01377C       $19.00
70        8504   ONE BOX TV, LLC   09911148   4/10/2019    4/9/2019   04:17:11   TKTO       0087   MD028   Y   USA   MC       6104   07/23   01349Z       $19.00
71        8504   ONE BOX TV, LLC   09911148   4/10/2019    4/9/2019   04:17:11   TKTO       0087   MD028   Y   USA   VI       1462   04/22   101779       $19.00
72        8504   ONE BOX TV, LLC   09911148   4/10/2019    4/9/2019   04:13:54   TKTO       0087   MD028   Y   USA   MC       2474   12/22   001599       $19.00
73        8504   ONE BOX TV, LLC   09911148   4/10/2019    4/8/2019   20:48:58   TKTO       0087   MD028   Y   USA   VI       2705   07/26   364589       $19.00
74        8504   ONE BOX TV, LLC   09811121    4/9/2019    4/8/2019   04:46:42   TKTO       0086   MD028   Y   USA   VI       8387   09/22   09268C       $19.00
75        8504   ONE BOX TV, LLC   09811121    4/9/2019    4/8/2019   04:39:16   TKTO       0086   MD028   Y   USA   VI       5847   02/23   008820       $27.00
76        8504   ONE BOX TV, LLC   09711391    4/8/2019    4/7/2019   05:34:58   TKTO       0085   MD028   Y   USA   VI       9927   12/22   03755D       $19.00
77        8504   ONE BOX TV, LLC   09711391    4/8/2019    4/7/2019   05:34:50   TKTO       0085   MD028   Y   USA   VI       6665   12/21   03515G       $19.00
78        8504   ONE BOX TV, LLC   09711391    4/8/2019    4/7/2019   05:34:50   TKTO       0085   MD028   Y   USA   VI       6086   07/21   45064D       $19.00
79        8504   ONE BOX TV, LLC   09711391    4/8/2019    4/7/2019   05:25:36   TKTO       0085   MD028   Y   USA   VI       7222   07/23   06085D       $19.00
80        8504   ONE BOX TV, LLC   09711391    4/8/2019    4/7/2019   05:25:32   TKTO       0085   MD028   Y   USA   VI       8731   12/23   05958C       $19.00
81        8504   ONE BOX TV, LLC   09711391    4/8/2019    4/7/2019   05:25:31   TKTO       0085   MD028   Y   USA   VI       9457   12/22   05929G       $19.00
82        8504   ONE BOX TV, LLC   09711391    4/8/2019    4/7/2019   05:25:29   TKTO       0085   MD028   Y   USA   MC       4885   06/22   00703B       $19.00
83        8504   ONE BOX TV, LLC   09711391    4/8/2019    4/7/2019   05:25:27   TKTO       0085   MD028   Y   USA   VI       5293   05/20   072506       $19.00
84        8504   ONE BOX TV, LLC   09711391    4/8/2019    4/7/2019   05:25:27   TKTO       0085   MD028   Y   USA   VI       1504   10/20   58919D       $19.00
85        8504   ONE BOX TV, LLC   09511115    4/6/2019    4/5/2019   10:58:02   TKTO       0084   MD028   Y   USA   MC       0091   09/23   04059B       $19.00
86        8504   ONE BOX TV, LLC   09511115    4/6/2019    4/5/2019   06:16:46   TKTO       0084   MD028   Y   USA   VI       8830   03/20   02878C       $19.00
87        8504   ONE BOX TV, LLC   09511115    4/6/2019    4/5/2019   06:16:39   TKTO       0084   MD028   Y   USA   VI       0970   05/23   005722       $19.00
88        8504   ONE BOX TV, LLC   09411149    4/5/2019    4/4/2019   04:52:25   TKTO       0083   MD028   Y   USA   VI       8763   10/22   07776D       $19.00
89        8504   ONE BOX TV, LLC   09411149    4/5/2019    4/4/2019   04:52:15   TKTO       0083   MD028   Y   USA   MC       1471   07/21   06470Z       $19.00
90        8504   ONE BOX TV, LLC   09411149    4/5/2019    4/4/2019   04:52:13   TKTO       0083   MD028   Y   GBR   AE       1007   01/23   148514       $19.00
91        8504   ONE BOX TV, LLC   09411149    4/5/2019    4/4/2019   04:42:34   TKTO       0083   MD028   Y   USA   MC       5110   05/23   00417Z       $19.00
92        8504   ONE BOX TV, LLC   09411149    4/5/2019    4/4/2019   04:42:34   TKTO       0083   MD028   Y   USA   VI       6841   01/20   07038C       $19.00
93        8504   ONE BOX TV, LLC   09411149    4/5/2019    4/4/2019   04:42:33   TKTO       0083   MD028   Y   USA   MC       6982   09/22   00459Z       $19.00
94        8504   ONE BOX TV, LLC   09411149    4/5/2019    4/4/2019   04:42:32   TKTO       0083   MD028   Y   USA   MC       9806   12/22   06981P       $19.00
95        8504   ONE BOX TV, LLC   09311153    4/4/2019    4/3/2019   04:35:54   TKTO       0082   MD028   Y   USA   VI       6216   11/22   078693       $19.00
96        8504   ONE BOX TV, LLC   09311153    4/4/2019    4/3/2019   04:35:53   TKTO       0082   MD028   Y   USA   VI       1151   09/19   566313       $19.00
97        8504   ONE BOX TV, LLC   09311153    4/4/2019    4/3/2019   04:35:49   TKTO       0082   MD028   Y   USA   MC       2145   02/22   09293P       $19.00
98        8504   ONE BOX TV, LLC   09311153    4/4/2019    4/2/2019   18:21:16   TKTO       0082   MD028   Y   USA   VI       9242   03/22   087053       $19.00
99        8504   ONE BOX TV, LLC   09211176    4/3/2019    4/2/2019   05:21:33   TKTO       0081   MD028   Y   USA   MC       3211   10/22   00262Z       $19.00
100       8504   ONE BOX TV, LLC   09211176    4/3/2019    4/2/2019   05:21:32   TKTO       0081   MD028   Y   USA   VI       3518   11/20   04782C       $19.00
101       8504   ONE BOX TV, LLC   09211176    4/3/2019    4/2/2019   05:21:32   TKTO       0081   MD028   Y   USA   MC       1961   08/22   004765       $27.00
102       8504   ONE BOX TV, LLC   09211176    4/3/2019    4/2/2019   05:21:31   TKTO       0081   MD028   Y   USA   MC       1388   11/23   08238P       $19.00
103       8504   ONE BOX TV, LLC   09211176    4/3/2019    4/2/2019   05:14:08   TKTO       0081   MD028   Y   USA   VI       2251   01/24   06861D       $19.00
104       8504   ONE BOX TV, LLC   09111076    4/2/2019    4/1/2019   08:02:48   TKTO       0080   MD028   Y   USA   MC       7586   01/23   112896       $19.00
105       8504   ONE BOX TV, LLC   09111076    4/2/2019    4/1/2019   08:02:44   TKTO       0080   MD028   Y   USA   VI       0194   06/23   03155C       $19.00
106       8504   ONE BOX TV, LLC   09111076    4/2/2019    4/1/2019   08:02:42   TKTO       0080   MD028   Y   USA   VI       5278   07/21   024148       $19.00
107       8504   ONE BOX TV, LLC   09111076    4/2/2019    4/1/2019   08:02:38   TKTO       0080   MD028   Y   USA   VI       6874   06/21   070209       $27.00
108       8504   ONE BOX TV, LLC   09111076    4/2/2019    4/1/2019   08:02:37   TKTO       0080   MD028   Y   USA   VI       5226   03/21   032741       $19.00
109       8504   ONE BOX TV, LLC   09111076    4/2/2019    4/1/2019   07:36:00   TKTO       0080   MD028   Y   USA   MC       3827   01/22   008489       $19.00
110       8504   ONE BOX TV, LLC   09111076    4/2/2019    4/1/2019   07:35:59   TKTO       0080   MD028   Y   USA   MC       6954   01/23   030960       $19.00
111       8504   ONE BOX TV, LLC   09011386    4/1/2019   3/31/2019   04:09:21   TKTO       0079   MD028   Y   USA   VI       4207   11/22   60284G       $19.00
112       8504   ONE BOX TV, LLC   09011386    4/1/2019   3/31/2019   04:07:00   TKTO       0079   MD028   Y   USA   MC       2217   08/22   03163G       $19.00
113       8504   ONE BOX TV, LLC   09011386    4/1/2019   3/31/2019   04:06:58   TKTO       0079   MD028   Y   USA   VI       3780   12/23   09736C       $19.00
114       8504   ONE BOX TV, LLC   09011386    4/1/2019   3/31/2019   04:06:57   TKTO       0079   MD028   Y   CAN   VI       7809   05/21   097107       $19.00
115       8504   ONE BOX TV, LLC   09011386    4/1/2019   3/31/2019   04:06:57   TKTO       0079   MD028   Y   USA   VI       6050   08/22   130969       $19.00
116       8504   ONE BOX TV, LLC   09011386    4/1/2019   3/31/2019   04:06:55   TKTO       0079   MD028   Y   USA   MC       3601   05/22   096552       $19.00
117       8504   ONE BOX TV, LLC   09011386    4/1/2019   3/31/2019   04:06:55   TKTO       0079   MD028   Y   USA   VI       0971   11/23   09669C       $19.00
118       8504   ONE BOX TV, LLC   09011386    4/1/2019   3/31/2019   04:06:54   TKTO       0079   MD028   Y   CAN   MC       7168   07/20   09628B       $19.00
119       8504   ONE BOX TV, LLC   09011386    4/1/2019   3/31/2019   04:06:54   TKTO       0079   MD028   Y   USA   VI       0432   12/20   031939       $19.00
120       8504   ONE BOX TV, LLC   09041783    4/1/2019   3/30/2019   04:49:02   TKTO       0078   MD028   Y   USA   DV       3680   02/22   03041R       $19.00
121       8504   ONE BOX TV, LLC   09041783    4/1/2019   3/30/2019   04:46:07   TKTO       0078   MD028   Y   USA   VI       5207   08/21   512861       $19.00
122       8504   ONE BOX TV, LLC   09041783    4/1/2019   3/30/2019   04:46:03   TKTO       0078   MD028   Y   USA   MC       7583   05/23   08090Z       $19.00
123       8504   ONE BOX TV, LLC   09041783    4/1/2019   3/30/2019   04:46:00   TKTO       0078   MD028   Y   USA   VI       8687   12/23   06799A       $19.00
124       8504   ONE BOX TV, LLC   09041783    4/1/2019   3/30/2019   04:45:58   TKTO       0078   MD028   Y   USA   VI       1282   06/23   06750B       $19.00
125       8504   ONE BOX TV, LLC   09041783    4/1/2019   3/30/2019   04:45:57   TKTO       0078   MD028   Y   USA   VI       7894   09/22   054556       $19.00
126       8504   ONE BOX TV, LLC   08811143   3/30/2019   3/29/2019   04:46:05   TKTO       0077   MD028   Y   USA   MC       3999   05/21   08168B       $19.00
127       8504   ONE BOX TV, LLC   08811143   3/30/2019   3/29/2019   04:43:30   TKTO       0077   MD028   Y   USA   DV       7564   08/23   02927B       $19.00
128       8504   ONE BOX TV, LLC   08711126   3/29/2019   3/28/2019   05:08:45   TKTO       0076   MD028   Y   USA   VI       1445   07/19   31504D       $19.00
129       8504   ONE BOX TV, LLC   08711126   3/29/2019   3/28/2019   05:08:44   TKTO       0076   MD028   Y   USA   MC       4002   04/22   05327P       $19.00
130       8504   ONE BOX TV, LLC   08711126   3/29/2019   3/28/2019   04:57:20   TKTO       0076   MD028   Y   USA   AE       1007   01/20   126511       $19.00
131       8504   ONE BOX TV, LLC   08711126   3/29/2019   3/28/2019   04:57:19   TKTO       0076   MD028   Y   USA   VI       3606   01/20   095705       $19.00
132       8504   ONE BOX TV, LLC   08711126   3/29/2019   3/28/2019   04:57:17   TKTO       0076   MD028   Y   USA   VI       8253   04/23   054827       $19.00
133       8504   ONE BOX TV, LLC   08611151   3/28/2019   3/27/2019   14:32:37   TKTO       0075   MD028   Y   USA   VI       6983   09/23   07111C       $19.00
134       8504   ONE BOX TV, LLC   08611151   3/28/2019   3/27/2019   04:31:57   TKTO       0075   MD028   Y   USA   VI       5511   04/20   02425D       $19.00
135       8504   ONE BOX TV, LLC   08611151   3/28/2019   3/26/2019   19:17:48   TKTO       0075   MD028   Y   USA   VI       8011   05/23   02443G       $19.00
136       8504   ONE BOX TV, LLC   08511098   3/27/2019   3/26/2019   09:37:46   TKTO       0074   MD028   Y   USA   DV       9717   02/23   02653R       $19.00
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      A                     B          C          D           E           F        G    H     I      J     K    L    M    N            O         P     Q
137       8504   ONE BOX TV, LLC   08511098   3/27/2019   3/26/2019   06:10:13   TKTO       0074   MD028   Y   USA   MC       4581   06/21   02631B        $19.00
138       8504   ONE BOX TV, LLC   08511098   3/27/2019   3/26/2019   06:10:04   TKTO       0074   MD028   Y   USA   VI       5886   03/20   191405        $19.00
139       8504   ONE BOX TV, LLC   08511098   3/27/2019   3/26/2019   06:04:34   TKTO       0074   MD028   Y   USA   AE       1006   06/22   104043        $19.00
140       8504   ONE BOX TV, LLC   08511098   3/27/2019   3/26/2019   06:04:30   TKTO       0074   MD028   Y   USA   VI       3278   07/20   90760D        $19.00
141       8504   ONE BOX TV, LLC   08511098   3/27/2019   3/25/2019   16:10:44   TKTO       0074   MD028   Y   USA   DV       8821   08/21    02551R       $19.00
142       8504   ONE BOX TV, LLC   08411053   3/26/2019   3/25/2019   05:46:59   TKTO       0073   MD028   Y   USA   MC       9800   08/21   50526Z        $19.00
143       8504   ONE BOX TV, LLC   08411053   3/26/2019   3/25/2019   05:40:58   TKTO       0073   MD028   Y   USA   DV       8987   03/22    02582R       $19.00
144       8504   ONE BOX TV, LLC   08411053   3/26/2019   3/25/2019   05:40:58   TKTO       0073   MD028   Y   USA   MC       9040   10/20   01140Z        $19.00
145       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   14:28:56   TKTO       0072   MD028   Y   USA   VI       2496   03/22   454341        $19.00
146       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   12:09:10   TKTO       0072   MD028   Y   USA   VI       7291   09/21   000913        $19.00
147       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   09:47:39   TKTO       0072   MD028   Y   USA   AE       2000   11/23   104012        $19.00
148       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   09:35:01   TKTO       0072   MD028   Y   USA   VI       0850   06/20   000962        $19.00
149       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   05:23:36   TKTO       0072   MD028   Y   USA   VI       8375   05/19   00090D        $19.00
150       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   05:23:35   TKTO       0072   MD028   Y   USA   MC       9467   07/22   00069B        $19.00
151       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   05:23:33   TKTO       0072   MD028   Y   USA   AE       2002   11/22   144929        $19.00
152       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   05:23:29   TKTO       0072   MD028   Y   USA   VI       8651   04/20   024538        $19.00
153       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   05:23:21   TKTO       0072   MD028   Y   USA   VI       3184   11/23   09630D        $19.00
154       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   05:19:06   TKTO       0072   MD028   Y   USA   VI       8552   03/21   141690        $19.00
155       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   05:19:04   TKTO       0072   MD028   Y   USA   MC       4653   06/23   07125P        $19.00
156       8504   ONE BOX TV, LLC   08311366   3/25/2019   3/24/2019   05:19:04   TKTO       0072   MD028   Y   USA   VI       6670   11/20   H53873        $19.00
157       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   14:02:52   TKTO       0071   MD028   Y   USA   VI       1688   10/23   07577D        $19.00
158       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   13:18:15   TKTO       0071   MD028   Y   USA   VI       5903   06/20   041814        $19.00
159       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   12:38:28   TKTO       0071   MD028   Y   USA   VI       3586   05/22   035167        $19.00
160       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   11:44:25   TKTO       0071   MD028   Y   USA   MC       2455   12/20   11324Z        $19.00
161       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   10:58:50   TKTO       0071   MD028   Y   USA   MC       9635   07/23   05515P        $19.00
162       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   10:14:26   TKTO       0071   MD028   Y   CAN   MC       8001   05/20   02802Z        $19.00
163       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   09:08:19   TKTO       0071   MD028   Y   USA   VI       2558   03/22   842646        $19.00
164       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   08:40:27   TKTO       0071   MD028   Y   USA   MC       0026   08/22   07574P        $19.00
165       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   07:58:04   TKTO       0071   MD028   Y   USA   MC       0771   10/20   02384P        $19.00
166       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   05:43:58   TKTO       0071   MD028   Y   USA   DV       6527   08/21   02317P        $19.00
167       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/23/2019   05:39:18   TKTO       0071   MD028   Y   USA   VI       7216   02/21   023337        $19.00
168       8504   ONE BOX TV, LLC   08341698   3/25/2019   3/22/2019   17:15:54   TKTO       0071   MD028   Y   USA   MC       6396   05/22   02204P        $27.00
169       8504   ONE BOX TV, LLC   08111130   3/23/2019   3/22/2019   10:48:24   TKTO       0070   MD028   Y   CAN   VI       0416   09/20   04716F        $19.00
170       8504   ONE BOX TV, LLC   08111130   3/23/2019   3/22/2019   09:47:10   TKTO       0070   MD028   Y   USA   VI       1725   01/24   01144C        $19.00
171       8504   ONE BOX TV, LLC   08111130   3/23/2019   3/22/2019   08:58:12   TKTO       0070   MD028   Y   USA   VI       0201   02/21   098712        $19.00
172       8504   ONE BOX TV, LLC   08111130   3/23/2019   3/22/2019   04:24:30   TKTO       0070   MD028   Y   USA   VI       5171   12/20   052429        $19.00
173       8504   ONE BOX TV, LLC   08111130   3/23/2019   3/22/2019   04:24:27   TKTO       0070   MD028   Y   USA   MC       8612   01/21   742348        $19.00
174       8504   ONE BOX TV, LLC   08111130   3/23/2019   3/22/2019   04:24:21   TKTO       0070   MD028   Y   USA   VI       7461   08/20   402242        $19.00
175       8504   ONE BOX TV, LLC   08011114   3/22/2019   3/21/2019   14:08:47   TKTO       0069   MD028   Y   USA   MC       3028   03/21   VY9TM5        $19.00
176       8504   ONE BOX TV, LLC   08011114   3/22/2019   3/21/2019   13:06:05   TKTO       0069   MD028   Y   USA   VI       2811   09/22   040604        $19.00
177       8504   ONE BOX TV, LLC   08011114   3/22/2019   3/21/2019   10:54:15   TKTO       0069   MD028   Y   USA   VI       6701   03/21   015425        $19.00
178       8504   ONE BOX TV, LLC   08011114   3/22/2019   3/21/2019   04:26:22   TKTO       0069   MD028   Y   USA   MC       0026   08/22   03761P        $19.00
179       8504   ONE BOX TV, LLC   08011114   3/22/2019   3/21/2019   04:21:36   TKTO       0069   MD028   Y   USA   VI       5627   10/19   04100C        $19.00
180       8504   ONE BOX TV, LLC   08011114   3/22/2019   3/21/2019   04:21:36   TKTO       0069   MD028   Y   USA   VI       7662   07/23   04099D        $19.00
181       8504   ONE BOX TV, LLC   08011114   3/22/2019   3/21/2019   04:21:36   TKTO       0069   MD028   Y   USA   DV       7487   09/20    02119R       $19.00
182       8504   ONE BOX TV, LLC   08011114   3/22/2019   3/21/2019   04:21:35   TKTO       0069   MD028   Y   USA   VI       9769   03/22   132016        $19.00
183       8504   ONE BOX TV, LLC   08011114   3/22/2019   3/21/2019   04:21:33   TKTO       0069   MD028   Y   USA   VI       4131   11/21   021322        $19.00
184       8504   ONE BOX TV, LLC   07911167   3/21/2019   3/20/2019   13:03:26   TKTO       0068   MD028   Y   USA   MC       8953   05/23   04456Z        $19.00
185       8504   ONE BOX TV, LLC   07911167   3/21/2019   3/20/2019   11:50:01   TKTO       0068   MD028   Y   USA   MC       2176   02/22   02027P        $19.00
186       8504   ONE BOX TV, LLC   07911167   3/21/2019   3/20/2019   11:15:33   TKTO       0068   MD028   Y   USA   VI       5441   06/22   069256        $19.00
187       8504   ONE BOX TV, LLC   07911167   3/21/2019   3/20/2019   11:06:06   TKTO       0068   MD028   Y   USA   MC       3007   09/19   08188S        $19.00
188       8504   ONE BOX TV, LLC   07911167   3/21/2019   3/20/2019   08:42:37   TKTO       0068   MD028   Y   USA   MC       5048   07/21   07129Z        $19.00
189       8504   ONE BOX TV, LLC   07911167   3/21/2019   3/20/2019   05:41:09   TKTO       0068   MD028   Y   USA   MC       4364   04/23   03275P        $19.00
190       8504   ONE BOX TV, LLC   07911167   3/21/2019   3/20/2019   05:36:03   TKTO       0068   MD028   Y   USA   DV       9121   10/22    02062R       $19.00
191       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   14:56:44   TKTO       0067   MD028   Y   USA   MC       3565   07/23   019923        $19.00
192       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   14:12:35   TKTO       0067   MD028   Y   USA   VI       7510   02/23   H43219        $19.00
193       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   12:51:38   TKTO       0067   MD028   Y   CAN   VI       2233   05/21    04149I       $19.00
194       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   12:44:42   TKTO       0067   MD028   Y   USA   MC       2150   04/20   009278        $19.00
195       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   12:37:00   TKTO       0067   MD028   Y   USA   VI       1485   12/22   143363        $19.00
196       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   11:02:10   TKTO       0067   MD028   Y   USA   VI       2313   08/23   04207D        $19.00
197       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:29:34   TKTO       0067   MD028   Y   USA   VI       6484   03/22   42981C        $19.00
198       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:29:32   TKTO       0067   MD028   Y   USA   VI       0919   10/21   07962C        $19.00
199       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:29:29   TKTO       0067   MD028   Y   USA   VI       5441   06/22   032607        $19.00
200       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:29:29   TKTO       0067   MD028   Y   USA   VI       8929   04/20   07872C        $19.00
201       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:29:28   TKTO       0067   MD028   Y   USA   DV       9717   02/23    01948R       $19.00
202       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:29:28   TKTO       0067   MD028   Y   USA   MC       7225   10/22   07858P        $19.00
203       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:29:28   TKTO       0067   MD028   Y   USA   VI       9154   12/20   07833C        $19.00
204       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:29:28   TKTO       0067   MD028   Y   USA   VI       2125   11/22   07847D        $19.00
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      A                     B          C          D           E           F        G    H     I      J     K    L    M    N            O         P     Q
205       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:25:55   TKTO       0067   MD028   Y   USA   MC       8098   10/21   01945Z        $19.00
206       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:25:51   TKTO       0067   MD028   Y   USA   VI       8973   06/20   052551        $19.00
207       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/19/2019   04:25:48   TKTO       0067   MD028   Y   USA   VI       6551   05/20   019718        $19.00
208       8504   ONE BOX TV, LLC   07811095   3/20/2019   3/18/2019   20:15:01   TKTO       0067   MD028   Y   USA   VI       4756   03/21   083030        $19.00
209       8504   ONE BOX TV, LLC   07711093   3/19/2019   3/18/2019   04:40:58   TKTO       0066   MD028   Y   USA   VI       9911   02/22   08659D        $19.00
210       8504   ONE BOX TV, LLC   07711093   3/19/2019   3/18/2019   04:40:57   TKTO       0066   MD028   Y   CAN   VI       9016   10/20   428053        $19.00
211       8504   ONE BOX TV, LLC   07711093   3/19/2019   3/18/2019   04:40:56   TKTO       0066   MD028   Y   USA   MC       2785   04/23   09013S        $19.00
212       8504   ONE BOX TV, LLC   07711093   3/19/2019   3/18/2019   04:40:54   TKTO       0066   MD028   Y   USA   VI       1976   07/19   05383D        $19.00
213       8504   ONE BOX TV, LLC   07711093   3/19/2019   3/18/2019   04:40:53   TKTO       0066   MD028   Y   USA   DV       4340   04/21    01823R       $19.00
214       8504   ONE BOX TV, LLC   07711093   3/19/2019   3/18/2019   04:40:52   TKTO       0066   MD028   Y   USA   VI       7700   11/22   01572D        $19.00
215       8504   ONE BOX TV, LLC   07711093   3/19/2019   3/18/2019   04:36:33   TKTO       0066   MD028   Y   USA   VI       4914   09/20   83139D        $19.00
216       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   14:36:41   TKTO       0065   MD028   Y   USA   VI       4893   06/22   069007        $19.00
217       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   13:04:24   TKTO       0065   MD028   Y   USA   MC       7958   02/21   01768Z        $19.00
218       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   12:47:37   TKTO       0065   MD028   Y   USA   VI       3991   03/23   019690        $19.00
219       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   11:34:20   TKTO       0065   MD028   Y   USA   MC       8221   06/20   008942        $19.00
220       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   10:46:29   TKTO       0065   MD028   Y   USA   VI       2544   09/21   084611        $19.00
221       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   09:22:18   TKTO       0065   MD028   Y   USA   DV       8927   10/19   01795Q        $19.00
222       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   08:45:53   TKTO       0065   MD028   Y   USA   VI       3909   02/22   017407        $19.00
223       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   04:35:18   TKTO       0065   MD028   Y   USA   MC       9800   02/21   03357Z        $19.00
224       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   04:35:13   TKTO       0065   MD028   Y   USA   VI       4710   11/20   05393C        $19.00
225       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   04:35:12   TKTO       0065   MD028   Y   USA   VI       5051   05/23   05359D        $19.00
226       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   04:35:12   TKTO       0065   MD028   Y   USA   VI       9063   09/22   05361D        $19.00
227       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   04:35:09   TKTO       0065   MD028   Y   USA   MC       3841   11/19   017784        $19.00
228       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   04:35:02   TKTO       0065   MD028   Y   USA   VI       2144   10/22   001336        $19.00
229       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   04:30:33   TKTO       0065   MD028   Y   USA   MC       2790   08/22   01008P        $19.00
230       8504   ONE BOX TV, LLC   07611359   3/18/2019   3/17/2019   04:30:30   TKTO       0065   MD028   Y   USA   MC       9968   11/21   61724B        $19.00
231       8504   ONE BOX TV, LLC   07641769   3/18/2019   3/16/2019   13:29:18   TKTO       0064   MD028   Y   USA   VI       8245   10/22   08378B        $19.00
232       8504   ONE BOX TV, LLC   07641769   3/18/2019   3/16/2019   10:52:48   TKTO       0064   MD028   Y   GBR   VI       0005   04/20   052480        $19.00
233       8504   ONE BOX TV, LLC   07641769   3/18/2019   3/16/2019   10:02:56   TKTO       0064   MD028   Y   USA   VI       8018   05/22   110724        $19.00
234       8504   ONE BOX TV, LLC   07641769   3/18/2019   3/16/2019   09:33:43   TKTO       0064   MD028   Y   USA   VI       0057   11/22   009673        $19.00
235       8504   ONE BOX TV, LLC   07641769   3/18/2019   3/16/2019   06:22:53   TKTO       0064   MD028   Y   USA   VI       6075   04/22   122921        $27.00
236       8504   ONE BOX TV, LLC   07641769   3/18/2019   3/16/2019   06:22:27   TKTO       0064   MD028   Y   USA   VI       4033   04/22   065522        $19.00
237       8504   ONE BOX TV, LLC   07641769   3/18/2019   3/16/2019   06:22:22   TKTO       0064   MD028   Y   USA   VI       4190   02/22   06679C        $19.00
238       8504   ONE BOX TV, LLC   07641769   3/18/2019   3/16/2019   06:13:43   TKTO       0064   MD028   Y   USA   MC       9538   02/22   01658P        $19.00
239       8504   ONE BOX TV, LLC   07641769   3/18/2019   3/16/2019   06:13:38   TKTO       0064   MD028   Y   USA   DV       0396   01/22   01655P        $19.00
240       8504   ONE BOX TV, LLC   07641769   3/18/2019   3/15/2019   20:49:32   TKTO       0064   MD028   Y   USA   VI       7958   11/21   003585        $27.00
241       8504   ONE BOX TV, LLC   07411100   3/16/2019   3/15/2019   14:20:21   TKTO       0063   MD028   Y   USA   MC       7149   04/22    003972       $19.00
242       8504   ONE BOX TV, LLC   07411100   3/16/2019   3/15/2019   13:36:03   TKTO       0063   MD028   Y   CAN   VI       4746   05/19    080966       $19.00
243       8504   ONE BOX TV, LLC   07411100   3/16/2019   3/15/2019   12:09:32   TKTO       0063   MD028   Y   USA   VI       3940   03/23   80171D        $19.00
244       8504   ONE BOX TV, LLC   07411100   3/16/2019   3/15/2019   11:59:36   TKTO       0063   MD028   Y   USA   AE       2005   05/23    143401       $19.00
245       8504   ONE BOX TV, LLC   07411100   3/16/2019   3/15/2019   06:27:50   TKTO       0063   MD028   Y   USA   MC       5403   02/20    671120       $19.00
246       8504   ONE BOX TV, LLC   07411100   3/16/2019   3/15/2019   06:27:27   TKTO       0063   MD028   Y   USA   VI       9394   12/23    000595       $19.00
247       8504   ONE BOX TV, LLC   07311093   3/15/2019   3/14/2019   04:34:52   TKTO       0062   MD028   Y   USA   VI       4845   08/23   03563D        $19.00
248       8504   ONE BOX TV, LLC   07311093   3/15/2019   3/14/2019   04:34:52   TKTO       0062   MD028   Y   USA   VI       1872   01/23   027798        $19.00
249       8504   ONE BOX TV, LLC   07311093   3/15/2019   3/14/2019   04:34:43   TKTO       0062   MD028   Y   CAN   VI       9028   10/19   040083        $19.00
250       8504   ONE BOX TV, LLC   07311093   3/15/2019   3/14/2019   04:29:58   TKTO       0062   MD028   Y   USA   VI       4832   11/22   08739C        $19.00
251       8504   ONE BOX TV, LLC   07311093   3/15/2019   3/14/2019   04:29:58   TKTO       0062   MD028   Y   USA   VI       1681   02/23   08730C        $19.00
252       8504   ONE BOX TV, LLC   07311093   3/15/2019   3/14/2019   04:29:58   TKTO       0062   MD028   Y   USA   MC       2523   02/23   00161M        $19.00
253       8504   ONE BOX TV, LLC   07311093   3/15/2019   3/14/2019   04:29:56   TKTO       0062   MD028   Y   USA   MC       8380   10/20   61567Z        $19.00
254       8504   ONE BOX TV, LLC   07311093   3/15/2019   3/14/2019   04:29:56   TKTO       0062   MD028   Y   USA   VI       2252   10/23   08675D        $19.00
255       8504   ONE BOX TV, LLC   07311093   3/15/2019   3/14/2019   04:29:56   TKTO       0062   MD028   Y   USA   AE       4016   11/21   147546        $19.00
256       8504   ONE BOX TV, LLC   07211157   3/14/2019   3/13/2019   11:59:32   TKTO       0061   MD028   Y   USA   VI       1320   10/23    593226       $19.00
257       8504   ONE BOX TV, LLC   07211157   3/14/2019   3/13/2019   09:30:15   TKTO       0061   MD028   Y   USA   VI       6730   10/23   06258D        $19.00
258       8504   ONE BOX TV, LLC   07211157   3/14/2019   3/13/2019   04:25:16   TKTO       0061   MD028   Y   USA   AE       1000   02/20    144404       $19.00
259       8504   ONE BOX TV, LLC   07211157   3/14/2019   3/13/2019   04:25:16   TKTO       0061   MD028   Y   USA   AE       4001   05/23    196057       $19.00
260       8504   ONE BOX TV, LLC   07211157   3/14/2019   3/13/2019   04:25:16   TKTO       0061   MD028   Y   USA   VI       7565   01/20    791884       $19.00
261       8504   ONE BOX TV, LLC   07211157   3/14/2019   3/13/2019   04:25:13   TKTO       0061   MD028   Y   USA   MC       8416   06/21    40315Z       $19.00
262       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   13:19:25   TKTO       0060   MD028   Y   USA   VI       2524   05/20   07753D        $19.00
263       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   12:10:35   TKTO       0060   MD028   Y   USA   VI       3075   09/22    017096       $19.00
264       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   11:13:43   TKTO       0060   MD028   Y   USA   AE       4002   12/22    196255       $19.00
265       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   10:39:21   TKTO       0060   MD028   Y   USA   MC       3012   06/22    82163P       $19.00
266       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:27:46   TKTO       0060   MD028   Y   USA   VI       6950   10/21    049391       $19.00
267       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:27:44   TKTO       0060   MD028   Y   CAN   MC       5696   03/19    02318Z       $19.00
268       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:27:44   TKTO       0060   MD028   Y   USA   VI       5322   01/22    012958       $19.00
269       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:27:43   TKTO       0060   MD028   Y   USA   VI       5693   09/19    054382       $19.00
270       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:27:43   TKTO       0060   MD028   Y   USA   AE       1003   07/25    169586       $19.00
271       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:27:43   TKTO       0060   MD028   Y   USA   VI       9507   01/23    182070       $19.00
272       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:27:42   TKTO       0060   MD028   Y   USA   VI       0423   05/21    019824       $19.00
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      A                     B          C          D            E          F        G    H     I      J     K    L    M    N            O        P     Q
273       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:27:40   TKTO       0060   MD028   Y   USA   MC       7703   09/19   08721Z       $19.00
274       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:27:38   TKTO       0060   MD028   Y   USA   MC       3973   09/21   031203       $19.00
275       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:24:37   TKTO       0060   MD028   Y   USA   VI       1086   05/23   03109D       $19.00
276       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:24:37   TKTO       0060   MD028   Y   USA   AE       2006   09/22   180597       $19.00
277       8504   ONE BOX TV, LLC   07111117   3/13/2019   3/12/2019   04:24:34   TKTO       0060   MD028   Y   USA   VI       7590   09/20   012790       $19.00
278       8504   ONE BOX TV, LLC   07011031   3/12/2019   3/11/2019   05:17:14   TKTO       0059   MD028   Y   USA   AE       1009   09/22   140861       $19.00
279       8504   ONE BOX TV, LLC   07011031   3/12/2019   3/11/2019   05:17:12   TKTO       0059   MD028   Y   USA   VI       5943   05/23   01351G       $19.00
280       8504   ONE BOX TV, LLC   07011031   3/12/2019   3/11/2019   05:17:12   TKTO       0059   MD028   Y   USA   VI       3679   12/23   423197       $19.00
281       8504   ONE BOX TV, LLC   07011031   3/12/2019   3/11/2019   05:17:10   TKTO       0059   MD028   Y   USA   VI       2695   06/22   44623D       $19.00
282       8504   ONE BOX TV, LLC   07011031   3/12/2019   3/11/2019   05:17:08   TKTO       0059   MD028   Y   USA   VI       9794   02/22   002832       $19.00
283       8504   ONE BOX TV, LLC   06911373   3/11/2019   3/10/2019   15:17:37   TKTO       0058   MD028   Y   USA   AE       3018   12/21   185200       $19.00
284       8504   ONE BOX TV, LLC   06911373   3/11/2019   3/10/2019   14:30:18   TKTO       0058   MD028   Y   USA   VI       2389   05/19   00529C       $19.00
285       8504   ONE BOX TV, LLC   06911373   3/11/2019   3/10/2019   14:02:32   TKTO       0058   MD028   Y   USA   VI       4675   08/23   06967D       $19.00
286       8504   ONE BOX TV, LLC   06911373   3/11/2019   3/10/2019   11:05:01   TKTO       0058   MD028   Y   USA   MC       4455   03/21   050550       $19.00
287       8504   ONE BOX TV, LLC   06911373   3/11/2019   3/10/2019   05:48:11   TKTO       0058   MD028   Y   USA   VI       7890   11/23   04335C       $19.00
288       8504   ONE BOX TV, LLC   06911373   3/11/2019   3/10/2019   05:48:03   TKTO       0058   MD028   Y   USA   MC       6104   07/23   04106Z       $19.00
289       8504   ONE BOX TV, LLC   06911373   3/11/2019   3/10/2019   05:48:02   TKTO       0058   MD028   Y   USA   VI       1462   04/22   114285       $19.00
290       8504   ONE BOX TV, LLC   06911373   3/11/2019   3/10/2019   05:40:44   TKTO       0058   MD028   Y   USA   MC       2474   12/22   007676       $19.00
291       8504   ONE BOX TV, LLC   06941583   3/11/2019    3/9/2019   12:02:11   TKTO       0057   MD028   Y   USA   VI       3202   10/20   030211       $19.00
292       8504   ONE BOX TV, LLC   06941583   3/11/2019    3/9/2019   08:50:59   TKTO       0057   MD028   Y   USA   VI       8387   09/22   01775C       $19.00
293       8504   ONE BOX TV, LLC   06941583   3/11/2019    3/9/2019   04:20:22   TKTO       0057   MD028   Y   USA   VI       5847   02/23   009233       $27.00
294       8504   ONE BOX TV, LLC   06711257    3/9/2019    3/8/2019   12:26:35   TKTO       0056   MD028   Y   USA   VI       9927   12/22   09055D       $19.00
295       8504   ONE BOX TV, LLC   06711257    3/9/2019    3/8/2019   10:31:02   TKTO       0056   MD028   Y   USA   VI       9160   09/19   03064C       $19.00
296       8504   ONE BOX TV, LLC   06711257    3/9/2019    3/8/2019   10:02:20   TKTO       0056   MD028   Y   USA   VI       6086   07/21   21982D       $19.00
297       8504   ONE BOX TV, LLC   06711257    3/9/2019    3/8/2019   09:56:32   TKTO       0056   MD028   Y   USA   VI       6665   12/21   08975G       $19.00
298       8504   ONE BOX TV, LLC   06711257    3/9/2019    3/8/2019   03:50:26   TKTO       0056   MD028   Y   USA   VI       7222   07/23   00778D       $19.00
299       8504   ONE BOX TV, LLC   06711257    3/9/2019    3/8/2019   03:50:19   TKTO       0056   MD028   Y   USA   VI       8731   12/23   00563C       $19.00
300       8504   ONE BOX TV, LLC   06711257    3/9/2019    3/8/2019   03:50:16   TKTO       0056   MD028   Y   USA   VI       9457   12/22   00473G       $19.00
301       8504   ONE BOX TV, LLC   06711257    3/9/2019    3/8/2019   03:50:13   TKTO       0056   MD028   Y   USA   MC       4885   06/22   00832B       $19.00
302       8504   ONE BOX TV, LLC   06711257    3/9/2019    3/8/2019   03:50:09   TKTO       0056   MD028   Y   USA   VI       5293   05/20   085004       $19.00
303       8504   ONE BOX TV, LLC   06711257    3/9/2019    3/8/2019   03:50:08   TKTO       0056   MD028   Y   USA   VI       1504   10/20   85621D       $19.00
304       8504   ONE BOX TV, LLC   06511282    3/7/2019    3/6/2019   03:40:38   TKTO       0055   MD028   Y   USA   VI       8830   03/20   02554C       $19.00
305       8504   ONE BOX TV, LLC   06511282    3/7/2019    3/6/2019   03:40:34   TKTO       0055   MD028   Y   USA   VI       0970   05/23   006050       $19.00
306       8504   ONE BOX TV, LLC   06411228    3/6/2019    3/5/2019   12:54:48   TKTO       0054   MD028   Y   USA   VI       8763   10/22   08728D       $19.00
307       8504   ONE BOX TV, LLC   06411228    3/6/2019    3/5/2019   10:49:31   TKTO       0054   MD028   Y   USA   MC       1471   07/21   07936Z       $19.00
308       8504   ONE BOX TV, LLC   06411228    3/6/2019    3/5/2019   10:24:47   TKTO       0054   MD028   Y   GBR   AE       1007   01/23   163785       $19.00
309       8504   ONE BOX TV, LLC   06411228    3/6/2019    3/5/2019   04:08:37   TKTO       0054   MD028   Y   USA   VI       6841   01/20   05102C       $19.00
310       8504   ONE BOX TV, LLC   06411228    3/6/2019    3/5/2019   04:08:36   TKTO       0054   MD028   Y   USA   MC       5110   05/23   00529Z       $19.00
311       8504   ONE BOX TV, LLC   06411228    3/6/2019    3/5/2019   04:08:35   TKTO       0054   MD028   Y   USA   MC       9806   12/22   05052P       $19.00
312       8504   ONE BOX TV, LLC   06411228    3/6/2019    3/5/2019   04:08:35   TKTO       0054   MD028   Y   USA   MC       6982   09/22   00584Z       $19.00
313       8504   ONE BOX TV, LLC   06311137    3/5/2019    3/4/2019   03:25:50   TKTO       0053   MD028   Y   USA   VI       6216   11/22   085568       $19.00
314       8504   ONE BOX TV, LLC   06311137    3/5/2019    3/4/2019   03:25:46   TKTO       0053   MD028   Y   USA   VI       1151   09/19   111335       $19.00
315       8504   ONE BOX TV, LLC   06311137    3/5/2019    3/4/2019   03:25:42   TKTO       0053   MD028   Y   USA   MC       2145   02/22   26007P       $19.00
316       8504   ONE BOX TV, LLC   06311137    3/5/2019    3/4/2019   03:25:41   TKTO       0053   MD028   Y   USA   VI       3892   03/19   58448A       $19.00
317       8504   ONE BOX TV, LLC   06211393    3/4/2019    3/3/2019   12:06:38   TKTO       0052   MD028   Y   USA   MC       3211   10/22   00339Z       $19.00
318       8504   ONE BOX TV, LLC   06211393    3/4/2019    3/3/2019   11:59:02   TKTO       0052   MD028   Y   USA   MC       1961   08/22   008366       $27.00
319       8504   ONE BOX TV, LLC   06211393    3/4/2019    3/3/2019   11:45:31   TKTO       0052   MD028   Y   USA   VI       3518   11/20   07602C       $19.00
320       8504   ONE BOX TV, LLC   06211393    3/4/2019    3/3/2019   11:06:15   TKTO       0052   MD028   Y   USA   MC       1388   11/23   08246P       $19.00
321       8504   ONE BOX TV, LLC   06211393    3/4/2019    3/3/2019   03:34:35   TKTO       0052   MD028   Y   USA   VI       2251   01/24   00872D       $19.00
322       8504   ONE BOX TV, LLC   06241599    3/4/2019    3/2/2019   14:55:18   TKTO       0051   MD028   Y   USA   MC       7586   01/23   089059       $19.00
323       8504   ONE BOX TV, LLC   06241599    3/4/2019    3/2/2019   13:41:45   TKTO       0051   MD028   Y   USA   VI       0194   06/23   00524C       $19.00
324       8504   ONE BOX TV, LLC   06241599    3/4/2019    3/2/2019   13:01:50   TKTO       0051   MD028   Y   USA   VI       5278   07/21   014968       $19.00
325       8504   ONE BOX TV, LLC   06241599    3/4/2019    3/2/2019   11:56:44   TKTO       0051   MD028   Y   USA   VI       6874   06/21   045612       $27.00
326       8504   ONE BOX TV, LLC   06241599    3/4/2019    3/2/2019   11:51:12   TKTO       0051   MD028   Y   USA   VI       5226   03/21   046424       $19.00
327       8504   ONE BOX TV, LLC   06241599    3/4/2019    3/2/2019   04:38:57   TKTO       0051   MD028   Y   USA   MC       3827   01/22   275057       $19.00
328       8504   ONE BOX TV, LLC   06241599    3/4/2019    3/2/2019   04:38:56   TKTO       0051   MD028   Y   USA   MC       6954   01/23   020337       $19.00
329       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   15:48:47   TKTO       0050   MD028   Y   USA   VI       3438   03/23   08472D       $19.00
330       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   14:32:56   TKTO       0050   MD028   Y   USA   VI       1899   03/21   46400D       $19.00
331       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   09:48:09   TKTO       0050   MD028   Y   CAN   VI       7809   05/21   062266       $19.00
332       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   07:47:31   TKTO       0050   MD028   Y   USA   DV       8821   08/21   00137R       $19.00
333       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   07:12:45   TKTO       0050   MD028   Y   USA   MC       2217   08/22   00141G       $19.00
334       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   07:12:14   TKTO       0050   MD028   Y   USA   VI       3780   12/23   06433C       $19.00
335       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   07:12:09   TKTO       0050   MD028   Y   USA   VI       6050   08/22   131324       $19.00
336       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   07:12:07   TKTO       0050   MD028   Y   CAN   VI       7809   05/21   062266       $19.00
337       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   07:11:58   TKTO       0050   MD028   Y   USA   VI       0971   11/23   04740C       $19.00
338       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   07:11:52   TKTO       0050   MD028   Y   USA   MC       3601   05/22   045778       $19.00
339       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   07:11:50   TKTO       0050   MD028   Y   USA   VI       0432   12/20   001501       $19.00
340       8504   ONE BOX TV, LLC   06011234    3/2/2019    3/1/2019   07:11:48   TKTO       0050   MD028   Y   CAN   MC       7168   07/20   04443B       $19.00
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      A                     B          C          D           E           F        G    H     I      J     K    L    M    N            O        P     Q
341       8504   ONE BOX TV, LLC   05911270    3/1/2019   2/28/2019   13:16:01   TKTO       0049   MD028   Y   USA   DV       3680   02/22   02888R       $19.00
342       8504   ONE BOX TV, LLC   05911270    3/1/2019   2/28/2019   05:45:13   TKTO       0049   MD028   Y   USA   VI       5207   08/21   431902       $19.00
343       8504   ONE BOX TV, LLC   05911270    3/1/2019   2/28/2019   05:44:27   TKTO       0049   MD028   Y   USA   MC       7583   05/23   02822Z       $19.00
344       8504   ONE BOX TV, LLC   05911270    3/1/2019   2/28/2019   05:43:57   TKTO       0049   MD028   Y   USA   VI       8687   12/23   00703A       $19.00
345       8504   ONE BOX TV, LLC   05911270    3/1/2019   2/28/2019   05:43:35   TKTO       0049   MD028   Y   USA   VI       1282   06/23   00066B       $19.00
346       8504   ONE BOX TV, LLC   05911270    3/1/2019   2/28/2019   05:43:16   TKTO       0049   MD028   Y   USA   VI       7894   09/22   064315       $19.00
347       8504   ONE BOX TV, LLC   05811295   2/28/2019   2/27/2019   12:15:42   TKTO       0048   MD028   Y   USA   MC       3999   05/21   06257B       $19.00
348       8504   ONE BOX TV, LLC   05811295   2/28/2019   2/27/2019   04:11:35   TKTO       0048   MD028   Y   USA   DV       7564   08/23   02782B       $19.00
349       8504   ONE BOX TV, LLC   05711233   2/27/2019   2/26/2019   11:00:13   TKTO       0047   MD028   Y   USA   VI       1445   07/19   33330D       $19.00
350       8504   ONE BOX TV, LLC   05711233   2/27/2019   2/26/2019   10:41:44   TKTO       0047   MD028   Y   USA   MC       4002   04/22   04339P       $19.00
351       8504   ONE BOX TV, LLC   05711233   2/27/2019   2/26/2019   04:18:50   TKTO       0047   MD028   Y   USA   AE       1007   01/20   185152       $19.00
352       8504   ONE BOX TV, LLC   05711233   2/27/2019   2/26/2019   04:18:46   TKTO       0047   MD028   Y   USA   VI       3606   01/20   051805       $19.00
353       8504   ONE BOX TV, LLC   05711233   2/27/2019   2/26/2019   04:18:38   TKTO       0047   MD028   Y   USA   VI       8253   04/23   022157       $19.00
354       8504   ONE BOX TV, LLC   05611176   2/26/2019   2/25/2019   03:50:06   TKTO       0046   MD028   Y   USA   VI       5511   04/20   07181D       $19.00
355       8504   ONE BOX TV, LLC   05511383   2/25/2019   2/24/2019   12:39:56   TKTO       0045   MD028   Y   USA   MC       4581   06/21   02404B       $19.00
356       8504   ONE BOX TV, LLC   05511383   2/25/2019   2/24/2019   10:30:14   TKTO       0045   MD028   Y   USA   VI       8310   02/20   024640       $19.00
357       8504   ONE BOX TV, LLC   05511383   2/25/2019   2/24/2019   07:57:11   TKTO       0045   MD028   Y   USA   VI       5886   03/20   175172       $19.00
358       8504   ONE BOX TV, LLC   05511383   2/25/2019   2/24/2019   04:08:54   TKTO       0045   MD028   Y   USA   AE       1006   06/22   169096       $19.00
359       8504   ONE BOX TV, LLC   05511383   2/25/2019   2/24/2019   04:08:47   TKTO       0045   MD028   Y   USA   VI       3278   07/20   56507D       $19.00
360       8504   ONE BOX TV, LLC   05541561   2/25/2019   2/23/2019   12:28:07   TKTO       0044   MD028   Y   USA   MC       9800   08/21   21328Z       $19.00
361       8504   ONE BOX TV, LLC   05541561   2/25/2019   2/23/2019   04:39:42   TKTO       0044   MD028   Y   USA   DV       8987   03/22   02353R       $19.00
362       8504   ONE BOX TV, LLC   05541561   2/25/2019   2/23/2019   04:39:42   TKTO       0044   MD028   Y   USA   MC       9040   10/20   07448Z       $19.00
363       8504   ONE BOX TV, LLC   05311193   2/23/2019   2/22/2019   14:23:51   TKTO       0043   MD028   Y   USA   VI       8375   05/19   00541D       $19.00
364       8504   ONE BOX TV, LLC   05311193   2/23/2019   2/22/2019   14:01:35   TKTO       0043   MD028   Y   USA   MC       9467   07/22   04055B       $19.00
365       8504   ONE BOX TV, LLC   05311193   2/23/2019   2/22/2019   13:04:07   TKTO       0043   MD028   Y   USA   AE       2002   11/22   126804       $19.00
366       8504   ONE BOX TV, LLC   05311193   2/23/2019   2/22/2019   11:41:37   TKTO       0043   MD028   Y   USA   VI       8651   04/20   022502       $19.00
367       8504   ONE BOX TV, LLC   05311193   2/23/2019   2/22/2019   09:19:01   TKTO       0043   MD028   Y   USA   VI       3184   11/23   07045D       $19.00
368       8504   ONE BOX TV, LLC   05311193   2/23/2019   2/22/2019   04:02:04   TKTO       0043   MD028   Y   USA   VI       8552   03/21   160229       $19.00
369       8504   ONE BOX TV, LLC   05311193   2/23/2019   2/22/2019   04:01:55   TKTO       0043   MD028   Y   USA   MC       4653   06/23   04650P       $19.00
370       8504   ONE BOX TV, LLC   05311193   2/23/2019   2/22/2019   04:01:54   TKTO       0043   MD028   Y   USA   VI       6670   11/20   H42123       $19.00
371       8504   ONE BOX TV, LLC   05211251   2/22/2019   2/21/2019   10:26:58   TKTO       0042   MD028   Y   USA   DV       6527   08/21   02179P       $19.00
372       8504   ONE BOX TV, LLC   05211251   2/22/2019   2/21/2019   03:49:50   TKTO       0042   MD028   Y   USA   VI       7216   02/21   021527       $19.00
373       8504   ONE BOX TV, LLC   05111215   2/21/2019   2/20/2019   13:11:22   TKTO       0041   MD028   Y   USA   VI       5171   12/20   041121       $19.00
374       8504   ONE BOX TV, LLC   05111215   2/21/2019   2/20/2019   12:24:08   TKTO       0041   MD028   Y   USA   MC       8612   01/21   393788       $19.00
375       8504   ONE BOX TV, LLC   05111215   2/21/2019   2/20/2019   10:21:17   TKTO       0041   MD028   Y   USA   VI       7461   08/20   010212       $19.00
376       8504   ONE BOX TV, LLC   05011220   2/20/2019   2/19/2019   14:03:09   TKTO       0040   MD028   Y   USA   MC       0026   08/22   09614P       $19.00
377       8504   ONE BOX TV, LLC   05011220   2/20/2019   2/19/2019   04:24:28   TKTO       0040   MD028   Y   USA   VI       5627   10/19   02861C       $19.00
378       8504   ONE BOX TV, LLC   05011220   2/20/2019   2/19/2019   04:24:28   TKTO       0040   MD028   Y   USA   VI       7662   07/23   02859C       $19.00
379       8504   ONE BOX TV, LLC   05011220   2/20/2019   2/19/2019   04:24:27   TKTO       0040   MD028   Y   USA   DV       7487   09/20   01978R       $19.00
380       8504   ONE BOX TV, LLC   05011220   2/20/2019   2/19/2019   04:24:26   TKTO       0040   MD028   Y   USA   VI       9769   03/22   192842       $19.00
381       8504   ONE BOX TV, LLC   05011220   2/20/2019   2/19/2019   04:24:24   TKTO       0040   MD028   Y   USA   VI       4131   11/21   019222       $19.00
382       8504   ONE BOX TV, LLC   04911072   2/19/2019   2/18/2019   13:01:14   TKTO       0039   MD028   Y   USA   MC       4364   04/23   03429P       $19.00
383       8504   ONE BOX TV, LLC   04911072   2/19/2019   2/18/2019   03:47:42   TKTO       0039   MD028   Y   USA   DV       9121   10/22   01881R       $19.00
384       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   16:00:59   TKTO       0038   MD028   Y   USA   VI       6484   03/22   96902C       $19.00
385       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   13:01:41   TKTO       0038   MD028   Y   USA   VI       1907   07/23   04234D       $19.00
386       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   12:31:43   TKTO       0038   MD028   Y   USA   VI       2628   04/22   04305D       $19.00
387       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   12:13:30   TKTO       0038   MD028   Y   USA   VI       0919   10/21   09908C       $19.00
388       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   11:03:18   TKTO       0038   MD028   Y   USA   VI       5441   06/22   050763       $19.00
389       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   10:30:25   TKTO       0038   MD028   Y   USA   VI       8929   04/20   00754C       $19.00
390       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   09:29:28   TKTO       0038   MD028   Y   USA   MC       7225   10/22   07840P       $19.00
391       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   09:16:11   TKTO       0038   MD028   Y   USA   VI       2125   11/22   08353D       $19.00
392       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   09:12:11   TKTO       0038   MD028   Y   USA   DV       9717   02/23   01766R       $19.00
393       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   09:11:47   TKTO       0038   MD028   Y   USA   VI       9154   12/20   04426C       $19.00
394       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   04:30:57   TKTO       0038   MD028   Y   USA   MC       8098   10/21   01731Z       $19.00
395       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   04:30:51   TKTO       0038   MD028   Y   USA   VI       8973   06/20   053051       $19.00
396       8504   ONE BOX TV, LLC   04811366   2/18/2019   2/17/2019   04:30:42   TKTO       0038   MD028   Y   USA   VI       6551   05/20   019981       $19.00
397       8504   ONE BOX TV, LLC   04841475   2/18/2019   2/16/2019   14:28:09   TKTO       0037   MD028   Y   USA   VI       9911   02/22   58662D       $19.00
398       8504   ONE BOX TV, LLC   04841475   2/18/2019   2/16/2019   13:51:36   TKTO       0037   MD028   Y   CAN   VI       9016   10/20   469775       $19.00
399       8504   ONE BOX TV, LLC   04841475   2/18/2019   2/16/2019   13:04:07   TKTO       0037   MD028   Y   USA   MC       2785   04/23   08357S       $19.00
400       8504   ONE BOX TV, LLC   04841475   2/18/2019   2/16/2019   12:04:47   TKTO       0037   MD028   Y   USA   VI       1976   07/19   01620D       $19.00
401       8504   ONE BOX TV, LLC   04841475   2/18/2019   2/16/2019   10:26:38   TKTO       0037   MD028   Y   USA   DV       4340   04/21   01678R       $19.00
402       8504   ONE BOX TV, LLC   04841475   2/18/2019   2/16/2019   10:05:40   TKTO       0037   MD028   Y   USA   VI       7700   11/22   06198D       $19.00
403       8504   ONE BOX TV, LLC   04841475   2/18/2019   2/16/2019   04:04:15   TKTO       0037   MD028   Y   USA   VI       4914   09/20   55995D       $19.00
404       8504   ONE BOX TV, LLC   04611233   2/16/2019   2/15/2019   14:14:53   TKTO       0036   MD028   Y   USA   MC       9800   02/21   07587Z       $19.00
405       8504   ONE BOX TV, LLC   04611233   2/16/2019   2/15/2019   11:57:08   TKTO       0036   MD028   Y   USA   VI       4710   11/20   01252C       $19.00
406       8504   ONE BOX TV, LLC   04611233   2/16/2019   2/15/2019   11:44:00   TKTO       0036   MD028   Y   USA   VI       9063   09/22   00799D       $19.00
407       8504   ONE BOX TV, LLC   04611233   2/16/2019   2/15/2019   11:43:31   TKTO       0036   MD028   Y   USA   VI       6274   08/23   05772D       $19.00
408       8504   ONE BOX TV, LLC   04611233   2/16/2019   2/15/2019   11:40:19   TKTO       0036   MD028   Y   USA   VI       5051   05/23   00579D       $19.00
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      A                     B          C          D            E          F        G    H     I      J     K    L    M    N            O         P     Q
409       8504   ONE BOX TV, LLC   04611233   2/16/2019   2/15/2019   10:38:34   TKTO       0036   MD028   Y   USA   MC       3841   11/19   015474        $19.00
410       8504   ONE BOX TV, LLC   04611233   2/16/2019   2/15/2019   09:19:02   TKTO       0036   MD028   Y   USA   VI       2144   10/22   001137        $19.00
411       8504   ONE BOX TV, LLC   04611233   2/16/2019   2/15/2019   05:32:37   TKTO       0036   MD028   Y   USA   MC       2790   08/22   07133P        $19.00
412       8504   ONE BOX TV, LLC   04611233   2/16/2019   2/15/2019   05:32:20   TKTO       0036   MD028   Y   USA   MC       9968   11/21   83370B        $19.00
413       8504   ONE BOX TV, LLC   04611233   2/16/2019   2/14/2019   17:13:53   TKTO       0036   MD028   Y   USA   VI       6075   04/22   131132        $27.00
414       8504   ONE BOX TV, LLC   04511237   2/15/2019   2/14/2019   11:58:36   TKTO       0035   MD028   Y   USA   VI       4033   04/22   049634        $19.00
415       8504   ONE BOX TV, LLC   04511237   2/15/2019   2/14/2019   11:15:39   TKTO       0035   MD028   Y   USA   VI       4190   02/22   06173C        $19.00
416       8504   ONE BOX TV, LLC   04511237   2/15/2019   2/14/2019   03:36:34   TKTO       0035   MD028   Y   USA   MC       9538   02/22   01464P        $19.00
417       8504   ONE BOX TV, LLC   04511237   2/15/2019   2/14/2019   03:36:29   TKTO       0035   MD028   Y   USA   DV       0396   01/22   01420P        $19.00
418       8504   ONE BOX TV, LLC   04411277   2/14/2019   2/13/2019   14:44:44   TKTO       0034   MD028   Y   USA   MC       5403   02/20   599050        $19.00
419       8504   ONE BOX TV, LLC   04411277   2/14/2019   2/13/2019   11:17:27   TKTO       0034   MD028   Y   USA   VI       9394   12/23   000572        $19.00
420       8504   ONE BOX TV, LLC   04411277   2/14/2019   2/13/2019   08:14:59   TKTO       0034   MD028   Y   USA   VI       2179   03/23   H83421        $19.00
421       8504   ONE BOX TV, LLC   04311174   2/13/2019   2/12/2019   14:00:26   TKTO       0033   MD028   Y   USA   VI       1872   01/23   057124        $19.00
422       8504   ONE BOX TV, LLC   04311174   2/13/2019   2/12/2019   13:46:15   TKTO       0033   MD028   Y   USA   VI       4845   08/23   08451D        $19.00
423       8504   ONE BOX TV, LLC   04311174   2/13/2019   2/12/2019   10:49:12   TKTO       0033   MD028   Y   CAN   VI       9028   10/19   022551        $19.00
424       8504   ONE BOX TV, LLC   04311174   2/13/2019   2/12/2019   03:22:59   TKTO       0033   MD028   Y   USA   VI       4832   11/22   07761C        $19.00
425       8504   ONE BOX TV, LLC   04311174   2/13/2019   2/12/2019   03:22:59   TKTO       0033   MD028   Y   USA   MC       2523   02/23   01965M        $19.00
426       8504   ONE BOX TV, LLC   04311174   2/13/2019   2/12/2019   03:22:58   TKTO       0033   MD028   Y   USA   VI       1681   02/23   07752C        $19.00
427       8504   ONE BOX TV, LLC   04311174   2/13/2019   2/12/2019   03:22:56   TKTO       0033   MD028   Y   USA   MC       8380   10/20   23129P        $19.00
428       8504   ONE BOX TV, LLC   04311174   2/13/2019   2/12/2019   03:22:55   TKTO       0033   MD028   Y   USA   VI       2252   10/23   07641D        $19.00
429       8504   ONE BOX TV, LLC   04311174   2/13/2019   2/12/2019   03:22:54   TKTO       0033   MD028   Y   USA   AE       4016   11/21   185903        $19.00
430       8504   ONE BOX TV, LLC   04211179   2/12/2019   2/11/2019   03:40:52   TKTO       0032   MD028   Y   USA   VI       7565   01/20   738376        $19.00
431       8504   ONE BOX TV, LLC   04211179   2/12/2019   2/11/2019   03:40:48   TKTO       0032   MD028   Y   USA   AE       4001   05/23   142281        $19.00
432       8504   ONE BOX TV, LLC   04211179   2/12/2019   2/11/2019   03:40:47   TKTO       0032   MD028   Y   USA   AE       1000   02/20   165387        $19.00
433       8504   ONE BOX TV, LLC   04211179   2/12/2019   2/11/2019   03:40:44   TKTO       0032   MD028   Y   USA   MC       8416   06/21   30110Z        $19.00
434       8504   ONE BOX TV, LLC   04211179   2/12/2019   2/10/2019   16:41:20   TKTO       0032   MD028   Y   USA   VI       6950   10/21   171948        $19.00
435       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   14:22:44   TKTO       0031   MD028   Y   USA   VI       5322   01/22    010883       $19.00
436       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   14:13:47   TKTO       0031   MD028   Y   USA   VI       9507   01/23    191935       $19.00
437       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   13:50:28   TKTO       0031   MD028   Y   USA   AE       1003   07/25    115315       $19.00
438       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   13:44:01   TKTO       0031   MD028   Y   USA   VI       5693   09/19    065952       $19.00
439       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   13:37:24   TKTO       0031   MD028   Y   CAN   MC       5696   03/19    01730Z       $19.00
440       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   12:24:53   TKTO       0031   MD028   Y   USA   VI       0423   05/21    048425       $19.00
441       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   11:17:07   TKTO       0031   MD028   Y   USA   MC       7703   09/19    02370Z       $19.00
442       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   08:50:55   TKTO       0031   MD028   Y   USA   MC       3973   09/21    021005       $19.00
443       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   03:48:57   TKTO       0031   MD028   Y   USA   VI       1086   05/23   05709D        $19.00
444       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   03:48:50   TKTO       0031   MD028   Y   USA   AE       2006   09/22    165195       $19.00
445       8504   ONE BOX TV, LLC   04111408   2/11/2019   2/10/2019   03:48:43   TKTO       0031   MD028   Y   USA   VI       7590   09/20    010050       $19.00
446       8504   ONE BOX TV, LLC   04141486   2/11/2019    2/9/2019   03:37:31   TKTO       0030   MD028   Y   USA   AE       1009   09/22    147615       $19.00
447       8504   ONE BOX TV, LLC   04141486   2/11/2019    2/9/2019   03:37:28   TKTO       0030   MD028   Y   USA   VI       5943   05/23   01839G        $19.00
448       8504   ONE BOX TV, LLC   04141486   2/11/2019    2/9/2019   03:37:25   TKTO       0030   MD028   Y   USA   VI       2695   06/22   49380D        $19.00
449       8504   ONE BOX TV, LLC   04141486   2/11/2019    2/9/2019   03:37:24   TKTO       0030   MD028   Y   USA   VI       3679   12/23    397496       $19.00
450       8504   ONE BOX TV, LLC   04141486   2/11/2019    2/9/2019   03:37:23   TKTO       0030   MD028   Y   USA   VI       9794   02/22    023616       $19.00
451       8504   ONE BOX TV, LLC   03911282    2/9/2019    2/8/2019   14:34:15   TKTO       0029   MD028   Y   USA   VI       7890   11/23   02451C        $19.00
452       8504   ONE BOX TV, LLC   03911282    2/9/2019    2/8/2019   12:33:59   TKTO       0029   MD028   Y   USA   MC       6104   07/23   00769Z        $19.00
453       8504   ONE BOX TV, LLC   03911282    2/9/2019    2/8/2019   12:17:54   TKTO       0029   MD028   Y   USA   VI       1462   04/22   131174        $19.00
454       8504   ONE BOX TV, LLC   03911282    2/9/2019    2/8/2019   04:53:52   TKTO       0029   MD028   Y   USA   MC       2474   12/22   006018        $19.00
455       8504   ONE BOX TV, LLC   03811263    2/8/2019    2/7/2019   10:44:48   TKTO       0028   MD028   Y   USA   VI       5847   02/23   007073        $27.00
456       8504   ONE BOX TV, LLC   03811263    2/8/2019    2/6/2019   17:26:55   TKTO       0028   MD028   Y   USA   VI       7222   07/23   09667D        $19.00
457       8504   ONE BOX TV, LLC   03711250    2/7/2019    2/6/2019   14:22:49   TKTO       0027   MD028   Y   USA   VI       8731   12/23   07475C        $19.00
458       8504   ONE BOX TV, LLC   03711250    2/7/2019    2/6/2019   13:11:53   TKTO       0027   MD028   Y   USA   VI       9457   12/22   04584G        $19.00
459       8504   ONE BOX TV, LLC   03711250    2/7/2019    2/6/2019   11:55:01   TKTO       0027   MD028   Y   USA   MC       4885   06/22   00632B        $19.00
460       8504   ONE BOX TV, LLC   03711250    2/7/2019    2/6/2019   10:53:59   TKTO       0027   MD028   Y   USA   VI       5293   05/20   085311        $19.00
461       8504   ONE BOX TV, LLC   03711250    2/7/2019    2/6/2019   10:40:11   TKTO       0027   MD028   Y   USA   VI       1504   10/20   33019D        $19.00
462       8504   ONE BOX TV, LLC   03611287    2/6/2019    2/4/2019   19:44:51   TKTO       0026   MD028   Y   USA   VI       8830   03/20   08328C        $19.00
463       8504   ONE BOX TV, LLC   03611287    2/6/2019    2/4/2019   16:34:00   TKTO       0026   MD028   Y   USA   VI       0970   05/23   004131        $19.00
464       8504   ONE BOX TV, LLC   03541689    2/5/2019    2/3/2019   12:29:43   TKTO       0025   MD028   Y   USA   VI       6841   01/20    08294C       $19.00
465       8504   ONE BOX TV, LLC   03541689    2/5/2019    2/3/2019   12:13:55   TKTO       0025   MD028   Y   USA   MC       5110   05/23    00379Z       $19.00
466       8504   ONE BOX TV, LLC   03541689    2/5/2019    2/3/2019   11:28:28   TKTO       0025   MD028   Y   USA   MC       6982   09/22    00333Z       $19.00
467       8504   ONE BOX TV, LLC   03541689    2/5/2019    2/3/2019   09:44:51   TKTO       0025   MD028   Y   USA   MC       9806   12/22    03544P       $19.00
468       8504   ONE BOX TV, LLC   03441496    2/4/2019    2/2/2019   14:51:47   TKTO       0024   MD028   Y   USA   VI       6216   11/22    076971       $19.00
469       8504   ONE BOX TV, LLC   03441496    2/4/2019    2/2/2019   12:11:57   TKTO       0024   MD028   Y   USA   VI       1151   09/19    774133       $19.00
470       8504   ONE BOX TV, LLC   03441496    2/4/2019    2/2/2019   10:07:34   TKTO       0024   MD028   Y   USA   MC       2145   02/22    90308P       $19.00
471       8504   ONE BOX TV, LLC   03441496    2/4/2019    2/2/2019   09:56:09   TKTO       0024   MD028   Y   USA   VI       3892   03/19   80902A        $19.00
472       8504   ONE BOX TV, LLC   03211280    2/2/2019    2/1/2019   09:11:04   TKTO       0023   MD028   Y   USA   VI       2251   01/24    08492D       $19.00
473       8504   ONE BOX TV, LLC   03111252    2/1/2019   1/31/2019   10:58:10   TKTO       0022   MD028   Y   USA   MC       3827   01/22    178385       $19.00
474       8504   ONE BOX TV, LLC   03111252    2/1/2019   1/31/2019   10:48:02   TKTO       0022   MD028   Y   USA   MC       6954   01/23    042482       $19.00
475       8504   ONE BOX TV, LLC   03111252    2/1/2019   1/30/2019   16:58:27   TKTO       0022   MD028   Y   USA   MC       2217   08/22   03052G        $19.00
476       8504   ONE BOX TV, LLC   03011213   1/31/2019   1/30/2019   13:29:02   TKTO       0021   MD028   Y   USA   VI       3780   12/23   07056C        $19.00
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      A                     B          C          D            E          F        G    H     I      J     K    L    M    N            O        P     Q
477       8504   ONE BOX TV, LLC   03011213   1/31/2019   1/30/2019   12:47:27   TKTO       0021   MD028   Y   USA   VI       6050   08/22   174172       $19.00
478       8504   ONE BOX TV, LLC   03011213   1/31/2019   1/30/2019   12:32:53   TKTO       0021   MD028   Y   CAN   VI       7809   05/21   075921       $19.00
479       8504   ONE BOX TV, LLC   03011213   1/31/2019   1/30/2019   11:27:39   TKTO       0021   MD028   Y   USA   VI       0971   11/23   02176C       $19.00
480       8504   ONE BOX TV, LLC   03011213   1/31/2019   1/30/2019   10:32:46   TKTO       0021   MD028   Y   USA   MC       3601   05/22   073923       $19.00
481       8504   ONE BOX TV, LLC   03011213   1/31/2019   1/30/2019   10:12:27   TKTO       0021   MD028   Y   USA   VI       0432   12/20   030032       $19.00
482       8504   ONE BOX TV, LLC   03011213   1/31/2019   1/30/2019   09:50:43   TKTO       0021   MD028   Y   CAN   MC       7168   07/20   01302B       $19.00
483       8504   ONE BOX TV, LLC   03011213   1/31/2019   1/30/2019   09:43:50   TKTO       0021   MD028   Y   USA   VI       2867   06/19   030676       $19.00
484       8504   ONE BOX TV, LLC   03011213   1/31/2019   1/29/2019   19:04:30   TKTO       0021   MD028   Y   USA   VI       5207   08/21   952500       $19.00
485       8504   ONE BOX TV, LLC   02911240   1/30/2019   1/29/2019   14:42:54   TKTO       0020   MD028   Y   USA   MC       7583   05/23   07643Z       $19.00
486       8504   ONE BOX TV, LLC   02911240   1/30/2019   1/29/2019   12:16:48   TKTO       0020   MD028   Y   USA   VI       8687   12/23   09453A       $19.00
487       8504   ONE BOX TV, LLC   02911240   1/30/2019   1/29/2019   10:22:56   TKTO       0020   MD028   Y   USA   VI       1282   06/23   07676B       $19.00
488       8504   ONE BOX TV, LLC   02911240   1/30/2019   1/29/2019   08:10:26   TKTO       0020   MD028   Y   USA   VI       7894   09/22   090722       $19.00
489       8504   ONE BOX TV, LLC   02811170   1/29/2019   1/28/2019   09:46:42   TKTO       0019   MD028   Y   USA   DV       7564   08/23   02896B       $19.00
490       8504   ONE BOX TV, LLC   02711403   1/28/2019   1/27/2019   13:58:35   TKTO       0018   MD028   Y   USA   AE       1007   01/20   140461       $19.00
491       8504   ONE BOX TV, LLC   02711403   1/28/2019   1/27/2019   12:45:11   TKTO       0018   MD028   Y   USA   VI       3606   01/20   014513       $19.00
492       8504   ONE BOX TV, LLC   02711403   1/28/2019   1/27/2019   08:53:46   TKTO       0018   MD028   Y   USA   VI       8253   04/23   028904       $19.00
493       8504   ONE BOX TV, LLC   02741514   1/28/2019   1/26/2019   12:21:31   TKTO       0017   MD028   Y   USA   VI       5511   04/20   02280D       $19.00
494       8504   ONE BOX TV, LLC   02511254   1/26/2019   1/25/2019   14:09:04   TKTO       0016   MD028   Y   USA   AE       1006   06/22   121156       $19.00
495       8504   ONE BOX TV, LLC   02511254   1/26/2019   1/25/2019   12:07:51   TKTO       0016   MD028   Y   USA   VI       3278   07/20   10276D       $19.00
496       8504   ONE BOX TV, LLC   02411236   1/25/2019   1/24/2019   13:39:28   TKTO       0015   MD028   Y   USA   MC       9040   10/20   08563Z       $19.00
497       8504   ONE BOX TV, LLC   02411236   1/25/2019   1/24/2019   13:32:28   TKTO       0015   MD028   Y   USA   DV       8987   03/22   02444R       $19.00
498       8504   ONE BOX TV, LLC   02411236   1/25/2019   1/24/2019   10:37:27   TKTO       0015   MD028   Y   USA   VI       3327   06/23   04522D       $19.00
499       8504   ONE BOX TV, LLC   02311272   1/24/2019   1/23/2019   15:07:00   TKTO       0014   MD028   Y   USA   VI       8552   03/21   100363       $19.00
500       8504   ONE BOX TV, LLC   02311272   1/24/2019   1/23/2019   13:26:24   TKTO       0014   MD028   Y   USA   MC       4653   06/23   08734P       $19.00
501       8504   ONE BOX TV, LLC   02311272   1/24/2019   1/23/2019   13:15:46   TKTO       0014   MD028   Y   USA   VI       6670   11/20   H33515       $19.00
502       8504   ONE BOX TV, LLC   02211232   1/23/2019   1/22/2019   12:47:41   TKTO       0013   MD028   Y   USA   VI       7216   02/21   022509       $19.00
503       8504   ONE BOX TV, LLC   02011379   1/21/2019   1/20/2019   15:17:27   TKTO       0012   MD028   Y   USA   VI       5627   10/19   01820C       $19.00
504       8504   ONE BOX TV, LLC   02011379   1/21/2019   1/20/2019   14:45:21   TKTO       0012   MD028   Y   USA   VI       7662   07/23   05653C       $19.00
505       8504   ONE BOX TV, LLC   02011379   1/21/2019   1/20/2019   14:01:53   TKTO       0012   MD028   Y   USA   DV       7487   09/20   02061R       $19.00
506       8504   ONE BOX TV, LLC   02011379   1/21/2019   1/20/2019   12:54:49   TKTO       0012   MD028   Y   USA   VI       9769   03/22   105543       $19.00
507       8504   ONE BOX TV, LLC   02011379   1/21/2019   1/20/2019   10:19:46   TKTO       0012   MD028   Y   USA   VI       4131   11/21   020545       $19.00
508       8504   ONE BOX TV, LLC   02041483   1/21/2019   1/19/2019   14:54:10   TKTO       0011   MD028   Y   USA   DV       9121   10/22   01919R       $19.00
509       8504   ONE BOX TV, LLC   01811274   1/19/2019   1/18/2019   15:05:32   TKTO       0010   MD028   Y   USA   MC       8098   10/21   01879Z       $19.00
510       8504   ONE BOX TV, LLC   01811274   1/19/2019   1/18/2019   12:32:36   TKTO       0010   MD028   Y   USA   VI       8973   06/20   033236       $19.00
511       8504   ONE BOX TV, LLC   01811274   1/19/2019   1/18/2019   09:46:33   TKTO       0010   MD028   Y   USA   VI       6551   05/20   038900       $19.00
512       8504   ONE BOX TV, LLC   01711224   1/18/2019   1/17/2019   11:41:13   TKTO       0009   MD028   Y   USA   VI       4914   09/20   98989D       $19.00
513       8504   ONE BOX TV, LLC   01611367   1/17/2019   1/16/2019   11:57:58   TKTO       0008   MD028   Y   USA   MC       2790   08/22   02753P       $19.00
514       8504   ONE BOX TV, LLC   01611367   1/17/2019   1/16/2019   08:56:56   TKTO       0008   MD028   Y   USA   MC       9968   11/21   62591B       $19.00
515       8504   ONE BOX TV, LLC   01511240   1/16/2019   1/15/2019   13:54:20   TKTO       0007   MD028   Y   USA   MC       9538   02/22   01518P       $19.00
516       8504   ONE BOX TV, LLC   01511240   1/16/2019   1/15/2019   12:25:37   TKTO       0007   MD028   Y   USA   VI       2548   08/20   06120C       $19.00
517       8504   ONE BOX TV, LLC   01511240   1/16/2019   1/15/2019   12:14:00   TKTO       0007   MD028   Y   USA   DV       0396   01/22   01504P       $19.00
518       8504   ONE BOX TV, LLC   01511240   1/16/2019   1/15/2019   09:08:07   TKTO       0007   MD028   Y   USA   MC       4364   04/23   04220P       $19.00
519       8504   ONE BOX TV, LLC   01311375   1/14/2019   1/13/2019   14:08:36   TKTO       0006   MD028   Y   USA   VI       4832   11/22   05085C       $19.00
520       8504   ONE BOX TV, LLC   01311375   1/14/2019   1/13/2019   13:57:27   TKTO       0006   MD028   Y   USA   MC       2523   02/23   06474M       $19.00
521       8504   ONE BOX TV, LLC   01311375   1/14/2019   1/13/2019   13:55:55   TKTO       0006   MD028   Y   USA   VI       1681   02/23   06670C       $19.00
522       8504   ONE BOX TV, LLC   01311375   1/14/2019   1/13/2019   11:21:12   TKTO       0006   MD028   Y   USA   MC       8380   10/20   45549P       $19.00
523       8504   ONE BOX TV, LLC   01311375   1/14/2019   1/13/2019   10:45:38   TKTO       0006   MD028   Y   USA   VI       2252   10/23   06151D       $19.00
524       8504   ONE BOX TV, LLC   01311375   1/14/2019   1/13/2019   09:37:04   TKTO       0006   MD028   Y   USA   AE       4016   11/21   102432       $19.00
525       8504   ONE BOX TV, LLC   01341398   1/14/2019   1/12/2019   14:19:35   TKTO       0005   MD028   Y   USA   VI       7565   01/20   689413       $19.00
526       8504   ONE BOX TV, LLC   01341398   1/14/2019   1/12/2019   11:47:06   TKTO       0005   MD028   Y   USA   AE       4001   05/23   113196       $19.00
527       8504   ONE BOX TV, LLC   01341398   1/14/2019   1/12/2019   11:17:45   TKTO       0005   MD028   Y   USA   AE       1000   02/20   189113       $19.00
528       8504   ONE BOX TV, LLC   01341398   1/14/2019   1/12/2019   09:30:49   TKTO       0005   MD028   Y   USA   MC       8416   06/21   90210Z       $19.00
529       8504   ONE BOX TV, LLC   01111285   1/12/2019   1/11/2019   12:46:45   TKTO       0004   MD028   Y   USA   VI       1086   05/23   09362D       $19.00
530       8504   ONE BOX TV, LLC   01111285   1/12/2019   1/11/2019   11:16:31   TKTO       0004   MD028   Y   USA   AE       2006   09/22   126448       $19.00
531       8504   ONE BOX TV, LLC   01111285   1/12/2019   1/11/2019   09:44:21   TKTO       0004   MD028   Y   USA   VI       7590   09/20   011771       $19.00
532       8504   ONE BOX TV, LLC   01011299   1/11/2019   1/10/2019   13:07:30   TKTO       0003   MD028   Y   USA   AE       1009   09/22   124518       $19.00
533       8504   ONE BOX TV, LLC   01011299   1/11/2019   1/10/2019   12:26:30   TKTO       0003   MD028   Y   USA   VI       5943   05/23   08913G       $19.00
534       8504   ONE BOX TV, LLC   01011299   1/11/2019   1/10/2019   11:35:04   TKTO       0003   MD028   Y   USA   VI       2695   06/22   65317D       $19.00
535       8504   ONE BOX TV, LLC   01011299   1/11/2019   1/10/2019   11:01:43   TKTO       0003   MD028   Y   USA   VI       3679   12/23   368523       $19.00
536       8504   ONE BOX TV, LLC   01011299   1/11/2019   1/10/2019   10:39:18   TKTO       0003   MD028   Y   USA   VI       9794   02/22   005389       $19.00
537       8504   ONE BOX TV, LLC   00911280   1/10/2019    1/9/2019   11:26:01   TKTO       0002   MD028   Y   USA   MC       2474   12/22   002545       $19.00
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                         PART
                           1
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Business Account Application
Bank Name:
!WELLS FARGO BANK, N .A.
Banker Name:
!STEPHANIE M. SANCHEZ
                                                                                              Branch Name:


                                                                                             Officer/Portfolio Number:
                                                                                             ICD866
                                                                                                                                    Date:
                                                                                                                                    !06/29/2017
                                                                                                                                                                           •
Banker Phone:                                              Branch Number:                     Banker AU:                            Banker MAC:
!941/727-7389                                              i   10565                         10066520                               !Z3004-010
To help the government fight the funding of terrorism and money laundering activities, U.S. Federal law requires financial institutions to obtain, verify, and record information that
identifies each person (individuals and businesses) who opens an account. What this means for you: When you open an account, we will ask for your name, address, date of birth and
other information that will allow us to identify you. We may also ask to see your driver's license or other identifying documents.

New Account Information

         [g]   New Deposit Account(s) Only                             D    New Deposit Account(s) and Business Credit Card

Account 1 Product Name:                                                                       Purpose of Account 1 :

lV\7e11 s XCl.£9:~ £3l1~~£l~~s C::l1.()~~~ C::ll.~~~~£19'                                    Jc;~I1~£Cl.::l2E~J:Cl.~~i:19'           Account
COID:              Product:          Account Number:                                          Opening Deposit:                      Type ofFunds:
   87               DDA                           9888                                          500.00                               INTX

New Account Kit:                                                                                                        Checking/Savings Bonus Offer Available:
bb-002667286                                                                                                            NO

Related Customer Information
Customer 1 Name:
           BOX TV,       LLC
Enterprise Customer Number (ECN):                                                               Account Relationship:
  76897701806518                                                                                           Owner
Customer 2 Name:
!WILLIAM R FIRESTONE
Enterprise Customer Number (ECN):                                                               Account Relationship:
!7 2 5105 0222 93 8 52                                                                         !Signer
Customer 3 Name:
!DONNA C FOGLE
Enterprise Customer Number (ECN):                                                               Account Relationship:
!7 2 5105 0 0 8 9 0 07 65                                                                      !signer

Checking/Savings Statement Mailing Information
Name(s) and Information Listed on Statement:                                                  Statement Mailing Address:
j~]'J~     BOX TV,       LLC                                                                   1707 lST ST
                                                                                              Address Line 2:
                                                                                               BOOTH 22
                                                                                              City:                                                               State:
                                                                                               BRADENTON                                                          I

                                                                                              ZIP /Postal Code:                                                   Country:
                                                                                               34208-3501                                                         I




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                                                                                                                              I                                               Page 1 of5
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                                                                                                                                                               Business Account Application
Customer 1 Information
Customer Name:
!ONE BOX TV, LLC
Enterprise Customer Number (ECN):                                                                               Street Address:
1576897701806518                                                                                                1707 lST ST
Account Relationship:                                                                                           Address Line 2:
!Sole Owner                                                                                                     BOOTH 22
Taxpayer Identification Number (TIN):                    TIN Type:                                              Address Line 3:
             3757                                        IEIN
Business Type:                                                                                                  City:                                                      State:
jLimited Liability Company                                                                                      BRADENTON                                              IFL
Business Sub-Typeff ax Classification:                                             Non-Profit:                  ZIP/Postal Code:                                           Country:
IS Corporation                                                                     INo                          34208-3501                                             f   US
Date Originally Established:          Current Ownership Since:                     Number of Employees:         Business Phone:                      Fax:
!05/11/2017                           I                                            12                           610/533-3150                        i
Annual Gross Sales:                              Year Sales Reported:              Fiscal Year End:             Cellular Phone:                      Pager:
j$75,000.00                                     !06/29/2017                        I                                                                i
Primary Financial Institution:                  Number of Locations:                                            e-Mail Address:
                                                il
Primary State 1:                       Primary State 2:                            Primary State 3:             Website:
I                                     I                                            I
Primary Country 1:                     Primary Country 2:                          Primary Country 3:           Sales Market:
I                                     I                                            I
                                                                                                                LOCAL
Industry:
!Other Services                     (except Public Administration)
                                 -----------------------------------------------

Description ofBusiness:
!Electronic Retail Store
Major Suppliers/Customers:



Bank Use Only
Name/Entity Verification:                                                                    Address Verification:
!Articles of Organization                                                                    !VISUAL
BACC Reference Number:
16171800000855
Document Filing Number/Description:                                       Filing Country:    Filing State:                  Filing Date:         Expiration Date:
IL17000105223                                                            1us                 !FL                            !05/11/2017
Country of Registration:         State of Registration:                  International Transactions:                                             Check Reporting:
    us                            FL                                                                                                             !NO RECORD
Customer 1 Name:                                                                                              Internet Gambling Business?:
          BOX TV, LLC                                                                                          No




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                                                                                                                                             I                                   Page 2 of5
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                                                                                                                                                 Business Account Application

Owner/Key Individual 1 Information
Customer Name:                                                                                     Residence Address:
!DONNA C FOGLE                                                                                     5726 CORTEZ RD W # 134
Business Relationship:                                                                             Address Line 2:
!Owner with Control of the Entity
Position!Title:                                   Date of Birth:           Percent of Ownership: Address Line 3:
                                              !               /1958 1100. 0
Enterprise Customer Number (ECN):                                                                  City:                                                     State:
1725105008900765                                                                                   BRADENTON                                                 IFL
Taxpayer Identification Number (TIN):             TIN Type:                                        ZIP/Postal Code:                                          Country:
              8-9022                              ISSN                                             34210-2701                                                1us
    Primary ID Type:            Primary ID Description:                                            Country of Citizenship:   Permanently Resides in US:
INDLC                                             241                                              us                        I

Primary ID St/Ctry/Prov:        Primary ID Issue Date:             Primary ID Expiration Date:     Check Reporting:
I~~                         l l~_{~~I~Q~~                          ~ l.2_L~~~~9~~                  ~o RECORD
Secondary ID Type:           Secondary ID Description:
IOTHR DC                    IWF8480
Secondary ID State/Country: Secondary ID Issue Date:               Secondary ID Expiration Date:
I                           I                                      108/30/2020




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                                                                                                                                                        Business Account Application

Certificate of Authority
Each person who signs the "Certified/ Agreed To" section of this Application certifies that:
   A. The Customer's use of any Wells Fargo Bank, N.A. ("Bank") deposit account, product or service will confirm the Customer's receipt of, and
     agreement to be bound by, the Bank's applicable fee and information schedule and account agreement that includes the Arbitration Agreement
     under which any dispute between the Customer and the Bank relating to the Customer's use of any Bank deposit account, product or service will
     be decided in an arbitration proceeding before a neutral arbitrator as described in the Arbitration Agreement and not by a jury or court trial.
   B. Each person who signs the "Certified/Agreed To" section of this Application or whose name, any applicable title and specimen signature appear in the "Authorized Signers-
      Signature Capture" section of this Application is authorized on such terms as the Bank may require to:
      (1) Enter into, modify, terminate and otherwise in any manner act with respect to accounts at the Bank and agreements with the Bank or its affiliates for accounts and/or services
          offered by the Bank or its affiliates (other than letters of credit or loan agreements);
      (2) Authorize (by signing or otherwise) the payment of Items from the Customer's account(s) listed on this Business Account Application (including without limitation any Item
          payable to (a) the individual order of the person who authorized the Item or (b) the Bank or any other person for the benefit of the person who authorized the Item) and the
          endorsement of Deposited Items for deposit, cashing or collection (see the Bank's applicable account agreement for the definitions of "Item" and "Deposited Item");
      (3) Give instructions to the Bank in writing (whether the instructions include the manual signature or a signature that purports to be the facsimile or other mechanical signature
          including a stamp of an Authorized Signer as the Customer's authorized signature without regard to when or by whom or by what means or in what ink color the signature
          may have been made or affixed), orally, by telephone or by any electronic means in regard to any Item and the transaction of any business relating to the Customer's
          account(s), agreements or services, and the Customer shall indemnify and hold the Bank harmless for acting in accordance with such instructions; and
      (4) Delegate the person's authority to another person(s) or revoke such delegation, in a separate signed writing delivered to the Bank.

   C. If a code must be communicated to the Bank in order to authorize an Item, and the code is communicated, the Item will be binding on the Customer regardless of who
      communicated the code.
   D. Each transaction described in this Certificate of Authority conducted by or on behalf of the Customer prior to delivery of this Certificate is in all respects ratified.
   E. If the Customer is a tribal government or tribal government agency, the Customer waives sovereign immunity from suit with respect to the Customer's use of any Bank account,
      product or service referred to in this Certificate.
   F. The information provided in this Application is correct and complete, each person who signs the "Certified/Agreed To" section of this Application and each person whose name
      appears in the "Authorized Signers-Signature Capture" section of this Application holds any position indicated, and the signature appearing opposite the person's name is authentic.
   G. The Customer has approved this Certificate of Authority or granted each person who signs the "Certified/Agreed To" section of this Application the authority to do so on the
      Customer's behalf by:
      (1) resolution, agreement or other legally sufficient action of the governing body of the Customer, if the Customer is not a trust or a sole proprietor;
      (2) the signature of each of the Customer's trustee(s), if the Customer is a trust; or
      (3) the signature of the Customer, if the Customer is a sole proprietor.




Certified/Agreed To
Owner/Key Individual 1 Name                                                                                                      Position/Title:
 DONNA C FOGLE
Owner/Key Individual 1 Signature

1-,~~                                                                                   D      Submit manually                   Date:
      co~                                                                               D      Signature not required           106/29/2017


Authorized Signers - Signature Capture
Authorized Signer 1 Name                                                                                                         Position/Title:
WILLIAM R FIRESTONE
Authorized Signer 1 Signature

                                                                                        D      Submit manually                   Date:
                                                                                        D      Signature not required             06/29/2017




                                                                                                                                                                                 Page 4 of 5
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                                                                                         Business Account Application

Authorized Signer 2 Name                                               Position/Title:
DONNA C FOGLE


                                          D   Submit manually
                                                                       Date:
                                          D   Signature not required
                                                                       106/29/2017




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Wells Fargo Business Choice Checking
Account number:                  9888        • June 29, 2017 -June 30, 2017 • Page 1 of 4




                                                                                                           Questions?
ONE BOX TV, LLC                                                                                            Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST ST
                                                                                                             1-800-CALL-WELLS                (1-800-225-5935)

BRADENTON FL 34208-3501                                                                                      TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (287)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Cash flow is a key indicator of the inancial health of your business. Find tips and                       A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 strategies for effective cash flow management at wellsfargoworks.com.
                                                                                                           cell the numbf!1r above if you have queslions or if you would
                                                                                                           like to add new s&rvices.

                                                                                                           Business Online Banking                               0
                                                                                                           Online Statements                                     0
                                                                                                           Business Bill Pay                                     0
                                                                                                           Business Spending Report                              0
                                                                                                           Overdraft Protection                                  D


Activity summary                                                                                            Account number:              9888
        Beginning balance on 6129                                          $0.00                            ONE BOX TV, LLC
        Deposits/Credits                                                  525.00                            Floride account terms end conditions ffipply
        Withctawals!Debits                                                - 0.00                            For Direct Deposit use
        Ending balance on 6130                                          $525.00                             Routing Number (RTN): 063107513
                                                                                                            For Wire Transfers use
        Average ledger balance this period                              $512.50                             Routing Number (RTN): 121000248



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




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      Sheet Seq"' (]263305
      Sheet 00001 cf OOQ02
                                                                                                                                 REDE Page 3 ofl81
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Account number:                  9888      • June29, 2017 -June 30, 2017 • Page 2 of 4




Transaction history

                            Check                                                                                   Deposits!          Withdrawals/            Ending daily
       Date               Number Description                                                                          Credits                     Debits           balance
       6129                         Etransfer IN Branch/Store- From Checking 1510 Cortez Rd W                         500.00                                           500.00
                                    Bradenton FL 6221
       6130                         06/30Bankcard Deposit          9144                                                25.00                                           525.00
       Ending balance on 6130                                                                                                                                          525.00
       Totals                                                                                                       $525.00                       $0,00
       The Endng Daily Balance does not reflect any pending !Mthdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insuffident available funds when a transaction posted, fees may have been assessed,


Monthly service fee summary

For a complete list of fees and detailed account information, please seethe Wells Fargo Fee and Information Schedule and Account Agreement applicable to
your account or talk to a banker. Go to wellsfargo.com/feefaq to find answers to common questions about the monthly service fee on your account


       Fee period 06129!2017 - 06!30/2017                                                  standard monthly service fee $14.00                       You paid $0.00

       We waived the fee this fee period to allow you to meet the requirements to avoid the monthly service fee. Your fee waiver is about to expire. You will
       need to meet the requirement(s) to avoid the monthly service fee.

       How to avoid the monthly service fee                                                                  Minimum required                        This fee period
       Have any ONE of the following accoLJnt requirements
           Average ledger balance                                                                                      $7,500.00                            $513.00     D
           Qualifying transaction from a linked Wells Fargo Business Payroll Services account                                     1                                oo
              Qualifying transaction from a linked We115 Fargo Merchant Services account                                                                           1G
              Total number of posted Wells Fargo Debit Card purchases andlor payments                                            10                                oD
              Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                       1                                oo
              Combined balances in linked accounts, which may include                                                 $10,000.00                                        D
                Average ledger balances in business checking, savings, and time accounts
                Most recent statement balance in eligible Wells Fargo business credit cards and
                lines of credit, and combined average daily balances from the previous month
                in eligible Wells Fargo business and commercial loans and lines of credit
                For complete df!l:ails on how you can avoid the monthly service fee based on
                yoLJr combined balances please refer to page 7 of the Business Account Fee and
                Information Schedule at www.wellsfargo.oomlbiz/fee-information




Account transaction fees summary
                                                                                           Units           Excess         Service charge per                   Total service
       Service charge description                                  Units used          induded              units               excess units($)                  charge($)
       Cash Deposited($)                                                    0              7,500                0                      0.0030                            0.00
       Transactions                                                         0                200                0                         0.50                           0.00
       Total service charges                                                                                                                                            $0.00
                                                                                                                             REDE Page 4 ofl81
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~IMPORTANT ACCOUNT INFORMATION
Revised Agreement for Online Access
We're updating our Online Access Agreement effective September 15, 2017.
To see what is changing, please visit wellsfargo.corn!onlineupdates.



Periodically, it is necessacy to update selected sections of the disclosures you received when you opened your account. These updates
provide you with the most up to date account information and are very important; so please review this information carefully and feel
free to contact us with any questions or concerns.

We are updating the Account Agreement ('Agreement") dated April 24, 2017. Effective August 15, 2017, in the section titled ''Rights
and Responsibilities", the subsections "When can you close your account?" and "If you request to close your account, we may allow you
to keep funds in your account to cover outstanding Items to be paid'' are deleted and replaced with the following:

When can you close your account?

You can request to close your account at any time if the account is in good standing (e.g., does not have a negative balance or
restrictions such as legal order holds or court blocks on the account). Atthe time of your request, we will assist you in withdrawing or
1ransferrilg any remaining funds, bringing your account balance to zero.
- All outstanding Items need to be processed and posted to your account before your request to close. Once the account is closed
Items will be returned unpaid.
- Any recurring payments or withdrawals from your account need to be cancelled before your request to close (examples include bill
payments, debit card payments, and direct deposits) otherwise, they may be returned unpaid.

We will not be liable for any loss or damage that may result from not honoring Items or recurring payments or withdrawals that are
presented or received after your account is closed.

At the time of your request to close:
- For interest-earning accounts, it stops earning interest from the date you request to close your account.
- Overdraft Protection and/or Debit Card Overdraft SeNice will be removed on the date you request to close your account.
- The Agreement continues to apply.
- If you have requested to close your account and a positive balance remains, we may send you a check for the remaining balance.
Even after your account is closed, you will remain responsible for any negative balance.

In California branches you can request to close your account at any time if the account does not have any restrictions such as legal
order holds or court blocks. Even after your account is closed, you will remain responsible for any negative balance.

All other aspects of the Agreement remain the same. If there is a conflict between the updated language above and the Agreement,
1he updated language will controL

Thank you for being a Wells Fargo customer. As a valued Wells Fargo customer, we hope you find this information helpfuL Aijain, if you
have questions or concerns about these changes, please contact your local banker or call the number listed on your statement




      Sheet Seq"' (]263306
      Sheet 00002 cf 00002
                                                                                                                               REDE Page 5 ofl81
      Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 212 of 460 PageID 289

Account number:                             9888      • June29, 2017 -June 30, 2017 • Page 4 of 4




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts              You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the        information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft         an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                    Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                     Total amount $




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                                                                                                                                 REDE Page 6 ofl81
    Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 213 of 460 PageID 290

Wells Fargo Business Choice Checking
Account number:                    9888      • July 1, 2017 - July 31, 2017 •           Page 1 of 6




                                                                                                           Questions?
ONE BOX TV, LLC                                                                                            Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST ST
                                                                                                             1-800-CALL-WELLS                (1-800-225-5935)

BRADENTON FL 34208-3501                                                                                      TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (287)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Cash flow is a key indicator of the inancial health of your business. Find tips and                       A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 strategies for effective cash flow management at wellsfargoworks.com.
                                                                                                           cell the numbf!1r above if you have queslions or if you would
                                                                                                           like to add new s&rvices.

                                                                                                           Business Online Banking                               0
                                                                                                           Online Statements                                     0
                                                                                                           Business Bill Pay                                     0
                                                                                                           Business Spending Report                              0
                                                                                                           Overdraft Protection                                  D


Activity summary                                                                                            Account number:              9888
        Beginning balance on 711                                        $525.00                             ONE BOX TV, LLC
        Deposits/Credits                                               14,786.80                            Floride eccount terms end conditions ffipply
        Withctawals!Debits                                            - 8,785.69                            For Direct Deposit use
        Ending balance on 7/31                                        $6,526.11                             Routing Number (RTN): 063107513
                                                                                                            For Wire Transfers use
        Average ledger balance this period                             $2,452.95                            Routing Number (RTN): 121000248



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (.!67)
      Sheet Seq"' Cl144215
      Sheet 00001 cf 00003
                                                                                                      REDE Page 7 ofl81
   Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 214 of 460 PageID 291

Account number:         9888     • July 1, 2017 - July 31, 2017 • Page 2 of 6




Transaction history

                   Check                                                                  Deposits!       Withdrawals/    Ending daily
     Date         Number Description                                                        Credits             Debits        balance
     713                 07/03Bankcard Deposit         9144                                 187.25
     713                 07/03Bankcard Deposit         9144                                 925.55
     713                 07/03Bankcard Deposit         9144                                 722.25
     713              99 Cashed Check                                                                           625.00
     713                 Purchase authorized on 07/03 The UPS Store #5574 46 Bradenton                           13.60       1,721.45
                         FL P00000000757416994 Card 3166
     7110                07/10Bankcard Dee:osit        9144                                 454.75
     7110                07/10Bankcard Deposit         9144                               1,016.50
     7110                07/10Bankcard Deposit         9144                                 602.50
     7110                Paypal Verifybank 170710 1042Q2222MA4Ygl Donnafogle                  0.14
                         Oneboxtv
     7110                Paypal Verifybank 170710 2042Q2222MA4Ygl Donnafogle                  0.14
                         Oneboxtv
     7110                Paypal Verifybank 170710 4042Q2222MA4Ygl Donnafogle                                      0.28       3,995.20
                           Oneboxtv
     7111                Harland Clarke Checkl"Acc.                    5482 One Box Tv,                          36.86
                         LLC
     7!11            100 Cashed Check                                                                           520.00
     7111                Xiaozeyong lat Paypal 170711 1001354762094 Donnafogle                                2,205.00       1,233.34
                         Oneboxtv
     7!12                Purchase authorized on 07/11 Bright House Netwo 317-972-9700                            84.98
                         FL S587191677066857 Card 3174
     7!12                07/12Bankcard Deposit -         9144                                                   267.50
     7!12                Purchase authorized on 07f12 The UPS Store #0108 57 Bradenton                           17.54
                         FL P00000000735974586 Card 3166
     7112                Bright House Net Cable Tv 170711 2579680 *lvr                                           55.28
     7!12                Fpl Direct Debit Elec Pymt 07f17 7207403200 Telv Donna C Fogle                         266.51         541.53
     7113                07/13Bankcard Deposit -         9144                               375.00
     7113                Bankcard Fee-           9144                                                            54.15
     7!13                Bankcard Interchange Fee-           9144                                               162.76
     7113                Bankcard Discount Fee-           9144                                                  233.55
     7113                Xiaozeyong lat Paypal 170713 1001365303120 Donnafogle                                  255.30         210.77
                         Oneboxtv
     7117                07/17Bankcard Deposit           9144                                16.05
     7117                07/17Bankcard Deposit           9144                             1,702.75
     7!17                07/17Bankcard Deposit           9144                             1,219.80
     7117           1001 Cashed Check                                                                           565.00
     7117                Purchase authorized on 07/17 Wawa Store 5165 Bradenton FL                               30.00       2,554.37
                         P00387198724760722 Card 3166
     7118                Purchase authorized on 07!18 Harbor Freight Tools 5 Bradenton                           20.29
                         FL P00000000056098458 Card 3166
     7!18                Purchase authorized on 07118 Lowe's #1843 Bradenton FL                                   4.25
                         P00307199592329621 Card 3166
     7118                Purchase authorized on 07f18 The Home Depot #1863                                        6.93       2,522.90
                         Bradenton FL P00467199821995612 Card 3166
     7119                Purchase authorized on 07/19 Wawa Store 5165 Bradenton FL                               58.32       2,464.58
                         P00387200727709354 Card 3166
     7!20                Square Inc 170720R2170720 L204222814145 One Box Tv LLC             101.17
     7120                07/20Bankcard Deposit           9144                               267.50
     7!20                Square Inc SdV-\frfy 170720 T20013001096 One Box Ty LLC              0.01
     7120                Square Inc Sdv-Vrfy 170720 T20013001324 One Box Tv LLC               0.01
     7120                Purchase authorized on 07!20 Office Depot 00 4026 1 Bradenton                           78.09
                         FL P00587201749951093 Card 3174
     7120                Purchase authorized on 07/20 Office Depot 00 4026 1 Bradenton                            4.28
                         FL P00307201753035866 Card 3174
     7120                Cash eWithdrawal In Branch/Store 07f20f2017 5:02 Pm 1510                               350.00
                         Cortez Rd W Bradenton FL 3174
     7120                Cash eWithdrawal in Branch/Store 07120/2017 5:05 Pm 1510                               100.00
                         Cortez Rd W Bradenton FL 3174
                                                                                                                             REDE Page 8 ofl81
    Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 215 of 460 PageID 292

Account number:                    9888     • July 1, 2017 - July 31, 2017 • Page 3 of 6




Transaction history (continued)
                             Check                                                                               Deposits!        \!Wthdrawalsl       Ending dally
       Date                 Number Description                                                                     Credits               Debits              balance
       7120                          Fdgl Lease Pymt 170720 052-1323765-000 Donna Fogle                                                  39.22
                                     Oneboxtv
       7120                          Square Inc Sdv-Vrfy 170720 T20013001097 One Box Ty LLC                                                  0.01
       7120                          Square Inc Sdv-Vrfy 170720 T20013001323 One Box Tv LLC                                                  0.01           2,261.66
       7!21                          07/21Bankcard Deposit         9144                                             267.50                                  2,529.16
       7124                          07/24Bankcard Deposit         9144                                             845.49
       7124                          07/24Bankcard Deposit         9144                                           1,539.08
       7124                          07/24Bankcard Deposit          9144                                           455.00
       7124                          Purchase authorized on 07f22 Little Country Store Bradenton FL                                          5.63
                                     P00000000934381121Card3174
       7!24                          Purchase authorized on 07/22Wawa Store 5165 Bradenton FL                                            49.75
                                     P00467203515826858 Card 3166
       7124                          Purchase authorized on 07!24 Wawa Store 5165 Bradenton FL                                           49.37
                                   P00467205608047766 Card 3166
       7124                   1002 Cashed Check                                                                                         730.00
       7124                        Paypal Inst Xfer 170n4 Upwrkescrow Donnafogle Oneboxtv                                                 7.71              4,526.27
       7!25                        Purchase authorized on 07f22 Linger Lodge Resta Bradenton FL                                          55.27
                                   S46n04061878307 Card 3174
       7125                        Purchase authorized on 07/24 Wal-Mart Super Center Bradenton                                          11.25              4,459.75
                                   FL P00000000555447990 Card 3174
       7126                        07/26Bankcard De~osit          9144                                              42.79                                   4,502.54
       7127                        07/27Bankcard Deposit          9144                                             302.50
       7127                        Purchase authorized on 07/26 Der Dutchman Saras Sarasota FL                                           61.33              4,743.71
                                     8307207829982192 Card 3174
       7!28                          07/28Bankcard Deposit         9144                                            267.50
       7128                          Purchase authorized on 07/26 Goodwill Corporat 941-3552721                                         152.29
                                     FL 5387207775786474 Card 3174
       7128                          Purchase authorized on 07/26 Goodwill Corporat 941-3552721                                          95.00
                                     FL $307207779381118 Card 3174
       7128                          Purchase authorized on 07/28 The UPS Store #5574 46 Bradenton                                       37.63              4,726.29
                                     FL P00000000641658065 Card 3166
       7131                          07/31Bankcard Deposit         9144                                            738.55
       7131                          07/31Bankcard Deposit         9144                                           1,070.00
       7131                          07/31Bankcard Deposit         9144                                           1,467.02
       7131                          Purchase authorized on 07/29 Shell Service Station Dunedin FL                                       53.08
                                     P00467210588931503 Card 3166
       7131                        Purchase authorized on 07f31 USPS PO 11097701 4112 53R                                                35.17
                                   Bradenton FL ?00387212792416336 Card 3174
       7131                   1003 Check                                                                                              1,387.50              6,526.11
       Ending balance on 7/31                                                                                                                               6,526.11
       Totals                                                                                                  $14,786.80           $8,785.69
       The Encing Daily Balance does not reflect any pending !Mthdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed,




Summary of checks written            (checks listed are also displayed in the preceding Transaction history)

       Number               Date                 Amount        Number            Date                 Amount        Number            Date                   Amount
       99                   713                  625.00         1001 *           7117                 565.00        1003              7131                  1,387.50
       100                  7111                 520.00         1002             7124                 730.00

        • Gap in check sequence_


Monthly service fee summary

For a complete list of fees and detailed account information, please see the Wells Fargo Fee and Information Schedule and Account Agreement applicable to
your account or talk to a banker. Go to wellsfargo. comffeefaq to find answers to common questions about the monthly service fee on your account




     Sheet Seq"' Cl144216
     Sheet 00002 cf OOQ03
                                                                                                                                REDE Page 9 ofl81
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Account number:                 9888        • July 1, 2017 - July 31, 2017 • Page 4 of 6




Monthly service fee summary (continued)

       Fee period 07!01f2017 - 07/31/2017                                                   standard monthly service fee $14.00                  You paid $0.00

       We waived the fee this fee period to allow you to meet the requirements to avoid the monthly service fee. This is the final period with the fee waived.
       For the next fee period, you need to meet the requirement(s) to avoid the monthly service fee.

       How to avoid the monthly service fee                                                                   Minimum required                   This fee period
       Have any ONE of the following accoLJnt requirements
            Average ledger balance                                                                                      $7,500.00                     $2,453.oo D
            Qualifying transaction from a linked Wells Fargo Business Payroll Services account                                   1                                oo
            Qualifying transaction from a linked We115 Fargo Merchant Services account                                                                           25   G
            Total number of posted Wells Fargo Debit Card purchases andfor payments                                            10                                21 [21
            Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                        1                                oo
            Combined balances in linked accounts, which may include                                                   $10,000.00                                      D
               Average ledger balances in business checking, savings, and time accounts
               Most recent statement balance in eligible Wells Fargo business credit cards and
               lines of credit, and combined average daily balances from the previous month
               in eligible Wells Fargo business and commercial loans and lines of credit
               For complete details on how you can avoid the monthly service fee based on
               your combined balances please refer to page 7 of the Business Account Fee and
               Information Schedule at www.wellsfargo.oomlb!z/fee-lnformatlon




Account transaction fees summary
                                                                                            Units           Excess         Se1111ce charge per             Total service
       Service charge description                                   Units used          induded              units            excess units($)                    charge($)
       Cash Deposited($)                                                    0              7,500                 0                    0.0030                           0.00
       Transactions                                                        19                200                 0                       0.50                          0.00
       Total service charges                                                                                                                                          $0.00




         IMPORTANT ACCOUNT INFORMATION

Periodically, it is necessar; to update selected sections of the disclosures you received when you opened your account. These updates
provide you with the most up to date account information and are very important; so please review this information carefully and feel
free to contact us with any questions or concerns.


We updated the Business Account Agreement ('Agreement"). In the section titled ''Available balance, posting order, and overdrafts,"
the following question about our standard overdraft coverage was added:


What is Wells Fargo's standard overdraft coverage?
Our standard overdraft coverage is when, at our discretion, we pay checks or automatic payments (such as ACH payments) into
overdraft rather than returning them unpaid. You can request to remove our standard overdraft coverage from your account by
speaking to a banker.


Important: If you remove our standard overdraft coverage from your account, the following will apply if you do not have enough
money In your account or accounts llnked for Overdraft Protection to cover a transaction:
- We will return your checks and automatic payments (such as ACH payments) and assess a non-sufficient fundsfNSF returned item fee
and you could be assessed additional fees by merchants.
- We will not authorize transactions such   as A TM withdrawals or everyday debit card purchases into overdraft.
                                                                                                                             REDE Page 10 ofl81
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Account number:                 9888      • July 1, 2017 - July 31, 2017 • Page 5 of 6




- We will not authortze certain transactions (such as cashed checks, recurrtng debit card transactions, or Bill Pay transactions} into
overdraft H01Never, If these transactions are authorized when your account has enough money but are later presented for payment
when your account does not have enough money, we will pay the transaction into overdraft and charge an overdraft fee.


All other aspects of the Agreement remain the same. If there is a conflict between the language above and the Agreement, this
language will control.


If you remove our standard overdraft coverage and your account is enrolled in Debit Card Overdraft Seruice, Debit Card Overdraft
Seivice will be removed and we will not authortze transactions such as ATM withdrawals or everyday cleblt card purchases into
overdraft

To learn more about tools that Wells Fargo offers to help you avoid overdraft and/or returned Item fees, visit
wellsfargo.com/biz/checkfng/quickstarl/overdraft-protection, speak with a local banker or call the phone number on the top Df your
statement. Thank ynu fnr being a Wells Fargo customer. As a valued Wells Fargo customer we hope you find this informatinn helpful.




      Sheet Seq"' Cl144217
      Sheet 00003 cf OOQ03
                                                                                                                                 REDE Page 11 of 181
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Account number:                             9888      • July 1, 2017 - July 31, 2017 • Page 6 of 6




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts                You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                  and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the          information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft           an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                      Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                       Total amount $




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                                                                                                                                 REDE Page 12of181
    Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 219 of 460 PageID 296

Wells Fargo Business Choice Checking
Account number:                    9888      • August 1, 2017 - August 31, 2017              •   Page 1 of 5




                                                                                                           Questions?
ONE BOX TV, LLC                                                                                            Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST ST
                                                                                                             1-800-CALL-WELLS                (1-800-225-5935)

BRADENTON FL 34208-3501                                                                                      TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (287)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Cash flow is a key indicator of the inancial health of your business. Find tips and                       A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 strategies for effective cash flow management at wellsfargoworks.com.
                                                                                                           cell the numbf!1r above if you have queslions or if you would
                                                                                                           like to add new s&rvices.

                                                                                                           Business Online Banking                               0
                                                                                                           Online Statements                                     0
                                                                                                           Business Bill Pay                                     0
                                                                                                           Business Spending Report                              0
                                                                                                           Overdraft Protection                                  D


Activity summary                                                                                            Account number:              9888
        Beginning balance on 811                                       $6,526.11                            ONE BOX TV, LLC
        Deposits/Credits                                               22,540.13                            Floride account terms end conditions ffipply
        Withctawals!Debits                                           - 19,911.94                            For Direct Deposit use
        Ending balance on 8131                                        $9,154.30                             Routing Number (RTN): 063107513
                                                                                                            For Wire Transfers use
        Average ledger balance this period                             $8, 103.47                           Routing Number (RTN): 121000248



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (.!67)
      Sheet Seq"' Cl148238
      Sheet 00001 cf 00003
                                                                                                                REDE Page 13 of 181
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Account number:         9888         • August 1, 2017 - August 31, 2017             • Page 2 of 5




Transaction history

                   Check                                                                            Deposits!       Withdrawals/   Ending daily
     Date         Number Description                                                                  Credits             Debits       balance
     811                   Square Inc 170801R2 170801 L204226297433 One Box Tv LLC                    168.72
     811            1004 Cashed Check                                                                                     630.00      6,064.83
     812                   08/0ZBankcard Deposit           9144                                        28.80
     812                   Purchase authorized on 08f02 The UPS Store #5574 46 Bradenton                                   14.13
                           FL P00000000381843813 Card 3166
     812                   Purc;hase authorized on 08/02 Auto zone 4931 5239 31 Bradenton                                   5.98
                           FL P00387214771513838 Card 3166
     812                   Louden LLC Rent 170801 70347215 One Box Tv LLC                                               1,440.74      4,632.78
     813                   Bright House Net Cable Tv 170602 0453893 *lvr                                                   64.96
     813                   Pa~e,al   Inst Xfer 170803 Kmsaleskm   Donnafo~le   Oneboxtv                                    17.95
     813                   Paypal Inst Xfer 170803 Nfscarbon26 Donnafogle Oneboxtv                                         24.99      4,504.86
     814                   08104Bankcard Depooit          9144                                        535.00
     814                   Recurring Payment authorized on 08/03 Phone.Com, Inc                                            84.10
                           800-9987087 NJ 8467215400952608 Card 3166
     814                   Purchase authorized on 08104 Bushnell Citgo Bushnell FL                                         43.20      4,912.56
                           P00307216627117156 Card 3166
     817                   08/07Bankcard Deposit          9144                                        240.75
     817                   08/07Bankcard Depooit          9144                                        872.50
     817                   08/07Bankcard Deposit          9144                                        187.50
     817                   eDeposit IN Branch/Store 08f07/17 02:57:26 Pm 1510 Cortez Rd             6,500.00
                           W Bradenton FL 3166
     817                   Purchase authorized on 08/05 Quick Fuel of Busch BIVd Tampa FL                                  30.03
                           P00307217597481088 Card 3166
     817                   Purchase authorized on 08f06 Lutz Petroleum Lutz FL                                             20.01
                           P00387218799308928 Card 3166
     817                   Purchase authorized on 08/07 The UPS Store #5574 46 Bradenton                                   13.85      12,649-42
                           FL P00000000681966462 Card 3166
     818                   08/08Bankcard Deposit -       9144                                       2,625.00
     818                   Purchase authorized on 08108 Wawa Store 5165 Bradenton FL                                       35.00
                           P00467220292675682 Card 3166
     818                   Purchase authorized on 08108 The UPS store #5574 46 Bradenton                                   39-68
                           FL P00000000459750361Card3166
     818            1005 Cashed Check                                                                                     585.00
     818                   United Fin Cas Ins Prem 170808 02823358 One Box Tv LLC                                         115.80
     818                 Xiaozeyong lat Paypal 1708081001492996300 Donnafogle                                           7,214.53      7,284-41
                         Oneboxtv
     819                 Purchase authorized on 08108 Hide-Away Storage 941-462-2312                                       64.78
                         FL 5387220462446925 Card 3174
     819                 Purchase authorized on 08109 Lowe's #1843 Bradenton FL                                            34.19      7, 185.44
                         P00307221709722492 Card 3166
     8110                Bankcard Fee Aqjustment-           9144                                                           12.00
     8!10                Bankcard Fee            9144                                                                      58.46
     8110                Bankcard Interchange Fee-           9144                                                         141-15
     8110                Bankcard Discount Fee-           9144                                                            274.14
     8110                Purchase authorized on 08110 Racetrac 2394 Bradenton FL                                           25.00      6,674.69
                         P00467222772445307 Card 3166
     8111                08/11Bankcard Deposit -         9144                                         267.50
     8!11                Purchase authorized on 08111 Chevron!Giant 0 Bradenton FL                                         15.00      6,927.19
                         P00000000134366848 Card 3166
     8/14                08/14Bankcard Deposit           9144                                         187 .50
     8114                08/14Bankcard Deposit           9144                                       1,353.56
     8114                Purchase authorized on 08112 Pilot #0094 Punta Gorda FL                                           59-75
                         P00387224607691964 Gard 3166
     8114           1006 Deposited OR Cashed Check                                                                        525.00
     8114                Fpl Direct Debit Elec Pymt 08f17 7207403200 Telv Donna C Fogle                                   340.69       7,542.81
     8/15                Purchase authorized on 08f15 The UPS Store #5574 46 Bradenton                                     13.85
                         FL P00000000833026880 Card 3166
     8115                Xiaozeyong lat Paypal 1708151001529290522 Donnafogle                                             468-60      7,060.36
                         Oneboxtv
     8116                08/16Bankcard Deposit           9144                                         454-76                          7.515.12
                                                                                                                                 REDE Page 14of181
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Account number:                      9888     • August 1, 2017 - August 31, 2017             • Page 3 of 5




Transaction history (continued)
                             Check                                                                                   Deposits!        \!Wthdrawalsl        Ending dally
       Date                 Number Description                                                                         Credits               Debits            balance
       8117                            Purchase authorized on 08f17 7-Eleven Sarasota FL                                                      61.00            7,454.12
                                       P00000000356380246 Card 3166
       8121                            08/21Bankcard Deposit         9144                                              160.00
       8121                            08/21Bankcard Deposit -     9144                                              2,808.11
       8!21                            08/21Bankcard Deposit -     9144                                              1,515.06
       8121                            Square Inc 170821R2 170821 L204232400246 One Box Tv LLC                          41.14
       8121                            Purchase authorized on 08/19 Cracker Barrel# 636 67th                                                  60.00
                                       Bradenton FL ?00307232017726303 Card 3174
       8121                   1009 Deposited OR Cashed Check                                                                                 750.00
       8121                        Purchase authorized on 08121 USPS PO 11097701 4112 53R                                                     12.74
                                       Bradenton FL ?00387233719366084 Card 3174
       8121                            Fdgl Lease Pymt 170821 052-1323765-000 Donna Fogle                                                     39.22
                                       Oneboxtv
       8121                        <   Busines5 to Business ACH Debit - Fla Dept Revenue C01 170818                                          919.64           10,196.83
                                       000000017311571 One Box Tv LLC
       8122                   1007     Check                                                                                                 103.00           10,093.83
       6!24                            08/24Bankcard Deposit         9144                                              267.50                                 10,361.33
       8125                            08/25Bankcard Dee:osit -      9144                                              508.25
       8125                            Purchase authorized on 08/25 Wal-Mart Super Center Bradenton                                           56.48
                                       FL P00000000252272172 Card 3174
       8125                            Purchase authorized on 08f25 Racetrac100 Bradenton FL                                                  47.79
                                       P00307238022345225 Card 3166
       6!25                   1010     Check                                                                                               1,337.50            9,427.81
       8128                            08/28Bankcard Dee:osit -      9144                                            1,244.65
       6!26                            08/28Bankcard Deposit -       9144                                            1,674. 79
       8128                            08/26Bankcard Deposit         9144                                              455.00
       8128                            Purchase authorized on 08/25 USPS PO 1109777500 Bradenton                                                 6.65
                                       FL 5387237730171117 Card 3174
       6!26                            Purchase authorized on 08f25 Hibachi Buffet Bra Bradenton FL                                           32.06
                                       5307237836750760 Card 3174
       8128                   1011     Deposited OR Cashed Check                                                                             665.00
       8128                            Bright House Net Cable Tv 170825 5289314 *lvr                                                          55.28           12,043.26
       8130                            08/30Bankcard Deposit -       9144                                              444.04                                 12,487.30
       8131                            Xiaozeyong lat Paypal 170831 1001607927550 Donnafogle                                               3,333.00            9, 154.30
                                       Oneboxtv
       Ending balance on 8131                                                                                                                                 9,164.30
       Totals                                                                                                     $22,54-0.13          $19,911.94
       The Encing Daily Balance does not reflect any pending !Mthdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed,
       <:   Business to Business ACH:!t this 1s a business account, this transac/Jon has a return tr me frame of one business day from post date This /Jme frame does not
            apply to consumer accounts.




Summary of checks written              (checks listed are also displayed in the preceding Transaction history)

       Number               Date                  Amount         Number            Date                 Amount          Number            Date                 Amount
       1004                 811                    630.00        1007              8122                  103.00         1010              8125                 1,337.50
       1005                 818                    585.00        1009 ..           8121                  750.00         1011              8128                   665.00
       1006                 8114                   525.00

        • Gap in check sequence_


Monthly service fee summary

For a complete list of fees and detailed account information, please seethe Wells Fargo Fee and Information Schedule and Account Agreement applicable to
your account or talk to a banker. Go to wellsfargo.com/feefaq to find answers to common questions about the monthly service fee on your account




     Sheet Seq"' Cl148239
     Sheet 00002 cf OOQ03
                                                                                                                              REDE Page 15 of 181
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Account number:                 9888      • August 1, 2017 - August 31, 2017                • Page 4 of 5




Monthly service fee summary (continued)

       Fee period 08!01f2017 - 08/31/2017                                                  standard monthly service fee $14.00                 You paid $0.00

       We waived the fee this fee period to allow you to meet the requirements to avoid the monthly service fee.

       How to avoid the monthly service fee                                                                  Minimum required                  This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                      $7,500.00                    $s,103.oo G
            Qualifying transaction from a linked Wefts Fargo Business Payroll Services account                                  1                            OD
            Qualifying transaction from a linked Wells Fargo Merchant Services account                                          1                           23[!]
            Total number of posted Wells Fargo Debit Card purchases and/or payments                                           10                            22G
            Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                       1                            oD
            Combined balances in linked accounts, which may include                                                    $10,000.00                             D
               Average ledger balances in business checking, savin95, and time accounts
               Most recent statement balance in eligible Wells Fargo business credit cards and
               lines of credit, and combined average daily balances from the previous month
               in eligible Wells Fargo business and commercial loans and lines of credit
               For complete details on how you can avoid the monthly service fee based on
               your combined balances please refer to page 7 of the Business Account Fee and
               Information Schedule at wvm. wellsfargo. com/biz/fee-information




Account transaction fees summary
                                                                                           Units           Excess         Service charge per             Total serlll'ce
       Service charge description                                  U111ts used         included             units            excess umts ($)               charge($)
       Cash Deposited($)                                               6,500              7,500                    0                0.0030                        0.00
       Transactions                                                       22                200                    0                   0.50                       0.00
       Total service charges                                                                                                                                     $0.00




         IMPORTANT ACCOUNT INFORMATION

Beginning in August 2017, we are enhancing the description of certain non-consumer ACH debit entries to include "Business to
Business ACH''. This entry description may appear on your statements and on line banking transaction histories. The terms governing
these entries remain the same and are found in the Business Account Agreement section titled "Funds transfer service'' under the
subsection ''ACHtransaclions". Under ACH rules, a Business to Business ACH debit entry has a return time frame of one business day
from the date the entry posted to your account ln order forthe Bank to meet this deadline, you are required to notify us to return any
Business to Business ACH debit entry as unauthorized by the cutoff time which is currently 3:00 PM Central Time. If you do not notify
us within one business day from the date the unauthorized entl)' is posted to your account, we will not be able to return it without the
cooperation and agreement of the originating bank and the originator of the debit entry. Any other effort to recover the funds must
occur solely between you and the originator of the entry.
                                                                                                                                REDE Page 16of181
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Account number:                             9888      • August 1, 2017 - August 31, 2017   • Page 5 of 5




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts               You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                 and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the         information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft          an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                      Number                    Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                      Total amount $




@2010 Wells Fargo Bank, NA. All   right~   reserved Member FDIC. NMLSR ID 399801




       Sheet Seq"' Cl148240
       Sheet 00003 cf OOQ03
                                                                                                                                 REDE Page 17 of 181
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Wells Fargo Business Choice Checking
Account number:                    9888      • September 1, 2017 - September 30, 2017                  •   Page 1 of 5




                                                                                                           Questions?
ONE BOX TV, LLC                                                                                            Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST ST
                                                                                                             1-800-CALL-WELLS                (1-800-225-5935)

BRADENTON FL 34208-3501                                                                                      TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (287)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Cash flow is a key indicator of the inancial health of your business. Find tips and                       A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 strategies for effective cash flow management at wellsfargoworks.com.
                                                                                                           cell the numbf!1r above if you have queslions or if you would
                                                                                                           like to add new s&rvices.

                                                                                                           Business Online Banking                               0
                                                                                                           Online Statements                                     0
                                                                                                           Business Bill Pay                                     0
                                                                                                           Business Spending Report                              0
                                                                                                           Overdraft Protection                                  D


Activity summary                                                                                            Account number:              9888
        Beginning balance on 911                                       $9, 154.30                           ONE BOX TV, LLC
        Deposits/Credits                                               11,796.65                            Floride account terms end conditions ffipply
        Withctawals!Debits                                           - 12,501.46                            For Direct Deposit use
        Ending balance on 9130                                        $7,449.49                             Routing Number (RTN): 063107513
                                                                                                            For Wire Transfers use
        Average ledger balance this period                             $6,907.83                            Routing Number (RTN): 121000248



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (.!67)
      Sheet Seq"' Cl188494
      Sheet 00001 cf 00003
                                                                                                                  REDE Page 18 of 181
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Account number:         9888      • September 1, 2017 - September 30, 2017                  • Page 2 of 5




Transaction history

                   Check                                                                             Deposits!        Withdrawals/   Ending daily
     Date         Number Description                                                                    Credits             Debits       balance
     911                   09/01Bankcard Deposit         9144                                          454.75
     911                   Purchase authorized on 08/31 The UPS Store 0108 Bradenton FL                                      70.62
                           5307243640937582 Card 3174
     911            1012 Cashed Check                                                                                     1,000.00      8,538.43
     915                   09/05Bankcard Deposit         9144                                           963.01
     915                   09/05Bankcard Deposit         9144                                         1,444. 74
     915                   09/05Bankcard Dee:osit        9144                                         3,042.95
     915                   Purchase authorized on 09f02 Mattisons Riverwal Bradenton FL                                      57.00
                           5367246065572285 Card 3174
     915                   Recurring Payment authorized on 09/03 Phone.Com, Inc                                              84.10
                           800-9981087 NJ $387246406305566 Card 3166
     915                   Purchase authorized on 09!05 Ohl Express 2818482092 FL                                            46.49
                           5467247643148608 Card 3166
     915            1014 Cashed Check                                                                                       870.00
     915            1013 Cashed Check                                                                                       500.00
     915                 Bright House Net Cable Tv 170901 5867090 *lvr                                                       84.98
     915                 Xiaozeyong lat Paypal 170905 1001629842503 Donnafogle                                            3,333.00
                         Oneboxtv
     915                 2939003487 lat Paypal 170905 1001635965247 Donnafogle                                               25.13      8,988.43
                         Oneboxtv
     916                 Purchase authorized on 09105 WM Superc Wal-Mart Sup                                                 32.19
                         Bradenton FL P00000000247664909 Card 3174
     916                 Purchase authorized on 09105 Wawa 5178 Bradenton FL                                                 57.96
                         P005872490S6322423 Card 3166
     916                 09/06Bankcard Deposit -       9144                                                                 374.25
     916                 United Fin Cas Ins Prem 170906 02823358 One Box Tv LLC                                             115.80
     916                 Louden LLC Rent 170905 72147604 Donna Fogle                                                      1,471.19      6,937.04
     917                 Purchase authorized on 09f06 AAA Poe Membership                                                    138.00
                           800-222-1134 FL $307249654474515 Card 3174
     917                   Purchase authorized on 09/07 Ohl Express 2818482092 FL                                            32.36
                           8387249717469960 Card 3166
     917                   Purchase authorized on 09f06 Golden Corral 0871 Bradenton FL                                      47.12
                           5467249811977833 Card 3174
     917                   Purchase authorized on 09/07 Thornton #706 4820 State                                             17.45      6,702.11
                           Bradenton FL P00467250797439095 Card 3166
     918                   09/08Bankcard Deposit           9144                                        267.50
     918                   Purchase authorized on 09108 WM Superc Wal-Mart Sup                                               21.27
                           Bradenton FL P00000000559932491 Card 3166
     918                   Fpl Direct Debit Elec Pymt 09!17 7207403200 Telv Donna C Fogle                                   352.63      6,595.71
     9111                  09/11Bankcard Deposit           9144                                        227.38
     9111                  Recurring Payment authorized on 09/08 Hide-Away Storage                                           64.78
                           941-4622312 FL 8587251458588175 Card 3174
     9111                  Purchase authorized on 09108 Demetrios Pizza Ho Bradenton FL                                      38.89
                           5307251672588959 Card 3174
     9!11                  Purchase authorized on 09109 Advance Auto Parts Bradenton FL                                     106.99      6,612.43
                           8301252572828934 Card 3166
     9/12                  Purchase authortzed on 09112 Wawa 5178 Bradenton FL                                               26.33      6,586.10
                           P00467255563349256 Card 3166
     9113                  Purchase authorized on 09113 Wawa 5178 Bradenton FL                                               19.57
                           P00467256412552924 Card 3166
     9!13                  Bankcard Fee -        9144                                                                        55.89
     9113                  Bankcard Interchange Fee-         9144                                                           150.01
     9/13                  Bankcard DiScount Fee-         9144                                                              287.21
     9113                  Purchase authorized on 09/13 The Home Depot #0244                                                168.24
                           Bradenton FL ?00307256528201470 Card 3166
     9/13                  Purchase authorized on 09f13 wawa Store 5165 Bradenton FL                                         17.46      5,287.72
                           P00467256625280140 Card 3166
     9114                Purchase authorized on 09/14 7-Eleven Fort Myers FL                                                 69.10      5,218.62
                         P00000000551575613 Card 3166
     9115           1015 Cashed Check                                                                                       300.00      4.918.62
                                                                                                                                 REDE Page 19of181
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Account number:                     9888     • September 1, 2017 - September 30, 2017                 • Page 3 of 5




Transaction history (continued)
                              Check                                                                                Deposits!          \!Wthdrawalsl         Ending dally
       Date                  Number Description                                                                        Credits               Debits                 balance
       9118                         09/18Bankcard Deposit            9144                                           1,352.25
       9/18                           09/18Bankcard Deposit -        9144                                           1, 178.00
       9118                           Purchase authorized on 09/16 Wawa Store 5165 Bradenton FL                                              36.19
                                      P00467259829720153 Card 3166
       9/18                    1017 Cashed Check                                                                                            465.00
       9118                    1016 Check                                                                                                    50.00              6,897.68
       9119                         Purchase authorized on 09/19 The UPS Store #5574 46 Bradenton                                            13.42
                                      FL P00000000270127468 Card 3166
       9119                           ATT Payment 091617 3030300041vr2PWilliam Firestone                                                    405.88              6,478.58
       9120                           09/20Bankcard Deposit -      9144                                               185.00
       9!20                           Fdgl Lease Pymt 170920 052-1323765-000 Donna Fogle                                                     39.22              6,624.36
                                      Oneboxtv
       9121                           Purchase authorized on 09f21 The UPS Store #5574 46 Bradenton                                              7.77           6,616.59
                                      FL P00000000686995780 Card 3166
       9125                           09/25Bankcard Deposit         9144                                              995.07
       9125                           09/25Bankcard Deposit         9144                                            1,150.75
       9!25                           09/25Bankcard Deposit         9144                                              347.75
       9125                           Purchase authorized on 09123 Wawa Store 5165 Bradenton FL                                              54.95
                                      P00387266539029013 Card 3166
       9!25                    1018 Cashed Check                                                                                            555.00
       9125                         Purchase authorized on 09f25 Wawa 5177 Bradenton FL                                                      25.01
                                      P00467268571019021 Card 3166
       9!25                           Bright House Net Cable Tv 170922 3703886 *lvr                                                          55.28              8,419.92
       9126                           Pa~f:al Inst Xfer 170926 Hillto~craf Donnafo~le Oneboxtv                                            1,000.00              7,419.92
       9!27                           09/27Bankcard Deposit        9144                                               187 .50
       9127                           Purchase authorized on 09127Wawa Store 5165 Bradenton FL                                               56.93              7,550.49
                                      P00467270844606694 Card 3166
       9128                           Purchase authorized on 09126 Goodwill Corporal 941-3552721                                            101.00              7,449.49
                                      FL $307269601951241 Card 3166
       Ending balance on 9130                                                                                                                                  7,449.49
       Totals                                                                                                    $11,796.65            $13,501.46
       The Encing Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on yo!K account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed,



Summary of checks written             (chackslistad ara also displayed In the preceding Transaction history)

        Number               Date                Amount          Number            Dote               Amount           Number             Date                  Amount
        1012                 9/1                 1,000.00        1015              9f15                300.00          1017               9/18                      465.00
        1013                 915                  500.00         1016              9!18                  50.00         1018               9/25                      555.00
        1014                 915                  870.00


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to abanker. Go to wellsfargo.cornlfeefaq for a link to these documents, and answers
1o common monthly service fee questions.


       Fee period 09!01!2017 - 09130/2017                                                   Standard monthly service fee $14.00                   You paid $0.00

       How to avoid the monthly service fee                                                                  Minimum required                     This fee period
       Have any ONE of the following ac;count requirements
           Average ledger balance                                                                                      $7,500.00                        $6,908.oo    D
               Qualifying transaction from a linked Wells Fargo Business Payroll Services account                                                               OD
               Qualifying transaction from a linked Wells Fargo Merchant Services account                                                                      17 G
               Tatal number of posted Wells Fargo Debit Card purchases and/or payments                                           10                            26 ['l
               Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                     1                              OD




      Sheet Seq"' Cl188495
      Sheet 00002 cf OOQ03
                                                                                                                              REDE Page 20 ofl81
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Account number:                  9888      • September 1, 2017 - September 30, 2017                  • Page 4 of 5




Monthly service fee summary (continued)
       How to avoid the monthly service fee                                                                 Minimum required                  This fee period
            Combined balances in linked accounts, which may include                                                  $10,000.00                                 D
                Average ledger balances in business checking, savings, and time accounts
                Most recent statement balance in eligible Wells Fargo business credit cards and
                lines of credit, and combined average daily balances from the previous month
                in eligible Wells Fargo business and commercial loans and lines of credit
                For complete dftl:ails on how you can avoid the monthly service fee based on
                your combined balances please refer to page 7 of the Business Account Fee and
                Information Schedule at www.wellsfargo.com!biz/fee-information
       The Monthly service fee summay fee period ending date shown above includes a Saturday, Sunday, or holiday which are non-business days.
       Transactions occurring after the last business day of the month will be included in your next fee period
       ""'""'

Account transaction fees summary
                                                                                            Units         Excess         Service charge per             Total service
       Siwvice charge descri p~on                                   Urnts used          included            units           excess units($)               charge($)
       Cash Deposited($)                                                     0              7,500              0                   0.0030                        0.00
       Transactions                                                         17                200              0                      0.SO                       0.00
       Total service charges                                                                                                                                    $0.00




         IMPORTANT ACCOUNT INFORMATION

As part of our commitment to make things right, we have entered into a $142 million class action settlement related to the opening of
unauthorized accounts.


If you believe Wells Fargo opened a checking, savings, credit card or line of credit account for you without your permission, or if you
purchased identity theft protection from us, you may be entitled to compensation from this fund.


To find out more, go to www.WFSettlement.com or call 1-866-431-8549. You may be eligible for reimbursement of fees, compensation
for potential impact on your credit, and an additional cash payment based on any money remaining in the fund after benefits and
costs are paid out


If you have specific questions about any of your accounts or seNices, please visit your Wells Fargo branch or call the toll-free number
that appears on this statement. We realize you have a choice when it comes to banking. It is our privilege to be able to seNe you.




Beginning in August 2017, we are enhancing the description of certain non-consumer ACH debit entries to include "Business to
Business ACH". This entry description may appear on your statements and on line banking transaction histories. The terms governing
these entrtes remain the same and are found In the Business Account Agreement section titled "Funds transfer seNlce" under the
subsection "ACHtransactions". Under ACH rules, a Business to Business ACH debit entry has a return time frame of one business day
from the date the entry posted to your account. ln order for the Bank to meet this deadline, you are required to notify us to return any
Business to Business ACH debit entry as unauthorized by the cutoff time which is currently 3:00 PM Central Time. If you do not notify
us within one business day from the date the unauthorized entry is posted to your account, we will not be able to return it without the
cooperation and agreement of the originaU1g bank and the originator of the debit entry. Any other effort to recover the funds must
occur solely between you and the originator of the entry.
                                                                                                                               REDE Page 21 ofl81
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Account number:                             9888      • September 1, 2017 - September 30, 2017       • Page 5 of 5




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts              You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the        information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft         an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                    Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                     Total amount $




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       Sheet Seq"' Cl188496
       Sheet 00003 cf OOQ03
                                                                                                                                 REDE Page 22 ofl81
    Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 229 of 460 PageID 306

Wells Fargo Business Choice Checking
Account number:                  9888        • October 1, 2017 - October 31, 2017              •   Page 1 of 6




                                                                                                           Questions?
ONE BOX TV, LLC                                                                                            Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST ST
                                                                                                             1-800-CALL-WELLS                (1-800-225-5935)

BRADENTON FL 34208-3501                                                                                      TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (287)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Cash flow is a key indicator of the inancial health of your business. Find tips and                       A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 strategies for effective cash flow management at wellsfargoworks.com.
                                                                                                           cell the numbf!1r above if you have queslions or if you would
                                                                                                           like to add new s&rvices.

                                                                                                           Business Online Banking                               0
                                                                                                           Online Statements                                     0
                                                                                                           Business Bill Pay                                     0
                                                                                                           Business Spending Report                              0
                                                                                                           Overdraft Protection                                  D


Activity summary                                                                                            Account number:              9888
        Beginning balance on 10!1                                      $7,449.49                            ONE BOX TV, LLC
        Deposits/Credits                                               19,900.03                            Floride account terms end conditions ffipply
        Withctawals!Debits                                           - 24,966.51                            For Direct Deposit use
        Ending balance on 10/31                                       $2,383.01                             Routing Number (RTN): 063107513
                                                                                                            For Wire Transfers use
        Average ledger balance this period                             $3,254.25                            Routing Number (RTN): 121000248



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (.!67)
      Sheet Seq"' Cl143176
      Sheet 00001 cf 00003
                                                                                                               REDE Page 23 ofl81
   Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 230 of 460 PageID 307

Account number:         9888      • October 1, 2017 - October 31, 2017             • Page 2 of 6




Transaction history

                   Check                                                                           Deposits!       Withdrawals/    Ending daily
     Date         Number Description                                                                 Credits             Debits        balance
     10/2                  10/02Bankcard Deposit -       9144                                         42.79
     1012                  10/02Bankcard Deposit         9144                                      1,177.00
     10/2                  10/0ZBankcard Deposit         9144                                      1,327.30
     1012           1020 Cashed Check                                                                                    795.00
     10/2           1021 Cashed Check                                                                                  1,000.00
     10/2              <   Business to Business ACH Debit - Fla Dept Revenue C01 170929                                  637.85
                           000000017311571 One Box Tv LLC
     1012           1019 Check                                                                                         1,387.50       6, 176.23
     10/3                  Recurring Payment authorized on 10/02 Eig"lpage 866-5392854                                   394.20
                           MA $387275557050494 Card 3166
     10/3                  Louden LLC Rent 171002 73326627 Donna Fogle                                                 1,440.74       4,341.29
     10/4                  10/04Bankcard Depooit -       9144                                        642.50
     10/4                  Recurring Payment authorized on 10/03 Phone.Com, Inc                                           64.64
                           800-9987087 NJ $387276518608208 Card 3166
     10/4                  Purchase authorized on 10/03 WM Superc Wal-Mart Sup                                             5.32
                           Bradenton FL P00000000787542939 Card 3174
     10/4                  Bright House Net Cable Tv 171003 2540850 *lvr                                                  64.98
     10/4                  Fpl Direct Debit Elec Pymt 10/17 7207403200 Telv Donna C Fogle                                257.47       4,551.38
     10/5                  Purchase authorized on 10!04 WWW. Waypointhomes.                                               45.00
                           8552245464 AZ $387277562806340 Card 3174
     10/5                  Purchase authorized on 10!05 The Home Depot #1863                                              25.47       4,480.91
                           Bradenton FL P00467278732063052 Card 3166
     10/6                  10/06Bankcard Deposit -       9144                                        267.50
     10/6                  United Fin Cas Ins Prem 171006 02823358 One BoxTv LLC                                         115.130      4,632.61
     10/10                 10/10Bankcard Deposit -       9144                                      1,738.75
     10110                 10/10Bankcard Deposit         9144                                      2,436.30
     10!10                 Purchase authorized on 10/0S Wawa 5178 Bradenton FL                                            25.00
                           P00307282024703905 Card 3166
     10/10               Purchase authorized on 10!08 Woody's River Roo Ellenton FL                                       50.00
                         $467282069484130 Card 3174
     10/10          1023 Deposited OR Cashed Check                                                                       630.00
     10110          1022 Check                                                                                            80.00
     10/10               Xintao Zhan lat Paypal 171010 1001824035318 Donnafogle                                           50.00
                         Oneboxtv
     10/10               Xiaozeyong lat Paypal 171010 1001812054532 Donnafogle                                         3,062.99       4,909.67
                         Oneboxtv
     10/11               Online Transfer From Donna C Fogle Business Checking                        350.00
                         xxxxxx6221 Ref#lb03Tw9Mb7 on 10/11117
     10/11               Recurring Payment authorized on 10/09 Hide-Away Storage                                          64.78
                           941-4622312 FL $387282613114404 Card 3174
     10/11                 Purchase authorized on 10!09Woody's River Roo Ellenton FL                                      45.00
                           $307283008449427 Card 3174
     10/11                 10/11Bankcard Deposit         9144                                                            765.00
     10111                 Purchase authorized on 10/11 The UPS store #0108 57 Bradenton                                  12.77       4,372.12
                           FL P00000000274529716 Card 3166
     10112                 10/12Bankcard Deposit -       9144                                        775.75
     10!12                 Bankcard Fee Aqjustment-         9144                                                          12.00
     10/12                 Bankcard Fee -        9144                                                                     53.42
     10/12                 Bankcard Interchange Fee-         9144                                                        152.40
     10!12                 Bankcard Discount Fee-         9144                                                           226.11       4,703.94
     10/13                 10/13Bankcard Deposit -       9144                                        497.79
     10113                 Purchase authorized on 10!12 Amazon Mktplace Pm                                                97.99
                           Amzn.ComfBHI WA 5387284565160780 Card 3166
     10113                 Purchase authorized on 10/12 Amazon Mktplace Pm                                                26.78
                           Amzn.Com!Sill WA 5307284565221645 Card 3166
     10f13                 Purchase authoriZed on 10f13 The UPS store ~744 89 ParriSh FL                                  21.81
                           P00000000274091694 Card 3166
     10113                 Purchase authorized on 10/13 The UPS Store 'lrl744 89 Parrish FL                                3.51
                           P0000000007046222Z Card 3166
     10113                 ATT Payment 101117 79S832004Col1>i William Firestone                                          413.52
                                                                                                                         REDE Page 24 ofl81
   Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 231 of 460 PageID 308

Account number:                  9888     • October 1, 2017 - October 31, 2017               • Page 3 of 6




Transaction history (continued)
                            Check                                                                            Deposits!       \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                                  Credits              Debits       balance
     10113                         Sdcabofl2 2014 Security D 171012 73815384 Donna Fogle                                         1,456.54
     10!13                         Cah2014Z Borrow Rent 171012 73814527 Donna Fogle                                              1,940.00       1,241.58
     10116                         10/16Bankcard Deposit -          9144                                       925.80
     10/16                         10/16Bankcard Deposit -          9144                                       910.00
     10116                         10/16Bankcard Deposit            9144                                       497.54
     10/16                         ATM Withdrawal authorized on 10f14 7112 U.S Highway 301 N                                       300.00
                                   Ellenton FL 0002469 ATM ID 6534B Card 3174
     10/16                         Purchase authorized   on   10/14 Wawa 5178 Bradenton FL                                          45.00
                                   P00587287831169301 Card 3166
     10/16                   1024 Cashed Check                                                                                     680.00       2,549.92
     10f18                         10/18Bankcard Deposit -       9144                                          722.50
     10/18                         Purchase authorized on 10!17 Circle K #07629 8400 Parrish FL                                     20.00
                                   P00000000683754398 Card 3166
     10/18                         Purchase authorized on 10/18 Sams Club Sam's Club Bradenton                                      42.76
                                   FL P00000000083709167 Card 3166
     10/18                   1025 Check                                                                                          1,530.00       1,679.66
     10/20                         10/20Bankcard Deposit        9144                                           100.00
     10/20                         Purchase authorized on 10!20Wawa Store 5165 Bradenton FL                                         25.01
                                   P00587293741959262 Card 3166
     10/20                        fdgl Lease Pymt 171020 052-1323765-000 Donna Fogle                                                39.22
                                  Oneboxtv
     10/20                      < Business to Business ACH Debit- Fla Dept Revenue C01171019                                     1,038.75         676.68
                                  000000017311571 One Box Tv LLC
     10/23                        10/23Bankcard Dee:osit        9144                                           144.45
     10f23                        10/23Bankcard Deposit         9144                                         1,434.05
     10/23                        10/23Bankcard Deposit         9144                                         1,337.50
     10123                        Square Inc 171023R2171023 L204251076164 One Box Tv LLC                       438.54
     10/23                        Purchase authorized on 10!23 The Home Depot #1863                                                 14.93
                                  Bradenton FL P00387296709179480 Card 3166
     10/23                   1026 Check                                                                                            655.00
     10123                        Paypal Inst Xfer 171023 Upwrkescrow Donnafogle Oneboxtv                                          339.08       3,022.21
     10/24                        Purchase authorized on 10!23 Circle K # 07629 8400 Parrish FL                                     20.00
                                   P00000000334790858 Card 3166
     10/24                        Purchase authorized on 10!24 The Home Depot #1863                                                  3.73
                                  Bradenton FL P00467297656314001 Card 3166
     10/24                   1027 Deposited OR Cashed Check                                                                         70.00       2,928.48
     10125                        10/25Bankcard Deposit         9144                                           107.00
     10/25                        Purchase authorized on 10!25 The Home Depot #0244                                                 14.96
                                  Bradenton FL P00387298647901820 Card 3166
     10/25                        Purchase authorized on 10!25 The Home Depot #1863                                                  5.33
                                  Bradenton FL P003S7298745572857 Card 3166
     10/25                        Purchase authorized on 10!25 Circle K # 07629 8400 Parrish FL                                     25.01       2,990.18
                                   P00000000983524235 Card 3166
     10/26                   1028 Deposited OR Cashed Check                                                                         80.00
     10126                        Purchase authorized on 10!26 The UPS Store #5574 46 Bradenton                                     24.38
                                   FL P00000000775391715 Card 3166
     10/26                        Purchase authorized on 10/26 Office Depot 00 4502 E. S                                             6.42
                                  Bradenton FL ?00587299739053329 Card 3166
     10126                        Purchase authorized on 10!26 Racetrac 2394 Bradenton FL                                           10.01
                                  P00307299834181492 Card 3166
     10126                   1029 Check                                                                                            120.00       2, 749.37
     10!27                        Deposit Made In A Branch/store                                                13.72
     10/27                        Purchase authorized on 10127 Texas Roadhouse '#2 Brandenton                                       50.00
                                   FL 8307300059138804 Card 3174
     10127                         Purchase authorized on 10!26 Wal-Mart Super Center Bradenton                                    239.36
                                   FL P00000000982729953 Card 3174
     10127                         Purchase authorized on 10!27 Manatee Citgo Bradenton FL                                          15.00       2,458.73
                                   P00387300669977498 Card 3166
     10/30                         10130Bankcard Deposit         9144                                        1,257.25
     10/30                         10/30Bankcard Deposit         9144                                        1,337.50
     10f30                         10/30Bankcard Deposit         9144                                        1,418.50




    Sheet Seq"' Cl143177
    Sheet 00002 cf 00003
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Account number:                    9888    • October 1, 2017 - October 31, 2017               • Page 4 of 6




Transaction history (continued)
                            Check                                                                                 Deposits!         \!Wthdrawalsl         Ending dally
       Date               Number Description                                                                         Credits               Debits                 balance
       10130                        Purchase authorized on 10f29 Wawa Store 5165 Bradenton FL                                              20.01
                                    P00467302791467114 Card 3166
       10130                        Purchase authorized on 10/30USPS PO 112625012605 72N                                                   13.60
                                  Ellenton FL P00467303753522013 Card 3166
       10130                 1030 Cashed Check                                                                                            535.00
       10/30                      Paypal lnst Xfer 171030 Upwrkescrow Donnafogle Oneboxtv                                                 200.36              5,703.01
       10131                        Xiaozeyong lat Paypal 1710311001940596957 Donnafogle                                                3,320.00              2,383.01
                                    Oneboxtv
       Ending balance on 10/31                                                                                                                               2,38'.01
       Totals                                                                                                   $19,900.03           $24,966.51

       The Endng Daily Balance does not reflscl any pending Wthdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insuffident available funds when a transaction posted, fees may have been assessed,
       < Business to Business ACH:lf this 1s a business account, this transact!on has a return //me frame of one business day from post date This t!me frame does nci.
          apply   to consumer accounts.



Summary of checks written           (checks listed are a/so displayed in the preceding Transaction history)

       Number              Date                Amount          Number            Doto                Amount           Number            Date                  Amount
       1019                1012                1.387.50        1023              10110                630.00          1027              10/24                      70.00
       1020                1012                  795.00        1024              10116                 680.00         1028              10/26                      60.00
       1021                1012                1,000.00        1025              10/18               1,530.00         1029              10126                     120.00
       1022                10/10                 80.00         1026              10123                655.00          1030              10/30                     535.00


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account A91"eement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to abanker. Go to wellsfargo.conVfeefaq for a link to these documents, and answers
to common monthly service fee questions.



       Fee period 10!01!2017-10131/2017                                                    Standard monthly service fee $14.00                  You paid $0.00

       How to avoid the monthly service fee                                                                 Minimum required                    This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                    $7,500.00                       $3,254.oo  D
           Qualifylng transaction from a !Inked Wells Fargo Business Payroll Services account                                                                 oD
           Qualifying transaction from a linked Wells Fargo Merchant Services account                                                                        26 G
              Total number of posted Wells Fargo Debit Card purchases and/or payments                                          10                            32G
              Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                                                   OD
              Combined balances in linked accounts, which may include                                               $10,000.00                                     D
                Average ledger balances in business checking, savings, and time accounts
                Most recent statemen1 balance in eligible Wells Fargo business credit cards and
                lines of credit, and combined average daily balances from the previous month
                in sligible Wslls Fargo business and commercial loans and lines of asdtt
                For complete details on how you can avoid the monthly service fee based on
                your combined balances please refer to page 7 of1he Business Account Fee and
                Information Schedule at WW#. wellsfargo. com/biz/fee-information
                                                                                                         REDE Page 26 ofl81
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Account number:                9888   • October 1, 2017 - October 31, 2017      • Page 5 of 6




Account transaction fees summary
                                                                             Units       Excess     Se1111ce charge per   Total service
      Service charge description                        Units used     induded            units        excess units($)        charge($)
      Cash Deposited($)                                         0        7,500                  0              0.0030              0.00
      Transactions                                             30             200               0                0.50              0.00
     Total service charges                                                                                                       $0.00




    Sheet Seq"' Cl143178
    Sheet 00003 cf 00003
                                                                                                                                 REDE Page 27 ofl81
      Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 234 of 460 PageID 311

Account number:                             9888      • October 1, 2017 - October 31, 2017     • Page 6 of 6




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts               You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                 and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the          information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft           an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                      Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                       Total amount $




@2010 Wells Fargo Bank, NA. All   right~   reserved Member FDIC. NMLSR ID 399801
                                                                                                                                 REDE Page 28 ofl81
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Wells Fargo Business Choice Checking
Account number:                  9888        • November 1, 2017 - November 30, 2017                   •   Page 1 of 6




                                                                                                           Questions?
ONE BOX TV, LLC                                                                                            Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST ST
                                                                                                             1-800-CALL-WELLS                (1-800-225-5935)

BRADENTON FL 34208-3501                                                                                      TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (287)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Cash flow is a key indicator of the inancial health of your business. Find tips and                       A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 strategies for effective cash flow management at wellsfargoworks.com.
                                                                                                           cell the numbf!1r above if you have queslions or if you would
                                                                                                           like to add new s&rvices.

                                                                                                           Business Online Banking                               0
                                                                                                           Online Statements                                     0
                                                                                                           Business Bill Pay                                     0
                                                                                                           Business Spending Report                              0
                                                                                                           Overdraft Protection                                  D


Activity summary                                                                                            Account number:              9888
        Beginning balance on 1111                                      $2,383.01                            ONE BOX TV, LLC
        Deposits/Credits                                               20,304.32                            Floride account terms end conditions ffipply
        Withctawals!Debits                                           - 20,SS4.51                            For Direct Deposit use
        Ending balance on 11130                                       $1,832.82                             Routing Number (RTN): 063107513
                                                                                                            For Wire Transfers use
        Average ledger balance this period                             $1,838.51                            Routing Number (RTN): 121000248



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (.!67)
      Sheet Seq"' Cl167658
      Sheet 00001 cf 00003
                                                                                                                  REDE Page 29 ofl81
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Account number:         9888      • November 1, 2017 - November 30, 2017                   • Page 2 of 6




Transaction history

                   Check                                                                             Deposits!        Withdrawals/   Ending daily
     Date         Number Description                                                                    Credits             Debits       balance
     1111                  11/01Bankcard Deposit -       9144                                          428.00
     1111                  Purchase authorized on 11101 Office Depot 00 4502 E. S                                            74.89
                           Bradenton FL P00307305566569208 Card 3166
     1111                  Purchase authorized on 11f01 Wawa Store 5165 Bradenton FL                                         20.02
                           P00307305726326285 Card 3166
     11/1           1031 Check                                                                                            1,367.50      1,320.60
     1112                11/02Bankcard Dee:osit          9144                                          455.00
     1112                  Purchase authorized on 11f02 The UPS Store #2744 89 Parrish FL                                    13.60      1,770.00
                           P00000000077595561 Card 3166
     1113                  11/03Bankcard Dee:osit -      9144                                           399.25                          2, 169.25
     1116                  11/06Bankcard Deposit         9144                                            187.50
     11/6                  11/06Bankcard Depooit         9144                                         1, 177.50
     1116                  11/06Bankcard Dee:osit        9144                                         2,209.80
     1116                  Recurring Payment authorized on 11/03 Phone.Com, Inc                                              84.82
                           800-9987087 NJ $307307422049479 Card 3166
     1116                  Purchase authorized on 11f03 Agi*Renters/Condo 800-370-1990                                      265.02
                           FL 8307307713787373 Card 3174
     11/6                  Purchase authorized on 11104 Circle K # 07629 8400 Patrish FL                                     25.00
                           P00000000680030350 Card 3166
     1116                Purchase authorized on 11f04 USPS.Com Mover's G                                                      1.00
                         800-238-3150 TN 8587308768651298 Card 3166
     1116           1032 Cashed Check                                                                                       700.00
     11/6           1033 Cashed Check                                                                                     1,000.00
     11/6                Purchase authorized on 11f06 Wal-Mart #3370 Palmetto FL                                            107.45
                           P00000000035573885 Card 3174
     1116                  Purchase authorized on 11106 Sam's Club Bradenton FL                                              30.99
                           P00000000973166366 Card 3174
     1116                  Cah 20142 Borrow Rent 171103 74870466 Donna Fogle                                              2,077.95
     1116                  Paypal lnst Xfer 171106 Upwrkesaow Donnafogle Oneboxtv                                            84.77      1,367,05
     11/7                  Purchase authorized on 11/07 7-Eleven Bradenton FL                                                25.00      1,342.05
                           P00000000980208045 Card 3166
     1119                  11/09Bankcard Deposit         9144                                         2,043.95
     1119                  Purchase authorized on 11109 Chevron/Giant Oil# 106                                               15.01
                           Bradenton FL P00587313702756953 Card 3166
     1119                  ATT Payment 110817 012979001Co11Z William Firestone                                              406.21      2,964,78
     11110                 11/10Bankcard Deposit         9144                                          187 .50
     11110                 Recurring Payment authorized on 11/08 Hide-Away Storage                                           64.78
                           9414622312 FL 8587312512058936 Card 3174
     11/10               Bankcard Fee -        9144                                                                          60.18
     11110               Bankcard Interchange Fee-          9144                                                            134.78
     11110               Bankcard Discount Fee-          9144                                                               360.68
     11110               Purchase authorized on 11f10USPS PO 112625012605 72N                                                 4.19      2,527.67
                         Ellenton FL P00467314779484449 Card 3174
     11113               11/13Bankcard Deposit         9144                                            535.00
     11113               11/13Bankcard Deposit         9144                                            754.60
     11113               11/13Bankcard Deposit         9144                                           1,311.50
     11/13               ATM Withdrawal authorized on 11f11 7112 U.S Highway 301 N                                          180.00
                         Ellenton FL 0002551 ATM ID 65348 Card 3174
     11113               Purchase authorized on 11111 Racetrac100 Bradenton FL                                               20.00
                         P00467315759048771 Card 3166
     11/13          1034 Cashed Check                                                                                       750.00
     11113               Xiaozeyong lat Paypal 171113 1002010385203 Donnafogle                                            3,305.74        873.03
                         Oneboxtv
     11114               Purchase authorized on 11114 Pilot #0089 Ellenton FL                                                30.03        843.00
                           P00387318567836941 Card 3166
     11f15                 11/15Bankcard Deposit           9144                                        375.00
     11115                 Bright House Net Cable Tv 171114 1917084 *lvr                                                     84.98
     11115                 Bright House Net Cable Tv 1711141928466 *lvr                                                     135.18
     11/15                 Fpl Direct Debit Elec Pymt 11f17 7207403200 Telv Donna C Fogle                                   255.76        742.08
     11117                 11/17Bankcard Deposit           9144                                        455.00                           1,197.08
                                                                                                                              REDE Page 30 ofl81
   Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 237 of 460 PageID 314

Account number:                   9888      • November 1, 2017 - November 30, 2017                  • Page 3 of 6




Transaction history (continued)
                            Check                                                                                Deposits!        \!Wthdrawalsl      Ending dally
      Date                 Number Description                                                                       Credits              Debits          balance
      11120                       11/20Bankcard Deposit             9144                                            647.32
      11120                          11/20Bankcard Deposit          9144                                          1,646.00
      11120                         11/20Bankcard Deposit         9144                                              567.10
      11120                         Purchase authorized on 11118 Circle K # 07629 8400 Parrish FL                                        50.01
                                    P00000000739241911 Card 3166
      11120                         Purchase authorized on 11118 Winghouse of Ellen Ellenton FL                                         118.14
                                    8307322835202607 Card 3174
      11/20                         fdgl Lease Pymt 171120 052-1323765-000 Donna Fogle                                                   39.22
                                    Oneboxtv
      11120                       < Business to Business ACH Debit - Fla Dept Revenue C01                                             1,822.76          2,227.37
                                    40740862 One Box Tv LLC
      11121                  1035 Cashed Check                                                                                          710.00           1,517.37
      11122                       Bankcard Fee -             9144                                                  197.50
      11122                          11/22Bankcard Deposit          9144                                           669.00                               2,363.87
      11124                   11/24Bankcard Deposit           9144                                                 267.50
      11124                   Purchase authorized on 11123 Wal-Mart Super Center Bradenton                                               21.95
                              FL P00000000289244661 Card 3174
      11124                   Purchase authorized on 11123 Wawa 5203 E Bradenton FL                                                      20.03
                              P00587327845728462 Card 3166
      11/24                   Purchase authorized on 11124 Office Depot 00 4502 E. S                                                    110.19          2,499.20
                              Bradenton FL P00387328686033456 Card 3166
      11127                   11/27Bankcard Deposit           9144                                                1,450.59
      11/27                   11/27Bankcard Depooit           9144                                                1,541.50
      11127                   11/27Bankcard Dee:osit          9144                                                1,736.36
      11f27                   Purchase authoriZed on 11f23 Golden Corral 0871 Bradenton FL                                               51.00
                              8587327696279096 Card 3174
      11127                   ATM Withdrawal authorized on 11!25 7112 U.S Highway 301 N                                                 200.00
                              Ellenton FL 0007779 ATM ID 65348 Card 3174
      11/27                   Purchase authoriZed on 11!26 Circle K # 07629 8400 Parrish FL                                              20.03
                              P00000000089151134 Card 3166
      11127                   Purchase authorized on 11127 Office Depot 00 4502 E. S                                                    106.45
                              Bradenton FL ?00587331720969462 Card 3166
      11127             1036 Deposited OR Cashed Check                                                                                  740.00
      11127                   Xiaozeyong lat Paypal 171127 1002087337446 Donnafogle                                                   3,320.00          2,790.17
                              Oneboxtv
      11128                   11/28Bankcard Chargeback            9144                                                                  267.50          2,522.67
      11129                   11/29Bankcard Deposit           9144                                                   32.10
      11/29                   Purchase authorized on 11!29Wawa 5178 Bradenton FL                                                         25.00
                              P00387333784531159 Card 3166
      11129                   Fpl Direct Debit Elec Pymt 11f17 3733077360 Telv Donna C Fogle                                            139.20
      11/29             1037 Check                                                                                                    1,387.50           1,003.07
      11130                   11/30Bankcard Deposit           9144                                                 829.75                                1,832.82
      Ending balance on 11!30                                                                                                                           1,832.82
      Totals                                                                                                   $20,304.32          $20,854.51
     The Encing Daily Balance does not reflect any pending !Mthdrawa/s or holds on deposited funds that may have been outstanding on your account when your
     transactions posted. If you had insufficient available funds when a tnmsaction posted, fees may have been assessed,
      < Business to Business ACH:lf this 1s a business account, this transacbon has a return ~me frame of one business day from post date This bme frame does ncJ:
         apply to consumer accounts.



Summary of checks written           (checks listed are a/so displayed in the preceding Transaction history)

      Number               Date                Amount           Number          Date                 Amount          Number           Date               Amount
      1031                 1111                1,387.50         1034            11113                 750.00         1036             11/27               740.00
      1032                 1116                 700.00          1035            11121                 710.00         1037             11/29             1,387.50
      1033                 11!6                1,000.00




    Sheet Seq"' Cl167659
    Sheet 00002 cf OOQ03
                                                                                                                                REDEPage31 ofl81
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Account number:                   9888     • November 1, 2017 - November 30, 2017                     • Page 4 of6




Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Goto wellsfargo.comffeefaqfor a link to these documents, and answers
to common monthly service fee questions.


        Fee period 1110112017-11130/2017                                                    Standard monthly service fee $14.00                 You paid $0.00

        How to avoid the monthly service fee                                                                   Minimum required                 This fee period
        Have any ONE of the following account requirements
            Average ledger balance                                                                                      $7,500.00                    $1,839.00    D
             Qualifying transaction from a linked Wells Fargo Business Payroll Services account                                   1                           oD
             Qualifying transaction from a linked Wells Fargo Merchant Services account                                                                      28 [21
             Total number of posted Wells Fargo Debit Card purchases and/or payments                                            10                           24 [21
             Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                       1                            oo
             Combined balances in linked accounts, which may include                                                   $10,000.00                                 D
               Average ledger balances In business checking, savin95, and time accounts
               Most recent stalement balance in eligible Wells Fargo business credit cards and
               lines of credit, and combined average daily balances from the previous month
               in eligible Wells Fargo business and commercial loans and lines of credit
               For complete details on how you can avoid the monthly service fee based on
               your combined balances please refer to page 7 of the Business Account Fee and
               Information Schedule at www. wellsfargo.oomlbizffee-inf ormation




Account transaction fees summary
                                                                                            Units            Excess        SBIVICB charge p&r             Total s9r\iic9
        Service charge descri pfion                                 Units used          included              units           excess units($)               charge($)
        Cash Deposited($)                                                    0              7,500                 0                   0.0030                       0.00
        Transactions                                                        18               200                  0                      0.50                      0.00
        Total service charges                                                                                                                                     $0.00




         IMPORTANT ACCOUNT INFORMATION

Periodically, it is necessacy to update selected sections of the disclosures you received when you opened your business account These
updates provide you with the most up to date account information and are very important; so please review this information carefully
and feel free to contact us with any questions or concerns.


Effective Feb 15, 2018:
If a business debit card or business ATM card purchase amount exceeds the current available balance"' in the primary linked checking
or savings account when you are making a purchase, you may be able to use your available balance to pay for a portion ofthe total
purchase. The transaction will be subject to a partial authorization daily purchase limlt set by the bank and your card's daily dollar limtt.


We wlll first ti)' to approve the full amount of the purchase with avallable funds In your checking account, account(s) llnked for
Overdraft Protection, and, if you are enrolled, using debit card overdraft service.


If this cannot result in an approval of the full amount of the purchase, the bank may approve a portion of the purchase using the
remaining available funds in your checking account. This is called a "partial authorization." Here are some important details about
partial authorizations:
                                                                                                                             REDE Page 32 ofl81
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Account number:                 9888      • November 1, 2017 - November 30, 2017                    • Page 5 of 6




- The remaining amount of the purchase total would need to be covered by another form of payment, such as cash or another card.
- If you are unablefunw!lllng to provkle an addltlonal fonn of payment, the partlal authortzatlon wlll be reveised by the merchant.
- Not all merchants are able to accept partial authorizations or process transactions using   mu~iple   fonns of payment.


Thank you for being a Wells Fargo business customer. As a valued Wells Fargo customer we hope you find this information helpful.
Again, if you have questions or concerns about these changes, please contact your local banker or call the number listed on your
statement.


'This balance may not reflect all of your transactions, such as checks you have wrttten or debit card transactions that have been
approved but not yet submitted for payment by the merchan               t.



Reminder about effect of pending debit card transactions on your account

For each debit card transaction, we place an authorization hold and track the ''pending'' transaction until the merchant sends the final
payment Instruction to the bank. We receive final payment instructions for most transactions within one to two business days, but we
generall:y must release the authorization hold after three business da:ys. While pending, these transactions reduce your available
balance. If transactions are presented for payment when your account has an insufficient available balance, you may be charged
overdraft and/or insufficient fund (NSF) fees on those transactions. The bank will assess no more than eight (8) $35 overdraft and/or
NSF fees per day.



New limits on Fees

Effective November 6, 2017, we will waive overdraft or returned item (Non-Sufficient Fund/NSF) fees on any transactions that are $5 or
less, regardless of your ending account balance. We w~I continue to waive overdraft fees on all posted transactions if both your endin;J
daily account balance and your available balance are overdrawn by $5 or less and there are no items returned for non-suffident funds
after all transactions have posted.




      Sheet Seq"' Cl167660
      Sheet 00003 cf 00003
                                                                                                                               REDE Page 33 ofl81
      Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 240 of 460 PageID 317

Account number:                             9888      • November 1, 2017 - November 30, 2017        • Page 6 of 6




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts              You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the        information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft         an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                    Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                     Total amount $




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                                                                                                                                 REDE Page 34 ofl81
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Wells Fargo Business Choice Checking
Account number:                  9888        • December 1, 2017 - December 31, 2017                  •   Page 1 of 5




                                                                                                           Questions?
ONE BOX TV, LLC                                                                                            Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST ST
                                                                                                             1-800-CALL-WELLS                (1-800-225-5935)

BRADENTON FL 34208-3501                                                                                      TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (287)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Cash flow is a key indicator of the inancial health of your business. Find tips and                       A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 strategies for effective cash flow management at wellsfargoworks.com.
                                                                                                           cell the numbf!1r above if you have queslions or if you would
                                                                                                           like to add new s&rvices.

                                                                                                           Business Online Banking                               0
                                                                                                           Online Statements                                     0
                                                                                                           Business Bill Pay                                     0
                                                                                                           Business Spending Report                              0
                                                                                                           Overdraft Protection                                  D


Activity summary                                                                                            Account number:              9888
        Beginning balance on 1211                                      $1,832.82                            ONE BOX TV, LLC
        Deposits/Credits                                               17,020.20                            Floride eccount terms end conditions ffipply
        Withctawals!Debits                                           - 14,932.57                            For Direct Deposit use
        Ending balance on 1.2f31                                      $3,920.45                             Routing Number (RTN): 063107513
                                                                                                            For Wire Transfers use
        Average ledger balance this period                             $1,894.72                            Routing Number (RTN): 121000248



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (.!67)
      Sheet Seq"' Cl210326
      Sheet 00001 cf 00003
                                                                                                                  REDE Page 35 ofl81
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Account number:         9888      • December 1, 2017 - December 31, 2017                   • Page 2 of 5




Transaction history

                   Check                                                                              Deposits!       Withdrawals/   Ending daily
     Date         Number Description                                                                    Credits             Debits       balance
     1211                  12101Bankcard Deposit             9144                                       176.55                          2,009.37
     1214                  12/04Bankcard Deposit            9144                                        762.89
     1214                  12!04Bankcard Deposit             9144                                       471 .05
     1214                  12!04Bankcard De~osit            9144                                      1,043.50
     1214                  Recurring Payment authorized on 12103 Phone.Com, Inc                                              84.84
                           800-9987087 NJ 8307337272200066 Card 3166
     1214           1038 Cashed Check                                                                                       690.00      3,512, 17
     1215                Cah 20142 Borrow Rent 171204 76231902 Donna Fogle                                                2,123.38      1,388.79
     12f6                  12!06Bankcard Deposit             9144                                       624.68
     1216                  Purchase authorized on 12/06 Wawa Store 5165 Bradenton FL                                         52.80
                           P00387340718127945 Card 3166
     12/6                  Purchase authorized on 12f06 The UPS Store 'IPZ744 89 Parrish FL                                  19.63      2, 141.24
                           P00000000533133551 Card 3166
     1217                  12/07Bankcard Deposit      9144                                              267.50                          2,408,74
     1218                  12!08Bankcard Deposit             9144                                       324.18                          2,732.92
     12111                 12111Bankcard Deposit             9144                                       455.00
     12111                 12111Bankcard Deposit             9144                                     1,295, 14
     12/11                 1'2111Bankcard Depooit            9144                                     1,582.50
     12111                 Recurring Payment authorized     on 12108 Hide-Away Storage                                       64.78
                           941-4622312 FL $387342502395188 Card 3174
     12!11                 Purchase authorized on 12!09 Golden Corral 0871 Bradenton FL                                      80.61
                           8387343840917264 Card 3166
     12!'11         1039 Cashed Check                                                                                       725.00
     12/11               Purchase authorized on 12!11 The UPS Store #2744 89 Parrish FL                                      30.12
                           P00000000235845576 Card 3166
     12111               Paypal Inst Xfer 171210 Blazingtrad Donnafogle Oneboxtv                                             83.95
     12/11               ATT Payment 120817 009442004Col1C William Firestone                                                368.72
     12111               Xiaozeyong lat Paypal 1712111002190197815 Donnafogle                                             3,296.03
                         Oneboxtv
     12/11               Paypal Inst Xfer 171211 Upwrkescrow Donnafogle Oneboxtv                                            262.01      1, 154.34
     12112               Bankcard Fee -         9144                                                                         91.21
     12112               Bankcard Interchange Fee-          9144                                                            204.06
     12112               Bankcard Discount Fee -         9144                                                               359.56        499.51
     12113               1'2113Bankcard Deposit         9144                                            375.00                            874.51
     12114               1'2114Bankcard Deposit         9144                                            454.75
     12114               Bright House Net Cable Tv 171213 72n481 *lvr                                                        84.98      1,244.28
     12115               1'2115Bankcard Deposit -       9144                                            829.50
     12115          1040 Cashed Check                                                                                       300.00      1,773.78
     12118               12f18Bankcard Deposit          9144                                          1,043.25
     12118               12118Bankcard Deposit          9144                                            203.57
     12118               12f18Bankcard Deposit          9144                                          1,204.00
     12/18               Purchase authorized on 12116 Cortez Marathon Bradenton Fl                                           20.00
                           P00587350561034933 Card 3166
     12118          1041 Deposited OR Cashed Check                                                                          697.00
     12118               Xiaozeyong lat Paypal 171218 1002243508892 Donnafogle                                            3,320.00        187.60
                         Oneboxtv
     12/19               Edeposit IN Branch/Store 12/19f17 04:54:29 Pm 7112 US Hwy                      500.00
                         301 N Ellenton FL 3166
     12119               Purchase authorized on 12!18 Hibachi Buffet Bra Bradenton FL                                        52.24        635.36
                         5307353063378578 Card 3174
     12120               12120Bankcard Deposit          9144                                            695.50
     12120               Fdgl Lease Pymt 171220 052-1323765-000 Donna Fogle                                                  39.22
                         Oneboxtv
     12120             < Business to Business ACH Debit - Fla Dept Revenue C01                                            1,290.89           0.75
                         42925412 One Box Tv LLC
     12f21               12121Bankcard Deposit          9144                                            220.00
     12121               Purchase authorized on 12!21 USPS PO 11262501 2605 72N                                               8.89
                           Ellenton FL P00387355789601991 Card 3174
     12/21                 Purchase authorized   on   12!21 The UPS store #2744 89 Parrish FL                                27.63        184.23
                           P00000000581526762 Card 3166
                                                                                                                              REDE Page 36 ofl81
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Account number:                      9888    • December 1, 2017 - December 31, 2017                 • Page 3 of 5




Transaction history (continued)
                              Check                                                                               Deposits!        \!Wthdrawalsl          Ending dally
       Date                  Number Description                                                                     Credits               Debits              balance
       12122                        12!22Bankcard Deposit         9144                                              775.75                                     959.98
       12/26                        12!26Bankcard Deposit         9144                                              952.54
       12126                        12/26Bankcard Deposit         9144                                              428.25
       12126                        12/26Bankcard Deposit         9144                                              989.75
       12126                        Purchase authoriZed on 12f24 Circle K f 07629 8400 Parrish FL                                          25.00
                                    P00000000637022568 Card 3166
       12126                   1042 Cashed Check                                                                                          490.00
       12126                        Purchase authorized on 12126 Circle K # 07629 8400 Parrish FL                                          15.00              Z,800.52
                                    P00000000871904355 Card 3166
       12127                        12127Bankcard Deposit -       9144                                               21.40                                    2,821.92
       12f28                        12/28Bankcard Deposit -0      9144                                              936.25
       12128                        Purchase authorized on 12128 Circle K # 07629 8400 Parrish FL                                          15.02
                                    P00000000977626805 Card 3166
       12128                        fdgl Annual Fee 171228 052-1323765-000 Donna Fogle                                                     10.20              3,73.2.95
                                    Oneboxtv
       12129                        12/29Bankcard Deposit -       9144                                              187.50                                    3,920.45
       Ending balance on 12f31                                                                                                                               3,920.45
       Totals                                                                                                   $17,0Z0.20           $14,9>2,57

       The Encing Dfi/y Balance does not reflect any pending Wthdrawa/s or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insuffident available funds when a transaction posted_ fees may have been assessed_
       < Business to Business ACH:lf this 1s a business account, this transact!on has a return //me frame of one business day from post date This t!me frame does nci.
         apply to consumer accounts.




Summary of checks written             (checks listed are a/so displayed in the preceding Transaction history)

       Number                Date                Amount         Number           Dale                Amount          Number             Date                  Amount
        1038                 12f4                 690.00        1040             12115                300.00          1042              12/26                     490.00
        1039                 12/11                725.00        1041             12118                697.00


Monthly service fee summary

For a complete llst of fees and detailed account Information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Go to wellsfargo.com/feefaqfor a link to these documents, and answers
to common monthly service fee questions.


       Fee period 12/01/2017-12131/2017                                                    Standard monthly service fee $14.00                  You paid $0.00

       How to avoid the monthly service fee                                                                 Minimum required                    This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                    $7,500.00                       $1,895.00 D
           Qualifying transaction from a linked Wells Fargo Business Payroll Services account                                  1                              oo
           Qualifying transaction from a linked Wells Fargo Merchant Services account                                                                        2s G
           Total number of posted Wells Fargo Debit Card purchases and/or payments                                            10                             13   G
           Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                       1                              oo
               Combined balances in linked accounts, which may include                                              $10,000.00                                    D
                 Average ledger balances in business checking, savings, and time accounts
                 Most recent statement balance in eligible Wells Fargo business credit cards and
                 lines of credit, and combined average daily balances from the previous month
                 in eligible Wells Fargo business and commercial loans and lines of credit
                 For complete details on how you can avoid the monthly service fee based on
                your combined balances please refer to page 7 of the Business Account Fee and
                 Information Schedule at www. wellsfargo.comlbizffee-inf ormation
       The Monthly service fee summay fee period ending date shown above includes a Saturday, Sunday, or holiday which are non-business days.
       Transactions occurring after the last business day of the month will be included in your next fee period
       WXNIX




      Sheet Seq"' Cl210327
      Sheet 00002 cf OOQ03
                                                                                                                          REDE Page 37 ofl81
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Account number:                 9888     • December 1, 2017 - December 31, 2017                 • Page 4 of 5




Account transaction fees summary
                                                                                       Units           Excess        Se1111ce charge per   Total service
       Service charge description                                Units used         induded             units           excess units($)        charge($)
       Cash Deposited($)                                               500             7,500                0                    0.0030            0.00
       Transactions                                                     16               200                0                       0.50           0.00
       Total service charges                                                                                                                      $0.00




         IMPORTANT ACCOUNT INFORMATION

If you currently receive online statements, starting in March, we will consideryourstatement delivered to you when it has been posted
to wellsfargo.com. Your on line account statement will be made available through Wells Fargo Online" Banking 24 - 48 hours after the
end of your statement period. We will continue to notify you when your statement becomes available via the email address you
provided. lf you receive paper statements, we will continue to send your statements through U.S. MaiL

If you would like to change your delivery preference, sign on at wellsfargo.com or the Wells Fargo mobile app and go to Update
Contact lnfonnation or call us at 1-800-956-4442. 24 hours a day. 7 days a week
                                                                                                                               REDE Page 38 ofl81
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Account number:                             9888      • December 1, 2017 - December 31, 2017       • Page 5 of 5




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts              You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the        information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft         an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                    Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                     Total amount $




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       Sheet Seq"' Cl210328
       Sheet 00003 cf OOQ03
                                                                                                                                 REDE Page 39 ofl81
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Wells Fargo Business Choice Checking
Account number:                    9888      • January 1, 2018 - January 31, 2018 • Page 1 of 6




                                                                                                           Questions?
ONE BOX TV, LLC                                                                                            Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST ST
                                                                                                             1-800-CALL-WELLS                (1-800-225-5935)

BRADENTON FL 34208-3501                                                                                      TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (287)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Visit wellsfargoworks.com to explore vkleos, articles, infographics. interactive                          A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 tools, and other resources on the topics of business growth, credit, cash flow
                                                                                                           cell the numbf!1r above if you have queslions or if you would
 management, business planning, technology, marketing, and more.
                                                                                                           like to add new services.

                                                                                                           Business Online Banking                               0
                                                                                                           Online Statements                                     0
                                                                                                           Business Bill Pay                                     0
                                                                                                           Business Spending Report                              0
                                                                                                           Overdraft Protection                                  D


Activity summary                                                                                            Account number:              9888
        Beginning balance on 111                                       $3,920.45                            ONE BOX TV, LLC
        Deposits/Credits                                               25,738.25                            Flor/de account terms end conditions ffipply
        Withctawals!Debits                                           - 22,383.00                            For Direct Deposit use
        Ending balance on 1/31                                        $6,275.70                             Routing Number (RTN): 063107513
                                                                                                            For Wire Transfers use
        Average ledger balance this period                             $2, 178.57                           Routing Number (RTN): 121000248



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (.!67)
      Sheet Seq"' Cl148309
      Sheet 00001 cf OOQ03
                                                                                                       REDE Page 40 ofl81
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Account number:         9888      • January 1, 2018 - January 31, 2018 • Page 2 of 6




Transaction history

                   Check                                                                   Deposits!       Withdrawals/     Ending daily
     Date         Number Description                                                         Credits             Debits         balance
     112                   01/02Bankcard Deposit         9144                              1,271.90
     112                   01/02Bankcard Deposit         9144                                375.00
     112                   01/0ZBankcard Deposit         9144                                881 .50
     112                   Purchase authorized on 12f29 Hibachi Buffet Bra Bradenton FL                           52.81
                           5467364035401516 Card 3174
     112                   Bankcard Fee Aqjustment-        9144                                                    5.53
     112                   Purchase authorized on 01101 WM Superc Wal-Mart Sup                                    41.54
                           Palmetto FL P00000000185248130 Card 3174
     112            1043 Deposited OR Cashed Check                                                             1,285.00
     112                 Brl!i!ht House Net Cable Tv 171229 2240285 *lvr                                          75.28        4,988.69
     113            1044 Check                                                                                 1,385.00        3,603.69
     114                 01/04Bankcard Depooit           9144                                830.00
     114                 Recurring Payment authorized on 01/03 Phone.Com, Inc                                     84.85
                         800-9981087 NJ 8388003247092121 Card 3166
     114                 Purchase authorized on 01104 Sams Club Sam's Club Bradenton                             139.08
                         FL P00000000334155941Card3166
     114                 Purchase authorized on 01104 Racetrac 2394 Bradenton FL                                  15.01
                         P00468005012461440 Card 3166
     114                 Cah 20142 Borrow Rent 180103 77428294 Donna Fogle                                     2, 156. 18      2,038.57
     115                 01/0SBankcard Deposit -         9144                                267.50
     115                 Purchase authorized on 01105 Shell Service station Bradenton FL                          12.02        2,294.05
                         P00468005833832803 Card 3166
     118                 O'l/08Bankcard Deposit          9144                                122.15
     118                 01/0SBankcard Deposit           9144                              1,376.00
     118                 01/0SBankcard Deposit           9144                              1,578.75
     118                 Purchase authorized on 01106 Circle K # 07629 8400 Parrish FL                            10.01
                         P00000000234114388 Card 3166
     118                 Purchase authorized on 01f07 Wawa Store 5165 Bradenton FL                                20.00
                         P00468007536791601 Card 3166
     118            1045 Deposited OR Cashed Check                                                               150.00
     118                 United Fin Cas Ins Prem 180108 02823358 One B One Box Tv LLC                            131.80
     118                 Xiaozeyong lat Paypal 180108 1002355737484 Donnafogle                                 3,320.00        1,739.74
                         Oneboxtv
     119                 Purchase authorized on 01109 Racetrac100 Bradenton FL                                    15.00
                         P00468009560896278 Card 3166
     119                 Fpl Direct Debit Elec Pymt 01118 3733077360 Telv Donna C Fogle                          153.05        1,571.69
     1110                Recurring Payment authorized on 01108 Hide-Away Storage                                  64.67
                         9414622312 FL 8308008641905584 Card 3174
     1!10                Purchase authorized on 01110 The UPS store #t2744 89 Parrish FL                          48.14
                         P00000000817796740 Card 3166
     1110                Online Transfer to Fogle D Ref #lb045Grsgq Everyday Checking                            233.00
                         UPS Store PO Box
     1110                Purchase authorized on 01110 Office Depot 00 4502 E. S                                  179.14
                         Bradenton FL P00308010772405712 Card 3166
     1!10                Purchase authorized on 01110 Circle K # 07629 8400 Parrish FL                            10.02
                         P00000000280572701 Card 3166
     1110                Bright House Net Cable Tv 180109 3994272 .. lvr                                          64.98
     1!10                ATT Payment 010818 192413003Col1U William Firestone                                     373.12          577.42
     1111                Bankcard Fee-           9144                                                            139.42
     1!11                Bankcard Interchange Fee-           9144                                                222.83
     1!11                Bankcard Discount Fee -          9144                                                   341.96         -126.79
     1112                01/12Bankcard Deposit -         9144                                455.00
     1112                Purchase authorized on 01112 7-Eleven Palmetto FL                                        10.04
                         P00000000284934855 Card 3166
     1112                Purchase authorized on 01112 7-Eleven Sarasota FL                                        30.02          288. 15
                         P00000000783499664 Card 3166
     1116                01/16Bankcard Deposit           9144                              1,063.00
     1116                01/16Bankcard Deposit           9144                                187.50
     1/16                01/16Bankcard Deposit           9144                                979.05
                                                                                                                  REDE Page 41 ofl81
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Account number:                  9888      • January 1, 2018 - January 31, 2018 • Page 3 of 6




Transaction history (continued)
                            Check                                                                     Deposits!       \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                           Credits              Debits       balance
     1116                           Harland Clarke Checkl"Acc. 011518 00665207575482 One Box Tv,                             46.86
                                    LLC
     1116                           Purchase authorized on 01115 Circle K ~ 07629 8400 Parrish FL                            20.01
                                  P00000000737130407 Card 3166
     1!16                    1046 Deposited OR Cashed Check                                                                 580.00       1,870.83
     1117                         Purchase authorized on 01115 Winghouse of Ellen Ellenton FL                                47.17
                                  8308016040760364 Card 3174
     1117                           01/17Bankcard Deposit -       9144                                                      270.50
     1117                           Purchase authorized on 01f17 Racetrac100 Bradenton FL                                    12.00
                                    P00588017602290138 Card 3166
     1!17                           Purchase authorized on 01/17 The UPS Store #'Z744 89 Parrish FL                          19.18       1,521.98
                                    P00000000677608234 Card 3174
     1118                           01/18Bankcard Deposit -       9144                                  267.50
     1118                           Paypal lnst Xfer 180117 Boom Kodi Donnafogle Onebox:lv                                   15.00       1,774.48
     1119                         01/19Bankcard Deposit -         9144                                1,230.75                           3,005.23
     1122                         01/22Bankcard Deposit -         9144                                  288.90
     1122                         01/22Bankcard Deposit -        99144                                2,036.25
     1122                         01/22Bankcard De~osit           9144                                  267.50
     1122                         Edeposit IN Branch/Store 01/22118 01:42:17 Pm 7112 US Hwy             500.00
                                  301 N Ellenton FL 3166
     1122                         Purchase authorized on 01121 Circle K # 07629 8400 Parrish FL                              15.02
                                  P00000000775943238 Card 3166
     1!22                    1047 Deposited OR Cashed Check                                                                 825.00
     1122                         Fdgl Lease Pymt 180122 052-1323765-000 Donna Fogle                                         39.22
                                  Oneboxtv
     1122                       < Business to Business ACH Debit - Fla Dept Revenue C01                                   1,078.39
                                  44937871 One Box Tv LLC
     1122                         Xiaozeyong lat Paypal 180122 1002433797315 Donnafogle                                   3,866.00         274.25
                                  Oneboxtv
     1124                         01/24Bankcard Deposit -         9144                                  375.00
     1124                         Purchase authorized on 01124 Bp Convenience Bradenton FL                                   15.01         634.24
                                  P00000000375420095 Card 3166
     1125                         01/25Bankcard Deposit           9144                                  455.00
     1125                         Purchase authorized on 01f23AT&T Of Z3Ens 5633                                            213.99
                                  WWW.ATT.Com FL $468023821640976 Card 3166
     1125                         Purchase authorized on 01125 Circle K # 07629 8400 Parrish FL                              66.41         808.84
                                  P00000000135370218 Card 3166
     1126                         01/26Bankcard Deposit           9144                                1,150.75                           1,959.59
     1129                         01/29Bankcard Deposit           9144                                1,359.15
     1129                         01/29Bankcard Deposit                                               1, 177.25
     1!29                                                 -0      9144                                  642.25
     1129                         Edeposit IN Branch/Store 01129118 02:00:18 Pm 7112 US Hwy           6,000.00
                                  301 N Ellenton FL 3166
     1129                         Purchase Intl authorized on 01!25 Xt Network Saint Avertin Fra                             11.25
                                  8858027002567059 Card 3166
     1129                         International Purchase Transaction Fee                                                      0.33
     1!29                         Purchase authorized on 01128 Amazon Mktplace Pm                                            17.99
                                  Amzn.ComfSill WA 5468028159640194 Card 3166
     1129                    1048 Deposited OR Cashed Check                                                                 920.00
     1129                         Xiaozeyong lat Paypal 1801291002470217143 Donnafogle                                    3,333.80
                                  Oneboxtv
     1129                         Paypal Inst Xfcr 180129 Upwrkcscrow Donnafoglc Oncboxtv                                   393.02       6,461.85
     1!30                         Purchase authorized on 01127 Woody's River Roo Ellenton FL                                 65.15       6,396.70
                                  S468028052784588 Card 3174




    Sheet Seq"' Cl148310
    Sheet 00002 cf OOQ03
                                                                                                                                  REDE Page 42 ofl81
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Account number:                   9888      • January 1, 2018 - January 31, 2018 • Page 4 of 6




Transaction history (continued)
                            Check                                                                                    Deposits!         \!Wthdrawalsl          Ending dally
       Date                Number Description                                                                          Credits                Debits              balance
       1131                   1050 Check                                                                                                         120.00
       1131                         Paypal lnst Xfer 180131 Wish Donnafogle Oneboxtv                                                               1.00           6,275.70
       Ending balance on 1131                                                                                                                                    6,275.70
       Totals                                                                                                    $25,738.26             $23,383.00
       The Endng Daily Balance does not reflect any pending Wthdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed,
       < Business to Business ACH:lf this 1s a business account, this transacfJon has a return ~me frame of one business day from post date This fJme frame does net
         apply to consumer accounts.




Summary of checks written           (checks listed are also displayed in the preceding Transaction history)

       Number              Date                 Amount          Number            Dole                 Amount           Number             Date                   Amount
        1043                112                 1,285.00        1046              1116                  580.00          1048               1129                       920.00
        1044                113                 1,385.00        1047              1122                  825.00          1050 ..            1131                       120.00
        1045                118                  750.00

        • Gap in check sequence.


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (Easy Pay Card Terms and Conditions for prepaid cards) or talk to a banker. Go to wellsfargo.com/feefaqfor a link to these documents, and answers
to common monthly service fee questions.


       Fee period 01!01f2018- 01f31!2018                                                     standard monthly service fee $14.00                    You paid $0.00

       How to avoid the monthly service fee                                                                   Minimum required                      This fee period
       Have any ONE of the following accoLJnt requirements
               Average ledger balance                                                                                   $7,500.00                         $2,179.oo   D
               Qualifying transaction from a linked Wells Fargo Business Payroll Services account                                 1                               oo
               Qualifying transaction from a linked Wells Fargo Merchant Services account                                                                        28 ~
               Total number of posted Wells Fargo Debit Card purchases and/or payments                                            10                             25G
               Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                      1                               oo
               Combined balances in linked accounts, which may include                                                 $10,000.00                                     D
                 Average ledger balances in business checking, savings, and time accounts
                 Most recent statement balance in eligible Wells Fargo business credit cards and
                 lines of credit, and combined average daily balances from the previous month
                 in eligible Wells Fargo business and commercial loans and lines of credit
                 For complete details on how you can avoid the monthly service fee based on
                 yoLJr combined balances please refer to page 7 of the Business Account Fee and
                 Information Schedule at www.wellsfargo.oornlbizlfee-information




Account transaction fees summary
                                                                                             Units          Excess         Service charge per                 Total service
       Service charge descriptJon                                   Urnts used           included            units            excess units($)                   charge($)
       Cash Deposited($)                                                 6,500              7,500                0                     0.0030                          0.00
       Transactions                                                         23                200                0                        0.50                         0.00
       Total service charges                                                                                                                                          $0.00
                                                                                                                          REDE Page 43 ofl81
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Account number:                 9888     • January 1, 2018 - January 31, 2018 • Page 5 of 6




~IMPORTANT ACCOUNT INFORMATION
Important information about legal process fees.

The fee for legal order processing, which includes handling levies, wrtts, garnishments, and any other legal documents that require
funds to be attached, remains $125. However, effective 2/16/18, the bank will assess no more than two legal process fees per account,
per calendar month.     Please note, the calenclar month may not coincicle with your statement cycle.




     Sheet Seq"' Cl148311
     Sheet 00003 cf 00003
                                                                                                                                REDE Page 44 ofl81
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Account number:                             9888      • January 1, 2018 - January 31, 2018 • Page 6 of 6




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts               You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                 and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the         information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft          an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                     Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                      Total amount $




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                                                                                                                                 REDE Page 45 ofl81
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Wells Fargo Business Choice Checking
Account number:                    9888      • February 1, 2018 - February 28, 2018              •   Page 1 of 6




                                                                                                           Questions?
ONE BOX TV, LLC                                                                                            Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST ST
                                                                                                             1-800-CALL-WELLS                (1-800-225-5935)

BRADENTON FL 34208-3501                                                                                      TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (287)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Visit wellsfargoworks.com to explore vkleos, articles, infographics. interactive                          A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 tools, and other resources on the topics of business growth, credit, cash flow
                                                                                                           cell the numbf!1r above if you have queslions or if you would
 management, business planning, technology, marketing, and more.
                                                                                                           like to add new services.

                                                                                                           Business Online Banking                               0
                                                                                                           Online Statements                                     0
                                                                                                           Business Bill Pay                                     0
                                                                                                           Business Spending Report                              0
                                                                                                           Overdraft Protection                                  D


Activity summary                                                                                            Account number:              9888
        Beginning balance on 211                                       $6,275.70                            ONE BOX TV, LLC
        Deposits/Credits                                               27,382.73                            Flor/de eccount terms end conditions ffipply
        Withctawals!Debits                                           - 30,221.73                            For Direct Deposit use
        Ending balance on 2128                                        $3,436.70                             Routing Number (RTN): 063107513
                                                                                                            For Wire Transfers use
        Average ledger balance this period                             $3,739.13                            Routing Number (RTN): 121000248



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (.!67)
      Sheet Seq"' Cl180464
      Sheet 00001 cf OOQ03
                                                                                                               REDE Page 46 ofl81
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Account number:         9888      • February 1, 2018 - February 28, 2018           • Page 2 of 6




Transaction history

                   Check                                                                           Deposits!       Withdrawals/    Ending daily
     Date         Number Description                                                                 Credits             Debits        balance
     211                   02101Bankcard Deposit -       9144                                        990.00
     211                   Edeposit IN Branch/Store 02/01118 02:31:11 Pm 2901 53Rd Ave E           5,500.00
                           Bradenton FL 3166
     211                   Purchase authorized on 01f30 Robert M Shindler 941-7476100 FL                                 950.00
                           5388030076985823 Card 3174
     211                   Xiaozeyong lat Paypal 1802011002494939748 Donnafogle                                        4,860.50
                           Oneboxtv
     211                   Paypal lnst Xfer 180201 Norton Donnafogle Oneboxtv                                             58.29       6,876.91
     212                   02!02Bankcard Deposit -       9144                                        455.00                           7,331.91
     215                   02/05Bankcard Dee:osit -    99144                                         497.79
     215                   02/05Bankcard Deposit         9144                                      1,032.53
     215                   02/0SBankcard Depooit         9144                                      2, 167.00
     215                   ATM Cash Deposit on 02105 7112 U.S Highway 301 N Elenton FL               500.00
                           0004721ATM1065348 Card 3166
     215                   Recurring Payment authorized on 02103 Phone.Com, Inc                                           84.40
                           800-9981087 NJ 8588034307040163 Card 3166
     215                   Purchase authorized on 02103 Pilot #0089 Ellenton FL                                           68.94
                           P00388034503951285 Card 3166
     215                   Purchase authorized on 02105 The UPS store #2744 89 Parrish FL                                 37.21
                           P00000000735464629 Card 3166
     215            1052 Cashed Check                                                                                    570.00
     215            1051 Check                                                                                         1,385.00       9,383.68
     216                   Alibaba.Com, Inc Credit4Ver ·1ao206 25'18259888 Oneboxtv LLC                0.12
     216                   Alibaba.Com, Inc Credit4Ver 180206 2518259888 Oneboxtv LLC                  0.29
     216                   Purchase authorized on 02103 Popis Place IV Ellenton FL                                        48.81
                           8388035033616775 Card 3174
     216                   Purchase authorized on 02105 WWW./>Jibaba.Com Delaware DE                                     752.64
                           8588036026043191 Card 3174
     216                 Purchase authorized on 02105 WWW.l>Jibaba.Com Delaware DE                                       961.54
                         $588036038434207 Card 3174
     216                 United Fin Cas Ins Prem 180206 02823358 One B One Box Tv LLC                                     131.SO
     216                 Cah 20142 Borrow Rent 180205 78941797 Donna Fogle                                             2, 158.99      5,330.31
     217                 02107Bankcard Deposit           9144                                        267.50
     217                 Bright House Net Cable Tv 180206 3843579 *lvr                                                    75.28
     217                 Bright House Net Cable Tv 180206 3835737 *lvr                                                    84.98
     217                 Fpl Direct Debit Elec Pymt 02118 3733077360 Telv Donna C Fogle                                  215.77
     217            1049 Check                                                                                         4,942.00         279.78
     218                 02/0SBankcard Deposit -         9144                                      1, 147.50
     218                 Paypal Inst Xfer 180208 Godaddy.Com Donnafogle Oneboxtv                                          20.16       1,407.12
     219                 02109Bankcard Deposit           9144                                        187.50
     219                 ATT Payment 020818 736502002Col1M William Firestone                                             260.92       1,333.70
     2112                02/12Bankcard Deposit           9144                                        722.26
     2112                02/12Bankcard Deposit           9144                                      1,953.50
     2112                02112Bankcard Deposit           9144                                      1,461.05
     2112                Recurring Payment authorized on 02108 Hide-Away Storage                                          64.67
                           9414622312 FL 8588039641213100 Card 3174
     2112                Purchase authortzed on 02111 Wawa Store 5165 Bradenton FL                                        71.56
                         P00588042767429447 Card 3166
     2112                Bankcard Fee-         9144                                                                       69.80
     2112                Bankcard Interchange Fee-         9144                                                          193.50
     2112                Bankcard Discount Fee -        9144                                                             366.10
     2112           1054 Cashed Check                                                                                  2,000.00       2,704.88
     2113           1053 Deposited OR Cashed Check                                                                       820.00       1,884.88
     2114                02/14Bankcard Deposit -       9144                                          890.00                           2.774.88
     2115                02/15Bankcard Deposit         9144                                          615.75                           3,390.63
     2116                02116Bankcard Deposit -       9144                                        2,007.15
     2116                Purchase authorized on 02115 Theaters and Techn Sarasota FL                                   1.500.00
                           8308046845196425 Card 3174
     2116                  Purchase authortzed on 02116 Wal-Mart Super Center Palmetto                                   202.23       3,696.15
                           FL P00000000139468860 Card 3166
                                                                                                                                 REDE Page 47 ofl81
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Account number:                   9888       • February 1, 2018 - February 28, 2018             • Page 3 of 6




Transaction history (continued)
                            Check                                                                                    Deposits!       \!Wthdrawalsl      Ending dally
     Date                  Number Description                                                                          Credits              Debits          balance
     2120                             02!20Bankcard Deposit         9144                                              1,936.40
     2120                             02!20Bankcard Deposit         9144                                               187 .50
     2120                             02/20Bankcard Deposit         9144                                               652.50
     2120                             02/20Bankcard Chargeback          9144                                                               267.50
     2120                             Purchase authoriZed on 02f17 AT&T 3Brt 14902 Bradenton Cor FL                                        106.99
                                      P00308048558279980 Card 3166
     2120                             Purchase authorized on 02/19Best Buy 00011411 Bradenton FL                                         1,176.99
                                      P00000000434272345 Card 3166
     2120                             Purchase authorized on 02f19 The UPS Store 'lrl744 89 Parrish FL                                     472.30
                                      P00000000789079895 Card 3166
     2120                             Purchase authorized on 02/19 Circle K f 07629 8400 Parrish FL                                         10.01
                                      P00000000710557133 Card 3166
     2120                             Purchase authorized on 02!19 Wawa Store 5165 Bradenton FL                                             67.88
                                      P00468051012090106 Card 3166
     2120                    1055     Cashed Check                                                                                         830.00
     2120                             Futureonest lat Paypal 180220 1002594403200 Donnafogle                                                27.99
                                      Oneboxtv
     2120                             Pa~~al lnst Xfer 180219 U~wrkescrow Donnafoale Oneboxtv                                              138.11
     2120                         <   Business to Business ACH Debit - Fla Dept Revenue C01                                              1,228.58           2, 145.60
                                      46850984 One Box Tv LLC
     2121                             02!21Bankcard Dee:osit         9144                                              107.00
     2121                             Fdgl Lease Pymt 180220 052-1323765-000 Donna Fogle                                                    39.22           2,213.38
                                      Oneboxtv
     2122                             02/22Bankcard Dee:osit -       9144                                              298.90
     2122                    1056     Check                                                                                                 85.00           2,427.28
     2123                             02!23Bankcard Deposit -        9144                                             1,445.00
     2123                    1057     Check                                                                                                150.00           3,722.28
     2126                             02/26Bankcard Deposit          9144                                              267.50
     2126                             02!26Bankcard Deposit          9144                                              455.00
     2126                             02!26Bankcard Deposit          9144                                              738.59
     2126                             Purchase authorized on 02/23 Michelangelo 301 Parrish FL                                              39.93
                                      8468055010700586 Card 3166
     2126                    1058     Cashed Check                                                                                         625.00
     2126                             Purchase authorized on 02126 The Home Depot #1863                                                     42.33
                                      Bradenton FL P00388057680538928 Card 3166
     2126                             Xiaozeyong lat Paypal 1802261002636558275 Donnafogle                                                 538.20           3,937.91
                                      Oneboxtv
     2128                             02!28Bankcard Deposit          9144                                              898.$0
     2128                             Purchase authorized on 02/28 Circle K # 07629 8400 Parrish FL                                         15.01
                                      P00000000785757221 Card 3166
     2128                    1059     Check                                                                                              1,385.00            3,436.70
      Ending balance on 2128                                                                                                                                3,436.70
     Totals                                                                                                        $27,382.73         $30,221.73
     The Enr:ing Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on yo!K account when your
     transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed,
      .:; Business to Business ACH:/f this is a business account, this transac/Jon has a return Ume frame of one business day from post date This /Jme frame does net.
          apply to consumer accounts.




summary of checks written             (checks listed are also displayed in the preceding Transaction history)

      Number               Date                  Amount         Number            D"1e                   Amount         Number           Date               Amount
      1049                 217                  4,942.00        1054              2112                2,000.00          1057             2123                 150.00
      1051 ..              215                  1,385.00        1055              2120                   830.00         1058             2126                 625.00
      1052                 215                    570.00        1056              2122                     85.00        1059             2128               1,385.00
      1053                 2113                   820.00

      • Gap in check sequence,




    Sheet Seq"' Cl180465
    Sheet 00002 cf OOQ03
                                                                                                                           REDE Page 48 ofl81
    Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 255 of 460 PageID 332

Account number:                  9888      • February 1, 2018 - February 28, 2018                 • Page 4 of 6




Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Goto wellsfargo.comffeefaqfor a link to these documents, and answers
to common monthly service fee questions.


       Fee period 0210112018- 02126/2016                                                  Standard monthly service fee $14.00               You paid $0.00

       How to avoid the monthly service fee                                                                Minimum required                 This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                   $7,500.00                    $3,739.00    D
            Qualifying transaction from a linked Wells Fargo Business Payroll Services account                                1                           oD
            Qualifying transaction from a linked Wells Fargo Merchant Services account                                                                   28 [21
            Total number of posted Wells Fargo Debit Card purchases and/or payments                                        10                            19 [21
            Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                   1                             oo
            Combined balances in linked accounts, which may include                                                $10,000.00                                 D
               Average ledger balances In business checking, savin95, and time accounts
               Most recent stalement balance in eligible Wells Fargo business credit cards and
               lines of credit, and combined average daily balances from the previous month
               in eligible Wells Fargo business and commercial loans and lines of credit
               For complete details on how you can avoid the monthly service fee based on
               your combined balances please refer to page 7 of the Business Account Fee and
               Information Schedule at www. wellsfargo.oomlbizffee-inf ormation




Account transaction fees summary
                                                                                          Units           Excess      Se!Vlce charge per              Total ser\lice
       Service charge descri pfion                                Units used         included              units          excess units($)               charge($)
       Cash Deposited($)                                              6,000               7,500               0                   0.0030                       0.00
       Transactions                                                      27                 200               0                     0.50                       0.00
       Total service charges                                                                                                                                  $0.00




         IMPORTANT ACCOUNT INFORMATION

Reminder about effect of pending debit card transactions on your account

For each debit card transaction. we place an authorization hold and track the "pending" transaction until the merchant sends the final
payment instruction to the bank. We receive final payment instructions for most transactions within one to two business days, but we
generally must release the authorization hold after three business days. While pending, these transactions reduce your available
balance. If transactions are presented for payment when your account has an insufficient available balance, you may be charged
overdraft and/or insufficient fund (NSF) fees on those transactions. The bank will assess no more than eight (8) $35 overdraft and/or
NSF fees per day.



Important information about legal process fees.

The fee for legal order processing, which includes handling levies, writs, garnishments, and any other legal documents that require
funds to be attached, remains $125. However, effective 2/16/18, the bank will assess no more than two legal process fees per account,
per calendar month.      Please note, the calendar month may not coincide with your statement cy~le.
                                                                                                                         REDE Page 49 ofl81
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Account number:                9888      • February 1, 2018 - February 28, 2018             • Page 5 of 6




Using Combined Balances to Avoid Monthly Service Fees
We want to share some important information with you about avoiding monthly seivice fees using combined balances. A checking
account with a combined balance option to avoid a monthly seivice fee cannot be linked to another checking account with a
combined balance option. Any other accounts linked to a checking account with a combined balance option to avoid a monthly
service fee cannot simultaneously be linked to another checking account with a combined balance option.


For questions or clarification, please call the phone bank number at the top of your statement We appreciate your business.




     Sheet Seq"' Cl180466
     Sheet 00003 cf 00003
                                                                                                                                 REDE Page 50 ofl81
      Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 257 of 460 PageID 334

Account number:                             9888      • February 1, 2018 - February 28, 2018     • Page 6 of 6




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts                You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                  and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the          information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft           an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                      Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                       Total amount $




@2010 Wells Fargo Bank, NA. All   right~   reserved Member FDIC. NMLSR ID 399801
                                                                                                                                 REDE Page 51 of 181
    Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 258 of 460 PageID 335

Wells Fargo Business Choice Checking
Account number:                    9888      • March 1, 2018 - March 31, 2018             • Page 1 of 6




                                                                                                           Questions?
ONE BOX TV, LLC                                                                                            Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST ST
                                                                                                             1-800-CALL·WELLS                (1-800-225-5935)

BRADENTON FL 34208-3501                                                                                      TTY: 1-800-<377-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (287)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Access complimentary resources and tools to help you create or revise your                                A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 business plan - whether you're an experienced business owner or just starting out
                                                                                                           cell the numbf!1r above if you have queslions or if you would
 Find out more at wellsfargoworks.com/plan.
                                                                                                           like to add new s&rvices.

                                                                                                           Business Online Banking                               0
                                                                                                           Online Statements                                     0
                                                                                                           Business Bill Pay                                     0
                                                                                                           Business Spending Report                              0
                                                                                                           Overdraft Protection                                  D


Activity summary                                                                                            Account number:              9888
        Beginning balance on 311                                       $3,436.70                            ONE BOX TV, LLC
        Deposits/Credits                                               27,004.21                            Floride eccount terms end conditions ffipply
        Withctawals!Debits                                           - 26,071.13                            For Direct Deposit use
        Ending balance on 3/31                                        $4,369.78                             Routing Number (RTN): 063107513
                                                                                                            For Wire Transfers use
        Average ledger balance this period                             $2,320.19                            Routing Number (RTN): 121000248



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (.!67)
      Sheet Seq"' (]209429
      Sheet 00001 cf OOQ03
                                                                                                        REDE Page 52 ofl81
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Account number:         9888      • March 1, 2018 - March 31, 2018          • Page 2 of 6




Transaction history

                   Check                                                                    Deposits!       Withdrawals/     Ending daily
     Date         Number Description                                                          Credits             Debits         balance
     311                   03/01Bankcard Deposit         9144                               1,851.35
     311                   Purchase authorized on 03/01 Bp Convenience Bradenton FL                                15.00        5,273.05
                           P00000000274115545 Card
                                                   -0483999144                                883.00
     312                 Purchase authorized on 03101 Theaters and Techn Sarasota FL                            1,583.12
                         $588061035483849 Card 3174
     312            1050 Cashed Check                                                                           1,000.00
     312                   Purchase authorized on 03f02 Bp Convenience Bradenton FL                                10.01
                           P00000000585889737 Card 3166
     312            1051 Check                                                                                    175.00        3,387.92
     315                 03/05Bankcard Deposit           9144                               1,391.00
     315                 03/0SBankcard Depooit           9144                               1,070.75
     315                 ATM Cash Deposit on 03104 7112 U.S Highway 301 N Elenton FL          500.00
                         0005396ATM 1065348 Card 3166
     315                 03/0SBankcard Deposit           9144                               1,203.75
     315                 Recurring Payment authorized on 03102 Phone.Com, Inc                                      84.40
                         800-9987087 NJ 5588052247776971 Card 3166
     315                 Purchase authorized on 03/03 Wawa Store 5165 Bradenton FL                                 20.01
                         P00468052782443279 Card 3166
     315                 Purchase authorized on 03f03 Winghouse of Ellen Ellenton FL                               94.02
                         8308063043118210 Card 3174
     315                 Purchase authorized on 03/04 Office Depot 00 4502 E. S                                    32.09
                         Bradenton FL P00308063584044702 Card 3'166
     315            1052 Deposited OR Cashed Check                                                                S40.00
     315                 Purchase authorized on 03105 Circle K # 07629 8400 Parrish FL                             50.01
                         P00000000132541190 Card 3166
     315                 Xiaozeyong lat Paypal 1803051002675647619 Donnafogle                                   3,805.42        2,627.47
                         Onebox.tv
     316                 United Fin Cas Ins Prem 180306 02823358 One B One Box Tv LLC                              131.80
     316                 20181 lh Borrowe Rent 180305 80241706 Donna Fogle                                      2, 168. 13        327.54
     317                 03/07Bankcard Deposit           9144                                 401.50
     317                 Purchase authorized on 03f07 The UPS Store #2744 89 Parrish FL                            11.61
                         P00000000177220734 Card 3174
     317                 Fpl Direct Debit Elec Pymt 03/18 3733077360 Telv Donna C Fogle                           232.93          484.50
     318                 03/08Sankcard Deposit -         9144                               1,946.25
     318                 Purchase authorized on 03108 The UPS Store #2744 89 Parrish FL                            12.72        2,418.03
                         P00000000530824622 Card 3166
     319                 03/09Bankcard Deposit -         9144                                 267.50
     319            1053 Check                                                                                    175.00        2,510.53
     3112                03/12Bankcard Deposit -         9144                                 610.40
     3112                03/12Bankcard Deposit -         9144                               1,057.38
     3!12                03/12Bankcard Deposit -         9144                                 642.50
     3112                Recurring Payment authorized on 03/08 Hide-Away Storage                                   64.67
                         941-4622312 FL 8468067532026482 Card 3174
     3112                Purchase authorized on 03111 8ei 37656 Bradenton FL                                       20.00
                         P00468070501759315 Card 3166
     3112                Bankcard Fee -          9144                                                             145.23
     3!12                Bankcard Interchange Fee-           9144                                                 221.87
     3112                Bankcard Discount Fee-           9144                                                    445.07
     3!12                Purchase authori.Zed on 03!12 The UPS Store '#2744 89 ParriSh FL                          21.53
                         P00000000087690881 Card 3166
     3112                Xiaozeyong lat Paypal 1803121002722722957 Donnafogle                                   3,319.80
                         Oneboxtv
     3112           1054 Check                                                                                    750.00         -167.36
     3113                Overdraft Fee for a Transaction Posted on 03/12 $750.00 Check#                            35.00
                         01064
     3113                ATM Cash Deposit on 03113 7112 U.S Highway 301 N Elenton FL        1.000.00
                         0008429ATM 1065348 Card 3166
     3113                Purchase authorized on 03113 The UPS store #2744 89 ParriSh FL                            13.28
                         P00000000137677904 Card 3166
                                                                                                                   REDE Page 53 ofl81
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Account number:                  9888      • March 1, 2018 - March 31, 2018            • Page 3 of 6




Transaction history (continued)
                            Check                                                                      Deposits!       \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                            Credits              Debits       balance
     3113                           ATT Payment 031118 105310003Col1R William Firestone                                      453.09         331.27
     3114                           03/14Bankcard Deposit         9144                                 1,041.59                           1,372.96
     3115                           03/15Bankcard Deposit         9144                                 1.799.10
     3115                           Purchase authorized on 03115 Circle K # 07629 8400 Parrish FL                             15.06       3, 157.00
                                    P00000000884443319 Card 3166
     3116                           03/16Bankcard Deposit         9144                                 1,097.50
     3116                           Purchase authorized on 03/16 Circle K # 07629 8400 Parrish FL                             15.01       4,239.49
                                    P00000000380127444 Card 3166
     3119                           03/19Bankcard Deposit         9144                                   642.00
     3119                           03/19Bankcard Deposit         9144                                 2,500.50
     3!19                           03/19Bankcard Deposit         9144                                   813A5
     3119                           Purchase authorized on 03117 Wawa Store 5165 Bradenton FL                                 15.01
                                    P00588076570789805 Card 3166
     3119                           Purchase authorized on 03119 Shell Service station Bradenton FL                           20.00
                                    P00588078666295970 Card 3166
     3119                         Cash eWithdrawal in Branch/Store 03f19f2018 5:07 Pm 1510                                 1,000.00
                                  Cortez Rd W Bradenton FL 3166
     3119                    1066 Cashed Check                                                                               968.00
     3119                    1065 Check                                                                                      225.00
     3119                         Xiaozeyong lat Paypal 1803191002758200726 Donnafogle                                       422.S3
                                  Oneboxtv
     3119                         Xiaozeyong lat Paypal 1803191002752453707 Donnafogle                                     3,319.80       2,224.80
                                  Oneboxtv
     3120                         Purchase authorized on 03120 Racetrac 2381 Bradenton FL                                     45.00
                                  P00468079764093530 Card 3166
     3120                         Fdgl Lease Pymt 180320 052-1323765-000 Donna Fogle                                          39.22
                                  Oneboxtv
     3120                       < Business to Business ACH Debit - Fla Dept Revenue C01                                    1,161.39         379.19
                                  48895212 One Box Tv LLC
     3121                         03/21Bankcard Deposit         9144                                     829.75                           1,208.94
     3122                         03/22Bankcard Deposit         9144                                     588.75
     3122                         Cash eWithdrawal in Branch/Store 03f22f2018 10:57 Am 2901                                1,000.00
                                  53Rd Ave E Bradenton FL 3166
     3122                               House Net Cable Tv 180321 0228530 *lvr                                                84.98
     3!22                               House Net Cable Tv 180321 0230158 *lvr                                               168.46         544.25
     3123                                      d Deposit        9144                                     321.25
     3123                    1067                                                                                            200.00         665.50
     3126                           03/26Bankcard Deposit         9144                                   508.25
     3126                           03/26Bankcard Deposit         9144                                   485.00
     3126                           03/26Bankcard Deposit         9144                                 1, 177.50
     3!26                           Purchase authorized on 03f22Woody's River Roo Ellenton FL                                 70.00
                                    5308082054779647 Card 3166
     3126                           Purchase authorized on 03/24 Chili's Tampa Stad Tampa FL                                  68.05
                                    5588084091760259 Card 3166
     3126                           Purchase authorized on 03f25 Murphy7322Atwalmart Palmetto                                 30.00       2,668.20
                                    FL P00588084750882322 Card 3166
     3127                    1068 Cashed Check                                                                               592.50       2,075.70
     3128                           03/28Bankcard Deposit         9144                                   395.90
     3128                           Purchase authorized on 03f26 Hard Rock Cafe Tampa FL                                      70.00       2,401.60
                                    5468085811482529 Card 3166
     3129                           03/29Bankcard Deposit         9144                                 1,047.29                           3,448.89




    Sheet Seq"' (]209430
    Sheet 00002 cf 00003
                                                                                                                                 REDE Page 54 ofl81
    Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 261 of 460 PageID 338

Account number:                  9888      • March 1, 2018 - March 31, 2018               • Page 4 of 6




Transaction history (continued)
                           Check                                                                                     Deposits!         \!Wthdrawalsl         Ending dally
       Date               Number Description                                                                           Credits                Debits             balance
       3130                      03/30Bankcard Deposit         9144                                                     930.90
       3130                      Purchase authorized on 03130 Racetrac100 Bradenton FL                                                         10.01             4,369.78
                                   P00308089545149326 Card 3166
       Ending balance on 3/31                                                                                                                                   4,369.78
       Totals                                                                                                      $27,004.21            $26,071, 13
       The Encing Daily Balance does not reflect any pending !Mthdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed,
       ..::: Business to Business ACH:ff this 1s a business account, this transact!on ttas a return tr me rrame or one busJness day rrom post date This t!me frame does not
             apply to consumer accounts.




Summary of checks written          (checks listed are also displayed in the preceding Transaction history)

       Number             Date                Amount            Number             Date                 Amount           Number             Date                 Amount
       1060               312                 1,000.00          1063               319                    175.00         1066               3119                     968.00
       1061               312                   175.00          1064               3112                  750.00          1067               3123                     200.00
       1062               315                   840.00          1065               3119                  225.00          1068               31ZI                     592.50


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Goto wellsfargo.comffeefaqfor a link to these documents, and answers
to common monthly service fee questions.


       Fee period 03f01f2018- 0313112018                                                     Standard monthly service fee $14.00                   You paid $0.00

       How to avoid the monthly service fee                                                                    Minimum required                    This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                        $7,500.00                      $2,320.oo D
           A qualifying transaction from a linked Wells Fargo Businei>s Payroll Services                                                                         oD
           account
           A qualifying transaction from a linked Wells Fargo Merchant Services account                                                                         zaG
           Tatal number of posted Wells Fargo Debit Card purchases and/or payments                                              10                              24   G
           Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                         1                               oo
              Combined balances in linked accounts, which may include                                                   $10,000.00                                   D
                Average ledger balances in business checking, savings, and time accounts
                Most recent sta1ement balance in eligible Well3 Fargo business credit cards and
                lines of credit, and combined average daily balances from the previous month
                in eligible Wells Fargo business and commercial loans and lines of CT edit
                For complete details on how you can avoid the monthly service fee based on
               your combined balances please refer to page 7 of the Business Account Fee and
                Information Schedule at WWN. wellsfargo. oomfbiz/fee-information
       The Monthly service fee summary fee period ending date shown above includes a Saturday, Sunday, or holiday which are non-bUsiness days.
       Transactions occurring after the last business day of the month will be included in your next fee period
       WXNV>
                                                                                                                         REDE Page 55 ofl81
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Account number:                 9888     • March 1, 2018 - March 31, 2018            • Page 5 of 6




Account transaction fees summary
                                                                                       Units           Excess       Se1111ce charge per   Total service
       Service charge description                               Units used         induded              units          excess units($)        charge($)
       Cash Deposited($)                                             1,500            7,500                0                   0.0030             0.00
       Transactions                                                     21              200                0                      0.50            0.00
       Total service charges                                                                                                                     $0.00




        IMPORTANT ACCOUNT INFORMATION

Important information about legal process fees.

The fee for legal order processing, which includes handling levies, writs, garnishments, and any other legal documents that require
funds to be attached, remains $125. However, effective 2/16/18, the bank will assess no more than two legal process fees per account,
per calendar month.     Please note, the calendar month may not coincide with your statement cycle.




Using Combined Balances to Avoid Monthly Service Fees
We want to share some important information with you about avoiding monthly seivice fees using combined balances. A checking
account with a combined balance option to avoid a monthly seivice fee cannot be linked to another checking account with a
combined balance option. Any other accounts linked to a checking account with a combined balance option to avoid a monthly
service fee cannot simultaneously be linked to another checking account with a combined balance option.

For questions or clarification, please call the phone bank number at the top of your statement We appreciate your business.




     Sheet Seq"' (]209431
     Sheet 00003 cf OOQ03
                                                                                                                                   REDE Page 56 ofl81
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Account number:                             9888      • March 1, 2018 - March 31, 2018     • Page 6 of 6




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts                  You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                    and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the            information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft             an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                        Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                         Total amount $




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                                                                                                                                 REDE Page 57 ofl81
    Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 264 of 460 PageID 341

Wells Fargo Business Choice Checking
Account number:                    9888      • April 1,   2018-Ap~l     30, 2018      • Page 1 of6




                                                                                                           Questions?
ONE BOX TV, LLC                                                                                            Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST ST
                                                                                                             1-800-CALL-WELLS                (1-800-225-5935)

BRADENTON FL 34208-3501                                                                                      TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (287)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Access complimentary resources and tools to help you create or revise your                                A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 business plan - whether you're an experienced business owner or just starting out
                                                                                                           cell the numbf!1r above if you have queslions or if you would
 Find out more at wellsfargoworks.com/plan.
                                                                                                           like to add new s&rvices.

                                                                                                           Business Online Banking                               0
                                                                                                           Online Statements                                     0
                                                                                                           Business Bill Pay                                     0
                                                                                                           Business Spending Report                              0
                                                                                                           Overdraft Protection                                  D


Activity summary                                                                                            Account number:              9888
        Beginning balance on 411                                       $4,369.78                            ONE BOX TV, LLC
        Deposits/Credits                                               16,431.98                            Floride eccount terms end conditions ffipply
        Withctawals!Debits                                           - 19,050.95                            For Direct Deposit use
        Ending balance on 4130                                        $1,750.81                             Routing Number (RTN): 063107513
                                                                                                            For Wire Transfers use
        Average ledger balance this period                             $1,673.44                            Routing Number (RTN): 121000248



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (.!67)
      Sheet Seq"' Cl151144
      Sheet 00001 cf OOQ03
                                                                                                        REDE Page 58 ofl81
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Account number:         9888      • April 1, 2018 - April 30, 2018       • Page 2 of 6




Transaction history

                   Check                                                                    Deposits!       Withdrawals/    Ending daily
     Date         Number Description                                                          Credits             Debits        balance
     412                   04f02Bankcard Deposit        9144                                1,562. 19
     412                   04/02Bankcard Deposit        9144                                  605.29
     412                   04f02Bankcard Deposit        9144                                   42.79
     412                   Purchase authorized on 03f30 Texas Roadhouse #'2 Brandenton                            130.00
                           FL 8308089804664335 Card 3174
     412                   Purc;hase authorized on 04/01 Wawa Store 5165 Bradenton FL                              20.00
                         P00388091727615501 Card 3166
     412            1069 Check                                                                                      85.00
     412                   Alibaba.Com, Inc Debit 160401 2518259888 Oneboxtv LLC                                   940.00
     412                   Xiaozeyong lat Paypal 1804021002838492331 Donnafogle                                 2, 158.26
                           Oneboxtv
     412            1071 Check                                                                                  1,335.00       1,911.79
     413                   Purchase authorized on 04102 Sunbiz.Org I FL F 850-245-6939 FL                         138.75
                         8308092706372130 Card 3174
     413            1070 Check                                                                                    515.00       1,258.04
     414                 04/04Bankcard Deposit      9144                                      187.50
     414                   ATM Cash Deposit on 04104 7112 U.S Highway 301 N Elenton FL      1,000.00
                           0006578ATM 1065346 Card 3166
     414                   Recurring Payment authorized on 04/03 Phone.Com, Inc                                    84.08       2,361.46
                           800-9987087 NJ 8388093318399384 Card 3166
     416                   04!06Bankcard Deposit           9144                             1,343.85
     416                   Cash eWithdrawal in Branch/Store 04!06/2018 10:52 Am 7112 US                         1,000.00
                           Hwy 30·1 N Ellenton FL 3'166
     416                   United Fin Cas Ins Prem 180406 02823358 One B One Box Tv LLC                           131.130
     416                   Fpl Direct Debit Elec Pymt 04f18 3733077360 Telv Donna C Fogle                         183.29
     416                   20181 lh Borrowe Rent 180405 81535704 Donna Fogle Onebox:tv                          2,208.22         182.00
                           L
     419                   04!09Bankcard Deposit           9144                               267.50
     419                   04!09Bankcard Deposit           9144                               375.00
     419                   04/09Bankcard Deposit           9144                             1,097.48
     419                   Purchase authorized on 04107 Pilot #0089 Ellenton FL                                    10.00
                           P00388097715291903 Card 3166
     419                   Purchase authorized on 04108 Racetrac100 Bradenton FL                                   55.01       1,856.97
                           P00388098485146659 Card 3166
     4110           1072 Check                                                                                    630.00       1,22s.97
     4111                  04/11Bankcard Deposit         9144                                 187 .50
     4111                  Recurring Payment authorized on 04/09 Hide-Away Storage                                 64.67
                           9414622312 FL 8388099774346110 Card 3174
     4111                  Bankcard Fee -         144                                                              79.14
     4111                  Bankcard Interchange Fee-         9144                                                 246.35
     4111                  Bankcard Discount Fee-         9144                                                    463.72         560.59
     4!12                  04/12Bankcard Deposit         9144                                 411.85
     4112                  Purchase authorized on 04112 Wal-Mart Super Center Bradenton                            58. 19
                           FL P00000000036622803 Card 3174
     4112                  A TT Payment 041118 673094002Col1J William Firestone                                   483.86         430.39
     4113                  04!13Bankcard Deposit         9144                                 813.70                           1,244.09
     4116                  04!16Bankcard Deposit         9144                                 897.25
     4!16                  04/16Bankcard Deposit         9144                                 929.75
     4116                  Purchase authorized on 04114 Thorn tons# 711 10185 Big                                  17.00
                           Riverview FL P00468105078250222 Card 3166
     4116                  Purchase authorized on 04115Chil6 Ellenton Ellenton FL                                  75.00
                           8468106027529009 Card 3174
     4116                  Purchase authorized on 04116 Gate 1220 Wesley Chapel FL                                 25.00
                           P00388106593940890 Card 3166
     4116                  Purchase authorized on 04116 The UPS store #2744 89 Parrish FL                          24.47
                           P00000000376884073 Card 3174
     4116                  Purchase authorized on 04116 The UPS Store #2744 89 Parrish FL                          53.49       2,876.13
                           P00000000784943139 Card 3174
     4117           1073 Check                                                                                    670.00       Z,206.13
     4119                04!198ankcard Deposit          9144                                  337.30
                                                                                                                REDE Page 59 ofl81
   Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 266 of 460 PageID 343

Account number:                  9888      • April 1, 2018 - April 30, 2018        • Page 3 of 6




Transaction history (continued)
                            Check                                                                   Deposits!       \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                         Credits              Debits       balance
     4119                           Purchase authorized on 04f17 Bright House Netwo 317-972-9700                           80.27
                                    FL 5388107643218669 Card 3174
     4119                           Purchase authorized on 04/19 Circle K ~ 07629 8400 Parrish FL                          30.00       2.433.16
                                    P00000000516319432 Card 3166
     4!20                           04!20Bankcard Deposit        9144                                 375.00
     4120                           Fdgl Lease Pymt 180420 052-1323765-000 Donna Fogle                                     39.22
                                    Oneboxtv
     4120                       < Business to Business ACH Debit - Fla Dept Revenue C01                                 1,270.74       1,498.20
                                    51177043 One Box Tv LLC
     4123                           04f23Bankcard Deposit -      9144                               1, 152.29
     4!23                           04!23Bankcard Deposit -      9144                                 547A4
     4123                           Square Inc Squar 180423 T20040853330 William Firestone             134.00
     4123                           Purchase authorized on 04f22 Office Depot 00 4502 E. S                                  8.99       3,322.94
                                    Bradenton FL ?00388112587561878 Card 3166
     4124                           Edeposit IN Branch/Store 04/24118 02:29:08 Pm 6005 Zebulon Rd   1,000.00
                                    Macon GA 3166
     4!24                           Wire Trans Svc Charge- Sequence: 180424111639 Srf#                                     45.00
                                    0066905114376279 Trn#180424111639 Rib#
     4124                         WT Fed#02756 Hongkong and Shang /Ftr/Bnf=lnglong (Hk)                                 1,097.00
                                  Industry CO Ltd Srf# 0066905114376279 Trn#180424111639 Rfb#
     4124                    1014 Check                                                                                   517.50       2,663.44
     4125                         Purchase authorized on 04125 Circle K # 07629 8400 Parrish FL                             4.06
                                  P00000000683416449 Card 3166
     4125                         Purchase authorized on 04125 Circle K # 07629 8400 Parrish FL                            20.02
                                  P00000000081158711 Card 3166
     4125                         Alibaba.Com, Inc Debit 180424 2516259668 Oneboxtv LLC                                 2,247.00         392.36
     4126                         04/26Bankcard Deposit -       9144                                1, 703.40
     4126                         Purchase authorized on 04125 Bridge street Bist Bradenton Sea                            64.00
                                  FL $468116027108170 Card 3166
     4126                         Purchase authorized on 04125 Wal-Mart Super Center Bradenton                             17.00
                                    FL P00000000682834130 Card 3114
     4126                           Purchase authorized on 04126 Wawa 5176 Bradenton FL                                    10.00
                                    P00388116517772059 Card 3166
     4126                           Purchase authorized on 04126 Southeast Mart Sarasota FL                                15.00
                                    P00000000186191176 Card 3166
     4126                           Purchase authorized on 04126 Office Depot 00 4502 E. S                                 78.10       1,911.66
                                    Bradenton FL P00468117001764674 Card 3166
     4127                           04!27Bankcard Deposit         9144                                 42.SO
     4127                           Purchase authorized on 04/25 Goodwill Corporat 941-3552721                             81.07
                                    FL 6468115813604931Card3174
     4127                           Purchase authorized on 04!25 Goodwill Corporat 941-3552721                             61.68
                                    FL S308115822943n5 Card 3166
     4127                           Purchase authorized on 04/27 Circle K # 07629 8400 Parrish FL                          15.00       1,776.71
                                    P00000000270163528 Card 3166
     4130                           Purchase Return authorized on 04/28 Hide-Away Storage              17.30
                                    Bradenton FL $618120727440809 Card 3174
     4130                           04/30Bankcard Deposit         9144                                187 .50
     4130                           04!30Bankcard Deposit        99144                                315.90
     4130                           04/30Bankcard Deposit         9144                                897.40
     4130                           Purchase authorized on 04127 Tst.. Beef 0 Brady Parrish FL                             33.00
                                    8308117762277915 Card 3174




    Sheet Seq"' Cl151145
    Sheet 00002 cf 00003
                                                                                                                                   REDE Page 60 ofl81
    Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 267 of 460 PageID 344

Account number:                  9888      • April 1, 2018 - April 30, 2018           • Page 4 of 6




Transaction history (continued)
                           Check                                                                                       Deposits!       \!Wthdrawalsl          Ending dally
       Date               Number Description                                                                             Credits              Debits              balance
       4130                         Purchase authorized on 04f30 The UPS Store #2744 89 Parrish FL                                                26.00
                              P00000000773278055 Card 3166
       4130              1075 Check                                                                                                         1.385.00              1.750.81
       Ending balance on 4130                                                                                                                                    1,750.81
       Totals                                                                                                     $16,431.98             $19,050.95
       The Encing Daily Balance does not reflect any pending !Mthdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed,
       ..::: Business to Business ACH:ff this 1s a business account, this transact!on ttas a return tr me rrame or one busJness day rrom post date This t!me frame does not
             apply to consumer accounts.




Summary of checks written           (checks listed are also displayed in the preceding Transaction history)

       Number             Date                 Amount           Number             Date                 Amount            Number            Date                  Amount
       1069               412                     85.00         1072               4110                  630.00           1074              4124                      517.50
       1070               413                   515.00          1073               4117                  670.00           1075              4130                  1,385.00
       1071               412                  1,335.00


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Goto wellsfargo.comffeefaqfor a link to these documents, and answers
to common monthly service fee questions.


       Fee period 04f01f2018- 04130/2018                                                     Standard monthly service fee $14.00                    You paid $0.00

       How to avoid the monthly service fee                                                                    Minimum required                     This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                         $7,500.00                       $1,673.oo D
              A qualifying transaction from a linked Wells Fargo Business Payroll Services                                                                        oD
              account
              A qualifying transaction from a linked Wells Fargo Merchant Services account                                                                      25    G
              Tatal number of posted Wells Fargo Debit Card purchases and/or payments                                            10                             2s    G
              Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                       1                               oo
              Combined balances in linked accounts, which may include                                                    $10,000.00                                   D
                Average ledger balances in business checking, savings, and time accounts
                Most recent sta1ement balance in eligible Well3 Fargo business credit cards and
                lines of credit, and combined average daily balances from the previous month
                in eligible Wells Fargo business and commercial loans and lines of CT edit
                For complete details on how you can avoid the monthly service fee based on
                your combined balances please refer to page 7 of the Business Account Fee and
                Information Schedule at WWN. wellsfargo. oomfbiz/fee-information




Account transaction fees summary
                                                                                             Units           Excess          Service charge per               Total service
       Service charge description                                   Units used            induded              units            excess units($)                 charge($)
       Cash Deposited($)                                                 2,000               7,500                0                    0.0030                           0.00
       Transactions                                                         18                 200                0                       0.50                          0.00
       Total service charges                                                                                                                                          $0.00
                                                                                                                           REDE Page 61 ofl81
    Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 268 of 460 PageID 345

Account number:                 9888      • April 1, 2018 - April 30, 2018        • Page 5 of 6




~IMPORTANT ACCOUNT INFORMATION
The following addendum to the ''R1ghts and responslb!Utles'' section of the Business Account Agreement is effective April 30, 2018:

What happens upon the death or incompetence of a business owner?

Sole Proprietors Only:
We may accept and comply with court orders and legal documents, and take direction from affiants or court appointed personal
representatives, guardians, or conservators from your state of residence, even if different than where your account was opened except
as otheiwise required by applicable law or court order. We may require additional documentation be provided to us before complying
with the directions given by affiants or court appointed personal representatives, guardians, or conseivators. We reseive the right to
require U.S. court documents for customers who reside outside of the U.S. at time of incompetence or death.

For Non-Sole Proprietors:
Upon notification to the bank of the death or incompetence of a business owner, the business enUy will provide documentation
evidencing any change in the ownership or control of the entity following applicable legal fonnalities.



As of June 15, 201 B, linked credit accounts that are now closed will no longer count toward your eligible combined balances to avoid
the monthly service fee for this account.




      Sheet Seq"' Cl151146
      Sheet 00003 cf OOQ03
                                                                                                                                    REDE Page 62 ofl81
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Account number:                             9888      • April 1, 2018 - April 30, 2018   • Page 6 of 6




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts                   You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                     and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the             information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft              an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                         Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                          Total amount $




@2010 Wells Fargo Bank, NA. All   right~   reserved Member FDIC. NMLSR ID 399801
                                                                                                                                 REDE Page 63 ofl81
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Wells Fargo Business Choice Checking
Account number:                    9888      •   May 1, 2018 - May 31, 2018 •           Page 1 of 5




                                                                                                           Questions?
ONE BOX TV, LLC                                                                                            Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST ST
                                                                                                             1-800-CALL-WELLS                (1-800-225-5935)

BRADENTON FL 34208-3501                                                                                      TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (287)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Access complimentary resources and tools to help you create or revise your                                A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 business plan - whether you're an experienced business owner or just starting out
                                                                                                           cell the numbf!1r above if you have queslions or if you would
 Find out more at wellsfargoworks.com/plan.
                                                                                                           like to add new s&rvices.

                                                                                                           Business Online Banking                               0
                                                                                                           Online Statements                                     0
                                                                                                           Business Bill Pay                                     0
                                                                                                           Business Spending Report                              0
                                                                                                           Overdraft Protection                                  D


Activity summary                                                                                            Account number:              9888
        Beginning balance on 511                                       $1,750.81                            ONE BOX TV, LLC
        Deposits/Credits                                               11,443.25                            Floride eccount terms end conditions ffipply
        Withctawals!Debits                                           - 10,904.25                            For Direct Deposit use
        Ending balance on 5131                                        $2,289.81                             Routing Number (RTN): 063107513
                                                                                                            For Wire Transfers use
        Average ledger balance this period                              $626.65                             Routing Number (RTN): 121000248



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (.!67)
      Sheet Seq"' Cl154595
      Sheet 00001 cf OOQ03
                                                                                                         REDE Page 64 ofl81
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Accountnumber:         9888      • May1,2018-May31,2018. Page2of5




Transaction history

                  Check                                                                      Deposits!       Withdrawals/     Ending daily
     Date        Number Description                                                            Credits             Debits         balance
     511                  Purchase Intl authorized on 04129 Xt Network Saint Avertin Fra                            10.93
                          8638121579260293 Card 3166
     511                  International Purchase TransaGtion Fee                                                     0.32
     511                  Purchase authorized on 05f01 The UPS Store #2744 89 Parrish FL                            20.55
                          P00000000635634509 Card 3166
     511           1076 Check                                                                                      615.00        1, 104.01
     512                05/02Bankcard Dee:osit           9144                                   42.80                            1, 146.81
     513                05/03Bankcard Deposit            9144                                  349.95
     513                  ATM Cash Deposit on 05103 7112 U.S Highway 301 N Elenton FL        1, 100.00                           2,596.76
                          0007169ATM 1065348 Card 3166
     514                  Recurring Payment authorized on 05/03 Phone.Com 9218081                                   84.08
                          WWW.Phone.Com CA $308123304038137 Card 3166
     514                  Purchase authorized on 05104 Wawa 5177 Bradenton FL                                       20.07
                          P00468124550495829 Card 3166
     514                  Purchase authorized on 05/04 The UPS store #2744 89 Parrish FL                            13.66
                          P00000000636411253 Card 3174
     514                  Fpl Direct Debit Elec Pymt 05f18 3733077360 Telv Donna C Fogle                           192.79
     514                  20181 lh Borrowe Rent 180503 82633320 Donna Fogle                                      2, 161 .so        124.36
     517                  05/07Bankcard Deposit           9144                                 445.90
     517                  05/07Bankcard Deposit           9144                                 508.25
     517                  Purchase authorized on 05/06 Wawa 5198 Sun City Cent FL                                   10.01
                          P00468126761111352 Card 3166
     517                Purchase authorized on 05107 The UPS Store #2744 89 Parrish FL                              12.44        1,056.06
                        P00000000530475795 Card 3166
     518                United Fin Cas Ins Prem 180508 02823358 One B One Box Tv LLC                               131.80
     518           1077 Check                                                                                      510.00          414.26
     519                Purchase authorized on 05/09 Regatta Pointe M Palmetto FL                                   10.00          404.26
                          P00388129586484000 Card 3166
     5110                 Bankcard Fee-         9144                                                                62.65
     5!10                 Bankcard Discount Fee-         9144                                                      249.72
     5110                 Bankcard Interchange Fee-          9144                                                  255.98
     5110                 Purchase authorized on 05f10 Shell Service Station Ellenton FL                            10.00
                          P00388130737378484 Card 3166
     5110                 Purchase authorized on 05/10 The UPS Store 'lrl744 89 Parrish FL                          12.51         -186.60
                          P00000000532740948 Card 3166
     5111                 Overdraft Fee for a Transaction Posted on 05110 $255.98                                   35.00
                          Bankcard Interchange Fee-          9144
     5111                 Overdraft Fee for a Transaction Posted on 05110 $10.00 Purchase                           35.00
                          Authori Zed on 05/10 Shel Service Station Ellenton
     5111                 Overdraft Fee for a Transaction Posted on 05110 $12.51 Purchase                           35.00
                          Authori Zed on 05110 The UPS Store 'lf274489 Parrish
     5!11                 05/11Bankcard Deposit -         9144                                 288.40
     5111                 05/11Bankcard Chargeback            9144                                                 267.50         -270.70
     5114                 Overdraft Fee for a Transaction Posted on 05111 $267.50                                   35.00
                          05!11Bankcard Chargeback -          9144
     5114                 05/14Bankcard Deposit -         9144                                 658.05
     5114                 05/14Bankcard Deposit -         9144                                 597.05
     5!14                 05/14Bankcard Deposit           9144                                 722.25
     5114                 Bright House Net Cable Tv 180512 7891470 *lvr                                            169.96        1,501.69
     5/15                 ATM Ca$h Deposit on 05!14 7112 U.S Highway 301 N Elenton FL          700.00
                          0001504ATM l06534B Card 3166
     5115                 Purchase authorized on 05f14 Speedway 06595 Bradenton FL                                  10.00
                          5388134765285769 Card 3166
     5115                 Purchase authorized on 05/15 Wal-Mart #1004 Bradenton FL                                   7.16
                          P00000000471404881 Card 3166
     5/15               ATT Payment 051318 510123003Col1C WllUam Firestone                                         383.46
     5115               lnglong2010 lat Paypal 180515 1003098739730 Donnafogle                                   1.147.80
                        Oneboxtv
     5115          1078 Check                                                                                      575.00           78.27
     5116               05/16Bankcard Deposit         9144                                     187.25
                                                                                                                           REDE Page 65 ofl81
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Accountnumber:                   9888      • May1,2018-May31,2018. Page3of5




Transaction history (continued)
                            Check                                                                              Deposits!        \!Wthdrawalsl        Ending dally
     Date                  Number Description                                                                    Credits               Debits            balance
     5116                           Purchase authorized on 05f16 Wawa Store 5165 Bradenton FL                                          10.04              255.48
                                    P00588136556762352: Card 3166
     5117                           05/17Bankcard Deposit         9144                                           497.55
     5117                           Purchase authorized on 05117 The UPS store #2744 89 Parrish FL                                     16.27              736.76
                                    P00000000579252292 Card 3166
     5118                           Purchase authorized on 05118 Dollar Tr 6144 US 301 Ellenton FL                                       5.35
                                    P00000000674718566 Card 3174
     5118                           Purchase authorized on 05/18 Wawa 5198 Sun City Cent FL                                              9.00             722.41
                                    P00308138795500455 Card 3166
     5121                           05/21Bankcard Deposit         9144                                           401.25
     5!21                           05/21Bankcard Deposit         9144                                           583.15
     5121                           Purchase authorized on 05119 Dnh~Godadcty.Com 480-5058855                                         207.19
                                    AZ 5388140095888574 Card 3166
     5121                           Purchase authorized on 05/20 Circle K # 07629 8400 Parrish FL                                      15.00
                                    P00000000032447400 Card 3166
     5121                           Purchase authorized on 05121 The UPS store #2744 89 Parrish FL                                     32.06
                                  P0000000043336669S Card 3166
     5121                         Fdgl Lease Pymt 180521 052-1323765-000 Donna Fogle                                                   39.22
                                  Oneboxtv
     5121                       < Busines5 to Business ACH Debit - Fla Dept Revenue C01                                               659.S5              753.49
                                  53186420 One Box Tv LLC
     5122                    1080 Check                                                                                               530.00              223.49
     5!23                         05/23Bankcard Depooit -       9144                                             230.05                                   453.54
     5124                         Purchase authorized on 05124 Auto zone 6383 3520 1St S                                                 9.08
                                  Bradenton FL P00588144479262038 Card 3166
     5124                         Purchase authorized on 05/24 Wawa Store 5165 Bradenton FL                                            10.00
                                    P00388144485611595 Card 3166
     5124                           Purchase authorized on 05124 Palmetto Citgo Palmetto FL                                            15.00              419.46
                                    P00468144762079787 Card 3166
     5125                           05/25Bankcard Deposit        9144                                            267.50                                   686.96
     5129                           05/29Bankcard Deposit        9144                                            401.25
     5129                           05/29Bankcard Deposit -      9144                                            187 .25
     5129                           ATM Cash Deposit on 05f27 7112 U.S Highway 301 N Elenton FL                1, 100.00
                                    0006049ATM 1065348 Card 3166
     5!29                           05/29Bankcard Depooit -         144                                          486.65
     5129                           Purchase authorized on 05127 Circle K # 07629 8400 Parrish FL                                      15.00
                                    P00000000871171498 Card 3166
     5129                           Purchase authorized on 05!27 Circle K # 07629 8400 Parrish FL                                      10.00
                                    P00000000437260948 Card 3166
     5129                           Purchase authorized on 05128 Circle K # 07629 8400 Parrish FL                                      10.00
                                  P00000000089435820 Card 3166
     5129                         lnglong2010 lat Paypal 180529 1003175087064 Donnafogle                                             1,701.00
                                  Oneboxtv
     5129                    1081 Check                                                                                               525.00              601.31
     5130                         05/30Bankcard Deposit         9144                                             500.00                                 1, 101.31
     5131                         05/31Bankcard Deposit         9144                                             588.50
     5131                         ATM Cash Depooit on 05131 1510 Cortez Rd West Bradenton FL                     600.00                                 2,289.81
                                    0006593ATM ID6564G Card3166
     Ending balance on 5131                                                                                                                             2,289.81
     Totals                                                                                                 $11,443.25           $10,904.25
     The Enring Deily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
     transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed,
     < Businass to Basinass ACH:lf this 1s a business account, this transaction has a return //me frame of one business day from post date This time frame does nd
         apply   to consumer accounts.




    Sheet Seq"' Cl154596
    Sheet 00002 cf OOQ03
                                                                                                                               REDE Page 66 ofl81
    Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 273 of 460 PageID 350

Accountnumber:                   9888      • May1,2018-May31,2018. Page4of5




Summary of checks written           (checks listed are also displayed in the preceding Transaction history)

       Number             Date                 Amount          Number            Date                  Amount          Number             Date                 Amount
       1076               511                   615.00         1078              5115                   575.00         1081               5129                     525.00
       1077               518                   510.00         1080 ..           5122                   530.00

        • Gap in check sequence,


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Goto wellsfargo.comffeefaqfor a link to these documents, and answers
to common monthly service fee questions.



       Fee period 05f01f2018- 0513112018                                                     Standard monthly service fee $14.00                 You paid $0.00

       How to avoid the monthly service fee                                                                   Minimum required                   This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                      $7,500.00                        $627.oo D
              A qualifying transaction from a linked Wells Fargo Business Payroll Services                                                                     oD
              account
              A qualifying transaction from a linked Wells Fargo Merchant Services account                                                                   23G
              Total number of posted Wells Fargo Debit Card purchases and/or payments                                          10                             25 [21
              Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                      1                             oo
              Combined balances in linked accounts, which may include                                                 $10,000.00                                   D
                Average ledger balances in business checking, savings, and time accounts
                Most recent statement balance in eligible Wells Fargo business credit cards and
                lines of credit, and combined average daily balances from the previous month
                in eligible Wells Fargo business and commercial loans and lines of CT edit
                For complete details on how you can avoid the monthly service fee based on
                your combined balances please refer to page 7 of the Business Account Fee and
                Information Schedule at WWN. wellsfargo. comfbiz/f ee-inf ormation




Account transaction fees summary
                                                                                             Units          Excess        Service charge per               Total sendce
       Service charge description                                  Units used           induded              units            excess units($)                c/;argei ($)
       Cash Deposited($)                                                 3,500               7,500               0                   0.0030                          0.00
       Transactions                                                         14                 200               0                      0.50                         0.00
       Total service charges                                                                                                                                       $0.00




         IMPORTANT ACCOUNT INFORMATION

Important information about legal process fees.

The fee for legal order processing, which includes handling levies, writs, garnishments, and any other legal documents that require
funds to be attached, remains $125. The Bank will assess no more than a total of $250 in legal process fees per account, per calendar
month. Please note that the calendar month may not coincide with your statement cycle.
                                                                                                                               REDE Page 67 ofl81
      Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 274 of 460 PageID 351

Accountnumber:                              9888      • May1,2018-May31,2018. Page5of5




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts              You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the        information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft         an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                    Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                     Total amount $




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       Sheet Seq"' Cl154597
       Sheet 00003 cf OOQ03
                                                                                                                                 REDE Page 68 ofl81
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Wells Fargo Business Choice Checking
Account number:                    9888      • June 1, 2018 - June 30, 2018 • Page 1 of 5




                                                                                                           Questions?
ONE BOX TV, LLC                                                                                            Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST ST
                                                                                                             1-800-CALL-WELLS                (1-800-225-5935)

BRADENTON FL 34208-3501                                                                                      TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (287)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Access complimentary resources and tools to help you create or revise your                                A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 business plan - whether you're an experienced business owner or just starting out
                                                                                                           cell the numbf!1r above if you have queslions or if you would
 Find out more at wellsfargoworks.com/plan.
                                                                                                           like to add new s&rvices.

                                                                                                           Business Online Banking                               0
                                                                                                           Online Statements                                     0
                                                                                                           Business Bill Pay                                     0
                                                                                                           Business Spending Report                              0
                                                                                                           Overdraft Protection                                  D


Activity summary                                                                                            Account number:              9888
        Beginning balance on 611                                       $2,289.81                            ONE BOX TV, LLC
        Deposits/Credits                                               11,692.85                            Floride eccount terms end conditions ffipply
        Withctawals!Debits                                           - 10,SS0.03                            For Direct Deposit use
        Ending balance on 6130                                        $3,132.63                             Routing Number (RTN): 063107513
                                                                                                            For Wire Transfers use
        Average ledger balance this period                             $2,448.12                            Routing Number (RTN): 121000248



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (.!67)
      Sheet Seq"' (]200212
      Sheet 00001 cf OOQ03
                                                                                                        REDE Page 69 ofl81
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Account number:         9888      • June 1, 2018 - June 30, 2018 • Page 2 of 5




Transaction history

                   Check                                                                    Deposits!       Withdrawals/   Ending daily
     Date         Number Description                                                          Credits             Debits       balance
     611            1082 Check                                                                                  1,435.00        854.81
     614                   06/04Bankcard Deposit         9144                                 428.00
     614                   06/04Bankcard Deposit         9144                                 267.50
     614                   06/04Bankcard De~osit         9144                                 433.35
     614                 Purchase authorized on 05131 Bright House Netwo 317-972-9700                              75.28
                         FL $388151756956034 Card 3174
     614                 Recurring Payment authorized on 06/03 Phone.Com 9251656                                   84.08
                         WWo/'J.Phone.Com CA $308154323265056 Card 3166
     614                 lnglong2010 lat Paypal 160604 1003222475531 Donnafogle                                 1,079.60        744.50
                         Oneboxtv
     615                 ATM Cash Deposit on 06105 7112 U.S Highway 301 N Elenton FL        2,000.00
                         0009180ATM 1065346 Card 3166
     615            1083 Check                                                                                    520.00      2,224.50
     616                 06/06Bankcard Deposit -       9144                                   347.75
     616                   Purchase authorized on 06106 The UPS store #2744 89 Parrish FL                          11.99
                           P00000000773148047 Card 3166
     616                   United Fin Cas Ins Prem 180606 02823358 One B One Box Tv LLC                           131.80      2,428.46
     617                   06/07Bankcard Depooit         9144                                 197 .95                         2,626.41
     618                   Purchase authorized on 06107 The UPS store #274 ParrSh FL                               19.42
                           $308158781170001 Card3166
     618                   Fpl Direcl Debit Elec Pymt 06!18 3733077360 Telv Donna C Fogle                         199.83      2,407.16
     6111                  06/11Bankcard Deposit -       9144                                 304.95
     611 'I                0611·1Bankcard Deposit        9144                               1,'177.00
     6!11                  Edeposit IN Branch/Store 06/11!18 03:53:35 Pm 7112 US Hwy          300.00
                           301 N Ellenton FL 3166
     6111                  Edeposit IN Branch/Store 06/11118 03:54:27 Pm 7112 US Hwy          240.00
                           301 N Ellenton FL 3166
     6111                  Purchase authorized on 06f10 Circle K ~ 07629 8400 Parrish FL                           15.01
                           P00000000274763323 Card 3166
     6!11                  Purchase authorized on 06/10 Wal-Mart #3370 Palmetto FL                                 11.07
                           P00000000176833477 Card 3166
     6111           1079 Check                                                                                     85.00
     6111           1085 Check                                                                                     40.00
     6111                  lnglong2010 lat Paypal 180611 1003262424593 Donnafogle                               1,147.80      3, 130.23
                           Oneboxtv
     6112                  Bankcard Fee -        9144                                                              82.79
     6112                  Bankcard Discount Fee-         9144                                                    108.50
     6112                  Bankcard Interchange Fee-          9144                                                143.42
     6112                  Purchase authorized on 06/12 Circle K # 07629 8400 Parrish FL                           15.00
                           P00000000182376351 Card 3166
     6112           1084 Check                                                                                    525.00      2,255.52
     6!13                  Purchase authorized on 06111 Usvil:alrecordsorg 858-2669039 CA                          59.87
                           8588162637325671 Card 3174
     6113                Purchase authorized on 06f13 Sunoco 08385015 Bradenton FL                                 10.01      2, 185.64
                         P00000000980892132 Card 3166
     6114                06/14Bankcard Deposit           9144                                 187.25
     6114                Purchase authorized on 06/14 Wawa 5198 Sun City Cent FL                                   10.02      2,362.87
                         P00388165860446361 Card 3166
     6115                06/15Bankcard Deposit           9144                                 187.25                          2,550.12
     6!18                06/18Bankcard Deposit           9144                                  37.45
     6118                06/18Bankcard Deposit           9144                                 187 .25
     6118                06/18Bankcard Deposit           9144                               1,321.05
     6118                lnglong201 O lat Pay pal 180618 1003307749153 Donnafogle                               1,145.80      2,950.07
                         Oneboxtv
     6119                ATM Cash Deposit on 06119 1510 Cortez Rd West Bradenton FL           300.00
                         0004654ATM 106564G Card3166
     6119                Purchase authorized on 06!19 Office Depot 00 4026 14th                                   112.33
                         Bradenton FL ?00588170732325778 Card 3166
     6119           1086 Check                                                                                    509.00      Z,628.74
     6120                06/20Bankcard Deposit           9144                                 208.65
                                                                                                                                REDE Page 70 ofl81
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Account number:                      9888      • June 1, 2018 - June 30, 2018 • Page 3 of 5




Transaction history (continued)
                              Check                                                                                Deposits!        \!Wthdrawalsl      Ending dally
       Date                  Number Description                                                                      Credits               Debits          balance
       6120                            Fdgl Lease Pymt 180620 052-1323765-000 Donna Fogle                                                  39.22
                                       Oneboxtv
       6120                          < Business to Business ACH Debit - Fla Dept Revenue C01                                              489.60          2.306.57
                                       55102696 One Box Tv LLC
       6!21                            06/21Bankcard Deposit        9144                                             535.00
       6121                            Purchase authorized on 06!21Wawa5177 Bradenton FL                                                   20.00          2,823.57
                                       P00308172749564668 Card 3166
       6125                            06/25Bankcard Deposit         9144                                             267.50
       6125                            06/25Bankcard Deposit -       9144                                           1, 140.55
       6125                            06/25Bankcard Deposit         9144                                             428.25
       6!25                            Purchase authorized on 06/24 Circle K f 07629 8400 Parrish FL                                       15.00
                                       P00000000316824659 Card 3166
       6125                            lnglong2010 lat Paypal 180625 1003346551086 Donnafogle                                           1,081.80          3,563.07
                                       Onebox:tv
       6126                            Purchase authorized on 06/25 Greyhound Lines Cn 214-849-8966                                       356.00
                                       TX 5388176619390762 Card 3166
       6!26                                                   a
                                       ATT Payment 06251 011248001Col1G William Firestone                                                 411.30          2,795.77
       6127                            06/27Bankcard Deposit          9144                                           880.50
       6127                            Purchase authorized on 06/26 Alg*Air 7M9Mzv 702-505-8888 NV                                         99.00
                                       5586177616593777 Card 3166
       6127                            Purchase authorized on 06f27 Circle K # 07629 8400 Parrish FL                                           9.00
                                       P00000000034180281Card3166
       6!27                         Purchase authorized on 06/27 USPS PO 11262501 2605 72N                                                 15.09
                                    Ellenton FL P00588178490208266 Card 3174
       6!27                    1089 Check                                                                                                 525.00          3,028.16
       6128                         06/28Bankcard Deposit         9144                                               187 .25                              3,215.43
       6129                         06/29Bankcard Deposit         9144                                               128.40
       6129                         Purchase authorized on 06129 Circle K # 07629 8400 Parrish FL                                          15.01
                                    P00000000982165668 Card 3166
       6129                         Purchase authorized on 06!29 USPS PO 11262501 2605 72N                                                     4.94
                                       Ellenton FL P00588180745519668 Card 3114
       6129              1087 Check                                                                                                        20.00
       6129                   Bright House Net Cable Tv 180628 5673059 *lvr                                                                86.25
       6129              1088 Check                                                                                                        85.00           3, 132.63
       Ending balance on 6130                                                                                                                             3, 132.63
       Totals                                                                                                    $11,692.85          $10,850.03

       The EncJng Delly Be!ance does not reflect any pending IMthdrawals or holds on deposited tunds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed,
       < Business to Business ACH:lf this 1s a business account, this transactJon has a return ~me frame of one business day from post date This tJme frame does net
         apply to consumer accounts.




Summary of checks written              (checks listed are also displayed in the preceding Transaction history)

       Number                Date                  Amount         Number           Date                Amount          Number           Date               Amount
        1079                 ISl11                   85.00        1064            6112                 525.00          1087             6129                    20.00
        1082*                611                   1,435_DO       1095            6111                   40.00         1089             6129                    85.00
        1083                 615                    520.00        1086            6119                 509.00          1089             6127                525.00

        • Gap in chflck SflqufJncfl_


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (Easy Pav Card Terms and Conditions for prepaid cards) or talk to a banker. Go to wellsfargo.com/feefaqfor a link to these documents, and answers
to common monthly service fee questions.




      Sheet Seq"' (]200213
      Sheet 00002 cf OOQ03
                                                                                                                            REDE Page 71 ofl81
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Account number:                  9888     • June 1, 2018 - June 30, 2018 • Page 4 of 5




Monthly service fee summary (continued)

       Fee period 06!01f2018- 06/30/2018                                                   standard monthly service fee $14.00               You paid $0.00

       How to avoid the monthly service fee                                                                 Minimum required                 This fee period
       Have any ONE of the following accoLJnt requirements
            Average ledger balance                                                                                   $7.500.00                    $2.448.oo D
            A qualifying transaction from a linked Wells Fargo Business Payroll Services                                       1                           oo
            account
            A qualifying transaction from a linked Wells Fargo Merchant Services account                                                                  23 ~
            Total number of posted Wells Fargo Debit Card purchases and/or payments                                         10                            19 [21
            Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                      1                           oD
            Combined balances in linked accounts, which may include                                                 $10,000.00                                 D
                Average ledger balances in business checking, savings, and time accounts
             Most recent statement balance in eligible Wells Fargo business credit cards and
             lines of credit, and combined average daily balances from the previous month
              in eligible Wells Fargo business and commercial loans and lines of credit
             For complete details on how you can avoid the monthly service fee based on
             your combined balances please refer to page 7 of the Business Account Fee and
             Information Schedule at www.wellsfargo.comlbizffee-information
       The Monthly service fee summary fee period ending date shown above includes a Saturday, Sunday, or holiday which are non-business days.
       Transactions occurring after the last business day of the month will be included in your nelCI: fee period
       '"'""'

Account transaction fees summary
                                                                                           Units          Excess       Se!Vlce charge per              Total ser\lice
       Service charge descri pfion                                Units used          included             units           excess units($)               charge($)
       Cash Deposited($)                                              2,800                7,500               0                  0.0030                        0.00
       Transactions                                                       21                 200               0                     0.50                       0.00
       Total service charges                                                                                                                                   $0.00




Important Account Information

Great News! The daily purchase limt for each debiVATM card linked to your checking account is being increased by $500. The increase
becomes effective between June 1 and June 8, 2018. You can review the updated daily limits in your Account Profile. Sign on at
wellsfargo.com/accountprofile from your computer and select your card from the dropdown menu.




         IMPORTANT ACCOUNT INFORMATION

Revised Agreement for Online Access
We're updating our Online Access Agreement effective September 17, 2018.
To see what is changing, please visit wellsfargo.com/onlineupdates.



Your Business Choice Checking account comes wth a check benefit of $10 off on your first order of Business Checks/Accessories
through Wells Fargo. This discount will expire on August 31, 2018, so please take advantage of it now. Go to wellsfargo.com/checks to
place your order.
                                                                                                                                REDE Page 72 ofl81
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Account number:                             9888      • June 1, 2018 - June 30, 2018 • Page 5 of 5




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts               You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                 and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the         information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft          an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                     Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                      Total amount $




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       Sheet Seq"' (]200214
       Sheet 00003 cf OOQ03
                                                                                                                                 REDE Page 73 ofl81
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Wells Fargo Business Choice Checking
Account number:                    9888      • July 1, 2018 - July 31, 2018 •           Page 1 of 5




                                                                                                           Questions?
ONE BOX TV, LLC                                                                                            Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST ST
                                                                                                             1-800-CALL-WELLS                (1-800-225-5935)

BRADENTON FL 34208-3501                                                                                      TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (287)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Access complimentary resources and tools to help you create or revise your                                A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 business plan - whether you're an experienced business owner or just starting out
                                                                                                           cell the numbf!1r above if you have queslions or if you would
 Find out more at wellsfargoworks.com/plan.
                                                                                                           like to add new s&rvices.

                                                                                                           Business Online Banking                               0
                                                                                                           Online Statements                                     0
                                                                                                           Business Bill Pay                                     0
                                                                                                           Business Spending Report                              0
                                                                                                           Overdraft Protection                                  D


Activity summary                                                                                            Account number:              9888
        Beginning balance on 711                                       $3, 132.63                           ONE BOX TV, LLC
        Deposits/Credits                                               14,550.90                            Floride eccount terms end conditions ffipply
        Withctawals!Debits                                           - 16,229.28                            For Direct Deposit use
        Ending balance on 7/31                                        $1,454.25                             Routing Number (RTN): 063107513
                                                                                                            For Wire Transfers use
        Average ledger balance this period                             $1,316.06                            Routing Number (RTN): 121000248



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (.!67)
      Sheet Seq"' Cl156114
      Sheet 00001 cf OOQ03
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Transaction history

                   Check                                                                    Deposits!       Withdrawals/   Ending daily
     Date         Number Description                                                          Credits             Debits       balance
     712                   07/02Bankcard Deposit         9144                                  15.00
     712                   07/02Bankcard Deposit         9144                               1,523.85
     712                   07/0ZBankcard Deposit         9144                                 374.75
     712                   Edeposit IN Branch/Store 07/02!18 09:08:14 Am 7112 US Hwy        1,500.00
                           301 N Ellenton FL 3166
     712                   Purc;hase authorized on 06/28 Vcn~Pennsylvania V 868-4121838                            30.00
                           PAS588179641269676 Card 3174
     712            1090 Check                                                                                  1,335.00      5, 181.23
     713                   Purchase authorized on 07103 Shell Service S Bradenton FL                               15.00
                         P00000000172144961 Card 3166
     713            1091 Check                                                                                    610.00      4,556.23
     715                   Channel Choice Direct Dep 180705 190052260096Sig ,William          360.00
                           Firestone
     715                   Edeposit IN Branch/Store 07/05118 05:55:02 Pm 1510 Cortez Rd       100.00
                           W Bradenton FL 3174
     715                   ATM Check Deposit on 07!05 7112 U.S Highway 301 N Ellenton          25.00
                           FL 0000466ATM ID 6534B Card 3166
     715                   Purchase authorized on 07/02 Bright House Netwo 317-972-9700                            75.28
                           FL 5388183840963002 Card 3174
     715                   Recurring Payment authorized on 07/03 Phone.Com 9285172                                 84.09
                           WWW.Phone.Com CA S308184315626794Card 3166
     715                   Purchase authorized on 07/05 Circle K ~ 07629 8400 Parrish FL                           20.03
                           P00000000072131224 Card 3166
     715                   Purchase authorized on 07!05 USPS PO 11262501 2605 72N                                   7.20
                           Ellenton FL P00308186751515456 Card 3166
     715                   Purchase authorized on 07/05 The UPS Store #2744 89 Parrish FL                          20.40
                           P00000000685552499 Card 3166
     715                   Withdrawal Made In A Branch!Store                                                    4,423.21        411.02
     716                   Purchase authorized on 07/06 USPS PO 11262501 2605 72N                                   4.69
                           Ellenton FL P00468187756521136 Card 3174
     716                   United Fin Cas Ins Prem 180706 02823358 One B One Box Tv LLC                           131.SO        274.53
     719                   07/09Bankcard Deposit         9144                                 256.80
     719                 Edeposit IN Branch/Store 07/09118 01:50:10 Pm 6076 N               1, 100.00
                         Lockwood Ridge Rd Sarasota FL 3166
     719                 Fpl Direct Debit Elec Pymt 07f18 3733077360 Telv Donna C Fogle                           256.28
     719                 Bright House Net Cable Tv 180707 9759750 *lvr                                             86.27
     719                 lnglong2010 lat Paypal 180709 1003439478897 Donnafogle                                 1,083.80        204.98
                         Oneboxtv
     7!11                Channel Choice Direct Dep 180711 305046179707Sig ,William            180.00
                         Firestone
     7111                07/11Bankcard Deposit           9144                                 187.25
     7!11                ATM Cash Deposit on 07111 6076 N Lockwood Ridge Sarasota FL          600.00
                         0009232ATM ID 0933H Card 3166
     7111           1092 Check                                                                                    370.00        80223
     7!12                Purchase authorized on 07/10 Vcn*Pennsylvania V 888-4121838                               30.00
                           PAS588191736985354 Card 3174
     7112                Bankcard Fee           9144                                                               51.44
     7112                Bankcard Interchange Fee-          9144                                                   79.29
     7112                Bankcard Discount Fee-         9144                                                      153.34
     7!12                Purchase authoriZed on 07!12USPS PO 112625012605 72N                                       7.20        480.96
                         Ellenton FL P0046819352B471493 Card 3166
     7116                07/16Bankcard Deposit -       9144                                   444.05
     7116                07/16Bankcard Deposit         9144                                   979.75
     7116                07/16Bankcard Deposit         9144                                 1.070.00
     7116                Purchase authorized on 07/16 Circle K # 07629 8400 Parrish FL                             20.00
                         P00000000283802700 Card 3166
     7116                lnglong2010 lat Paypal 180716 1003475307646 Donnafogle                                 1,070.80
                         Oneboxtv
     7116           1093 Check                                                                                     50.00      1,833.96
     7117           1094 Check                                                                                    635.00      1.198.96
                                                                                                                                 REDE Page 75 ofl81
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Account number:                     9888      • July 1, 2018 - July 31, 2018 • Page 3 of 5




Transaction history (continued)
                              Check                                                                                  Deposits!        \!Wthdrawalsl        Ending dally
       Date                  Number Description                                                                        Credits               Debits             balance
       7120                         07/20Bankcard Deposit           9144                                               294.25
       7120                           fdgl Lease Pymt 180720 052-1323765-000 Donna Fogle                                                      39.22
                                      Oneboxtv
       7120                         < Business to Business ACH Debit - Fla Dept Revenue C01                                                  608.49               845.50
                                      57268015 One Box T¥ LLC
       7123                           07/23Bankcard Deposit -      9144                                                374.50
       7123                           Mobile Deposit: Ref Number :217220454196                                         200.00
       7123                           07/23Bankcard Deposit -        9144                                              406.60
       7123                           Purchase authorized on 07f21 Circle K ~ 07629 8400 Parrish FL                                           20.00            1,806.60
                                      P00000000787900987 Card 3166
       7!24                           ATT Payment 072318 837770001Col11 William Firestone                                                    438.39
       7124                    1095 Check                                                                                                    490.00               878.21
       7125                         07/25Bankcard Deposit -         9144                                               139.10
       7125                           Purchase authorized on 07/25 The UPS Store #2744 89 Parrish FL                                          13.92            1,003.39
                                      P00000000087783096 Card 3166
       7126                           ATM Cash Deposit on 07/25 7112 U.S Highway 301 N Elenton FL                      200.00
                                      0008196ATM 1065348 Card 3166
       7126                           07/26Bankcard Dee:osit        9144                                               700.85
       7126                           lnglong2010 lat Paypal 180725 1003535292902 Donnafogle                                               1,089.80               814.44
                                      Oneboxtv
       7127                           07/27Bankcard Dee:osit        9144                                                16.05
       7127                           Purchase authorized on 07/24 Bright House Netwo 317-972-9700                                            75.28               755.21
                                      FL $588205753044082 Card 3174
       7130                           07/30Bankcard Dee:ooit        9144                                               909.75
       7!30                           07/30Bankcard Deposit         9144                                             1,308.85
       7130                           07/30Bankcard Deposit -       9144                                             1,264.50
       7130                           Purchase authorized on 07/28 Anna Maria Oyster Ellenton FL                                              62.00
                                      8468209862947716 Card 3174
       7130                    1096 Check                                                                                                  1,385.00            2,811.31
       7131                           Purchase authorized on 07/29WWW.l>Jibaba.Com Delaware DE                                             1,129.37
                                      8588211057123351 Card3174
       7131                           Purchase authorized on 07/30 Channel Choice Elk Grove CA                                               180.00
                                      8388211698712108 Card 3166
       7131                           Purchase authorized on 07/31 The UPS Store #2744 89 Parrish FL                                          47.69            1,454.25
                                      P00000000233190111 Card 3166
       Ending balance on 7/31                                                                                                                                 1,454.25
       Totals                                                                                                     $14,550.90           $16,229.28
       The Encing Daily Balance does not reflect any pending !Mthdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed,
       <:   Business to Business ACH:!t this 1s a business account, this transac/Jon has a return tr me frame of one business day from post date This /Jme frame does not
            apply to consumer accounts.




Summary of checks written             (checks listed are also displayed in the preceding Transaction history)

       Number                Date                Amount         Number             Date                 Amount          Number            Date                 Amount
        1090                 712                 1,335.00       1093               7116                   50.00         1095              7124                    490.00
        1091                 713                  610.00        1094               7117                  635.00         1096              7130                 1,385.00
        1092                 7/11                 370.00


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Goto wellsfargo.com/feefaqfor a link to these documents, and answers
to common monthly service fee questions.


       Fee period 07f01f2018- 0713112018                                                    Standard monthly service fee $14.00                  You paid $0.00




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      Sheet 00002 cf OOQ03
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Monthly service fee summary (continued)
       How to avoid the monthly service fee                                                                Minimum required                 This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                   $7,500.00                    $1.316.oo D
           A qualifying transaction from a linked Wells Fargo Business Payroll Services                                     1                             oD
            account
            A qualifying transaction from a linked Wells Fargo Merchant Services account                                                                 20 [3
            Total number of posted Wells Fargo Debit Card purchases and/or payments                                        10                            18 Q]
            Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                   1                             OD
            Combined balances in linked accounts, which may include                                                $10,000.00                                 D
               Average ledger balances in business checking, savings, and ume accounts
               Most recent statement balance in eligible Wells Fargo business credit cards and
               lines of credit, and combined average daily balances from the previous month
               in eligible Wells Fargo business and commercial loans and lines of CA edit
               For complete details on how you can avoid the monthly service fee based on
               your combined balances please refer to page 7 of the Business Account Fee and
               Information Schedule at www.wellsfargo.oomlbiz/fee-information




Account transaction fees summary
                                                                                           Units         Exc&ss        S&rv1c9 charge p&r             Total s&rvic&
       Service charge description                                 Units used         induded              units           excess units($)               charge($)
       Cash Deposited($)                                              3,500                7,500              0                  0.0030                        0.00
       Transactions                                                      23                  200              0                     0.50                       0.00
       Total service charges                                                                                                                                  $0.00




         IMPORTANT ACCOUNT INFORMATION

Reminder about effect of pending debit card transactions on your account

For each debit card transaction. we place an authorization hold on the ''pending'' transaction until the merchant sends the final
payment instruction to the bank. We receive final payment instructions for most transactions within one to two business days, but we
generally must release the authorization hold afterthree business days. If a merchant does not send the final payment instruction
within that timeframe, we must honor the transaction when the final payment instruction is received. While the authorization hold is
in effect, these transactions reduce your available balance. The transaction will be paid when we receive it for payment. lftransactions
are presented for payment when your account has an insufficient available balance, you may be charged overdraft and.for insufficient
fund (NSF) fees on those transactions. The bank will assess no more than eight (8) $35 overdraft and/or NSF fees per day.
                                                                                                                                 REDE Page 77 ofl81
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Account number:                             9888      • July 1, 2018 - July 31, 2018 • Page 5 of 5




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts                You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                  and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the          information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft           an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                      Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                       Total amount $




@2010 Wells Fargo Bank, NA. All   right~   reserved Member FDIC. NMLSR ID 399801




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       Sheet 00003 cf OOQ03
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Wells Fargo Business Choice Checking
Account number:                 9888     • August 1, 2018 - August 31, 2018              •   Page 1 of 6




                                                                                                       Questions?
ONE BOX TV, LLC                                                                                        Available by phone 24 hours a day, 7 days a week:
                                                                                                       Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST ST
                                                                                                        1-800-CALL-WELLS                 (1-800-225-5935)

BRADENTON FL 34208-3501                                                                                  TTY: 1-800-877-4833
                                                                                                        En espanol: 1-877-337-7454
                                                                                                       Online: wellsfargo.com/biz

                                                                                                       Write: Wells Fargo Bank, N.A. (287)
                                                                                                              P.O. Box6995
                                                                                                               Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                         Account options
 Access complimentary resources and tools to help you create or revise your                            A check mark in the box indicates you have these convenient
                                                                                                      services with your account(s) Go to wellsfargo.com!b1z or
 business plan - whether you're an experienced business owner or just starting out
                                                                                                      cell the numbf!1r above if you have queslions or if you would
 Find out more at wellsfargoworks.com/plan.
                                                                                                      like to add new s&rvices.

                                                                                                       Business Online Banking                              0
                                                                                                       Online Statements                                    0
                                                                                                       Business Bill Pay                                    0
                                                                                                       Business Spending Report                             0
                                                                                                       Overdraft Protection                                 D


~IMPORTANT ACCOUNT INFORMATION
In the "Available balance, posting order, and overdrafts" section of the Deposit Account Agreement under the question ''How do we
process (post) transactions to your account?'', we are replacing the paragraph beginning with ''Your available balance will be reduced
by pending withdrawals'' to include a new fee waiver, as follows:

Your available balance will be reduced by pending withdrawals, such as debit card transactions we have authorized and must pay
when they are sent to us for payment. If your account has insufficient funds as reflected by your available balance, the bank may assess
overdraft and/or non-sufficient funds (NSF) fees on transactions we pay or return during nightly processing. A pending transaction will
typically remain pending until we receive it for payment from your account, but we must release the pending transaction hold after
three business days for most transactions. These pending transactions may be sent to us for payment after they have dropped from
your account, but we must pay them when we receive them for payment.

In some circumstances, previously-authorized transactions may be paid into overdraft if other transactions or fees have reduced your
balance before the pending transactions are sent to us for payment To minimize the number of overdraft fees in these circumstances,
we track transactions that reduced your available balance while pending and caused overdraft fees on other transactions. If these
transactions are presented for payment within 10 business days after they first appeared as pending, we will waive any overdraft fees
on those transactions. In rare circumstances, the merchant presents transactions for payment with a different identification code than




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      Sheet Seq"' Cl166055
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was used when the transaction was sent for authorization and we are unable to match them. In those cases, you may be charged an
overdraft fee lfthe transaction Is paid Into overdraft.


In addition, in the "Available balance, posting order, and overdrafts" section of the Deposit Account Agreement under the heading
"IMPORTANT INFORMATION ABOUT FEES," we added the following:

We track transactions that reduced your available balance while pending and caused overdraft fees on other transactions. If these
transactions are presented for payment within 10 business days after they first appeared as pending, we will waive an-y overdraft fees
on those transactions. In rare circumstances, the merchant presents transactions for payment with a different identification code than
was used when the transaction was sent for authorization and we are unable to match them.


Activity summary                                                                                            Account number:             9888

        Beginning balance on 811                                       $1,454.25                            ONE BOX lV, U.C
        Deposits/Credits                                               10,111.53                            Randa account terms and conditions apply
       Withdrawals/Debits                                             - 9,710.64                            For Direct Deposit use
                                                                                                            Routing Number (RTN): 063107513
        Ending balance on 8/i1                                        $1,855.14
                                                                                                            For Wire Transfers use
       Average ledger balance this period                               $970.65                             Routing Number (RTN): 121000248




Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




Transaction history

                            Check                                                                                    Deposits!         Withdrawals/         Ending daily
        Date               Number Description                                                                          Credits                Debits            balance
        811                         OS/01Bankcard Deposit         9144                                                                         187.25
        811                         Purchase authorized on 08/01 USPS PO 11262501 2605 72N                                                       5.24
                                    Ellenton FL ?00388213739597194 Card 3166
        811                         Purchase authorized on 08101 The UPS Store #2744 89 Parrish FL                                              21.92
                                    P00000000984943746 Card 3166
        811                  1097 Check                                                                                                        666.00            573.84
        812                         OS/02Bankcard Deposit         9144                                                 905.00
        812                         Purchase authorized on 08f02 Circle K ~ 07629 8400 Parrish FL                                               15.01           1,463.83
                                    P00000000934449961 Card 3166
        813                         08/03Bankcard Deposit          9144                                                  42.80
        813                         Purchase authorized on 08101 WWW.l>Jibaba.Com Delaware DE                                                   20.59
                                    5588214064383934 Card 3174
        813                         Cash eWithdrawal in Bram::hfstore 08f03f2018 4:24 Pm 1510                                               1,350.00             136.04
                                    Cortez Rd W Bradenton FL 3174
        816                         08/06Bankcard Deposit          9144                                                454.75
        816                         08/06Bankcard Deposit          9144                                                722.25
        816                         08/06Bankcard Deposit          9144                                                743.65
        818                         Recurring Payment authortzed on 06/03 Phone.Com 9319419                                                     63.91
                                    WWW.Phone.Com CA S468215360842369Card 3166
        816                         Purchase authorized on 08f04 Dollar General# 12110 US Parrish                                               24.18
                                    FL P00468216753406457 Card 3174
        816                         Purchase authorized on 08/05 Circle K # 07629 8400 Parrish FL                                               20.03           1.928.57
                                    P00000000689221850 Card 3166
        817                         Purchase authoriZed on 08f07 Shell Service Station Ellenton FL                                              20.00
                                    P00388219738335641 Card 3166
        817                         United Fin Cas Ins Prem 180807 02823358 One B One Box Tv LLC                                               131.80           1,776.77
        818                         Money Transfer authorized on 08/07 From Fogle Donna PA                               61.38
                                    $00468220040949392 Card 3166
                                                                                                                     REDE Page 80 ofl81
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Transaction history (continued)
                            Check                                                                        Deposits!       \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                              Credits              Debits       balance
     818                            08/08Bankcard Deposit          9144                                    187.25
     818                            Fpl Direct Debit Elec Pymt 08f18 3733077360 Telv Donna C Fogle                             269.37
     818                     1098 Check                                                                                        585.00       1.171.03
     819                          Purchase authorized on 08107 WWW.l>Jibaba.Com Delaware DE                                  1,149.96
                                    5588220004243771 Card 3174
     819                            Bright House Net Cable Tv 180808 9251144 *lvr                                               84.98         -63.91
     8110                           08/10Bankcard Deposit -        9144                                    722.50
     8110                           Bankcard fee -          9144                                                                51.01
     8110                           Bankcard Interchange Fee-         9144                                                      89.81
     8110                           Bankcard Discount Fee-       9144                                                          148.44
     8!10                           Purchase authorized on 08/10Wawa Store 5165 Bradenton FL                                    15.00
                                    P00468222731782616 Card 3166
     8110                           Purchase authorized on 08!10USPS PO 112625012605 72N                                         5.64         348.69
                                    Ellenton FL P00308222746033009 Card 3174
     8113                           08/13Bankcard Deposit         9144                                     257.50
     8113                           ATM Cash Deposit on 08112 7112 U.S Highway 301 N Elenton FL            550.00
                                    0005244ATM 1065348 Card 3166
     8113                           08/13Bankcard De~osit         9144                                     187.25
     8113                           Purchase authorized on 08/12 Circle K # 07629 8400 Parrish FL                               15.02
                                    P00000000932720186 Card 3166
     8113                           Purchase authorized on 08f13 The UPS Store 'lrl744 89 Parrish FL                            98.74       1,239.68
                                    P00000000177369509 Card 3166
     8!14                           Purchase authorized on 08/12WWW ..Alibaba.Com Delaware DE                                  575.50
                                    8468225141917636 Card 3174
     8!14                           Purchase authorized on 08f14 Circle K # 07629 8400 Parrish FL                               10.00
                                    P00000000885637350 Card 3166
     8114                           Purchase authorized on 08/14 Wawa Store 5165 Bradenton FL                                   10.02         644.16
                                    P00388226718047615 Card 3166
     8!15                           08115Bankcard Oepooit          9144                                     42.SO
     8115                    1099 Check                                                                                        480.00         206.96
     8116                           08/16Bankcard Deposit -       9144                                     374.50
     8116                           Purchase authorized on 08116 Circle K # 07629 8400 Parrish FL                               20.01         561.45
                                    P00000000239296375 Card 3166
     8117                           08/17Bankcard Deposit        9144                                      267.50                             828.95
     8!20                           08/20Bankcard Deposit        9144                                      294.25
     8120                           08/20Bankcard Deposit        9144                                      984.40
     8120                           08/20Bankcard Deposit        9144                                      187.50
     8120                           Purchase authorized on 08120WM Superc Wal-Mart Sup                                          16.50
                                    Palmetto FL P00000000874933589 Card 3174
     8120                         Fdgl Lease Pymt 180820 052-1323765-000 Donna Fogle                                            39.22
                                  Oneboxtv
     8120                       < Business to Business ACH Debit - Fla Dept Revenue C01                                        568.58       1,670.80
                                  59377542 One Box Tv LLC
     8121                         Harland Clarke CheclrJAcc. 082018 00665207575482 One Box Tv,                                  46.88
                                    LLC
     8121                         Purchase authorized on 08121 WM Superc Wal-Mart Sup                                          106.94
                                  Palmetto FL P00000000876933144 Card 3166
     8121                    1100 Check                                                                                        535.00         981.98
     8122                         Purchase authorized on 08f22WM Superc Wal-Mart Sup                                            53.37
                                  Palmetto FL P00000000737917397 Card 3166
     8122                         Purchase authorized on 08/22 USPS PO 11262501 2605 72N                                         4.99         923.62
                                  Ellenton FL P00308234743848761 Card 3166
     8124                         08124Bankcard Deposit         9144                                       417.30
     8124                         Purchase authorized on 08124 Circle K # 07629 8400 Parrish FL                                 15.01       1,325.91
                                  P00000000177937469 Card 3166
     8127                         08127Bankcard Deposit         9144                                       788.84
     8127                         08127Bankcard Deposit         9144                                       726.15
     8127                         08/27Bankcard Deposit         9144                                       187.25
     8!27                         Paypal Transfer 180825 1003721831356 Oonnafogle Oneboxtv                 124.66
     8127                         Purchase authorized on 08125WWW ..Alibaba.Com Delaware DE                                  1,149.96
                                  5388237601330826 Card 3174




    Sheet Seq"' Cl166056
    Sheet 00002 cf 00003
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Transaction history (continued)
                           Check                                                                                   Deposits!         \!Wthdrawalsl         Ending dally
       Date               Number Description                                                                         Credits                Debits             balance
       8127                        Purchase authorized on 08f25 Hibachi Grill Buff Bradenton FL                                             52.24
                                   5308237791335780 Card 3174
       8127                        Purchase authorized on 08/27 USPS PO 11262501 2605 72N                                                       5.64           1.944.97
                                   Ellenton FL P00588239476601793 Card 3166
       8!28                        Purchase authorized on  oarza
                                                              Circle K f 07629 8400 Parrish FL                                              15.01
                                   P00000000174403020 Card 3166
       8128                        ATT Payment 082718 039556001Col1R William Firestone                                                     391.86
       8128                  1101 Check                                                                                                    530.00              1,008.10
       8129                        08/29Bankcard Deposit           9144                                               684.80                                   1,692.90
       8130                        Purchase authorized on 08!30Wawa 5178 Bradenton FL                                                       25.01              1,667.89
                                   P00388242731146157 Card 3166
       8131                        08/31Bankcard Deposit           9144                                               187.25                                   1,855.14
       Ending balance on 8131                                                                                                                                 1,855.14
       Totals                                                                                                    $10,111.53            $9,710.64
       The Encing Dfi/y Balance does not reflect any pending Wthdrawa/s or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insuffident available funds when a transaction posted, fees may have been assessed,
       < Business to Business ACH:lf this rs a business account, this transaction has a return lrme frame of one bu5iness day from post date This time frame does not
         apply to consumer accounts.




Summary of checks written          (checks listed are a/so displayed in the preceding Transaction history)

       Number             Date                 Amount          Number            Dale                  Amount          Number            Date                  Amount
       1097               811                   666.00         1099              8115                   480.00         1101              8128                      530.00
       1098               818                   585.00         1100              8121                   535.00


Monthly service tee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Go to wellsfargo.com/feefaqfor a Hnkto these documents, and answers
to common monthly service fee questions.


       Fee period 08/01/2018- 08131/2018                                                     Standard monthly service fee $14.00                 You paid $0.00

       How to avoid the monthly service fee                                                                   Minimum required                   This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                      $7,500.00                        $971.00 D
              A qualifying transaction from a linked Wells Fargo Business Payroll Services                                       1                             oo
              account
              A qualifying transaction from a linked Wells Fargo Merchant Services account                                                                   25 G
              Total number of posted Wells Fargo Debit Card purchases andlor payments                                          10                             zr G
              Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                     1                              oo
              Combined balances in linked accounts, which may include                                                 $10,000.00                                   D
                Average ledger balances in business checking, savings, and time accounts
                Most recent statement balance In el!g!ble Wells Fargo business credit cards and
                lines of credit, and combined average daily balances from the previous month
                in eligible Wells Fargo business and commercial loans and lines of aedtt
                For complete details on how you can avoid the monthly service fee based on
                yoLir combined balances please refer to page 7 of1he Business Account Fee and
                Information Schedule at www.wellsfargo.com/biz/fee-information
                                                                                                    REDE Page 82 ofl81
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Account number:                9888   • August 1, 2018 - August 31, 2018   • Page 5 of 6




Account transaction fees summary
                                                                           Units      Excess   Se1111ce charge per   Total service
      Service charge description                        Units used     induded         units      excess units($)        charge($)
      Cash Deposited($)                                        500         7,500           0              0.0030             0.00
      Transactions                                             12           200            0                0.50             0.00
     Total service charges                                                                                                  $0.00




    Sheet Seq"' Cl166057
    Sheet 00003 cf 00003
                                                                                                                                REDE Page 83 ofl81
      Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 290 of 460 PageID 367

Account number:                             9888      • August 1, 2018 - August 31, 2018   • Page 6 of 6




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts               You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                 and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the         information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft          an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                      Number                    Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                      Total amount $




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                                                                                                                                 REDE Page 84 ofl81
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Wells Fargo Business Choice Checking
Account number:                    9888      • September 1, 2018 - September 30, 2018                  •   Page 1 of 6




                                                                                                           Questions?
ONE BOX TV, LLC                                                                                            Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST ST
                                                                                                             1-800-CALL-WELLS                (1-800-225-5935)

BRADENTON FL 34208-3501                                                                                      TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (287)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Since August 2003, the Wells Fargo/Gallup Small Business Index has suiveyed                               A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 small business owners on current and future perceptions of their business
                                                                                                           cell the numbf!1r above if you have queslions or if you would
 financial situation. View the latest results at wellsfargoworks.com.
                                                                                                           like to add new services.

                                                                                                           Business Online Banking                               0
                                                                                                           Online Statements                                     0
                                                                                                           Business Bill Pay                                     0
                                                                                                           Business Spending Report                              0
                                                                                                           Overdraft Protection                                  D


Activity summary                                                                                            Account number:              9888
        Beginning balance on 911                                       $1,855.14                            ONE BOX TV, LLC
        Deposits/Credits                                                7,362.15                            Flor/de account terms end conditions ffipply
        Withctawals!Debits                                            - 8,300.29                            For Direct Deposit use
        Ending balance on 9130                                          $917.00                             Routing Number (RTN): 063107513
                                                                                                            For Wire Transfers use
        Average ledger balance this period                              $616.02                             Routing Number (RTN): 121000248



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (.!67)
      Sheet Seq"' Cl249383
      Sheet 00001 cf OOQ03
                                                                                                                REDE Page 85 ofl81
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Account number:         9888      • September 1, 2018 - September 30, 2018                 • Page 2 of 6




Transaction history

                   Check                                                                            Deposits!       Withdrawals/   Ending daily
     Date         Number Description                                                                  Credits             Debits       balance
     914                   09/04Bankcard Deposit         9144                                         494.40
     914                   Money Transfer authorized on 09/02 From Fogle Donna PA                      55.46
                           500388246037566449 Card 3166
     914                   09/04Bankcard De~osit        9144                                          535.00
     914                   Purchase authorized on 09101 Dollar Tr 4424 E State Bradenton                                    4.28
                           FL P00000000481833744 Card 3174
     914                   Purchase authorized on 09102 Dollar General# 12110 US Parrish                                   13.45
                           FL P00388245759139769 Card 3174
     914                   Purchase authorized on 09102 WWW.P-Jibaba.Com Delaware DE                                      662.21
                         8588245830404703 Card 3174
     914                 Purchase authorized on 09103 Circle K # 07629 8400 Parrish FL                                     30.01
                         P00000000271652585 Card 3166
     914                 Recurring Payment authorized on 09/03 Phone.Com 9358339                                           83.91
                         WWW.Phone.Com CA 8588246416792097 Card 3166
     914            1102 Check                                                                                          1,335.00
     914            1103 Check                                                                                            542.50         68.64
     915                 Purchase authorized on 09105 7-Eleven Parrish FL                                                  10.00         58.64
                         P00000000187613465 Card 3166
     916                 09/06Bankcard Deposit          9144                                          454.75
     916                 United Fin Cas Ins Prem 180906 02823358 One B One Box Tv LLC                                     131.SO        381.59
     917                 Purchase authorized on 09107 Circle K # 07629 8400 Parrish FL                                     10.00
                         P00000000976875865 Card 3166
     917            1104 Check                                                                                             80.00        29'1.59
     9110                09/10Bankcard Depooit         9144                                            16.05
     9110                09/10Bankcard Deposit          9144                                          615.25
     9110                Purchase authorized on 09/09 Circle K # 07629 8400 Parrish FL                                     10.01        912.88
                           P00000000289518836 Card 3166
     9111                  Money Transfer authorized on 09f11 From Fogle Donna PA                      58.34
                           800588254537125404 Card 3166
     9!11                  ATM Cash Deposit on 09/11 7112 U.S Highway 301 N Elenton FL                100.00                          1,071.22
                           0006278ATM 1065348 Card 3174
     9112                  09/12Bankcard Deposit        9144                                          467.59
     9112                  Purchase authorized on 09/11 WWW ..AJibaba.Com Delaware DE                                     887.95        650.86
                         8308254838160305 Card 3174
     9113                Purchase authorized on 09/10 Bright House Netwo 317-972-9700                                      74.28
                         FL S388253658643793 Card 3174
     9113                Purchase authorized on 09110 Bright House Netwo 317-972-9700                                      84.98
                         FL 5388253660395970 Card 3174
     9!13                Bankcard Fee -         144                                                                        56.84
     9113                Bankcard Interchange Fee-          9144                                                           85.68
     9113                Bankcard Discount Fee-         9144                                                              205.38        143.90
     9!14                09!14Bankcard Deposit         9144                                           267.50
     9114                ATM Cash Deposit on 09114 7112 U.S Highway 301 N Elenton FL                  140.00
                         0007022ATM 1065348 Card 3166
     9!14                Purchase authorized on 09114 USPS PO 11262501 2605 72N                                             5.84
                         Ellenton FL P00388257745433438 Card 3174
     9!14           1105 Check                                                                                            512.50         33.26
     9!17                09117Bankcard Deposit         9144                                           882.75
     9117                09/17Bankcard Deposit         9144                                           642.00
     9!17                Money Transfer authorized on 09!16 From Fogle Donna PA                        63.15
                         S00308260073758207 Card 3166
     9117                Purchase authorized on 09f17 Shell Service Station Palmetto FL                                    25.02      1,596.14
                         P00308260409575493 Card 3166
     9118                Purchase authorized on 09/17 WWW .Alibaba. Com Delaware DE                                       862.21
                         8388260848140157 Card 3174
     9!18                Purchase authoriZed on 09!18 USPS PO 11262501 2605 72N                                             5.94        727.99
                         Ellenton FL P00588261752906706 Card 3174
     9119                09/19Bankcard Deposit -       9144                                           395.90                          1, 123.89
     9/20                09/20Bankcard Deposit -       9144                                           267.50
                                                                                                                             REDE Page 86 ofl81
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Account number:                    9888      • September 1, 2018 - September 30, 2018               • Page 3 of 6




Transaction history (continued)
                             Check                                                                              Deposits!         \!Wthdrawalsl        Ending dally
       Date                 Number Description                                                                     Credits               Debits            balance
       9120                          Fdgl Lease Pymt 180920 052-1323765-000 Donna Fogle                                                   39.22
                                     Oneboxtv
       9120                        < Business to Business ACH Debit - Fla Dept Revenue C01                                              629.55
                                     61422040 One Box Tv LLC
       9!20                   1106 Check                                                                                                tl05.00                117.62
       9121                        09/21Bankcard Deposit -       9144                                               26.75
       9121                        Flashstream lat Paypal 1809211003894439772 Donnafogle                                                 16.00                 128.37
                                   Oneboxtv
       9124                        09/24Bankcard Deposit         9144                                              267.50
       9124                        09/24Bankcard Deposit         9144                                              294.25
       9!24                          Money Transfer authorized on 09/24 From Fogle Donna PA                         60.26
                                     800588267505730521 Card 3166
       9124                          Purchase authorized on 09!22 Dnh~Godaddy.Com 480-5058855                                            17.06
                                     AZ 3308265822312638 Card 3166
       9124                          Paypal Inst Xfer 180923 Prohosting Donnafogle Oneboxtv                                              50.00
       9124                          Flashstream lat Paypal 1809241003898998741 Donnafogle                                              223.99                 459.33
                                     Oneboxtv
       9125                   Paypal Transfer 180925 1003919229570 Donnafogle Oneboxtv                              17.18
       9125                   Paypal Transfer 180925 1003917765981 Donnafogle Oneboxtv                              34.36                                      510.87
       9126                   09/26Bankcard Deposit           9144                                                 535.00
       9126                   Paypal Transfer 180926 1003924258402 Donnafogle Oneboxtv                              36.30
       9126                   Fpl Direct Debit Elec Pymt 09f18 3733077360 Telv Donna C Fogle                                            285.08
       9!26              1107 Check                                                                                                     515.00                 282.09
       9127                   09/27Bankcard Deposit           9144                                                 393.50
       9!27                   Money Transfer authorized on 09f27 From Fogle Donna PA                                23A4                                       699.03
                              S00588270594280296 Card 3166
       9128                   Money Transfer authorized on 09/28 From Fogle Donna PA                                17.97
                              800388271512519349 Card 3166
       9!28                   ATM Ca$h Deposit on 09f28 2901 53Rd Avenue East Bradenton                            200.00                                      917.00
                              FL 0007894ATM ID 0912P Card 3166
       Ending balance on 9130                                                                                                                                  917.00
       Totals                                                                                                  $7,362.15            $8,300.29
       The Encing Daily Balance does not reflect any pending !Mthdrawa/s or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had Insufficient available tunds when a transaction posted, fees may have been assessed,
       < Business to Business ACH:lf this 1s a business account, this trensacbon has a return ~me freme of one business day tram post date This bme frame daes ncJ:
         apply to consumer accounts.




Summary of checks written            (checks listed are a/so displayed in the preceding Transaction history)

       Number               Date                 Amount        Number           Dale                Amount          Number            Date                 Amount
       1102                 9/4                  1,335.00      1104             9r7                    80.00        1106              9120                     605.00
       1103                 9/4                   542.50       1105             9114                 512.50         1107              9126                     515.00


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Goto wellsfargo.comffeefaqfor a link to these documents. and answers
to common monthly service fee questions.


       Fee period 09101/2018- 09130/2018                                                  Standard monthly service fee $14.00                You paid $0.00

       How to avoid the monthly service fee                                                                Minimum required                  This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                   $7,500.00                       $616.00 D
           A qualifying transaction from a linked Wells Fargo Businets Payroll Services                                       1                            oo
           account




     Sheet Seq"' Cl249384
     Sheet 00002 cf 00003
                                                                                                                               REDE Page 87 ofl81
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Account number:                  9888      • September 1, 2018 - September 30, 2018                   • Page 4 of 6




Monthly service fee summary (continued)
        How to avoid the monthly service fee                                                                  Minimum required                 This fee period
            A qualifying transaction from a linked Wells Fargo Merchant Services account                                         1                           19   G
            Total number of posted Wells Fargo Debit Card purchases anci!or payments                                           10                            16   G
             Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                       1                           oo
             Combined balances in linked accounts, which may include                                                  $10,000.00                                  D
                Average ledger balances in business checking, savings, and time accounts
                Most recent statement balance In ellglble Wells Fargo business credit cards and
                lines of credit, and combined average daily balances from the previous month
                in eligible Wells Fargo business and commercial loans and lines of credit
                For complete det:alls on how you can avoid the monthly service fee based on
                yoLJr combined balances please refer to page 7 of the Business Account Fee and
                Information Schedule at www.wellsfargo.com!bizlfee-information
        The Monthly service fee summay fee period ending date shown above includes a Saturday, Sunday, or holiday which are non-business days.
        Transactions occurring after the last business day of the month will be included in your next fee period
       ""'""'

Account transaction fees summary
                                                                                           Units            Excess        Service charge per             Total service
        Service charge descri p~on                                  Urnts used         included              units           excess units($)               charge($)
        Cash Deposited($)                                                 400              7,500                 0                   0.0030                        0.00
        Transactions                                                       16                200                 0                      o.50                       0.00
        Total service charges                                                                                                                                     $0.00




         IMPORTANT ACCOUNT INFORMATION

Effective November 10, 2018, the sentence ''Certain electronic credit transfers, such as those through card networks or funds transfer
systems, will be available on the frst business day after the day we receive the transfer'' in the first paragraph of the ''Your ability to
withdraw funds" section underthe ''funds availability policy' in the Deposit Account Agreement will be replaced with "Certain
electronic credit transfers, such as those through card networks or funds transfer systems, will be available on the day we receive the
transfer.''



A reminder...

You can request to close your account at any time if the account is in good standing (e.g. does not have a negative balance or
restrictions such as holds on funds, legal order holds or court blocks on the account). At the time of your request, we will assist you in
withdrawing or transferring any remaining funds, bringing your account balance to zero.

- All outstanding items need to be processed and posted to your account before your request to close otherwise they will be returned
unpaid.

- Any recurring payments or withdrawals from your account need to be cancelled before your request to close (examples include bill
payments, automated debit card payments, and direct deposits) otherwise, they may be returned unpaid.

- We will not be liable for any loss or damage that may result from not honoring items that are presented or received after your
account is closed.
                                                                                                                        REDE Page 88 ofl81
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Account number:                   9888    • September 1, 2018 - September 30, 2018               • Page 5 of 6




- At the time of your request to close:
- For interest-earning accounts, it stops earning interest from the date you request to close your account.
- Overdraft Protection and/or Debit Card Overdraft Service will be removed on the date you request to close your account.
- The Agreement continues to apply.

- If you have requested to close your account and a positive balance remains, we may send you a check for the remaining balance.

- All other aspects of the Agreement remain the same. If there is a conflict between the updated language above and the Agreement,
the updated language will control.


Thank you for being a Wells Fargo customer. As a valued Wells Fargo customer, we hope you find this information helpfuL If you have
questions or concerns, please contact your local banker or call the number listed on your statement




      Sheet Seq"' Cl249385
      Sheet 00003 cf OOQ03
                                                                                                                               REDE Page 89 ofl81
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Account number:                             9888      • September 1, 2018 - September 30, 2018       • Page 6 of 6




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts              You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the        information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft         an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                    Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                     Total amount $




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                                                                                                                                   REDE Page 90 ofl81
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Wells Fargo Business Choice Checking
Account number:                  9888      • October 1, 2018 - October 31, 2018                 •   Page 1 of 6




                                                                                                            Questions?
ONE BOX TV, LLC                                                                                             Available by phone 24 hours a day, 7 days a week:
                                                                                                            Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST STE
                                                                                                              1-800-CALL-WELLS (1-800-225-5935)
BRADENTON FL 34208-3501                                                                                       TTY: 1-800-877-4833
                                                                                                              En espanol: 1-877-337-7454
                                                                                                            Online: wellsfargo.com/biz

                                                                                                            Write: Wells Fargo Bank, N.A. (287)
                                                                                                                   P.O. Box6995
                                                                                                                     Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                              Account options
 Since August 2003, the Wells Fargo/Gallup Small Business Index has suiveyed                                A check mark in the box indicates you have these convenient
                                                                                                            services with your account(s) Go to wellsfargo.com!b1z or
 small business owners on current and future perceptions of their business
                                                                                                            cell the numbf!1r above if you have queslions or if you would
 financial situation. View the latest results at wellsfargoworks.com.
                                                                                                            like to add new services.

                                                                                                            Business Online Banking                               0
                                                                                                            Online Statements                                     0
                                                                                                            Business Bill Pay                                     0
                                                                                                            Business Spending Report                              0
                                                                                                            Overdraft Protection                                  D



Other Wells Fargo Benefits

Limlted time offer -Up to $5,000 discount on commercial real estate financing

As a small business owner or commercial real estate investor, Wells Fargo can help you purchase or refinance commercial real estate, or
use your existing equity to grow your business. Apply by December31, 2018 and we'll waive your origination fee.

Business Real Estate Financing offers competitive rates, low closing costs and a variety of term options on commercial property valued
up to $5 million to help you meet your commercial real estate goals.

We can help with up to $1 million in financing on purchase or refinance loans or up to $500,000 in financing on equity loans.

To learn more or apply, call u:s at 1-866-416-4320,        Monday~     Friday, 6:00 a.m. to 6:00 p.m. Pacific Time. Or visit us on the web at
wellsfargo.com/bizfbusiness~reditfreal.-estate/


Note: Equity lines of credit are not eligible for this promotion. All financing is subject to credit approval. Some restrictions may apply.
Equal housing lender.




      (.!67)
      Sheet Seq"' Cl161025
      Sheet 00001 cf OOQ03
                                                                                                                                 REDE Page 91 ofl81
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Account number:                  9888       • October 1, 2018 - October 31, 2018               • Page 2 of 6




Activity summary                                                                                            Account number:            9888
       Beginning balance on 10f1                                         $917.00                            ONE BOX TV, LLC
       Deposits/Credits                                                15,491.75                            Aolida acco11nt terms and condi#ons apply
       Withckawals/Debits                                            - 14,219.21                            For Direct Deposit use
                                                                                                            Routing Number (RTN): 063107513
       Ending balance on 10f31                                        $2, 169.54
                                                                                                            For Wire Transfers use
       Average ledger balance this period                              $1,049. 71                           Routing Number (RTN): 121000248




Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




Transaction history

                           Check                                                                                     Deposits!         \llflthdrawa/sl      Ending daily
       Date               Number Description                                                                           Credits                   Debits         balance
        10/1                       10/01Bankcard Depooit         9144                                                  187 .25
        10/1                       10/01Bankcard Deposit         9144                                                  428.25
        1011                       10/01Bankcard Deposit         9144                                                  604.55
        10/1                       Paypal Transfer 180930 1003953569575 Donnafogle Oneboxtv                              18.15
        1011                       Paypal Transfer 180930 1003952055503 Donnafogle Oneboxtv                              31.45
        10/1                       Square Inc 181001R2 181001 L208387959820 One Box Tv LLC                               54.54
        10/1                       Paypal Transfer 180929 1003945770551 Oonnafogle Oneboxtv                              90.75
        10/1                       Paypal Transfer 1810011003958711324 Donnafogle Oneboxtv                               48.25
        1011                       Purchase authorized on 09/28 WWW .Alibaba. Com Delaware DE                                                 862.21
                                   S308271517785685 Card 3174
        1011                       Flashstreams Hos lat Paypal 181001 1003953740170 Donnafogle                                                159.10            1,358.28
                                   Oneboxtv
        10/2                       Money Transfer authorized on 10/02 From Fogle Donna PA                                17.97
                                   S00468215645171831 Card 3166
        1012                      Money Transfer authorized on 10f02 From Fogle Donna PA                                 17.91                                  1,394.22
                                  S00388275679256690 Card 3166
        1013                      Square Inc 181003R2181003 L208388448388 One Box Tv LLC                                36.36
        10/3                      10/03Bankcard Deposit -       9144                                                   374.50
        1013                 1109 Check                                                                                                     1,435.00             370.08
        10/4                      Square Inc 181004R2 181004 L208388762965 One Box Tv LLC                               18.18
        1014                      10/04Bankcard Deposit         9144                                                   181.25
        10/4                      Recurring Payment authorized on 10/02 Phone.Com 9397165                                                       84.61
                                   WWW.Phone.Com CA $388216222141370 Card 3166
        10/4                       Purchase authorized on 10!04 Murphy7322Atwal Palmetto FL                                                     20.00            410.90
                                   P00000000185303641 Card 3166
        10/5                       Paypal Transfer 181005 1003988835215 Donnafogle Oneboxtv                             54.45                                    525.35
        1019                       10/09Bankcard Deposit         9144                                                  128.15
        10/9                       10/09Bankcard Deposit         9144                                                  738.30
        1019                       10/09Bankcard Deposit         9144                                                  122.25
        10/9                       Paypal Transfer 181007 1004001004349 Donnafogle Oneboxtv                              18.15
        1019                       Square Inc 181008R2181008 L208389733728 One Box Tv LLC                                18.18
        10/9                       Square Inc 181008R2 181008 L208389733729 One Box Tv LLC                               18.18
        1019                       Paypal Transfer 181007 1004001684627 Donnafogle Oneboxtv                              52.13
        10/9                       Paypal Transfer 181007 1004000701847 Donnafogle Oneboxtv                              72.60
        1019                       Paypal Transfer 181006 1003994769253 Donnafogle Oneboxtv                            134.82
        10/9                       Paypal Transfer 181009 1004014395135 Oonnafogle Oneboxtv                              90.75
        1019                       Purchase authorized on 10107 Wawa Store 5165 Bradenton FL                                                    25.00
                                    P00588280734158070 Card 3166
        10f9                       Purchase authorized on 10f07 WWW.Allbaba.Com Delaware DE                                                   862.21
                                   S588281063323878 Card 3174
                                                                                                                        REDE Page 92 ofl81
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Transaction history (continued)
                            Check                                                                           Deposits!       \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                                 Credits              Debits       balance
     1019                           Purchase authorized on 10f09USPS PO 112625012605 72N                                           25.90
                                    Ellenton FL P00588282762871160 Card 3174
     1019                           United Fin Cas Ins Prem 181009 02823358 One B One Box Tv LLC                                  131.80
     10/9                         Flashstreams Hoo lat Paypal 181009 1004000708317 Donnafogle                                     183.94
                                  Oneboxtv
     10/9                    1108 Check                                                                                           535.00         755.61
     10110                          Paypal Transfer 181010 1004021713758 Donnafogle Oneboxtv                   18.15                             773.76
     10/11                          10/11Bankcard Deposit -        9144                                       535.25
     10111                          Paypal Transfer 181011 1004027512545 Donnafogle Oneboxtv                   54.45
     10/11                          Paypal Transfer 1810111004026647943 Donnafogle Oneboxtv                    54.45
     10f11                          Bankcard Fee -         9144                                                                    56.19
     10/11                          Bankcard Interchange Fee-        9144                                                          98.53
     10111                          Bankcard Discount Fee-         9144                                                           176.90
     10/11                          ATT Payment 101018812843002Col1J William Firestone                                            446.04         640.25
     10112                          10/12Bankcard Deposit -       9144                                        187.25
     10/12                          Paypal Transfer 181012 1004034316535 Donnafogle Oneboxtv                   72.60
     10/12                          Purc;hase authorized on 10/12Wawa Store 5165 Bradenton FL                                      10.01
                                    P00588285541639694 Card 3166
     10112                          Cash eWithdrawal in Branc;h/Store 10/1212018 11:27Am1510                                      510.00         380.09
                                    Cortez Rd W Bradenton FL 3166
     10115                          Money Transfer authorized on 10!13 From Fogle Donna PA                     51.61
                                    S00468287006519686 Card 3166
     10/15                          10/15Bankcard Depooit -       9144                                        486.70
     10/15                          Money Transfer authorized on 10/14 From Fogle Donna PA                     53.91
                                    $00388288021461558 Card 3166
     10/15                          10/15Bankcard Depooit         9144                                        775.75
     10115                          Paypal Transfer 181013 1004040301093 Donnafogle Oneboxtv                   18.15
     10/15                          Square Inc 181015R2 181015 L208391381633 One Box Tv LLC                    18.18
     10/15                          Paypal Transfer 181013 1004039040162 Oonnafogle Oneboxtv                   54.45
     10/15                          Purchase authorized on 10/15 USPS PO 11262501 2605 72N                                         11.74
                                    Ellenton FL P00388288758398939 Card 3174
     10/15                          Purchase authorized on 10/15 Circle K # 07629 8400 Parrish FL                                  15.04
                                    P00000000835293869 Card 3166
     10/15                        Flashstreams Hoo lat Paypal 181015 1004040519838 Donnafogle                                     158.63       1,653.43
                                  Oneboxtv
     10/16                        Square Inc 181016R2 181016 L208391568320 One Box Tv LLC                      18.18
     10116                        Money Transfer authorized on 10!16 From Fogle Donna PA                       61.60
                                  S005S8289587976974 Card 3166
     10116                        Paypal Transfer 181016 1004061076255 Donnafogle Oneboxtv                     36.30
     10/16                        Purchase authorized on 10/14WWW.l>Jibaba.Com Delaware DE                                        862.21
                                  S3082S8091422390 Card 3174
     10/16                   1110 Check                                                                                           455.00         452.30
     10117                        Fpl Direct Debit Elec Pymt 10!18 3733077360 Telv Donna C Fogle                                  236.81         215.49
     10/18                        ATM Cash Depooit on 10/18 7112 U.S Highway 301 N Elenton FL                 750.00
                                    0000273ATM 1065348 Card 3166
     10/18                          Paypal Transfer 181018 1004072880298 Donnafogle Oneboxtv                   36.30
     10/18                          Purchase authorized on 10/15 Bright House Netwo 317-972-9700                                   84.23         917.56
                                    FL 8388288603259608 Card 3174
     10119                          Square Inc 181019R2181019 L2083923S4767 One Box Tv LLC                     18.18
     10/19                          10/19Bankcard Deposit         9144                                      1,436.75
     10119                          Money Transfer authorized on 10/19 From Fogle Donna PA                     71.87
                                    S00588292680369037 Cord 3166
     10/19                          Purchase authorized on 10119 Shell Service Station Palmetto FL                                 30.00
                                    P00308292767272652 Card 3166
     10119                   1111 Check                                                                                           537.50
     10/19                          Flashstreams Hoo lat Paypal 181019 1004080459804 Donnafogle                                   158.41       1,718.45
                                    Oneboxtv
     10/22                          10/22Bankcard Deposit         9144                                        288.90
     10/22                          10/22Bankcard Deposit         9144                                        674.10
     10/22                          10/22Bankcard Deposit         9144                                        642.25
     10f22                          Square Inc 181022R2181022 L208393040383 One Box TV LLC                     18.18
     10/22                          Paypal Transfer 181020 1004086271837 Donnafogle Oneboxtv                  142.58




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Transaction history (continued)
                   Check                                                                          Deposits!       \!Wthdrawalsl   Ending dally
     Date         Number Description                                                                Credits              Debits       balance
     10122                 Paypal Transfer 181021 1004092141530 Donnafogle Oneboxtv                 145.20
     10!22                 Purchase authorized on 10/18 WWW.Alibaba.Com Delaware DE                                     862.21
                           8588292012161651 Card 3174
     10/22               Purchase authorized on 10!20 USPS PO 11097701 4112 53R                                          11.64
                         Bradenton FL ?00588293529589547 Card 3166
     10/22          1112 Check                                                                                           80.00
     10122                 Fdgl Lease Pymt 181022 052-1323765-000 Donna Fogle                                            39.22
                         Oneboxtv
     10122             < Business to Business ACH Debit - Fla Dept Revenue C01                                          464.44       2,172.15
                           63712520 One Box Tv LLC
     10f23                 Money Transfer authorized on 10/23 From Fogle Donna PA                    89A8
                           800388296519103447 Card 3166
     10123                 Paypal Transfer 181023 1004106294329 Donnafogle Oneboxtv                  72.60
     10!23                 Purchase authorized on 10/21 WWW./>Jibaba.Com Delaware DE                                    894.13
                           8588295035076126 Card 3174
     10/23                 Purchase authorized on 10!23 Racetrac1 00 Bradenton FL                                        25.00
                           P00388296737497541 Card 3166
     10/23                 Purchase authorized on 10!23 Dollar General# 12110 US Parrish                                 41.37
                           FL P00468296769479878 Card 3114
     10!23          1113 Check                                                                                          735.50         638.23
     10124               Sguare Inc 181024R2181024 L208393404630 One Box Tv LLC                      18.18
     10/24               10/24Bankcard Deposit -         9144                                       337.05
     10/24               Flashstrea1Tl8 Hos lat Paypal 181024 1004107685179 Donnafogle                                  276.05         717.41
                         Oneboxtv
     10f25               10/25Bankcard Deposit -         9144                                       261.50
     10/25               Paypal Transfer 181025 1004114389989 Donnafogle Oneboxtv                    46.01
     10125               Paypal Transfer 181025 1004116748026 Donnafogle Oneboxtv                    51.54
     10/25               Paypal Transfer 181025 1004119732712 Donnafogle Oneboxtv                    72.60
     10/25               Purchase authorized on 10!24 AM Poe Membership                                                 138.00       1,017.06
                           800-222-1134 FL 8308297498066661 Card 3174
     10126                 10/26Bankcard Deposit         9144                                       374.50
     10/26                 Paypal Transfer 181026 1004126487256 Donnafogle Oneboxtv                 145.20
     10126                 Purchase authorized on 10!25 Racetrac549 Palmetto FL                                          20.00
                           P00588298749168050 Card 3166
     10/26                 Purchase authorized on 10/26 USPS PO 11721502 520 7th                                          1.19       1,515.57
                           Palmetto FL P00588299737763159 Card 317 4
     10129                 10/29Bankcard Deposit           9144                                   1,118.55
     10/29                 10/29Bankcard Deposit           9144                                     684.80
     10129                 10/29Bankcard Deposit           9144                                     267.50
     10/29                 Square Inc 181029R2 181029 L208394707803 One Box Tv LLC                   18.18
     10/29                 Square Inc 181029R2181029 L208394707804 One Box Tv LLC                    18.18
     10/29                 Paypal Transfer 181028 1004134130885 Donnafogle Oneboxtv                  25.92
     10129                 Paypal Transfer 181027 1004130857795 Donnafogle Oneboxtv                  36.30
     10/29                 Paypal Transfer 181028 1004139711047 Donnafogle Oneboxtv                  54.45
     10129                 Paypal Transfer 181028 1004138127596 Donnafogle Oneboxtv                  69.98
     10/29                 Paypal Transfer 181027 1004133152338 Donnafogle Oneboxtv                 108.90
     10/29                 Paypal Transfer 181029 1004144341225 Donnafogle Oneboxtv                  54.45
     10/29                 Paypal Transfer 181029 1004147245030 Donnafogle Oneboxtv                  62.22
     10129                 Purchase authorized on 10!25 Bright House Netwo 317-972-9700                                  84.23
                           FL $468298602664218 Card 3174
     10129                 Purchase authorized on 10/25 Bright House Netwo 317-972-9700                                  84.98
                           FL 6388298607983407 Card 3174
     10/29                 Purchase authorized on 10126 WWW ..AJibaba.Com Delaware DE                                   851.40
                           5308300013656254 Card 3174
     10129                 Purchase authorized on 10128 WWW ..AJibaba. Com Delaware DE                                  679.11
                           5468301839974964 Card 3174
     10129                 Purchase authorized on 10!29 7-Eleven Parrish FL                                              15.01
                           P00000000474239034 Card 3166
     10/29                 Fpl Direct Debit Elec Pymt 10118 3733077360 Telv Donna C Fogle                               247.47       1,872.20
     10/30                 Paypal Transfer 181030 1004151661811 Donnafogle Oneboxtv                  62.22
     10f30                 Paypal Transfer 181030 1004153772725 Donnatogle oneboxtv                  54.45                           1,988.87
     10/31                 10/31Bankcard Deposit           9144                                     297.40
                                                                                                                                   REDE Page 94 ofl81
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Transaction history (continued)
                              Check                                                                                   Deposits!          \!Wthdrawalsl          Ending dally
       Date                  Number Description                                                                         Credits                 Debits              balance
       10131                         Money Transfer authorized on 10f31 From Onebox Tv FL                                60.00
                                     500308305017887878 Card 3174
       10131                         Paypal Transfer 181031 1004162133224 Donnafogle Oneboxtv                            18.15
       10/31                         Paypal Transfer 1810311004161691815 Donnafogle Oneboxtv                            120.17
       10131                         Flashstreams Hos lat Paypal 181031 1004162132229 Donnafogle                                                295.05              2, 189.54
                                     Oneboxtv
       Ending balance on 10f31                                                                                                                                     2, 189.54
       Totals                                                                                                     $15,491.75               $14,219.21
       The Encing Daily Balance does not reflect any pending !Mthdrawa/s or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed,
       < Business to Business ACH:lf this is a business account, this transactJon has a return ~me frame of one business day from post date This tJme frame does nr:t
         apply to consumer accounts.




Summary of checks written            (checks listed are a/so displayed in the preceding Transaction history)

       Number                Date                 Amount        Number            Date                  Amount           Number               Date                  Amount
        1108                 10/9                   535.00      1110              10116                  455.00          1112                 10/22                      80.00
        1109                 10/3                 1,435.00      1111              10119                  537.50          1113                 10/23                     735.50


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions tor prepaid cards) or talk to a banker. Go to wellstargo.comffeefaqfor a llnkto these documents, and answers
to common monthly service fee questions.


       Fee period 10/01/2018-10131/2018                                                       Standard monthly service fee $14.00                     You paid $0.00

       How to avoid the monthly service fee                                                                    Minimum required                       This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                        $7,500.00                         $1,oso.oo    D
               A qualifying transaction from a linked Wells Fargo Business Payroll Services                                         1                               oo
               account
               A qualifying transaction from a linked Wells Fargo Merchant Services account                                                                        26G
               Total number of posted Wells Fargo Debit Card purchases andfor payments                                             10                              20G
               Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                        1                               oD
               Combined balances in linked accounts, which may include                                                  $10,000.00                                   D
                 Average ledger balances in business checking, savings, and time accounts
                 Most recent statement balance In el!g!ble Wells Fargo business credit cards and
                 lines of credit, and combined average daily balances from the previous month
                 in eligible Wells Fargo business and commercial loans and lines of credit
                 For complete detalls on how you can avoid the monthly service fee based on
                 your combined balances please refer to page 7 of the Business Account Fee and
                 Information Schedule at wvm. wellsfargo. com/biz/fee-information




Account transaction fees summary
                                                                                              Units          Excess         Service charge per                  Total seniice
       Service charge descriptJon                                   U111ts used           included            units               excess units($)                 charge($)
       Cash Deposited($)                                                  700                 7,500               0                      0.0030                          0.00
       Transactions                                                        66                   200               0                         0.50                         0.00
       Total service charges                                                                                                                                            $0.00




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General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts               You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                 and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the         information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft          an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                     Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                      Total amount $




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                                                                                                                                   REDE Page 96 ofl81
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Wells Fargo Business Choice Checking
Account number:                  9888      • November 1, 2018 - November 30, 2018                     •   Page 1 of 8




                                                                                                            Questions?
ONE BOX TV, LLC                                                                                             Available by phone 24 hours a day, 7 days a week:
                                                                                                            Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST STE
                                                                                                              1-800-CALL-WELLS (1-800-225-5935)
BRADENTON FL 34208-3501                                                                                       TTY: 1-800-877-4833
                                                                                                              En espanol: 1-877-337-7454
                                                                                                            Online: wellsfargo.com/biz

                                                                                                            Write: Wells Fargo Bank, N.A. (287)
                                                                                                                   P.O. Box6995
                                                                                                                     Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                              Account options
 Since August 2003, the Wells Fargo/Gallup Small Business Index has suiveyed                                A check mark in the box indicates you have these convenient
                                                                                                            services with your account(s) Go to wellsfargo.com!b1z or
 small business owners on current and future perceptions of their business
                                                                                                            cell the numbf!1r above if you have queslions or if you would
 financial situation. View the latest results at wellsfargoworks.com.
                                                                                                            like to add new services.

                                                                                                            Business Online Banking                               0
                                                                                                            Online Statements                                     0
                                                                                                            Business Bill Pay                                     0
                                                                                                            Business Spending Report                              0
                                                                                                            Overdraft Protection                                  D



Other Wells Fargo Benefits

Limlted time offer -Up to $5,000 discount on commercial real estate financing

As a small business owner or commercial real estate investor, Wells Fargo can help you purchase or refinance commercial real estate, or
use your existing equity to grow your business. Apply by December31, 2018 and we'll waive your origination fee.

Business Real Estate Financing offers competitive rates, low closing costs and a variety of term options on commercial property valued
up to $5 million to help you meet your commercial real estate goals.

We can help with up to $1 million in financing on purchase or refinance loans or up to $500,000 in financing on equity loans.

To learn more or apply, call u:s at 1-866-416-4320,        Monday~     Friday, 6:00 a.m. to 6:00 p.m. Pacific Time. Or visit us on the web at
wellsfargo.com/bizfbusiness~reditfreal.-estate/


Note: Equity lines of credit are not eligible for this promotion. All financing is subject to credit approval. Some restrictions may apply.
Equal housing lender.




      (.!67)
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Activity summary                                                                                            Account number:            9888
       Beginning balance on 11f1                                       $2, 189.54                           ONE BOX TV, LLC
       Deposits/Credits                                                19,363.56                            Aolida acco11nt terms and condi#ons apply
       Withckawals/Debits                                            - 18,923.67                            For Direct Deposit use
                                                                                                            Routing Number (RTN): 063107513
       Ending balance on 11!30                                        $2,629.43
                                                                                                            For Wire Transfers use
       Average ledger balance this period                              $1,049.29                            Routing Number (RTN): 121000248




Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




Transaction history

                           Check                                                                                     Deposits!         \llflthdrawa/sl      Ending daily
       Date               Number Description                                                                           Credits                   Debits         balance
        11/1                 1098 Check                                                                                                       650.00
        1111                 1097 Check                                                                                                       670.00
        1111                        11/01 Bankcard Deposit        9144                                               1, 150.25
        11!1                        Paypal Transfer 181101 1004166633111 Donnafogle Oneboxtv                           108.90
        1111                        Paypal Transfer 181101 1004169801511 Donnafogle Oneboxtv                             54.45
        1111                        Purchase authorized on 11101 Circle K # 07629 8400 Parrish FL                                               10.01           2,173.13
                                    P000000005S477075S Card 3166
        1112                        Credit for Check Fraud Claim                                                     1,320.00
        1112                 1115   Check                                                                                                   1,385.00
        11/2                        11/02Bankcard Depooit         9144                                                 431.75
        1112                        Paypal Transfer 181102 1004176863280 Donnafogle Oneboxtv                             54.45
        1112                        Purchase authorized on 11101 Agi""Renters!Condo 800-370-1990                                              274.00
                                    FL $388305465149832 Card 3174
        1112                        Purchase authorized on 11102 Wawa Store 5165 Bradenton FL                                                   13.00           2,307.33
                                    P00000000576544124 Card 3166
        11!5                        ATT Payment 110118 169466003Csr1A William Firestone                                                       391.86
        1115                        11/0SBankcard Deposit         9144                                                 535.00
        1115                        11/0SBankcard Depooit         9144                                                 658.05
        1115                        11/0SBankcard Deposit         9144                                                 482.00
        1115                        Paypal Transfer 181103 1004183059434 Donnafogle Oneboxtv                             18.15
        1115                        Paypal Transfer 181104 1004190168356 Donnafogle Oneboxtv                             54.45
        11/5                        Paypal Transfer 181103 1004182665778 Donnafogle Oneboxtv                           116.67
        1115                        Paypal Transfer 181104 1004189750244 Donnafogle Oneboxtv                           217.80
        1115                        Money Transfer authorized on 11/05 From Fogle Donna PA                              89.84
                                    $00588309489241302 Card 3166
        1115                        Money Transfer authorized on 11/05 From Fogle Donna PA                               25.66
                                    $00388309495189566 Card 3166
        11!5                        Money Transfer authorized on 11/05 From Fogle Donna PA                               17.97
                                    $00388309683916050 Card 3166
        1115                        Recurring Payment authorized on 11/03 Phone.Com 9436735                                                     85.04
                                    WWW.Phone.Com CA $588307320035097 Card 3166
        1115                        Purchase authorized on 11103 Racetrac 2394 Bradenton FL                                                     15.00
                                    P00388307494760489 Card 3166
        1115                        Purchase authorized on 11103 Dollar General# 12110 US Parrish                                               12.04
                                    FL P00588307769083934 Card 3174
        11f5                        Purchase authorized on 11104 Domino's 3845 941-747-7879 FL                                                  22.01
                                    $308308715398413 Card 3174
        1115                        Cash eWithdrawal in Branch/Store 11f05f2018 12:47 Pm 7112 US                                            1,153.00
                                    Hwy 301 N Ellenton FL 3166
        1115                        Purchase authorized on 11105 Shell Service station Palmetto FL                                              15.00
                                    P00388309660756549 Card 3166
                                                                                                                             REDE Page 98 ofl81
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Account number:                  9888      • November 1, 2018 - November 30, 2018                    • Page 3 of 8




Transaction history (continued)
                            Check                                                                              Deposits!         \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                                     Credits               Debits       balance
     1115                           Flashstreams Hos lat Paypal 181105 1004194989311 Donnafogle                                        296.36       1,932.61
                                    Oneboxtv
     1116                    1114 Check                                                                                                697.00
     1116                           Money Transfer authorized on 11/06 From Fogle Donna PA                       143.75
                                    $00308310625629134 Card 3166
     1116                           Purchase authorized on 11104 WWW.l>Jibaba.Com Delaware DE                                          961.15         418.21
                                    8388309069619293 Card 3174
     11/8                           11/08Bankcard Deposit           9144                                         862.75
     1118                           Money Transfer authorized on 11f08 From Fogle Donna PA                        89.84
                                    800308312480120900 Card 3166
     11f6                           Money Transfer authorized on 11/08 From Fogle Donna PA                           35.94
                                    800388312654634272 Card 3166
     1118                           Purchase authorized on 11!05 Bright House Netwo 317-972-9700                                        86.25
                                    FL 5388309812030794 Card 3174
     1118                           Purchase Intl authorized on 11105 Xt Network Saint Avertin Fra                                      10.35
                                    8638312545948552 Card 3166
     11/S                           International Purc;hase Transaction Fee                                                              0.31
     1118                           Purc;hase authorized on 11107 Domino's 3845 941-747-7879 FL                                         22.01
                                    8468311697645271 Card3174
     11/8                           Purc;hase authorized on 11108 Rac;etrac1 00 Bradenton FL                                            30.01
                                    P00308312674995894 Card 3166
     1118                           Purc;hase authorized on 11108 WM Superc Wal-Mart Sup                                               288.28         989.53
                                    Palmetto FL P00000000174065416 Card 3174
     1119                           11/09Bankcard Dee:osit          9144                                        1, 192.95
     11f9                           Purchase authoriZed on 11f07 Gw Cortez & 34th 941-6840073 FL                                        32.00
                                    8306311611026356 Card 3174
     1119                           Purc;hase authorized on 11107 Five Below 916 Bradenton FL                                            6.42
                                    8588311826401067 Card 3174
     11/9                         Purchase authorized on 11!08 WWW ..Alibaba.Com Delaware DE                                           879.71       1,264.35
                                  8388312826246342 Card 3174
     11113                   1116 Check                                                                                                687.50
     11/13                        11/13Bankcard Deposit         9144                                             561 .75
     11113                        Money Transfer authorized on 11!10 From Fogle Donna PA                             71.87
                                    800308314465995981 Card 3166
     11/13                          Money Transfer authorized on 11/10 From Fogle Donna PA                           35.94
                                    800308314548625445 Card 3166
     11113                          Money Transfer authorized on 11!10 From Fogle Donna PA                           17.97
                                    800368314630518735 Card 3166
     11113                          Money Transfer authorized on 11/10 From Fogle Donna PA                       106.07
                                    800388315004214414 Card 3166
     11/13                          11/13Bankcard Dep0$it -       9144                                           160.50
     11113                          Money Transfer authorized on 11/11 From Fogle Donna PA                           53.91
                                    800468315532768522 Card 3166
     11/13                          Money Transfer authorized on 11111 From Fogle Donna PA                           17.67
                                    800388316037637882 Card 3166
     11113                          Money Transfer authorized on 11/11 From   Fogle Donna PA                         61.22
                                    $00308316103169942 Card 3166
     11113                          11/13Bankcard Deposit         9144                                           192.60
     11113                          Money Transfer authorized on 11!12 From   Fogle Donna PA                      71.87
                                    S00368316587007895 Card 3166
     11113                          Money Transfer authorized on 11/12 From   Fogle Donna PA                         64.99
                                    800588316725097639 Cord 3166
     11113                          Money Transfer authorized on 11113 From   Fogle Donna PA                         53.91
                                    800388317493663515 Card 3166
     11113                          Stripe Transfer x                                                            235.76
     11113                          Money Transfer authorized on 11113 From Fogle Donna PA                           17.97
                                    800308317624701788 Card 3166
     11113                          Money Transfer authorized on 11/13 From Onebox Tv FL                             60.00
                                    $00588317727222353 Card 3174
     11113                          Purchase authorized on 11111 Citgo Palmer's E Sarasota FL                                           15.00
                                    P00000000382781991 Card 3166




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    Sheet 00002 cf 00004
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Transaction history (continued)
                   Check                                                                             Deposits!         \!Wthdrawalsl   Ending dally
     Date         Number Description                                                                    Credits               Debits       balance
     11113                 Purchase authorized on 11f12WWW..Alibaba.Com Delaware DE                                        1,179.09
                           5588316426260409 Card 3174
     11113                 Bankcard Fee -          144                                                                        58.88
     11113                 Bankcard Interchange Fee-        9144                                                              96.78
     11113                 Bankcard DiScount Fee-         9144                                                               245.55
     11113                 Flashstreams Hoo lat Paypal 181113 1004233333388 Donnafogle                                        65.77
                           Oneboxtv
     11/13                 flashstreams Hoo lat Paypal 181113 1004236662213 Donnafogle                                       294.28         405.50
                           Oneboxtv
     11114          1117 Check                                                                                                80.00
     11f14                 11/14Bankcard Deposit         9144                                          454.75
     11114                 Stripe Transfer x                                                           127.05
     11114                 Purchase authorized on 11f14 USPS PO 11097701 4112 53R                                             22.39         884.91
                           Bradenton FL ?00308318590691264 Card 3166
     11115          1119 Check                                                                                               657.50
     11115                 Square Inc 181115R2 181115 L208398586504 One Box Tv LLC                     361.24
     11/15                 11/15Bankcard Deposit -        9144                                        1, 160.95
     11115                 Stri e Transfer x                                                           178.43
     11115                 Paypal Transfer 181115 1004266208501 Donnafogle Oneboxtv                     54.45
     11/15                 Pay pal Transfer 181115 1004265095836 Donnafogle Oneboxtv                       62.22                          2,044.70
     11116                 Pa~~al lnst Xfer 181115 Prohostin2 Donnafoale Oneboxtv                                             41.85
     11116                 11/16Bankcard Deposit -        9144                                         187.25
     11/16                 Stripe Transfer x                                                           116.67
     11116                 Purchase authorized on 11115 WWW.l>Jibaba.Com Delaware DE                                       1,149.44
                           8468319523179985 Card 3174
     11!16                 Purchase authorized on 11116 Circle K # 07629 8400 Parrish FL                                      20.01       1, 137.32
                           P00000000179712626 Card 3166
     11119                 Paypal Inst Xfer 181116 Prohosting Donnafogle Oneboxtv                                             81.85
     11/19                 11/19Bankcard Depooit          9144                                             16.05
     11119                 Money Transfer authorized on 11/17 From Fogle Donna PA                          53.91
                           800388321828481827 Card 3166
     11/19                 11/19Bankcard Deposit         9144                                          909.50
     11119                 Money Transfer authorized on 11!18 From Fogle Donna PA                          71.87
                           800388322529422154 Card 3166
     11/19                 11/19Bankcard Depooit         9144                                          722.25
     11119                 Money Transfer authorized on 11/19 From Fogle Donna PA                          71.87
                           800388323527166353 Card 3166
     11!19                 Stripe Transfer x                                                               36.30
     11119                 Money Transfer authorized on 11/19 From Fogle Donna PA                          51.31
                           800588323840057488 Card 3166
     11/19                 Purchase authorized on 11!17 7-Eleven Parrish FL                                                   30.00
                           P00000000776826699 Card 3166
     11119                 Flashstreams Hos lat Paypal 181119 1004287313246 Donnafogle                                       294.57       2,663.96
                           Oneboxtv
     11120                 ATT Payment 111618 898087001Csr1P William Firestone                                               448.43
     11120                 Square Inc 181120R2 181120 L208399772484 One Box Tv LLC                     221.80
     11/20                 Money Transfer authorized on 11/20 From Fogle Donna PA                      107 .81
                           800468324491069972 Card 3166
     11120                 Money Transfer authorized on 11!20 From Fogle Donna PA                          35.94
                           S0030832456583351S Card 3166
     11120                 Money Transfer authorized on 11/20 From Onebox Tv FL                            60.00
                           S00388324848010004 Cord 3174
     11/20                 Purchase authorized on 11119 WWW ..AJibaba.Com Delaware OE                                      1,125.25
                           8388323530057979 Card 3174
     11120               Fdgl Lease Pymt 181120 052-1323765-000 Donna Fogle                                                   39.22       1,476.61
                         Oneboxtv
     11121             < Business to Business ACH Debit - Fla Dept Revenue C01                                               744.72
                         65653812 One Box Tv LLC
     11/21               11/21Bankcard Deposit         9144                                            187 .25
     11121               Stripe Transfer x                                                             181.50
     11f21               Money Transfer authorized on 11f21 From Fogle Donna PA                            17.97
                         S00588325622411232 Card 3166
                                                                                                                          REDE Page 100 ofl81
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Transaction history (continued)
                            Check                                                                           Deposits!         \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                                 Credits                Debits       balance
     11121                          Flashstreams Hos lat Paypal 181121 1004312100805 Donnafogle                                     431.12         687.49
                                    Oneboxtv
     11123                   1118 Check                                                                                             632.50
     11123                          11/23Bankcard Deposit         9144                                        187.25
     11123                          Money Transfer authorized on 11f22 From Fogle Donna PA                     71.67
                                    800308326510747905 Card 3166
     11123                          ATM Cash Deposit on 11/22 7112 U.S Highway 301 Nort Ellenton              350.00
                                    FL 0005198ATM ID tl534B Card 3166
     11123                          Money Transfer authorized on 11f22 From Fogle Donna PA                        58.34
                                    800588327116704685 Card 3166
     11f23                          Stripe Transfer x                                                             72.60
     11123                          Money Transfer authorized on 11/23 From Fogle Donna PA                        17.97
                                    $00468327656498636 Card 3166
     11123                          Money Transfer authorized on 11/23 From Fogle Donna PA                        17.97
                                    $00388327823276964 Card 3166
     11123                          Money Transfer authorized on 11/23 From Fogle Donna PA                        17.97
                                    $00468327861088366 Card 3166
     11123                          Purchase authorized on 11122 WM Superc Wal-Mart Sup                                             185.42
                                    Palmetto FL P00000000439917925 Card 3174
     11/23                          Purchase authorized on 11123 7-Eleven Parrish FL                                                 15.00
                                    P00000000779689903 Card 3166
     11123                          Flashstreams Hoo lat Paypal 181123 1004321184213 Donnafogle                                     430.27         218.27
                                    Oneboxtv
     11126                          11/26Bankcard Dee:osit        9144                                        454.75
     11f26                          Money Transfer authorized on 11f24 From Fogle Donna PA                        51.02
                                    S00468328466865210 Card 3166
     11126                          Money Transfer authorized on 11/24 From Fogle Donna PA                        17.97
                                    800588328539383743 Card 3166
     11/26                          Money Transfer authorized on 11f24 From Fogle Donna PA                        17.97
                                    800308328565564519 Card 3166
     11126                          Money Transfer authorized on 11/24 From Fogle Donna PA                        17.97
                                    800308328696999483 Card 3166
     11126                          Money Transfer authorized on 11f24 From Fogle Donna PA                        17.97
                                    800588328779461999 Card 3166
     11/26                          11/26Bankcard Depooit         9144                                        722.25
     11126                          Money Transfer authorized on 11/25 From Fogle Donna PA                    107.01
                                    $00308329550765615 Card 3166
     11!26                          11/26Bankcard Deposit -       9144                                        417.30
     11126                          Money Transfer authorized on 11/26 From Fogle Donna PA                        72.68
                                    800308330552367079 Card 3166
     11/26                          Stripe Transfer x                                                             54.45
     11126                          Money Transfer authorized on 11/26 From Fogle Donna PA                        35.94
                                    $00308330642369425 Card 3166
     11/26                          Purchase authorized on 11123 Google *Stealworks                                                   4.99
                                    G.CO/Helppay# CA $388328047595377 Card 3174
     11126                          Purchase authorized on 11126 Sunoco 08385015 Bradenton FL                                        17.01       2, 183.45
                                    P00000000176673474 Card 3166
     11127                          Money Transfer authorized on 11/27 From Fogle Donna PA                    123.28
                                    $00308331459203463 Card 3166
     11127                          Stripe Transfer x                                                             54.45
     11127                          Money Transfer authorized on 11/27 From Fogle Donna PA                        17.97
                                    800388331727764228 Cord 3166
     11127                          Money Transfer authorized on 11127 From Onebox Tv FL                      120.00
                                    800468331861177004 Card 3174
     11127                          Purchase authorized on 11125 WWW ..Alibaba. Com Delaware DE                                   1,125.25
                                    8308330004806773 Card 3174
     11127                          Purchase authorized on 11126 Turmericmedicines. 6025794918                                       67.98
                                    AZ 5588330661757473 Card 3174
     11127                          Fdgl Annual Fee 181127 052-1323765-000 Donna Fogle                                               10.20       1,295.72
                                    Oneboxtv
     11f28                          11/28Bankcard Deposit         9144                                        139.10




    Sheet Seq"' Cl150256
    Sheet 00003 cf OOQ04
                                                                                                                                REDE Page IOI of 181
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Account number:                   9888      • November 1, 2018 - November 30, 2018                   • Page 6 of 8




Transaction history (continued)
                           Check                                                                                    Deposits!        \!Wthdrawalsl          Ending dally
       Date               Number Description                                                                          Credits               Debits              balance
       11128                        Money Transfer authorized on 11f28 From Fogle Donna PA                             61.60
                                    500308332476928219 Card 3166
       11128                        Money Transfer authorized on 11/28 From Fogle Donna PA                              35.94
                                    800308332589047437 Card 3166
       11128                        Stripe Transfer x                                                                 145.20
       11128                        Money Transfer authorized on 11/28 From Fogle Donna PA                             17.97                                    1,695.53
                                    800468332803578721 Card 3166
       11/29                        11/29Bankcard Deposit           9144                                              374.50
       11129                        Money Transfer authorized on 11f29 From Fogle Donna PA                             71.87
                                    800588333483394201 Card 3166
       11f29                        Stripe Transfer x                                                                 127.66
       11129                        Money Transfer authorized on 11/29 From Fogle Donna PA                             35.94
                                    800308333661819740 Card 3166
       11129                        Money Transfer authorized on 11/29 From Fogle Donna PA                              25.66
                                    800468333710917409 Card 3166
       11129                        Money Transfer authorized on 11/29 From Fogle Donna PA                              25.66
                                    $00308333750047389 Card 3166
       11129                        Purchase authorized on 11129 Bradenton Bradenton FL                                                      20.04              2,336.78
                                    P00000000575243905 Card 3166
       11/30                        11/30Bankcard Deposit -       9144                                                187 .25
       11130                        Money Transfer authorized on 11f30 From Fogle Donna PA                             51.31
                                    800468334548716953 Card 3166
       11f30                        Stripe Transfer x                                                                   18.15
       11130                        Money Transfer authorized on 11/30 From Fogle Donna PA                              35.94                                   2,629.43
                                    S00588334631631133 Card 3166
       Ending balance on 11130                                                                                                                                 2,62'9.43
       Totals                                                                                                     $19,363.56           $18,923.67

       The Encfng Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on yo!K account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed,
       <:   Business to Business ACH:/f this is a business account, this transac/Jon has a return Ume frame of one business day from post date This /Jme frame does net.
            apply to consumer accounts.




Summary of checks written           (checks listed are also displayed in the preceding Transaction history)

       Number              Date                 Amount          Number            Dato                 Amount          Number             Date                  Amount
       1097                11!1                  670.00         1115              1112                 1,385.00        1118               11/23                     632.50
       1098                1111                  650.00         1116              11/13                 687.50         1119               11/15                     657.50
       1114.               1116                  697.00         1117              11114                   80.00

        " Gap in check sequence_



Monthly service fee summary

For a complete list of fees and detaHed account Information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Go to wellsfargo.comffeefaqfor a link to these documents. and answers
to common monthly service fee questions.


       Fee period 11/01f2018-11130/2018                                                     Standard monthly service fee $14.00                   You paid $0.00

       How to avoid the monthly service fee                                                                   Minimum required                    This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                      $7,500,00                       $1,049.oo    D
           A qualifying transaction from a linked Wells Fargo Business Payroll Services                                        1                                OD
           account
           A qualifying transaction from a linked Wells Fargo Merchant Services account                                          1                             21   G
           Total number of posted Wells Fargo Debit Card purchases and/or payments                                              10                             31 [!]
                                                                                                                      REDE Page 102 ofl81
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Monthly service fee summary (continued)
      How to avoid the monthly service fee                                                             Minimum required                 This fee period
          Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                   1                           OD
          Combined balances in linked accounts, whieh may include                                             $10,000.00                                  D
            Average ledger balances in business checking, savings, and time accounts
            Most recent statement balance in eligible Wells Fargo business credit cards and
             lines of credit, and combined average daily balances from the previous month
             in eligible Wells Fargo business and commercial loans and lines of credit
             For complete details on how you can avoid the monthly service fee based on
             your combined balances please refer to page 7 of the Business Account Fee and
             Information Schedule at WWN. wellsfargo. oomtbiz/fee-information




Account transaction fees summary
                                                                                        Units        Excess      Service charge per               Total senil'ce
      Service charge description                                 Units used          induded          units         excess units($)                 charge($)
      Cash Deposited($)                                                 300              7,500           0                    0.0030                       0.00
      Transactions                                                       44               200            0                       0.50                      0.00
      Total service charges                                                                                                                               $0.00




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    Sheet 00004 cf OOQ04
                                                                                                                               REDE Page 103 of 181
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Account number:                             9888      • November 1, 2018 - November 30, 2018        • Page 8 of 8




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts              You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the        information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft         an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                    Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                     Total amount $




@2010 Wells Fargo Bank, NA. All   right~   reserved Member FDIC. NMLSR ID 399801
                                                                                                                                 REDE Page 104 ofl81
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Wells Fargo Business Choice Checking
Account number:                  9888        • December 1, 2018 - December 31, 2018                  •   Page 1 of 10




                                                                                                           Questions?
ONE BOX TV, LLC                                                                                            Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST STE
                                                                                                             1-800-CALL-WELLS                (1-800-225-5935)

BRADENTON FL 34208-3501                                                                                      TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (287)
                                                                                                                    P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Since August 2003, the Wells Fargo/Gallup Small Business Index has suiveyed                               A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 small business owners on current and future perceptions of their business
                                                                                                           cell the numbf!1r above if you have queslions or if you would
 financial situation. View the latest results at wellsfargoworks.com.
                                                                                                           like to add new services.

                                                                                                           Business Online Banking                               0
                                                                                                           Online Statements                                     0
                                                                                                           Business Bill Pay                                     0
                                                                                                           Business Spending Report                              0
                                                                                                           Overdraft Protection                                  D


Activity summary                                                                                            Account number:              9888
        Beginning balance on 1211                                      $2,629.43                            ONE BOX TV, LLC
        Deposits/Credits                                               25,419.43                            Flor/de account terms end conditions ffipply
        Withctawals!Debits                                           - 24,515.64                            For Direct Deposit use
        Ending balance on 1.2f31                                      $3,533.22                             Routing Number (RTN): 063107513
                                                                                                            For Wire Transfers use
        Average ledger balance this period                             $2,073.52                            Routing Number (RTN): 121000248



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (.!67)
      Sheet Seq"' Cl222257
      Sheet 00001 cf OOQOS
                                                                                                              REDE Page 105 of 181
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Account number:         9888      • December 1, 2018 - December 31, 2018               • Page 2 of 10




Transaction history

                   Check                                                                          Deposits!       Withdrawals/   Ending daily
     Date         Number Description                                                                Credits             Debits       balance
     1213           1120 Check                                                                                          465.00
     1213           1121 Check                                                                                        1,385.00
     1213                  Money Transfer authorized on 11/30 From Fogle Donna PA                    17.68
                           $00308335161864165 Card 3166
     1213                  12103Bankcard Deposit -       9144                                       575.66
     12/3                  Money Transfer authorized on 12/01 From Fogle Donna PA                    53.91
                           S00588335452403866 Card 3166
     1213                  Money Transfer authorized on 12!01 From Fogle Donna PA                    17.97
                           500468335514897058 Card 3166
     1213                  Money Transfer authorized on 12/01 From Fogle Donna PA                    71.87
                           S00308335617819697 Card 3166
     12/3                  Money Transfer authorized on 12!01 From Fogle Donna PA                    35.94
                           800308335669902842 Card 3166
     1213                  12/03Bankcard Deposit -      9144                                        736.16
     1213                  Money Transfer authorized on 12102 From Fogle Donna PA                    17.97
                           $00388336540964048 Card 3166
     1213                  Money Transfer authorized on 12102 From Fogle Donna PA                    37.53
                           800468336780982946 Card 3166
     1213                  ATM Check Deposit on 12102 7112 U.S Highway 301 Nort                     267.50
                           Ellenton FL 0008967 ATM ID 65348 Card 3166
     12!3                  Money Transfer authorized on 12!02 From Fogle Donna PA                    17.97
                           $00468336817673503 Card 3166
     1213                  12!03Bankcard Deposit          9144                                    1,046.69
     12/3                  Money Transfer authorized on 12!03 From Fogle Donna PA                    71.87
                           800468337460526175 Card 3166
     1213                  Money Transfer authorized on 12/03 From Fogle Donna PA                    61.60
                           S0046833757610107S Card 3166
     1213                  Stripe Transfer x                                                         73.25
     1213                  Money Transfer authorized on 12!03 From Fogle Donna PA                    17.97
                           $00468337632866834 Card 3166
     1213                  Money Transfer authorized on 12103 From Fogle Donna PA                    17.97
                           $00468337766045202 Card 3166
     1213                  Purchase authorized on 11130 Dhgate 284125627 Redhill Gbr                                     26.40
                           $308335010223105 Card 3166
     1213                  Purchase authorized on 11130 Dhgate 387551966 Redhill Gbr                                     36.40
                           $308335057505828 Card 3166
     1213                  Purchase authorized on 12103 The UPS Store #2744 89 Parrish FL                               217.75
                           P00000000339686149 Card 3166
     1213                  Purchase authorized on 12103 7-Eleven Parrish FL                                              35.01       3,603.38
                           P00000000086115560 Card 3166
     1214                  Money Transfer authorized on 12!04 From Fogle Donna PA                   125.78
                           $00468338457928880 Card 3166
     1214                  Money Transfer authorized on 12104 From Fogle Donna PA                    35.94
                           $00388338491401476 Card 3166
     1214                  Money Transfer authorized on 12!04 From Fogle Donna PA                    53.91
                           $00308338567767290 Card 3166
     1214                  Stripe Transfer x                                                        163.35
     12/4                  Money Transfer authorized on 12104 From Fogle Donna PA                    17.97
                           800588338639714549 Card 3166
     12!4                  Money Transfer authorized on 12!04 From Fogle Donna PA                    66.70
                           S00468338814134485 Card 3166
     1214                  Purchase authorized on 12102 Pizz.a Hut 46070004 941-7470777                                  29.34
                           FL 5388336591207550 Card 3166
     1214                  Purchase authorized on 12/02WWW.Alibaba.Com Delaware DE                                    1.135.54
                           8468337015195570 Card 3174
     12f4                  Recurring Payment authorized on 12103 Phone.Com 9475542                                       84.61
                           WWW.Phone.Com CA S3S8337329571685Card 3166
     1214                  Purchase authorized on 12/03 Dnh~Godaddy.Com 480-5058855                                      21.34
                           AZ 5308337717949894 Card 3166
                                                                                                                        REDE Page 106 ofl81
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Transaction history (continued)
                            Check                                                                           Deposits!       \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                                 Credits              Debits       balance
     1214                           Purchase authorized on 12f03 Dnh~Godaddy.Com 480-5058855                                       19.98
                                    AZ 5588337719866794 Card 3166
     1214                           Cash eWithdrawal in Branch/Store 12!0412018 3:20 Pm 1510                                    2.251.76
                                    Cortez Rd W Bradenton FL 3166
     1214                           Purchase authorized on 12f04 USPS PO 11721502 520 7th                                          10.34         514. 12
                                    Palmetto FL P00468338781058779 Card 3174
     1215                           12/05Bankcard Deposit      9144                                           374.50
     1215                           Money Transfer authorized on 12105 From Fogle Donna PA                     97.53
                                    $00388339479347802 Card 3166
     1215                           Stripe Transfer x                                                         216.95
     12f5                           Paypal Transfer 181205 1004430776272 Donnafogle Oneboxtv                   18.15
     1215                           Paypal Transfer 181205 1004432065201 Donnafogle Oneboxtv                   36.30                           1,257.55
     1216                           Money Transfer authorized on 12f05 From Onebox Tv FL                      120.00
                                    500568340106409622: Card 3174
     1216                           12/06Bankcard Deposit         9144                                        909.50
     1216                           Money Transfer authorized on 12106 From Fogle Donna PA                     89.84
                                    $00468340580164351 Card 3166
     1216                           Stri e Transfer x                                                          81.52
     1216                           Paypal Transfer 181206 1004438479930 Donnafogle Oneboxtv                   54.45
     1216                           Money Transfer authorized on 12106 From Fogle Donna PA                     35.94                           2,546.80
                                    $00388341035338400 Card 3166
     1217                         12107Bankcard Deposit -       9144                                          187.25
     12/7                         Stripe Transfer x                                                           108.71                           2,844.76
     12110                        Transferwise Inc Oneboxtv 161207 54982185 Oneboxtv                                              527.56
     12f10                   1122 Check                                                                                           878.00
     12110                        12110Bankcard Deposit         9144                                          722.25
     12110                        Money Transfer authorized on 12/08 From Fogle Donna PA                       71.87
                                    800388342462730716 Card 3166
     12/10                          12110Bankcard Deposit         9144                                        749.00
     12110                          Money Transfer authorized on 12109 From Fogle Donna PA                     35.94
                                    $00468343544534333 Card 3166
     12110                          Money Transfer authorized on 12110 From Fogle Donna PA                     35.94
                                    $00588344451904515 Card 3166
     12110                          Money Transfer authorized on 12110 From Fogle Donna PA                     35.94
                                    S00388344491365769 Card 3166
     12110                          Money Transfer authorized on 12110 From Fogle Donna PA                     66.30
                                    $00588344574653091 Card 3166
     12110                          Stripe Transfer x                                                          36.30
     12110                          Money Transfer authorized on 12/10 From Fogle Donna PA                     17.97
                                    800468344673090828 Card 3166
     12/10                          Purchase authorized on 12f07 Touchsuite 800- 793-3250 FL                                      560.00
                                    S468341644844360 Card 3174
     12110                          Purchase authorized on 12/07 WWW .Alibaba. Com Delaware DE                                  1,125.25
                                    S588342040963227 Card 3174
     12110                          Purchase authorized on 12f10 7-Eleven Parrish FL                                               20.08       1,505.38
                                    P00000000573335695 Card 3166
     12/11                          Money Transfer authorized on 12/11 From Fogle Donna PA                     17.97
                                    800388345469779854 Card 3166
     12111                          Stripe Transfer x                                                         145.20
     12111                          Money Transfer authorized on 12111 From Fogle Donna PA                     35.94
                                    $00388345697593323 Card 3166
     12111                          Purchase authorized on 12111 USPS PO 11679502 2333 53R                                          5.64       1,698.85
                                    Oneco FL P00468345773S97 460 Card 317 4
     12112                          Money Transfer authorized on 12111 From Onebox Tv FL                      120.00
                                    S00588346076246207 Card 3174
     12112                          Money Transfer authorized on 12111 From Fogle Donna PA                     17.97
                                    $00388346094098118 Card 3166
     12112                          Money Transfer authorized on 12112 From Fogle Donna PA                     71.87
                                    S00588346494342385 Card 3166
     12112                          Stripe Transfer x                                                         443.37
     12f12                          Money Transfer authorized on 12r12 From Fogle Donna PA                     17.97
                                    S00588346622061759 Card 3166




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Transaction history (continued)
                   Check                                                                           Deposits!       \!Wthdrawalsl   Ending dally
     Date         Number Description                                                                 Credits              Debits       balance
     12112                 Money Transfer authorized on 12f12 From Fogle Donna PA                     17.97
                           500388346689580136 Card 3166
     12112                 Purchase authorized on 12/10 WWW .Alibaba. Com Delaware DE                                  1.125.25
                           8308345120314629 Card 3174
     12112                 Purchase authorized on 12f10 WWW.Allbaba.Com Delaware DE                                      107.07
                           5588345130596412 Card 3174
     12112                 Bankcard Fee -       9144                                                                      62.00
     12112                 Bankcard Interchange Fee-       9144                                                          132.77
     12112                 Bankcard Discount Fee-       9144                                                             269.10
     12112               Purchase authorized on 12112 7-Eleven Parrish FL                                                 30.04         661.77
                         P00000000539335227 Card 3166
     12113               Purchase Return authorized on 12f11 Touchsuite 800-793-3250                 120.00
                         FL 5468345774890677 Card 3174
     12113               12113Bankcard Deposit           9144                                        722.25
     12113               Money Transfer authorized on 12/13 From Fogle Donna PA                       17.97
                         800468347412189030 Card 3166
     12/13               Money Transfer authorized on 12/13 From Fogle Donna PA                       17.97
                         800308347519134828 Card 3166
     12113               Money Transfer authorized on 12/13 From Fogle Donna PA                       17.97
                         500588347559048049 Card 3166
     12113               Money Transfer authorized on 12/13 From Fogle Donna PA                       17.97
                         800468347657465430 Card 3166
     12/13               Stripe Transfer x                                                            98.25
     12113               Purchase authorized on 12113 Wal-Mart Super Center Palmetto                                     296.98       1,377.17
                         FL P00000000687487911card3174
     12114               12114Bankcard Deposit           9144                                      1,738.75
     12114               Stripe Transfer x                                                            54.45                           3, 170.37
     12117          1123 Check                                                                                           530.00
     12/17               12117Bankcard Deposit           9144                                        374.50
     12117               Money Transfer authorized on 12115 From Fogle Donna PA                       97.53
                         500468349457493792 Card 3166
     12!17               Money Transfer authorized on 12115 From Fogle Donna PA                       35.94
                         S00388349481048863 Card 3166
     12117               Money Transfer authorized on 12115 From Fogle Donna PA                       17.97
                         S00308349532796197 Card 3166
     12117               12117Bankcard Deposit           9144                                        879.75
     12117               Money Transfer authorized on 12!16 From Fogle Donna PA                       17.97
                         500388350469322773 Card 3166
     12117               Money Transfer authorized on 12/16 From Fogle Donna PA                       64.78
                         800468350526742620 Card 3166
     12/17               Money Transfer authorized on 12!16 From Onebox Tv FL                        120.00
                         800388350767645655 Card 3174
     12117               12117Bankcard Deposit -         9144                                        250.00
     12117               Money Transfer authorized on 12117 From Fogle Donna PA                       53.62
                         500308351498966913 Card 3166
     12117               Stripe Transfer x                                                            90.56
     12/17               Purchase authorized on 12/13 WWW ..AJibaba.Com Delaware DE                                    1,125.25
                         8308348007294807 Card 3174
     12117               Purchase authorized on 12!16 Speedway 06406 Bradenton FL                                         20.00       3,497.74
                         P00308351080885456 Card 3166
     12118               Transferwise Inc One Box Tv 181217 55963795 One Box Tv, LLC                                   1,225.20
     12118          1124 Check                                                                                            80.00
     12/18               Money Transfer authorized on 12118 From Fogle Donna PA                       35.94
                         800388352424790371 Card 3166
     12118               Money Transfer authorized on 12!18 From Fogle Donna PA                       35.94
                         500388352479342809 Card 3166
     12118               Stripe Transfer x                                                           161.89
     12118               Purchase authorized on 12116 WWW ..AJibaba.Com Delaware DE                                    1,125.25
                         $388351026702091 Card 3174
     12118               Purchase authorized on 12!18USPS PO 112625012605 72N                                             48.95       1,252.11
                         Ellenton FL P00588352782361513 Card 3174
     12119               Fpl Direct Debit Elec Pymt 12!18 3733077360 Telv Donna C Fogle                                  367.20
                                                                                                                          REDE Page 108 of 181
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Transaction history (continued)
                            Check                                                                             Deposits!       \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                                   Credits              Debits       balance
     12119                          Bankcard Mtot Dep 181218 5              8504 One Box Tv, LLC                633.59
     12/19                          Money Transfer authorized on 12119 From Fogle Donna PA                      105.22
                                    800468353606900949 Card 3166
     12119                          Stripe Transfer x                                                           163.16
     12119                          Purchase authoriZed on 12f19 The UPS Store 'lrl744 89 ParriSh FL                                 57.78       1,729.10
                                    P00000000285123888 Card 3174
     12120                          Bankcard Mtot Dep 181219 5              8504 One Box Tv, LLC                635.07
     12120                          Money Transfer authorized on 12120 From Fogle Donna PA                       71J37
                                    800588354493256317 Card 3166
     12120                          Money Transfer authorized on 12120 From Fogle Donna PA                       35.94
                                    $00388354506845813 Card 3166
     12120                          Money Transfer authorized on 12120 From Fogle Donna PA                       35.94
                                    800308354551781811Card3166
     12120                          Stripe Transfer x                                                            90.75
     12120                          Money Transfer authorized on 12/20 From Onebox Tv FL                        120.00
                                    800388354624098565 Card 3174
     12/20                          Purchase authorized on 12/20 USPS PO 11721502 520 7th                                             5.64
                                    Palmetto FL P00588354794088438 Card 3174
     12120                          Purchase authorized on 12/20 Palmetto Citgo Palmetto FL                                          20.00
                                    P00000000473624562 Card 3166
     12120                          Fdgl Lease Pymt 181220 052-1323765-000 Donna Fogle                                               39.22       2,653.81
                                    Oneboxtv
     12/21                      ..: Business to Business ACH Debit - Fla Dept Revenue C01                                           752.24
                                    67644607 One Box Tv LLC
     12f21                          Paypal lnst Xfer 181220 lpvanSh Oonnafogle Oneboxtv                                              77.99
     12121                   1125 Check                                                                                             725.00
     12121                          Money Transfer authorized on 12/20 From Fogle Donna PA                       35.94
                                    800308355013737194 Card 3166
     12/21                          Bankcard Mtot Dep 181220               8504 One Box Tv, LLC                 487.39
     12121                          Stripe Transfer x                                                            36.11
     12121                          Money Transfer authorized on 12/21 From Onebox Tv FL                        120.00
                                    500588355733254325 Card 3174
     12121                          Money Transfer authorized on 12!21 From Fogle Donna PA                       17.97                           1,795.99
                                    800468355828332871 Card 3166
     12/24                          Bankcard Mtot Dep 181221              08504 One Box Tv, LLC                 936.25
     12124                          Money Transfer authorized on 12122 From Fogle Donna PA                       35.94
                                    800468356456250352 Card 3166
     12124                          Money Transfer authorized on 12122 From Fogle Donna PA                       17.97
                                    800308356413418549 Card 3166
     12124                          Money Transfer authorized on 12122 From Fogle Donna PA                       17.97
                                    $00308356661697714 Card 3166
     12124                          Money Transfer authorized on 12122 From Onebox Tv FL                        120.00
                                    800308357038731815 Card 3174
     12124                          Money Transfer authorized on 12123 From Fogle Donna PA                       17.97
                                    800388357467442324 Card 3166
     12124                          Money Transfer authorized on 12123 From Fogle Donna PA                       17.97
                                    $00468357790600831 Card 3166
     12124                          Money Transfer authorized on 12123 From Onebox Tv FL                        120.00
                                    800588357853472683 Card 3174
     12124                          Bankcard Btot Oep 181223               8504 One Box Tv, LLC               2, 151.99
     12124                          Money Transfer authorized on 12/24 From Fogle Donna PA                       51.98
                                    500588358548026114 Cord 3166
     12124                          Stripe Transfer x                                                            89.90
     12124                          Money Transfer authorized on 12124 From Fogle Donna PA                       17.97
                                    500588358619652499 Card 3166
     12124                          Money Transfer authorized on 12124 From Fogle Donna PA                       35.94
                                    800588358740920229 Card 3166
     12124                          Money Transfer authorized on 12124 From Onebox Tv FL                        180.00
                                    800388358842157734 Card 3174
     12124                          Purchase authorized on 12116 Bright House Netwo 317-972-9700                                    140.69
                                    FL 5308351014127102 Card 3174




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Transaction history (continued)
                   Check                                                                            Deposits!       \!Wthdrawalsl   Ending dally
     Date         Number Description                                                                  Credits              Debits       balance
     12124                 Purchase authorized on 12f21 Bright HouseNetwo 317-972-9700                                    169.96
                           FL 5308355546626735 Card 3174
     12124                 Purchase authorized on 12/21 WWW.Alibaba.Com Delaware DE                                     1.601.91
                           8588355838466642 Card 3174
     12124                 Purchase authorized on 12f23 wawa 5258 Bradenton FL                                             20.01
                           P00308357507380536 Card 3166
     12124                 Purchase authorized on 12/23 Crowder Bros Ace Hrdwr                                            190.13       3,484.54
                           Bradenton FL P00000000477916432 Card 3174
     12126                 Paypal lnst Xfer 181223 1004575503718 Donnafogle Oneboxtv                                      595.00
     12126                 Money Transfer authorized on 12125 From Fogle Donna PA                      89.84
                           $00588359471002956 Card 3166
     12126                 Money Transfer authorized on 12125 From Fogle Donna PA                      17.97
                           $00388359560690816 Card 3166
     12126                 Money Transfer authorized on 12125 From Fogle Donna PA                      17.97
                           $00308359563884538 Card 3166
     12126                 Money Transfer authorized on 12125 From Fogle Donna PA                      47.77
                           $00468359709299435 Card 3166
     12126                 Money Transfer authorized on 12126 From Fogle Donna PA                      89.84
                           $00468360563133962 Card 3166
     12126                 Money Transfer authorized on 12126 From Fogle Donna PA                      17.97
                           $00588360596888596 Card 3166
     12126                 Stripe Transfer x                                                          162.50
     12/26                 Money Transfer authorized on 12/26 From Fogle Donna PA                      17.97
                           800588360636113827 Card 3166
     12f26                 Purchase authoriZed on 12f25 Dhgate Dhgate Gbr                                                 106.00
                           5636360545182098 Card 3166
     12126                 Lai Yue Ying lat Paypal 181226 1004588708354 Donnafogle                                        303.60       2,941.77
                           Oneboxtv
     12/27                 Transferwise Inc One Box Tv 181226 56899056 One Box Tv, LLC                                    586.40
     12127                 Money Transfer authorized on 12126 From Onebox Tv FL                       180.00
                           $00308361110926088 Card 3174
     12127                 Bankcard Mtot Dep 161226               8504 One Box Tv, LLC                449.60
     12127                 Money Transfer authorized on 12!27 From Fogle Donna PA                      35.94
                           800468361500738644 Card 3166
     12/27                 Money Transfer authorized on 12/27 From Fogle Donna PA                      35.94
                           800588361549903926 Card 3166
     12127                 Money Transfer authorized on 12!27 From Fogle Donna PA                      17.97
                           S00308361601212169 Card 3166
     12127                 Stripe Transfer x                                                          305.93
     12127                 Money Transfer authorized on 12127 From Fogle Donna PA                      51.31
                           $00468361783856909 Card 3166
     12127                 Purchase authorized on 12125 Dhgate 391834714 Redhill Gbr                                       22.10       3,410.16
                           $308359676999917 Card 3166
     12128                 Bankcard Mtot Dep 181227               8504 One Box Tv, LLC              1,898.04
     12128                 Money Transfer authorized on 12!28 From Fogle Donna PA                      43.63
                           800468362469295276 Card 3166
     12/28                 Money Transfer authorized on 12/28 From Fogle Donna PA                      35.94
                           800308362522411379 Card 3166
     12128                 Stripe Transfer x                                                          108.90
     12128                 Purchase authorized on 12126 Dhgate Dhgate Gbr                                                  38.20
                           $638362549316146 Card 3166
     12128               Purchase authorized on 12128 Circle K # 07629 8400 Parrish FL                                     25.00       5,433.47
                         P00000000883448974 Card 3166
     12131               Transferwise Inc One Box Tv 181228 57185683 One Box Tv, LLC                                    1,205.54
     12131          7126 Check                                                                                            580.00
     12131               Bankcard Mtot Dep 181228                 8504 One Box Tv, LLC                262.55
     12131               Money Transfer authorized on 12!29 From Fogle Donna PA                        43.63
                         500308363457795668 Card 3166
     12/31               Money Transfer authorized on 12/29 From Fogle Donna PA                        43.63
                           800308363513398849 Card 3166
     12f31                 Money Transfer authorized on 12f29 From Fogle Donna PA                      17.97
                           500308363541382116 Card 3166
                                                                                                                                 REDE Page 110of181
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Transaction history (continued)
                              Check                                                                                 Deposits!         \!Wthdrawalsl        Ending dally
       Date                  Number Description                                                                        Credits               Debits             balance
       12131                          Money Transfer authorized on 12f29 From Fogle Donna PA                            35.94
                                      500588363635044389 Card 3166
       12131                          Money Transfer authorized on 12/29 From Fogle Donna PA                            17.97
                                      800388363751675673 Card 3166
       12131                          Money Transfer authorized on 12f29 From Fogle Donna PA                            17.97
                                      800468363827325383 Card 3166
       12131                          Money Transfer authorized on 12/29 From Onebox Tv FL                            120.00
                                      500388364040548522 Card 3174
       12131                          Money Transfer authorized on 12!30 From Fogle Donna PA                            68.99
                                      800468364549029714 Card 3166
       12!31                          Money Transfer authorized on 12/30 From Fogle Donna PA                            17.97
                                      800308364646851956 Card 3166
       12131                          Bankcard Mtot Dep 181230               8504 One Box Tv, LLC                     803.71
       12131                          Money Transfer authorized on 12131 From Fogle Donna PA                          107 .61
                                      800588365513110319 Card 3166
       12131                          Stripe Transfer x                                                               145.81
       12/31                          Money Transfer authorized on 12/31 From Fogle Donna PA                           35.94
                                      800308365632856613 Card 3166
       12131                          Money Transfer authorized on 12/31 From Fogle Donna PA                            17.97
                                      500588365700252005 Card 3166
       12131                          Purchase authorized on 12/27 WWW ..Alibaba.Com Delaware DE                                           1,138.63
                                      5308361850434045 Card 3174
       12/31                          Purchase authorized on 12/27 Dhgate Dhgate Gbr                                                          76AO
                                      8638363581494701 Card 3166
       12f31                          Purchase authoriZed on 12r20 Dhgate Dhgate Gbr                                                        208.130
                                      5636364549120889 Card 3166
       12131                          Purchase authorized on 12/29 Dhgate Dhgate Gbr                                                        254.00
                                      8638365548374531 Card 3166
       12/31                          Purchase authorized on 12!31 Office Depot 00 4502 E. S                                                179.74
                                      Bradenton FL P00308365650060024 Card 3166
       12131                          Purchase authorized on 12/31 Pilot#0089 Ellenton FL                                                     15.00            3,533.22
                                      P00388365661628851 Card 3166
       Ending balance on 12'31                                                                                                                                3,533.22
       Totals                                                                                                     $25,419.43           $24,515,64
       The Encing Dfi/y Balance does not reflect any pending Wthdrawa/s or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insuffident available funds when a transaction posted, fees may have been assessed.
       .:;: Business to Business ACH:lf this 1s a business account, this transact!on has a return //me frame of one business day from post date This t!me frame does nci.
           apply   to consumer accounts.



Summary of checks written             (checks listed are a/so displayed in the preceding Transaction history)

       Number                Date                 Amount         Number           Doto                 Amount           Number            Date                 Amount
        1120                 1213                  465.00        1123             12117                 530.00          1125              12121                    725.00
        1121                 1213                 1,385.00       1124             12118                   80.00         7126.             12/31                    580.00
        1122                 12110                 878.00

        • Gap in check sequence.


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Go to wellsfargo.com/feefaqfor a link to these documents, and answers
to common monthly service fee questions.


       Fee period 12!01!2016-12131/2018                                                     Standard monthly service fee $14.00                   You paid $0.00




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Monthly service fee summary (continued)
      How to avoid the monthly service fee                                                              Minimum required                This fee period
      Have any ONE of the following account requirements
           Average ledger balance                                                                                $7,500.00                   $2,074.00 D
           A qualifying transaction from a linked Wells Fargo Business Payroll Services                                  1                            oD
           account
           A qualifying transaction from a linked Wells Fargo Merchant Services account                                                              16 [21
           Total number of posted Wells Fargo Debit Card purchases and/or payments                                      10                           40 [21
           Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                 1                            OD
           Combined balances in linked accounts, which may include                                              $10,000.00                                D
             Average ledger balances in business checking, savings, and ume accounts
             Most recent statement balance in eligible Wells Fargo business credit cards and
             lines of credit, and combined average daily balances from the previous month
             in eligible Wells Fargo business and commercial loans and lines of CA edit
             For complete details on how you can avoid the monthly service fee based on
             your combined balances please refer to page 7 of the Business Account Fee and
             Information Schedule at www.wellsfargo.com!biz/fee-information




Account transaction fees summary
                                                                                          Units        Exc&ss      S&rv1c9 charg9 p&r             Total s&rvic&
      Service charge description                                 Units used          induded            units         excess units($)               charge($)
      Cash Deposited($)                                                   0               7,500            0                 0.0030                        0.00
      Transactions                                                       50                 200            0                    0.50                       0.00
      Total service charges                                                                                                                               $0.00
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~IMPORTANT ACCOUNT INFORMATION
On January 7, 2019, we wHI add the capabllfty to receive real-time payments through the RTP;, system ('RTP System''). The agreement
governing your deposit account in the ''Funds transfer seivices" section of the Deposit Account Agreement is amended to include the
following provisions relating to your receipt of RTP payments.

Receiving RTP Payments
The following additional terms apply to any real-time payments we receive for credit to your account through the RTP System. The
terms "sender," "receiver," "sending bank," and "request for return of funds" are used here as defined in the system rules governing RTP
payments ('RTP Rules"). In addition to the RTP Rules, RTP payments will be governed by the laws of the state of New York, including
New York's version of Article 4A of the Uniform Commercial Code, as applicable, without regard to its conflict of laws principles
-The RTP System may be used only for eligible payments between a sender and receiver whose accounts are located in the United
States. RTP payments that are permitted under the RTP Rules and our requirements are considered eligible payments for purposes of
this Agreement.
- RTP payments are final and cannot be cancelled or amended by the sender. lfyou do not wish to accept an RTP payment received for
credit to your account, you may request that we return such payment to the sender. We may, at our sole discretion, attempt to honor
such request but will have no liability for our fa lure to do so.
- RTP payments are typically completed within thirty (30) seconds of transmission of the RTP payment by the sender, unless the RTP
payment fails or is delayed due to a review by us or the sending bank, such as for fraud, regulatmy, or compliance purposes.
Transaction limits imposed by the RTP System or sending bank may also prevent RTP payments from being sent to your account.


We are under no obligation to honor, in whole or in part, any payment order or other instruction that could result in our contravention
of applicable law, including, without limitation, requirements of the U.S. Department of the Treasury's Office of Foreign Assets Control
('OFAC") and the Flnanclal Crimes Enforcement Network ("FlnCEN").




We are adding the following clarification in the section of the Deposit Account Agreement titled ''Rights and   Responsib~ities"   under
1he subsection ''When can we close your account?'':


Important Information for Consumer and non-analyzed Business accounts with a zero balance: An account with a zero-balance
may be subject to automatic closure on the fee period ending date, depending on when the last qualifying transaction posted
to your account.

- In order to prevent automatic closure, an account with a zero-balance must have a qualifying, non-automatic transaction posted
within the last two months of the most recent fee period ending date. IOLTA and RETA accounts require a qualifying transaction within
ten months of the most recent fee period ending date.


- Examples of qualifying transactions are deposits or wthdrawals made at a banking locatfon, ATM, or via telephone, mobile deposts.
one-time transfers made at a banking location, ATM, on line, mobile, or via telephone, or checks paid from the account


- Automatic or electronic deposits, such as payroll, and automatic or electronic payments, including bill pay, recurring transfers, and
any bank-originated transactions, like monthly seivice or other fees, are not considered qualifying transactions for the purpose of
preventing closure of an account with a zero-balance.




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      Sheet 00005 cf OOQOS
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General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts              You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the        information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft         an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                    Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                     Total amount $




@2010 Wells Fargo Bank, NA. All   right~   reserved Member FDIC. NMLSR ID 399801
                                                                                                                                REDE Page 114of181
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Wells Fargo Business Choice Checking
Account number:                     9888     • January 1, 2019 - January 31, 2019 • Page 1 of 1O




                                                                                                          Questions?
ONE BOX TV, LLC                                                                                          Available by phone 24 hours a day, 7 days a week:
                                                                                                          Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST STE
                                                                                                           1-800-CALL-WELLS (1-800-225-5935)
BRADENTON FL 34208-3501                                                                                    TTY: 1-800-877-4833
                                                                                                           En espanol: 1-877-337-7454
                                                                                                          Online: wellsfargo.com/biz

                                                                                                          Write: Wells Fargo Bank, N.A. (287)
                                                                                                                 P.O. Box6995
                                                                                                                  Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                           Account options
 Since August 2003, the Wells Fargo/Gallup Small Business Index has suiveyed                             A check mark in the box indicates you have these convenient
                                                                                                         services with your account(s) Go to wellsfargo.com!b1z or
 small business owners on current and future perceptions of their business
                                                                                                         cell the numbf!1r above if you have queslions or if you would
 financial situation. View the latest results at wellsfargoworks.com.
                                                                                                         like to add new services.

                                                                                                         Business Online Banking                               0
                                                                                                         Online Statements                                     0
                                                                                                         Business Bill Pay                                     0
                                                                                                         Business Spending Report                              0
                                                                                                         Overdraft Protection                                  D



Other Wells Fargo Benefits

Apply for a Commercial Equity Line of Credit by March 31, 2019, and enjoy Wells Fargo Prime Rate on your balance for 12
months

Whetheryou're looking to fund property improvements, business expansion, or the purchase of large equipment or property -we're
here to help.


Wells Fargo offers up to $500,000 in secured real estate financing that can help you move your business forward. Enjoy easy access to
this Wells Fargo Prime Rate-based equity line of credit for up to 5 years, after which it will convert to an adjustable rate 15-yearloan for
a total term of 20 years.


Key benefits:
- Low closing costs with competitive rates
-1% origination fee due      at closing
- No application fees
- No appraisal fees




      (.!67)
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To learn more or apply, call us at 1-866-416-4320, Monday- Friday, 6:00 a.m. to 6:00 p.m. Pacific Time, or visit us on the web at
wellsfargo.com/bizfbusiness...creditfreal...estatelequity-line-of-creditl

Note: All financing fs subject to credit approval. Some restrtctions may apply.



Activity summary                                                                                            Account number:             9888
       Beginning balance on 1/1                                        $3,533.22                            ONE BOX lV, LLC
       Deposits/Credits                                                29, 145.32                           Aoiida acco11nt termis and conditions apply

       Withd-awals/Debits                                            - 28,253.73                            For Direct Deposit use
                                                                                                            Routing Number (RTN): 063107513
       Ending balance 011 1131                                        $4,424.81
                                                                                                            For Wire Transfers use
       Average ledger balance this period                              $2,253.71                            Routing Number (RTN): 121000248




Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




Transaction history

                           Check                                                                                     Deposits!         \llflthdrawa/sl      Ending daily
       Date               Number Description                                                                           Credits                   Debits         balance
        112                        Paypal Inst Xfer 181231 Unitedgloba Donnafogle Oneboxtv                                                     700.00
        112                        Money Transfer authorized on 01/01 From Fogle Donna PA                                17.97
                                   S00469001575488823 Card 3166
        112                        Money Transfer authorized on 01/01 From Fogle Donna PA                                17.97
                                   800389001650752925 Card 3166
        112                        Money Transfer authorized on 01/01 From Onebox Tv FL                                120.00
                                   S00389001652126798 Card 3174
        112                        Money Transfer authorized on 01/01 From Fogle Donna PA                                17.97
                                   $00389002009098333 Card 3166
        112                        Money Transfer authorized on 01/01 From Onebox Tv FL                                120.00
                                   800389002077434824 Card 3174
        112                        Money Transfer authorized on 01102 From Fogle Donna PA                               61.60
                                   800389002459165046 Card 3166
        112                        Money Transfer authorized on 01/02 From Fogle Donna PA                                17.97
                                   S00589002486373038 Card 3166
        112                        Money Transfer authorized on 01/02 From Fogle Donna PA                                17.97
                                   800469002595127840 Card 3166
        112                        Stripe Transfer x                                                                     54.45
        112                        Purchase authorized on 12f30 Dhgate.Com 20181231-0658 Gbr                                                    60.60
                                   5308364827317495 Card 3166
        112                        Purchase authorized on 12f30 Dhgate Dhgate Gbr                                                               80.20
                                   8639001549696602 Card 3166
        112                       Purchase authorized on 01f02 USPS PO 11262501 2605 72N                                                        13.65
                                  Ellenton FL P00589002786751089 Card 3174
        112                       Shanghai Lowen T lat Paypal 190102 1004639187587                                                              31.98
                                  Donnatogle Oneboxtv
        112                     < Business to Business ACH Debit- Bankcard Mtot Disc 181231                                                    219.45           2,873.24
                                               8504 One Box Tv, LLC
        113                  1128 Check                                                                                                     1,383.75
        113                       Bankcard Mtot Dep 190102               8504 One Box Tv, LLC                          691 .35
        113                       Money Transfer authorized on 01f03 From Fogle Donna PA                               163.34
                                   800389003493438774 Card 3166
        113                        Money Transfer authorized on 01f03 From Fogle Donna PA                                35.94
                                   800589003503680433 Card 3166
        113                        Money Transfer authorized on 01f03 From Fogle Donna PA                                35.94
                                   500589003559690784 Card 3166
                                                                                                               REDE Page 116of181
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Transaction history (continued)
                            Check                                                                  Deposits!      \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                        Credits             Debits       balance
     113                            Money Transfer authorized on 01f03 From Fogle Donna PA            17.97
                                    500389003586336294 Card 3166
     113                            Stripe Transfer x                                                526.60
     113                            Money Transfer authorized on 01/03 From Fogle Donna PA            17.97
                                    $00389003745715394 Card 3166
     113                            Cash eWithdrawal in Branch/store 01f03f2019 4:23 Pm 1510                          2,270.00
                                    Cortez Rd W Bradenton FL 3174
     113                        < Business to Business ACH Debit - Authnet Gateway Billing                               24.68         683.92
                                    x:xxxx5379 One Box Tv LLC
     114                            Paypal lnst Xfer 190103 Norton Donnafogle Oneboxtv                                  116.59
     114                            Bankcard Mtot Dep 190103               8504 One Box Tv, LLC      309.51
     114                            Money Transfer authorized on 01/04 From Fogle Donna PA            71.87
                                    $00389004463782502 Card 3166
     114                            Money Transfer authorized on 01/04 From Fogle Donna PA            17.97
                                    $00589004495946409 Card 3166
     114                            Money Transfer authorized on 01/04 From Fogle Donna PA            17.97
                                    $00389004549727564 Card 3166
     114                            Money Transfer authorized on 01/04 From Fogle Donna PA            43.63
                                    $00389004574687205 Card 3166
     114                            Stripe Transfer x                                                 90.75
     114                            Money Transfer authorized on 01f04 From Fogle Donna PA            35.94
                                    800389005065320594 Card 3166
     114                            Payped Transfer 190104 42Q22Anwqlssy Donnafogle Oneboxtv         595.00
     114                            Recurring Payment authorized on 01/02 Phone.Com 9514479                              58.58
                                    WWW.Phone.Com CA 5389003264726546 Card 3166
     114                            Purchase authorized on 01104 7-Eleven Parrish FL                                     30.02       1,661.37
                                    P00000000884078643 Card 3166
     117                     1127 Check                                                                                 842.00
     117                            Paypal lnst Xfer 190104 1004657637786 Oonnafogle Oneboxtv                           100.00
     117                            Money Transfer authorized on 01/04 From Onebox Tv FL             120.00
                                    $00469005088819156 Card 3174
     117                            Bankcard Mtot Dep 190104               8504 One Box Tv, LLC      183.79
     117                            Money Transfer authorized on 01f05 From Fogle Donna PA            89.84
                                    800589005469789540 Card 3166
     117                            Money Transfer authorized on 01105 From Fogle Donna PA            71.87
                                    800389005571318583 Card 3166
     117                            Money Transfer authorized on 01f05 From Fogle Donna PA            17.97
                                    S00309005703189183 Card 3166
     117                            Bankcard Btot Dep 190106               8504 One Box Tv, LLC    3,373.60
     117                            Money Transfer authorized on 01/07 From Fogle Donna PA            71.87
                                    S00309007496779270 Card 3166
     117                            Stripe Transfer x                                                 90.75
     117                            Purchase authorized on 01105 360*Sitelock480-50 877-2579263                          53.00       4,686.06
                                    AZ S469005550439879 Card 3166
     118                            Money Transfer authorized on 01f08 From Fogle Donna PA            24.06
                                    800469008490311787 Card 3166
     118                            Stripe Transfer x                                                163.35
     118                            Money Transfer authorized on 01/08 From Onebox Tv FL             180.00
                                    $00469008624880807 Card 3174
     118                            Paypal Transfer 190108 1004687332415 Donnafogle Oneboxtv          18.15
     118                            Purchase authorized on 01/06 WWW.Alibaba.Com Delaware DE                          1,442.33
                                    5469007012285937 Card 3174
     118                            Purchase authorized on 01108 USPS PO 11262501 2605 72N                               18.18
                                    Ellenton FL P00589008792177866 Card 3174
     118                            United Fin Cas Ins Prem 190108 02823358 One B One Box Tv LLC                        157.00       3,454. 11
     119                            Bankcard Mtot Oep 190108               8504 One Box Tv, LLC      253.24
     119                            Money Transfer authorized on 01f09 From Fogle Donna PA           102.52
                                    500309009468269099 Card 3166
     119                            Stripe Transfer x                                                662.32
     119                            Money Transfer authorized on 01/09 From Fogle Donna PA            35.94
                                    S00309009759087001 Card 3166




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Transaction history (continued)
                   Check                                                                 Deposits!       \!Wthdrawalsl   Ending dally
     Date         Number Description                                                       Credits              Debits       balance
     119                  Purchase authorized on 01f07 WWW ..Alibaba.Com Delaware DE                         1,226.76
                          5389008066754737 Card 3174
     119                  Clwer App Mrkt Clover App 190109 899-9217558-000 One Box                              50.65       3,230.72
                          Tv LLC
     1!10                 TransferWlse Inc One Box: Tv 190109 55561559 One Box Tv, LLC                       1,231.79
     1110                 Bankcard Mtot Oep 190109               8504 One Box Tv, LLC      286.50
     1110                 Money Transfer authorized on 01/10 From Fogle Donna PA            35.94
                          500469010477988341 Card 3166
     1110                 Money Transfer authorized on 01f10 From Fogle Donna PA            17.97
                          800389010591454260 Card 3166
     1!10                 Stripe Transfer x                                                235.95
     1110                 Money Transfer authorized on 01/10 From Fogle Donna PA            17.97
                          $00469010744740775 Card 3166
     1110                 Purchase authorized on 01108 Dhgate.Com 20190109-0318 0br                             45.05
                          $309008695234346 Card 3166
     1110                Purchase authorized on 01110 7-Eleven Parrish FL                                       20.02       2,528.19
                         P00000000575956994 Card 3166
     1111                Lai Yue Ying lat Paypal 190109 1004697821396 Donnafogle                               905.00
                         Oneboxtv
     1111           1129 Check                                                                                 430.00
     1111                Bankcard Mtot Dee: 190110              8504 One Box Tv, LLC       619.06
     1111                Money Transfer authorized on 01/11 From Fogle Donna PA             53.91
                         800589011460177300 Card 3166
     1111                Money Transfer authorized on 01/11 From Onebox Tv FL              120.00
                         S00389011545046401Card3174
     1111                Stripe Transfer x                                                  80.37
     1111                Recurring Payment authorized on 01/10 Apl ..ltunes.Com/Sil                              9.89
                          800-275-2273 CA 8469010447559984 Card 3186
     1111                 Bankcard Fee -        9144                                                            59.72
     1111                 Bankcard Interchange Fee-         9144                                               145.72
     1111                 Bankcard Discount Fee-         9144                                                  177.90       1,673.30
     1114                 Purchase Return authorized on 12!01 Dhgate 284125627 Redhill      26AO
                          Gbr $639013544694883 Card 3166
     1114                 Money Transfer authorized on 01/11 From Fogle Donna PA            35.94
                          800389012105210083 Card 3166
     1114                 Bankcard Mtot Dep 190111               8504 One Box Tv, LLC       55.93
     1114                 Money Transfer authorized on 01f12 From Fogle Donna PA            53.91
                          S00389012447216826 Card 3166
     1114                 Money Transfer authorized on 01/12 From Fogle Donna PA            17.97
                          800589012414003415 Card 3166
     1114                 Money Transfer authorized on 01f12 From Onebox Tv FL             120.00
                          800389012650179996 Card 3174
     1114                 Money Transfer authorized on 01/13 From Fogle Donna PA            17.97
                          S00589013492165167 Card 3166
     1114                 Money Transfer authorized on 01f13 From Fogle Donna PA            17.97
                          800469013822405822 Card 3166
     1114                 Bankcard Mtot Dep 190113               8504 One Box Tv, LLC      370.58
     1114                 Money Transfer authorized on 01/14 From Fogle Donna PA            71.87
                          $00589014459385718 Card 3166
     1114                 Money Transfer authorized on 01114 From Fogle Donna PA            35.94
                          $00389014508138747 Card 3166
     1114                 Stripe Transfer x                                                116AO
     1114                 Money Transfer authorized on 01114 From Fogle Donna PA            72.76
                          800309014817739499 Card 3166
     1114                 Purchase authorized on 01110 Popis Place IV Ellenton FL                               45.18
                          S309011044879997 Card 3174
     1114                 Purchase authorized on 01f12WWW ..Alibaba.Com Delaware DE                          1,543.23       1,098.53
                          5469013092045929 Card 3174
     1115                 Bankcard Mtot Dep 190114               8504 One Box Tv, LLC    1,538.55
     1115                 Money Transfer authorized on 01/15 From Fogle Donna PA            35.65
                          S00589015526533131 Card 3166
     1115                 Stripe Transfer x                                                 54.45
                                                                                                                 REDE Page 118 of 181
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Transaction history (continued)
                            Check                                                                    Deposits!       \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                          Credits              Debits       balance
     1115                           Money Transfer authorized on 01f15 From Fogle Donna PA              17.97                           2,745.15
                                    500389015785794207 Card 3166
     1116                    1130 Check                                                                                    645.00
     1116                           Bankcard Mtot Dep 190115               6504 One Box Tv, LLC        445.64
     1!16                           Stripe Transfer x                                                  306.71
     1116                           Money Transfer authorized on 01/16 From Fogle Donna PA              35.94
                                    800589016713327796 Card 3166
     1/16                           Money Transfer authorized on 01/16 From Onebox Tv FL               180.00                           3,068.44
                                    800389016791560451 Card 3174
     1117                           Bankcard Mtot Dep 190116               8504 One Box Tv, LLC        928.09
     1!17                           Money Transfer authorized on 01/17 From Fogle Donna PA              35.94
                                    800589017499683817 Card 3166
     1117                           Money Transfer authorized on 01!17 From Fogle Donna PA              17.97
                                    500589017604272672 Card 3166
     1117                           Stripe Transfer x                                                   18.15
     1117                           Money Transfer authorized on 01/17 From Fogle Donna PA              17.97
                                    $00589017823817166 Card 3166
     1117                           Purchase authorized on 01117 Shell Service station Palmetto FL                          35.00       4,051.56
                                    P00469017807762566 Card 3166
     1118                           Transferwise Inc One Box Tv 190117 59576346 One Box Tv, LLC                          1,236.07
     1118                           Bankcard Mtot Dee: 190117              8504 One Box Tv, LLC        260.20
     1118                           Money Transfer authorized on 01/18 From Fogle Donna PA              87.25
                                    800309018490221594 Card 3166
     1118                           Money Transfer authorized on 01/18 From Fogle Donna PA              35.94
                                    $00309018613794147 Card 3166
     1118                           Stripe Transfer x                                                  108.90
     1118                           Money Transfer authorized on 01/18 From Fogle Donna PA              17.97
                                    800469018732345331 Card 3166
     1118                           Money Transfer authorized on 01f18 From Fogle Donna PA             124.67
                                    800469018820782153 Card 3166
     1118                           Purchase authorized on 01/16 WWW.Alibaba.Com Delaware DE                             1,543.23       1,907.19
                                    S589017060318601 Card 3174
     1122                           Money Transfer authorized on 01f18 From Onebox Tv FL               120.00
                                    800309019089243178 Card 3174
     1122                           Bankcard Mtot Oep 190118               8504 One Box Tv, LLC         99.45
     1122                           Money Transfer authorized on 01/19 From Fogle Donna PA              35.94
                                    800589019460067788 Card 3166
     1122                           Money Transfer authorized on 01/19 From Fogle Donna PA              35.94
                                    800589019477628747 Card 3166
     1122                           Money Transfer authorized on 01/19 From Fogle Donna PA              17.97
                                    $00389019495322353 Card 3166
     1122                           Money Transfer authorized on 01/19 From Fogle Donna PA              53.91
                                    800389019570875295 Card 3166
     1122                           Money Transfer authorized on 01119 From Onebox Tv FL               180.00
                                    800469020081592708 Card 3174
     1122                           Money Transfer authorized on 01/21 From Fogle Donna PA              53.91
                                    $00389021483062230 Card 3166
     1122                           Money Transfer authorized on 01/21 From Fogle Donna PA              17.97
                                    800589021590032202 Card 3166
     1122                           ATM Cash Deposit on 01/21 7112 U.S Highway 301 Nort Ellenton     1,000.00
                                    FL 0006485 ATM ID 65348 Card 3166
     1122                           Bankcard Mtot Dcp 190120               8504 One Box Tv, LLC      2,377. 11
     1122                           Money Transfer authorized on 01122 From Fogle Donna PA              35.94
                                    800589022504173630 Card 3166
     1122                           Money Transfer authorized on 01122 From Fogle Donna PA             120.52
                                    S00389022561666193 Card 3166
     1122                           Stripe Transfer x                                                   90.75
     1122                           Purchase authorized on 01118 Payless Bradenton Bradenton FL                            301.00
                                    8389018697069207 Card 3166
     1122                           Purchase authorized on 01119 AT&T 3Ens 16336 Sarasota FL                                47.87
                                    5389019702125229 Card 3166




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Transaction history (continued)
                   Check                                                                     Deposits!      \!Wthdrawalsl   Ending dally
     Date         Number Description                                                           Credits             Debits       balance
     1122                   Purchase authorized on 01f19 AT&T 3Ens 16336 Sarasota FL                               87.50
                            5589019706142659 Card 3166
     1122                   Purchase authorized on 01/20 WWW.Alibaba.Com Delaware DE                            1.949.88
                            8309021019374241 Card 3174
     1122                   Purchase authorized on 01f20 Mlchelangelo Pizza Parrish FL                             50.00
                            5589021031029510 Card 3174
     1122                   Purchase authorized on 01/21 Turmericmedicines. 6025794918                             91.96
                            AZ 5589021691704270 Card 3174
     1122                   Purchase authorized on 01f22 The UPS Store #2744 89 Parrish FL                         32.35
                            P00000000289693322 Card 3166
     1!22                   Fdgl Lease Pymt 190122 052-1323765-000 Donna Fogle                                     39.22       3,546.82
                            Oneboxtv
     1123                   Paypal lnst Xfer 190120 Udemt Donnafogle Oneboxtv                                       1.84
     1123                ATT Payment 011819 231693001Col1F William Firestone                                      406.34
     1123                A TT Payment 011919 558156003Col1 G William Firestone                                    433.26
     1123              < Business to Business ACH Debit - Fla Dept Revenue C01                                    897.86
                         70046627 One Box Tv LLC
     1123                Bankcard Mtot Dee: 190122              8504 One Box Tv, LLC         1,494.41
     1123                Money Transfer authorized on 01/23 From Fogle Donna PA                 52.95
                         500589023469463761 Card 3166
     1123                Money Transfer authorized on 01f23 From Onebox Tv FL                  120.00
                            800309023521443068 Card 3174
     1!23                   Money Transfer authorized on 01/23 From Fogle Donna PA              52.95
                            800469023585040016 Card 3166
     1!23                   Stripe Transfer x                                                   36.11
     1123                   Purchase authorized on 01123 Thorntons # 704 9979 Prog                                 40.54       3,523.40
                            Riverview FL P00469023599616067 Card 3166
     1124                   Bankcard Mtot Dep 190123               8504 One Box Tv, LLC        507.94
     1!24                   Money Transfer authorized on 01f24 From Fogle Donna PA              71.87
                            800469024471536692 Card 3166
     1124                   Money Transfer authorized on 01/24 From Fogle Donna PA              17.97
                            S00389024490893462 Card 3166
     1124                   Money Transfer authorized on 01f24 From Fogle Donna PA              17.97
                            800389024519112808 Card 3166
     1!24                   Stripe Transfer x                                                  417.45
     1124                   Money Transfer authorized on 01/24 From Fogle Donna PA              17.97
                            $00469024694203657 Card 3166
     1124                   Purchase authorized on 01122 WWW.l>Jibaba.Com Delaware DE                           1,692.50
                            $389023024437563 Card 3174
     1124                   Purchase authorized on 01122 Rise Pies Sarasota FL                                     19.77
                            S309023043991455 Card 3174
     1124                   Purchase authorized on 01124 The UPS Store #2744 89 Parrish FL                         33.71       2,828.59
                            P00000000976752069 Card 3166
     1125                   Money Transfer authorized on 01/24 From Onebox Tv FL               120.00
                            $00469025111800726 Card 3174
     1125                   Bankcard Mtot Dep 190124               8504 One Box Tv, LLC        806.81
     1!25                   Money Transfer authorized on 01125 From Fogle Donna PA              89.84
                            800469025471999204 Card 3166
     1125                   Money Transfer authorized on 01f25 From Fogle Donna PA              35.94
                            500469025526704295 Card 3166
     1125                   Stripe Transfer x                                                  124.43
     1125                   Purchase authorized on 01125 Racctrac1 00 Bradenton FL                                 12.22
                            P00589025722581310 Card 3166
     1125                   Purchase authorized on 01125 WM Superc Wal-Mart Sup                                    10.77       3,982.62
                            Bradenton FL P00000000931903457 Card 3174
     1128           1131    Check                                                                                 650.00
     1128                   Money Transfer authorized on 01f25 From Onebox Tv FL               120.00
                            500589026112425922 Card 3174
     1!28                   Bankcard Mtot Dep 190125                8504 One Box Tv, LLC     1,061.39
     1128                   Money Transfer authorized on 01/26 From Fogle Donna PA              71.87
                            S00589026470677581 Card 3166
                                                                                                                REDE Page 120of181
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Account number:                  9888      • January 1, 2019 - January 31, 2019 • Page 7 of 10




Transaction history (continued)
                            Check                                                                   Deposits!      \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                         Credits             Debits       balance
     1128                          Money Transfer authorized on 01f26 From Fogle Donna PA              5U1
                                   500309026558327556 Card 3166
     1128                          Money Transfer authorized on 01/26 From Fogle Donna PA              35.94
                                   800589026639975586 Card 3166
     1!26                          Money Transfer authorized on 01f27 From Fogle Donna PA              43.63
                                   800469027486397303 Card 3166
     1128                          Money Transfer authorized on 01/27 From Fogle Donna PA              47.77
                                   500389027519583123 Card 3166
     1128                          Money Transfer authorized on 01f27 From Fogle Donna PA              17.97
                                   800309027652652091 Card 3166
     1!26                          Money Transfer authorized on 01/27 From Fogle Donna PA              17.97
                                   800309027809002404 Card 3166
     1128                          Bankcard Mtot Dep 190127 5             8504 One Box Tv, LLC        437.28
     1128                          Money Transfer authorized on 01/26 From Fogle Donna PA             123.20
                                   800589028515281979 Card 3166
     1128                          Money Transfer authorized on 01/28 From Fogle Donna PA              17.97
                                   $00389028526468366 Card 3166
     1128                          Money Transfer authorized on 01/28 From Onebox Tv FL               120.00
                                   800589028529928365 Card 3174
     1128                          Money Transfer authorized on 01/28 From Fogle Donna PA              17.97
                                   800309028531375577 Card 3166
     1128                          Money Transfer authorized on 01/28 From Fogle Donna PA              17.97
                                   800389028569283127 Card 3166
     1128                          Stri e Transfer x                                                   72.60
     1!28                          Purchase authoriZed on 01f25 Payless Bradenton 941- 741-4900                          193.05
                                   FL $309025733158372 Card 3166
     1128                          Purchase authorized on 01125 Texas Roadhouse #'2 Bradenton FL                          52.33
                                   8389026096460364 Card 3174
     1!28                          Purchase authorized on 01f25 WWW ..Alibaba.Com Delaware DE                          2,003.41
                                  8389026097245355 Card 3174
     1128                         Purchase authorized on 01127 7-Eleven Parrish FL                                        25.01       3,333.66
                                  P00000000174756698 Card 3166
     1129                    1132 Check                                                                                  160.00
     1129                          Bankcard Mtot Dep 190128               8504 One Box Tv, LLC         18.65
     1!29                          Money Transfer authorized on 01/29 From Fogle Donna PA              17.68
                                   800389029499971706 Card 3166
     1129                          Money Transfer authorized on 01f29 From Onebox Tv FL               120.00
                                   S003S9029542718481 Card 3174
     1129                          Money Transfer authorized on 01/29 From Fogle Donna PA              33.34
                                   800589029568958729 Card 3166
     1!29                          Stripe Transfer x                                                   36.30
     1129                          Purchase authorized on 01129 Dollar Tr 6144 US 301 Ellenton FL                          8.56       3,391.07
                                   P00000000883981190 Card 3174
     1130                          Transferwise Inc One Box Tv 190129 60684779 One Box Tv, LLC                         1,:240.55
     1130                          Paypal lnst Xfer 190129 1004831816163 Donnafogle Oneboxtv                             100.00
     1130                    1133 Check                                                                                  540.00
     1!30                          Money Transfer authorized on 01129 From Fogle Donna PA              17.97
                                   800389030114625461 Card 3166
     1130                          Bankcard Mtot Dep 190129               8504 One Box Tv, LLC        379.51
     1!30                          Money Transfer authorized on 01/30 From Fogle Donna PA              53.91
                                   800589030477317068 Card 3166
     1130                          Money Transfer authorized on 01/30 From Fogle Donna PA              35.94
                                   $00469030499839908 Card 3166
     1130                          Money Transfer authorized on 01/30 From Fogle Donna PA              53.91
                                   $00309030538087089 Card 3166
     1!30                          Money Transfer authorized on 01/30 From Fogle Donna PA              17.97
                                   800389030511527992 Card 3166
     1130                          Stripe Transfer x                                                  417.45                          2,487.18
     1131                          Money Transfer authorized on 01130 From Onebox Tv FL               180.00
                                   800589031148733191 Card 3174
     1!31                          Bankcard Mtot Dep 190130               8504 one Box Tv, LLC      1, 702.23




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    Sheet 00004 cf 00005
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Transaction history (continued)
                           Check                                                                                   Deposits!         \!Wthdrawalsl        Ending dally
       Date               Number Description                                                                         Credits                Debits            balance
       1131                        Money Transfer authorized on 01f31 From Fogle Donna PA                              53.91
                                   500309031499181918 Card 3166
       1131                        Stripe Transfer x                                                                  181.50
       1131                        Purchase authorized on 01131 Circle K # 07629 8400 Parrish FL                                            50.01
                                   P00000000377811134 Card 3166
       1131                        Paypal lnst Xfer 190131 1004851748309 Donnafogle Oneboxtv                                               130.00            4,424.81
       Ending balance on 1131                                                                                                                                4,424.81
       Totals                                                                                                    $29,145.32           $28,253.73
       The Encing Daily Balance does not reflect any pending !Mthdrawa/s or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed,
       < Business to Business ACH:lf this is a business account, this transactJon has a return ~me frame of one business day from post date This tJme frame does nr:t
          apply to consumer accounts.




Summary of checks written          (checks listed are a/so displayed in the preceding Transaction history)

       Number             Date                 Amount          Number            Dale                  Amount          Number            Date                 Amount
       1127                1/7                  842.00         1130              1116                   645.00         1132              1129                     160.00
       1128                1/3                 1,383.75        1131              1128                   650.00         1133              1130                     540.00
       1129                1111                 430.00


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Goto wellsfargo.com/feefaqfor a link to these documents, and answers
to common monthly service fee questions.


       Fee period 01f01f2019- 01!31/2019                                                     standard monthly service fee $14.00                You paid $0.00

       How to avoid the monthly service fee                                                                   Minimum required                  This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                      $7,500.00                     $2,254.00 D
              A qualifying transaction from a linked Wells Fargo Business Payroll Services                                                                    oD
              account
              A qualifying transaction from a linked Wells Fargo Merchant Services account                                                                    3G
              Total number of posted Wells Fargo Debit Card purchases and/or payments                                          10                            35["1
              Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                      1                            oo
              Combined balances in linked accounts, which may include                                                 $10,000.00                                  D
                Average ledger balances in business checking, savings, and time accounts
                Most recent statement balance in eligible Well& Fargo business credit cards and
                lines of credit, and combined average daily balances from the previous month
                in eligible Wells Fargo business and commercial loans and lines of credit
                For complete details on how you can avoid the monthly service fee based on
                your combined balances please refer to page 7of1he Business Account Fee and
                Information Schedule at www. wellsfargo.oomlbizffee-information
                                                                                                     REDE Page 122of181
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Account transaction fees summary
                                                                         Units       Excess     Se1111ce charge per   Total service
      Service charge description                        Units used    induded         units        excess units($)        charge($)
      Cash Deposited($)                                     1,000        7,500              0              0.0030              0.00
      Transactions                                             72          200              0                0.50              0.00
     Total service charges                                                                                                   $0.00




    Sheet Seq"' Cl155083
    Sheet 00005 cf 00005
                                                                                                                                REDE Page 123 of 181
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General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts              You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the         information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft          an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                     Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                      Total amount $




@2010 Wells Fargo Bank, NA. All   right~   reserved Member FDIC. NMLSR ID 399801
                                                                                                                                REDE Page 124of181
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Wells Fargo Business Choice Checking
Account number:                     9888     • February 1, 2019 - February 28, 2019             •   Page 1 of 8




                                                                                                          Questions?
ONE BOX TV, LLC                                                                                          Available by phone 24 hours a day, 7 days a week:
                                                                                                          Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST STE
                                                                                                           1-800-CALL-WELLS (1-800-225-5935)
BRADENTON FL 34208-3501                                                                                    TTY: 1-800-877-4833
                                                                                                           En espanol: 1-877-337-7454
                                                                                                          Online: wellsfargo.com/biz

                                                                                                          Write: Wells Fargo Bank, N.A. (287)
                                                                                                                 P.O. Box6995
                                                                                                                  Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                           Account options
 Visit wellsfargoworks.com to explore vkleos, articles, infographics. interactive                        A check mark in the box indicates you have these convenient
                                                                                                         services with your account(s) Go to wellsfargo.com!b1z or
 tools, and other resources on the topics of business growth, credit, cash flow
                                                                                                         cell the numbf!1r above if you have queslions or if you would
 management, business planning, technology, marketing, and more.
                                                                                                         like to add new services.

                                                                                                         Business Online Banking                               0
                                                                                                         Online Statements                                     0
                                                                                                         Business Bill Pay                                     0
                                                                                                         Business Spending Report                              0
                                                                                                         Overdraft Protection                                  D



Other Wells Fargo Benefits

Apply for a Commercial Equity Line of Credit by March 31, 2019, and enjoy Wells Fargo Prime Rate on your balance for 12
months

Whetheryou're looking to fund property improvements, business expansion, or the purchase of large equipment or property -we're
here to help.


Wells Fargo offers up to $500,000 in secured real estate financing that can help you move your business forward. Enjoy easy access to
this Wells Fargo Prime Rate-based equity line of credit for up to 5 years, after which it will convert to an adjustable rate 15-yearloan for
a total term of 20 years.


Key benefits:
- Low closing costs with competitive rates
-1% origination fee due      at closing
- No application fees
- No appraisal fees




      (.!67)
      Sheet Seq"' Cl180307
      Sheet 00001 cf OOQ04
                                                                                                                                 REDE Page 125 of 181
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Account number:                   9888      • February 1, 2019 - February 28, 2019               • Page 2 of 8




To learn more or apply, call us at 1-866-416-4320, Monday- Friday, 6:00 a.m. to 6:00 p.m. Pacific Time, or visit us on the web at
wellsfargo.com/bizfbusiness...creditfreal...estatelequity-line-of-creditl

Note: All financing fs subject to credit approval. Some restrtctions may apply.



Activity summary                                                                                            Account number:             9888
       Beginning balance on 211                                        $4,424.81                            ONE BOX lV, LLC
       Deposits/Credits                                                26,955.25                            Aoiida acco11nt termis and conditions apply

       Withd-awals/Debits                                            - 25,017.36                            For Direct Deposit use
                                                                                                            Routing Number (RTN): 063107513
       Ending balance 011 2128                                        $6,362.70
                                                                                                            For Wire Transfers use
       Average ledger balance this period                              $5,211.64                            Routing Number (RTN): 121000248




Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




Transaction history

                           Check                                                                                     Deposits!         \llflthdrawa/sl      Ending daily
       Date               Number Description                                                                           Credits                   Debits         balance
       211                         Purchase Return authorized on 12125 Dhgate 391834714 Redhill                         22.10
                                    Gbr 5639032545189512 Card 3166
       211                         Bankcard Mtot Dep 190131               8504 One Box Tv, LLC                         517.24
       211                         Money Transfer authorized on 02/01 From Fogle Donna PA                                53.91
                                   500469032475143245 Card 3166
       211                         Stripe Transfer x                                                                   108.90
       211                         Money Transfer authorized on 02101 From Fogle Donna PA                               43.63
                                   500309032672110137 Card 3166
       211                         Money Transfer authorized on 02ro1 From Fogle Donna PA                                17.97                                  5, 188.56
                                   S00389033028615780 Card 3166
       214                         Bankcard Mtot Dep 190201               8504 One Box Tv, LLC                         417.73
       214                         Money Transfer authorized on 02102 From Fogle Donna PA                              179.68
                                   800389033480988661 Card 3166
       214                         Paypal Transfer 190202 1004862635189 Donnafogle Oneboxtv                              18.15
       214                         Paypal Transfer 190202 1004865394632 Donnafogle oneboxtv                              18.15
       214                         Paypal Transfer 190202 1004867925474 Donnafogle Oneboxtv                              18.15
       214                         Paypal Transfer 190203 1004874044270 Donnafogle Oneboxtv                              18.15
       214                         Paypal Transfer 190202 1004866418461 Donnafogle Oneboxtv                              36.30
       214                         Paypal Transfer 190203 1004873516442 Donnafogle Oneboxtv                              36.30
       214                         Paypal Transfer 190203 1004875647543 Donnafogle Oneboxtv                              44.07
       214                         Paypal Transfer 190203 1004871966961 Donnafogle Oneboxtv                              72.60
       214                         Bankcard Mtot Dep 190203                8504 One Box Tv, LLC                        768.98
       214                         Stripe Transfer x                                                                   110.17
       214                         Paypal Transfer 190204 1004880546034 Donnafogle Oneboxtv                              54.45
       214                         Paypal Transfer 190204 1004879819954 Donnafogle Oneboxtv                              90.75
       214                         Paypal Transfer 190204 1004884371992 Donnatogle Oneboxtv                              18.15
       214                         Paypal Transfer 190204 1004884534605 Donnafogle Oneboxtv                              18.15
       214                         Purchase authorized on 01131 Sixty East Ellenton FL                                                          90.31
                                   8489031817913961 Card 3174
       214                         Purchase authorized on 02102 Office Depot 00 4026 14th                                                        6.41
                                   Bradenton FL P00589033545122571 Card 3166
       214                         Recurring Payment authorized on 02103 Phone.Com 9555481                                                      58.32
                                   WWW.Phone.Com CA $589034323879868 Card 3166
       214                         Purchase authorized on 02103 WM Superc Wal-Mart Sup                                                         183.58
                                   Bradenton FL P00000000974253465 Card 3174
       214                         Withdrawal Made In A BranchfStore                                                                        2,257.62
                                                                                                                         REDE Page 126of181
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Transaction history (continued)
                            Check                                                                            Deposits!      \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                                  Credits             Debits       balance
     214                        < Business to Business ACH Debit- Bankcard Mtot Disc 190131                                       405.12
                                                 8504 One Box Tv, LLC
     214                        < Business to Business ACH Debit - Authnet Gateway Billing                                         21.65
                                  xxxxx5416 One Box Tv LLC
     214                     1134 Check                                                                                         1,383.75       2,701.13
     215                           Bankcard Btot Oep 190204               8504 One Box Tv, LLC                  55.25
     215                           Money Transfer authorized on 02/05 From Onebox Tv FL                        180.00
                                   500469036615432079 Card 3174
     215                           Stripe Transfer x                                                            18.15
     215                           Purchase authorized on 02105 The Home Depot #1863                                               29.31
                                   Bradenton FL ?00309036577782237 Card 3166
     215                           Purchase authorized on 02/05 Wawa 5178 Bradenton FL                                             60.04       2,865.18
                                   P00589036669546620 Card 3166
     216                           Bankcard Stat Dep 190205               8504 One Box Tv, LLC                 299.65
     216                           Stripe Transfer x                                                           317.47
     216                           Paypal Transfer 190206 1004895211227 Donnafogle Oneboxtv                     54.45
     216                           Paypal Transfer 190206 1004898097226 Oonnafogle Oneboxtv                     18.15
     216                           Pa~~al Transfer 190206 1004899163524 Donnafo~le Oneboxtv                     18.15
     216                           Recurring Payment authorized on 02105 360..Sitelock480-50                                       53.00
                                   877-2579263 AZ $469036296987208 Card 3166
     216                           United Fin Cas Ins Prem 190206 02823358 One B One Box Tv LLC                                   157.00
     216                           Transferwise Inc One Box Tv 190206 61992712 One Box Tv, LLC                                  2,302.30       1,060.95
     217                           Bankcard Mtot Oep 190206               8504 One Box Tv, LLC                 334.00
     217                           Stri e Transfer x                                                           308.55
     217                           Paypal Transfer 190207 1004904337954 Donnafogle oneboxtv                     36.30
     217                           Purchase authorized on 02105 Popis Place IV Ellenton FL                                         37.07       1,702.73
                                   8389037027738544 Card 3174
     218                           Bankcard Mtot Dep 190207               8504 One Box Tv, LLC               1,467.91
     218                           Money Transfer authorized on 02f08 From Onebox Tv FL                        180.00
                                   800589039602782360 Card 3174
     218                          Stripe Transfer x                                                            199.65
     218                          Paypal Transfer 190208 1004911486902 Donnafogle Oneboxtv                      18.15
     218                          Paypal Transfer 190208 1004909520453 Donnafogle Oneboxtv                      36.30
     218                          Paypal Transfer 190208 1004910405361 Donnafogle Oneboxtv                      67.26
     218                     1136 Check                                                                                         1,086.00       2,586.00
     2111                         Bankcard Mtot Dep 190208               8504 One Box Tv, LLC                  358.15
     2111                         Paypal Transfer 190209 1004916851607 Donnafogle Oneboxtv                      18.15
     2111                         Paypal Transfer 190209 1004917785194 Donnafogle Oneboxtv                      18.15
     2111                         Paypal Transfer 190209 1004917048009 Donnafogle Oneboxtv                      36.30
     2111                         Paypal Transfer 190210 1004926465672 Donnafogle Oneboxtv                      36.30
     2111                         Paypal Transfer 190210 1004923868652 Oonnafogle Oneboxtv                      54.45
     2111                         Bankcard Mtot Oep 190210               8504 One Box Tv, LLC                2,914.46
     2111                         Stripe Transfer x                                                            163.35
     2111                         Money Transfer authorized on 02111 From Onebox Tv FL                         120.00
                                   800389042721359923 Card 3174
     2111                          Paypal Transfer 1902111004933295609 Donnafogle Oneboxtv                      18.15
     2111                          Paypal Transfer 190211 1004934801163 Oonnafogle Oneboxtv                     45.34
     2111                          Recurring Payment authorized on 02110 Apl ..ltunes.Com!Bil                                       9.99
                                   866-712-7753 CA 8469041447824902 Card 3166
     2111                          Purchase authorized on 02111 7-Eleven Parrish FL                                                30.00
                                   P00000000774551972 Card 3166
     2111                         Purchase authorized on 02111 The UPS store #2744 89 Parrish FL                                   21.15
                                  P00000000374483S66 Card 3174
     2111                    1135 Check                                                                                           238.75
     2111                         Clover App Mrkt Clover App 190211 899-9217558-000 One Box                                        57.42
                                  Tv LLC
     2111                         Paypal lnst Xfer 190211 Upwrkescrow Donnafogle Oneboxtv                                          86.83       5,924.66
     2112                         Bankcard Mtot Dep 190211               8504 One Box Tv, LLC                   93.21
     2112                         Stripe Transfer x                                                             62.22
     2112                         Paypal Transfer 190212 1004939317537 Donnafogle Oneboxtv                      18.15
     2112                         Paypal Transfer 190212 1004941599018 Donnafogle oneboxtv                      18.15
     2112                         Paypal Transfer 190212 1004942496650 Donnafogle Oneboxtv                      18.15




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Transaction history (continued)
                   Check                                                                           Deposits!       \!Wthdrawalsl   Ending dally
     Date         Number Description                                                                 Credits              Debits       balance
     2112                 Purchase authorized on 02f11 WWW ..Alibaba.Com Delaware DE                                   1,656.47
                          5309042845625186 Card 3174
     2112                 Bankcard Fee -       9144                                                                       68.25
     2112                 Bankcard Interchange Fee-     9144                                                              69.27
     2112                 ATT Payment 021119 226144003Col1D WllUam Firestone                                             358.47       3,982.08
     2113                 Bankcard Mtot Oep 190212           8504 One Box Tv, LLC                    582.30
     2113                 Money Transfer authorized on 02/13 From Fogle Donna PA                      17.97
                          500469044470314847 Card 3166
     2113                 Stripe Transfer x                                                          352.16
     2113                Paypal Transfer 190213 1004946086324 Donnafogle Oneboxtv                     36.30
     2113                Paypal Transfer 190213 1004947837466 Donnafogle Oneboxtv                     54.45
     2113                Paypal Transfer 190213 1004951081729 Donnafogle Oneboxtv                     18.15
     2113                Fpl Direct Debit Elec Pymt 02119 3733077360 Telv Donna C Fogle                                  167.12
     2113           1137 Check                                                                                           640.00       4,235.69
     2114                Bankcard Mtot Dep 190213                 8504 One Box Tv, LLC             2,951.64
     2114                Stripe Transfer x                                                           161.89
     2114                Paypal Transfer 190214 1004953717242 Oonnafogle Oneboxtv                     17.66
     2114                Pa~~al Transfer 190214 1004954073305 Donnafo~le Oneboxtv                     18.15
     2114                Paypal Transfer 190214 1004956039623 Donnafogle Oneboxtv                     18.15
     2114                Purchase authorized on 02111 Bright House Netwo 317-972-9700                                     65.99
                         FL 5389042521990371 Card 3174
     2114                Purchase authorized on 02111 Bright House Netwo 317-972-9700                                     84.98
                         FL $389042524885673 Card 3174
     2114                Purchase authorized on 02114 7-Eleven Bradenton FL                                               30.00       7,222.41
                         P00000000730400790 Card 3166
     2115                Bankcard Mtot Oep 190214                 8504 One Box Tv, LLC               546.89
     2115                Money Transfer authorized on 02/15 From Onebox Tv FL                        180.00
                         800589046540954238 Card 3174
     2115                Stripe Transfer x                                                            54.26
     2115                Paypal Transfer 190215 1004963748955 Donnafogle Oneboxtv                     18.15
     2115                Purchase authorized on 02/13 WWW .Alibaba. Com Delaware DE                                    1,653.79
                         5589045094351081 Card 3174
     2115                Purchase authorized on 02114 Anna Maria Oyster Ellenton FL                                       75.23
                         5309046051557554 Card 3174
     2115                Paypal Inst Xfer 190215 Conceal Exp Donnafogle Oneboxtv                                          53.39       6,239.30
     2119                Bankcard Btot Dep 190215                8504 One Box Tv, LLC                897.74
     2119                Money Transfer authorized on 02116 From Fogle Donna PA                       73.50
                         500469047478355290 Card 3166
     2119                Money Transfer authorized on 02/17 From Fogle Donna PA                      107.81
                         S00589048416432561 Card 3166
     2119                Money Transfer authorized on 02f17 From Fogle Donna PA                       33.34
                         800389048497123686 Card 3166
     2119                Money Transfer authorized on 02/17 From Fogle Donna PA                       17.97
                         500469048533190330 Card 3166
     2119                Money Transfer authorized on 02f17 From Onebox Tv FL                        120.00
                         S00309048711874775 Card 3174
     2119                Purchase Return authorized on 02118 Dhgate.Com Dhgate.Com                    45.05
                         Gbr 5639050544001253 Card 3166
     2119                Money Transfer authorized on 02!18 From Fogle Donna PA                       89.84
                         500389049528968547 Card 3166
     2119                Money Transfer authorized on 02/18 From Fogle Donna PA                       35.94
                         500389049651065727 Cord 3166
     2119                Money Transfer authorized on 02118 From Onebox Tv FL                        120.00
                         S00389050140206176 Card 3174
     2119                Bankcard Mtot Dep 190218                 8504 One Box Tv, LLC                37.30
     2119                Bankcard Mtot Dep 190217                 8504 One Box Tv, LLC             2,631.56
     2119                Money Transfer authorized on 02f19 From Fogle Donna PA                       19.59
                         500469050499350152 Card 3166
     2119                Purchase authorized on 02116 Circle K # 07629 8400 Parrish FL                                    20.00
                         P00000000835847148 Card 3166
     2119                Purchase authorized on 02f17 WWW.Alibaba.Com Delaware DE                                      1,736.77
                         5589049097709665 Card 3174
                                                                                                                           REDE Page 128 of 181
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Transaction history (continued)
                            Check                                                                              Deposits!       \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                                    Credits              Debits       balance
     2119                           Purchase authorized on 02f19 Wawa Store 5165 Bradenton FL                                         30.00
                                    P00469050556156816 Card 3166
     2119                           Purchase authorized on 02/19 USPS PO 11721502 520 7th                                             21.47
                                    Palmetto FL P00589050771430265 Card 3174
     2119                           Paypal Echeck 190217 1004979676368 Donnafogle Oneboxtv                                            18.45
     2119                           Paypal lnst Xfer 190216 1004971127195 Donnafogle Oneboxtv                                         50.00
     2119                           Paypal Inst Xfer 190217 Holsters Donnafogle Oneboxtv                                              53.38
     2119                           Paypal Inst Xfer 190218 Upwrkescrow Donnafogle Oneboxtv                                          414.42
     2119                    1138 Check                                                                                              785.00       7,339.45
     2120                           Bankcard Mtot Dep 190219               8504 One Box Tv, LLC                  663.26
     2120                           Money Transfer authorized on 02/20 From Fogle Donna PA                        37.56
                                    800309051419515194 Card 3166
     2120                         Money Transfer authorized on 02f20 From Fogle Donna PA                          35.94
                                  500369051521168700 Card 3166
     2120                         Stripe Transfer x                                                              127.05
     2120                         Purchase authorized on 02/20 Circle K # 07629 8400 Parrish FL                                       20.00
                                  P00000000381445164 Card 3166
     2120                         Fdgl Lease Pymt 190220 052-1323765-000 Donna Fogle                                                  39.22
                                  Oneboxtv
     2120                       < Business to Business ACH Debit - Fla Dept Revenue C01                                            1,212.70       6,931.34
                                  72231484 One Box Tv LLC
     2121                         Channel Choice Direct Dep 190221 939609065806Sig ,William                       22.50
                                  Firestone
     2121                         Bankcard Mtot Dee: 190220                6504 One Box Tv, LLC                  355.26
     2121                         Money Transfer authorized on 02r21 From Fogle Donna PA                          17.97
                                  800309052526464651 Card 3166
     2121                         Stripe Transfer x                                                              344.66
     2121                         Money Transfer authorized on 02121 From Fogle Donna PA                          17.97
                                  $00309052692858752 Card 3166
     2121                         Purchase authorized on 02121 Racetrac100 Bradenton FL                                               30.00       7,659.70
                                    P00309052767798759 Card 3166
     2122                           Bankcard Mtot Dep 190221               6504 One Box Tv, LLC                   37.30
     2122                           Money Transfer authorized on 02f22 From Fogle Donna PA                        70.91
                                    800469053465858858 Card 3166
     2122                           Stripe Transfer x                                                             54.45
     2122                           Paypal Transfer 190222 1005012228629 Donnafogle Oneboxtv                      35.33
     2122                           Purchase authorized on 02f21 WWW ..Alibaba.Com Delaware DE                                     1,543.23       6,314.46
                                    8589052830991105 Card 3174
     2125                           Money Transfer authorized on 02/22 From Onebox Tv FL                         120.00
                                    800389054012585932 Card 3174
     2125                           Bankcard Mtot Dep 190222               8504 One Box Tv, LLC                1,$87.27
     2125                           Money Transfer authorized on 02123 From Fogle Donna PA                        71.$7
                                    800589054477473578 Card 3166
     2125                           Money Transfer authorized on 02123 From Fogle Donna PA                        53.91
                                    800589054548284218 Card 3166
     2125                           Money Transfer authorized on 02124 From Fogle Donna PA                        17.97
                                    $00309055459312590 Card 3166
     2125                           Money Transfer authorized on 02124 From Fogle Donna PA                        53.91
                                    800589055415775259 Card 3166
     2125                           Money Transfer authorized on 02124 From Fogle Donna PA                        35.94
                                    800589055544501553 Card 3166
     2125                           Money Transfer authorized on 02124   From Oncbox Tv FL                       120.00
                                    $00589055693787586 Card 3174
     2125                           Money Transfer authorized on 02124   From Fogle Donna PA                      17.97
                                    S00389056009916082 Card 3166
     2125                           Bankcard Mtot Dep 190224                 6504 One Box Tv, LLC                810.81
     2125                           Money Transfer authorized on 02f25   From Fogle Donna PA                     105.22
                                    800309056525316968 Card 3166
     2125                           Money Transfer authorized on 02125   From Fogle Donna PA                      17.97
                                    800469056561342935 Card 3166
     2125                           Stripe Transfer x                                                             71.75




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Transaction history (continued)
                   Check                                                                            Deposits!      \!Wthdrawalsl   Ending dally
     Date         Number Description                                                                  Credits             Debits       balance
     2125                 Money Transfer authorized on 02f25 From Fogle Donna PA                       17.97
                          500309056695859564 Card 3166
     2125                 Money Transfer authorized on 02/25 From Fogle Donna PA                       17.97
                          S00589056804346033 Card 3166
     2125                 Purchase authoriZed on 02f23 wawa Store 5165 Bradenton FL                                       30.00
                          P00469054551314132 Card 3166
     2125                 Purchase authorized on 02/25 USPS PO 11262501 2605 72N                                           6.54
                          Ellenton FL P00389056762420287 Card 3174
     2125                 Purchase authorized on 02f25 Wal-Mart Super Center Palmetto                                    118.48
                          FL P00000000584894424 Card 3174
     2125                 Paypal Inst Xfer 190225 Upwrkesaow Donnafogle Onebox:tv                                        113.03
     2125                 Sunglasses Onlin lat Paypal 190225 1005034089962 Donnafogle                                    17965        9,28729
                          Onebox:tv
     2126                 Bankcard Mtot Oep 190225 5             8504 One Box Tv, LLC                  18.65
     2126                 Money Transfer authorized on 02126 From Fogle Donna PA                       79.28
                          800389057508653252 Card 3166
     2126                 Money Transfer authorized on 02f26 From Onebox Tv FL                        120.00
                          800309057572235533 Card 3174
     2126                 Stripe Transfer x                                                           122.73
     2126                 Money Transfer authorized on 02126 From Fogle Donna PA                       17.97
                          $00309057780620427 Card 3166
     2126                 Purchase Intl authorized on 02f22 Xt Network Saint Avertin Fra                                  10.23
                          S639057544834966 Card 3166
     2126                 International Purchase Transaction Fee                                                           0.30
     2126                 Purchase authoriZed on 02f24 WWW.Alibaba.Com Delaware DE                                     1,465.50
                          S389056081806555 Card 3174
     2126                 Purchase authorized on 02/25 Anna Maria Oyster Ellenton FL                                      47.49
                          8389057059402040 Card 3174
     2126                 Purchase authorized on 02f25 7-Eleven Parrish FL                                                25.00
                          P00000000431668988 Card 3166
     2126                 Purchase authorized on 02/26 Wal-Mart Super Center Bradenton                                    54.05
                          FL P00000000072135936 Card 3174
     2126                 Feibiao Zhang lat Paypal 190225 1005037912061 Donnafogle                                        60.00
                          Oneboxtv
     2126                 Transferwise Inc One Box Tv 190226 63954457 One Box Tv, LLC                                  2,303.53       5,679.82
     2127                 Money Transfer authorized on 02126 From Fogle Donna PA                       17.97
                          $00469058119405710 Card 3166
     2127                 Bankcard Mtot Dep 190226               8504 One Box Tv, LLC                 549.58
     2127                 Money Transfer authorized on 02127 From Fogle Donna PA                       79.57
                          S00309058467307693 Card 3166
     2127                 Money Transfer authorized on 02f27 From Fogle Donna PA                       53.91
                          S00389058536176002 Card 3166
     2127                 Money Transfer authorized on 02127 From Fogle Donna PA                       43.63
                         S0038905S542866496 Card 3166
     2127                Stripe Transfer x                                                            254.10
     2127                Purchase authorized on 02f27Wawa 5258 Bradenton FL                                               50.00
                         P0058905882SS030S3 Card 3166
     2127                Fpl Direct Debit Elec Pymt 02f19 3733077360 Telv Donna C Fogle                                  206.84
     2127                Paypal lnst Xfer 190227 Shoes Donnafogle Oneboxtv                                               18999
     2127           1139 Check                                                                                           485.00       5,746.75
     2128                Bankcard Mtot Dep 190227                8504 One Box Tv, LLC                 478.16
     2128                Stripe Transfer One Box Tv LLC                                                54A5
     2128                Money Transfer authorized on 02128 From Fogle Donna PA                        17.97
                          S00309059730673604 Card 3166
     2128                 Paypal Transfer 190228 42Q22Aq3Tqgmy Donnafogle Oneboxtv                    179.65
     2128                 Money Transfer authorized on 02128 From Fogle Donna PA                       49.69
                          $00389059809965662 Card 3166
     2128                 Money Transfer authorized on 02128 From Fogle Donna PA                       33.34
                          S00309059832115170 Card 3166
     2128                 Purchase authorized on 02125 Bright House Netwo 317-972-9700                                    74.94
                          FL 5469056712761798 Card 3174
                                                                                                                                    REDE Page 130of181
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Transaction history (continued)
                              Check                                                                                    Deposits!          \!Wthdrawalsl          Ending dally
       Date                  Number Description                                                                          Credits                 Debits              balance
       2128                          Purchase authorized on 02f25 Bright House Netwo 317-972-9700                                                 84.98
                                     FL 5389056714770887 Card 3174
       2128                          Purchase authorized on 02/27 Aliexpress 114-087855580 CA                                                         3.96
                                     5469059097482126 Card 3166
       2128                          Purchase authorized on ozrza Wal-Mart #3370 Palmetto FL                                                         33.43           6,362.70
                                     P00000000334969227 Card 3174
       Ending balance on 2128                                                                                                                                       6,362.70
       Totals                                                                                                      $26,955.25               $25,017.36
       The Encing Daily Balance does not reflect any pending !Mthdrawa/s or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed,
       < Business to Business ACH:lf this is a business account, this transactJon has a return ~me frame of one business day from post date This tJme frame does nr:t
           apply to consumer accounts.




Summary of checks written            (checks listed are a/so displayed in the preceding Transaction history)

       Number                Date                 Amount       Number             Date                  Amount            Number               Date                  Amount
        1134                 214                  1,383.75     1136               218                   1,086.00          1138                 2119                      785.00
        1135                 2111                  238.75      1137               2113                   640.00           1139                 2127                      485.00


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions tor prepaid cards) or talk to a banker. Go to wellstargo.comffeefaqfor a llnkto these documents, and answers
to common monthly service fee questions.


       Fee period 02/01/2019- 0212812019                                                    Standard monthly service fee $14.00                        You paid $0.00

       How to avoid the monthly service fee                                                                   Minimum required                         This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                         $7,500.00                          $5,212.00   D
           A qualifying transaction from a linked Wells Fargo Business Payroll Services                                           1                                  oo
           account
           A qualifying transaction from a linked Wells Fargo Merchant Services account                                                                              2G
           Total number of posted Wells Fargo Debit Card purchases andfor payments                                                  10                              37G
           Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                             1                               oD
               Combined balances in linked accounts, which may include                                                   $10,000.00                                   D
                 Average ledger balances in business checking, savings, and time accounts
                 Most recent statement balance In el!g!ble Wells Fargo business credit cards and
                 lines of credit, and combined average daily balances from the previous month
                 in eligible Wells Fargo business and commercial loans and lines of credit
                 For complete detalls on how you can avoid the monthly service fee based on
                your combined balances please refer to page 7 of the Business Account Fee and
                 Information Schedule at wvm. wellsfargo. com/biz/fee-information




Account transaction fees summary
                                                                                            Units           Excess           Service charge per                  Total seniice
       Service charge descriptJon                                   U111ts used          included             units                excess units($)                 charge($)
       Cash Deposited($)                                                    0              7,500                   0                      0.0030                          0.00
       Transactions                                                       108                200                   0                         0.50                         0.00
       Total service charges                                                                                                                                             $0.00




      Sheet Seq"' Cl180310
      Sheet 00004 cf OOQ04
                                                                                                                                 REDE Page 131 ofl81
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General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts                You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                  and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the          information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft           an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                      Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                       Total amount $




@2010 Wells Fargo Bank, NA. All   right~   reserved Member FDIC. NMLSR ID 399801
                                                                                                                                 REDE Page 132of181
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Wells Fargo Business Choice Checking
Account number:                    9888      • March 1, 2019 - March 31, 2019             • Page 1 of 8




                                                                                                           Questions?
ONE BOX TV, LLC                                                                                            Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST STE
                                                                                                             1-800-CALL·WELLS                (1-800-225-5935)

BRADENTON FL 34208-3501                                                                                      TTY: 1-800-<377-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (287)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Visit wellsfargoworks.com to explore vkleos, articles, infographics. interactive                          A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 tools, and other resources on the topics of business growth, credit, cash flow
                                                                                                           cell the numbf!1r above if you have queslions or if you would
 management, business planning, technology, marketing, and more.
                                                                                                           like to add new services.

                                                                                                           Business Online Banking                               0
                                                                                                           Online Statements                                     0
                                                                                                           Business Bill Pay                                     0
                                                                                                           Business Spending Report                              0
                                                                                                           Overdraft Protection                                  D


Activity summary                                                                                            Account number:              9888
        Beginning balance on 311                                       $6,362.70                            ONE BOX TV, LLC
        Deposits/Credits                                               38,809.82                            Flor/de account terms end conditions ffipply
        Withctawals!Debits                                           - 28,416.97                            For Direct Deposit use
        Ending balance on 3/31                                      $1&,755.55                              Routing Number (RTN): 063107513
                                                                                                            For Wire Transfers use
        Average ledger balance this period                           $10,877.25                             Routing Number (RTN): 121000248



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




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      Sheet Seq"' (]206539
      Sheet 00001 cf OOQ04
                                                                                                       REDE Page 133 of 181
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Account number:         9888      • March 1, 2019 - March 31, 2019 • Page 2 of 8




Transaction history

                   Check                                                                   Deposits!       Withdrawals/    Ending daily
     Date         Number Description                                                         Credits             Debits        balance
     311                   Bankcard Mtot Oep 190228              8504 One Box Tv, LLC        677.15
     311                   Money Transfer authorized on 03/01 From Fogle Donna PA             89.56
                           S0046906047268563Z Card 3166
     311                   Money Transfer authorized on 03f01 From Fogle Donna PA             35.94
                           800589060525695028 Card 3166
     311                   Money Transfer authorized on 03/01 From Fogle Donna PA             17.97
                           800469060554446272 Card 3166
     311                   Money Transfer authorized on 03!01 From Fogle Donna PA             35.94
                           500389060596701649 Card 3166
     311                   Strie:e Transfer One Box Tv LLC                                   163.35
     311                 Purchase authorized on 03101 USPS PO 11721502 520 7th                                    16. 12      7,366.49
                         Palmetto FL P003090607S950654S Card 3174
     314                 Bankcard Mtot Dee: 190301               8504 One Box Tv, LLC      1,283.01
     314                 Money Transfer authorized on 03/02 From Fogle Donna PA               53.61
                         S00469061567220326 Card 3166
     314                 Money Transfer authorized on 03f02 From Fogle Donna PA               17.97
                         800589061798676927 Card 3166
     314                 Money Transfer authorized on 03/03 From Fogle Donna PA               79.57
                         800309062464984017 Card 3166
     314                 Money Transfer authorized on 03f03 From Fogle Donna PA               35.94
                         S00309062519089410 Card 3166
     314                 Money Transfer authorized on 03/03 From Fogle Donna PA               17.97
                         50030906255'1161298 Card 3166
     314                 Money Transfer authorized on 03f03 From Fogle Donna PA               17.97
                         800309063182339048 Card 3166
     314                 Bankcard Mtot Dep 190303                8504 One Box Tv, LLC      3, 712.81
     314                 Money Transfer authorized on 03/04 From Fogle Donna PA               160.35
                         $00589063536439925 Card 3166
     314                 Money Transfer authorized on 03/04 From Fogle Donna PA               17.97
                         $00309063593604437 Card 3166
     314                 Stripe Transfer One Box Tv LLC                                      163.35
     314                 Money Transfer authorized on 03f04 From Fogle Donna PA               17.97
                         S00389063756858022 Card 3166
     314                 Paypal Transfer 190304 42022Aq6Klpms Donnafogle Oneboxtv            189.99
     314                 Recurring Payment authorized on 03/03 Phone.Com 9596335                                  86.80
                         WWW.Phone.Com CA $389062321873101Card3166
     314                 Purchase authorized on 03103 Shell Service station Bradenton FL                          65.02
                         P00469062610506471 Card 3166
     314               < Business to Business ACH Debit- Bankcard Mtot Disc 190228                               487.97
                                       8504 One Box Tv, LLC
     314               < Business to Business ACH Debit - Authnet Gateway Billing                                 30.90
                         ioocxx0149 One Box Tv LLC
     314            1140 Check                                                                                 1,383.75       11,080.53
     315                 Bankcard Mtot Dep 190304                8504 One Box Tv, LLC         74.60
     315                 Money Transfer authorized on 03/05 From Fogle Donna PA               97.53
                         $00389064507760690 Card 3166
     315                 Money Transfer authorized on 03/05 From Fogle Donna PA               17.97
                         $00469064522060550 Card 3166
     315                 Money Transfer authorized on 03/05 From Fogle Donna PA               17.97
                         $00369064522446632 Card 3166
     315                 Money Transfer authorized on 03/05 From Fogle Donna PA               17.97
                         $00389064532798508 Card 3166
     315                 Money Transfer authorized on 03/05 From Fogle Donna PA               17.97
                         $00389064588208102 Card 3166
     315                 Stripe Transfer One Box Tv LLC                                      145.20
     315                 Money Transfer authorized on 03f05 From Fogle Donna PA               17.97
                         800589064737313951 Card 3166
     315                 Purchase authorized on 03/03 WWW .Alibaba. Com Delaware DE                            1,769.72
                         5369063027070081 Card 3174
     315                 Withdrawal Made In A Branch/Store                                                     2.259. 16
                                                                                                                 REDE Page 134of181
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Transaction history (continued)
                            Check                                                                    Deposits!      \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                          Credits             Debits       balance
     315                             Purchase authorized on 03f05 USPS PO 11721502 520 7th                                 16.78       7,442.05
                                     Palmetto FL P00469064774572076 Card 3174
     316                             Bankcard Mtot Oep 190305                8504 One Box Tv, LLC      358.55
     316                             Money Transfer authorized on 03/06 From Fogle Donna PA             35.94
                                     $00309065382646072 Card 3166
     316                             Money Transfer authorized on 03/06 From Fogle Donna PA             71.87
                                     800309065485509794 Card 3166
     316                             Stripe Transfer One Box Tv LLC                                    110.17
     316                             Money Transfer authorized on 03f06 From Fogle Donna PA             71.87
                                     800309065627409943 Card 3166
     316                             Recurring Payment authorized on 03105 360..Sitelock480-50                             53.00
                                     877-2579263 AZ 8309064297416714 Card 3166
     316                             United Fin Cas Ins Prem 190306 02823358 One B One Box Tv LLC                         157.00       7,880.45
     317                             Bankcard Mtot Oep 190306               8504 One Box Tv, LLC       677.92
     317                             Stripe Transfer One Box Tv LLC                                    145.20
     317                             Purchase authorized on 03107 7-Eleven Palmetto FL                                     40.00
                                     P00000000689156272 Card 3166
     317                             Pa~~al lnst Xfer 190307 Give5Tocanc Donnafo~le Oneboxtv                              159.00       8,504.57
     318                             Bankcard Mtot Dep 190307               8504 One Box Tv, LLC       176.67
     318                             Money Transfer authorized on 03/08 From Fogle Donna PA             35.94
                                     800589067470417095 Card 3166
     318                             Stripe Transfer One Box Tv LLC                                    117.82
     318                             Money Transfer authorized on 03/08 From Fogle Donna PA             53.91
                                     800309067650289841 Card 3166
     318                             Purchase authoriZed on 03f08 Dollar Tr 4424 E State Bradenton                          8.49
                                     FL P00000000783354132 Card 3174
     318                     1141    Check                                                                              1,156.00       7,724.42
     3111                            Bankcard Mtot Dep 190308                 8504 One Box Tv, LLC     653.83
     3!11                            Money Transfer authorized on 03f09 From Fogle Donna PA             35.94
                                     800309068845382553 Card 3166
     3111                            Money Transfer authorized on 03/10 From Fogle Donna PA             89.84
                                     S00469069439205831 Card 3166
     3111                            Money Transfer authorized on 03f10 From Fogle Donna PA             17.97
                                     800389069591673059 Card 3166
     3!11                            Money Transfer authorized on 03/10 From Fogle Donna PA             30.65
                                     800469069844914263 Card 3166
     3111                            Bankcard Btot Dep 190310               8504 One Box Tv, LLC     1,355.92
     3111                            Money Transfer authorized on 03/11 From Fogle Donna PA             35.94
                                     800589070521651692 Card 3166
     3111                            Money Transfer authorized on 03/11 From Fogle Donna PA             17.97
                                     $00469070564018044 Card 3166
     3111                            Stripe Transfer One Box Tv LLC                                    308.55
     3111                            Money Transfer authorized on 03/11 From Fogle Donna PA             17.97
                                     S00469070S21429490 Card 3166
     3111                            Purchase authoriZed on 03!08 U-Haul of Bradento Bradenton FL                          66.72
                                     S589067554393341 Card 3166
     3111                            Purchase authorized on 03108 WWW ..AJibaba.Com Delaware DE                         1,769.72
                                     8309068100611132 Card 3174
     3111                            Purchase authorized on 03!09 WWW ..AJiexpress.Com                                     96.58
                                     408-748-1200 DE S309069151089986 Card 3166
     3111                            Recurring Payment authorized on 03110 Apl ..ltunes.Com/Sil                             9.99
                                     866-712-7753 CA S309069411713151 Card 3166
     3111                            Purchase authorized on 03110 Racetrac100 Bradenton FL                                 25.01
                                     P00589069498489605 Card 3166
     3111                            Purchase authorized on 03/11 WM Superc Wal-Mart Sup                                   63.25
                                     Bradenton FL P00000000181622255 Card 3174
     3111                            Clover App Mrkt Clover App 190311 899-9217558-000 One Box                             48.10
                                     Tv LLC
     3111                            Paypal Inst Xfer 190311 Upwrkescrow Donnafogle Oneboxtv                               65.93       8, 143.70
     3112                            Bankcard Mtot Dep 190311               8504 One Box Tv, LLC     1,275.83
     3!12                            Money Transfer authorized on 03f12 From Fogle Donna PA             35.94
                                     S00469071480489581 Card 3166




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                                                                                                    REDE Page 135 of 181
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Transaction history (continued)
                   Check                                                                Deposits!       \!Wthdrawalsl   Ending dally
     Date         Number Description                                                      Credits              Debits       balance
     3112                 Stripe Transfer One Box Tv LLC                                  199.65
     3112                 Money Transfer authorized on 03/12 From Fogle Donna PA           17.97
                          800309071629371062 Card 3166
     3112                 Money Transfer authorized on 03/12 From Fogle Donna PA           35.94
                          $00389071845462420 Card 3166
     3112                 Bankcard Fee-         9144                                                          115.00
     3112                 Transferwise Inc One Box Tv 190312 65967340 One Box Tv, LLC                       2,250.00       7,344.03
     3113                 Bankcard Mtot Dep 190312              6504 One Box Tv, LLC    1,458.76
     3113                 Money Transfer authorized on 03f13 From Fogle Donna PA           71.87
                         800309072439148496 Card 3166
     3!13                Stripe Transfer One Box Tv LLC                                   414.57
     3113                Purchase authorized on 03113 Bradenton Bradenton FL                                   40.00
                         P00000000834868265 Card 3166
     3113                ATT Payment 031219 441406002Col1G William Firestone                                  442.31       8,806.94
     3114                Bankcard Mtot Dep 190313               8504 One Box Tv, LLC      611.49
     3114                Money Transfer authorized on 03/14 From Fogle Donna PA            17.97
                         $00389073477643590 Card 3166
     3114                Money Transfer authorized on 03/14 From Fogle Donna PA            17.97
                         800589073510036741 Card 3166
     3114                Stipe Transfer One Box Tv LLC                                     54A5
     3114                Money Transfer authorized on 03f14 From Fogle Donna PA            17.97
                         800469073818282752 Card 3166
     3!14                Purchase authorized on 03/12 Gw Corp Campus 941-8270064 FL                           209.00
                         8469071795228973 Card 3174
     3!14                Purchase authoriZed on 03f12 Gw Ranch Lake 941-4051850 FL                            156.00
                         5309071662642567 Card 3174
     3114           1142 Check                                                                                700.00       8,461.79
     3115                Bankcard Mtot Dep 190314               8504 One Box Tv, LLC      344.49
     3!15                Money Transfer authorized on 03f15 From Fogle Donna PA            35.94
                         800389074454655836 Card 3166
     3115                Money Transfer authorized on 03/15 From Fogle Donna PA            35.94
                         500469074486665026 Card 3166
     3115                Money Transfer authorized on 03f15 From Fogle Donna PA            17.97
                         800309074563048931 Card 3166
     3!15                Stipe Transfer One Box Tv LLC                                     90.56
     3115                Money Transfer authorized on 03/15 From Fogle Donna PA            17.97
                         800309074638033993 Card 3166
     3115                Purchase authorized on 03115 Thorn tons# 711 10185 Big                                67.93
                         Riverview FL P00469074595094932 Card 3166
     3115                Purchase authorized on 03115 USPS PO 11721502 520 7th                                 28.70       8,908.03
                         Palmetto FL P00309074752985680 Card 3174
     3118                Bankcard Mtot Dep 190315               8504 One Box Tv, LLC      744.43
     3118                Money Transfer authorized on 03/16 From Fogle Donna PA            53.62
                         S005890756105S2788 Card 3166
     3118                Money Transfer authorized on 03f16 From Fogle Donna PA            63.82
                         800309075815115108 Card 3166
     3118                Money Transfer authorized on 03117 From Fogle Donna PA            17.97
                         800309076620112674 Card 3166
     3118                Bankcard Mtot Dep 190317               8504 One Box Tv, LLC    4, 130.27
     3118                Money Transfer authorized on 03118 From Fogle Donna PA             37.56
                         800469077491240383 Card 3166
     3118                Stipe Transfer One Box Tv LLC                                    143.74
     3118                Money Transfer authorized on 03118 From Fogle Donna PA            17.97
                         800309077709410088 Card 3166
     3118                Purchase authorized on 03/14 Gw Honore 941-4873561 FL                                 30.00
                         5469073835379379 Card 3174
     3118                Purchase authorized on 03f14 Gw Honore 941-4873561 FL                                 73.00
                         5469073837410365 Card 3174
     3!18                Purchase authorized on 03114 Gw Honore 941-4873561 FL                                133.00
                         8589073839596288 Card 3174
     3!18                Purchase authoriZed on 03f15 MiSsion Bbq Braden Bradenton FL                          24.05
                         5309074628697614 Card 3174
                                                                                                               REDE Page 136of181
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Transaction history (continued)
                            Check                                                                  Deposits!      \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                        Credits             Debits       balance
     3118                           Purchase authorized on 03f16 Hibachi Grill Buff Bradenton FL                         45.62
                                    5389075805154472 Card 3174
     3118                           Purchase authorized on 03/18 USPS PO 11262501 2605 72N                               24.75
                                    Ellenton FL P00309077752295691Card3174
     3!18                           Paypal lnst Xfer 190316 Focuscamera Donnafogle oneboxtv                              49.99
     3118                           Paypal lnst Xfer 190317 Undertechun Oonnafogle Oneboxtv                              61.50
     3118                           Paypal Inst Xfer 190317 K-Gear Donnafogle Onebo>:tv                                 139.95
     3118                           Paypal Inst Xfer 190318 1005198440561 Donnafogle Oneboxtv                            31.85
     3118                           Paypal lnst Xfer 190318 Upwrkescrow Donnafogle Oneboxtv                             160.12      13,343.58
     3119                           Bankcard Mtot Dep 190318               8504 One Box Tv, LLC      130.54
     3!19                           Money Transfer authorized on 03/19 From Fogle Donna PA            89.64
                                    800589078482261750 Card 3166
     3119                           Stripe Transfer One Box Tv LLC                                    54.26
     3119                           Money Transfer authorized on 03/19 From Fogle Donna PA            69.28
                                    800309078636225302 Card 3166
     3119                           Purchase authorized on 03117 Gw Ranch Lake 941-4051850 FL                           116.00
                                    $309076784063584 Card 3174
     3119                           Purchase authorized on 03117WWW.l>Jibaba.Com Delaware DE                          1,651.32
                                    8309077096099934 Card 3174
     3119                       < Business to Business ACH Debit - Fla Dept Revenue C01                               1,269.79
                                  73985675 One Box Tv LLC
     3119                         Transferwise Inc One Box Tv 190319 66932223 One Box Tv, LLC                         2,345.15
     3!19                    1143 Check                                                                                  80.00       8,205.24
     3120                         Bankcard Mtot Dee: 190319                6504 One Box Tv, LLC    2,529.61
     3!20                         Money Transfer authorized on 03f20 From Fogle Donna PA             125.78
                                  $00469079453311220 Card 3166
     3120                         Stripe Transfer One Box Tv LLC                                     163.35
     3120                         Purchase authorized on 03119 Tst.. Beef 0 Brady Parrish FL                             37.57
                                  $569076790467134 Card 3174
     3120                         Fdgl Lease Pymt 190320 052-1323765-000 Donna Fogle                                     39.22
                                  Oneboxtv
     3120                         Fpl Direct Debit Elec Pymt 03!19 3733077360 Telv Donna C Fogle                        162.28      10,764.91
     3121                         Bankcard Mtot Dep 190320                 8504 One Box Tv, LLC    2,092.92
     3121                         Money Transfer authorized on 03/21 From Fogle Donna PA              17.97
                                  $00309080490304781 Card 3166
     3121                         Stripe Transfer One Box Tv LLC                                      72.41
     3121                         Purchase authorized on 03!18 Bright House Netwo 317-972-9700                           65.99
                                  FL $469077635040600 Card 3174
     3121                         Purchase authorized on 03/21 The UPS Store #2744 69 Parrish FL                         58.85
                                    P00000000489467449 Card 3166
     3!21                           Purchase authorized on 03!21 Racetrac 2472 Ellenton FL                               55.02
                                    P00309080622222837 Card 3166
     3121                    1144 Check                                                                                 785.00      11,983.35
     3122                           Bankcard Mtot Dep 190321               6504 One Box Tv, LLC      756.47
     3122                           Money Transfer authorized on 03!22 From Fogle Donna PA            57.15
                                    800469081438329758 Card 3166
     3122                           Stripe Transfer One Box Tv LLC                                   108.90                         12,905.87
     3125                           Bankcard Stat Dep 190322               8504 One Box Tv, LLC    3,204.76
     3125                           Money Transfer authorized on 03!23 From Fogle Donna PA            53.91
                                    S00469082443675681 Card 3166
     3125                           Money Transfer authorized on 03/24 From Fogle Donna PA           105.89
                                    S00469083432389157 Card 3166
     3125                           Bankcard Mtot Dep 190324               8504 One Box Tv, LLC    3,615.92
     3125                           Money Transfer authorized on 03/25 From Fogle Donna PA           125.78
                                    S00589084465660573 Card 3166
     3125                           Stripe Transfer One Box Tv LLC                                   108.90
     3125                           Money Transfer authorized on 03!25 From Fogle Donna PA            17.97
                                    S00469084843457350 Card 3166
     3!25                           Purchase authorized on 03/23 Golden Corral 0671 Bradenton FL                         47.79
                                    8589082750524552 Card 3174
     3!25                           Purchase authorized on 03f23 Amazon Seller Repa                                      39.99
                                    All1lrl.ComfBill WA $469083165180727 Card 3174




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Transaction history (continued)
                   Check                                                                 Deposits!       \!Wthdrawalsl   Ending dally
     Date         Number Description                                                       Credits              Debits        balance
     3125                  Paypal lnst Xfer 190325 Upwrkescrow Donnafogle Oneboxtv                               94.19      19,957.03
     3126                  Bankcard Mtot Dep 190325               8504 One Box Tv, LLC     213.27
     3126                  Money Transfer authorized on 03/26 From Fogle Donna PA           53.91
                           S00309085467377075 Card 3166
     3!26                  Money Transfer authorized on 03f26 From Fogle Donna PA           17.97
                           800309085467722298 Card 3166
     3126                  Money Transfer authorized on 03/26 From Fogle Donna PA           17.97
                           500389085483197723 Card 3166
     3126                  Money Transfer authorized on 03f26 From Fogle Donna PA           17.97
                           800389085502565719 Card 3166
     3!26                  Stripe Transfer One Box Tv LLC                                   54.45
     3126                  Purchase authorized on 03124 WWW.l>Jibaba.Com Delaware DE                         1,769.72
                           $389084050573349 Card 3174
     3126                  Purchase authorized on 03124 WWW./>Jibaba.Com Delaware DE                         1,728.54
                           $309084101009287 Card 3174
     3126           1145 Check                                                                               1,130.00
     3!26                  Paypal lnst Xfer 190326 Speedybarco Donnafogle Oneboxtv                               6.85       15,697.46
     3127                  Bankcard Mtot Dee: 190326              8504 One Box Tv, LLC      83.38
     3127                  Money Transfer authorized on 03/27 From Fogle Donna PA          123.19
                           500309086444016692 Card 3166
     3127                  Strie:e Transfer One Box Tv LLC                                 287.78
     3127                  Money Transfer authorized on 03/27 From Fogle Donna PA           35.94
                           $00469086620117292 Card 3166
     3127                  Purchase authorized on 03125 WWW.l>Jibaba.Com Delaware DE                         1,774.86
                           5469085197579409 Card 3174
     3127                  Purchase authorized on 03127 Cracker Barrel #636 67th                                38.97
                           Bradenton FL P00469086778495513 Card 3174
     3127                  Purchase authorized on 03127 Citgo-Hwy 64 Das Bradenton FL                           10.00
                           P00469086782531937 Card 3166
     3127                  Paypal lnst Xfer 190327 1005266476348 Donnafogle Oneboxtv                           100.00       14,303.92
     3128                  Money Transfer authorized on 03/28 From Fogle Donna PA           53.62
                           500469087520404158 Card 3166
     3128                  Money Transfer authorized on 03f28 From Fogle Donna PA           43.63
                           800309087593576566 Card 3166
     3!28                  Stripe Transfer One Box Tv LLC                                   36.30
     3128                  Money Transfer authorized on 03/28 From Fogle Donna PA           17.97
                           $00589087843797356 Card 3166
     3128                  Purchase authorized on 03127 Aliexpress 408- 7855580 CA                              21.89
                           $469087038165508 Card 3166
     3128                Purchase authorized on 03128 Wawa Store 5165 Bradenton FL                              72.88
                         P00469087743853019 Card 3166
     3128                Purchase authorized on 03128 Crowder Bros Ace Hrdwr                                    38.49
                         Bradenton FL P00000000785950390 Card 3174
     3128              < Business to Business ACH Debit- Bankcard Mtot Dep 190327                               27.92       14,294.26
                                      8504 One Box Tv, LLC
     3129                Bankcard Mtot Dep 190328               8504 One Box Tv, LLC     1,497.10
     3129                03/29Bankcard Deposit         9144                                814.65
     3129                Money Transfer authorized on 03/29 From Fogle Donna PA            159.13
                           $00389088445224915 Card 3166
     3129                  Stripe Transfer St-K1H9J403C7D5 One Box Tv LLC                  163.35
     3129                  Money Transfer authorized on 03/29 From Fogle Donna PA           17.97
                           500469088828733857 Cord 3166
     3129                  Purchase authorized on 03129 USPS PO 11721502 520 7th                                34.69
                           Palmetto FL P00389088748952228 Card 3174
                                                                                                                                   REDE Page 138 of 181
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Transaction history (continued)
                              Check                                                                                    Deposits!       \!Wthdrawalsl           Ending dally
       Date                  Number Description                                                                          Credits              Debits               balance
       3129                          Purchase authorized on 03f29 The UPS Store #2744 89 Parrish FL                                            57.93
                                     P00000000771841699 Card 3174
       3129                          Purchase authorized on 03/29 Publix Super Mar 9005 US Parrish                                                98.29          16.755.55
                                     FL P00309088805349966 Card 3174
       Ending balance on 3131                                                                                                                                   16,755.55
       Totals                                                                                                      $38,809.82            $Z8,416.97
       The Encing Dfi/y Balance does not reflect any pending Wthdrawa/s or holds on deposited funds that may have been outstanding on your account when your
                  postti~d. If you had insuffident available funds when a transaction posted, fe9s may hav9 been assessed,
       transactions
       < Business to Business ACH:lf this 1s a business account, this transac/Jon has a return //me frame of one business day from post date This f!me frame does nci.
         apply to consumer accounts.




Summary of checks written            (checks listed are also displayed in the preceding Transaction history)

       Number                Date                 Amount        Number            Dale                  Amount            Number            Date                   Amount
        1140                 314                  1,383]5       1142              3f14                   700.00           1144              3121                       785.00
        1141                 318                  1,156.00      1143              3/19                     ao.oo          1145              3126                  1, 130.00


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Go to wellsfargo.com/feefaqfor a link to these documents, and answers
to common monthly service fee questions.



       Fee period 03/01/2019- 03131/2019                                                      Standard monthly service fee $14.00                   You paid $0.00

       How to avoid the monthly service fee                                                                    Minimum required                     This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                         $7,500.00                       $10,877.oo   G
               A qualifying transaction from a linked Wells Fargo Business Payroll Services                                        1                              oo
               account
               A qualifying transaction from a linked Wells Fargo Merchant Services account                                                                       zG
               Total number of posted Wells Fargo Debit Card purchases andlor payments                                           10                              44G
               Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                      1                               oo
               Combined balances in linked accounts, which may include                                                   $10,000.00                                    G
                 Average ledger balances in business checking, savings, and time accounts
                 Most recent statement balance in eligible Wells Fargo business credit cards and
                 lines of credit, and combined average daily balances from the previous month
                 In ellglble Wells Fargo business and commercial loans and !Ines of credit
                 For complete details on how you can avoid the monthly service fee based on
                 your combined balances please refer to page 7 of the Business Account Fee and
                 Information Schedule at www.wellsfargo.com!blz!fee-lnformatlon




       --
       The Monthly service fee summary fee period ending date shown above includes a Saturday, Sunday, or holiday which are non-business days.
       Transactions occurring after the last business day of the month will be included in your next fee period




Account transaction fees summary
                                                                                             Units           Excess          SetVtce charge per                Total service
       Service charge description                                   Units used           included             units             excess units($)                  charge($)
       Cash Deposited($)                                                     0                7,500               0                     0.0030                         0.00
       Transactions                                                         73                  200                0                       0.50                        0.00
       Total $eYVice charges                                                                                                                                           $0.00




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General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts              You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the        information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft         an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                    Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                     Total amount $




@2010 Wells Fargo Bank, NA. All   right~   reserved Member FDIC. NMLSR ID 399801
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Wells Fargo Business Choice Checking
Account number:                  9888     • April 1, 2019 - Ap~I 30, 2019            • Page 1 of 10




                                                                                                         Questions?
ONE BOX TV, LLC                                                                                          Available by phone 24 hours a day, 7 days a week:
                                                                                                         Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST STE
                                                                                                           1-800-CALL-WELLS (1-800-225-5935)
BRADENTON FL 34208-3501                                                                                    TTY: 1-800-877-4833
                                                                                                           En espanol: 1-877-337-7454
                                                                                                         Online: wellsfargo.com/biz

                                                                                                         Write: Wells Fargo Bank, N.A. (287)
                                                                                                                P.O. Box6995
                                                                                                                  Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                           Account options
 Visit wellsfargoworks.com to explore vkleos, articles, infographics. interactive                        A check mark in the box indicates you have these convenient
                                                                                                         services with your account(s) Go to wellsfargo.com!b1z or
 tools, and other resources on the topics of business growth, credit, cash flow
                                                                                                         cell the numbf!1r above if you have queslions or if you would
 management, business planning, technology, marketing, and more.
                                                                                                         like to add new services.

                                                                                                         Business Online Banking                               0
                                                                                                         Online Statements                                     0
                                                                                                         Business Bill Pay                                     0
                                                                                                         Business Spending Report                              0
                                                                                                         Overdraft Protection                                  D



Other Wells Fargo Benefits

Looking for $10,000 to $100,000 in financing for business vehicles or equipment?

VVhetheryou are interested in refinancing an existing vehicle loan," or purchasing new or used vehicles or equipment, we're here to
help.


The Equipment Expresst> loan provides flexible financing that could help move your business foiward.
- Fixed rates
- Set payments
- No annual or prepayment fees


As a small business owner, there are plenty of uncertainties - don't let financing costs be one of them. Wrth Equipment Express, you'll
know your costs before you finance.


Plus, when you apply by June 30, 2019, the $150 documentation fee will be waived*;i.

To learn more and apply, visit wellsfargo.com/express or visit your local bank.er. Or if you have specific questions about our loans, call
1-800-416-0056, Monday-Friday, 7:00 a.m. to 5:00 p.m. Pacific time, to talk to a specialist.




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        Sheet Seq"' Cl179894
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Note: All financing is subject to credit approvaL


~Restrictions apply.
uwells Fargo is offering a $150 documentation fee waiver to qualifying customers who apply for an Equipment Express loan account
between 04/01/2019 and 06/30/2019. To qualify, customers must (1) apply for a new Equipment Express loan account during the offer
period, and (2) access funds from the account within 60 days of account opening.



Activity summary                                                                                            Account number:             9888
       Beginning balance on 4/1                                       $16,755.55                            ONE BOX TV, I.LC
       Deposits/Credits                                                31,973.86                            Rorida account terms and condifions apply
       Withctawals/Debits                                            - 41, 179.29                           For Direct Deposit use
                                                                                                            Routing Number (RTN): 063107513
       Ending balance on 4130                                         $7,550.12
                                                                                                            For Wire Transfers use
       Average ledger balance this period                             $12,934.64                            Routing Number (RThl): 121000248




Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




Transaction history

                            Check                                                                                    Deposits/         Wtthdrawalsl         End!ng daily
       Date               Number Description                                                                           Credits                 Debits            balance
       411                       Money Transfer authorized on 03/30 From Fogle Donna PA                                 68.99
                                    $00469089433073179 Card 3166
       411                          04f01Bankcard De~5>Sit           9144                                            1.659.95
       411                          Money Transfer authorized on 03f31 From Fogle Donna PA                             161.72
                                    500569090428627618 Card 3166
       411                          Money Transfer authorized on 03/31 From Fogle Donna PA                               17.97
                                    800309091004026386 Card 3166
       411                          Money Transfer authorized on 03f31 From Fogle Donna PA                               17.97
                                  800589091026831997 Card 3166
       411                        04/01Bankcard Dee:osit          9144                                               1,059.30
       411                        Sguare Inc 190401R2 190401 L208430723317 One Box Tv LLC                              173.55
       411                        Sguare Inc 190401R2190401 L20843072331S One Box Tv LLC                               173.55
       411                        Money Transfer authorized on 04/01 From Fogle Donna PA                                53.91
                                  $00589091503230685 Card 3166
       411                        StriE!e Transfer St-P1A6D1DOx4M6 One Box Tv LLC                                      108.90
       411                        Money Transfer authorized on 04f01 From Fogle Donna PA                                39.11
                                  500469092032070366 Card 3166
       411                        Purchase authorized on 03/28 WWW .Alibaba. Com Delaware DE                                                1,697.65
                                  8389088244227740 Card 3174
       411                        Purchase authorized on 03!30 Gw Corp Campus 941-6270064 FL                                                    89.00
                                  8389089570025195 Card 3166
       411                      < Business to Business ACH Debit- Bankcard Mtot Dep 190329                                                       0.70
                                                 6504 One Box Tv, LLC
       411                      < Business to Business ACH Debit- Bankcard Mtot Dep 190331                                                       5.26
                                                 8504 One Box Tv, LLC
       411                        Pa~e:al Inst Xfer 190401 U£::wrkescrow Donnafo!lle Oneboxtv                                                  301.40           18,196.46
       412                        Bankcard Mtot Dee: 190401                8504 One Box Tv, LLC                        907.40
       412                        Money Transfer authorized on 04f02 From Fogle Donna PA                                97.53
                                  800469092448555031 Card 3166
       412                        Money Transfer authorized on 04/02 From Fogle Donna PA                                 35.94
                                  800589092453935691 Card 3166
       412                        Strie:e Transfer St-Q1N2P4Q2W1x5 One Box Tv LLC                                      145.20
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Transaction history (continued)
                            Check                                                                   Deposits!      \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                         Credits             Debits       balance
     412                            Money Transfer authorized on 04f02 From Fogle Donna PA             17.97
                                    500589092641394357 Card 3166
     412                            Harland Clarke Check/Ace. 040119 00665207575482 One Box Tv,                           48.52
                                    LLC
     412                            Purchase authoriZed on 04f02 USPS PO 11721502 520 7th                                 12.29
                                  Palmetto FL P00589092738543213 Card 317 4
     412                        < Business to Business ACH Debit - Authnet Gateway Billing                                44.81
                                    xxxxx8161 One BoxTv LLC
     412                        < Business to Business ACH Debit- Bankcard Mtot Disc 190331                              742.41
                                               8504 One Box Tv, LLC
     412                     1146 Check                                                                                1,272.00      17,280.47
     413                          04f03Bankcard Deposit         9144                                  732.95
     413                            Money Transfer authorized on 04f03 From Fogle Donna PA            197.65
                                    500309093431489132: Card 3166
     413                            Money Transfer authorized on 04/03 From Fogle Donna PA             53.91
                                    800469093545824731 Card 3166
     413                            Stripe Transfer St-C8R4Z8Q7W3R3 One Sox Tv LLC                    545.77
     413                        <   Business to Business ACH Debit- Bankcard Mtot Dep 190402                               1.90
                                                  8504 One Box Tv, LLC
     413                     1147   Check                                                                              1,383.75      17,425.10
     414                            Sguare Inc 190404R2190404 L208431619084 One Box Tv LLC            173.55
     414                            04!04Bankcard Deposit          9144                             1,053.95
     414                            Money Transfer authorized on 04/04 From Fogle Donna PA            125.78
                                    800309094468755643 Card 3166
     414                            Stripe Transfer St-R6NZS4C4K9N8 One Box Tv LLC                     98.25
     414                            Recurring Payment authorized on 04/03 Phone.Com 9638838                               65.87
                                    WWW.Phone.Com CA $469093380083043 Card 3166
     414                            Purchase authorized on 04104 Circle K # 07629 8400 Parrish FL                         30.04
                                    P00000000273866945 Card 3166
     414                            Cash eWithdrawal in Branch/store 04f04f2019 2:41 Pm 7112 US                        2,266.46
                                    Hwy 301 N Ellenton FL
     414                            Purchase authorized on 04104 Wal-Mart #3474 Bradenton FL                             134.94
                                    P00000000683220542 Card 3174
     414                        <   Business to Business ACH Debit- Bankcard Mtot Dep 190403                               1.40
                                                  8504 One Box Tv, LLC
     414                            Fiverr.Com lat Paypal 1904041005324672823 Donnafogle                                  22.00      16,355.92
                                    Oneboxtv
     415                            04!05Bankcard Deposit          9144                               304.95
     415                            Money Transfer authorized on 04105 From Fogle Donna PA             71.87
                                    800389095437117852 Card 3166
     415                            Money Transfer authorized on 04!05 From Fogle Donna PA             35.94
                                    800589095481589817 Card 3166
     415                            Money Transfer authorized on 04105 From Fogle Donna PA             35.94
                                    800389095544492238 Card 3166
     415                            Stripe Transfer St-D8E1WOR1U509 One Box Tv LLC                    108.90
     415                            Purchase authorized on 04105 USPS PO 11721502 520 7th                                 11.34
                                    Palmetto FL ?00589095742701358 Card 3174
     415                        <   Business to Business ACH Debit- Bankcard Mtot Dep 190404                              21.13
                                                  8504 One Box Tv, LLC
     415                            Fiverr.Com lat Paypal 1904051005332605094 Donnafogle                                  22.00      16,859.05
                                    Oneboxtv
     418                            04!08Bankcard Deposit          9144                             1,021.85
     418                            Money Transfer authorized on 04107 From Fogle Donna PA             89.84
                                    800389097448140128 Card 3166
     418                            Money Transfer authorized on 04/07 From Fogle Donna PA             17.97
                                    $00469098095788714 Card 3166
     418                            04!08Bankcard Deposit          9144                               203.30
     418                            Square Inc 190408R2 190408 L208432638682 One Box Tv LLC           173.55
     418                            Money Transfer authorized on 04/08 From Fogle Donna PA             17.97
                                    800389098449944736 Card 3166
     418                            Stripe Transfer St-L801Q6V3Q7V6 One Box Tv LLC                    181.31




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Transaction history (continued)
                   Check                                                                   Deposits!       \!Wthdrawalsl   Ending dally
     Date         Number Description                                                         Credits              Debits       balance
     418                   Money Transfer authorized on 04f08 From Fogle Donna PA             17.97
                           500389098653312883 Card 3166
     418                   Recurring Payment authorized on 04105 360..Sitelock480-50                              53.00
                           877-2579263 AZ $389095261007107 Card 3166
     418                   Purchase authoriZed on 04f06 Racetrac100 Bradenton FL                                  52.01
                           P00309096497297588 Card 3166
     418                   Purchase authorized on 04/07 The Home Depot #1863                                     227.49
                           Bradenton FL P00589097782692145 Card 3174
     418                   Purchase authorized on 04f07 Amzn Mktp US"Mw6Sw                                        69.99
                         Amzn.ComfSill WA $589098125031399 Card 3166
     418                 Purchase authorized on 04/08 USPS PO 11262501 2:605 72N                                   9.74
                         Ellenton FL P00309098586502260 Card 3174
     418                 Purchase authorized on 04!08 Racetrac 2472 Ellenton FL                                   40.02
                         P00569098709854379 Card 3166
     418               < Business to Business ACH Debit- Bankcard Mtot Dep 190405                                  1.05
                                       6504 One Box Tv, LLC
     418                 United Fin Cas Ins Prem 190408 02823356 One S One Box Tv LLC                            157.00
     418               < Business to Business ACH Debit- Bankcard Mtot Dep 190407                                  3. 16
                                       6504 One Box Tv, LLC
     418                 Paypal Inst Xfer 190406 Upwrkescrow Donnafogle Oneboxtv                                  19.53       17,949.62
     419                 Money Transfer authorized on 04f09 From Fogle Donna PA              102.52
                           800309099408736943 Card 3166
     419                   Money Transfer authorized on 04/09 From Fogle Donna PA             35.94
                           800589099412612591 Card 3166
     419                   Stripe Transfer St-8315A2T6x:6Z4 One Box TV LLC                   172.27
     419                   Purchase authorized on 04107 Amzn Mktp US"Mw7Gc                                        77.95
                           AmzrtComlBill WA $589097578392011Card3166
     419                 Purchase authorized on 04107 WWW.l>Jibaba.Com Delaware DE                             1,589.55
                         $469096125818281 Card 3174
     419                 Purchase authorized on 04108Amzn Mktp US"Mz1Rk                                           70. 12
                         Amzn.Com/Bill WA $389098504007299 Card 3166
     -419                Purchase authorized on 04109 Office Depot 00 4502 E. S                                  190.43
                         Bradenton FL P00389099543759078 Card 3166
     419                 Purchase authorized on 04109Wal-Mart #3370 Palmetto FL                                   17.08
                         P00000000374580686 Card 3174
     419               < Business to Business ACH Debit- Bankcard Mtot Dep 190408                                  0.85
                                      8504 One Box Tv, LLC
     419                 Clover App Mrkt Clover App 190409 899-9217558-000 One Box                                48.10       16,266.47
                           Tv LLC
     4110                  Purchase Return authorized on 04f09 Amzn Mktp US                   51.99
                           Amzn.Com/Bill WA $629100544392620 Card 3166
     4110                  Square Inc 190410R2 190410 L208433129722 One Box Tv LLC           173.55
     4110                  04/10Bankcard Deposit         9144                                770.40
     -4110                 Money Transfer authorized on 04110 From Fogle Donna PA             89.84
                           S00469100414702031 Card 3166
     4110                Stripe Transfer St-H9M2P9F6M9J9 One Box Tv LLC                      780.07
     -4110               Purchase authorized on 04108 Amzn Mktp US*Mw5Vn                                           8.99
                         Amzn.Com!Bill WA $589098688004518 Card 3166
     4110                Bankcard Interchange Fee-         9144                                                    8.37
     4110                Bankcard Fee-          9144                                                              35.32
     4110                Bankcard Discount Fee-          9144                                                     49.16
     -4110               Purchase authorized on 04110 The UPS store '#2744 89 Parrish FL                         591.18
                         P00000000836368S64 Card 3166
     4110              < Business to Business ACH Debit- Bankcard Mtot Dep 190409                                  3.70
                                       8504 One Box Tv, LLC
     -4110          1148 Check                                                                                   610.00       16,825.60
     4111                04/11Bankcard Deposit -        9144                                 609.90
     4111                Money Transfer authorized on 04/11 From Fogle Donna PA               89.84
                         $00309101452983070 Card 3166
     4111                Stripe Transfer St-x5R7W604V5P6 One Box Tv LLC                       98.52
     4!11                Wire Trans Svc Charge- Sequence: 190411076294 Srf#                                       30.00
                         0066444101252993 Trn#190411076294 Rfb#
                                                                                                                REDE Page 144of181
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Transaction history (continued)
                            Check                                                                   Deposits!      \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                         Credits             Debits       balance
     4111                           Purchase authorized on 04f07 Woody's River Roo Ellenton FL                            55.56
                                    5589097836488480 Card 3174
     4111                           Purchase authorized on 04/09 Amzn Mktp US*Mw994                                       57.90
                                    Amzn.Com!Sill WA 5589099752355862 Card 3166
     4!11                           Recurring Payment authorized on 04110 Apl..ltunes.Com/BU                               9.99
                                    866-712-7753 CA 8389100412259419 Card 3166
     4111                           Purchase authorized on 04/10 Amzn Mktp US*Mw1 Km                                      29.99
                                    Amzn.Com!Bill WA 5309100570543439 Card 3166
     4111                           Purchase authorized on 04f11 7-Eleven 38144 Ellenton FL                               63.03
                                    P00000000274634724 Card 3166
     4!11                           WT fed#08762 Jpmorgan Chase Ban /Ftr/Bnf=Granite Merchant                          5,000.00
                                  Services Inc Srf# 0066444101252993 Trn#190411076294 Rfb#
     4111                       < Business to Business ACH Debit- Bankcard Mtot Dep 190410                                 2.12
                                                8504 One Box Tv, LLC
     4111                         ATT Payment 041019 828117001Col1J William Firestone                                    410.51      11,964.76
     4112                         Money Transfer authorized on 04/12 From Fogle Donna PA               89.84
                                  $00589102434828872 Card 3166
     4112                         04f12Bankcard De~osit -        9144                                 818.55
     4112                         Stripe Transfer St-F7W1Q3W1A3G4 One Box Tv LLC                      163.35
     4112                         Purchase authorized on 04110 Gw Ranch Lake 941-4051850 FL                               49.00
                                    $389100671398789 Card 3166
     4112                         Purchase authorized on 04111 Amzn Mktp US"Mz203                                         18.99
                                  AmZTtCom/Bill WA $469101741168594 Card 3166
     4112                         Purchase authorized on 04112 USPS PO 11721502 520 7th                                   39.90
                                  Palmetto FL P00589102751009061Card3174
     4112                       < Business to Business ACH Debit- Bankcard Mtot Dep 190411                                 4.27
                                               8504 One Box Tv, LLC
     4112                         Transferwise Inc One Box Tv 190412 70117940 One Box Tv, LLC                          2,266.15      10,658.19
     4!15                         04f15Bankcard Depooit         9144                                1,407.05
     4115                         Money Transfer authorized on 04/13 From Fogle Donna PA               17.97
                                    $00309103442951471 Card 3166
     4115                           Money Transfer authorized on 04/13 From Fogle Donna PA             35.94
                                    $00389103525353946 Card 3166
     4115                           04f15Bankcard Deposit         9144                                935.43
     4!15                           Money Transfer authorized on 04/14 From Fogle Donna PA             89.84
                                    800469104419379748 Card 3166
     4115                           04f15Bankcard Deposit -       9144                                813.20
     4115                           Square Inc 190415R2 190415 L208434429329 One Box Tv LLC           173.55
     4115                           Square Inc 190415R2190415 L208434429330 One Box Tv LLC            173.55
     4115                           Stripe Transfer St-P488ASl3Y5K7 One BoxTv LLC                     108.90
     4!15                           Purchase authorized on 04!12 Gw Corp Campus 941-8270064 FL                           111.00
                                    S589102550810885 Card 3166
     4115                           Purchase authorized on 04/15 Wal-Mart #1004 Bradenton FL                              74.90
                                    P00000000282267559 Card 3166
     4115                           Purchase authorized on 04!15 Best Buy 00011411 Bradenton FL                           42.79
                                    P00000000781064798 Card 3166
     4115                           Purchase authorized   on 04115 Bradenton Bradenton FL                                 40.00
                                    P00000000171260285 Card 3166
     4115                       < Business to Business ACH Debit- Bankcard Mtot Dep 190412                                 2.14
                                                8504 One Box Tv, LLC
     4115                       < Business to Business ACH Debit- Bankcard Mtot Dep 190414                                 5.80
                                                8504 One Box Tv, LLC
     4115                         Paypal lnst Xfer 190415 Upwrkescrow Oonnafogle Oneboxtv                                144.32      13,992.67
     4116                         Money Transfer authorized on 04/16 From Fogle Donna PA               71.87
                                  S00389106553981105 Card 3166
     4116                         Stripe Transfer St-C4S5S9xOR7NO One Box Tv LLC                      197 .04
     4116                         Wire Trans Svc Charge- Sequence: 190416161729 Srf#                                      45.00
                                  0066187106576154 Trn#190416161729 Rfb#
     4116                         Purchase authorized on 04114 WWW ..Alibaba.Com Delaware DE                           1,769.72
                                    8469105025532628 Card 3174
     4116                           Purchase authorized on 04f16 USPS PO 11721502 520 7th                                 12.29
                                    Palmetto FL P00469106733043115 Card 3174




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Transaction history (continued)
                   Check                                                                      Deposits!       \!Wthdrawalsl   Ending dally
     Date         Number Description                                                            Credits              Debits       balance
     4116                  WT 190416-161729 China Merchants Ban /Bnf=Xiamen Yoyo                                  1,837.50
                           Ceramic Trading CO Ltd Sff# 0066187106576154
                           Trn#190416161729 Rfb#
     4116              < Business to Business ACH Debit- Bankcard Mtot Dep 190415                                     2.25       10,594.82
                                        8504 One Box Tv, LLC
     4117                  Square Inc 190417R2 190417 L208434939062 One Box Tv LLC              173.55
     4117                  04/17Bankcard Deposit -        9144                                  973.01
     4117                  Money Transfer authorized on 04/17 From Fogle Donna PA                53.91
                           $00469107436414552 Card 3166
     4117                  Money Transfer authorized on 04/17 From Fogle Donna PA                17.97
                           $00469107557153035 Card 3166
     4117                  Stripe Transfer St-Z7H117R7DOT2 One Box Tv LLC                       288.75
     4117                  Wire Trans Svc Charge- Sequence: 190417166612 Srf#                                        45.00
                           0066103107437064 Trn#190417166612 Rfb#
     4117                  WT 190417-166612 China Merchants Ban /Bnf=Xiamen Yoyo                                  1,395.00
                           Ceramic Trading Ltd Srf# 0066103107437064 Trn#190417166612
                           Rfb#
     4117              < Business to Business ACH Debit- Bankcard Mtot Dep 190416                                     5.27
                                        8504 One Box Tv, LLC
     4117           1149 Check                                                                                      580.00       10,076.74
     4118                04/18Bankcard De~osit         9144                                     224.70
     4118                Money Transfer authorized on 04/18 From Fogle Donna PA                 159.12
                         800389108460437636 Card 3166
     4118                Money Transfer authorized on 04/18 From Fogle Donna PA                  17.97
                         $00589108535313775 Card 3166
     4118                Stripe Transfer St-l5UODOROL2P6 One Box Tv LLC                         152.97
     4118                Purchase authorized on 04/18 Riverview Mart Riverview FL                                    25.00       10,606.50
                           P00000000685080798 Card 3166
     4119                  04/19Bankcard Depooit         9144                                   695.50
     4119                  Money Transfer authorized on 04/19 From Fogle Donna PA                89.84
                           $00469109445534701 Card 3166
     4119                  Stripe Transfer St-R5P2VSR6BOR4 One Box Tv LLC                        54A5
     4119                  Money Transfer authorized on 04f19 From Fogle Donna PA                17.97
                           800589109799800294 Card 3166
     4119                  Purchase authorized on 04/19 Wawa 5177 Bradenton FL                                       20.03
                           P00589109518815735 Card 3166
     4119                Purchase authorized on 04f19USPS PO 112625012605 72N                                        22.02
                         Ellenton FL P00389109750976713 Card 3174
     4119              < Business to Business ACH Debit - Fla Dept Revenue C01                                    2,142.47
                         76733012 One Box Tv LLC
     4119                Paypal lnst Xfer 190419 Holsters Donnafogle Oneboxtv                                        86.95        9, 192.79
     4122                04!22Bankcard Deposit           9144                                   508.25
     4122                Money Transfer authorized on 04/20 From Fogle Donna PA                  17.97
                         S00389110485050431 Card 3166
     4122                04!22Bankcard Deposit          9144                                  1, 139.55
     4122                Money Transfer authorized on 04/21 From Fogle Donna PA                   35.94
                         $00589111488234286 Card 3166
     4122                Money Transfer authorized on 04/21 From Fogle Donna PA                  17.97
                           $00469111521063126 Card 3166
     4122                  04!22Bankcard Deposit         9144                                   935.00
     4122                  Payarc Tp Res Rel 190419 926700451513597 One Box Tv                  143.20
     4122                  Payan; Tp Res Rel 190421 926700451513597 One Box Tv                  170.14
     4122                  Square Inc 190422R2190422 L208436212544 One Box Tv LLC               173.55
     4122                  Square Inc 190422R2 190422 L208436212545 One Box Tv LLC              173.55
     4122                  Payarc Tp Res Rel 190421 926700451513597 One Box Tv                  314.86
     4122                  Money Transfer authorized on 04/22 From Fogle Donna PA                17.97
                           $00469112479218309 Card 3166
     4122                  Stripe Transfer St-Q6P2W889Z7L 1 One Box TV LLC                       54.26
     4122                  Money Transfer authorized on 04/22 From Fogle Donna PA               225.87
                           800309112817537111Card3166
     4122                  Purchase authorized on 04f20 Shell Service Station Saint Petersb                          20.01
                           FL P00589110549675811 Card 3166
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Transaction history (continued)
                            Check                                                                   Deposits!      \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                         Credits             Debits       balance
     4122                           Purchase authorized on 04f20 7-Eleven Parrish FL                                      10.00
                                    P00000000673416991 Card 3166
     4122                           Purchase authorized on 04/22 7-Eleven Sarasota FL                                     25.02
                                    P00000000619883396 Card 3166
     4122                           Fdgl Lease Pymt 190422 052-1323765-000 Donna Fogle                                    39.22
                                    Oneboxtv
     4122                           Paypal Inst Xfer 190421 Holsters Donnafogle Oneboxtv                                  51.08
     4122                           Paypal Inst Xfer 190422 Upwrkescrow Donnafogle Oneboxtv                                9.42      12,966.12
     4123                           Money Transfer authorized on 04f23 From Fogle Donna PA             51.98
                                    800389113469695455 Card 3166
     4!23                           Money Transfer authorized on 04/23 From Fogle Donna PA             35.94
                                    800589113525920434 Card 3166
     4123                           Stripe Transfer St-N4H5F7J7S4C5 One Box Tv LLC                    108.90
     4123                           Money Transfer authorized on 04/23 From Fogle Donna PA             17.97
                                  800589113724257861 Card 3166
     4123                         Purchase authorized on 04122 Sunpass..Acc7631112                                         7.03
                                  888-865-5352 FL $389112704509819 Card 3174
     4123                         Purchase authorized on 04123 The Home Depot #1863                                      109.94
                                  Bradenton FL P00589113764769183 Card 3174
     4123                    1151 Check                                                                                  710.00      12,353.94
     4124                         Sguare Inc 190424R2190424 L208436718087 One Box Tv LLC              266.04
     4124                         Payarc Tp Res Rel 190423 926700451513597 One Box Tv                 442.07
     4!24                         04/24Bankcard Depooit -         9144                                224.70
     4124                         Money Transfer authorized on 04/24 From Fogle Donna PA              107.81
                                  $00469114445643310 Card 3166
     4124                         Money Transfer authorized on 04/24 From Fogle Donna PA               35.94
                                  800389114505235348 Card 3166
     4124                         Stripe Transfer St-0407Z9S5V6W2 One Box Tv LLC                      235.95
     4!24                         Purchase authorized on O.f.f22WWW ..Alibaba.Com Delaware DE                          1,484.54
                                  S389113113648258 Card 3174
     4124                         Purchase authorized on 04/24 Wawa 5258 Bradenton FL                                     50.02
                                  P00309114486636002 Card 3166
     4124                         Fpl Direct Debit Elec Pymt 04119 3733077360 Telv Donna C Fogle                         175.79      11,956.10
     4125                         Payarc Tp Res Rel 190424 926700451513597 One Box Tv                 152.15
     4!25                         04/25Bankcard Depooit           9144                                304.95
     4125                         Money Transfer authorized on 04/25 From Fogle Donna PA              107.81
                                  800589115431449552 Card 3166
     4125                         Stripe Transfer St-E6Z8Z4POSOV7 One Box Tv LLC                      106.28
     4125                         Money Transfer authorized on 04/25 From Fogle Donna PA               17.97
                                  800469115633847128 Card 3166
     4!25                         Purchase authorized on O.f.f22 Bright House Netwo 317-972-9700                          89.98
                                  FL 8309112697510375 Card 3174
     4125                         Purchase authorized on 04/22 Bright House Netwo 317-972-9700                            65.99
                                  FL 5589112699862055 Card 3174
     4125                         Transferwise Inc One Box: Tv 190425 71599657 One Box Tv, LLC                         2,246.61      10,242.68
     4126                         Payarc Tp Res Rel 190425 926700451513597 One Box Tv                 192.78
     4126                         04/26Bankcard Deposit           9144                                 79.99
     4126                         Money Transfer authorized on 04/26 From Fogle Donna PA               89.84
                                  800469116434932280 Card 3166
     4126                         Money Transfer authorized on 04/26 From Fogle Donna PA               33.34
                                  800589116445172353 Card 3166
     4126                         Money Transfer authorized on 04/26 From Fogle Donna PA               35.94
                                  $00589116519108870 Card 3166
     4126                         Stripe Transfer St-C6Z6Y4A8Q9V5 One Box Tv LLC                       90.75                         10,765.32
     4129                         04/298ankcard Deposit -         9144                                856.00
     4129                         Money Transfer authorized on 04/27 From Fogle Donna PA               79.28
                                  800389117448475551 Card 3166
     4129                         04f298ankcard Deposit           9144                              1,631.75
     4!29                         Money Transfer authorized on 04128 From Fogle Donna PA              177.10
                                  800589118440851868 Card 3166
     4!29                         Money Transfer authorized on 04f28 From Fogle Donna PA               53.91
                                  S00389118525982145 Card 3166




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Transaction history (continued)
                        Check                                                                                   Deposits!        \!Wthdrawalsl        Ending dally
      Date             Number Description                                                                         Credits               Debits            balance
      4129                       04!29Bankcard Deposit          9144                                              369.15
      4129                       Payarc Tp Res Rel 190428 926700451513597 One Box Tv                               78.55
      4129                       Payarc Tp Res Rel 190428 926700451513597 One Box Tv                              106.14
      4129                       Payarc Tp Res Rel 190426 926700451513597 One Box Tv                              131.49
      4!29                       Square Inc 190429R2 190429 L208438011924 One Box Tv LLC                          173.55
      4129                       Square Inc 190429R2 190429 L208438011925 One Box Tv LLC                          173.55
      4129                       Money Transfer authorized on 04/29 From Fogle Donna PA                            49.66
                                 500589119530456599 Card 3166
      4129                       Stripe Transfer St-N7P3F4K5R7H4 One Box Tv LLC                                    54.45
      4129                       Purchase authorized on 04!25Amzn Mktp US"Mz3Ty                                                         31.96
                                 Amzn.ComfBHI WA 5309115820260996 Card 3166
      4129                       Purchase authorized on 04126 Tst.. South Philly Bradenton FL                                           29.16
                                 $389117049054167 Card 3174
      4129                       Purchase authorized on 04127 Office Depot 00 4502 E. S                                                 96.30
                                 Bradenton FL P00469117518363112 Card 3166
      4129                       Purchase authorized on 04127 7-Eleven Bradenton FL                                                     15.00
                                 P00000000039164183 Card 3166
      4129                       Purchase authorized on 04128 Wawa 5271 Bradenton FL                                                    20.00
                                 P00469118600552509 Card 3166
      4129                     Purchase authorized on 04128 Office Depot 00 4026 14th                                                   77.04
                               Bradenton FL P00589118607406509 Card 3166
      4129                     Paypal lnst Xfer 190428 Power Hobby Donnafogle Oneboxtv                                                  37.77
      4!29                1152 Check                                                                                                  1,383.75          13,008.92
      4130                     Money Transfer authorized on 04/30 From Fogle Donna PA                             161.72
                               $00469120457781488 Card 3166
      4130                     Stripe Transfer St-H1Q7A6M6E7Z4 One Box Tv LLC                                     199.65
      4130                     Money Transfer authorized on 04/30 From Fogle Donna PA                              17.97
                                 800309120844046979 Card 3166
      4!30                       Wire Trans Svc Charge- Sequence: 190430103187 Srf#                                                     30.00
                                 0066103120564775 Trn#190430103187 Rib#
      4130                       Purchase authorized on 04/28 WWW .Alibaba. Com Delaware DE                                           1,723.39
                                 8309119100664666 Card 3174
      4130                       WT Fed#02027 Citibank, N.A. IFtr!Bnf=Yiwu Hongmai Appliance                                          4,021.60
                                 CO Ltd Srf# 0066103120564775 Tm#1904301 03187 Rfb#
      4!30                       Purchase authorized on 04/30 Office Depot 00 4026 14th                                                 48.15
                                 Bradenton FL ?00469120656723786 Card 3166
      4130                       Purchase authorized on 04!30 Racetrac100 Bradenton FL                                                  15.00            7,550.12
                                 P00389120700947809 Card 3166
      Ending balance on 4130                                                                                                                             7,556.12
      Totals                                                                                                 $31,913.86           $41,179,29

     The Encing Daily Balance does not reflect any pending !Mthdrawa/s or holds on deposited funds that may have been outstanding on your account when your
     transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed,
      < Business to Business ACH:lf this 1s a business account, this transactJon has a return ~me frame of one business day from post date This tJme frame does net
        apply to consumer accounts.




Summary of checks written        (checks listed are a/so displayed in the preceding Transaction history)

      Number            Data                Amount          Number            Dole                 Amount          Number            Date                 Amount
      1146              412                 1,272.00        1148              4110                  610.00         1151 •            4123                  710.00
      1147              413                 1,383.75        1149              4117                  580.00         1152              4129                1,383.75

      • Gap in check sequence,
                                                                                                                             REDE Page 148 of 181
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Account number:                 9888       • April 1, 2019 - April 30, 2019         • Page 9of10




Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Goto wellsfargo.comffeefaqfor a link to these documents, and answers
to common monthly service fee questions.


       Fee period 0410112019- 04130/2019                                                   Standard monthly service fee $14.00                You paid $0.00

       How to avoid the monthly service fee                                                                 Minimum reqLJired                 This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                    $7,500.00                    $12,935.00    G
            A qualifying transaction from a linked Wells Fargo Business Payroll Services                                        1                           oD
            account
            A qualifying transaction from a linked Wells Fargo Merchant Services account                                                                  2s G
            Total number of posted debit card purchases or posted debit card payments of                                    10                             55   G
            bills in any combination
            Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                                                   oD
            Combined balances in linked accounts, which may include                                                 $10,000.00                                  G
              Average ledger balances in business checking, savings, and time accounts
              Most recent statement balance in eligible Wells Fargo business credit cards and
              lines of credit, and combined average daily balances from the previous month
              in eligible Wells Fargo business and commercial loans and lines of credit
              For complete details on how you can avoid the monthly service fee based on
              yoLJr combined balances please refer to page 7 of the Business Account Fee and
              Information Schedule at www.wellsfargo.com!bizlfee-information




Account transaction fees summary
                                                                                           Units          Excess        Service cllarge per             Total service
       Service charge description                                 Units used          induded              units           excess units($)                charge($)
       Cash Deposited($)                                                   0               7,500               0                    0.0030                       0.00
       Transactions                                                       85                 200               0                       0.50                      0.00
       Total urvice charges.                                                                                                                                    $0.00




         IMPORTANT ACCOUNT INFORMATION

Effective June 24, 2019, the cash deposited fee will be renamed to cash deposit processing fee. There is no change to the amount of
cash you can deposit to your account each month at no charge. In addition, the fee assessed for exceeding the amount of cash
deposited each month with no fee will remain the same. To review the amount of cash deposits processed each month with no fee
and any cash deposit processing fees, please refer to Cash Deposited information in the ''Account transaction fees summary" section of
your statement

If you have questions, please contact your local banker or call the phone number listed atthe top of your statement We appreciate
your business and look forward to continuing to seive your financial needs.




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     Sheet 00005 cf 00005
                                                                                                                                    REDE Page 149of181
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Account number:                             9888      • April 1, 2019 - April 30, 2019   • Page 10 of 10




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts                   You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                     and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the             information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft              an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                         Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                          Total amount $




@2010 Wells Fargo Bank, NA. All   right~   reserved Member FDIC. NMLSR ID 399801
                                                                                                                                REDE Page 150of181
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Wells Fargo Business Choice Checking
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                                                                                                         Questions?
ONE BOX TV, LLC                                                                                          Available by phone 24 hours a day, 7 days a week:
                                                                                                         Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST STE
                                                                                                           1-800-CALL-WELLS (1-800-225-5935)
BRADENTON FL 34208-3501                                                                                    TTY: 1-800-877-4833
                                                                                                           En espanol: 1-877-337-7454
                                                                                                         Online: wellsfargo.com/biz

                                                                                                         Write: Wells Fargo Bank, N.A. (287)
                                                                                                                P.O. Box6995
                                                                                                                  Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                           Account options
 Since August 2003, the Wells Fargo/Gallup Small Business Index has suiveyed                             A check mark in the box indicates you have these convenient
                                                                                                         services with your account(s) Go to wellsfargo.com!b1z or
 small business owners on current and future perceptions of their business
                                                                                                         cell the numbf!1r above if you have queslions or if you would
 financial situation. View the latest results at wellsfargoworks.com.
                                                                                                         like to add new services.

                                                                                                         Business Online Banking                               0
                                                                                                         Online Statements                                     0
                                                                                                         Business Bill Pay                                     0
                                                                                                         Business Spending Report                              0
                                                                                                         Overdraft Protection                                  D



Other Wells Fargo Benefits

Looking for $10,000 to $100,000 in financing for business vehicles or equipment?

VVhetheryou are interested in refinancing an existing vehicle loan," or purchasing new or used vehicles or equipment, we're here to
help.


The Equipment Expresst> loan provides flexible financing that could help move your business foiward.
- Fixed rates
- Set payments
- No annual or prepayment fees


As a small business owner, there are plenty of uncertainties - don't let financing costs be one of them. Wrth Equipment Express, you'll
know your costs before you finance.


Plus, when you apply by June 30, 2019, the $150 documentation fee will be waived*;i.

To learn more and apply, visit wellsfargo.com/express or visit your local bank.er. Or if you have specific questions about our loans, call
1-800-416-0056, Monday-Friday. 7:00 a.m. to 5:00 p.m. Pacific time. to talk to a specialist.




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        Sheet Seq"' Cl179893
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Note: All financing is subject to credit approvaL


~Restrictions apply.
uwells Fargo is offering a $150 documentation fee waiver to qualifying customers who apply for an Equipment Express loan account
between 04/01/2019 and 06/30/2019. To qualify, customers must (1) apply for a new Equipment Express loan account during the offer
period, and (2) access funds from the account within 60 days of account opening.



Activity summary                                                                                            Account number:             9888
       Beginning balance on 5/1                                        17,550.12                            ONE BOX TV, U.C
       Deposits/Credits                                                11,325.49                            Rorida account terms and condifions apply
       Withctawals/Debits                                             - 9,614.68                            For Direct Deposit use
                                                                                                            Routing Number (RTN): 063107513
       Ending balance on 5/31                                         $9,260.93
                                                                                                            For Wire Transfers use
       Average ledger balance this period                            $10,114.26                             Routing Number (RThl): 121000248




Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




Transaction history

                            Check                                                                                    Deposits/         Wtthdrawalsl         End!ng daily
       Date               Number Description                                                                           Credits                 Debits           balance
       511                       Sguare Inc 190501R2 190501 L208438508079 One Box Tv LLC                               173.55
       511                       Pa~arc Te: Res Rel 190430 926700451513597 One Box Tv                                  205.21
       511                       05/01Bankcard De~5>Sit        9144                                                    979.05
       511                       Money Transfer authorized on 05f01 From Fogle Donna PA                                 53.91
                                 500469121433152149 Card 3166
       511                       Strie:e Transfer St-N4S2Y6Y1G5A4 One Box Tv LLC                                       471.90
       511                       Purchase authorized on 04129 Paypal ..614412700 402-935-7733                                                   60.00
                                 CA $309120174946460 Card 3166
       511                       Bankcard Fee Agjustment-          9144                                                                         12.00
       511                       Purchase authorized on 05/01 Office Depot 00 4026 14th                                                         48.15           9,313.59
                                 Bradenton FL ?00469121578633354 Card 3166
       512                       Pa~arc Te: Res Rel 190501 926700451513597 One Box Tv                                   93.11
       512                       05/02Bankcard Dee:osit        9144                                                    625.95
       512                       Money Transfer authorized on 05/02 From Fogle Donna PA                                  89.84
                                    800589122417912382 Card 3166
       512                          Money Transfer authorized on 05f02 From Fogle Donna PA                               17.97
                                    500309122505169291 Card 3166
       512                          Strie:e Transfer St-W9M1S9V8N3B6 One Box Tv LLC                                    181.50
       512                          Money Transfer authorized on 05/02 From Fogle Donna PA                              17.97
                                    S00309123002396381 Card 3166
       512                          Pa~arc Merch Fees 190430 926700451513597 One Box Tv                                                         25.13
       512                          Purchase authorized on 05/02 Pilot #0089 Ellenton FL                                                         8.00
                                    P00589122596579491 Card 3166
       512                          Purchase authorized on 05f02 USPS PO 11262501 2605 72N                                                      41.39
                                    Ellenton FL P00469122682462018 Card 3174
       512                          Purchase authorized on 05/02 Raoetrao100 Bradenton FL                                                       10.01
                                    P00589122720072568 Card 3166
       512                      < Business to Business ACH Debit - Authnet Gateway Billing                                                      45.37
                                 xxxxx4351 One BoxTv LLC
       512                  1153 Check                                                                                                         610.00
       512                  1154 Check                                                                                                         100.00           9,500.03
       513                       Pa~arc Te: Res Rel 190502 926700451513597 One Box Tv                                  159.32
       513                       Sguare Inc 190503R2 190503 L208439153209 One Box Tv LLC                               173.55
                                                                                                               REDE Page 152of181
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Transaction history (continued)
                            Check                                                                  Deposits!      \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                        Credits             Debits       balance
     513                            05/03Bankcard Deposit         9144                               304.95
     513                            Money Transfer authorized on 05/03 From Fogle Donna PA           179.68
                                    800589123461322074 Card 3166
     513                            Stripe Transfer St-x913J3Q9YOK2 One Box Tv LLC                    92.02
     513                            Purchase authoriZed on 05f03 7-Eleven Sarasota FL                                    25.03
                                    P00000000672557958 Card 3166
     513                            Purchase authorized on 05/03 Office Depot 00 4502 E. S                               19.26      10,365.26
                                    Bradenton FL P00309123739026487 Card 3174
     516                            05/06Bankcard Deposit         9144                               315.65
     516                            Money Transfer authorized on 05/04 From Fogle Donna PA           161.72
                                    500389124433346904 Card 3166
     516                            05/06Bankcard Deposit         9144                               449.40
     516                            Money Transfer authorized on 05f05 From Fogle Donna PA           161.72
                                    500309125459867982: Card 3166
     516                            05/06Bankcard Deposit          9144                              813.15
     516                            Payarc Tp Res Rel 190505 926700451513597 One Box Tv               78.78
     516                            Payarc Tp Res Rel 190505 926700451513597 One Sox Tv              115.65
     516                            Pa~arc Te: Res Rel 190503 926700451513597 One Box Tv             163.98
     516                            Square Inc 190506R2190506 L208439825185 One Box Tv LLC           173.55
     516                            Edeposit IN Branch/Store 05/06!19 02:08:53 Pm 7112 US Hwy         42.00
                                    301 N Ellenton FL 3166
     516                            Stripe Transfer St-E712Z403F5U1 One Box Tv LLC                    98.25
     516                            Purchase authorized on 05/01 U-Haul of Brndento Bradenton FL                         57.38
                                    8389121592772118 Card 3166
     516                            Recurring Payment authorized on 05/03 Phone.Com 9680973                              66.31
                                    WWW.Phone.Com CA S389123415644780Card 3166
     516                            Purchase authorized on 05/04 7-Eleven Bradenton FL                                   15.01
                                    P00000000277244981 Card 3166
     516                            Purchase authorized on 05!04 Amazon Seller Repa                                      39.99
                                    Amzn.ComfBill WA S389125165278750 Card 3174
     516                            Recurring Payment authorized on 05105 360..Sitelock480-50                            53.00
                                    877-2579263 AZ $389125260678043 Card 3166
     516                            Purchase authorized on 05f05 Racetrac100 Bradenton FL                                10.01
                                    P00389125648379799 Card 3166
     516                          Cash eWithdrawal in Branch/Store 05!0612019 2:06 Pm 7112 US                         2,265.00
                                  Hwy 301 N Ellenton FL 3166
     516                          Paypal lnst Xfer 190505 1005564983323 Donnafogle Oneboxtv                             100.00
     516                          Feibiao Zhang lat Paypal 190506 1005569596401 Donnafogle                               60.00
                                  Oneboxtv
     516                          Paypal Inst Xfer 190506 Tdl Donnafogle Oneboxtv                                       12999
     516                          Paypal lnst Xfer 190506 Sigfishspor Donnafogle Oneboxtv                               139.99
     516                          Paypal lnst Xfer 190506 Upwrkescrow Donnafogle Oneboxtv                                28.26       9,974.17
     517                          Money Transfer authorized on 05/07 From Fogle Donna PA              53.91
                                  S00589127419973259 Card 3166
     517                          Stripe Transfer St-F9WOL2T6LOS2 One Box Tv LLC                      72.60
     517                        < Business to Business ACH Debit- Payarc Ppm Fees S 190506                                2.95
                                  926700451513597 One Box Tv
     517                          United Fin Cas Ins Prem 190507 02823358 One B One Box Tv LLC                          157.00       9,940.73
     518                          Square Inc 190508R2190508 L208440324107 One Box Tv LLC             173.55
     518                          Payarc Tp Res Rel 190507 926700451513597 One Box Tv                :213.95
     518                          05/08Bankcard Deposit           9144                               224.70
     518                          Stripe Transfer St-05M9B3K9Q5G9 One Box Tv LLC                     765.79
     518                          Money Transfer authorized on 05108 From Fogle Donna PA             107 .81
                                    800469128752457675 Card 3166
     518                            Purchase authorized on 05f07 Trugreen Lp *5798 941-756-9537                          77.60
                                    FL 8589127452151831Card3174
     518                            Purchase authorized on 05f08 7-Eleven Parrish FL                                     10.02      11,338.91
                                    P00000000775437474 Card 3166
     519                            Square Inc 190509R2190509 L208440642479 One Box Tv LLC           347.25
     519                            Money Transfer authorized on 05/09 From Fogle Donna PA           138.46
                                    $00309129499793724 Card 3166
     519                            Stripe Transfer St-G4E8C8N2L8x3 One Box Tv LLC                   235.57




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Transaction history (continued)
                   Check                                                                  Deposits!       \!Wthdrawalsl   Ending dally
     Date         Number Description                                                        Credits              Debits       balance
     519                   Recurring Payment authorized on 05108 Amazon Prime                                   120.06
                           Amzn.Com/8111 WA S4691285256n075 Card 3166
     519                   Purchase authorized on 05/09 Wawa 5110 Pinellas Park FL                               15.00
                           P00589129500297328 Card 3166
     519                   Clover App Mrk.t Clover App 190509 899-9217558-000 one Box                            44.95       11,880.18
                           Tv LLC
     5110                  Payarc Tp Res Rel 190509 926700451513597 One Box Tv              139.90
     5110                  Square Inc 190510R2 190510 L208440975805 One Box Tv LLC          347.10
     5110                  Stripe Transfer St-E1P3Q4K3W8WO One Box Tv LLC                    90.75
     5110                  Bankcard Interchange Fee-         9144                                                41.35
     5!10                  Bankcard Fee -        9144                                                            58.03
     5110                  Bankcard Discount Fee-         9144                                                  341.10
     5110                  Purchase authorized on 05f10 Office Depot 00 4026 14th                                48.15       11,969.30
                           Bradenton FL ?00589130695785793 Card 3166
     5113                  Payarc Tp Res Rel 190510 926700451513597 One Box Tv               21.81
     5113                  Payarc Tp Res Rel 190512 926700451513597 One Box Tv              103.62
     5!13                  Square Inc 190513R2190513 L208441652702 One Box Tv LLC           578.85
     5113                  Stri~e Transfer St-l8G4A5B3M3N4 One Box Tv LLC                    43.22
     5113                  Recurring Payment authorized on 05110 Apl ..ltunes.Com/Sil                             9.99
                           866-712-7753 CA 5309130339554230 Card 3166
     5113                  Purchase authorized on 05f11 U-Haul of Bradento Bradenton FL                         103.23
                           5589130710182607 Card 3174
     5!13                  Purchase authorized on 05/12 Racetrac100 Bradenton FL                                 10.01
                           P00389132560107139 Card 3166
     5!13                  Recurring Payment authorized on 05/12 Dnh ..Godaddy.Com                               74.49
                           480-5058855 AZ 8469132590638781 Card 3166
     5113                  Purchase authorized on 05/13 Manatee Citgo Bradenton FL                               10.00
                           P00589133728115368 Card 3166
     5!13              < Business to Business ACH Debit - Payarc Ppm Fees S 19051 O                               2.91
                           926700451513597 One Box Tv
     5113                  Fiverr.Com lat Paypal 1905131005614697448 Donnafogle                                 126.00
                           Oneboxtv
     5113                  Fiverr.Com lat Paypal 1905131005614653888 Donnafogle                                 514.50
                           Oneboxtv
     5!13                  Paypal Inst Xfer 190513 Upwrkescrow Donnafogle Oneboxtv                              113.71
     5113                  Fiverr. Com lat Pay pal 190513 1005627508841 Donnafogle                              162.75       11,589.21
                           Oneboxtv
     5114                  Stripe Transfer St-H4Y5L7L5WOK1 One Box Tv LLC                    18.15
     5114                  Recurring Payment authorized on 05113 Dnh ..Godaddy.Com                               46.33
                           480-505 8855 AZ $469133483645229 Card 3166
     5!14                  05!14Bankcard Chargeback -        9144                                               449.40
     5114              < Business to Business ACH Debit - Payarc Ppm Fees S 190513                               30.00       11,081.63
                           926700451513597 One Box Tv
     5115                  Purchase authorized on 05/13 IN The Nick of Tim 000-0000000                          215.99
                           WI $389133723724301 Card 3166
     5115                  05/15Bankcard Chargeback          9144                                               364.94
     5115                  Purchase authorized on 05115 Racetrac 2472 Ellenton FL                                10.00       10,470.70
                           P00309135617786955 Card 3166
     5116                Purchase authorized on 05f14 Funnel Guru Amazon 8573025986                             299.00
                         MA 8389135190902214 Card 3166
     5116                Purchase authorized on 05/16 Circle K ~ 07629 8400 Parrish FL                           13.00
                         P00000000483051180 Cord 3166
     5116              < Business to Business ACH Debit - Payarc CR CD Chbk 190515                               19.00
                         926700451513597 One Box Tv
     5116           1155 Check                                                                                   79.00       10,060.70
     5120                Transfer From Schnatter Michael on 05120 Ref# Pp068Xf6R4           200.00
     5120                Money Transfer authorized on 05f20 From Fogle Donna PA              53.54
                         500589140862251353 Card 3166
     5!20                Purchase authorized on 05115 U-Haul of Bradento Bradenton FL                            68.50
                           S309135639212960 Card 3166
     5!20                  Purchase authorized on 05f18 7-Eleven 38144 Ellenton FL                               20.00
                           P00000000884882783 Card 3166
                                                                                                                REDE Page 154of181
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Transaction history (continued)
                            Check                                                                   Deposits!      \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                         Credits             Debits       balance
     5120                           Recurring Payment authorized on 05119 Dnh ..Godaddy.Com                              142.96
                                    480-5058855 AZ 5469139382795845 Card 3166
     5120                           Purchase authorized on 05/19 Shell Service Station Nokomis FL                         25.21
                                    P00309139516086759 Card 3166
     5!20                           Purchase authorized on 05f19 Speectway 06595 Bradenton FL                             32.84
                                    P00589139802068948 Card 3166
     5120                           Purchase authorized on 05/20 WM Superc Wal-Mart Sup                                   41.40
                                  Bradenton FL P000000005869153SO Card 3174
     5120                    1156 Check                                                                                  160.00
     5120                           Fdgl Lease Pymt 190520 052-1323765-000 Donna Fogle                                    39.22
                                    Oneboxtv
     5120                           ATT Payment 051619 752869004Co11T William Firestone                                  432.10
     5120                           Paypal lnst Xfer 190520 Upwrkescrow Donnafogle Oneboxtv                               65.93       9,286.08
     5121                           Purchase authorized on 05/21 USPS PO 11262501 2605 72N                                22.66
                                    Ellenton FL P00469141763635096 Card 3114
     5121                           Purchase authorized on 05121 Racetrac 2472 Ellenton FL                                 4.60
                                    P00389141785452654 Card 3166
     5121                           Purchase authorized on 05121 Detwilers Farm Palmetto FL                               34.67       9,224.15
                                    P00000000312195784 Card 3174
     5122                           Square Inc 190522R2 190522 L208443959464 One Box Tv LLC           216.69
     5122                           Purchase authorized on 05f20 Gw Ranch Lake 941-4051850 FL                             39.00       9,401.84
                                    5469140861944551 Card 3174
     5!23                           Purchase authorized on 05/23 7-Eleven 38144 Ellenton FL                               10.02
                                    P00000000713955468 Card 3166
     5!23                           Purchase authorized on 05f23 USPS PO 11262501 2605 72N                                18.68
                                    Ellenton FL P005891437435903S6 Card 3174
     5123                       < Business to Business ACH Debit - Stripe Transfer                                        68.00       9,305.14
                                    St-07R3U8M507F5 One Box Tv LLC
     5!24                           Transfer From Schnatter Michael on 05f24 Ref# Pp069Kht4L          200.00
     5124                           Purchase authorized on 05124 Office Depot 00 4502 E. S                                42.76
                                    Bradenton FL ?00589144624021639 Card 3166
     5124                           Purchase authorized on 05/24 Racetrac 2381 Bradenton FL                               30.01       9,432.37
                                    P00309144633270101Card3166
     5128                           Purchase authorized on 05123 Bright House Netwo 317-972-9700                          65.99
                                    FL $469143548829388 Card 3174
     5128                           Purchase authorized on 05123Gw Corp Campus 941-8270064 FL                             50.18
                                    $309143658340108 Card 3166
     5128                           Purchase authorized on 05127 Circle K # 07629 8400 Parrish FL                         20.00
                                    P00000000019864052 Card 3166
     5128                         Purchase authorized on 05128 USPS PO 11262501 2605 72N                                  45.79
                                  Ellenton FL P0030914S762065837 Card 3174
     5128                         Fpl Direct Debit Elec Pymt 05f19 3733077360 Telv Donna C Fogle                         211.65
     5128                       < Business to Business ACH Debit - Stripe Transfer                                        34.00
                                  St-U5C7E6K3F6C9 One Box Tv LLC
     5128                         Paypal lnst Xfer 190527 Upwrkescrow Donnafogle Oneboxtv                                 84.17       8,919.99
     5129                         05/29Bankcard Chargeback Rev -          9144                         79.99
     5129                         Purchase authorized on 05127 Gw Honore 941-4873561 FL                                   39.00
                                    8309147615215165 Card 3174
     5129                           Purchase authorized on 05f27 Gw Corp Campus 941-8270064 FL                            93.00
                                    S589147686746821 Card 3174
     5129                           Purchase authorized on 05127 Gw Ranch Lake 941-4051850 FL                             60.00       8,807.98
                                    5389147764023594 Card 3174
     5130                           05!30Bankcard Chargeback Rev           9144                       304.95
     5130                           Transfer From Schnatter Michael on 05f30 Ref# Pp06B7Rmq8          200.00




    Sheet Seq"' Cl179895
    Sheet 00003 cf OOQ04
                                                                                                                                  REDE Page 155 of 181
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Transaction history (continued)
                           Check                                                                                      Deposits!        \!Wthdrawalsl          Ending dally
       Date               Number Description                                                                            Credits               Debits              balance
       5130                    < Business to Business ACH Debit - Stripe Transfer                                                                42.00           9,270.93
                                 St-G7C8AZROSOA3 One Box Tv LLC
       5131                         Purchase authorized on 05/31 Racetrac 2472 Ellenton FL                                                       10.00           9.260.93
                                    P00389151634458011Card3166
       Ending balance on 5131                                                                                                                                    9,260.93
       Totals                                                                                                     $11,3Z5.49             $9,614.63

       The Encing Dfi/y Balance does not reflect any pending Wthdrawa/s or holds on deposited funds that may have been outstanding on your account when your
                  postti~d. If you had insuffident available funds when a transaction posted, fe9s may hav9 been assessed,
       transactions
       < Business to Business ACH:lf this 1s a business account, this transac/Jon has a return //me frame of one business day from post date This /Jme frame does nci.
         apply to consumer accounts.




Summary of checks written           (checks listed are also displayed in the preceding Transaction history)

       Number              Date                Amount          Number            Dale                  Amount            Number            Date                   Amount
       1153                512                  610.00         1155              5f16                     79.00          1156              5120                      160.00
       1154                512                  100.00


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Go to wellsfargo.com/feefaqfor a link to these documents, and answers
to common monthly service fee questions.



       Fee period 05/01/2019- 05131/2019                                                     Standard monthly service fee $14.00                   You paid $0.00

       How to avoid the monthly service fee                                                                   Minimum required                     This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                        $7,500.00                       $10,114.00 G
              A qualifying transaction from a linked Wells Fargo Merchant Services account                                        1                              15 G
              Total number of posted debit card purchases or posted debit card payments of                                        10                            soG
              bills in any combination
              Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                       1                              oD
              Combined balances in linked accounts, which may include                                                   $10,000.00                                G
                Average ledger balances in business checking, savings, and time accounts
                Most recent statement balance in eligible Wells Fargo business credit cards and
                lines of credit, and combined average daily balances from the previous month
                in eligible Wells Fargo business and commercial loans and lines of CA edit
                For complete details on how you can avoid the monthly service fee based on
                your combined balances please refer to page 7 of the Business Account Fee and
                Information Schedule at wvro. wellsfargo. oomtbiz/fee-information




Account transaction fees summary
                                                                                           Units            Excess          Service charge per                Total seniice
       Service charge description                                  Units used           induded              units             excess units($)                  charge($)
       Cash Deposited($)                                                    0                7,500                0                    0.0030                          0.00
       Transactions                                                        59                  200                0                      0.50                          0.00
       Total service charges                                                                                                                                         $0.00
                                                                                                                         REDE Page 156of181
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~IMPORTANT ACCOUNT INFORMATION
Effective June 24, 2019, the cash deposited fee will be renamed to cash deposit processing fee. There Is no change to the amount of
cash you can deposit to your account each month at no charge. In addition, the fee assessed for exceeding the amount of cash
deposited each month with no fee will remain the same. To review the amount of cash deposits processed each month with no fee
and any cash deposit processing fees, please refer to Cash Deposited information in the ''Account transaction fees summary" section of
your statement

If you have questions, please contact your local banker or call the phone number listed at the top of your statement We appreciate
your business and look forward to continuing to seive your financial needs.




     Sheet Seq"' Cl179896
     Sheet 00004 cf 00004
                                                                                                                               REDE Page 157 of 181
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General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts              You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the        information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft         an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                    Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.

2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                     Total amount $




@2010 Wells Fargo Bank, NA. All   right~   reserved Member FDIC. NMLSR ID 399801
                                                                                                                                 REDE Page 158 of 181
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Wells Fargo Business Choice Checking
June 30, 2019 •         Page 1 of6




                                                                                                           Questions?
ONE BOX TV, LLC                                                                                            Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
BOOTH 22
1707 1ST STE
                                                                                                             1-800-CALL-WELLS                (1-800-225-5935)

BRADENTON FL 34208-3501                                                                                      TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (287)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Since August 2003, the Wells Fargo/Gallup Small Business Index has suiveyed                               A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 small business owners on current and future perceptions of their business
                                                                                                           cell the numbf!1r above if you have queslions or if you would
 financial situation. View the latest results at wellsfargoworks.com.
                                                                                                           like to add new services.

                                                                                                           Business Online Banking                               0
                                                                                                           Online Statements                                     0
                                                                                                           Business Bill Pay                                     0
                                                                                                           Business Spending Report                              0
                                                                                                           Overdraft Protection                                  D


Activity summary                                                                                            Account number:              9888
        Beginning balance on 611                                       $9,260.93                            ONE BOX TV, LLC
        Deposits/Credits                                                3,017.67                            Flor/de eccount terms end conditions ffipply
        Withctawals!Debits                                            - 8,248.22                            For Direct Deposit use
        Ending balance on 6130                                        $4,030.38                             Routing Number (RTN): 063107513
                                                                                                            For Wire Transfers use
        Average ledger balance this period                             $4,767.31                            Routing Number (RTN): 121000248



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (.!67)
      Sheet Seq"' Cl213211
      Sheet 00001 cf OOQ03
                                                                                                        REDE Page 159of181
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Transaction history

                   Check                                                                    Deposits!      Withdrawals/    Ending daily
     Date        Number Description                                                           Credits            Debits        balance
     613                   Purchase Return authorized on 05f31 Trugreen Lp ..5798              47.65
                           941-756-9537 FL $629152543779636 Card 3174
     613                   06/03Bankcard Chargeback Rev            9144                       449.40
     613                   Sguare Inc 190603R2190603 L208447052510 One Box Tv LLC             243.49
     613                   06/03Bankcard Chargeback            9144                                              278.20
     613                   Purc;hase authorized on 06/01 Thorntons # 711 10185 Big                                20.00
                           Riverview FL P00389152718446153 Card 3166
     613                   Purchase authorized on 06!01 Paradise Lakes Res Lutz FL                                38, 18
                           5309152830666465 Card 3166
     613                   Purchase authorized on 06/01 Amazon Seller Repa                                        39,99
                           Amzn.Com!Sill WA 5389153164684599 Card 3174
     613                   Recurring Payment authorized on 06102 Phone.Com 9680973                                66.95
                           WWW.Phone.Com CA S469153659282298Card 3166
     613                   Payarc Merch Fees 190531 926700451513597 One Box Tv                                    25.05
     613                   Forest Shipping lat Paypal 1906031005781770644 Donnafogle                             944.S2
                           Oneboxtv
     613                   Paypal lnst Xfer 190603 Upwrkescrow Donnafogle Oneboxtv                                94.19       8,494,09
     614                   06/04Bankcard Chargeback Rev             9144                      278.20
     614                   Purchase Intl authorized on 05/31 Xt Network Saint Avertin Fra                         10, 14
                           $639155549149001 Card 3174
     614                   International Purchase Transaction Fee                                                  0.30
     614                   Purchase authorized on 06/04 USPS PO 11262501 2605 72N                                 19.63
                           Ellenton FL P0030915574'1488094 Cant 3·174
     614                   Withdrawal Made In A BranchfStore                                                   3,256.00
     614                   Purchase authorized on 06!04Aldi 74107 Palmetto FL                                     15.83
                           P00469155789666322 Card 3174
     614              < Business to Business ACH Debit - Authnet Gateway Billing                                  29.83
                        x:xxxx6131 One BoxTv LLC
     614                Paypal Echeck 190604 1005794139458 Donnafogle Onebox.tv                                   18.45       5,422, 11
     615                Purchase Return authorized on 06/03 IN The Nick of Tim West           108.00
                        BendWl S389133723724301 Card 3166
     615                Purchase authorized on 06f05 7-Eleven 38144 Ellenton FL                                    9.00       5,521.11
                        P00000000384219556 Card 3166
     616                Transfer From Schnatter Michael on 06f06 Ref# Pp06Cf3Ltp              200,00
     616                Recurring Payment authorized on 06/05 360..Sitelock480-50                                 53.00
                        877-2579263 AZ S389156260689464 Card 3166
     616                Bankcard Fee Aqjustment-          9144                                                   304.95
     616              < Business to Business ACH Debit- Payarc Ppm Fees S 190605                                   0.98
                        926700451513597 One Box Tv
     616                United Fin Cas Ins Prem 190606 02823358 One B One Box Tv LLC                             157.00       5,205.18
     617                Purchase authorized on 06!04 Bright House Netwo 317-972-9700                              56.99
                        FL S589155655489594 Card 3174
     617              < Business to Business ACH Debit- Payarc Ppm Fees S 190606                                   1.25       5, 146.94
                        926700451513597 One Box Tv
     6110               Square Inc 190610R2 190610 L208448891797 One Box Tv LLC               202.34
     6110               06/10Bankcard Chargeback            9144                                                 224.10
     6110               Purchase authortzed on 06108 USPS PO 11262501 2605 72N                                    10.04
                        Ellenton FL P00589159607079429 Card 3166
     6110               Purchase authorized on 06!10 Circle K # 07629 8400 Parrish FL                             10.01
                        P00000000174492306 Card 3166
     6110               Paypal Inst Xfer 190610 Upwrkescrow Oonnafogle Onebmdv                                   122.45       4,982.08
     6111               Recurring Payment authorized on 06110 Apl ..ltunes.Com/Bil                                 9.99
                        866-712-7753 CA S389161339531998 Card 3166
     6111               06/11Bankcard Chargeback            9144                                                 400.00
     6111               Purchase authortzed on 06111 USPS PO 11262501 2605 72N                                    14.45
                        Ellenton FL P00469162753554551 Card 3174
     6111          1158 Check                                                                                    150.00       4,407.64
     6112               Transfer From Schnatter Michael on 06f12 Ref# Pp06D6Vfv6              400,00
     6112               Bankcard Discount Fee          9144                                                       73.50
     6112               Bankcard Fee -         9144                                                              146.53
                                                                                                                                REDE Page 160of181
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Transaction history (continued)
                              Check                                                                                 Deposits!      \!Wthdrawalsl         Ending dally
       Date                  Number Description                                                                       Credits             Debits             balance
       6112                           Bankcard Interchange Fee-            9144                                                           177.43            4,410.18
       6113                           Purchase authorized on 06/13 7-Eleven Parrish FL                                                     10.00            4,400.18
                                      P00000000479938544 Card 3166
       6114                           Purchase authorized on 06114 Loves Travel Stops 495 N Fort                                           20.02            4,380.16
                                      Myers FL ?00469165572725335 Card 3166
       6117                           Money Transfer authorized on 06/16 From Fogle Donna PA                           44.89
                                      800309167540906216 Card 3166
       6117                           Paypal Inst Xfer 190617 Upwrkescrow Donnafogle Oneboxtv                                             131.86            4,293.19
       6118                           Purchase authorized on 06f18 Shell Service Station St Pete Beach                                     20.00            4,273.19
                                      FL P00589169594999242 Card 3174
       6!20                           Purchase authorized on 06/20 USPS PO 11262501 2:605 72N                                              16.12
                                      Ellenton FL ?00469171751492572 Card 3174
       6120                           Fdgl Lease Pymt 190620 052-1323765-000 Donna Fogle                                                   39.22            4,217.85
                                    Onebox:tv
       6121                         06/21Bankcard Chargeback            9144                                                              449.40
       6121                         Purchase authorized on 06121 Pilot #0089 Ellenton FL                                                   30.00
                                    P00589172520224663 Card 3174
       6121                         ATT Paxment 062019115543003Smt2L William Firestone                                                    389.43
       6121                    1159 Check                                                                                                  80.00            3,269.02
       6124                         Transfer From Schnatter Michael on 06f23 Ref# Pp06Fq;jzm                          400.00
       6124                         Purchase authorized on 06f22 Bright House Netwo 317-972-9700                                           65.99
                                      FL 8589173722270248 Card 3174
       6!24                           Purchase authorized on 06/22 Sunpass*Acc7631112                                                       5.78
                                      888-865-5352 FL 8589173727476959 Card 3174
       6!24                           Purchase authorized on 06f24 7-Eleven 38144 Ellenton FL                                              22.00
                                      P00000000584163969 Card 3166
       6124                           Paypal Inst Xfer 190624 Upwrkescrow Donnafogle Oneboxtv                                              75.35            3,499.90
       6126                           Purchase authorized on 06125 Trugreen *Lockb 800-878-4733 TN                                         23.82
                                      8469176445661824 Card 3174
       6126                           Purchase authorized on 06!26 7-Eleven 38144 Ellenton FL                                              23.01
                                      P00000000177809333 Card 3166
       6126                           Purchase authorized on 06126 7-Eleven Parrish FL                                                      5.01            3,448.06
                                      P00000000881726299 Card 3166
       6127                           Payarc CR CD Chbk 190626 926700451513597 One Box Tv                              19.00
       6!27                           06/27Bankcard Chargeback Rev -          9144                                    224.70
       6127                           Purchase authorized on 06127 Office Depot 00 4502 E. S                                               21.38            3,670.38
                                      Bradenton FL P00589178574860922 Card 3166
       6128                           06/2SBankcard Chargeback Rev            9144                                    400.00
       6128                           Purchase authorized on 06/28 Circle K # 07629 8400 Parrish FL                                        40.00            4,030.38
                                      P00000000470126373 Card 3174
       Ending balance on 6130                                                                                                                               4,030.38
       Totals                                                                                                      $3,017.67          $8,248.22
       The Enr:Jng Deily Be/am;e does not reflect any pending Wthdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insuffident available funds when a transaction posted, fees may have been assessed,
       < Business to Business ACH:lf this 1s a business account, this transact!on has a return //me frame of one business day from post date This t!me frame does nci.
         apply to consumer accounts.




Summary of checks written             (checks listed are a/so displayed in the preceding Transaction history)

       Number                Date                 Amount          Number          Dale                   Amount
        1158                 6111                  150.00         1159            6121                     80.00


Monthly service fee summary

For a complete list of fees and detaHed account Information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Goto wellsfargo.comffeefaqfor a link to these documents. and answers
1o common monthly service fee questions.




      Sheet Seq"' Cl213212
      Sheet 00002 cf 00003
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Monthly service fee summary (continued)

       Fee period 06!01f2019- 06/30/2019                                                   standard monthly service fee $14.00               You paid $0.00

       How to avoid the monthly service fee                                                                 Minimum required                 This fee period
       Have any ONE of the following accoLJnt requirements
            Average ledger balance                                                                                   $7.500.00                    $4.767.oo    D
            A qualifying transaction from a linked Wells Fargo Merchant Services account                                       1                         12    l<l
            Total number of posted debit card purchases or posted debit card payments of                                    10                           21    G
              bills in any combination
            Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                      1                           oo
              Combined balances in linked accounts, which may include                                               $10,000.00                                 D
                Average ledger balances in business checking, savings, and time accounts
                Most recent sta1ement balance in eligible Wells Fargo business credit cards and
                lines of credit, and combined average daily balances from the previous month
                in eligible Wells Fargo business and commercial loans and lines of CT edit
                For complete details on how you can avoid the monthly service fee based on
                your combined balances please refer to page 7 of the Business Account Fee and
                Information Schedule at WWN. wellsfargo. comfbiz/fee-information
       The Monthly service fee summary fee period ending date shown above includes a Saturday, Sunday, or holiday which are non-business days.
       Transactions occurring after the last business day of the month will be included in your next fee period
       WUM<




Account transaction fees summary
                                                                                          Units           Excess        Service charge per             Total serlll'ce
       Service charge description                                  U111ts used        included             units           excess umts ($)               charge($)
       Cash Deposited($)                                                    0              7,500               0                   0.0030                       0.00
       Transactions                                                        17                200               0                      0.50                      0.00
       Total service charges                                                                                                                                   $0.00




         IMPORTANT ACCOUNT INFORMATION

Effective August 19, 2019, there will be changes to Service fees for Overdraft and Returned Items.

We may assess an overdraft fee for any item we pay into overdraft, and we may assess a returned item fee for any item returned
unpaid. We limit our overdraft and/or returned Item fees to eight (8) per business day. We will not assess an overdraft or Non-Sufficient
Funds/NSF fee on Items of $5 or less. If both your ending daily account balance and available balance are overdrawn by $5 or less after
we have processed all of your transactions, we will not assess an overdraft fee on the items. No overdra1t fee will be assessed on ATM
and every day (one-time) debit card transactions unless Debit Card Overdraft Service is added to your account.




Revised Agreement for Online Access
We're updating our Online Access Agreement effective September 30, 2019,
To see what is changing, please visit wellsfargo.com/onlineupdates.



Effective March 25, 2019, Wells Fargo announced its decision to discontinue providing payroll seNices to its customers through its
Business Payroll Services (BPS) division.
                                                                                                                             REDE Page 162of181
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Prior to March 25, your checking account was eligible for a monthly se1Vice fee waiver with a qualifying transaction from a linked Wells
Fargo Business Payroll Seivices account that is funded from a linked Business Choice Checking account at least once during the fee
period.

Although a qualifying transaction through a Wells Fargo Payroll Services account will no longer be an option to waive the monthly
seivice fee on your account, all of the following options to waive the fee each fee period"' will remain the same:
- Maintain a $7,500 average ledger balance
- $10,000 in combined business balances (checking, savings, time accounts and credit; see the Schedule for details)
- 10 or more posted debit card transactions (any combination of posted debit card purchases or posted debit card payments of bills)
from this checking account (See the Schedule for more information)
                                                                         1
- Linked to a Direct Pay"" seivice through Wells Fargo Business Online '
- Qualifying transaction from a linked Wells Fargo Merchant Sewices account'""'


Additionally, if you were receiving a monthly service fee waiver through qualifying payroll services transactions prior to March 25th,
Wells Fargo will continue to waive your monthly seivice fee until further notice.


If you have questions, please contact your local banker or call the phone number listed atthe top of your statement We appreciate
your business and look foiward to continuing to seive your financial needs.


"'We will waive the monthly seivice fee for each fee period that ends within the first 64 days of opening the account to allow you to
meet the requirements to avoid the monthly seivice fee.
                                                                1
uThe Direct Pay seivice through Wells Fargo Business Online ' can be linked to one Business Choice Checking account to qualify for a
monthly seivice fee waiver.
u"'A qualifying transaction from a linked Wells Fargo Merchant Seivices account is a payment catd transaction (e.g., Visa$', MasterCard''
or Discover" Network) from a Wells Fargo Merchant Seivices product that is deposited to a linked Business Choice Checking account at
least once during the fee period.




      Sheet Seq"' Cl213213
      Sheet 00003 cf 00003
                                                                                                                               REDE Page 163 of 181
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General statement policies for Wells Fargo Bank

• Notice: Wells Fargo Bank, N.A. may furnish information about accounts              You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the        information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft         an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                    Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.

2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                     Total amount $




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                         PART
                           2
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Business Account Application
Bank Name:
!WELLS FARGO BANK, N .A.
Banker Name:
!SEAN DOUGHERTY
                                                                                              Store Name:

                                                                                             j~:C,!''1'~1'J(;'l'C21'J
                                                                                             Officer/Portfolio Number:
                                                                                             IA7 64 7
                                                                                                                                   Date:
                                                                                                                                   !05/20/2015
                                                                                                                                                                           •
Banker Phone:                                              Store Number:                      Banker AU:                           Banker MAC:
!610/767-3817                                              !09218                            10068115                              !Y0923-010
To help the government fight the funding of terrorism and money laundering activities, U.S. Federal law requires financial institutions to obtain, verify, and record information that
identifies each person (individuals and businesses) who opens an account. What this means for you: When you open an account, we will ask for your name, address, date of birth and
other information that will allow us to identify you. We may also ask to see your driver's license or other identifying documents.

New Account Information

        [g]   New Deposit Account(s) Only                             D     New Deposit Account(s) and Business Credit Card

Account 1 Product Name:                                                                       Purpose of Account 1 :

lV\7e11 s XCl.£9:~ £3l1~~I1~~s C::l1.()~~~ C::l1.~~~~I19'                                    Jc;~I1~£Cl.::l2E~J:Cl.~~I19' Account
COID:              Product:          Account Number:                                          Opening Deposit:                     Type ofFunds:
  45               DDA                            6221                                             100.00                           CACK

New Account Kit:                                                                               Checking/Savings Bonus Offer Available:
IB20141029-0000352373                                                                          I   No

Related Customer Information
Customer 1 Name:                                                                              Account Relationship:
              C FOGLE                                                                          Sole Owner
Enterprise Customer Number (ECN):
  25105008900765
Customer 2 Name:                                                                              Account Relationship:
              FOGLE ONEBOXTV                                                                          sociated Party
Enterprise Customer Number (ECN):
393228102005719

Checking/Savings Statement Mailing Information
Name(s) and Information Listed on Statement:                                                  Statement Mailing Address:
                                                                                               4673 STEVEN LN
                                                                                              Address Line 2:
          DONNA FOGLE ONEBOXTV
                                                                                              City:                                                               State:
                                                                                               WALNUTPORT                                                         I

                                                                                              ZIP /Postal Code:                                                   Country:
                                                                                               18088-9619                                                         I




                                                                                                                                                                              Page 1 of4
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      Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 373 of 460 PageID 450
                                                                                                                                             Business Account Application
Customer 1 Information
Customer Name:                                                                                    Street Address:
!DONNA FOGLE ONEBOXTV                                                                              4673 STEVEN LN
Enterprise Customer Number (ECN):                                                                 Address Line 2:
!393228102005719
Account Relationship:                                                                             Address Line 3:
!Associated Party
Taxpayer Identification Number (TIN):            TIN Type:                                        City:                                                 State:
             -9022                               ISSN                                              WALNUTPORT                                           I
Business Type:                                                                                    ZIP/Postal Code:                                      Country:
jSole Proprietor                                                                                   18088-9619                                        !US
Business Sub-Typeff ax Classification:                               Non-Profit:                  Business Phone:                  Fax:
I                                                                   INo                            610/533-3150                   i
Date Originally Established:        Current Ownership Since:         Number of Employees:         Cellular Phone:                  Pager:
!05/01/2015                         I                               11                                                            i
Annual Gross Sales:                        Year Sales Reported:      Fiscal Year End:             e-Mail Address:
j$100.00                                   !05/01/2015              I
Primary Financial Institution:             Number of Locations:                                   Website:
                                           il
Primary State 1:                    Primary State 2:                 Primary State 3:             Sales Market:
IPA                                LE"I,                          J1'JJ'                           REGIONAL
Primary Country 1:                  Primary Country 2:               Primary Country 3:
I                                   I                               I

Industry:
~nformation/Media
Description ofBusiness:
!Smart TV device sales
Major Suppliers/Customers:



Bank Use Only
Name/Entity Verification:                                                      Address Verification:                           BACC Reference Number:
!Not Applicable                                                                !FP/FD                                          !6151400002441
Document Filing Number/Description:                          Filing Country:   Filing State:                  Filing Date:     Expiration Date:


Country ofRegistration:          State ofRegistration:       International Transactions:                                       Check Reporting:
                                                                                                                                      RECORD

Customer 1 Name:                                                                                Internet Gambling Business?:
             FOGLE ONEBOXTV                                                                      No




                                                                                                                                                               Page 2 of4
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                                                                                                                                                              Business Account Application

Sole Proprietor 1 Information
Customer Name:                                                                                       Residence Address:
[[)()1'J1'J)O.   C:: FOGLE                                                                           4673 STEVEN LN
Position!Title:                    Date of Birth:               Enterprise Customer Number (ECN):    Address Line 2:
I   Owner                                      /1958 [725105008900765
Taxpayer Identification Number (TIN):               TIN Type:                                        Address Line 3:
l                 9022                          !SSN
Primary ID Type:                 Primary ID Description:                                             City:                                                               State:
IDLIC                                                       -969-0                                   WALNUTPORT                                                          !PA
Primary ID St/Ctry/Prov:         Primary ID Issue Date:              Primary ID Expiration Date:     ZIP/Postal Code:                                                    Country:
                                101/28/2009                          112/29/2016                     18088-9619                                                          1u
Secondary ID Type:               Secondary ID Description:                                           Directional Address:
                                                                                                     {Document when no physical residence, business or alternate street address.)
l<:)'I'J:If<.I:JC::             ;TJ\7ELLS FARGO
Secondary ID State/Country:      Secondary ID Issue Date:            Secondary ID Expiration Date:

I                                                                    103/30/2017
Country of Citizenship:                                                                              Check Reporting:
1u                                                                                                   NO RECORD


Certificate of Authority
Each person who signs the "Certified/ Agreed To" section of this Application certifies that:
     A. The Customer's use of any Bank deposit account, product or service will confirm the Customer's receipt of, and agreement to be bound by,
        the Bank's applicable fee and information schedule and account agreement that includes the Arbitration Agreement under which any dispute
        between the Customer and the Bank relating to the Customer's use of any Bank deposit account, product or service will be decided in an
        arbitration proceeding before a neutral arbitrator as described in the Arbitration Agreement and not by a jury or court trial.
     B. Each person who signs the "Certified/Agreed To" section of this Application or whose name, any applicable title and specimen signature appear in the "Authorized Signers-
        Signature Capture" section of this Application is authorized on such terms as the Bank may require to:
        (1) Enter into, modify, terminate and otherwise in any manner act with respect to accounts at the Bank and agreements with the Bank or its affiliates for accounts and/or services
            offered by the Bank or its affiliates (other than letters of credit or loan agreements);
        (2) Authorize (by signing or otherwise) the payment of Items from the Customer's account(s) listed on this Business Account Application (including without limitation any Item
            payable to (a) the individual order of the person who authorized the Item or (b) the Bank or any other person for the benefit of the person who authorized the Item) and the
            endorsement of Deposited Items for deposit, cashing or collection (see the Bank's applicable account agreement for the definitions of "Item" and "Deposited Item");
        (3) Give instructions to the Bank in writing (whether the instructions include the manual signature or a signature that purports to be the facsimile or other mechanical signature
            including a stamp of an Authorized Signer as the Customer's authorized signature without regard to when or by whom or by what means or in what ink color the signature
            may have been made or affixed), orally, by telephone or by any electronic means in regard to any Item and the transaction of any business relating to the Customer's
            account(s), agreements or services, and the Customer shall indemnify and hold the Bank harmless for acting in accordance with such instructions; and
        (4) Delegate the person's authority to another person(s) or revoke such delegation, in a separate signed writing delivered to the Bank.
     C. If a code must be communicated to the Bank in order to authorize an Item, and the code is communicated, the Item will be binding on the Customer regardless of who
        communicated the code.
     D. Each transaction described in this Certificate of Authority conducted by or on behalf of the Customer prior to delivery of this Certificate is in all respects ratified.
     E. If the Customer is a tribal government or tribal government agency, the Customer waives sovereign immunity from suit with respect to the Customer's use of any Bank account,
        product or service referred to in this Certificate.
     F. The information provided in this Application is correct and complete, each person who signs the "Certified/Agreed To" section of this Application and each person whose name
        appears in the "Authorized Signers-Signature Capture" section of this Application holds any position indicated, and the signature appearing opposite the person's name is authentic.
     G. The Customer has approved this Certificate of Authority or granted each person who signs the "Certified/Agreed To" section of this Application the authority to do so on the
        Customer's behalf by:
        (1) resolution, agreement or other legally sufficient action of the governing body of the Customer, if the Customer is not a trust or a sole proprietor;
        (2) the signature of each of the Customer's trustee(s), if the Customer is a trust; or
        (3) the signature of the Customer, if the Customer is a sole proprietor.




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                                                                                               Business Account Application

Certified/Agreed To
Owner/Key Individual 1 Name                                                  Position/Title:
!DONNA C FOGLE                                                               Owner

Owner/Key Individual 1 Signature

                                                D   Submit manually
                                                                             Date:
                                                D   Signature not required
                                                                             105/20/2015


Authorized Signers - Signature Capture
Authorized Signer 1 Name                                                     Position/Title:
!DONNA C FOGLE                                                               1owner

Authorized Signer 1 Signature

                                                D   Submit manually
                                                                             Date:
                                                D   Signature not required
                                                                              05/20/2015




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                                                                             I                                   Page 4 of4
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                                                                                                                                  REDE Page 2 of 56
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Wells Fargo Business Choice Checking
Account number:                    6221      • January 1, 2017 - January 31, 2017 • Page 1 of 6




                                                                                                           Questions?
DONNA C FOGLE                                                                                              Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
DBA DONNA FOGLE ONEBOXTV
5726 CORTEZ RD W # 134
                                                                                                             1-800-CALL-WELLS               (1-800-225-5935)

BRADENTON FL 34210-2701                                                                                      TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (345)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




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 Visit wellsfargoworks.com to explore vkleos, articles, infographics. interactive                          A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 tools, and other resources on the topics of business growth, credit, cash flow
                                                                                                           cell the number above if you have queslions or if you would
 management, business planning, technology, marketing, and more.
                                                                                                           like to add new services.

                                                                                                           Business Online Banking                              0
                                                                                                           Online Statements                                    0
                                                                                                           Business Bill Pay                                    0
                                                                                                           Business Spending Report                             0
                                                                                                           Overdraft Protection                                 D


Activity summary                                                                                            Account number:            62:21

        Beginning balance on 111                                      $12,848.12                            DONNA C FOGLE
        Deposits/Credits                                               32,070.22                            OBA DONNA FOGLE ONEBOXTV
        Withctawals!Debits                                           - 22,548.59                            Pennsylvania account terms and conditions apply

        Ending balance on 1/31                                       $22,369.75                             For Direct Deposit use
                                                                                                            Routing Number (RTN): 031000503

        Average ledger balance this period                            $11,513.50                            For Wire Transfers use
                                                                                                            Routing Number (RTN): 121000248


Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (.345) Ins ,,,,
      Sheet Seq"' 0067501
      Sheet 00001 cf 00003
                                                                                                       REDE Page 3 of 56
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Account number:         6221       • January 1, 2017 - January 31, 2017 • Page 2 of 6




Transaction history

                   Check                                                                   Deposits!       Withdrawals/    Ending daily
     Date         Number Description                                                         Credits             Debits        balance
     113                   01/03Bankcard Deposit -      9144                               1,469.25
     113                   01/03Bankcard Deposit -      9144                                 855.75
     113                   01/03Bankcard Deposit -      9144                               2,002.25
     113            1021 Cashed Check                                                                            555.00
     113                   Purchase authorized on 01103 Wal-Mart Super Center Bradenton                           13.55
                           FL P00000000080746328 Card 8480
     113                   Purchase authorized on 01103 WM Superc Wal-Mart Sup                                     4.37      16,602.45
                           Bradenton FL P00000000943679927 Card 8480
     114                   Recurring Payment authorized on 01/03 Phone.Com, Inc                                   71.93
                           800-9987087 NJ 8587003266163951Card9355
     114                 Purchase authorized on 01104 Manatee Citgo Bradenton FL                                  20.01
                         P0030700448969573S Card 9355
     114            1020 Check                                                                                 1,282Jl4      15,227.87
     115                 01/05Bankcard Deposit -       9144                                1,417.50
     115                 Purchase authorized on 01105 Best Buy 00011411 Bradenton FL                             246.09
                           P00000000479260953 Card 9355
     115                   Purchase authorized on 01105 USPS PO 11097701 4112                                     49.40
                           Bradenton FL P003870058290811S1Card8480
     115                   Purchase authorized on 01105 Sam's Club Bradenton FL                                   55.65
                           P00000000339227471 Card 8480
     115                   Purchase authorized on 01105 Racetrac 2394 Bradenton FL                                15.04
                           P00587006004425905 Card 9355
     115                   Xiao Ze Yong lat Paypal '170·to5 42QZ29Z2Td5Ec Donnafogle                           5, 125.00
                           Onebox.tv
     115                   Xiao Ze Yong lat Paypal 170105 420229Z2T4Yyl Donnafogle                             5,356.53       5,797.66
                           Onebox.tv
     116                   Recurring Payment authorized on 01/05 AT&T..Text2Pay                                  384.27
                           800-331-0500 TX $587005542057672 Card 9355
     116                   Purchase authorized on 01106 Office Depot 00 4502 E Bradenton                         107.48
                           FL P00467006534719100 Card 9355
     116                   Purchase authorized on 01106 The UPS store #01OS57 Bradenton                           57.72
                           FL P00000000174637194 Card 9355
     116                   United Fin Cas Ins Prem 170106 02823358 Donna Donna Fogle                             115.SO       5, 132.39
                           One BoxTv
     119                   01/09Bankcard Deposit         9144                                535.00
     119                   01/09Bankcard Deposit         9144                                963.00
     119                   01/09Bankcard Deposit         9144                                668.75
     119                   Transfer From Sattley Tammy on 01109 Ref# Ppe5Twzy6B 5            530.00
                           Boxes
     119                   Purchase authorized on 01f07 USPS PO 11097601 2005                                     16.94
                           Bradenton FL P00587007555973436 Card 9355
     119                   Purchase authorized on 01109 Manatee Citgo Bradenton FL                                40.01
                           P00387009530268574 Card 9355
     119                 Purchase authorized on 01f09 Wal-Mart Super Center St                                    91.76
                         Petersburg FL P00000000941743329 Card 8480
     119            1022 Check                                                                                    50.00       7,630.43
     1110                Recurring Payment authorlZed on 01/09 Hide-Away Storage                                  63.13
                         941-462-2312 FL 5467009515599376 Card 8480
     1110           1024 Cashed Check                                                                            485.00
     1!10                Fpl Direct Debit Elec Pymt 01!17 7207403200 Telv Donna C Fogle                           92.71
     1110                Xiao Ze Yong lat Paypal 170110 42QZ29Z9F3E4N Donnafogle                                 788.30       6,201.29
                         Onebox.tv
     1111                Purchase authorized on 01110 Bright House Netwo 317-972-9700                             55.28
                           FL 8307009702260842 Card 8480
     1111                  Purchase authorized on 01110 Sunpass..Acc5195158                                        5.22
                           888-865-5352 FL 5307010645475017 Card 8480
     1111                  Purchase authorized on 01110 The UPS Store 0108 Bradenton FL                           22.74       6, 118.05
                           S387010702190887 Card 9355
     1112                  01/12Bankcard Deposit -      9144                               1, 182.36
     1112                  Bankcard Fee -       9144                                                              77.74
                                                                                                                  REDE Page 4 of 56
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Account number:                  6221     • January 1, 2017 - January 31, 2017 • Page 3 of 6




Transaction history (continued)
                            Check                                                                     Deposits!       \!Wthdrawalsl   Ending dally
     Date                  Number Description                                                           Credits              Debits       balance
     1112                          Bankcard Interchange Fee-            9144                                                157.90
     1112                          Bankcard DiScount Fee-            9144                                                   449.16       6,615.61
     1117                          01/17Bankcard Deposit            9144                              1.615.84
     1117                          01/17Bankcard Deposit         9144                                 1,632.01
     1!17                          01/17Bankcard Deposit        9144                                  2,668.70
     1117                          Transfer From Sattley Tammy on 01f17 Ref# Ppey2f2Dkt 5                75.00
                                   Remotes
     1117                          Purchase authorized   on   01114 Wawa Store 5165 Bradenton FL                             20.00
                                   P00000000189225304 Card 9355
     1117                          Purchase authorized on 01116 Apl.. !tunes. ComfBi 866- 712- 7753                           2.99
                                  CA 8467016353245437 Card 9355
     1117                    1025 Cashed Check                                                                              595.00
     1117                          Purchase authorized on 01f17 Wawa 5178 Bradenton FL                                       20.01
                                   P00000000546465375 Card 9355
     1117                         Purchase authorized on 01/17 USPS PO 11097701 4112                                         13.45
                                  Bradenton FL ?00587017769589468 Card 9355
     1!17                    1023 Check                                                                                      80.00      12,075.71
     1118                         Purchase authorized on 01117 Minuteman Press - 941-7396602                                153.01      11,922.70
                                   FL 5307017790169842 Card 9355
     1/19                          01!19Bankcard Deposit         9144                                   602.50
     1119                          Purchase authorized on 01f19 Sarrs Club Sam's Club Bradenton                           1,710.93      11,014.27
                                   FL P00000000482913944 Card 9355
     1!20                          Fdgl Lease Pymt 170120 052-1323765-000 Donna Fogle                                        39.22      10,975.05
                                   Oneboxtv
     1!23                          01/23Bankcard Deposit         9144                                 1,621.05
     1!23                          01/23Bankcard Deposit         9144                                 1,861.75
     1123                          01/23Bankcard Deposit -       9144                                 1,765.50
     1123                          Purchase authorized on 01119 Racetrac 2394 0002 Bradenton FL                              10.03
                                   S387020075507552 Card 9355
     1123                          Purchase authorized on 01120 Meineke Car Care C Bradenton FL                             653.00
                                   S087020781334281 Card 9355
     1!23                          Purchase authorized   on   01122 Manatee Citgo Bradenton FL                               25.00
                                   P00467022497910572 Card 9355
     1123                    1026 Cashed Check                                                                              660.00      14,875.32
     1!24                          Purchase authorized on 01/24 Shell Service Station Cape Coral FL                          25.00      14,850.32
                                   P00387024692768876 Card 9355
     1125                         01/25Bankcard Deposit -       9144                                  2,330.00
     1!25                         Cash eWithdrawal in Branch/store 01!25!2017 5:27 Pm 1510                                  380.00
                                  Cortez Rd W Bradenton FL 8480
     1125                    1027 Check                                                                                   1,232.64      15,567.68
     1!26                         01/26Bankcard Deposit         9144                                  1, 124.00
     1126                         Purchase authorized on 01125 The UPS Store 0108 Bradenton FL                               66.10
                                   5387025532345974 Card 9355
     1!26                          Purchase authorized   on   01125 The UPS Store 0108 Bradenton FL                          42.79
                                   5467025533057420 Card 9355
     1126                          Purchase authorized on 01126 Wawa 5178 Bradenton FL                                       20.01
                                   P00000000043919324 Card 9355
     1126                          Purchase authorized on 01126USPS PO 110977014112                                          23.40
                                   Bradenton FL P00387026799831548 Card 8480
     1126                          Purchase authorized on 01126 Office Depot 00 4026 1 Bradenton                             26.18      16,513.20
                                   FL P00307026854111473 Card 6480
     1!27                          01/27Bankcard Deposit          9144                                  175.00
     1!27                          Purchase authorized on 01126 Lowes #01843* Bradenton FL                                   30.89      16,657.31
                                   S307027006190775 Card 8480
     1130                          01/30Bankcard Deposit          9144                                1,872.76
     1!30                          01/30Bankcard Deposit -        9144                                3,236.75
     1130                          01/30Bankcard Deposit          9144                                1,465.50
     1130                          Purchase authorized on 01129 7-Eleven Sarasota FL                                         20.04
                                   P00000000646077116 Card 9355
     1130                          Purchase authorized on 01130 Flying J #624 San Antonio FL                                 45.01
                                   P00307030562146602 Card 9355
     1130                          Paypal lnst Xfer 170130 Upwrkescrow Donnafogle Oneboxtv                                   83.92      23,083.35




    Sheet Seq"' 0067502
    Sheet 00002 cf 00003
                                                                                                                              REDE Page 5 of 56
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Transaction history (continued)
                         Check                                                                                    Deposits!        \!Wthdrawalsl        Ending dally
       Date             Number Description                                                                          Credits               Debits            balance
       1131                1028 Cashed Check                                                                                             700.00
       1131                         Purchase authorized on 01131 USPS PO 11097801 115 7                                                   13.60            22,369.75
                                    Bradenton FL ?00587031723718826 Card 8480
       Ending balance on 1/31                                                                                                                             22,369.75
       Totals                                                                                                 $32,070.22            $22,548.59
       The Encing Daily Balance does not reflect any pending !Mthdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed,



Summary of checks written           (checks listed are also displayed in the preceding Transaction history)

       Number            Date                  Amount         Number           Date                 Amounr           Number            Date                 Amount
       1020              114                  1,282-64        1023             1117                   80.00          Hl26              1123                     660_00
       1021              113                    555.00        1024             1110                  485.00          1027              1125                 1,232.64
       1022              119                     50.00        1025             1117                  595.00          1028              1131                     700.00


Monthly service fee summary

For a complete list of fees and detailed account information, please seethe Wells Fargo Fee and Information Schedule and Account Agreement applicable to
your account or talk to a banker. Go to wellsfargo.com/feefaq to find answers to common questions about the monthly service fee on your account


       Fee period 01f01f2017 - 01!31/2017                                                standard monthly service fee $14.00                  You paid $0.00

       How to avoid the monthly service fee                                                                Minimum required                   This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                    $7,500.00                     $11,514.00 QI
           Qualifying transaction from a linked Wells Fargo Business Payroll Services account                                                               oD
           Qualifying transaction from a linked Wefts Fargo Merchant Services account                                                                      24 ~
           Total number of posted Wells Fargo Debit Card purchases anci/or payments                                           10                           37 ~
           Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                      1                             oD
           Combined balances in linked accounts, which may include                                                  $10,000.00                                  QI
             Average ledger balances in business checking, savings, and time accounts
             Most recent sta1ement balance In eligible Wells Fargo business credit cards and
             lines of credit and combined average daily balances from the previous month
             in eligible Wells Fargo business and commercial loans and lines of CT edit
             For complete details on how you can avoid the monthly service fee based on
             your combined balances please refer to page 7 of the Business Account Fee and
             Information Schedule at WWN. wellsfargo. comfbiz/f ee-information




Account transaction fees summary
                                                                                         Units           Excess         Service charge per              Total sendce
       Service charge description                                 Units used          induded             units            excess units($)                charge($)
       Cash Deposited($)                                                  0             7,500                 0                    0.0030                         0.00
       Transactions                                                      16               200                 0                       0.50                        0.00
       Total .service charges                                                                                                                                   $0.00
                                                                                                                            REDE Page 6 of 56
    Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 380 of 460 PageID 457

Account number:                  6221       • January 1, 2017 - January 31, 2017 • Page 5 of 6




~IMPORTANT ACCOUNT INFORMATION
Amendment to our Funds Avallabmty Policy

Good news! Effective April 5, 2017, we've updated our funds availability policy to remove the delay of funds by one additional business
day for certain checks deposited at a Wells Fargo location in Alaska. This applies only if the check was drawn on or payable at or
through a paying bank not located in Alaska. other funds availability policies are still in effect Please see our Consumer Account
Aijreement for additional funds availability policies and details.




Periodically, we may evaluate the timing of statements, monthly service fee assessment and interest payments to your accounts. We
may adjust the timing in order to align your statement, monthly service fee assessment (if any) and interest payment dates with one
another. You may receive a partial statement that reflects activity and Interest payments from the last statement date to the date of
the change. No monthly service fees will be assessed during a partial statement period and there will be no impar:t to your interest rate
or compounding frequency.




Other Wells Fargo Benefits

Commercial real estate financing-relationship discount of up to $2,500
Customers with a Business Choice Checking or Platinum Business Checking account qualify for our relationship discount. Get half off
the ortgination fee when you apply for a loan or line of credit by March 31, 2017.


Business Real Estate Financing wants to help you meet your commercial real estate goals. Our purchase, refinance, and equity loans
offer compeU:ive rates with a vartety of term options, and low closing costs.


Visit wellsfargo.comfblz!loans-and-llnes/real-estate!flnanclng-detallsf for details about our financing.


To apply, or for more Information, call 1-866-416-4320,
Monday - Friday, 6:00 a.m. to 6:00 p.m. Pacific Time.


All financing ls subject to credit approval. Some restrtctions may apply. Equal Housing Lender.




      Sheet Seq"' 0067503
      Sheet 00003 cf 00003
                                                                                                                                REDE Page 7 of 56
      Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 381 of 460 PageID 458

Account number:                             6221      • January 1, 2017 - January 31, 2017 • Page 6 of 6




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts               You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                 and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the         information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft          an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                     Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                      Total amount $




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                                                                                                                                  REDE Page 8 of 56
    Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 382 of 460 PageID 459

Wells Fargo Business Choice Checking
Account number:                    6221      • February 1, 2017 - February 28, 2017              •   Page 1 of 6




                                                                                                           Questions?
DONNA C FOGLE                                                                                              Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
DBA DONNA FOGLE ONEBOXTV
5726 CORTEZ RD W # 134
                                                                                                             1-800-CALL-WELLS (1-800-225-5935)
BRADENTON FL 34210-2701                                                                                      TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (345)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Visit wellsfargoworks.com to explore vkleos, articles, infographics. interactive                          A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 tools, and other resources on the topics of business growth, credit, cash flow
                                                                                                           cell the number above if you have queslions or if you would
 management, business planning, technology, marketing, and more.
                                                                                                           like to add new services.

                                                                                                           Business Online Banking                              0
                                                                                                           Online Statements                                    0
                                                                                                           Business Bill Pay                                    0
                                                                                                           Business Spending Report                             0
                                                                                                           Overdraft Protection                                 D


Activity summary                                                                                            Account number:             2:21

        Beginning balance on 211                                      $22,369.75                            DONNA C FOGLE
        Deposits/Credits                                               35,013.87                            OBA DONNA FOGLE ONEBOXTV
        Withctawals!Debits                                           - 24,997.49                            Pennsylvania account terms and conditions apply

        Ending balance on 2128                                       $32,386.13                             For Direct Deposit use
                                                                                                            Routing Number (RTN): 031000503

        Average ledger balance this period                            $25,682.51                            For Wire Transfers use
                                                                                                            Routing Number (RTN): 121000248


Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (,345)
      Sheet Seq"' 0085013
      Sheet 00001 cf 00003
                                                                                                                     REDE Page 9 of 56
   Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 383 of 460 PageID 460

Account number:         6221      • February 1, 2017 - February 28, 2017                 • Page 2 of 6




Transaction history

                   Check                                                                                 Deposits!       Withdrawals/    Ending daily
     Date         Number Description                                                                       Credits             Debits        balance
     211                   Purchase authorized on 02101 Office Depot 00 4502 E Bradenton                                       101.64
                           FL P00587033008826964 Card 9355
     211                   Louden LLC Rent 17013161766115 Donna Fogle                                                          157.95
     211                   SD Louden LLC F Rent 170131 61770949 Donna Foale                                                  1,366.95      20,743.21
     212                   02102Bankcard Deposit          9144                                           1,096.75                          21,83896
     213                   Purc;hase authorized on 02/03 Cirque Italia 941-704-8572 FL                                         277.50      21,562.46
                           8467033221839004 Card 8480
     216                   02!06Bankcard Deposit -    9144                                               1,845.75
     216                   02!06Bankcard Deposit          9144                                           2,923.05
     216                   02/06Bankcard Dee:osit -       9144                                           1,808.30
     216                   Recurring Payment authorized on 02103 Phone.Com, Inc                                                 71.77
                           800-9967087 NJ 8467034317644791Card9355
     216                   Purchase authorized on 02104 Wawa Store 5165 Bradenton FL                                            20.00
                           P00000000979874554 Card 9355
     216            1030 Cashed Check                                                                                          605.00
     216            1029 Check                                                                                                  50.00      27,392.79
     217                   Purchase authorized on 02106 The UPS Store 0108 Bradenton FL                                         70.62
                           8387037613097395 Card 9355
     217                   Purchase authorized on 02107 Wawa 5178 Bradenton FL                                                  20.01
                           P00587038683493559 Card 9355
     217                   United Fin Cas Ins Prem 170207 02823358 Donna Donna Fogle                                           115.80      27,186.36
                           One BoxTv
     218                   Purchase authorized on 02106 Goodwill Corporat 941-355272'1                                          57.00
                           FL $387037718274491 Card 8480
     218                   Purchase authorized on 02106 Goodwill Corporat 941-3552721                                           61.00
                           FL 5467037720698014 Card 8480
     218                   Purchase authorized on 02106 Goodwill Corporat 941-3552721                                           58.00      27,010.36
                           FL 5307037724211809 Card 8480
     219                   02/09Bankcard Deposit         9144                                            1,230.49
     219                   Recurring Payment authorized on 02107 AT& T*Bill Payment                                            408.13
                           800-288-2020 TX $467039068580043 Card 9355
     219                   Recurring Payment authorized on 02108 Hide-Away Storage                                              63.13      27,769.59
                           941-462-2312 FL $587039719375662 Card 8480
     2110                  Bankcard Fee -         9144                                                                          87.21
     2110                  Bankcard Interchange Fee-          9144                                                             280.99
     2110                  Bankcard Discount Fee-          9144                                                                552.36
     2110                  Withdrawal Made In A BranchfStore                                                                 2,700.00
     2110                  Xiao Ze Yong lat Pay pal 170210 42022A2Aeaqxg Donnafogle                                          5,113.21      19,035.82
                           Oneboxtv
     2113                  02/13Bankcard Deposit          9144                                           2,186.75
     2113                  02/13Bankcard Deposit -        9144                                           3,337.95
     2113                  02/13Bankcard Deposit          9144                                           2,851.51
     2113                  Purchase authorized on 02110 The UPS store 0108 Bradenton FL                                         48.18
                           8587041784539702 Card 9355
     2113                  Purchase authorized on 02111 Wawa Store 5165 Bradenton FL                                            55.01
                           P00467042850590117 Card 9355
     2113           1033 Cashed Check                                                                                          775.00
     2113                Xiao Ze Yong lat Paypal 170213 42022A2Bkzstc Donnafogle                                             4,044.00
                         Oneboxtv
     2113           1031 Check                                                                                                  60.00
     2113                Paypal Inst Xfer 170213 Upwrkescrow Oonnafogle Oneboxtv                                               146.42      22,263.42
     2114                Purchase authorized on 02f14 USPS PO 11097701 4112                                                     13.60      22,249.82
                         Bradenton FL P00467045786977914 Card 9355
     2115                02/15Bankcard Deposit           9144                                              175.00
     2115                Fpl Direct Debit Elec Pymt 02f17 7207403200 Telv Donna C Fogle                                        134.00
     2115                Xiao Ze Yong lat Paypal 170215 42022A2Gv629Q Donnafogle                                               458.00      21,832.82
                         Oneboxtv
     2116                02/16Bankcard Deposit           9144                                            5,724.13                          27,556.95
     2117                Purchase authorized on 02116 Apr !tunes. ComfBi 866- 712- 7753                                          2.99      27,553.96
                           CA 5307047352899256 Card 9355
                                                                                                                             REDE Page 10 of 56
   Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 384 of 460 PageID 461

Account number:                   6221    • February 1, 2017 - February 28, 2017                • Page 3 of 6




Transaction history (continued)
                            Check                                                                               Deposits!        \!Wthdrawalsl     Ending dally
      Date                 Number Description                                                                     Credits               Debits         balance
      2121                         02!21Bankcard Deposit              9144                                         842.62
      2121                         02!21Bankcard Deposit              9144                                          439.87
      2121                         02/21Bankcard Deposit              9144                                       2, 140.00
      2121                         Purchase authorized on 02117 Bright House Netwo 317-972-9700                                         55.28
                                   FL 5387047675065146 Card 8480
      2121                         Purchase authorized on 02118 Racetrac100 Bradenton FL                                                48.26
                                   P00467049770148551 Card 9355
      2121                         Purchase authorized    on   02118 Dollar Tree Bradenton FL                                               4.28
                                   $307049791979246 Card 8480
      2121                   1034 Cashed Check                                                                                         697.50
      2121                         Purchase authorized on 02/21 USPS PO 110977014112                                                    49.97
                                   Bradenton FL ?00587052791354833 Card 8480
      2121                         Purchase authorized on 02!21 Best Buy 00011411 Bradenton FL                                          57.33
                                   P000000006B4165797 Card 9355
      2121                   1032 Check                                                                                                150.00
      2121                        Fdgl Lease Pymt 170221 052-1323765-000 Donna Fogle                                                    39.22
                                  Oneboxtv
      2121                        Pa~~al lnst Xfer 170220 U~wrkescrow Donnafoale Oneboxtv                                              300.54         29,574.07
      2122                        02/22Bankcard Deposit         9144                                               110.00
      2122                        Transfer From Sattley Tammy on 02!22 Ref# Pper8Fxy34                           1,030.00                             30,714.07
      2123                        02!23Bankcard De~osit -       9144                                               668.75
      2123                        Purchase authorized on 02122 The UPS Store 0108 Bradenton FL                                          27.07
                                  8467053800874641 Card 9355
      2123                   1036 Cashed Check                                                                                       2,000.00         29,355.75
      2124                        Purchase authoriZed on 02f23 USPS.Com Mover's G                                                        1.00
                                  600-238-3150 TN 8387054634258655 Card 9355
      2124                        Purchase authorized on 02/24 Manatee Citgo Bradenton FL                                               20.01
                                  P00467055485997547 Card 9355
      2124                   1035 Check                                                                                                350.00         28,964.74
      2127                        02!27Bankcard Deposit         9144                                             3,236.75
      2127                        02/27Bankcard Deposit         9144                                             1,659.00
      2127                        02!27Bankcard Deposit -       9144                                             1,557.20
      2127                        Purchase authorized on 02f26 Anna Maria Island Holmes Beach                                           65.65
                                  FL 8587057828200623 Card 8480
      2127                   1039 Cashed Check                                                                                       1,000.00
      2127                        Purchase authorized on 02127 Wawa Store 5165 Bradenton FL                                             20.00
                                  P00307058582837352 Card 9355
      2127                        Purchase authorized on 02127Wawa 5178 Bradenton FL                                                    20.00
                                  P00387058597972326 Card 9355
      2127                   1040 Cashed Check                                                                                         675.00
      2127                   1037 Check                                                                                              1,386.72         32,270.32
      2128                        02!2SBankcard Deposit         9144                                              150.00
      2128                        Purchase authorized on 02/28 USPS PO 11097701 4112                                                    34.19         32,386.13
                                  Bradenton FL ?00307059821821995 Card 8480
      Ending balance on 2128                                                                                                                         32,386,13
      Totals                                                                                                  $36,013.87          $24,997,49

     The Encing Dfi/y Balance does not reflect any pending Wthdrawa/s or holds on deposited funds that may have been outstanding on your account when your
     transactions posted. If you had insuffident available funds when a transaction posted, fees may have been assessed,



Summary of checks written          (checks listed are also displayed Jn the preceding Transaction history)

      Number               Date                 Amount            Number           Date             Amount          Number           Date               Amount
      1029                 216                    50.00           1032             2121              150.00         1035             2124                350.00
      1030                 216                   605.00           1033             2113              775.00         1036             2123              2,000.00
      1031                 2113                   80.00           1034             2121              697.50         1037             2127              1,386.72




    Sheet Seq"' 0085014
    Sheet 00002 cf 00003
                                                                                                                              REDE Page 11 of 56
    Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 385 of 460 PageID 462

Account number:                     221   • February 1, 2017 - February 28, 2017                    • Page 4 of 6




Summary of checks written (continued)
       Number             Date                Amount           Number            Date                   Amount         Number            Date                 Amount
       1039*             2127                 1,000.00         1040              2127                    675.00

        • Gap in check sequence,


Monthly service fee summary

For a complete list of fees and detailed account information, please seethe Wells Fargo Fee and Information Schedule and Account Agreement applicable to
your account or talk to a banker. Go to wellsfargo. com/feefaq to find answers to common questions about the monthly service fee on your account.


       Fee period 0210112017- 0212812017                                                    standard monthly service fee $14.00                 You paid $0.00

       How to avoid the monthly service fee                                                                   Minimum required                  This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                     $7,500.00                     $25,683.00    G
           Qualifying transaction from a linked Wells Fargo Business Payroll Services account                                    1                            oo
           Qualifying transaction from a linked Wells Fargo Merchant Services account                                                                        22G
           Tata! number of posted Wells Fargo Debit Card purchases and/or payments                                           10                              21   G
           Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                         1                            oo
           Combined balances in linked accounts, which may include                                                    $10,000.00                                  G
             Average ledger balances in business checking, savings, and time accounts
             Most recent statement bedance in eligible Wells Fargo business credit cards and
             lines of credit, and combined average daily balances from the previous month
             in eligible Wells Fargo business and commercial loans and lines of credit
             For complete details on how you can avoid the monthly service fee based on
             your combined balances please refer to page 7 of the Business Account Fee and
             Information Schedule at www. wellsfargo.comlbizffee-inf ormation




Account transaction fees summary
                                                                                            Units           Excess       Service charge per               Total service
       Service charge descri p~on                                  Urnts used           included             units          excess units($)                 charge($)
       Cash Deposited($)                                                   0               7,500                  0                  0.0030                        0.00
       Transactions                                                       21                 zoo                  0                     0.50                       0.00
       Total service charges                                                                                                                                      $0.00




         IMPORTANT ACCOUNT INFORMATION

Effective 411512017 if the prtmary checking account for your debit card is closed or delinked for any reason, we will designate another
ellglble linked checking account as the prtmary account. If there are no other ellglble IInked checking accounts, your debit card will be
closed. If you have one or more savings accounts linked to this debit card, you may request an ATM card for cDntinued access.




Amendment to our Funds Availability Policy

Good news! Effective April 5, 2017, we've updated our funds availability policy to remove the delay of funds by one additional business
day for certain checks deposited at a Wells Fargo location in Alaska. This applies only if the check was drawn on or payable at or
                                                                                                                           REDE Page 12 of 56
    Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 386 of 460 PageID 463

Account number:                  6221      • February 1, 2017 - February 28, 2017                • Page 5 of 6




through a paying bank not located in Alaska. Other funds availabilfty policies are still in effect Please see our Consumer Account
Agreement for additional funds availability policies and details.



Other Wells Fargo Benefits

CommerciaJ real estate financing-relationship discount of up to $2,500
Customers with a Business Choice Checking or Platinum Business Checking account qualify for our relationship discount. Get half off
the origination fee when you apply for a loan or line of credit by March 31, 2017.

Business Real Estate Financing wants to help you meet your commercial real estate goals. Our purchase, refinance, and equity loans
offer competitive rates with a variety of term options, and low closing costs.

Visit wellsfargo.comlbiz/loans-and-lfnes/real-estateffinancing-detallsf for details about our financing.

To apply, or for more information, call 1-866-416-4320,
Monday -Friday, 6:00 a.m. to 6:00 p.m. Pacific Time.

All financing is subject to credit approval. Some restrictions may apply. Equal Housing Lender.




      Sheet Seq"' 0085015
      Sheet 00003 cf 00003
                                                                                                                                 REDE Page 13 of 56
      Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 387 of 460 PageID 464

Account number:                             6221      • February 1, 2017 - February 28, 2017     • Page 6 of 6




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts                You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                  and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the          information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft           an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                      Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each check, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                       Total amount $




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                                                                                                                                  REDE Page 14 of 56
    Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 388 of 460 PageID 465

Wells Fargo Business Choice Checking
Account number:                    6221      •   March 1, 2017 - March 31, 2017           •   Page 1 of 7




                                                                                                           Questions?
DONNA C FOGLE                                                                                              Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
DBA DONNA FOGLE ONEBOXTV
5726 CORTEZ RD W # 134
                                                                                                             1-800-CALL·WELLS               (1-800-225-5935)

BRADENTON FL 34210-2701                                                                                      TTY: 1-800-<377-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (345)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Visit wellsfargoworks.com to explore vkleos, articles, infographics. interactive                          A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 tools, and other resources on the topics of business growth, credit, cash flow
                                                                                                           cell the number above if you have queslions or if you would
 management, business planning, technology, marketing, and more.
                                                                                                           like to add new services.

                                                                                                           Business Online Banking                              0
                                                                                                           Online Statements                                    0
                                                                                                           Business Bill Pay                                    0
                                                                                                           Business Spending Report                             0
                                                                                                           Overdraft Protection                                 D


Activity summary                                                                                            Account number:            62:21
        Beginning balance on 311                                     $32,386.13                             DONNA C FOGLE
        Deposits/Credits                                               41,210.19                            OBA DONNA FOGLE ONEBOXTV
        Withctawals!Debits                                           - 39,918.52                            Pennsylvania account terms and conditions apply

        Ending balance on 3/31                                      $33,677.80                              For Direct Deposit use
                                                                                                            Routing Number (RTN): 031000503

        Average ledger balance this period                           $32,211.14                             For Wire Transfers use
                                                                                                            Routing Number (RTN): 121000248


Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (,345)
      Sheet Seq"' Cl119500
      Sheet 00001 cf OOQ04
                                                                                                         REDE Page 15 of 56
   Case 8:19-cv-02147-JSM-SPF Document 16-1 Filed 01/30/20 Page 389 of 460 PageID 466

Account number:            221    • March 1, 2017 - March 31, 2017           • Page 2 of 7




Transaction history

                   Check                                                                     Deposits!       Withdrawals/     Ending daily
     Date         Number Description                                                           Credits             Debits         balance
     311                   03/01Bankcard Deposit         9144                                  310.00
     311                   Purchase authorized on 02/28 WM Superc Wal-Mart Sup                                       9.41       32,686.72
                           Bradenton FL P00000000536145258 Card 8480
     312                   03/02Bankcard Dee:osit -      9144                                  481.50                           33,168.22
     313                   Purchase authorized on 03103 Wawa 5178 Bradenton FL                                      30.01
                           P00307062824637623 Card 9355
     313                   Louden LLC Rent 170302 63666515 Donna Fo1:2le Oneboxtv                                1,564.85       31,573.36
     316                   03/06Bankcard Deposit -       9144                                2,386.11
     316                   03/06Bankcard Deposit         9144                                1,780.50
     316                   03/06Bankcard Dee:osit        9144                                2, 166.75
     316                   Recurring Payment authorized on 03/03 Phone.Com, Inc                                     71.77
                           800-9967087 NJ 8307062305364576 Card 9355
     316                   Recurring Payment authorized on 03/03 AT&T"Text2Pay                                     252.14
                           800-331-0500 TX $467062554964035 Card 9355
     316                   Purchase authorized on 03/04 Wawa 5178 Bradenton FL                                      48.97
                           P00387063828626896 Card 9355
     316                 Purchase authorized on 03105 Texas Roadhouse #'2 Brandenton                               125.00
                         FL $587064069376033 Card 8480
     316            1041 Deposited OR Cashed Check                                                                 850.00
     316                   Xiao Ze Yong lat Paypal 170306 42022A33Fbxtg Donnafogle                               5,230.00
                           Oneboxtv
     316            1038 Check                                                                                      50.00       31,278.84
     317                   United fin Cas Ins Prem ·170307 02:823358 Donna Donna Fogle                             1'15.80      3'1,'163.04
                           One Box:Tv
     318                   Paypal lnst Xfer 170308 Rojoimparts Donnafogle Oneboxtv                                  14.79
     318                   Paypal Inst Xfer 170308 Impart Inc Donnafogle Oneboxtv                                   29.00
     318                   Paypal Inst Xfer 170308 Parts4Autos Donnafogle Oneboxtv                                  33.00
     318                   Paypal lnst Xfer 170308 Carid Com Donnafogle Oneboxtv                                    39.63
     318                   Paypal lnst Xfer 170308 Bmwoemparts Donnafogle Oneboxtv                                  43.00
     318                   Shmpstore lat Paypal 170308 1000740241674 Donnafogle                                     38.39
                           Oneboxtv
     318                   Xiao Ze Yong lat Paypal 170308 42022A37M78Rq Donnafogle                               4,051.00
                           Oneboxtv
     318                   Paypal Inst Xfer 170308 101Usedauto Donnafogle Oneboxtv                                  44.99       26,869.24
     319                   03/09Bankcard Deposit         9144                                2,401.01
     319                   Recurring Payment authorized on 03108 Hide-Away Storage                                  63.13
                           941-462-2312 FL $307067558843595 Card 8480
     319                 Purchase authorized on 03/09 Bedbath&Beyond# 825 CO                                       117.69
                         Bradenton FL P00387068684061182 Card 9355
     319            1042 Check                                                                                      80.00       29,009.43
     3110                Purchase authorized on 03108 Dunkin #350142 Bradenton FL                                    9.49
                         8467067544270463 Card 9355
     3110                Purchase authorized on 03109 USPS PO 1109777500 Bradenton                                  27.20
                         FL 5587068640337820 Card 9355
     3110                Bankcard Fee-           9144                                                              143.28
     3110                Bankcard Interchange Fee-           9144                                                  346.36
     3110                Bankcard Discount Fee-           9144                                                     637.63       27,645.47
     3113                03113Bank:card Deposit          9144                                2,808.75
     3113                03/13Bank:card Deposit          9144                                1,551.76
     3!13                03/13Bankcard Deposit           9144                                2,915.75
     3113                Transfer From Sattley Tammy on 03!13 Ref# Ppe8R87Klq 8 Boxes          810.00
     3113                Purchase authorized on 03f11Wawa5177 Bradenton FL                                          44.22
                         P00467070551952090 Gard 9355
     3113           1043 Cashed Check                                                                              740.00
     3113                Paypal Inst Xfer 170313 Upwrkescrow Donnafogle Oneboxtv                                   277.43       34,870.08
     3!14                03114Bankcard Deposit           9144                                  450.00
     3114                Fpl Direct Debit Elec Pymt 03!17 7207403200 Telv Donna C Fogle                             97.27       35,222.81
     3115                Purchase authorized on 03/14 The UPS Store 5574 Bradenton FL                               15.55
                         S307073756100029 Card 9355
                                                                                                                   REDE Page 16 of 56
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Account number:                  6221      • March 1, 2017 - March 31, 2017            • Page 3 of 7




Transaction history (continued)
                            Check                                                                      Deposits!       \!Wthdrawalsl    Ending dally
     Date                  Number Description                                                            Credits              Debits        balance
     3115                           Purchase authorized on 03f14 The UPS Store 5574 Bradenton FL                              38.68
                                    5467073783503744 Card 9355
     3115                           Xiao Ze Yong lat Pay pal 170315 42Q22A3Fwwbry Donnafogle                               5.367.50
                                    Oneboxtv
     3!15                    1044 Check                                                                                      220.00       29,581.08
     3116                           03/16Bankcard Deposit          9144                                5, 162.25
     3116                           Purchase authorized on 03/16 Wal-Mart Super Center Bradenton                              92.73
                                    FL P00000000682085508 Card 8480
     3116                           Purchase authorized on 03f16 Wal-Mart Super Center Bradenton                              21.34       34,629.26
                                    FL P00000000536055547 Card 8480
     3!17                           Purchase authorized on 03/16 Apt" ltunes.ComfBi 866- 712- 7753                             2.99
                                    CA $587075317138942 Card 9355
     3117                           Purchase authorized on 03!16 Wawa 5178 Bradenton FL                                       40.00       34,586.27
                                    P00467076040913637 Card 9355
     3120                           03/20Bankcard Deposit         9144                                 2, 132.00
     3120                           03/20Bankcard Deposit         9144                                 1,377.00
     3!20                           03/20Bankcard Deposit         9144                                 2,381.00
     3120                           Purchase authorized on 03117 The UPS Store 0108 Bradenton FL                              58.84
                                    8467076666434152 Card 9355
     3120                           Purchase authorized on 03/17 Wawa 5178 Bradenton FL                                       20.04
                                    P00387077097851548 Card 9355
     3120                         Purchase authorized on 03118 Hibachi Buffet Bra Bradenton FL                                64.85
                                  8387077808613451 Card 8480
     3120                    1045 Cashed Check                                                                               545.00
     3!20                         Fdgl Lease Pymt 170320 052-1323765-000 Donna Fogle                                          39.22
                                  Oneboxtv
     3120                         Paypal Inst Xfer 170320 Upwrkescrow Donnafogle Oneboxtv                                     92.48       39,655.84
     3121                         Transfer From Greene Lida on 03121 Ref# Ppe8R8Xfqf Tim                  10.00
                                  Greene
     3121                         Transfer From Greene Lida on 03121 Ref# Ppe8R8Xhs4 Tim               2,490.00
                                  Greene
     3121                         Purchase authorized on 03/21 USPS PO 110977014112                                            7.15
                                  Bradenton FL P00307080678113738 Card 9355
     3121                         Paypal lnst Xfer 170321 Printdrtchp Donnafogle Oneboxtv                                    333.09
     3!21                         Xiao Ze Yong lat Paypal 170321 42Q22A3Nloo3E Donnafogle                                  1,718.00
                                  Oneboxtv
     3121                         Xiao Ze Yong lat Paypal 170321 42022A3Nlemaw Donnafogle                                  2,420.00
                                  Oneboxtv
     3121                         Xiao Ze Yong lat Paypal 170321 42Q22A3Nlfjas Donnafogle                                  3,396.00
                                  Oneboxtv
     3!21                         Xiao Ze Yong lat Paypal 170321 42Q22A3Nldr4G Donnafogle                                  4,839.00       29,442.60
                                  Oneboxtv
     3122                         Transfer From Greene Lida on 03122 Ref# Ppecnbld27 Tim               1,500.00
                                  Greene
     3122                         Purchase authorized on 03f21 Marathon Petro Bradenton FL                                    15.02
                                    8587080578167175 Card 9355
     3122                           Purchase authorized on 03121 The UPS Store 5574 Bradenton FL                              37.89
                                    8387080715389829 Card 9355
     3122                         Purchase authorized on 03f22Wawa Store 5165 Bradenton FL                                    50.94
                                  P00307081750044932 Card 8480
     3122                         Bright House Net Cable Tv 170321 0609206 *lvr                                               55.28       30,783.47
     3123                         03/23Bankcard Deposit         9144                                     267.25                           31,050.72
     3127                         03/27Bankcard Deposit         9144                                   2,507.75
     3127                         03/27Bankcard Deposit         9144                                     321.50
     3127                         03/27Bankcard Deposit         9144                                   2, 162.00
     3127                    1049 Deposited OR Cashed Check                                                                  605.00
     3127                         Purchase authorized on 03f27 The UPS Store #5574 46 Bradenton                               48.60
                                  FL P00000000583981118 Card 9355
     3127                         Purchase authorized on 03127 Office Depot 00 4502 E Bradenton                               10.69
                                    FL P00467086807647355 Card 9355
     3!27                    1046 Check                                                                                      260.00
     3127                    1048 Check                                                                                      190.00       34,927.68




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    Sheet 00002 cf 00004
                                                                                                                                REDE Page I 7 of 56
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Account number:                  6221      • March 1, 2017 - March 31, 2017                • Page 4 of 7




Transaction history (continued)
                           Check                                                                                    Deposits!        \!Wthdrawalsl        Ending dally
       Date               Number Description                                                                          Credits               Debits            balance
       3128                        03/28Bankcard Deposit              9144                                           1,410.50
       3128                  1047 Check                                                                                                  1,38tL72            34,951.46
       3129                        03/29Bankcard Deposit              9144                                             100.00                                35.051.46
       3130                        03/30Bankcard Deposit         9144                                                1,326.81
       3!30                        Purchase authoriZed on 03f30 Manatee Citgo Bradenton FL                                                  20.01
                                  P00467089511751276 Card 9355
       3130                  1050 Cashed Check                                                                                           1,000.00            35,358.26
       3131                        Purchase authorized    on   03/30 Linger Lodge Resta Bradenton FL                                       167.52
                                   $307089012488007 Card 8480
       3131                        Louden LLC Rent 170330 64510430 Donna Fogle                                                           1,492.94            33,677.80
       Ending balance on 3131                                                                                                                               33,677.80
       Totals                                                                                                     $41,210.19          $39,918.52
       The Encing D1:1ly Bi:iance does not reflect any pending 1Mthdrawals or holds an deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed,




Summary of checks written          (checks fisted are also displayed in the preceding Transaction history)

       Number             Date                 Amount             Number           Date                Amount          Number            Date                 Amount
       1038               l/6                     50.00           1044             l/15                 220.00         1048              l/27                     190.00
       1041 •             l/6                   850.00            1045             3120                 545.00         1049              3127                     605.00
       1042               319                     80.00           1046             3127                 260.00         1050              3130                 1,000.00
       1043               l/13                  740.00            1047             3128                1,396.72

        • Gap in check sequence,


Monthly service fee summary

For a complete list of fees and detailed account information, please seethe Wells Fargo Fee and Information Schedule and Account Agreement applicable to
your account or talk to a banker. Go to wellsfargo. com/feefaq to find answers to common questions about the monthly service fee on your account.


       Fee period 03/01/2017- 03131/2017                                                    Standard monthly service fee $14.00                 You paid $0.00

       How to avoid the monthly service fee                                                                  Minimum required                   This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                      $7,500.00                     $32,211.00   G
              Qualifying transaction from a linked Wells Fargo Business Payroll Services account                                1                             oo
              Qualifying transaction from a linked Wells Fargo Merchant Services account                                        1                            24   G
              Total number of posted Wells Fargo Debit Card purchases and/or payments                                           10                           28   GJ
              Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                     1                             oo
              Combined balances in linked accounts, which may include                                                 $10,000.00                                  G
                Average ledger balances in business checking, savings, and time accounts
                Most recent statement balance in eligible Wells Fargo business credit cards and
                lines of credit, and combined average daily balances from the previous month
                In eligible Wells Fargo business and commercial loans and lines of credit
                For complete details on how you can avoid the monthly service fee based on
                your combined balances please refer to page 7 of the Business Account Fee and
                Information Schedule at www. wellsfargo.cornlbiZffee-lnformatlon
                                                                                                                              REDE Page 18 of 56
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Account number:                 6221       • March 1, 2017 - March 31, 2017              • Page 5 of 7




Account transaction fees summary
                                                                                           Units           Excess        Se1111ce charge per       Total service
       Service charge description                                  Units used           induded             units           excess units($)          charge($)
       Cash Deposited($)                                                    0             7,500                 0                   0.0030                0.00
       Transactions                                                        34               200                 0                      0.50               0.00
       Total service charges                                                                                                                             $0.00




         IMPORTANT ACCOUNT INFORMATION

Periodically, it is necessar; to update selected sections of the disclosures you received when you opened your account. These updates
provide you with the most up to date account information and are very important; so please review this information carefully and feel
free to contact us with any questions or concerns.

We are updating the Business Account Agreement (''Agreement'') dated April 29, 2016. Effective March 31, 2017, the question and
response to "Are there any restrictions on our accepting deposits to your account?" in the section titled ''Deposits to your account'' are
deleted and replaced with the following;

Are we required to accept all deposits to your account?

No. We are permitted to decline all or part of a deposit, including a cash deposit. Some examples are (a) an item made out to a payee
not on your account, (b) an item with an endorsement we are unable to verify, (c) a check or draft issued on a credit account, and (d) a
non-U.S. item. Wlen we are unable to verify an endorsement on an item, we can also decline to pay, cash, or send the item for
collection. We can require all endorsers be present and we may require you to deposit the item instead of permitting you to cash it. For
non-U.S. items, please see the response to "How do we handle non-U.S. items?''. We may require any person wanting to make a
deposit to your account to provide an acceptable form of identification before we accept the deposit for processing.

All other aspects of the ~reement remain the same. lfthere is a conflict between the updated language above and the Agreement,
the updated language will control.




Periodically, it is necessaiy to update selected sections of the disclosures you received when you opened your account. These updates
provide you with the most up to date account information and are very important; so please review this information carefully and feel
free to contact us with any questions or concerns.


We are updating the Business Account Agreement f'Agreemenl") effective April 24, 2017. In the section titled "Statements and other
information relating to your deposit account", the response to the question "What happens to a dormant account?" is deleted and
replaced with the following:


What happens to a dormant account?
VVe put safeguards in place to protect a dormant account which may include restricting the following:
- Transfers between your Wells Fargo accounts using your ATM/debit card
- Transfers by phone using our automated banking service
- Transfers or payments through online, mobile, and text banking (including Bill Pay)
- Wire transfers Qncoming and outgoing)

Normal monthly seivice and other fees continue to apply (except where prohibited by law).




      Sheet Seq"' Cl119502
      Sheet 00003 cf 00004
                                                                                                                              REDE Page 19 of 56
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Account number:                  6221      • March 1, 2017 - March 31, 2017               • Page 6 of 7




If you do not initiate an account-related activity on the account within the time period as specified by state unclaimed pfoperty laws,
your account funds may be transferred to the appropriate state. This transfer is known as "escheat." If your account becomes
escheatable, account statements will not be available. Your account will be closed. To recover your account funds, you must file a
claim with the state.

All other aspects of the Agreement remain the same. If there is a conflict between the updated response above and the Agreement,
the updated response will controL

Thank you for being a Wells Fargo customer. As a valued Wells Fargo customer we hope you find this information helpful. Again, ifyou
have questions or concerns about these changes. please contact your local banker or call the number listed on your statement



Other Wells Fargo Benefits

CommerciaJ real e$tate financing-relationship dl$count of up to $2,500
Customers with a Business Choice Checking or Platinum Business Checking account qualify for our relationship discount. Get half off
the origination fee when you apply for a loan or line of credit by March 31, 2017.

Business Real Estate Financing wants to help you meet your commercial real estate goals. Our purchase, refinance, and equity loans
offer competitive rates with a variety of term options, and low closing costs.

Visit wellsfargo.com/biz/loans-and-lines/real-estateffinancing-detailsf for details about our financing.

To apply, or for more information, call 1-866-416-4320,
Monday -Friday, 6:00 a.m. to 6:00 p.m. Pacific Time.

All financing is subject to credrt approval. Some restrictions may apply. Equal Housing Lender.
                                                                                                                                   REDE Page 20 of 56
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Account number:                             6221      • March 1, 2017 - March 31, 2017     • Page 7 of 7




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts                  You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                    and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the            information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft             an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                        Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                         Total amount $




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       Sheet Seq"' Cl119503
       Sheet 00004 cf OOQ04
                                                                                                                                  REDE Page 21 of 56
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Wells Fargo Business Choice Checking
Account number:                   6221      • April 1, 2017     -Ap~l   30, 2017      • Page 1 of6




                                                                                                           Questions?
DONNA C FOGLE                                                                                              Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
DBA DONNA FOGLE ONEBOXTV
5726 CORTEZ RD W # 134                                                                                       1-800-CALL-WELLS               (1-800-225-5935)

BRADENTON FL 34210-2701                                                                                      TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (345)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Visit wellsfargoworks.com to explore vkleos, articles, infographics. interactive                          A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 tools, and other resources on the topics of business growth, credit, cash flow
                                                                                                           cell the number above if you have queslions or if you would
 management, business planning, technology, marketing, and more.
                                                                                                           like to add new services.

                                                                                                           Business Online Banking                              0
                                                                                                           Online Statements                                    0
                                                                                                           Business Bill Pay                                    0
                                                                                                           Business Spending Report                             0
                                                                                                           Overdraft Protection                                 D


Activity summary                                                                                            Account number:             2:21

       Beginning balance on 411                                       $33,677.80                            DONNA C FOGLE
       Deposits/Credits                                                24, 117.80                           OBA DONNA FOGLE ONEBOXTV
       Withctawals!Debits                                             - 9,509.69                            Pennsylvania account terms and conditions apply

       Ending balance on 4130                                        $4&,286.91                             For Direct Deposit use
                                                                                                            Routing Number (RTN): 031000503

       Average ledger balance this period                             $43, 162.47                           For Wire Transfers use
                                                                                                            Routing Number (RTN): 121000248


Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (.345) Ins "'2
      Sheet Seq"' 0077 496
      Sheet 00001 cf 00003
                                                                                                        REDE Page 22 of 56
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Account number:         6221      • April 1, 2017 - April 30, 2017          • Page 2 of 6




Transaction history

                   Check                                                                    Deposits!       Withdrawals/     Ending daily
     Date         Number Description                                                          Credits             Debits         balance
     413                   04f03Bankcard Deposit            9144                            1,337.50
     413                   04/03Bankcard Deposit            9144                            1,952.50
     413                   04f03Bankcard Deposit            9144                            1,417.75
     413                   Purchase authorized on 04f01Wawa5178 Bradenton FL                                       20.00
                           P00587091809709007 Card 9355
     413            1052 Cashed Check                                                                             260.00
     413                   Purchase authorized   on   04!038est Buy 00011411 Bradenton FL                          90.94
                           P00000000046853792 Card 9355
     413                   Purchase authorized on 04103 Wawa Store 5165 Bradenton FL                               20.00
                         P00587093863512969 Card 9355
     413            1051 Check                                                                                     30.00       37,944.61
     414                   04/04Bankcard Depooit         9144                               1, 120.00
     414                   Recurring Payment authorized on 04/03 Phone.Com, Inc                                    71.95       38,992.66
                           800-9981087 NJ 8467093387494111Card9355
     415                   Purchase authorized on 04104 The UPS store 5574 Bradenton FL                            21.76
                           $381094790081259 Card 9355
     415            1054 Check                                                                                    130.00       38,840.90
     416                   04/06Bankcard Depooit         9144                                 936.25
     416                   Recurring Payment authorized on 04/05 AT&T..Text2Pay                                   403.10
                           800-331-0500 TX $307095605576162 Card 9355
     416                   Purchase authorized on 04106 Manatee Citgo Bradenton FL                                 20.07
                           P00307096698873650 Card 9355
     416                   United fin Cas Ins Prem ·170406 02823358 Donna Donna Fogle                             1'15.80
                           One Box:Tv
     416                   Fpl Direct Debit Elec Pymt 04f17 7207403200 Telv Donna C Fogle                         118.62       39,118.96
     417                   04/07Bankcard Deposit           9144                               525.00
     417                   Purchase authorized on 04107 Sams Club Sam's Club Bradenton                             40.75
                           FL P00000000855368551 Card 8480
     417                 Purchase authorized on 04107Wawa 5203 E Bradenton FL                                      20.02
                         P00587098033541018 Card 9355
     417            1055 Check                                                                                     80.00       39,503.19
     4110                04/10Bankcard Deposit         9144                                 2, 166.16
     4110                04/10Bankcard Deposit         9144                                 1,310.75
     4110                04/10Bankcard Deposit         9144                                 3,049.50
     4110                Purchase authorized on 04107 USPS PO 1109777500 Bradenton                                 13.60
                         FL $587097771041617 Card 8480
     4110                Recurring Payment authorized on 04/08 Hide-Away Storage                                   64.78
                           941462-2312 FL $307098455113385 Card 8480
     4110                Purchase authorized on 04110 Thornton #706 4820 Sta                                       45.00
                         Bradenton FL P00467100634067961 Card 9355
     4110           1056 Cashed Check                                                                             795.00
     4!10                Xiao Ze Yong lat Pay pal 170410 42Q22A4Akqf2A Donnafogle                               2,754.38
                         Onebox:tv
     4110           1053 Check                                                                                     50.00       42,307.44
     4111                Purchase authorized on 04110 The UPS Store 5574 Bradenton FL                              34.36
                           $301100631020840 Card 9355
     4111                  Withdrawal Made In A BranchfStore                                                        6.00       42,267.08
     4!12                  04/12Bankcard Deposit         9144                                 700.00
     4112                  Bankcard Fee-         9144                                                              91.39
     4!12                  Bankcard Interchange Fee-         9144                                                 363.69
     4112                  Bankcard Discount Fee -        9144                                                    825.57
     4112                  Purchase authorized on 04f12 The UPS Store #01 OS 57 Bradenton                         149.18
                           FL P00000000736414295 Card 9355
     4112                  Purchase authorized on 04/12 USPS PO 11097701 4112 53R                                   9.09
                           Bradenton FL ?00387102761945469 Card 8480
     4!12                  Purchase authoriZed on 04f12Wawa 5178 Bradenton FL                                      20.00       41,507.56
                           P00467102782664218 Card 9355
     4113                  04/13Bankcard Deposit         9144                               1,283.50
     4113                  Purchase authoriZed on 04113 Shell Service Station Indiantown                           30.01       42,761.05
                           FL P00587103729485510 Card 9355
                                                                                                                              REDE Page 23 of 56
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Transaction history (continued)
                            Check                                                                                 Deposits!       \!Wthdrawalsl     Ending dally
      Date                 Number Description                                                                       Credits              Debits         balance
      4114                         Purchase authorized on 04f14 USPS PO 11097701 4112                                                    14.94         42,746.11
                                   Bradenton FL ?00467104674897235 Card 9355
      4117                         04/17Bankcard Deposit            9144                                           1.836.88
      4117                         04f17Bankcard Deposit            9144                                           1,391.00
      4!17                         04f17Bankcard Deposit             9144                                            789.00
      4117                         Purchase authorized on 04113 Sunoco 0152575700 Ona FL                                                 30.00
                                   8587103516898106 Card 9355
      4117                         Purchase authorized   on   04115 Manatee Citgo Bradenton FL                                           29.00
                                   P00387105467337687 Card 9355
      4117                         Purchase authorized on 04116 Apl.. !tunes. ComfBi 866- 712- 7753                                          2.99
                                   CA 8467106316993318 Card 9355
      4117             1057 Cashed Check                                                                                                710.00         45,991.00
      4118                  Purchase authorized on 04f18 Cortez Marathon Bradenton FL                                                    54.45
                            P00307108710884527 Card 9355
     4118                   Paypal Inst Xfer 170417 Hilltopcraf Donnafogle Oneboxtv                                                     200.00         45,736.55
     4119                   Purchase authorized on 04119Wal-Mart Super Center Bradenton                                                 277.82         45,458.73
                            FL P00000000733685531 Card 9355
     4120                   04f20Bankcard Dee:osit -        9144                                                    267.50
     4120                   Fdgl Lease Pymt 170420 052-1323765-000 Donna Fogle                                                           39.22         45,687.01
                            Oneboxtv
     4121                   Purchase authorized on 04f21 USPS PO 11679502 2333 Oneco FL                                                  17.98         45,669.03
                            P00307111731245044 Card 8480
     4!24                   04f24Bankcard Depooit -         9144                                                    856.00
     4124                   04!24Bankcard Dee:osit          9144                                                    588.50
     4!24                   04f24Bankcard Deposit           9144                                                  2,000.91
     4124              1056 Cashed Check                                                                                                600.00
     4124                   Purchase authorized on 04/24 Wawa Store 5165 Bradenton FL                                                    60.04
                            P00587114823381583 Card 9355
     4!24                   Bright House Net Cable Tv 170421 3723272 *lvr                                                                55.28
     4124                   Paypal lnst Xfer 170424 Hilltopcraf Donnafogle Oneboxtv                                                     126.03         46,273.09
     4125                   Purchase authorized on 04/23 Geckos Grill & Pub Bradenton FL                                                 61.00
                            8307114043270682 Card 8480
     4125                   04!25Bankcard Chargeback             9144                                                                   240.75         47,971.34
     4126                   Purchase authorized on 04124 Goodwill Cortez Gg 941-5044883                                                 132.43
                            FL $587114794929863 Card 8480
     4126                   Purchase authorized on 04125 WM Superc Wal-Mart Sup                                                          29.87
                            Bradenton FL P00000000472048504 Card 8480
     4126                   Purchase authorized on 04126 USPS PO 11679502 2333 53R                                                           7.15
                            Oneco FL P00387116591301827 Card 9355
     4126              1059 Check                                                                                                        60.00         47,741.89
     4!27                   04!27Bankcard Deposit           9144                                                    588.50
     4127                   Purchase authorized on 04126 Bradenton, FL - Sr Bradenton FL                                                 24.45         46,305.94
                            8387116792420327 Card 8480
     4128                   Purchase authorized on 04128 Racetrac 2402 Sarasota FL                                                       20.03         48,285.91
                            P00467118510657231 Card 9355
     Ending balance on 4130                                                                                                                           48,285.91
      Totals                                                                                                    $24,117.80          $9,509.69
     The Encing Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on yo!K account when your
     transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed,




Summary of checks written          (checks listed are also displayed in the preceding Transaction history)

      Number               Date                 Amount           Number          Dole                 Amount         Number           Date              Amount
      1051                 413                   30.00           1054            415                   130.00        1057             4117                710.00
      1052                 413                  280.00           1055            4r7                    80.00        1058             4124                600.00
      1053                 4110                  50.00           1056            4110                  795.00        1059             4126                    60.00




    Sheet Seq"' 0077 497
    Sheet 00002 cf 00003
                                                                                                                                REDE Page 24 of 56
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Account number:                  6221      • April 1, 2017 - April 30, 2017           • Page 4 of 6




Monthly service fee summary

For a complete list of fees and detailed account information, please seethe Wells Fargo Fee and Information Schedule and Account Agreement applicable to
your account or talk to a banker. Go to wellsfargo.com/feefaq to find answers to common questions about the monthly service fee on your account


        Fee period 04f01f2017 - 04!30/2017                                                  standard monthly service fee $14.00                 You paid $0.00

        How to avoid the monthly service fee                                                                   Minimum required                 This fee period
        Have any ONE of the following account requirements
            Average ledger balance                                                                                      $7,500.00                   $43, 162.00 G
             Qualifying transaction from a linked Wells Fargo Business Payroll Services account                                                               oD
             Qualifying transaction from a linked Wefts Fargo Merchant Services account                                                                      23 l<l
             Total number of posted Wells Fargo Debit Card purchases and/or payments                                            10                           31 G
             Enrollment in a linked DireGt Pay service through Wells Fargo Business Online                                        1                           oD
             Combined balances in linked accounts, which may include                                                   $10,000.00
               Average ledger balances in business checking, savings, and time accounts
               Most recent statement balance in eligible Wells Fargo business credit cards and
               lines of credit, and combined average daily balances from the previous month
               in eligible Wells Fargo business and commercial loans and lines of CT edit
               For complete details on how you can avoid the monthly service fee based on
               your combined balances please refer to page 7 of the Business Account Fee and
               Information Schedule at WWN. wellsfargo. oomfbiz/fee-inf ormation
       The Monthly service fee summary fee period ending date shown above includes a Saturday, Sunday, or holiday which are non-business days.
       Transactions occurring after the last business day of the month will be included in your next fee period
       WXNV>




Account transaction fees summary
                                                                                           Units             Excess        Service charge per             Total senil'ce
        Service charge description                                  Units used          induded               units           excess units($)               charge($)
        Cash Deposited($)                                                    0             7,500                  0                   0.0030                       0.00
        Transactions                                                        16               200                  0                      0.50                      0.00
        Total service charges                                                                                                                                     $0.00




Other Wells Fargo Benefits

CommerciaJ real estate loans up to $750,000 - origination fee waived

Apply by June 30. 2017. and we'll waive the oligination fee - a discount of up to $5.000.
Business Real Estate Financing wants to help you meet your commercial real estate goals. Our purchase, refinance, and equity loans
offer competitive rates with a variety of term options, and low closing costs.

Learn more by visiting wellsfargo.com/biz/loans-and-lines/real-estate/
To apply, or for more information, call: 1-866-416-4320, Monday - Friday, 6:00 a.m. to 6:00 p.m. Pacific Time.

Note: Equity lines of credit are not eUglble for this promotion. All financing Is subject to credit approval. Some restrictions may apply.
Equal housing lender.




         IMPORTANT ACCOUNT INFORMATION
                                                                                                                              REDE Page 25 of 56
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Account number:                 6221       • April 1, 2017 - April 30, 2017          • Page 5 of 6




Pertodically, it is necessary to update selected sections of the disclosures you received when you opened your account. These updates
provide you with the most up to date account Information and are very Important; so please review this Information carefully and feel
free to contact us with any questions or concerns.


We are updating the Business Account Agreement ('Agreement") dated April 29, 2016. Effective March 31, 2017, the question and
response to "Are there any restrictions on our accepting deposits to your account?'' in the section titled "Deposits to your account" are
deleted and replaced with the following:


Are we required to accept all deposits to your account?

No. We are permitted to decline all or part of a deposit, including a cash deposit. Some examples are (a) an item made out to a payee
not on your account, (b) an item with an endorsement we are unable to verify, (c} a check or draft issued on a credit account, and (d} a
non-U.S. item. Wien we are unable to verify an endorsement on an Item, we can also decline to pay, cash, or send the item for
collection. We can require all endorsers be present and we may require you to deposit the item instead of permitting you to cash it. For
non-U.S. items, please see the response to "How do we handle non-U.S. items?". We may require any person wanting to make a
deposit to your account to provide an acceptable form of identification before we accept the deposit for processing.

All other aspects of the Agreement remain the same. lfthere is a conflict between the updated language above and the Agreement,
the updated language wlll control.



Periodically, it is necessaiy to update selected sections of the disclosures you received when you opened your account. These updates
provide you with the most up to date account information and are very important; so please review this information carefully and feel
free to contact us with any questions or concerns.

We are updating the Business Account Agreement C'Agreement'') effective April 24. 2017. In the section titled ''Statements and other
information relating to your deposit account'', the response to the question ''What happens to a dormant account?'' is deleted and
replaced with the following:

What happens to a dormant account?
We put safeguards in place to protect a dormant account which may include restricting the following:
- Transfers between your Wells Fargo accounts using your ATM/debit card
- Transfers by phone using our automated banking service
- Transfers or payments through online, mobile, and te)(t banking (including Bill Pay)
- Wire transfers Qncoming and outgoing)

Normal monthly seivice and other fees continue to apply (except where prohibited by law).

If you do not initiate an account-related activity on the account within the time period as specified by state unclaimed property laws,
your account funds may be transferred to the appropriate state. This transfer is known as ''escheat.'' If your account becomes
escheatable, account statements will not be available. Your account will be closed. To recover your account funds, you must file a
claim with the state.

All other aspects of the ~reement remain the same. If there is a conflict between the updated response above and the Agreement,
the updated response will controL

Thank you for being a Wells Fargo customer. As a valued Wells Fargo customer we hope you find this information helpful. Again. ifyou
have questions or concerns about these changes, please contact your local banker or call the number listed on your statement




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      Sheet 00003 cf 00003
                                                                                                                                    REDE Page 26 of 56
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Account number:                             6221      • April 1, 2017 - April 30, 2017   • Page 6 of 6




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts                   You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                     and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the             information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft              an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                         Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each check, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                          Total amount $




@2010 Wells Fargo Bank, NA. All   right~   reserved Member FDIC. NMLSR ID 399801
                                                                                                                                  REDE Page 27 of 56
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Wells Fargo Business Choice Checking
Account number:                    6221      •   May 1, 2017 - May 31, 2017 •           Page 1 of 7




                                                                                                           Questions?
DONNA C FOGLE                                                                                              Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
DBA DONNA FOGLE ONEBOXTV
5726 CORTEZ RD W # 134
                                                                                                             1-800-CALL-WELLS                (1-800-225-5935)

BRADENTON FL 34210-2701                                                                                      TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (345)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Cash flow is a key indicator of the inancial health of your business. Find tips and                       A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 strategies for effective cash flow management at wellsfargoworks.com.
                                                                                                           cell the numbf!1r above if you have queslions or if you would
                                                                                                           like to add new s&rvices.

                                                                                                           Business Online Banking                               0
                                                                                                           Online Statements                                     0
                                                                                                           Business Bill Pay                                     0
                                                                                                           Business Spending Report                              0
                                                                                                           Overdraft Protection                                  D


Activity summary                                                                                            Account number:              2:21

        Beginning balance on 511                                      $48,285.91                            DONNA C FOGLE
        Deposits/Credits                                               20,094.34                            OBA DONNA FOGLE ONEBOXTV
        Withctawals!Debits                                           - 29,515.64                            Pennsylvania account terms and conditions apply

        Ending balance on 5131                                       $3&,864.61                             For Direct Deposit use
                                                                                                            Routing Number (RTN): 031000503

        Average ledger balance this period                            $42,616.03                            For Wire Transfers use
                                                                                                            Routing Number (RTN): 121000248


Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (,345)
      Sheet Seq"' 0072031
      Sheet 00001 cf 00004
                                                                                                         REDE Page 28 of 56
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Account number:         6221      • May 1, 2017 - May 31, 2017 • Page 2 of 7




Transaction history

                   Check                                                                     Deposits!       Withdrawals/     Ending daily
     Date         Number Description                                                           Credits             Debits         balance
     511                   05/01Bankcard Deposit          9144                               1,096.75
     511                   05/01Bankcard Deposit         9144                                1,569.80
     511                   05/01Bankcard Deposit          9144                               1,116.75
     511                   Purchase authorized on 04f30 Wawa Store 5165 Bradenton FL                                25.01
                           P00587120366109906 Card 9355
     511                   Purc;hase authorized on 05/01 Riverhills foQd & Gas Tampa FL                             40.41
                           P00467121602550503 Card 9355
     511                   Xiao Ze Yong lat Paypal 170501 1000992899572 Donnafogle                               4,621.35
                           Oneboxtv
     511            1060 Check                                                                                     974.48       46,407.96
     512            1062 Cashed Check                                                                            1,000.00
     512                   Withdrawal Made In A BranchfStore                                                         9.00
     512                   Cash eWithdrawal in Branch/store 05f02f2017 2:54 Pm 1510                                100.00
                           Cortez Rd W Bradenton FL 8480
     512                   Purchase authorized on 05!02USPS PO 110977014112                                         47.97
                           Bradenton FL P00307122709130912 Card 8480
     512            1061 Cashed Check                                                                              525.00
     512                   Purchase authorized on 05/02WM Superc Wal-Mart Sup                                        3.18       44,722.81
                           Bradenton FL P00000000149358362 Card 8480
     513                   Purchase authorized on 05f03 Wawa 5178 Bradenton FL                                      40.01
                           P0058712357198219S Card 9355
     513                   Purchase authorized on 05/03 Sams Club Sam's Club Bradenton                             173.38
                           FL P00000000639296564 Card 8480
     513                   Louden LLC Rent 170502 66439555 Donna Fogle                                           1,500.93       43,008.49
     514                   05/04Bankcard Deposit         9144                                1,030.00
     514                   Recurring Payment authorized on 05103 Phone.Com, Inc                                     71.95
                           800-9987087 NJ $467123334183186 Card 9355
     514                   Recurring Payment authorized on 05103 AT&T*Text2Pay                                     409.44
                           800-331-0500 TX 5587123625446804 Card 9355
     514                   Purchase authorized on 05/03 The UPS Store 5574 Bradenton FL                             35.89       43,521.21
                           5387123672328727 Card 8480
     515                   Aviv Levy lat Paypal 170505 1001017656048 Donnafogle                                      9.56
                           Oneboxtv
     515                   Paypal Inst Xfer 170505 Rog2121 Donnafogle Oneboxtv                                       9.90
     515                   Liao Xin Hui lat Paypal 170505 1001017208294 Donnafogle                                  13.35
                           Oneboxtv
     515                   Paypal lnst Xfer 170505 Newpartscom Donnafogle Oneboxtv                                  17.79
     515                   Paypal Inst Xfer 170505 Bmp Parts Donnafogle Oneboxtv                                    29.95       43,440.66
     518                   05/0SBankcard Deposit           9144                                807.35
     518                   05!08Bankcard Deposit          9144                               1,902.07
     518                   05/08Bankcard Deposit           9144                              1,471.25
     518                   Purchase authorized on 05/06 Wawa Store 5165 Bradenton FL                                25.02
                           P00467126654143991 Card 9355
     518            1063 Cashed Check                                                                              600.00
     518                   Purchase authorized on 05108 Shell Service station Bradenton FL                          30.00
                           P00587128836435907 Card 9355
     518                   United fin Cas Ins Prem 170508 02823358 Donna Donna Fogle                               115.80
                           One Box:Tv
     518                   Paypal lnst Xfer 170507 1St Web Sal Donnafogle Oneboxtv                                   7.99       46,842.52
     519                   Recurring Payment authorized on 05/08 Hide-Away Storage                                  64.78
                           941-462-2312 FL S467128566239603 Card 8480
     519                   Purchase authorized on 05f08 USPS PO 1109777500 Bradenton                                13.60       46,764.14
                           FL 5307128776204617 Card 9355
     5110                  Bankcard Fee -          9144                                                            116.06
     5110                  Bankcard Discount Fee-           9144                                                   504.80
     5!10                  Bankcard Interchange Fee-           9144                                                517.98
     5110                  Fpl Direct Debit Elec Pymt 05f17 7207403200 Telv Donna C Fogle                          160.88       45,464.42
     5111                  Paypal Inst Xfer 170510 Hanjunghoon Donnafogle Oneboxtv                                 900.00       44,564.42
     5112                  Purchase authorized on 05/11 Racetrac475Bradenton FL                                     20.01
                           P00587132158032641 Card 9355
                                                                                                                   REDE Page 29 of 56
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Account number:                  6221      • May 1, 2017 - May 31, 2017 • Page 3 of 7




Transaction history (continued)
                            Check                                                                      Deposits!       \!Wthdrawalsl    Ending dally
     Date                  Number Description                                                            Credits              Debits        balance
     5112                           Purchase authorized on 05f12 USPS PO 11097701 4112 53R                                     8.89       44,535.52
                                    Bradenton FL ?00307132744669491 Card 8480
     5115                           05/15Bankcard Deposit            9144                              1.310.75
     5115                           05/15Bankcard Deposit            9144                              1,203.75
     5!15                           05/15Bankcard Deposit             9144                             1,305.39
     5115                           Purchase authorized on 05114 Racetrac100 Bradenton FL                                     25.00       48,330.41
                                    P00307134590200195 Card 9355
     5116                           Purchase authorized   on   05/16 Sam's Club Bradenton FL                                 166.01
                                    P00000000259729824 Card 9355
     5116                           Purchase authorized on 05116 Best Buy 00011411 Bradenton FL                              320.99
                                    P00000000730005561 Card 6480
     5116                    1065 Cashed Check                                                                               480.00       47,363.41
     5117                         05!17Bankcard Deposit              9144                                500.00
     5117                           Purchase authorized on 05/16 Apl.. !tunes. ComfBi 866- 712- 7753                           2.99
                                    CA $587136316876465 Card 9355
     5117                         Purchase authorized on 05117 Lowe's #1843 Bradenton FL                                       4.22
                                  P00307137587432152 Card 9355
     5117                    1066 Check                                                                                    3,343.75       44,512.45
     5118                         Purchase authorized on 05/16 Bob Evans Rest #01 Bradenton FL                                33.93
                                  5587136620662801 Card 8480
     5118                         Purchase authorized on 05f18 Shell Service Station Bradenton FL                             20.12       44,458.40
                                    P00487138617927486 Card 9355
     5!19                           05/19Bankcard Depooit          9144                                  461 .50
     5119                           Purchase authorized on 05118 The UPS store 0108 Bradenton FL                              70.62
                                    5587138585205705 Card 9355
     5119                           Xiaozeyong lat Pay pal 170519 1001066023130 Donnafogle                                 5,726.20       39,143.06
                                    Oneboxtv
     5122                           05/22Bankcard Deposit          9144                                  321.00
     5122                           05/22Bankcard Depooit          9144                                  426.00
     5122                           Square Inc 170522P2 170522 L204205633261 Donna Fogle               1,488.02
                                    Oneboxtv
     5122                           05/22Bankoard Deposit          9144                                                       53.50
     5122                           Purchase authorized on 05f20 Sarrs Club Sam's Club Bradenton                             362.71
                                    FL P00000000343884758 Card 9355
     5!22                           Purchase authorized on 05/22Wawa Store 5165 Bradenton FL                                  20.01
                                    P00487142689310420 Card 9355
     5122                    1067 Deposited OR Cashed Check                                                                  510.00
     5122                           Purchase authorized on 05122 Lowe's #1643 Bradenton FL                                    16.35
                                    P00467142759465101 Card 9355
     5122                           Cash eWithdrawal in Branch/Store 05f22f2017 5:47 Pm 1510                                  90.00
                                    Cortez Rd W Bradenton FL 8480
     5122                           Fdgl Lease Pymt 170522 052-1323765-000 Donna Fogle                                        39.22
                                    Oneboxtv
     5122                           Paypal Inst Xfer 170521 Printdrtchp Donnafogle Oneboxtv                                  425.16
     5122                           Paypal lnst Xfer 170522 Upwrkescrow Donnafogle Oneboxtv                                   46.24       39,816.91
     5124                           05/24Bankcard Deposit           9144                                 214.00
     5124                           Purchase authorized on 05124 Wawa Store 5165 Bradenton FL                                 64.27
                                    P00307144568282814 Card 9355
     5124                           Purchase authorized on 05f24 WM Superc Wal-Mart Sup                                       41.77       39,924.87
                                    Bradenton FL P00000000833995514 Card 8480
     5125                           05/25Bankcard Deposit         9144                                   508.25
     5125                           Purchase authorized on 05125 Apr !tunes. ComfBi 866- 712- 7753                             7.77
                                    CA $467144746256837 Card 9355
     5125                           Purchase authorized on 05125 Wawa Store 5165 Bradenton FL                                 61.59
                                    P00587145732336087 Card 9355
     5125                           Bright House Net Cable Tv 170524 2786241 *lvr                                             55.28       40,308.48
     5126                           05/26Bankcard Deposit -       9144                                   260.00
     5126                           Paypal lnst Xfer 170525 Cbay813 Donnafogle Oneboxtv                                    1,800.00       38,768.48
     5!30                           05/30Bankcard Deposit -       9144                                   267.50
     5130                           05/30Bankcard Deposit         9144                                 1,052.00
     5!30                           05/30Bankcard Deposit         9144                                   845.30




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                                                                                                                                REDE Page 30 of 56
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Account number:                  6221      • May 1, 2017 - May 31, 2017 • Page 4 of 7




Transaction history (continued)
                            Check                                                                                 Deposits!          \!Wthdrawalsl        Ending dally
       Date               Number Description                                                                        Credits                 Debits                balance
       5130                         Square Inc 170527?2 170527 L204207244683 Donna Fogle                            234.13
                                    Oneboxtv
       5130                         Square Inc 170529?2 170529 L204207645801 Donna Fogle                            520.28
                                    Oneboxtv
       5!30                         Purchase authoriZed on 05fZ5 Georgia carpet Wor Bradenton FL                                           508.46
                                    5467145643690856 Card 8480
       5130                  1070 Cashed Check                                                                                             185.00
       5130                  1071 Deposited OR Cashed Check                                                                                625.00
       5130                       Cash eWithdrawal in Branch/Store 05!30f2017 3:12 Pm 1510                                                   3.00
                                  Cortez Rd W Bradenton FL 9355
       5!30                         Paypal Inst Xfer 170528 Bigriverboo Donnafogle Oneboxtv                                                 23.44
       5130                         Paypal Inst Xfer 170529 Upwrkescrow Donnafogle Oneboxtv                                                369.90            39,972.89
       5131                         05/31Bankcard Deposit          9144                                             160.50
       5131                         Purchase authorized on 05/30 Big Earth Landscap Bradenton FL                                           200.17
                                    8007150479121298 Card 8480
       5131                         Purchase authorized on 05130 The UPS store 0108 Bradenton FL                                            53.49
                                    $467150701655245 Card 9355
       5131                         Purchase authorized on 05131 USPS PO 11097701 4112 53R                                                  13.60
                                    Bradenton FL P00587151775026506 Card 9355
       5131                  2001   Check                                                                                                1,001.52            38,664.61
       Ending balance on 5131                                                                                                                               38,864.61
       Totals                                                                                                   $20,094.34            $29,515.94
       The Endng Daily Balance does not reflect any pending !Mthdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insuffident available funds when a transaction posted, fees may have been assessed,




Summary of checks written           (checks listed are also displayed Jn the preceding Transaction history)

       Number             Date                 Amount          Number            Dale                Amount          Number              Date                 Amount
       1060               511                   974.48         1065 ..           5116                 460.00         1070 ...            5130                     185.00
       1061               S/2                   525.00         1066              5!17                3,343.75        1071                5130                     625.00
       1062               512                  1.000.00        1067              5122                 510.00         2001.               5131                 1.001.52
       1063               518                   600.00

        • Gap in check sequence,


Monthly service fee summary

For a complete list of fees and detailed account information, please seethe Wells Fargo Fee and Information Schedule and Account Agreement applicable to
your account or talk to a banker. Go to wellsfargo. com/feefaq to find answers to common questions about the monthly service fee on your account.


       Fee period 05/01/2017- 05131/2017                                                   Standard monthly service fee $14.00                  You paid $0.00

       How to avoid the monthly service fee                                                                 Minimum reQuired                    This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                    $7,500.00                       $42,616.00    G
              Qualifying transaction from a linked Wells Fargo Business Payroll Services account                             1                                oo
              Qualifying transaction from a linked Wells Fargo Merchant Services account                                                                     25    G
              Total number of posted Wells Fargo Debit Card purchases and/or payments                                           10                           34    G
              Enrollment in a linked Direct Pay service through Wells Fargo Business Online                                                                   OD
              Combined balances in linked accounts, which may include                                               $10,000.00                                     G
                Average ledger balances in business checking, savings, and time accounts
                Most recent statement balance in eligible Wells Fargo business credit cards and
                lines of credit, and combined average daily balances from the previous month
                in eligible Wells Fargo business and commercial loans and lines of credit
                                                                                                                                 REDE Page 31 of 56
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Account number:                  6221       • May 1, 2017 - May 31, 2017 • Page 5 of 7




Monthly service fee summary (continued)
        How to avoid the monthly service fee                                                                   Minimum required                  This fee period
               For complete details on how you can avoid the monthly service fee based on
               your combined balances please refer to page 7 of the Business Account Fee and
               Information Schedule at www. wellsfargo.comlbizffee-information




Account transaction fees summary
                                                                                             Units           Excess         Service charge per             Total service
        SerVice charge description                                   Urnts used          included              units           excess units($)               cnarge ($)
        Cash Deposited($)                                                     0             7,500                 0                    0.0030                      0.00
        Transactions                                                        32                200                 0                       0.50                     0.00
        Total service charges                                                                                                                                     $0.00




Other Wells Fargo Benefits

Commerclal real estate loans up to $750,000 ~origination fee waived

Apply by June 30, 2017, and we'll waive the origination fee - a discount of up to $5,000.
Business Real Estate Financing wants to help you meet your commercial real estate goals. Our purchase, refinance, and equity loans
offer compeU:lve rates with a vartety of term options, and low clos!ng costs.

Learn more by visiting wellsfargo.comlbiz/loans-and-lineslreal-estatel
To apply, or for more infonnation, call: 1-866-416-4320, Monday - Friday, 6:00 a.m. to 6:00 p.m. Pacific Time.

Note: Equity lines of credit are not eligible for this promotion. All financing is subject to credit approval. Some restrictions may apply.
Equal housing lender.




         IMPORTANT ACCOUNT INFORMATION

Helpful information about avoiding the monthly service fee on this checking account.

None of the options to avoid the monthly seivlce fee forth is account have changed. All of the options are listed under the "Monthly
service fee summary'' section of this statement.

Below are the details for the 10 or more posted debit card purchases/payments option to avoid the monthly service fee each fee
period:
- Debit card purchases include: PIN, Signature, Online and Phone purchases that post during the fee period
- Debit card payments include: one-time and recurring payments of bills made with your debit card that post during the fee period
- Not Included: any transactions made at an A1M (Wells Fargo or Non-Wells Fargo), and ACH (Automated Clearing House) transactions
- Fee period: debit card transactions must post during the fee period to count. The dates of your fee period are located in the "Monthly
service fee summary'' section of this statement. Transactions received after the applicable cut-off time or on a non-business day
(Saturday. Sunday and federal holidays) are posted on the next business day.

If you have any questions about how to avoid the monthly seivice fee on your account, please contact your local banker or call the
number listed on this statement.




      Sheet Seq"' 0072033
      Sheet 00003 cf 00004
                                                                                                                               REDE Page 32 of 56
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Account number:                  6221      • May 1, 2017 - May 31, 2017 • Page 6 of 7




Please note the following in connection with your Wells Fargo Debit or ATM Card:
At certain ATMs inside Wells Fargo branches, during branch hours, your daily ATM withdrawal limit may not apply, and you may be
able to access and perform transactions on accounts that are not linked to your card. At most ATMs, however, your daily ATM
withdrawal limit will apply, and you will only have access to accounts linked to your card.

The Consumer Account Agreement, Business Account Agreement, and Selected Terms and Conditions for Wells Fargo Consumer Debit
and ATM Cards; Business Debit, AlM and Deposit Cards; Campus Debit Card and Campus ATM Card; Wells Fargo Advisors Accounts;
and Private Bank Debit Cards are revised as follows:

In the sections entitled, ''Electronic fund transfer seivices'', "Issuance of a card and Personal Identification Number(PIN)'', ''What you can
do at Wells Fargo ATMs'', "Daily limits and funds available for use with cards'' and "Linking accounts for card access and designating
primary account'', references to ''linked account(s)" and "accounts linked to your card'' have been changed to ''account(s)".

In the section entitled, ''Daily limits and funds available for use with cards", modifications have been made to reflect that at certain
ATMs inside Wells Fargo branches, during branch hours, your daily A1M withdrawal limit may not apply, and you may be able to access
and perform transactions on accounts that are not linked to your card. At most ATMs, however, your daily ATM withdrawal limit will
apply, and you will only have access to accounts linked to your care!.
                                                                                                                               REDE Page 33 of 56
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Account number:                             6221      • May 1, 2017 - May 31, 2017 • Page 7 of 7




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts              You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the        information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft         an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                    Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each oheck, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                     Total amount $




@2010 Wells Fargo Bank, NA. All   right~   reserved Member FDIC. NMLSR ID 399801




       Sheet Seq"' 0072034
       Sheet 00004 cf 00004
                                                                                                                                  REDE Page 34 of 56
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Wells Fargo Business Choice Checking
Account number:                    6221      • June 1, 2017 - June 30, 2017 • Page 1 of 7




                                                                                                           Questions?
DONNA C FOGLE                                                                                              Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay SeNices calls accepted
DBA DONNA FOGLE ONEBOXTV
5726 CORTEZ RD W # 134
                                                                                                             1-800-CALL-WELLS                (1-800-225-5935)

BRADENTON FL 34210-2701                                                                                      TTY: 1-800-877-4833
                                                                                                             En espanol: 1-877-337-7454
                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (345)
                                                                                                                  P.O. Box6995
                                                                                                                    Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                             Account options
 Cash flow is a key indicator of the inancial health of your business. Find tips and                       A check mark in the box indicates you have these convenient
                                                                                                           services with your account(s) Go to wellsfargo.com!b1z or
 strategies for effective cash flow management at wellsfargoworks.com.
                                                                                                           cell the numbf!1r above if you have queslions or if you would
                                                                                                           like to add new s&rvices.

                                                                                                           Business Online Banking                               0
                                                                                                           Online Statements                                     0
                                                                                                           Business Bill Pay                                     0
                                                                                                           Business Spending Report                              0
                                                                                                           Overdraft Protection                                  D


Activity summary                                                                                            Account number:            62:21
        Beginning balance on 611                                     $38,864.61                             DONNA C FOGLE
        Deposits/Credits                                               18,889.35                            OBA DONNA FOGLE ONEBOXTV
        Withctawals!Debits                                           - 54,SS4.50                            Pennsylvania account terms and conditions apply

        Ending balance on 6130                                        $2,899.46                             For Direct Deposit use
                                                                                                            Routing Number (RTN): 031000503

        Average ledger balance this period                           $35,324.45                             For Wire Transfers use
                                                                                                            Routing Number (RTN): 121000248


Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo store.




      (,345)
      Sheet Seq"' Cl123010
      Sheet 00001 cf OOQ04
                                                                                                       REDE Page 35 of 56
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Account number:         6221      • June 1, 2017 - June 30, 2017 • Page 2 of 7




Transaction history

                   Check                                                                   Deposits!       Withdrawals/     Ending daily
     Date         Number Description                                                         Credits             Debits         balance
     611                   06/01Bankcard Deposit         9144                                220.00
     611                   Purchase authorized on 05/31 PA DriverNehicle 800-932-4600                             38.00
                           PAS387151717361660 Card &480
     611                   Brl!i!ht House Net Cable Tv 170531 6389249 *Oneboxtv                                  190.91       38,855.70
     612                   06/02Bankcard Deposit          9144                               695.50
     612                   Purc;hase authorized on 06/01 Anna Maria Oyster Bradenton FL                           64.23
                         8587152839989703 Card 9355
     612            2002 Cashed Check                                                                          1,000.00
     612                   Purchase authorized on 06/02 The UPS Store #0108 57 Bradenton                         171.18
                           FL P00000000687739251 Card 9355
     612                   Paypal Inst Xfer 170601 Obarrileyscl Donnafogle Oneboxtv                               40.00       38,275.79
     615                   06/0SBankcard Depooit -         9144                              454.75
     615                   06/05Bankcard De~osit           9144                            1,391.25
     615                   06/05Bankcard Deposit         9144                                856.25
     615                   Square Inc 170603?2 170603 L204209059241 Donne Fogle              702.38
                           Oneboxtv
     615                   Square Inc 170605P2 170605 L204209412722 Donna Fogle            1,238.27
                           Oneboxtv
     615                   Purchase authorized on 06103Amazon.Com Amzn.Com!Bill WA                               278.18
                           $467153158426661 Card 9355
     615                   Recurring Payment authorized on 06/03 Phone.Com, Inc                                   72.05
                           800-9987087 NJ 8467154351870401Card9355
     615                 Purchase authorized on 06104 Office Depot 00 4502 E Bradenton                            85.59
                         FL P00587155516833991 Card 9355
     615            2003 Cashed Check                                                                            735.00
     615            1068 Check                                                                                   250.00
     615                 Louden LLC Rent 170602 67956401 Donna Fogle                                           1,440.74
     615            1069 Check                                                                                   160.00       39,897.13
     616                 Purchase authorized on 06!06 Wawa Store 5165 Bradenton FL                                61.85
                         P00387157639743886 Card 9355
     616                 United Fin Cas Ins Prem 170606 02823358 Donna Donna Fogle                               115.80
                         One Box:Tv
     616                 Paypal lnst Xfer 170605 Hyspawnshop Donnafogle Oneboxtv                                 239.99       39,479.49
     617                 06/07Bankcard Deposit          9144                                 508.25
     617                 Purchase authorized on 06107 Best Buy 00011411 Bradenton FL                             513.59       39,474.15
                         POOOOOOOOS74697508 Card 9355
     618                 06/08Bankcard Deposit          9144                               2, 100.00
     618                 Purchase authorized on 06/08 The UPS Store #5574 46 Bradenton                            75.60
                         FL P00000000684627165 Card 9355
     618                 Xiaozeyong lat Pay pal 170608 1001193722024 Donnafogle                                3,325.00       38,173.55
                         Oneboxtv
     619                 Recurring Payment authorized on 06/08 Hide-Away Storage                                  64.78
                           941-462-2312 FL 8467159587551514 Card 8480
     619                 Purchase authorized on 06f09Best Buy 00011411 Bradenton FL                               11.75
                         P00000000372506855 Card 9355
     619                 Withdrawal Made In A BranchfStore                                                         6.00
     619            1500 Check                                                                                   725.00       37,366.02
     6112                06/12Bankcard Deposit           9144                                267.50
     6112                06/12Bankcard Deposit           9144                                883.25
     6!12                Square Inc 170612?2 170612 L204211367186 Donna Fogle                702.J.S
                         Onebmd:v
     6112                Bankcard Fee Aqjustment-           9144                                                   3.63
     6112                Bankcard Fee-          9144                                                             119.40
     6112                Bankcard Interchange Fee-           9144                                                239.39
     6112                Bankcard Discount Fee-           9144                                                   294.54
     6!12           1503 Cashed Check                                                                            525.00
     6112           1501 Check                                                                                    50.00       37.987.19
     6113                Paypal Inst Xfer 170612 Dbarrileyscl Donnafogle Oneboxtv                                 25.00       37,962.19
     6114                Recurring Payment authorlZed on 06/12 AT&T..Text2Pay                                    384.35
                           800-331-0500 TX $387164026653669 Card 9355
                                                                                                                 REDE Page 36 of 56
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Account number:                  6221      • June 1, 2017 - June 30, 2017 • Page 3 of 7




Transaction history (continued)
                            Check                                                                    Deposits!       \!Wthdrawalsl    Ending dally
     Date                  Number Description                                                          Credits              Debits        balance
     6114                         Purchase authorized on 06f14 Manatee Citgo Bradenton FL                                   20.01
                                  P00587165564311537 Card 9355
     6114                         Purchase authorized on 06/14 The UPS Store #5574 46 Bradenton                             33.89
                                  FL P00000000876040185 Card 9355
     6!14                           Fpl Direct Debit Elec Pymt 06!17 7207403200 Telv Donna C Fogle                         247.136      37,276.08
     6115                           Purchase authorized on 06!14 Ohl Express(USA), 800-722-0081                             35.00       37,241.08
                                    TX 5467164750849096 Card 9355
     6116                           Square Inc 170616P2 170616 L204212703761 Donna Fogle               106.00
                                    Oneboxtv
     6116                         06/16Bankcard Deposit          9144                                  267.50
     6!16                    1504 Check                                                                                     94.00       37,520.58
     6119                         Transfer From Sattley Donald on 06/17 Ref# Ppe8Rjnqk7 3 Boxes        340.00
                                    17 June
     6119                           06/19Bankcard Deposit         9144                               1,476.26
     6119                           06/19Bankcard Deposit         9144                                 267.50
     6119                           Square Inc 170617P2 170617 L204213031699 Donna Fogle               170.19
                                    Oneboxtv
     6119                           Purchase authorized on 06!16 Cracker Barrel #636 6 Bradenton                            44.00
                                    FL P00387168055185950 Card 8480
     6119                           Purchase authorized on 06117 Anna Maria Oyster Bradenton FL                             64.52
                                    5467168850312404 Card 8480
     6119                         Purchase authorized on 06!17Wawa Store 5165 Bradenton FL                                  59.38
                                  P00387169060389021 Card 9355
     6119                    1505 Cashed Check                                                                           1,095.00
     6!19                    1502 Check                                                                                     70.00       38,421.63
     6120                         Purchase authorized on 06!20 Best Buy 00011411 Bradenton FL                              481.49
                                    P00000000953904878 Card 9355
     6120                         Purchase authorized on 06120 The UPS store #5574 46 Bradenton                             14.82
                                  FL P000000001S1107137 Card 9355
     6120                         Fdgl Lease Pymt 170620 052-1323765-000 Donna Fogle                                        39.22       37,886.10
                                  Oneboxtv
     6121                         06/21Bankcard Deposit           9144                                 187 .25                          38,073.35
     6122                         Purchase authorized on 06f21 Amazon.Com Amzn.CO                                          168.33
                                  Amzn.Comrem WA $467169602447521 Card 9355
     6!22                         Cash eWithdrawal in Branch/Store 06!22!2017 2:40 Pm 1510                                   6.00       37,899.02
                                  Cortez Rd W Bradenton FL 6480
     6123                         06/23Bankcard Deposit           9144                                                     267.50
     6123                         Xiaozeyong lat Paypal 170623 1001265837971 Donnafogle                                  3,314.60
                                  Oneboxtv
     6123                    1510 Check                                                                                     50.00       34,266.92
     6!26                         06/26Bankcard Deposit           9144                                 832.70
     6126                         06/26Bankcard Deposit           9144                                 909.50
     6126                         06/26Bankcard Deposit           9144                                 294.25
     6126                         Square Inc 170626P2 170626 L.204215625397 Donna Fogle              2,627.42
                                  Oneboxtv
     6126                    1511 Cashed Check                                                                             690.00
     6126                         Paypal Inst Xfer 170626 Upwrkescrow Donnafogle Oneboxtv                                    7.71
     6126                         Bright House Net Cable Tv 170624 3860171 *lvr                                             55.28
     6126                         Xiaozeyong lat Paypal 170626 1001270726185 Donnafogle                                    100.00
                                  Oneboxtv
     6126                         Xiaozeyong lat Paypal 170626 1001274039336 Donnafogle                                    356.00       37,721.80
                                  Oncboxtv
     6127                         Purchase authorized on 06126 Dollar Tree Bradenton FL                                      5.35
                                  S587177804891468 Card 6480
     6127                         Purchase authorized on 06!27 Wawa Store 5165 Bradenton FL                                 55.00
                                  P00307178635700736 Card 9355
     6127                         Purchase authorized on 06f27 The UPS store #5574 46 Bradenton                             12.30       37,649.15
                                  FL P00000000771165636 Card 9355
     6!29                         06/29Bankcard Deposit           9144                               1,391.00
     6129                         Etransfer JN Branch/Store - to Checking 1510 Cortez Rd W                                 500.00
                                  Bradenton FL 9888
     6129                         Withdrawal Made In A BranchfStore                                                     32,225.00




    Sheet Seq"' Cl123011
    Sheet 00002 cf OOQ04
                                                                                                                                REDE Page 37 of 56
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Account number:                  6221      • June 1, 2017 - June 30, 2017 • Page 4 of 7




Transaction history (continued)
                            Check                                                                                  Deposits!         \!Wthdrawalsl          Ending dally
       Date               Number Description                                                                          Credits               Debits                 balance
       6129                         Purchase authorized on 06f29 The UPS Store #01 OS 57 Bradenton                                            6.09
                                    FL P00000000053466421 Card 9355
       6129                         Xiaozeyong lat Paypal 1706291001294374271 Donnafogle                                                 3.314.60
                                    Oneboxtv
       6!29                  1512 Check                                                                                                        95.00           2,899.46
       Ending balance on G/lO                                                                                                                                  2,899.46

       Totals                                                                                                    $18,889.35           $54,854.511

       The Encing Daily Balance do9s not reflect any pending INithdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed,



Summary of checks written           (checks listed are also displayed in the preceding Transaction hi:story)

       Number             Date                 Amount          Number            Dato                 Amount           Number            Date                  Amount
       1068               615                   250.00         1503              6/12                   525.00         1511              6126                      690.00
       1069               615                   160.00         1504              6!16                    94.00         1512              6129                       95.00
       1500"              619                   725.00         1505              6119                 1,095.00         2002"'            612                   1,000.00
       1501               6112                    50.00        1510 *            6123                    50.00         2003              615                       735.00
       1502               6119                    70.00

        • Gap in check sequence_


Monthly service fee summary

For a complete list of fees and detailed account information, please see the Wells Fargo Fee and Information Schedule and Account Agreement applicable to
your account or talk to a banker. Go to wellsfargo. comffeefaq to find answers to common questions about the monthly service fee on your account


       Fee period 06!01f2017 - 06130/2017                                                  Standard monthly service fee $14.00                   You paid $0.00

       How to avoid the monthly service fee                                                                  Minimum required                    This fee period
       Have any ONE of the following account requirements
           Average ledger balance                                                                                      $7,500.00                       $35,324.00 ~
              Qualifying transaction from a linked Wells Fargo Business Payroll Services account                                                               oD
              Qualifying transaction from a linked Wells Fargo Merchant Services account                                                                      22 l<l
              Total number of posted Wells Fargo Debit Card purchases and/or payments                                           10                            25G
              Enrollment In a linked Direct Pay service through WellS Fargo Business Online                                                                    oD
              Combined balances in linked accounts, which may include                                                 $10,000.00                                l<l
                Average ledger balances in business checking, savin95, and time accounts
                Most recent statement balance in eligible Wells Fargo business credit cards and
                lines of credit, and combined average daity balances from the previous month
                in eligible Wells Fargo business and commercial loans and lines of credit
                For complete details on how you can avoid the monthly service fee based on
                your combined balances please refer to page 7 of the Business Account Fee and
                Information Schedule at www. wellsfargo.comlbizffee-information
                                                                                                                              REDE Page 38 of 56
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Account number:                  6221      • June 1, 2017 - June 30, 2017 • Page 5 of 7




Account transaction fees summary
                                                                                           Units           Excess        Se1111ce charge per       Total service
        Service charge description                                 Units used          induded              units           excess units($)          charge($)
        Cash Deposited($)                                                   0             7,500                 0                   0.0030                0.00
        Transactions                                                       34               200                 0                      0.50               0.00
        Total service charges                                                                                                                            $0.00




Important Account Information

Great News! The daily purchase limlt for each debiVATM card linked to your checking account is being increased by $500. The increase
becomes effective between June 1 and June a. 2017.
You can view your daily purchase and ATM withdrawal limits by signing on to Wells Fargo Online. Go to the More menu at the top of
the page, click on Accounts and Settings, select Profile and Settings, then   Man~e   Account Settings. Select your card in the drop down
menu on the View Account Profile pfl9e to view your daily purchase and ATM withdrawal limits.




         IMPORTANT ACCOUNT INFORMATION

Revised Agreement for Online Access
We're updating our Online Access Agreement effective September 15, 2017.
To see what Is changing, please visit wellsfargo.cornfonllneupdates.



Periodically, it is necessaiy to update selected sections of the disclosures you received when you opened your account. These updates
provide you with the most up to date account information and are very important; so please review this information carefully and feel
free to contact us with any questions or concerns.

We are updating the Account Agreement ('Agreement") dated April 24. 2017. Effective August 15. 2017. in the section titled ''Rights
and Responsibilities'', the subsections ''When can you close your account?" and ''If you request to close your account, we may allow you
to keep funds in your account to cover outstanding Items to be paid'' are deleted and replaced with the following:

When can you close your account?

You can request to close your account at any time ifthe account is in good standing (e.g., does not have a negative balance or
restlictions such as legal order holds or court blocks on the account). At the time of your request, we will assist you in withdrawing or
transfen"ilg any remaining funds, bringing your account balance to zero.
- All outstanding Items need to be processed and posted to your account before your request to close. Once the account is closed
Items will be returned unpaid.
- Any rocurring payments or withdrawals from your account need to be cancelled before your request to close (examples include bill
payments, debit card payments, and direct deposits) otherwise, they may be returned unpaid.

We will not be liable for any loss or damage that may result from not honoring Items or recuning payments or withdrawals that are
presented or received after your account is closed.

At the time of your request to close:
- For interest-earning accounts, it stops earning interest from the date you request to close your account.
- Overdraft Protection and/or Debit Card Overdraft Seivice will be removed on the date you request to close your account




      Sheet Seq"' Cl123012
      Sheet 00003 cf OOQ04
                                                                                                                           REDE Page 39 of 56
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Account number:                 6221      • June 1, 2017 - June 30, 2017 • Page 6 of 7




- The Agreement continues to apply.
- If you have requested to close your account and a positive balance remains, we may send you a check for the remaining balance.
Even after your account is closed, you will remain responsible for any negative balance.

In California branches you can request to close your account at any time if the account does not have any restrictions such as legal
order holds or court blocks. Even after your account is closed, you will remain responsible for any negative balance.

All other aspects of the Agreement remain the same. If there is a conflict between the updated language above and the Agreement,
the updated language will control.


Thank you for being a Wells Fargo customer. As a valued Wells Fargo customer, we hope you find this information helpfuL Aijain, if you
have questions or concerns about these changes, please contact your local banker or call the number listed on your statement
                                                                                                                                REDE Page 40 of 56
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Account number:                             6221      • June 1, 2017 - June 30, 2017 • Page 7 of 7




General statement policies for Wells Fargo Bank
• Notice: Wells Fargo Bank, N.A. may furnish information about accounts               You must describe the specific information that iS inaccurate or In dispute
belonging to individuals, including sole proprietorships, to consumer                 and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the         information that relates to an identity theft, you wHI need to provide us with
accuracy of Information that we have reported by writing to us at: Overdraft          an identity theft report
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.


Account Balance Calculation Worksheet                                                     Number                     Items Outstanding                      Amount

1.   Use the following worksheet to calculate your overall account balance.
2.   Go through your register and mark each check, withdrawal, ATM
     transaction, payment, deposit or other credit listed on your statement.
     Be sure that your register shows any interest paid into your account and
     any service charges, automatic payments or ATM transactions withdrawn
     from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
     outstanding checks, ATM withdrawals, ATM payments or any other
     withdrawals (including any from previous months) which are listed in
     your register but not shown on your statement.

ENTER
A. The ending balance
     shown on your statement .                     . ............ $ _ _ _ _ __

ADO
B. Any deposits ISted in your                                       $ _ _ _ _ __
     register or transfers into                                     $ _ _ _ _ __
     your account which are not                                     $ _ _ _ _ __
     shown on your statement.                                    + $    -------


                                                        ...•TOT.AL. $
                                                                        -------



CALCULATE THE SUBTOTAL
     (Add Parts A and 8)

                                                        ...•TOT.AL. $ _ _ _ _ _ __

SUBTRACT
C. The total outstanding checks and
     withdrawals from the chart above .              ......... -$ _ _ _ __

CALCULATE THE ENDING BALANCE
     {Part A+ Part B - Part C)
     This amount should bethe same
     as the current balance shown in
     your check register ............ .


                                                                                                                                      Total amount $




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                                 WELLS FARGO BANK, N.A.
                                COMPLEX SUBPOENA TEAM
                                333 MARKET ST., 30TH FLOOR
                                      MAC A0119-274
                                 SAN FRANCISCO, CA 94105
                                    PHONE (415) 396-1790
                                     FAX (415) 975-7864


      January 13, 2020


      James Boatman, Esq.
      The Boatman Law Firm PA
      3021 Airport-Pulling Rd. N., Ste. 202
      Naples, FL 34105


      Via email: jab@boatman-law.com


       RE:   Dish Network LLC v. One Box TV, LLC
             Wells Fargo File No. WF2020000782


      Dear Mr. Boatman,

      On behalf of Wells Fargo Bank, N.A. I am responding to your subpoena dated December
      4, 2019 in the case noted above. I apologize for the delay in responding. Our research
      has indicated that the merchant processing records you seek are in the possession of
      Wells Fargo Merchant Services, LLC (WFMS), a separate and distinct entity from Wells
      Fargo Bank N.A. The merchant is a customer ofWFMS, not Wells Fargo Bank N.A.
      Below is the contact information for WFMS. Please contact them directly for documents.

                    Wells Fargo Merchant Services, LLC
                    Rob Gilbert
                    Sr. Legal Analyst
                    First Data, 5775 OTC Blvd., Suite 1OON,
                    Greenwood Village, CO 80111
                    303-967-8693

                    Legalpapers@firstdata.com
                    Robert.Gilbert@firstdata.com I firstdata .com

     Please let me know if you have any questions.
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      Very trnly yours,

              f .W4.J
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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

    DISH NETWORK L.L.C.                     )
    and NAGRASTAR LLC,                      ) Civil Case No. 8:18-cv-1332-T-33AAS
                                            )
                           Plaintiffs,      ) FILED UNDER SEAL
                                            )
           v.                               )
                                            )
    NELSON JOHNSON, JASON                   )
    LABOSSIERE, SET BROADCAST LLC,          )
    STREAMING ENTERTAINMENT                 )
    TECHNOLOGY LLC, DOE 1, as Trustee       )
    for Chateau Living Revocable Trust, and )
    DOE 2, as Trustee for Macromint Trust,  )
    individually and collectively d/b/a     )
    www.setvnow.com,                        )
                                            )
                           Defendants.      )
    _____________________________________ /

        ORDER GRANTING PLAINTIFFS’ EX PARTE MOTION FOR TEMPORARY
                RESTRAINING ORDER, PRESERVATION ORDER,
                            AND ASSET FREEZE

          Plaintiffs DISH Network L.L.C. (“DISH”) and NagraStar LLC (“NagraStar”, and,

   collectively with DISH, “Plaintiffs”) have filed an Ex Parte Motion for Temporary Restraining

   Order, Preservation Order, and Asset Freeze pursuant to 47 U.S.C. § 605(e)(3)(B)(i) and Fed. R.

   Civ. P. 65 alleging that Defendants Nelson Johnson, Jason LaBossiere, Streaming Entertainment

   Technology L.L.C., SET Broadcast LLC, Doe 1 (as trustee for Macromint Trust), and Doe 2 (as

   trustee for Chateau Living Revocable Trust) (collectively “Defendants”) have been, directly and

   through their affiliate and reseller network, operating a pirate streaming service known as “SET

   TV” which has been retransmitting various DISH channels without authorization from DISH.




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           This Court, having considered Plaintiffs’ Complaint, Ex Parte Motion for Temporary

   Restraining Order, Preservation Order, and Asset Freeze, the supporting declarations, the Court’s

   files, and the applicable law, finds that:

           1.      Plaintiffs are likely to succeed in showing that Defendants are violating section

   605(e)(4) of the Communications Act by knowingly distributing pirate streaming devices, services

   and/or software that are primarily of assistance in the unauthorized reception of DISH’s satellite

   programming;

           2.      DISH is likely to succeed in showing that Defendants are violating section 605(a)

   of the Communications Act by assisting others in receiving DISH’s satellite programming without

   authorization for Defendants’ benefit and the benefit of others;

           3.      The continued distribution of the forgoing pirate streaming devices, services and/or

   software will result in immediate and irreparable injury to Plaintiffs if a temporary restraining

   order, preservation order, and asset freeze is not ordered;

           4.      The resulting harm to Plaintiffs in not granting the temporary restraining order,

   preservation order, and asset freeze outweighs any injury this relief will cause to Defendants;

           5.      The public interest will be served by entering a temporary restraining order,

   preservation order, and asset freeze;

           6.      Entry of an ex parte order is warranted because Defendants have an extensive

   history of serious felonies, including Defendant Johnson’s felony conviction for tampering with

   evidence, as well as a history of violating court orders. Additionally, DISH presented evidence of

   numerous occasions where similar satellite television pirates have destroyed relevant evidence

   after receiving notice of legal proceedings filed against them. Based on the foregoing, the Court

   finds that ex parte relief and a preservation order are necessary because there is a real and


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   substantial risk that, absent an express order by the Court requiring evidence preservation under

   penalty of contempt, evidence critical to Plaintiffs’ case against Defendants would be destroyed,

   concealed, or transferred, thus frustrating the ultimate relief Plaintiffs seek in this action.

           THEREFORE, it is hereby ORDERED, ADJUDGED, and DECREED that, pending a

   preliminary injunction hearing to be held before the Magistrate Judge, Defendants and any of their

   officers, agents, servants, employees, and those acting in active concert or participation with them,

   including affiliates and resellers, who receive actual notice of this Order are ENJOINED and must

   RESTRAIN from directly or indirectly:

           (a)     receiving or assisting others in receiving DISH programming without authorization

                   by DISH;

           (b)     operating     the    websites     www.setvnow.com,          https://store.setvnow.com,

                   https://affiliate.setvnow.com, and https://reseller.setbroadcast.com;

           (c)     manufacturing, assembling, modifying, importing, exporting, selling, distributing,

                   or otherwise trafficking in the SET TV streaming service, SET TV set-top boxes,

                   SET TV related software, applications, and/or passcodes, A-Box set-top boxes,

                   Setplex set-top boxes, other set-top boxes capable of receiving the SET TV

                   streaming service, or any other technology, product, service, device, component,

                   application, passcode, or part thereof that is primarily of assistance in the

                   unauthorized reception of DISH programming;

           (d)     hosting or otherwise supporting any website that advertises, promotes, offers, sells,

                   or otherwise traffics in the SET TV streaming service, SET TV set-top boxes, SET

                   TV related software, applications, and/or passcodes, A-Box set-top boxes, Setplex




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                  set-top boxes, other set-top boxes capable of receiving the SET TV streaming

                  service;

         (e)      destroying, concealing, hiding, modifying, or transferring:

                 i.      any computers or computer servers that have been used, are being used, or that

                         are capable of being used to support the SET TV pirate streaming service;

                ii.      any satellite receivers, smart cards, and satellite dishes, including DISH

                         receiving equipment, that have been used, are being used, or that are capable of

                         being used to support the SET TV pirate streaming service;

               iii.      any SET TV software, applications, and/or passcodes, including any devices

                         capable of storing that software and/or applications such as computers or

                         external storage devices such as thumb drives and diskettes;

               iv.       any SET TV set-top boxes, A-Box set-top boxes, Setplex set-top boxes, or other

                         set-top boxes capable of receiving the SET TV streaming service; and

                v.       any books, documents, files, records, or communications whether in hard copy

                         or electronic form, relating in any way to the SET TV streaming service, set-

                         top boxes, and related software and passcodes, or any other service or device

                         that is used in satellite television piracy, including the identities of

                         manufacturers, exporters, importers, dealers, or purchasers of such services and

                         devices, or persons involved in operating the SET TV server; and

         (f)          transferring, removing, encumbering, or permitting withdrawal of any assets or

                     property belonging to or under the management of any Defendant, whether real or

                     personal, tangible or intangible, including cash, bank accounts of any kind, stock

                     accounts, bonds, title to any Defendant’s business property, including any assets or


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                  property owned, held, or managed by Macromint Trust or Chateau Living

                  Revocable Trust.

          IT IS FURTHER ORDERED that no later than three (3) court days following service of

   this Order, Defendants must provide Plaintiffs a written accounting of all assets and property

   belonging to Defendants, which in the case of any bank account shall include the account name,

   number, current balance, and location of the bank or other custodian holding such account;

          IT IS FURTHER ORDERED that the bond to be posted by DISH is zero dollars;

          IT IS FURTHER ORDERED that service of a copy of this Order, Plaintiffs’ Complaint,

   Ex Parte Motion for Temporary Restraining Order, Preservation Order, and Asset Freeze, and all

   supporting documents shall be made upon Defendants in a manner consistent with Fed. R. Civ. P.

   4, except that Plaintiffs are permitted to serve redacted copies of the Investigator Declaration and

   CI Declaration in order to protect the identities and safety of these witnesses;

          IT IS FURTHER ORDERED that upon service of this Order on all Defendants, Plaintiff

   shall notify the Clerk and that the temporary seal placed upon this case shall be lifted. Within

   seven (7) days of the entry of this Order, Plaintiffs may show cause why any pleading in this matter

   should remain under seal;

          IT IS FURTHER ORDERED that Plaintiffs’ request for a Preliminary Injunction is

   hereby referred to the Honorable Amanda Arnold Sansone, United States Magistrate Judge, for the

   issuance of a Report and Recommendation pursuant to 28 U.S.C. § 636(b)(1)(B). Judge Sansone

   will set a hearing as well as deadline for Defendants to respond to the request for a Preliminary

   Injunction.

          IT IS FURTHER ORDERED that this restraining order takes effect immediately and

   shall remain in effect pending a hearing before Judge Sansone, or further order of this Court.


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   Defendants are warned that any act by them in violation of any of the terms of this Order

   after proper notice to them may be considered and prosecuted as contempt of this Court.

         DONE and ORDERED in Chambers, in Tampa, Florida this 4th day of June, 2018.




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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

    DISH NETWORK L.L.C.
    and NAGRASTAR LLC,                        Case No. 8:18-cv-1332-T-33AAS

                      Plaintiffs,

    v.

    NELSON JOHNSON, JASON
    LABOSSIERE, SET BROADCAST
    LLC, STREAMING ENTERTAINMENT
    TECHNOLOGY LLC, DOE 1, as
    Trustee for Chateau Living
    Revocable Trust, and DOE 2,
    as Trustee for Macromint
    Trust, individually and
    collectively d/b/a
    www.setvnow.com,

                      Defendants.



                                           ORDER

         This matter comes before the Court pursuant to the Report and

   Recommendation of the Honorable Amanda Arnold Sansone, United

   States Magistrate Judge (Doc. # 58), filed on June 29, 2018.

   Therein, Judge Sansone recommends granting Plaintiffs’ Motion for

   Preliminary Injunction (Doc. # 3), granting in part and denying in

   part Defendants’ construed Motion for relief from the current

   temporary restraining order (Doc. # 48), as well as other relief.

         The Court recognizes that parties are afforded a 14-day period

   for lodging objections to a Report and Recommendation.               However,

   in this case, all parties have advised the Court that they do not

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   object to any term of the June 29, 2018, Report and Recommendation.

   See Doc. ## 61, 62.         As explained below, the Court adopts the

   Report and Recommendation.

   Discussion

         A district judge may accept, reject or modify the magistrate

   judge’s report and recommendation. 28 U.S.C. § 636(b)(1); Williams

   v. Wainwright, 681 F.2d 732 (11th Cir. 1982), cert. denied, 459

   U.S. 1112 (1983).      In the absence of specific objections, there is

   no requirement that a district judge review factual findings de

   novo, Garvey v. Vaughn, 993 F.2d 776, 779 n.9 (11th Cir. 1993),

   and the court may accept, reject or modify, in whole or in part,

   the findings and recommendations. 28 U.S.C. § 636(b)(1)(C).                  The

   district judge reviews legal conclusions de novo, even in the

   absence of an objection.         See Cooper-Houston v. S. Ry. Co., 37

   F.3d 603, 604 (11th Cir. 1994); Castro Bobadilla v. Reno, 826 F.

   Supp. 1428, 1431-32 (S.D. Fla. 1993), aff’d, 28 F.3d 116 (11th

   Cir. 1994).

         After   conducting     a   careful    and   complete    review    of   the

   findings, conclusions and recommendations, and giving de novo

   review to matters of law, the Court accepts the factual findings

   and   legal     conclusions      of   the   magistrate       judge     and   the

   recommendation of the magistrate judge.

         Accordingly, it is

         ORDERED, ADJUDGED, and DECREED:

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      (1)   The Report and Recommendation of the Honorable Amanda

            Arnold Sansone, United States Magistrate Judge (Doc. # 58)

            is ACCEPTED and ADOPTED in all respects.

      (2)   The Plaintiffs’ Motion for Preliminary Injunction (Doc. #

            3) is GRANTED.

      (3)   The   Defendants’       construed        motion    for    relief   from    the

            current temporary restraining order (Doc. # 48) is GRANTED

            to the extent that the Defendants request modification to

            the asset freeze language to provide flexibility for the

            release of funds upon the Plaintiffs’ authorization. To

            the extent the construed motion seeks broader relief, the

            Defendants’ motion is DENIED.

      (4)   The    Court     enters       the       parties’   Consent     Preliminary

            Injunction:

         Defendants    and    any    of    their      officers,      agents,   servants,

   employees, and those acting in active concert or participation

   with them, including affiliates and resellers, who receive actual

   notice of this Order are ENJOINED and must RESTRAIN from directly

   or indirectly:

         (a)   receiving      or    assisting         others    in     receiving      DISH

               programming without authorization by DISH;

         (b)   operating            the             websites          www.setvnow.com,

               https://store.setvnow.com,



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                    https://affiliate.setvnow.com,                                   and

                    https://reseller.setbroadcast.com;

         (c)        manufacturing,      assembling,          modifying,        importing,

                    exporting,      selling,       distributing,       or       otherwise

                    trafficking in the SET TV streaming service,                  SET TV

                    set-top boxes, SET TV related software, applications,

                    and/or passcodes, A-Box set-top boxes, Setplex set-top

                    boxes, other set-top boxes capable of receiving the SET

                    TV streaming service, or any other technology, product,

                    service, device, component, application, passcode, or

                    part thereof that is primarily of assistance in the

                    unauthorized reception of DISH programming;

         (d)        hosting   or    otherwise      supporting    any      website   that

                    advertises,     promotes,      offers,    sells,      or   otherwise

                    traffics in the SET TV streaming service, SET TV set-

                    top boxes, SET TV related software, applications, and/or

                    passcodes, A-Box set-top boxes, Setplex set-top boxes,

                    other set-top boxes capable of receiving the SET TV

                    streaming service;

         (e)        destroying,      concealing,       hiding,      modifying,         or

                    transferring:

               i.     any computers or computer servers that have been used,

                      are being used, or that are capable of being used to

                      support the SET TV pirate streaming service;

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           ii.        any satellite receivers, smart cards, and satellite

                      dishes, including DISH receiving equipment, that have

                      been used, are being used, or that are capable of

                      being used to support the SET TV pirate streaming

                      service;

          iii.        any SET TV software, applications, and/or passcodes,

                      including any devices capable of storing that software

                      and/or applications such as computers or external

                      storage devices such as thumb drives and diskettes;

           iv.        any SET TV set-top boxes, A-Box set-top boxes, Setplex

                      set-top boxes, or other set-top boxes capable of

                      receiving the SET TV streaming service; and

               v.     any     books,      documents,         files,      records,    or

                      communications whether in hard copy or electronic

                      form, relating in any way to the SET TV streaming

                      service,   set-top    boxes,     and    related    software   and

                      passcodes, or any other service or device that is used

                      in    satellite     television     piracy,        including   the

                      identities of manufacturers, exporters, importers,

                      dealers, or purchasers of such services and devices,

                      or persons involved in operating the SET TV server.

         (f)    transferring,          removing,   encumbering,         or   permitting

                    withdrawal of any assets or property belonging to or

                    under the management of any Defendant, whether real or

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               personal, tangible or intangible, including cash, bank

               accounts of any kind, stock accounts, bonds, title to

               any Defendant’s business property, including any assets

               or property owned, held, or managed by Macromint Trust

               or   Chateau    Living    Revocable        Trust.      A   financial

               institution     or   other       person   may   unfreeze   any   asset

               covered by this section upon prior written authorization

               by Plaintiffs.       Plaintiffs must promptly file notice of

               any such authorization.

         Defendants are warned that any act by them in violation of

   any of the terms of this Order after proper notice to them may be

   considered and prosecuted as contempt of this Court.

         DONE and ORDERED in Chambers in Tampa, Florida, this 2nd day

   of July, 2018.




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    8                           UNITED STATES DISTRICT COURT
    9                        SOUTHERN DISTRICT OF CALIFORNIA
   10
   11    DISH NETWORK L.L.C., ECHOSTAR                            CASE NO. 12-cv-00157-CAB (KSC)
         TECHNOLOGIES L.L.C., and
   12    NAGRASTAR L.L.C.,
   13                                        Plaintiffs,          ORDER GRANTING DEFAULT
                vs.                                               JUDGMENT AND ENTERING
   14                                                             FINAL JUDGMENT AND
                                                                  PERMANENT INJUNCTION
   15    MILES DILLION, ANGEL SOLIS,                              [Doc. No. 45]
         CARMEN FIGUEROA, and DOES 1- 8 d/b/a
   16    www.myfreeneeds.com,
         www.myfreeneeds.tv, www.myfreeneeds.net,
   17    and www.myfreeneeds.jpn.com,
   18                                      Defendants.
               NATURE OF THE CASE
   19   I.

   20   1.     Plaintiffs DISH Network L.L.C., EchoStar Technologies L.L.C., and NagraStar LLC

   21   (collectively, “DISH Network” or “Plaintiffs”) brought this action against Defendants Angel Solis

   22   (“Solis”) and Carmen Figueroa (“Figueroa”) (collectively, “Defendants”) for distributing devices or

   23   equipment primarily used for the theft of copyright protected, subscription-based DISH Network

   24   satellite television programming. Defendants are the owners and operators of www.myfreeneeds.com,

   25   www.myfreeneeds.tv, www.myfreeneeds.net, and www.myfreeneeds.jpn.com (collectively, the “MFN

   26   websites”). Through the MFN websites, Defendants distributed pirate software files with knowledge

   27   that these devices are primarily of assistance in the unauthorized decryption of DISH Network’s

   28   direct-to-home satellite services and programming.
        2.     On January 23, 2012, the Court entered an ex parte temporary restraining order (“TRO”)
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    1   against Defendants and set a hearing on February 1, 2012 for Defendants to show cause why the TRO
    2   should not be converted to a preliminary injunction. [Doc. No. 13.]
    3   3.      On February 1, 2012, Plaintiffs appeared through counsel of record at the show cause hearing,
    4   but Defendants failed to appear and did not file any opposition papers. [Doc. No. 21.] On February
    5   3, 2012, the Court entered a preliminary injunction against Defendants. [Id.]
    6   4.      Defendants were properly served with a copy of the summons and Plaintiffs’ First Amended
    7   Complaint, but failed to file an answer, responsive pleading, or otherwise defend the lawsuit within
    8   the time allowed. On May 16, 2012, DISH Network submitted evidence that Defendants are not
    9   infants, not incompetent persons, and not on active duty in the military or otherwise exempted under
   10   the Service Members Civil Relief Act and requested the Clerk to enter default against each of them.
   11   [See Doc. Nos. 36 and 37.]
   12   5.      On June 4, 2012, the Clerk entered default against Defendants. [See Doc. No. 44.]
   13   6.      On June 11, 2012, DISH Network moved for a default judgment and permanent injunction
   14   against Defendants and Defendants were properly served with a copy of DISH Network’s motion. [See
   15   Doc. No. 45.]
   16   7.      On July 13, 2012, the Court held a hearing on DISH Network’s motion for default judgment
   17   and permanent injunction. [Doc. No. 46.] Plaintiffs appeared through counsel of record by telephone.
   18   [Id.] Defendants did not appear at this hearing and did not file any opposition papers with the Court.
   19   [Id.]
   20   8.      As a result of Defendants’ failure to answer or otherwise appear in this action and the Clerk’s
   21   entry of default, the Court accepts as true the following well-pleaded allegations in Plaintiffs’
   22   First Amended Complaint [Doc. No. 29]:
   23   (a)     DISH Network L.L.C. is a multi-channel video provider that delivers video, audio, and data
   24   services to customers throughout the United States, Puerto Rico, and the U.S. Virgin Islands via a
   25   direct broadcast satellite system. DISH Network uses high-powered satellites to broadcast, among
   26   other things, movies, sports, and general entertainment services to consumers who have been
   27   authorized to receive such services after payment of a subscription fee, or in the case of a pay-per-view
   28


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    1   movie or event the purchase price. [¶¶21-22.1]
    2   (b)      DISH Network contracts for and purchases the distribution rights for most of the programming
    3   broadcast on the DISH Network platform from providers such as network affiliates, pay and specialty
    4   broadcasters, cable networks, motion picture distributors, sports leagues, and other holders of
    5   programming rights. The works broadcast on the DISH Network platform are copyrighted. DISH
    6   Network has the authority of the copyright holders to protect these works from unauthorized reception
    7   and viewing. [¶¶23-24.]
    8   (c)      DISH Network programming is digitized, compressed, and scrambled prior to being
    9   transmitted to multiple satellites located in geo-synchronous orbit above Earth. The satellites, which
   10   have relatively fixed footprints covering the United States and parts of Canada, Mexico, and the
   11   Caribbean, relay the encrypted signal back down to Earth where it can be received by DISH Network
   12   subscribers that have the necessary equipment. [¶25.]
   13   (d)      The EchoStar Technologies receiver processes an incoming DISH Network satellite signal by
   14   locating an encrypted part of the transmission known as the entitlement control message and forwards
   15   that message to the NagraStar smart card. Provided that the subscriber is tuned to a channel he is
   16   authorized to watch, the smart card uses its decryption keys to unlock the message, uncovering a
   17   control word. The control word is transmitted back to the receiver in order to decrypt the DISH
   18   Network satellite signal. [¶28.]
   19   (e)      Defendants Solis and Figueroa are the registrants, owners, and/or operators of the MFN
   20   websites. [¶¶15, 16, 40.]
   21   (f)      The MFN websites focus on satellite television piracy and the piracy of DISH Network
   22   Programming. [¶47.]
   23   (g)      Members of the MFN websites can download piracy software used for DISH Network piracy.
   24   [¶49.]
   25   (h)      Defendants have participated in and are responsible for the distribution of numerous versions
   26   of pirate software using the MFN websites. [¶52.]
   27
   28            1
                     All ‘¶’ and ‘¶¶’ references are to the paragraphs of Plaintiffs’ First Amended
        Complaint, Doc. No. 29.

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    1   (I)    Defendants were and are engaged in manufacturing, assembling, modifying, importing,
    2   exporting, selling, or otherwise distributing pirate software using the MFN websites in violation of the
    3   Communications Act, 47 U.S.C. § 605(e)(4). [¶66.]
    4   (j)    Defendants’ pirate software is primarily of assistance in the unauthorized decryption of DISH
    5   Network’s satellite transmissions of television programming. [¶67.]
    6   (k)    Defendants’ actions that constitute violations of 47 U.S.C. § 605(e)(4) were and are performed
    7   without the permission, authorization, or consent of DISH Network or any owner of copyrighted
    8   programming broadcast on the DISH Network platform. [¶68.]
    9   (l)    Defendants intended pirate software made available through the MFN websites to be used in
   10   the unauthorized decryption of DISH Network’s satellite transmissions of television programming,
   11   or knew or should have known the pirate software was and is primarily used for this purpose, and
   12   therefore is illegal and prohibited. [¶70.]
   13   (m)    Defendants violated 47 U.S.C. § 605(e)(4) willfully and for purposes of commercial advantage
   14   and private financial gain. [¶69.]
   15   9.     DISH Network submitted evidence that Defendants distributed at least 120 different pirate
   16   software files through the MFN websites, which were downloaded and distributed at least one time
   17   each. [See Doc. No. 45-3, Declaration of Daniel McMullen ¶¶9-13.]
   18   10.    In accordance with the Communications Act, 47 U.S.C. § 605(e)(3)(C)(i)(II), DISH Network
   19   requests statutory damages in the total amount of $12,000,000 a sum certain, for Defendants’
   20   distribution of at least 120 different pirate software files through the MFN websites, because
   21   Defendants knew or should have known the pirate software files were primarily of assistance in the
   22   unauthorized decryption of DISH Network’s encrypted satellite services and programming in violation
   23   of 47 U.S.C. § 605(e)(4). DISH Network’s request is calculated based on Defendants’ 120 violations
   24   of § 605(e)(4) of the Communications Act at the statutory penalty of $100,000 per violation for a total
   25   sum of $12,000,000. See 47 U.S.C. § 605(e)(3)(C)(i)(II).
   26   11.    After the Court entered the TRO, Defendants, in less than a week, re-launched their enjoined
   27   website and piracy content using a new domain and website, www.myfreeneeds.net. After the Court
   28   entered the preliminary injunction order, Defendants, in less than a week, re-launched their enjoined


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    1   website   and   piracy content, again, using yet another new domain                      and   website,
    2   www.myfreeneeds.jpn.com. The Court further finds that Defendants engaged in substantial efforts
    3   to conceal their true names and identities by using several different aliases, online monikers, email
    4   addresses, and fake contact information with various third-party service companies.
    5   12.    DISH Network has agreed to dismiss, with prejudice, Counts I and III alleging violations of
    6   the Digital Millennium Copyright Act, 17 U.S.C. §§ 1201(a)(2), (a)(1), Count IV alleging violations
    7   of the Communications Act, 47 U.S.C. § 605(a), and Count V alleging violations of the Electronic
    8   Communication Privacy Act, 18 U.S.C. §§ 2511(1)(a), 2520 against Defendants Solis and Figueroa,
    9   so that a final judgment may be entered against Defendants Solis and Figueroa.
   10   13.    DISH Network has agreed to dismiss, without prejudice, all claims asserted against Defendants
   11   Miles Dillion and the remaining Does 1-8, so that a final judgment may be entered in this case.
   12   II.    PERMANENT INJUNCTION AGAINST DEFENDANTS SOLIS AND FIGUEROA
   13          Upon default of Defendants Solis and Figueroa, the Court, having reviewed the record,
   14   evidence, and applicable law in this matter, hereby ORDERS as follows:
   15   1.     Defendants and any of their agents, servants, employees, and those acting in active concert or
   16   participation with them who receive actual notice of this Order are PERMANENTLY ENJOINED
   17   and MUST RESTRAIN from directly or indirectly:
   18   (a)    manufacturing, importing, offering to the public, selling, distributing, providing, linking to, or
   19   otherwise trafficking in (i) pirate software; and (ii) any other device, equipment, or service used in
   20   circumventing DISH Network’s security system or intercepting or decryption DISH Network
   21   programming;
   22   (b)    receiving or assisting others to receive DISH Network’s satellite signal or other electronic
   23   communications originating from DISH Network’s system without authorization;
   24   (c)    destroying, hiding, or altering any books or records, whether in hard copy or electronic form,
   25   regarding satellite television websites or domains, businesses, or finances of Defendants, including
   26   registration profiles of forum members, Internet Protocol logs, discussion threads, invoices, purchase
   27   orders, receipts, shipping records, banking or investment records, or any documents that identify
   28   manufacturers, exporters, importers, dealers, purchasers, or website owners and operators of the


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    1   devices identified in subsection (a) above, or persons involved in operating any Internet Key Sharing
    2   (“IKS”) server or receiving control words from same;
    3   (d)    owning or operating any website or domain that markets, promotes, distributes or provides any
    4   information or discussions related to any of the items which Defendants are permanently enjoined
    5   pursuant to section II.1.(a)-(c), above.
    6   2.     The conduct permanently enjoined pursuant to section II.1.(a)-(d), above applies to
    7   myfreeneeds.com, myfreeneeds.tv, myfreeneeds.net, myfreeneeds.jpn.com, any variation of the
    8   “myfreeneeds” domains, and any other domains, regardless of their respective top-level domains, that
    9   Defendants currently use or may use in the future to traffic in or distribute pirate software files used
   10   in circumventing DISH Network’s security system or intercepting or decrypting DISH Network’s
   11   satellite television communications, services, or programming.
   12   3.     This permanent injunction shall take effect immediately.
   13   III.   FINAL JUDGMENT AND ORDER FOR SEIZURE AND IMPOUNDMENT AGAINST
   14   DEFENDANTS SOLIS AND FIGUEROA2
   15   1.     The Court further ORDERS judgment in favor of Plaintiffs DISH Network L.L.C., EchoStar
   16   Technologies L.L.C., and NagraStar LLC on Count II of Plaintiffs’ First Amended Complaint under
   17   47 U.S.C. § 605(e)(4) of the Communications Act against Defendants Solis and Figueroa.
   18   2.     The Court awards Plaintiffs statutory damages against Defendants Solis and Figueroa in the
   19   amount of $12,000,000 for their 120 violations of 47 U.S.C. § 605(e)(4) of the Communications Act
   20   at $100,000 per violation. The Court finds that Defendants’ violations of the Communications Act
   21   were done knowingly and willfully and in disregard of the Court’s orders. (See supra, Section I.11.)
   22   An award of $12,000,000 against Defendants is reasonable and warranted in light of Defendants’
   23   wrongful conduct.
   24   3.     The Court further ORDERS that GoDaddy.com LLC shall unlock myfreeneeds.com,
   25   myfreeneeds.tv, and myfreeneeds.net and change the registrant of these domains to NagraStar LLC or
   26   to any person or entity as directed by NagraStar LLC or NagraStar LLC’s agent.
   27
               2
                      The Court notes that the relief granted is consistent with the relief sought in Plaintiffs’
   28   First Amended Complaint. See Fed. R. Civ. P. 54(c) (“A default judgment must not differ in kind
        from, or exceed in amount, what is demanded in the pleadings.”).

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    1   4.     The Court further ORDERS that, on or before October 26, 2012, Defendants shall change
    2   the registrar of record of myfreeneeds.jpn.com to NagraStar LLC or to any person or entity as directed
    3   by NagraStar LLC or NagraStar LLC’s agent.
    4   5.     The Court further ORDERS that, on or before October 26, 2012, Defendants Solis and
    5   Figueroa shall send by Federal Express, to counsel for DISH Network, Chad Hagan, Hagan, Noll &
    6   Boyle, LLC, 820 Gessner, Suite 940, Houston, Texas 77024, the following items for seizure and
    7   impoundment:
    8   (a)    all computers, computer hard drives, flash drives, CD-ROMs, disks, and any other electronic
    9   storage media devices or electronically stored information (“ESI”) containing pirate software files that
   10   assist in the circumvention of DISH Network's security system or unauthorized decryption of DISH
   11   Network satellite services and programming;
   12   (b)    all documents and records, whether in physical or electronic form, pertaining to the ownership
   13   and   operations    of   www.myfreeneeds.com,        www.myfreeneeds.tv,       www.myfreeneeds.net,
   14   www.myfreeneeds.jpn.com, pirate software, Internet Key Sharing, and piracy of DISH Network
   15   programming;
   16   (c)    a chain of custody and inventory sheet, signed and dated by Defendants, listing each item sent
   17   by Defendants to DISH Network’s counsel pursuant to section III.5.(a)-(b), above.
   18   6.     Counts I, III, IV, and V of Plaintiffs’ First Amended Complaint are DISMISSED WITH
   19   PREJUDICE as to Defendants Solis and Figueroa.
   20   7.     Counts I-V of Plaintiffs’ First Amended Complaint against Defendants Miles Dillion and Does
   21   1-8 are hereby DISMISSED WITHOUT PREJUDICE.
   22   8.     The Court retains jurisdiction over this action for the purpose of enforcing the judgment and
   23   permanent injunction against Defendants Solis and Figueroa.
   24   9.     This is a FINAL JUDGMENT. Any relief not expressly granted herein, is denied.
   25   10.    Each party to bear its own fees and costs.
   26   DATED: October 15, 2012
   27
   28                                                    CATHY ANN BENCIVENGO
                                                         United States District Judge

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                EXHIBIT
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    7
    8                      UNITED STATES DISTRICT COURT
    9                    SOUTHERN DISTRICT OF CALIFORNIA
   10
   11   DISH NETWORK L.L.C., et al.,                     CASE NO. 11-CV-333 W (RBB)
   12                                Plaintiffs,
   13         vs.                                        ORDER GRANTING MOTION
                                                         FOR DEFAULT JUDGMENT
   14                                                    [DOC. 13]
        CHRISTOPHER WHITCOMB,
   15   individually and d/b/a
        www.ProSonicview.com,
   16
   17                              Defendant.
   18        Plaintiffs DISH Network L.L.C., EchoStar Technologies L.L.C., and Nagrastar
   19 LLC (collectively, “DISH Network”) move for default judgment against Defendant
   20 Christopher Whitcomb. Defendant has not filed an opposition to the motion.
   21        The Court decides the matter on the papers submitted and without oral
   22 argument. See Civ. L.R. 7.1(d.1). Having read and considered DISH Network’s
   23 moving papers, the Court GRANTS the motion [Doc. 13]. Consequently, the Court
   24 AWARDS DISH Network $14,440,000 in statutory damages, GRANTS DISH
   25 Network’s request for a permanent injunction, ORDERS the destruction of Defendant’s
   26 piracy devices, and DENIES WITHOUT PREJUDICE an award of attorney’s fees and
   27 costs to DISH Network.
   28 //

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    1 I.      BACKGROUND
    2         DISH Network provides copyrighted satellite television programming to millions
    3 of paying customers throughout the United States. (Duval Decl. ¶ 7 [Doc. 5-18].) In
    4 order to prevent the unauthorized reception of its programming, DISH Network
    5 encrypts its satellite signals so that viewing requires the use of a DISH Network receiver
    6 and smart card. (Id. ¶¶ 8–11.) The receiver processes the signal by locating an
    7 encrypted part of the transmission—known as the entitlement control message—and
    8 forwarding that message to the smart card. (Id. ¶ 13.) The smart card then uses its
    9 decryption keys to unlock the message and uncover a control word that is transmitted
   10 back to the receiver to decrypt the satellite signal, thereby allowing the customer to view
   11 the program. (Id. ¶¶ 13–14.)
   12         Various devices have been manufactured to allow individuals to steal or “pirate”
   13 DISH Network’s programming. (Id. ¶ 15.) Among these devices are Sonicview
   14 receivers and iHub adapters. (Id. ¶¶ 17–18.) The receivers are programmed with pirate
   15 software and connected to the Internet via an iHub adapter or a built-in Ethernet port.
   16 (Id.) The Internet connection allows the Sonicview receiver to obtain the DISH
   17 Network control words from a server, thereby unlocking the DISH Network
   18 programming. (Id. ¶ 19.)
   19         In 2009, DISH Network filed a lawsuit against Sonicview (the “Sonicview
   20 Lawsuit”) alleging violations of the Digital Millennium Copyright Act (“DMCA”) and
   21 related statutes based on Sonicview’s distribution of piracy devices such as the
   22 Sonicvew receiver and iHub adapter. (See Hagan Decl. ¶ 8 [Doc. 5-2].) On August 14,
   23 2009, DISH Network filed a motion for a preliminary injunction seeking, among other
   24 things, to enjoin the manufacture and sale of Sonicview’s piracy devices. On March 29,
   25 2010, the court entered an order (the “Sonicview Order”) enjoining Sonicview and
   26 others from “designing, manufacturing, developing, trafficking, selling, and marketing
   27 . . . Sonicview iHubs, and Piracy Software at any physical address or on the Internet. .
   28 . .” (See Hagan Decl. Ex. 7 at 12:4–12.)

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    1         Defendant Whitcomb is a former Sonicview employee. (Hagan Decl. Ex. 6, at
    2 120:2–124:4.) At the time the Sonicview Order was entered, Whitcomb was engaged
    3 in selling the Sonicview iHub on eBay. (Hagan Decl. ¶ 6; Ex. 5.) In an effort to evade
    4 the order, DISH Network alleges that Whitcomb eventually began selling a “re-
    5 packaged” iHub under the names “Sonicview SV Lan” and “New Link.” (Mot. for
    6 Prelim. Inj. 4:27–5:2 [Doc. 5-1] (citing Jaczewski Decl. [Doc. 5-16], ¶ 4; and Hagan Decl.
    7 ¶¶ 3–5, Exs. 2–4).)
    8         On February 17, 2011, DISH Network filed this lawsuit against Defendant,
    9 asserting causes of action for violations of the DMCA, Communications Act, and
   10 Electronic Communications Privacy Act (“ECPA”). DISH Network alleges that
   11 Defendant unlawfully manufactures, distributes, and traffics devices intended to
   12 facilitate the unauthorized reception and decryption of DISH Network’s satellite
   13 television programming. (Compl. ¶ 1 [Doc. 1].) DISH Network also filed a motion for
   14 a preliminary injunction [Doc. 5]. Defendant neither answered the complaint nor
   15 responded to the motion. On April 22, 2011, this Court held a hearing on DISH
   16 Network’s motion for a preliminary injunction, but Defendant did not appear. On April
   17 25, 2011, this Court granted DISH Network’s motion for a preliminary injunction [Doc.
   18 15].
   19         Meanwhile, on March 21, 2011, DISH Network requested that the clerk enter
   20 a default against Defendant, and the clerk obliged [Docs. 10, 11]. DISH Network now
   21 seeks an entry of default judgment.
   22
   23 II.     LEGAL STANDARD
   24         Federal Rule of Civil Procedure 55(b)(2) governs applications for default
   25 judgment. Default judgment is available as long as the plaintiff establishes that the
   26 defendant (1) was served with the summons and complaint but failed to appear, and
   27 consequently a default was entered; (2) is neither a minor nor an incompetent person;
   28 (3) is neither in military service nor otherwise subject to the Soldiers and Sailors Relief

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    1 Act of 1940, 50 U.S.C. § 521; and (4) was provided with notice of the application for
    2 default judgment at least seven days before the hearing if the defendant has appeared
    3 in the action. See, e.g., Fed. R. Civ. P. 55; 50 U.S.C. § 521; Twentieth Century Fox
    4 Film Corp. v. Streeter, 438 F. Supp. 2d 1065, 1070 (D. Ariz. 2006).
    5         Entry of default judgment is within the trial court’s discretion. See Taylor Made
    6 Golf Co. v. Carsten Sports, Ltd., 175 F.R.D. 658, 660 (S.D. Cal. 1997) (Brewster, J.)
    7 (citing Lau Ah Yew v. Dulles, 236 F.2d 415, 416 (9th Cir. 1956)). In making this
    8 determination, the court may consider the following factors: (1) the possibility of
    9 prejudice to the plaintiff, (2) the merits of the plaintiff's substantive claim, (3) the
   10 sufficiency of the complaint, (4) the sum of money at stake in the action, (5) the
   11 possibility of a dispute concerning the material facts, (6) whether the default was due
   12 to excusable neglect, and (7) the strong policy underlying the Federal Rules of Civil
   13 Procedure favoring decisions on the merits. Eitel v. McCool, 782 F.2d 1470, 1471–72
   14 (9th Cir. 1986).
   15         Upon an entry of default, the factual allegations in the plaintiff's complaint,
   16 except those relating to damages, are deemed admitted. See Televideo Sys., Inc. v.
   17 Heidenthal, 826 F.2d 915, 917–18 (9th Cir. 1987). Where the amount of damages
   18 claimed is capable of mathematical calculation or is a liquidated sum, the court may
   19 enter a default judgment without a hearing. Davis v. Fendler, 650 F.2d 1154, 1161 (9th
   20 Cir. 1981).
   21
   22 III.    DISCUSSION
   23         A.    Default Judgment Against Defendant Is Proper.
   24         The Court finds that a default judgment against Defendant is warranted. DISH
   25 Network has followed all proper channels in serving and attempting to engage
   26 Defendant in this lawsuit. (See Doc. 9.) The clerk of the court has entered a valid
   27 default against Defendant. (See Doc. 11.) Defendant is not a minor, an incompetent
   28 person, or a member of the military. (Req. for Entry of Default, Decl. ¶¶ 3–4 [Doc. 10-

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    1 1].) Furthermore, the Eitel factors support an entry of default judgment. DISH
    2 Network’s claims against Defendant are well-pled and the requested damages
    3 straightforward. There is no dispute concerning the material facts of the case because
    4 Defendant has failed to participate in this action in any way. Moreover, Defendant was
    5 personally served, ensuring he knows about the suit and thus making his failure to
    6 participate inexcusable.    Accordingly, the Court finds that default judgment is
    7 appropriate.
    8
    9         B.     DISH Network Is Entitled to Statutory Damages.
   10         Section 605(e)(4) of the Communications Act provides that
   11
             [a]ny person who manufactures, assembles, modifies, imports, exports,
   12        sells, or distributes any electronic, mechanical, or other device or
             equipment, knowing or having reason to know that the device or
   13        equipment is primarily of assistance in the unauthorized decryption of
             satellite cable programming, or direct-to-home satellite services, . . .
   14 has violated the Act and is subject to penalties. 47 U.S.C. § 605(e)(4). The aggrieved
   15 party is entitled to recover actual damages and profits or “statutory damages in a sum
   16 not less than $10,000, or more than $100,000, as the court considers just,” for each
   17 violation. Id. § 605(e)(3)(C)(i)(II).
   18         Here, DISH Network alleges that Defendant sold a minimum of 1,444 piracy
   19 devices. (Mot. for Default J. 4:8–15.) DISH Network supports this claim with
   20 voluminous exhibits of Defendant’s Paypal records, which detail each of the 1,444
   21 transactions. (See Id., Ex. 2.) Consequently, DISH Network is entitled to the
   22 $14,440,000 it requests, as that figure represents the minimum statutory damages
   23 mandated by the Communications Act.
   24
   25         C.     DISH Network Is Entitled to a Permanent Injunction.
   26         Both the DMCA and the Communications Act authorize courts to grant
   27 permanent injunctions. 17 U.S.C. § 1203(b)(1); 47 U.S.C. § 605(e)(3). A permanent
   28 injunction should be granted where the plaintiff shows that (1) it has suffered an

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    1 irreparable injury; (2) the available legal remedies are inadequate; (3) the harm to the
    2 plaintiff if the injunction is not granted outweighs the harm to the defendant if granted;
    3 and (4) granting the injunction would not disserve the public interest. eBay Inc. V.
    4 MercExchange, L.L.C., 547 U.S. 388, 391 (2006).
    5         Here, the unauthorized access of DISH Network programming via Defendant’s
    6 piracy devices costs DISH Network more than $100,000 each month. (Mot. for Default
    7 J. 8:1–4.) These devices can be used to deprive DISH Network of its rightful proceeds
    8 for long and indeterminate periods of time. Furthermore, a mere monetary award will
    9 not stop Defendant from continuing to reproduce DISH Network’s equipment, resulting
   10 in further grievous harm. See Apple Inc. v. Psystar Corp., 673 F. Supp. 2d 943, 949–50
   11 (N.D. Cal. 2009). For these reasons, the Court finds that the injury to DISH Network
   12 is irreparable and that a mere monetary award is an inadequate remedy.
   13         Furthermore, enjoining Defendant from conducting illegal activity does him no
   14 legally recognizable harm. See Apple Inc., 673 F. Supp. 2d at 950; see also ClearOne
   15 Commc’ns, Inc. v. Chiang, 608 F. Supp. 2d 1270, 1281 (D. Utah 2009). Granting the
   16 injunction would additionally serve the public interest. See Metro-Goldwyn-Mayer
   17 Studios, Inc. v. Grokster, Ltd., 518 F. Supp. 2d 1197, 1222 (C.D. Cal. 2007) (holding
   18 that a permanent injunction was warranted in a copyright infringement case because
   19 “[t]he public interest in receiving copyrighted content for free is outweighed by the need
   20 to incentivize the creation of original works”). In light of these considerations, DISH
   21 Network is entitled to a permanent injunction against Defendant enjoining the further
   22 manufacture and sale of piracy devices that enable unauthorized access to DISH
   23 Network’s copyright-protected broadcasting.
   24
   25         D.     DISH Network Is Entitled to an Order Requiring Defendant to Destroy
   26                Its Piracy Devices.
   27         The DMCA provides that a court “may, as part of a final judgment or decree
   28 finding a violation, order the remedial modification or destruction of any device or

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    1 product involved in the violation that is in the custody or control of the violator.” 17
    2 U.S.C. § 1203(b)(6). Other courts within the Ninth Circuit have ordered the
    3 destruction of devices that violate the DMCA as part of an order of default judgment.
    4 See Autodesk, Inc. v. Flores, 2011 WL 337836, No. 10-CV-01917-LHK, at *11 (N.D.
    5 Cal. Jan. 31, 2011); Photo Resource Hawai’i, Inc. v. Am. Hawai’i Travel Inc., 2007 WL
    6 4373549, Civil No. 07-00134 DAE-LEK, at *5, *8 (D. Haw. Dec. 12, 2007), report and
    7 recommendation adopted by 2008 WL 41425 (D. Haw. Jan. 2, 2008). Consequently,
    8 this Court finds that an order mandating the destruction of Defendant’s piracy devices
    9 is an appropriate equitable remedy.
   10
   11         E.     Attorney’s Fees and Costs Are Denied Without Prejudice.
   12         The Communications Act mandates an award of attorney’s fees and costs to a
   13 prevailing aggrieved party. 47 U.S.C. § 605(e)(3)(B)(iii). However, DISH Network’s
   14 motion for default judgment fails to identify and detail any of the fees and costs incurred
   15 as a result of this litigation. Accordingly, the Court denies attorney’s fees and costs
   16 without prejudice.
   17
   18 IV.     CONCLUSION AND ORDER
   19         For the reasons discussed above, the Court GRANTS DISH Network’s motion
   20 for default judgment [Doc. 13]. The Court ORDERS as follows:
   21         1.     Defendant shall pay DISH Network statutory damages of $14,440,000.
   22         2.     A permanent injunction is hereby issued enjoining Defendant Christopher
   23                Whitcomb and all directors, officers, agents, servants, employees,
   24                attorneys, and all persons and entities in active concert or participation
   25                therewith, including, but not limited to, manufacturers, distributors,
   26                retailers and cooperative members, from directly or indirectly:
   27                       (a)   manufacturing, developing, importing, offering to the public
   28                             (including, but not limited to, through Internet websites or

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    1                          auctions), promoting, distributing, providing, or otherwise
    2                          trafficking in Sonicview iHubs, SV Lan adapters, New Link
    3                          adapters, or any other device designed to connect to Internet
    4                          key sharing servers for the purpose of receiving DISH
    5                          Network programming without authorization;
    6                    (b)   manufacturing, developing, importing, offering to the public
    7                          (including, but not limited to, through Internet websites or
    8                          auctions), promoting, distributing, providing, or otherwise
    9                          trafficking in serial numbers, authorization codes, or upgrades
   10                          for Sonicview iHubs, SV Lan adapters, New Link adapters, or
   11                          any other device designed to connect to Internet key sharing
   12                          servers for the purpose of receiving DISH Network
   13                          programming without authorization; and
   14                    (c)   receiving     or   assisting   others   in   receiving without
   15                          authorization DISH Network’s satellite signals or other
   16                          electronic communications originating from DISH Network’s
   17                          system.
   18        3.    Defendant is hereby ordered to destroy all Sonicview iHubs, SV Lan
   19              adapters, New Link adapters, or any other device designed to connect to
   20              Internet key sharing servers for the purpose of receiving DISH Network
   21              programming without authorization, as well as any equipment used in the
   22              manufacture of such devices, within 60 days of the date of this order.
   23              Defendants must either:
   24                    (a)   file with this Court within the above-mentioned 60-day
   25                          period under penalty of perjury a written declaration attesting
   26                          to the complete destruction of all Sonicview iHubs, SV Lan
   27                          adapters, New Link adapters, or any other device designed to
   28                          connect to Internet key sharing servers for the purpose of
                               receiving     DISH      Network     programming       without
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    1                          authorization, as well as any equipment used in the
    2                          manufacture of such devices; or
    3                    (b)   contact DISH Network’s counsel to arrange for DISH
    4                          Network and/or its counsel to be present to witness the
    5                          destruction of the piracy devices.
    6        4.    DISH Network is denied attorney’s fees and costs without prejudice.
    7              DISH Network is hereby ordered to submit any request for attorney’s fees
    8              and costs with documentation within 60 days of the date of this order.
    9
   10        IT IS SO ORDERED.
   11
   12 DATED: July 18, 2011
   13
   14                                                Hon. Thomas J. Whelan
                                                     United States District Judge
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